10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                             Pg 1 of 771




AKIN GUMP STRAUSS HAUER & FELD LLP
One Bryant Park
New York, New York 10036
(212) 872-1000 (Telephone)
(212) 872-1002 (Facsimile)
Ira S. Dizengoff
Arik Preis
Meredith A. Lahaie

Counsel to the Debtors and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                           )
In re:                                                     ) Chapter 11
                                                           )
AMERICAN MEDIA, INC., et al.,1                             ) Case No. 10-16140 (MG)
                                                           )
                         Debtors.                          ) (Jointly Administered)
                                                           )

PLAN SUPPLEMENT TO THE DEBTORS’ AMENDED JOINT PREPACKAGED PLAN
  OF REORGANIZATION UNDER CHAPTER 11 OF THE BANKRUPTCY CODE




1
         The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
number, are: American Media, Inc. (3383); American Media Operations, Inc. (4424); American Media Consumer
Entertainment, Inc. (3852); American Media Consumer Magazine Group, Inc. (3863); American Media Distribution
& Marketing Group, Inc. (3860); American Media Mini Mags, Inc. (3854); American Media Newspaper Group, Inc.
(3864); American Media Property Group, Inc. (4153); Country Music Media Group, Inc. (2019); Distribution
Services, Inc. (1185); Globe Communications Corp. (2593); Globe Editorial, Inc. (3859); Mira! Editorial, Inc.
(3841); National Enquirer, Inc. (4097); National Examiner, Inc. (3855); Star Editorial, Inc. (9233); and Weider
Publications, LLC (1848).
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                         Pg 2 of 771



       This is the Plan Supplement of the above-captioned debtors and debtors in possession

(each, a “Debtor” and, collectively, the “Debtors”) filed as part of the Debtors’ Amended Joint

Prepackaged Plan of Reorganization Under Chapter 11 of the Bankruptcy Code, dated

December 15, 2010 [Docket No. 115] (as amended, supplemented or modified from time to time,

the “Plan”). The hearing to consider confirmation of the Plan is scheduled for December 20,

2010 at 10:00 a.m. (EST).

       The Plan Supplement is also available on the website of Kurtzman Carson Consultants,

LLC at www.kccllc.net/AMI and/or may be obtained upon written request from American Media,

c/o Kurtzman Carson Consultants, LLC, 599 Lexington Avenue, 39th Floor, New York, New

York, 10022.

New York, New York                             /s/ Ira S. Dizengoff
Dated: December 15, 2010                       AKIN GUMP STRAUSS HAUER & FELD LLP
                                               One Bryant Park
                                               New York, New York 10036
                                               Telephone: (212) 872-1000
                                               Facsimile: (212) 872-1002

                                               Ira S. Dizengoff
                                               Arik Preis
                                               Meredith A. Lahaie

                                               Counsel to the Debtors and Debtors in Possession




                                                2
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                             Pg 3 of 771



                               PLAN SUPPLEMENT DOCUMENTS2

Exhibit A        New First Lien Indenture

Exhibit B        New Second Lien Indenture

Exhibit C        Purchase Agreement for New First Lien Notes

Exhibit D        Registration Rights Agreement for New First Lien Notes

Exhibit E        Registration Rights Agreement for New Second Lien Notes

Exhibit F        Escrow Agreement for New First Lien Notes

Exhibit G        Intercreditor Agreement Among Reorganized Debtors, Collateral Agent for the
                 New Revolver Facility Lenders, Trustee and Collateral Agent for New First Lien
                 Note Holders, and Trustee and Collateral Agent for New Second Lien Note
                 Holders

Exhibit H        Intercreditor Agreement Among Reorganized Debtors, Collateral Agent for New
                 Revolver Facility Lenders, and Trustee and Collateral Agent for New First Lien
                 Note Holders

Exhibit I        Stockholders’ Agreement

Exhibit J        Restated Bylaws

Exhibit K        Restated Certificates of Incorporation

Exhibit L        Equity Incentive Plan

Exhibit M        Director Severance Plan

Exhibit N        Emergence Incentive Plan

Exhibit O        Identity of members of the New Boards and the initial officers of the Reorganized
                 Debtors

Exhibit P        New Revolver Credit Facility Credit Agreement




2
         Each Plan Supplement document (other than Exhibits A, C, D and F) remains subject to ongoing
negotiations.
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                    Pg 4 of 771



                                  EXHIBIT A

                            New First Lien Indenture
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                    Pg 5 of 771

                                                              EXECUTION VERSION




                                    INDENTURE

                            Dated as of December 1, 2010

                                       Between

                          AMO ESCROW CORPORATION,

                                         and

                            WILMINGTON TRUST FSB,
                            as Trustee and Collateral Agent


                11½% FIRST LIEN SENIOR SECURED NOTES DUE 2017
10-16140-mg                Doc 116            Filed 12/15/10 Entered 12/15/10 23:40:47                                         Main Document
                                                          Pg 6 of 771


                                                     CROSS-REFERENCE TABLE*

Trust Indenture Act Section                                                                                                    Indenture Section
310 (a)(1) ...............................................................................................................................      7.10
    (a)(2) ...............................................................................................................................      7.10
    (a)(3) ...............................................................................................................................     N.A.
    (a)(4) ...............................................................................................................................     N.A.
    (a)(5) ...............................................................................................................................      7.10
    (b)................................................................................................................................         7.10
    (c)................................................................................................................................        N.A.
311 (a)................................................................................................................................         7.11
    (b)................................................................................................................................         7.11
    (c)................................................................................................................................        N.A.
312 (a)................................................................................................................................         2.05
    (b)................................................................................................................................        13.03
    (c)................................................................................................................................        13.03
313 (a)................................................................................................................................         7.06
    (b)(1)...............................................................................................................................      10.03
    (b)(2)...............................................................................................................................7.06; 7.07; 10.12
    (c)................................................................................................................................ 7.06; 13.02
    (d)................................................................................................................................         7.06
314 (a)................................................................................................................................4.03; 13.02; 13.05
    (b)................................................................................................................................        N.A.
    (c)(1) ...............................................................................................................................     13.04
    (c)(2) ...............................................................................................................................     13.04
    (c)(3) ...............................................................................................................................     N.A.
    (d)................................................................................................................................        N.A.
    (e)................................................................................................................................        14.05
    (f) ................................................................................................................................       N.A.
315 (a)................................................................................................................................         7.01
    (b)................................................................................................................................ 7.05; 13.02
    (c)................................................................................................................................         7.01
    (d)................................................................................................................................         7.01
    (e)................................................................................................................................         6.14
316 (a)(last sentence).............................................................................................................             2.09
    (a)(1)(A)..........................................................................................................................         6.05
    (a)(1)(B)..........................................................................................................................         6.04
    (a)(2) ...............................................................................................................................     N.A.
    (b)................................................................................................................................         6.07
    (c)................................................................................................................................     2.12; 9.04
317 (a)(1) ...............................................................................................................................      6.08
    (a)(2) ...............................................................................................................................      6.12
    (b)................................................................................................................................         2.04
318 (a)................................................................................................................................        13.01
    (b)................................................................................................................................        N.A.
    (c)................................................................................................................................        13.01

N.A. means not applicable.
* This Cross-Reference Table is not part of the Indenture.
10-16140-mg     Doc 116             Filed 12/15/10 Entered 12/15/10 23:40:47                                           Main Document
                                                Pg 7 of 771


                                                TABLE OF CONTENTS

                                                                                                                                            Page

                                                          ARTICLE 1

                     DEFINITIONS AND INCORPORATION BY REFERENCE

Section 1.01   Definitions........................................................................................................................ 1
Section 1.02   Other Definitions............................................................................................................ 31
Section 1.03   Incorporation by Reference of Trust Indenture Act ....................................................... 32
Section 1.04   Rules of Construction..................................................................................................... 33
Section 1.05   Acts of Holders............................................................................................................... 33

                                                          ARTICLE 2

                                                         THE NOTES

Section 2.01   Form and Dating; Terms ................................................................................................ 34
Section 2.02   Execution and Authentication ........................................................................................ 36
Section 2.03   Registrar and Paying Agent............................................................................................ 37
Section 2.04   Paying Agent To Hold Money in Trust.......................................................................... 37
Section 2.05   Holder Lists.................................................................................................................... 37
Section 2.06   Transfer and Exchange................................................................................................... 38
Section 2.07   Replacement Notes......................................................................................................... 50
Section 2.08   Outstanding Notes .......................................................................................................... 50
Section 2.09   Treasury Notes ............................................................................................................... 51
Section 2.10   Temporary Notes............................................................................................................ 51
Section 2.11   Cancellation.................................................................................................................... 51
Section 2.12   Defaulted Interest ........................................................................................................... 52
Section 2.13   CUSIP and ISIN Numbers ............................................................................................. 52

                                                          ARTICLE 3

                                                       REDEMPTION

Section 3.01   Notices to Trustee........................................................................................................... 52
Section 3.02   Selection of Notes To Be Redeemed or Purchased........................................................ 53
Section 3.03   Notice of Redemption .................................................................................................... 53
Section 3.04   Effect of Notice of Redemption ..................................................................................... 54
Section 3.05   Deposit of Redemption or Purchase Price...................................................................... 54
Section 3.06   Notes Redeemed or Purchased in Part ........................................................................... 55
Section 3.07   Optional Redemption ..................................................................................................... 55
Section 3.08   Mandatory Redemption.................................................................................................. 56
Section 3.09   Offers to Repurchase by Application of Excess Proceeds ............................................. 56
Section 3.10   Special Mandatory Redemption ..................................................................................... 57




                                                                  -i-
10-16140-mg     Doc 116             Filed 12/15/10 Entered 12/15/10 23:40:47                                             Main Document
                                                Pg 8 of 771

                                                                                                                                              Page

                                                           ARTICLE 4

                                                         COVENANTS

Section 4.01   Payment of Notes ........................................................................................................... 58
Section 4.02   Maintenance of Office or Agency .................................................................................. 58
Section 4.03   Reports and Other Information ...................................................................................... 59
Section 4.04   Compliance Certificate................................................................................................... 60
Section 4.05   Taxes .............................................................................................................................. 60
Section 4.06   Stay, Extension and Usury Laws.................................................................................... 61
Section 4.07   Limitation on Restricted Payments ................................................................................ 61
Section 4.08   Dividend and Other Payment Restrictions Affecting Restricted Subsidiaries ............... 66
Section 4.09   Limitation on Incurrence of Indebtedness and Issuance of Disqualified Stock
                  and Preferred Stock................................................................................................... 68
Section 4.10   Asset Sales ..................................................................................................................... 73
Section 4.11   Transactions with Affiliates ........................................................................................... 75
Section 4.12   Liens............................................................................................................................... 77
Section 4.13   Changes in Covenants When Notes Rated Investment Grade........................................ 78
Section 4.14   Offer To Repurchase upon Change of Control .............................................................. 79
Section 4.15   Limitation on Guarantees of Indebtedness by Restricted Subsidiaries .......................... 81
Section 4.16   Escrow of Proceeds ........................................................................................................ 82
Section 4.17   Tax Treatment of the Notes............................................................................................ 82
Section 4.18   Non-Impairment of Security Interest ............................................................................. 83
Section 4.19   Activities of the Escrow Issuer prior to the Release Date and Assumption................... 83
Section 4.20   After-Acquired Collateral; Further Assurances ............................................................. 83
Section 4.21   Information Regarding Collateral .................................................................................. 84
Section 4.22   Maintenance of Property; Insurance............................................................................... 84

                                                           ARTICLE 5

                                                        SUCCESSORS

Section 5.01   Merger, Consolidation or Sale of All or Substantially All Assets ................................. 84
Section 5.02   Successor Corporation Substituted................................................................................. 86

                                                           ARTICLE 6

                                            DEFAULTS AND REMEDIES

Section 6.01   Events of Default............................................................................................................ 86
Section 6.02   Acceleration ................................................................................................................... 89
Section 6.03   Other Remedies .............................................................................................................. 89
Section 6.04   Waiver of Past Defaults.................................................................................................. 89
Section 6.05   Control by Majority........................................................................................................ 90
Section 6.06   Limitation on Suits ......................................................................................................... 90
Section 6.07   Rights of Holders of Notes To Receive Payment........................................................... 90
Section 6.08   Collection Suit by Trustee.............................................................................................. 90
Section 6.09   Restoration of Rights and Remedies .............................................................................. 91
Section 6.10   Rights and Remedies Cumulative .................................................................................. 91
Section 6.11   Delay or Omission Not Waiver ...................................................................................... 91


                                                                  -ii-
10-16140-mg     Doc 116             Filed 12/15/10 Entered 12/15/10 23:40:47                                             Main Document
                                                Pg 9 of 771

                                                                                                                                              Page

Section 6.12   Trustee May File Proofs of Claim.................................................................................. 91
Section 6.13   Priorities ......................................................................................................................... 92
Section 6.14   Undertaking for Costs .................................................................................................... 92

                                                           ARTICLE 7

                                                            TRUSTEE

Section 7.01   Duties of Trustee ............................................................................................................ 92
Section 7.02   Rights of Trustee ............................................................................................................ 93
Section 7.03   Individual Rights of Trustee........................................................................................... 95
Section 7.04   Trustee’s Disclaimer ...................................................................................................... 95
Section 7.05   Notice of Defaults .......................................................................................................... 95
Section 7.06   Reports by Trustee to Holders of the Notes ................................................................... 95
Section 7.07   Compensation and Indemnity......................................................................................... 96
Section 7.08   Replacement of Trustee.................................................................................................. 96
Section 7.09   Successor Trustee by Merger, etc................................................................................... 97
Section 7.10   Eligibility; Disqualification............................................................................................ 97
Section 7.11   Preferential Collection of Claims Against Issuer ........................................................... 98
Section 7.12   Escrow Authorization..................................................................................................... 98
Section 7.13   Authorization of Security Documents; Intercreditor Agreements.................................. 98

                                                           ARTICLE 8

                     LEGAL DEFEASANCE AND COVENANT DEFEASANCE

Section 8.01   Option to Effect Legal Defeasance or Covenant Defeasance ........................................ 98
Section 8.02   Legal Defeasance and Discharge ................................................................................... 99
Section 8.03   Covenant Defeasance ..................................................................................................... 99
Section 8.04   Conditions to Legal or Covenant Defeasance .............................................................. 100
Section 8.05   Deposited Money and Government Securities to Be Held in Trust; Other
                  Miscellaneous Provisions........................................................................................ 101
Section 8.06   Repayment to Issuer ..................................................................................................... 101
Section 8.07   Reinstatement ............................................................................................................... 102

                                                           ARTICLE 9

                              AMENDMENT, SUPPLEMENT AND WAIVER

Section 9.01   Without Consent of Holders of Notes .......................................................................... 102
Section 9.02   With Consent of Holders of Notes ............................................................................... 103
Section 9.03   Compliance with Trust Indenture Act .......................................................................... 106
Section 9.04   Revocation and Effect of Consents .............................................................................. 106
Section 9.05   Notation on or Exchange of Notes ............................................................................... 106
Section 9.06   Trustee To Sign Amendments, etc. .............................................................................. 106
Section 9.07   Payment for Consent .................................................................................................... 107




                                                                 -iii-
10-16140-mg      Doc 116             Filed 12/15/10 Entered 12/15/10 23:40:47                                           Main Document
                                                Pg 10 of 771

                                                                                                                                             Page

                                                          ARTICLE 10

                                          COLLATERAL AND SECURITY

Section 10.01   Collateral and Security Documents.............................................................................. 107
Section 10.02   Recordings and Opinions ............................................................................................. 108
Section 10.03   Release of Collateral .................................................................................................... 108
Section 10.04   Suits To Protect the Collateral ..................................................................................... 110
Section 10.05   Authorization of Receipt of Funds by the Trustee Under the Security
                   Documents .............................................................................................................. 110
Section 10.06   Purchaser Protected...................................................................................................... 110
Section 10.07   Powers Exercisable by Receiver or Trustee ................................................................. 110
Section 10.08   Release Upon Termination of the Issuer’s Obligations................................................ 110
Section 10.09   Collateral Agent ........................................................................................................... 111
Section 10.10   Designations................................................................................................................. 117

                                                          ARTICLE 11

                                                        GUARANTEES

Section 11.01   Guarantee ..................................................................................................................... 117
Section 11.02   Limitation on Guarantor Liability ................................................................................ 119
Section 11.03   Execution and Delivery................................................................................................ 119
Section 11.04   Subrogation .................................................................................................................. 120
Section 11.05   Benefits Acknowledged ............................................................................................... 120
Section 11.06   Release of Guarantees .................................................................................................. 120

                                                          ARTICLE 12

                                       SATISFACTION AND DISCHARGE

Section 12.01   Satisfaction and Discharge ........................................................................................... 120
Section 12.02   Application of Trust Money......................................................................................... 121

                                                          ARTICLE 13

                                                     MISCELLANEOUS

Section 13.01   Trust Indenture Act Controls........................................................................................ 122
Section 13.02   Notices.......................................................................................................................... 122
Section 13.03   Communication by Holders of Notes with Other Holders of Notes ............................ 123
Section 13.04   Certificate and Opinion as to Conditions Precedent .................................................... 123
Section 13.05   Statements Required in Certificate or Opinion ............................................................ 123
Section 13.06   Rules by Trustee and Agents........................................................................................ 124
Section 13.07   No Personal Liability of Directors, Officers, Employees and Stockholders ................ 124
Section 13.08   Governing Law............................................................................................................. 124
Section 13.09   Waiver of Jury Trial ..................................................................................................... 124
Section 13.10   Force Majeure .............................................................................................................. 124
Section 13.11   No Adverse Interpretation of Other Agreements ......................................................... 124
Section 13.12   Successors .................................................................................................................... 125
Section 13.13   Severability .................................................................................................................. 125

                                                                  -iv-
10-16140-mg      Doc 116           Filed 12/15/10 Entered 12/15/10 23:40:47                                      Main Document
                                              Pg 11 of 771

                                                                                                                                     Page

Section 13.14   Counterpart Originals................................................................................................... 125
Section 13.15   Table of Contents, Headings, etc.................................................................................. 125
Section 13.16   Qualification of Indenture ............................................................................................ 125
Section 13.17   Direction by Holders to Enter into Security Documents, the First Lien
                   Intercreditor Agreement and any Second Lien Intercreditor Agreement................ 125

EXHIBITS

Exhibit A       Form of Note
Exhibit B       Form of Certificate of Transfer
Exhibit C       Form of Certificate of Exchange
Exhibit D       Form of Supplemental Indenture to Be Delivered by Subsequent Guarantors
Exhibit E       Form of Supplemental Indenture Relating to the Assumption
Exhibit F       Form of Certificate from Acquiring Accredited Investor




                                                               -v-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 12 of 771


                 INDENTURE, dated as of December 1, 2010, between AMO Escrow Corporation, a
Delaware corporation (the “Escrow Issuer”) and Wilmington Trust FSB, as trustee (together with its suc-
cessors and assigns, in such capacity, the “Trustee”) and as collateral agent (together with its successors
and assigns, in such capacity, the “Collateral Agent”). For purposes of this Indenture prior to the As-
sumption (as defined herein), references to the “Issuer” in this Indenture refer only to the Escrow Issuer,
and for purposes of this Indenture following the Assumption, references to the “Issuer” in this Indenture
refer only to American Media Operations, Inc., a Delaware corporation, and not any of its Subsidiaries.

                                           W I T N E S S E T H:

                WHEREAS, the Issuer has duly authorized the creation of an issue of $385,000,000 ag-
gregate principal amount of 11½% First Lien Senior Secured Notes due 2017 (“Initial Notes”);

                WHEREAS, the Issuer has duly authorized the execution and delivery of this Indenture.

                 NOW, THEREFORE, the Issuer, the Trustee and the Collateral Agent agree as follows
for the benefit of each other and for the equal and ratable benefit of the Holders of the Notes.

                                                ARTICLE 1

                      DEFINITIONS AND INCORPORATION BY REFERENCE

Section 1.01    Definitions.

                 “144A Global Note” means a Global Note substantially in the form of Exhibit A hereto,
bearing the Global Note Legend and the Private Placement Legend and deposited with or on behalf of,
and registered in the name of, the Depositary or its nominee that shall be issued (or the principal amount
of which will be increased) in a denomination equal to the outstanding principal amount of Notes sold in
reliance on Rule 144A.

                 “Accredited Investor” means an institutional “accredited investor” (as defined in Rule
501(a)(1), (2), (3) or (7) under the Securities Act).

                 “Acquired Indebtedness” means, with respect to any specified Person, Indebtedness of
any other Person existing at the time such other Person is merged with or into or became a Restricted
Subsidiary of such specified Person, including Indebtedness incurred in connection with, or in contempla-
tion of, such other Person merging with or into or becoming a Restricted Subsidiary of such specified
Person, and Indebtedness secured by a Lien encumbering any asset acquired by such specified Person.

                “Additional Interest” means all additional interest, if any, then owing with respect to the
Notes pursuant to the Registration Rights Agreement.

                “Additional Notes” means additional Notes (other than the Initial Notes and Exchange
Notes) issued from time to time under this Indenture in accordance with Sections 2.01 and 4.09 hereof.

                 “Additional Pari Passu Lien Indebtedness” means Indebtedness permitted to be incurred
under Section 4.09 hereof and under the Credit Agreement which is by its terms intended to be secured on
a pari passu basis with the Liens securing the Notes; provided such Lien is permitted to be incurred under
this Indenture and the Credit Agreement and such Indebtedness has a stated maturity that is no earlier
than the stated maturity of the Notes.
10-16140-mg         Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                            Pg 13 of 771


                  “Affiliate” of any specified Person means any other Person directly or indirectly control-
ling or controlled by or under direct or indirect common control with such specified Person. For purposes
of this definition, “control” (including, with correlative meanings, the terms “controlling,” “controlled
by” and “under common control with”), as used with respect to any Person, shall mean the possession,
directly or indirectly, of the power to direct or cause the direction of the management or policies of such
Person, whether through the ownership of voting securities, by agreement or otherwise.

                 “Agent” means any Registrar or Paying Agent.

                 “AMI” means American Media, Inc., a Delaware corporation, and its successors and as-
signs.

                “AMO” means American Media Operations, Inc., a Delaware corporation, and its succes-
sors and assigns.

                 “Applicable Premium” means, with respect to any Note on any Redemption Date, the
greater of:

                 (1)      1.0% of the principal amount of such Note; and

                 (2)      the excess, if any, of (a) the present value at such Redemption Date of (i) the re-
         demption price of such Note at December 15, 2013 (such redemption price being set forth in the
         table appearing in Section 3.07 hereof), plus (ii) all required interest payments due on such Note
         through December 15, 2013 (excluding accrued but unpaid interest to the Redemption Date),
         computed using a discount rate equal to the Treasury Rate as of such Redemption Date plus 50
         basis points; over (b) the principal amount of such Note.

                   “Applicable Procedures” means, with respect to any transfer or exchange of or for bene-
ficial interests in any Global Note, the rules and procedures of the Depositary, Euroclear and/or Clear-
stream that apply to such transfer or exchange.

                 “Asset Sale” means:

                  (1)      the sale, conveyance, transfer or other disposition, whether in a single transaction
         or a series of related transactions, of property or assets (including by way of a Sale and Lease-
         back Transaction) of the Issuer or any of the Restricted Subsidiaries (each referred to in this defi-
         nition as a “disposition”); or

                  (2)     the issuance or sale of Equity Interests of any Restricted Subsidiary, whether in a
         single transaction or a series of related transactions (other than Preferred Stock or Disqualified
         Stock of Restricted Subsidiaries issued in compliance with Section 4.09);

         in each case, other than:

                           (a)     any disposition of Cash Equivalents or obsolete or worn out equipment
                 in the ordinary course of business or any disposition of inventory or goods (or other as-
                 sets) in the ordinary course of business;

                        (b)     the disposition of all or substantially all of the assets of the Issuer in a
                 manner permitted pursuant to Section 5.01 hereof or any disposition that constitutes a
                 Change of Control pursuant to this Indenture;


                                                      -2-
10-16140-mg       Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 14 of 771


                        (c)      the making of any Restricted Payment or any Permitted Investment that
                is permitted to be made, and is made, pursuant to Section 4.07 hereof;

                        (d)     any disposition of assets or issuance or sale of Equity Interests of any
                Restricted Subsidiary in any transaction or series of related transactions with an aggregate
                fair market value of less than $7.5 million;

                         (e)     any disposition of property or assets or issuance of securities (i) by a
                Guarantor to the Issuer or by the Issuer or a Guarantor to another Guarantor or (ii) by a
                Restricted Subsidiary that is not a Guarantor to the Issuer, a Guarantor or to another Re-
                stricted Subsidiary that is not a Guarantor;

                        (f)      to the extent allowable under Section 1031 of the Code, any exchange of
                like property (excluding any boot thereon) for use in a Similar Business;

                        (g)     the lease, assignment or sublease of any real or personal property in the
                ordinary course of business;

                          (h)    any issuance or sale of Equity Interests in, or Indebtedness or other secu-
                rities of, an Unrestricted Subsidiary other than to the extent that the Investment in such
                Unrestricted Subsidiary constituted a Permitted Investment hereunder;

                         (i)   solely for the purposes of clauses (1) and (2) of Section 4.10(a), foreclo-
                sures, condemnation or any similar action on assets;

                        (j)      the granting of Liens not prohibited by this Indenture;

                        (k)      the licensing or sublicensing of intellectual property or other general in-
                tangibles in the ordinary course of business; and

                         (l)      solely for the purposes of clauses (1) and (2) of Section 4.10(a), any sur-
                render or waiver of contract rights or the settlement, release or surrender of contract
                rights or other litigation claims in the ordinary course of business.

                 “Assumption” means the consummation of the transactions whereby (a) AMO will as-
sume all of the obligations of the Escrow Issuer under this Indenture, the Registration Rights Agreement,
the Security Documents and the Intercreditor Agreements, (b) each of the Guarantors will guarantee the
Notes and become a party to the Registration Rights Agreement, the Security Documents and the Inter-
creditor Agreements and (c) to the extent AMO assumes the obligations of the Escrow Issuer other than
by merger, the Escrow Issuer is released from the obligations under this Indenture. The Assumption is to
be effected by the execution and delivery of a supplemental indenture in the form of Exhibit E attached
hereto (which shall be accompanied by the delivery of the Officers’ Certificate and Opinion of Counsel
required by Section 9.06 hereof).

                “Bankruptcy Code” means Title 11 of the U.S. Code.

                  “Bankruptcy Law” means Title 11 of the U.S. Code or any similar federal or state law for
the relief of debtors.

                “Board of Directors” means:



                                                    -3-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                            Pg 15 of 771


                (1)      with respect to a corporation, the board of directors of the corporation;

                (2)      with respect to a partnership, the board of directors of the general partner of the
        partnership; and

                 (3)     with respect to any other Person, the board or committee of such Person serving a
        similar function.

               “Board Resolution” means, with respect to the Issuer, a duly adopted resolution of the
Board of Directors of the Issuer or any committee thereof.

                “Business Day” means each day which is not a Legal Holiday.

                “Capital Stock” means:

                (1)      in the case of a corporation, corporate stock;

                 (2)      in the case of an association or business entity, any and all shares, interests, par-
        ticipations, rights or other equivalents (however designated) of corporate stock;

                 (3)     in the case of a partnership or limited liability company, partnership or member-
        ship interests (whether general or limited); and

                (4)      any other interest or participation that confers on a Person the right to receive a
        share of the profits and losses of, or distributions of assets of, the issuing Person.

                 “Capitalized Lease Obligation” means, at the time any determination thereof is to be
made, the amount of the liability in respect of a capital lease that would at such time be required to be
capitalized and reflected as a liability on a balance sheet (excluding the footnotes thereto) in accordance
with GAAP.

                “Cash Equivalents” means:

                (1)      United States dollars;

                 (2)     (a) euro, or any national currency of any participating member of the EMU; or
        (b) in the case of any Foreign Subsidiary that is a Restricted Subsidiary, such local currencies
        held by them from time to time in the ordinary course of business;

                 (3)     securities issued or directly and fully and unconditionally guaranteed or insured
        by the U.S. government or issued by any agency or instrumentality thereof the securities of which
        are unconditionally guaranteed as a full faith and credit obligation of such government with ma-
        turities of 24 months or less from the date of acquisition;

                (4)      certificates of deposit, time deposits and eurodollar time deposits with maturities
        of one year or less from the date of acquisition, bankers’ acceptances with maturities not exceed-
        ing one year and overnight bank deposits, in each case with any commercial bank having capital
        and surplus of not less than $500.0 million in the case of U.S. banks and $100.0 million (or the
        U.S. dollar equivalent as of the date of determination) in the case of non-U.S. banks;




                                                      -4-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                            Pg 16 of 771


                (5)      repurchase obligations for underlying securities of the types described in clauses
        (3) and (4) entered into with any financial institution meeting the qualifications specified in
        clause (4) above;

                (6)     commercial paper rated at least P-1 by Moody’s or at least A-1 by S&P and in
        each case maturing within 24 months after the date of creation thereof;

                 (7)     marketable short-term money market and similar securities having a rating of at
        least P-2 or A-2 from either Moody’s or S&P, respectively (or, if at any time neither Moody’s nor
        S&P shall be rating such obligations, an equivalent rating from another Rating Agency) and in
        each case maturing within 24 months after the date of creation thereof;

                (8)       investment funds investing 95% of their assets in securities of the types described
        in clauses (1) through (7) above;

                 (9)     readily marketable direct obligations issued by any state, commonwealth or terri-
        tory of the United States or any political subdivision or taxing authority thereof having an In-
        vestment Grade Rating from either Moody’s or S&P with maturities of 24 months or less from
        the date of acquisition;

                 (10)    Indebtedness or Preferred Stock issued by Persons with a rating of “A” or higher
        from S&P or “A2” or higher from Moody’s with maturities of 24 months or less from the date of
        acquisition; and

                 (11)    Investments with average maturities of 12 months or less from the date of acqui-
        sition in money market funds rated AAA- (or the equivalent thereof) or better by S&P or Aaa3
        (or the equivalent thereof) or better by Moody’s.

Notwithstanding the foregoing, Cash Equivalents shall include amounts denominated in currencies other
than those set forth in clauses (1) and (2) above, provided that such amounts are converted into any cur-
rency listed in clauses (1) and (2) as promptly as practicable and in any event within ten Business Days
following the receipt of such amounts.

                  “Cash Management Bank” means any Credit Agreement Lender or an Affiliate of a
Credit Agreement Lender (together with its successors and assigns) providing Cash Management Services
to the Issuer or any Guarantor.

                 “Cash Management Obligations” means all obligations owing by the Issuer or any Guar-
antor to any Cash Management Bank in respect of any Cash Management Services (including, without
limitation, indemnities, fees and interest thereon and all interest and fees that accrue on or after the com-
mencement of any Insolvency or Liquidation Proceeding at the rate provided for in the respective docu-
ments governing the Cash Management Services, whether or not a claim for post-petition interest or fees
is allowed or allowable in any such Insolvency or Liquidation Proceeding), now existing or hereafter in-
curred under, arising out of or in connection with such Cash Management Services, and the due perform-
ance and compliance by the Issuer or such Guarantor with the terms, conditions and agreements of such
Cash Management Services.

               “Cash Management Services” means treasury, depository, bank product and/or cash man-
agement services or any automated clearing house transfer services.

                “Change of Control” means the occurrence of any of the following:


                                                     -5-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                     Main Document
                                            Pg 17 of 771


                 (1)       the sale, lease or transfer, in one or a series of related transactions, of all or sub-
        stantially all of the assets of the Issuer and its Subsidiaries, taken as a whole, other than to a Per-
        mitted Holder or to a Person with respect to which the Permitted Holders have the right or ability,
        by voting power, contract or otherwise, to elect or designate for election a majority of the board
        of directors of such Person or any direct or indirect holding company of such Person;

                 (2)     (A) the Issuer becomes aware (by way of a report or any other filing pursuant to
        Section 13(d) of the Exchange Act, proxy, vote, written notice or otherwise) that any “person” or
        “group” (within the meaning of Section 13(d)(3) or Section 14(d)(2) of the Exchange Act or any
        successor provision), other than the Permitted Holders, has become the “beneficial owner” (as de-
        fined in Rules 13d-3 of the Exchange Act, or any successor provision), by way of merger, con-
        solidation or other business combination or purchase, of 50% or more of the total voting power of
        the Voting Stock of the Issuer or any direct or indirect parent company holding directly or indi-
        rectly 100% of the total voting power of the Voting Stock of the Issuer and (B) the Permitted
        Holders do not have the right or ability, by voting power, contract or otherwise, to elect or desig-
        nate for election a majority of the Board of Directors of the Issuer or such parent company; or

                (3)      the adoption by the stockholders of the Issuer of a plan or proposal for the liqui-
        dation or dissolution of the Issuer.

                “Clearstream” means Clearstream Banking, Société Anonyme, and its successors.

                “Code” means the Internal Revenue Code of 1986, as amended, or any successor statute.

                 “Collateral” means all of the property and assets whether now owned or hereafter ac-
quired, in each case, in which Liens are, from time to time, purported to be granted to secure the Obliga-
tions under the Notes and the Guarantees pursuant to the Security Documents, other than Excluded As-
sets.

                “Collateral Agent” has the meaning assigned to such term in the preamble to this Inden-
ture.

                 “Consolidated Interest Expense” means, for any period, the total interest expense of the
Issuer and its consolidated Restricted Subsidiaries (other than with respect to interest paid in kind by the
issuance of additional Indebtedness and other non-cash interest expense), plus, to the extent incurred by
the Issuer and its Restricted Subsidiaries in such period but not included in such interest expense:

                (a)      interest expense attributable to Capitalized Lease Obligations and the interest ex-
        pense attributable to leases constituting part of a Sale and Lease-back Transaction,

                (b)      amortization of debt discount and debt issuance costs,

                (c)      capitalized interest,

               (d)      commissions, discounts and other fees and charges attributable to letters of credit
        and bankers’ acceptance financing,

               (e)      interest accruing on any Indebtedness of any other Person to the extent such In-
        debtedness is guaranteed by (or secured by the assets of) the Issuer or any Restricted Subsidiary,

                (f)      net costs associated with Hedging Obligations,


                                                       -6-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                            Pg 18 of 771


                 (g)    dividends in respect of all Disqualified Stock of the Issuer and all Preferred Stock
        of any of the Restricted Subsidiaries of the Issuer, to the extent held by Persons other than the Is-
        suer or a Wholly Owned Subsidiary,

                (h)       interest incurred in connection with investments in discontinued operations, and

                 (i)     the cash contributions to any employee stock ownership plan or similar trust to
        the extent such contributions are used by such plan or trust to pay interest or fees to any Person
        (other than the Issuer) in connection with Indebtedness incurred by such plan or trust.

Notwithstanding anything to the contrary contained herein, commissions, discounts, yield and other fees
and charges incurred in connection with any transaction pursuant to which the Issuer or any Subsidiary of
the Issuer may sell, convey or otherwise transfer or grant a security interest in any accounts receivable or
related assets shall be included in Consolidated Interest Expense.

                “Consolidated Leverage Ratio” as of any date of determination means the ratio of:

                (a)       Total Consolidated Indebtedness as of the date of determination to

                 (b)      the aggregate amount of EBITDA for the period of the most recent four consecu-
        tive fiscal quarters ending at the end of the most recent fiscal quarter for which internal financial
        statements are available,

provided, however, that

                   (i)    if the Issuer or any Restricted Subsidiary has incurred any Indebtedness since the
        beginning of such period that remains outstanding on such date of determination or if the transac-
        tion giving rise to the need to calculate the Consolidated Leverage Ratio is an incurrence of In-
        debtedness, EBITDA and, for the purpose of calculating EBITDA, Consolidated Interest Expense
        for such period shall be calculated after giving effect on a pro forma basis to such Indebtedness as
        if such Indebtedness had been incurred on the first day of such period and the discharge of any
        other Indebtedness repaid, repurchased, defeased or otherwise discharged with the proceeds of
        such new Indebtedness as if such discharge had occurred on the first day of such period (except
        that in making such computation, the amount of Indebtedness under any revolving credit facility
        outstanding on the date of such calculation shall be deemed to be (i) the average daily balance of
        such Indebtedness during such four fiscal quarters or such shorter period for which such facility
        was outstanding or (ii) if such facility was created after the end of such four fiscal quarters, the
        average daily balance of such Indebtedness during the period from the date of creation of such fa-
        cility to the date of such calculation, in each case, provided that such average daily balance shall
        take into account any repayment of Indebtedness under such facility as provided in clause (ii)),

                  (ii)    if the Issuer or any Restricted Subsidiary has repaid, repurchased, defeased or
        otherwise discharged any Indebtedness since the beginning of such period or if any Indebtedness
        is to be repaid, repurchased, defeased or otherwise discharged (in each case other than Indebted-
        ness incurred under any revolving credit facility unless such Indebtedness has been permanently
        repaid and has not been replaced) on the date of the transaction giving rise to the need to calculate
        the Consolidated Leverage Ratio, EBITDA and, for the purpose of calculating EBITDA, Con-
        solidated Interest Expense for such period shall be calculated on a pro forma basis as if such dis-
        charge had occurred on the first day of such period and as if the Issuer or such Restricted Subsidi-
        ary had not earned the interest income actually earned during such period in respect of cash or
        Cash Equivalents used to repay, repurchase, defease or otherwise discharge such Indebtedness,


                                                     -7-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                            Pg 19 of 771


                (iii)     if since the beginning of such period the Issuer or any Restricted Subsidiary shall
        have made any Asset Sale, EBITDA for such period shall be reduced by an amount equal to
        EBITDA (if positive) directly attributable to the assets that were the subject of such Asset Sale
        for such period or increased by an amount equal to EBITDA (if negative) directly attributable
        thereto for such period and, for the purpose of calculating EBITDA, Consolidated Interest Ex-
        pense for such period shall be reduced by an amount equal to the Consolidated Interest Expense
        directly attributable to any Indebtedness of the Issuer or any Restricted Subsidiary repaid, repur-
        chased, defeased or otherwise discharged with respect to the Issuer and its continuing Restricted
        Subsidiaries in connection with such Asset Sale for such period (or, if the Capital Stock of any
        Restricted Subsidiary is sold, the Consolidated Interest Expense for such period directly attribut-
        able to the Indebtedness of such Restricted Subsidiary to the extent the Issuer and its continuing
        Restricted Subsidiaries are no longer liable for such Indebtedness after such sale),

                (iv)      if since the beginning of such period the Issuer or any Restricted Subsidiary (by
        merger or otherwise) shall have made an Investment in any Restricted Subsidiary (or any Person
        that becomes a Restricted Subsidiary) or an acquisition of assets, including any acquisition of as-
        sets occurring in connection with a transaction causing a calculation to be made hereunder, which
        constitutes all or substantially all of an operating unit of a business, EBITDA and, for the purpose
        of calculating EBITDA, Consolidated Interest Expense for such period shall be calculated after
        giving pro forma effect thereto (including the incurrence of any Indebtedness) as if such Invest-
        ment or acquisition had occurred on the first day of such period, and

                  (v)    if since the beginning of such period any Person (that subsequently became a Re-
        stricted Subsidiary or was merged with or into the Issuer or any Restricted Subsidiary since the
        beginning of such period) shall have made any Asset Sale or any Investment or acquisition of as-
        sets that would have required an adjustment pursuant to clause (iii) or (iv) above if made by the
        Issuer or a Restricted Subsidiary during such period, EBITDA and, for the purpose of calculating
        EBITDA, Consolidated Interest Expense for such period shall be calculated after giving pro
        forma effect thereto as if such Asset Sale, Investment or acquisition of assets had occurred on the
        first day of such period.

For purposes of this definition, whenever pro forma effect is to be given to a transaction, the amount of
income or earnings relating thereto and the amount of Consolidated Interest Expense associated with any
Indebtedness incurred in connection therewith, the pro forma calculations shall be determined in good
faith by a responsible financial or accounting Officer of the Issuer; provided that any such pro forma cal-
culations with respect to cost savings, operating expense reductions or synergies for such period shall be
limited to those resulting from the transaction which is being given pro forma effect that in the reasonable
determination of a responsible financial or accounting Officer of the Issuer (a) are reasonably identifiable
and factually supportable and (b) such actions have been realized or for which the steps necessary for re-
alization have been taken or are reasonably expected to be taken within twelve months following any such
transaction, including, but not limited to, the execution or termination of any contracts, the termination of
any personnel or the closing (or approval by the Board of Directors of any closing) of any facility, as ap-
plicable. If any Indebtedness bears a floating rate of interest and is being given pro forma effect, the inter-
est expense on such Indebtedness shall be calculated as if the rate in effect on the date of determination
had been the applicable rate for the entire period (taking into account any Hedging Obligation applicable
to such Indebtedness).

                 “Consolidated Net Income” means, for any period, the net income (excluding non-
controlling interest) of the Issuer and its Restricted Subsidiaries for such period; provided, however, that
there shall not be included in such Consolidated Net Income:



                                                     -8-
10-16140-mg     Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                         Pg 20 of 771


              (a)     any net income of any Person (other than the Issuer) if such Person is not a Re-
     stricted Subsidiary, except that

                        (i)     subject to the limitations contained in clause (d) below, the Issuer’s eq-
              uity in the net income of any such Person for such period shall be included in such Con-
              solidated Net Income up to the aggregate amount of cash (or other assets to the extent
              converted into cash) actually distributed by such Person during such period to the Issuer
              or a Restricted Subsidiary as a dividend or other distribution (subject, in the case of a
              dividend, debt repayment or other distribution made to a Restricted Subsidiary (other
              than a Guarantor), to the limitations contained in clause (b) below) and

                      (ii)    the Issuer’s equity in a net loss of any such Person for such period shall
              be included in determining such Consolidated Net Income to the extent such loss has
              been funded with cash from the Issuer or a Restricted Subsidiary;

              (b)     except for the purposes of calculating Consolidated Leverage Ratio, any net in-
     come (or loss) of any Restricted Subsidiary (other than any Guarantor) if such Restricted Subsidi-
     ary is not permitted by restrictions, directly or indirectly, to pay dividends or make distributions
     (unless legally waived) to the Issuer, except that

                        (i)     the net income of any such Restricted Subsidiary for such period shall be
              included in such Consolidated Net Income up to the aggregate amount of cash (or other
              assets to the extent converted into cash) actually distributed by such Restricted Subsidiary
              during such period to the Issuer or another Restricted Subsidiary as a dividend, debt re-
              payment or other distribution (subject, in the case of a dividend, debt repayment or other
              distribution made to another Restricted Subsidiary (other than a Guarantor), to the limita-
              tion contained in this clause) and

                      (ii)    the net loss of any such Restricted Subsidiary for such period shall be in-
              cluded in determining such Consolidated Net Income;

              (c)     any gain (loss) realized (less all fees and expenses related thereto) upon the sale
     or other disposition of any asset of the Issuer or its consolidated Subsidiaries (including pursuant
     to any Sale and Lease-back Transaction) that is not sold or otherwise disposed of in the ordinary
     course of business and any gain (loss) realized upon the sale or other disposition of any Capital
     Stock of any Person;

            (d)      any extraordinary, non-recurring or unusual gain or loss or expense (less all fees
     and expenses related thereto);

              (e)     the cumulative effect of a change in accounting principles;

             (f)      effects of adjustments (including the effects of such adjustments pushed down to
     the Issuer and its Restricted Subsidiaries) in the inventory, property and equipment, software,
     goodwill and other intangible assets and in process research and development, deferred revenue
     and debt line items in such Person’s consolidated financial statements pursuant to GAAP result-
     ing from the application of purchase accounting in relation to any consummated acquisition or the
     amortization or write-off of any amounts thereof, net of taxes;

             (g)     any net after-tax income (loss) from the early extinguishment of (i) Indebtedness,
     (ii) Hedging Obligations or (iii) other derivative instruments;


                                                  -9-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                            Pg 21 of 771


                (h)     any net after-tax income or loss from abandoned, closed or discontinued opera-
        tions and any net after-tax gains or losses on disposal of abandoned, closed or discontinued opera-
        tions;

                (i)      any impairment charge or asset write-off or write-down, including impairment
        charges or asset write-offs or write-downs related to intangible assets, long-lived assets, invest-
        ments in debt and equity securities or as a result of a change in the law or regulation, in each case,
        pursuant to GAAP and the amortization of intangibles arising pursuant to GAAP; and

                 (j)     any fees and expenses incurred during such period, or any amortization thereof
        for such period, in connection with any acquisition, disposition, recapitalization, Investment, As-
        set Sale, issuance or repayment of Indebtedness, issuance of Equity Interests, refinancing transac-
        tion or amendment or modification of any debt instrument (in each case, including any other such
        transaction consummated prior to the Release Date and any such transaction undertaken but not
        completed) and any charges or non-recurring merger costs incurred during such period as a result
        of any such transaction.

                 “Contingent Obligations” means, with respect to any Person, any obligation of such Per-
son guaranteeing any leases, dividends or other obligations that do not constitute Indebtedness (“primary
obligations”) of any other Person (the “primary obligor”) in any manner, whether directly or indirectly,
including, without limitation, any obligation of such Person, whether or not contingent,

                 (1)      to purchase any such primary obligation or any property constituting direct or in-
        direct security therefor,

                (2)      to advance or supply funds

                         (a)     for the purchase or payment of any such primary obligation, or

                        (b)     to maintain working capital or equity capital of the primary obligor or
                otherwise to maintain the net worth or solvency of the primary obligor, or

                (3)     to purchase property, securities or services primarily for the purpose of assuring
        the owner of any such primary obligation of the ability of the primary obligor to make payment of
        such primary obligation against loss in respect thereof.

                “Corporate Trust Office of the Trustee” shall be at the address of the Trustee specified in
Section 13.02 hereof or such other address as to which the Trustee may give notice to the Holders and the
Issuer.

                  “Covenant Suspension” means, during any period of time following the issuance of the
Notes, that (i) the Notes have Investment Grade Ratings from both Rating Agencies and (ii) no Default
has occurred and is continuing under this Indenture.

                 “Credit Agreement” means the credit agreement to be entered into on or about the Re-
lease Date, among AMI, the Issuer, the lenders and the administrative agent for such lenders, including
any guarantees, collateral documents, instruments and agreements executed in connection therewith, and
any amendments, supplements, modifications, extensions, renewals, restatements, refundings or refinanc-
ings thereof and any indentures or credit facilities or commercial paper facilities with banks or other insti-
tutional lenders or investors that replace, refund or refinance any part of the loans, notes, other credit fa-
cilities or commitments thereunder, including any such replacement, refunding or refinancing facility or


                                                     -10-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                            Pg 22 of 771


indenture that increases the amount borrowable thereunder or alters the maturity thereof (provided that
such increase in borrowings is permitted under Section 4.09 hereof).

                 “Credit Agreement Lenders” means the “Lenders” from time to time party to, and as de-
fined in, the Credit Agreement, together with their respective successors and assigns; provided that the
term “Credit Agreement Lender” shall in any event also include each letter of credit issuer and swingline
lender under the Credit Agreement, including, without limitation, the “Issuing Bank,” the “Swingline
Lender” and any “Agent” under (and each as defined in) the Credit Agreement.

                 “Custodian” means the Trustee, as custodian with respect to the Global Notes, or any
successor entity thereto.

                “Default” means any event that is, or with the passage of time or the giving of notice or
both would be, an Event of Default.

                  “Definitive Note” means a certificated Note registered in the name of the Holder thereof
and issued in accordance with Section 2.06(c) hereof, substantially in the form of Exhibit A hereto, ex-
cept that such Note shall not bear the Global Note Legend and shall not have the “Schedule of Exchanges
of Interests in the Global Note or Increase/Decrease in the Principal Amount of the Global Note” attached
thereto.

                 “Depositary” means, with respect to the Global Notes, the Person specified in Section
2.03 hereof as the Depositary with respect to the Notes, and any and all successors thereto appointed as
Depositary hereunder and having become such pursuant to the applicable provision of this Indenture.

                “Designated Non-cash Consideration” means the fair market value of non-cash consid-
eration received by the Issuer or a Restricted Subsidiary in connection with an Asset Sale that is so desig-
nated as Designated Non-cash Consideration pursuant to an Officers’ Certificate, setting forth the basis of
such valuation, executed by the principal financial officer of the Issuer, less the amount of cash or Cash
Equivalents received in connection with a subsequent sale of or collection on such Designated Non-cash
Consideration.

                  “Disqualified Stock” means, with respect to any Person, any Capital Stock of such Person
which, by its terms, or by the terms of any security into which it is convertible or for which it is putable or
exchangeable, or upon the happening of any event, matures or is mandatorily redeemable (other than
solely as a result of a change of control or asset sale) pursuant to a sinking fund obligation or otherwise,
or is redeemable at the option of the holder thereof (other than solely as a result of a change of control or
asset sale), in whole or in part, in each case prior to the date 91 days after the earlier of the maturity date
of the Notes or the date the Notes are no longer outstanding; provided, however, that if such Capital Stock
is issued to any plan for the benefit of employees of the Issuer or its Subsidiaries or by any such plan to
such employees, such Capital Stock shall not constitute Disqualified Stock solely because it may be re-
quired to be repurchased by the Issuer or its Subsidiaries in order to satisfy applicable statutory or regula-
tory obligations; provided, further, that any Capital Stock held by any future, current or former employee,
director, manager or consultant (or their respective trusts, estates, investment funds, investment vehicles
or immediate family members) of the Issuer, any of its Subsidiaries or any direct or indirect parent entity
of the Issuer in each case upon the termination of employment or death of such person pursuant to any
stockholders’ agreement, management equity plan, stock option plan or any other management or em-
ployee benefit plan or agreement shall not constitute Disqualified Stock solely because it may be required
to be repurchased by the Issuer or its Subsidiaries.




                                                     -11-
10-16140-mg           Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 23 of 771


                 “EBITDA” for any period means the Consolidated Net Income of the Issuer and its Re-
stricted Subsidiaries for such period, plus, without duplication, the following to the extent deducted in
calculating such Consolidated Net Income:

                (a)      Consolidated income tax expense,

                (b)      Consolidated Interest Expense,

                (c)      Consolidated depreciation expense,

                 (d)      Consolidated amortization expense (including amortization associated with capi-
        talized or short-term display rack costs and the recognition of such costs as a deferred cost asset
        amortized as contra-revenue),

               (e)      any interest paid in kind by the issuance of additional Indebtedness and other
        non-cash interest expense,

                 (f)     any expenses or charges related to any Equity Offering, Permitted Investment,
        acquisition or Indebtedness permitted to be incurred by this Indenture (whether or not successful),

                 (g)      any expense or charge incurred or recorded by the Issuer or any of its Subsidiar-
        ies in connection with (i) Asset Sales or (ii) reorganization and other cost cutting efforts, includ-
        ing, without limitation, expenses and charges relating to severance, relocation and the discon-
        tinuation of titles,

                (h)      any non-cash charges (including any non-cash compensation charge or expense)
        reducing Consolidated Net Income for such period (excluding any such charge which consists of
        or requires an accrual of, or cash reserve for, any anticipated cash charges for any prior or in any
        future period),

                (i)      any charges or credits relating to the adoption of fresh start accounting principles;
        and

                 (j)      solely for purposes of calculating the Consolidated Leverage Ratio, the amount
        of any minority interest expense consisting of Subsidiary income attributable to minority equity
        interests of third parties in any non-wholly owned Subsidiary deducted (and not added back) in
        such period in calculating Consolidated Net Income.

                “Emergence Transactions” means all transactions relating to the Reorganization Plan and
AMO’s emergence from Chapter 11 of the Bankruptcy Code, including, but not limited to, closing of the
Exit Financing.

                “EMU” means the economic and monetary union as contemplated in the Treaty on Euro-
pean Union.

                “Enforcement Notice” shall have the meaning assigned to such term in the First Lien In-
tercreditor Agreement.

                “Equity Interests” means Capital Stock and all warrants, options or other rights to acquire
Capital Stock, but excluding any debt security that is convertible into, or exchangeable for, Capital Stock.



                                                    -12-
10-16140-mg         Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                            Pg 24 of 771


                 “Equity Offering” means any public or private sale of common stock or Preferred Stock
of the Issuer or any of its direct or indirect parent companies (excluding Disqualified Stock), other than:

                (1)   public offerings with respect to the Issuer’s or any direct or indirect parent com-
        pany’s common stock registered on Form S-8;

                  (2)     issuances to any Subsidiary of the Issuer; and

                  (3)     any such public or private sale that constitutes an Excluded Contribution.

               “Escrow Agent” means Wilmington Trust FSB, as escrow agent under the Escrow
Agreement or any successor escrow agent as set forth in the Escrow Agreement.

                 “Escrow Agreement” means the Escrow Agreement to be dated as of the Issue Date,
among the Escrow Issuer, AMO, the Trustee and the Escrow Agent, as amended, supplemented, modi-
fied, extended, renewed, restated or replaced in whole or in part from time to time.

                 “Escrow End Date” means January 30, 2011; provided that the Escrow Issuer may elect
to extend the Escrow End Date to March 6, 2011 so long as, not later than five Business Days prior to
January 30, 2011, (i) it provides prior written notice to the Escrow Agent and the Trustee and has issued a
press release stating that it has extended the Escrow End Date and (ii) AMO or the Escrow Issuer has de-
posited cash or Escrow Investments into escrow with the Escrow Agent, to be held pursuant to the terms
of the Escrow Agreement, in an amount sufficient to fund the redemption price due on the latest permitted
date for the revised Special Mandatory Redemption in respect of all outstanding Notes and has certified in
writing that such amounts will be satisfactory for such purpose.

                 “Escrow Investment” means (1) Government Securities, (2) investments in time deposit
accounts, certificates of deposit and money market deposits maturing no later than the Escrow End Date
in each case, entitled to U.S. Federal deposit insurance for the full amount thereof or issued by a bank or
trust company (including the Escrow Agent or an affiliate of the Escrow Agent) which is organized under
the laws of the United States of America or any State thereof having capital, surplus and undivided profits
aggregating in excess of $500.0 million and (3) repurchase obligations maturing no later than the Escrow
End Date entered into with a nationally recognized broker-dealer, with respect to which the purchase se-
curities are Obligations issued or guaranteed by the United States government or any agency thereof,
which repurchase Obligations shall be entered into pursuant to written agreements.

                  “Escrow Issuer” has the meaning assigned to such term in the preamble to this Indenture.

                  “euro” means the single currency of participating member states of the EMU.

                  “Euroclear” means Euroclear Bank S.A./N.V., as operator of the Euroclear system, and
its successors.

                “Exchange Act” means the Securities Exchange Act of 1934, as amended, and the rules
and regulations of the SEC promulgated thereunder.

                “Exchange Notes” means any Notes issued in exchange for Notes pursuant to the Regis-
tration Rights Agreement or similar agreement.

                  “Exchange Offer” has the meaning set forth in the Registration Rights Agreement.



                                                    -13-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                            Pg 25 of 771


                   “Excluded Contribution” means the amount of net cash proceeds, marketable securities or
Qualified Proceeds received by the Issuer after the Release Date from (1) contributions to its common
equity capital and (2) the sale (other than to a Subsidiary of the Issuer or to any management equity plan
or stock option plan or any other management or employee benefit plan or agreement of the Issuer or any
of its direct or indirect parents) of Capital Stock (other than Disqualified Stock) of the Issuer, in each case
designated as an Excluded Contribution pursuant to an Officers’ Certificate on the date such capital con-
tributions are made or the date such Equity Interests are sold, as the case may be, which are excluded
from the calculation set forth in clause (3) of Section 4.07(a)(IV) hereof.

                “Exit Financing” means that certain financing to finance the Reorganization Plan ex-
pected to be comprised of the Credit Agreement, the Notes and the Second Lien Notes.

                 “fair market value” means, with respect to any asset or liability, the fair market value of
such asset or liability as determined by the Issuer in good faith; provided that if the fair market value is
equal to or exceeds $25.0 million, such determination shall be made by the Board of Directors of the Is-
suer.

                 “First Lien Credit Documents” means the Credit Agreement, the other Loan Documents
(as defined in the Credit Agreement), and each of the other agreements, documents, and instruments pro-
viding for or evidencing any other First Lien Obligation and any other document or instrument executed
or delivered at any time in connection with any First Lien Obligation (including any intercreditor or join-
der agreement among holders of First Lien Obligations but excluding Secured Hedge Agreements and the
documents governing the Cash Management Obligations), to the extent such are effective at the relevant
time, as each may be amended, modified, restated, supplemented, replaced or refinanced from time to
time.

              “First Lien Documents” means this Indenture, the First Lien Credit Documents, the Se-
cured Hedge Agreements, and any and all documents governing the Cash Management Obligations.

                “First Lien Intercreditor Agreement” means the First Lien Intercreditor Agreement dated
on or about the Release Date among the Collateral Agent, the collateral agent in respect of the Credit
Agreement, the Issuer, AMI and each other Guarantor named therein, as such agreement may be
amended, restated, supplemented or otherwise modified from time to time.

                 “First Lien Leverage Ratio” means the ratio of (1) the aggregate principal amount of Pari
Passu Lien Indebtedness (calculated net of up to $20.0 million of unrestricted cash and Cash Equivalents
of the Issuer and its Restricted Subsidiaries as of such date of determination) to (2) EBITDA for the most
recently ended four fiscal quarters for which financial statements are available immediately preceding the
date of determination, with such pro forma adjustments to EBITDA as would be required under the pro-
viso to the definition of “Consolidated Leverage Ratio” in performing a calculation thereof.

                 “First Lien Obligations” means (i) all Obligations arising under (and as defined in) the
Credit Agreement of the Issuer and the Guarantors, under any other document relating to the Credit
Agreement incurred under Section 4.09(b)(1) hereof, (ii) all Obligations under this Indenture, (iii) all Se-
cured Hedging Obligations and (iv) all Cash Management Obligations; provided that the aggregate prin-
cipal amount of, without duplication, revolving credit loans, letters of credit, term loans, other loans,
notes or similar instruments (excluding, in any event, Cash Management Obligations and Secured Hedg-
ing Obligations) provided for under the Credit Agreement or any other document relating to the Credit
Agreement (or any refinancing thereof) in excess of the amount permitted under Section 4.09(b)(1) hereof
and any interest relating to such excess amount, shall not constitute First Lien Obligations for purposes of
this Indenture. “First Lien Obligations” shall in any event include (a) all interest accrued or accruing, or


                                                     -14-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                            Pg 26 of 771


which would accrue, absent commencement of an Insolvency or Liquidation Proceeding (and the effect of
provisions such as Section 502(b)(2) of the Bankruptcy Code), on or after the commencement of an In-
solvency or Liquidation Proceeding in accordance with the rate specified in the relevant First Lien
Document, whether or not the claim for such interest is allowed or allowable as a claim in such Insol-
vency or Liquidation Proceeding, (b) any and all fees and expenses (including attorneys’ and/or financial
consultants’ fees and expenses) incurred by the First Lien Representative and the First Lien Secured Par-
ties on or after the commencement of an Insolvency or Liquidation Proceeding, whether or not the claim
for fees and expenses is allowed or allowable under Section 502 or 506(b) of the Bankruptcy Code or any
other provision of the Bankruptcy Code or any similar federal, state or foreign law for the relief of debt-
ors as a claim in such Insolvency or Liquidation Proceeding, and (c) all obligations and liabilities of the
Issuer and each Guarantor under each First Lien Document to which it is a party which, but for the auto-
matic stay under Section 362(a) of the Bankruptcy Code, would become due and payable.

                  “First Lien Representative” means, as between collateral agents representing different se-
ries of First Lien Obligations, the collateral agent representing the series of First Lien Obligations with
the greatest outstanding principal amount.

                “Foreign Subsidiary” means, with respect to any Person, any Restricted Subsidiary of
such Person that is not organized or existing under the laws of the United States, any state thereof or the
District of Columbia and any Restricted Subsidiary of such Foreign Subsidiary.

                  “GAAP” means generally accepted accounting principles in the United States which are
in effect on the Issue Date. At any time after the Issue Date, the Issuer may elect to apply IFRS account-
ing principles in lieu of GAAP and, upon any such election, references herein to GAAP shall thereafter be
construed to mean IFRS (except as otherwise provided in this Indenture); provided that any such election,
once made, shall be irrevocable; provided, further, any calculation or determination in this Indenture that
requires the application of GAAP for periods that include fiscal quarters ended prior to the Issuer’s elec-
tion to apply IFRS shall remain as previously calculated or determined in accordance with GAAP. The
Issuer shall give written notice of any such election made in accordance with this definition to the Trustee
and the Holders of the Notes.

                 “Global Note Legend” means the legend set forth in Section 2.06(g)(ii) hereof, which is
required to be placed on all Global Notes issued under this Indenture.

                “Global Notes” means, individually and collectively, each of the Restricted Global Notes
and the Unrestricted Global Notes, substantially in the form of Exhibit A hereto, issued in accordance
with Section 2.01, 2.06(b), 2.06(d), 2.06(f) or 2.07 hereof.

                 “Government Securities” means securities that are:

                (1)       direct obligations of the United States of America for the timely payment of
        which its full faith and credit is pledged; or

                (2)      obligations of a Person controlled or supervised by and acting as an agency or in-
        strumentality of the United States of America the timely payment of which is unconditionally
        guaranteed as a full faith and credit obligation by the United States of America,

which, in either case, are not callable or redeemable at the option of the issuers thereof, and shall also in-
clude a depository receipt issued by a bank (as defined in Section 3(a)(2) of the Securities Act), as custo-
dian with respect to any such Government Securities or a specific payment of principal of or interest on
any such Government Securities held by such custodian for the account of the holder of such depository


                                                     -15-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                            Pg 27 of 771


receipt; provided that (except as required by law) such custodian is not authorized to make any deduction
from the amount payable to the holder of such depository receipt from any amount received by the custo-
dian in respect of the Government Securities or the specific payment of principal of or interest on the
Government Securities evidenced by such depository receipt.

                “Grantors” means the Issuer and the Guarantors.

                 “guarantee” means a guarantee (other than by endorsement of negotiable instruments for
collection in the ordinary course of business), direct or indirect, in any manner (including letters of credit
and reimbursement agreements in respect thereof), of all or any part of any Indebtedness or other obliga-
tions.

                “Guarantee” means the guarantee by any Guarantor of the Issuer’s Obligations under this
Indenture and the Notes.

                “Guarantor” means each Restricted Subsidiary that guarantees the Notes in accordance
with the terms of this Indenture.

                “Hedge Bank” means any Person that is a Credit Agreement Lender or an Affiliate of a
Credit Agreement Lender at the time it enters into a Secured Hedge Agreement, in its capacity as a party
thereto, and such Person’s successors and assigns.

                 “Hedging Obligations” means, with respect to any Person, the obligations of such Person
under any interest rate swap agreement, interest rate cap agreement, interest rate collar agreement, com-
modity swap agreement, commodity cap agreement, commodity collar agreement, foreign exchange con-
tract, currency swap agreement or similar agreement providing for the transfer or mitigation of interest
rate or currency risks either generally or under specific contingencies.

                “Holder” means the Person in whose name a Note is registered on the Registrar’s books.

                 “IAI Global Note” means a global note substantially in the form of Exhibit A hereto bear-
ing the Global Note Legend and the Private Placement Legend and deposited with or on behalf of, and
registered in the name of, the Depositary or its nominee that will be issued (or the principal amount of
which will be increased) in a denomination equal to the outstanding principal amount of Initial Notes sold
to Accredited Investors.

                “Indebtedness” means, with respect to any Person, without duplication:

                (1)     any indebtedness (including principal and premium) of such Person, whether or
        not contingent:

                         (a)      in respect of borrowed money;

                          (b)     evidenced by bonds, notes, debentures or similar instruments or letters of
                 credit or bankers’ acceptances (or, without duplication, reimbursement agreements in re-
                 spect thereof);

                          (c)      representing the balance deferred and unpaid of the purchase price of any
                 property (including Capitalized Lease Obligations), except (i) any such balance that con-
                 stitutes a trade payable or similar obligation to a trade creditor, in each case accrued in



                                                     -16-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                    Main Document
                                            Pg 28 of 771


                the ordinary course of business and (ii) any earn-out obligations until such obligation be-
                comes a liability on the balance sheet of such Person in accordance with GAAP; or

                         (d)     representing any Hedging Obligations;

        if and to the extent that any of the foregoing Indebtedness (other than letters of credit and Hedg-
        ing Obligations) would appear as a liability upon a balance sheet (excluding the footnotes thereto)
        of such Person prepared in accordance with GAAP;

                 (2)      to the extent not otherwise included, any obligation by such Person to be liable
        for, or to pay, as obligor, guarantor or otherwise, on the obligations of the type referred to in
        clause (1) of a third Person (whether or not such items would appear upon the balance sheet of the
        such obligor or guarantor), other than by endorsement of negotiable instruments for collection in
        the ordinary course of business; and

                (3)       to the extent not otherwise included, the obligations of the type referred to in
        clause (1) of a third Person secured by a Lien on any asset owned by such first Person, whether or
        not such Indebtedness is assumed by such first Person but only to the extent of the fair market
        value of the assets subject to such Lien;

provided, however, that notwithstanding the foregoing, Indebtedness shall be deemed not to in-
clude Contingent Obligations incurred in the ordinary course of business.

                “IFRS” means the International Financial Reporting Standards as adopted by the Interna-
tional Accounting Standards Board.

                “Indenture” means this Indenture, as amended or supplemented from time to time.

                 “Independent Financial Advisor” means an accounting, appraisal, investment banking
firm or consultant to Persons engaged in Similar Businesses of nationally recognized standing that is, in
the good faith judgment of the Issuer, qualified to perform the task for which it has been engaged.

                “Indirect Participant” means a Person who holds a beneficial interest in a Global Note
through a Participant.

                “Initial Notes” shall have the meaning given to it in the recitals hereto.

                “Initial Purchasers” means J.P. Morgan Securities LLC, Deutsche Bank Securities Inc.
and Credit Suisse Securities (USA) LLC.

                 “Insolvency or Liquidation Proceeding” means (a) any voluntary or involuntary case or
proceeding under the Bankruptcy Code with respect to the Issuer or any Guarantor, (b) any other volun-
tary or involuntary insolvency, reorganization or bankruptcy case or proceeding, or any receivership, liq-
uidation, reorganization or other similar case or proceeding with respect to the Issuer or any Guarantor or
with respect to a material portion of its respective assets, (c) any liquidation, dissolution, reorganization
or winding up of the Issuer or any Guarantor, whether voluntary or involuntary and whether or not in-
volving insolvency or bankruptcy, or (d) any assignment for the benefit of creditors or any other marshal-
ling of assets and liabilities of the Issuer or any Guarantor.

                “Intercreditor Agreements” means the First Lien Intercreditor Agreement and the Second
Lien Intercreditor Agreement.


                                                    -17-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                            Pg 29 of 771


                 “Interest Payment Date” means June 15 and December 15 of each year to stated maturity
(provided that if any such day is not a Business Day, interest shall be paid on the next succeeding Busi-
ness Day and no interest shall accrue for the intervening period in respect of such Interest Payment Date).

                “Investment Grade Rating” means a rating equal to or higher than Baa3 (or the equiva-
lent) by Moody’s and BBB- (or the equivalent) by S&P, in each case, with a stable or better outlook, or
an equivalent rating by any other Rating Agency.

                 “Investments” means, with respect to any Person, all investments by such Person in other
Persons (including Affiliates) in the form of loans (including guarantees), advances or capital contribu-
tions (excluding accounts receivable, trade credit, advances to customers, commissions, travel and similar
advances to officers and employees, in each case made in the ordinary course of business), purchases or
other acquisitions for consideration of Indebtedness, Equity Interests or other securities issued by any
other Person and investments that are required by GAAP to be classified on the balance sheet (excluding
the footnotes) of the Issuer in the same manner as the other investments included in this definition to the
extent such transactions involve the transfer of cash or other property. For purposes of the definition of
“Unrestricted Subsidiary” and Section 4.07 hereof:

                 (1)     “Investments” shall include the portion (proportionate to the Issuer’s equity in-
        terest in such Subsidiary) of the fair market value of the net assets of a Subsidiary of the Issuer at
        the time that such Subsidiary is designated an Unrestricted Subsidiary; provided, however, that
        upon a redesignation of such Subsidiary as a Restricted Subsidiary, the Issuer shall be deemed to
        continue to have a permanent “Investment” in an Unrestricted Subsidiary in an amount (if posi-
        tive) equal to:

                         (a)     the Issuer’s “Investment” in such Subsidiary at the time of such redesig-
                nation; less

                         (b)     the portion (proportionate to the Issuer equity interest in such Subsidiary)
                of the fair market value of the net assets of such Subsidiary at the time of such redesigna-
                tion; and

                  (2)    any property transferred to or from an Unrestricted Subsidiary shall be valued at
        its fair market value at the time of such transfer.

                “Issue Date” means the date Initial Notes are issued under this Indenture.

                “Issuer” has the meaning assigned to such term in the preamble to this Indenture.

                  “Issuer Order” means a written request or order signed on behalf of the Issuer by any Of-
ficer of the Issuer and delivered to the Trustee.

                 “Legal Holiday” means a Saturday, a Sunday or a day on which commercial banking in-
stitutions are not required to be open in the States of New York, Minnesota and Delaware. If a payment
date is a Legal Holiday, payment shall be made on the next succeeding day that is not a Legal Holiday,
and no interest shall accrue for the intervening period in respect of such payment date.

                 “Letter of Transmittal” means the letter of transmittal to be prepared by the Issuer and
sent to all Holders of the Notes for use by such Holders in connection with the Exchange Offer.




                                                     -18-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                            Pg 30 of 771


                “Lien” means, with respect to any asset, any mortgage, lien (statutory or otherwise),
pledge, hypothecation, charge, security interest, preference, priority or encumbrance of any kind in re-
spect of such asset, whether or not filed, recorded or otherwise perfected under applicable law, including
any conditional sale or other title retention agreement, any lease in the nature thereof, any option or other
agreement to sell or give a security interest in and any filing of or agreement to give any financing state-
ment under the Uniform Commercial Code (or equivalent statutes) of any jurisdiction (other than a filing
for informational purposes); provided that in no event shall an operating lease be deemed to constitute a
Lien.

                “Moody’s” means Moody’s Investors Service, Inc. and any successor to its rating agency
business.

                   “Net Proceeds” means the aggregate cash proceeds received by the Issuer or any of its
Restricted Subsidiaries in respect of any Asset Sale, including any cash received upon the sale or other
disposition of any Designated Non-cash Consideration received in any Asset Sale, net of the direct costs
relating to such Asset Sale and the sale or disposition of such Designated Non-cash Consideration, includ-
ing legal, accounting and investment banking fees, and brokerage and sales commissions, any relocation
expenses incurred as a result thereof, taxes paid or payable as a result thereof (after taking into account
any available tax credits or deductions and any tax sharing arrangements), amounts required to be applied
to the repayment of principal, premium, if any, and interest on Indebtedness required (other than required
by clause (1) of Section 4.10(b) hereof) to be paid as a result of such transaction, amounts required to be
paid to minority interest holders in Restricted Subsidiaries as a result of such Asset Sale, any portion of
the purchase price from such Asset Sale placed in escrow as a requirement of such Asset Sale (but only
for the duration of such escrow), and any deduction of appropriate amounts to be provided by the Issuer
or any of the Restricted Subsidiaries as a reserve in accordance with GAAP against any liabilities associ-
ated with the asset disposed of in such transaction and retained by the Issuer or any of the Restricted Sub-
sidiaries after such sale or other disposition thereof, including pension and other post-employment benefit
liabilities and liabilities related to environmental matters or against any indemnification obligations asso-
ciated with such transaction.

                “Non-U.S. Person” means a Person who is not a U.S. Person.

                “Notes” means the Initial Notes, any Exchange Notes and any Additional Notes issued
under this Indenture.

                  “Obligations” means any principal (including any accretion), interest (including any in-
terest accruing subsequent to the filing of a petition in bankruptcy, reorganization or similar proceeding at
the rate provided for in the documentation with respect thereto, whether or not such interest is an allowed
claim under applicable state, federal or foreign law), penalties, fees, indemnifications, reimbursements
(including reimbursement obligations with respect to letters of credit and banker’s acceptances), damages
and other liabilities, and guarantees of payment of such principal (including accretion), interest, penalties,
fees, indemnifications, reimbursements, damages and other liabilities, payable under the documentation
governing any Indebtedness.

                 “Offering Memorandum” means the final offering memorandum, dated November 16,
2010, relating to the sale of the Initial Notes.

                 “Officer” means the Chairman of the Board, the Chief Executive Officer, the Chief Fi-
nancial Officer, the President, any Executive Vice President, Senior Vice President or Vice President, the
Treasurer or the Secretary of the Issuer.



                                                     -19-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                            Pg 31 of 771


                 “Officers’ Certificate” means a certificate signed on behalf of the Issuer by any two Offi-
cers of the Issuer, one of whom must be one of the principal executive officer, the principal financial offi-
cer, the treasurer or the principal accounting officer of the Issuer, that meets the requirements set forth in
this Indenture.

                “Opinion of Counsel” means a written opinion from legal counsel who is acceptable to
the Trustee. The counsel may be an employee of or counsel to the Issuer.

              “Pari Passu Lien Indebtedness”means (i) the Notes, (ii) Indebtedness under the Credit
Agreement and (iii) Additional Pari Passu Lien Indebtedness.

                “Participant” means, with respect to the Depositary, Euroclear or Clearstream, a Person
who has an account with the Depositary, Euroclear or Clearstream, respectively (and, with respect to
DTC, shall include Euroclear and Clearstream).

                “Participating Broker-Dealer” has the meaning set forth in the Registration Rights
Agreement.

                 “Permitted Asset Swap” means the concurrent purchase and sale or exchange of Related
Business Assets or a combination of Related Business Assets and cash or Cash Equivalents between the
Issuer or any of its Restricted Subsidiaries and another Person; provided, that any cash or Cash Equiva-
lents received must be applied in accordance with Section 4.10 hereof.

                  “Permitted Holders” means (i) Angelo, Gordon & Co., L.P., (ii) Avenue Capital Man-
agement II, L.P., (iii) Capital Research and Management Company, Capital Guardian Trust Company and
Capital International, Inc., (iv) Credit Suisse Securities (USA) LLC, (v) Regiment Capital Management,
LLC, (vi) [reserved], (vii) any group (within the meaning of Section 13(d)(3) or 14(d)(2) of the Exchange
Act or any successor provision) of which any of the Permitted Holders specified in clauses (i)-(v)
above are members, and (viii) the respective Affiliates of each of the foregoing; provided that in the case
of any group specified in clause (vii) above, without giving effect to such group, Permitted Holders speci-
fied in clauses (i)-(v) above and their respective Affiliates must collectively beneficially own a greater
amount of the total voting power of the Voting Stock of AMI than the amount of the total voting power of
the Voting Stock of AMI beneficially owned by any other member of such group.

                “Permitted Investments” means:

                 (1)     any Investment in the Issuer or any of its Restricted Subsidiaries;

                 (2)     any Investment in cash and Cash Equivalents;

                (3)      any Investment by the Issuer or any of its Restricted Subsidiaries in a Person that
        is engaged in a Similar Business if as a result of such Investment:

                         (a)      such Person becomes a Restricted Subsidiary; or

                           (b)     such Person, in one transaction or a series of related transactions, is
                 merged or consolidated with or into, or transfers or conveys substantially all of its assets
                 to, or is liquidated into, the Issuer or a Restricted Subsidiary,

        and, in each case, any Investment held by such Person; provided that such Investment was not ac-
        quired by such Person in contemplation of such acquisition, merger, consolidation or transfer;


                                                     -20-
10-16140-mg     Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                         Pg 32 of 771


             (4)      any Investment in securities or other assets not constituting cash or Cash Equiva-
     lents and received in connection with an Asset Sale made pursuant to the provisions of Section
     4.10 hereof or any other disposition of assets not constituting an Asset Sale;

              (5)     any Investment existing on the Release Date;

              (6)     any Investment acquired by the Issuer or any of its Restricted Subsidiaries:

                      (a)      in exchange for any other Investment or accounts receivable held by the
              Issuer or any such Restricted Subsidiary in connection with or as a result of a bankruptcy,
              workout, reorganization or recapitalization of the issuer of such other Investment or ac-
              counts receivable; or

                      (b)      as a result of a foreclosure by the Issuer or any of its Restricted Subsidi-
              aries with respect to any secured Investment or other transfer of title with respect to any
              secured Investment in default;

              (7)     Hedging Obligations permitted under clause (10) of Section 4.09(b) hereof;

             (8)      any Investment in a Similar Business having an aggregate fair market value,
     taken together with all other Investments made pursuant to this clause (8) that are at that time out-
     standing, not to exceed the greater of (x) $25.0 million and (y) 3.0% of Total Assets at the time of
     such Investment (with the fair market value of each Investment being measured at the time made
     and without giving effect to subsequent changes in value);

              (9)     Investments the payment for which consists of Equity Interests (exclusive of
     Disqualified Stock) of the Issuer, or any of its direct or indirect parent companies; provided, how-
     ever, that such Equity Interests will not increase the amount available for Restricted Payments
     under clause (3) of Section 4.07(a) hereof;

              (10)    guarantees of Indebtedness permitted under Section 4.09 hereof;

             (11)      any transaction to the extent it constitutes an Investment that is permitted and
     made in accordance with the provisions of Section 4.11 hereof (except transactions described in
     clauses (2), (5) and (16) of Section 4.11(b) hereof);

              (12)     additional Investments having an aggregate fair market value, taken together with
     all other Investments made pursuant to this clause (12) that are at that time outstanding (without
     giving effect to the sale of an Unrestricted Subsidiary to the extent the proceeds of such sale do
     not consist of cash or marketable securities), not to exceed the greater of (x) $40.0 million and
     (y) 5.0% of Total Assets at the time of such Investment (with the fair market value of each In-
     vestment being measured at the time made and without giving effect to subsequent changes in
     value);

            (13)    loans and advances to, or guarantees of Indebtedness of, officers, directors and
     employees in an amount not to exceed $5.0 million at any time outstanding;

              (14)    loans and advances to officers, directors and employees for business related
     travel expenses, moving expenses and other similar expenses, in each case incurred in the ordi-
     nary course of business; and



                                                  -21-
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                        Pg 33 of 771


             (15)    prepaid expenses, deposits, advances, loans or extensions of trade credit in the
     ordinary course of business by the Issuer or any Restricted Subsidiaries.

              “Permitted Liens” means, with respect to any Person:

              (1)     pledges or deposits by such Person under workmen’s compensation laws, unem-
     ployment insurance laws or similar legislation, or good faith deposits in connection with bids,
     tenders, contracts (other than for the payment of Indebtedness) or leases to which such Person is a
     party, or deposits to secure public or statutory obligations of such Person or deposits of cash or
     U.S. government bonds to secure surety or appeal bonds to which such Person is a party, or de-
     posits as security for contested taxes or import duties or for the payment of rent, in each case in-
     curred in the ordinary course of business;

             (2)      Liens imposed by law, such as carriers’, warehousemen’s and mechanics’ Liens,
     in each case for sums not yet overdue for a period of more than 30 days or being contested in
     good faith by appropriate proceedings or other Liens arising out of judgments or awards against
     such Person with respect to which such Person shall then be proceeding with an appeal or other
     proceedings for review if adequate reserves with respect thereto are maintained on the books of
     such Person in accordance with GAAP;

              (3)     Liens for taxes, assessments or other governmental charges not yet overdue for a
     period of more than 30 days or payable or subject to penalties for nonpayment or which are being
     contested in good faith by appropriate proceedings diligently conducted, if adequate reserves with
     respect thereto are maintained on the books of such Person in accordance with GAAP;

              (4)     Liens in favor of issuers of performance and surety bonds or bid bonds or with
     respect to other regulatory requirements or letters of credit issued pursuant to the request of and
     for the account of such Person in the ordinary course of its business;

              (5)      minor survey exceptions, minor encumbrances, easements or reservations of, or
     rights of others for, licenses, rights-of-way, sewers, electric lines, telegraph and telephone lines
     and other similar purposes, or zoning or other restrictions as to the use of real properties or Liens
     incidental, to the conduct of the business of such Person or to the ownership of its properties
     which were not incurred in connection with Indebtedness and which do not in the aggregate mate-
     rially adversely affect the value of said properties or materially impair their use in the operation
     of the business of such Person;

             (6)      (i) Liens securing Indebtedness under the Credit Agreement incurred pursuant to
     clause (1) of Section 4.09(b) hereof (and the related guarantees) and (ii) Liens securing Indebted-
     ness permitted to be incurred pursuant to clause (4) of Section 4.09(b) hereof covering only the
     property (real or personal) or equipment (other than software), whether through the direct pur-
     chase of assets or the Capital Stock of any Person owning such assets, in each case, financed by
     or acquired with such Indebtedness;

              (7)    Liens existing on the Release Date (other than Liens in favor of secured parties
     under the Credit Agreement) including Liens securing the Second Lien Notes issued on or prior
     to the Release Date; provided that such Second Lien Notes are subject to the Second Lien Inter-
     creditor Agreement;

             (8)   Liens on property or shares of stock or other assets of a Person at the time such
     Person becomes a Subsidiary; provided, however, such Liens are not created or incurred in con-


                                                 -22-
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                        Pg 34 of 771


     nection with, or in contemplation of, such other Person becoming such a Subsidiary; provided,
     further, however, that such Liens may not extend to any other property or assets owned by the Is-
     suer or any of its Restricted Subsidiaries;

              (9)     Liens on property or other assets at the time the Issuer or a Restricted Subsidiary
     acquired the property or such other assets, including any acquisition by means of a merger or con-
     solidation with or into the Issuer or any of its Restricted Subsidiaries; provided, however, that
     such Liens are not created or incurred in connection with, or in contemplation of, such acquisi-
     tion; provided, further, however, that the Liens may not extend to any other property owned by
     the Issuer or any of its Restricted Subsidiaries;

              (10)    Liens securing Indebtedness or other obligations of a Restricted Subsidiary ow-
     ing to the Issuer or another Restricted Subsidiary permitted to be incurred in accordance with
     Section 4.09 hereof;

              (11)    Liens securing Hedging Obligations;

             (12)    Liens on specific items of inventory or other goods and proceeds of any Person
     securing such Person’s obligations in respect of bankers’ acceptances issued or created for the ac-
     count of such Person to facilitate the purchase, shipment or storage of such inventory or other
     goods;

              (13)     leases, subleases, licenses or sublicenses granted to others in the ordinary course
     of business which do not materially interfere with the ordinary conduct of the business of the Is-
     suer or any of its Restricted Subsidiaries and do not secure any Indebtedness;

             (14)     Liens arising from Uniform Commercial Code financing statement filings regard-
     ing operating leases entered into by the Issuer and its Restricted Subsidiaries in the ordinary
     course of business;

              (15)    Liens in favor of the Issuer or any Guarantor;

             (16)    Liens on equipment of the Issuer or any of its Restricted Subsidiaries granted in
     the ordinary course of business to the Issuer’s clients not related to Indebtedness;

             (17)     Liens to secure any refinancing, refunding, extension, renewal or replacement (or
     successive refinancing, refunding, extensions, renewals or replacements) as a whole, or in part, of
     any Indebtedness secured by any Lien referred to in the foregoing clauses (6), (7), (8) and (9);
     provided, however, that (a) such new Lien shall be limited to all or part of the same property that
     secured the original Lien (plus improvements on such property), and (b) the Indebtedness secured
     by such Lien at such time is not increased to any amount greater than the sum of (i) the out-
     standing principal amount or, if greater, committed amount of the Indebtedness described under
     the foregoing clauses (6), (7), (8) and (9) at the time the original Lien became a Permitted Lien
     under this Indenture, and (ii) an amount necessary to pay any accrued interest and fees and ex-
     penses, including premiums, related to such refinancing, refunding, extension, renewal or re-
     placement;

              (18)    deposits made in the ordinary course of business to secure liability to insurance
     carriers;




                                                 -23-
10-16140-mg     Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                         Pg 35 of 771


             (19)    other Liens that are not on Collateral securing obligations incurred in the ordi-
     nary course of business which obligations do not exceed $10.0 million at any one time out-
     standing;

              (20)     Liens securing judgments for the payment of money not constituting an Event of
     Default under clause (5) of Section 6.01(a) hereof, so long as such Liens are adequately bonded
     and any appropriate legal proceedings that may have been duly initiated for the review of such
     judgment have not been finally terminated or the period within which such proceedings may be
     initiated has not expired;

             (21)    Liens in favor of customs and revenue authorities arising as a matter of law to se-
     cure payment of customs duties in connection with the importation of goods in the ordinary
     course of business;

               (22)    Liens (i) of a collection bank arising under Section 4-210 of the Uniform Com-
     mercial Code (or any comparable or successor provision) on items in the course of collection,
     (ii) attaching to commodity trading accounts or other commodity brokerage accounts incurred in
     the ordinary course of business, and (iii) in favor of banking institutions arising as a matter of law
     encumbering deposits (including the right of set-off) and which are within the general parameters
     customary in the banking industry;

             (23)     Liens deemed to exist in connection with Investments in repurchase agreements
     permitted under Section 4.09 hereof; provided that such Liens do not extend to any assets other
     than those that are the subject of such repurchase agreements;

              (24)    Liens encumbering reasonable customary initial deposits and margin deposits
     and similar Liens attaching to commodity trading accounts or other brokerage accounts incurred
     in the ordinary course of business and not for speculative purposes;

               (25)    Liens that are contractual rights of set-off (i) relating to the establishment of de-
     pository relations with banks not given in connection with the issuance of Indebtedness,
     (ii) relating to pooled deposit or sweep accounts of the Issuer or any of its Restricted Subsidiaries
     to permit satisfaction of overdraft or similar obligations incurred in the ordinary course of busi-
     ness of the Issuer and its Restricted Subsidiaries or (iii) relating to purchase orders and other
     agreements entered into with customers of the Issuer or any of its Restricted Subsidiaries in the
     ordinary course of business;

              (26)    any encumbrance or restriction (including put and call arrangements) with re-
     spect to Capital Stock of any joint venture or similar arrangement pursuant to any joint venture or
     similar agreement;

             (27)     Liens arising out of conditional sale, title retention, consignment or similar ar-
     rangements for the sale or purchase of goods entered into by the Issuer or any of its Restricted
     Subsidiaries in the ordinary course of business;

             (28)     Liens arising under this Indenture in favor of the Trustee for its own benefit and
     similar Liens in favor of other trustees, agents and representatives arising under instruments gov-
     erning Indebtedness permitted to be incurred or outstanding under this Indenture, provided that
     such Liens are solely for the benefit of the trustees, agents and representatives in their capacities
     as such and not for the benefit of the holders of such Indebtedness;



                                                  -24-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 36 of 771


                (29)    Liens arising from the deposit of funds or securities in trust for the purpose of
        decreasing or defeasing Indebtedness so long as such deposit of funds or securities and such de-
        creasing or defeasing of Indebtedness are permitted under Section 4.07 hereof;

                (30)     Liens on the Equity Interests of Unrestricted Subsidiaries;

                 (31)    Liens on the Collateral securing the Notes issued on the Issue Date, the Guaran-
        tees thereof and other Obligations under this Indenture and in respect thereof and any obligations
        owing to the Trustee or the Collateral Agent under this Indenture or the Security Documents;

                 (32)    Liens on assets of Foreign Subsidiaries to secure Indebtedness of Foreign Sub-
        sidiaries;

                 (33)     Liens on the Collateral securing Additional Pari Passu Lien Indebtedness; pro-
        vided that (x) at the time of incurrence of such Additional Pari Passu Lien Indebtedness and on a
        pro forma basis immediately after giving effect thereto, the First Lien Leverage Ratio for the Is-
        suer and its Restricted Subsidiaries’ on a consolidated basis for the most recently ended four fis-
        cal quarters for which internal financial statements are available immediately preceding the date
        of such transaction is equal to or less than 2.75 to 1.0; and (y) if at the time of incurrence of such
        Additional Pari Passu Lien Indebtedness and on a pro forma basis immediately after giving effect
        thereto, the First Lien Leverage Ratio for the Issuer and its Restricted Subsidiaries’ on a consoli-
        dated basis for the most recently ended four fiscal quarters for which internal financial statements
        are available immediately preceding the date of such transaction exceeds 2.75 to 1.0, such Addi-
        tional Pari Passu Lien Indebtedness does not exceed $5.0 million at any time outstanding; and

                 (34)    Liens on the Collateral securing on a junior priority basis Indebtedness incurred
        pursuant to Section 4.09(a) hereof; provided that any such Indebtedness and guarantees shall be
        subject to a Second Lien Intercreditor Agreement.

                 In each case set forth above, notwithstanding any stated limitation on the assets that may
be subject to such Lien, a Permitted Lien on a specified asset or group or type of assets may include Liens
on all improvements, additions, and accessions thereto and all products and proceeds thereof, including
dividends, distributions, interest and increases in respect thereof.

                For purposes of this definition, the term “Indebtedness” shall be deemed to include inter-
est on such Indebtedness.

                “Permitted Second Lien Obligations” means the Second Lien Notes and any Indebtedness
secured by a Lien incurred under clause (34) of the definition of “Permitted Liens.”

                 “Person” means any individual, corporation, limited liability company, partnership, joint
venture, association, joint stock company, trust, unincorporated organization, government or any agency
or political subdivision thereof or any other entity.

                “Preferred Stock” means any Equity Interest with preferential rights of payment of divi-
dends or upon liquidation, dissolution, or winding up.

                 “Priority Payment Lien Obligations” means (i) any Indebtedness incurred pursuant to
clause (1) of Section 4.09(b) hereof, (ii) Cash Management Obligations with a Cash Management Bank
and (iii) Secured Hedging Obligations, in each case, so designated by the Issuer.



                                                    -25-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 37 of 771


                “Private Placement Legend” means the legend set forth in Section 2.06(g)(i) hereof to be
placed on all Notes issued under this Indenture, except where otherwise permitted by the provisions of
this Indenture.

               “Purchase Agreement” means the purchase agreement in respect of the Initial Notes,
dated as of November 16, 2010, by and between the Escrow Issuer and the Initial Purchasers.

                 “Purchase Money Obligations” means any Indebtedness incurred to finance or refinance
the acquisition, leasing, construction or improvement of property (real or personal) or assets (other than
Capital Stock), and whether acquired through the direct acquisition of such property or assets, or other-
wise.

                “QIB” means a “qualified institutional buyer” as defined in Rule 144A.

                “Qualified Proceeds” means assets that are used or useful in, or Capital Stock of any Per-
son engaged in, a Similar Business; provided that the fair market value of any such assets or Capital
Stock shall be determined by the Issuer in good faith.

                  “Rating Agencies” means Moody’s and S&P or, if Moody’s or S&P or both shall not
make a rating on the Notes publicly available, a nationally recognized statistical rating agency or agen-
cies, as the case may be, selected by the Issuer which shall be substituted for Moody’s or S&P or both, as
the case may be.

               “Record Date” for the interest or Additional Interest, if any, payable on any applicable
Interest Payment Date means June 1 or December 1 (whether or not a Business Day) next preceding such
Interest Payment Date.

                 “Registration Rights Agreement” means the Registration Rights Agreement in respect of
the Notes, to be dated as of the Issue Date, among the Initial Purchasers and the Escrow Issuer, as
amended from time to time and as supplemented by the joinder to the Registration Rights Agreement to
be dated as of the Release Date, among AMO and the Guarantors.

                “Regulation S” means Regulation S promulgated under the Securities Act.

               “Regulation S Global Note” means a Regulation S Temporary Global Note or Regula-
tion S Permanent Global Note, as applicable.

                “Regulation S Permanent Global Note” means a permanent Global Note substantially in
the form of Exhibit A hereto bearing the Global Note Legend and the Private Placement Legend and de-
posited with or on behalf of, and registered in the name of, the Depositary or its nominee, issued (or the
principal amount of which will be increased) in a denomination equal to the outstanding principal amount
of the Regulation S Temporary Global Note upon expiration of the Restricted Period.

                “Regulation S Temporary Global Note” means a temporary Global Note substantially in
the form of Exhibit A hereto bearing the Global Note Legend and the Private Placement Legend and the
Regulation S Temporary Global Note Legend and deposited with or on behalf of, and registered in the
name of, the Depositary or its nominee, issued (or the principal amount of which will be increased) in a
denomination equal to the outstanding principal amount of the Notes initially sold in reliance on Rule
903.




                                                   -26-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                            Pg 38 of 771


                 “Regulation S Temporary Global Note Legend” means the legend set forth in Section
2.06(g)(iii) hereof.

                 “Related Business Assets” means assets (other than cash or Cash Equivalents) used or
useful in a Similar Business, provided that any assets received by the Issuer or a Restricted Subsidiary in
exchange for assets transferred by the Issuer or a Restricted Subsidiary shall not be deemed to be Related
Business Assets if they consist of securities of a Person, unless upon receipt of the securities of such Per-
son, such Person would become a Restricted Subsidiary.

                  “Related Person” means, with respect to any specified Person, such Person’s Affiliates,
and the respective officers, directors, employees, agents, advisors and attorneys-in-fact of such Person
and its Affiliates.

                  “Reorganization Plan” means the Joint Prepackaged Plan of Reorganization under Chap-
ter 11 of the Bankruptcy Code of AMI and its debtor Subsidiaries (which does not include the Escrow
Issuer and its direct parent) substantially consistent with the description of the Plan (as set forth in the
Offering Memorandum).

                 “Responsible Officer” means, when used with respect to the Trustee, any officer within
the corporate trust department of the Trustee having direct responsibility for the administration of this
Indenture, or any other officer to whom any corporate trust matter is referred because of such Person’s
knowledge of and familiarity with the particular subject and who shall have direct responsibility for the
administration of this Indenture.

                “Restricted Definitive Note” means a Definitive Note bearing the Private Placement Leg-
end.

                “Restricted Global Note” means a Global Note bearing the Private Placement Legend.

                “Restricted Investment” means an Investment other than a Permitted Investment.

                “Restricted Period” means the 40-day distribution compliance period as defined in Regu-
lation S.

                  “Restricted Subsidiary” means, at any time, any direct or indirect Subsidiary of the Issuer
(including any Foreign Subsidiary) that is not then an Unrestricted Subsidiary; provided, however, that
upon the occurrence of an Unrestricted Subsidiary ceasing to be an Unrestricted Subsidiary, such Sub-
sidiary shall be included in the definition of “Restricted Subsidiary.”

                 “Reversion Date” means, during any period of time during which the Issuer and the Re-
stricted Subsidiaries are not subject to the covenants listed in Section 4.13(a) hereof (the “Suspended
Covenants”) as a result of a Covenant Suspension, the date on which one or both of the Rating Agencies
withdraws its Investment Grade Rating or downgrades the rating assigned to the Notes below an Invest-
ment Grade Rating or a Default or Event of Default occurs and is continuing, and after which date the
Suspended Covenants will thereafter be reinstated.

                “Rule 144” means Rule 144 promulgated under the Securities Act (or any successor rule).

                “Rule 144A” means Rule 144A promulgated under the Securities Act(or any successor
rule).



                                                    -27-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 39 of 771


                “Rule 903” means Rule 903 promulgated under the Securities Act (or any successor rule).

                “Rule 904” means Rule 904 promulgated under the Securities Act (or any successor rule).

                “S&P” means Standard & Poor’s, a division of The McGraw-Hill Companies, Inc., and
any successor to its rating agency business.

                 “Sale and Lease-back Transaction” means any arrangement providing for the leasing by
the Issuer or any of its Restricted Subsidiaries of any real or tangible personal property, which property
has been or is to be sold or transferred by the Issuer or such Restricted Subsidiary to a third Person in
contemplation of such leasing.

                “SEC” means the U.S. Securities and Exchange Commission.

               “Second Lien Collateral Agent” means Wilmington Trust FSB, as collateral agent under
the Second Lien Indenture.

                 “Second Lien Indenture” means the indenture in respect of the Second Lien Notes dated
as of a date on or before the Release Date among the Issuer and the Second Lien Trustee, as amended or
supplemented from time to time.

               “Second Lien Intercreditor Agreement” means an intercreditor agreement dated as of the
Release Date among the Collateral Agent, the collateral agent under the Credit Agreement, the Issuer,
AMI and each other Guarantor and the Second Lien Collateral Agent.

                “Second Lien Notes” means the up to $140,000,000 in aggregate principal amount of the
Issuer’s Second Lien Secured Notes due 2018 issued on or prior to the Release Date pursuant to the Sec-
ond Lien Indenture.

                “Second Lien Trustee” means Wilmington Trust FSB, as trustee for the holders of Second
Lien Notes.

                 “Secured Hedge Agreements” means each agreement that governs Hedging Obligations
by and between the Issuer or any Guarantor, on the one hand, and any Hedge Bank from time to time, but
only to the extent such agreement is permitted under the Credit Agreement and constitutes an “Obliga-
tion” (as such term is defined under the Credit Agreement); provided, however, that such Hedging Obli-
gations shall not, solely by virtue of constituting an “Obligation” (as so defined), also constitute Indebt-
edness under the Credit Agreement.

                  “Secured Hedging Obligations” means (i) obligations (including obligations which, but
for the automatic stay under Section 362(a) of the Bankruptcy Code, would become due) and liabilities,
whether now existing or hereafter arising (including, without limitation, indemnities, fees and interest
thereon and all interest and fees that accrue on or after the commencement of any Insolvency or Liquida-
tion Proceeding at the rate provided for in the respective Secured Hedge Agreement, whether or not a
claim for post-petition interest or fees is allowed in any such Insolvency or Liquidation Proceeding), of
the Issuer or any Guarantor owing to any Hedge Bank, now existing or hereafter incurred under, or aris-
ing out of or in connection with, any Secured Hedge Agreement (including all such obligations and in-
debtedness under any guarantee of any such Secured Hedge Agreement to which the Issuer or such Guar-
antor is a party) and (ii) all performance and compliance obligations by the Issuer or any Guarantor under
any Secured Hedge Agreement.



                                                    -28-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 40 of 771


                “Secured Indebtedness” means any Indebtedness of the Issuer or any of its Restricted
Subsidiaries secured by a Lien.

                “Securities Act” means the Securities Act of 1933, as amended, and the rules and regula-
tions of the SEC promulgated thereunder.

                “Security Documents” means the security documents granting a security interest in any
assets of any Person to secure the Obligations under the Notes and the Guarantees as each may be
amended, restated, supplemented or otherwise modified from time to time.

                “Significant Subsidiary” means any Restricted Subsidiary that would be a “significant
subsidiary” as defined in Article 1, Rule 1-02 of Regulation S-X, promulgated pursuant to the Securities
Act, as such regulation is in effect on the Release Date.

                 “Similar Business” means any business conducted or proposed to be conducted by the Is-
suer and its Restricted Subsidiaries on the Issue Date or any business that is similar, reasonably related,
incidental or ancillary thereto.

                “Subsidiary” means, with respect to any Person:

                (1)       any corporation, association, or other business entity (other than a partnership,
        joint venture, limited liability company or similar entity) of which more than 50% of the total vot-
        ing power of shares of Capital Stock entitled (without regard to the occurrence of any contin-
        gency) to vote in the election of directors, managers or trustees thereof is at the time of determi-
        nation owned or controlled, directly or indirectly, by such Person or one or more of the other
        Subsidiaries of that Person or a combination thereof or is consolidated under GAAP with such
        Person at such time; and

                 (2)     any partnership, joint venture, limited liability company or similar entity of
        which (x) more than 50% of the capital accounts, distribution rights, total equity and voting inter-
        ests or general or limited partnership interests, as applicable, are owned or controlled, directly or
        indirectly, by such Person or one or more of the other Subsidiaries of that Person or a combina-
        tion thereof whether in the form of membership, general, special or limited partnership or other-
        wise, and (y) such Person or any Restricted Subsidiary of such Person is a controlling general
        partner or otherwise controls such entity.

               “TIA” or “Trust Indenture Act” means the Trust Indenture Act of 1939, as amended (15
U.S.C. §§ 77aaa-77bbbb).

                 “Total Assets” means the total consolidated assets of the Issuer and its Restricted Sub-
sidiaries, as shown on the most recent balance sheet of the Issuer.

                 “Total Consolidated Indebtedness” means the aggregate amount of all Indebtedness of
the Issuer and its Restricted Subsidiaries, outstanding as of such date of determination, determined on a
consolidated basis, after giving effect to any incurrence of Indebtedness and the application of the pro-
ceeds therefrom giving rise to such determination (but excluding Indebtedness of the type described in
clause (d) of the definition thereof and Indebtedness issued in payment of interest obligations), less up to
$20.0 million of unrestricted cash and Cash Equivalents of the Issuer and its Restricted Subsidiaries as of
such date of determination.




                                                    -29-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 41 of 771


                “Treasury Rate” means, as of any Redemption Date, the yield to maturity as of such Re-
demption Date of United States Treasury securities with a constant maturity (as compiled and published
in the most recent Federal Reserve Statistical Release H.15 (519) that has become publicly available at
least two Business Days prior to the Redemption Date (or, if such Statistical Release is no longer pub-
lished, any publicly available source of similar market data)) most nearly equal to the period from the
Redemption Date to December 15, 2013; provided, however, that if the period from the Redemption Date
to December 15, 2013 is less than one year, the weekly average yield on actually traded United States
Treasury securities adjusted to a constant maturity of one year will be used.

                “Trustee” shall have the meaning given to it in the recitals hereto.

                 “Unrestricted Definitive Note” means one or more Definitive Notes that do not bear and
are not required to bear the Private Placement Legend.

                 “Unrestricted Global Note” means a permanent Global Note, substantially in the form of
Exhibit A attached hereto, that bears the Global Note Legend and that has the “Schedule of Exchanges of
Interests in the Global Note or Increase/Decrease in the Principal Amount of the Global Note” attached
thereto, and that is deposited with or on behalf of and registered in the name of the Depositary, represent-
ing Notes that do not bear and are not required to bear the Private Placement Legend.

                “Unrestricted Subsidiary” means:

                (1)     any Subsidiary of the Issuer which at the time of determination is an Unrestricted
        Subsidiary (as designated by the Issuer, as provided below); and

                (2)      any Subsidiary of an Unrestricted Subsidiary.

                 The Issuer may designate any Subsidiary of the Issuer (including any existing Subsidiary
and any newly acquired or newly formed Subsidiary) to be an Unrestricted Subsidiary unless such Sub-
sidiary or any of its Subsidiaries owns any Equity Interests or Indebtedness of, or owns or holds any Lien
on, any property of, the Issuer or any Subsidiary of the Issuer (other than solely any Subsidiary of the
Subsidiary to be so designated); provided that

                 (1)       any Unrestricted Subsidiary must be an entity of which the Equity Interests enti-
        tled to cast at least a majority of the votes that may be cast by all Equity Interests having ordinary
        voting power for the election of directors or Persons performing a similar function are owned, di-
        rectly or indirectly, by the Issuer;

                (2)      such designation complies with Section 4.07 hereof; and

                (3)      each of:

                         (a)        the Subsidiary to be so designated; and

                         (b)        its Subsidiaries

        has not at the time of designation, and does not thereafter, create, incur, issue, assume, guarantee
        or otherwise become directly or indirectly liable with respect to any Indebtedness pursuant to
        which the lender has recourse to any of the assets of the Issuer or any Restricted Subsidiary (other
        than a pledge of the Equity Interests of such Unrestricted Subsidiary).



                                                       -30-
10-16140-mg                  Doc 116             Filed 12/15/10 Entered 12/15/10 23:40:47                                            Main Document
                                                            Pg 42 of 771


                 The Issuer may designate any Unrestricted Subsidiary to be a Restricted Subsidiary; pro-
vided that, immediately after giving effect to such designation, no Default shall have occurred and be con-
tinuing and the Issuer could incur at least $1.00 of additional Indebtedness pursuant to the Consolidated
Leverage Ratio test set forth in Section 4.09(a) hereof.

                 Any such designation by the Issuer shall be notified by the Issuer to the Trustee by
promptly filing with the Trustee a copy of the resolution of the Board of Directors of the Issuer or any
committee thereof giving effect to such designation (which resolution must be certified by the Secretary
or an Assistant Secretary of the Issuer) and an Officers’ Certificate certifying that such designation com-
plied with the foregoing provisions.

                         “Unsecured Indebtedness” means Indebtedness that is not Secured Indebtedness.

                         “U.S. Person” means a U.S. person as defined in Rule 902(k) under the Securities Act.

                  “Voting Stock” of any Person as of any date means the Capital Stock of such Person that
is at the time entitled to vote in the election of the board of directors of such Person.

                “Weighted Average Life to Maturity” means, when applied to any Indebtedness, Disquali-
fied Stock or Preferred Stock, as the case may be, at any date, the quotient obtained by dividing:

                     (1)     the sum of the products of the number of years from the date of determination to
            the date of each successive scheduled principal payment of such Indebtedness or redemption or
            similar payment with respect to such Disqualified Stock or Preferred Stock multiplied by the
            amount of such payment; by

                         (2)         the sum of all such payments.

                “Wholly Owned Subsidiary” of any Person means a Subsidiary of such Person, 100% of
the outstanding Equity Interests of which (other than directors’ qualifying shares) shall at the time be
owned by such Person or by one or more Wholly Owned Subsidiaries of such Person.

Section 1.02             Other Definitions.

                                                                                                                                           Defined in
Term                                                                                                                                        Section
“Action” ...............................................................................................................................     10.09
“Affiliate Transaction” .........................................................................................................             4.11
“Application Period”............................................................................................................             4.10
“Asset Sale Offer” ................................................................................................................           4.10
“Asset Sale Proceeds Account” ...........................................................................................                    4.10
“Authentication Order”........................................................................................................               2.02
“Change of Control Offer”...................................................................................................                 4.14
“Change of Control Payment” .............................................................................................                    4.14
“Change of Control Payment Date”.....................................................................................                         4.14
“Covenant Defeasance” .......................................................................................................                 8.03
“DTC” ..................................................................................................................................      2.03
“Escrow Account” ...............................................................................................................              4.16
“Escrow Issuer Proceeds” ...................................................................................................                  4.16
“Escrow Proceeds” .............................................................................................................               4.16
“Event of Default” ................................................................................................................           6.01

                                                                              -31-
10-16140-mg                 Doc 116             Filed 12/15/10 Entered 12/15/10 23:40:47                                            Main Document
                                                           Pg 43 of 771


                                                                                                                                          Defined in
Term                                                                                                                                       Section
“Excess Proceeds” ...............................................................................................................           4.10
“Exchange Offer Registration Statement” ...........................................................................                         4.03
“First Lien Secured Parties” ...............................................................................................                9.02
“incur” or “incurrence”........................................................................................................             4.09
“Initial Lien” .......................................................................................................................      4.12
“Legal Defeasance” .............................................................................................................            8.02
“Note Register” ....................................................................................................................        2.03
“Offer Amount” ....................................................................................................................         3.09
“Offer Period”......................................................................................................................        3.09
“Pari Passu Indebtedness”...................................................................................................                4.10
“Paying Agent”.....................................................................................................................         2.03
“Purchase Date” ..................................................................................................................          3.09
“Redemption Date” ..............................................................................................................            3.07
“Refinancing Indebtedness” .................................................................................................                4.09
“Registrar” ...........................................................................................................................     2.03
“Release Date” .....................................................................................................................        4.16
“Replacement Assets” ..........................................................................................................             4.09
“Restricted Payments” .........................................................................................................              4.07
“Security Document Order” ................................................................................................                  10.09
“Shelf Registration Statement” ............................................................................................                  4.03
“Special Mandatory Redemption” .......................................................................................                       3.10
“Special Mandatory Redemption Date” ..............................................................................                           3.10
“Successor Company”..........................................................................................................                5.01
“Successor Person”..............................................................................................................             5.01
“Suspended Covenants” ......................................................................................................                 1.01
“Treasury Capital Stock” .....................................................................................................               4.07
“Trigger Date” ....................................................................................................................          3.10

Section 1.03            Incorporation by Reference of Trust Indenture Act.

                 Except as otherwise expressly provided herein prior to the qualification of this Indenture
under the Trust Indenture Act, whenever this Indenture refers to a provision of the Trust Indenture Act,
the provision is incorporated by reference in and made a part of this Indenture.

                        The following Trust Indenture Act terms used in this Indenture have the following mean-
ings:

                        “indenture securities” means the Notes;

                        “indenture security holder” means a Holder of a Note;

                        “indenture to be qualified” means this Indenture;

                        “indenture trustee” or “institutional trustee” means the Trustee; and

                     “obligor” on the Notes and the Guarantees means the Issuer and the Guarantors, respec-
            tively, and any successor obligor upon the Notes and the Guarantees, respectively.



                                                                             -32-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                            Pg 44 of 771


                All other terms used in this Indenture that are defined by the Trust Indenture Act, defined
by Trust Indenture Act reference to another statute or defined by SEC rule under the Trust Indenture Act
have the meanings so assigned to them.

Section 1.04    Rules of Construction.

                Unless the context otherwise requires:

                (a)      a term has the meaning assigned to it;

               (b)  an accounting term not otherwise defined has the meaning assigned to it in ac-
cordance with GAAP;

                (c)      “or” is not exclusive;

                (d)      words in the singular include the plural, and in the plural include the singular;

                (e)      “will” shall be interpreted to express a command;

                (f)      provisions apply to successive events and transactions;

                 (g)     references to sections of, or rules under, the Securities Act shall be deemed to in-
clude substitute, replacement or successor sections or rules adopted by the SEC from time to time;

                 (h)     unless the context otherwise requires, any reference to an “Article,” “Section” or
“clause” refers to an Article, Section or clause, as the case may be, of this Indenture; and

                  (i)     the words “herein,” “hereof” and “hereunder” and other words of similar import
refer to this Indenture as a whole and not any particular Article, Section, clause or other subdivision.

Section 1.05    Acts of Holders.

                (a)      Any request, demand, authorization, direction, notice, consent, waiver or other
action provided by this Indenture to be given or taken by Holders may be embodied in and evidenced by
one or more instruments of substantially similar tenor signed by such Holders in person or by an agent
duly appointed in writing. Except as herein otherwise expressly provided, such action shall become ef-
fective when such instrument or instruments or record or both are delivered to the Trustee and, where it is
hereby expressly required, to the Issuer. Proof of execution of any such instrument or of a writing ap-
pointing any such agent, or the holding by any Person of a Note, shall be sufficient for any purpose of this
Indenture and (subject to Section 7.01 hereof) conclusive in favor of the Trustee and the Issuer, if made in
the manner provided in this Section 1.05.

                  (b)     The fact and date of the execution by any Person of any such instrument or writ-
ing may be proved by the affidavit of a witness of such execution or by the certificate of any notary public
or other officer authorized by law to take acknowledgments of deeds, certifying that the individual sign-
ing such instrument or writing acknowledged to him the execution thereof. Where such execution is by or
on behalf of any legal entity other than an individual, such certificate or affidavit shall also constitute
proof of the authority of the Person executing the same. The fact and date of the execution of any such
instrument or writing, or the authority of the Person executing the same, may also be proved in any other
manner that the Trustee deems sufficient.



                                                    -33-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                            Pg 45 of 771


                 (c)     The ownership of Notes shall be proved by the Note Register.

                 (d)     Any request, demand, authorization, direction, notice, consent, waiver or other
action by the Holder of any Note shall bind every future Holder of the same Note and the Holder of every
Note issued upon the registration of transfer thereof or in exchange therefor or in lieu thereof, in respect
of any action taken, suffered or omitted by the Trustee or the Issuer in reliance thereon, whether or not
notation of such action is made upon such Note.

                  (e)      The Issuer may, in the circumstances permitted by the Trust Indenture Act, set a
record date for purposes of determining the identity of Holders entitled to give any request, demand, au-
thorization, direction, notice, consent, waiver or take any other act, or to vote or consent to any action by
vote or consent authorized or permitted to be given or taken by Holders. Unless otherwise specified, if
not set by the Issuer prior to the first solicitation of a Holder made by any Person in respect of any such
action, or in the case of any such vote, prior to such vote, any such record date shall be the later of 30
days prior to the first solicitation of such consent or the date of the most recent list of Holders furnished to
the Trustee prior to such solicitation.

                 (f)      Without limiting the foregoing, a Holder entitled to take any action hereunder
with regard to any particular Note may do so with regard to all or any part of the principal amount of such
Note or by one or more duly appointed agents, each of which may do so pursuant to such appointment
with regard to all or any part of such principal amount. Any notice given or action taken by a Holder or
its agents with regard to different parts of such principal amount pursuant to this paragraph shall have the
same effect as if given or taken by separate Holders of each such different part.

                 (g)     Without limiting the generality of the foregoing, a Holder, including DTC that is
the Holder of a Global Note, may make, give or take, by a proxy or proxies duly appointed in writing, any
request, demand, authorization, direction, notice, consent, waiver or other action provided in this Inden-
ture to be made, given or taken by Holders, and DTC that is the Holder of a Global Note may provide its
proxy or proxies to the beneficial owners of interests in any such Global Note through such depositary’s
standing instructions and customary practices.

                 (h)      The Issuer may fix a record date for the purpose of determining the Persons who
are beneficial owners of interests in any Global Note held by DTC entitled under the procedures of such
depositary to make, give or take, by a proxy or proxies duly appointed in writing, any request, demand,
authorization, direction, notice, consent, waiver or other action provided in this Indenture to be made,
given or taken by Holders. If such a record date is fixed, the Holders on such record date or their duly
appointed proxy or proxies, and only such Persons, shall be entitled to make, give or take such request,
demand, authorization, direction, notice, consent, waiver or other action, whether or not such Holders re-
main Holders after such record date. No such request, demand, authorization, direction, notice, consent,
waiver or other action shall be valid or effective if made, given or taken more than 90 days after such re-
cord date.

                                                 ARTICLE 2

                                                THE NOTES

Section 2.01     Form and Dating; Terms.

                  (a)     General. The Notes and the Trustee’s certificate of authentication shall be sub-
stantially in the form of Exhibit A hereto. The Notes may have notations, legends or endorsements re-



                                                     -34-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 46 of 771


quired by law, stock exchange rules or usage. Each Note shall be dated the date of its authentication. The
Notes shall be in minimum denominations of $2,000 and integral multiples of $1,000 in excess thereof.

                 (b)      The terms and provisions contained in the Notes, a form of which is annexed
hereto as Exhibit A, shall constitute, and are hereby expressly made, a part of this Indenture and, to the
extent applicable, the Issuer and the Trustee, by their execution and delivery of this Indenture, expressly
agree to such terms and provisions and to be bound thereby. Upon the consummation of the Assumption,
the terms and provisions of the Guarantees will constitute, and shall expressly be made, a part of this In-
denture and AMO, the Guarantors and the Trustee, by their execution and delivery of the supplemental
indenture substantially in the form of Exhibit E hereto, shall expressly agree to such terms and provisions
and to be bound thereby. Any reference to a Guarantor herein shall be deemed to be a reference thereto
solely from and after the date of its execution and delivery of a supplemental indenture hereto in the form
of Exhibit D or Exhibit E hereto.

                 (c)      Global Notes. Notes issued in global form shall be substantially in the form of
Exhibit A hereto (including the Global Note Legend thereon and the “Schedule of Exchanges of Interests
in the Global Note or Increase/Decrease in the Principal Amount of the Global Note” attached thereto).
Notes issued in definitive form shall be substantially in the form of Exhibit A hereto (but without the
Global Note Legend thereon and without the “Schedule of Exchanges of Interests in the Global Note or
Increase/Decrease in the Principal Amount of the Global Note” attached thereto). Each Global Note shall
represent such of the outstanding Notes as shall be specified in the “Schedule of Exchanges of Interests in
the Global Note or Increase/Decrease in the Principal Amount of the Global Note” attached thereto and
each shall provide that it shall represent up to the aggregate principal amount of Notes from time to time
endorsed thereon and that the aggregate principal amount of outstanding Notes represented thereby may
from time to time be reduced or increased, as applicable, to reflect exchanges and redemptions. Any en-
dorsement of a Global Note to reflect the amount of any increase or decrease in the aggregate principal
amount of outstanding Notes represented thereby shall be made by the Trustee or the Custodian, at the
direction of the Trustee, in accordance with instructions given by the Holder thereof as required by Sec-
tion 2.06 hereof.

                 (d)       Temporary Global Notes. Notes offered and sold in reliance on Regulation S
shall be issued initially in the form of the Regulation S Temporary Global Note, which shall be deposited
on behalf of the purchasers of the Notes represented thereby with the Trustee, as custodian for the Deposi-
tary, and registered in the name of the Depositary or the nominee of the Depositary for the accounts of
designated agents holding on behalf of Euroclear or Clearstream, duly executed by the Issuer and authen-
ticated by the Trustee as hereinafter provided. The Restricted Period shall be terminated upon the receipt
by the Trustee of:

                 (i)     a written certificate from the Depositary, together with copies of certificates from
        Euroclear and Clearstream certifying that they have received certification of non-United States
        beneficial ownership of 100% of the aggregate principal amount of the Regulation S Temporary
        Global Note (except to the extent of any beneficial owners thereof who acquired an interest
        therein during the Restricted Period pursuant to another exemption from registration under the
        Securities Act and who shall take delivery of a beneficial ownership interest in a 144A Global
        Note bearing a Private Placement Legend, all as contemplated by Section 2.06(b) hereof); and

                (ii)    an Officers’ Certificate from the Issuer.

               Following the termination of the Restricted Period, beneficial interests in the Regulation
S Temporary Global Note shall be exchanged for beneficial interests in the Regulation S Permanent
Global Note pursuant to the Applicable Procedures. Simultaneously with the authentication of the Regu-


                                                    -35-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                            Pg 47 of 771


lation S Permanent Global Note, the Trustee shall cancel the Regulation S Temporary Global Note. The
aggregate principal amount of the Regulation S Temporary Global Note and the Regulation S Permanent
Global Note may from time to time be increased or decreased by adjustments made on the records of the
Trustee and the Depositary or its nominee, as the case may be, in connection with transfers of interest as
hereinafter provided.

                (e)      Terms. The aggregate principal amount of Notes that may be authenticated and
delivered under this Indenture is unlimited.

                 The terms and provisions contained in the Notes shall constitute, and are hereby ex-
pressly made, a part of this Indenture and the Issuer, the Guarantors and the Trustee, by their execution
and delivery of this Indenture, expressly agree to such terms and provisions and to be bound thereby.
However, to the extent any provision of any Note conflicts with the express provisions of this Indenture,
the provisions of this Indenture shall govern and be controlling.

                The Notes shall be subject to repurchase by the Issuer pursuant to an Asset Sale Offer as
provided in Section 4.10 hereof or a Change of Control Offer as provided in Section 4.14 hereof. The
Notes shall not be redeemable, other than as provided in Article 3 hereof.

                 Additional Notes ranking pari passu with the Initial Notes may be created and issued
from time to time by the Issuer without notice to or consent of the Holders and shall be consolidated with
and form a single class with the Initial Notes and shall have the same terms as to status, redemption or
otherwise as the Initial Notes; provided that the Issuer’s ability to issue Additional Notes shall be subject
to the Issuer’s compliance with Section 4.09 hereof. The Initial Notes and any Additional Notes subse-
quently issued under this Indenture will be treated as a single class for all purposes under this Indenture,
including waivers, amendments, redemptions and offers to purchase. Unless the context requires other-
wise, references to “Notes” for all purposes of this Indenture include any Additional Notes that are actu-
ally issued.

                 (f)      Euroclear and Clearstream Procedures Applicable. The provisions of the “Oper-
ating Procedures of the Euroclear System” and “Terms and Conditions Governing Use of Euroclear” and
the “General Terms and Conditions of Clearstream Banking” and “Customer Handbook” of Clearstream
shall be applicable to transfers of beneficial interests in the Regulation S Temporary Global Note and the
Regulation S Permanent Global Notes that are held by Participants through Euroclear or Clearstream.

Section 2.02     Execution and Authentication.

                 At least one Officer shall execute the Notes on behalf of the Issuer by manual or facsim-
ile signature.

                 If an Officer whose signature is on a Note no longer holds that office at the time a Note is
authenticated, the Note shall nevertheless be valid.

                A Note shall not be entitled to any benefit under this Indenture or be valid or obligatory
for any purpose until authenticated substantially in the form of Exhibit A hereto by the manual signature
of the Trustee. The signature shall be conclusive evidence that the Note has been duly authenticated and
delivered under this Indenture.

                 On the Issue Date, the Trustee shall, upon receipt of an Issuer Order (an “Authentication
Order”), authenticate and deliver the Initial Notes. In addition, at any time, from time to time, the Trus-
tee shall upon receipt of an Authentication Order authenticate and deliver any (i) Additional Notes and


                                                    -36-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                            Pg 48 of 771


(ii) Exchange Notes for issue only in an Exchange Offer pursuant to an Exchange Offer, for a like princi-
pal amount of Notes being exchanged in such Exchange Offer. Such Authentication Order for such Addi-
tional Notes or Exchange Notes shall specify the amount of the Notes to be authenticated and, in the case
of any issuance of Additional Notes pursuant to Section 2.01 hereof, shall certify that such issuance is in
compliance with Section 4.09 hereof.

                 The Trustee may appoint an authenticating agent acceptable to the Issuer to authenticate
Notes. An authenticating agent may authenticate Notes whenever the Trustee may do so. Each reference
in this Indenture to authentication by the Trustee includes authentication by such agent. An authenticat-
ing agent has the same rights as an Agent to deal with Holders or an Affiliate of the Issuer.

Section 2.03    Registrar and Paying Agent.

                  The Issuer shall maintain an office or agency where Notes may be presented for registra-
tion of transfer or for exchange (“Registrar”) and an office or agency where Notes may be presented for
payment (“Paying Agent”). The Registrar shall keep a register of the Notes (“Note Register”) and of their
transfer and exchange. The Issuer may appoint one or more co-registrars and one or more additional pay-
ing agents. The term “Registrar” includes any co-registrar and the term “Paying Agent” includes any ad-
ditional paying agent. The Issuer may change any Paying Agent or Registrar without prior notice to any
Holder.

                 The Issuer shall notify the Trustee in writing of the name and address of any Agent not a
party to this Indenture. If the Issuer fails to appoint or maintain another entity as Registrar or Paying
Agent, the Trustee shall act as such Paying Agent or Registrar. The Issuer or any of its Subsidiaries may
act as Paying Agent or Registrar.

                The Issuer initially appoints The Depository Trust Company (“DTC”) to act as Deposi-
tary with respect to the Global Notes. The Issuer initially appoints the Trustee to act as the Paying Agent
and Registrar for the Notes and to act as Custodian with respect to the Global Notes.

Section 2.04    Paying Agent To Hold Money in Trust.

                  The Issuer shall require each Paying Agent other than the Trustee to agree in writing that
the Paying Agent shall hold in trust for the benefit of Holders or the Trustee all money held by the Paying
Agent for the payment of principal, premium, if any, or cash Additional Interest, if any, or without dupli-
cation, cash interest on the Notes, and shall notify the Trustee of any default by the Issuer in making any
such payment. While any such default continues, the Trustee may require a Paying Agent to pay all
money held by it to the Trustee. The Issuer at any time may require a Paying Agent to pay all money
held by it to the Trustee. Upon payment over to the Trustee, the Paying Agent (if other than the Issuer or
a Subsidiary) shall have no further liability for the money. If the Issuer or a Subsidiary acts as Paying
Agent, it shall segregate and hold in a separate trust fund for the benefit of the Holders all money held by
it as Paying Agent. Upon any bankruptcy or reorganization proceedings relating to the Issuer, the Trustee
shall serve as Paying Agent for the Notes.

Section 2.05    Holder Lists.

                  The Trustee shall preserve in as current a form as is reasonably practicable the most re-
cent list available to it of the names and addresses of all Holders and shall otherwise comply with Section
312(a) of the Trust Indenture Act. If the Trustee is not the Registrar, the Issuer shall furnish to the Trus-
tee at least seven Business Days before each Interest Payment Date and at such other times as the Trustee
may request in writing, a list in such form and as of such date as the Trustee may reasonably require of


                                                    -37-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                            Pg 49 of 771


the names and addresses of the Holders of Notes and the Issuer shall otherwise comply with Section
312(a) of the Trust Indenture Act.

Section 2.06     Transfer and Exchange.

                     (a)      Transfer and Exchange of Global Notes. Except as otherwise set forth in this
Section 2.06, a Global Note may be transferred, in whole and not in part, only to another nominee of the
Depositary or to a successor Depositary or a nominee of such successor Depositary. A beneficial interest
in a Global Note may not be exchanged for a Definitive Note unless (i) the Depositary (x) notifies the Is-
suer that it is unwilling or unable to continue as Depositary for such Global Note or (y) has ceased to be a
clearing agency registered under the Exchange Act and, in either case, a successor Depositary is not ap-
pointed by the Issuer within 120 days (ii) there shall have occurred and be continuing a Default with re-
spect to the Notes or (iii) the Issuer, in its sole discretion notifies the Trustee in writing that it elects to
cause the issuance of Definitive Notes under this Indenture. Upon the occurrence of any of the preceding
events in (i), (ii) or (iii) above, Definitive Notes delivered in exchange for any Global Note or beneficial
interests therein shall be registered in the names, and issued in any approved denominations, requested by
or on behalf of the Depositary (in accordance with its customary procedures). Global Notes also may be
exchanged or replaced, in whole or in part, as provided in Sections 2.07 and 2.10 hereof. Every Note au-
thenticated and delivered in exchange for, or in lieu of, a Global Note or any portion thereof, pursuant to
this Section 2.06 or Section 2.07 or 2.10 hereof, shall be authenticated and delivered in the form of, and
shall be, a Global Note, except for Definitive Notes issued subsequent to any of the preceding events in
(i), (ii) or (iii) above and pursuant to Section 2.06(c) hereof. A Global Note may not be exchanged for
another Note other than as provided in this Section 2.06(a); provided, however, beneficial interests in a
Global Note may be transferred and exchanged as provided in Section 2.06(b), (c) or (f) hereof.

                 (b)     Transfer and Exchange of Beneficial Interests in the Global Notes. The transfer
and exchange of beneficial interests in the Global Notes shall be effected through the Depositary, in ac-
cordance with the provisions of this Indenture and the Applicable Procedures. Beneficial interests in the
Restricted Global Notes shall be subject to restrictions on transfer comparable to those set forth herein to
the extent required by the Securities Act. Transfers of beneficial interests in the Global Notes also shall
require compliance with either subparagraph (i) or (ii) below, as applicable, as well as one or more of the
other following subparagraphs, as applicable:

                  (i)     Transfer of Beneficial Interests in the Same Global Note. Beneficial interests in
        any Restricted Global Note may be transferred to Persons who take delivery thereof in the form
        of a beneficial interest in the same Restricted Global Note in accordance with the transfer restric-
        tions set forth in the Private Placement Legend; provided, however, that prior to the expiration of
        the Restricted Period, transfers of beneficial interests in the Regulation S Temporary Global Note
        may not be made to a U.S. Person or for the account or benefit of a U.S. Person (other than the
        Initial Purchasers). Beneficial interests in any Unrestricted Global Note may be transferred to
        Persons who take delivery thereof in the form of a beneficial interest in an Unrestricted Global
        Note. No written orders or instructions shall be required to be delivered to the Registrar to effect
        the transfers described in this Section 2.06(b)(i).

                 (ii)    All Other Transfers and Exchanges of Beneficial Interests in Global Notes. In
        connection with all transfers and exchanges of beneficial interests that are not subject to Section
        2.06(b)(i) hereof, the transferor of such beneficial interest must deliver to the Registrar either (A)
        (1) a written order from a Participant or an Indirect Participant given to the Depositary in accor-
        dance with the Applicable Procedures directing the Depositary to credit or cause to be credited a
        beneficial interest in another Global Note in an amount equal to the beneficial interest to be trans-
        ferred or exchanged and (2) instructions given in accordance with the Applicable Procedures con-


                                                      -38-
10-16140-mg     Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                    Main Document
                                         Pg 50 of 771


     taining information regarding the Participant account to be credited with such increase or
     (B) (1) a written order from a Participant or an Indirect Participant given to the Depositary in ac-
     cordance with the Applicable Procedures directing the Depositary to cause to be issued a Defini-
     tive Note in an amount equal to the beneficial interest to be transferred or exchanged and (2) in-
     structions given by the Depositary to the Registrar containing information regarding the Person in
     whose name such Definitive Note shall be registered to effect the transfer or exchange referred to
     in (1) above; provided that in no event shall Definitive Notes be issued upon the transfer or ex-
     change of beneficial interests in the Regulation S Temporary Global Note prior to (A) the expira-
     tion of the Restricted Period and (B) the receipt by the Registrar of any certificates required pur-
     suant to Rule 903. Upon consummation of an Exchange Offer by the Issuer in accordance with
     Section 2.06(f) hereof, the requirements of this Section 2.06(b)(ii) shall be deemed to have been
     satisfied upon receipt by the Registrar of the instructions contained in the Letter of Transmittal
     delivered by the holder of such beneficial interests in the Restricted Global Notes. Upon satisfac-
     tion of all of the requirements for transfer or exchange of beneficial interests in Global Notes con-
     tained in this Indenture and the Notes or otherwise applicable under the Securities Act, the Trus-
     tee shall adjust the principal amount of the relevant Global Note(s) pursuant to Section 2.06(h)
     hereof.

              (iii)   Transfer of Beneficial Interests to Another Restricted Global Note. A beneficial
     interest in any Restricted Global Note may be transferred to a Person who takes delivery thereof
     in the form of a beneficial interest in another Restricted Global Note if the transfer complies with
     the requirements of Section 2.06(b)(ii) hereof and the Registrar receives the following:

                       (A)     if the transferee shall take delivery in the form of a beneficial interest in a
              144A Global Note, then the transferor must deliver a certificate in the form of Exhibit B
              hereto, including the certifications in item (1) thereof;

                       (B)      if the transferee shall take delivery in the form of a beneficial interest in a
              Regulation S Global Note, then the transferor must deliver a certificate in the form of Ex-
              hibit B hereto, including the certifications in item (2) thereof; or

                       (C)      if the transferee shall take delivery in the form of a beneficial interest in
              an IAI Global Note, then the transferor must deliver a certificate in the form of Exhibit B
              hereto, including the certifications in item (3) thereof, and the transferee must deliver a
              certificate in the form of Exhibit F hereto, together with the legal opinion, if any, required
              thereby.

             (iv)     Transfer and Exchange of Beneficial Interests in a Restricted Global Note for
     Beneficial Interests in an Unrestricted Global Note. A beneficial interest in any Restricted Global
     Note may be exchanged by any holder thereof for a beneficial interest in an Unrestricted Global
     Note or transferred to a Person who takes delivery thereof in the form of a beneficial interest in an
     Unrestricted Global Note if the exchange or transfer complies with the requirements of Section
     2.06(b)(ii) hereof and:

                       (A)      such exchange or transfer is effected pursuant to the Exchange Offer in
              accordance with the Registration Rights Agreement and the holder of the beneficial inter-
              est to be transferred, in the case of an exchange, or the transferee, in the case of a transfer,
              certifies in the applicable Letter of Transmittal that it is not (1) a Participating Broker-
              Dealer, (2) a Person participating in the distribution of the Exchange Notes or (3) a Per-
              son who is an affiliate (as defined in Rule 144) of the Issuer;



                                                   -39-
10-16140-mg     Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                         Pg 51 of 771


                     (B)     such transfer is effected pursuant to the Shelf Registration Statement in
              accordance with the Registration Rights Agreement;

                     (C)     such transfer is effected by a Participating Broker-Dealer pursuant to the
              Exchange Offer Registration Statement in accordance with the Registration Rights
              Agreement; or

                      (D)      the Registrar receives the following:

               (1)    if the holder of such beneficial interest in a Restricted Global Note proposes to
     exchange such beneficial interest for a beneficial interest in an Unrestricted Global Note, a cer-
     tificate from such Holder substantially in the form of Exhibit C hereto, including the certifications
     in item (1)(a) thereof; or

               (2)      if the holder of such beneficial interest in a Restricted Global Note proposes to
     transfer such beneficial interest to a Person who shall take delivery thereof in the form of a bene-
     ficial interest in an Unrestricted Global Note, a certificate from such holder in the form of Ex-
     hibit B hereto, including the certifications in item (4) thereof;

              and, in each such case set forth in this subparagraph (D), if the Issuer so requests or if the
              Applicable Procedures so require, an Opinion of Counsel in form reasonably acceptable
              to the Issuer to the effect that such exchange or transfer is in compliance with the Securi-
              ties Act and that the restrictions on transfer contained herein and in the Private Placement
              Legend are no longer required in order to maintain compliance with the Securities Act.

             If any such transfer is effected pursuant to subparagraph (B) or (D) above at a time when
     an Unrestricted Global Note has not yet been issued, the Issuer shall issue and, upon receipt of an
     Authentication Order in accordance with Section 2.02 hereof, the Trustee shall authenticate one or
     more Unrestricted Global Notes in an aggregate principal amount equal to the aggregate principal
     amount of beneficial interests transferred pursuant to subparagraph (B) or (D) above.

              Beneficial interests in an Unrestricted Global Note cannot be exchanged for, or trans-
     ferred to Persons who take delivery thereof in the form of, a beneficial interest in a Restricted
     Global Note.

              (c)     Transfer or Exchange of Beneficial Interests for Definitive Notes.

               (i)      Beneficial Interests in Restricted Global Notes to Restricted Definitive Notes. If
     any holder of a beneficial interest in a Restricted Global Note proposes to exchange such benefi-
     cial interest for a Restricted Definitive Note or to transfer such beneficial interest to a Person who
     takes delivery thereof in the form of a Restricted Definitive Note, then, upon the occurrence of
     any of the events in clauses (i), (ii) or (iii) of Section 2.06(a) hereof and receipt by the Registrar
     of the following documentation:

                       (A)     if the holder of such beneficial interest in a Restricted Global Note pro-
              poses to exchange such beneficial interest for a Restricted Definitive Note, a certificate
              from such holder substantially in the form of Exhibit C hereto, including the certifications
              in item (2)(a) thereof;




                                                  -40-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 52 of 771


                         (B)      if such beneficial interest is being transferred to a QIB in accordance
                with Rule 144A, a certificate substantially in the form of Exhibit B hereto, including the
                certifications in item (1) thereof;

                         (C)    if such beneficial interest is being transferred to a Non-U.S. Person in an
                offshore transaction in accordance with Rule 903 or Rule 904, a certificate substantially
                in the form of Exhibit B hereto, including the certifications in item (2) thereof;

                         (D)      if such beneficial interest is being transferred pursuant to an exemption
                from the registration requirements of the Securities Act in accordance with Rule 144, a
                certificate substantially in the form of Exhibit B hereto, including the certifications in
                item (3)(a) thereof;

                         (E)      if such beneficial interest is being transferred to the Issuer or any of its
                Restricted Subsidiaries, a certificate substantially in the form of Exhibit B hereto, includ-
                ing the certifications in item (3)(b) thereof;

                         (F)      if such beneficial interest is being transferred pursuant to an effective
                registration statement under the Securities Act, a certificate substantially in the form of
                Exhibit B hereto, including the certifications in item (3)(c) thereof; or

                         (G)      if such beneficial interest is being transferred to an institutional Accred-
                ited Investor in reliance on an exemption from the registration requirements of the Secu-
                rities Act other than those listed in subparagraphs (B) through (D) above, a certificate
                from such holder in the form of Exhibit F hereto, including the certifications, certificates
                and legal opinion, if applicable,

the Trustee shall cause the aggregate principal amount of the applicable Global Note to be reduced ac-
cordingly pursuant to Section 2.06(h) hereof, and the Issuer shall execute and the Trustee shall, upon re-
ceipt of an Authentication Order, authenticate and mail to the Person designated in the instructions a De-
finitive Note in the applicable principal amount. Any Definitive Note issued in exchange for a beneficial
interest in a Restricted Global Note pursuant to this Section 2.06(c) shall be registered in such name or
names and in such authorized denomination or denominations as the holder of such beneficial interest
shall instruct the Registrar through instructions from the Depositary and the Participant or Indirect Par-
ticipant. The Trustee shall mail such Definitive Notes to the Persons in whose names such Notes are so
registered. Any Definitive Note issued in exchange for a beneficial interest in a Restricted Global Note
pursuant to this Section 2.06(c)(i) shall bear the Private Placement Legend and shall be subject to all re-
strictions on transfer contained therein.

                 (ii)    Beneficial Interests in Regulation S Temporary Global Note to Definitive Notes.
        Notwithstanding Sections 2.06(c)(i)(A) and (C) hereof, a beneficial interest in the Regulation S
        Temporary Global Note may not be exchanged for a Definitive Note or transferred to a Person
        who takes delivery thereof in the form of a Definitive Note prior to (A) the expiration of the Re-
        stricted Period and (B) the receipt by the Registrar of any certificates required pursuant to Rule
        903(b)(3)(ii)(B) of the Securities Act, except in the case of a transfer pursuant to an exemption
        from the registration requirements of the Securities Act other than Rule 903 or Rule 904.

                 (iii)   Beneficial Interests in Restricted Global Notes to Unrestricted Definitive Notes.
        A holder of a beneficial interest in a Restricted Global Note may exchange such beneficial inter-
        est for an Unrestricted Definitive Note or may transfer such beneficial interest to a Person who



                                                    -41-
10-16140-mg     Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                    Main Document
                                         Pg 53 of 771


     takes delivery thereof in the form of an Unrestricted Definitive Note only upon the occurrence of
     any of the events in clauses (i) or (ii) of Section 2.06(a) hereof and if:

                        (A)     such exchange or transfer is effected pursuant to the Exchange Offer in
              accordance with the Registration Rights Agreement and the holder of such beneficial in-
              terest, in the case of an exchange, or the transferee, in the case of a transfer, certifies in
              the applicable Letter of Transmittal that it is not (1) a Participating Broker-Dealer, (2) a
              Person participating in the distribution of the Exchange Notes or (3) a Person who is an
              affiliate (as defined in Rule 144) of the Issuer;

                     (B)     such transfer is effected pursuant to the Shelf Registration Statement in
              accordance with the Registration Rights Agreement;

                     (C)     such transfer is effected by a Participating Broker-Dealer pursuant to the
              Exchange Offer Registration Statement in accordance with the Registration Rights
              Agreement; or

                      (D)      the Registrar receives the following:

              (1)    if the holder of such beneficial interest in a Restricted Global Note proposes to
     exchange such beneficial interest for an Unrestricted Definitive Note, a certificate from such
     holder substantially in the form of Exhibit C hereto, including the certifications in item (1)(b)
     thereof; or

              (2)     if the holder of such beneficial interest in a Restricted Global Note proposes to
     transfer such beneficial interest to a Person who shall take delivery thereof in the form of an Un-
     restricted Definitive Note, a certificate from such holder substantially in the form of Exhibit B
     hereto, including the certifications in item (4) thereof;

     and, in each such case set forth in this subparagraph (D), if the Issuer so requests or if the Appli-
     cable Procedures so require, an Opinion of Counsel in form reasonably acceptable to the Issuer to
     the effect that such exchange or transfer is in compliance with the Securities Act and that the re-
     strictions on transfer contained herein and in the Private Placement Legend are no longer required
     in order to maintain compliance with the Securities Act.

              (iv)    Beneficial Interests in Unrestricted Global Notes to Unrestricted Definitive
     Notes. If any holder of a beneficial interest in an Unrestricted Global Note proposes to exchange
     such beneficial interest for a Definitive Note or to transfer such beneficial interest to a Person
     who takes delivery thereof in the form of a Definitive Note, then, upon the occurrence of any of
     the events in clauses (i), (ii) or (iii) of Section 2.06(a) hereof and satisfaction of the conditions set
     forth in Section 2.06(b)(ii) hereof, the Trustee shall cause the aggregate principal amount of the
     applicable Global Note to be reduced accordingly pursuant to Section 2.06(h) hereof, and the Is-
     suer shall execute and the Trustee shall, upon receipt of an Authentication Order, authenticate and
     mail to the Person designated in the instructions a Definitive Note in the applicable principal
     amount. Any Definitive Note issued in exchange for a beneficial interest pursuant to this Section
     2.06(c)(iv) shall be registered in such name or names and in such authorized denomination or de-
     nominations as the holder of such beneficial interest shall instruct the Registrar through instruc-
     tions from or through the Depositary and the Participant or Indirect Participant. The Trustee shall
     mail such Definitive Notes to the Persons in whose names such Notes are so registered. Any De-
     finitive Note issued in exchange for a beneficial interest pursuant to this Section 2.06(c)(iv) shall
     not bear the Private Placement Legend.


                                                  -42-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 54 of 771


                (d)     Transfer and Exchange of Definitive Notes for Beneficial Interests.

                  (i)     Restricted Definitive Notes to Beneficial Interests in Restricted Global Notes. If
        any Holder of a Restricted Definitive Note proposes to exchange such Note for a beneficial inter-
        est in a Restricted Global Note or to transfer such Restricted Definitive Note to a Person who
        takes delivery thereof in the form of a beneficial interest in a Restricted Global Note, then, upon
        receipt by the Registrar of the following documentation:

                         (A)    if the Holder of such Restricted Definitive Note proposes to exchange
                such Note for a beneficial interest in a Restricted Global Note, a certificate from such
                Holder substantially in the form of Exhibit C hereto, including the certifications in item
                (2)(b) thereof;

                         (B)      if such Restricted Definitive Note is being transferred to a QIB in accor-
                dance with Rule 144A, a certificate substantially in the form of Exhibit B hereto, includ-
                ing the certifications in item (1) thereof;

                         (C)      if such Restricted Definitive Note is being transferred to a Non-U.S. Per-
                son in an offshore transaction in accordance with Rule 903 or Rule 904, a certificate sub-
                stantially in the form of Exhibit B hereto, including the certifications in item (2) thereof;

                         (D)      if such Restricted Definitive Note is being transferred pursuant to an ex-
                emption from the registration requirements of the Securities Act in accordance with Rule
                144, a certificate substantially in the form of Exhibit B hereto, including the certifications
                in item (3)(a) thereof;

                         (E)      if such Restricted Definitive Note is being transferred to the Issuer or any
                of its Restricted Subsidiaries, a certificate substantially in the form of Exhibit B hereto,
                including the certifications in item (3)(b) thereof;

                         (F)      if such Restricted Definitive Note is being transferred pursuant to an ef-
                fective registration statement under the Securities Act, a certificate substantially in the
                form of Exhibit B hereto, including the certifications in item (3)(c) thereof; or

                        (G)      if such Restricted Definitive Note is being transferred to an institutional
                Accredited Investor in reliance on an exemption from the registration requirements of the
                Securities Act other than those listed in subparagraphs (B) through (D) above, a certifi-
                cate from such holder in the form of Exhibit F hereto, including the certifications, certifi-
                cates and legal opinion, if applicable,

the Trustee shall cancel the Restricted Definitive Note, increase or cause to be increased the aggregate
principal amount of, in the case of clause (A) above, the applicable Restricted Global Note, in the case of
clause (B) above, the applicable 144A Global Note, in the case of clause (C) above, the applicable Regu-
lation S Global Note and in the case of clause (G) above, the applicable IAI Global Note.

                 (ii)    Restricted Definitive Notes to Beneficial Interests in Unrestricted Global Notes.
        A Holder of a Restricted Definitive Note may exchange such Note for a beneficial interest in an
        Unrestricted Global Note or transfer such Restricted Definitive Note to a Person who takes deliv-
        ery thereof in the form of a beneficial interest in an Unrestricted Global Note only if:




                                                    -43-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                            Pg 55 of 771


                          (A)     such exchange or transfer is effected pursuant to an Exchange Offer in
                 accordance with the Registration Rights Agreement and the Holder, in the case of an ex-
                 change, or the transferee, in the case of a transfer, certifies in the applicable Letter of
                 Transmittal that it is not (1) a Participating Broker-Dealer, (2) a Person participating in
                 the distribution of the Exchange Notes or (3) a Person who is an affiliate (as defined in
                 Rule 144) of the Issuer;

                        (B)      such transfer is effected pursuant to a Shelf Registration Statement in ac-
                 cordance with the Registration Rights Agreement;

                        (C)     such transfer is effected by a Participating Broker-Dealer pursuant to an
                 Exchange Offer Registration Statement in accordance with the Registration Rights
                 Agreement; or

                         (D)      the Registrar receives the following:

                (1)      if the Holder of such Definitive Notes proposes to exchange such Notes for a
        beneficial interest in the Unrestricted Global Note, a certificate from such Holder substantially in
        the form of Exhibit C hereto, including the certifications in item (1)(c) thereof; or

                 (2)      if the Holder of such Definitive Notes proposes to transfer such Notes to a Person
        who shall take delivery thereof in the form of a beneficial interest in the Unrestricted Global
        Note, a certificate from such Holder substantially in the form of Exhibit B hereto, including the
        certifications in item (4) thereof;

and, in each such case set forth in this subparagraph (D), if the Issuer so requests or if the Applicable Pro-
cedures so require, an Opinion of Counsel in form reasonably acceptable to the Issuer to the effect that
such exchange or transfer is in compliance with the Securities Act and that the restrictions on transfer
contained herein and in the Private Placement Legend are no longer required in order to maintain compli-
ance with the Securities Act.

                 Upon satisfaction of the conditions of any of the subparagraphs in this Section 2.06(d)(ii),
the Trustee shall cancel the Definitive Notes and increase or cause to be increased the aggregate principal
amount of the Unrestricted Global Note.

                 (iii)   Unrestricted Definitive Notes to Beneficial Interests in Unrestricted Global
        Notes. A Holder of an Unrestricted Definitive Note may exchange such Note for a beneficial in-
        terest in an Unrestricted Global Note or transfer such Definitive Notes to a Person who takes de-
        livery thereof in the form of a beneficial interest in an Unrestricted Global Note at any time.
        Upon receipt of a request for such an exchange or transfer, the Trustee shall cancel the applicable
        Unrestricted Definitive Note and increase or cause to be increased the aggregate principal amount
        of one of the Unrestricted Global Notes.

                 If any such exchange or transfer from a Definitive Note to a beneficial interest is effected
pursuant to subparagraph (ii)(B), (ii)(D) or (iii) above at a time when an Unrestricted Global Note has not
yet been issued, the Issuer shall issue and, upon receipt of an Authentication Order in accordance with
Section 2.02 hereof, the Trustee shall authenticate one or more Unrestricted Global Notes in an aggregate
principal amount equal to the principal amount of Definitive Notes so transferred.

                (e)     Transfer and Exchange of Definitive Notes for Definitive Notes. Upon request
by a Holder of Definitive Notes and such Holder’s compliance with the provisions of this Section 2.06(e),


                                                     -44-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 56 of 771


the Registrar shall register the transfer or exchange of Definitive Notes. Prior to such registration of
transfer or exchange, the requesting Holder shall present or surrender to the Registrar the Definitive Notes
duly endorsed or accompanied by a written instruction of transfer in form satisfactory to the Registrar
duly executed by such Holder or by its attorney, duly authorized in writing. In addition, the requesting
Holder shall provide any additional certifications, documents and information, as applicable, required
pursuant to the following provisions of this Section 2.06(e):

                  (i)    Restricted Definitive Notes to Restricted Definitive Notes. Any Restricted De-
        finitive Note may be transferred to and registered in the name of Persons who take delivery
        thereof in the form of a Restricted Definitive Note if the Registrar receives the following:

                         (A)     if the transfer shall be made pursuant to a QIB in accordance with Rule
                144A, then the transferor must deliver a certificate substantially in the form of Exhibit B
                hereto, including the certifications in item (1) thereof;

                         (B)     if the transfer shall be made pursuant to Rule 903 or Rule 904 then the
                transferor must deliver a certificate in the form of Exhibit B hereto, including the certifi-
                cations in item (2) thereof;

                         (C)      if the transfer shall be made pursuant to any other exemption from the
                registration requirements of the Securities Act, then the transferor must deliver a certifi-
                cate in the form of Exhibit B hereto, including the certifications required by item (3)
                thereof, if applicable; or

                        (D)      if such Restricted Definitive Note is being transferred to an institutional
                Accredited Investor in reliance on an exemption from the registration requirements of the
                Securities Act other than those listed in subparagraphs (B) and (C) above, a certificate
                from such holder in the form of Exhibit F hereto, including the certifications, certificates
                and legal opinion, if applicable.

                         (E)     (ii)    Restricted Definitive Notes to Unrestricted Definitive Notes.
                Any Restricted Definitive Note may be exchanged by the Holder thereof for an Unre-
                stricted Definitive Note or transferred to a Person or Persons who take delivery thereof in
                the form of an Unrestricted Definitive Note if:

                         (F)     such exchange or transfer is effected pursuant to the Exchange Offer in
                accordance with the Registration Rights Agreement and the Holder, in the case of an ex-
                change, or the transferee, in the case of a transfer, certifies in the applicable Letter of
                Transmittal that it is not (1) a Participating Broker-Dealer, (2) a Person participating in
                the distribution of the Exchange Notes or (3) a Person who is an affiliate (as defined in
                Rule 144) of the Issuer;

                        (G)    any such transfer is effected pursuant to the Shelf Registration Statement
                in accordance with the Registration Rights Agreement;

                       (H)    any such transfer is effected by a Participating Broker-Dealer pursuant to
                the Exchange Offer Registration Statement in accordance with the Registration Rights
                Agreement; or

                        (I)      the Registrar receives the following:



                                                    -45-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                            Pg 57 of 771


                (1)     if the Holder of such Restricted Definitive Notes proposes to exchange such
        Notes for an Unrestricted Definitive Note, a certificate from such Holder substantially in the form
        of Exhibit C hereto, including the certifications in item (1)(d) thereof; or

                  (2)    if the Holder of such Restricted Definitive Notes proposes to transfer such Notes
        to a Person who shall take delivery thereof in the form of an Unrestricted Definitive Note, a cer-
        tificate from such Holder substantially in the form of Exhibit B hereto, including the certifications
        in item (4) thereof;

                and, in each such case set forth in this subparagraph (D), if the Issuer so requests, an
                Opinion of Counsel in form reasonably acceptable to the Issuer to the effect that such ex-
                change or transfer is in compliance with the Securities Act and that the restrictions on
                transfer contained herein and in the Private Placement Legend are no longer required in
                order to maintain compliance with the Securities Act.

                 (ii)            (iii)    Unrestricted Definitive Notes to Unrestricted Definitive Notes.
        A Holder of Unrestricted Definitive Notes may transfer such Notes to a Person who takes deliv-
        ery thereof in the form of an Unrestricted Definitive Note. Upon receipt of a request to register
        such a transfer, the Registrar shall register the Unrestricted Definitive Notes pursuant to the in-
        structions from the Holder thereof.

                  (f)     Exchange Offer. Upon the occurrence of the Exchange Offer in accordance with
the Registration Rights Agreement, the Issuer shall issue and, upon receipt of an Authentication Order in
accordance with Section 2.02 hereof, the Trustee shall authenticate (i) one or more Unrestricted Global
Notes in an aggregate principal amount equal to the principal amount of the beneficial interests in the Re-
stricted Global Notes tendered for acceptance by Persons that certify in the applicable Letters of Trans-
mittal that (x) they are not Participating Broker-Dealers, (y) they are not participating in a distribution of
the Exchange Notes and (z) they are not affiliates (as defined in Rule 144) of the Issuer, and accepted for
exchange in the Exchange Offer and (ii) Unrestricted Definitive Notes in an aggregate principal amount
equal to the principal amount of the Restricted Definitive Notes tendered for acceptance by Persons that
certify in the applicable Letters of Transmittal that (x) they are not Participating Broker-Dealers, (y) they
are not participating in a distribution of the Exchange Notes and (z) they are not affiliates (as defined in
Rule 144) of the Issuer, and accepted for exchange in the Exchange Offer. Concurrently with the issu-
ance of such Notes, the Trustee shall cause the aggregate principal amount of the applicable Restricted
Global Notes to be reduced accordingly, and the Issuer shall execute and the Trustee shall, upon receipt of
an Authentication Order, authenticate and mail to the Persons designated by the Holders of Definitive
Notes so accepted Unrestricted Definitive Notes in the applicable principal amount. Any Notes that re-
main outstanding after the consummation of the Exchange Offer, and Exchange Notes issued in connec-
tion with the Exchange Offer, shall be treated as a single class of securities under this Indenture.

                 (g)     Legends. The following legends shall appear on the face of all Global Notes and
Definitive Notes issued under this Indenture unless specifically stated otherwise in the applicable provi-
sions of this Indenture:

                 (i)     Private Placement Legend.

                        (A)      Except as permitted by subparagraph (B) below, each Global Note and
                each Definitive Note (and all Notes issued in exchange therefor or substitution therefor)
                shall bear the legend in substantially the following form:




                                                    -46-
10-16140-mg     Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                        Main Document
                                          Pg 58 of 771


              “THIS SECURITY HAS NOT BEEN REGISTERED UNDER THE SECURITIES ACT
              OF 1933, AS AMENDED (THE “SECURITIES ACT”), OR THE SECURITIES LAWS
              OF ANY STATE OR OTHER JURISDICTION. NEITHER THIS SECURITY NOR
              ANY INTEREST OR PARTICIPATION HEREIN MAY BE REOFFERED, SOLD, AS-
              SIGNED, TRANSFERRED, PLEDGED, ENCUMBERED OR OTHERWISE DIS-
              POSED OF IN THE ABSENCE OF SUCH REGISTRATION OR UNLESS SUCH
              TRANSACTION IS EXEMPT FROM, OR NOT SUBJECT TO, SUCH REGISTRA-
              TION. THE HOLDER OF THIS SECURITY, BY ITS ACCEPTANCE HEREOF,
              AGREES ON ITS OWN BEHALF AND ON BEHALF OF ANY INVESTOR OR AC-
              COUNT FOR WHICH IT HAS PURCHASED SECURITIES, TO OFFER, SELL OR
              OTHERWISE TRANSFER SUCH SECURITY, PRIOR TO THE DATE (THE “RE-
              SALE RESTRICTION TERMINATION DATE”) THAT IS 40 DAYS IN THE CASE OF
              REGULATION S SECURITIES, AFTER THE LATER OF THE ORIGINAL ISSUE
              DATE OF THE SECURITIES AND THE LAST DATE ON WHICH THE ISSUER OR
              ANY AFFILIATE OF THE ISSUER WAS THE OWNER OF THIS SECURITY (OR
              ANY PREDECESSOR OF SUCH SECURITY), ONLY (A) TO THE ISSUER, (B)
              PURSUANT TO A REGISTRATION STATEMENT THAT HAS BEEN DECLARED
              EFFECTIVE UNDER THE SECURITIES ACT, (C) FOR SO LONG AS THE SECU-
              RITIES ARE ELIGIBLE FOR RESALE PURSUANT TO RULE 144A UNDER THE
              SECURITIES ACT, TO A PERSON IT REASONABLY BELIEVES IS A “QUALIFIED
              INSTITUTIONAL BUYER” AS DEFINED IN RULE 144A UNDER THE SECURITIES
              ACT THAT PURCHASES FOR ITS OWN ACCOUNT OR FOR THE ACCOUNT OF
              A QUALIFIED INSTITUTIONAL BUYER TO WHOM NOTICE IS GIVEN THAT
              THE TRANSFER IS BEING MADE IN RELIANCE ON RULE 144A OR (D) PURSU-
              ANT TO OFFERS AND SALES THAT OCCUR OUTSIDE THE UNITED STATES
              WITHIN THE MEANING OF REGULATION S UNDER THE SECURITIES ACT,
              SUBJECT TO THE ISSUER’S AND THE TRUSTEE’S RIGHT PRIOR TO ANY
              SUCH OFFER, SALE, ASSIGNMENT, TRANSFER OR OTHER DISPOSITION TO
              REQUIRE THE DELIVERY OF AN OPINION OF COUNSEL, CERTIFICATION
              AND/OR OTHER INFORMATION SATISFACTORY TO EACH OF THEM. THIS
              LEGEND WILL BE REMOVED UPON THE REQUEST OF THE HOLDER AFTER
              THE RESALE RESTRICTION TERMINATION DATE.”

                       (B)     Notwithstanding the foregoing, any Global Note or Definitive Note is-
              sued pursuant to subparagraph (b)(iv), (c)(iii), (c)(iv), (d)(ii), (d)(iii), (e)(ii), (e)(iii) or (f)
              of this Section 2.06 (and all Notes issued in exchange therefor or substitution thereof)
              shall not bear the Private Placement Legend.

             (ii)    Global Note Legend. Each Global Note shall bear a legend in substantially the
     following form:

              “THIS GLOBAL NOTE IS HELD BY THE DEPOSITARY (AS DEFINED IN
              THE INDENTURE GOVERNING THIS NOTE) OR ITS NOMINEE IN CUS-
              TODY FOR THE BENEFIT OF THE BENEFICIAL OWNERS HEREOF, AND
              IS NOT TRANSFERABLE TO ANY PERSON UNDER ANY CIRCUM-
              STANCES EXCEPT THAT (I) THE TRUSTEE MAY MAKE SUCH NOTA-
              TIONS HEREON AS MAY BE REQUIRED PURSUANT TO SECTION
              2.06(h) OF THE INDENTURE, (II) THIS GLOBAL NOTE MAY BE EX-
              CHANGED IN WHOLE BUT NOT IN PART PURSUANT TO SECTION
              2.06(a) OF THE INDENTURE, (III) THIS GLOBAL NOTE MAY BE DELIV-
              ERED TO THE TRUSTEE FOR CANCELLATION PURSUANT TO SEC-


                                                     -47-
10-16140-mg           Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 59 of 771


                TION 2.11 OF THE INDENTURE AND (IV) THIS GLOBAL NOTE MAY BE
                TRANSFERRED TO A SUCCESSOR DEPOSITARY WITH THE PRIOR
                WRITTEN CONSENT OF THE ISSUER. UNLESS AND UNTIL IT IS EX-
                CHANGED IN WHOLE OR IN PART FOR NOTES IN DEFINITIVE FORM,
                THIS NOTE MAY NOT BE TRANSFERRED EXCEPT AS A WHOLE BY
                THE DEPOSITARY TO A NOMINEE OF THE DEPOSITARY OR BY A
                NOMINEE OF THE DEPOSITARY TO THE DEPOSITARY OR ANOTHER
                NOMINEE OF THE DEPOSITARY OR BY THE DEPOSITARY OR ANY
                SUCH NOMINEE TO A SUCCESSOR DEPOSITARY OR A NOMINEE OF
                SUCH SUCCESSOR DEPOSITARY. UNLESS THIS CERTIFICATE IS PRE-
                SENTED BY AN AUTHORIZED REPRESENTATIVE OF THE DEPOSI-
                TORY TRUST COMPANY (55 WATER STREET, NEW YORK, NEW
                YORK) (“DTC”) TO THE ISSUER OR ITS AGENT FOR REGISTRATION OF
                TRANSFER, EXCHANGE OR PAYMENT, AND ANY CERTIFICATE IS-
                SUED IS REGISTERED IN THE NAME OF CEDE & CO. OR SUCH OTHER
                NAME AS MAY BE REQUESTED BY AN AUTHORIZED REPRESENTA-
                TIVE OF DTC (AND ANY PAYMENT IS MADE TO CEDE & CO. OR SUCH
                OTHER ENTITY AS MAY BE REQUESTED BY AN AUTHORIZED REP-
                RESENTATIVE OF DTC), ANY TRANSFER, PLEDGE OR OTHER USE
                HEREOF FOR VALUE OR OTHERWISE BY OR TO ANY PERSON IS
                WRONGFUL INASMUCH AS THE REGISTERED OWNER HEREOF, CEDE
                & CO., HAS AN INTEREST HEREIN.”

               (iii)   Regulation S Temporary Global Note Legend. The Regulation S Temporary
        Global Note shall bear a legend in substantially the following form:

                “THE RIGHTS ATTACHING TO THIS REGULATION S TEMPORARY
                GLOBAL NOTE, AND THE CONDITIONS AND PROCEDURES GOVERN-
                ING ITS EXCHANGE FOR CERTIFICATED NOTES, ARE AS SPECIFIED
                IN THE INDENTURE (AS DEFINED HEREIN).”

                  (h)      Cancellation and/or Adjustment of Global Notes. At such time as all beneficial
interests in a particular Global Note have been exchanged for Definitive Notes or a particular Global Note
has been redeemed, repurchased or canceled in whole and not in part, each such Global Note shall be re-
turned to or retained and canceled by the Trustee in accordance with Section 2.11 hereof. At any time
prior to such cancellation, if any beneficial interest in a Global Note is exchanged for or transferred to a
Person who shall take delivery thereof in the form of a beneficial interest in another Global Note or for
Definitive Notes, the principal amount of Notes represented by such Global Note shall be reduced accord-
ingly and an endorsement shall be made on such Global Note by the Trustee or by the Depositary at the
direction of the Trustee to reflect such reduction; and if the beneficial interest is being exchanged for or
transferred to a Person who shall take delivery thereof in the form of a beneficial interest in another
Global Note, such other Global Note shall be increased accordingly and an endorsement shall be made on
such Global Note by the Trustee or by the Depositary at the direction of the Trustee to reflect such in-
crease.

                (i)      General Provisions Relating to Transfers and Exchanges.

                 (i)     To permit registrations of transfers and exchanges, the Issuer shall execute and
        the Trustee shall authenticate Global Notes and Definitive Notes upon receipt of an Authentica-
        tion Order in accordance with Section 2.02 hereof or at the Registrar’s request.



                                                    -48-
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                        Pg 60 of 771


              (ii)    No service charge shall be made to a holder of a beneficial interest in a Global
     Note or to a Holder of a Definitive Note for any registration of transfer or exchange, but the Is-
     suer or the Trustee may require payment of a sum sufficient to cover any transfer tax or similar
     governmental charge payable in connection therewith (other than any such transfer taxes or simi-
     lar governmental charge payable upon exchange or transfer pursuant to Sections 2.07, 2.10, 3.06,
     3.09, 4.10, 4.14 and 9.05 hereof).

             (iii)    Neither the Registrar, the Trustee nor the Issuer shall be required to register the
     transfer of or exchange any Note selected for redemption in whole or in part, except the unre-
     deemed portion of any Note being redeemed in part.

             (iv)    All Global Notes and Definitive Notes issued upon any registration of transfer or
     exchange of Global Notes or Definitive Notes shall be the valid obligations of the Issuer, evidenc-
     ing the same debt, and entitled to the same benefits under this Indenture, as the Global Notes or
     Definitive Notes surrendered upon such registration of transfer or exchange.

               (v)     Neither the Issuer, the Registrar nor the Trustee shall be required (A) to issue, to
     register the transfer of or to exchange any Notes during a period beginning at the opening of
     business 15 days before the day of any selection of Notes for redemption under Section 3.02
     hereof and ending at the close of business on the day of selection, (B) to register the transfer of or
     to exchange any Note so selected for redemption in whole or in part, except the unredeemed por-
     tion of any Note being redeemed in part or (C) to register the transfer of or to exchange a Note
     between a Record Date and the next succeeding Interest Payment Date.

              (vi)     Prior to due presentment for the registration of a transfer of any Note, the Trus-
     tee, the Registrar any Agent and the Issuer may deem and treat the Person in whose name any
     Note is registered as the absolute owner of such Note for the purpose of receiving payment of
     principal of (and premium, if any) and, without duplication, interest (including Additional Inter-
     est, if any) on such Notes and for all other purposes, and none of the Trustee, the Registrar, any
     Agent or the Issuer shall be affected by notice to the contrary.

             (vii)    Upon surrender for registration of transfer of any Note at the office or agency of
     the Issuer designated pursuant to Section 4.02 hereof, the Issuer shall execute, and the Trustee
     shall, upon receipt of an Authentication Order, authenticate and mail, in the name of the desig-
     nated transferee or transferees, one or more replacement Notes of any authorized denomination or
     denominations of a like aggregate principal amount.

            (viii)    At the option of the Holder, Notes may be exchanged for other Notes of any au-
     thorized denomination or denominations of a like aggregate principal amount upon surrender of
     the Notes to be exchanged at such office or agency. Whenever any Global Notes or Definitive
     Notes are so surrendered for exchange, the Issuer shall execute, and the Trustee, upon receipt of
     an Authentication Order, shall authenticate and mail, the replacement Global Notes and Defini-
     tive Notes which the Holder making the exchange is entitled to in accordance with the provisions
     of Section 2.02 hereof.

             (ix)     All certifications, certificates and Opinions of Counsel required to be submitted
     to the Registrar pursuant to this Section 2.06 to effect a registration of transfer or exchange may
     be submitted by facsimile.

               (x)    Each Holder of a Note agrees to indemnify the Issuer and Trustee against any li-
     ability that may result from the transfer, exchange or assignment of such Holder’s Note in viola-


                                                 -49-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                            Pg 61 of 771


        tion of any provision of this Indenture and/or applicable United States federal or state securities
        laws.

                (xi)    Neither the Trustee nor any agent of the Trustee shall have any responsibility for
        any actions taken or not taken by the Depositary.

                (xii)    The Trustee shall have no responsibility or obligation to any Participant or Indi-
        rect Participant or any other Person with respect to the accuracy of the books or records, or the
        acts or omissions, of the Depositary or its nominee or of any participant or member thereof, with
        respect to any ownership interest in the Notes or with respect to the delivery to any Participant or
        Indirect Participant or other Person (other than the Depositary) of any notice (including any no-
        tice of redemption) or the payment of any amount, under or with respect to such Notes. All no-
        tices and communications to be given to the Holders and all payments to be made to Holders un-
        der the Notes shall be given or made only to or upon the order of the registered Holders (which
        shall be the Depositary or its nominee in the case of a Global Note). The rights of beneficial own-
        ers in any Global Note shall be exercised only through the Depositary subject to the customary
        procedures of the Depositary. The Trustee may rely and shall be fully protected in relying upon
        information furnished by the Depositary with respect to its Participants or Indirect Participants.

              (xiii)     The Trustee shall have no obligation or duty to monitor, determine or inquire as
        to compliance with any restrictions on transfer imposed under this Indenture or under applicable
        law with respect to any transfer of any interest in any Note (including any transfers between or
        among Participants or Indirect Participants in any Global Note) other than to require delivery of
        such certificates and other documentation or evidence as are expressly required by, and to do so if
        and when expressly required by, the terms of this Indenture, and to examine the same to deter-
        mine substantial compliance as to form with the express requirements hereof.

Section 2.07     Replacement Notes.

                  If any mutilated Note is surrendered to the Trustee, the Registrar or the Issuer and the
Trustee receives evidence to its satisfaction of the ownership and destruction, loss or theft of any Note,
the Issuer shall issue and the Trustee, upon receipt of an Authentication Order, shall authenticate a re-
placement Note if the Trustee’s requirements are met. If required by the Trustee or the Issuer, an indem-
nity bond must be supplied by the Holder that is sufficient in the judgment of the Trustee determined for
itself and the Issuer determined for itself to protect the Issuer, the Trustee, any Agent and any authenticat-
ing agent from any loss that any of them may suffer if a Note is replaced. The Issuer and/or the Trustee
may charge for its expenses in replacing a Note.

                  Every replacement Note is a contractual obligation of the Issuer and shall be entitled to
all of the benefits of this Indenture equally and proportionately with all other Notes duly issued here-
under.

Section 2.08     Outstanding Notes.

                 The Notes outstanding at any time are all the Notes authenticated by the Trustee except
for those canceled by it, those delivered to it for cancellation, those reductions in the interest in a Global
Note effected by the Trustee in accordance with the provisions hereof, and those described in this Section
2.08 as not outstanding. Except as set forth in Section 2.09 hereof, a Note does not cease to be out-
standing because the Issuer or an Affiliate of the Issuer holds the Note.




                                                     -50-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                            Pg 62 of 771


                If a Note is replaced pursuant to Section 2.07 hereof, it ceases to be outstanding unless
the Trustee receives proof satisfactory to it that the replaced Note is held by a protected purchaser.

                If the principal amount of any Note is considered paid under Section 4.01 hereof, it
ceases to be outstanding and interest on it ceases to accrue.

                 If the Paying Agent (other than the Issuer, a Subsidiary or an Affiliate of any thereof)
holds, on a Redemption Date or maturity date, money sufficient to pay Notes payable on that date, then
on and after that date such Notes shall be deemed to be no longer outstanding and shall cease to accrue
interest.

Section 2.09     Treasury Notes.

                  Prior to the qualification of this Indenture under the Trust Indenture Act, in determining
whether the Holders of the required principal amount of the Notes have concurred in any direction,
waiver or consent, Notes owned by the Issuer, or by any Affiliate of the Issuer shall be considered as out-
standing. Following the qualification of this Indenture under the Trust Indenture Act, in determining
whether the Holders of the required principal amount of Notes have concurred in any direction, waiver or
consent, Notes owned by the Issuer, or by any Affiliate of the Issuer, shall be considered as though not
outstanding, except that for the purposes of determining whether the Trustee shall be protected in relying
on any such direction, waiver or consent, only Notes that a Responsible Officer of the Trustee knows are
so owned shall be so disregarded. Notes so owned which have been pledged in good faith shall not be
disregarded if the pledgee establishes to the satisfaction of the Trustee the pledgee’s right to deliver any
such direction, waiver or consent with respect to the Notes and that the pledgee is not the Issuer or any
obligor upon the Notes or any Affiliate of the Issuer or of such other obligor. Upon request of the Trus-
tee, the Issuer shall furnish to the Trustee promptly an Officers’ Certificate listing and identifying all
Notes, if any, known by the Issuer to be owned or held by or for the account of any of the Issuer or any
Affiliate of the Issuer, and the Trustee shall be entitled to accept and rely upon such Officers’ Certificate
as conclusive evidence of the facts therein set forth and of the fact that all Notes not listed therein are out-
standing for the purpose of any determination.

Section 2.10     Temporary Notes.

                Until certificates representing Notes are ready for delivery, the Issuer may prepare and
the Trustee, upon receipt of an Authentication Order, shall authenticate temporary Notes. Temporary
Notes shall be substantially in the form of certificated Notes but may have variations that the Issuer con-
siders appropriate for temporary Notes and as shall be reasonably acceptable to the Trustee. Without un-
reasonable delay, the Issuer shall prepare and the Trustee shall, upon receipt of an Authentication Order,
authenticate definitive Notes in exchange for temporary Notes.

                 Holders and beneficial holders, as the case may be, of temporary Notes shall be entitled
to all of the benefits accorded to Holders, or beneficial holders, respectively, of Notes under this Inden-
ture.

Section 2.11     Cancellation.

                The Issuer at any time may deliver Notes to the Trustee for cancellation. The Registrar
and Paying Agent shall forward to the Trustee any Notes surrendered to them for registration of transfer,
exchange or payment. The Trustee or, at the direction of the Trustee, the Registrar or the Paying Agent
and no one else shall cancel all Notes surrendered for registration of transfer, exchange, payment, re-
placement or cancellation and shall destroy cancelled Notes (subject to the record retention requirement


                                                      -51-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                            Pg 63 of 771


of the Exchange Act). Certification of the destruction of all cancelled Notes shall be delivered to the Is-
suer upon the Issuer’s written request. The Issuer may not issue new Notes to replace Notes that it has
paid or that have been delivered to the Trustee for cancellation.

Section 2.12     Defaulted Interest.

                 If the Issuer defaults in a payment of interest on the Notes, it shall pay the defaulted in-
terest in any lawful manner plus, to the extent lawful, interest payable on the defaulted interest to the Per-
sons who are Holders on a subsequent special record date, in each case at the rate provided in the Notes
and in Section 4.01 hereof. The Issuer shall notify the Trustee in writing of the amount of defaulted in-
terest proposed to be paid on each Note and the date of the proposed payment, and at the same time the
Issuer shall deposit with the Trustee an amount of money equal to the aggregate amount proposed to be
paid in respect of such defaulted interest or shall make arrangements satisfactory to the Trustee for such
deposit prior to the date of the proposed payment, such money when deposited to be held in trust for the
benefit of the Persons entitled to such defaulted interest as provided in this Section 2.12. The Issuer shall
fix or cause to be fixed each such special record date and payment date; provided that no such special re-
cord date shall be less than 10 days prior to the related payment date for such defaulted interest. The
Trustee shall promptly notify the Issuer of such special record date. At least 15 days before the special
record date, the Issuer (or, upon the written request of the Issuer, the Trustee in the name and at the ex-
pense of the Issuer) shall mail or cause to be mailed, first-class postage prepaid, to each Holder a notice at
his or her address as it appears in the Note Register that states the special record date, the related payment
date and the amount of such interest to be paid.

                Subject to the foregoing provisions of this Section 2.12 and for greater certainty, each
Note delivered under this Indenture upon registration of transfer of or in exchange for or in lieu of any
other Note shall carry the rights to interest accrued and unpaid, and to accrue, which were carried by such
other Note.

Section 2.13     CUSIP and ISIN Numbers.

                  The Issuer in issuing the Notes may use CUSIP and/or ISIN numbers (if then generally in
use) and, if so, the Trustee shall use CUSIP and/or ISIN numbers in notices of redemption as a conven-
ience to Holders; provided that any such notice may state that no representation is made as to the correct-
ness of such numbers either as printed on the Notes or as contained in any notice of redemption and that
reliance may be placed only on the other identification numbers printed on the Notes, and any such re-
demption shall not be affected by any defect in or omission of such numbers. The Issuer shall as
promptly as practicable notify the Trustee of any change in the CUSIP and/or ISIN numbers.

                                                 ARTICLE 3

                                               REDEMPTION

Section 3.01     Notices to Trustee.

                  If the Issuer elects to redeem Notes pursuant to Section 3.07 hereof, it shall furnish to the
Trustee, at least 2 Business Days before notice of redemption is required to be mailed or caused to be
mailed to Holders pursuant to Section 3.03 hereof but not more than 60 days before a Redemption Date,
an Officers’ Certificate setting forth (i) the paragraph or subparagraph of such Note and/or Section of this
Indenture pursuant to which the redemption shall occur, (ii) the Redemption Date, (iii) the principal
amount of the Notes to be redeemed and (iv) the redemption price.



                                                     -52-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                            Pg 64 of 771


Section 3.02    Selection of Notes To Be Redeemed or Purchased.

                  If less than all of the Notes are to be redeemed or purchased in an offer to purchase at any
time, the Trustee shall select the Notes to be redeemed or purchased (a) if the Notes are listed on any na-
tional securities exchange, in compliance with the requirements of the principal national securities ex-
change on which the Notes are listed, (b) if the Notes are not so listed, on a pro rata basis to the extent
practicable or (c) by lot or by such other similar method in accordance with the procedures of DTC. In
the event of partial redemption or purchase by lot, the particular Notes to be redeemed or purchased shall
be selected, unless otherwise provided herein, not less than 30 nor more than 60 days prior to the Re-
demption Date by the Trustee from the outstanding Notes not previously called for redemption or pur-
chase.

                 The Trustee shall promptly notify the Issuer in writing of the Notes selected for redemp-
tion or purchase and, in the case of any Note selected for partial redemption or purchase, the principal
amount thereof to be redeemed or purchased. Notes and portions of Notes selected shall be in minimum
denominations of $2,000 and integral multiples of $1,000 in excess thereof; except that if all of the Notes
of a Holder are to be redeemed or purchased, the entire outstanding amount of Notes held by such Holder,
even if not a multiple of $1,000, shall be redeemed or purchased. Except as provided in the preceding
sentence, provisions of this Indenture that apply to Notes called for redemption or purchase also apply to
portions of Notes called for redemption or purchase.

Section 3.03    Notice of Redemption.

                  Subject to Section 3.09 hereof, notices of redemption shall be mailed by the Issuer by
first-class mail, postage prepaid, at least 30 days but not more than 60 days before the Redemption Date
to each Holder of Notes to be redeemed at such Holder’s registered address, except that notices of re-
demption may be mailed more than 60 days prior to a Redemption Date if the notice is issued in connec-
tion with Article 8 or Article 12 hereof.

                The notice shall be prepared by the Issuer, shall identify the Notes to be redeemed and
shall state:

                (a)      the Redemption Date;

                (b)      the redemption price;

                  (c)     if any Note is to be redeemed in part only, the portion of the principal amount of
that Note that is to be redeemed and that, after the Redemption Date upon surrender of such Note, a new
Note or Notes in principal amount equal to the unredeemed portion of the original Note representing the
same indebtedness to the extent not redeemed shall be issued in the name of the Holder of the Notes upon
cancellation of the original Note;

                (d)      the name and address of the Paying Agent;

                (e)      that Notes called for redemption must be surrendered to the Paying Agent to col-
lect the redemption price;

                 (f)    that, unless the Issuer defaults in making such redemption payment, interest on
Notes called for redemption ceases to accrue on and after the Redemption Date;




                                                     -53-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                            Pg 65 of 771


                (g)     the paragraph or subparagraph of the Notes and/or Section of this Indenture pur-
suant to which the Notes called for redemption are being redeemed; and

               (h)      that no representation is made as to the correctness or accuracy of the CUSIP
and/or ISIN number, if any, listed in such notice or printed on the Notes.

                 At the Issuer’s request, the Trustee shall give the notice of redemption in the Issuer’s
name and at its expense; provided that the Issuer shall have delivered to the Trustee, at least 2 Business
Days before notice of redemption is required to be mailed or caused to be mailed to Holders pursuant to
this Section 3.03 (unless a shorter notice shall be agreed to by the Trustee), an Officers’ Certificate re-
questing that the Trustee give such notice and setting forth the information to be stated in such notice as
provided in the preceding paragraph.

Section 3.04    Effect of Notice of Redemption.

                  Once notice of redemption is mailed in accordance with Section 3.03 hereof, Notes called
for redemption become irrevocably due and payable on the Redemption Date at the redemption price (ex-
cept (i) when given in connection with a transaction (or series of related transactions) that constitutes a
Change of Control, in which case such notice of redemption may, at the Issuer’s discretion, be subject to
one or more conditions precedent, including, but not limited to, completion of the Change of Control or
(ii) as provided for in Section 3.07(e) hereof). The notice, if mailed in a manner herein provided, shall be
conclusively presumed to have been given, whether or not the Holder receives such notice. In any case,
failure to give such notice by mail or any defect in the notice to the Holder of any Note designated for
redemption in whole or in part shall not affect the validity of the proceedings for the redemption of any
other Note. Subject to Section 3.05 hereof, on and after the Redemption Date, interest ceases to accrue on
Notes or portions of Notes called for redemption.

Section 3.05    Deposit of Redemption or Purchase Price.

                 Prior to 10:00 a.m. (New York City time) on the redemption or purchase date, the Issuer
shall deposit with the Trustee or with the Paying Agent money sufficient to pay the redemption or pur-
chase price of and accrued and unpaid interest (including Additional Interest, if any) on all Notes to be
redeemed or purchased on that date. The Trustee or the Paying Agent shall promptly return to the Issuer
any money deposited with the Trustee or the Paying Agent by the Issuer in excess of the amounts neces-
sary to pay the redemption price of, and accrued and unpaid interest on, all Notes to be redeemed or pur-
chased.

                 If the Issuer complies with the provisions of the preceding paragraph, on and after the re-
demption or purchase date, interest shall cease to accrue on the Notes or the portions of Notes called for
redemption or purchase. If a Note is redeemed or purchased on or after a Record Date but on or prior to
the related Interest Payment Date, then, without duplication, any accrued and unpaid interest to the re-
demption or purchase date shall be paid to the Person in whose name such Note was registered at the
close of business on such Record Date. If any Note called for redemption or purchase shall not be so paid
upon surrender for redemption or purchase because of the failure of the Issuer to comply with the preced-
ing paragraph, interest shall be paid on the unpaid principal amount, from the redemption or purchase
date until such principal amount is paid, and to the extent lawful on any interest accrued to the redemp-
tion or purchase date not paid on such unpaid principal amount, in each case at the rate provided in the
Notes and in Section 4.01 hereof.




                                                    -54-
10-16140-mg         Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                            Pg 66 of 771


Section 3.06      Notes Redeemed or Purchased in Part.

                 Upon surrender of a Note that is redeemed or purchased in part, the Issuer shall issue and
the Trustee shall, upon receipt of an Authentication Order, authenticate for the Holder at the expense of
the Issuer a new Note equal in principal amount to the unredeemed or unpurchased portion of the Note
surrendered representing the same indebtedness to the extent not redeemed or purchased; provided that
each new Note shall be in a minimum principal amount of $2,000 and integral multiples of $1,000 in ex-
cess thereof. It is understood that, notwithstanding anything in this Indenture to the contrary, only an Au-
thentication Order and not an Opinion of Counsel or Officers’ Certificate is required for the Trustee to
authenticate such new Note.

Section 3.07      Optional Redemption.

                 (a)      At any time and from time to time prior to December 15, 2013, the Issuer may
redeem up to 35% of the original principal amount of the Notes (calculated after giving effect to any issu-
ance of Additional Notes) with the net cash proceeds of one or more Equity Offerings at a redemption
price of 111.500% of the principal amount thereof plus accrued and unpaid interest, if any, to the applica-
ble redemption date (subject to the right of Holders of record on the relevant record date to receive inter-
est due on the relevant interest payment date); provided that

                 (1)     at least 65% of the original principal amount of the Notes remains outstanding af-
        ter each such redemption; and

                  (2)     the redemption occurs within 90 days after the closing of such Equity Offering.

                 (b)      At any time prior to December 15, 2013 the Issuer may redeem all or a part of the
Notes, upon not less than 30 nor more than 60 days’ prior notice mailed by first-class mail to the regis-
tered address of each Holder of Notes, at a redemption price equal to 100% of the principal amount of the
Notes redeemed plus the Applicable Premium as of, and accrued and unpaid interest thereon, if any, to the
date of redemption (the “Redemption Date”), subject to the rights of Holders of Notes on the relevant re-
cord date to receive interest due on the relevant interest payment date.

                 (c)       During any 12-month period prior to December 15, 2013, the Issuer will be enti-
tled to redeem up to 10% of the aggregate principal amount of the Notes issued under this Indenture at a
redemption price equal to 103.000% of the aggregate principal amount thereof, plus accrued and unpaid
interest thereon, if any, to the Redemption Date, subject to the right of Holders on the relevant record date
to receive interest due on the relevant interest payment date.

                 (d)      On or after December 15, 2013, the Issuer may redeem the Notes, in whole or in
part, upon notice as described in Section 3.03 hereof, at the redemption prices (expressed as percentages
of principal amount of the Notes to be redeemed) set forth below, plus accrued and unpaid interest, if any,
to the Redemption Date, subject to the right of Holders of Notes of record on the relevant Record Date to
receive interest due on the relevant Interest Payment Date, if redeemed during the twelve-month period
beginning on December 15 of each of the years indicated below:

               Year                                                                      Percentage
               2013                                                                       108.625%
               2014                                                                       105.750%
               2015                                                                       102.875%
               2016 and thereafter                                                        100.000%



                                                    -55-
10-16140-mg          Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                            Pg 67 of 771


                 (e)     Any redemption pursuant to this Section 3.07 shall be made pursuant to the pro-
visions of Sections 3.01 through 3.06 hereof.

Section 3.08      Mandatory Redemption.

                The Issuer shall not be required to make any mandatory redemption or sinking fund pay-
ments with respect to the Notes, except pursuant to a Special Mandatory Redemption under Section 3.10
hereof. However, (a) the Issuer may be required to offer to purchase the Notes pursuant to Sections 4.10
and 4.14 hereof and (b) the Issuer may at any time and from time to time purchase Notes in the open mar-
ket or otherwise.

Section 3.09      Offers to Repurchase by Application of Excess Proceeds.

             (a)      In the event that, pursuant to Section 4.10 hereof, the Issuer shall be required to
commence an Asset Sale Offer, it shall follow the procedures specified below.

                 (b)     The Asset Sale Offer shall remain open for a period of 20 Business Days follow-
ing its commencement and no longer, except to the extent that a longer period is required by applicable
law (the “Offer Period”). No later than five Business Days after the termination of the Offer Period (the
“Purchase Date”), the Issuer shall apply all Excess Proceeds (the “Offer Amount”) to the purchase of
Notes and, if required, Pari Passu Indebtedness (on a pro rata basis, if applicable), or, if less than the Of-
fer Amount has been tendered, all Notes and Pari Passu Indebtedness tendered in response to the Asset
Sale Offer. Payment for any Notes so purchased shall be made in the same manner as cash interest pay-
ments are made.

                (c)      If the Purchase Date is on or after a Record Date and on or before the related In-
terest Payment Date, any accrued and unpaid interest and Additional Interest, if any, up to but excluding
the Purchase Date, shall be paid to the Person in whose name a Note is registered at the close of business
on such Record Date, and no additional interest shall be payable to Holders who tender Notes pursuant to
the Asset Sale Offer.

                 (d)      Upon the commencement of an Asset Sale Offer, the Issuer shall send, by first-
class mail, a notice to each of the Holders, with a copy to the Trustee. The notice shall contain all instruc-
tions and materials necessary to enable such Holders to tender Notes pursuant to the Asset Sale Offer.
The Asset Sale Offer shall be made to all Holders and, if required, holders of Pari Passu Indebtedness.
The notice, which shall govern the terms of the Asset Sale Offer, shall state:

                 (i)    that the Asset Sale Offer is being made pursuant to this Section 3.09 and Section
        4.10 hereof and the length of time the Asset Sale Offer shall remain open;

                  (ii)    the Offer Amount, the purchase price and the Purchase Date;

                  (iii)   that any Note not tendered or accepted for payment shall continue to accrue in-
        terest;

              (iv)    that, unless the Issuer defaults in making such payment, any Note accepted for
        payment pursuant to the Asset Sale Offer shall cease to accrue interest after the Purchase Date;

                 (v)    that Holders electing to have a Note purchased pursuant to an Asset Sale Offer
        may elect to have Notes purchased in denominations of $2,000 or integral multiples of $1,000 in
        excess thereof;


                                                     -56-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 68 of 771


                 (vi)    that Holders electing to have a Note purchased pursuant to any Asset Sale Offer
        shall be required to surrender the Note, with the form entitled “Option of Holder to Elect Pur-
        chase” attached to the Note completed, or transfer by book-entry transfer, to the Issuer, the De-
        positary, if appointed by the Issuer, or a Paying Agent at the address specified in the notice at
        least three days before the Purchase Date;

                (vii)    that Holders shall be entitled to withdraw their election if the Issuer, the Deposi-
        tary or the Paying Agent, as the case may be, receives, not later than the expiration of the Offer
        Period, a telegram, facsimile transmission or letter setting forth the name of the Holder, the prin-
        cipal amount of the Note the Holder delivered for purchase and a statement that such Holder is
        withdrawing his election to have such Note purchased;

               (viii)    that, if the aggregate principal amount of Notes and Pari Passu Indebtedness sur-
        rendered by the holders thereof exceeds the Offer Amount, the Issuer shall select the Notes and
        such Pari Passu Indebtedness to be purchased on a pro rata basis based on the principal amount
        of the Notes or such Pari Passu Indebtedness tendered (with such adjustments as may be deemed
        appropriate by the Issuer so that only Notes in denominations of $2,000 or integral multiples of
        $1,000 in excess thereof, shall be purchased); and

                (ix)     that Holders whose Notes were purchased only in part shall be issued new Notes
        equal in principal amount to the unpurchased portion of the Notes surrendered (or transferred by
        book-entry transfer) representing the same indebtedness to the extent not repurchased.

                (e)      On or before the Purchase Date, the Issuer shall, to the extent lawful, (1) accept
for payment, on a pro rata basis to the extent necessary, the Offer Amount of Notes or portions thereof
validly tendered pursuant to the Asset Sale Offer, or if less than the Offer Amount has been tendered, all
Notes tendered and (2) deliver or cause to be delivered to the Trustee the Notes properly accepted to-
gether with an Officers’ Certificate stating the aggregate principal amount of Notes or portions thereof so
tendered.

                  (f)     The Issuer, the Depositary or the Paying Agent, as the case may be, shall
promptly mail or deliver to each tendering Holder an amount equal to the purchase price of the Notes
properly tendered by such Holder and accepted by the Issuer for purchase, and the Issuer shall promptly
issue a new Note, and the Trustee, upon receipt of an Authentication Order, shall authenticate and mail or
deliver (or cause to be transferred by book-entry) such new Note to such Holder (it being understood that,
notwithstanding anything in this Indenture to the contrary, no Opinion of Counsel or Officers’ Certificate
is required for the Trustee to authenticate and mail or deliver such new Note) in a principal amount equal
to any unpurchased portion of the Note surrendered representing the same indebtedness to the extent not
repurchased; provided that each such new Note shall be in denominations of $2,000 or integral multiples
of $1,000 in excess thereof. Any Note not so accepted shall be promptly mailed or delivered by the Issuer
to the Holder thereof. The Issuer shall publicly announce the results of the Asset Sale Offer on or as soon
as practicable after the Purchase Date.

                Other than as specifically provided in this Section 3.09 or Section 4.10 hereof, any pur-
chase pursuant to this Section 3.09 shall be made pursuant to the applicable provisions of Sections 3.01
through 3.06 hereof.

Section 3.10    Special Mandatory Redemption.

                (a)      The Notes will be subject to a mandatory redemption (a “Special Mandatory Re-
demption”) in the event that either (i) the Release Date has not occurred on or prior to the Escrow End


                                                    -57-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 69 of 771


Date or (ii) prior to the Escrow End Date, the Issuer has determined, in its reasonable discretion, that the
escrow conditions cannot be satisfied by such date (any such date, a “Trigger Date”). The Issuer will
cause the notice of Special Mandatory Redemption to be mailed to the Escrow Agent, the Trustee and the
Holders of the Notes no later than the next Business Day following the Trigger Date and will redeem the
Notes no later than five Business Days following the date of the notice of Special Mandatory Redemption
(the “Special Mandatory Redemption Date”). The redemption price for any Special Mandatory Redemp-
tion will be 100% of the issue price of the Notes as set forth on the cover of the Offering Memorandum,
together with accrued and unpaid interest on the Notes from the Issue Date up to but not including the
Special Mandatory Redemption Date.

                  (b)     If the Escrow Agent receives a notice of a Special Mandatory Redemption pursu-
ant to the Escrow Agreement, the Escrow Agent will liquidate all Escrow Proceeds then held by it not
later than the last Business Day prior to the Special Mandatory Redemption Date. Concurrently with re-
lease of the amounts necessary to fund the Special Mandatory Redemption to the Paying Agent, the Es-
crow Agent will release any excess of Escrow Proceeds over the mandatory redemption price to the Is-
suer, and the Issuer will be permitted to use such excess Escrow Proceeds at its discretion.

                                                ARTICLE 4

                                              COVENANTS

Section 4.01    Payment of Notes.

                  The Issuer shall pay or cause to be paid the principal of, premium, if any, Additional In-
terest, if any, and, without duplication, interest on the Notes on the dates and in the manner provided in
the Notes. Principal, premium, if any, cash Additional Interest, if any, and cash interest shall be consid-
ered paid on the date due if the Paying Agent, if other than the Issuer or a Subsidiary, holds as of 10:00
a.m. (New York City time) on the due date money deposited by the Issuer in immediately available funds
and designated for and sufficient to pay all principal, premium, if any, and Cash Interest then due.

                The Issuer shall pay all Additional Interest, if any, in the same manner on the dates and in
the amounts set forth in the Registration Rights Agreement.

                 The Issuer shall pay interest (including post-petition interest in any proceeding under any
Bankruptcy Law) on overdue principal at the rate equal to the then applicable interest rate on the Notes to
the extent lawful; it shall pay interest (including post-petition interest in any proceeding under any Bank-
ruptcy Law) on overdue installments of interest and Additional Interest (without regard to any applicable
grace period) at the same rate to the extent lawful.

Section 4.02    Maintenance of Office or Agency.

                  The Issuer shall maintain an office or agency (which may be an office of the Trustee or
an affiliate of the Trustee, Registrar or co-registrar) where Notes may be surrendered for registration of
transfer or for exchange and where notices and demands to or upon the Issuer in respect of the Notes and
this Indenture may be served. The Issuer shall give prompt written notice to the Trustee of the location,
and any change in the location, of such office or agency. If at any time the Issuer shall fail to maintain
any such required office or agency or shall fail to furnish the Trustee with the address thereof, such pres-
entations, surrenders, notices and demands may be made or served at the Corporate Trust Office of the
Trustee.




                                                    -58-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                            Pg 70 of 771


                 The Issuer may also from time to time designate one or more other offices or agencies
where the Notes may be presented or surrendered for any or all such purposes and may from time to time
rescind such designations. The Issuer shall give prompt written notice to the Trustee of any such designa-
tion or rescission and of any change in the location of any such other office or agency.

                The Issuer hereby designates the Corporate Trust Office of the Trustee as one such office
or agency of the Issuer in accordance with Section 2.03 hereof.

Section 4.03    Reports and Other Information.

                  (a)      From and after the Release Date, whether or not the Issuer is subject to the re-
porting requirements of Section 13 or 15(d) of the Exchange Act, the Issuer will file with the SEC (sub-
ject to the next sentence) and provide the Trustee and Holders of the Notes with such annual and other
reports as are specified in Sections 13 and 15(d) of the Exchange Act and applicable to a U.S. corporation
subject to such Sections, such reports to be so filed and provided within the times specified for the filings
of such reports for non-accelerated filers under such Sections and containing, in all material respects, all
the information, audit reports and exhibits required for such reports. If at any time, the Issuer is not sub-
ject to the periodic reporting requirements of the Exchange Act for any reason, the Issuer will neverthe-
less continue filing the reports specified in the preceding sentence with the SEC within the time periods
required unless the SEC will not accept such a filing. The Issuer agrees that it will not take any action for
the purpose of causing the SEC not to accept any such filings. If, notwithstanding the foregoing, the SEC
will not accept such filings for any reason, the Issuer will post the reports specified in the preceding sen-
tence on its website within the time periods that would apply for non-accelerated filers if the Issuer were
required to file those reports with the SEC (it being expressly understood that prior to the effectiveness of
the Exchange Offer Registration Statement or the Shelf Registration Statement (each as defined below)
that the SEC will not accept such filings by the Issuer and that the Issuer shall therefor be able to satisfy
its obligations under this Section 4.03 by posting such reports on a publicly accessible page on its web-
site). Notwithstanding the foregoing, the Issuer may satisfy such requirements prior to the effectiveness of
a registration statement (the “Exchange Offer Registration Statement”) filed with the SEC with respect to
a registered offer to exchange the Notes for new notes of the Issuer having terms substantially identical in
all material respects to the Notes exchanged therefor (except that the Exchange Notes will not contain
terms with respect to transfer restrictions) or a shelf registration statement (a “Shelf Registration State-
ment”) filed with the SEC covering resales of Notes or Exchange Notes, as the case may be, by filing with
the SEC the Exchange Offer Registration Statement or Shelf Registration Statement, to the extent that any
such registration statement contains substantially the same information as would be required to be filed by
the Issuer if it were subject to the reporting requirements of Section 13 or 15(d) of the Exchange Act, and
by providing the Trustee and Holders of Notes with such registration statement (and any amendments
thereto) promptly following the filing thereof.

                (b)      In addition, in the event that:

                 (1)     the rules and regulations of the SEC permit a parent entity that becomes a Guar-
        antor to report at such parent entity’s level on a consolidated basis; and

                (2)      such parent entity is not engaged in any business in any material respect other
        than incidental to its ownership of the capital stock of the Issuer,

such consolidated reporting by such parent entity in a manner consistent with this Section 4.03 for the
Issuer will satisfy this Section 4.03.




                                                     -59-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                            Pg 71 of 771


                 (c)     Notwithstanding the foregoing, prior to the effectiveness of the Exchange Offer
Registration Statement or Shelf Registration Statement with respect to the Notes, the Issuer will not be
required to furnish any information, certificates or reports required by Items 307 or 308 of Regulation S-
K or Item 3-10 of Regulation S-X.

                (d)      In addition, the Issuer will furnish to the Holders of Notes and to prospective in-
vestors, upon the requests of such Holders, any information required to be delivered pursuant to
Rule 144A(d)(4) under the Securities Act so long as the Notes are not freely transferable under the Secu-
rities Act.

                  (e)    In addition, such requirements of this Section 4.03 shall be deemed satisfied prior
to the commencement of the Exchange Offer or the effectiveness of the Shelf Registration Statement by
the filing with the SEC of the Exchange Offer Registration Statement or Shelf Registration Statement,
and any amendments thereto, with such financial information that satisfies Regulation S-X of the Securi-
ties Act and such registration statement and/or amendments thereto are filed at times that otherwise sat-
isfy the time requirements set forth in the first paragraph of this Section 4.03.

                 (f)     Notwithstanding anything herein to the contrary, the Issuer will not be deemed to
have failed to comply with any of its obligations hereunder for purposes of clause (3) under Section
6.01(a) hereof until 120 days after the date any report hereunder is required to be made available to the
Trustee and the Holders pursuant to this Section 4.03.

Section 4.04    Compliance Certificate.

                  (a)      The Issuer and each Guarantor (to the extent that such Guarantor is so required
under the Trust Indenture Act) shall deliver to the Trustee, within 90 days after the end of each fiscal year
ending after the Issue Date commencing with the fiscal year ending March 31, 2011, a certificate from the
principal executive officer, principal financial officer or principal accounting officer stating that a review
of the activities of the Issuer and its Restricted Subsidiaries during the preceding fiscal year has been
made under the supervision of the signing Officer with a view to determining whether the Issuer has kept,
observed, performed and fulfilled its obligations under this Indenture, and further stating, as to such Offi-
cer signing such certificate, that to the best of his or her knowledge the Issuer has kept, observed, per-
formed and fulfilled each and every condition and covenant contained in this Indenture and is not in de-
fault in the performance or observance of any of the terms, provisions, covenants and conditions of this
Indenture (or, if a Default shall have occurred, describing all such Defaults of which he or she may have
knowledge and what action the Issuer is taking or proposes to take with respect thereto).

                 (b)      When any Default has occurred and is continuing under this Indenture, or if the
Trustee or the holder of any other evidence of Indebtedness of the Issuer or any Subsidiary gives any no-
tice or takes any other action with respect to a claimed Default, the Issuer shall promptly (which shall be
no more than five (5) Business Days) deliver to the Trustee by registered or certified mail or by facsimile
transmission an Officers’ Certificate specifying such event and what action the Issuer is taking or pro-
poses to take with respect thereto.

Section 4.05    Taxes.

                 The Issuer shall pay, and shall cause each of their respective Restricted Subsidiaries to
pay, prior to delinquency, all material taxes, assessments, and governmental levies except such as are
contested in good faith and by appropriate negotiations or proceedings or where the failure to effect such
payment is not adverse in any material respect to the Holders of the Notes.



                                                    -60-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                            Pg 72 of 771


Section 4.06     Stay, Extension and Usury Laws.

                 The Issuer and each of the Guarantors covenant (to the extent that they may lawfully do
so) that they shall not at any time insist upon, plead, or in any manner whatsoever claim or take the bene-
fit or advantage of, any stay, extension or usury law wherever enacted, now or at any time hereafter in
force, that may affect the covenants or the performance of this Indenture; and the Issuer and each of the
Guarantors (to the extent that they may lawfully do so) hereby expressly waive all benefit or advantage of
any such law, and covenant that they shall not, by resort to any such law, hinder, delay or impede the exe-
cution of any power herein granted to the Trustee, but shall suffer and permit the execution of every such
power as though no such law has been enacted.

Section 4.07     Limitation on Restricted Payments.

                 (a)      After the Release Date, the Issuer shall not, and shall not permit any of its Re-
stricted Subsidiaries to, directly or indirectly:

                 (I)     declare or pay any dividend or make any payment or distribution on account of
        the Issuer’s or any of its Restricted Subsidiaries’ Equity Interests, including any dividend or dis-
        tribution payable in connection with any merger or consolidation other than:

                          (a)      dividends, payments or distributions by the Issuer payable solely in Eq-
                 uity Interests (other than Disqualified Stock) of the Issuer; or

                          (b)      dividends, payments or distributions by a Restricted Subsidiary so long
                 as, in the case of any dividend, payment or distribution payable on or in respect of any
                 class or series of securities issued by a Restricted Subsidiary that is not a Wholly Owned
                 Subsidiary, the Issuer or a Restricted Subsidiary receives at least its pro rata share of such
                 dividend payment or distribution in accordance with its Equity Interests in such class or
                 series of securities;

                 (II)     purchase, redeem, defease or otherwise acquire or retire for value any Equity In-
        terests of the Issuer or any direct or indirect parent of the Issuer, including in connection with any
        merger or consolidation, other than purchases, redemptions, defeasances and other acquisitions
        and retirements of Equity Interests of the Issuer or any direct or indirect parent of the Issuer held
        by a Restricted Subsidiary of the Issuer);

                (III)     make any principal payment on, or redeem, repurchase, defease or otherwise ac-
        quire or retire for value or give any irrevocable notice of redemption with respect thereto, in each
        case, prior to any scheduled repayment, sinking fund payment or maturity, any Indebtedness,
        other than:

                         (a)      Indebtedness permitted under clauses (7) and (8) of Section 4.09(b);

                          (b)     the payment, redemption, repurchase, defeasance or other acquisition or
                 retirement for value of Indebtedness made in anticipation of satisfying a sinking fund ob-
                 ligation, principal installment or final maturity, in each case due within one year of the
                 date of such payment, redemption, repurchase, defeasance or other acquisition or retire-
                 ment for value;

                          (c)    the giving of an irrevocable notice of redemption with respect to the
                 transactions described in clauses (a) and (b) above and (2) and (3) of Section 4.07(b); or


                                                     -61-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 73 of 771


                         (d)     Pari Passu Lien Indebtedness; or

               (IV)      make any Restricted Investment

(all such payments and other actions set forth in clauses (I) through (IV) (other than any exception thereto
in clauses (I) and (III)) above being collectively referred to as “Restricted Payments”), unless, at the time
of such Restricted Payment:

                (1)     no Default shall have occurred and be continuing or would occur as a conse-
        quence thereof;

                (2)       immediately after giving effect to such transaction on a pro forma basis, the Is-
        suer could incur at least $1.00 of additional Indebtedness pursuant to the Consolidated Leverage
        Ratio test set forth in Section 4.09(a); and

                 (3)      such Restricted Payment, together with the aggregate amount of all other Re-
        stricted Payments made by the Issuer and its Restricted Subsidiaries after the Release Date (in-
        cluding Restricted Payments permitted by clauses (1) and (10) of Section 4.07(b), but excluding
        all other Restricted Payments permitted by Section 4.07(b)), is less than the sum of (without du-
        plication):

                         (a)      EBITDA of the Issuer and its Restricted Subsidiaries on a consolidated
                basis for the period (taken as one accounting period) beginning on the first day of the first
                fiscal quarter beginning after the Release Date, to the end of the Issuer’s most recently
                ended fiscal quarter for which internal financial statements are available at the time of
                such Restricted Payment, less the product of 1.4 times the Consolidated Interest Expense
                of the Issuer and its Restricted Subsidiaries for the same period; provided that the
                amount, if positive, of this clause (a) shall only be included in the calculation for this
                clause (3) when the First Lien Leverage Ratio for the Issuer and its Restricted Subsidiar-
                ies on a consolidated basis for the most recently ended four fiscal quarters for which in-
                ternal financial statements are available immediately preceding the date of such transac-
                tion would have been less than 2.75 to 1.00; plus

                         (b)     100% of the aggregate net cash proceeds and the fair market value of
                marketable securities or other property or assets received by the Issuer since immediately
                after the Release Date (other than net cash proceeds to the extent such net cash proceeds
                have been used to incur Indebtedness, Disqualified Stock or Preferred Stock pursuant to
                clause (12)(a) of Section 4.09(b) hereof) from the sale of:

                                    (i)    (A) Equity Interests of the Issuer, including Treasury Capital
                         Stock, but excluding cash proceeds and the fair market value of marketable secu-
                         rities or other property or assets received from the sale of Equity Interests to
                         members of management, directors or consultants of the Issuer, any direct or in-
                         direct parent company of the Issuer and the Issuer’s Subsidiaries after the Release
                         Date to the extent such amounts have been applied to Restricted Payments made
                         in accordance with clause (4) of Section 4.07(b) hereof; and

                                  (B)     to the extent such net cash proceeds are actually contributed to
                         the Issuer, Equity Interests of the Issuer’s direct or indirect parent companies
                         (excluding contributions to the extent such amounts have been applied to Re-
                         stricted Payments made in accordance with clause (4) Section 4.07(b) hereof); or


                                                    -62-
10-16140-mg     Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                         Pg 74 of 771


                             (ii)    debt securities of the Issuer that have been converted into or ex-
                      changed for such Equity Interests of the Issuer (or any direct or indirect parent
                      company of the Issuer);

              provided, however, that this clause (b) shall not include the proceeds from (X) Equity In-
              terests or convertible debt securities of the Issuer sold to a Restricted Subsidiary, as the
              case may be, (Y) Disqualified Stock or debt securities that have been converted into Dis-
              qualified Stock or (Z) Excluded Contributions; plus

                      (c)      100% of the aggregate amount of cash and the fair market value of mar-
              ketable securities or other property contributed to the capital of the Issuer following the
              Release Date (other than net cash proceeds to the extent such net cash proceeds have
              been used to incur Indebtedness, Disqualified Stock or Preferred Stock pursuant to clause
              (12)(a) of Section 4.09(b) hereof) (other than by a Restricted Subsidiary and other than
              by any Excluded Contributions); plus

                     (d)      100% of the aggregate amount received in cash and the fair market value
              of marketable securities or other property received after the Release Date by means of:

                                (i)     the sale or other disposition (other than to the Issuer or a Re-
                      stricted Subsidiary) of Restricted Investments made by the Issuer or its Restricted
                      Subsidiaries and repurchases and redemptions of such Restricted Investments
                      from the Issuer or its Restricted Subsidiaries and repayments of loans or ad-
                      vances, and releases of guarantees, which constitute Restricted Investments by
                      the Issuer or its Restricted Subsidiaries, in each case after the Release Date; or

                               (ii)    the sale (other than to the Issuer or a Restricted Subsidiary) of
                      the Equity Interests of an Unrestricted Subsidiary or a distribution from an Unre-
                      stricted Subsidiary (other than in each case to the extent the Investment in such
                      Unrestricted Subsidiary constituted a Permitted Investment) or a dividend from
                      an Unrestricted Subsidiary after the Release Date; plus

                       (e)     in the case of the redesignation of an Unrestricted Subsidiary as a Re-
              stricted Subsidiary after the Release Date, the fair market value of the Investment in such
              Unrestricted Subsidiary (which, if the fair market value of such Investment may exceed
              $50.0 million, shall be set forth in writing by an Independent Financial Advisor) at the
              time of the redesignation of such Unrestricted Subsidiary as a Restricted Subsidiary,
              other than an Unrestricted Subsidiary to the extent the Investment in such Unrestricted
              Subsidiary constituted a Permitted Investment hereunder.

              (b)     The foregoing provisions shall not prohibit:

             (1)    the payment of any dividend or distribution or the consummation of any irrevo-
     cable redemption within 60 days after the date of declaration thereof or the giving of the irrevo-
     cable redemption notice, as applicable, if at the date of declaration or notice such payment would
     have complied with the provisions of this Indenture;

              (2)     the redemption, repurchase, defeasance, retirement or other acquisition of any
     Equity Interests (“Treasury Capital Stock”) or Indebtedness that is not Pari Passu Lien Indebted-
     ness of the Issuer or a Guarantor in exchange for, or out of the proceeds of the substantially con-
     current sale (other than to a Restricted Subsidiary) of, Equity Interests of the Issuer or any of its


                                                 -63-
10-16140-mg     Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                         Pg 75 of 771


     direct or indirect parent companies (in each case, other than any Disqualified Stock); provided
     that the amount of any such net cash proceeds that are utilized for any such redemption, repur-
     chase, retirement or other acquisition will be excluded from clause (3)(b) of Section 4.07(a)
     above;

             (3)      the redemption, repurchase, defeasance or other acquisition or retirement of In-
     debtedness that is not Pari Passu Lien Indebtedness of the Issuer or a Guarantor made by ex-
     change for, or out of the proceeds of the substantially concurrent sale of, new Indebtedness that is
     not Pari Passu Lien Indebtedness of the Issuer or a Guarantor, as the case may be, which is in-
     curred in compliance with Section 4.09 hereof so long as:

                      (a)     the principal amount (or accreted value, if applicable) of such new In-
              debtedness does not exceed the principal amount (or accreted value, if applicable) of,
              plus any accrued and unpaid interest, if any, on the Indebtedness being so redeemed, re-
              purchased, defeased, acquired or retired for value, plus the amount of any reasonable pre-
              mium paid (including reasonable tender premiums), defeasance costs and any reasonable
              fees and expenses incurred in connection with the issuance of such new Indebtedness;

                       (b)      such new Indebtedness has a final scheduled maturity date equal to or
              later than the final scheduled maturity date of the Indebtedness being so redeemed, repur-
              chased, defeased, acquired or retired; and

                       (c)     such new Indebtedness has a Weighted Average Life to Maturity equal to
              or greater than the remaining Weighted Average Life to Maturity of the Indebtedness be-
              ing so redeemed, repurchased, defeased, acquired or retired;

              (4)      a Restricted Payment to pay for the repurchase, redemption, defeasance or other
     acquisition or retirement for value of Equity Interests (other than Disqualified Stock) of the Issuer
     or any of its direct or indirect parent companies held by any future, present or former employee,
     director or consultant of the Issuer, any of its Subsidiaries or any of its direct or indirect parent
     companies (or any permitted transferee of any of the foregoing) pursuant to any management eq-
     uity plan or stock option plan or any other management or employee benefit plan or agreement;
     provided, however, that the aggregate amounts paid under this clause (4) do not exceed in any
     calendar year $5.0 million (with unused amounts in any calendar year being carried over to suc-
     ceeding calendar years subject to a maximum (without giving effect to the following proviso) of
     $10.0 million in any calendar year); provided further that such amount in any calendar year may
     be increased by an amount not to exceed:

                       (a)      the cash proceeds from the sale of Equity Interests (other than Disquali-
              fied Stock) of the Issuer and, to the extent contributed to the Issuer, Equity Interests of
              any of the Issuer’s direct or indirect parent companies, in each case to members of man-
              agement, directors or consultants of the Issuer, any of its direct or indirect parent compa-
              nies or any of its Subsidiaries that occurs after the Release Date, to the extent the cash
              proceeds from the sale of such Equity Interests have not otherwise been applied to the
              payment of Restricted Payments by virtue of clause (3) of Section 4.07(a) hereof; plus

                       (b)      the cash proceeds of key man life insurance policies received by the Is-
              suer or its Restricted Subsidiaries after the Release Date; less

                       (c)     the amount of any Restricted Payments made in any prior fiscal year pur-
              suant to clauses (a) and (b) of this clause (4);


                                                 -64-
10-16140-mg     Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                         Pg 76 of 771


             (5)      the declaration and payment of dividends to holders of, and any redemption or
     repurchase at maturity or upon any mandatory redemption event of, any class or series of Dis-
     qualified Stock of the Issuer or any of its Restricted Subsidiaries or any class or series of Pre-
     ferred Stock of a Restricted Subsidiary issued in accordance with Section 4.09 hereof to the ex-
     tent such dividends are included in the definition of “Consolidated Interest Expense”;

             (6)      repurchases of Equity Interests deemed to occur upon exercise of stock options or
     warrants if such Equity Interests represent a portion of the exercise price of such options or war-
     rants;

              (7)     the declaration and payment of dividends on the Issuer’s common stock (or the
     payment of dividends to any direct or indirect parent entity to fund a payment of dividends on the
     Issuer’s common stock), following the consummation of the first public offering of the Issuer’s
     common stock or the common stock of any of its direct or indirect parent companies after the Re-
     lease Date, of up to 6% per annum of the net cash proceeds received by or contributed to the Is-
     suer in or from any such public offering, other than public offerings with respect to the Issuer’s
     common stock registered on Form S-8 and other than any public sale constituting an Excluded
     Contribution;

             (8)    other Restricted Payments in an aggregate amount taken together with all other
     Restricted Payments made pursuant to this clause (8) not to exceed $15.0 million;

              (9)     Restricted Payments that are made with Excluded Contributions;

              (10)    the payment, repurchase, redemption, defeasance or other acquisition or retire-
     ment for value of any Indebtedness required in accordance with provisions applicable thereto
     similar to those described under Sections 4.10 and 4.14 hereof; provided that all Notes tendered
     by Holders in connection with a Change of Control Offer or Asset Sale Offer, as applicable, have
     been repurchased, redeemed or acquired for value;

              (11)    any Restricted Payments in connection with the Emergence Transactions; and

              (12)    the declaration and payment of dividends by the Issuer or a Restricted Subsidiary
     to, or the making of loans to, any of their respective direct or indirect parents in amounts required
     for any direct or indirect parent companies to pay, in each case without duplication,

                       (a)     franchise taxes and other fees, taxes and expenses required to maintain
              their corporate existence;

                       (b)      federal, foreign, state and local income taxes to the extent such income
              taxes are attributable to the income of the Issuer and its Restricted Subsidiaries and, to the
              extent of the amount actually received from its Unrestricted Subsidiaries, in amounts re-
              quired to pay such taxes to the extent attributable to the income of such Unrestricted Sub-
              sidiaries; provided that, in each case the amount of such payments in any fiscal year does
              not exceed the amount that the Issuer and its Restricted Subsidiaries would be required to
              pay in respect of federal, foreign, state and local income taxes for such fiscal year were
              the Issuer, its Restricted Subsidiaries and its Unrestricted Subsidiaries (to the extent de-
              scribed above) to pay such taxes separately from any parent entity at the highest com-
              bined applicable, federal, foreign, state and local tax rate for such fiscal year;




                                                  -65-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                    Main Document
                                            Pg 77 of 771


                          (c)     customary salary, bonus and other benefits payable to officers and em-
                 ployees of any direct or indirect parent company of the Issuer and its Restricted Subsidi-
                 aries to the extent such salaries, bonuses and other benefits are attributable to the owner-
                 ship or operation of the Issuer and its Restricted Subsidiaries;

                          (d)      general corporate operating and overhead costs and expenses of any di-
                 rect or indirect parent company of the Issuer and its Restricted Subsidiaries to the extent
                 such costs and expenses are attributable to the ownership or operation of the Issuer and
                 its Restricted Subsidiaries; and

                         (e)     fees and expenses other than to Affiliates of the Issuer related to any un-
                 successful equity or debt offering of such parent entity;

provided, however, that at the time of, and after giving effect to, any Restricted Payment permitted under
clauses (8) and (10) of this Section 4.07(b), no Default shall have occurred and be continuing or would
occur as a consequence thereof.

                  As of the Release Date, all of the Issuer’s Subsidiaries shall be Restricted Subsidiaries.
The Issuer shall not permit any Unrestricted Subsidiary to become a Restricted Subsidiary except pursu-
ant to the definition of “Unrestricted Subsidiary.” For purposes of designating any Restricted Subsidiary
as an Unrestricted Subsidiary, all outstanding Investments by the Issuer and its Restricted Subsidiaries
(except to the extent repaid) in the Subsidiary so designated shall be deemed to be Investments in an
amount determined as set forth in the last sentence of the definition of “Investment.” Such designation
shall be permitted only if a Restricted Payment in such amount would be permitted at such time, whether
pursuant to Section 4.07(a) hereof or under clause (8) of Section 4.07(b) hereof, or pursuant to the defini-
tion of “Permitted Investments,” and if such Subsidiary otherwise meets the definition of an Unrestricted
Subsidiary. Unrestricted Subsidiaries shall not be subject to any of the restrictive covenants set forth in
this Indenture.

Section 4.08     Dividend and Other Payment Restrictions Affecting Restricted
                 Subsidiaries.

                 (a)      After the Release Date, the Issuer shall not, and shall not permit any of its Re-
stricted Subsidiaries that are not Guarantors to, directly or indirectly, create or otherwise cause or suffer to
exist or become effective any consensual encumbrance or consensual restriction on the ability of any such
Restricted Subsidiary that is not a Guarantor to:

                 (1)     (A) pay dividends or make any other distributions to the Issuer or any of the Re-
        stricted Subsidiaries on its Capital Stock or with respect to any other interest or participation in,
        or measured by, its profits, or

                         (B) pay any Indebtedness owed to the Issuer or any of the Restricted Subsidiar-
                 ies;

                 (2)     make loans or advances to the Issuer or any of the Restricted Subsidiaries; or

                 (3)     sell, lease or transfer any of its properties or assets to the Issuer or any of the Re-
        stricted Subsidiaries.




                                                     -66-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 78 of 771


                  (b)     The restrictions in Section 4.08(a) hereof shall not apply to encumbrances or re-
strictions existing under or by reason of:

               (1)       contractual encumbrances or restrictions in effect on the Release Date, including
        pursuant to the Credit Agreement, the Second Lien Notes and the related documentation;

                (2)      this Indenture, the Notes and the Guarantees;

                (3)      Purchase Money Obligations for property acquired in the ordinary course of
        business and Capitalized Lease Obligations that impose restrictions of the nature discussed in
        clause (3) of Section 4.08(a) hereof on the property so acquired and related assets;

                (4)      applicable law or any applicable rule, regulation or order;

                 (5)     any agreement or other instrument of a Person acquired by the Issuer or any of its
        Restricted Subsidiaries in existence at the time of such acquisition or at the time it merges with or
        into the Issuer or any Restricted Subsidiary or assumed in connection with the acquisition of as-
        sets from such Person (but, in any such case, not created in contemplation thereof), which en-
        cumbrance or restriction is not applicable to any Person, or the properties or assets of any Person,
        other than the Person and its Subsidiaries, or the property or assets of the Person and its Subsidi-
        aries, so acquired or the property or assets so assumed and related assets;

                 (6)     contracts for the sale of assets or Capital Stock, including customary restrictions
        with respect to a Subsidiary of the Issuer pursuant to an agreement that has been entered into for
        the sale or disposition of the Capital Stock or assets of such Subsidiary, that impose restrictions
        on the assets to be sold or the assets of such Subsidiary;

                (7)     Secured Indebtedness otherwise permitted to be incurred pursuant to Section
        4.09 hereof and Section 4.12 hereof that limits the right of the debtor to dispose of the assets se-
        curing such Indebtedness;

                (8)     restrictions on cash or other deposits or net worth imposed by customers under
        contracts entered into in the ordinary course of business;

                (9)      other Indebtedness, Disqualified Stock or Preferred Stock of Foreign Subsidiaries
        permitted to be incurred subsequent to the Release Date pursuant to the provisions of Section 4.09
        hereof that imposes restrictions solely on Foreign Subsidiaries or their Subsidiaries party thereto;

               (10)    customary provisions in joint venture agreements and other similar agreements or
        arrangements relating solely to such joint venture;

                (11)   customary provisions contained in leases or licenses of intellectual property and
        other agreements, in each case, entered into in the ordinary course of business;

                 (12)    other Indebtedness or Disqualified Stock of the Issuer or any of its Restricted
        Subsidiaries or Preferred Stock of any Restricted Subsidiary that is incurred subsequent to the Re-
        lease Date and permitted pursuant to Section 4.09 hereof; provided that such encumbrances and
        restrictions contained in any agreement or instrument will not materially affect the Issuer’s ability
        to make anticipated principal or interest payments on the Notes (as determined in good faith by
        senior management or the Board of Directors of the Issuer);



                                                    -67-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 79 of 771


                 (13)    any encumbrances or restrictions of the type referred to in clauses (1), (2) and (3)
        of Section 4.08(a) above imposed by any amendments, modifications, restatements, renewals, in-
        creases, supplements, refundings, replacements or refinancings of the contracts, instruments or
        obligations referred to in clauses (1) through (12) of this Section 4.08(b); provided that such
        amendments, modifications, restatements, renewals, increases, supplements, refundings, replace-
        ments or refinancings are, in the good faith judgment of the Issuer, not materially more restrictive
        with respect to such encumbrance and other restrictions taken as a whole than those prior to such
        amendment, modification, restatement, renewal, increase, supplement, refunding, replacement or
        refinancing; and

                (14)     restrictions or conditions of the type contained in clause (3) of Section 4.08(a)
        hereof contained in any trading, netting, operating, construction, service, supply, purchase or
        other agreement to which the Issuer or any Restricted Subsidiary is a party entered into in the or-
        dinary course of business; provided that such agreement prohibits the encumbrance of solely the
        property or assets of the Issuer or such Restricted Subsidiary that is the subject of such agree-
        ment, the payment rights arising thereunder or the proceeds thereof and does not extend to any
        other asset or property of such Restricted Subsidiary or the assets or property of the Issuer or any
        other Restricted Subsidiary.

Section 4.09    Limitation on Incurrence of Indebtedness and Issuance of Disqualified
                Stock and Preferred Stock.

                 (a)      From and after the Release Date, the Issuer shall not, and shall not permit any of
the Restricted Subsidiaries to, directly or indirectly, create, incur, issue, assume, guarantee or otherwise
become directly or indirectly liable, contingently or otherwise (collectively, “incur” and collectively, an
“incurrence”) with respect to any Indebtedness (including Acquired Indebtedness) and the Issuer shall not
issue any shares of Disqualified Stock and shall not permit any Restricted Subsidiary to issue any shares
of Disqualified Stock or Preferred Stock; provided, however, that the Issuer may incur Indebtedness (in-
cluding Acquired Indebtedness) or issue shares of Disqualified Stock, and any Restricted Subsidiary may
incur Indebtedness (including Acquired Indebtedness), issue shares of Disqualified Stock and issue shares
of Preferred Stock, if the Consolidated Leverage Ratio on a consolidated basis for the Issuer and its Re-
stricted Subsidiaries’ most recently ended four fiscal quarters for which internal financial statements are
available immediately preceding the date on which such additional Indebtedness is incurred or such Dis-
qualified Stock or Preferred Stock is issued would have been less than 4.50 to 1.00, determined on a pro
forma basis (including a pro forma application of the net proceeds therefrom), as if the additional Indebt-
edness had been incurred, or the Disqualified Stock or Preferred Stock had been issued, as the case may
be, and the application of proceeds therefrom had occurred at the beginning of such four-quarter period;
provided, further, that the amount of Indebtedness (including Acquired Indebtedness) that may be in-
curred and Disqualified Stock or Preferred Stock that may be issued pursuant to this Section 4.09(a) by
Restricted Subsidiaries that are not Guarantors shall not exceed $10.0 million at any one time outstanding.

                (b)     The provisions of Section 4.09(a) hereof shall not apply to:

               (1)      Indebtedness under the Credit Agreement incurred in an aggregate principal
        amount not to exceed $40.0 million outstanding at any one time;

                 (2)      the incurrence by the Issuer and any Guarantor of Indebtedness represented by
        (a) the First Lien Notes (excluding Additional Notes), (b) the Second Lien Notes and (c) any
        guarantee by a Guarantor of any of the foregoing in this clause (2);




                                                    -68-
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                        Pg 80 of 771


             (3)      Indebtedness of the Issuer and its Restricted Subsidiaries in existence on the Re-
     lease Date after giving effect to the consummation of the Reorganization Plan (other than Indebt-
     edness described in clauses (1) and (2) of this Section 4.09(b));

              (4)     Indebtedness (including Capitalized Lease Obligations and Purchase Money Ob-
     ligations), Disqualified Stock and Preferred Stock incurred by the Issuer or any of its Restricted
     Subsidiaries to finance the purchase, lease or improvement of property (real or personal) or
     equipment (other than software) that is used or useful in a Similar Business, whether through the
     direct purchase of assets or the Capital Stock of any Person owning such assets, provided that the
     aggregate amount of Indebtedness, Disqualified Stock and Preferred Stock incurred pursuant to
     this clause (4) when aggregated with then outstanding amount of Indebtedness under clause
     (13) below incurred to refinance Indebtedness initially incurred in reliance on this clause (4) does
     not exceed $15.0 million at any one time outstanding;

             (5)      Indebtedness incurred by the Issuer or any of its Restricted Subsidiaries constitut-
     ing reimbursement obligations with respect to letters of credit issued in the ordinary course of
     business, including letters of credit in respect of workers’ compensation claims, or other Indebt-
     edness with respect to reimbursement type obligations regarding workers’ compensation claims;
     provided, however, that such letters of credit are not drawn;

              (6)     Indebtedness arising from agreements of the Issuer or its Restricted Subsidiaries
     providing for indemnification, adjustment of purchase price or similar obligations, in each case,
     incurred or assumed in connection with the disposition of any business, assets or a Subsidiary,
     other than guarantees of Indebtedness incurred by any Person acquiring all or any portion of such
     business, assets or a Subsidiary for the purpose of financing such acquisition; provided, however,
     that the maximum assumable liability in respect of all such Indebtedness shall at no time exceed
     the gross proceeds including non-cash proceeds (the fair market value of such non-cash proceeds
     being measured at the time received and without giving effect to any subsequent changes in
     value) actually received by the Issuer and its Restricted Subsidiaries in connection with such dis-
     position;

              (7)     Indebtedness of the Issuer to a Restricted Subsidiary; provided that any such In-
     debtedness owing to a Restricted Subsidiary that is not a Guarantor is expressly subordinated in
     right of payment to the Notes; provided further that any subsequent issuance or transfer of any
     Capital Stock or any other event which results in any such other Restricted Subsidiary ceasing to
     be a Restricted Subsidiary or any other subsequent transfer of any such Indebtedness (except to
     the Issuer or another Restricted Subsidiary or any pledge of such Indebtedness constituting a
     Permitted Lien) shall be deemed, in each case, to be an incurrence of such Indebtedness not per-
     mitted by this clause (7);

              (8)     Indebtedness of a Restricted Subsidiary to the Issuer or another Restricted Sub-
     sidiary; provided that if a Guarantor incurs such Indebtedness to a Restricted Subsidiary that is
     not a Guarantor, such Indebtedness is expressly subordinated in right of payment to the Guarantee
     of the Notes of such Guarantor; provided further that any subsequent issuance or transfer of any
     Capital Stock or any other event which results in any such other Restricted Subsidiary ceasing to
     be a Restricted Subsidiary or any subsequent transfer of any such Indebtedness (except to the Is-
     suer or another Restricted Subsidiary or any pledge of such Indebtedness constituting a Permitted
     Lien) shall be deemed, in each case, to be an incurrence of such Indebtedness not permitted by
     this clause (8);




                                                 -69-
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                        Pg 81 of 771


              (9)      shares of Preferred Stock or Disqualified Stock of a Restricted Subsidiary issued
     to the Issuer or another Restricted Subsidiary; provided that any subsequent issuance or transfer
     of any Capital Stock or any other event which results in any such other Restricted Subsidiary
     ceasing to be a Restricted Subsidiary or any other subsequent transfer of any such shares of Pre-
     ferred Stock or Disqualified Stock (except to the Issuer or another of its Restricted Subsidiaries)
     shall be deemed in each case to be an issuance of such shares of Preferred Stock or Disqualified
     Stock not permitted by this clause (9);

            (10)     Hedging Obligations (excluding Hedging Obligations entered into for speculative
     purposes) for the purpose of limiting interest rate risk, exchange rate risk or commodity pricing
     risk;

             (11)    obligations in respect of performance, bid, appeal and surety bonds and comple-
     tion guarantees provided by the Issuer or any of its Restricted Subsidiaries in the ordinary course
     of business;

              (12)     (a) Indebtedness or Disqualified Stock of the Issuer or any Restricted Subsidiary
     of the Issuer in an aggregate principal amount or liquidation preference equal to 100.0% of the
     net cash proceeds received by the Issuer and its Restricted Subsidiaries since immediately after
     the Release Date from the issue or sale of Equity Interests of the Issuer or any direct or indirect
     parent entity of the Issuer (which proceeds are contributed to the Issuer or a Restricted Subsidi-
     ary) or cash contributed to the capital of the Issuer (in each case, other than proceeds of Disquali-
     fied Stock or sales of Equity Interests or contributions received from the Issuer or any of its Sub-
     sidiaries) as determined in accordance with clauses (3)(b) and (3)(c) of Section 4.07(a) to the ex-
     tent such net cash proceeds or cash have not been applied pursuant to such clauses to make Re-
     stricted Payments or to make other Investments, payments or exchanges pursuant to Section
     4.07(b) or to make Permitted Investments (other than Permitted Investments specified in clauses
     (1) and (3) of the definition thereof) and (b) Indebtedness or Disqualified Stock of the Issuer and
     Indebtedness, Disqualified Stock or Preferred Stock of the Issuer or any Restricted Subsidiary not
     otherwise permitted hereunder in an aggregate principal amount or liquidation preference which,
     when aggregated with the principal amount and liquidation preference of all other Indebtedness,
     Disqualified Stock and Preferred Stock then outstanding and incurred pursuant to this
     clause (12)(b), does not at any one time outstanding exceed $25.0 million;

             (13)    the incurrence by the Issuer or any Restricted Subsidiary of the Issuer of Indebt-
     edness, Disqualified Stock or Preferred Stock which serves to refund or refinance (whether by
     payment, purchase, redemption, defeasance or other acquisition or retirement) any Indebtedness,
     Disqualified Stock or Preferred Stock incurred or outstanding as permitted under Section 4.09(a)
     hereof and clauses (2), (3), (4), (6), (10) and (12)(a) above and this clause (13) and clause (14) be-
     low or any Indebtedness, Disqualified Stock or Preferred Stock issued to so refund or refinance
     such Indebtedness, Disqualified Stock or Preferred Stock including additional Indebtedness, Dis-
     qualified Stock or Preferred Stock incurred or outstanding to pay accrued interest; premiums (in-
     cluding reasonable tender premiums), defeasance costs and fees in connection therewith (the “Re-
     financing Indebtedness”) prior to its respective maturity; provided, however, that such Refinanc-
     ing Indebtedness:

                      (a)      has a Weighted Average Life to Maturity at the time such Refinancing
              Indebtedness is incurred which is not less than the remaining Weighted Average Life to
              Maturity of the Indebtedness, Disqualified Stock or Preferred Stock being refunded or re-
              financed,



                                                 -70-
10-16140-mg     Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                         Pg 82 of 771


                       (b)      to the extent such Refinancing Indebtedness refinances (i) Unsecured In-
              debtedness or constitutes Permitted Second Lien Obligations, such Refinancing Indebt-
              edness also constitutes Unsecured Indebtedness or constitutes Permitted Second Lien Ob-
              ligations, as the case may be, or (ii) Disqualified Stock or Preferred Stock, such Refi-
              nancing Indebtedness must be Disqualified Stock or Preferred Stock, respectively, and

                      (c)      shall not include:

                               (i)      Indebtedness, Disqualified Stock or Preferred Stock of a Sub-
                      sidiary of the Issuer that is not a Guarantor that refinances Indebtedness, Dis-
                      qualified Stock or Preferred Stock of the Issuer;

                               (ii)     Indebtedness, Disqualified Stock or Preferred Stock of a Sub-
                      sidiary of the Issuer, that is not a Guarantor that refinances Indebtedness, Dis-
                      qualified Stock or Preferred Stock of a Guarantor; or

                              (iii)    Indebtedness, Disqualified Stock or Preferred Stock of the Issuer
                      or a Restricted Subsidiary that refinances Indebtedness, Disqualified Stock or
                      Preferred Stock of a Restricted Subsidiary;

     and provided, further that subclause (a) of this clause (13) shall not apply to any refunding or re-
     financing of any Pari Passu Lien Indebtedness;

              (14)     Indebtedness, Disqualified Stock or Preferred Stock of a Person incurred and out-
     standing on or prior to the date on which such Person was acquired by the Issuer or any Restricted
     Subsidiary or merged into the Issuer or a Restricted Subsidiary in accordance with the terms of
     this Indenture; provided that such Indebtedness, Disqualified Stock or Preferred Stock is not in-
     curred in connection with or in contemplation of, or to provide all or any portion of the funds or
     credit support utilized to consummate, such acquisition or merger; and provided, further, that af-
     ter giving effect to such acquisition or merger, either

                       (a)      the First Lien Leverage Ratio for the Issuer and its Restricted Subsidiar-
              ies on a consolidated basis for the most recently ended four fiscal quarters for which in-
              ternal financial statements are available immediately preceding the date of such transac-
              tion does not exceed 2.75 to 1.00, or

                       (b)      (i) the First Lien Leverage Ratio is equal to or less than such ratio imme-
              diately prior to such acquisition or merger and (ii) the Consolidated Leverage Ratio is
              equal to or less than such ratio immediately prior to such acquisition or merger;

             (15)     Indebtedness arising from the honoring by a bank or other financial institution of
     a check, draft or similar instrument drawn against insufficient funds in the ordinary course of
     business, provided that such Indebtedness is extinguished within two Business Days of its incur-
     rence;

              (16)     Indebtedness of the Issuer or any of its Restricted Subsidiaries supported by a let-
     ter of credit issued pursuant to the Credit Agreement, in a principal amount not in excess of the
     stated amount of such letter of credit;




                                                    -71-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                            Pg 83 of 771


                (17)    (a)      any guarantee by the Issuer or a Restricted Subsidiary of Indebtedness or
        other obligations of any Restricted Subsidiary so long as the incurrence of such Indebtedness in-
        curred by such Restricted Subsidiary is permitted under the terms of this Indenture, or

                (b)     any guarantee by a Restricted Subsidiary of Indebtedness of the Issuer; provided
        that such guarantee is incurred in accordance with Section 4.15;

                  (18)   Indebtedness of the Issuer or any of its Restricted Subsidiaries consisting of
        (i) the financing of insurance premiums or (ii) take-or-pay obligations contained in supply ar-
        rangements in each case, incurred in the ordinary course of business;

                 (19)     Indebtedness consisting of Indebtedness issued by the Issuer or any of the Re-
        stricted Subsidiaries to current or former officers, directors and employees thereof, their respec-
        tive estates, spouses or former spouses, in each case to finance the purchase or redemption of Eq-
        uity Interests of the Issuer, a Restricted Subsidiary or any of their direct or indirect parent compa-
        nies to the extent described in clause (4) of Section 4.07(b);

                (20)   customer deposits and advance payments received in the ordinary course of busi-
        ness from customers for goods purchased in the ordinary course of business; and

                 (21)    Indebtedness owed on a short term basis of no longer than 30 days to banks and
        other financial institutions incurred in the ordinary course of business of the Issuer and the Re-
        stricted Subsidiaries with such banks or financial institutions that arises in connection with ordi-
        nary banking arrangements to manage cash balances of the Issuer and the Restricted Subsidiaries.

                For purposes of determining compliance with this Section 4.09:

                 (1)      in the event that an item of Indebtedness, Disqualified Stock or Preferred Stock
        (or any portion thereof) meets the criteria of more than one of the categories of permitted Indebt-
        edness, Disqualified Stock or Preferred Stock described in clauses (1) through (21) of Section
        4.09(b) hereof or is entitled to be incurred pursuant to Section 4.09(a) hereof, the Issuer, in its
        sole discretion, shall classify or reclassify such item of Indebtedness, Disqualified Stock or Pre-
        ferred Stock (or any portion thereof) and shall only be required to include the amount and type of
        such Indebtedness, Disqualified Stock or Preferred Stock under Section 4.09(a) hereof or in one
        of the above clauses under Section 4.09(b) hereof; provided that all Indebtedness outstanding un-
        der the Credit Agreement on the Release Date shall be treated as incurred on the Release Date
        under clause (1) of Section 4.09(b) hereof; and

                (2)     at the time of incurrence, the Issuer shall be entitled to divide and classify an item
        of Indebtedness in more than one of the types of Indebtedness described in Section 4.09(a) and
        (b) hereof.

                 Accrual of interest, the accretion of accreted value or original issue discount and the pay-
ment of interest or dividends in the form of additional Indebtedness, Disqualified Stock or Preferred
Stock, as applicable, shall not be deemed to be an incurrence of Indebtedness, Disqualified Stock or Pre-
ferred Stock for purposes of this Section 4.09.

                 For purposes of determining compliance with any U.S. dollar-denominated restriction on
the incurrence of Indebtedness, the U.S. dollar-equivalent principal amount of Indebtedness denominated
in a foreign currency shall be calculated based on the relevant currency exchange rate in effect on the date
such Indebtedness was incurred, in the case of term debt, or first committed, in the case of revolving


                                                    -72-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 84 of 771


credit debt; provided that if such Indebtedness is incurred to refinance other Indebtedness denominated in
a foreign currency, and such refinancing would cause the applicable U.S. dollar-denominated restriction
to be exceeded if calculated at the relevant currency exchange rate in effect on the date of such refinanc-
ing, such U.S. dollar-denominated restriction shall be deemed not to have been exceeded so long as the
principal amount of such refinancing Indebtedness does not exceed the principal amount of such Indebt-
edness being refinanced plus the amount of any reasonable premium (including reasonable tender premi-
ums), defeasance costs and any reasonable fees and expenses incurred in connection with the issuance of
such new Indebtedness.

                   The principal amount of any Indebtedness incurred to refinance other Indebtedness, if in-
curred in a different currency from the Indebtedness being refinanced, shall be calculated based on the
currency exchange rate applicable to the currencies in which such respective Indebtedness is denominated
that is in effect on the date of such refinancing.

                  For the purpose of this Indenture, (1) Unsecured Indebtedness shall not be deemed to be
subordinated or junior to Secured Indebtedness merely because it is unsecured, (2) senior Indebtedness
that is Secured Indebtedness shall not be deemed to be subordinated or junior to any other senior Indebt-
edness that is Secured Indebtedness merely because it has a junior priority with respect to the same col-
lateral, (3) any Indebtedness shall not be deemed to be subordinated to any other Indebtedness merely
because of maturity date, order of payment or order of application of funds or (4) Indebtedness that is not
guaranteed shall not be deemed to be subordinated to Indebtedness that is guaranteed merely because of
such guarantee.

Section 4.10    Asset Sales.

                 (a)      From and after the Release Date, the Issuer shall not, and shall not permit any of
its Restricted Subsidiaries to, cause, make or suffer to exist an Asset Sale, unless:

                 (1)      the Issuer or such Restricted Subsidiary, as the case may be, receives considera-
        tion at the time of such Asset Sale at least equal to the fair market value (such fair market value to
        be determined in good faith by the Issuer on the date of contractually agreeing to such Asset Sale)
        of the assets sold or otherwise disposed of; and

                (2)     except in the case of a Permitted Asset Swap, at least 75% of the consideration
        therefor received by the Issuer or such Restricted Subsidiary, as the case may be, is in the form of
        cash or Cash Equivalents; provided that the amount of:

                         (a)     any liabilities (as shown on the Issuer’s or such Restricted Subsidiary’s
                most recent internal balance sheet or in the footnotes thereto) of the Issuer or such Re-
                stricted Subsidiary, other than liabilities that are by their terms subordinated to the Notes,
                that are assumed by the transferee of any such assets and for which the Issuer and all of
                its Restricted Subsidiaries have been validly released by all creditors in writing;

                        (b)      any securities received by the Issuer or such Restricted Subsidiary from
                such transferee that are converted by the Issuer or such Restricted Subsidiary into cash (to
                the extent of the cash received) within 90 days following the closing of such Asset Sale;
                and

                        (c)      any Designated Non-cash Consideration received by the Issuer or such
                Restricted Subsidiary in such Asset Sale having an aggregate fair market value, taken to-
                gether with all other Designated Non-cash Consideration received pursuant to this


                                                    -73-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 85 of 771


                clause (c) and assets (other than securities received and not yet liquidated pursuant to
                clause (b)) that are at that time outstanding, not to exceed 3.0% of Total Assets at the
                time of the receipt of such Designated Non-cash Consideration, with the fair market value
                of each item of Designated Non-cash Consideration being measured at the time received
                and without giving effect to subsequent changes in value,

       shall be deemed to be cash for purposes of this provision and for no other purpose.

                 (b)     Within 12 months after the receipt of any Net Proceeds of any Asset Sale con-
summated after the Release Date (the “Application Period”), the Issuer or such Restricted Subsidiary, at
its option, may apply the Net Proceeds from such Asset Sale

                (1)     to permanently reduce:

                         (a)       Indebtedness constituting Pari Passu Lien Indebtedness (and, if the In-
                debtedness repaid is revolving credit Indebtedness, to correspondingly reduce commit-
                ments with respect thereto) (provided that (x) to the extent that the terms of Pari Passu
                Lien Obligations other than the Obligations in respect of the Notes or this Indenture re-
                quire that such Pari Passu Lien Obligations are repaid with the Net Proceeds of Asset
                Sales prior to repayment of other Indebtedness, the Issuer and its Restricted Subsidiaries
                shall be entitled to repay such other Pari Passu Lien Obligations prior to repaying the Ob-
                ligations under the Notes and (y) subject to the foregoing clause (x), if the Issuer or any
                Guarantor shall so reduce Pari Passu Lien Obligations, the Issuer will equally and ratably
                reduce Obligations under the Notes as provided in Section 3.09 hereof, through open-
                market purchases (provided that such purchases are at or above 100% of the principal
                amount thereof) or by making an offer (in accordance with the procedures set forth under
                Sections 3.09 and 4.10(c) hereof) to all Holders of Notes to purchase at a purchase price
                equal to 100% of the principal amount thereof, plus accrued and unpaid interest and addi-
                tional interest, if any, the pro rata principal amount of the Notes); or

                        (b)    Indebtedness of a Restricted Subsidiary that is not a Guarantor, other
                than Indebtedness owed to the Issuer or another Restricted Subsidiary; or

                 (2)      to make (a) an Investment in any one or more businesses, provided that such In-
        vestment in any business is in the form of the acquisition of Capital Stock and results in the Issuer
        or another of its Restricted Subsidiaries, as the case may be, owning an amount of the Capital
        Stock of such business such that it constitutes a Restricted Subsidiary, (b) capital expenditures or
        (c) acquisitions of other assets (other than current amounts), in each of clauses (a), (b) and (c),
        used or useful in a Similar Business or that replace the businesses, properties and/or assets that
        are the subject of such Asset Sale (“Replacement Assets”); provided that to the extent that the as-
        sets disposed of in such Asset Sale were Collateral, such assets are pledged as Collateral under
        the Security Documents with the Lien on such Collateral securing the Notes being of the same
        priority with respect to the Notes as the Lien on the assets disposed of.

                (c)      Any Net Proceeds from the Asset Sale that are not invested or applied in accor-
dance with Section 4.10(b) hereof within 12 months from the date of the receipt of such Net Proceeds
shall be deemed to constitute “Excess Proceeds.” When the aggregate amount of Excess Proceeds ex-
ceeds $20.0 million, the Issuer shall make an offer to (x) in the case of Net Proceeds from Collateral, all
Holders of the Notes and, if required by the terms of any Additional Pari Passu Lien Indebtedness, the
holders of such Additional Pari Passu Lien Indebtedness and (y) in the case of any other Net Proceeds, all
Holders of the Notes and all holders of other Indebtedness that ranks pari passu in right of payment with


                                                    -74-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 86 of 771


the Notes containing provisions similar to those set forth in Section 3.09 and Section 4.10 hereof with
respect to offers to purchase or redeem with the proceeds of sales of assets (“Pari Passu Indebtedness”),
in each case (an “Asset Sale Offer”), to purchase the maximum aggregate principal amount of the Notes
and such Pari Passu Lien Indebtedness, as applicable that may be purchased out of the Excess Proceeds at
an offer price in cash in an amount equal to 100% of the principal amount thereof, plus (without duplica-
tion) accrued and unpaid interest and Additional Interest, if any, to the date fixed for the closing of such
offer, in accordance with the procedures set forth in this Indenture. The Issuer shall commence an Asset
Sale Offer with respect to Excess Proceeds within ten Business Days after the date that Excess Proceeds
exceed $20.0 million by mailing the notice to Holders required pursuant to the terms of this Indenture,
with a copy to the Trustee as set forth in Section 3.09 hereof. The Issuer may satisfy the foregoing obli-
gations with respect to any Excess Proceeds from an Asset Sale by making an Asset Sale Offer with re-
spect to such Excess Proceeds prior to the expiration of the Application Period.

                 To the extent that the aggregate principal amount of Notes and such Pari Passu Lien In-
debtedness or Pari Passu Indebtedness, as applicable, tendered pursuant to an Asset Sale Offer is less than
the Excess Proceeds, the Issuer may use any remaining Excess Proceeds for general corporate purposes,
subject to the other covenants contained in this Indenture. If the aggregate principal amount of Notes and
Pari Passu Lien Indebtedness (in the case of Net Proceeds from Collateral) and such Pari Passu Indebted-
ness (in the case of any other Net Proceeds) surrendered by such holders thereof exceeds the amount of
Excess Proceeds, the Issuer shall select the Notes and such Pari Passu Lien Indebtedness or Pari Passu
Indebtedness, as applicable, to be purchased on a pro rata basis based on the principal amount of the
Notes, Pari Passu Lien Indebtedness or such Pari Passu Indebtedness, as applicable, tendered. Upon com-
pletion of any such Asset Sale Offer, the amount of Excess Proceeds shall be reset at zero.

                Pending the final application of any Net Proceeds pursuant to this Section 4.10, the Issuer
or such Restricted Subsidiary shall either apply such Net Proceeds temporarily to reduce Indebtedness
outstanding under a revolving credit facility that constitutes Pari Passu Lien Indebtedness or provide such
Net Proceeds to the Collateral Agent to be held in trust in an account maintained with, or subject to the
dominion of, the Collateral Agent subject to terms and conditions usual and customary for accounts of the
type contemplated hereby and otherwise satisfactory to the Collateral Agent (such account, an “Asset Sale
Proceeds Account”), for application in accordance with this Section 4.10 provided that Net Proceeds need
not be provided to the Collateral Agent to be held in an Asset Sale Proceeds Account except to the extent
that the aggregate amount of Net Proceeds from Asset Sales not held therein or otherwise previously ap-
plied in accordance with this Section 4.10 exceed $20.0 million.

                 The Issuer shall comply with the requirements of Rule 14e-1 under the Exchange Act and
any other securities laws and regulations thereunder to the extent such laws or regulations are applicable
in connection with the repurchase of the Notes pursuant to an Asset Sale Offer. To the extent that the
provisions of any securities laws or regulations conflict with the provisions of this Indenture, the Issuer
shall comply with the applicable securities laws and regulations and shall not be deemed to have breached
its obligations described in this Indenture by virtue thereof.

Section 4.11    Transactions with Affiliates.

                   (a)     After the Release Date, the Issuer shall not, and shall not permit any of its Re-
stricted Subsidiaries to, make any payment to, or sell, lease, transfer or otherwise dispose of any of its
properties or assets to, or purchase any property or assets from, or enter into or make or amend any trans-
action, contract, agreement, understanding, loan, advance or guarantee with, or for the benefit of, any Af-
filiate of the Issuer (each of the foregoing, an “Affiliate Transaction”) involving aggregate payments or
consideration in excess of $2.0 million, unless:



                                                    -75-
10-16140-mg       Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 87 of 771


                (1)      such Affiliate Transaction is on terms that are not materially less favorable to the
       Issuer or its relevant Restricted Subsidiary than those that would have been obtained in a compa-
       rable transaction by the Issuer or such Restricted Subsidiary with an unrelated Person on an
       arm’s-length basis;

                (2)     the Issuer delivers to the Trustee with respect to any Affiliate Transaction or se-
       ries of related Affiliate Transactions involving aggregate payments or consideration in excess of
       $10.0 million, a Board Resolution adopted by the majority of the Board of Directors of the Issuer
       approving such Affiliate Transaction and set forth in an Officers’ Certificate certifying that such
       Affiliate Transaction complies with clause (1) of this Section 4.11(a); and

                (3)     the Issuer delivers to the Trustee with respect to any Affiliate Transaction or se-
       ries of related Affiliate Transactions involving aggregate payments or consideration in excess of
       $40.0 million, a written opinion to the Issuer or such Restricted Subsidiary from an Independent
       Financial Advisor stating that the terms of such transaction are not materially less favorable to the
       Issuer or the Restricted Subsidiary than those that would have reasonably been obtained in a
       comparable transaction by the Issuer or such Restricted Subsidiary at such time with an unrelated
       Person on an arm’s-length basis.

               (b)      The foregoing provisions of Section 4.11(a) hereof shall not apply to the follow-
ing:

               (1)      transactions between or among the Issuer or any of its Restricted Subsidiaries;

               (2)     Restricted Payments permitted by Section 4.07 hereof and transactions constitut-
       ing “Permitted Investments”;

               (3)      [Reserved];

                (4)     the payment of reasonable and customary fees paid to, and indemnities provided
       on behalf of, officers, directors, employees or consultants of the Issuer, any of its direct or indi-
       rect parent companies or any of its Restricted Subsidiaries;

                (5)       transactions in which the Issuer or any Restricted Subsidiary, as the case may be,
       delivers to the Trustee a letter from an Independent Financial Advisor stating that such transac-
       tion is fair to the Issuer or such Restricted Subsidiary from a financial point of view or stating that
       the terms are not materially less favorable to the Issuer or such Restricted Subsidiary than those
       that would have reasonably been obtained in a comparable transaction by the Issuer or such Re-
       stricted Subsidiary with an unrelated Person on an arm’s-length basis;

               (6)     any agreement or arrangement as in effect as of the Release Date, or any amend-
       ment thereto (so long as any such amendment is not materially disadvantageous to the Holders
       when taken as a whole as compared to the applicable agreement or arrangement as in effect on
       the Release Date);

                 (7)     the existence of, or the performance by the Issuer or any of its Restricted Sub-
       sidiaries of its obligations under the terms of, any stockholders agreement (including any registra-
       tion rights agreement or purchase agreement related thereto) to which the Issuer or any such Re-
       stricted Subsidiary is a party as of the Release Date and any similar agreements which it may en-
       ter into thereafter; provided, however, that the existence of, or the performance by the Issuer or
       any of its Restricted Subsidiaries of obligations under any future amendment to any such existing


                                                    -76-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                            Pg 88 of 771


        agreement or under any similar agreement entered into after the Release Date shall only be per-
        mitted by this clause (7) to the extent that the terms of any such amendment or new agreement are
        not otherwise materially disadvantageous to the Holders when taken as a whole;

                 (8)      transactions with customers, clients, suppliers, or purchasers or sellers of goods
        or services, in each case in the ordinary course of business and otherwise in compliance with the
        terms of this Indenture which are fair to the Issuer and its Restricted Subsidiaries, in the reason-
        able determination of the Board of Directors of the Issuer or the senior management thereof, or
        are on terms at least as favorable as might reasonably have been obtained at such time from an
        unaffiliated party;

                (9)    the issuance of Equity Interests (other than Disqualified Stock) of the Issuer to
        any Person and any contribution to the capital of the Issuer;

                 (10)     payments by the Issuer or any of its Restricted Subsidiaries to any of the Permit-
        ted Holders made for any financial advisory, financing, underwriting or placement services or in
        respect of other investment banking activities, including, without limitation, in connection with
        acquisitions or divestitures which payments are approved by a majority of the Board of Directors
        of the Issuer in good faith;

                (11)    the Emergence Transactions, including the payments of fees and expenses in
        connection therewith;

                 (12)     payments or loans (or cancellation of loans) to employees or consultants of the
        Issuer, any of its direct or indirect parent companies or any of its Restricted Subsidiaries and em-
        ployment agreements, stock option plans and other similar arrangements with such employees or
        consultants which, in each case, are approved by the Issuer in good faith;

                 (13)     transactions between the Issuer or any of its Restricted Subsidiaries and any Per-
        son, a director of which is also a director of the Issuer or any direct or indirect parent of the Is-
        suer; provided, however, that such director abstains from voting as a director of the Issuer or such
        direct or indirect parent, as the case may be, on any matter involving such other Person;

                 (14)     transactions permitted by, and complying with, the provisions of Section 5.01;

                (15)    the pledge of Equity Interests of an Unrestricted Subsidiary to lenders of such
        Unrestricted Subsidiary to support the Indebtedness of such Unrestricted Subsidiary owed to such
        lenders; and

                 (16)    any transaction with (or for the benefit of) a Person that would constitute an Af-
        filiate Transaction solely because the Issuer or a Restricted Subsidiary owns an equity interest in
        or otherwise controls such Person.

Section 4.12     Liens.

                  After the Release Date, the Issuer will not, and will not permit any Restricted Subsidiary
to, directly or indirectly, create, incur, affirm or suffer to exist any Lien of any kind upon any of its prop-
erty or assets (including any intercompany notes) constituting Collateral, now owned or acquired after the
Release Date, or any income or profits therefrom, securing Indebtedness excluding, however, from the
operation of the foregoing any Permitted Liens. Additionally, the Issuer will not, and will not permit any
of its Restricted Subsidiaries to, incur or suffer to exist any Lien (the “Initial Lien”) on any property or


                                                     -77-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                            Pg 89 of 771


assets that are not Collateral securing Indebtedness unless (a) the Issuer or such Restricted Subsidiary
(i) equally and ratably secures the Notes (or on a senior basis to) the obligations secured by such Initial
Lien or (ii) provides that such Initial Lien is expressly junior in ranking relative to the Notes and related
Guarantees pursuant to a Second Lien Intercreditor Agreement or (b) such Initial Lien is a Permitted
Lien; provided, however, that any such Lien created to secure the Notes pursuant to this sentence of this
Section 4.12 shall provide by its terms that upon the release and discharge of the Initial Lien on such as-
sets by the collateral agent for the Indebtedness secured by such Initial Lien, the Lien on such assets se-
curing the Notes shall be automatically and unconditionally released and discharged and the Issuer may
take any action necessary to effectuate such release or discharge.

Section 4.13     Changes in Covenants When Notes Rated Investment Grade.

                 (a)     After the Release Date, beginning on the first date of a Covenant Suspension and
ending on a Reversion Date (such period, a “Suspension Period”), the following covenants will not be
applicable to the Notes:

                 (1)     Section 4.07;

                 (2)     Section 4.08;

                 (3)     Section 4.09;

                 (4)     Section 4.10;

                 (5)     Section 4.11;

                 (6)     Section 4.15; and

                 (7)     clause (4) of Section 5.01(a).

                 (b)     On each Reversion Date, all Indebtedness incurred, or Disqualified Stock or Pre-
ferred Stock issued, during the Suspension Period will be classified as having been incurred or issued pur-
suant to Section 4.09(a) hereof or one of the clauses set forth in Section 4.09(b) hereof (to the extent such
Indebtedness or Disqualified Stock or Preferred Stock would be permitted to be incurred or issued there-
under as of the Reversion Date and after giving effect to Indebtedness incurred or issued prior to the Sus-
pension Period and outstanding on the Reversion Date). To the extent such Indebtedness or Disqualified
Stock or Preferred Stock would not be so permitted to be incurred or issued pursuant to Section 4.09(a)
hereof or 4.09(b) hereof, such Indebtedness or Disqualified Stock or Preferred Stock will be deemed to
have been outstanding on the Release Date, so that it is classified as permitted under Section 4.09(b)(3)
hereof.

                 (c)      Calculations made after the Reversion Date of the amount available to be made
as Restricted Payments pursuant to Section 4.07 hereof will be made as though Section 4.07 hereof had
been in effect since the Release Date and throughout the Suspension Period. Accordingly, Restricted
Payments made during the Suspension Period will reduce the amount available to be made as Restricted
Payments under Section 4.07(a) hereof; provided, however, that no Default or Event of Default will be
deemed to have occurred as a result of the Reversion Date occurring on the basis of any actions taken or
the continuance of any circumstances resulting from actions taken or the performance of obligations un-
der agreements entered into by the Issuer or any of the Restricted Subsidiaries during the Suspension Pe-
riod (other than agreements to take actions after the Reversion Date that would not be permitted outside
of the Suspension Period entered into in contemplation of the Reversion Date).


                                                     -78-
10-16140-mg           Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                             Pg 90 of 771


                 (d)      In addition, for purposes of Section 4.11 hereof, all agreements and arrangements
entered into by the Issuer or any Restricted Subsidiary with an Affiliate of the Issuer during the Suspen-
sion Period prior to the Reversion Date will be deemed to have been entered into on or prior to the Re-
lease Date and for purposes of Section 4.08 hereof, all contracts entered into during the Suspension Period
prior to such Reversion Date that contain any of the restrictions contemplated by Section 4.08 hereof will
be deemed to have been existing on the Release Date. For purposes of Section 4.10 hereof, on the Rever-
sion Date, the unutilized Excess Proceeds amount will be reset to zero.

                (e)     During any Suspension Period, no Restricted Subsidiary may be designated as an
Unrestricted Subsidiary by the Board of Directors of the Issuer.

                 (f)      Upon the occurrence of a Covenant Suspension or a Reversion Date, the Issuer
shall provide written notice to the Trustee, and file with the Trustee an Officers’ Certificate certifying that
such suspension or reversion complied with the foregoing provisions. In the case of a Covenant Suspen-
sion, such notice shall list the Suspended Covenants.

Section 4.14        Offer To Repurchase upon Change of Control.

                  (a)      If, after the Release Date, a Change of Control occurs, unless the Issuer has pre-
viously or concurrently mailed a redemption notice with respect to all the outstanding Notes as described
under Section 3.07 hereof, the Issuer shall make an offer to purchase all of the Notes pursuant to the offer
described below (the “Change of Control Offer”) at a price in cash (the “Change of Control Payment”)
equal to 101% of the aggregate principal amount thereof plus, without duplication, accrued and unpaid
interest and Additional Interest, if any, to the date of purchase, subject to the right of Holders of record on
the relevant Record Date to receive interest due on the relevant Interest Payment Date. Within 30 days
following any Change of Control, the Issuer shall send notice of such Change of Control Offer by first
class mail, with a copy to the Trustee, to each Holder to the address of such Holder appearing in the secu-
rity register with the following information:

                 (1)    a Change of Control Offer is being made pursuant to this Section 4.14 and that all
        Notes properly tendered pursuant to such Change of Control Offer shall be accepted for payment
        by the Issuer;

                 (2)     the purchase price and the purchase date, which shall be no earlier than 30 days
        nor later than 60 days from the date such notice is mailed (the “Change of Control Payment
        Date”);

                    (3)    any Note not properly tendered shall remain outstanding and continue to accrue
        interest;

                (4)     unless the Issuer defaults in the payment of the Change of Control Payment, all
        Notes accepted for payment pursuant to the Change of Control Offer shall cease to accrue interest
        on the Change of Control Payment Date;

                (5)      Holders electing to have any Notes purchased pursuant to a Change of Control
        Offer shall be required to surrender such Notes, with the form entitled “Option of Holder to Elect
        Purchase” on the reverse of such Notes completed, to the paying agent specified in the notice at
        the address specified in the notice prior to the close of business on the third Business Day preced-
        ing the Change of Control Payment Date;




                                                     -79-
10-16140-mg          Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                             Pg 91 of 771


                   (6)     Holders shall be entitled to withdraw their tendered Notes and their election to
          require the Issuer to purchase such Notes; provided that the Paying Agent receives, not later than
          the close of business on the Business Day prior to the Change of Control Payment Date, a tele-
          gram, telex, facsimile transmission or letter setting forth the name of the Holder, the principal
          amount of Notes tendered for purchase, and a statement that such Holder is withdrawing its ten-
          dered Notes and its election to have such Notes purchased;

                   (7)    if such notice is mailed prior to the occurrence of a Change of Control, stating
          that the Change of Control Offer is conditional on the occurrence of such Change of Control; and

                   (8)     the other instructions, as determined by the Issuer, consistent with this Section
          4.14, that a Holder must follow.

                (b)      While the Notes are in global form and the Issuer makes an offer to purchase all
of the Notes pursuant to the Change of Control Offer, a Holder may exercise its option to elect for the
purchase of the Notes through the facilities of DTC, subject to its rules and regulations.

                  The notice, if mailed in a manner herein provided, shall be conclusively presumed to
have been given, whether or not the Holder receives such notice. If (a) the notice is mailed in a manner
herein provided and (b) any Holder fails to receive such notice or a Holder receives such notice but it is
defective, such Holder’s failure to receive such notice or such defect shall not affect the validity of the
proceedings for the purchase of the Notes as to all other Holders that properly received such notice with-
out defect. The Issuer shall comply with the requirements of Rule 14e-1 under the Exchange Act and any
other securities laws and regulations thereunder to the extent such laws or regulations are applicable in
connection with the repurchase of Notes pursuant to a Change of Control Offer. To the extent that the
provisions of any securities laws or regulations conflict with the provisions of this Section 4.14, the Issuer
shall comply with the applicable securities laws and regulations and shall not be deemed to have breached
its obligations under this Section 4.14 by virtue thereof.

                  (c)     On the Change of Control Payment Date, the Issuer shall, to the extent permitted
by law,

                 (1)     accept for payment all Notes or portions thereof properly tendered pursuant to the
          Change of Control Offer,

                  (2)     deposit with the Paying Agent an amount equal to the aggregate Change of Con-
          trol Payment in respect of all Notes or portions thereof so tendered, and

                  (3)     deliver, or cause to be delivered, to the Trustee for cancellation the Notes so ac-
          cepted together with an Officers’ Certificate to the Trustee stating that such Notes or portions
          thereof have been tendered to and purchased by the Issuer.

                 (d)     The Paying Agent shall promptly mail to each Holder the Change of Control
Payment for such Notes, and the Trustee shall, upon receipt of an Authentication Order, promptly authen-
ticate and mail to each Holder a new Note equal in principal amount to any unpurchased portion of the
Notes surrendered, if any; provided that each such new Note shall be in denominations of $2,000 and in-
tegral multiples of $1,000 in excess thereof. The Issuer shall publicly announce the results of the Change
of Control Offer on or as soon as practicable after the Change of Control Payment Date.

               (e)       The Issuer shall not be required to make a Change of Control Offer following a
Change of Control if a third party makes the Change of Control Offer in the manner, at the time and oth-


                                                      -80-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 92 of 771


erwise in compliance with the requirements set forth in this Section 4.14 applicable to a Change of Con-
trol Offer made by the Issuer and purchases all Notes validly tendered and not withdrawn under such
Change of Control Offer. Notwithstanding anything to the contrary herein, a Change of Control Offer
may be made in advance of a Change of Control, conditional upon such Change of Control, if a definitive
agreement is in place for the Change of Control at the time of making of the Change of Control Offer.

                 (f)      Other than as specifically provided in this Section 4.14, any purchase pursuant to
this Section 4.14 shall be made pursuant to the provisions of Sections 3.02, 3.05 and 3.06 hereof.

                 (g)      In the event a Change of Control occurs at a time when the Issuer is prohibited by
the terms of any Pari Passu Lien Indebtedness from purchasing the Notes, then prior to the mailing of the
notice of a Change of Control to Holders of Notes, but in any event within 30 days following any Change
of Control, the Issuer shall (1) repay in full all Obligations, and terminate all commitments, under Pari
Passu Lien Indebtedness or offer to repay in full all Obligations, and terminate all commitments, under
Pari Passu Lien Indebtedness and to repay the Obligations owed to (and terminate all commitments of)
each lender which has accepted such offer or (2) obtain the requisite consents under the agreements gov-
erning such Pari Passu Lien Indebtedness to permit the repurchase of the Notes. If such a consent is not
obtained or borrowings repaid, the Issuer shall remain prohibited from purchasing the Notes. The Issuer
shall first comply with this clause (g) before it shall be required to repurchase the Notes pursuant to the
other provisions of this Section 4.14. The Issuer’s failure to comply with this clause (g) (and any failure
to send a notice of a Change of Control as a result of the prohibition in this clause (g)) may (with notice
and lapse of time) constitute an Event of Default described in clause (3) of Section 6.01(a) hereof, but
shall not constitute an Event of Default described in clause (1) of Section 6.01(a) hereof.

Section 4.15    Limitation on Guarantees of Indebtedness by Restricted Subsidiaries.

               After the Release Date, the Issuer shall not permit any of its Restricted Subsidiaries, other
than a Guarantor, to guarantee the payment of any Indebtedness of the Issuer or any other Guarantor
unless:

                (1)      such Restricted Subsidiary within 30 days executes and delivers a supplemental
        indenture to this Indenture, the form of which is attached as Exhibit D hereto, providing for a
        Guarantee by such Restricted Subsidiary, except, if such Indebtedness is by its express terms sub-
        ordinated in right of payment to the Notes or such Guarantor’s Guarantee, any such guarantee by
        such Restricted Subsidiary with respect to such Indebtedness shall be subordinated in right of
        payment to such Guarantee substantially to the same extent as such Indebtedness is subordinated
        to the Notes or such Guarantor’s Guarantee;

                 (2)     such Restricted Subsidiary within 30 days executes and delivers a joinder to the
        applicable Security Documents or new Security Documents and takes all actions necessary to per-
        fect the Liens created thereunder (to the extent required by such Security Documents), all of such
        Liens to be junior to the Liens in favor of the holders of the Pari Passu Lien Indebtedness and to
        be subject to the First Lien Intercreditor Agreement; and

                 (3)     such Restricted Subsidiary waives and shall not in any manner whatsoever claim
        or take the benefit or advantage of, any rights of reimbursement, indemnity or subrogation or any
        other rights against the Issuer or any other Restricted Subsidiary as a result of any payment by
        such Restricted Subsidiary under its Guarantee;




                                                    -81-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                            Pg 93 of 771


provided that this Section 4.15 shall not be applicable to any guarantee of any Restricted Subsidiary that
existed at the time such Person became a Restricted Subsidiary and was not incurred in connection with,
or in contemplation of, such Person becoming a Restricted Subsidiary.

                Each Guarantee shall be released in accordance with Article 11 hereof.

Section 4.16    Escrow of Proceeds.

                 (a)      The cash proceeds to the Escrow Issuer of the offering of the Notes (the “Escrow
Issuer Proceeds”) will be placed in escrow until the Release Date or a Special Mandatory Redemption
(each as defined below). The terms of the escrow will be set forth in the Escrow Agreement, pursuant to
which the Escrow Issuer will deposit with the Escrow Agent on the Issue Date, the Escrow Issuer Pro-
ceeds, and AMO will deposit on the Issue Date sufficient cash or Escrow Investments, in an amount suf-
ficient to redeem, for cash, the Notes at a redemption price equal to the sum of 100% of their issue price
together with accrued and unpaid interest on the Notes from the Issue Date up to but not including the
date of the Special Mandatory Redemption described below (collectively, the “Escrow Proceeds”). The
Escrow Issuer will grant the Trustee, for its benefit and for the benefit of the Collateral Agent and the
Holders of the Notes, a first priority security interest in the escrow account (the “Escrow Account”) and
all deposits therein to secure the Special Mandatory Redemption. Prior to the release of the Escrow Pro-
ceeds (either on the Release Date or in connection with the Special Mandatory Redemption), the Notes
will be secured only by a pledge of the Escrow Proceeds.

                  (b)      The Issuer shall only be entitled to direct the Escrow Agent to release to it the
Escrow Proceeds upon satisfaction of the conditions set forth in the form of Officers’ Certificate included
as Exhibit A to the Escrow Agreement, which shall be certified in writing by AMO in such Officers’ Cer-
tificate delivered to the Escrow Agent contemporaneously with the release of the Escrow Proceeds on or
prior to the Escrow End Date (such date, the “Release Date”)

                 (c)      To the extent the Issuer or any Restricted Subsidiary has incurred Indebtedness
(treating Indebtedness not discharged pursuant to the Reorganization Plan and remaining outstanding on
the Release Date as having been incurred as of the Release Date), made any Restricted Payments, con-
summated any Asset Sale or otherwise taken any action or engaged in any activities during the period be-
ginning on the Issue Date and ending on the Release Date, such actions and activities shall be treated and
classified under this Indenture (including but not limited to impacting relevant baskets and determining
whether a Default or Event of Default would have occurred as of the Release Date for purposes of the
release conditions above), as if this Indenture and the covenants set forth herein had applied to the Issuer
and the Restricted Subsidiaries during such period. For purposes of the foregoing, (i) the Issuer will be
deemed to have been the direct or indirect owner of all of the Restricted Subsidiaries of the Issuer for all
relevant periods and (ii) all Subsidiaries of the Issuer shall be deemed to be Restricted Subsidiaries for the
period from the Issue Date through the Release Date.

Section 4.17    Tax Treatment of the Notes.

                The Issuer agrees and, by acceptance of a beneficial ownership interest in the Notes, each
Holder is deemed to have agreed, to treat the Notes as indebtedness of the Issuer for U.S. federal income
tax purposes. The Issuer and the Holder will not take any position on a tax return inconsistent with such
treatment, unless required by applicable law.




                                                     -82-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                            Pg 94 of 771


Section 4.18    Non-Impairment of Security Interest.

                 From and after the Release Date and subject to the rights of the holders of Permitted
Liens that are existing on the Release Date or incurred after the Release Date, the Issuer will not, and will
not permit any of its Restricted Subsidiaries to, take or knowingly or negligently omit to take, any action
which action or omission could reasonably be expected to have the result of materially impairing the Lien
with respect to the Collateral in favor of the holders of First Lien Obligations; provided that this Section
4.18 shall not prohibit the release of Guarantors pursuant to Section 11.06 hereof or the release of Collat-
eral pursuant to Section 4.12 or Article 10 hereof.

Section 4.19    Activities of the Escrow Issuer prior to the Release Date and
                Assumption.

                  Prior to the Release Date and Assumption, the Issuer will be a corporation whose primary
activities are restricted to issuing the Notes and the Second Lien Notes (if offered prior to the Release
Date), issuing capital stock to, and receiving capital contributions from its direct or indirect parent, per-
forming its obligations in respect of the Notes under this Indenture, the Second Lien Notes under the Sec-
ond Lien Indenture, the Escrow Agreement and the Purchase Agreement, consummating the Assumption
or redeeming the Notes and the Second Lien Notes (if offered prior to the Release Date) in connection
with any Special Mandatory Redemption, and conducting such other activities as are necessary or appro-
priate to carry out the activities described in this Section 4.19 and maintain its corporate existence (in-
cluding the payment of customary director’s fees). Prior to the Assumption, the Issuer will not issue any
debt other than the Notes and the Second Lien Notes or own, hold or otherwise have any interest in any
assets other than the Escrow Account and the Escrow Proceeds therein.

Section 4.20    After-Acquired Collateral; Further Assurances.

                  (a)     From and after the Release Date and subject to certain limitations and exceptions
(including the exclusion of any securities or other equity interests of any of the Issuer’s Subsidiaries), if
the Issuer or any Guarantor creates any additional security interest upon any property or asset to secure
any Pari Passu Lien Obligations (which include Obligations in respect of the Credit Agreement), it must
concurrently grant a first-priority security interest (subject to Permitted Liens) upon such property as se-
curity for the Indebtedness and Obligations under the Notes. In addition, if granting a security interest in
such property requires the consent of a third party, the Issuer will use commercially reasonable efforts to
obtain such consent with respect to the first-priority security interest for the benefit of the Collateral
Agent. If such third party does not consent to the granting of the first-priority security interest after the
use of such commercially reasonable efforts, the applicable entity will not be required to provide such
security interest.

                 (b)      The Issuer and the Guarantors shall execute any and all further documents, fi-
nancing statements, agreements and instruments, and take all further action that may be required under
applicable law, or that the Collateral Agent may reasonably request, in order to grant, preserve, protect
and perfect the validity and priority of the security interests and Liens created or intended to be created by
the Security Documents in the Collateral. In addition, from time to time, the Issuer will reasonably
promptly secure the obligations under this Indenture, Security Documents and First Lien Intercreditor
Agreement by pledging or creating, or causing to be pledged or created, perfected security interests and
Liens with respect to the Collateral. Such security interests and Liens will be created under the Security
Documents and other security agreements, mortgages, deeds of trust and other instruments and documents
as may be reasonably required.




                                                    -83-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                            Pg 95 of 771


Section 4.21     Information Regarding Collateral.

                  (a)     The Issuer will furnish to the Collateral Agent, with respect to the Issuer or any
Guarantor, prompt written notice of any change in such Person’s (i) legal name, (ii) jurisdiction of organi-
zation or formation, (iii) identity or corporate structure or (iv) Organizational Identification Number. The
Issuer and the Guarantors will agree not to effect or permit any change referred to in the preceding sen-
tence unless all filings have been made under the Uniform Commercial Code or otherwise that are re-
quired in order for the Collateral Agent to continue at all times following such change to have a valid,
legal and perfected security interest in all the Collateral.

                  (b)      Each year, at the time of delivery of the annual financial statements with respect
to the preceding fiscal year pursuant to Section 4.03 hereof, the Issuer shall deliver to the Trustee a cer-
tificate of a financial officer of the Issuer setting forth the information required pursuant to the schedules
required by the Security Documents or confirming that there has been no change in such information
since the date of the prior annual financial statements.

Section 4.22     Maintenance of Property; Insurance.

                 (a)      The Issuer shall cause all material properties owned by or leased by it or any of
its Restricted Subsidiaries used or useful to the conduct of its business or the business of any of its Re-
stricted Subsidiaries to be maintained and kept in normal condition, repair and working order and sup-
plied with all reasonably necessary equipment and shall cause to be made all repairs, renewals, replace-
ments, and betterments thereof, all as in its judgment may be reasonably necessary, so that the business
carried on in connection therewith may be properly conducted at all times; provided, however, that noth-
ing in this Section 4.22 shall prevent the Issuer or any of its Restricted Subsidiaries from discontinuing
the use, operation or maintenance of any of such properties, or disposing of any of them, if such discon-
tinuance or disposal is, in the judgment of the management of the Issuer or any such Restricted Subsidi-
ary, necessary or desirable in the conduct of the business of the Issuer or any such Restricted Subsidiary;
provided further that nothing in this Section 4.22 shall prevent the Issuer or any of its Restricted Subsidi-
aries from discontinuing or disposing of any properties to the extent otherwise permitted by this Inden-
ture.

                  (b)     The Issuer shall maintain, and shall cause its Restricted Subsidiaries to maintain,
insurance with responsible carriers against such risks and in such amounts, and with such deductibles,
retentions, self-insured amounts and co-insurance provisions, as are customarily carried by similar busi-
nesses of similar size, including property and casualty loss, workers’ compensation and interruption of
business insurance.

                                                 ARTICLE 5

                                               SUCCESSORS

Section 5.01     Merger, Consolidation or Sale of All or Substantially All Assets.

                 (a)     After the Release Date, the Issuer shall not consolidate or merge with or into or
wind up into (whether or not the Issuer is the surviving corporation), or sell, assign, transfer, lease, con-
vey or otherwise dispose of all or substantially all of its properties or assets, in one or more related trans-
actions, to any Person unless:

               (1)      the Issuer is the surviving corporation or limited liability company or the Person
        formed by or surviving any such consolidation or merger (if other than the Issuer) or to which


                                                      -84-
10-16140-mg         Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                             Pg 96 of 771


        such sale, assignment, transfer, lease, conveyance or other disposition shall have been made is a
        corporation or limited liability company organized or existing under the laws of the jurisdiction of
        organization of the United States, any state thereof, the District of Columbia, or any territory
        thereof (such Person, as the case may be, being herein called the “Successor Company”);

                 (2)      the Successor Company, if other than the Issuer, expressly assumes all the obli-
        gations of the Issuer under this Indenture and the Notes pursuant to supplemental indentures, sup-
        plements to the Security Documents and any other documents or instruments in form reasonably
        satisfactory to the Trustee;

                 (3)      immediately after such transaction, no Default exists;

                (4)      immediately after giving pro forma effect to such transaction and any related fi-
        nancing transactions, as if such transactions had occurred at the beginning of the applicable four-
        quarter period, either:

                          (a)     the First Lien Leverage Ratio for the Successor Company and its Re-
                 stricted Subsidiaries on a consolidated basis for the most recently ended four fiscal quar-
                 ters for which internal financial statements are available immediately preceding the date
                 of such transaction does not exceed 2.75 to 1.00, or

                          (b)      (i) the First Lien Leverage Ratio is equal to or less than such ratio imme-
                 diately prior to such transaction and (ii) the Consolidated Leverage Ratio is equal to or
                 less than such ratio immediately prior to such transaction; and

                 (5)      the Issuer shall have delivered to the Trustee an Officers’ Certificate and an
        Opinion of Counsel, each stating that such consolidation, merger or transfer and such supplemen-
        tal indentures, if any, and supplements to the Security Documents comply with this Indenture.

                  (b)     The Successor Company shall succeed to, and be substituted for the Issuer, as the
case may be, under this Indenture, the Guarantees and the Notes, as applicable. Notwithstanding clauses
(3), (4) and (5) of Section 5.01(a) hereof,

                 (1)      any Restricted Subsidiary may consolidate with or merge into or transfer all or
        part of its properties and assets to the Issuer, and

                (2)     the Issuer may merge with an Affiliate of the Issuer solely for the purpose of re-
        incorporating the Issuer in a State of the United States of America, so long as the amount of In-
        debtedness of the Issuer and its Restricted Subsidiaries is not increased thereby.

                  (c)      Subject to certain limitations described in this Indenture governing release of a
Guarantee upon the sale, disposition or transfer of a Guarantor, no Guarantor shall, and the Issuer shall
not permit any Guarantor to, consolidate or merge with or into or wind up into (whether or not the Issuer
or Guarantor is the surviving corporation), or sell, assign, transfer, lease, convey or otherwise dispose of
all or substantially all of its properties or assets, in one or more related transactions, to any Person unless:

                (1)      (a) such Guarantor is the surviving corporation or the Person formed by or sur-
        viving any such consolidation or merger (if other than such Guarantor) or to which such sale, as-
        signment, transfer, lease, conveyance or other disposition shall have been made is a corporation,
        partnership, limited partnership, limited liability company or trust organized or existing under the
        laws of the jurisdiction of organization of such Guarantor, as the case may be, or the laws of the


                                                      -85-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                            Pg 97 of 771


        United States, any state thereof, the District of Columbia, or any territory thereof (such Guarantor
        or such Person, as the case may be, being herein called the “Successor Person”);

                         (b)     the Successor Person, if other than such Guarantor, expressly assumes all
        the obligations of such Guarantor under this Indenture and the Security Documents and such
        Guarantor’s related Guarantee pursuant to supplemental indentures, supplements to the Security
        Documents or other documents or instruments in form reasonably satisfactory to the Trustee;

                         (c)      immediately after such transaction, no Default exists; and

                        (d)      the Issuer shall have delivered to the Trustee an Officers’ Certificate and
        an Opinion of Counsel, each stating that such consolidation, merger or transfer and such supple-
        mental indentures, if any, and supplements to the Security Documents comply with this Inden-
        ture; or

                 (2)     the transaction is made in compliance with Section 4.10 hereof.

                 (d)      Subject to certain limitations described in this Indenture, in the case of clause (1)
of Section 5.01(c) hereof, the Successor Person shall succeed to, and be substituted for, such Guarantor
under this Indenture and such Guarantor’s Guarantee. Notwithstanding the foregoing, any Guarantor may
merge into or transfer all or part of its properties and assets to another Guarantor or the Issuer.

                (e)      Notwithstanding the foregoing, (i) the Assumption and related transactions shall
be permitted under this Indenture and (ii) the merger of AMI with and into the AMO with AMO being the
surviving corporation on the Release Date in connection with the Emergence Transactions shall be per-
mitted under this Indenture.

Section 5.02     Successor Corporation Substituted.

                 Upon any consolidation or merger, or any sale, assignment, transfer, lease, conveyance or
other disposition of all or substantially all of the assets of the Issuer in accordance with Section 5.01
hereof, the successor corporation formed by such consolidation or into or with which the Issuer is merged
or to which such sale, assignment, transfer, lease, conveyance or other disposition is made shall succeed
to, and be substituted for (so that from and after the date of such consolidation, merger, sale, lease, con-
veyance or other disposition, the provisions of this Indenture referring to the Issuer shall refer instead to
the successor corporation and not to the Issuer), and may exercise every right and power of the Issuer un-
der this Indenture with the same effect as if such successor Person had been named as the Issuer herein;
provided that the predecessor Issuer shall not be relieved from the obligation to pay the principal of and
interest and Additional Interest, if any, on the Notes except in the case of a sale, assignment, transfer,
conveyance or other disposition of all of the Issuer’s assets that meets the requirements of Section 5.01
hereof.

                                                 ARTICLE 6

                                      DEFAULTS AND REMEDIES

Section 6.01     Events of Default.

               (a)      An “Event of Default” wherever used herein, means any one of the following
events (whatever the reason for such Event of Default and whether it shall be voluntary or involuntary or



                                                     -86-
10-16140-mg       Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                    Main Document
                                           Pg 98 of 771


be effected by operation of law or pursuant to any judgment, decree or order of any court or any order,
rule or regulation of any administrative or governmental body):

                (1)   default in payment when due and payable, upon redemption, upon a Special
        Mandatory Redemption, upon acceleration or otherwise, of principal of, or premium, if any, on
        the Notes;

                 (2)     default for 30 days or more in the payment when due of interest or Additional In-
        terest on or with respect to the Notes;

                 (3)      failure by the Issuer or any Guarantor for 60 days after receipt of written notice
        by the Trustee or the Holders of not less than 25% in principal amount of the Notes issued under
        this Indenture to comply with any of its obligations, covenants or agreements (other than a default
        referred to in clauses (1) and (2) above) in this Indenture or the Notes;

                 (4)     default under any mortgage, indenture or instrument under which there is issued
        or by which there is secured or evidenced any Indebtedness for money borrowed by the Issuer or
        any of its Restricted Subsidiaries or the payment of which is guaranteed by the Issuer or any of its
        Restricted Subsidiaries, other than Indebtedness owed to the Issuer or a Restricted Subsidiary,
        whether such Indebtedness or guarantee now exists or is created after the issuance of the Notes, if
        both:

                         (a)      such default either results from the failure to pay any principal of such
                Indebtedness at its stated final maturity (after giving effect to any applicable grace peri-
                ods) or relates to an obligation other than the obligation to pay principal of any such In-
                debtedness at its stated final maturity and results in the holder or holders of such Indebt-
                edness causing such Indebtedness to become due prior to its stated maturity; and

                        (b)      the principal amount of such Indebtedness, together with the principal
                amount of any other such Indebtedness in default for failure to pay principal at stated fi-
                nal maturity (after giving effect to any applicable grace periods), or the maturity of which
                has been so accelerated, aggregate $35.0 million or more at any one time outstanding;

                 (5)      failure by the Issuer or any Significant Subsidiary (or group of Restricted Sub-
        sidiaries that taken together would constitute a Significant Subsidiary) to pay final judgments ag-
        gregating in excess of $35.0 million, which final judgments remain unpaid, undischarged and un-
        stayed for a period of more than 60 days after such judgment becomes final, and in the event such
        judgment is covered by insurance, an enforcement proceeding has been commenced by any credi-
        tor upon such judgment or decree which is not promptly stayed;

               (6)    the Issuer or any Significant Subsidiary, pursuant to or within the meaning of any
        Bankruptcy Law:

                        (a)      commences proceedings to be adjudicated bankrupt or insolvent;

                         (b)      consents to the institution of bankruptcy or insolvency proceedings
                against it, or the filing by it of a petition or answer or consent seeking reorganization or
                relief under applicable Bankruptcy law;

                        (c)      consents to the appointment of a receiver, liquidator, assignee, trustee,
                sequestrator or other similar official of it or for all or substantially all of its property;


                                                     -87-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                    Main Document
                                           Pg 99 of 771


                         (d)     makes a general assignment for the benefit of its creditors; or

                         (e)     generally is not paying its debts as they become due;

               (7)       a court of competent jurisdiction enters an order or decree under any Bankruptcy
        Law that:

                        (a)     is for relief against the Issuer or any Significant Subsidiary in a proceed-
                ing in which the Issuer or any such Significant Subsidiary is to be adjudicated bankrupt
                or insolvent;

                        (b)       appoints a receiver, liquidator, assignee, trustee, sequestrator or other
                similar official of the Issuer or any Significant Subsidiary, for all or substantially all of
                the property of the Issuer or any Significant Subsidiary; or

                         (c)     orders the liquidation of the Issuer or any Significant Subsidiary;

       and the order or decree remains unstayed and in effect for 60 consecutive days;

                (8)      the Guarantee of any Significant Subsidiary (or group of Guarantors that taken
        together would constitute a Significant Subsidiary) shall for any reason cease to be in full force
        and effect or be declared null and void or any responsible officer of such Guarantor, as the case
        may be, denies that it has any further liability under its Guarantee or gives notice to such effect,
        other than by reason of the termination of this Indenture or the release of any such Guarantee in
        accordance with this Indenture; or

                (9)      (a) with respect to any Collateral having a fair market value in excess of
        $20.0 million, individually or in the aggregate, (i) the security interest under any Security Docu-
        ment, at any time, ceases to be in full force and effect for any reason other than in accordance
        with the terms of this Indenture, the Security Documents and the First Lien Intercreditor Agree-
        ment or (ii) any security interest created thereunder or under this Indenture is declared invalid or
        unenforceable by a court of competent jurisdiction or (b) the Issuer or any Guarantor asserts, in
        any pleading in any court of competent jurisdiction, that any security interest in any Collateral is
        invalid or unenforceable.

                 (b)      In the event of any Event of Default specified in clause (4) of Section 6.01(a)
hereof, such Event of Default and all consequences thereof (excluding any resulting payment default,
other than as a result of acceleration of the Notes) shall be annulled, waived and rescinded automatically
and without any action by the Trustee or the Holders if, within 20 days after such Event of Default arose:

                (1)    the Indebtedness or guarantee that is the basis for such Event of Default has been
        discharged; or

                (2)     the holders thereof have rescinded or waived the acceleration, notice or action (as
        the case may be) giving rise to such Event of Default; or

                (3)      the default that is the basis for such Event of Default has been cured.




                                                     -88-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 100 of 771


Section 6.02    Acceleration.

                 If any Event of Default (other than, with respect to the Issuer, an Event of Default speci-
fied in clause (6) or (7) of Section 6.01(a) hereof) occurs and is continuing under this Indenture, the Trus-
tee or the Holders of at least 25% in principal amount of the then total outstanding Notes may declare the
principal, premium, if any, (without duplication) interest and any other monetary obligations on all the
then outstanding Notes to be due and payable immediately.

                 Upon the effectiveness of such declaration, such principal and interest shall be due and
payable immediately. The Trustee may withhold from Holders notice of any continuing Default, except a
Default relating to the payment of principal, premium, if any, or interest on the Notes, if it determines that
withholding notice is in the interests of the Holders.

                 Notwithstanding the foregoing, in the case of an Event of Default arising under clause (6)
or (7) of Section 6.01(a) hereof, all outstanding Notes shall be due and payable without further action or
notice.

                  The Holders of a majority in aggregate principal amount of the then outstanding Notes by
written notice to the Trustee may, on behalf of all of the Holders, rescind an acceleration and its conse-
quences if the rescission would not conflict with any judgment or decree and if all existing Events of De-
fault (except nonpayment of principal, interest, Additional Interest, if any, or premium that has become
due solely because of the acceleration) have been cured or waived and all sums paid or advanced by the
Trustee hereunder and the reasonable compensation, expenses, disbursements and advances of the Trus-
tee, its agents and counsel and other amounts due the Trustee under Section 7.07 hereof have been paid.

                If an Event of Default occurs and is continuing that results in an acceleration, the Trustee
and Collateral Agent shall provide an Enforcement Notice pursuant to the terms of the First Lien Inter-
creditor Agreement.

Section 6.03    Other Remedies.

                If an Event of Default occurs and is continuing, the Trustee may pursue any available
remedy to collect the payment of principal, premium, if any, and interest on the Notes or to enforce the
performance of any provision of the Notes or this Indenture.

                The Trustee may maintain a proceeding even if it does not possess any of the Notes or
does not produce any of them in the proceeding. A delay or omission by the Trustee or any Holder of a
Note in exercising any right or remedy accruing upon an Event of Default shall not impair the right or
remedy or constitute a waiver of or acquiescence in the Event of Default. All remedies are cumulative to
the extent permitted by law.

Section 6.04    Waiver of Past Defaults.

                  Holders of not less than a majority in aggregate principal amount of the then outstanding
Notes by notice to the Trustee may on behalf of the Holders of all of the Notes waive any existing Default
and its consequences under this Indenture and the Notes, except a continuing Default in the payment of
the principal of, premium, if any, Additional Interest, if any, or interest on, any Note held by a non-
consenting Holder (including in connection with an Asset Sale Offer, a Change of Control Offer or a Spe-
cial Mandatory Redemption); provided, subject to Section 6.02 hereof, that the Holders of a majority in
aggregate principal amount of the then outstanding Notes may rescind an acceleration and its conse-
quences, including any related payment default that resulted from such acceleration. Upon any such


                                                    -89-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 101 of 771


waiver, such Default shall cease to exist, and any Event of Default arising therefrom shall be deemed to
have been cured for every purpose of this Indenture; but no such waiver shall extend to any subsequent or
other Default or impair any right consequent thereon.

Section 6.05     Control by Majority.

                 Subject to the terms of the Security Documents, Holders of a majority in principal
amount of the outstanding Notes issued hereunder shall have the right to direct the time, method and
place of conducting any proceeding for exercising any remedy available to the Trustee or of exercising
any trust or power conferred on the Trustee. The Trustee, however, may refuse to follow any direction
that conflicts with law or this Indenture or that the Trustee determines is unduly prejudicial to the rights
of any other Holder of a Note or that would involve the Trustee in personal liability.

Section 6.06     Limitation on Suits.

                 Subject to Section 6.07 hereof, no Holder of a Note may pursue any remedy with respect
to this Indenture or the Notes unless:

                (1)      such Holder has previously given the Trustee notice that an Event of Default is
        continuing;

                (2)     Holders of at least 25% in principal amount of the total outstanding Notes have
        requested the Trustee to pursue the remedy;

                 (3)       Holders of the Notes have offered the Trustee security or indemnity against any
        loss, liability or expense satisfactory to the Trustee;

                (4)      the Trustee has not complied with such request within 60 days after the receipt
        thereof and the offer of such satisfactory security or indemnity; and

                (5)     Holders of a majority in principal amount of the total outstanding Notes have not
        given the Trustee a direction inconsistent with such request within such 60-day period.

                 A Holder of a Note may not use this Indenture to prejudice the rights of another Holder
of a Note or to obtain a preference or priority over another Holder of a Note.

Section 6.07     Rights of Holders of Notes To Receive Payment.

                 Notwithstanding any other provision of this Indenture, the right of any Holder of a Note
to receive payment of principal, premium, if any, and Additional Interest, if any, interest on the Note, on
or after the respective due dates expressed in the Note (including in connection with an Asset Sale Offer
or a Change of Control Offer), or to bring suit for the enforcement of any such payment on or after such
respective dates, shall not be impaired or affected without the consent of such Holder.

Section 6.08     Collection Suit by Trustee.

                 If an Event of Default specified in Section 6.01(a)(1) or (2) hereof occurs and is continu-
ing, the Trustee is authorized to recover judgment in its own name and as trustee of an express trust
against the Issuer for the whole amount of principal of, premium, if any, and Additional Interest, if any,
and, without duplication, interest remaining unpaid on the Notes and interest on overdue principal and, to
the extent lawful, interest and, without duplication, such further amount as shall be sufficient to cover the


                                                     -90-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 102 of 771


costs and expenses of collection, including the reasonable compensation, expenses, disbursements and
advances of the Trustee, its agents and counsel.

Section 6.09    Restoration of Rights and Remedies.

                 If the Trustee or any Holder has instituted any proceeding to enforce any right or remedy
under this Indenture and such proceeding has been discontinued or abandoned for any reason, or has been
determined adversely to the Trustee or to such Holder, then and in every such case, subject to any deter-
mination in such proceedings, the Issuer, the Trustee and the Holders shall be restored severally and re-
spectively to their former positions hereunder and thereafter all rights and remedies of the Trustee and the
Holders shall continue as though no such proceeding has been instituted.

Section 6.10    Rights and Remedies Cumulative.

                 Except as otherwise provided with respect to the replacement or payment of mutilated,
destroyed, lost or stolen Notes in Section 2.07 hereof, no right or remedy herein conferred upon or re-
served to the Trustee or to the Holders is intended to be exclusive of any other right or remedy, and every
right and remedy shall, to the extent permitted by law, be cumulative and in addition to every other right
and remedy given hereunder or now or hereafter existing at law or in equity or otherwise. The assertion
or employment of any right or remedy hereunder, or otherwise, shall not prevent the concurrent assertion
or employment of any other appropriate right or remedy.

Section 6.11    Delay or Omission Not Waiver.

                No delay or omission of the Trustee or of any Holder of any Note to exercise any right or
remedy accruing upon any Event of Default shall impair any such right or remedy or constitute a waiver
of any such Event of Default or an acquiescence therein. Every right and remedy given by this Article or
by law to the Trustee or to the Holders may be exercised from time to time, and as often as may be
deemed expedient, by the Trustee or by the Holders, as the case may be.

Section 6.12    Trustee May File Proofs of Claim.

                 The Trustee is authorized to file such proofs of claim and other papers or documents as
may be necessary or advisable in order to have the claims of the Trustee and the Collateral Agent (includ-
ing any claim for the reasonable compensation, expenses, disbursements and advances of the Trustee, the
Collateral Agent and their agents and counsel) and the Holders of the Notes allowed in any judicial pro-
ceedings relative to the Issuer (or any other obligor upon the Notes including the Guarantors), its creditors
or its property and shall be entitled and empowered to participate as a member in any official committee
of creditors appointed in such matter and to collect, receive and distribute any money or other property
payable or deliverable on any such claims and any custodian in any such judicial proceeding is hereby
authorized by each Holder to make such payments to the Trustee, and in the event that the Trustee shall
consent to the making of such payments directly to the Holders, to pay to the Trustee and the Collateral
Agent any amount due to them for the reasonable compensation, expenses, disbursements and advances
of the Trustee, the Collateral Agent and their agents and counsel, and any other amounts due the Trustee
under Section 7.07 hereof. To the extent that the payment of any such compensation, expenses, dis-
bursements and advances of the Trustee, its agents and counsel, and any other amounts due the Trustee
under Section 7.07 hereof out of the estate in any such proceeding, shall be denied for any reason, pay-
ment of the same shall be secured by a Lien on, and shall be paid out of, any and all distributions, divi-
dends, money, securities and other properties that the Holders may be entitled to receive in such proceed-
ing whether in liquidation or under any plan of reorganization or arrangement or otherwise. Nothing
herein contained shall be deemed to authorize the Trustee or the Collateral Agent to authorize or consent


                                                    -91-
10-16140-mg         Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                    Main Document
                                            Pg 103 of 771


to or accept or adopt on behalf of any Holder any plan of reorganization, arrangement, adjustment or
composition affecting the Notes or the rights of any Holder, or to authorize the Trustee to vote in respect
of the claim of any Holder in any such proceeding.

Section 6.13     Priorities.

                  Subject to the terms of the Security Documents and the Intercreditor Agreements with re-
spect to any proceeds of Collateral, if the Trustee collects any money or property pursuant to this Article
6, it shall pay out the money or property in the following order:

                 (a)    to the Trustee and the Collateral Agent and their agents and attorneys for
amounts due under Section 7.07 hereof, including payment of all compensation, expenses and liabilities
incurred, and all advances made, by the Trustee and the Collateral Agent and the costs and expenses of
collection;

                (b)      to Holders of Notes for amounts due and unpaid on the Notes for principal, pre-
mium, if any, and Additional Interest, if any, and interest, ratably, without preference or priority of any
kind, according to the amounts due and payable on the Notes for principal, premium, if any, and, without
duplication, Additional Interest, if any, and interest, respectively; and

               (c)       to the Issuer or to such party as a court of competent jurisdiction shall direct in-
cluding a Guarantor, if applicable.

                 The Trustee may fix a record date and payment date for any payment to Holders of Notes
pursuant to this Section 6.13.

Section 6.14     Undertaking for Costs.

                 In any suit for the enforcement of any right or remedy under this Indenture or in any suit
against the Trustee for any action taken or omitted by it as a Trustee, a court in its discretion may require
the filing by any party litigant in the suit of an undertaking to pay the costs of the suit, and the court in its
discretion may assess reasonable costs, including reasonable attorneys’ fees, against any party litigant in
the suit, having due regard to the merits and good faith of the claims or defenses made by the party liti-
gant. This Section 6.14 does not apply to a suit by the Trustee, a suit by a Holder of a Note pursuant to
Section 6.07 hereof, or a suit by Holders of more than 10% in principal amount of the then outstanding
Notes.

                                                  ARTICLE 7

                                                   TRUSTEE

Section 7.01     Duties of Trustee.

                 (a)     If an Event of Default has occurred and is continuing, the Trustee shall exercise
such of the rights and powers vested in it by this Indenture, and use the same degree of care and skill in its
exercise, as a prudent person would exercise or use under the circumstances in the conduct of such per-
son’s own affairs.




                                                      -92-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 104 of 771


                (b)      Except during the continuance of an Event of Default:

                 (i)     the duties of the Trustee shall be determined solely by the express provisions of
        this Indenture and the Trustee need perform only those duties that are specifically set forth in this
        Indenture, the Notes, the Security Documents and the Intercreditor Agreements and no others,
        and no implied covenants or obligations shall be read into this Indenture against the Trustee; and

                 (ii)     in the absence of bad faith on its part, the Trustee may conclusively rely, as to the
        truth of the statements and the correctness of the opinions expressed therein, upon certificates or
        opinions furnished to the Trustee and conforming to the requirements of this Indenture. How-
        ever, in the case of any such certificates or opinions which by any provision hereof are specifi-
        cally required to be furnished to the Trustee, the Trustee shall examine the certificates and opin-
        ions to determine whether or not they conform to the requirements of this Indenture.

                (c)      The Trustee may not be relieved from liabilities for its own negligent action, its
own negligent failure to act, or its own willful misconduct, except that:

                 (i)     this paragraph does not limit the effect of paragraph (b) of this Section 7.01;

                (ii)     the Trustee shall not be liable for any error of judgment made in good faith by a
        Responsible Officer, unless it is proved in a court of competent jurisdiction that the Trustee was
        negligent in ascertaining the pertinent facts; and

               (iii)     the Trustee shall not be liable with respect to any action it takes or omits to take
        in good faith in accordance with a direction received by it pursuant to Section 6.05 hereof.

                (d)       Whether or not therein expressly so provided, every provision of this Indenture
that in any way relates to the Trustee is subject to paragraphs (a), (b) and (c) of this Section 7.01.

                 (e)      The Trustee shall be under no obligation to exercise any of its rights or powers
under this Indenture at the request of any Holder of the Notes unless such Holder shall have offered to the
Trustee security and indemnity satisfactory to it against any loss, liability or expense.

                (f)     The Trustee shall not be liable for interest on any money received by it except as
the Trustee may agree in writing with the Issuer. Money held in trust by the Trustee need not be segre-
gated from other funds except to the extent required by law.

Section 7.02    Rights of Trustee.

                  (a)      The Trustee may conclusively rely upon any document believed by it to be genu-
ine and to have been signed or presented by the proper Person. The Trustee need not investigate any fact
or matter stated in the document, but the Trustee, in its discretion, may make such further inquiry or in-
vestigation into such facts or matters as it may see fit, and, if the Trustee shall determine to make such
further inquiry or investigation, it shall be entitled to examine the books, records and premises of the Is-
suer, personally or by agent or attorney at the sole cost of the Issuer and shall incur no liability or addi-
tional liability of any kind by reason of such inquiry or investigation.

                 (b)      Before the Trustee acts or refrains from acting, it may require an Officers’ Cer-
tificate or an Opinion of Counsel or both. The Trustee shall not be liable for any action it takes or omits
to take in good faith in reliance on such Officers’ Certificate or Opinion of Counsel. The Trustee may
consult with counsel of its selection and the advice of such counsel or any Opinion of Counsel shall be


                                                     -93-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 105 of 771


full and complete authorization and protection from liability in respect of any action taken, suffered or
omitted by it hereunder in good faith and in reliance thereon.

                (c)     The Trustee may act through its attorneys and agents and shall not be responsible
for the misconduct or negligence of any agent or attorney appointed with due care.

                   (d)     The Trustee shall not be liable for any action it takes or omits to take in good
faith that it believes to be authorized or within the rights or powers conferred upon it by this Indenture.

                 (e)     Unless otherwise specifically provided in this Indenture, any demand, request, di-
rection or notice from the Issuer shall be sufficient if signed by an Officer of the Issuer.

                 (f)      None of the provisions of this Indenture shall require the Trustee to expend or
risk its own funds or otherwise to incur any liability, financial or otherwise, in the performance of any of
its duties hereunder, or in the exercise of any of its rights or powers if it shall have reasonable grounds for
believing that repayment of such funds or indemnity satisfactory to it against such risk or liability is not
assured to it.

                 (g)     The Trustee shall not be deemed to have notice of any Default or Event of De-
fault unless a Responsible Officer of the Trustee has actual knowledge thereof or unless written notice of
any event which is in fact such a Default is received by the Trustee at the Corporate Trust Office of the
Trustee, and such notice references the Notes and this Indenture.

                 (h)     In no event shall the Trustee be responsible or liable for special, indirect, or con-
sequential loss or damage of any kind whatsoever (including, but not limited to, loss of profit) irrespec-
tive of whether the Trustee has been advised of the likelihood of such loss or damage and regardless of
the form of action.

                (i)       The rights, privileges, protections, immunities and benefits given to the Trustee,
including, without limitation, its right to be indemnified, are extended to, and shall be enforceable by, the
Trustee in each of its capacities hereunder, and each agent, custodian and other Person employed to act
hereunder.

                 (j)       In the event the Issuer is required to pay Additional Interest, the Issuer shall pro-
vide written notice to the Trustee of the Issuer’s obligation to pay Additional Interest no later than 15 days
prior to the next Interest Payment Date, which notice shall set forth the amount of the Additional Interest
to be paid by the Issuer. The Trustee shall not at any time be under any duty or responsibility to any
Holders to determine whether the Additional Interest is payable and the amount thereof.

                 (k)     The permissive rights of the Trustee enumerated herein shall not be construed as
duties.

                 (l)     The Trustee may request that the Issuer deliver an Officers’ Certificate setting
forth the names of individuals and/or titles of officers authorized at such time to take specified actions
pursuant to this Indenture.

                  (m)     The Issuer shall provide prompt written notice to the Trustee of any change to its
fiscal year (it being expressly understood that the failure to provide such notice to the Trustee shall not be
deemed a Default or Event of Default under this Indenture).




                                                     -94-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 106 of 771


Section 7.03    Individual Rights of Trustee.

                 The Trustee in its individual or any other capacity may become the owner or pledgee of
Notes and may otherwise deal with the Issuer or any Affiliate of the Issuer with the same rights it would
have if it were not Trustee. However, in the event that the Trustee acquires any conflicting interest it
must eliminate such conflict within 90 days, apply to the SEC for permission to continue as trustee (if this
Indenture has been qualified under the Trust Indenture Act) or resign. Any Agent may do the same with
like rights and duties. The Trustee is also subject to Sections 7.10 and 7.11 hereof.

Section 7.04    Trustee’s Disclaimer.

                 The Trustee shall not be responsible for and makes no representation as to the validity or
adequacy of this Indenture or the Notes, it shall not be accountable for the Issuer’s use of the proceeds
from the Notes or any money paid to the Issuer or upon the Issuer’s direction under any provision of this
Indenture, it shall not be responsible for the use or application of any money received by any Paying
Agent other than the Trustee, and it shall not be responsible for any statement or recital herein or any
statement in the Notes or any other document in connection with the sale of the Notes or pursuant to this
Indenture other than its certificate of authentication.

Section 7.05    Notice of Defaults.

                 If a Default occurs and is continuing and if it is known to the Trustee, the Trustee shall
mail to Holders of Notes a notice of the Default within 90 days after it occurs or if known to the Trustee
later than 90 days after it occurs, as soon as practicable. Except in the case of a Default relating to the
payment of principal, premium, if any, or interest on any Note, the Trustee may withhold from the Hold-
ers notice of any continuing Default if and so long as a committee of its Responsible Officers in good
faith determines that withholding the notice is in the interests of the Holders of the Notes. The Trustee
shall not be deemed to know of any Default unless a Responsible Officer of the Trustee has actual knowl-
edge thereof or unless written notice of any event which is such a Default is received by the Trustee at the
Corporate Trust Office of the Trustee.

Section 7.06    Reports by Trustee to Holders of the Notes.

                 Within 60 days after each May 15, beginning with the May 15 following the date of this
Indenture, and for so long as Notes remain outstanding, the Trustee shall mail to the Holders of the Notes
a brief report dated as of such reporting date that complies with Trust Indenture Act Section 313(a) (but if
no event described in Trust Indenture Act Section 313(a) has occurred within the twelve months preced-
ing the reporting date, no report need be transmitted). The Trustee also shall comply with Trust Indenture
Act Section 313(b)(2). The Trustee shall also transmit by mail all reports as required by Trust Indenture
Act Section 313(c).

                 A copy of each report at the time of its mailing to the Holders of Notes shall be mailed to
the Issuer and filed with the SEC (to the extent that the Issuer is subject to the reporting requirements of
Section 13 or Section 15(d) of the Exchange Act or otherwise voluntarily filing periodic reports with the
SEC) and each stock exchange on which the Notes are listed in accordance with Trust Indenture Act Sec-
tion 313(d). The Issuer shall promptly notify the Trustee, in writing, when the Notes are listed on any
stock exchange.




                                                    -95-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 107 of 771


Section 7.07    Compensation and Indemnity.

                 The Issuer and the Guarantors, jointly and severally, shall pay to the Trustee from time to
time such compensation for its acceptance of this Indenture and services hereunder as the parties shall
agree in writing from time to time. The Trustee’s compensation shall not be limited by any law on com-
pensation of a trustee of an express trust. The Issuer and the Guarantors, jointly and severally, shall re-
imburse the Trustee promptly upon request for all reasonable disbursements, advances and expenses in-
curred or made by it in addition to the compensation for its services. Such expenses shall include the rea-
sonable compensation, disbursements and expenses of the Trustee’s agents, professional advisors and
counsel.

                 The Issuer and the Guarantors, jointly and severally, shall indemnify the Trustee for, and
hold the Trustee harmless against, any and all loss, damage, claims, liability or expense (including attor-
neys’ fees) incurred by it in connection with the acceptance or administration of this trust and the per-
formance of its duties hereunder (including the costs and expenses of enforcing this Indenture against the
Issuer or any of the Guarantors (including this Section 7.07) or defending itself against any claim whether
asserted by any Holder, the Issuer or any Guarantor, or liability in connection with the acceptance, exer-
cise or performance of any of its powers or duties hereunder). The Trustee shall notify the Issuer
promptly of any claim for which it may seek indemnity. Failure by the Trustee to so notify the Issuer
shall not relieve the Issuer of its obligations hereunder. The Issuer shall defend the claim and the Trustee
may have separate counsel and the Issuer shall pay the fees and expenses of such counsel. The Issuer
need not reimburse any expense or indemnify against any loss, liability or expense incurred by the Trus-
tee through the Trustee’s own willful misconduct, negligence or bad faith as determined by a court of
competent jurisdiction in a final and non-appealable decision.

                 The obligations of the Issuer under this Section 7.07 shall survive the satisfaction and
discharge of this Indenture or the earlier resignation or removal of the Trustee.

                 Notwithstanding anything to the contrary in Section 4.12 hereof, to secure the payment
obligations of the Issuer and the Guarantors in this Section 7.07, the Trustee shall have a Lien prior to the
Notes on all money or property held or collected by the Trustee, except that held in trust to pay principal
and interest on particular Notes. Such Lien shall survive the satisfaction and discharge of this Indenture.

                When the Trustee incurs expenses or renders services after an Event of Default specified
in Section 6.01(a)(6) or (7) hereof occurs, the expenses and the compensation for the services (including
the fees and expenses of its agents and counsel) are intended to constitute expenses of administration un-
der any Bankruptcy Law.

                 The Trustee shall comply with the provisions of Trust Indenture Act Section 313(b)(2) to
the extent applicable.

Section 7.08    Replacement of Trustee.

                 A resignation or removal of the Trustee and appointment of a successor Trustee shall be-
come effective only upon the successor Trustee’s acceptance of appointment as provided in this Section
7.08. The Trustee may resign in writing at any time and be discharged from the trust hereby created by so
notifying the Issuer. The Holders of a majority in principal amount of the then outstanding Notes may
remove the Trustee by so notifying the Trustee and the Issuer in writing. The Issuer may remove the
Trustee if:

                (a)      the Trustee fails to comply with Section 7.10 hereof;


                                                    -96-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 108 of 771


                 (b)     the Trustee is adjudged a bankrupt or an insolvent or an order for relief is entered
with respect to the Trustee under any Bankruptcy Law;

                 (c)     a custodian or public officer takes charge of the Trustee or its property; or

                 (d)     the Trustee becomes incapable of acting.

                  If the Trustee resigns or is removed or if a vacancy exists in the office of Trustee for any
reason, the Issuer shall promptly appoint a successor Trustee. Within one year after the successor Trustee
takes office, the Holders of a majority in principal amount of the then outstanding Notes may appoint a
successor Trustee to replace the successor Trustee appointed by the Issuer.

                If a successor Trustee does not take office within 60 days after the retiring Trustee re-
signs or is removed, the retiring Trustee (at the Issuer’s expense), the Issuer or the Holders of at least 10%
in principal amount of the then outstanding Notes may petition any court of competent jurisdiction for the
appointment of a successor Trustee.

                  If the Trustee, after written request by any Holder who has been a Holder for at least six
months, fails to comply with Section 7.10 hereof, such Holder may petition any court of competent juris-
diction for the removal of the Trustee and the appointment of a successor Trustee.

                 A successor Trustee shall deliver a written acceptance of its appointment to the retiring
Trustee and to the Issuer. Thereupon, the resignation or removal of the retiring Trustee shall become ef-
fective, and the successor Trustee shall have all the rights, powers and duties of the Trustee under this
Indenture. The successor Trustee shall mail a notice of its succession to Holders. The retiring Trustee
shall promptly transfer all property held by it as Trustee to the successor Trustee; provided all sums ow-
ing to the Trustee hereunder have been paid and subject to the Lien provided for in Section 7.07 hereof.
Notwithstanding replacement of the Trustee pursuant to this Section 7.08, the Issuer’s obligations under
Section 7.07 hereof shall continue for the benefit of the retiring Trustee.

Section 7.09     Successor Trustee by Merger, etc.

                 If the Trustee consolidates, merges or converts into, or transfers all or substantially all of
its corporate trust business to, another corporation, the successor corporation without any further act shall
be the successor Trustee.

Section 7.10     Eligibility; Disqualification.

                  There shall at all times be a Trustee hereunder that is a corporation organized and doing
business under the laws of the United States of America or of any state thereof that is authorized under
such laws to exercise corporate trustee power, that is subject to supervision or examination by federal or
state authorities and that has a combined capital and surplus of at least $50,000,000 as set forth in its most
recent published annual report of condition.

                This Indenture shall always have a Trustee who satisfies the requirements of Trust Inden-
ture Act Sections 310(a)(1), (2) and (5). The Trustee is subject to Trust Indenture Act Section 310(b).




                                                     -97-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 109 of 771


Section 7.11    Preferential Collection of Claims Against Issuer.

                  The Trustee is subject to Trust Indenture Act Section 311(a), excluding any creditor rela-
tionship listed in Trust Indenture Act Section 311(b). A Trustee who has resigned or been removed shall
be subject to Trust Indenture Act Section 311(a) to the extent indicated therein.

Section 7.12    Escrow Authorization.

                 Each Holder, by its acceptance of a Note, consents and agrees to the terms of the Escrow
Agreement, including related documents thereto, as the same may be in effect or may be amended from
time to time in writing by the parties thereto (provided that no amendment that would materially ad-
versely affect the rights of the Holders may be effected without the consent of each Holder of Notes af-
fected thereby), and authorizes and directs the Trustee to enter into the Escrow Agreement and to perform
its obligations and exercise its rights thereunder in accordance therewith. The Issuer shall do or cause to
be done all such acts and things as may be necessary or proper, or as may be required by the provisions of
the Escrow Agreement, to assure and confirm to the Trustee the security interest contemplated by the Es-
crow Agreement or any part thereof, as from time to time constituted, so as to render the same available
for the security and benefit of this Indenture and of the Notes and Guarantees secured hereby, according
to the intent and purpose herein expressed. The Issuer shall take, or shall cause to be taken, any and all
actions reasonably required to cause the Escrow Agreement to create and maintain, as security for the
obligations of the Issuer under this Indenture, the Notes and the Guarantees as provided in the Escrow
Agreement, valid and enforceable first priority perfected liens in and on all the Escrow Proceeds, in favor
of the Trustee for its benefit, the benefit of the Collateral Agent and the ratable benefit of the Holders,
superior to and prior to the rights of third Persons and subject to no other Liens.

Section 7.13    Authorization of Security Documents; Intercreditor Agreements.

                   By their acceptance of the Notes, the Holders hereby authorize and direct the Trustee and
Collateral Agent, as the case may be, to execute and deliver the Security Documents, the First Lien Inter-
creditor Agreement, any Second Lien Intercreditor Agreement and any other document purporting to cre-
ate a security interest in favor of the Trustee or the Collateral Agent, as applicable, for the benefit of the
Holders of the Notes, including any Security Documents executed after the Release Date. It is hereby
expressly acknowledged and agreed that, in doing so, the Trustee and the Collateral Agent are not respon-
sible for the terms or contents of such agreements, or for the validity or enforceability thereof, or the suf-
ficiency thereof for any purpose. Whether or not so expressly stated therein, in entering into, or taking
(or forbearing from) any action under pursuant to, the Security Documents, the First Lien Intercreditor
Agreement, any Second Lien Intercreditor Agreement or any other document purporting to create a secu-
rity interest in favor of the Trustee and/or the Collateral Agent for their benefit and the benefit of the
Holders of the Notes, each shall have all of the rights, immunities, indemnities and other protections
granted to it under this Indenture (in addition to those that may be granted to it under the terms of such
other agreement or agreements).

                                                ARTICLE 8

                      LEGAL DEFEASANCE AND COVENANT DEFEASANCE

Section 8.01    Option to Effect Legal Defeasance or Covenant Defeasance.

                The Issuer may, at its option and at any time, elect to have either Section 8.02 or 8.03
hereof applied to all outstanding Notes upon compliance with the conditions set forth below in this Arti-
cle 8.


                                                     -98-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 110 of 771


Section 8.02     Legal Defeasance and Discharge.

                   Upon the Issuer’s exercise under Section 8.01 hereof of the option applicable to this Sec-
tion 8.02, the Issuer and the Guarantors shall, subject to the satisfaction of the conditions set forth in Sec-
tion 8.04 hereof, be deemed to have been discharged from their obligations with respect to all outstanding
Notes (including the Guarantees) and this Indenture on the date the conditions set forth below are satis-
fied (“Legal Defeasance”). For this purpose, Legal Defeasance means that the Issuer and the Guarantors
shall be deemed to have paid and discharged the entire Indebtedness represented by the outstanding Notes
(including the Guarantees), which shall thereafter be deemed to be “outstanding” only for the purposes of
Section 8.05 hereof and the other Sections of this Indenture referred to in (a) and (b) below, and to have
satisfied all its other obligations under such Notes, the Guarantees, this Indenture and the Security Docu-
ments (and the Trustee, on demand of and at the expense of the Issuer, shall execute proper instruments
acknowledging the same) and to have caused the release of all Liens on the Collateral granted under the
Security Documents, except for the following provisions which shall survive until otherwise terminated
or discharged hereunder:

                  (a)    the rights of Holders of Notes to receive payments in respect of the principal of,
premium, if any, and, without duplication, interest on the Notes when such payments are due solely out of
the trust created pursuant to this Indenture referred to in Section 8.04 hereof;

                 (b)      the Issuer’s obligations with respect to Notes concerning issuing temporary
Notes, registration of the transfer or exchange of Notes, replacement of mutilated, destroyed, lost or sto-
len Notes and the maintenance of an office or agency for payment and money for security payments held
in trust;

                 (c)    the rights, powers, trusts, duties and immunities of the Trustee, and the Issuer’s
obligations in connection therewith; and

                 (d)     this Section 8.02.

                Subject to compliance with this Article 8, the Issuer may exercise its option under this
Section 8.02 notwithstanding the prior exercise of its option under Section 8.03 hereof.

Section 8.03     Covenant Defeasance.

                  Upon the Issuer’s exercise under Section 8.01 hereof of the option applicable to this Sec-
tion 8.03, the Issuer and the Guarantors shall, subject to the satisfaction of the conditions set forth in Sec-
tion 8.04 hereof, be released from their obligations under the covenants contained in Sections 3.09, 4.03,
4.04, 4.05, 4.07, 4.08, 4.09, 4.10, 4.11, 4.12, 4.13, 4.14, 4.15, 4.18, 4.19, 4.20, 4.21 and 4.22 hereof and
clauses (4) and (5) of Section 5.01(a), Sections 5.01(c) and 5.01(d) hereof with respect to the outstanding
Notes on and after the date the conditions set forth in Section 8.04 hereof are satisfied (“Covenant Defea-
sance”), and the Notes shall thereafter be deemed not “outstanding” for the purposes of any direction,
waiver, consent or declaration or act of Holders (and the consequences of any thereof) in connection with
such covenants, but shall continue to be deemed “outstanding” for all other purposes hereunder (it being
understood that such Notes shall not be deemed outstanding for accounting purposes). For this purpose,
Covenant Defeasance means that, with respect to the outstanding Notes, the Issuer may omit to comply
with and shall have no liability in respect of any term, condition or limitation set forth in any such cove-
nant, whether directly or indirectly, by reason of any reference elsewhere herein to any such covenant or
by reason of any reference in any such covenant to any other provision herein or in any other document
and such omission to comply shall not constitute a Default or an Event of Default under Section 6.01
hereof, but, except as specified above, the remainder of this Indenture and such Notes shall be unaffected


                                                     -99-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                           Pg 111 of 771


thereby. In addition, upon the Issuer’s exercise under Section 8.01 hereof of the option applicable to this
Section 8.03, subject to the satisfaction of the conditions set forth in Section 8.04 hereof, (x) Sections
6.01(a)(3), 6.01(a)(4), 6.01(a)(5), 6.01(a)(8) and 6.01(a)(9) hereof shall not constitute Events of Default
with respect to the Notes and (y) Sections 6.01(a)(1), 6.01(a)(2), 6.01(a)(6) (solely with respect to Sig-
nificant Subsidiaries) and 6.01(a)(7) (solely with respect to Significant Subsidiaries) shall continue to
constitute an Event of Default with respect to the Notes.

Section 8.04     Conditions to Legal or Covenant Defeasance.

                 The following shall be the conditions to the application of either Section 8.02 or 8.03
hereof to the outstanding Notes:

                 In order to exercise either Legal Defeasance or Covenant Defeasance with respect to the
Notes:

                  (1)     the Issuer must irrevocably deposit with the Trustee, in trust, for the benefit of
         the Holders of the Notes, cash in U.S. dollars, Government Securities, or a combination thereof,
         in such amounts as shall be sufficient, in the opinion of a nationally recognized firm of independ-
         ent public accountants (or, if two or more nationally recognized firms of independent public ac-
         countants decline to issue such opinion as a matter of policy, in the opinion of the Issuer’s chief
         financial officer), to pay the principal amount of, premium, if any, and (without duplication), in-
         terest due on the Notes on the stated maturity date or on the Redemption Date, as the case may
         be, of such principal, premium, if any, or interest on such Notes, and the Issuer must specify
         whether such Notes are being defeased to maturity or to a particular Redemption Date;

                (2)     in the case of Legal Defeasance, the Issuer shall have delivered to the Trustee an
         Opinion of Counsel reasonably acceptable to the Trustee confirming that, subject to customary
         assumptions and exclusions,

                          (a)     the Issuer has received from, or there has been published by, the United
                 States Internal Revenue Service a ruling, or

                        (b)      since the issuance of the Notes, there has been a change in the applicable
                 U.S. Federal income tax law,

in either case to the effect that, and based thereon such Opinion of Counsel shall confirm that, subject to
customary assumptions and exclusions, the Holders of the Notes shall not recognize income, gain or loss
for U.S. Federal income tax purposes, as a result of such Legal Defeasance and shall be subject to U.S.
Federal income tax on the same amounts, in the same manner and at the same times as would have been
the case if such Legal Defeasance had not occurred;

                  (1)     in the case of Covenant Defeasance, the Issuer shall have delivered to the Trustee
         an Opinion of Counsel reasonably acceptable to the Trustee confirming that, subject to customary
         assumptions and exclusions, the Holders of the Notes shall not recognize income, gain or loss for
         U.S. Federal income tax purposes as a result of such Covenant Defeasance and shall be subject to
         such tax on the same amounts, in the same manner and at the same times as would have been the
         case if such Covenant Defeasance had not occurred;

                 (2)      no Default (other than that resulting from borrowing funds to be applied to make
         such deposit and the granting of Liens in connection therewith) shall have occurred and be con-
         tinuing on the date of such deposit;


                                                   -100-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                          Pg 112 of 771


                 (3)      such Legal Defeasance or Covenant Defeasance shall not result in a breach or
        violation of, or constitute a default under any Pari Passu Lien Indebtedness or any other material
        agreement or instrument (other than this Indenture) to which the Issuer or any Guarantor is a
        party or by which the Issuer or any Guarantor is bound (other than that resulting from any bor-
        rowing of funds to be applied to make such deposit required to effect such Legal Defeasance or
        Covenant Defeasance and any similar and simultaneous deposit relating to other Indebtedness
        and, in each case, the granting of Liens in connection therewith);

                 (4)      the Issuer shall have delivered to the Trustee an Opinion of Counsel to the effect
        that, as of the date of such opinion and subject to customary assumptions and exclusions follow-
        ing the deposit, the trust funds shall not be subject to the effect of Section 547 of the Bankruptcy
        Law;

                (5)     the Issuer shall have delivered to the Trustee an Officers’ Certificate stating that
        the deposit was not made by the Issuer with the intent of defeating, hindering, delaying or de-
        frauding any creditors of the Issuer or any Guarantor or others; and

                (6)      the Issuer shall have delivered to the Trustee an Officers’ Certificate and an
        Opinion of Counsel (which Opinion of Counsel may be subject to customary assumptions and ex-
        clusions) each stating that all conditions precedent provided for or relating to the Legal Defea-
        sance or the Covenant Defeasance, as the case may be, have been complied with.

Section 8.05    Deposited Money and Government Securities to Be Held in Trust; Other
                Miscellaneous Provisions.

                  Subject to Section 8.06 hereof, all money and Government Securities (including the pro-
ceeds thereof) deposited with the Trustee (or other qualifying trustee, collectively for purposes of this
Section 8.05, the “Trustee”) pursuant to Section 8.04 hereof in respect of the outstanding Notes shall be
held in trust and applied by the Trustee, in accordance with the provisions of such Notes and this Inden-
ture, to the payment, either directly or through any Paying Agent (including the Issuer or a Guarantor act-
ing as Paying Agent) as the Trustee may determine, to the Holders of such Notes of all sums due and to
become due thereon in respect of principal, premium and Additional Interest, if any, and, without duplica-
tion, interest, but such money need not be segregated from other funds except to the extent required by
law.

                 The Issuer shall pay and indemnify the Trustee against any tax, fee or other charge im-
posed on or assessed against the cash or Government Securities deposited pursuant to Section 8.04 hereof
or the principal and interest received in respect thereof other than any such tax, fee or other charge which
by law is for the account of the Holders of the outstanding Notes.

                 Anything in this Article 8 to the contrary notwithstanding, the Trustee shall deliver or pay
to the Issuer from time to time upon the request of the Issuer any money or Government Securities held
by it as provided in Section 8.04 hereof which, in the opinion of a nationally recognized firm of inde-
pendent public accountants expressed in a written certification thereof delivered to the Trustee (which
may be the opinion delivered under Section 8.04(a) hereof), are in excess of the amount thereof that
would then be required to be deposited to effect an equivalent Legal Defeasance or Covenant Defeasance.

Section 8.06    Repayment to Issuer.

                 Any money deposited with the Trustee or any Paying Agent, or then held by the Issuer, in
trust for the payment of the principal of, premium and Additional Interest, if any, or, without duplication,


                                                   -101-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 113 of 771


interest on any Note and remaining unclaimed for two years after such principal, and premium and Addi-
tional Interest, if any, or interest has become due and payable shall be paid to the Issuer on its request or
(if then held by the Issuer) shall be discharged from such trust; and the Holder of such Note shall thereaf-
ter look only to the Issuer for payment thereof, and all liability of the Trustee or such Paying Agent with
respect to such trust money, and all liability of the Issuer as trustee thereof, shall thereupon cease.

Section 8.07    Reinstatement.

                 If the Trustee or Paying Agent is unable to apply any United States dollars or Govern-
ment Securities in accordance with Section 8.02 or 8.03 hereof, as the case may be, by reason of any or-
der or judgment of any court or governmental authority enjoining, restraining or otherwise prohibiting
such application, then the Issuer’s obligations under this Indenture and the Notes shall be revived and re-
instated as though no deposit had occurred pursuant to Section 8.02 or 8.03 hereof until such time as the
Trustee or Paying Agent is permitted to apply all such money in accordance with Section 8.02 or 8.03
hereof, as the case may be; provided that, if the Issuer makes any payment of principal of, premium and
Additional Interest, if any, or, without duplication, interest on any Note following the reinstatement of its
obligations, the Issuer shall be subrogated to the rights of the Holders of such Notes to receive such pay-
ment from the money held by the Trustee or Paying Agent.

                                                ARTICLE 9

                             AMENDMENT, SUPPLEMENT AND WAIVER

Section 9.01    Without Consent of Holders of Notes.

                 Notwithstanding Section 9.02 hereof, the Issuer, any Guarantor (with respect to its Guar-
antee or this Indenture), the Collateral Agent and the Trustee may amend or supplement this Indenture,
the Security Documents, the First Lien Intercreditor Agreement or any Second Lien Intercreditor Agree-
ment and any Guarantee or Notes without the consent of any Holder:

                (1)      to cure any ambiguity, omission, mistake, defect or inconsistency;

                (2)      to provide for uncertificated Notes in addition to or in place of certificated Notes;

                (3)      to provide for the Assumption and to comply with Section 5.01 hereof;

               (4)       to provide the assumption of the Issuer’s or any Guarantor’s obligations to the
        Holders;

               (5)       to make any change that would provide any additional rights or benefits to the
        Holders or that does not adversely affect the rights under this Indenture of any such Holder;

                (6)     to add covenants for the benefit of the Holders or to surrender any right or power
        conferred upon the Issuer or any Guarantor;

                (7)      to comply with requirements of the SEC in order to effect or maintain the qualifi-
        cation of this Indenture under the Trust Indenture Act;

                 (8)     to evidence and provide for the acceptance and appointment (x) under this Inden-
        ture of a successor Trustee hereunder pursuant to the requirements hereof or (y) under the Secu-
        rity Documents of a successor Collateral Agent thereunder pursuant to the requirements thereof;


                                                    -102-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 114 of 771


                 (9)    to make changes related to the transfer and legending of the Notes as permitted
        by this Indenture or applicable law;

                (10)    to add a Guarantor under this Indenture;

                (11)    to conform the text of this Indenture, the Guarantees, the Notes, the Security
        Documents, the First Lien Intercreditor Agreement or any Second Lien Intercreditor Agreement
        to any provision of the “Description of first lien notes” section of the Offering Memorandum;

                 (12)     to make any amendment to the provisions of this Indenture relating to the transfer
        and legending of Notes as permitted by this Indenture, including, without limitation to facilitate
        the issuance and administration of the Notes; provided, however, that (i) compliance with this In-
        denture as so amended would not result in Notes being transferred in violation of the Securities
        Act or any applicable securities law and (ii) such amendment does not materially and adversely
        affect the rights of Holders to transfer Notes;

                 (13)    to provide for the issuance of Exchange Notes in accordance with the terms of
        this Indenture and the Registration Rights Agreement;

                 (14)    to add security to or for the benefit of the Notes and, in the case of the Security
        Documents, to or for the benefit of the other secured parties named therein or to confirm and evi-
        dence the release, termination or discharge of any Guarantee of or Lien securing the Notes when
        such release, termination or discharge is permitted by this Indenture and the Security Documents
        or as required by the First Lien Intercreditor Agreement; or

                 (15)    to modify the Security Documents, the First Lien Intercreditor Agreement and/or
        the Second Lien Intercreditor Agreement to secure additional extensions of credit and additional
        secured creditors holding Additional Pari Passu Lien Indebtedness or Permitted Second Lien Ob-
        ligations, as applicable, so long as such Additional Pari Passu Lien Indebtedness or Permitted
        Second Lien Obligations, as applicable, are not prohibited by this Indenture or the Credit Agree-
        ment.

                 Upon the request of the Issuer accompanied by a Board Resolution authorizing the execu-
tion of any such amended or supplemental indenture, and upon receipt by the Trustee of the documents
described in Section 7.02 hereof, the Trustee and the Collateral Agent shall join with the Issuer and the
Guarantors in the execution of any amended or supplemental indenture authorized or permitted by the
terms of this Indenture and to make any further appropriate agreements and stipulations that may be
therein contained, but the Trustee and the Collateral Agent shall not be obligated to enter into such
amended or supplemental indenture that affects its own rights, duties or immunities under this Indenture
or otherwise. Notwithstanding the foregoing, no Opinion of Counsel shall be required in connection with
the addition of a Guarantor under this Indenture upon execution and delivery by such Guarantor, the Col-
lateral Agent and the Trustee of a supplemental indenture to this Indenture, the form of which is attached
as Exhibit D hereto, and delivery of an Officers’ Certificate.

Section 9.02    With Consent of Holders of Notes.

                Except as provided below in this Section 9.02, the Issuer, the Collateral Agent and the
Trustee may amend or supplement this Indenture, the Security Documents, the First Lien Intercreditor
Agreement, any Second Lien Intercreditor Agreement, any related Guarantee and the Notes with the con-
sent of the Holders of at least a majority in principal amount of the Notes (including Additional Notes, if
any) then outstanding voting as a single class including, without limitation, so long as this Indenture has


                                                   -103-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 115 of 771


not been qualified under the TIA, any Notes beneficially owned by the Issuer’s Affiliates (including, con-
sents obtained in connection with a purchase of, or tender offer or exchange offer for, Notes) and, subject
to Sections 6.04 and 6.07 hereof, any existing Default or compliance with any provision of this Indenture,
the Security Documents, the First Lien Intercreditor Agreement, any Second Lien Intercreditor Agree-
ment, the Guarantees or the Notes may be waived with the consent of the Holders of a majority in princi-
pal amount of the then outstanding Notes (including Additional Notes, if any) voting as a single class (in-
cluding consents obtained in connection with a purchase of or tender offer or exchange offer for, Notes.
Subject to the preceding sentence, Section 2.08 hereof and Section 2.09 hereof shall determine which
Notes are considered to be “outstanding” for the purposes of this Section 9.02).

                  Upon the request of the Issuer accompanied by a resolution of its Board of Directors au-
thorizing the execution of any such amended or supplemental indenture, and upon the filing with the
Trustee of evidence satisfactory to the Trustee of the consent of the Holders of Notes as aforesaid, and
upon receipt by the Trustee of the documents described in Section 7.02 hereof, the Trustee shall join with
the Issuer in the execution of such amended or supplemental indenture unless such amended or supple-
mental indenture directly affects the Trustee’s own rights, duties or immunities under this Indenture or
otherwise, in which case the Trustee may in its discretion, but shall not be obligated to, enter into such
amended or supplemental indenture.

                It shall not be necessary for the consent of the Holders of Notes under this Section 9.02 to
approve the particular form of any proposed amendment or waiver, but it shall be sufficient if such con-
sent approves the substance thereof.

                 After an amendment, supplement or waiver under this Section 9.02 becomes effective,
the Issuer shall mail to the Holders of Notes affected thereby a notice briefly describing the amendment,
supplement or waiver. Any failure of the Issuer to mail such notice, or any defect therein, shall not, how-
ever, in any way impair or affect the validity of any such amended or supplemental indenture or waiver.

                 Without the consent of each affected Holder of Notes, an amendment or waiver under
this Section 9.02 may not (with respect to any Notes held by a non-consenting Holder):

              (1)     reduce the principal amount of such Notes whose Holders must consent to an
        amendment, supplement or waiver;

                 (2)     reduce the principal amount of or change the fixed final maturity of any such
        Note or alter or waive the provisions with respect to the redemption of such Notes (other than
        provisions relating to Section 3.09, Section 4.10 and Section 4.14 hereof to the extent that any
        such amendment or waiver does not have the effect of reducing the principal of or changing the
        fixed final maturity of any such Note or altering or waiving the provisions with respect to the re-
        demption of such Notes);

                (3)     reduce the rate of or change the time for payment of interest on any Note;

                 (4)      waive a Default in the payment of principal of or premium, if any, or (without
        duplication) interest on the Notes, except a rescission of acceleration of the Notes by the Holders
        of at least a majority in aggregate principal amount of the Notes and a waiver of the payment de-
        fault that resulted from such acceleration, or in respect of a covenant or provision contained in
        this Indenture or any Guarantee which cannot be amended or modified without the consent of all
        Holders;

                (5)     make any Note payable in a currency other than U.S. dollars;


                                                   -104-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 116 of 771


                 (6)     make any change in the provisions of this Indenture relating to the rights of Hold-
        ers to receive payments of principal of or premium, if any, or (without duplication) interest on the
        Notes including in connection with a defeasance or discharge;

                (7)      make any change in these amendment and waiver provisions;

               (8)     impair the right of any Holder to receive payment of principal of, or interest on
        such Holder’s Notes on or after the due dates therefor or to institute suit for the enforcement of
        any payment on or with respect to such Holder’s Notes;

                (9)      make any change to or otherwise modify the ranking of the Notes that would ad-
        versely affect the Holders; or

               (10)     except as expressly permitted by this Indenture, modify the Guarantee of any
        Guarantor in any manner adverse to the Holders of the Notes.

                 (11)    Notwithstanding the foregoing, without the consent of the Holders of at least
        75% in aggregate principal amount of the Notes then outstanding, no amendment or waiver may
        make any change to, or extend the time for performance under, Section 3.10 hereof (including the
        definition of “Escrow End Date”).

                (12)     In addition, any amendment to, or waiver of, the provisions of this Indenture, any
        Security Document, the First Lien Intercreditor Agreement or any Second Lien Intercreditor
        Agreement that has the effect of releasing all or substantially all of the Collateral or modifies such
        documents insofar as such documents relates to Collateral in a manner adverse to the Holders of
        the Notes in any material respect will require consent of the Holders of at least 75% in aggregate
        principal amount of the Notes then outstanding (including consents obtained in connection with a
        tender offer or exchange offer for the Notes).

                 No amendment of, or supplement or waiver to, this Indenture, the Notes or the Security
Documents (other than the First Lien Intercreditor Agreement) shall be permitted to be effected which is
in violation of or inconsistent with the terms of the First Lien Intercreditor Agreement. No amendment of,
or supplement to, the First Lien Intercreditor Agreement shall be permitted to be effected without the con-
sent of the Collateral Agent and the collateral agent under the Credit Agreement.

                 Prior to the payment in full of the Priority Payment Lien Obligations, (i) the First Lien In-
tercreditor Agreement may be amended, without the consent of the Holders of the Notes, the Collateral
Agent, the collateral agent under the Credit Agreement or the Trustee (collectively, the “First Lien Se-
cured Parties”) or the Credit Agreement Lenders or Agent, to add additional secured creditors holding
any Additional Pari Passu Lien Indebtedness permitted by the Credit Agreement and this Indenture and
(ii) the Agent (with the requisite consent of the Credit Agreement Lenders) may change, waive, modify or
vary the security documents without the consent of the First Lien Secured Parties; provided that any such
change, waiver or modification does not materially adversely affect the rights of the First Lien Secured
Parties and the additional secured creditors holding Additional Pari Passu Lien Indebtedness. Any con-
sent to the use of cash collateral satisfactory to the Agent or debtor–in-possession financing on a priming
basis (whether or not provided by the holders of Priority Payment Lien Obligations) not to exceed twenty
percent of the aggregate secured debt subject to the First Lien Intercreditor Agreement shall not be
deemed to be materially adverse to the rights of the First Lien Secured Parties or the additional secured
creditors holding Additional Pari Passu Lien Indebtedness. Any provider of Additional Pari Passu Lien
Indebtedness shall be entitled to rely on the determination of officers of the Issuer that such modifications
do not expressly violate the provisions of the Credit Agreement or this Indenture if such determination is


                                                    -105-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 117 of 771


set forth in an Officers’ Certificate signed by an officer of the Issuer and meeting the requirements set
forth in this Indenture delivered to such provider; provided, however, that such determination will not
affect whether or not the Issuer has complied with its undertakings in the Credit Agreement, this Inden-
ture, any agreement governing any Additional Pari Passu Lien Indebtedness, any related security docu-
ments or the First Lien Intercreditor Agreement.

Section 9.03    Compliance with Trust Indenture Act.

                After the qualification of this Indenture under the Trust Indenture Act, every amendment
or supplement to this Indenture or the Notes shall be set forth in an amended or supplemental indenture
that complies with the Trust Indenture Act as then in effect.

Section 9.04    Revocation and Effect of Consents.

                 Until an amendment, supplement or waiver becomes effective, a consent to it by a Holder
of a Note is a continuing consent by the Holder of a Note and every subsequent Holder of a Note or por-
tion of a Note that evidences the same debt as the consenting Holder’s Note, even if notation of the con-
sent is not made on any Note. However, any such Holder of a Note or subsequent Holder of a Note may
revoke the consent as to its Note if the Trustee receives written notice of revocation before the date the
waiver, supplement or amendment becomes effective. Subject to Section 9.02 hereof, an amendment,
supplement or waiver becomes effective in accordance with its terms and thereafter binds every Holder.

                 The Issuer may, but shall not be obligated to, fix a record date for the purpose of deter-
mining the Holders entitled to consent to any amendment, supplement, or waiver. If a record date is
fixed, then, notwithstanding the preceding paragraph, those Persons who were Holders at such record date
(or their duly designated proxies), and only such Persons, shall be entitled to consent to such amendment,
supplement, or waiver or to revoke any consent previously given, whether or not such Persons continue to
be Holders after such record date. No such consent shall be valid or effective for more than 120 days af-
ter such record date unless the consent of the requisite number of Holders has been obtained.

Section 9.05    Notation on or Exchange of Notes.

                 The Trustee may place an appropriate notation about an amendment, supplement or
waiver on any Note thereafter authenticated. The Issuer in exchange for all Notes may issue and the
Trustee shall, upon receipt of an Authentication Order, authenticate new Notes that reflect the amend-
ment, supplement or waiver.

                 Failure to make the appropriate notation or issue a new Note shall not affect the validity
and effect of such amendment, supplement or waiver.

Section 9.06    Trustee To Sign Amendments, etc.

                  The Trustee shall sign any amendment, supplement or waiver authorized pursuant to this
Article 9 if the amendment or supplement does not adversely affect the rights, duties, liabilities or immu-
nities of the Trustee. The Issuer may not sign an amendment, supplement or waiver until the Board of
Directors approves it. In executing any amendment, supplement or waiver, the Trustee shall be entitled to
receive and (subject to Section 7.01 hereof) shall be fully protected in relying upon, in addition to the
documents required by Section 13.04 hereof, an Officers’ Certificate and an Opinion of Counsel stating
that the execution of such amended or supplemental indenture is authorized or permitted by this Indenture
and that such amendment, supplement or waiver is the legal, valid and binding obligation of the Issuer
and any Guarantors party thereto, enforceable against them in accordance with its terms, subject to cus-


                                                   -106-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 118 of 771


tomary exceptions, and complies with the provisions hereof (including Section 9.03). Notwithstanding
the foregoing, no Opinion of Counsel shall be required for the Trustee to execute any amendment or sup-
plement adding a new Guarantor under this Indenture.

Section 9.07    Payment for Consent.

                  (a) Neither the Issuer nor any Restricted Subsidiary of the Issuer shall, directly or indi-
rectly, pay or cause to be paid, and (b) the Issuer shall use commercially reasonable efforts to prevent any
Affiliate of the Issuer from, directly or indirectly, paying or causing to be paid, any consideration,
whether by way of interest, fee or otherwise, to any Holder for or as an inducement to any consent,
waiver or amendment of any of the terms or provisions of this Indenture or the Notes unless such consid-
eration is offered to all Holders and is paid to all Holders that so consent, waive or agree to amend in the
time frame set forth in solicitation documents relating to such consent, waiver or agreement.

                                                ARTICLE 10

                                    COLLATERAL AND SECURITY

Section 10.01   Collateral and Security Documents.

                 (a)      In accordance with Section 4.16 hereof, prior to a Special Mandatory Redemp-
tion or Release Date, payment of the principal of and any premium and interest on the Notes when and as
the same shall be due and payable pursuant to a Special Mandatory Redemption under Section 3.10 shall
be secured by a pledge of the Escrow Proceeds as described in the Escrow Agreement, pursuant to which
the Issuer will grant the Trustee, for its benefit, the benefit of the Collateral Agent and the benefit of the
holders of the Notes, a first priority security interest in the escrow account and all deposits therein to se-
cure the Special Mandatory Redemption. Upon release of the funds from escrow after the Assumption on
the Release Date, the Issuer, the Guarantors, the Trustee and the Collateral Agent shall enter into one or
more Security Documents. Following the Assumption on the Release Date, the due and punctual pay-
ment of the principal of and interest on the Notes when and as the same shall be due and payable, whether
on an interest payment date, at maturity, by acceleration, repurchase, redemption or otherwise, and inter-
est on the overdue principal of and interest on the Notes and performance of all other Obligations of the
Issuer and the Guarantors to the secured parties under this Indenture, the Notes, the Guarantees, the Inter-
creditor Agreements and the Security Documents, according to the terms hereunder or thereunder, shall
be secured as provided in the Security Documents, which define the terms of the Liens that secure the
Obligations, subject to the terms of the Intercreditor Agreements.

                (b)     The Trustee and the Issuer hereby acknowledge and agree that the Collateral
Agent holds the Collateral in trust for the benefit of the secured parties pursuant to the terms of the Secu-
rity Documents and the Intercreditor Agreements.

                  (c)      Each Holder, by accepting a Note, consents and agrees to the terms of the Secu-
rity Documents (including the provisions providing for the possession, use, release and foreclosure of
Collateral) and the Intercreditor Agreements as the same may be in effect or may be amended from time
to time in accordance with their terms and this Indenture and the Intercreditor Agreements, and authorizes
and directs the Collateral Agent to enter into the Security Documents and the Intercreditor Agreements
and to perform its obligations and exercise its rights thereunder in accordance therewith; provided, how-
ever, that if any of the provisions of the Security Documents limit, qualify or conflict with the duties im-
posed by the provisions of the TIA, the TIA shall control.




                                                    -107-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 119 of 771


                  (d)     The Issuer shall deliver to the Collateral Agent copies of all documents required
to be filed pursuant to the Security Documents, and will do or cause to be done all such acts and things as
may be reasonably required by the next sentence of this Section 10.01, to assure and confirm to the Col-
lateral Agent the security interest in the Collateral contemplated hereby, by the Security Documents or
any part thereof, as from time to time constituted, so as to render the same available for the security and
benefit of this Indenture and of the Notes secured hereby, according to the intent and purposes herein ex-
pressed.

                 (e)     The Issuer shall, and shall cause the Guarantors to, take any and all actions and
make all filings (including the filing of UCC financing statements, continuation statements and amend-
ments thereto) reasonably required to cause the Security Documents to create and maintain, as security for
the Obligations of the Issuer and the Guarantors to the secured parties under this Indenture, the Notes, the
Guarantees, the Intercreditor Agreements and the Security Documents, a valid and enforceable perfected
Lien and security interest in and on all of the Collateral (subject to the terms of the Intercreditor Agree-
ments and the Security Documents), in favor of the Collateral Agent for the benefit of the secured parties
subject to no Liens other than Permitted Liens.

Section 10.02   Recordings and Opinions.

                 (a)      To the extent applicable, the Issuer will cause TIA § 313(b), relating to reports,
to be complied with. So long as the Indenture is not qualified under the TIA, the Issuer shall not be re-
quired to comply with TIA § 314. The Issuer shall deliver to the Trustee and Collateral Agent, within 30
calendar days following the end of each fiscal year, an Officers’ Certificate to the effect that all releases
and withdrawals during such fiscal year in respect of which the Issuer did not comply with TIA § 314(d)
in reliance on this Section 10.02(a) were made in the ordinary course of business and not prohibited by
this Indenture. Any certificate or opinion required by TIA § 314(d) may be made by an Officer of the
Issuer except in cases where TIA § 314(d) requires that such certificate or opinion be made by an inde-
pendent engineer, appraiser or other expert. Notwithstanding anything to the contrary in this paragraph,
the Issuer will not be required to comply with all or any portion of TIA § 314(d) if the Issuer determines,
in good faith based on advice of counsel, that under the terms of TIA § 314(d) and/or any interpretation or
guidance as to the meaning thereof of the Commission and its staff, including “no action” letters or ex-
emptive orders, all or any portion of TIA § 314(d) is inapplicable to the released Collateral.

                 (b)    Any release of Collateral permitted by Section 10.03 hereof will be deemed not
to impair the Liens under this Indenture and the Security Documents in contravention thereof.

                 (c)      Following the qualification of the Indenture under the TIA, to the extent the Is-
suer is required to furnish to the Trustee an Opinion of Counsel pursuant to TIA Section 314(b)(2), the
Issuer will furnish such opinion not more than 60 but not less than 30 days prior to December 1st of each
year.

Section 10.03   Release of Collateral.

                  (a)     Subject to Section 10.03(b) hereof, Collateral may be released from the Lien and
security interest created by the Security Documents at any time or from time to time in accordance with
the provisions of the Security Documents, the Intercreditor Agreements and this Indenture. The Issuer
and the Guarantors will be entitled to a release of property and other assets included in the Collateral from
the Liens securing the Notes, and the Trustee (subject to its receipt of an Officers’ Certificate and Opinion
of Counsel as provided below) shall release, or instruct the Collateral Agent to release, as applicable, the
same from such Liens at the Issuer’s sole cost and expense, under one or more of the following circum-
stances:


                                                   -108-
10-16140-mg         Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 120 of 771


                (1)     to enable the Issuer or any Guarantor to sell, exchange or otherwise dispose of
        any of the Collateral to the extent not prohibited under Section 4.10;

                 (2)    to release Excess Proceeds to the Issuer that remain unexpended after the conclu-
        sion of an Asset Sale Offer conducted in accordance with this Indenture and not required to be
        made part of the Collateral;

                (3)      in the case of a Guarantor that is released from its Guarantee with respect to the
        Notes, the release of the property and assets of such Guarantor;

                  (4)    pursuant to an amendment or waiver in accordance with Article 9 hereof; or

                  (5)    if the Notes have been discharged or defeased pursuant to Article 8 or Article 12
        hereof.

                 (b)     With respect to any release of Collateral, upon receipt of an Officers’ Certificate
and an Opinion of Counsel each stating that all conditions precedent under this Indenture and the Security
Documents and the Intercreditor Agreements, if any, to such release have been met and that it is proper
for the Trustee or Collateral Agent to execute and deliver the documents requested by the Issuer in con-
nection with such release, and any necessary or proper instruments of termination, satisfaction or release
prepared by the Issuer, the Trustee shall, or shall cause the Collateral Agent to, execute, deliver or ac-
knowledge (at the Issuer’s expense) such instruments or releases to evidence the release of any Collateral
permitted to be released pursuant to this Indenture or the Security Documents or the Intercreditor Agree-
ments. Neither the Trustee nor the Collateral Agent shall be liable for any such release undertaken in re-
liance upon any such Officers’ Certificate or Opinion of Counsel, and the Trustee and the Collateral
Agent shall not be under any obligation to release any such Lien and security interest, or execute and de-
liver any such instrument of release, satisfaction or termination, unless and until (i) it receives such Offi-
cers’ Certificate and Opinion of Counsel or (ii) the Intercreditor Agreements expressly provide for auto-
matic release of Collateral under this Indenture with no further action required by the Trustee or the Col-
lateral Agent.

                  (c)     To the extent that Rule 3-16 of Regulation S-X under the Securities Act requires
or would require (or is replaced with another rule or regulation, or any other law, rule or regulation is
adopted, that would require) the filing with the SEC (or any other governmental agency) of separate fi-
nancial statements of any Subsidiary of the Issuer due to the fact that such Subsidiary’s Equity Interests
secure the Notes, then the Equity Interests of such Subsidiary will automatically be deemed not to be part
of the Collateral securing the Notes but only to the extent necessary to not be subject to such requirement
and only for so long as required to not be subject to such requirement. In such event, the Security Docu-
ments may be amended or modified, without the consent of any Holder of such Notes, to the extent nec-
essary to release the security interests in favor of the Collateral Agent on the shares of Equity Interests of
such Subsidiary that are so deemed to no longer constitute part of the Collateral, all at the written request
and certification by the Issuer, upon which the Trustee may conclusively rely. In the event that Rule 3-16
of Regulation S-X under the Securities Act is amended, modified or interpreted by the SEC to permit (or
is replaced with another rule or regulation, or any other law, rule or regulation is adopted, that would
permit) such Subsidiary’s Equity Interests to secure the Notes in excess of the amount then pledged
without the filing with the SEC (or any other governmental agency) of separate financial statements of
such Subsidiary, then the Equity Interests of such Subsidiary will automatically be deemed to be a part of
the Collateral. In such event, the Security Documents may be amended or modified, without the consent
of any Holder of such Notes, to the extent necessary to subject such Equity Interests to the Liens under
the Security Documents.



                                                    -109-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 121 of 771


Section 10.04   Suits To Protect the Collateral.

                Subject to the provisions of Article 7 hereof and the Security Documents and the Inter-
creditor Agreements, the Trustee, without the consent of the Holders, on behalf of the Holders, may or
may direct the Collateral Agent to take all actions it determines in order to:

                (a)      enforce any of the terms of the Security Documents; and

                (b)      collect and receive any and all amounts payable in respect of the Obligations
hereunder.

                 Subject to the provisions of the Security Documents and the Intercreditor Agreements,
the Trustee and the Collateral Agent shall have power to institute and to maintain such suits and proceed-
ings as the Trustee may determine to prevent any impairment of the Collateral by any acts which may be
unlawful or in violation of any of the Security Documents or this Indenture, and such suits and proceed-
ings as the Trustee may determine to preserve or protect its interests and the interests of the Holders in the
Collateral. Nothing in this Section 10.04 shall be considered to impose any such duty or obligation to act
on the part of the Trustee or the Collateral Agent.

Section 10.05   Authorization of Receipt of Funds by the Trustee Under the Security
                Documents.

                 Subject to the provisions of the Intercreditor Agreements, the Trustee is authorized to re-
ceive any funds for the benefit of the Holders distributed under the Security Documents, and to make fur-
ther distributions of such funds to the Holders according to the provisions of this Indenture.

Section 10.06   Purchaser Protected.

                  In no event shall any purchaser in good faith of any property purported to be released
hereunder be bound to ascertain the authority of the Collateral Agent or the Trustee to execute the release
or to inquire as to the satisfaction of any conditions required by the provisions hereof for the exercise of
such authority or to see to the application of any consideration given by such purchaser or other trans-
feree; nor shall any purchaser or other transferee of any property or rights permitted by this Article 10 to
be sold be under any obligation to ascertain or inquire into the authority of the Issuer or the applicable
Guarantor to make any such sale or other transfer.

Section 10.07   Powers Exercisable by Receiver or Trustee.

                 In case the Collateral shall be in the possession of a receiver or trustee, lawfully ap-
pointed, the powers conferred in this Article 10 upon the Issuer or a Guarantor with respect to the release,
sale or other disposition of such property may be exercised by such receiver or trustee, and an instrument
signed by such receiver or trustee shall be deemed the equivalent of any similar instrument of the Issuer
or a Guarantor or of any Officer or Officers thereof required by the provisions of this Article 10; and if
the Trustee shall be in the possession of the Collateral under any provision of this Indenture, then such
powers may be exercised by the Trustee.

Section 10.08   Release Upon Termination of the Issuer’s Obligations.

                In the event that the Issuer delivers to the Trustee (a) an Officers’ Certificate certifying
that (i) payment in full of the principal of, together with accrued and unpaid interest on, the Notes and all
other Obligations under this Indenture, the Notes, the Guarantees and the Security Documents that are


                                                    -110-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 122 of 771


due and payable at or prior to the time such principal, together with accrued and unpaid interest, are paid
or (ii) the Issuer shall have exercised its Legal Defeasance option or its Covenant Defeasance option, in
each case in compliance with the provisions of Article 8 hereof, and (b) an Opinion of Counsel stating
that all conditions precedent to the execution and delivery of such notice by the Trustee have been satis-
fied, the Trustee shall deliver to the Issuer and the Collateral Agent a notice stating that the Trustee, on
behalf of the Holders, disclaims and gives up any and all rights it has in or to the Collateral (other than
with respect to funds held by the Trustee pursuant to Article 8 hereof), and any rights it has under the Se-
curity Documents, or, if applicable, under the Escrow Agreement if a Special Mandatory Redemption has
occurred and the obligations under the Escrow Agreement have also been met, and upon receipt by the
Collateral Agent of such notice, the Collateral Agent shall be deemed not to hold a Lien in the Collateral
on behalf of the Trustee and shall do or cause to be done all acts reasonably necessary to release such
Lien as soon as is reasonably practicable.

Section 10.09    Collateral Agent.

                 (a)      The Trustee and each of the Holders by acceptance of the Notes hereby desig-
nates and appoints the Collateral Agent as its agent under this Indenture, the Security Documents and the
Intercreditor Agreements and the Trustee and each of the Holders by acceptance of the Notes hereby ir-
revocably authorizes the Collateral Agent to take such action on its behalf under the provisions of this
Indenture, the Security Documents and the Intercreditor Agreements and to exercise such powers and per-
form such duties as are expressly delegated to the Collateral Agent by the terms of this Indenture, the Se-
curity Documents and the Intercreditor Agreements, and consents and agrees to the terms of the Inter-
creditor Agreements and each Security Document, as the same may be in effect or may be amended, re-
stated, supplemented or otherwise modified from time to time in accordance with their respective terms.
The Collateral Agent agrees to act as such on the express conditions contained in this Section 10.09. The
provisions of this Section 10.09 are solely for the benefit of the Collateral Agent and none of the Trustee,
any of the Holders nor any of the Grantors shall have any rights as a third party beneficiary of any of the
provisions contained herein other than as expressly provided in Section 10.03 hereof. Each Holder agrees
that any action taken by the Collateral Agent in accordance with the provision of this Indenture, the Inter-
creditor Agreements and the Security Documents, and the exercise by the Collateral Agent of any rights
or remedies set forth herein and therein shall be authorized and binding upon all Holders. Notwithstand-
ing any provision to the contrary contained elsewhere in this Indenture, the Security Documents and the
Intercreditor Agreements, the duties of the Collateral Agent shall be ministerial and administrative in na-
ture, and the Collateral Agent shall not have any duties or responsibilities, except those expressly set forth
herein and in the other documents to which the Collateral Agent is a party, nor shall the Collateral Agent
have or be deemed to have any trust or other fiduciary relationship with the Trustee, any Holder or any
Grantor, and no implied covenants, functions, responsibilities, duties, obligations or liabilities shall be
read into this Indenture, the Security Documents and the Intercreditor Agreements or otherwise exist
against the Collateral Agent. Without limiting the generality of the foregoing sentence, the use of the
term “agent” in this Indenture with reference to the Collateral Agent is not intended to connote any fidu-
ciary or other implied (or express) obligations arising under agency doctrine of any applicable law. In-
stead, such term is used merely as a matter of market custom, and is intended to create or reflect only an
administrative relationship between independent contracting parties.

                  (b)      The Collateral Agent may perform any of its duties under this Indenture, the Se-
curity Documents or the Intercreditor Agreements by or through receivers, agents, employees, attorneys-
in-fact or through its Related Persons and shall be entitled to advice of counsel concerning all matters per-
taining to such duties, and shall be entitled to act upon, and shall be fully protected in taking action in re-
liance upon any advice or opinion given by legal counsel. The Collateral Agent shall not be responsible
for the negligence or willful misconduct of any receiver, agent, employee, attorney-in-fact or Related Per-
son that it selects as long as such selection was made in good faith.


                                                    -111-
10-16140-mg         Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                            Pg 123 of 771


                  (c)      None of the Collateral Agent or any of its respective Related Persons shall (i) be
liable for any action taken or omitted to be taken by any of them under or in connection with this Inden-
ture or the transactions contemplated hereby (except for its own gross negligence or willful misconduct as
determined by a court of competent jurisdiction in a final and non-appealable decision) or under or in
connection with any Security Document or Intercreditor Agreement or the transactions contemplated
thereby (except for its own gross negligence or willful misconduct as determined by a court of competent
jurisdiction in a final and non-appealable decision), or (ii) be responsible in any manner to any of the
Trustee or any Holder for any recital, statement, representation, warranty, covenant or agreement made by
the Issuer or any Grantor or Affiliate of any Grantor, or any Officer or Related Person thereof, contained
in this Indenture, the Security Documents or the Intercreditor Agreements, or in any certificate, report,
statement or other document referred to or provided for in, or received by the Collateral Agent under or in
connection with, this Indenture, the Security Documents or the Intercreditor Agreements, or the validity,
effectiveness, genuineness, enforceability or sufficiency of this Indenture, the Security Documents or the
Intercreditor Agreements, or for any failure of any Grantor or any other party to this Indenture, the Secu-
rity Documents or the Intercreditor Agreements to perform its obligations hereunder or thereunder. None
of the Collateral Agent or any of its respective Related Persons shall be under any obligation to the Trus-
tee or any Holder to ascertain or to inquire as to the observance or performance of any of the agreements
contained in, or conditions of, this Indenture, the Security Documents or the Intercreditor Agreements or
to inspect the properties, books, or records of any Grantor or any Grantor’s Affiliates.

                  (d)       The Collateral Agent shall be entitled to rely, and shall be fully protected in rely-
ing, upon any writing, resolution, notice, consent, certificate, affidavit, letter, telegram, facsimile, certifi-
cation, telephone message, statement, or other communication, document or conversation (including those
by telephone or e-mail) believed by it to be genuine and correct and to have been signed, sent, or made by
the proper Person or Persons, and upon advice and statements of legal counsel (including, without limita-
tion, counsel to the Issuer or any Grantor), independent accountants and other experts and advisors se-
lected by the Collateral Agent. The Collateral Agent shall not be bound to make any investigation into
the facts or matters stated in any resolution, certificate, statement, instrument, opinion, report, notice, re-
quest, direction, consent, order, bond, debenture, or other paper or document. The Collateral Agent shall
be fully justified in failing or refusing to take any action under this Indenture, the Security Documents or
the Intercreditor Agreements unless it shall first receive such advice or concurrence of the Trustee or the
Holders of a majority in aggregate principal amount of the Notes as it determines and, if it so requests, it
shall first be indemnified to its satisfaction by the Holders against any and all liability and expense which
may be incurred by it by reason of taking or continuing to take any such action. The Collateral Agent
shall in all cases be fully protected in acting, or in refraining from acting, under this Indenture, the Secu-
rity Documents or the Intercreditor Agreements in accordance with a request, direction, instruction or
consent of the Trustee or the Holders of a majority in aggregate principal amount of the then outstanding
Notes and such request and any action taken or failure to act pursuant thereto shall be binding upon all of
the Holders.

                 (e)     The Collateral Agent shall not be deemed to have knowledge or notice of the oc-
currence of any Default or Event of Default, unless a Responsible Officer of the Collateral Agent shall
have received written notice from the Trustee or the Issuer referring to this Indenture, describing such
Default or Event of Default and stating that such notice is a “notice of default.” The Collateral Agent
shall take such action with respect to such Default or Event of Default as may be requested by the Trustee
in accordance with Article 6 hereof or the Holders of a majority in aggregate principal amount of the
Notes (subject to this Section 10.09).

                  (f)      Wilmington Trust FSB and its respective Affiliates may make loans to, issue let-
ters of credit for the account of, accept deposits from, acquire equity interests in and generally engage in
any kind of banking, trust, financial advisory, underwriting, or other business with any Grantor and its


                                                     -112-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 124 of 771


Affiliates as though it was not the Collateral Agent hereunder and without notice to or consent of the
Trustee. The Trustee and the Holders acknowledge that, pursuant to such activities, Wilmington Trust
FSB or its respective Affiliates may receive information regarding any Grantor or its Affiliates (including
information that may be subject to confidentiality obligations in favor of any such Grantor or such Affili-
ate) and acknowledge that the Collateral Agent shall not be under any obligation to provide such informa-
tion to the Trustee or the Holders. Nothing herein shall impose or imply any obligation on the part of the
Wilmington Trust FSB to advance funds.

                  (g)     The Collateral Agent may resign at any time by notice to the Trustee and the Is-
suer, such resignation to be effective upon the acceptance of a successor agent to its appointment as Col-
lateral Agent. If the Collateral Agent resigns under this Indenture, the Issuer shall appoint a successor
collateral agent. If no successor collateral agent is appointed prior to the intended effective date of the
resignation of the Collateral Agent (as stated in the notice of resignation), the Collateral Agent may ap-
point, after consulting with the Trustee, subject to the consent of the Issuer (which shall not be unrea-
sonably withheld and which shall not be required during a continuing Event of Default), a successor col-
lateral agent. If no successor collateral agent is appointed and consented to by the Issuer pursuant to the
preceding sentence within thirty (30) days after the intended effective date of resignation (as stated in the
notice of resignation) the Collateral Agent shall be entitled to petition a court of competent jurisdiction to
appoint a successor. Upon the acceptance of its appointment as successor collateral agent hereunder, such
successor collateral agent shall succeed to all the rights, powers and duties of the retiring Collateral
Agent, and the term “Collateral Agent” shall mean such successor collateral agent, and the retiring Col-
lateral Agent’s appointment, powers and duties as the Collateral Agent shall be terminated. After the re-
tiring Collateral Agent’s resignation hereunder, the provisions of this Section 10.09 (and Section 7.07
hereof) shall continue to inure to its benefit and the retiring Collateral Agent shall not by reason of such
resignation be deemed to be released from liability as to any actions taken or omitted to be taken by it
while it was the Collateral Agent under this Indenture.

                  (h)      The Trustee shall initially act as Collateral Agent and shall be authorized to ap-
point co- Collateral Agents as necessary in its sole discretion. Except as otherwise explicitly provided
herein or in the Security Documents or the Intercreditor Agreements, neither the Collateral Agent nor any
of its respective officers, directors, employees or agents or other Related Persons shall be liable for failure
to demand, collect or realize upon any of the Collateral or for any delay in doing so or shall be under any
obligation to sell or otherwise dispose of any Collateral upon the request of any other Person or to take
any other action whatsoever with regard to the Collateral or any part thereof. The Collateral Agent shall
be accountable only for amounts that it actually receives as a result of the exercise of such powers, and
neither the Collateral Agent nor any of its officers, directors, employees or agents shall be responsible for
any act or failure to act hereunder, except for its own gross negligence or willful misconduct as deter-
mined by a court of competent jurisdiction in a final and non-appealable decision.

                 (i)     The Collateral Agent is authorized and directed to (i) enter into the Security
Documents to which it is party, whether executed on or after the Release Date, (ii) enter into the Inter-
creditor Agreements, (iii) bind the Holders on the terms as set forth in the Security Documents and the
Intercreditor Agreements and (iv) perform and observe its obligations under the Security Documents and
the Intercreditor Agreements.

                  (j)     The Trustee agrees that it shall not (and shall not be obliged to), and shall not in-
struct the Collateral Agent to, unless specifically requested to do so by the Holders of a majority in aggre-
gate principal amount of the Notes, take or cause to be taken any action to enforce its rights under this
Indenture, the Security Documents or the Intercreditor Agreements or against any Grantor, including the
commencement of any legal or equitable proceedings, to foreclose any Lien on, or otherwise enforce any
security interest in, any of the Collateral.


                                                    -113-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 125 of 771


                   If at any time or times the Trustee shall receive (i) by payment, foreclosure, set-off or
otherwise, any proceeds of Collateral or any payments with respect to the Obligations arising under, or
relating to, this Indenture, except for any such proceeds or payments received by the Trustee from the
Collateral Agent pursuant to the terms of this Indenture, or (ii) payments from the Collateral Agent in
excess of the amount required to be paid to the Trustee pursuant to Article 6 hereof, the Trustee shall
promptly turn the same over to the Collateral Agent, in kind, and with such endorsements as may be re-
quired to negotiate the same to the Collateral Agent such proceeds to be applied by the Collateral Agent
pursuant to the terms of this Indenture, the Security Documents and the Intercreditor Agreements.

                 (k)      The Collateral Agent is each Holder’s agent for the purpose of perfecting the
Holders’ security interest in assets which, in accordance with Article 9 of the Uniform Commercial Code
can be perfected only by possession. Should the Trustee obtain possession of any such Collateral, upon
request from the Issuer, the Trustee shall notify the Collateral Agent thereof and promptly shall deliver
such Collateral to the Collateral Agent or otherwise deal with such Collateral in accordance with the Col-
lateral Agent’s instructions.

                  (l)      The Collateral Agent shall have no obligation whatsoever to the Trustee or any of
the Holders to assure that the Collateral exists or is owned by any Grantor or is cared for, protected, or
insured or has been encumbered, or that the Collateral Agent’s Liens have been properly or sufficiently or
lawfully created, perfected, protected, maintained or enforced or are entitled to any particular priority, or
to determine whether all or the Grantor’s property constituting collateral intended to be subject to the Lien
and security interest of the Security Documents has been properly and completely listed or delivered, as
the case may be, or the genuineness, validity, marketability or sufficiency thereof or title thereto, or to
exercise at all or in any particular manner or under any duty of care, disclosure, or fidelity, or to continue
exercising, any of the rights, authorities, and powers granted or available to the Collateral Agent pursuant
to this Indenture, any Security Document or the Intercreditor Agreements other than pursuant to the in-
structions of the Trustee or the Holders of a majority in aggregate principal amount of the Notes or as
otherwise provided in the Security Documents, it being understood and agreed that in respect of the Col-
lateral, or any act, omission, or event related thereto, the Collateral Agent shall have no other duty or li-
ability whatsoever to the Trustee or any Holder as to any of the foregoing.

                 (m)      If the Issuer (i) incurs any obligations in respect of Secured Indebtedness at any
time when no intercreditor agreement is in effect or at any time when Indebtedness constituting Secured
Indebtedness entitled to the benefit of an existing Intercreditor Agreement is concurrently retired, and (ii)
delivers to the Collateral Agent an Officers’ Certificate so stating and requesting the Collateral Agent to
enter into an intercreditor agreement (on substantially the same terms as the applicable Intercreditor
Agreement) in favor of a designated agent or representative for the holders of the Secured Indebtedness so
incurred, the Collateral Agent shall (and is hereby authorized and directed to) enter into such intercreditor
agreement (at the sole expense and cost of the Issuer, including legal fees and expenses of the Collateral
Agent), bind the Holders on the terms set forth therein and perform and observe its obligations there-
under.

                 (n)      No provision of this Indenture, the Intercreditor Agreements or any Security
Document shall require the Collateral Agent (or the Trustee) to expend or risk its own funds or otherwise
incur any financial liability in the performance of any of its duties hereunder or thereunder or to take or
omit to take any action hereunder or thereunder or take any action at the request or direction of Holders
(or the Trustee in the case of the Collateral Agent) if it shall have received indemnity satisfactory to the
Collateral Agent against potential costs and liabilities incurred by the Collateral Agent relating thereto.
Notwithstanding anything to the contrary contained in this Indenture, the Intercreditor Agreements or the
Security Documents, in the event the Collateral Agent is entitled or required to commence an action to
foreclose or otherwise exercise its remedies to acquire control or possession of the Collateral, the Collat-


                                                    -114-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 126 of 771


eral Agent shall not be required to commence any such action or exercise any remedy or to inspect or
conduct any studies of any property under the mortgages or take any such other action if the Collateral
Agent has determined that the Collateral Agent may incur personal liability as a result of the presence at,
or release on or from, the Collateral or such property, of any hazardous substances unless the Collateral
Agent has received security or indemnity from the Holders in an amount and in a form all satisfactory to
the Collateral Agent in its sole discretion, protecting the Collateral Agent from all such liability. The Col-
lateral Agent shall at any time be entitled to cease taking any action described above if it no longer rea-
sonably deems any indemnity, security or undertaking from the Issuer or the Holders to be sufficient.

                  (o)     The Collateral Agent (i) shall not be liable for any action taken or omitted to be
taken by it in connection with this Indenture, the Intercreditor Agreements and the Security Documents or
instrument referred to herein or therein, except to the extent that any of the foregoing are found by a final,
non-appealable judgment of a court of competent jurisdiction to have resulted from its own gross negli-
gence or willful misconduct, (ii) shall not be liable for interest on any money received by it except as the
Collateral Agent may agree in writing with the Issuer (and money held in trust by the Collateral Agent
need not be segregated from other funds except to the extent required by law) and (iii) may consult with
counsel of its selection and the advice or opinion of such counsel as to matters of law shall be full and
complete authorization and protection from liability in respect of any action taken, omitted or suffered by
it in good faith and in accordance with the advice or opinion of such counsel. The grant of permissive
rights or powers to the Collateral Agent shall not be construed to impose duties to act.

                 (p)      Neither the Collateral Agent nor the Trustee shall be liable for delays or failures
in performance resulting from acts beyond its control. Such acts shall include but not be limited to acts of
God, strikes, lockouts, riots, acts of war, epidemics, governmental regulations superimposed after the fact,
fire, communication line failures, computer viruses, power failures, earthquakes or other disasters. Nei-
ther the Collateral Agent nor the Trustee shall be liable for any indirect, special, punitive, incidental or
consequential damages (included but not limited to lost profits) whatsoever, even if it has been informed
of the likelihood thereof and regardless of the form of action.

                  (q)      The Collateral Agent does not assume any responsibility for any failure or delay
in performance or any breach by the Issuer or any other Grantor under this Indenture, the Intercreditor
Agreements and the Security Documents. The Collateral Agent shall not be responsible to the Holders or
any other Person for any recitals, statements, information, representations or warranties contained in this
Indenture, the Intercreditor Agreements, the Security Documents or in any certificate, report, statement,
or other document referred to or provided for in, or received by the Collateral Agent under or in connec-
tion with, this Indenture, the Intercreditor Agreements or any Security Document; the execution, validity,
genuineness, effectiveness or enforceability of the Intercreditor Agreements and any Security Documents
of any other party thereto; the genuineness, enforceability, collectability, value, sufficiency, location or
existence of any Collateral, or the validity, effectiveness, enforceability, sufficiency, extent, perfection or
priority of any Lien therein; the validity, enforceability or collectability of any Obligations; the assets,
liabilities, financial condition, results of operations, business, creditworthiness or legal status of any obli-
gor; or for any failure of any obligor to perform its Obligations under this Indenture, the Intercreditor
Agreements and the Security Documents. The Collateral Agent shall have no obligation to any Holder or
any other Person to ascertain or inquire into the existence of any Default or Event of Default, the obser-
vance or performance by any obligor of any terms of this Indenture, the Intercreditor Agreements and the
Security Documents, or the satisfaction of any conditions precedent contained in this Indenture, the Inter-
creditor Agreements and any Security Documents. The Collateral Agent shall not be required to initiate
or conduct any litigation or collection or other proceeding under this Indenture, the Intercreditor Agree-
ments and the Security Documents unless expressly set forth hereunder or thereunder. The Collateral
Agent shall have the right at any time to seek instructions from the Holders with respect to the administra-



                                                     -115-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 127 of 771


tion of this Indenture, the Intercreditor Agreements, the Security Documents or any certificate, report,
statement, or other document referred to or provided for therein.

                (r)        The parties hereto and the Holders hereby agree and acknowledge that the Col-
lateral Agent shall not assume, be responsible for or otherwise be obligated for any liabilities, claims,
causes of action, suits, losses, allegations, requests, demands, penalties, fines, settlements, damages (in-
cluding foreseeable and unforeseeable), judgments, expenses and costs (including but not limited to, any
remediation, corrective action, response, removal or remedial action, or investigation, operations and
maintenance or monitoring costs, for personal injury or property damages, real or personal) of any kind
whatsoever, pursuant to any environmental law as a result of this Indenture, the Intercreditor Agreements,
the Security Documents or any actions taken pursuant hereto or thereto. Further, the parties hereto and
the Holders hereby agree and acknowledge that in the exercise of its rights under this Indenture, the Inter-
creditor Agreements and the Security Documents, the Collateral Agent may hold or obtain indicia of
ownership primarily to protect the security interest of the Collateral Agent in the Collateral and that any
such actions taken by the Collateral Agent shall not be construed as or otherwise constitute any participa-
tion in the management of such Collateral.

                  (s)      Upon the receipt by the Collateral Agent of a written request of the Issuer signed
by two Officers (a “Security Document Order”), the Collateral Agent is hereby authorized to execute and
enter into, and shall execute and enter into, without the further consent of any Holder or the Trustee, any
Security Document to be executed after the Release Date. Such Security Document Order shall (i) state
that it is being delivered to the Collateral Agent pursuant to, and is a Security Document Order referred to
in, this Section 10.09(s), and (ii) instruct the Collateral Agent to execute and enter into such Security
Document. Any such execution of a Security Document shall be at the direction and expense of the Is-
suer, upon delivery to the Collateral Agent of an Officers’ Certificate and Opinion of Counsel stating that
all conditions precedent to the execution and delivery of the Security Document have been satisfied. The
Holders, by their acceptance of the Notes, hereby authorize and direct the Collateral Agent to execute
such Security Documents.

                 (t)       Subject to the provisions of the applicable Security Documents and the Inter-
creditor Agreements, each Holder, by acceptance of the Notes, agrees that the Collateral Agent shall exe-
cute and deliver the Intercreditor Agreements and the Security Documents to which it is a party and all
agreements, documents and instruments incidental thereto, and act in accordance with the terms thereof.
For the avoidance of doubt, the Collateral Agent shall have no discretion under this Indenture, the Inter-
creditor Agreements or the Security Documents and shall not be required to make or give any determina-
tion, consent, approval, request or direction without the written direction of the Holders of a majority in
aggregate principal amount of the then outstanding Notes or the Trustee, as applicable.

                 (u)    After the occurrence of an Event of Default, the Trustee may direct the Collateral
Agent in connection with any action required or permitted by this Indenture, the Security Documents or
the Intercreditor Agreements.

                 (v)      The Collateral Agent is authorized to receive any funds for the benefit of itself,
the Trustee and the Holders distributed under the Security Documents or the Intercreditor Agreement and
to the extent not prohibited under the Intercreditor Agreement, for turnover to the Trustee to make further
distributions of such funds to itself, the Trustee and the Holders in accordance with the provisions of Sec-
tion 6.10 hereof and the other provisions of this Indenture.

                (w)     In each case that Collateral Agent may or is required hereunder or under any
other Notes Document to take any action (an “Action”), including without limitation to make any deter-
mination, to give consents, to exercise rights, powers or remedies, to release or sell Collateral or other-


                                                    -116-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 128 of 771


wise to act hereunder or under the Security Documents or the Intercreditor Agreements, the Collateral
Agent may seek direction from the Holders of a majority in aggregate principal amount of the then out-
standing Notes. The Collateral Agent shall not be liable with respect to any Action taken or omitted to be
taken by it in accordance with the direction from the Holders of a majority in aggregate principal amount
of the then outstanding Notes. If the Collateral Agent shall request direction from the Holders of a major-
ity in aggregate principal amount of the then outstanding Notes with respect to any Action, the Collateral
Agent shall be entitled to refrain from such Action unless and until the Collateral Agent shall have re-
ceived direction from the Holders of a majority in aggregate principal amount of the then outstanding
Notes, and the Collateral Agent shall not incur liability to any Person by reason of so refraining.

                 (x)      Notwithstanding anything to the contrary in this Indenture, the Security Docu-
ments or the Intercreditor Agreements, in no event shall the Collateral Agent be responsible for, or have
any duty or obligation with respect to, the recording, filing, registering, perfection, protection or mainte-
nance of the security interests or Liens intended to be created by this Indenture, the Security Documents
or the Intercreditor Agreements (including without limitation the filing or continuation of any UCC fi-
nancing or continuation statements or similar documents or instruments), nor shall the Collateral Agent be
responsible for, and the Collateral Agent makes no representation regarding, the validity, effectiveness or
priority of any of the Security Documents or the security interests or Liens intended to be created thereby.

                 (y)      Before the Collateral Agent acts or refrains from acting in each case at the re-
quest or direction of the Issuer or the Guarantors, it may require an Officers’ Certificate and an Opinion
of Counsel, which shall conform to the provisions of Section 13.05 hereof. The Collateral Agent shall not
be liable for any action it takes or omits to take in good faith in reliance on such certificate or opinion.

                 (z)      Notwithstanding anything to the contrary contained herein, the Collateral Agent
shall act pursuant to the instructions of the secured parties solely with respect to the Security Documents
and the Collateral.

Section 10.10   Designations.

                 Except as provided in the next sentence, for purposes of the provisions hereof and the In-
tercreditor Agreements requiring the Issuer to designate Indebtedness for the purposes of the terms “Pari
Passu Lien Obligations,” “Additional Pari Passu Lien Obligations,” “Priority Payment Lien Obligations”
or any other such designations hereunder or under the Intercreditor Agreements, any such designation
shall be sufficient if the relevant designation is set forth in writing, signed on behalf of the Issuer by an
Officer and delivered to the Trustee, the Collateral Agent and the collateral agent under the Credit
Agreement. For all purposes hereof and the Intercreditor Agreements, the Issuer hereby designates the
Obligations pursuant to the Credit Agreement as “Pari Passu Lien Obligations.”

                                                ARTICLE 11

                                              GUARANTEES

Section 11.01   Guarantee.

                 Subject to this Article 11, upon the consummation of the Assumption, each of the Guar-
antors hereby, jointly and severally, fully and unconditionally guarantees to each Holder of a Note au-
thenticated and delivered by the Trustee and to the Trustee and its successors and assigns, irrespective of
the validity and enforceability of this Indenture, the Notes or the obligations of the Issuer hereunder or
thereunder, that: (a) the principal of, interest, premium and Additional Interest, if any, on the Notes shall
be promptly paid in full when due, whether, by acceleration, redemption or otherwise, and interest on the


                                                    -117-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 129 of 771


overdue principal of and interest on the Notes, if any, if lawful, and all other obligations of the Issuer to
the Holders or the Trustee or the Collateral Agent hereunder or thereunder shall be promptly paid in full
or performed, all in accordance with the terms hereof and thereof; and (b) in case of any extension of time
of payment or renewal of any Notes or any of such other obligations, that same shall be promptly paid in
full when due or performed in accordance with the terms of the extension or renewal, whether at stated
maturity, by acceleration or otherwise. Failing payment when due of any amount so guaranteed or any
performance so guaranteed for whatever reason, the Guarantors shall be jointly and severally obligated to
pay the same immediately. Each Guarantor agrees that this is a guarantee of payment and not a guarantee
of collection.

                 The Guarantors hereby agree that their obligations hereunder shall be unconditional, irre-
spective of the validity, regularity or enforceability of the Notes or this Indenture, the absence of any ac-
tion to enforce the same, any waiver or consent by any Holder of the Notes with respect to any provisions
hereof or thereof, the recovery of any judgment against the Issuer, any action to enforce the same or any
other circumstance which might otherwise constitute a legal or equitable discharge or defense of a guar-
antor. Each Guarantor hereby waives diligence, presentment, demand of payment, filing of claims with a
court in the event of insolvency or bankruptcy of the Issuer, any right to require a proceeding first against
the Issuer, protest, notice and all demands whatsoever and covenants that this Guarantee shall not be dis-
charged except by complete performance of the obligations contained in the Notes and this Indenture.

                 Each Guarantor also agrees to pay any and all costs and expenses (including reasonable
attorneys’ fees) incurred by the Trustee or any Holder in enforcing any rights under this Section 11.01.

                 If any Holder or the Trustee is required by any court or otherwise to return to the Issuer,
the Guarantors or any custodian, trustee, liquidator or other similar official acting in relation to either the
Issuer or the Guarantors, any amount paid either to the Trustee or such Holder, this Guarantee, to the ex-
tent theretofore discharged, shall be reinstated in full force and effect.

                 Each Guarantor agrees that it shall not be entitled to any right of subrogation in relation
to the Holders in respect of any obligations guaranteed hereby until payment in full of all obligations
guaranteed hereby. Each Guarantor further agrees that, as between the Guarantors, on the one hand, and
the Holders and the Trustee, on the other hand, (x) the maturity of the obligations guaranteed hereby may
be accelerated as provided in Article 6 hereof for the purposes of this Guarantee, notwithstanding any
stay, injunction or other prohibition preventing such acceleration in respect of the obligations guaranteed
hereby, and (y) in the event of any declaration of acceleration of such obligations as provided in Article 6
hereof, such obligations (whether or not due and payable) shall forthwith become due and payable by the
Guarantors for the purpose of this Guarantee. The Guarantors shall have the right to seek contribution
from any non-paying Guarantor so long as the exercise of such right does not impair the rights of the
Holders under the Guarantees.

                  Each Guarantee shall remain in full force and effect and continue to be effective should
any petition be filed by or against the Issuer for liquidation, reorganization, should the Issuer become in-
solvent or make an assignment for the benefit of creditors or should a receiver or trustee be appointed for
all or any significant part of the Issuer’s assets, and shall, to the fullest extent permitted by law, continue
to be effective or be reinstated, as the case may be, if at any time payment and performance of the Notes
are, pursuant to applicable law, rescinded or reduced in amount, or must otherwise be restored or returned
by any obligee on the Notes or Guarantees, whether as a “voidable preference,” “fraudulent transfer” or
otherwise, all as though such payment or performance had not been made. In the event that any payment
or any part thereof, is rescinded, reduced, restored or returned, the Notes shall, to the fullest extent per-
mitted by law, be reinstated and deemed reduced only by such amount paid and not so rescinded, reduced,
restored or returned.


                                                     -118-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 130 of 771


                   In case any provision of any Guarantee shall be invalid, illegal or unenforceable, the va-
lidity, legality, and enforceability of the remaining provisions shall not in any way be affected or impaired
thereby.

               The Guarantee issued by any Guarantor shall be a general senior secured obligation of
such Guarantor and shall be pari passu in right of payment with all existing and future senior Indebted-
ness of such Guarantor, if any.

                 Each payment to be made by a Guarantor in respect of its Guarantee shall be made with-
out set-off, counterclaim, reduction or diminution of any kind or nature.

               Notwithstanding anything to the contrary, any direct or indirect parent company of the Is-
suer may guarantee the Notes and become a Guarantor hereunder.

Section 11.02   Limitation on Guarantor Liability.

                 Each Guarantor, and by its acceptance of Notes, each Holder, hereby confirms that it is
the intention of all such parties that the Guarantee of such Guarantor not constitute a fraudulent transfer
or conveyance for purposes of Bankruptcy Law, the Uniform Fraudulent Conveyance Act, the Uniform
Fraudulent Transfer Act or any similar federal or state law to the extent applicable to any Guarantee. To
effectuate the foregoing intention, the Trustee, the Holders and the Guarantors hereby irrevocably agree
that the obligations of each Guarantor shall be limited to the maximum amount as will, after giving effect
to such maximum amount and all other contingent and fixed liabilities of such Guarantor that are relevant
under such laws and after giving effect to any collections from, rights to receive contribution from or
payments made by or on behalf of any other Guarantor in respect of the obligations of such other Guaran-
tor under this Article 11, result in the obligations of such Guarantor under its Guarantee not constituting a
fraudulent conveyance or fraudulent transfer under applicable law. Each Guarantor that makes a payment
under its Guarantee shall be entitled upon payment in full of all guaranteed obligations under this Inden-
ture to a contribution from each other Guarantor in an amount equal to such other Guarantor’s pro rata
portion of such payment based on the respective net assets of all the Guarantors at the time of such pay-
ment determined in accordance with GAAP.

Section 11.03   Execution and Delivery.

                  To evidence its Guarantee set forth in Section 11.01 hereof, each Guarantor hereby
agrees that this Indenture or any supplemental indenture with respect hereto shall be executed on behalf
of such Guarantor by its President, one of its Vice Presidents or one of its Assistant Vice Presidents.

                 Each Guarantor hereby agrees that its Guarantee set forth in Section 11.01 hereof shall
remain in full force and effect notwithstanding the absence of the endorsement of any notation of such
Guarantee on the Notes.

                 If an Officer whose signature is on this Indenture or any supplemental indenture with re-
spect hereto no longer holds that office at the time the Trustee authenticates the Note, the Guarantee shall
be valid nevertheless.

                The delivery of any Note by the Trustee, after the authentication thereof hereunder, shall
constitute due delivery of the Guarantee set forth in this Indenture on behalf of the Guarantors.




                                                   -119-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                          Pg 131 of 771


                 If required by Section 4.15 hereof, the Issuer shall cause any newly created or acquired
Restricted Subsidiary to comply with the provisions of Section 4.15 hereof and this Article 11, to the ex-
tent applicable.

Section 11.04   Subrogation.

                  Each Guarantor shall be subrogated to all rights of Holders of Notes against the Issuer in
respect of any amounts paid by any Guarantor pursuant to the provisions of Section 11.01 hereof; pro-
vided that, if an Event of Default has occurred and is continuing, no Guarantor shall be entitled to enforce
or receive any payments arising out of, or based upon, such right of subrogation until all amounts then
due and payable by the Issuer under this Indenture or the Notes shall have been paid in full.

Section 11.05   Benefits Acknowledged.

                 Each Guarantor acknowledges that it shall receive direct and indirect benefits from the
financing arrangements contemplated by this Indenture and that the guarantee and waivers made by it
pursuant to its Guarantee are knowingly made in contemplation of such benefits.

Section 11.06   Release of Guarantees.

                A Guarantee by a Guarantor shall be automatically and unconditionally released and dis-
charged upon:

                 (a)     any sale, exchange or transfer (by merger or otherwise) of the Capital Stock of
such Guarantor (including any sale, exchange or transfer), after which the applicable Guarantor is no
longer a Restricted Subsidiary or all or substantially all the assets of such Guarantor which sale, exchange
or transfer is made in compliance with the applicable provisions of this Indenture;

                 (b)      the release or discharge of the guarantee by such Guarantor of all Pari Passu Lien
Indebtedness or such other guarantee that resulted in the creation of such Guarantee, except a discharge or
release by or as a result of payment under such guarantee;

                 (c)      the proper designation of any Restricted Subsidiary that is a Guarantor as an Un-
restricted Subsidiary in compliance with the applicable provisions of this Indenture; or

               (d)      the Issuer exercising its Legal Defeasance option or Covenant Defeasance option
in accordance with Article 8 hereof or the Issuer’s obligations under this Indenture being discharged in
accordance with Article 13 hereof.


                                               ARTICLE 12

                                  SATISFACTION AND DISCHARGE

Section 12.01   Satisfaction and Discharge.

                This Indenture shall be discharged and shall cease to be of further effect as to all Notes,
when either:




                                                   -120-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 132 of 771


               (1)      all Notes theretofore authenticated and delivered, except lost, stolen or destroyed
        Notes which have been replaced or paid and Notes for whose payment money has theretofore
        been deposited in trust, have been delivered to the Trustee for cancellation; or

                 (2)      (A) all Notes not theretofore delivered to the Trustee for cancellation have be-
        come due and payable by reason of the making of a notice of redemption or otherwise, shall be-
        come due and payable within one year or are to be called for redemption and redeemed within
        one year under arrangements satisfactory to the Trustee for the giving of notice of redemption by
        the Trustee in the name, and at the expense, of the Issuer and the Issuer or any Guarantor shall ir-
        revocably deposited or caused to be deposited with the Trustee as trust funds in trust solely for
        the benefit of the Holders of the Notes, cash in U.S. dollars, Government Securities, or a combi-
        nation thereof, in such amounts as shall be sufficient without consideration of any reinvestment of
        interest to pay and discharge the entire indebtedness on the Notes not theretofore delivered to the
        Trustee for cancellation for principal amount, premium, if any, and (without duplication) accrued
        interest to the date of maturity or redemption, as the case may be;

                 (B)     no Default (other than that resulting from borrowing funds to be applied to make
        such deposit and any similar and simultaneous deposit relating to other Indebtedness and, in each
        case, the granting of Liens in connection therewith) with respect to this Indenture or the Notes
        shall have occurred and be continuing on the date of such deposit or shall occur as a result of such
        deposit and such deposit shall not result in a breach or violation of, or constitute a default under
        any Pari Passu Lien Indebtedness or any other material agreement or instrument (other than this
        Indenture) to which the Issuer or any Guarantor is a party or by which the Issuer or any Guarantor
        is bound (other than that resulting from borrowing funds to be applied to make such deposit and
        any similar and simultaneous deposit relating to other Indebtedness and, in each case, the granting
        of Liens in connection therewith);

                (C)      the Issuer has paid or caused to be paid all sums payable by it under this Inden-
        ture; and

                (D)    the Issuer has delivered irrevocable instructions to the Trustee to apply the depos-
        ited money toward the payment of the Notes or the Redemption Date, as the case may be.

                 In addition, the Issuer must deliver an Officers’ Certificate and an Opinion of Counsel to
the Trustee stating that all conditions precedent to satisfaction and discharge have been satisfied.

                Notwithstanding the satisfaction and discharge of this Indenture, if money shall have
been deposited with the Trustee pursuant to subclause (A) of clause (2) of this Section 12.01, the provi-
sions of Section 12.02 and Section 8.06 hereof shall survive.

Section 12.02   Application of Trust Money.

                 Subject to the provisions of Section 8.06 hereof, all money deposited with the Trustee
pursuant to Section 12.01 hereof shall be held in trust and applied by it, in accordance with the provisions
of the Notes and this Indenture, to the payment, either directly or through any Paying Agent (including
the Issuer acting as its own Paying Agent) as the Trustee may determine, to the Persons entitled thereto,
of the principal (and premium and Additional Interest, if any) or interest for whose payment such money
has been deposited with the Trustee; but such money need not be segregated from other funds except to
the extent required by law.




                                                   -121-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 133 of 771


                  If the Trustee or Paying Agent is unable to apply any money or Government Securities in
accordance with Section 12.01 hereof by reason of any legal proceeding or by reason of any order or
judgment of any court or governmental authority enjoining, restraining or otherwise prohibiting such ap-
plication, the Issuer’s and any Guarantor’s obligations under this Indenture and the Notes shall be revived
and reinstated as though no deposit had occurred pursuant to Section 12.01 hereof; provided that if the
Issuer has made any payment of principal of, premium and Additional Interest, if any, or interest on any
Notes because of the reinstatement of its obligations, the Issuer shall be subrogated to the rights of the
Holders of such Notes to receive such payment from the money or Government Securities held by the
Trustee or Paying Agent.

                                                 ARTICLE 13

                                            MISCELLANEOUS

Section 13.01    Trust Indenture Act Controls.

                Except as expressly provided for herein prior to the qualification of this Indenture under
the Trust Indenture Act, if any provision of this Indenture limits, qualifies or conflicts with the duties im-
posed by Trust Indenture Act Section 318(c), the imposed duties shall control.

Section 13.02    Notices.

                 Any notice or communication by the Issuer, any Guarantor or the Trustee to the others is
duly given if in writing and delivered in person or mailed by first-class mail (registered or certified, return
receipt requested), fax or overnight air courier guaranteeing next day delivery, to the others’ address:

                 If to the Issuer and/or any Guarantor:

                 c/o American Media Operations, Inc.
                 1000 American Media Way
                 Boca Raton, FL 33464-1000
                 Fax No.: (561) 989-1224
                 Attention: General Counsel

                 If to the Trustee or Collateral Agent:

                 Wilmington Trust FSB, as Trustee and Collateral Agent:
                 50 South Sixth Street, Suite 1290
                 Drop code 7100
                 Minneapolis, MN 55402-1544
                 Attention: Corporate Client Services
                 Fax No.: 612-217-5651

                 The Issuer, any Guarantor or the Trustee, by notice to the others, may designate addi-
tional or different addresses for subsequent notices or communications.

                All notices and communications (other than those sent to Holders) shall be deemed to
have been duly given: at the time delivered by hand, if personally delivered; five calendar days after be-
ing deposited in the mail, postage prepaid, if mailed by first-class mail; when receipt acknowledged, if
faxed; and the next Business Day after timely delivery to the courier, if sent by overnight air courier



                                                    -122-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 134 of 771


guaranteeing next day delivery; provided that any notice or communication delivered to the Trustee shall
be deemed effective upon actual receipt thereof.

                 Any notice or communication to a Holder shall be mailed by first-class mail, certified or
registered, return receipt requested, or by overnight air courier guaranteeing next day delivery to its ad-
dress shown on the register kept by the Registrar. Any notice or communication shall also be so mailed
to any Person described in Trust Indenture Act Section 313(c), to the extent required by the Trust Inden-
ture Act. Failure to mail a notice or communication to a Holder or any defect in it shall not affect its suf-
ficiency with respect to other Holders.

                  If a notice or communication is mailed in the manner provided above within the time
prescribed, it is duly given, whether or not the addressee receives it.

                If the Issuer mails a notice or communication to Holders, it shall mail a copy to the Trus-
tee and each Paying Agent at the same time.

Section 13.03   Communication by Holders of Notes with Other Holders of Notes.

                Holders may communicate pursuant to Trust Indenture Act Section 312(b) with other
Holders with respect to their rights under this Indenture or the Notes. The Issuer, the Trustee, the Regis-
trar and anyone else shall have the protection of Trust Indenture Act Section 312(c).

Section 13.04   Certificate and Opinion as to Conditions Precedent.

                 Upon any request or application by the Issuer or any of the Guarantors to the Trustee to
take any action under this Indenture or the Notes, the Issuer or such Guarantor, as the case may be, shall
furnish to the Trustee:

                  (a)      An Officers’ Certificate in form and substance reasonably satisfactory to the
Trustee (which shall include the statements set forth in Section 13.05 hereof) stating that, in the opinion
of the signers, all conditions precedent and covenants, if any, provided for in this Indenture or the Notes,
relating to the proposed action have been satisfied; and

                (b)      An Opinion of Counsel in form and substance reasonably satisfactory to the
Trustee (which shall include the statements set forth in Section 13.05 hereof) stating that, in the opinion
of such counsel, all such conditions precedent and covenants have been satisfied.

Section 13.05   Statements Required in Certificate or Opinion.

                  Each certificate or opinion with respect to compliance with a condition or covenant pro-
vided for in this Indenture or the Notes (other than a certificate provided pursuant to Section 4.04 hereof
or Trust Indenture Act Section 314(a)(4)) shall comply with the provisions of Trust Indenture Act Section
314(e) and shall include:

               (a)     a statement that the Person making such certificate or opinion has read such
covenant or condition;

               (b)     a brief statement as to the nature and scope of the examination or investigation
upon which the statements or opinions contained in such certificate or opinion are based;




                                                    -123-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                           Pg 135 of 771


                 (c)      a statement that, in the opinion of such Person, he or she has made such examina-
tion or investigation as is necessary to enable him to express an informed opinion as to whether or not
such covenant or condition has been complied with (and, in the case of an Opinion of Counsel, may be
limited to reliance on an Officers’ Certificate as to matters of fact); and

               (d)    a statement as to whether or not, in the opinion of such Person, such condition or
covenant has been complied with.

Section 13.06   Rules by Trustee and Agents.

                The Trustee may make reasonable rules for action by or at a meeting of Holders. The
Registrar or Paying Agent may make reasonable rules and set reasonable requirements for its functions.

Section 13.07   No Personal Liability of Directors, Officers, Employees and
                Stockholders.

                  No director, officer, employee, incorporator or stockholder, member or limited partner of
the Issuer or any Guarantor or any of their parent companies shall have any liability for any obligations of
the Issuer or the Guarantors under the Notes, the Guarantees, the Security Documents, the Intercreditor
Agreements or this Indenture or for any claim based on, in respect of, or by reason of such obligations or
their creation. Each Holder by accepting Notes waives and releases all such liability. The waiver and re-
lease are part of the consideration for issuance of the Notes.

Section 13.08   Governing Law.

           THIS INDENTURE, THE NOTES AND ANY GUARANTEE SHALL BE GOV-
ERNED BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF NEW
YORK.

Section 13.09   Waiver of Jury Trial.

           EACH OF THE ISSUER, THE GUARANTORS AND THE TRUSTEE HEREBY IR-
REVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY
AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL PROCEEDING ARISING OUT OF OR
RELATING TO THIS INDENTURE, THE NOTES OR THE TRANSACTIONS CONTEMPLATED
HEREBY.

Section 13.10   Force Majeure.

                 In no event shall the Trustee be responsible or liable for any failure or delay in the per-
formance of its obligations under this Indenture arising out of or caused by, directly or indirectly, forces
beyond its reasonable control, including without limitation strikes, work stoppages, accidents, acts of war
or terrorism, civil or military disturbances, nuclear or natural catastrophes or acts of God, and interrup-
tions, loss or malfunctions of utilities, communications or computer (software or hardware) services.

Section 13.11   No Adverse Interpretation of Other Agreements.

                  This Indenture may not be used to interpret any other indenture, loan or debt agreement
of the Issuer or its Restricted Subsidiaries or of any other Person. Any such indenture, loan or debt agree-
ment may not be used to interpret this Indenture.



                                                   -124-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 136 of 771


Section 13.12   Successors.

                 All agreements of the Issuer in this Indenture and the Notes shall bind its successors. All
agreements of the Trustee in this Indenture shall bind its successors. All agreements of each Guarantor in
this Indenture shall bind its successors, except as otherwise provided in Section 11.05 hereof.

Section 13.13   Severability.

                 In case any provision in this Indenture or in the Notes shall be invalid, illegal or unen-
forceable, the validity, legality and enforceability of the remaining provisions shall not in any way be af-
fected or impaired thereby.

Section 13.14   Counterpart Originals.

                 The parties may sign any number of copies of this Indenture. Each signed copy shall be
an original, but all of them together represent the same agreement.

Section 13.15   Table of Contents, Headings, etc.

                 The Table of Contents, Cross-Reference Table and headings of the Articles and Sections
of this Indenture have been inserted for convenience of reference only, are not to be considered a part of
this Indenture and shall in no way modify or restrict any of the terms or provisions hereof.

Section 13.16   Qualification of Indenture.

                  The Issuer and the Guarantors shall qualify this Indenture under the Trust Indenture Act
in accordance with the terms and conditions of the Registration Rights Agreement and shall pay all rea-
sonable costs and expenses (including attorneys’ fees and expenses for the Issuer, the Guarantors and the
Trustee) incurred in connection therewith, including, but not limited to, costs and expenses of qualifica-
tion of this Indenture and the Notes and printing this Indenture and the Notes. The Trustee shall be enti-
tled to receive from the Issuer and the Guarantors any such Officers’ Certificates, Opinions of Counsel or
other documentation as it may reasonably request in connection with any such qualification of this Inden-
ture under the Trust Indenture Act.

Section 13.17   Direction by Holders to Enter into Security Documents, the First Lien
                Intercreditor Agreement and any Second Lien Intercreditor Agreement.

                By accepting a Note, each Holder is deemed to have authorized and directed the Trustee
and the Collateral Agent, as applicable, to enter into the Security Documents, the First Lien Intercreditor
Agreement and any Second Lien Intercreditor Agreement.

                                      [Signatures on following page]




                                                    -125-
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 137 of 771
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 138 of 771
10-16140-mg       Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                         Pg 139 of 771


                                                                                              EXHIBIT A


                                             [Face of Note]


               [Insert the Global Note Legend, if applicable pursuant to the provisions of the Indenture]

               [Insert the Private Placement Legend, if applicable pursuant to the provisions of the In-
denture]

                [Insert the Regulation S Temporary Global Note Legend, if applicable pursuant to the
provisions of the Indenture]




                                                  A-1
10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                         Pg 140 of 771


                                                                                 CUSIP [               ]1
                                                                                   ISIN [               ]



                       [RULE 144A][REGULATION S] [IAI][GLOBAL] NOTE


                            11½% First Lien Senior Secured Notes due 2017


No. ___                                                                              [$______________]


                                   AMO ESCROW CORPORATION


promises to pay to Cede & Co. or registered assigns, the principal sum [set forth on the Schedule of Ex-
changes of Interests in the Global Note or Increase/Decrease in the Principal Amount of the Global Note
attached hereto] [of ________________________ United States Dollars] on December 15, 2017.


Interest Payment Dates: June 15 and December 15

Record Dates: June 1 and December 1




1
          Rule 144A Note CUSIP: 00175KAA2
          Rule 144A Note ISIN: US00175KAA25
          Regulation S Note CUSIP: U03193AA4
          Regulation S Note ISIN: USU03193AA44
          IAI Note CUSIP: 00175KAB0
          IAI Note ISIN: US00175KAB08




                                                  A-2
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 141 of 771


                IN WITNESS HEREOF, the Issuer has caused this instrument to be duly executed.


                                                 AMO ESCROW CORPORATION


                                                 By:
                                                         Name:
                                                         Title:


This is one of the Notes referred to in the within-mentioned Indenture:

                Dated: [____________]

                                                 WILMINGTON TRUST FSB,
                                                   as Trustee


                                                 By:
                                                                  Authorized Signatory




                                                   A-3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 142 of 771


                                               [Back of Note]

                             11½% First Lien Senior Secured Notes due 2017

                Capitalized terms used herein shall have the meanings assigned to them in the Indenture
referred to below unless otherwise indicated.

                 1.       INTEREST. Prior to the consummation of the Assumption (as defined in the In-
denture), the references in this Note to the “Issuer” refers to AMO Escrow Corporation, a Delaware cor-
poration. After the consummation of the Assumption, the references in this Note to the “Issuer” refer
only to American Media Operations, Inc., a Delaware corporation. The Issuer promises to pay interest on
the principal amount of this Security at the rate per annum shown above. The Issuer will pay interest
semiannually on June 15 and December 15 of each year, commencing on June 15, 2011, or if any such
day is not a Business Day, on the next succeeding Business Day. Interest on the Notes shall accrue from
the most recent date to which interest has been paid or, if no interest has been paid, from the issue date of
the Notes. Interest will be computed on the basis of a 360-day year comprised of twelve 30-day months.

                   2.       METHOD OF PAYMENT. The Issuer shall pay interest on the Notes and Addi-
tional Interest, if any, to the Persons who are registered Holders of Notes at the close of business on the
June 1 and December 1 (whether or not a Business Day), as the case may be, next preceding the Interest
Payment Date, even if such Notes are canceled after such record date and on or before such Interest Pay-
ment Date, except as provided in Section 2.12 of the Indenture with respect to defaulted interest. Pay-
ment of interest and Additional Interest, if any, may be made by check mailed to the Holders at their ad-
dresses set forth in the Register of the Holders, provided that [all payments of principal, premium, if any,
and interest on this Notes will be made by wire transfer of immediately available funds to the accounts
specified by the Holder or Holders thereof]2 [all payments of principal, premium, if any, and interest on,
this Note will be made by wire transfer to a U.S. dollar account maintained by the payee with a bank in
the United States if such Holder elects payment by wire transfer by giving written notice to the Trustee or
the Paying Agent to such effect designating such account no later than 30 days immediately preceding the
relevant due date for payment (or such other date as the Trustee may accept in its discretion)]3. Such
payment shall be in such coin or currency of the United States of America as at the time of payment is
legal tender for payment of public and private debts.

                3.      PAYING AGENT AND REGISTRAR. Initially, Wilmington Trust FSB, the
Trustee under the Indenture, shall act as Paying Agent and Registrar. The Issuer may change any Paying
Agent or Registrar without notice to the Holders. The Issuer or any of its Subsidiaries may act in any
such capacity.

                 4.       INDENTURE. The Issuer issued the Notes under an Indenture, dated as of De-
cember 1, 2010 (as amended, modified or supplemented from time to time, the “Indenture”), among
AMO Escrow Corporation, the Trustee and the Collateral Agent. This Note is one of a duly authorized
issue of notes of the Issuer designated as its 11½% First Lien Senior Secured Notes due 2017. The Issuer


2
        Applicable if this Note is represented by a Global Note registered in the name of or held by DTC
        or its nominee on the relevant record date.
3
        Applicable if this Note is represented by a Definitive Note.




                                                    A-4
10-16140-mg          Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 143 of 771


shall be entitled to issue Additional Notes pursuant to Section 2.01 and 4.09 of the Indenture. The terms
of the Notes include those stated in the Indenture and those made part of the Indenture by reference to the
Trust Indenture Act of 1939, as amended (the “Trust Indenture Act”). The Notes are subject to all such
terms, and Holders are referred to the Indenture and such Act for a statement of such terms. To the extent
any provision of this Note conflicts with the express provisions of the Indenture, the provisions of the
Indenture shall govern and be controlling.

                5.       OPTIONAL REDEMPTION.

                   (a)     At any time and from time to time prior to December 15, 2013, the Issuer may
redeem up to 35% of the original principal amount of the Notes (calculated after giving effect to any issu-
ance of Additional Notes) with the net cash proceeds of one or more Equity Offerings at a redemption
price of 111.500% of the principal amount thereof plus accrued and unpaid interest and Additional Inter-
est, if any, to the applicable redemption date (subject to the right of Holders of record on the relevant re-
cord date to receive interest due on the relevant interest payment date); provided that

                 (1)     at least 65% of the original principal amount of the Notes remains outstanding af-
        ter each such redemption; and

                (2)      the redemption occurs within 90 days after the closing of such Equity Offering.

                 (b)       At any time prior to December 15, 2013 the Issuer may redeem all or a part of
the Notes, upon not less than 30 nor more than 60 days’ prior notice mailed by first-class mail to the reg-
istered address of each Holder of Notes, at a redemption price equal to 100% of the principal amount of
the Notes redeemed plus the Applicable Premium as of, and accrued and unpaid interest and Additional
Interest thereon, if any, to the Redemption Date, subject to the rights of Holders of Notes on the relevant
record date to receive interest due on the relevant interest payment date.

                 (c)      During any 12-month period prior to December 15, 2013, the Issuer will be enti-
tled to redeem up to 10% of the aggregate principal amount of the Notes issued under this Indenture at a
redemption price equal to 103.000% of the aggregate principal amount thereof, plus accrued and unpaid
interest and Additional Interest thereon, if any, to the Redemption Date, subject to the right of Holders on
the relevant record date to receive interest due on the relevant interest payment date.

                (d)      On or after December 15, 2013, the Issuer may redeem the Notes, in whole or in
part, upon notice as described in Section 3.03 of the Indenture, at the redemption prices (expressed as
percentages of principal amount of the Notes to be redeemed) set forth below, plus accrued and unpaid
interest and Additional Interest thereon, if any, to the Redemption Date, subject to the right of Holders of
Notes of record on the relevant Record Date to receive interest due on the relevant Interest Payment Date,
if redeemed during the twelve-month period beginning on December 15 of each of the years indicated
below:

             Year                                                                        Percentage
             2013                                                                         108.625%
             2014                                                                         105.750%
             2015                                                                         102.875%
             2016 and thereafter                                                          100.000%

                Any redemption pursuant to this paragraph 5 shall be made pursuant to the provisions of
Sections 3.01 through 3.06 of the Indenture.



                                                    A-5
10-16140-mg          Doc 116    Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 144 of 771


                6.      MANDATORY REDEMPTION. The Issuer shall not be required to make man-
datory redemption or sinking fund payments with respect to the Notes, except pursuant to a Special Man-
datory Redemption pursuant to Section 3.10 of the Indenture. However, the Issuer may be required to
offer to purchase the Notes pursuant to Sections 4.10 and 4.14 of the Indenture. The Issuer may at any
time and from time to time purchase Notes in the open market or otherwise.

                7.       SPECIAL MANDATORY REDEMPTION.

                  (a)      The Notes will be subject to a mandatory redemption (a “Special Mandatory Re-
demption”) in the event that either (i) the Release Date has not occurred on or prior to the Escrow End
Date or (ii) prior to the Escrow End Date, the Issuer has determined, in its reasonable discretion, that the
escrow conditions cannot be satisfied by such date (any such date, a “Trigger Date”). The Issuer will
cause the notice of Special Mandatory Redemption to be mailed to the Escrow Agent, the Trustee and the
Holders of the Notes no later than the next Business Day following the Trigger Date and will redeem the
Notes no later than five Business Days following the date of the notice of Special Mandatory Redemption
(the “Special Mandatory Redemption Date”). The redemption price for any Special Mandatory Redemp-
tion will be 100% of the issue price of the Notes as set forth on the cover of the Offering Memorandum,
together with accrued and unpaid interest on the Notes from the Issue Date up to but not including the
Special Mandatory Redemption Date.

                 (b)     If the Escrow Agent receives a notice of a Special Mandatory Redemption pursu-
ant to the terms of the Notes and the Escrow Agreement, the Escrow Agent will liquidate all Escrow Pro-
ceeds then held by it not later than the last Business Day prior to the Special Mandatory Redemption
Date. Concurrently with release of the amounts necessary to fund the Special Mandatory Redemption to
the paying agent, the Escrow Agent will release any excess of Escrow Proceeds over the mandatory re-
demption price to the Issuer, and the Issuer will be permitted to use such excess Escrow Proceeds at its
discretion

                 8.       NOTICE OF REDEMPTION. Subject to Section 3.03 of the Indenture, notice of
redemption shall be mailed by first-class mail at least 30 days but not more than 60 days before the Re-
demption Date (except that redemption notices may be mailed more than 60 days prior to a Redemption
Date if the notice is issued in connection with Article 8 or Article 13 of the Indenture) to each Holder
whose Notes are to be redeemed at its registered address. Notes shall be redeemed in minimum denomi-
nations of $2,000 and integral multiples of $1,000 in excess thereof; no Notes of $2,000 or less may be
redeemed in part unless all of the Notes held by a Holder are to be redeemed. On and after the Redemp-
tion Date interest ceases to accrue on Notes or portions thereof called for redemption.

                9.       OFFERS TO REPURCHASE.

                (a)      Upon the occurrence of a Change of Control after the Release Date, the Issuer
shall make an offer (a “Change of Control Offer”) to each Holder to repurchase all or any part of each
Holder’s Notes at a purchase price equal to 101% of the aggregate principal amount thereof plus accrued
and unpaid interest and Additional Interest thereon, if any, to the date of purchase (the “Change of Con-
trol Payment”). The Change of Control Offer shall be made in accordance with Section 4.14 of the In-
denture.

                 (b)      Upon the occurrence of Asset Sales, the Issuer may be obligated pursuant to Sec-
tion 4.10 of the Indenture to make offers to purchase Notes and redeem Pari Passu Indebtedness of the
Issuer with a portion of the Net Proceeds of such Asset Sales at a redemption price of 100% of the princi-
pal amount, plus accrued and unpaid interest and Additional Interest, if any, to the date of purchase.



                                                    A-6
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 145 of 771


                 10.     DENOMINATIONS, TRANSFER, EXCHANGE. The Notes are issued initially
in registered form without coupons in minimum denominations of $2,000 and integral multiples of $1,000
in excess thereof. The transfer of Notes may be registered and Notes may be exchanged as provided in
the Indenture. The Registrar and the Trustee may require a Holder, among other things, to furnish appro-
priate endorsements and transfer documents and the Issuer may require a Holder to pay any taxes and fees
required by law or permitted by the Indenture. The Issuer need not exchange or register the transfer of
any Note or portion of a Note selected for redemption, except for the unredeemed portion of any Note
being redeemed in part. Also, the Issuer need not exchange or register the transfer of any Notes for a pe-
riod of 15 days before a selection of Notes to be redeemed.

                 11.      PERSONS DEEMED OWNERS. The registered Holder of a Note may be
treated as its owner for all purposes.

                 12.     AMENDMENT, SUPPLEMENT AND WAIVER. The Indenture, the Security
Documents, the Intercreditor Agreements, the Guarantees or the Notes may be amended or supplemented
as provided in the Indenture.

                  13.       DEFAULTS AND REMEDIES. The Events of Default relating to the Notes are
defined in Section 6.01 of the Indenture. If any Event of Default occurs and is continuing, the Trustee or
the Holders of at least 25% in principal amount of the then outstanding Notes may declare the principal,
premium, if any, interest and any other monetary obligations on all the then outstanding Notes to be due
and payable immediately. Notwithstanding the foregoing, in the case of an Event of Default arising from
certain events of bankruptcy or insolvency, all outstanding Notes shall become due and payable immedi-
ately without further action or notice. Holders may not enforce the Indenture, the Notes or the Guaran-
tees except as provided in the Indenture. Subject to certain limitations, Holders of a majority in aggregate
principal amount of the then outstanding Notes may direct the Trustee in its exercise of any trust or
power. The Trustee may withhold from Holders of the Notes notice of any continuing Default (except a
Default relating to the payment of principal, premium, if any, Additional Interest, if any, or, without du-
plication, interest) if it determines that withholding notice is in their interest. The Holders of a majority in
aggregate principal amount of the Notes then outstanding by notice to the Trustee may on behalf of the
Holders of all of the Notes waive any existing Default or and its consequences under the Indenture except
a continuing Default in payment of the principal of, premium, if any, Additional Interest, if any, or inter-
est on, any of the Notes held by a non-consenting Holder. The Issuer is required to deliver to the Trustee
annually a statement regarding compliance with the Indenture, and the Issuer is required within five (5)
Business Days after becoming aware of any Default, to deliver to the Trustee a statement specifying such
Default and what action the Issuer is taking proposes to take with respect thereto.

                14.      AUTHENTICATION. This Note shall not be entitled to any benefit under the
Indenture or be valid or obligatory for any purpose until authenticated by the manual signature of the
Trustee.

                  15.      ADDITIONAL RIGHTS OF HOLDERS OF RESTRICTED GLOBAL NOTES
AND RESTRICTED DEFINITIVE NOTES. In addition to the rights provided to Holders of Notes under
the Indenture, Holders of Restricted Global Notes and Restricted Definitive Notes shall have all the rights
set forth in the Registration Rights Agreement, dated as of December 1, 2010, between AMO Escrow
Corporation and the Initial Purchasers (the “Registration Rights Agreement”), including the right to re-
ceive Additional Interest (as defined in the Registration Rights Agreement).

           16.   GOVERNING LAW. THE INDENTURE, THIS NOTE AND ANY GUAR-
ANTEE SHALL BE GOVERNED BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF
THE STATE OF NEW YORK.


                                                      A-7
10-16140-mg       Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47               Main Document
                                         Pg 146 of 771


                17.      CUSIP NUMBERS. Pursuant to a recommendation promulgated by the Com-
mittee on Uniform Security Identification Procedures, the Issuer has caused CUSIP numbers to be printed
on the Notes and the Trustee may use CUSIP numbers in notices of redemption as a convenience to Hold-
ers. No representation is made as to the accuracy of such numbers either as printed on the Notes or as
contained in any notice of redemption and reliance may be placed only on the other identification num-
bers placed thereon.

                The Issuer shall furnish to any Holder upon written request and without charge a copy of
the Indenture and/or the Registration Rights Agreement. Requests may be made to the Issuer at the fol-
lowing address:

                c/o American Media Operations, Inc.
                1000 American Media Way
                Boca Raton, FL 33464-1000
                Fax No.: (561) 989-1224
                Attention: General Counsel




                                                  A-8
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 147 of 771


                                          ASSIGNMENT FORM

                To assign this Note, fill in the form below:

(I) or (we) assign and transfer this Note to:
                 (Insert assignee’s legal name)


                                (Insert assignee’s Soc. Sec. or tax I.D. no.)




                            (Print or type assignee’s name, address and zip code)
and irrevocably appoint
to transfer this Note on the books of the Issuer. The agent may substitute another to act for him.

Date: _____________________

                                                  Your Signature:
                                                                    (Sign exactly as your name appears on
                                                                    the face of this Note)


Signature Guarantee*: __________________________________

* Participant in a recognized Signature Guarantee Medallion Program (or other
signature guarantor acceptable to the Trustee).




                                                    A-9
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                          Pg 148 of 771


                            OPTION OF HOLDER TO ELECT PURCHASE

                If you want to elect to have this Note purchased by the Issuer pursuant to Section 4.10 or
4.14 of the Indenture, check the appropriate box below:

                                 [ ] Section 4.10          [ ] Section 4.14

                If you want to elect to have only part of this Note purchased by the Issuer pursuant to
Section 4.10 or Section 4.14 of the Indenture, state the amount you elect to have purchased:

                                           $_______________

Date: _____________________

                                                 Your Signature:
                                                                    (Sign exactly as your name appears on
                                                                    the face of this Note)

                                                    Tax Identification No.:

Signature Guarantee*: __________________________________

* Participant in a recognized Signature Guarantee Medallion Program (or other
signature guarantor acceptable to the Trustee).




                                                    A-10
10-16140-mg         Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                          Pg 149 of 771


            SCHEDULE OF EXCHANGES OF INTERESTS IN THE GLOBAL NOTE OR
         INCREASE/DECREASE IN THE PRINCIPAL AMOUNT OF THE GLOBAL NOTE*

                The initial outstanding principal amount of this Global Note is $__________. The fol-
lowing exchanges of a part of this Global Note for an interest in another Global Note or for a Definitive
Note, or exchanges of a part of another Global or Definitive Note for an interest in this Global Note or
increase/decrease in the principal amount of this Global Note, have been made:

                                                                   Principal Amount
                                                                           of
                        Amount of         Amount of increase       this Global Note         Signature of
Date of Exchange         decrease           in Principal            following such       authorized officer
        or             in Principal        Amount of this             decrease or          of Trustee or
Increase/Decrease        Amount             Global Note                 increase             Custodian




__________________
*This schedule should be included only if the Note is issued in global form.




                                                   A-11
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 150 of 771


                                                                                                 EXHIBIT B


                               FORM OF CERTIFICATE OF TRANSFER


AMO Escrow Corporation
American Media Operations, Inc.
1000 American Media Way
Boca Raton, FL 33464-1000
Fax No.: (561) 989-1224
Attention: General Counsel

Wilmington Trust FSB, as Trustee and Registrar
50 South Sixth Street, Suite 1290
Drop code 7100
Minneapolis, MN 55402-1544
Attention: Corporate Client Services
Fax No.: 612-217-5651

                Re: 11½% First Lien Senior Secured Notes due 2017

                Reference is hereby made to the Indenture, dated as of December 1, 2010 (the “Inden-
ture”), between AMO Escrow Corporation, the Collateral Agent and the Trustee. Capitalized terms used
but not defined herein shall have the meanings given to them in the Indenture.

                  _______________ (the “Transferor”) owns and proposes to transfer the Note[s] or inter-
est in such Note[s] specified in Annex A hereto, in the principal amount of $___________ in such Note[s]
or interests (the “Transfer”), to _______________ (the “Transferee”), as further specified in Annex A
hereto. In connection with the Transfer, the Transferor hereby certifies that:

                                      [CHECK ALL THAT APPLY]

                  1.       [ ] CHECK IF TRANSFEREE WILL TAKE DELIVERY OF A BENEFICIAL
INTEREST IN THE 144A GLOBAL NOTE OR A DEFINITIVE NOTE PURSUANT TO RULE 144A.
The Transfer is being effected pursuant to and in accordance with Rule 144A under the United States Se-
curities Act of 1933, as amended (the “Securities Act”), and, accordingly, the Transferor hereby further
certifies that the beneficial interest or Definitive Note is being transferred to a Person that the Transferor
reasonably believes is purchasing the beneficial interest or Definitive Note for its own account, or for one
or more accounts with respect to which such Person exercises sole investment discretion, and such Person
and each such account is a “qualified institutional buyer” within the meaning of Rule 144A in a transac-
tion meeting the requirements of Rule 144A and such Transfer is in compliance with any applicable blue
sky securities laws of any state of the United States.

                2.       [ ] CHECK IF TRANSFEREE WILL TAKE DELIVERY OF A BENEFICIAL
INTEREST IN THE REGULATION S GLOBAL NOTE OR A DEFINITIVE NOTE PURSUANT TO
REGULATION S. The Transfer is being effected pursuant to and in accordance with Rule 903 or Rule
904 under the Securities Act and, accordingly, the Transferor hereby further certifies that (i) the Transfer
is not being made to a person in the United States and (x) at the time the buy order was originated, the
Transferee was outside the United States or such Transferor and any Person acting on its behalf reasona-
bly believed and believes that the Transferee was outside the United States or (y) the transaction was exe-


                                                     B-1
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 151 of 771


cuted in, on or through the facilities of a designated offshore securities market and neither such Trans-
feror nor any Person acting on its behalf knows that the transaction was prearranged with a buyer in the
United States, (ii) no directed selling efforts have been made in contravention of the requirements of Rule
903(b) or Rule 904(b) of Regulation S under the Securities Act (iii) the transaction is not part of a plan or
scheme to evade the registration requirements of the Securities Act and (iv) if the proposed transfer is
being made prior to the expiration of the Restricted Period, the transfer is not being made to a U.S. Person
or for the account or benefit of a U.S. Person (other than an Initial Purchaser). Upon consummation of
the proposed transfer in accordance with the terms of the Indenture, the transferred beneficial interest or
Definitive Note shall be subject to the restrictions on Transfer enumerated in the Indenture and the Secu-
rities Act.

                3.        [ ] CHECK AND COMPLETE IF TRANSFEREE WILL TAKE DELIVERY
OF A BENEFICIAL INTEREST IN A RESTRICTED GLOBAL NOTE OR A RESTRICTED DEFINI-
TIVE NOTE PURSUANT TO ANY PROVISION OF THE SECURITIES ACT OTHER THAN RULE
144A OR REGULATION S. The Transfer is being effected in compliance with the transfer restrictions
applicable to beneficial interests in Restricted Global Notes and Restricted Definitive Notes and pursuant
to and in accordance with the Securities Act and any applicable blue sky securities laws of any state of
the United States, and accordingly the Transferor hereby further certifies that (check one):

                (a)     [ ] such Transfer is being effected pursuant to and in accordance with Rule 144
        under the Securities Act;

                                                     or

                (b)      [ ] such Transfer is being effected to the Issuer or a subsidiary thereof;

                                                     or

                 (c)    [ ] such Transfer is being effected pursuant to an effective registration statement
        under the Securities Act and in compliance with the prospectus delivery requirements of the Se-
        curities Act;

                                                     or

                 (d)     [ ] such Transfer is being effect to an institutional “accredited investor” (as de-
        fined in Rule 501(a)(1),(2),(3) or (7) under the Securities Act of 1933) that has furnished to the
        Trustee a signed letter containing certain representations and agreements, in the form which is at-
        tached to the Indenture.

            4.    [ ] CHECK IF TRANSFEREE WILL TAKE DELIVERY OF A BENEFICIAL
INTEREST IN AN UNRESTRICTED GLOBAL NOTE OR OF AN UNRESTRICTED DEFINITIVE
NOTE.

                  (a)      [ ] CHECK IF TRANSFER IS PURSUANT TO RULE 144. (i) The Transfer is
being effected pursuant to and in accordance with Rule 144 under the Securities Act and in compliance
with the transfer restrictions contained in the Indenture and any applicable blue sky securities laws of any
state of the United States and (ii) the restrictions on transfer contained in the Indenture and the Private
Placement Legend are not required in order to maintain compliance with the Securities Act. Upon con-
summation of the proposed Transfer in accordance with the terms of the Indenture, the transferred benefi-
cial interest or Definitive Note shall no longer be subject to the restrictions on transfer enumerated in the



                                                    B-2
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 152 of 771


Private Placement Legend printed on the Restricted Global Notes, on Restricted Definitive Notes and in
the Indenture.

                  (b)     [ ] CHECK IF TRANSFER IS PURSUANT TO REGULATION S. (i) The
Transfer is being effected pursuant to and in accordance with Rule 903 or Rule 904 under the Securities
Act and in compliance with the transfer restrictions contained in the Indenture and any applicable blue
sky securities laws of any state of the United States and (ii) the restrictions on transfer contained in the
Indenture and the Private Placement Legend are not required in order to maintain compliance with the
Securities Act. Upon consummation of the proposed Transfer in accordance with the terms of the Inden-
ture, the transferred beneficial interest or Definitive Note shall no longer be subject to the restrictions on
transfer enumerated in the Private Placement Legend printed on the Restricted Global Notes, on Re-
stricted Definitive Notes and in the Indenture.

                  (c)     [ ] CHECK IF TRANSFER IS PURSUANT TO OTHER EXEMPTION. (i) The
Transfer is being effected pursuant to and in compliance with an exemption from the registration re-
quirements of the Securities Act other than Rule 144, Rule 903 or Rule 904 and in compliance with the
transfer restrictions contained in the Indenture and any applicable blue sky securities laws of any State of
the United States and (ii) the restrictions on transfer contained in the Indenture and the Private Placement
Legend are not required in order to maintain compliance with the Securities Act. Upon consummation of
the proposed Transfer in accordance with the terms of the Indenture, the transferred beneficial interest or
Definitive Note shall not be subject to the restrictions on transfer enumerated in the Private Placement
Legend printed on the Restricted Global Notes or Restricted Definitive Notes and in the Indenture.




                                                     B-3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                          Pg 153 of 771


                 This certificate and the statements contained herein are made for your benefit and the
benefit of the Issuer.

                                                 [Insert Name of Transferor]


                                                 By:
                                                          Name:
                                                          Title:


Dated: _______________________




                                                    B-4
10-16140-mg        Doc 116    Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                        Pg 154 of 771


                                                          ANNEX A TO CERTIFICATE OF TRANSFER


              1.      The Transferor owns and proposes to transfer the following:

                                    [CHECK ONE OF (a) OR (b)]

              (a)     [ ] a beneficial interest in the:

                      (i)     [ ] 144A Global Note (CUSIP 00175KAA2), or

                      (ii)    [ ] Regulation S Global Note (CUSIP U03193AA4), or

                      (iii)   [ ] IAI Global Note (CUSIP 00175KAB0), or

              (b)     [ ] a Restricted Definitive Note.

              2.      After the Transfer the Transferee shall hold:

                                            [CHECK ONE]

              (a)     [ ] a beneficial interest in the:

                      (i)     [ ] 144A Global Note (CUSIP 00175KAA2), or

                      (ii)    [ ] Regulation S Global Note (CUSIP U03193AA4), or

                      (iii)   [ ] IAI Global Note (CUSIP 00175KAB0), or

                      (iv)    [ ] Unrestricted Global Note; or

              (b)     [ ] a Restricted Definitive Note; or

              (c)     [ ] an Unrestricted Definitive Note,
                      in accordance with the terms of the Indenture.




                                                   B-5
10-16140-mg       Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 155 of 771


                                                                                               EXHIBIT C


                              FORM OF CERTIFICATE OF EXCHANGE


AMO Escrow Corporation
American Media Operations, Inc.
1000 American Media Way
Boca Raton, FL 33464-1000
Fax No.: (561) 989-1224
Attention: General Counsel

Wilmington Trust FSB, as Trustee and Registrar
50 South Sixth Street, Suite 1290
Drop code 7100
Minneapolis, MN 55402-1544
Attention: Corporate Client Services
Fax No.: 612-217-5651

                Re: 11½% First Lien Senior Secured Notes due 2017

                Reference is hereby made to the Indenture, dated as of December 1, 2010 (the “Inden-
ture”), between AMO Escrow Corporation, the Collateral Agent and the Trustee. Capitalized terms used
but not defined herein shall have the meanings given to them in the Indenture.

                ___________ (the “Owner”) owns and proposes to exchange the Note[s] or interest in
such Note[s] specified herein, in the principal amount of $__________ in such Note[s] or interests (the
“Exchange”). In connection with the Exchange, the Owner hereby certifies that:

            1)    EXCHANGE OF RESTRICTED DEFINITIVE NOTES OR BENEFICIAL IN-
TERESTS IN A RESTRICTED GLOBAL NOTE FOR UNRESTRICTED DEFINITIVE NOTES OR
BENEFICIAL INTERESTS IN AN UNRESTRICTED GLOBAL NOTE

                 a)       [ ] CHECK IF EXCHANGE IS FROM BENEFICIAL INTEREST IN A RE-
        STRICTED GLOBAL NOTE TO BENEFICIAL INTEREST IN AN UNRESTRICTED
        GLOBAL NOTE. In connection with the Exchange of the Owner’s beneficial interest in a Re-
        stricted Global Note for a beneficial interest in an Unrestricted Global Note in an equal principal
        amount, the Owner hereby certifies (i) the beneficial interest is being acquired for the Owner’s
        own account without transfer, (ii) such Exchange has been effected in compliance with the trans-
        fer restrictions applicable to the Global Notes and pursuant to and in accordance with the United
        States Securities Act of 1933, as amended (the “Securities Act”), (iii) the restrictions on transfer
        contained in the Indenture and the Private Placement Legend are not required in order to maintain
        compliance with the Securities Act and (iv) the beneficial interest in an Unrestricted Global Note
        is being acquired in compliance with any applicable blue sky securities laws of any state of the
        United States.

                b)      [ ] CHECK IF EXCHANGE IS FROM BENEFICIAL INTEREST IN A RE-
        STRICTED GLOBAL NOTE TO UNRESTRICTED DEFINITIVE NOTE. In connection with
        the Exchange of the Owner’s beneficial interest in a Restricted Global Note for an Unrestricted
        Definitive Note, the Owner hereby certifies (i) the Definitive Note is being acquired for the


                                                    C-1
10-16140-mg    Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                       Pg 156 of 771


     Owner’s own account without transfer, (ii) such Exchange has been effected in compliance with
     the transfer restrictions applicable to the Restricted Global Notes and pursuant to and in accor-
     dance with the Securities Act, (iii) the restrictions on transfer contained in the Indenture and the
     Private Placement Legend are not required in order to maintain compliance with the Securities
     Act and (iv) the Definitive Note is being acquired in compliance with any applicable blue sky se-
     curities laws of any state of the United States.

              c)       [ ] CHECK IF EXCHANGE IS FROM RESTRICTED DEFINITIVE NOTE TO
     BENEFICIAL INTEREST IN AN UNRESTRICTED GLOBAL NOTE. In connection with the
     Owner’s Exchange of a Restricted Definitive Note for a beneficial interest in an Unrestricted
     Global Note, the Owner hereby certifies (i) the beneficial interest is being acquired for the
     Owner’s own account without transfer, (ii) such Exchange has been effected in compliance with
     the transfer restrictions applicable to Restricted Definitive Notes and pursuant to and in accor-
     dance with the Securities Act, (iii) the restrictions on transfer contained in the Indenture and the
     Private Placement Legend are not required in order to maintain compliance with the Securities
     Act and (iv) the beneficial interest is being acquired in compliance with any applicable blue sky
     securities laws of any state of the United States.

              d)       [ ] CHECK IF EXCHANGE IS FROM RESTRICTED DEFINITIVE NOTE TO
     UNRESTRICTED DEFINITIVE NOTE. In connection with the Owner’s Exchange of a Re-
     stricted Definitive Note for an Unrestricted Definitive Note, the Owner hereby certifies (i) the
     Unrestricted Definitive Note is being acquired for the Owner’s own account without transfer, (ii)
     such Exchange has been effected in compliance with the transfer restrictions applicable to Re-
     stricted Definitive Notes and pursuant to and in accordance with the Securities Act, (iii) the re-
     strictions on transfer contained in the Indenture and the Private Placement Legend are not re-
     quired in order to maintain compliance with the Securities Act and (iv) the Unrestricted Defini-
     tive Note is being acquired in compliance with any applicable blue sky securities laws of any
     state of the United States.

            2)     EXCHANGE OF RESTRICTED DEFINITIVE NOTES OR BENEFICIAL IN-
TERESTS IN RESTRICTED GLOBAL NOTES FOR RESTRICTED DEFINITIVE NOTES OR BENE-
FICIAL INTERESTS IN RESTRICTED GLOBAL NOTES

              a)      [ ] CHECK IF EXCHANGE IS FROM BENEFICIAL INTEREST IN A RE-
     STRICTED GLOBAL NOTE TO RESTRICTED DEFINITIVE NOTE. In connection with the
     Exchange of the Owner’s beneficial interest in a Restricted Global Note for a Restricted Defini-
     tive Note with an equal principal amount, the Owner hereby certifies that the Restricted Defini-
     tive Note is being acquired for the Owner’s own account without transfer. Upon consummation
     of the proposed Exchange in accordance with the terms of the Indenture, the Restricted Definitive
     Note issued shall continue to be subject to the restrictions on transfer enumerated in the Private
     Placement Legend printed on the Restricted Definitive Note and in the Indenture and the Securi-
     ties Act.

             b)       [ ] CHECK IF EXCHANGE IS FROM RESTRICTED DEFINITIVE NOTE TO
     BENEFICIAL INTEREST IN A RESTRICTED GLOBAL NOTE. In connection with the Ex-
     change of the Owner’s Restricted Definitive Note for a beneficial interest in the [CHECK ONE]
     [ ] 144A Global Note [ ] Regulation S Global Note [ ] IAI Global Note, with an equal princi-
     pal amount, the Owner hereby certifies (i) the beneficial interest is being acquired for the
     Owner’s own account without transfer and (ii) such Exchange has been effected in compliance
     with the transfer restrictions applicable to the Restricted Global Notes and pursuant to and in ac-
     cordance with the Securities Act, and in compliance with any applicable blue sky securities laws


                                                 C-2
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 157 of 771


        of any state of the United States. Upon consummation of the proposed Exchange in accordance
        with the terms of the Indenture, the beneficial interest issued shall be subject to the restrictions on
        transfer enumerated in the Private Placement Legend printed on the relevant Restricted Global
        Note and in the Indenture and the Securities Act.

                 This certificate and the statements contained herein are made for your benefit and the
benefit of the Issuer and are dated ______________________.

                                                   [Insert Name of Transferor]


                                                   By:
                                                           Name:
                                                           Title:


Dated: _______________________




                                                     C-3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 158 of 771


                                                                                                EXHIBIT D


                           [FORM OF SUPPLEMENTAL INDENTURE
                      TO BE DELIVERED BY SUBSEQUENT GUARANTORS]


                 SUPPLEMENTAL INDENTURE (this “Supplemental Indenture”) dated as of
[         ], among [GUARANTOR] (the “Guaranteeing Subsidiary”), AMO ESCROW CORPORA-
TION, a Delaware corporation (to be merged with and into AMERICAN MEDIA OPERATIONS, INC.,
a Delaware corporation, as the surviving entity) (the “Issuer”),1 and WILMINGTON TRUST FSB, as
trustee and collateral agent under the indenture referred to below (collectively in such capacities, the
“Trustee”).

                                           W I T N E S S E T H:

                WHEREAS, the Issuer has heretofore executed and delivered to the Trustee an indenture
(the “Indenture”), dated as of December 1, 2010, providing for the initial issuance of $385,000,000 ag-
gregate principal amount of 11½% First Lien Senior Secured Notes due 2017 (the “Notes”);

                WHEREAS, the Indenture provides that under certain circumstances the Guaranteeing
Subsidiary shall execute and deliver to the Trustee a supplemental indenture pursuant to which the Guar-
anteeing Subsidiary shall unconditionally guarantee all of the Issuer’s Obligations under the Notes and
the Indenture on the terms and conditions set forth herein and under the Indenture (the “Guarantee”); and

                WHEREAS, pursuant to Section 9.01 of the Indenture, the Trustee is authorized to exe-
cute and deliver this Supplemental Indenture.

                 NOW THEREFORE, in consideration of the foregoing and for other good and valuable
consideration, the receipt of which is hereby acknowledged, the parties mutually covenant and agree for
the equal and ratable benefit of the Holders of the Notes as follows:

               (1)      Capitalized Terms. Capitalized terms used herein without definition shall have
the meanings assigned to them in the Indenture.

                (2)     Agreement to Guarantee. The Guaranteeing Subsidiary hereby agrees as fol-
lows:

                (a)      The Guaranteeing Subsidiary hereby becomes a party to the Indenture as a Guar-
        antor and as such will have all of the rights and be subject to all of the obligations and agreements
        of a Guarantor under the Indenture. The Guaranteeing Subsidiary agrees to be bound by all of the
        provisions of the Indenture applicable to a Guarantor and to perform all of the obligations and
        agreements of a Guarantor under the Indenture.




1
        Delete this reference if supplemental indenture Exhibit E is signed prior to signing of this Sup-
        plemental Indenture.




                                                    D-1
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 159 of 771


                (b)     The Guaranteeing Subsidiary agrees, on a joint and several basis with all the ex-
        isting Guarantors, to fully, unconditionally and irrevocably Guarantee to each Holder of the Notes
        and the Trustee the Obligations pursuant to Article 11 of the Indenture on a senior basis.

                 (3)      Execution and Delivery. The Guaranteeing Subsidiary agrees that the Guarantee
shall remain in full force and effect notwithstanding the absence of the endorsement of any notation of
such Guarantee on the Notes.

           (4)  Governing Law. THIS SUPPLEMENTAL INDENTURE SHALL BE GOV-
ERNED BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF NEW
YORK

               (5)     Counterparts. The parties may sign any number of copies of this Supplemental
Indenture. Each signed copy shall be an original, but all of them together represent the same agreement.

                  (6)     Effect of Headings. The Section headings herein are for convenience only and
shall not affect the construction hereof.

                  (7)     The Trustee. The Trustee shall not be responsible in any manner whatsoever for
or in respect of the validity or sufficiency of this Supplemental Indenture or for or in respect of the recit-
als contained herein, all of which recitals are made solely by the Guaranteeing Subsidiary.




                                                     D-2
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                       Pg 160 of 771


               IN WITNESS WHEREOF, the parties hereto have caused this Supplemental Indenture to
be duly executed, all as of the date first above written.

                                            [GUARANTEEING SUBSIDIARY]


                                            By:
                                                    Name:
                                                    Title:


                                            WILMINGTON TRUST FSB, as Trustee and Collateral
                                              Agent


                                            By:
                                                    Name:
                                                    Title:


Acknowledged by:

AMERICAN MEDIA OPERATIONS, INC.


By:
      Name:
      Title:




                                              D-3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 161 of 771


                                                                                                EXHIBIT E


                [FORM OF SUPPLEMENTAL INDENTURE RELATED TO ASSUMPTION]

                  SUPPLEMENTAL INDENTURE (this “Supplemental Indenture”) dated as of [                ],
201[ ], among AMERICAN MEDIA OPERATIONS, INC., a Delaware corporation (the “New Com-
pany”), the subsidiaries of the New Company set forth on the signature page hereto (the “Guarantors”)
and WILMINGTON TRUST FSB, as trustee and collateral agent under the indenture referred to below
(collectively in such capacities, the “Trustee”).

                                          W I T N E S S E T H:

                 WHEREAS, AMO Escrow Corporation (the “Company”) has heretofore executed and
delivered to the Trustee an indenture (as amended, supplemented or otherwise modified, the “Indenture”)
dated as of December 1, 2010, providing for the issuance of the Company’s (i) $385,000,000 aggregate
principal amount of the 11½% First Lien Senior Secured Notes due 2017 (the “Notes”);

               WHEREAS, pursuant to Section 9.01 of the Indenture, the Trustee, the New Company
and the Guarantors are authorized to execute and deliver this Supplemental Indenture;

                 NOW THEREFORE, in consideration of the foregoing and for other good and valuable
consideration, the receipt of which is hereby acknowledged, the New Company, the Guarantors and the
Trustee mutually covenant and agree for the equal and ratable benefit of the holders of the Notes as fol-
lows:

                1.       Defined Terms. As used in this Supplemental Indenture, terms defined in the In-
        denture or in the preamble or recital hereto are used herein as therein defined, except that the term
        “Holders” in this Supplemental Indenture shall refer to the term “Holders” as defined in the In-
        denture and the Trustee acting on behalf of and for the benefit of such Holders. The words
        “herein,” “hereof” and “hereby” and other words of similar import used in this Supplemental In-
        denture refer to this Supplemental Indenture as a whole and not to any particular section hereof.

                 2.      Agreement to Assume Obligations. The New Company hereby agrees to uncon-
        ditionally assume the Company’s Obligations under the Notes and the Indenture on the terms and
        subject to the conditions set forth in the Indenture and to be bound by all applicable provisions of
        the Indenture and the Notes and to perform all of the obligations and agreements of the Company
        under the Indenture.

                 3.       Agreement to Guarantee. The Guarantors hereby agree, jointly and severally,
        with all existing guarantors (if any), to unconditionally guarantee the New Company’s Obliga-
        tions under the Notes and the Indenture on the terms and subject to the conditions set forth in Ar-
        ticle 11 of the Indenture and to be bound by all other applicable provisions of the Indenture and
        the Notes and to perform all of the obligations and agreements of a guarantor under the Indenture.

               4.       Notices. All notices or other communications to the New Company and the
        Guarantors shall be given as provided in Section 13.02 of the Indenture.

                5.      Ratification of Indenture; Supplemental Indentures Part of Indenture. Except as
        expressly amended hereby, the Indenture is in all respects ratified and confirmed and all the
        terms, conditions and provisions thereof shall remain in full force and effect. This Supplemental


                                                    E-1
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                       Pg 162 of 771


     Indenture shall form a part of the Indenture for all purposes, and every Holder of Notes heretofore
     or hereafter authenticated and delivered shall be bound hereby.

             6.       Release of Obligations of Escrow Company. Upon execution of this Supplemen-
     tal Indenture by the New Company and the Trustee, AMO Escrow Corporation is released and
     discharged from all obligations under the Indenture and the Notes.

          7.    Governing Law. THIS SUPPLEMENTAL INDENTURE SHALL BE GOV-
     ERNED BY, AND CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE STATE
     OF NEW YORK.

              8.       Trustee Makes No Representation. The Trustee makes no representation as to
     the validity or sufficiency of this Supplemental Indenture or for or in respect of the recitals con-
     tained herein, all of which recitals are made solely by the New Company.

             9.     Counterparts. The parties may sign any number of copies of this Supplemental
     Indenture. Each signed copy shall be an original, but all of them together represent the same
     agreement.

             10.       Effect of Headings. The Section headings herein are for convenience only and
     shall not effect the construction thereof.




                                                  E-2
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                       Pg 163 of 771


               IN WITNESS WHEREOF, the parties hereto have caused this Supplemental Indenture to
be duly executed as of the date first above written.


                                            AMERICAN MEDIA OPERATIONS, INC.


                                            By:
                                                    Name:
                                                    Title:


                                            [GUARANTORS]


                                            By:
                                                    Name:
                                                    Title:


                                            WILMINGTON TRUST FSB, as Trustee and Collateral
                                              Agent


                                            By:
                                                    Name:
                                                    Title:




                                              E-3
10-16140-mg          Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 164 of 771


                                                                                                 EXHIBIT F


                               FORM OF CERTIFICATE FROM
                             ACQUIRING ACCREDITED INVESTOR


AMO Escrow Corporation
American Media Operations, Inc.
1000 American Media Way
Boca Raton, FL 33464-1000
Fax No.: (561) 989-1224
Attention: General Counsel

Wilmington Trust FSB, as Trustee and Registrar
50 South Sixth Street, Suite 1290
Drop code 7100
Minneapolis, MN 55402-1544
Attention: Corporate Client Services
Fax No.: 612-217-5651

                           Re: 11½% First Lien Senior Secured Notes due 2017

                Reference is hereby made to the Indenture, dated as of December 1, 2010 (the “Inden-
ture”), between AMO Escrow Corporation, a Delaware corporation (the “Company”), and Wilmington
Trust FSB, as trustee and collateral agent. Capitalized terms used but not defined herein shall have the
meanings given to them in the Indenture.

                In connection with our proposed purchase of $____________ aggregate principal amount
of:

                   (i)    a beneficial interest in a Global Note, or

                (ii)      a Definitive Note,

we confirm that:

                 1.        We understand that any subsequent transfer of the Notes or any interest therein is
subject to certain restrictions and conditions set forth in the Indenture, and the undersigned agrees to be
bound by, and not to resell, pledge or otherwise transfer the Notes or any interest therein except in com-
pliance with, such restrictions and conditions and the United States Securities Act of 1933, as amended
(the “Securities Act”).

                  2.      We understand that the offer and sale of the Notes have not been registered under
the Securities Act, and that the Notes and any interest therein may not be offered or sold except as permit-
ted in the following sentence. We agree, on our own behalf and on behalf of any accounts for which we
are acting as hereinafter stated, that if we should sell the Notes or any interest therein, we will do so only
(a) to the Company (b) so long as the Notes are eligible for resale pursuant to Rule 144A under the Secu-
rities Act to a person whom we reasonably believe is a qualified institutional buyer within the meaning of
Rule 144A purchasing for its own account or for the account of a qualified institutional buyer, in each
case, to whom notice is given that the offer, resale, pledge or other transfer is being made in reliance on


                                                     F-1
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 165 of 771


Rule 144A, (c) to non-U.S. persons in offshore transactions in accordance with Rule 904 of Regulation S
under the Securities Act, (d) pursuant to Rule 144 under the Securities Act, (e) pursuant to an effective
registration statement under the Securities Act or (f) in any other transaction that does not require regis-
tration under the Securities Act, and we further agree to provide to any person purchasing the Definitive
Note or beneficial interest in a Global Note from us in a transaction meeting the requirements of any of
clauses (a) through (f) of this paragraph a notice advising such purchaser that resales thereof are restricted
as stated herein.

                 3.      We understand that, on any proposed resale of the Notes or beneficial interest
therein, we will be required to furnish to you and the Company such certifications, legal opinions and
other information as you and the Company may reasonably require to confirm that the proposed sale
complies with the foregoing restrictions. We further understand that the Notes purchased by us will bear
a legend to the foregoing effect.

                 4.      We are an institutional “accredited investor” (as defined in Rule 501(a)(1), (2),
(3) or (7) of Regulation D under the Securities Act) and have such knowledge and experience in financial
and business matters as to be capable of evaluating the merits and risks of our investment in the Notes,
and we and any accounts for which we are acting are each able to bear the economic risk of our or its in-
vestment.

               5.       We are acquiring the Notes or beneficial interest therein purchased by us for our
own account or for one or more accounts (each of which is an institutional “accredited investor”) as to
each of which we exercise sole investment discretion.

                 6.      We are acquiring a minimum principal amount of $250,000 of the Notes for in-
vestment purposes and not with a view to or for offer or sale in connection with any distribution in viola-
tion of the Securities Act.

                 You and the Company are entitled to rely upon this letter and are irrevocably authorized
to produce this letter or a copy to any interested party in any administrative or legal proceedings or offi-
cial inquiry with respect to the matters covered hereby.


                                                      [Insert Name of Transferor]


                                                  By:
                                                           Name:
                                                           Title:


Dated: ___________________________




                                                     F-2
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 166 of 771



                                  EXHIBIT B

                           New Second Lien Indenture
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 167 of 771

                                                                          AGSH&F
                                                                   December 15, 2010




                                    INDENTURE

                            Dated as of December [ ], 2010

                                       Among

                             AMERICAN MEDIA, INC.,

          THE GUARANTORS NAMED ON THE SIGNATURE PAGES HERETO

                                         and

                            WILMINGTON TRUST FSB,
                            as Trustee and Collateral Agent


               13½% SECOND LIEN SENIOR SECURED NOTES DUE 2018




                                                                         100432088 v3
10-16140-mg                Doc 116            Filed 12/15/10 Entered 12/15/10 23:40:47                                        Main Document
                                                        Pg 168 of 771


                                                     CROSS-REFERENCE TABLE*

Trust Indenture Act Section                                                                                                   Indenture Section
310 (a)(1) .........................................................................................................................          7.10
    (a)(2) .........................................................................................................................          7.10
    (a)(3) .........................................................................................................................          N.A.
    (a)(4) .........................................................................................................................          N.A.
    (a)(5) .........................................................................................................................          7.10
    (b)..............................................................................................................................         7.10
    (c) ..............................................................................................................................        N.A.
311 (a) ..............................................................................................................................        7.11
    (b)..............................................................................................................................         7.11
    (c) ..............................................................................................................................        N.A.
312 (a) ..............................................................................................................................        2.05
    (b)..............................................................................................................................        13.03
    (c) ..............................................................................................................................       13.03
313 (a) ..............................................................................................................................        7.06
    (b)(1) .........................................................................................................................         10.03
    (b)(2) ......................................................................................................................... 7.06; 7.07; 10.02
    (c) .............................................................................................................................. 7.06; 13.02; 10.02
    (d)..............................................................................................................................         7.06
314 (a) .............................................................................................................................. 4.03; 13.02; 13.05
    (b)..............................................................................................................................        10.02
    (c)(1) .........................................................................................................................         13.04
    (c)(2) .........................................................................................................................         13.04
    (c)(3) .........................................................................................................................          N.A.
    (d)..............................................................................................................................        10.02
    (e) ..............................................................................................................................       13.05
    (f) ..............................................................................................................................        N.A.
315 (a) ..............................................................................................................................        7.01
    (b)..............................................................................................................................     7.05; 13.02
    (c) ..............................................................................................................................        7.01
    (d)..............................................................................................................................         7.01
    (e) ..............................................................................................................................        6.14
316 (a)(last sentence) .......................................................................................................                2.09
    (a)(1)(A)....................................................................................................................             6.05
    (a)(1)(B) ....................................................................................................................            6.04
    (a)(2) .........................................................................................................................          N.A.
    (b)..............................................................................................................................         6.07
    (c) ..............................................................................................................................     2.12; 9.04
317 (a)(1) .........................................................................................................................          6.08
    (a)(2) .........................................................................................................................          6.12
    (b)..............................................................................................................................         2.04
318 (a) ..............................................................................................................................       13.01
    (b)..............................................................................................................................         N.A.
    (c) ..............................................................................................................................       13.01

N.A. means not applicable.
* This Cross-Reference Table is not part of the Indenture.



                                                                                                                                        100432088 v3
10-16140-mg     Doc 116             Filed 12/15/10 Entered 12/15/10 23:40:47                                            Main Document
                                              Pg 169 of 771


                                                 TABLE OF CONTENTS

                                                                                                                                             Page

                                                          ARTICLE 1

                     DEFINITIONS AND INCORPORATION BY REFERENCE

Section 1.01   Definitions ........................................................................................................................ 2
Section 1.02   Other Definitions ............................................................................................................ 31
Section 1.03   Incorporation by Reference of Trust Indenture Act ....................................................... 32
Section 1.04   Rules of Construction ..................................................................................................... 32
Section 1.05   Acts of Holders .............................................................................................................. 33

                                                          ARTICLE 2

                                                          THE NOTES

Section 2.01   Form and Dating; Terms ................................................................................................ 34
Section 2.02   Execution and Authentication ........................................................................................ 36
Section 2.03   Registrar and Paying Agent............................................................................................ 36
Section 2.04   Paying Agent To Hold Money in Trust .......................................................................... 37
Section 2.05   Holder Lists .................................................................................................................... 37
Section 2.06   Transfer and Exchange ................................................................................................... 37
Section 2.07   Replacement Notes......................................................................................................... 49
Section 2.08   Outstanding Notes .......................................................................................................... 49
Section 2.09   Treasury Notes ............................................................................................................... 49
Section 2.10   Temporary Notes ............................................................................................................ 50
Section 2.11   Cancellation.................................................................................................................... 50
Section 2.12   Defaulted Interest ........................................................................................................... 50
Section 2.13   CUSIP and ISIN Numbers ............................................................................................. 51

                                                          ARTICLE 3

                                                        REDEMPTION

Section 3.01   Notices to Trustee........................................................................................................... 51
Section 3.02   Selection of Notes To Be Redeemed or Purchased ........................................................ 51
Section 3.03   Notice of Redemption .................................................................................................... 52
Section 3.04   Effect of Notice of Redemption ..................................................................................... 52
Section 3.05   Deposit of Redemption or Purchase Price ...................................................................... 53
Section 3.06   Notes Redeemed or Purchased in Part ........................................................................... 53
Section 3.07   Optional Redemption ..................................................................................................... 53
Section 3.08   Mandatory Redemption .................................................................................................. 54
Section 3.09   Offers to Repurchase by Application of Excess Proceeds ............................................. 54

                                                          ARTICLE 4

                                                        COVENANTS

Section 4.01   Payment of Notes ........................................................................................................... 56

                                                                  -i-
                                                                                                                                   100432088 v3
10-16140-mg     Doc 116             Filed 12/15/10 Entered 12/15/10 23:40:47                                              Main Document
                                              Pg 170 of 771

                                                                                                                                               Page

Section 4.02   Maintenance of Office or Agency .................................................................................. 56
Section 4.03   Reports and Other Information ...................................................................................... 57
Section 4.04   Compliance Certificate ................................................................................................... 58
Section 4.05   Taxes .............................................................................................................................. 58
Section 4.06   Stay, Extension and Usury Laws.................................................................................... 58
Section 4.07   Limitation on Restricted Payments ................................................................................ 59
Section 4.08   Dividend and Other Payment Restrictions Affecting Restricted Subsidiaries ............... 64
Section 4.09   Limitation on Incurrence of Indebtedness and Issuance of Disqualified Stock
                  and Preferred Stock ................................................................................................... 66
Section 4.10   Asset Sales ..................................................................................................................... 71
Section 4.11   Transactions with Affiliates ........................................................................................... 73
Section 4.12   Liens ............................................................................................................................... 75
Section 4.13   Changes in Covenants When Notes Rated Investment Grade........................................ 75
Section 4.14   Offer To Repurchase upon Change of Control .............................................................. 77
Section 4.15   Limitation on Guarantees of Indebtedness by Restricted Subsidiaries .......................... 79
Section 4.16   [Reserved] ...................................................................................................................... 79
Section 4.17   Tax Treatment of the Notes ............................................................................................ 79
Section 4.18   Non-Impairment of Security Interest ............................................................................. 79
Section 4.19   [Reserved] ...................................................................................................................... 80
Section 4.20   After-Acquired Collateral; Further Assurances ............................................................. 80
Section 4.21   Information Regarding Collateral .................................................................................. 80
Section 4.22   Maintenance of Property; Insurance............................................................................... 81

                                                           ARTICLE 5

                                                         SUCCESSORS

Section 5.01   Merger, Consolidation or Sale of All or Substantially All Assets ................................. 81
Section 5.02   Successor Corporation Substituted................................................................................. 83

                                                           ARTICLE 6

                                            DEFAULTS AND REMEDIES

Section 6.01   Events of Default............................................................................................................ 83
Section 6.02   Acceleration ................................................................................................................... 85
Section 6.03   Other Remedies .............................................................................................................. 86
Section 6.04   Waiver of Past Defaults.................................................................................................. 86
Section 6.05   Control by Majority........................................................................................................ 86
Section 6.06   Limitation on Suits ......................................................................................................... 86
Section 6.07   Rights of Holders of Notes To Receive Payment........................................................... 87
Section 6.08   Collection Suit by Trustee .............................................................................................. 87
Section 6.09   Restoration of Rights and Remedies .............................................................................. 87
Section 6.10   Rights and Remedies Cumulative .................................................................................. 87
Section 6.11   Delay or Omission Not Waiver ...................................................................................... 88
Section 6.12   Trustee May File Proofs of Claim .................................................................................. 88
Section 6.13   Priorities ......................................................................................................................... 88
Section 6.14   Undertaking for Costs .................................................................................................... 89




                                                                  -ii-
                                                                                                                                     100432088 v3
10-16140-mg      Doc 116             Filed 12/15/10 Entered 12/15/10 23:40:47                                           Main Document
                                               Pg 171 of 771

                                                                                                                                            Page

                                                           ARTICLE 7

                                                            TRUSTEE

Section 7.01    Duties of Trustee ............................................................................................................ 89
Section 7.02    Rights of Trustee ............................................................................................................ 90
Section 7.03    Individual Rights of Trustee ........................................................................................... 91
Section 7.04    Trustee’s Disclaimer ...................................................................................................... 91
Section 7.05    Notice of Defaults .......................................................................................................... 91
Section 7.06    Reports by Trustee to Holders of the Notes ................................................................... 92
Section 7.07    Compensation and Indemnity......................................................................................... 92
Section 7.08    Replacement of Trustee .................................................................................................. 93
Section 7.09    Successor Trustee by Merger, etc................................................................................... 94
Section 7.10    Eligibility; Disqualification ............................................................................................ 94
Section 7.11    Preferential Collection of Claims Against Issuer ........................................................... 94
Section 7.12    [Reserved] ...................................................................................................................... 94
Section 7.13    Authorization of Security Documents; Intercreditor Agreement ................................... 94

                                                           ARTICLE 8

                      LEGAL DEFEASANCE AND COVENANT DEFEASANCE

Section 8.01    Option to Effect Legal Defeasance or Covenant Defeasance ........................................ 95
Section 8.02    Legal Defeasance and Discharge ................................................................................... 95
Section 8.03    Covenant Defeasance ..................................................................................................... 95
Section 8.04    Conditions to Legal or Covenant Defeasance ................................................................ 96
Section 8.05    Deposited Money and Government Securities to Be Held in Trust; Other
                   Miscellaneous Provisions .......................................................................................... 97
Section 8.06    Repayment to Issuer ....................................................................................................... 98
Section 8.07    Reinstatement ................................................................................................................. 98

                                                           ARTICLE 9

                               AMENDMENT, SUPPLEMENT AND WAIVER

Section 9.01    Without Consent of Holders of Notes ............................................................................ 98
Section 9.02    With Consent of Holders of Notes ............................................................................... 100
Section 9.03    Compliance with Trust Indenture Act .......................................................................... 102
Section 9.04    Revocation and Effect of Consents .............................................................................. 102
Section 9.05    Notation on or Exchange of Notes ............................................................................... 102
Section 9.06    Trustee To Sign Amendments, etc. .............................................................................. 102
Section 9.07    Payment for Consent .................................................................................................... 103

                                                          ARTICLE 10

                                          COLLATERAL AND SECURITY

Section 10.01   Collateral and Security Documents .............................................................................. 103
Section 10.02   Recordings and Opinions ............................................................................................. 104
Section 10.03   Release of Collateral .................................................................................................... 104
Section 10.04   Suits To Protect the Collateral ..................................................................................... 106
                                                                 -iii-
                                                                                                                                  100432088 v3
10-16140-mg      Doc 116             Filed 12/15/10 Entered 12/15/10 23:40:47                                           Main Document
                                               Pg 172 of 771

                                                                                                                                             Page

Section 10.05   Authorization of Receipt of Funds by the Trustee Under the Security
                   Documents .............................................................................................................. 106
Section 10.06   Purchaser Protected ...................................................................................................... 106
Section 10.07   Powers Exercisable by Receiver or Trustee ................................................................. 107
Section 10.08   Release Upon Termination of the Issuer’s Obligations................................................ 107
Section 10.09   Collateral Agent ........................................................................................................... 107
Section 10.10   Designations ................................................................................................................. 114

                                                          ARTICLE 11

                                                        GUARANTEES

Section 11.01   Guarantee ..................................................................................................................... 114
Section 11.02   Limitation on Guarantor Liability ................................................................................ 115
Section 11.03   Execution and Delivery ................................................................................................ 116
Section 11.04   Subrogation .................................................................................................................. 116
Section 11.05   Benefits Acknowledged ............................................................................................... 116
Section 11.06   Release of Guarantees .................................................................................................. 116

                                                          ARTICLE 12

                                       SATISFACTION AND DISCHARGE

Section 12.01   Satisfaction and Discharge ........................................................................................... 117
Section 12.02   Application of Trust Money ......................................................................................... 118

                                                          ARTICLE 13

                                                     MISCELLANEOUS

Section 13.01   Trust Indenture Act Controls........................................................................................ 118
Section 13.02   Notices.......................................................................................................................... 118
Section 13.03   Communication by Holders of Notes with Other Holders of Notes ............................ 119
Section 13.04   Certificate and Opinion as to Conditions Precedent .................................................... 119
Section 13.05   Statements Required in Certificate or Opinion ............................................................ 120
Section 13.06   Rules by Trustee and Agents ........................................................................................ 120
Section 13.07   No Personal Liability of Directors, Officers, Employees and Stockholders ................ 120
Section 13.08   Governing Law............................................................................................................. 120
Section 13.09   Waiver of Jury Trial ..................................................................................................... 121
Section 13.10   Force Majeure .............................................................................................................. 121
Section 13.11   No Adverse Interpretation of Other Agreements ......................................................... 121
Section 13.12   Successors .................................................................................................................... 121
Section 13.13   Severability .................................................................................................................. 121
Section 13.14   Counterpart Originals ................................................................................................... 121
Section 13.15   Table of Contents, Headings, etc. ................................................................................ 121
Section 13.16   Qualification of Indenture ............................................................................................ 121
Section 13.17   Direction by Holders to Enter into Security Documents and the Intercreditor
                   Agreement ............................................................................................................... 122




                                                                  -iv-
                                                                                                                                   100432088 v3
10-16140-mg    Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                     Pg 173 of 771


EXHIBITS

Exhibit A     Form of Note
Exhibit B     Form of Certificate of Transfer
Exhibit C     Form of Certificate of Exchange
Exhibit D     Form of Supplemental Indenture to Be Delivered by Subsequent Guarantors
Exhibit E     Form of Certificate from Acquiring Accredited Investor




                                              -i-
                                                                                        100432088 v3
10-16140-mg          Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                            Pg 174 of 771


                 INDENTURE, dated as of December [ ], 2010, among American Media, Inc. (as succes-
sor by merger to American Media Operations, Inc.), a Delaware corporation, the Guarantors listed on the
signature pages hereto and Wilmington Trust FSB, as trustee (together with its successors and assigns, in
such capacity, the “Trustee”) and as collateral agent (together with its successors and assigns, in such ca-
pacity, the “Collateral Agent”). References to the “Issuer” in this Indenture refer only to American Me-
dia, Inc. and not any of its Subsidiaries.

                                            W I T N E S S E T H:

                  WHEREAS, on November 17, 2010, American Media, Inc., American Media Opera-
tions, Inc. and certain subsidiaries of American Media, Inc. filed voluntary petitions for reorganization
under Chapter 11 of the United States Bankruptcy Code (11 U.S.C. §§ 101-1532, as amended, the “Bank-
ruptcy Code”) in the United States Bankruptcy Court for the Southern District of New York (the "Bank-
ruptcy Court"), jointly administered as Case No. [ ] and continued in the possession of their property and
in the management of their businesses pursuant to Sections 1107 and 1108 of the Bankruptcy Code;

                 WHEREAS, on December [ ], 2010, American Media, Inc., American Media Opera-
tions, Inc. and certain subsidiaries of American Media, Inc. filed their Amended Joint Prepackaged Plan
of Reorganization under Chapter 11 of the Bankruptcy Code (the “Reorganization Plan”), and the Bank-
ruptcy Court entered the order confirming the Reorganization Plan on December [20], 2010;

               WHEREAS, the Reorganization Plan proposes, among other things, and the Issuer and
Guarantors have duly authorized, the issuance of [up to $140,000,000] aggregate principal amount of
                                                                    1
13½% Second Lien Senior Secured Notes due 2018 (“Initial Notes”);

                  WHEREAS, on November 17, 2010, American Media, Inc., American Media Opera-
tions, Inc. and the backstop purchasers party thereto (the “Backstop Parties”) entered into an agreement
pursuant to which, among other things, the Backstop Parties, in order to facilitate the Reorganization
Plan, agreed to purchase certain amounts of the Initial Notes;

                 WHEREAS, American Media, Inc., immediately prior to entering into this Indenture,
merged with its subsidiary, American Media Operations, Inc., with American Media, Inc. being the sur-
viving entity in the merger,

                 WHEREAS, the Issuer and the Guarantors have duly authorized the execution and deli-
very of this Indenture.

                NOW, THEREFORE, the Issuer, the Guarantors, the Trustee and the Collateral Agent
agree as follows for the benefit of each other and for the equal and ratable benefit of the Holders of the
Notes.




1
    All Initial Notes to be issued on the Issue Date are expected to be issued under a Rule 144A CUSIP.




                                                      1
                                                                                                 100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                          Pg 175 of 771


                                                ARTICLE 1

                      DEFINITIONS AND INCORPORATION BY REFERENCE

Section 1.01    Definitions.

                 “144A Global Note” means a Global Note substantially in the form of Exhibit A hereto,
bearing the Global Note Legend and the Private Placement Legend and deposited with or on behalf of,
and registered in the name of, the Depositary or its nominee that shall be issued (or the principal amount
of which will be increased) in a denomination equal to the outstanding principal amount of Notes issued
or sold in reliance on Rule 144A.

                 “Accredited Investor” means an institutional “accredited investor” (as defined in Rule
501(a)(1), (2), (3) or (7) under the Securities Act).

                 “Acquired Indebtedness” means, with respect to any specified Person, Indebtedness of
any other Person existing at the time such other Person is merged with or into or became a Restricted
Subsidiary of such specified Person, including Indebtedness incurred in connection with, or in contempla-
tion of, such other Person merging with or into or becoming a Restricted Subsidiary of such specified
Person, and Indebtedness secured by a Lien encumbering any asset acquired by such specified Person.

                “Additional Interest” means all additional interest, if any, then owing with respect to the
Notes pursuant to the Registration Rights Agreement.

                 “Additional Notes” means additional Notes (other than the Initial Notes) issued from time
to time under this Indenture in accordance with Sections 2.01, 4.09 and 4.12 hereof.

                  “Affiliate” of any specified Person means any other Person directly or indirectly control-
ling or controlled by or under direct or indirect common control with such specified Person. For purposes
of this definition, “control” (including, with correlative meanings, the terms “controlling,” “controlled
by” and “under common control with”), as used with respect to any Person, shall mean the possession,
directly or indirectly, of the power to direct or cause the direction of the management or policies of such
Person, whether through the ownership of voting securities, by agreement or otherwise.

                “Agent” means any Registrar or Paying Agent.

                 “Applicable Premium” means, with respect to any Note on any Redemption Date, the
greater of:

                (1)      1.0% of the principal amount of such Note; and

                (2)      the excess, if any, of (a) the present value at such Redemption Date of (i) the re-
        demption price of such Note at December 15, 2013 (such redemption price being set forth in the
        table appearing in Section 3.07 hereof), plus (ii) all required interest payments due on such Note
        through December 15, 2013 (excluding accrued but unpaid interest to the Redemption Date),
        computed using a discount rate equal to the Treasury Rate as of such Redemption Date plus 50
        basis points; over (b) the principal amount of such Note.

                   “Applicable Procedures” means, with respect to any transfer or exchange of or for bene-
ficial interests in any Global Note, the rules and procedures of the Depositary, Euroclear and/or Clear-
stream that apply to such transfer or exchange.
                                                     -2-

                                                                                                 100432088 v3
10-16140-mg     Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                     Main Document
                                        Pg 176 of 771


              “Asset Sale” means:

              (1)      the sale, conveyance, transfer or other disposition, whether in a single transaction
     or a series of related transactions, of property or assets (including by way of a Sale and Lease-
     back Transaction) of the Issuer or any of the Restricted Subsidiaries (each referred to in this defi-
     nition as a “disposition”); or

              (2)     the issuance or sale of Equity Interests of any Restricted Subsidiary, whether in a
     single transaction or a series of related transactions (other than Preferred Stock or Disqualified
     Stock of Restricted Subsidiaries issued in compliance with Section 4.09);

     in each case, other than:

                        (a)     any disposition of Cash Equivalents or obsolete or worn out equipment
              in the ordinary course of business or any disposition of inventory or goods (or other as-
              sets) in the ordinary course of business;

                     (b)     the disposition of all or substantially all of the assets of the Issuer in a
              manner permitted pursuant to Section 5.01 hereof or any disposition that constitutes a
              Change of Control pursuant to this Indenture;

                      (c)      the making of any Restricted Payment or any Permitted Investment that
              is permitted to be made, and is made, pursuant to Section 4.07 hereof;

                      (d)     any disposition of assets or issuance or sale of Equity Interests of any
              Restricted Subsidiary in any transaction or series of related transactions with an aggregate
              fair market value of less than $7.5 million;

                       (e)      any disposition of property or assets or issuance of securities (i) by a Gu-
              arantor to the Issuer or by the Issuer or a Guarantor to another Guarantor or (ii) by a Re-
              stricted Subsidiary that is not a Guarantor to the Issuer, a Guarantor or to another Re-
              stricted Subsidiary that is not a Guarantor;

                      (f)      to the extent allowable under Section 1031 of the Code, any exchange of
              like property (excluding any boot thereon) for use in a Similar Business;

                      (g)     the lease, assignment or sublease of any real or personal property in the
              ordinary course of business;

                       (h)     any issuance or sale of Equity Interests in, or Indebtedness or other se-
              curities of, an Unrestricted Subsidiary other than to the extent that the Investment in such
              Unrestricted Subsidiary constituted a Permitted Investment hereunder;

                       (i)   solely for the purposes of clauses (1) and (2) of Section 4.10(a), foreclo-
              sures, condemnation or any similar action on assets;

                      (j)        the granting of Liens not prohibited by this Indenture;

                      (k)      the licensing or sublicensing of intellectual property or other general in-
              tangibles in the ordinary course of business; and

                                                    -3-

                                                                                                100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 177 of 771


                         (l)      solely for the purposes of clauses (1) and (2) of Section 4.10(a), any sur-
                render or waiver of contract rights or the settlement, release or surrender of contract
                rights or other litigation claims in the ordinary course of business.

                “Backstop Parties” shall have the meaning given to it in the recitals hereto.

                “Bankruptcy Code” shall have the meaning given to it in the recitals hereto.

                  “Bankruptcy Law” means Title 11 of the U.S. Code or any similar federal or state law for
the relief of debtors.

                “Board of Directors” means:

                (1)      with respect to a corporation, the board of directors of the corporation;

                (2)      with respect to a partnership, the board of directors of the general partner of the
        partnership; and

                 (3)     with respect to any other Person, the board or committee of such Person serving a
        similar function.

               “Board Resolution” means, with respect to the Issuer, a duly adopted resolution of the
Board of Directors of the Issuer or any committee thereof.

                “Business Day” means each day which is not a Legal Holiday.

                “Capital Stock” means:

                (1)      in the case of a corporation, corporate stock;

                 (2)      in the case of an association or business entity, any and all shares, interests, par-
        ticipations, rights or other equivalents (however designated) of corporate stock;

                 (3)     in the case of a partnership or limited liability company, partnership or member-
        ship interests (whether general or limited); and

                (4)      any other interest or participation that confers on a Person the right to receive a
        share of the profits and losses of, or distributions of assets of, the issuing Person.

                 “Capitalized Lease Obligation” means, at the time any determination thereof is to be
made, the amount of the liability in respect of a capital lease that would at such time be required to be
capitalized and reflected as a liability on a balance sheet (excluding the footnotes thereto) in accordance
with GAAP.

                “Cash Equivalents” means:

                (1)      United States dollars;

                 (2)     (a) euro, or any national currency of any participating member of the EMU; or
        (b) in the case of any Foreign Subsidiary that is a Restricted Subsidiary, such local currencies
        held by them from time to time in the ordinary course of business;
                                                      -4-

                                                                                                    100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 178 of 771


                 (3)     securities issued or directly and fully and unconditionally guaranteed or insured
        by the U.S. government or issued by any agency or instrumentality thereof the securities of which
        are unconditionally guaranteed as a full faith and credit obligation of such government with ma-
        turities of 24 months or less from the date of acquisition;

                (4)      certificates of deposit, time deposits and eurodollar time deposits with maturities
        of one year or less from the date of acquisition, bankers’ acceptances with maturities not exceed-
        ing one year and overnight bank deposits, in each case with any commercial bank having capital
        and surplus of not less than $500.0 million in the case of U.S. banks and $100.0 million (or the
        U.S. dollar equivalent as of the date of determination) in the case of non-U.S. banks;

                (5)      repurchase obligations for underlying securities of the types described in clauses
        (3) and (4) entered into with any financial institution meeting the qualifications specified in
        clause (4) above;

                (6)     commercial paper rated at least P-1 by Moody’s or at least A-1 by S&P and in
        each case maturing within 24 months after the date of creation thereof;

                 (7)     marketable short-term money market and similar securities having a rating of at
        least P-2 or A-2 from either Moody’s or S&P, respectively (or, if at any time neither Moody’s nor
        S&P shall be rating such obligations, an equivalent rating from another Rating Agency) and in
        each case maturing within 24 months after the date of creation thereof;

                (8)       investment funds investing 95% of their assets in securities of the types described
        in clauses (1) through (7) above;

                 (9)     readily marketable direct obligations issued by any state, commonwealth or terri-
        tory of the United States or any political subdivision or taxing authority thereof having an In-
        vestment Grade Rating from either Moody’s or S&P with maturities of 24 months or less from
        the date of acquisition;

                 (10)    Indebtedness or Preferred Stock issued by Persons with a rating of “A” or higher
        from S&P or “A2” or higher from Moody’s with maturities of 24 months or less from the date of
        acquisition; and

                 (11)    Investments with average maturities of 12 months or less from the date of acqui-
        sition in money market funds rated AAA- (or the equivalent thereof) or better by S&P or Aaa3
        (or the equivalent thereof) or better by Moody’s.

Notwithstanding the foregoing, Cash Equivalents shall include amounts denominated in currencies other
than those set forth in clauses (1) and (2) above, provided that such amounts are converted into any cur-
rency listed in clauses (1) and (2) as promptly as practicable and in any event within ten Business Days
following the receipt of such amounts.

                 “Cash Management Bank” means any Credit Agreement Lender or an Affiliate of a Cre-
dit Agreement Lender (together with its successors and assigns) providing Cash Management Services to
the Issuer or any Guarantor.

                 “Cash Management Obligations” means all obligations owing by the Issuer or any Gua-
rantor to any Cash Management Bank in respect of any Cash Management Services (including, without
limitation, indemnities, fees and interest thereon and all interest and fees that accrue on or after the com-
                                                     -5-

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                     Main Document
                                           Pg 179 of 771


mencement of any Insolvency or Liquidation Proceeding at the rate provided for in the respective docu-
ments governing the Cash Management Services, whether or not a claim for post-petition interest or fees
is allowed or allowable in any such Insolvency or Liquidation Proceeding), now existing or hereafter in-
curred under, arising out of or in connection with such Cash Management Services, and the due perfor-
mance and compliance by the Issuer or such Guarantor with the terms, conditions and agreements of such
Cash Management Services.

               “Cash Management Services” means treasury, depository, bank product and/or cash man-
agement services or any automated clearing house transfer services.

                “Change of Control” means the occurrence of any of the following:

                 (1)       the sale, lease or transfer, in one or a series of related transactions, of all or sub-
        stantially all of the assets of the Issuer and its Subsidiaries, taken as a whole, other than to a Per-
        mitted Holder or to a Person with respect to which the Permitted Holders have the right or ability,
        by voting power, contract or otherwise, to elect or designate for election a majority of the board
        of directors of such Person or any direct or indirect holding company of such Person;

                 (2)     (A) the Issuer becomes aware (by way of a report or any other filing pursuant to
        Section 13(d) of the Exchange Act, proxy, vote, written notice or otherwise) that any “person” or
        “group” (within the meaning of Section 13(d)(3) or Section 14(d)(2) of the Exchange Act or any
        successor provision), other than the Permitted Holders, has become the “beneficial owner” (as de-
        fined in Rules 13d-3 of the Exchange Act, or any successor provision), by way of merger, consol-
        idation or other business combination or purchase, of 50% or more of the total voting power of
        the Voting Stock of the Issuer or any direct or indirect parent company holding directly or indi-
        rectly 100% of the total voting power of the Voting Stock of the Issuer and (B) the Permitted
        Holders do not have the right or ability, by voting power, contract or otherwise, to elect or desig-
        nate for election a majority of the Board of Directors of the Issuer or such parent company; or

                (3)      the adoption by the stockholders of the Issuer of a plan or proposal for the liqui-
        dation or dissolution of the Issuer.

                “Clearstream” means Clearstream Banking, Société Anonyme, and its successors.

                “Code” means the Internal Revenue Code of 1986, as amended, or any successor statute.

                 “Collateral” means all of the property and assets whether now owned or hereafter ac-
quired, in each case, in which Liens are, from time to time, purported to be granted to secure the Obliga-
tions under the Notes and the Guarantees pursuant to the Security Documents, other than Excluded As-
sets.

                “Collateral Agent” has the meaning assigned to such term in the preamble to this Inden-
ture.

                 “Consolidated Interest Expense” means, for any period, the total interest expense of the
Issuer and its consolidated Restricted Subsidiaries (other than with respect to interest paid in kind by the
issuance of additional Indebtedness and other non-cash interest expense), plus, to the extent incurred by
the Issuer and its Restricted Subsidiaries in such period but not included in such interest expense:

                (a)      interest expense attributable to Capitalized Lease Obligations and the interest ex-
        pense attributable to leases constituting part of a Sale and Lease-back Transaction,
                                                      -6-

                                                                                                     100432088 v3
10-16140-mg           Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                            Pg 180 of 771


                (b)       amortization of debt discount and debt issuance costs,

                (c)       capitalized interest,

               (d)      commissions, discounts and other fees and charges attributable to letters of credit
        and bankers’ acceptance financing,

               (e)      interest accruing on any Indebtedness of any other Person to the extent such In-
        debtedness is guaranteed by (or secured by the assets of) the Issuer or any Restricted Subsidiary,

                (f)       net costs associated with Hedging Obligations,

                 (g)    dividends in respect of all Disqualified Stock of the Issuer and all Preferred Stock
        of any of the Restricted Subsidiaries of the Issuer, to the extent held by Persons other than the Is-
        suer or a Wholly Owned Subsidiary,

                (h)       interest incurred in connection with investments in discontinued operations, and

                 (i)     the cash contributions to any employee stock ownership plan or similar trust to
        the extent such contributions are used by such plan or trust to pay interest or fees to any Person
        (other than the Issuer) in connection with Indebtedness incurred by such plan or trust.

Notwithstanding anything to the contrary contained herein, commissions, discounts, yield and other fees
and charges incurred in connection with any transaction pursuant to which the Issuer or any Subsidiary of
the Issuer may sell, convey or otherwise transfer or grant a security interest in any accounts receivable or
related assets shall be included in Consolidated Interest Expense.

                “Consolidated Leverage Ratio” as of any date of determination means the ratio of:

                (a)       Total Consolidated Indebtedness as of the date of determination to

                 (b)      the aggregate amount of EBITDA for the period of the most recent four consecu-
        tive fiscal quarters ending at the end of the most recent fiscal quarter for which internal financial
        statements are available,

provided, however, that

                  (i)     if the Issuer or any Restricted Subsidiary has incurred any Indebtedness since the
        beginning of such period that remains outstanding on such date of determination or if the transac-
        tion giving rise to the need to calculate the Consolidated Leverage Ratio is an incurrence of In-
        debtedness, EBITDA and, for the purpose of calculating EBITDA, Consolidated Interest Expense
        for such period shall be calculated after giving effect on a pro forma basis to such Indebtedness as
        if such Indebtedness had been incurred on the first day of such period and the discharge of any
        other Indebtedness repaid, repurchased, defeased or otherwise discharged with the proceeds of
        such new Indebtedness as if such discharge had occurred on the first day of such period (except
        that in making such computation, the amount of Indebtedness under any revolving credit facility
        outstanding on the date of such calculation shall be deemed to be (i) the average daily balance of
        such Indebtedness during such four fiscal quarters or such shorter period for which such facility
        was outstanding or (ii) if such facility was created after the end of such four fiscal quarters, the
        average daily balance of such Indebtedness during the period from the date of creation of such fa-

                                                     -7-

                                                                                                 100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                          Pg 181 of 771


        cility to the date of such calculation, in each case, provided that such average daily balance shall
        take into account any repayment of Indebtedness under such facility as provided in clause (ii)),

                  (ii)    if the Issuer or any Restricted Subsidiary has repaid, repurchased, defeased or
        otherwise discharged any Indebtedness since the beginning of such period or if any Indebtedness
        is to be repaid, repurchased, defeased or otherwise discharged (in each case other than Indebted-
        ness incurred under any revolving credit facility unless such Indebtedness has been permanently
        repaid and has not been replaced) on the date of the transaction giving rise to the need to calculate
        the Consolidated Leverage Ratio, EBITDA and, for the purpose of calculating EBITDA, Consol-
        idated Interest Expense for such period shall be calculated on a pro forma basis as if such dis-
        charge had occurred on the first day of such period and as if the Issuer or such Restricted Subsidi-
        ary had not earned the interest income actually earned during such period in respect of cash or
        Cash Equivalents used to repay, repurchase, defease or otherwise discharge such Indebtedness,

                 (iii)    if since the beginning of such period the Issuer or any Restricted Subsidiary shall
        have made any Asset Sale, EBITDA for such period shall be reduced by an amount equal to
        EBITDA (if positive) directly attributable to the assets that were the subject of such Asset Sale
        for such period or increased by an amount equal to EBITDA (if negative) directly attributable
        thereto for such period and, for the purpose of calculating EBITDA, Consolidated Interest Ex-
        pense for such period shall be reduced by an amount equal to the Consolidated Interest Expense
        directly attributable to any Indebtedness of the Issuer or any Restricted Subsidiary repaid, repur-
        chased, defeased or otherwise discharged with respect to the Issuer and its continuing Restricted
        Subsidiaries in connection with such Asset Sale for such period (or, if the Capital Stock of any
        Restricted Subsidiary is sold, the Consolidated Interest Expense for such period directly attributa-
        ble to the Indebtedness of such Restricted Subsidiary to the extent the Issuer and its continuing
        Restricted Subsidiaries are no longer liable for such Indebtedness after such sale),

                (iv)      if since the beginning of such period the Issuer or any Restricted Subsidiary (by
        merger or otherwise) shall have made an Investment in any Restricted Subsidiary (or any Person
        that becomes a Restricted Subsidiary) or an acquisition of assets, including any acquisition of as-
        sets occurring in connection with a transaction causing a calculation to be made hereunder, which
        constitutes all or substantially all of an operating unit of a business, EBITDA and, for the purpose
        of calculating EBITDA, Consolidated Interest Expense for such period shall be calculated after
        giving pro forma effect thereto (including the incurrence of any Indebtedness) as if such Invest-
        ment or acquisition had occurred on the first day of such period, and

                  (v)    if since the beginning of such period any Person (that subsequently became a Re-
        stricted Subsidiary or was merged with or into the Issuer or any Restricted Subsidiary since the
        beginning of such period) shall have made any Asset Sale or any Investment or acquisition of as-
        sets that would have required an adjustment pursuant to clause (iii) or (iv) above if made by the
        Issuer or a Restricted Subsidiary during such period, EBITDA and, for the purpose of calculating
        EBITDA, Consolidated Interest Expense for such period shall be calculated after giving pro for-
        ma effect thereto as if such Asset Sale, Investment or acquisition of assets had occurred on the
        first day of such period.

For purposes of this definition, whenever pro forma effect is to be given to a transaction, the amount of
income or earnings relating thereto and the amount of Consolidated Interest Expense associated with any
Indebtedness incurred in connection therewith, the pro forma calculations shall be determined in good
faith by a responsible financial or accounting Officer of the Issuer; provided that any such pro forma cal-
culations with respect to cost savings, operating expense reductions or synergies for such period shall be

                                                     -8-

                                                                                                 100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 182 of 771


limited to those resulting from the transaction which is being given pro forma effect that in the reasonable
determination of a responsible financial or accounting Officer of the Issuer (a) are reasonably identifiable
and factually supportable and (b) such actions have been realized or for which the steps necessary for rea-
lization have been taken or are reasonably expected to be taken within twelve months following any such
transaction, including, but not limited to, the execution or termination of any contracts, the termination of
any personnel or the closing (or approval by the Board of Directors of any closing) of any facility, as ap-
plicable. If any Indebtedness bears a floating rate of interest and is being given pro forma effect, the inter-
est expense on such Indebtedness shall be calculated as if the rate in effect on the date of determination
had been the applicable rate for the entire period (taking into account any Hedging Obligation applicable
to such Indebtedness).

                 “Consolidated Net Income” means, for any period, the net income (excluding non-
controlling interest) of the Issuer and its Restricted Subsidiaries for such period; provided, however, that
there shall not be included in such Consolidated Net Income:

                 (a)     any net income of any Person (other than the Issuer) if such Person is not a Re-
        stricted Subsidiary, except that

                           (i)     subject to the limitations contained in clause (d) below, the Issuer’s equi-
                 ty in the net income of any such Person for such period shall be included in such Consol-
                 idated Net Income up to the aggregate amount of cash (or other assets to the extent con-
                 verted into cash) actually distributed by such Person during such period to the Issuer or a
                 Restricted Subsidiary as a dividend or other distribution (subject, in the case of a divi-
                 dend, debt repayment or other distribution made to a Restricted Subsidiary (other than a
                 Guarantor), to the limitations contained in clause (b) below) and

                         (ii)    the Issuer’s equity in a net loss of any such Person for such period shall
                 be included in determining such Consolidated Net Income to the extent such loss has
                 been funded with cash from the Issuer or a Restricted Subsidiary;

                 (b)     except for the purposes of calculating Consolidated Leverage Ratio, any net in-
        come (or loss) of any Restricted Subsidiary (other than any Guarantor) if such Restricted Subsidi-
        ary is not permitted by restrictions, directly or indirectly, to pay dividends or make distributions
        (unless legally waived) to the Issuer, except that

                           (i)     the net income of any such Restricted Subsidiary for such period shall be
                 included in such Consolidated Net Income up to the aggregate amount of cash (or other
                 assets to the extent converted into cash) actually distributed by such Restricted Subsidiary
                 during such period to the Issuer or another Restricted Subsidiary as a dividend, debt re-
                 payment or other distribution (subject, in the case of a dividend, debt repayment or other
                 distribution made to another Restricted Subsidiary (other than a Guarantor), to the limita-
                 tion contained in this clause) and

                         (ii)    the net loss of any such Restricted Subsidiary for such period shall be in-
                 cluded in determining such Consolidated Net Income;

                 (c)     any gain (loss) realized (less all fees and expenses related thereto) upon the sale
        or other disposition of any asset of the Issuer or its consolidated Subsidiaries (including pursuant
        to any Sale and Lease-back Transaction) that is not sold or otherwise disposed of in the ordinary
        course of business and any gain (loss) realized upon the sale or other disposition of any Capital
        Stock of any Person;
                                                      -9-

                                                                                                   100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                          Pg 183 of 771


               (d)      any extraordinary, non-recurring or unusual gain or loss or expense (less all fees
        and expenses related thereto);

                (e)      the cumulative effect of a change in accounting principles;

                (f)      effects of adjustments (including the effects of such adjustments pushed down to
        the Issuer and its Restricted Subsidiaries) in the inventory, property and equipment, software,
        goodwill and other intangible assets and in process research and development, deferred revenue
        and debt line items in such Person’s consolidated financial statements pursuant to GAAP result-
        ing from the application of purchase accounting in relation to any consummated acquisition or the
        amortization or write-off of any amounts thereof, net of taxes;

                (g)     any net after-tax income (loss) from the early extinguishment of (i) Indebtedness,
        (ii) Hedging Obligations or (iii) other derivative instruments;

                (h)     any net after-tax income or loss from abandoned, closed or discontinued opera-
        tions and any net after-tax gains or losses on disposal of abandoned, closed or discontinued opera-
        tions;

                (i)      any impairment charge or asset write-off or write-down, including impairment
        charges or asset write-offs or write-downs related to intangible assets, long-lived assets, invest-
        ments in debt and equity securities or as a result of a change in the law or regulation, in each case,
        pursuant to GAAP and the amortization of intangibles arising pursuant to GAAP; and

                 (j)     any fees and expenses incurred during such period, or any amortization thereof
        for such period, in connection with any acquisition, disposition, recapitalization, Investment, As-
        set Sale, issuance or repayment of Indebtedness, issuance of Equity Interests, refinancing transac-
        tion or amendment or modification of any debt instrument (in each case, including any other such
        transaction consummated prior to the Issue Date and any such transaction undertaken but not
        completed) and any charges or non-recurring merger costs incurred during such period as a result
        of any such transaction.

                “Consolidated Secured Leverage Ratio” means the ratio of (1) the aggregate principal
amount of Secured Indebtedness (calculated net of up to $20.0 million of unrestricted cash and Cash
Equivalents of the Issuer and its Restricted Subsidiaries as of such date of determination) to (2) EBITDA
for the most recently ended four fiscal quarters for which financial statements are available immediately
preceding the date of determination, with such pro forma adjustments to EBITDA as would be required
under the proviso to the definition of “Consolidated Leverage Ratio” in performing a calculation thereof.

                 “Contingent Obligations” means, with respect to any Person, any obligation of such Per-
son guaranteeing any leases, dividends or other obligations that do not constitute Indebtedness (“primary
obligations”) of any other Person (the “primary obligor”) in any manner, whether directly or indirectly,
including, without limitation, any obligation of such Person, whether or not contingent,

                 (1)      to purchase any such primary obligation or any property constituting direct or in-
        direct security therefor,

                (2)      to advance or supply funds

                         (a)     for the purchase or payment of any such primary obligation, or

                                                    -10-

                                                                                                 100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 184 of 771


                         (b)     to maintain working capital or equity capital of the primary obligor or
                 otherwise to maintain the net worth or solvency of the primary obligor, or

                (3)     to purchase property, securities or services primarily for the purpose of assuring
        the owner of any such primary obligation of the ability of the primary obligor to make payment of
        such primary obligation against loss in respect thereof.

                “Corporate Trust Office of the Trustee” shall be at the address of the Trustee specified in
Section 13.02 hereof or such other address as to which the Trustee may give notice to the Holders and the
Issuer.

                  “Covenant Suspension” means, during any period of time following the issuance of the
Notes, that (i) the Notes have Investment Grade Ratings from both Rating Agencies and (ii) no Default
has occurred and is continuing under this Indenture.

                  “Credit Agreement” means the credit agreement to be entered into on or about the Issue
Date, among the Issuer, the lenders and the administrative agent for such lenders, including any guaran-
tees, collateral documents, instruments and agreements executed in connection therewith, and any
amendments, supplements, modifications, extensions, renewals, restatements, refundings or refinancings
thereof and any indentures or credit facilities or commercial paper facilities with banks or other institu-
tional lenders or investors that replace, refund or refinance any part of the loans, notes, other credit facili-
ties or commitments thereunder, including any such replacement, refunding or refinancing facility or in-
denture that increases the amount borrowable thereunder or alters the maturity thereof (provided that such
increase in borrowings is permitted under Section 4.09 hereof).

                 “Credit Agreement Lenders” means the “Lenders” from time to time party to, and as de-
fined in, the Credit Agreement, together with their respective successors and assigns; provided that the
term “Credit Agreement Lender” shall in any event also include each letter of credit issuer and swingline
lender under the Credit Agreement, including, without limitation, the “Issuing Bank,” the “Swingline
Lender” and any “Agent” under (and each as defined in) the Credit Agreement.

                 “Custodian” means the Trustee, as custodian with respect to the Global Notes, or any
successor entity thereto.

                “Default” means any event that is, or with the passage of time or the giving of notice or
both would be, an Event of Default.

                  “Definitive Note” means a certificated Note registered in the name of the Holder thereof
and issued in accordance with Section 2.06(c) hereof, substantially in the form of Exhibit A hereto, ex-
cept that such Note shall not bear the Global Note Legend and shall not have the “Schedule of Exchanges
of Interests in the Global Note or Increase/Decrease in the Principal Amount of the Global Note” attached
thereto.

                 “Depositary” means, with respect to the Global Notes, the Person specified in Section
2.03 hereof as the Depositary with respect to the Notes, and any and all successors thereto appointed as
Depositary hereunder and having become such pursuant to the applicable provision of this Indenture.

                “Designated Non-cash Consideration” means the fair market value of non-cash consider-
ation received by the Issuer or a Restricted Subsidiary in connection with an Asset Sale that is so desig-
nated as Designated Non-cash Consideration pursuant to an Officers’ Certificate, setting forth the basis of
such valuation, executed by the principal financial officer of the Issuer, less the amount of cash or Cash
                                                    -11-

                                                                                                    100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 185 of 771


Equivalents received in connection with a subsequent sale of or collection on such Designated Non-cash
Consideration.

                  “Discharge of First Lien Obligations” means, subject to any reinstatement of First Lien
Obligations in accordance with the First Lien Intercreditor Agreement, (a) payment in full in cash of the
principal of and interest (including interest accruing on or after the commencement of any Insolvency or
Liquidation Proceeding at the rate provided for in the respective First Lien Document, whether or not
such interest would be allowed in any such Insolvency or Liquidation Proceeding) and premium, if any,
on all Indebtedness under the First Lien Documents and termination of all commitments of the Credit
Agreement Lenders to lend or otherwise extend credit under the First Lien Documents, (b) payment in
full in cash of all other First Lien Obligations (including letter of credit reimbursement obligations) that
are due and payable or otherwise accrued and owing at or prior to the time such principal, interest, and
premium are paid (other than Cash Management Obligations and Secured Hedging Obligations so long as
arrangements satisfactory to the applicable Cash Management Bank or Hedge Bank shall have been
made), and (c) termination or cash collateralization (in an amount and manner, and on terms, reasonably
satisfactory to the First Lien Representative) of all letters of credit issued under the First Lien Credit
Documents.

                  “Disqualified Stock” means, with respect to any Person, any Capital Stock of such Person
which, by its terms, or by the terms of any security into which it is convertible or for which it is putable or
exchangeable, or upon the happening of any event, matures or is mandatorily redeemable (other than
solely as a result of a change of control or asset sale) pursuant to a sinking fund obligation or otherwise,
or is redeemable at the option of the holder thereof (other than solely as a result of a change of control or
asset sale), in whole or in part, in each case prior to the date 91 days after the earlier of the maturity date
of the Notes or the date the Notes are no longer outstanding; provided, however, that if such Capital Stock
is issued to any plan for the benefit of employees of the Issuer or its Subsidiaries or by any such plan to
such employees, such Capital Stock shall not constitute Disqualified Stock solely because it may be re-
quired to be repurchased by the Issuer or its Subsidiaries in order to satisfy applicable statutory or regula-
tory obligations; provided, further, that any Capital Stock held by any future, current or former employee,
director, manager or consultant (or their respective trusts, estates, investment funds, investment vehicles
or immediate family members) of the Issuer, any of its Subsidiaries or any direct or indirect parent entity
of the Issuer in each case upon the termination of employment or death of such person pursuant to any
stockholders’ agreement, management equity plan, stock option plan or any other management or em-
ployee benefit plan or agreement shall not constitute Disqualified Stock solely because it may be required
to be repurchased by the Issuer or its Subsidiaries.

                 “EBITDA” for any period means the Consolidated Net Income of the Issuer and its Re-
stricted Subsidiaries for such period, plus, without duplication, the following to the extent deducted in
calculating such Consolidated Net Income:

                 (a)     Consolidated income tax expense,

                 (b)     Consolidated Interest Expense,

                 (c)     Consolidated depreciation expense,

                 (d)      Consolidated amortization expense (including amortization associated with capi-
        talized or short-term display rack costs and the recognition of such costs as a deferred cost asset
        amortized as contra-revenue),


                                                     -12-

                                                                                                  100432088 v3
10-16140-mg             Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                            Pg 186 of 771


               (e)      any interest paid in kind by the issuance of additional Indebtedness and other
        non-cash interest expense,

                 (f)     any expenses or charges related to any Equity Offering, Permitted Investment,
        acquisition or Indebtedness permitted to be incurred by this Indenture (whether or not successful),

                 (g)     any expense or charge incurred or recorded by the Issuer or any of its Subsidiar-
        ies in connection with (i) Asset Sales or (ii) reorganization and other cost cutting efforts, includ-
        ing, without limitation, expenses and charges relating to severance, relocation and the discontinu-
        ation of titles,

                (h)      any non-cash charges (including any non-cash compensation charge or expense)
        reducing Consolidated Net Income for such period (excluding any such charge which consists of
        or requires an accrual of, or cash reserve for, any anticipated cash charges for any prior or in any
        future period),

                  (i)      any charges or credits relating to the adoption of fresh start accounting principles;
        and

                 (j)      solely for purposes of calculating the Consolidated Leverage Ratio, the amount
        of any minority interest expense consisting of Subsidiary income attributable to minority equity
        interests of third parties in any non-wholly owned Subsidiary deducted (and not added back) in
        such period in calculating Consolidated Net Income.

                “Emergence Transactions” means all transactions relating to the Reorganization Plan and
the Issuer’s emergence from Chapter 11 of the Bankruptcy Code, including, but not limited to, closing of
the Exit Financing.

                  “EMU” means the economic and monetary union as contemplated in the Treaty on Euro-
pean Union.

                “Enforcement Notice” shall have the meaning assigned to such term in the First Lien In-
tercreditor Agreement.

                “Equity Interests” means Capital Stock and all warrants, options or other rights to acquire
Capital Stock, but excluding any debt security that is convertible into, or exchangeable for, Capital Stock.

                  “Equity Offering” means any public or private sale of common stock or Preferred Stock
of the Issuer or any of its direct or indirect parent companies (excluding Disqualified Stock), other than:

                (1)  public offerings with respect to the Issuer’s or any direct or indirect parent com-
        pany’s common stock registered on Form S-8;

                  (2)      issuances to any Subsidiary of the Issuer; and

                  (3)      any such public or private sale that constitutes an Excluded Contribution.

                  “euro” means the single currency of participating member states of the EMU.

                  “Euroclear” means Euroclear Bank S.A./N.V., as operator of the Euroclear system, and
its successors.
                                                      -13-

                                                                                                   100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 187 of 771


                “Exchange Act” means the Securities Exchange Act of 1934, as amended, and the rules
and regulations of the SEC promulgated thereunder.

                   “Excluded Contribution” means the amount of net cash proceeds, marketable securities
or Qualified Proceeds received by the Issuer after the Issue Date from (1) contributions to its common
equity capital and (2) the sale (other than to a Subsidiary of the Issuer or to any management equity plan
or stock option plan or any other management or employee benefit plan or agreement of the Issuer or any
of its direct or indirect parents) of Capital Stock (other than Disqualified Stock) of the Issuer, in each case
designated as an Excluded Contribution pursuant to an Officers’ Certificate on the date such capital con-
tributions are made or the date such Equity Interests are sold, as the case may be, which are excluded
from the calculation set forth in clause (3) of Section 4.07(a)(IV) hereof.

                “Exit Financing” means that certain financing to finance the Reorganization Plan ex-
pected to be comprised of the Credit Agreement, the Notes and the First Lien Notes.

                 “fair market value” means, with respect to any asset or liability, the fair market value of
such asset or liability as determined by the Issuer in good faith; provided that if the fair market value is
equal to or exceeds $25.0 million, such determination shall be made by the Board of Directors of the Is-
suer.

                “First Lien Collateral Agent” means Wilmington Trust FSB, as collateral agent under the
First Lien Indenture.

                 “First Lien Credit Documents” means the Credit Agreement, the other Loan Documents
(as defined in the Credit Agreement), and each of the other agreements, documents, and instruments pro-
viding for or evidencing any other First Lien Obligation and any other document or instrument executed
or delivered at any time in connection with any First Lien Obligation (including any intercreditor or
joinder agreement among holders of First Lien Obligations but excluding Secured Hedge Agreements and
the documents governing the Cash Management Obligations), to the extent such are effective at the rele-
vant time, as each may be amended, modified, restated, supplemented, replaced or refinanced from time
to time.

                “First Lien Documents” means the First Lien Indenture, the First Lien Credit Docu-
ments, the Secured Hedge Agreements, and any and all documents governing the Cash Management Ob-
ligations.

               “First Lien Indebtedness” means (i) the First Lien Notes, (ii) Indebtedness under the Cre-
dit Agreement and (iii) additional Indebtedness that is secured by a Lien senior to the Lien securing the
Notes.

                “First Lien Indenture” means the indenture in respect of the First Lien Notes dated as of
December 1, 2010 between AMO Escrow Corporation, a Delaware corporation (subsequently merged
with and into the Issuer) and the First Lien Trustee, as amended or supplemented from time to time.

                 “First Lien Intercreditor Agreement” means the First Lien Intercreditor Agreement dated
on or about the Issue Date among the First Lien Collateral Agent, the collateral agent in respect of the
Credit Agreement, the Issuer and each other Guarantor named therein, as such agreement may be
amended, restated, supplemented or otherwise modified from time to time.

               “First Lien Leverage Ratio” means the ratio of (1) the aggregate principal amount of First
Lien Indebtedness (calculated net of up to $20.0 million of unrestricted cash and Cash Equivalents of the
                                                   -14-

                                                                                                   100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 188 of 771


Issuer and its Restricted Subsidiaries as of such date of determination) to (2) EBITDA for the most re-
cently ended four fiscal quarters for which financial statements are available immediately preceding the
date of determination, with such pro forma adjustments to EBITDA as would be required under the provi-
so to the definition of “Consolidated Leverage Ratio” in performing a calculation thereof.

               “First Lien Notes” means the $385,000,000 in aggregate principal amount of First Lien
Secured Notes due 2017 issued on December 1, 2010 pursuant to the First Lien Indenture.

                  “First Lien Obligations” means (i) all Obligations arising under (and as defined in) the
Credit Agreement of the Issuer and the Guarantors, under any other document relating to the Credit
Agreement incurred under Section 4.09(b)(1) hereof, (ii) all Obligations under the First Lien Indenture,
(iii) all Secured Hedging Obligations and (iv) all Cash Management Obligations; provided that the aggre-
gate principal amount of, without duplication, revolving credit loans, letters of credit, term loans, other
loans, notes or similar instruments (excluding, in any event, Cash Management Obligations and Secured
Hedging Obligations) provided for under the Credit Agreement or any other document relating to the
Credit Agreement (or any refinancing thereof) in excess of the amount permitted under Section 4.09(b)(1)
hereof and any interest relating to such excess amount, shall not constitute First Lien Obligations for pur-
poses of this Indenture. “First Lien Obligations” shall in any event include (a) all interest accrued or ac-
cruing, or which would accrue, absent commencement of an Insolvency or Liquidation Proceeding (and
the effect of provisions such as Section 502(b)(2) of the Bankruptcy Code), on or after the commence-
ment of an Insolvency or Liquidation Proceeding in accordance with the rate specified in the relevant
First Lien Document, whether or not the claim for such interest is allowed or allowable as a claim in such
Insolvency or Liquidation Proceeding, (b) any and all fees and expenses (including attorneys’ and/or fi-
nancial consultants’ fees and expenses) incurred by the First Lien Representative, the Holders of the First
Lien Notes, the First Lien Collateral Agent, the collateral agent under the Credit Agreement, the adminis-
trative agent under the Credit Agreement, the lenders under the Credit Agreement and the First Lien Trus-
tee on or after the commencement of an Insolvency or Liquidation Proceeding, whether or not the claim
for fees and expenses is allowed or allowable under Section 502 or 506(b) of the Bankruptcy Code or any
other provision of the Bankruptcy Code or any similar federal, state or foreign law for the relief of deb-
tors as a claim in such Insolvency or Liquidation Proceeding, and (c) all obligations and liabilities of the
Issuer and each Guarantor under each First Lien Document to which it is a party which, but for the auto-
matic stay under Section 362(a) of the Bankruptcy Code, would become due and payable.

                  “First Lien Representative” means, as between collateral agents representing different
series of First Lien Obligations, the collateral agent representing the series of First Lien Obligations with
the greatest outstanding principal amount.

                 “First Lien Trustee” means Wilmington Trust FSB, as trustee for the holders of First
Lien Notes.

                “Foreign Subsidiary” means, with respect to any Person, any Restricted Subsidiary of
such Person that is not organized or existing under the laws of the United States, any state thereof or the
District of Columbia and any Restricted Subsidiary of such Foreign Subsidiary.

                  “GAAP” means generally accepted accounting principles in the United States which are
in effect on the Issue Date. At any time after the Issue Date, the Issuer may elect to apply IFRS account-
ing principles in lieu of GAAP and, upon any such election, references herein to GAAP shall thereafter be
construed to mean IFRS (except as otherwise provided in this Indenture); provided that any such election,
once made, shall be irrevocable; provided, further, any calculation or determination in this Indenture that
requires the application of GAAP for periods that include fiscal quarters ended prior to the Issuer’s elec-

                                                     -15-

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 189 of 771


tion to apply IFRS shall remain as previously calculated or determined in accordance with GAAP. The
Issuer shall give written notice of any such election made in accordance with this definition to the Trustee
and the Holders of the Notes.

                 “Global Note Legend” means the legend set forth in Section 2.06(g)(ii) hereof, which is
required to be placed on all Global Notes issued under this Indenture.

                “Global Notes” means, individually and collectively, each of the Restricted Global Notes
and the Unrestricted Global Notes, substantially in the form of Exhibit A hereto, issued in accordance
with Section 2.01, 2.06(b), 2.06(d), 2.06(f) or 2.07 hereof.

                “Government Securities” means securities that are:

                (1)       direct obligations of the United States of America for the timely payment of
        which its full faith and credit is pledged; or

                (2)      obligations of a Person controlled or supervised by and acting as an agency or in-
        strumentality of the United States of America the timely payment of which is unconditionally
        guaranteed as a full faith and credit obligation by the United States of America,

which, in either case, are not callable or redeemable at the option of the issuers thereof, and shall also in-
clude a depository receipt issued by a bank (as defined in Section 3(a)(2) of the Securities Act), as custo-
dian with respect to any such Government Securities or a specific payment of principal of or interest on
any such Government Securities held by such custodian for the account of the holder of such depository
receipt; provided that (except as required by law) such custodian is not authorized to make any deduction
from the amount payable to the holder of such depository receipt from any amount received by the custo-
dian in respect of the Government Securities or the specific payment of principal of or interest on the
Government Securities evidenced by such depository receipt.

                “Grantors” means the Issuer and the Guarantors.

                 “guarantee” means a guarantee (other than by endorsement of negotiable instruments for
collection in the ordinary course of business), direct or indirect, in any manner (including letters of credit
and reimbursement agreements in respect thereof), of all or any part of any Indebtedness or other obliga-
tions.

                “Guarantee” means the guarantee by any Guarantor of the Issuer’s Obligations under this
Indenture and the Notes.

                “Guarantor” means each Restricted Subsidiary that guarantees the Notes in accordance
with the terms of this Indenture.

                “Hedge Bank” means any Person that is a Credit Agreement Lender or an Affiliate of a
Credit Agreement Lender at the time it enters into a Secured Hedge Agreement, in its capacity as a party
thereto, and such Person’s successors and assigns.

                 “Hedging Obligations” means, with respect to any Person, the obligations of such Person
under any interest rate swap agreement, interest rate cap agreement, interest rate collar agreement, com-
modity swap agreement, commodity cap agreement, commodity collar agreement, foreign exchange con-
tract, currency swap agreement or similar agreement providing for the transfer or mitigation of interest
rate or currency risks either generally or under specific contingencies.
                                                     -16-

                                                                                                  100432088 v3
10-16140-mg       Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 190 of 771


                “Holder” means the Person in whose name a Note is registered on the Registrar’s books.

                 “IAI Global Note” means a global note substantially in the form of Exhibit A hereto bear-
ing the Global Note Legend and the Private Placement Legend and deposited with or on behalf of, and
registered in the name of, the Depositary or its nominee that will be issued or sold (or the principal
amount of which will be increased) in a denomination equal to the outstanding principal amount of Initial
Notes issued to Accredited Investors.

                “Indebtedness” means, with respect to any Person, without duplication:

                (1)     any indebtedness (including principal and premium) of such Person, whether or
        not contingent:

                        (a)     in respect of borrowed money;

                         (b)     evidenced by bonds, notes, debentures or similar instruments or letters of
                credit or bankers’ acceptances (or, without duplication, reimbursement agreements in re-
                spect thereof);

                         (c)      representing the balance deferred and unpaid of the purchase price of any
                property (including Capitalized Lease Obligations), except (i) any such balance that con-
                stitutes a trade payable or similar obligation to a trade creditor, in each case accrued in
                the ordinary course of business and (ii) any earn-out obligations until such obligation be-
                comes a liability on the balance sheet of such Person in accordance with GAAP; or

                        (d)     representing any Hedging Obligations;

        if and to the extent that any of the foregoing Indebtedness (other than letters of credit and Hedg-
        ing Obligations) would appear as a liability upon a balance sheet (excluding the footnotes thereto)
        of such Person prepared in accordance with GAAP;

                 (2)      to the extent not otherwise included, any obligation by such Person to be liable
        for, or to pay, as obligor, guarantor or otherwise, on the obligations of the type referred to in
        clause (1) of a third Person (whether or not such items would appear upon the balance sheet of the
        such obligor or guarantor), other than by endorsement of negotiable instruments for collection in
        the ordinary course of business; and

                (3)       to the extent not otherwise included, the obligations of the type referred to in
        clause (1) of a third Person secured by a Lien on any asset owned by such first Person, whether or
        not such Indebtedness is assumed by such first Person but only to the extent of the fair market
        value of the assets subject to such Lien;

provided, however, that notwithstanding the foregoing, Indebtedness shall be deemed not to in-
clude Contingent Obligations incurred in the ordinary course of business.

                “IFRS” means the International Financial Reporting Standards as adopted by the Interna-
tional Accounting Standards Board.

                “Indenture” means this Indenture, as amended or supplemented from time to time.


                                                   -17-

                                                                                               100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                    Main Document
                                           Pg 191 of 771


                 “Independent Financial Advisor” means an accounting, appraisal, investment banking
firm or consultant to Persons engaged in Similar Businesses of nationally recognized standing that is, in
the good faith judgment of the Issuer, qualified to perform the task for which it has been engaged.

                “Indirect Participant” means a Person who holds a beneficial interest in a Global Note
through a Participant.

                “Initial Notes” shall have the meaning given to it in the recitals hereto.

                  “Insolvency or Liquidation Proceeding” means (a) any voluntary or involuntary case or
proceeding under the Bankruptcy Code with respect to the Issuer or any Guarantor, (b) any other volunta-
ry or involuntary insolvency, reorganization or bankruptcy case or proceeding, or any receivership, liqui-
dation, reorganization or other similar case or proceeding with respect to the Issuer or any Guarantor or
with respect to a material portion of its respective assets, (c) any liquidation, dissolution, reorganization
or winding up of the Issuer or any Guarantor, whether voluntary or involuntary and whether or not in-
volving insolvency or bankruptcy, or (d) any assignment for the benefit of creditors or any other marshal-
ling of assets and liabilities of the Issuer or any Guarantor.

                 “Intercreditor Agreement” means the Second Lien Intercreditor Agreement dated on or
about the Issue Date among the Collateral Agent, the First Lien Collateral Agent, the collateral agent in
respect of the Credit Agreement, the Issuer and each Guarantor, as such agreement may be amended, res-
tated, supplemented or otherwise modified from time to time.

                  “Interest Payment Date” means June 15 and December 15 of each year to stated maturity
(provided that if any such day is not a Business Day, interest shall be paid on the next succeeding Busi-
ness Day and no interest shall accrue for the intervening period in respect of such Interest Payment Date).

                “Investment Grade Rating” means a rating equal to or higher than Baa3 (or the equiva-
lent) by Moody’s and BBB- (or the equivalent) by S&P, in each case, with a stable or better outlook, or
an equivalent rating by any other Rating Agency.

                 “Investments” means, with respect to any Person, all investments by such Person in other
Persons (including Affiliates) in the form of loans (including guarantees), advances or capital contribu-
tions (excluding accounts receivable, trade credit, advances to customers, commissions, travel and similar
advances to officers and employees, in each case made in the ordinary course of business), purchases or
other acquisitions for consideration of Indebtedness, Equity Interests or other securities issued by any
other Person and investments that are required by GAAP to be classified on the balance sheet (excluding
the footnotes) of the Issuer in the same manner as the other investments included in this definition to the
extent such transactions involve the transfer of cash or other property. For purposes of the definition of
“Unrestricted Subsidiary” and Section 4.07 hereof:

                 (1)     “Investments” shall include the portion (proportionate to the Issuer’s equity in-
        terest in such Subsidiary) of the fair market value of the net assets of a Subsidiary of the Issuer at
        the time that such Subsidiary is designated an Unrestricted Subsidiary; provided, however, that
        upon a redesignation of such Subsidiary as a Restricted Subsidiary, the Issuer shall be deemed to
        continue to have a permanent “Investment” in an Unrestricted Subsidiary in an amount (if posi-
        tive) equal to:

                         (a)     the Issuer’s “Investment” in such Subsidiary at the time of such redesig-
                nation; less

                                                     -18-

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 192 of 771


                         (b)     the portion (proportionate to the Issuer equity interest in such Subsidiary)
                of the fair market value of the net assets of such Subsidiary at the time of such redesigna-
                tion; and

                  (2)    any property transferred to or from an Unrestricted Subsidiary shall be valued at
        its fair market value at the time of such transfer.

                “Issue Date” means the date Initial Notes are issued under this Indenture.

                 “Issuer” has the meaning assigned to such term in the preamble to this Indenture.

                  “Issuer Order” means a written request or order signed on behalf of the Issuer by any Of-
ficer of the Issuer and delivered to the Trustee.

                 “Legal Holiday” means a Saturday, a Sunday or a day on which commercial banking in-
stitutions are not required to be open in the States of New York, Minnesota and Delaware. If a payment
date is a Legal Holiday, payment shall be made on the next succeeding day that is not a Legal Holiday,
and no interest shall accrue for the intervening period in respect of such payment date.

                 “Lien” means, with respect to any asset, any mortgage, lien (statutory or otherwise),
pledge, hypothecation, charge, security interest, preference, priority or encumbrance of any kind in re-
spect of such asset, whether or not filed, recorded or otherwise perfected under applicable law, including
any conditional sale or other title retention agreement, any lease in the nature thereof, any option or other
agreement to sell or give a security interest in and any filing of or agreement to give any financing state-
ment under the Uniform Commercial Code (or equivalent statutes) of any jurisdiction (other than a filing
for informational purposes); provided that in no event shall an operating lease be deemed to constitute a
Lien.

                “Moody’s” means Moody’s Investors Service, Inc. and any successor to its rating agency
business.

                  “Net Proceeds” means the aggregate cash proceeds received by the Issuer or any of its
Restricted Subsidiaries in respect of any Asset Sale, including any cash received upon the sale or other
disposition of any Designated Non-cash Consideration received in any Asset Sale, net of the direct costs
relating to such Asset Sale and the sale or disposition of such Designated Non-cash Consideration, includ-
ing legal, accounting and investment banking fees, and brokerage and sales commissions, any relocation
expenses incurred as a result thereof, taxes paid or payable as a result thereof (after taking into account
any available tax credits or deductions and any tax sharing arrangements), amounts required to be applied
to the repayment of principal, premium, if any, and interest on Indebtedness required (other than required
by clause (1) of Section 4.10(b) hereof) to be paid as a result of such transaction, amounts required to be
paid to minority interest holders in Restricted Subsidiaries as a result of such Asset Sale, any portion of
the purchase price from such Asset Sale placed in escrow as a requirement of such Asset Sale (but only
for the duration of such escrow), and any deduction of appropriate amounts to be provided by the Issuer
or any of the Restricted Subsidiaries as a reserve in accordance with GAAP against any liabilities asso-
ciated with the asset disposed of in such transaction and retained by the Issuer or any of the Restricted
Subsidiaries after such sale or other disposition thereof, including pension and other post-employment
benefit liabilities and liabilities related to environmental matters or against any indemnification obliga-
tions associated with such transaction.

                “Non-U.S. Person” means a Person who is not a U.S. Person.

                                                    -19-

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 193 of 771


                 “Notes” means the Initial Notes issued under this Indenture. Unless the context requires
otherwise, references to “Notes” for all purposes of this Indenture include any Additional Notes that are
actually issued.

                  “Obligations” means any principal (including any accretion), interest (including any in-
terest accruing subsequent to the filing of a petition in bankruptcy, reorganization or similar proceeding at
the rate provided for in the documentation with respect thereto, whether or not such interest is an allowed
claim under applicable state, federal or foreign law), penalties, fees, indemnifications, reimbursements
(including reimbursement obligations with respect to letters of credit and banker’s acceptances), damages
and other liabilities, and guarantees of payment of such principal (including accretion), interest, penalties,
fees, indemnifications, reimbursements, damages and other liabilities, payable under the documentation
governing any Indebtedness.

                 “Offering Memorandum” means the final offering memorandum, dated November 16,
2010, relating to the sale of the First Lien Notes.

                 “Officer” means the Chairman of the Board, the Chief Executive Officer, the Chief Fi-
nancial Officer, the President, any Executive Vice President, Senior Vice President or Vice President, the
Treasurer or the Secretary of the Issuer.

                  “Officers’ Certificate” means a certificate signed on behalf of the Issuer by any two Of-
ficers of the Issuer, one of whom must be one of the principal executive officer, the principal financial
officer, the treasurer or the principal accounting officer of the Issuer, that meets the requirements set forth
in this Indenture.

                “Opinion of Counsel” means a written opinion from legal counsel who is acceptable to
the Trustee. The counsel may be an employee of or counsel to the Issuer.

                “Participant” means, with respect to the Depositary, Euroclear or Clearstream, a Person
who has an account with the Depositary, Euroclear or Clearstream, respectively (and, with respect to
DTC, shall include Euroclear and Clearstream).

                 “Participating Broker-Dealer” has the meaning set forth in the Registration Rights
Agreement.

                 “Permitted Asset Swap” means the concurrent purchase and sale or exchange of Related
Business Assets or a combination of Related Business Assets and cash or Cash Equivalents between the
Issuer or any of its Restricted Subsidiaries and another Person; provided, that any cash or Cash Equiva-
lents received must be applied in accordance with Section 4.10 hereof.

                  “Permitted Holders” means (i) Angelo, Gordon & Co., L.P., (ii) Avenue Capital Man-
agement II, L.P., (iii) Capital Research and Management Company, Capital Guardian Trust Company and
Capital International, Inc., (iv) Credit Suisse Securities (USA) LLC, (v) Regiment Capital Management,
LLC, (vi) [reserved], (vii) any group (within the meaning of Section 13(d)(3) or 14(d)(2) of the Exchange
Act or any successor provision) of which any of the Permitted Holders specified in clauses (i)-(v)
above are members, and (viii) the respective Affiliates of each of the foregoing; provided that in the case
of any group specified in clause (vii) above, without giving effect to such group, Permitted Holders speci-
fied in clauses (i)-(v) above and their respective Affiliates must collectively beneficially own a greater
amount of the total voting power of the Voting Stock of the Issuer than the amount of the total voting
power of the Voting Stock of the Issuer beneficially owned by any other member of such group.

                                                     -20-

                                                                                                   100432088 v3
10-16140-mg     Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                        Pg 194 of 771


              “Permitted Investments” means:

              (1)     any Investment in the Issuer or any of its Restricted Subsidiaries;

              (2)     any Investment in cash and Cash Equivalents;

             (3)      any Investment by the Issuer or any of its Restricted Subsidiaries in a Person that
     is engaged in a Similar Business if as a result of such Investment:

                      (a)      such Person becomes a Restricted Subsidiary; or

                        (b)     such Person, in one transaction or a series of related transactions, is
              merged or consolidated with or into, or transfers or conveys substantially all of its assets
              to, or is liquidated into, the Issuer or a Restricted Subsidiary,

     and, in each case, any Investment held by such Person; provided that such Investment was not ac-
     quired by such Person in contemplation of such acquisition, merger, consolidation or transfer;

             (4)      any Investment in securities or other assets not constituting cash or Cash Equiva-
     lents and received in connection with an Asset Sale made pursuant to the provisions of Section
     4.10 hereof or any other disposition of assets not constituting an Asset Sale;

              (5)     any Investment existing on the Issue Date;

              (6)     any Investment acquired by the Issuer or any of its Restricted Subsidiaries:

                      (a)      in exchange for any other Investment or accounts receivable held by the
              Issuer or any such Restricted Subsidiary in connection with or as a result of a bankruptcy,
              workout, reorganization or recapitalization of the issuer of such other Investment or ac-
              counts receivable; or

                      (b)      as a result of a foreclosure by the Issuer or any of its Restricted Subsidi-
              aries with respect to any secured Investment or other transfer of title with respect to any
              secured Investment in default;

              (7)     Hedging Obligations permitted under clause (10) of Section 4.09(b) hereof;

             (8)      any Investment in a Similar Business having an aggregate fair market value, tak-
     en together with all other Investments made pursuant to this clause (8) that are at that time out-
     standing, not to exceed the greater of (x) $25.0 million and (y) 3.0% of Total Assets at the time of
     such Investment (with the fair market value of each Investment being measured at the time made
     and without giving effect to subsequent changes in value);

              (9)     Investments the payment for which consists of Equity Interests (exclusive of
     Disqualified Stock) of the Issuer, or any of its direct or indirect parent companies; provided, how-
     ever, that such Equity Interests will not increase the amount available for Restricted Payments
     under clause (3) of Section 4.07(a) hereof;

              (10)    guarantees of Indebtedness permitted under Section 4.09 hereof;


                                                  -21-

                                                                                                100432088 v3
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                       Pg 195 of 771


             (11)      any transaction to the extent it constitutes an Investment that is permitted and
     made in accordance with the provisions of Section 4.11(b) hereof (except transactions described
     in clauses (2), (5) and (16) of Section 4.11(b) hereof);

              (12)     additional Investments having an aggregate fair market value, taken together with
     all other Investments made pursuant to this clause (12) that are at that time outstanding (without
     giving effect to the sale of an Unrestricted Subsidiary to the extent the proceeds of such sale do
     not consist of cash or marketable securities), not to exceed the greater of (x) $40.0 million and
     (y) 5.0% of Total Assets at the time of such Investment (with the fair market value of each In-
     vestment being measured at the time made and without giving effect to subsequent changes in
     value);

            (13)    loans and advances to, or guarantees of Indebtedness of, officers, directors and
     employees in an amount not to exceed $5.0 million at any time outstanding;

             (14)    loans and advances to officers, directors and employees for business related tra-
     vel expenses, moving expenses and other similar expenses, in each case incurred in the ordinary
     course of business; and

             (15)    prepaid expenses, deposits, advances, loans or extensions of trade credit in the
     ordinary course of business by the Issuer or any Restricted Subsidiaries.

              “Permitted Liens” means, with respect to any Person:

              (1)      pledges or deposits by such Person under workmen’s compensation laws, unem-
     ployment insurance laws or similar legislation, or good faith deposits in connection with bids,
     tenders, contracts (other than for the payment of Indebtedness) or leases to which such Person is a
     party, or deposits to secure public or statutory obligations of such Person or deposits of cash or
     U.S. government bonds to secure surety or appeal bonds to which such Person is a party, or depo-
     sits as security for contested taxes or import duties or for the payment of rent, in each case in-
     curred in the ordinary course of business;

             (2)      Liens imposed by law, such as carriers’, warehousemen’s and mechanics’ Liens,
     in each case for sums not yet overdue for a period of more than 30 days or being contested in
     good faith by appropriate proceedings or other Liens arising out of judgments or awards against
     such Person with respect to which such Person shall then be proceeding with an appeal or other
     proceedings for review if adequate reserves with respect thereto are maintained on the books of
     such Person in accordance with GAAP;

              (3)     Liens for taxes, assessments or other governmental charges not yet overdue for a
     period of more than 30 days or payable or subject to penalties for nonpayment or which are being
     contested in good faith by appropriate proceedings diligently conducted, if adequate reserves with
     respect thereto are maintained on the books of such Person in accordance with GAAP;

              (4)     Liens in favor of issuers of performance and surety bonds or bid bonds or with
     respect to other regulatory requirements or letters of credit issued pursuant to the request of and
     for the account of such Person in the ordinary course of its business;

              (5)      minor survey exceptions, minor encumbrances, easements or reservations of, or
     rights of others for, licenses, rights-of-way, sewers, electric lines, telegraph and telephone lines
     and other similar purposes, or zoning or other restrictions as to the use of real properties or Liens
                                                  -22-

                                                                                               100432088 v3
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                       Pg 196 of 771


     incidental, to the conduct of the business of such Person or to the ownership of its properties
     which were not incurred in connection with Indebtedness and which do not in the aggregate mate-
     rially adversely affect the value of said properties or materially impair their use in the operation
     of the business of such Person;

             (6)      (i) Liens securing Indebtedness under the Credit Agreement incurred pursuant to
     clause (1) of Section 4.09(b) hereof (and the related guarantees) and (ii) Liens securing Indebted-
     ness permitted to be incurred pursuant to clause (4) of Section 4.09(b) hereof covering only the
     property (real or personal) or equipment (other than software), whether through the direct pur-
     chase of assets or the Capital Stock of any Person owning such assets, in each case, financed by
     or acquired with such Indebtedness;

             (7)     Liens existing on the Issue Date (other than Liens in favor of secured parties un-
     der the Credit Agreement and Liens under clause (33) of this definition);

              (8)      Liens on property or shares of stock or other assets of a Person at the time such
     Person becomes a Subsidiary; provided, however, such Liens are not created or incurred in con-
     nection with, or in contemplation of, such other Person becoming such a Subsidiary; provided,
     further, however, that such Liens may not extend to any other property or assets owned by the Is-
     suer or any of its Restricted Subsidiaries;

              (9)     Liens on property or other assets at the time the Issuer or a Restricted Subsidiary
     acquired the property or such other assets, including any acquisition by means of a merger or
     consolidation with or into the Issuer or any of its Restricted Subsidiaries; provided, however, that
     such Liens are not created or incurred in connection with, or in contemplation of, such acquisi-
     tion; provided, further, however, that the Liens may not extend to any other property owned by
     the Issuer or any of its Restricted Subsidiaries;

              (10)     Liens securing Indebtedness or other obligations of a Restricted Subsidiary ow-
     ing to the Issuer or another Restricted Subsidiary permitted to be incurred in accordance with
     Section 4.09 hereof;

              (11)    Liens securing Hedging Obligations;

             (12)    Liens on specific items of inventory or other goods and proceeds of any Person
     securing such Person’s obligations in respect of bankers’ acceptances issued or created for the ac-
     count of such Person to facilitate the purchase, shipment or storage of such inventory or other
     goods;

              (13)     leases, subleases, licenses or sublicenses granted to others in the ordinary course
     of business which do not materially interfere with the ordinary conduct of the business of the Is-
     suer or any of its Restricted Subsidiaries and do not secure any Indebtedness;

             (14)     Liens arising from Uniform Commercial Code financing statement filings regard-
     ing operating leases entered into by the Issuer and its Restricted Subsidiaries in the ordinary
     course of business;

              (15)    Liens in favor of the Issuer or any Guarantor;

             (16)    Liens on equipment of the Issuer or any of its Restricted Subsidiaries granted in
     the ordinary course of business to the Issuer’s clients not related to Indebtedness;
                                                 -23-

                                                                                               100432088 v3
10-16140-mg     Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                        Pg 197 of 771


              (17)    Liens to secure any refinancing, refunding, extension, renewal or replacement (or
     successive refinancing, refunding, extensions, renewals or replacements) as a whole, or in part, of
     any Indebtedness secured by any Lien referred to in the foregoing clauses (6), (7), (8) and (9) and
     the succeeding clause (33) (provided, that, with respect to Liens incurred to refinance Liens under
     clause (33), the Lien pursuant to such refinancing shall have the same relative priority as the Lien
     being refinanced); provided, however, that (a) such new Lien shall be limited to all or part of the
     same property that secured the original Lien (plus improvements on such property), and (b) the
     Indebtedness secured by such Lien at such time is not increased to any amount greater than the
     sum of (i) the outstanding principal amount or, if greater, committed amount of the Indebtedness
     described under the foregoing clauses (6), (7), (8), (9) and (33) at the time the original Lien be-
     came a Permitted Lien under this Indenture, and (ii) an amount necessary to pay any accrued in-
     terest and fees and expenses, including premiums, related to such refinancing, refunding, exten-
     sion, renewal or replacement;

              (18)    deposits made in the ordinary course of business to secure liability to insurance
     carriers;

             (19)    other Liens that are not on Collateral securing obligations incurred in the ordi-
     nary course of business which obligations do not exceed $10.0 million at any one time outstand-
     ing;

              (20)     Liens securing judgments for the payment of money not constituting an Event of
     Default under clause (5) of Section 6.01(a) hereof, so long as such Liens are adequately bonded
     and any appropriate legal proceedings that may have been duly initiated for the review of such
     judgment have not been finally terminated or the period within which such proceedings may be
     initiated has not expired;

             (21)    Liens in favor of customs and revenue authorities arising as a matter of law to se-
     cure payment of customs duties in connection with the importation of goods in the ordinary
     course of business;

               (22)    Liens (i) of a collection bank arising under Section 4-210 of the Uniform Com-
     mercial Code (or any comparable or successor provision) on items in the course of collection,
     (ii) attaching to commodity trading accounts or other commodity brokerage accounts incurred in
     the ordinary course of business, and (iii) in favor of banking institutions arising as a matter of law
     encumbering deposits (including the right of set-off) and which are within the general parameters
     customary in the banking industry;

             (23)     Liens deemed to exist in connection with Investments in repurchase agreements
     permitted under Section 4.09 hereof; provided that such Liens do not extend to any assets other
     than those that are the subject of such repurchase agreements;

              (24)    Liens encumbering reasonable customary initial deposits and margin deposits
     and similar Liens attaching to commodity trading accounts or other brokerage accounts incurred
     in the ordinary course of business and not for speculative purposes;

               (25)    Liens that are contractual rights of set-off (i) relating to the establishment of de-
     pository relations with banks not given in connection with the issuance of Indebtedness,
     (ii) relating to pooled deposit or sweep accounts of the Issuer or any of its Restricted Subsidiaries
     to permit satisfaction of overdraft or similar obligations incurred in the ordinary course of busi-
     ness of the Issuer and its Restricted Subsidiaries or (iii) relating to purchase orders and other
                                                   -24-

                                                                                                100432088 v3
10-16140-mg         Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 198 of 771


        agreements entered into with customers of the Issuer or any of its Restricted Subsidiaries in the
        ordinary course of business;

                 (26)    any encumbrance or restriction (including put and call arrangements) with re-
        spect to Capital Stock of any joint venture or similar arrangement pursuant to any joint venture or
        similar agreement;

                (27)     Liens arising out of conditional sale, title retention, consignment or similar ar-
        rangements for the sale or purchase of goods entered into by the Issuer or any of its Restricted
        Subsidiaries in the ordinary course of business;

                (28)     Liens arising under this Indenture in favor of the Trustee for its own benefit and
        similar Liens in favor of other trustees, agents and representatives arising under instruments go-
        verning Indebtedness permitted to be incurred or outstanding under this Indenture, provided that
        such Liens are solely for the benefit of the trustees, agents and representatives in their capacities
        as such and not for the benefit of the holders of such Indebtedness;

                (29)    Liens arising from the deposit of funds or securities in trust for the purpose of
        decreasing or defeasing Indebtedness so long as such deposit of funds or securities and such de-
        creasing or defeasing of Indebtedness are permitted under Section 4.07 hereof;

                  (30)   Liens on the Equity Interests of Unrestricted Subsidiaries;

                  (31)   Liens on assets of Foreign Subsidiaries to secure Indebtedness of Foreign Subsid-
        iaries;

                 (32)     Liens incurred to secure First Lien Obligations or Permitted Second Lien Obliga-
        tions permitted to be incurred pursuant to Section 4.09(a) or clause (12)(b) of Section 4.09(b);
        provided, that such Indebtedness may only be First Lien Obligations if, on a pro forma basis im-
        mediately after giving effect thereto, the First Lien Leverage Ratio for the Issuer and its Re-
        stricted Subsidiaries on a consolidated basis for the most recently ended four fiscal quarters for
        which internal financial statements are available immediately preceding the date of such transac-
        tion is equal to or less than 2.75 to 1.0; provided further, that such Indebtedness may be Permitted
        Second Lien Obligations if, at the time of incurrence and after giving pro forma effect thereto, the
        Consolidated Secured Leverage Ratio would be no greater than 4.0 to 1.0; and

                  (33)   Liens on the Collateral securing:

                (a)      the Notes (other than Additional Notes), the Guarantees thereof and other Obliga-
        tions under this Indenture and in respect thereof and any obligations owing to the Trustee or the
        Collateral Agent under this Indenture or the Security Documents; and

                 (b)       obligations under the First Lien Notes outstanding on the Issue Date and under
        clause (iii) or clause (iv) of the definition of “First Lien Obligations”.

                 In each case set forth above, notwithstanding any stated limitation on the assets that may
be subject to such Lien, a Permitted Lien on a specified asset or group or type of assets may include Liens
on all improvements, additions, and accessions thereto and all products and proceeds thereof, including
dividends, distributions, interest and increases in respect thereof.


                                                    -25-

                                                                                                  100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 199 of 771


                For purposes of this definition, the term “Indebtedness” shall be deemed to include inter-
est on such Indebtedness.

                “Permitted Second Lien Obligations” means the Notes and any Indebtedness secured by a
Lien ranking pari passu with the Lien security the Notes and incurred under clause (32) of the definition
of “Permitted Liens.”

                 “Person” means any individual, corporation, limited liability company, partnership, joint
venture, association, joint stock company, trust, unincorporated organization, government or any agency
or political subdivision thereof or any other entity.

                “Preferred Stock” means any Equity Interest with preferential rights of payment of divi-
dends or upon liquidation, dissolution, or winding up.

                 “Private Placement Legend” means the legend set forth in Section 2.06(g)(i) hereof to be
placed on all Notes issued under this Indenture, except where otherwise permitted by the provisions of
this Indenture.

                  “Purchase Money Obligations” means any Indebtedness incurred to finance or refinance
the acquisition, leasing, construction or improvement of property (real or personal) or assets (other than
Capital Stock), and whether acquired through the direct acquisition of such property or assets, or other-
wise.

                “QIB” means a “qualified institutional buyer” as defined in Rule 144A.

                “Qualified Proceeds” means assets that are used or useful in, or Capital Stock of any Per-
son engaged in, a Similar Business; provided that the fair market value of any such assets or Capital
Stock shall be determined by the Issuer in good faith.

                  “Rating Agencies” means Moody’s and S&P or, if Moody’s or S&P or both shall not
make a rating on the Notes publicly available, a nationally recognized statistical rating agency or agen-
cies, as the case may be, selected by the Issuer which shall be substituted for Moody’s or S&P or both, as
the case may be.

               “Record Date” for the interest or Additional Interest, if any, payable on any applicable
Interest Payment Date means June 1 or December 1 (whether or not a Business Day) next preceding such
Interest Payment Date.

                “Registration Rights Agreement” means the Registration Rights Agreement in respect of
the Notes, dated on or about the Issue Date, among the Issuer, the Guarantors, the Backstop Parties and
the other Holders named on the signature pages thereof, as amended from time to time and as supple-
mented by any joinders to the Registration Rights Agreement.

                “Regulation S” means Regulation S promulgated under the Securities Act.

               “Regulation S Global Note” means a Regulation S Temporary Global Note or Regula-
tion S Permanent Global Note, as applicable.

                 “Regulation S Permanent Global Note” means a permanent Global Note substantially in
the form of Exhibit A hereto bearing the Global Note Legend and the Private Placement Legend and de-
posited with or on behalf of, and registered in the name of, the Depositary or its nominee, issued (or the
                                                   -26-

                                                                                               100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 200 of 771


principal amount of which will be increased) in a denomination equal to the outstanding principal amount
of the Regulation S Temporary Global Note upon expiration of the Restricted Period.

                “Regulation S Temporary Global Note” means a temporary Global Note substantially in
the form of Exhibit A hereto bearing the Global Note Legend and the Private Placement Legend and the
Regulation S Temporary Global Note Legend and deposited with or on behalf of, and registered in the
name of, the Depositary or its nominee, issued (or the principal amount of which will be increased) in a
denomination equal to the outstanding principal amount of the Notes initially issued or sold in reliance on
Rule 903.

                 “Regulation S Temporary Global Note Legend” means the legend set forth in Section
2.06(g)(iii) hereof.

                 “Related Business Assets” means assets (other than cash or Cash Equivalents) used or
useful in a Similar Business, provided that any assets received by the Issuer or a Restricted Subsidiary in
exchange for assets transferred by the Issuer or a Restricted Subsidiary shall not be deemed to be Related
Business Assets if they consist of securities of a Person, unless upon receipt of the securities of such Per-
son, such Person would become a Restricted Subsidiary.

                  “Related Person” means, with respect to any specified Person, such Person’s Affiliates,
and the respective officers, directors, employees, agents, advisors and attorneys-in-fact of such Person
and its Affiliates.

                “Reorganization Plan” shall have the meaning given to it in the recitals hereto.

                 “Responsible Officer” means, when used with respect to the Trustee, any officer within
the corporate trust department of the Trustee having direct responsibility for the administration of this
Indenture, or any other officer to whom any corporate trust matter is referred because of such Person’s
knowledge of and familiarity with the particular subject and who shall have direct responsibility for the
administration of this Indenture.

                “Restricted Definitive Note” means a Definitive Note bearing the Private Placement Le-
gend.

                “Restricted Global Note” means a Global Note bearing the Private Placement Legend.

                “Restricted Investment” means an Investment other than a Permitted Investment.

                “Restricted Period” means the 40-day distribution compliance period as defined in Regu-
lation S.

                 “Restricted Subsidiary” means, at any time, any direct or indirect Subsidiary of the Issuer
(including any Foreign Subsidiary) that is not then an Unrestricted Subsidiary; provided, however, that
upon the occurrence of an Unrestricted Subsidiary ceasing to be an Unrestricted Subsidiary, such Subsid-
iary shall be included in the definition of “Restricted Subsidiary.”

                 “Reversion Date” means, during any period of time during which the Issuer and the Re-
stricted Subsidiaries are not subject to the covenants listed in Section 4.13(a) hereof (the “Suspended Co-
venants”) as a result of a Covenant Suspension, the date on which one or both of the Rating Agencies
withdraws its Investment Grade Rating or downgrades the rating assigned to the Notes below an Invest-

                                                    -27-

                                                                                                  100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                          Pg 201 of 771


ment Grade Rating or a Default or Event of Default occurs and is continuing, and after which date the
Suspended Covenants will thereafter be reinstated.

                “Rule 144” means Rule 144 promulgated under the Securities Act (or any successor rule).

                “Rule 144A” means Rule 144A promulgated under the Securities Act(or any successor
rule).

                “Rule 903” means Rule 903 promulgated under the Securities Act (or any successor rule).

                “Rule 904” means Rule 904 promulgated under the Securities Act (or any successor rule).

                “S&P” means Standard & Poor’s, a division of The McGraw-Hill Companies, Inc., and
any successor to its rating agency business.

                 “Sale and Lease-back Transaction” means any arrangement providing for the leasing by
the Issuer or any of its Restricted Subsidiaries of any real or tangible personal property, which property
has been or is to be sold or transferred by the Issuer or such Restricted Subsidiary to a third Person in
contemplation of such leasing.

                “SEC” means the U.S. Securities and Exchange Commission.

                  “Secured Hedge Agreements” means each agreement that governs Hedging Obligations
by and between the Issuer or any Guarantor, on the one hand, and any Hedge Bank from time to time, but
only to the extent such agreement is permitted under the Credit Agreement and constitutes an “Obliga-
tion” (as such term is defined under the Credit Agreement); provided, however, that such Hedging Obli-
gations shall not, solely by virtue of constituting an “Obligation” (as so defined), also constitute Indeb-
tedness under the Credit Agreement.

                  “Secured Hedging Obligations” means (i) obligations (including obligations which, but
for the automatic stay under Section 362(a) of the Bankruptcy Code, would become due) and liabilities,
whether now existing or hereafter arising (including, without limitation, indemnities, fees and interest
thereon and all interest and fees that accrue on or after the commencement of any Insolvency or Liquida-
tion Proceeding at the rate provided for in the respective Secured Hedge Agreement, whether or not a
claim for post-petition interest or fees is allowed in any such Insolvency or Liquidation Proceeding), of
the Issuer or any Guarantor owing to any Hedge Bank, now existing or hereafter incurred under, or aris-
ing out of or in connection with, any Secured Hedge Agreement (including all such obligations and in-
debtedness under any guarantee of any such Secured Hedge Agreement to which the Issuer or such Gua-
rantor is a party) and (ii) all performance and compliance obligations by the Issuer or any Guarantor un-
der any Secured Hedge Agreement.

                “Secured Indebtedness” means any Indebtedness of the Issuer or any of its Restricted
Subsidiaries secured by a Lien.

                “Securities Act” means the Securities Act of 1933, as amended, and the rules and regula-
tions of the SEC promulgated thereunder.

                “Security Documents” means the security documents granting a security interest in any
assets of any Person to secure the Obligations under the Notes and the Guarantees as each may be
amended, restated, supplemented or otherwise modified from time to time.

                                                   -28-

                                                                                               100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                          Pg 202 of 771


                “Significant Subsidiary” means any Restricted Subsidiary that would be a “significant
subsidiary” as defined in Article 1, Rule 1-02 of Regulation S-X, promulgated pursuant to the Securities
Act, as such regulation is in effect on the Issue Date.

                 “Similar Business” means any business conducted or proposed to be conducted by the Is-
suer and its Restricted Subsidiaries on the Issue Date or any business that is similar, reasonably related,
incidental or ancillary thereto.

                “Subsidiary” means, with respect to any Person:

                 (1)      any corporation, association, or other business entity (other than a partnership,
        joint venture, limited liability company or similar entity) of which more than 50% of the total vot-
        ing power of shares of Capital Stock entitled (without regard to the occurrence of any contingen-
        cy) to vote in the election of directors, managers or trustees thereof is at the time of determination
        owned or controlled, directly or indirectly, by such Person or one or more of the other Subsidiar-
        ies of that Person or a combination thereof or is consolidated under GAAP with such Person at
        such time; and

                 (2)     any partnership, joint venture, limited liability company or similar entity of
        which (x) more than 50% of the capital accounts, distribution rights, total equity and voting inter-
        ests or general or limited partnership interests, as applicable, are owned or controlled, directly or
        indirectly, by such Person or one or more of the other Subsidiaries of that Person or a combina-
        tion thereof whether in the form of membership, general, special or limited partnership or other-
        wise, and (y) such Person or any Restricted Subsidiary of such Person is a controlling general
        partner or otherwise controls such entity.

               “TIA” or “Trust Indenture Act” means the Trust Indenture Act of 1939, as amended (15
U.S.C. §§ 77aaa-77bbbb).

                 “Total Assets” means the total consolidated assets of the Issuer and its Restricted Subsid-
iaries, as shown on the most recent balance sheet of the Issuer.

                 “Total Consolidated Indebtedness” means the aggregate amount of all Indebtedness of
the Issuer and its Restricted Subsidiaries, outstanding as of such date of determination, determined on a
consolidated basis, after giving effect to any incurrence of Indebtedness and the application of the
proceeds therefrom giving rise to such determination (but excluding Indebtedness of the type described in
clause (d) of the definition thereof and Indebtedness issued in payment of interest obligations), less up to
$20.0 million of unrestricted cash and Cash Equivalents of the Issuer and its Restricted Subsidiaries as of
such date of determination.

                 “Treasury Rate” means, as of any Redemption Date, the yield to maturity as of such Re-
demption Date of United States Treasury securities with a constant maturity (as compiled and published
in the most recent Federal Reserve Statistical Release H.15 (519) that has become publicly available at
least two Business Days prior to the Redemption Date (or, if such Statistical Release is no longer pub-
lished, any publicly available source of similar market data)) most nearly equal to the period from the
Redemption Date to December 15, 2013; provided, however, that if the period from the Redemption Date
to December 15, 2013 is less than one year, the weekly average yield on actually traded United States
Treasury securities adjusted to a constant maturity of one year will be used.

                “Trustee” shall have the meaning given to it in the recitals hereto.

                                                    -29-

                                                                                                 100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 203 of 771


                 “Unrestricted Definitive Note” means one or more Definitive Notes that do not bear and
are not required to bear the Private Placement Legend.

                  “Unrestricted Global Note” means a permanent Global Note, substantially in the form of
Exhibit A attached hereto, that bears the Global Note Legend and that has the “Schedule of Exchanges of
Interests in the Global Note or Increase/Decrease in the Principal Amount of the Global Note” attached
thereto, and that is deposited with or on behalf of and registered in the name of the Depositary,
representing Notes that do not bear and are not required to bear the Private Placement Legend.

                “Unrestricted Subsidiary” means:

                (1)     any Subsidiary of the Issuer which at the time of determination is an Unrestricted
        Subsidiary (as designated by the Issuer, as provided below); and

                (2)      any Subsidiary of an Unrestricted Subsidiary.

                 The Issuer may designate any Subsidiary of the Issuer (including any existing Subsidiary
and any newly acquired or newly formed Subsidiary) to be an Unrestricted Subsidiary unless such Sub-
sidiary or any of its Subsidiaries owns any Equity Interests or Indebtedness of, or owns or holds any Lien
on, any property of, the Issuer or any Subsidiary of the Issuer (other than solely any Subsidiary of the
Subsidiary to be so designated); provided that

                  (1)      any Unrestricted Subsidiary must be an entity of which the Equity Interests en-
        titled to cast at least a majority of the votes that may be cast by all Equity Interests having ordi-
        nary voting power for the election of directors or Persons performing a similar function are
        owned, directly or indirectly, by the Issuer;

                (2)      such designation complies with Section 4.07 hereof; and

                (3)      each of:

                         (a)        the Subsidiary to be so designated; and

                         (b)        its Subsidiaries

        has not at the time of designation, and does not thereafter, create, incur, issue, assume, guarantee
        or otherwise become directly or indirectly liable with respect to any Indebtedness pursuant to
        which the lender has recourse to any of the assets of the Issuer or any Restricted Subsidiary (other
        than a pledge of the Equity Interests of such Unrestricted Subsidiary).

                 The Issuer may designate any Unrestricted Subsidiary to be a Restricted Subsidiary; pro-
vided that, immediately after giving effect to such designation, no Default shall have occurred and be con-
tinuing and the Issuer could incur at least $1.00 of additional Indebtedness pursuant to the Consolidated
Leverage Ratio test set forth in Section 4.09(a) hereof.

                 Any such designation by the Issuer shall be notified by the Issuer to the Trustee by
promptly filing with the Trustee a copy of the resolution of the Board of Directors of the Issuer or any
committee thereof giving effect to such designation (which resolution must be certified by the Secretary
or an Assistant Secretary of the Issuer) and an Officers’ Certificate certifying that such designation com-
plied with the foregoing provisions.

                                                       -30-

                                                                                                   100432088 v3
10-16140-mg                 Doc 116              Filed 12/15/10 Entered 12/15/10 23:40:47                                            Main Document
                                                           Pg 204 of 771


                         “Unsecured Indebtedness” means Indebtedness that is not Secured Indebtedness.

                         “U.S. Person” means a U.S. person as defined in Rule 902(k) under the Securities Act.

                  “Voting Stock” of any Person as of any date means the Capital Stock of such Person that
is at the time entitled to vote in the election of the board of directors of such Person.

                “Weighted Average Life to Maturity” means, when applied to any Indebtedness, Disquali-
fied Stock or Preferred Stock, as the case may be, at any date, the quotient obtained by dividing:

                     (1)     the sum of the products of the number of years from the date of determination to
            the date of each successive scheduled principal payment of such Indebtedness or redemption or
            similar payment with respect to such Disqualified Stock or Preferred Stock multiplied by the
            amount of such payment; by

                         (2)         the sum of all such payments.

                “Wholly Owned Subsidiary” of any Person means a Subsidiary of such Person, 100% of
the outstanding Equity Interests of which (other than directors’ qualifying shares) shall at the time be
owned by such Person or by one or more Wholly Owned Subsidiaries of such Person.

Section 1.02             Other Definitions.

                                                                                                                                           Defined in
Term                                                                                                                                        Section
“Action” ...............................................................................................................................     10.09
“Affiliate Transaction” .........................................................................................................            4.11
“Application Period” ............................................................................................................             4.10
“Asset Sale Offer” ................................................................................................................          4.10
“Authentication Order” ........................................................................................................              2.02
“Change of Control Offer” ...................................................................................................                4.14
“Change of Control Payment” .............................................................................................                    4.14
“Change of Control Payment Date”.....................................................................................                        4.14
“Covenant Defeasance” .......................................................................................................                8.03
“DTC” ..................................................................................................................................     2.03
“Event of Default” ................................................................................................................          6.01
“Excess Proceeds” ...............................................................................................................            4.10
“incur” or “incurrence”........................................................................................................              4.09
“Initial Lien” .......................................................................................................................        4.12
“Legal Defeasance” .............................................................................................................             8.02
“Note Register” ....................................................................................................................         2.03
“Offer Amount” ....................................................................................................................          3.09
“Offer Period” ......................................................................................................................        3.09
“Pari Passu Indebtedness” ...................................................................................................                4.10
“Paying Agent”.....................................................................................................................          2.03
“Purchase Date” ..................................................................................................................           3.09
“Redemption Date” ..............................................................................................................             3.07
“Refinancing Indebtedness” .................................................................................................                 4.09
“Registrar” ...........................................................................................................................      2.03
“Registration Statement” ......................................................................................................              4.03
                                                                              -31-

                                                                                                                                           100432088 v3
10-16140-mg                  Doc 116          Filed 12/15/10 Entered 12/15/10 23:40:47                                        Main Document
                                                        Pg 205 of 771


                                                                                                                                    Defined in
Term                                                                                                                                 Section
“Replacement Assets” ..........................................................................................................       4.09
“Restricted Payments” .........................................................................................................       4.07
“Security Document Order” ................................................................................................            10.09
“Successor Company” ..........................................................................................................        5.01
“Successor Person” ..............................................................................................................     5.01
“Suspended Covenants” ......................................................................................................           1.01
“Treasury Capital Stock” .....................................................................................................        4.07

Section 1.03           Incorporation by Reference of Trust Indenture Act.

                 Except as otherwise expressly provided herein prior to the qualification of this Indenture
under the Trust Indenture Act, whenever this Indenture refers to a provision of the Trust Indenture Act,
the provision is incorporated by reference in and made a part of this Indenture.

                       The following Trust Indenture Act terms used in this Indenture have the following mean-
ings:

                       “indenture securities” means the Notes;

                       “indenture security holder” means a Holder of a Note;

                       “indenture to be qualified” means this Indenture;

                       “indenture trustee” or “institutional trustee” means the Trustee; and

                     “obligor” on the Notes and the Guarantees means the Issuer and the Guarantors, respec-
            tively, and any successor obligor upon the Notes and the Guarantees, respectively.

                All other terms used in this Indenture that are defined by the Trust Indenture Act, defined
by Trust Indenture Act reference to another statute or defined by SEC rule under the Trust Indenture Act
have the meanings so assigned to them.

Section 1.04           Rules of Construction.

                       Unless the context otherwise requires:

                       (a)         a term has the meaning assigned to it;

               (b)  an accounting term not otherwise defined has the meaning assigned to it in ac-
cordance with GAAP;

                       (c)         “or” is not exclusive;

                       (d)         words in the singular include the plural, and in the plural include the singular;

                       (e)         “will” shall be interpreted to express a command;

                       (f)         provisions apply to successive events and transactions;

                                                                          -32-

                                                                                                                                    100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 206 of 771


                 (g)     references to sections of, or rules under, the Securities Act shall be deemed to in-
clude substitute, replacement or successor sections or rules adopted by the SEC from time to time;

                 (h)     unless the context otherwise requires, any reference to an “Article,” “Section” or
“clause” refers to an Article, Section or clause, as the case may be, of this Indenture;

                  (i)     the words “herein,” “hereof” and “hereunder” and other words of similar import
refer to this Indenture as a whole and not any particular Article, Section, clause or other subdivision; and

                  (j)     references to “interest” shall also be deemed to be references to “Additional In-
terest,” unless the context otherwise requires.

Section 1.05     Acts of Holders.

                (a)      Any request, demand, authorization, direction, notice, consent, waiver or other
action provided by this Indenture to be given or taken by Holders may be embodied in and evidenced by
one or more instruments of substantially similar tenor signed by such Holders in person or by an agent
duly appointed in writing. Except as herein otherwise expressly provided, such action shall become ef-
fective when such instrument or instruments or record or both are delivered to the Trustee and, where it is
hereby expressly required, to the Issuer. Proof of execution of any such instrument or of a writing ap-
pointing any such agent, or the holding by any Person of a Note, shall be sufficient for any purpose of this
Indenture and (subject to Section 7.01 hereof) conclusive in favor of the Trustee and the Issuer, if made in
the manner provided in this Section 1.05.

                  (b)     The fact and date of the execution by any Person of any such instrument or writ-
ing may be proved by the affidavit of a witness of such execution or by the certificate of any notary public
or other officer authorized by law to take acknowledgments of deeds, certifying that the individual sign-
ing such instrument or writing acknowledged to him the execution thereof. Where such execution is by or
on behalf of any legal entity other than an individual, such certificate or affidavit shall also constitute
proof of the authority of the Person executing the same. The fact and date of the execution of any such
instrument or writing, or the authority of the Person executing the same, may also be proved in any other
manner that the Trustee deems sufficient.

                 (c)     The ownership of Notes shall be proved by the Note Register.

                 (d)     Any request, demand, authorization, direction, notice, consent, waiver or other
action by the Holder of any Note shall bind every future Holder of the same Note and the Holder of every
Note issued upon the registration of transfer thereof or in exchange therefor or in lieu thereof, in respect
of any action taken, suffered or omitted by the Trustee or the Issuer in reliance thereon, whether or not
notation of such action is made upon such Note.

                  (e)      The Issuer may, in the circumstances permitted by the Trust Indenture Act, set a
record date for purposes of determining the identity of Holders entitled to give any request, demand, au-
thorization, direction, notice, consent, waiver or take any other act, or to vote or consent to any action by
vote or consent authorized or permitted to be given or taken by Holders. Unless otherwise specified, if
not set by the Issuer prior to the first solicitation of a Holder made by any Person in respect of any such
action, or in the case of any such vote, prior to such vote, any such record date shall be the later of 30
days prior to the first solicitation of such consent or the date of the most recent list of Holders furnished to
the Trustee prior to such solicitation.


                                                     -33-

                                                                                                   100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 207 of 771


                 (f)      Without limiting the foregoing, a Holder entitled to take any action hereunder
with regard to any particular Note may do so with regard to all or any part of the principal amount of such
Note or by one or more duly appointed agents, each of which may do so pursuant to such appointment
with regard to all or any part of such principal amount. Any notice given or action taken by a Holder or
its agents with regard to different parts of such principal amount pursuant to this paragraph shall have the
same effect as if given or taken by separate Holders of each such different part.

                 (g)     Without limiting the generality of the foregoing, a Holder, including DTC that is
the Holder of a Global Note, may make, give or take, by a proxy or proxies duly appointed in writing, any
request, demand, authorization, direction, notice, consent, waiver or other action provided in this Inden-
ture to be made, given or taken by Holders, and DTC that is the Holder of a Global Note may provide its
proxy or proxies to the beneficial owners of interests in any such Global Note through such depositary’s
standing instructions and customary practices.

                 (h)      The Issuer may fix a record date for the purpose of determining the Persons who
are beneficial owners of interests in any Global Note held by DTC entitled under the procedures of such
depositary to make, give or take, by a proxy or proxies duly appointed in writing, any request, demand,
authorization, direction, notice, consent, waiver or other action provided in this Indenture to be made,
given or taken by Holders. If such a record date is fixed, the Holders on such record date or their duly
appointed proxy or proxies, and only such Persons, shall be entitled to make, give or take such request,
demand, authorization, direction, notice, consent, waiver or other action, whether or not such Holders re-
main Holders after such record date. No such request, demand, authorization, direction, notice, consent,
waiver or other action shall be valid or effective if made, given or taken more than 90 days after such
record date.

                                               ARTICLE 2

                                               THE NOTES

Section 2.01    Form and Dating; Terms.

                  (a)     General. The Notes and the Trustee’s certificate of authentication shall be sub-
stantially in the form of Exhibit A hereto. The Notes may have notations, legends or endorsements re-
quired by law, stock exchange rules or usage. Each Note shall be dated the date of its authentication. The
Notes shall be in minimum denominations of $2,000 and integral multiples of $1,000 in excess thereof.

                  (b)     The terms and provisions contained in the Notes, a form of which is annexed he-
reto as Exhibit A, shall constitute, and are hereby expressly made, a part of this Indenture and, to the ex-
tent applicable, the Issuer, the Guarantors and the Trustee, by their execution and delivery of this Inden-
ture, expressly agree to such terms and provisions and to be bound thereby. Any reference to a Guarantor
herein shall be deemed to be a reference thereto solely from and after the date of its execution and deli-
very of this Indenture or a supplemental indenture hereto in the form of Exhibit D hereto.

                (c)      Global Notes. Notes issued in global form shall be substantially in the form of
Exhibit A hereto (including the Global Note Legend thereon and the “Schedule of Exchanges of Interests
in the Global Note or Increase/Decrease in the Principal Amount of the Global Note” attached thereto).
Notes issued in definitive form shall be substantially in the form of Exhibit A hereto (but without the
Global Note Legend thereon and without the “Schedule of Exchanges of Interests in the Global Note or
Increase/Decrease in the Principal Amount of the Global Note” attached thereto). Each Global Note shall
represent such of the outstanding Notes as shall be specified in the “Schedule of Exchanges of Interests in
the Global Note or Increase/Decrease in the Principal Amount of the Global Note” attached thereto and
                                                     -34-

                                                                                                100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 208 of 771


each shall provide that it shall represent up to the aggregate principal amount of Notes from time to time
endorsed thereon and that the aggregate principal amount of outstanding Notes represented thereby may
from time to time be reduced or increased, as applicable, to reflect exchanges and redemptions. Any en-
dorsement of a Global Note to reflect the amount of any increase or decrease in the aggregate principal
amount of outstanding Notes represented thereby shall be made by the Trustee or the Custodian, at the
direction of the Trustee, in accordance with instructions given by the Holder thereof as required by Sec-
tion 2.06 hereof.

                  (d)     Temporary Global Notes. Notes issued in reliance on Regulation S shall be is-
sued initially in the form of the Regulation S Temporary Global Note, which shall be deposited on behalf
of the purchasers of the Notes represented thereby with the Trustee, as custodian for the Depositary, and
registered in the name of the Depositary or the nominee of the Depositary for the accounts of designated
agents holding on behalf of Euroclear or Clearstream, duly executed by the Issuer and authenticated by
the Trustee as hereinafter provided. The Restricted Period shall be terminated upon the receipt by the
Trustee of:

                  (i)   a written certificate from the Depositary, together with copies of certificates from
        Euroclear and Clearstream certifying that they have received certification of non-United States
        beneficial ownership of 100% of the aggregate principal amount of the Regulation S Temporary
        Global Note (except to the extent of any beneficial owners thereof who acquired an interest there-
        in during the Restricted Period pursuant to another exemption from registration under the Securi-
        ties Act and who shall take delivery of a beneficial ownership interest in a 144A Global Note
        bearing a Private Placement Legend, all as contemplated by Section 2.06(b) hereof); and

                (ii)    an Officers’ Certificate from the Issuer.

                Following the termination of the Restricted Period, beneficial interests in the Regulation
S Temporary Global Note shall be exchanged for beneficial interests in the Regulation S Permanent
Global Note pursuant to the Applicable Procedures. Simultaneously with the authentication of the Regu-
lation S Permanent Global Note, the Trustee shall cancel the Regulation S Temporary Global Note. The
aggregate principal amount of the Regulation S Temporary Global Note and the Regulation S Permanent
Global Note may from time to time be increased or decreased by adjustments made on the records of the
Trustee and the Depositary or its nominee, as the case may be, in connection with transfers of interest as
hereinafter provided.

                (e)      Terms. The aggregate principal amount of Notes that may be authenticated and
delivered under this Indenture is unlimited.

                  The terms and provisions contained in the Notes shall constitute, and are hereby express-
ly made, a part of this Indenture and the Issuer, the Guarantors and the Trustee, by their execution and
delivery of this Indenture, expressly agree to such terms and provisions and to be bound thereby. How-
ever, to the extent any provision of any Note conflicts with the express provisions of this Indenture, the
provisions of this Indenture shall govern and be controlling.

                 The Notes shall be subject to repurchase by the Issuer pursuant to an Asset Sale Offer as
provided in Section 4.10 hereof or a Change of Control Offer as provided in Section 4.14 hereof. The
Notes shall not be redeemable, other than as provided in Article 3 hereof.

                Additional Notes ranking pari passu with the Initial Notes may be created and issued
from time to time by the Issuer without notice to or consent of the Holders and shall be consolidated with
and form a single class with the Initial Notes and shall have the same terms as to status, redemption or
                                                    -35-

                                                                                                100432088 v3
10-16140-mg         Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                            Pg 209 of 771


otherwise as the Initial Notes; provided that the Issuer’s ability to issue Additional Notes shall be subject
to the Issuer’s compliance with Section 4.09 hereof. The Initial Notes and any Additional Notes subse-
quently issued under this Indenture will be treated as a single class for all purposes under this Indenture,
including waivers, amendments, redemptions and offers to purchase. Unless the context requires other-
wise, references to “Notes” for all purposes of this Indenture include any Additional Notes that are actual-
ly issued.

                 (f)      Euroclear and Clearstream Procedures Applicable. The provisions of the “Oper-
ating Procedures of the Euroclear System” and “Terms and Conditions Governing Use of Euroclear” and
the “General Terms and Conditions of Clearstream Banking” and “Customer Handbook” of Clearstream
shall be applicable to transfers of beneficial interests in the Regulation S Temporary Global Note and the
Regulation S Permanent Global Notes that are held by Participants through Euroclear or Clearstream.

Section 2.02      Execution and Authentication.

                  At least one Officer shall execute the Notes on behalf of the Issuer by manual or facsi-
mile signature.

                 If an Officer whose signature is on a Note no longer holds that office at the time a Note is
authenticated, the Note shall nevertheless be valid.

                A Note shall not be entitled to any benefit under this Indenture or be valid or obligatory
for any purpose until authenticated substantially in the form of Exhibit A hereto by the manual signature
of the Trustee. The signature shall be conclusive evidence that the Note has been duly authenticated and
delivered under this Indenture.

                 On the Issue Date, the Trustee shall, upon receipt of an Issuer Order (an “Authentication
Order”), authenticate and deliver the Initial Notes. In addition, at any time, from time to time, the Trus-
tee shall upon receipt of an Authentication Order authenticate and deliver any Additional Notes. Such
Authentication Order for such Additional Notes shall specify the amount of the Notes to be authenticated
and shall certify that such issuance is in compliance with Sections 4.09 and 4.12 hereof.

                 The Trustee may appoint an authenticating agent acceptable to the Issuer to authenticate
Notes. An authenticating agent may authenticate Notes whenever the Trustee may do so. Each reference
in this Indenture to authentication by the Trustee includes authentication by such agent. An authenticat-
ing agent has the same rights as an Agent to deal with Holders or an Affiliate of the Issuer.

Section 2.03      Registrar and Paying Agent.

                  The Issuer shall maintain an office or agency where Notes may be presented for registra-
tion of transfer or for exchange (“Registrar”) and an office or agency where Notes may be presented for
payment (“Paying Agent”). The Registrar shall keep a register of the Notes (“Note Register”) and of their
transfer and exchange. The Issuer may appoint one or more co-registrars and one or more additional pay-
ing agents. The term “Registrar” includes any co-registrar and the term “Paying Agent” includes any ad-
ditional paying agent. The Issuer may change any Paying Agent or Registrar without prior notice to any
Holder.

                 The Issuer shall notify the Trustee in writing of the name and address of any Agent not a
party to this Indenture. If the Issuer fails to appoint or maintain another entity as Registrar or Paying
Agent, the Trustee shall act as such Paying Agent or Registrar. The Issuer or any of its Subsidiaries may
act as Paying Agent or Registrar.
                                                      -36-

                                                                                                 100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 210 of 771


                 The Issuer initially appoints The Depository Trust Company (“DTC”) to act as Deposita-
ry with respect to the Global Notes. The Issuer initially appoints the Trustee to act as the Paying Agent
and Registrar for the Notes and to act as Custodian with respect to the Global Notes.

Section 2.04     Paying Agent To Hold Money in Trust.

                  The Issuer shall require each Paying Agent other than the Trustee to agree in writing that
the Paying Agent shall hold in trust for the benefit of Holders or the Trustee all money held by the Paying
Agent for the payment of principal, premium, if any, or cash Additional Interest, if any, or without dupli-
cation, cash interest on the Notes, and shall notify the Trustee of any default by the Issuer in making any
such payment. While any such default continues, the Trustee may require a Paying Agent to pay all mon-
ey held by it to the Trustee. The Issuer at any time may require a Paying Agent to pay all money held by
it to the Trustee. Upon payment over to the Trustee, the Paying Agent (if other than the Issuer or a Sub-
sidiary) shall have no further liability for the money. If the Issuer or a Subsidiary acts as Paying Agent, it
shall segregate and hold in a separate trust fund for the benefit of the Holders all money held by it as Pay-
ing Agent. Upon any bankruptcy or reorganization proceedings relating to the Issuer, the Trustee shall
serve as Paying Agent for the Notes.

Section 2.05     Holder Lists.

                  The Trustee shall preserve in as current a form as is reasonably practicable the most re-
cent list available to it of the names and addresses of all Holders and shall otherwise comply with Section
312(a) of the Trust Indenture Act. If the Trustee is not the Registrar, the Issuer shall furnish to the Trus-
tee at least seven Business Days before each Interest Payment Date and at such other times as the Trustee
may request in writing, a list in such form and as of such date as the Trustee may reasonably require of
the names and addresses of the Holders of Notes and the Issuer shall otherwise comply with Section
312(a) of the Trust Indenture Act.

Section 2.06     Transfer and Exchange.

                     (a)      Transfer and Exchange of Global Notes. Except as otherwise set forth in this
Section 2.06, a Global Note may be transferred, in whole and not in part, only to another nominee of the
Depositary or to a successor Depositary or a nominee of such successor Depositary. A beneficial interest
in a Global Note may not be exchanged for a Definitive Note unless (i) the Depositary (x) notifies the Is-
suer that it is unwilling or unable to continue as Depositary for such Global Note or (y) has ceased to be a
clearing agency registered under the Exchange Act and, in either case, a successor Depositary is not ap-
pointed by the Issuer within 120 days (ii) there shall have occurred and be continuing a Default with re-
spect to the Notes or (iii) the Issuer, in its sole discretion notifies the Trustee in writing that it elects to
cause the issuance of Definitive Notes under this Indenture. Upon the occurrence of any of the preceding
events in (i), (ii) or (iii) above, Definitive Notes delivered in exchange for any Global Note or beneficial
interests therein shall be registered in the names, and issued in any approved denominations, requested by
or on behalf of the Depositary (in accordance with its customary procedures). Global Notes also may be
exchanged or replaced, in whole or in part, as provided in Sections 2.07 and 2.10 hereof. Every Note au-
thenticated and delivered in exchange for, or in lieu of, a Global Note or any portion thereof, pursuant to
this Section 2.06 or Section 2.07 or 2.10 hereof, shall be authenticated and delivered in the form of, and
shall be, a Global Note, except for Definitive Notes issued subsequent to any of the preceding events in
(i), (ii) or (iii) above and pursuant to Section 2.06(c) hereof. A Global Note may not be exchanged for
another Note other than as provided in this Section 2.06(a); provided, however, beneficial interests in a
Global Note may be transferred and exchanged as provided in Section 2.06(b), (c) or (f) hereof.


                                                      -37-

                                                                                                    100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                    Main Document
                                          Pg 211 of 771


                 (b)     Transfer and Exchange of Beneficial Interests in the Global Notes. The transfer
and exchange of beneficial interests in the Global Notes shall be effected through the Depositary, in ac-
cordance with the provisions of this Indenture and the Applicable Procedures. Beneficial interests in the
Restricted Global Notes shall be subject to restrictions on transfer comparable to those set forth herein to
the extent required by the Securities Act. Transfers of beneficial interests in the Global Notes also shall
require compliance with either subparagraph (i) or (ii) below, as applicable, as well as one or more of the
other following subparagraphs, as applicable:

                  (i)     Transfer of Beneficial Interests in the Same Global Note. Beneficial interests in
        any Restricted Global Note may be transferred to Persons who take delivery thereof in the form
        of a beneficial interest in the same Restricted Global Note in accordance with the transfer restric-
        tions set forth in the Private Placement Legend; provided, however, that prior to the expiration of
        the Restricted Period, transfers of beneficial interests in the Regulation S Temporary Global Note
        may not be made to a U.S. Person or for the account or benefit of a U.S. Person. Beneficial inter-
        ests in any Unrestricted Global Note may be transferred to Persons who take delivery thereof in
        the form of a beneficial interest in an Unrestricted Global Note. No written orders or instructions
        shall be required to be delivered to the Registrar to effect the transfers described in this Section
        2.06(b)(i).

                 (ii)     All Other Transfers and Exchanges of Beneficial Interests in Global Notes. In
        connection with all transfers and exchanges of beneficial interests that are not subject to Section
        2.06(b)(i) hereof, the transferor of such beneficial interest must deliver to the Registrar either (A)
        (1) a written order from a Participant or an Indirect Participant given to the Depositary in accor-
        dance with the Applicable Procedures directing the Depositary to credit or cause to be credited a
        beneficial interest in another Global Note in an amount equal to the beneficial interest to be trans-
        ferred or exchanged and (2) instructions given in accordance with the Applicable Procedures con-
        taining information regarding the Participant account to be credited with such increase or
        (B) (1) a written order from a Participant or an Indirect Participant given to the Depositary in ac-
        cordance with the Applicable Procedures directing the Depositary to cause to be issued a Defini-
        tive Note in an amount equal to the beneficial interest to be transferred or exchanged and (2) in-
        structions given by the Depositary to the Registrar containing information regarding the Person in
        whose name such Definitive Note shall be registered to effect the transfer or exchange referred to
        in (1) above; provided that in no event shall Definitive Notes be issued upon the transfer or ex-
        change of beneficial interests in the Regulation S Temporary Global Note prior to (A) the expira-
        tion of the Restricted Period and (B) the receipt by the Registrar of any certificates required pur-
        suant to Rule 903. Upon satisfaction of all of the requirements for transfer or exchange of benefi-
        cial interests in Global Notes contained in this Indenture and the Notes or otherwise applicable
        under the Securities Act, the Trustee shall adjust the principal amount of the relevant Global
        Note(s) pursuant to Section 2.06(h) hereof.

                 (iii)   Transfer of Beneficial Interests to Another Restricted Global Note. A beneficial
        interest in any Restricted Global Note may be transferred to a Person who takes delivery thereof
        in the form of a beneficial interest in another Restricted Global Note if the transfer complies with
        the requirements of Section 2.06(b)(ii) hereof and the Registrar receives the following:

                         (A)     if the transferee shall take delivery in the form of a beneficial interest in a
                144A Global Note, then the transferor must deliver a certificate in the form of Exhibit B
                hereto, including the certifications in item (1) thereof;



                                                     -38-

                                                                                                   100432088 v3
10-16140-mg     Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                    Main Document
                                        Pg 212 of 771


                       (B)      if the transferee shall take delivery in the form of a beneficial interest in a
              Regulation S Global Note, then the transferor must deliver a certificate in the form of Ex-
              hibit B hereto, including the certifications in item (2) thereof; or

                       (C)      if the transferee shall take delivery in the form of a beneficial interest in
              an IAI Global Note, then the transferor must deliver a certificate in the form of Exhibit B
              hereto, including the certifications in item (3) thereof, and the transferee must deliver a
              certificate in the form of Exhibit E hereto, together with the legal opinion, if any, required
              thereby.

             (iv)     Transfer and Exchange of Beneficial Interests in a Restricted Global Note for
     Beneficial Interests in an Unrestricted Global Note. A beneficial interest in any Restricted Global
     Note may be exchanged by any holder thereof for a beneficial interest in an Unrestricted Global
     Note or transferred to a Person who takes delivery thereof in the form of a beneficial interest in an
     Unrestricted Global Note if the exchange or transfer complies with the requirements of Section
     2.06(b)(ii) hereof and:

                      (A)      [reserved];

                     (B)      such transfer is effected pursuant to a Registration Statement in accor-
              dance with the Registration Rights Agreement;

                      (C)      [reserved]; or

                      (D)      the Registrar receives the following:

              (1)     if the holder of such beneficial interest in a Restricted Global Note proposes to
     exchange such beneficial interest for a beneficial interest in an Unrestricted Global Note, a certif-
     icate from such Holder substantially in the form of Exhibit C hereto, including the certifications
     in item (1)(a) thereof; or

               (2)      if the holder of such beneficial interest in a Restricted Global Note proposes to
     transfer such beneficial interest to a Person who shall take delivery thereof in the form of a bene-
     ficial interest in an Unrestricted Global Note, a certificate from such holder in the form of Exhi-
     bit B hereto, including the certifications in item (4) thereof;

              and, in each such case set forth in this subparagraph (D), if the Issuer so requests or if the
              Applicable Procedures so require, an Opinion of Counsel in form reasonably acceptable
              to the Issuer to the effect that such exchange or transfer is in compliance with the Securi-
              ties Act and that the restrictions on transfer contained herein and in the Private Placement
              Legend are no longer required in order to maintain compliance with the Securities Act.

             If any such transfer is effected pursuant to subparagraph (B) or (D) above at a time when
     an Unrestricted Global Note has not yet been issued, the Issuer shall issue and, upon receipt of an
     Authentication Order in accordance with Section 2.02 hereof, the Trustee shall authenticate one or
     more Unrestricted Global Notes in an aggregate principal amount equal to the aggregate principal
     amount of beneficial interests transferred pursuant to subparagraph (B) or (D) above.

              Beneficial interests in an Unrestricted Global Note cannot be exchanged for, or trans-
     ferred to Persons who take delivery thereof in the form of, a beneficial interest in a Restricted
     Global Note.
                                                  -39-

                                                                                                  100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                          Pg 213 of 771


                (c)      Transfer or Exchange of Beneficial Interests for Definitive Notes.

                  (i)      Beneficial Interests in Restricted Global Notes to Restricted Definitive Notes. If
        any holder of a beneficial interest in a Restricted Global Note proposes to exchange such benefi-
        cial interest for a Restricted Definitive Note or to transfer such beneficial interest to a Person who
        takes delivery thereof in the form of a Restricted Definitive Note, then, upon the occurrence of
        any of the events in clauses (i), (ii) or (iii) of Section 2.06(a) hereof and receipt by the Registrar
        of the following documentation:

                         (A)     if the holder of such beneficial interest in a Restricted Global Note pro-
                poses to exchange such beneficial interest for a Restricted Definitive Note, a certificate
                from such holder substantially in the form of Exhibit C hereto, including the certifications
                in item (2)(a) thereof;

                         (B)      if such beneficial interest is being transferred to a QIB in accordance
                with Rule 144A, a certificate substantially in the form of Exhibit B hereto, including the
                certifications in item (1) thereof;

                         (C)    if such beneficial interest is being transferred to a Non-U.S. Person in an
                offshore transaction in accordance with Rule 903 or Rule 904, a certificate substantially
                in the form of Exhibit B hereto, including the certifications in item (2) thereof;

                         (D)      if such beneficial interest is being transferred pursuant to an exemption
                from the registration requirements of the Securities Act in accordance with Rule 144, a
                certificate substantially in the form of Exhibit B hereto, including the certifications in
                item (3)(a) thereof;

                         (E)      if such beneficial interest is being transferred to the Issuer or any of its
                Restricted Subsidiaries, a certificate substantially in the form of Exhibit B hereto, includ-
                ing the certifications in item (3)(b) thereof;

                         (F)      if such beneficial interest is being transferred pursuant to an effective
                registration statement under the Securities Act, a certificate substantially in the form of
                Exhibit B hereto, including the certifications in item (3)(c) thereof; or

                         (G)     if such beneficial interest is being transferred to an institutional Accre-
                dited Investor in reliance on an exemption from the registration requirements of the Se-
                curities Act other than those listed in subparagraphs (B) through (D) above, a certificate
                from such holder in the form of Exhibit E hereto, including the certifications, certificates
                and legal opinion, if applicable,

the Trustee shall cause the aggregate principal amount of the applicable Global Note to be reduced accor-
dingly pursuant to Section 2.06(h) hereof, and the Issuer shall execute and the Trustee shall, upon receipt
of an Authentication Order, authenticate and mail to the Person designated in the instructions a Definitive
Note in the applicable principal amount. Any Definitive Note issued in exchange for a beneficial interest
in a Restricted Global Note pursuant to this Section 2.06(c) shall be registered in such name or names and
in such authorized denomination or denominations as the holder of such beneficial interest shall instruct
the Registrar through instructions from the Depositary and the Participant or Indirect Participant. The
Trustee shall mail such Definitive Notes to the Persons in whose names such Notes are so registered.
Any Definitive Note issued in exchange for a beneficial interest in a Restricted Global Note pursuant to

                                                    -40-

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                    Main Document
                                           Pg 214 of 771


this Section 2.06(c)(i) shall bear the Private Placement Legend and shall be subject to all restrictions on
transfer contained therein.

                 (ii)    Beneficial Interests in Regulation S Temporary Global Note to Definitive Notes.
        Notwithstanding Sections 2.06(c)(i)(A) and (C) hereof, a beneficial interest in the Regulation S
        Temporary Global Note may not be exchanged for a Definitive Note or transferred to a Person
        who takes delivery thereof in the form of a Definitive Note prior to (A) the expiration of the Re-
        stricted Period and (B) the receipt by the Registrar of any certificates required pursuant to Rule
        903(b)(3)(ii)(B) of the Securities Act, except in the case of a transfer pursuant to an exemption
        from the registration requirements of the Securities Act other than Rule 903 or Rule 904.

                 (iii)   Beneficial Interests in Restricted Global Notes to Unrestricted Definitive Notes.
        A holder of a beneficial interest in a Restricted Global Note may exchange such beneficial inter-
        est for an Unrestricted Definitive Note or may transfer such beneficial interest to a Person who
        takes delivery thereof in the form of an Unrestricted Definitive Note only upon the occurrence of
        any of the events in clauses (i) or (ii) of Section 2.06(a) hereof and if:

                         (A)      [reserved];

                       (B)      such transfer is effected pursuant to a Registration Statement in accor-
                dance with the Registration Rights Agreement;

                         (C)      [reserved]; or

                         (D)      the Registrar receives the following:

                 (1)    if the holder of such beneficial interest in a Restricted Global Note proposes to
        exchange such beneficial interest for an Unrestricted Definitive Note, a certificate from such
        holder substantially in the form of Exhibit C hereto, including the certifications in item (1)(b) the-
        reof; or

                 (2)     if the holder of such beneficial interest in a Restricted Global Note proposes to
        transfer such beneficial interest to a Person who shall take delivery thereof in the form of an Un-
        restricted Definitive Note, a certificate from such holder substantially in the form of Exhibit B he-
        reto, including the certifications in item (4) thereof;

        and, in each such case set forth in this subparagraph (D), if the Issuer so requests or if the Appli-
        cable Procedures so require, an Opinion of Counsel in form reasonably acceptable to the Issuer to
        the effect that such exchange or transfer is in compliance with the Securities Act and that the re-
        strictions on transfer contained herein and in the Private Placement Legend are no longer required
        in order to maintain compliance with the Securities Act.

                 (iv)    Beneficial Interests in Unrestricted Global Notes to Unrestricted Definitive
        Notes. If any holder of a beneficial interest in an Unrestricted Global Note proposes to exchange
        such beneficial interest for a Definitive Note or to transfer such beneficial interest to a Person
        who takes delivery thereof in the form of a Definitive Note, then, upon the occurrence of any of
        the events in clauses (i), (ii) or (iii) of Section 2.06(a) hereof and satisfaction of the conditions set
        forth in Section 2.06(b)(ii) hereof, the Trustee shall cause the aggregate principal amount of the
        applicable Global Note to be reduced accordingly pursuant to Section 2.06(h) hereof, and the Is-
        suer shall execute and the Trustee shall, upon receipt of an Authentication Order, authenticate and
        mail to the Person designated in the instructions a Definitive Note in the applicable principal
                                                         -41-

                                                                                                    100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                          Pg 215 of 771


        amount. Any Definitive Note issued in exchange for a beneficial interest pursuant to this Section
        2.06(c)(iv) shall be registered in such name or names and in such authorized denomination or de-
        nominations as the holder of such beneficial interest shall instruct the Registrar through instruc-
        tions from or through the Depositary and the Participant or Indirect Participant. The Trustee shall
        mail such Definitive Notes to the Persons in whose names such Notes are so registered. Any De-
        finitive Note issued in exchange for a beneficial interest pursuant to this Section 2.06(c)(iv) shall
        not bear the Private Placement Legend.

                (d)     Transfer and Exchange of Definitive Notes for Beneficial Interests.

                  (i)     Restricted Definitive Notes to Beneficial Interests in Restricted Global Notes. If
        any Holder of a Restricted Definitive Note proposes to exchange such Note for a beneficial inter-
        est in a Restricted Global Note or to transfer such Restricted Definitive Note to a Person who
        takes delivery thereof in the form of a beneficial interest in a Restricted Global Note, then, upon
        receipt by the Registrar of the following documentation:

                         (A)    if the Holder of such Restricted Definitive Note proposes to exchange
                such Note for a beneficial interest in a Restricted Global Note, a certificate from such
                Holder substantially in the form of Exhibit C hereto, including the certifications in item
                (2)(b) thereof;

                         (B)      if such Restricted Definitive Note is being transferred to a QIB in accor-
                dance with Rule 144A, a certificate substantially in the form of Exhibit B hereto, includ-
                ing the certifications in item (1) thereof;

                         (C)      if such Restricted Definitive Note is being transferred to a Non-U.S. Per-
                son in an offshore transaction in accordance with Rule 903 or Rule 904, a certificate sub-
                stantially in the form of Exhibit B hereto, including the certifications in item (2) thereof;

                         (D)      if such Restricted Definitive Note is being transferred pursuant to an ex-
                emption from the registration requirements of the Securities Act in accordance with Rule
                144, a certificate substantially in the form of Exhibit B hereto, including the certifications
                in item (3)(a) thereof;

                         (E)      if such Restricted Definitive Note is being transferred to the Issuer or any
                of its Restricted Subsidiaries, a certificate substantially in the form of Exhibit B hereto,
                including the certifications in item (3)(b) thereof;

                         (F)      if such Restricted Definitive Note is being transferred pursuant to an ef-
                fective registration statement under the Securities Act, a certificate substantially in the
                form of Exhibit B hereto, including the certifications in item (3)(c) thereof; or

                        (G)      if such Restricted Definitive Note is being transferred to an institutional
                Accredited Investor in reliance on an exemption from the registration requirements of the
                Securities Act other than those listed in subparagraphs (B) through (D) above, a certifi-
                cate from such holder in the form of Exhibit E hereto, including the certifications, certifi-
                cates and legal opinion, if applicable,

the Trustee shall cancel the Restricted Definitive Note, increase or cause to be increased the aggregate
principal amount of, in the case of clause (A) above, the applicable Restricted Global Note, in the case of

                                                    -42-

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 216 of 771


clause (B) above, the applicable 144A Global Note, in the case of clause (C) above, the applicable Regu-
lation S Global Note and in the case of clause (G) above, the applicable IAI Global Note.

                (ii)     Restricted Definitive Notes to Beneficial Interests in Unrestricted Global Notes.
        A Holder of a Restricted Definitive Note may exchange such Note for a beneficial interest in an
        Unrestricted Global Note or transfer such Restricted Definitive Note to a Person who takes deli-
        very thereof in the form of a beneficial interest in an Unrestricted Global Note only if:

                         (A)      [reserved];

                        (B)      such transfer is effected pursuant to a Registration Statement in accor-
                 dance with the Registration Rights Agreement;

                         (C)      [reserved]; or

                         (D)      the Registrar receives the following:

                (1)      if the Holder of such Definitive Notes proposes to exchange such Notes for a
        beneficial interest in the Unrestricted Global Note, a certificate from such Holder substantially in
        the form of Exhibit C hereto, including the certifications in item (1)(c) thereof; or

                 (2)      if the Holder of such Definitive Notes proposes to transfer such Notes to a Person
        who shall take delivery thereof in the form of a beneficial interest in the Unrestricted Global
        Note, a certificate from such Holder substantially in the form of Exhibit B hereto, including the
        certifications in item (4) thereof;

and, in each such case set forth in this subparagraph (D), if the Issuer so requests or if the Applicable Pro-
cedures so require, an Opinion of Counsel in form reasonably acceptable to the Issuer to the effect that
such exchange or transfer is in compliance with the Securities Act and that the restrictions on transfer
contained herein and in the Private Placement Legend are no longer required in order to maintain com-
pliance with the Securities Act.

                 Upon satisfaction of the conditions of any of the subparagraphs in this Section 2.06(d)(ii),
the Trustee shall cancel the Definitive Notes and increase or cause to be increased the aggregate principal
amount of the Unrestricted Global Note.

                 (iii)   Unrestricted Definitive Notes to Beneficial Interests in Unrestricted Global
        Notes. A Holder of an Unrestricted Definitive Note may exchange such Note for a beneficial in-
        terest in an Unrestricted Global Note or transfer such Definitive Notes to a Person who takes de-
        livery thereof in the form of a beneficial interest in an Unrestricted Global Note at any time.
        Upon receipt of a request for such an exchange or transfer, the Trustee shall cancel the applicable
        Unrestricted Definitive Note and increase or cause to be increased the aggregate principal amount
        of one of the Unrestricted Global Notes.

                 If any such exchange or transfer from a Definitive Note to a beneficial interest is effected
pursuant to subparagraph (ii)(B), (ii)(D) or (iii) above at a time when an Unrestricted Global Note has not
yet been issued, the Issuer shall issue and, upon receipt of an Authentication Order in accordance with
Section 2.02 hereof, the Trustee shall authenticate one or more Unrestricted Global Notes in an aggregate
principal amount equal to the principal amount of Definitive Notes so transferred.


                                                     -43-

                                                                                                  100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                          Pg 217 of 771


                 (e)      Transfer and Exchange of Definitive Notes for Definitive Notes. Upon request
by a Holder of Definitive Notes and such Holder’s compliance with the provisions of this Section 2.06(e),
the Registrar shall register the transfer or exchange of Definitive Notes. Prior to such registration of
transfer or exchange, the requesting Holder shall present or surrender to the Registrar the Definitive Notes
duly endorsed or accompanied by a written instruction of transfer in form satisfactory to the Registrar
duly executed by such Holder or by its attorney, duly authorized in writing. In addition, the requesting
Holder shall provide any additional certifications, documents and information, as applicable, required
pursuant to the following provisions of this Section 2.06(e):

                  (i)    Restricted Definitive Notes to Restricted Definitive Notes. Any Restricted De-
        finitive Note may be transferred to and registered in the name of Persons who take delivery the-
        reof in the form of a Restricted Definitive Note if the Registrar receives the following:

                         (A)     if the transfer shall be made pursuant to a QIB in accordance with Rule
                144A, then the transferor must deliver a certificate substantially in the form of Exhibit B
                hereto, including the certifications in item (1) thereof;

                         (B)     if the transfer shall be made pursuant to Rule 903 or Rule 904 then the
                transferor must deliver a certificate in the form of Exhibit B hereto, including the certifi-
                cations in item (2) thereof;

                          (C)     if the transfer shall be made pursuant to any other exemption from the
                registration requirements of the Securities Act, then the transferor must deliver a certifi-
                cate in the form of Exhibit B hereto, including the certifications required by item (3) the-
                reof, if applicable; or

                        (D)      if such Restricted Definitive Note is being transferred to an institutional
                Accredited Investor in reliance on an exemption from the registration requirements of the
                Securities Act other than those listed in subparagraphs (B) and (C) above, a certificate
                from such holder in the form of Exhibit E hereto, including the certifications, certificates
                and legal opinion, if applicable.

                 (ii)    Restricted Definitive Notes to Unrestricted Definitive Notes. Any Restricted De-
        finitive Note may be exchanged by the Holder thereof for an Unrestricted Definitive Note or
        transferred to a Person or Persons who take delivery thereof in the form of an Unrestricted Defini-
        tive Note if:

                        (A)      [reserved];

                       (B)      any such transfer is effected pursuant to a Registration Statement in ac-
                cordance with the Registration Rights Agreement;

                        (C)      [reserved]; or

                        (D)      the Registrar receives the following:

                (1)     if the Holder of such Restricted Definitive Notes proposes to exchange such
        Notes for an Unrestricted Definitive Note, a certificate from such Holder substantially in the form
        of Exhibit C hereto, including the certifications in item (1)(d) thereof; or


                                                    -44-

                                                                                                  100432088 v3
10-16140-mg           Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 218 of 771


                  (2)    if the Holder of such Restricted Definitive Notes proposes to transfer such Notes
        to a Person who shall take delivery thereof in the form of an Unrestricted Definitive Note, a cer-
        tificate from such Holder substantially in the form of Exhibit B hereto, including the certifications
        in item (4) thereof;

                and, in each such case set forth in this subparagraph (D), if the Issuer so requests, an Opi-
                nion of Counsel in form reasonably acceptable to the Issuer to the effect that such ex-
                change or transfer is in compliance with the Securities Act and that the restrictions on
                transfer contained herein and in the Private Placement Legend are no longer required in
                order to maintain compliance with the Securities Act.

                 (iii)   Unrestricted Definitive Notes to Unrestricted Definitive Notes. A Holder of Un-
        restricted Definitive Notes may transfer such Notes to a Person who takes delivery thereof in the
        form of an Unrestricted Definitive Note. Upon receipt of a request to register such a transfer, the
        Registrar shall register the Unrestricted Definitive Notes pursuant to the instructions from the
        Holder thereof.

                (f)      [Reserved]

                 (g)     Legends. The following legends shall appear on the face of all Global Notes and
Definitive Notes issued under this Indenture unless specifically stated otherwise in the applicable provi-
sions of this Indenture:

                 (i)     Private Placement Legend.

                        (A)      Except as permitted by subparagraph (B) below, each Global Note and
                each Definitive Note (and all Notes issued in exchange therefor or substitution therefor)
                shall bear the legend in substantially the following form:

                “THIS SECURITY HAS NOT BEEN REGISTERED UNDER THE SECURITIES ACT
                OF 1933, AS AMENDED (THE “SECURITIES ACT”), OR THE SECURITIES LAWS
                OF ANY STATE OR OTHER JURISDICTION. NEITHER THIS SECURITY NOR
                ANY INTEREST OR PARTICIPATION HEREIN MAY BE REOFFERED, SOLD, AS-
                SIGNED, TRANSFERRED, PLEDGED, ENCUMBERED OR OTHERWISE DIS-
                POSED OF IN THE ABSENCE OF SUCH REGISTRATION OR UNLESS SUCH
                TRANSACTION IS EXEMPT FROM, OR NOT SUBJECT TO, SUCH REGISTRA-
                TION. THE HOLDER OF THIS SECURITY, BY ITS ACCEPTANCE HEREOF,
                AGREES ON ITS OWN BEHALF AND ON BEHALF OF ANY INVESTOR OR AC-
                COUNT FOR WHICH IT HAS PURCHASED SECURITIES, TO OFFER, SELL OR
                OTHERWISE TRANSFER SUCH SECURITY, PRIOR TO THE DATE (THE “RE-
                SALE RESTRICTION TERMINATION DATE”) THAT IS 40 DAYS IN THE CASE OF
                REGULATION S SECURITIES, AFTER THE LATER OF THE ORIGINAL ISSUE
                DATE OF THE SECURITIES AND THE LAST DATE ON WHICH THE ISSUER OR
                ANY AFFILIATE OF THE ISSUER WAS THE OWNER OF THIS SECURITY (OR
                ANY PREDECESSOR OF SUCH SECURITY), ONLY (A) TO THE ISSUER, (B)
                PURSUANT TO A REGISTRATION STATEMENT THAT HAS BEEN DECLARED
                EFFECTIVE UNDER THE SECURITIES ACT, (C) FOR SO LONG AS THE SECUR-
                ITIES ARE ELIGIBLE FOR RESALE PURSUANT TO RULE 144A UNDER THE
                SECURITIES ACT, TO A PERSON IT REASONABLY BELIEVES IS A “QUALIFIED
                INSTITUTIONAL BUYER” AS DEFINED IN RULE 144A UNDER THE SECURITIES
                ACT THAT PURCHASES FOR ITS OWN ACCOUNT OR FOR THE ACCOUNT OF
                                          -45-

                                                                                                 100432088 v3
10-16140-mg     Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                        Main Document
                                         Pg 219 of 771


              A QUALIFIED INSTITUTIONAL BUYER TO WHOM NOTICE IS GIVEN THAT
              THE TRANSFER IS BEING MADE IN RELIANCE ON RULE 144A OR (D) PUR-
              SUANT TO OFFERS AND SALES THAT OCCUR OUTSIDE THE UNITED STATES
              WITHIN THE MEANING OF REGULATION S UNDER THE SECURITIES ACT,
              SUBJECT TO THE ISSUER’S AND THE TRUSTEE’S RIGHT PRIOR TO ANY
              SUCH OFFER, SALE, ASSIGNMENT, TRANSFER OR OTHER DISPOSITION TO
              REQUIRE THE DELIVERY OF AN OPINION OF COUNSEL, CERTIFICATION
              AND/OR OTHER INFORMATION SATISFACTORY TO EACH OF THEM. THIS
              LEGEND WILL BE REMOVED UPON THE REQUEST OF THE HOLDER AFTER
              THE RESALE RESTRICTION TERMINATION DATE.”

                       (B)     Notwithstanding the foregoing, any Global Note or Definitive Note is-
              sued pursuant to subparagraph (b)(iv), (c)(iii), (c)(iv), (d)(ii), (d)(iii), (e)(ii), (e)(iii) or (f)
              of this Section 2.06 (and all Notes issued in exchange therefor or substitution thereof)
              shall not bear the Private Placement Legend.

             (ii)    Global Note Legend. Each Global Note shall bear a legend in substantially the
     following form:

              “THIS GLOBAL NOTE IS HELD BY THE DEPOSITARY (AS DEFINED IN
              THE INDENTURE GOVERNING THIS NOTE) OR ITS NOMINEE IN CUS-
              TODY FOR THE BENEFIT OF THE BENEFICIAL OWNERS HEREOF, AND
              IS NOT TRANSFERABLE TO ANY PERSON UNDER ANY CIRCUMS-
              TANCES EXCEPT THAT (I) THE TRUSTEE MAY MAKE SUCH NOTA-
              TIONS HEREON AS MAY BE REQUIRED PURSUANT TO SECTION
              2.06(h) OF THE INDENTURE, (II) THIS GLOBAL NOTE MAY BE EX-
              CHANGED IN WHOLE BUT NOT IN PART PURSUANT TO SECTION
              2.06(a) OF THE INDENTURE, (III) THIS GLOBAL NOTE MAY BE DELI-
              VERED TO THE TRUSTEE FOR CANCELLATION PURSUANT TO SEC-
              TION 2.11 OF THE INDENTURE AND (IV) THIS GLOBAL NOTE MAY BE
              TRANSFERRED TO A SUCCESSOR DEPOSITARY WITH THE PRIOR
              WRITTEN CONSENT OF THE ISSUER. UNLESS AND UNTIL IT IS EX-
              CHANGED IN WHOLE OR IN PART FOR NOTES IN DEFINITIVE FORM,
              THIS NOTE MAY NOT BE TRANSFERRED EXCEPT AS A WHOLE BY
              THE DEPOSITARY TO A NOMINEE OF THE DEPOSITARY OR BY A
              NOMINEE OF THE DEPOSITARY TO THE DEPOSITARY OR ANOTHER
              NOMINEE OF THE DEPOSITARY OR BY THE DEPOSITARY OR ANY
              SUCH NOMINEE TO A SUCCESSOR DEPOSITARY OR A NOMINEE OF
              SUCH SUCCESSOR DEPOSITARY. UNLESS THIS CERTIFICATE IS PRE-
              SENTED BY AN AUTHORIZED REPRESENTATIVE OF THE DEPOSITO-
              RY TRUST COMPANY (55 WATER STREET, NEW YORK, NEW YORK)
              (“DTC”) TO THE ISSUER OR ITS AGENT FOR REGISTRATION OF
              TRANSFER, EXCHANGE OR PAYMENT, AND ANY CERTIFICATE IS-
              SUED IS REGISTERED IN THE NAME OF CEDE & CO. OR SUCH OTHER
              NAME AS MAY BE REQUESTED BY AN AUTHORIZED REPRESENTA-
              TIVE OF DTC (AND ANY PAYMENT IS MADE TO CEDE & CO. OR SUCH
              OTHER ENTITY AS MAY BE REQUESTED BY AN AUTHORIZED REP-
              RESENTATIVE OF DTC), ANY TRANSFER, PLEDGE OR OTHER USE
              HEREOF FOR VALUE OR OTHERWISE BY OR TO ANY PERSON IS


                                                     -46-

                                                                                                      100432088 v3
10-16140-mg           Doc 116    Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 220 of 771


                WRONGFUL INASMUCH AS THE REGISTERED OWNER HEREOF, CEDE
                & CO., HAS AN INTEREST HEREIN.”

               (iii)   Regulation S Temporary Global Note Legend. The Regulation S Temporary
        Global Note shall bear a legend in substantially the following form:

                “THE RIGHTS ATTACHING TO THIS REGULATION S TEMPORARY
                GLOBAL NOTE, AND THE CONDITIONS AND PROCEDURES GOVERN-
                ING ITS EXCHANGE FOR CERTIFICATED NOTES, ARE AS SPECIFIED
                IN THE INDENTURE (AS DEFINED HEREIN).”

                  (h)      Cancellation and/or Adjustment of Global Notes. At such time as all beneficial
interests in a particular Global Note have been exchanged for Definitive Notes or a particular Global Note
has been redeemed, repurchased or canceled in whole and not in part, each such Global Note shall be re-
turned to or retained and canceled by the Trustee in accordance with Section 2.11 hereof. At any time
prior to such cancellation, if any beneficial interest in a Global Note is exchanged for or transferred to a
Person who shall take delivery thereof in the form of a beneficial interest in another Global Note or for
Definitive Notes, the principal amount of Notes represented by such Global Note shall be reduced accor-
dingly and an endorsement shall be made on such Global Note by the Trustee or by the Depositary at the
direction of the Trustee to reflect such reduction; and if the beneficial interest is being exchanged for or
transferred to a Person who shall take delivery thereof in the form of a beneficial interest in another Glob-
al Note, such other Global Note shall be increased accordingly and an endorsement shall be made on such
Global Note by the Trustee or by the Depositary at the direction of the Trustee to reflect such increase.

                (i)      General Provisions Relating to Transfers and Exchanges.

                 (i)     To permit registrations of transfers and exchanges, the Issuer shall execute and
        the Trustee shall authenticate Global Notes and Definitive Notes upon receipt of an Authentica-
        tion Order in accordance with Section 2.02 hereof or at the Registrar’s request.

                 (ii)    No service charge shall be made to a holder of a beneficial interest in a Global
        Note or to a Holder of a Definitive Note for any registration of transfer or exchange, but the Issu-
        er or the Trustee may require payment of a sum sufficient to cover any transfer tax or similar go-
        vernmental charge payable in connection therewith (other than any such transfer taxes or similar
        governmental charge payable upon exchange or transfer pursuant to Sections 2.07, 2.10, 3.06,
        3.09, 4.10, 4.14 and 9.05 hereof).

                (iii)    Neither the Registrar, the Trustee nor the Issuer shall be required to register the
        transfer of or exchange any Note selected for redemption in whole or in part, except the unre-
        deemed portion of any Note being redeemed in part.

                (iv)    All Global Notes and Definitive Notes issued upon any registration of transfer or
        exchange of Global Notes or Definitive Notes shall be the valid obligations of the Issuer, evidenc-
        ing the same debt, and entitled to the same benefits under this Indenture, as the Global Notes or
        Definitive Notes surrendered upon such registration of transfer or exchange.

                  (v)     Neither the Issuer, the Registrar nor the Trustee shall be required (A) to issue, to
        register the transfer of or to exchange any Notes during a period beginning at the opening of
        business 15 days before the day of any selection of Notes for redemption under Section 3.02 he-
        reof and ending at the close of business on the day of selection, (B) to register the transfer of or to
        exchange any Note so selected for redemption in whole or in part, except the unredeemed portion
                                                     -47-

                                                                                                   100432088 v3
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                       Pg 221 of 771


     of any Note being redeemed in part or (C) to register the transfer of or to exchange a Note be-
     tween a Record Date and the next succeeding Interest Payment Date.

              (vi)     Prior to due presentment for the registration of a transfer of any Note, the Trus-
     tee, the Registrar any Agent and the Issuer may deem and treat the Person in whose name any
     Note is registered as the absolute owner of such Note for the purpose of receiving payment of
     principal of (and premium, if any) and, without duplication, interest (including Additional Inter-
     est, if any) on such Notes and for all other purposes, and none of the Trustee, the Registrar, any
     Agent or the Issuer shall be affected by notice to the contrary.

             (vii)    Upon surrender for registration of transfer of any Note at the office or agency of
     the Issuer designated pursuant to Section 4.02 hereof, the Issuer shall execute, and the Trustee
     shall, upon receipt of an Authentication Order, authenticate and mail, in the name of the designat-
     ed transferee or transferees, one or more replacement Notes of any authorized denomination or
     denominations of a like aggregate principal amount.

            (viii)    At the option of the Holder, Notes may be exchanged for other Notes of any au-
     thorized denomination or denominations of a like aggregate principal amount upon surrender of
     the Notes to be exchanged at such office or agency. Whenever any Global Notes or Definitive
     Notes are so surrendered for exchange, the Issuer shall execute, and the Trustee, upon receipt of
     an Authentication Order, shall authenticate and mail, the replacement Global Notes and Defini-
     tive Notes which the Holder making the exchange is entitled to in accordance with the provisions
     of Section 2.02 hereof.

             (ix)     All certifications, certificates and Opinions of Counsel required to be submitted
     to the Registrar pursuant to this Section 2.06 to effect a registration of transfer or exchange may
     be submitted by facsimile.

               (x)    Each Holder of a Note agrees to indemnify the Issuer and Trustee against any
     liability that may result from the transfer, exchange or assignment of such Holder’s Note in viola-
     tion of any provision of this Indenture and/or applicable United States federal or state securities
     laws.

             (xi)    Neither the Trustee nor any agent of the Trustee shall have any responsibility for
     any actions taken or not taken by the Depositary.

             (xii)    The Trustee shall have no responsibility or obligation to any Participant or Indi-
     rect Participant or any other Person with respect to the accuracy of the books or records, or the
     acts or omissions, of the Depositary or its nominee or of any participant or member thereof, with
     respect to any ownership interest in the Notes or with respect to the delivery to any Participant or
     Indirect Participant or other Person (other than the Depositary) of any notice (including any no-
     tice of redemption) or the payment of any amount, under or with respect to such Notes. All notic-
     es and communications to be given to the Holders and all payments to be made to Holders under
     the Notes shall be given or made only to or upon the order of the registered Holders (which shall
     be the Depositary or its nominee in the case of a Global Note). The rights of beneficial owners in
     any Global Note shall be exercised only through the Depositary subject to the customary proce-
     dures of the Depositary. The Trustee may rely and shall be fully protected in relying upon infor-
     mation furnished by the Depositary with respect to its Participants or Indirect Participants.

           (xiii)   The Trustee shall have no obligation or duty to monitor, determine or inquire as
     to compliance with any restrictions on transfer imposed under this Indenture or under applicable
                                                -48-

                                                                                              100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 222 of 771


        law with respect to any transfer of any interest in any Note (including any transfers between or
        among Participants or Indirect Participants in any Global Note) other than to require delivery of
        such certificates and other documentation or evidence as are expressly required by, and to do so if
        and when expressly required by, the terms of this Indenture, and to examine the same to deter-
        mine substantial compliance as to form with the express requirements hereof.

Section 2.07     Replacement Notes.

                  If any mutilated Note is surrendered to the Trustee, the Registrar or the Issuer and the
Trustee receives evidence to its satisfaction of the ownership and destruction, loss or theft of any Note,
the Issuer shall issue and the Trustee, upon receipt of an Authentication Order, shall authenticate a re-
placement Note if the Trustee’s requirements are met. If required by the Trustee or the Issuer, an indem-
nity bond must be supplied by the Holder that is sufficient in the judgment of the Trustee determined for
itself and the Issuer determined for itself to protect the Issuer, the Trustee, any Agent and any authenticat-
ing agent from any loss that any of them may suffer if a Note is replaced. The Issuer and/or the Trustee
may charge for its expenses in replacing a Note.

                  Every replacement Note is a contractual obligation of the Issuer and shall be entitled to
all of the benefits of this Indenture equally and proportionately with all other Notes duly issued hereund-
er.

Section 2.08     Outstanding Notes.

                 The Notes outstanding at any time are all the Notes authenticated by the Trustee except
for those canceled by it, those delivered to it for cancellation, those reductions in the interest in a Global
Note effected by the Trustee in accordance with the provisions hereof, and those described in this Section
2.08 as not outstanding. Except as set forth in Section 2.09 hereof, a Note does not cease to be outstand-
ing because the Issuer or an Affiliate of the Issuer holds the Note.

                If a Note is replaced pursuant to Section 2.07 hereof, it ceases to be outstanding unless
the Trustee receives proof satisfactory to it that the replaced Note is held by a protected purchaser.

                 If the principal amount of any Note is considered paid under Section 4.01 hereof, it ceas-
es to be outstanding and interest on it ceases to accrue.

                 If the Paying Agent (other than the Issuer, a Subsidiary or an Affiliate of any thereof)
holds, on a Redemption Date or maturity date, money sufficient to pay Notes payable on that date, then
on and after that date such Notes shall be deemed to be no longer outstanding and shall cease to accrue
interest.

Section 2.09     Treasury Notes.

                 Prior to the qualification of this Indenture under the Trust Indenture Act, in determining
whether the Holders of the required principal amount of the Notes have concurred in any direction, waiv-
er or consent, Notes owned by the Issuer, or by any Affiliate of the Issuer shall be considered as outstand-
ing. Following the qualification of this Indenture under the Trust Indenture Act, in determining whether
the Holders of the required principal amount of Notes have concurred in any direction, waiver or consent,
Notes owned by the Issuer, or by any Affiliate of the Issuer, shall be considered as though not outstand-
ing, except that for the purposes of determining whether the Trustee shall be protected in relying on any
such direction, waiver or consent, only Notes that a Responsible Officer of the Trustee knows are so
owned shall be so disregarded. Notes so owned which have been pledged in good faith shall not be disre-
                                                       -49-

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 223 of 771


garded if the pledgee establishes to the satisfaction of the Trustee the pledgee’s right to deliver any such
direction, waiver or consent with respect to the Notes and that the pledgee is not the Issuer or any obligor
upon the Notes or any Affiliate of the Issuer or of such other obligor. Upon request of the Trustee, the
Issuer shall furnish to the Trustee promptly an Officers’ Certificate listing and identifying all Notes, if
any, known by the Issuer to be owned or held by or for the account of any of the Issuer or any Affiliate of
the Issuer, and the Trustee shall be entitled to accept and rely upon such Officers’ Certificate as conclu-
sive evidence of the facts therein set forth and of the fact that all Notes not listed therein are outstanding
for the purpose of any determination.

Section 2.10     Temporary Notes.

                 Until certificates representing Notes are ready for delivery, the Issuer may prepare and
the Trustee, upon receipt of an Authentication Order, shall authenticate temporary Notes. Temporary
Notes shall be substantially in the form of certificated Notes but may have variations that the Issuer con-
siders appropriate for temporary Notes and as shall be reasonably acceptable to the Trustee. Without un-
reasonable delay, the Issuer shall prepare and the Trustee shall, upon receipt of an Authentication Order,
authenticate definitive Notes in exchange for temporary Notes.

                  Holders and beneficial holders, as the case may be, of temporary Notes shall be entitled
to all of the benefits accorded to Holders, or beneficial holders, respectively, of Notes under this Inden-
ture.

Section 2.11     Cancellation.

                 The Issuer at any time may deliver Notes to the Trustee for cancellation. The Registrar
and Paying Agent shall forward to the Trustee any Notes surrendered to them for registration of transfer,
exchange or payment. The Trustee or, at the direction of the Trustee, the Registrar or the Paying Agent
and no one else shall cancel all Notes surrendered for registration of transfer, exchange, payment, re-
placement or cancellation and shall destroy cancelled Notes (subject to the record retention requirement
of the Exchange Act). Certification of the destruction of all cancelled Notes shall be delivered to the Is-
suer upon the Issuer’s written request. The Issuer may not issue new Notes to replace Notes that it has
paid or that have been delivered to the Trustee for cancellation.

Section 2.12     Defaulted Interest.

                  If the Issuer defaults in a payment of interest on the Notes, it shall pay the defaulted in-
terest in any lawful manner plus, to the extent lawful, interest payable on the defaulted interest to the Per-
sons who are Holders on a subsequent special record date, in each case at the rate provided in the Notes
and in Section 4.01 hereof. The Issuer shall notify the Trustee in writing of the amount of defaulted in-
terest proposed to be paid on each Note and the date of the proposed payment, and at the same time the
Issuer shall deposit with the Trustee an amount of money equal to the aggregate amount proposed to be
paid in respect of such defaulted interest or shall make arrangements satisfactory to the Trustee for such
deposit prior to the date of the proposed payment, such money when deposited to be held in trust for the
benefit of the Persons entitled to such defaulted interest as provided in this Section 2.12. The Issuer shall
fix or cause to be fixed each such special record date and payment date; provided that no such special
record date shall be less than 10 days prior to the related payment date for such defaulted interest. The
Issuer shall promptly notify the Trustee in writing of such special record date. At least 15 days before the
special record date, the Issuer (or, upon the written request of the Issuer, the Trustee in the name and at
the expense of the Issuer) shall mail or cause to be mailed, first-class postage prepaid, to each Holder a
notice at his or her address as it appears in the Note Register that states the special record date, the related
payment date and the amount of such interest to be paid.
                                                      -50-

                                                                                                    100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 224 of 771


                Subject to the foregoing provisions of this Section 2.12 and for greater certainty, each
Note delivered under this Indenture upon registration of transfer of or in exchange for or in lieu of any
other Note shall carry the rights to interest accrued and unpaid, and to accrue, which were carried by such
other Note.

Section 2.13     CUSIP and ISIN Numbers.

                  The Issuer in issuing the Notes may use CUSIP and/or ISIN numbers (if then generally in
use) and, if so, the Trustee shall use CUSIP and/or ISIN numbers in notices of redemption as a conveni-
ence to Holders; provided that any such notice may state that no representation is made as to the correct-
ness of such numbers either as printed on the Notes or as contained in any notice of redemption and that
reliance may be placed only on the other identification numbers printed on the Notes, and any such re-
demption shall not be affected by any defect in or omission of such numbers. The Issuer shall as
promptly as practicable notify the Trustee of any change in the CUSIP and/or ISIN numbers.

                                                 ARTICLE 3

                                               REDEMPTION

Section 3.01     Notices to Trustee.

                  If the Issuer elects to redeem Notes pursuant to Section 3.07 hereof, it shall furnish to the
Trustee, at least 2 Business Days before notice of redemption is required to be mailed or caused to be
mailed to Holders pursuant to Section 3.03 hereof but not more than 60 days before a Redemption Date,
an Officers’ Certificate setting forth (i) the paragraph or subparagraph of such Note and/or Section of this
Indenture pursuant to which the redemption shall occur, (ii) the Redemption Date, (iii) the principal
amount of the Notes to be redeemed and (iv) the redemption price.

Section 3.02     Selection of Notes To Be Redeemed or Purchased.

                  If less than all of the Notes are to be redeemed or purchased in an offer to purchase at any
time, the Trustee shall select the Notes to be redeemed or purchased (a) if the Notes are listed on any na-
tional securities exchange, in compliance with the requirements of the principal national securities ex-
change on which the Notes are listed, (b) if the Notes are not so listed, on a pro rata basis to the extent
practicable or (c) by lot or by such other similar method in accordance with the procedures of DTC. In
the event of partial redemption or purchase by lot, the particular Notes to be redeemed or purchased shall
be selected, unless otherwise provided herein, not less than 30 nor more than 60 days prior to the Re-
demption Date by the Trustee from the outstanding Notes not previously called for redemption or pur-
chase.

                 The Trustee shall promptly notify the Issuer in writing of the Notes selected for redemp-
tion or purchase and, in the case of any Note selected for partial redemption or purchase, the principal
amount thereof to be redeemed or purchased. Notes and portions of Notes selected shall be in minimum
denominations of $2,000 and integral multiples of $1,000 in excess thereof; except that if all of the Notes
of a Holder are to be redeemed or purchased, the entire outstanding amount of Notes held by such Holder,
even if not a multiple of $1,000, shall be redeemed or purchased. Except as provided in the preceding
sentence, provisions of this Indenture that apply to Notes called for redemption or purchase also apply to
portions of Notes called for redemption or purchase.



                                                     -51-

                                                                                                   100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 225 of 771


Section 3.03    Notice of Redemption.

                  Subject to Section 3.09 hereof, notices of redemption shall be mailed by the Issuer by
first-class mail, postage prepaid, at least 30 days but not more than 60 days before the Redemption Date
to each Holder of Notes to be redeemed at such Holder’s registered address, except that notices of re-
demption may be mailed more than 60 days prior to a Redemption Date if the notice is issued in connec-
tion with Article 8 or Article 12 hereof.

                The notice shall be prepared by the Issuer, shall identify the Notes to be redeemed and
shall state:

                (a)      the Redemption Date;

                (b)      the redemption price;

                  (c)     if any Note is to be redeemed in part only, the portion of the principal amount of
that Note that is to be redeemed and that, after the Redemption Date upon surrender of such Note, a new
Note or Notes in principal amount equal to the unredeemed portion of the original Note representing the
same indebtedness to the extent not redeemed shall be issued in the name of the Holder of the Notes upon
cancellation of the original Note;

                (d)      the name and address of the Paying Agent;

                (e)      that Notes called for redemption must be surrendered to the Paying Agent to col-
lect the redemption price;

                 (f)    that, unless the Issuer defaults in making such redemption payment, interest on
Notes called for redemption ceases to accrue on and after the Redemption Date;

                (g)     the paragraph or subparagraph of the Notes and/or Section of this Indenture pur-
suant to which the Notes called for redemption are being redeemed; and

               (h)      that no representation is made as to the correctness or accuracy of the CUSIP
and/or ISIN number, if any, listed in such notice or printed on the Notes.

                 At the Issuer’s request, the Trustee shall give the notice of redemption in the Issuer’s
name and at its expense; provided that the Issuer shall have delivered to the Trustee, at least 2 Business
Days before notice of redemption is required to be mailed or caused to be mailed to Holders pursuant to
this Section 3.03 (unless a shorter notice shall be agreed to by the Trustee), an Officers’ Certificate re-
questing that the Trustee give such notice and setting forth the information to be stated in such notice as
provided in the preceding paragraph.

Section 3.04    Effect of Notice of Redemption.

                 Once notice of redemption is mailed in accordance with Section 3.03 hereof, Notes called
for redemption become irrevocably due and payable on the Redemption Date at the redemption price (ex-
cept (i) when given in connection with a transaction (or series of related transactions) that constitutes a
Change of Control, in which case such notice of redemption may, at the Issuer’s discretion, be subject to
one or more conditions precedent, including, but not limited to, completion of the Change of Control or
(ii) as provided for in Section 3.07(e) hereof). The notice, if mailed in a manner herein provided, shall be
conclusively presumed to have been given, whether or not the Holder receives such notice. In any case,
                                                    -52-

                                                                                                 100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 226 of 771


failure to give such notice by mail or any defect in the notice to the Holder of any Note designated for
redemption in whole or in part shall not affect the validity of the proceedings for the redemption of any
other Note. Subject to Section 3.05 hereof, on and after the Redemption Date, interest ceases to accrue on
Notes or portions of Notes called for redemption.

Section 3.05    Deposit of Redemption or Purchase Price.

                 Prior to 10:00 a.m. (New York City time) on the redemption or purchase date, the Issuer
shall deposit with the Trustee or with the Paying Agent money sufficient to pay the redemption or pur-
chase price of and accrued and unpaid interest (including Additional Interest, if any) on all Notes to be
redeemed or purchased on that date. The Trustee or the Paying Agent shall promptly return to the Issuer
any money deposited with the Trustee or the Paying Agent by the Issuer in excess of the amounts neces-
sary to pay the redemption price of, and accrued and unpaid interest on, all Notes to be redeemed or pur-
chased.

                 If the Issuer complies with the provisions of the preceding paragraph, on and after the re-
demption or purchase date, interest shall cease to accrue on the Notes or the portions of Notes called for
redemption or purchase. If a Note is redeemed or purchased on or after a Record Date but on or prior to
the related Interest Payment Date, then, without duplication, any accrued and unpaid interest to the re-
demption or purchase date shall be paid to the Person in whose name such Note was registered at the
close of business on such Record Date. If any Note called for redemption or purchase shall not be so paid
upon surrender for redemption or purchase because of the failure of the Issuer to comply with the preced-
ing paragraph, interest shall be paid on the unpaid principal amount, from the redemption or purchase
date until such principal amount is paid, and to the extent lawful on any interest accrued to the redemp-
tion or purchase date not paid on such unpaid principal amount, in each case at the rate provided in the
Notes and in Section 4.01 hereof.

Section 3.06    Notes Redeemed or Purchased in Part.

                 Upon surrender of a Note that is redeemed or purchased in part, the Issuer shall issue and
the Trustee shall, upon receipt of an Authentication Order, authenticate for the Holder at the expense of
the Issuer a new Note equal in principal amount to the unredeemed or unpurchased portion of the Note
surrendered representing the same indebtedness to the extent not redeemed or purchased; provided that
each new Note shall be in a minimum principal amount of $2,000 and integral multiples of $1,000 in
excess thereof. It is understood that, notwithstanding anything in this Indenture to the contrary, only an
Authentication Order and not an Opinion of Counsel or Officers’ Certificate is required for the Trustee to
authenticate such new Note.

Section 3.07    Optional Redemption.

                 (a)     At any time and from time to time prior to December 15, 2013, the Issuer may
redeem up to 35% of the original principal amount of the Notes (calculated after giving effect to any is-
suance of Additional Notes) with the net cash proceeds of one or more Equity Offerings at a redemption
price of 113.500% of the principal amount thereof plus accrued and unpaid interest, if any, to the applica-
ble redemption date (subject to the right of Holders of record on the relevant Record Date to receive inter-
est due on the relevant Interest Payment Date); provided that

                 (1)     at least 65% of the original principal amount of the Notes remains outstanding af-
        ter each such redemption; and

                (2)      the redemption occurs within 90 days after the closing of such Equity Offering.
                                                  -53-

                                                                                                100432088 v3
10-16140-mg         Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 227 of 771


                 (b)    At any time prior to December 15, 2013 the Issuer may redeem all or a part of the
Notes, upon not less than 30 nor more than 60 days’ prior notice mailed by first-class mail to the regis-
tered address of each Holder of Notes, at a redemption price equal to 100% of the principal amount of the
Notes redeemed plus the Applicable Premium as of, and accrued and unpaid interest thereon, if any, to the
date of redemption (the “Redemption Date”), subject to the rights of Holders of Notes on the relevant
Record Date to receive interest due on the relevant Interest Payment Date.

                  (c)     [Reserved].

                 (d)      On or after December 15, 2013, the Issuer may redeem the Notes, in whole or in
part, upon notice as described in Section 3.03 hereof, at the redemption prices (expressed as percentages
of the principal amount of the Notes to be redeemed) set forth below plus accrued and unpaid interest, if
any, to the Redemption Date, subject to the right of Holders of Notes of record on the relevant Record
Date to receive interest due on the relevant Interest Payment Date, if redeemed during the twelve-month
period beginning on December 15 of each of the years indicated below:

               Year                                                                        Percentage
               2013                                                                         110.125%
               2014                                                                         106.750%
               2015                                                                         103.375%
               2016 and thereafter                                                          100.000%

                 (e)     Any redemption pursuant to this Section 3.07 shall be made pursuant to the pro-
visions of Sections 3.01 through 3.06 hereof.

Section 3.08      Mandatory Redemption.

                The Issuer shall not be required to make any mandatory redemption or sinking fund pay-
ments with respect to the Notes. However, (a) the Issuer may be required to offer to purchase the Notes
pursuant to Sections 4.10 and 4.14 hereof and (b) the Issuer may at any time and from time to time pur-
chase Notes in the open market or otherwise.

Section 3.09      Offers to Repurchase by Application of Excess Proceeds.

             (a)      In the event that, pursuant to Section 4.10 hereof, the Issuer shall be required to
commence an Asset Sale Offer, it shall follow the procedures specified below.

                 (b)     The Asset Sale Offer shall remain open for a period of 20 Business Days follow-
ing its commencement and no longer, except to the extent that a longer period is required by applicable
law (the “Offer Period”). No later than five Business Days after the termination of the Offer Period (the
“Purchase Date”), the Issuer shall apply all Excess Proceeds (the “Offer Amount”) to the purchase of
Notes and, if required, Pari Passu Indebtedness (on a pro rata basis, if applicable), or, if less than the Of-
fer Amount has been tendered, all Notes and Pari Passu Indebtedness tendered in response to the Asset
Sale Offer. Payment for any Notes so purchased shall be made in the same manner as cash interest pay-
ments are made.

                (c)      If the Purchase Date is on or after a Record Date and on or before the related In-
terest Payment Date, any accrued and unpaid interest and Additional Interest, if any, up to but excluding
the Purchase Date, shall be paid to the Person in whose name a Note is registered at the close of business
on such Record Date, and no additional interest shall be payable to Holders who tender Notes pursuant to
the Asset Sale Offer.
                                                     -54-

                                                                                                  100432088 v3
10-16140-mg          Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 228 of 771


                 (d)      Upon the commencement of an Asset Sale Offer, the Issuer shall send, by first-
class mail, a notice to each of the Holders, with a copy to the Trustee. The notice shall contain all instruc-
tions and materials necessary to enable such Holders to tender Notes pursuant to the Asset Sale Offer.
The Asset Sale Offer shall be made to all Holders and, if required, holders of Pari Passu Indebtedness.
The notice, which shall govern the terms of the Asset Sale Offer, shall state:

                 (i)    that the Asset Sale Offer is being made pursuant to this Section 3.09 and Section
        4.10 hereof and the length of time the Asset Sale Offer shall remain open;

                  (ii)    the Offer Amount, the purchase price and the Purchase Date;

                  (iii)   that any Note not tendered or accepted for payment shall continue to accrue in-
        terest;

              (iv)    that, unless the Issuer defaults in making such payment, any Note accepted for
        payment pursuant to the Asset Sale Offer shall cease to accrue interest after the Purchase Date;

                 (v)    that Holders electing to have a Note purchased pursuant to an Asset Sale Offer
        may elect to have Notes purchased in denominations of $2,000 or integral multiples of $1,000 in
        excess thereof;

                 (vi)     that Holders electing to have a Note purchased pursuant to any Asset Sale Offer
        shall be required to surrender the Note, with the form entitled “Option of Holder to Elect Pur-
        chase” attached to the Note completed, or transfer by book-entry transfer, to the Issuer, the Depo-
        sitary, if appointed by the Issuer, or a Paying Agent at the address specified in the notice at least
        three days before the Purchase Date;

                (vii)    that Holders shall be entitled to withdraw their election if the Issuer, the Deposi-
        tary or the Paying Agent, as the case may be, receives, not later than the expiration of the Offer
        Period, a telegram, facsimile transmission or letter setting forth the name of the Holder, the prin-
        cipal amount of the Note the Holder delivered for purchase and a statement that such Holder is
        withdrawing his election to have such Note purchased;

               (viii)    that, if the aggregate principal amount of Notes and Pari Passu Indebtedness sur-
        rendered by the holders thereof exceeds the Offer Amount, the Issuer shall select the Notes and
        such Pari Passu Indebtedness to be purchased on a pro rata basis based on the principal amount
        of the Notes or such Pari Passu Indebtedness tendered (with such adjustments as may be deemed
        appropriate by the Issuer so that only Notes in denominations of $2,000 or integral multiples of
        $1,000 in excess thereof, shall be purchased); and

                (ix)     that Holders whose Notes were purchased only in part shall be issued new Notes
        equal in principal amount to the unpurchased portion of the Notes surrendered (or transferred by
        book-entry transfer) representing the same indebtedness to the extent not repurchased.

                (e)      On or before the Purchase Date, the Issuer shall, to the extent lawful, (1) accept
for payment, on a pro rata basis to the extent necessary, the Offer Amount of Notes or portions thereof
validly tendered pursuant to the Asset Sale Offer, or if less than the Offer Amount has been tendered, all
Notes tendered and (2) deliver or cause to be delivered to the Trustee the Notes properly accepted togeth-
er with an Officers’ Certificate stating the aggregate principal amount of Notes or portions thereof so ten-
dered.

                                                     -55-

                                                                                                  100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                          Pg 229 of 771


                  (f)     The Issuer, the Depositary or the Paying Agent, as the case may be, shall
promptly mail or deliver to each tendering Holder an amount equal to the purchase price of the Notes
properly tendered by such Holder and accepted by the Issuer for purchase, and the Issuer shall promptly
issue a new Note, and the Trustee, upon receipt of an Authentication Order, shall authenticate and mail or
deliver (or cause to be transferred by book-entry) such new Note to such Holder (it being understood that,
notwithstanding anything in this Indenture to the contrary, no Opinion of Counsel or Officers’ Certificate
is required for the Trustee to authenticate and mail or deliver such new Note) in a principal amount equal
to any unpurchased portion of the Note surrendered representing the same indebtedness to the extent not
repurchased; provided that each such new Note shall be in denominations of $2,000 or integral multiples
of $1,000 in excess thereof. Any Note not so accepted shall be promptly mailed or delivered by the Issuer
to the Holder thereof. The Issuer shall publicly announce the results of the Asset Sale Offer on or as soon
as practicable after the Purchase Date.

                Other than as specifically provided in this Section 3.09 or Section 4.10 hereof, any pur-
chase pursuant to this Section 3.09 shall be made pursuant to the applicable provisions of Sections 3.01
through 3.06 hereof.

                                                ARTICLE 4

                                              COVENANTS

Section 4.01    Payment of Notes.

                  The Issuer shall pay or cause to be paid the principal of, premium, if any, Additional In-
terest, if any, and, without duplication, interest on the Notes on the dates and in the manner provided in
the Notes. Principal, premium, if any, cash Additional Interest, if any, and cash interest shall be consi-
dered paid on the date due if the Paying Agent, if other than the Issuer or a Subsidiary, holds as of 10:00
a.m. (New York City time) on the due date money deposited by the Issuer in immediately available funds
and designated for and sufficient to pay all principal, premium, if any, and cash interest then due.

                The Issuer shall pay all Additional Interest, if any, in the same manner on the dates and in
the amounts set forth in the Registration Rights Agreement.

                 The Issuer shall pay interest (including post-petition interest in any proceeding under any
Bankruptcy Law) on overdue principal at the rate equal to the then applicable interest rate on the Notes to
the extent lawful; it shall pay interest (including post-petition interest in any proceeding under any Bank-
ruptcy Law) on overdue installments of interest and Additional Interest (without regard to any applicable
grace period) at the same rate to the extent lawful.

Section 4.02    Maintenance of Office or Agency.

                  The Issuer shall maintain an office or agency (which may be an office of the Trustee or
an affiliate of the Trustee, Registrar or co-registrar) where Notes may be surrendered for registration of
transfer or for exchange and where notices and demands to or upon the Issuer in respect of the Notes and
this Indenture may be served. The Issuer shall give prompt written notice to the Trustee of the location,
and any change in the location, of such office or agency. If at any time the Issuer shall fail to maintain
any such required office or agency or shall fail to furnish the Trustee with the address thereof, such pres-
entations, surrenders, notices and demands may be made or served at the Corporate Trust Office of the
Trustee.


                                                    -56-

                                                                                                 100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 230 of 771


                 The Issuer may also from time to time designate one or more other offices or agencies
where the Notes may be presented or surrendered for any or all such purposes and may from time to time
rescind such designations. The Issuer shall give prompt written notice to the Trustee of any such designa-
tion or rescission and of any change in the location of any such other office or agency.

                The Issuer hereby designates the Corporate Trust Office of the Trustee as one such office
or agency of the Issuer in accordance with Section 2.03 hereof.

Section 4.03     Reports and Other Information.

                  (a)     Whether or not the Issuer is subject to the reporting requirements of Section 13 or
15(d) of the Exchange Act, the Issuer will file with the SEC (subject to the next sentence) and provide the
Trustee and Holders of the Notes with such annual and other reports as are specified in Sections 13 and
15(d) of the Exchange Act and applicable to a U.S. corporation subject to such Sections, such reports to
be so filed and provided within the times specified for the filings of such reports for non-accelerated filers
under such Sections and containing, in all material respects, all the information, audit reports and exhibits
required for such reports. If at any time, the Issuer is not subject to the periodic reporting requirements of
the Exchange Act for any reason, the Issuer will nevertheless continue filing the reports specified in the
preceding sentence with the SEC within the time periods required unless the SEC will not accept such a
filing. The Issuer agrees that it will not take any action for the purpose of causing the SEC not to accept
any such filings. If, notwithstanding the foregoing, the SEC will not accept such filings for any reason,
the Issuer will post the reports specified in the preceding sentence on its website within the time periods
that would apply for non-accelerated filers if the Issuer were required to file those reports with the SEC (it
being expressly understood that prior to the effectiveness of a Registration Statement (as defined in the
Registration Rights Agreement, a “Registration Statement”) covering resales of Notes that the SEC will
not accept such filings by the Issuer and that the Issuer shall therefor be able to satisfy its obligations un-
der this Section 4.03 by posting such reports on a publicly accessible page on its website). Notwithstand-
ing the foregoing, the Issuer may satisfy such requirements prior to the effectiveness of such Registration
Statement covering resales of Notes by filing with the SEC such Registration Statement to the extent that
such Registration Statement contains substantially the same information as would be required to be filed
by the Issuer if it were subject to the reporting requirements of Section 13 or 15(d) of the Exchange Act,
and by providing the Trustee and Holders of Notes with such Registration Statement (and any amend-
ments thereto) promptly following the filing thereof.

                 (b)     In addition, in the event that:

                 (1)      the rules and regulations of the SEC permit a parent entity that becomes a Gua-
        rantor to report at such parent entity’s level on a consolidated basis; and

                (2)      such parent entity is not engaged in any business in any material respect other
        than incidental to its ownership of the capital stock of the Issuer,

such consolidated reporting by such parent entity in a manner consistent with this Section 4.03 for the
Issuer will satisfy this Section 4.03.

                 (c)     Notwithstanding the foregoing, prior to the effectiveness of a Registration State-
ment with respect to the Notes, the Issuer will not be required to furnish any information, certificates or
reports required by Items 307 or 308 of Regulation S-K or Item 3-10 of Regulation S-X.

                (d)      In addition, the Issuer will furnish to the Holders of Notes and to prospective in-
vestors, upon the requests of such Holders, any information required to be delivered pursuant to
                                                     -57-

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 231 of 771


Rule 144A(d)(4) under the Securities Act so long as the Notes are not freely transferable under the Se-
curities Act.

                 (e)      In addition, such requirements of this Section 4.03 shall be deemed satisfied prior
to the effectiveness of a Registration Statement by the filing with the SEC such Registration Statement,
and any amendments thereto, with such financial information that satisfies Regulation S-X of the Securi-
ties Act and such registration statement and/or amendments thereto are filed at times that otherwise satis-
fy the time requirements set forth in the first paragraph of this Section 4.03.

                 (f)     Notwithstanding anything herein to the contrary, the Issuer will not be deemed to
have failed to comply with any of its obligations hereunder for purposes of clause (3) under Section
6.01(a) hereof until 120 days after the date any report hereunder is required to be made available to the
Trustee and the Holders pursuant to this Section 4.03.

Section 4.04    Compliance Certificate.

                  (a)      The Issuer and each Guarantor (to the extent that such Guarantor is so required
under the Trust Indenture Act) shall deliver to the Trustee, within 90 days after the end of each fiscal year
ending after the Issue Date commencing with the fiscal year ending March 31, 2011, a certificate from the
principal executive officer, principal financial officer or principal accounting officer stating that a review
of the activities of the Issuer and its Restricted Subsidiaries during the preceding fiscal year has been
made under the supervision of the signing Officer with a view to determining whether the Issuer has kept,
observed, performed and fulfilled its obligations under this Indenture, and further stating, as to such Of-
ficer signing such certificate, that to the best of his or her knowledge the Issuer has kept, observed, per-
formed and fulfilled each and every condition and covenant contained in this Indenture and is not in de-
fault in the performance or observance of any of the terms, provisions, covenants and conditions of this
Indenture (or, if a Default shall have occurred, describing all such Defaults of which he or she may have
knowledge and what action the Issuer is taking or proposes to take with respect thereto).

                 (b)      When any Default has occurred and is continuing under this Indenture, or if the
Trustee or the holder of any other evidence of Indebtedness of the Issuer or any Subsidiary gives any no-
tice or takes any other action with respect to a claimed Default, the Issuer shall promptly (which shall be
no more than five (5) Business Days) deliver to the Trustee by registered or certified mail or by facsimile
transmission an Officers’ Certificate specifying such event and what action the Issuer is taking or propos-
es to take with respect thereto.

Section 4.05    Taxes.

                 The Issuer shall pay, and shall cause each of their respective Restricted Subsidiaries to
pay, prior to delinquency, all material taxes, assessments, and governmental levies except such as are
contested in good faith and by appropriate negotiations or proceedings or where the failure to effect such
payment is not adverse in any material respect to the Holders of the Notes.

Section 4.06    Stay, Extension and Usury Laws.

                 The Issuer and each of the Guarantors covenant (to the extent that they may lawfully do
so) that they shall not at any time insist upon, plead, or in any manner whatsoever claim or take the bene-
fit or advantage of, any stay, extension or usury law wherever enacted, now or at any time hereafter in
force, that may affect the covenants or the performance of this Indenture; and the Issuer and each of the
Guarantors (to the extent that they may lawfully do so) hereby expressly waive all benefit or advantage of
any such law, and covenant that they shall not, by resort to any such law, hinder, delay or impede the ex-
                                                      -58-

                                                                                                  100432088 v3
10-16140-mg         Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 232 of 771


ecution of any power herein granted to the Trustee, but shall suffer and permit the execution of every
such power as though no such law has been enacted.

Section 4.07     Limitation on Restricted Payments.

                  (a)    The Issuer shall not, and shall not permit any of its Restricted Subsidiaries to, di-
rectly or indirectly:

                  (I)    declare or pay any dividend or make any payment or distribution on account of
        the Issuer’s or any of its Restricted Subsidiaries’ Equity Interests, including any dividend or dis-
        tribution payable in connection with any merger or consolidation other than:

                          (a)      dividends, payments or distributions by the Issuer payable solely in Equi-
                 ty Interests (other than Disqualified Stock) of the Issuer; or

                          (b)      dividends, payments or distributions by a Restricted Subsidiary so long
                 as, in the case of any dividend, payment or distribution payable on or in respect of any
                 class or series of securities issued by a Restricted Subsidiary that is not a Wholly Owned
                 Subsidiary, the Issuer or a Restricted Subsidiary receives at least its pro rata share of such
                 dividend payment or distribution in accordance with its Equity Interests in such class or
                 series of securities;

                 (II)     purchase, redeem, defease or otherwise acquire or retire for value any Equity In-
        terests of the Issuer or any direct or indirect parent of the Issuer, including in connection with any
        merger or consolidation, other than purchases, redemptions, defeasances and other acquisitions
        and retirements of Equity Interests of the Issuer or any direct or indirect parent of the Issuer held
        by a Restricted Subsidiary of the Issuer);

                (III)     make any principal payment on, or redeem, repurchase, defease or otherwise ac-
        quire or retire for value or give any irrevocable notice of redemption with respect thereto, in each
        case, prior to any scheduled repayment, sinking fund payment or maturity, any Unsecured Indeb-
        tedness, other than:

                         (a)      Indebtedness permitted under clauses (7) and (8) of Section 4.09(b);

                          (b)     the payment, redemption, repurchase, defeasance or other acquisition or
                 retirement for value of Unsecured Indebtedness made in anticipation of satisfying a sink-
                 ing fund obligation, principal installment or final maturity, in each case due within one
                 year of the date of such payment, redemption, repurchase, defeasance or other acquisition
                 or retirement for value; or

                          (c)    the giving of an irrevocable notice of redemption with respect to the
                 transactions described in clauses (a) and (b) above and (2) and (3) of Section 4.07(b); or

                (IV)     make any Restricted Investment

(all such payments and other actions set forth in clauses (I) through (IV) (other than any exception thereto
in clauses (I) and (III)) above being collectively referred to as “Restricted Payments”), unless, at the time
of such Restricted Payment:


                                                     -59-

                                                                                                  100432088 v3
10-16140-mg     Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                        Pg 233 of 771


             (1)     no Default shall have occurred and be continuing or would occur as a conse-
     quence thereof;

             (2)       immediately after giving effect to such transaction on a pro forma basis, the Issu-
     er could incur at least $1.00 of additional Indebtedness pursuant to the Consolidated Leverage
     Ratio test set forth in Section 4.09(a); and

              (3)     such Restricted Payment, together with the aggregate amount of all other Re-
     stricted Payments made by the Issuer and its Restricted Subsidiaries after the Issue Date (includ-
     ing Restricted Payments permitted by clauses (1) and (10) of Section 4.07(b), but excluding all
     other Restricted Payments permitted by Section 4.07(b)), is less than the sum of (without duplica-
     tion):

                       (a)     EBITDA of the Issuer and its Restricted Subsidiaries on a consolidated
              basis for the period (taken as one accounting period) beginning on the first day of the first
              fiscal quarter beginning after the Issue Date, to the end of the Issuer’s most recently
              ended fiscal quarter for which internal financial statements are available at the time of
              such Restricted Payment, less the product of 1.4 times the Consolidated Interest Expense
              of the Issuer and its Restricted Subsidiaries for the same period; provided that the
              amount, if positive, of this clause (a) shall only be included in the calculation for this
              clause (3) when the Consolidated Secured Leverage Ratio for the Issuer and its Restricted
              Subsidiaries on a consolidated basis for the most recently ended four fiscal quarters for
              which internal financial statements are available immediately preceding the date of such
              transaction would have been less than 4.00 to 1.00; plus

                       (b)     100% of the aggregate net cash proceeds and the fair market value of
              marketable securities or other property or assets received by the Issuer since immediately
              after the Issue Date (other than net cash proceeds to the extent such net cash proceeds
              have been used to incur Indebtedness, Disqualified Stock or Preferred Stock pursuant to
              clause (12)(a) of Section 4.09(b) hereof) from the sale of:

                                (i)     (A) Equity Interests of the Issuer, including Treasury Capital
                      Stock, but excluding cash proceeds and the fair market value of marketable se-
                      curities or other property or assets received from the sale of Equity Interests to
                      members of management, directors or consultants of the Issuer, any direct or in-
                      direct parent company of the Issuer and the Issuer’s Subsidiaries after the Issue
                      Date to the extent such amounts have been applied to Restricted Payments made
                      in accordance with clause (4) of Section 4.07(b) hereof; and

                               (B)     to the extent such net cash proceeds are actually contributed to
                      the Issuer, Equity Interests of the Issuer’s direct or indirect parent companies
                      (excluding contributions to the extent such amounts have been applied to Re-
                      stricted Payments made in accordance with clause (4) Section 4.07(b) hereof); or

                             (ii)    debt securities of the Issuer that have been converted into or ex-
                      changed for such Equity Interests of the Issuer (or any direct or indirect parent
                      company of the Issuer);

              provided, however, that this clause (b) shall not include the proceeds from (X) Equity In-
              terests or convertible debt securities of the Issuer sold to a Restricted Subsidiary, as the

                                                 -60-

                                                                                               100432088 v3
10-16140-mg     Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                        Pg 234 of 771


              case may be, (Y) Disqualified Stock or debt securities that have been converted into Dis-
              qualified Stock or (Z) Excluded Contributions; plus

                       (c)     100% of the aggregate amount of cash and the fair market value of mar-
              ketable securities or other property contributed to the capital of the Issuer following the
              Issue Date (other than net cash proceeds to the extent such net cash proceeds have been
              used to incur Indebtedness, Disqualified Stock or Preferred Stock pursuant to clause
              (12)(a) of Section 4.09(b) hereof) (other than by a Restricted Subsidiary and other than
              by any Excluded Contributions); plus

                     (d)      100% of the aggregate amount received in cash and the fair market value
              of marketable securities or other property received after the Issue Date by means of:

                                (i)     the sale or other disposition (other than to the Issuer or a Re-
                      stricted Subsidiary) of Restricted Investments made by the Issuer or its Restricted
                      Subsidiaries and repurchases and redemptions of such Restricted Investments
                      from the Issuer or its Restricted Subsidiaries and repayments of loans or ad-
                      vances, and releases of guarantees, which constitute Restricted Investments by
                      the Issuer or its Restricted Subsidiaries, in each case after the Issue Date; or

                               (ii)    the sale (other than to the Issuer or a Restricted Subsidiary) of
                      the Equity Interests of an Unrestricted Subsidiary or a distribution from an Unre-
                      stricted Subsidiary (other than in each case to the extent the Investment in such
                      Unrestricted Subsidiary constituted a Permitted Investment) or a dividend from
                      an Unrestricted Subsidiary after the Issue Date; plus

                       (e)     in the case of the redesignation of an Unrestricted Subsidiary as a Re-
              stricted Subsidiary after the Issue Date, the fair market value of the Investment in such
              Unrestricted Subsidiary (which, if the fair market value of such Investment may exceed
              $50.0 million, shall be set forth in writing by an Independent Financial Advisor) at the
              time of the redesignation of such Unrestricted Subsidiary as a Restricted Subsidiary, oth-
              er than an Unrestricted Subsidiary to the extent the Investment in such Unrestricted Sub-
              sidiary constituted a Permitted Investment hereunder.

              (b)     The foregoing provisions shall not prohibit:

             (1)     the payment of any dividend or distribution or the consummation of any irrevoc-
     able redemption within 60 days after the date of declaration thereof or the giving of the irrevoca-
     ble redemption notice, as applicable, if at the date of declaration or notice such payment would
     have complied with the provisions of this Indenture;

              (2)     the redemption, repurchase, defeasance, retirement or other acquisition of any
     Equity Interests (“Treasury Capital Stock”) or Unsecured Indebtedness of the Issuer or a Guaran-
     tor in exchange for, or out of the proceeds of the substantially concurrent sale (other than to a Re-
     stricted Subsidiary) of, Equity Interests of the Issuer or any of its direct or indirect parent compa-
     nies (in each case, other than any Disqualified Stock); provided that the amount of any such net
     cash proceeds that are utilized for any such redemption, repurchase, retirement or other acquisi-
     tion will be excluded from clause (3)(b) of Section 4.07(a) above;

             (3)    the redemption, repurchase, defeasance or other acquisition or retirement of Un-
     secured Indebtedness of the Issuer or a Guarantor made by exchange for, or out of the proceeds of
                                               -61-

                                                                                               100432088 v3
10-16140-mg     Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                        Pg 235 of 771


     the substantially concurrent sale of, new Unsecured Indebtedness of the Issuer or a Guarantor, as
     the case may be, which is incurred in compliance with Section 4.09 hereof so long as:

                      (a)     the principal amount (or accreted value, if applicable) of such new Indeb-
              tedness does not exceed the principal amount (or accreted value, if applicable) of, plus
              any accrued and unpaid interest, if any, on the Unsecured Indebtedness being so re-
              deemed, repurchased, defeased, acquired or retired for value, plus the amount of any rea-
              sonable premium paid (including reasonable tender premiums), defeasance costs and any
              reasonable fees and expenses incurred in connection with the issuance of such new Unse-
              cured Indebtedness;

                       (b)      such new Indebtedness has a final scheduled maturity date equal to or
              later than the final scheduled maturity date of the Unsecured Indebtedness being so re-
              deemed, repurchased, defeased, acquired or retired; and

                      (c)      such new Indebtedness has a Weighted Average Life to Maturity equal to
              or greater than the remaining Weighted Average Life to Maturity of the Unsecured In-
              debtedness being so redeemed, repurchased, defeased, acquired or retired;

              (4)      a Restricted Payment to pay for the repurchase, redemption, defeasance or other
     acquisition or retirement for value of Equity Interests (other than Disqualified Stock) of the Issuer
     or any of its direct or indirect parent companies held by any future, present or former employee,
     director or consultant of the Issuer, any of its Subsidiaries or any of its direct or indirect parent
     companies (or any permitted transferee of any of the foregoing) pursuant to any management eq-
     uity plan or stock option plan or any other management or employee benefit plan or agreement;
     provided, however, that the aggregate amounts paid under this clause (4) do not exceed in any ca-
     lendar year $5.0 million (with unused amounts in any calendar year being carried over to suc-
     ceeding calendar years subject to a maximum (without giving effect to the following proviso) of
     $10.0 million in any calendar year); provided further that such amount in any calendar year may
     be increased by an amount not to exceed:

                       (a)      the cash proceeds from the sale of Equity Interests (other than Disquali-
              fied Stock) of the Issuer and, to the extent contributed to the Issuer, Equity Interests of
              any of the Issuer’s direct or indirect parent companies, in each case to members of man-
              agement, directors or consultants of the Issuer, any of its direct or indirect parent compa-
              nies or any of its Subsidiaries that occurs after the Issue Date, to the extent the cash
              proceeds from the sale of such Equity Interests have not otherwise been applied to the
              payment of Restricted Payments by virtue of clause (3) of Section 4.07(a) hereof; plus

                       (b)      the cash proceeds of key man life insurance policies received by the Is-
              suer or its Restricted Subsidiaries after the Issue Date; less

                       (c)     the amount of any Restricted Payments made in any prior fiscal year pur-
              suant to clauses (a) and (b) of this clause (4);

              (5)      the declaration and payment of dividends to holders of, and any redemption or
     repurchase at maturity or upon any mandatory redemption event of, any class or series of Disqua-
     lified Stock of the Issuer or any of its Restricted Subsidiaries or any class or series of Preferred
     Stock of a Restricted Subsidiary issued in accordance with Section 4.09 hereof to the extent such
     dividends are included in the definition of “Consolidated Interest Expense”;

                                                 -62-

                                                                                              100432088 v3
10-16140-mg     Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                        Pg 236 of 771


             (6)      repurchases of Equity Interests deemed to occur upon exercise of stock options or
     warrants if such Equity Interests represent a portion of the exercise price of such options or war-
     rants;

              (7)     the declaration and payment of dividends on the Issuer’s common stock (or the
     payment of dividends to any direct or indirect parent entity to fund a payment of dividends on the
     Issuer’s common stock), following the consummation of the first public offering of the Issuer’s
     common stock or the common stock of any of its direct or indirect parent companies after the Is-
     sue Date, of up to 6% per annum of the net cash proceeds received by or contributed to the Issuer
     in or from any such public offering, other than public offerings with respect to the Issuer’s com-
     mon stock registered on Form S-8 and other than any public sale constituting an Excluded Con-
     tribution;

             (8)    other Restricted Payments in an aggregate amount taken together with all other
     Restricted Payments made pursuant to this clause (8) not to exceed $15.0 million;

              (9)     Restricted Payments that are made with Excluded Contributions;

              (10)    the payment, repurchase, redemption, defeasance or other acquisition or retire-
     ment for value of any Unsecured Indebtedness required in accordance with provisions applicable
     thereto similar to those described under Sections 4.10 and 4.14 hereof; provided that all Notes
     tendered by Holders in connection with a Change of Control Offer or Asset Sale Offer, as appli-
     cable, have been repurchased, redeemed or acquired for value;

              (11)    any Restricted Payments in connection with the Emergence Transactions; and

              (12)    the declaration and payment of dividends by the Issuer or a Restricted Subsidiary
     to, or the making of loans to, any of their respective direct or indirect parents in amounts required
     for any direct or indirect parent companies to pay, in each case without duplication,

                       (a)     franchise taxes and other fees, taxes and expenses required to maintain
              their corporate existence;

                       (b)      federal, foreign, state and local income taxes to the extent such income
              taxes are attributable to the income of the Issuer and its Restricted Subsidiaries and, to the
              extent of the amount actually received from its Unrestricted Subsidiaries, in amounts re-
              quired to pay such taxes to the extent attributable to the income of such Unrestricted Sub-
              sidiaries; provided that, in each case the amount of such payments in any fiscal year does
              not exceed the amount that the Issuer and its Restricted Subsidiaries would be required to
              pay in respect of federal, foreign, state and local income taxes for such fiscal year were
              the Issuer, its Restricted Subsidiaries and its Unrestricted Subsidiaries (to the extent de-
              scribed above) to pay such taxes separately from any parent entity at the highest com-
              bined applicable, federal, foreign, state and local tax rate for such fiscal year;

                       (c)     customary salary, bonus and other benefits payable to officers and em-
              ployees of any direct or indirect parent company of the Issuer and its Restricted Subsidi-
              aries to the extent such salaries, bonuses and other benefits are attributable to the owner-
              ship or operation of the Issuer and its Restricted Subsidiaries;

                       (d)      general corporate operating and overhead costs and expenses of any di-
              rect or indirect parent company of the Issuer and its Restricted Subsidiaries to the extent
                                                  -63-

                                                                                               100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                    Main Document
                                           Pg 237 of 771


                 such costs and expenses are attributable to the ownership or operation of the Issuer and
                 its Restricted Subsidiaries; and

                         (e)     fees and expenses other than to Affiliates of the Issuer related to any un-
                 successful equity or debt offering of such parent entity;

provided, however, that at the time of, and after giving effect to, any Restricted Payment permitted under
clauses (8) and (10) of this Section 4.07(b), no Default shall have occurred and be continuing or would
occur as a consequence thereof.

                  All of the Issuer’s Subsidiaries shall be Restricted Subsidiaries. The Issuer shall not per-
mit any Unrestricted Subsidiary to become a Restricted Subsidiary except pursuant to the definition of
“Unrestricted Subsidiary.” For purposes of designating any Restricted Subsidiary as an Unrestricted Sub-
sidiary, all outstanding Investments by the Issuer and its Restricted Subsidiaries (except to the extent re-
paid) in the Subsidiary so designated shall be deemed to be Investments in an amount determined as set
forth in the last sentence of the definition of “Investment.” Such designation shall be permitted only if a
Restricted Payment in such amount would be permitted at such time, whether pursuant to Section 4.07(a)
hereof or under clause (8) of Section 4.07(b) hereof, or pursuant to the definition of “Permitted Invest-
ments,” and if such Subsidiary otherwise meets the definition of an Unrestricted Subsidiary. Unrestricted
Subsidiaries shall not be subject to any of the restrictive covenants set forth in this Indenture.

Section 4.08     Dividend and Other Payment Restrictions Affecting Restricted
                 Subsidiaries.

                  (a)    The Issuer shall not, and shall not permit any of its Restricted Subsidiaries that
are not Guarantors to, directly or indirectly, create or otherwise cause or suffer to exist or become effec-
tive any consensual encumbrance or consensual restriction on the ability of any such Restricted Subsidi-
ary that is not a Guarantor to:

                 (1)     (A) pay dividends or make any other distributions to the Issuer or any of the Re-
        stricted Subsidiaries on its Capital Stock or with respect to any other interest or participation in,
        or measured by, its profits, or

                         (B) pay any Indebtedness owed to the Issuer or any of the Restricted Subsidiar-
                 ies;

                 (2)     make loans or advances to the Issuer or any of the Restricted Subsidiaries; or

                 (3)     sell, lease or transfer any of its properties or assets to the Issuer or any of the Re-
        stricted Subsidiaries.

                  (b)     The restrictions in Section 4.08(a) hereof shall not apply to encumbrances or re-
strictions existing under or by reason of:

               (1)       contractual encumbrances or restrictions in effect on the Issue Date, including
        pursuant to the Credit Agreement, the First Lien Notes and the related documentation;

                 (2)     this Indenture, the Notes and the Guarantees;



                                                     -64-

                                                                                                    100432088 v3
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                       Pg 238 of 771


             (3)      Purchase Money Obligations for property acquired in the ordinary course of
     business and Capitalized Lease Obligations that impose restrictions of the nature discussed in
     clause (3) of Section 4.08(a) hereof on the property so acquired and related assets;

              (4)     applicable law or any applicable rule, regulation or order;

              (5)     any agreement or other instrument of a Person acquired by the Issuer or any of its
     Restricted Subsidiaries in existence at the time of such acquisition or at the time it merges with or
     into the Issuer or any Restricted Subsidiary or assumed in connection with the acquisition of as-
     sets from such Person (but, in any such case, not created in contemplation thereof), which en-
     cumbrance or restriction is not applicable to any Person, or the properties or assets of any Person,
     other than the Person and its Subsidiaries, or the property or assets of the Person and its Subsidi-
     aries, so acquired or the property or assets so assumed and related assets;

              (6)     contracts for the sale of assets or Capital Stock, including customary restrictions
     with respect to a Subsidiary of the Issuer pursuant to an agreement that has been entered into for
     the sale or disposition of the Capital Stock or assets of such Subsidiary, that impose restrictions
     on the assets to be sold or the assets of such Subsidiary;

             (7)     Secured Indebtedness otherwise permitted to be incurred pursuant to Section
     4.09 hereof and Section 4.12 hereof that limits the right of the debtor to dispose of the assets se-
     curing such Indebtedness;

             (8)     restrictions on cash or other deposits or net worth imposed by customers under
     contracts entered into in the ordinary course of business;

             (9)      other Indebtedness, Disqualified Stock or Preferred Stock of Foreign Subsidiaries
     permitted to be incurred subsequent to the Issue Date pursuant to the provisions of Section 4.09
     hereof that imposes restrictions solely on Foreign Subsidiaries or their Subsidiaries party thereto;

            (10)    customary provisions in joint venture agreements and other similar agreements or
     arrangements relating solely to such joint venture;

             (11)   customary provisions contained in leases or licenses of intellectual property and
     other agreements, in each case, entered into in the ordinary course of business;

              (12)    other Indebtedness or Disqualified Stock of the Issuer or any of its Restricted
     Subsidiaries or Preferred Stock of any Restricted Subsidiary that is incurred subsequent to the Is-
     sue Date and permitted pursuant to Section 4.09 hereof; provided that such encumbrances and re-
     strictions contained in any agreement or instrument will not materially affect the Issuer’s ability
     to make anticipated principal or interest payments on the Notes (as determined in good faith by
     senior management or the Board of Directors of the Issuer);

              (13)    any encumbrances or restrictions of the type referred to in clauses (1), (2) and (3)
     of Section 4.08(a) above imposed by any amendments, modifications, restatements, renewals, in-
     creases, supplements, refundings, replacements or refinancings of the contracts, instruments or
     obligations referred to in clauses (1) through (12) of this Section 4.08(b); provided that such
     amendments, modifications, restatements, renewals, increases, supplements, refundings, replace-
     ments or refinancings are, in the good faith judgment of the Issuer, not materially more restrictive
     with respect to such encumbrance and other restrictions taken as a whole than those prior to such

                                                 -65-

                                                                                               100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 239 of 771


        amendment, modification, restatement, renewal, increase, supplement, refunding, replacement or
        refinancing; and

                (14)     restrictions or conditions of the type contained in clause (3) of Section 4.08(a)
        hereof contained in any trading, netting, operating, construction, service, supply, purchase or oth-
        er agreement to which the Issuer or any Restricted Subsidiary is a party entered into in the ordi-
        nary course of business; provided that such agreement prohibits the encumbrance of solely the
        property or assets of the Issuer or such Restricted Subsidiary that is the subject of such agree-
        ment, the payment rights arising thereunder or the proceeds thereof and does not extend to any
        other asset or property of such Restricted Subsidiary or the assets or property of the Issuer or any
        other Restricted Subsidiary.

Section 4.09     Limitation on Incurrence of Indebtedness and Issuance of Disqualified
                 Stock and Preferred Stock.

                  (a)      The Issuer shall not, and shall not permit any of the Restricted Subsidiaries to, di-
rectly or indirectly, create, incur, issue, assume, guarantee or otherwise become directly or indirectly lia-
ble, contingently or otherwise (collectively, “incur” and collectively, an “incurrence”) with respect to any
Indebtedness (including Acquired Indebtedness) and the Issuer shall not issue any shares of Disqualified
Stock and shall not permit any Restricted Subsidiary to issue any shares of Disqualified Stock or Pre-
ferred Stock; provided, however, that the Issuer may incur Indebtedness (including Acquired Indebted-
ness) or issue shares of Disqualified Stock, and any Restricted Subsidiary may incur Indebtedness (in-
cluding Acquired Indebtedness), issue shares of Disqualified Stock and issue shares of Preferred Stock, if
the Consolidated Leverage Ratio on a consolidated basis for the Issuer and its Restricted Subsidiaries’
most recently ended four fiscal quarters for which internal financial statements are available immediately
preceding the date on which such additional Indebtedness is incurred or such Disqualified Stock or Pre-
ferred Stock is issued would have been less than 4.50 to 1.00, determined on a pro forma basis (including
a pro forma application of the net proceeds therefrom), as if the additional Indebtedness had been in-
curred, or the Disqualified Stock or Preferred Stock had been issued, as the case may be, and the applica-
tion of proceeds therefrom had occurred at the beginning of such four-quarter period; provided, further,
that the amount of Indebtedness (including Acquired Indebtedness) that may be incurred and Disqualified
Stock or Preferred Stock that may be issued pursuant to this Section 4.09(a) by Restricted Subsidiaries
that are not Guarantors shall not exceed $10.0 million at any one time outstanding.

                 (b)     The provisions of Section 4.09(a) hereof shall not apply to:

               (1)      Indebtedness under the Credit Agreement incurred in an aggregate principal
        amount not to exceed $40.0 million outstanding at any one time;

                 (2)      the incurrence by the Issuer and any Guarantor of Indebtedness represented by
        (a) the First Lien Notes, (b) the Notes (excluding Additional Notes) and (c) any guarantee by a
        Guarantor of any of the foregoing in this clause (2);

                (3)      Indebtedness of the Issuer and its Restricted Subsidiaries in existence on the Is-
        sue Date after giving effect to the consummation of the Reorganization Plan (other than Indeb-
        tedness described in clauses (1) and (2) of this Section 4.09(b));

                 (4)     Indebtedness (including Capitalized Lease Obligations and Purchase Money Ob-
        ligations), Disqualified Stock and Preferred Stock incurred by the Issuer or any of its Restricted
        Subsidiaries to finance the purchase, lease or improvement of property (real or personal) or
        equipment (other than software) that is used or useful in a Similar Business, whether through the
                                                    -66-

                                                                                                   100432088 v3
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                       Pg 240 of 771


     direct purchase of assets or the Capital Stock of any Person owning such assets, provided that the
     aggregate amount of Indebtedness, Disqualified Stock and Preferred Stock incurred pursuant to
     this clause (4) when aggregated with then outstanding amount of Indebtedness under clause
     (13) below incurred to refinance Indebtedness initially incurred in reliance on this clause (4) does
     not exceed $15.0 million at any one time outstanding;

             (5)      Indebtedness incurred by the Issuer or any of its Restricted Subsidiaries constitut-
     ing reimbursement obligations with respect to letters of credit issued in the ordinary course of
     business, including letters of credit in respect of workers’ compensation claims, or other Indeb-
     tedness with respect to reimbursement type obligations regarding workers’ compensation claims;
     provided, however, that such letters of credit are not drawn;

              (6)     Indebtedness arising from agreements of the Issuer or its Restricted Subsidiaries
     providing for indemnification, adjustment of purchase price or similar obligations, in each case,
     incurred or assumed in connection with the disposition of any business, assets or a Subsidiary,
     other than guarantees of Indebtedness incurred by any Person acquiring all or any portion of such
     business, assets or a Subsidiary for the purpose of financing such acquisition; provided, however,
     that the maximum assumable liability in respect of all such Indebtedness shall at no time exceed
     the gross proceeds including non-cash proceeds (the fair market value of such non-cash proceeds
     being measured at the time received and without giving effect to any subsequent changes in val-
     ue) actually received by the Issuer and its Restricted Subsidiaries in connection with such disposi-
     tion;

              (7)     Indebtedness of the Issuer to a Restricted Subsidiary; provided that any such In-
     debtedness owing to a Restricted Subsidiary that is not a Guarantor is expressly subordinated in
     right of payment to the Notes; provided further that any subsequent issuance or transfer of any
     Capital Stock or any other event which results in any such other Restricted Subsidiary ceasing to
     be a Restricted Subsidiary or any other subsequent transfer of any such Indebtedness (except to
     the Issuer or another Restricted Subsidiary or any pledge of such Indebtedness constituting a
     Permitted Lien) shall be deemed, in each case, to be an incurrence of such Indebtedness not per-
     mitted by this clause (7);

              (8)     Indebtedness of a Restricted Subsidiary to the Issuer or another Restricted Sub-
     sidiary; provided that if a Guarantor incurs such Indebtedness to a Restricted Subsidiary that is
     not a Guarantor, such Indebtedness is expressly subordinated in right of payment to the Guarantee
     of the Notes of such Guarantor; provided further that any subsequent issuance or transfer of any
     Capital Stock or any other event which results in any such other Restricted Subsidiary ceasing to
     be a Restricted Subsidiary or any subsequent transfer of any such Indebtedness (except to the Is-
     suer or another Restricted Subsidiary or any pledge of such Indebtedness constituting a Permitted
     Lien) shall be deemed, in each case, to be an incurrence of such Indebtedness not permitted by
     this clause (8);

              (9)      shares of Preferred Stock or Disqualified Stock of a Restricted Subsidiary issued
     to the Issuer or another Restricted Subsidiary; provided that any subsequent issuance or transfer
     of any Capital Stock or any other event which results in any such other Restricted Subsidiary
     ceasing to be a Restricted Subsidiary or any other subsequent transfer of any such shares of Pre-
     ferred Stock or Disqualified Stock (except to the Issuer or another of its Restricted Subsidiaries)
     shall be deemed in each case to be an issuance of such shares of Preferred Stock or Disqualified
     Stock not permitted by this clause (9);


                                                 -67-

                                                                                             100432088 v3
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                       Pg 241 of 771


            (10)     Hedging Obligations (excluding Hedging Obligations entered into for speculative
     purposes) for the purpose of limiting interest rate risk, exchange rate risk or commodity pricing
     risk;

             (11)    obligations in respect of performance, bid, appeal and surety bonds and comple-
     tion guarantees provided by the Issuer or any of its Restricted Subsidiaries in the ordinary course
     of business;

              (12)     (a) Indebtedness or Disqualified Stock of the Issuer or any Restricted Subsidiary
     of the Issuer in an aggregate principal amount or liquidation preference equal to 100.0% of the
     net cash proceeds received by the Issuer and its Restricted Subsidiaries since immediately after
     the Issue Date from the issue or sale of Equity Interests of the Issuer or any direct or indirect par-
     ent entity of the Issuer (which proceeds are contributed to the Issuer or a Restricted Subsidiary) or
     cash contributed to the capital of the Issuer (in each case, other than proceeds of Disqualified
     Stock or sales of Equity Interests or contributions received from the Issuer or any of its Subsidiar-
     ies) as determined in accordance with clauses (3)(b) and (3)(c) of Section 4.07(a) to the extent
     such net cash proceeds or cash have not been applied pursuant to such clauses to make Restricted
     Payments or to make other Investments, payments or exchanges pursuant to Section 4.07(b) or to
     make Permitted Investments (other than Permitted Investments specified in clauses (1) and (3) of
     the definition thereof) and (b) Indebtedness or Disqualified Stock of the Issuer and Indebtedness,
     Disqualified Stock or Preferred Stock of the Issuer or any Restricted Subsidiary not otherwise
     permitted hereunder in an aggregate principal amount or liquidation preference which, when ag-
     gregated with the principal amount and liquidation preference of all other Indebtedness, Disquali-
     fied Stock and Preferred Stock then outstanding and incurred pursuant to this clause (12)(b), does
     not at any one time outstanding exceed $25.0 million;

             (13)    the incurrence by the Issuer or any Restricted Subsidiary of the Issuer of Indeb-
     tedness, Disqualified Stock or Preferred Stock which serves to refund or refinance (whether by
     payment, purchase, redemption, defeasance or other acquisition or retirement) any Indebtedness,
     Disqualified Stock or Preferred Stock incurred or outstanding as permitted under Section 4.09(a)
     hereof and clauses (2), (3), (4), (6), (10) and (12)(a) above and this clause (13) and clause (14) be-
     low or any Indebtedness, Disqualified Stock or Preferred Stock issued to so refund or refinance
     such Indebtedness, Disqualified Stock or Preferred Stock including additional Indebtedness, Dis-
     qualified Stock or Preferred Stock incurred or outstanding to pay accrued interest; premiums (in-
     cluding reasonable tender premiums), defeasance costs and fees in connection therewith (the “Re-
     financing Indebtedness”) prior to its respective maturity; provided, however, that such Refinanc-
     ing Indebtedness:

                      (a)      has a Weighted Average Life to Maturity at the time such Refinancing
              Indebtedness is incurred which is not less than the remaining Weighted Average Life to
              Maturity of the Indebtedness, Disqualified Stock or Preferred Stock being refunded or re-
              financed,

                      (b)     to the extent such Refinancing Indebtedness refinances (i) Unsecured In-
              debtedness or constitutes other Permitted Second Lien Obligations, such Refinancing In-
              debtedness also constitutes Unsecured Indebtedness or constitutes other Permitted
              Second Lien Obligations, as the case may be, or (ii) Disqualified Stock or Preferred
              Stock, such Refinancing Indebtedness must be Disqualified Stock or Preferred Stock, re-
              spectively, and


                                                 -68-

                                                                                              100432088 v3
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                       Pg 242 of 771


                      (c)     shall not include:

                                (i)    Indebtedness, Disqualified Stock or Preferred Stock of a Subsid-
                      iary of the Issuer that is not a Guarantor that refinances Indebtedness, Disquali-
                      fied Stock or Preferred Stock of the Issuer;

                               (ii)    Indebtedness, Disqualified Stock or Preferred Stock of a Subsid-
                      iary of the Issuer, that is not a Guarantor that refinances Indebtedness, Disquali-
                      fied Stock or Preferred Stock of a Guarantor; or

                              (iii)    Indebtedness, Disqualified Stock or Preferred Stock of the Issuer
                      or a Restricted Subsidiary that refinances Indebtedness, Disqualified Stock or
                      Preferred Stock of a Restricted Subsidiary;

     and provided, further that subclause (a) of this clause (13) shall not apply to any refunding or re-
     financing of any First Lien Obligations;

              (14)     Indebtedness, Disqualified Stock or Preferred Stock of a Person incurred and out-
     standing on or prior to the date on which such Person was acquired by the Issuer or any Restricted
     Subsidiary or merged into the Issuer or a Restricted Subsidiary in accordance with the terms of
     this Indenture; provided that such Indebtedness, Disqualified Stock or Preferred Stock is not in-
     curred in connection with or in contemplation of, or to provide all or any portion of the funds or
     credit support utilized to consummate, such acquisition or merger; and provided, further, that af-
     ter giving effect to such acquisition or merger, either

                       (a)     the Consolidated Secured Leverage Ratio for the Issuer and its Restricted
              Subsidiaries on a consolidated basis for the most recently ended four fiscal quarters for
              which internal financial statements are available immediately preceding the date of such
              transaction does not exceed 4.00 to 1.00, or

                       (b)     (i) the Consolidated Secured Leverage Ratio is equal to or less than such
              ratio immediately prior to such acquisition or merger and (ii) the Consolidated Leverage
              Ratio is equal to or less than such ratio immediately prior to such acquisition or merger;

             (15)     Indebtedness arising from the honoring by a bank or other financial institution of
     a check, draft or similar instrument drawn against insufficient funds in the ordinary course of
     business, provided that such Indebtedness is extinguished within two Business Days of its incur-
     rence;

              (16)     Indebtedness of the Issuer or any of its Restricted Subsidiaries supported by a let-
     ter of credit issued pursuant to the Credit Agreement, in a principal amount not in excess of the
     stated amount of such letter of credit;

             (17)    (a)      any guarantee by the Issuer or a Restricted Subsidiary of Indebtedness or
     other obligations of any Restricted Subsidiary so long as the incurrence of such Indebtedness in-
     curred by such Restricted Subsidiary is permitted under the terms of this Indenture, or

             (b)     any guarantee by a Restricted Subsidiary of Indebtedness of the Issuer; provided
     that such guarantee is incurred in accordance with Section 4.15;


                                                   -69-

                                                                                              100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                          Pg 243 of 771


                  (18)   Indebtedness of the Issuer or any of its Restricted Subsidiaries consisting of
        (i) the financing of insurance premiums or (ii) take-or-pay obligations contained in supply ar-
        rangements in each case, incurred in the ordinary course of business;

                 (19)     Indebtedness consisting of Indebtedness issued by the Issuer or any of the Re-
        stricted Subsidiaries to current or former officers, directors and employees thereof, their respec-
        tive estates, spouses or former spouses, in each case to finance the purchase or redemption of Eq-
        uity Interests of the Issuer, a Restricted Subsidiary or any of their direct or indirect parent compa-
        nies to the extent described in clause (4) of Section 4.07(b);

                (20)   customer deposits and advance payments received in the ordinary course of busi-
        ness from customers for goods purchased in the ordinary course of business; and

                 (21)    Indebtedness owed on a short term basis of no longer than 30 days to banks and
        other financial institutions incurred in the ordinary course of business of the Issuer and the Re-
        stricted Subsidiaries with such banks or financial institutions that arises in connection with ordi-
        nary banking arrangements to manage cash balances of the Issuer and the Restricted Subsidiaries.

                For purposes of determining compliance with this Section 4.09:

                 (1)      in the event that an item of Indebtedness, Disqualified Stock or Preferred Stock
        (or any portion thereof) meets the criteria of more than one of the categories of permitted Indeb-
        tedness, Disqualified Stock or Preferred Stock described in clauses (1) through (21) of Section
        4.09(b) hereof or is entitled to be incurred pursuant to Section 4.09(a) hereof, the Issuer, in its
        sole discretion, shall classify or reclassify such item of Indebtedness, Disqualified Stock or Pre-
        ferred Stock (or any portion thereof) and shall only be required to include the amount and type of
        such Indebtedness, Disqualified Stock or Preferred Stock under Section 4.09(a) hereof or in one
        of the above clauses under Section 4.09(b) hereof; provided that all Indebtedness outstanding un-
        der the Credit Agreement on the Issue Date shall be treated as incurred on the Issue Date under
        clause (1) of Section 4.09(b) hereof; and

                (2)     at the time of incurrence, the Issuer shall be entitled to divide and classify an item
        of Indebtedness in more than one of the types of Indebtedness described in Section 4.09(a) and
        (b) hereof.

                 Accrual of interest, the accretion of accreted value or original issue discount and the
payment of interest or dividends in the form of additional Indebtedness, Disqualified Stock or Preferred
Stock, as applicable, shall not be deemed to be an incurrence of Indebtedness, Disqualified Stock or Pre-
ferred Stock for purposes of this Section 4.09.

                 For purposes of determining compliance with any U.S. dollar-denominated restriction on
the incurrence of Indebtedness, the U.S. dollar-equivalent principal amount of Indebtedness denominated
in a foreign currency shall be calculated based on the relevant currency exchange rate in effect on the date
such Indebtedness was incurred, in the case of term debt, or first committed, in the case of revolving cre-
dit debt; provided that if such Indebtedness is incurred to refinance other Indebtedness denominated in a
foreign currency, and such refinancing would cause the applicable U.S. dollar-denominated restriction to
be exceeded if calculated at the relevant currency exchange rate in effect on the date of such refinancing,
such U.S. dollar-denominated restriction shall be deemed not to have been exceeded so long as the prin-
cipal amount of such refinancing Indebtedness does not exceed the principal amount of such Indebtedness
being refinanced plus the amount of any reasonable premium (including reasonable tender premiums),

                                                    -70-

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 244 of 771


defeasance costs and any reasonable fees and expenses incurred in connection with the issuance of such
new Indebtedness.

                   The principal amount of any Indebtedness incurred to refinance other Indebtedness, if in-
curred in a different currency from the Indebtedness being refinanced, shall be calculated based on the
currency exchange rate applicable to the currencies in which such respective Indebtedness is denominated
that is in effect on the date of such refinancing.

                  For the purpose of this Indenture, (1) Unsecured Indebtedness shall not be deemed to be
subordinated or junior to Secured Indebtedness merely because it is unsecured, (2) senior Indebtedness
that is Secured Indebtedness shall not be deemed to be subordinated or junior to any other senior Indeb-
tedness that is Secured Indebtedness merely because it has a junior priority with respect to the same colla-
teral, (3) any Indebtedness shall not be deemed to be subordinated to any other Indebtedness merely be-
cause of maturity date, order of payment or order of application of funds or (4) Indebtedness that is not
guaranteed shall not be deemed to be subordinated to Indebtedness that is guaranteed merely because of
such guarantee.

Section 4.10    Asset Sales.

                (a)      The Issuer shall not, and shall not permit any of its Restricted Subsidiaries to,
cause, make or suffer to exist an Asset Sale, unless:

                 (1)      the Issuer or such Restricted Subsidiary, as the case may be, receives considera-
        tion at the time of such Asset Sale at least equal to the fair market value (such fair market value to
        be determined in good faith by the Issuer on the date of contractually agreeing to such Asset Sale)
        of the assets sold or otherwise disposed of; and

                (2)     except in the case of a Permitted Asset Swap, at least 75% of the consideration
        therefor received by the Issuer or such Restricted Subsidiary, as the case may be, is in the form of
        cash or Cash Equivalents; provided that the amount of:

                         (a)     any liabilities (as shown on the Issuer’s or such Restricted Subsidiary’s
                most recent internal balance sheet or in the footnotes thereto) of the Issuer or such Re-
                stricted Subsidiary, other than liabilities that are by their terms subordinated to the Notes,
                that are assumed by the transferee of any such assets and for which the Issuer and all of
                its Restricted Subsidiaries have been validly released by all creditors in writing;

                        (b)      any securities received by the Issuer or such Restricted Subsidiary from
                such transferee that are converted by the Issuer or such Restricted Subsidiary into cash (to
                the extent of the cash received) within 90 days following the closing of such Asset Sale;
                and

                         (c)      any Designated Non-cash Consideration received by the Issuer or such
                Restricted Subsidiary in such Asset Sale having an aggregate fair market value, taken to-
                gether with all other Designated Non-cash Consideration received pursuant to this
                clause (c) and assets (other than securities received and not yet liquidated pursuant to
                clause (b)) that are at that time outstanding, not to exceed 3.0% of Total Assets at the
                time of the receipt of such Designated Non-cash Consideration, with the fair market value
                of each item of Designated Non-cash Consideration being measured at the time received
                and without giving effect to subsequent changes in value,

                                                     -71-

                                                                                                  100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 245 of 771


       shall be deemed to be cash for purposes of this provision and for no other purpose.

               (b)      Within 12 months after the receipt of any Net Proceeds of any Asset Sale con-
summated after the Issue Date (the “Application Period”), the Issuer or such Restricted Subsidiary, at its
option, may apply the Net Proceeds from such Asset Sale

                (1)      to permanently reduce:

                         (a)     Indebtedness constituting First Lien Obligations (and, if the Indebtedness
                repaid is revolving credit Indebtedness, to correspondingly reduce commitments with re-
                spect thereto); or

                         (b)     Obligations under other Permitted Second Lien Obligations (and to cor-
                respondingly reduce commitments with respect thereto); provided that the Issuer shall
                equally and ratably (based on the aggregate principal amounts thereof) reduce Obliga-
                tions under the Notes as provided under Section 3.07 through open-market purchases (to
                the extent such purchases are at or above 100% of the principal amount thereof) or by
                making an offer (in accordance with the procedures set forth below for an Asset Sale Of-
                fer) to all Holders to purchase their Notes at 100% of the principal amount thereof, plus
                the amount of accrued but unpaid interest, if any, on the amount of Notes that would oth-
                erwise be prepaid; or

                        (c)    Indebtedness of a Restricted Subsidiary that is not a Guarantor, other
                than Indebtedness owed to the Issuer or another Restricted Subsidiary; or

                 (2)      to make (a) an Investment in any one or more businesses, provided that such In-
        vestment in any business is in the form of the acquisition of Capital Stock and results in the Issuer
        or another of its Restricted Subsidiaries, as the case may be, owning an amount of the Capital
        Stock of such business such that it constitutes a Restricted Subsidiary, (b) capital expenditures or
        (c) acquisitions of other assets (other than current amounts), in each of clauses (a), (b) and (c),
        used or useful in a Similar Business or that replace the businesses, properties and/or assets that
        are the subject of such Asset Sale (“Replacement Assets”); provided that to the extent that the as-
        sets disposed of in such Asset Sale were Collateral, such assets are pledged as Collateral under
        the Security Documents with the Lien on such Collateral securing the Notes being of the same
        priority with respect to the Notes as the Lien on the assets disposed of.

                   (c)      Any Net Proceeds from the Asset Sale that are not invested or applied in accor-
dance with Section 4.10(b) hereof within the Application Period shall be deemed to constitute “Excess
Proceeds.” When the aggregate amount of Excess Proceeds exceeds $20.0 million, the Issuer shall make
an offer to (x) in the case of Net Proceeds from Collateral, all Holders of the Notes and, if required by the
terms of any other Permitted Second Lien Obligations, the holders of such Permitted Second Lien Obliga-
tions and (y) in the case of any other Net Proceeds, all Holders of the Notes and all holders of other In-
debtedness that ranks pari passu in right of payment with the Notes containing provisions similar to those
set forth in Section 3.09 and Section 4.10 hereof with respect to offers to purchase or redeem with the
proceeds of sales of assets (“Pari Passu Indebtedness”), in each case (an “Asset Sale Offer”), to purchase
the maximum aggregate principal amount of the Notes and such other Permitted Second Lien Obligations
that may be purchased out of the Excess Proceeds at an offer price in cash in an amount equal to 100% of
the principal amount thereof, plus (without duplication) accrued and unpaid interest and Additional Inter-
est, if any, to the date fixed for the closing of such offer, in accordance with the procedures set forth in
this Indenture. The Issuer shall commence an Asset Sale Offer with respect to Excess Proceeds within ten
Business Days after the date that Excess Proceeds exceed $20.0 million by mailing the notice to Holders
                                                       -72-

                                                                                                 100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 246 of 771


required pursuant to the terms of this Indenture, with a copy to the Trustee as set forth in Section 3.09
hereof. The Issuer may satisfy the foregoing obligations with respect to any Excess Proceeds from an
Asset Sale by making an Asset Sale Offer with respect to such Excess Proceeds prior to the expiration of
the Application Period.

                  To the extent that the aggregate principal amount of Notes and such other Permitted
Second Lien Obligations or Pari Passu Indebtedness, as applicable, tendered pursuant to an Asset Sale
Offer is less than the Excess Proceeds, the Issuer may use any remaining Excess Proceeds for general
corporate purposes, subject to the other covenants contained in this Indenture. If the aggregate principal
amount of Notes and other Permitted Second Lien Obligations (in the case of Net Proceeds from Colla-
teral) and such Pari Passu Indebtedness (in the case of any other Net Proceeds) surrendered by such hold-
ers thereof exceeds the amount of Excess Proceeds, the Notes and such other Permitted Second Lien Ob-
ligations or Pari Passu Indebtedness, as applicable, shall be purchased on a pro rata basis based on the
principal amount of the Notes, other Permitted Second Lien Obligations or such Pari Passu Indebtedness,
as applicable, tendered. Upon completion of any such Asset Sale Offer, the amount of Excess Proceeds
shall be reset at zero.

                 Pending the final application of any Net Proceeds pursuant to this Section 4.10, the Issuer
or such Restricted Subsidiary may apply such Net Proceeds temporarily to reduce Indebtedness outstand-
ing under a revolving credit facility or otherwise invest such Net Proceeds in any manner not prohibited
by this Indenture (including investing in a trust account maintained by the First Lien Collateral Agent).

                 The Issuer shall comply with the requirements of Rule 14e-1 under the Exchange Act and
any other securities laws and regulations thereunder to the extent such laws or regulations are applicable
in connection with the repurchase of the Notes pursuant to an Asset Sale Offer. To the extent that the
provisions of any securities laws or regulations conflict with the provisions of this Indenture, the Issuer
shall comply with the applicable securities laws and regulations and shall not be deemed to have breached
its obligations described in this Indenture by virtue thereof.

Section 4.11     Transactions with Affiliates.

                 (a)     The Issuer shall not, and shall not permit any of its Restricted Subsidiaries to,
make any payment to, or sell, lease, transfer or otherwise dispose of any of its properties or assets to, or
purchase any property or assets from, or enter into or make or amend any transaction, contract, agree-
ment, understanding, loan, advance or guarantee with, or for the benefit of, any Affiliate of the Issuer
(each of the foregoing, an “Affiliate Transaction”) involving aggregate payments or consideration in
excess of $2.0 million, unless:

                 (1)      such Affiliate Transaction is on terms that are not materially less favorable to the
        Issuer or its relevant Restricted Subsidiary than those that would have been obtained in a compa-
        rable transaction by the Issuer or such Restricted Subsidiary with an unrelated Person on an
        arm’s-length basis;

                 (2)     the Issuer delivers to the Trustee with respect to any Affiliate Transaction or se-
        ries of related Affiliate Transactions involving aggregate payments or consideration in excess of
        $10.0 million, a Board Resolution adopted by the majority of the Board of Directors of the Issuer
        approving such Affiliate Transaction and set forth in an Officers’ Certificate certifying that such
        Affiliate Transaction complies with clause (1) of this Section 4.11(a); and

                 (3)     the Issuer delivers to the Trustee with respect to any Affiliate Transaction or se-
        ries of related Affiliate Transactions involving aggregate payments or consideration in excess of
                                                     -73-

                                                                                                  100432088 v3
10-16140-mg       Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                          Pg 247 of 771


       $40.0 million, a written opinion to the Issuer or such Restricted Subsidiary from an Independent
       Financial Advisor stating that the terms of such transaction are not materially less favorable to the
       Issuer or the Restricted Subsidiary than those that would have reasonably been obtained in a
       comparable transaction by the Issuer or such Restricted Subsidiary at such time with an unrelated
       Person on an arm’s-length basis.

               (b)      The foregoing provisions of Section 4.11(a) hereof shall not apply to the follow-
ing:

               (1)      transactions between or among the Issuer or any of its Restricted Subsidiaries;

               (2)     Restricted Payments permitted by Section 4.07 hereof and transactions constitut-
       ing “Permitted Investments”;

               (3)      [Reserved];

                (4)     the payment of reasonable and customary fees paid to, and indemnities provided
       on behalf of, officers, directors, employees or consultants of the Issuer, any of its direct or indi-
       rect parent companies or any of its Restricted Subsidiaries;

                (5)       transactions in which the Issuer or any Restricted Subsidiary, as the case may be,
       delivers to the Trustee a letter from an Independent Financial Advisor stating that such transac-
       tion is fair to the Issuer or such Restricted Subsidiary from a financial point of view or stating that
       the terms are not materially less favorable to the Issuer or such Restricted Subsidiary than those
       that would have reasonably been obtained in a comparable transaction by the Issuer or such Re-
       stricted Subsidiary with an unrelated Person on an arm’s-length basis;

               (6)      any agreement or arrangement as in effect as of the Issue Date, or any amend-
       ment thereto (so long as any such amendment is not materially disadvantageous to the Holders
       when taken as a whole as compared to the applicable agreement or arrangement as in effect on
       the Issue Date);

                (7)       the existence of, or the performance by the Issuer or any of its Restricted Subsid-
       iaries of its obligations under the terms of, any stockholders agreement (including any registration
       rights agreement or purchase agreement related thereto) to which the Issuer or any such Re-
       stricted Subsidiary is a party as of the Issue Date and any similar agreements which it may enter
       into thereafter; provided, however, that the existence of, or the performance by the Issuer or any
       of its Restricted Subsidiaries of obligations under any future amendment to any such existing
       agreement or under any similar agreement entered into after the Issue Date shall only be permit-
       ted by this clause (7) to the extent that the terms of any such amendment or new agreement are
       not otherwise materially disadvantageous to the Holders when taken as a whole;

                (8)      transactions with customers, clients, suppliers, or purchasers or sellers of goods
       or services, in each case in the ordinary course of business and otherwise in compliance with the
       terms of this Indenture which are fair to the Issuer and its Restricted Subsidiaries, in the reasona-
       ble determination of the Board of Directors of the Issuer or the senior management thereof, or are
       on terms at least as favorable as might reasonably have been obtained at such time from an unaf-
       filiated party;

               (9)    the issuance of Equity Interests (other than Disqualified Stock) of the Issuer to
       any Person and any contribution to the capital of the Issuer;
                                                 -74-

                                                                                                 100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 248 of 771


                 (10)     payments by the Issuer or any of its Restricted Subsidiaries to any of the Permit-
        ted Holders made for any financial advisory, financing, underwriting or placement services or in
        respect of other investment banking activities, including, without limitation, in connection with
        acquisitions or divestitures which payments are approved by a majority of the Board of Directors
        of the Issuer in good faith;

                (11)    the Emergence Transactions, including the payments of fees and expenses in
        connection therewith;

                 (12)     payments or loans (or cancellation of loans) to employees or consultants of the
        Issuer, any of its direct or indirect parent companies or any of its Restricted Subsidiaries and em-
        ployment agreements, stock option plans and other similar arrangements with such employees or
        consultants which, in each case, are approved by the Issuer in good faith;

                 (13)     transactions between the Issuer or any of its Restricted Subsidiaries and any Per-
        son, a director of which is also a director of the Issuer or any direct or indirect parent of the Issu-
        er; provided, however, that such director abstains from voting as a director of the Issuer or such
        direct or indirect parent, as the case may be, on any matter involving such other Person;

                 (14)     transactions permitted by, and complying with, the provisions of Section 5.01;

                (15)    the pledge of Equity Interests of an Unrestricted Subsidiary to lenders of such
        Unrestricted Subsidiary to support the Indebtedness of such Unrestricted Subsidiary owed to such
        lenders; and

                 (16)    any transaction with (or for the benefit of) a Person that would constitute an Af-
        filiate Transaction solely because the Issuer or a Restricted Subsidiary owns an equity interest in
        or otherwise controls such Person.

Section 4.12     Liens.

                  The Issuer will not, and will not permit any Restricted Subsidiary to, directly or indirect-
ly, create, incur, affirm or suffer to exist any Lien of any kind upon any of its property or assets (includ-
ing any intercompany notes) constituting Collateral, now owned or acquired after the Issue Date, or any
income or profits therefrom, securing Indebtedness excluding, however, from the operation of the fore-
going any Permitted Liens. Additionally, the Issuer will not, and will not permit any of its Restricted Sub-
sidiaries to, incur or suffer to exist any Lien (the “Initial Lien”) on any property or assets that are not Col-
lateral securing Indebtedness unless (a) the Issuer or such Restricted Subsidiary (i) equally and ratably
secures the Notes (or on a senior basis to) the obligations secured by such Initial Lien or (ii) provides that
such Initial Lien is expressly junior in ranking relative to the Notes and related Guarantees pursuant to a
junior lien intercreditor agreement or (b) such Initial Lien is a Permitted Lien; provided, however, that
any such Lien created to secure the Notes pursuant to this sentence of this Section 4.12 shall provide by
its terms that upon the release and discharge of the Initial Lien on such assets by the collateral agent for
the Indebtedness secured by such Initial Lien, the Lien on such assets securing the Notes shall be auto-
matically and unconditionally released and discharged and the Issuer may take any action necessary to
effectuate such release or discharge.

Section 4.13     Changes in Covenants When Notes Rated Investment Grade.

                (a)     Beginning on the first date of a Covenant Suspension and ending on a Reversion
Date (such period, a “Suspension Period”), the following covenants will not be applicable to the Notes:
                                                   -75-

                                                                                                   100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 249 of 771


                 (1)     Section 4.07;

                 (2)     Section 4.08;

                 (3)     Section 4.09;

                 (4)     Section 4.10;

                 (5)     Section 4.11;

                 (6)     Section 4.15; and

                 (7)     clause (4) of Section 5.01(a).

                 (b)     On each Reversion Date, all Indebtedness incurred, or Disqualified Stock or Pre-
ferred Stock issued, during the Suspension Period will be classified as having been incurred or issued pur-
suant to Section 4.09(a) hereof or one of the clauses set forth in Section 4.09(b) hereof (to the extent such
Indebtedness or Disqualified Stock or Preferred Stock would be permitted to be incurred or issued the-
reunder as of the Reversion Date and after giving effect to Indebtedness incurred or issued prior to the
Suspension Period and outstanding on the Reversion Date). To the extent such Indebtedness or Disquali-
fied Stock or Preferred Stock would not be so permitted to be incurred or issued pursuant to Section
4.09(a) hereof or Section 4.09(b) hereof, such Indebtedness or Disqualified Stock or Preferred Stock will
be deemed to have been outstanding on the Issue Date, so that it is classified as permitted under Section
4.09(b)(3) hereof.

                 (c)      Calculations made after the Reversion Date of the amount available to be made
as Restricted Payments pursuant to Section 4.07 hereof will be made as though Section 4.07 hereof had
been in effect since the Issue Date and throughout the Suspension Period. Accordingly, Restricted Pay-
ments made during the Suspension Period will reduce the amount available to be made as Restricted
Payments under Section 4.07(a) hereof; provided, however, that no Default or Event of Default will be
deemed to have occurred as a result of the Reversion Date occurring on the basis of any actions taken or
the continuance of any circumstances resulting from actions taken or the performance of obligations un-
der agreements entered into by the Issuer or any of the Restricted Subsidiaries during the Suspension Pe-
riod (other than agreements to take actions after the Reversion Date that would not be permitted outside
of the Suspension Period entered into in contemplation of the Reversion Date).

                 (d)      In addition, for purposes of Section 4.11 hereof, all agreements and arrangements
entered into by the Issuer or any Restricted Subsidiary with an Affiliate of the Issuer during the Suspen-
sion Period prior to the Reversion Date will be deemed to have been entered into on or prior to the Issue
Date and for purposes of Section 4.08 hereof, all contracts entered into during the Suspension Period prior
to such Reversion Date that contain any of the restrictions contemplated by Section 4.08 hereof will be
deemed to have been existing on the Issue Date. For purposes of Section 4.10 hereof, on the Reversion
Date, the unutilized Excess Proceeds amount will be reset to zero.

                (e)     During any Suspension Period, no Restricted Subsidiary may be designated as an
Unrestricted Subsidiary by the Board of Directors of the Issuer.

                 (f)      Upon the occurrence of a Covenant Suspension or a Reversion Date, the Issuer
shall provide written notice to the Trustee, and file with the Trustee an Officers’ Certificate certifying that
such suspension or reversion complied with the foregoing provisions. In the case of a Covenant Suspen-
sion, such notice shall list the Suspended Covenants.
                                                      -76-

                                                                                                   100432088 v3
10-16140-mg           Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                            Pg 250 of 771


Section 4.14        Offer To Repurchase upon Change of Control.

                   (a)     If a Change of Control occurs, unless the Issuer has previously or concurrently
mailed a redemption notice with respect to all the outstanding Notes as described under Section 3.07 he-
reof, the Issuer shall make an offer to purchase all of the Notes pursuant to the offer described below (the
“Change of Control Offer”) at a price in cash (the “Change of Control Payment”) equal to 101% of the
aggregate principal amount thereof plus, without duplication, accrued and unpaid interest and Additional
Interest, if any, to the date of purchase, subject to the right of Holders of record on the relevant Record
Date to receive interest due on the relevant Interest Payment Date. Within 30 days following any Change
of Control, the Issuer shall send notice of such Change of Control Offer by first class mail, with a copy to
the Trustee, to each Holder to the address of such Holder appearing in the security register with the fol-
lowing information:

                 (1)    a Change of Control Offer is being made pursuant to this Section 4.14 and that all
        Notes properly tendered pursuant to such Change of Control Offer shall be accepted for payment
        by the Issuer;

                 (2)     the purchase price and the purchase date, which shall be no earlier than 30 days
        nor later than 60 days from the date such notice is mailed (the “Change of Control Payment
        Date”);

                    (3)    any Note not properly tendered shall remain outstanding and continue to accrue
        interest;

                (4)     unless the Issuer defaults in the payment of the Change of Control Payment, all
        Notes accepted for payment pursuant to the Change of Control Offer shall cease to accrue interest
        on the Change of Control Payment Date;

                (5)      Holders electing to have any Notes purchased pursuant to a Change of Control
        Offer shall be required to surrender such Notes, with the form entitled “Option of Holder to Elect
        Purchase” on the reverse of such Notes completed, to the paying agent specified in the notice at
        the address specified in the notice prior to the close of business on the third Business Day preced-
        ing the Change of Control Payment Date;

                 (6)     Holders shall be entitled to withdraw their tendered Notes and their election to
        require the Issuer to purchase such Notes; provided that the Paying Agent receives, not later than
        the close of business on the Business Day prior to the Change of Control Payment Date, a tele-
        gram, telex, facsimile transmission or letter setting forth the name of the Holder, the principal
        amount of Notes tendered for purchase, and a statement that such Holder is withdrawing its ten-
        dered Notes and its election to have such Notes purchased;

                 (7)    if such notice is mailed prior to the occurrence of a Change of Control, stating
        that the Change of Control Offer is conditional on the occurrence of such Change of Control; and

                 (8)     the other instructions, as determined by the Issuer, consistent with this Section
        4.14, that a Holder must follow.

                (b)      While the Notes are in global form and the Issuer makes an offer to purchase all
of the Notes pursuant to the Change of Control Offer, a Holder may exercise its option to elect for the
purchase of the Notes through the facilities of DTC, subject to its rules and regulations.

                                                    -77-

                                                                                                 100432088 v3
10-16140-mg          Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                            Pg 251 of 771


                  The notice, if mailed in a manner herein provided, shall be conclusively presumed to
have been given, whether or not the Holder receives such notice. If (a) the notice is mailed in a manner
herein provided and (b) any Holder fails to receive such notice or a Holder receives such notice but it is
defective, such Holder’s failure to receive such notice or such defect shall not affect the validity of the
proceedings for the purchase of the Notes as to all other Holders that properly received such notice with-
out defect. The Issuer shall comply with the requirements of Rule 14e-1 under the Exchange Act and any
other securities laws and regulations thereunder to the extent such laws or regulations are applicable in
connection with the repurchase of Notes pursuant to a Change of Control Offer. To the extent that the
provisions of any securities laws or regulations conflict with the provisions of this Section 4.14, the Issuer
shall comply with the applicable securities laws and regulations and shall not be deemed to have breached
its obligations under this Section 4.14 by virtue thereof.

                  (c)     On the Change of Control Payment Date, the Issuer shall, to the extent permitted
by law,

                 (1)     accept for payment all Notes or portions thereof properly tendered pursuant to the
          Change of Control Offer,

                  (2)     deposit with the Paying Agent an amount equal to the aggregate Change of Con-
          trol Payment in respect of all Notes or portions thereof so tendered, and

                  (3)     deliver, or cause to be delivered, to the Trustee for cancellation the Notes so ac-
          cepted together with an Officers’ Certificate to the Trustee stating that such Notes or portions the-
          reof have been tendered to and purchased by the Issuer.

                 (d)     The Paying Agent shall promptly mail to each Holder the Change of Control
Payment for such Notes, and the Trustee shall, upon receipt of an Authentication Order, promptly authen-
ticate and mail to each Holder a new Note equal in principal amount to any unpurchased portion of the
Notes surrendered, if any; provided that each such new Note shall be in denominations of $2,000 and
integral multiples of $1,000 in excess thereof. The Issuer shall publicly announce the results of the
Change of Control Offer on or as soon as practicable after the Change of Control Payment Date.

                (e)      The Issuer shall not be required to make a Change of Control Offer following a
Change of Control if a third party makes the Change of Control Offer in the manner, at the time and oth-
erwise in compliance with the requirements set forth in this Section 4.14 applicable to a Change of Con-
trol Offer made by the Issuer and purchases all Notes validly tendered and not withdrawn under such
Change of Control Offer. Notwithstanding anything to the contrary herein, a Change of Control Offer
may be made in advance of a Change of Control, conditional upon such Change of Control, if a definitive
agreement is in place for the Change of Control at the time of making of the Change of Control Offer.

                 (f)      Other than as specifically provided in this Section 4.14, any purchase pursuant to
this Section 4.14 shall be made pursuant to the provisions of Sections 3.02, 3.05 and 3.06 hereof.

                 (g)      In the event a Change of Control occurs at a time when the Issuer is prohibited by
the terms of any First Lien Obligation from purchasing the Notes, then prior to the mailing of the notice
of a Change of Control to Holders of Notes, but in any event within 30 days following any Change of
Control, the Issuer shall (1) repay in full all Obligations, and terminate all commitments, under such First
Lien Obligations or offer to repay in full all Obligations, and terminate all commitments, under such First
Lien Obligations and to repay the Obligations owed to (and terminate all commitments of) each lender
which has accepted such offer or (2) obtain the requisite consents under the agreements governing such
First Lien Obligations to permit the repurchase of the Notes. If such a consent is not obtained or borrow-
                                                      -78-

                                                                                                   100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 252 of 771


ings repaid, the Issuer shall remain prohibited from purchasing the Notes. The Issuer shall first comply
with this clause (g) before it shall be required to repurchase the Notes pursuant to the other provisions of
this Section 4.14. The Issuer’s failure to comply with this clause (g) (and any failure to send a notice of a
Change of Control as a result of the prohibition in this clause (g)) may (with notice and lapse of time)
constitute an Event of Default described in clause (3) of Section 6.01(a) hereof, but shall not constitute an
Event of Default described in clause (1) of Section 6.01(a) hereof.

Section 4.15     Limitation on Guarantees of Indebtedness by Restricted Subsidiaries.

                The Issuer shall not permit any of its Restricted Subsidiaries, other than a Guarantor, to
guarantee the payment of any Indebtedness of the Issuer or any other Guarantor unless:

                (1)      such Restricted Subsidiary within 30 days executes and delivers a supplemental
        indenture to this Indenture, the form of which is attached as Exhibit D hereto, providing for a
        Guarantee by such Restricted Subsidiary, except, if such Indebtedness is by its express terms sub-
        ordinated in right of payment to the Notes or such Guarantor’s Guarantee, any such guarantee by
        such Restricted Subsidiary with respect to such Indebtedness shall be subordinated in right of
        payment to such Guarantee substantially to the same extent as such Indebtedness is subordinated
        to the Notes or such Guarantor’s Guarantee;

                 (2)     such Restricted Subsidiary within 30 days executes and delivers a joinder to the
        applicable Security Documents or new Security Documents and takes all actions necessary to per-
        fect the Liens created thereunder (to the extent required by such Security Documents), all of such
        Liens to be junior to the Liens in favor of the holders of the Permitted Second Lien Obligations
        and to be subject to the Intercreditor Agreement; and

                 (3)     such Restricted Subsidiary waives and shall not in any manner whatsoever claim
        or take the benefit or advantage of, any rights of reimbursement, indemnity or subrogation or any
        other rights against the Issuer or any other Restricted Subsidiary as a result of any payment by
        such Restricted Subsidiary under its Guarantee;

provided that this Section 4.15 shall not be applicable to any guarantee of any Restricted Subsidiary that
existed at the time such Person became a Restricted Subsidiary and was not incurred in connection with,
or in contemplation of, such Person becoming a Restricted Subsidiary.

                Each Guarantee shall be released in accordance with Article 11 hereof.

Section 4.16     [Reserved].

Section 4.17     Tax Treatment of the Notes.

                The Issuer agrees and, by acceptance of a beneficial ownership interest in the Notes, each
Holder is deemed to have agreed, to treat the Notes as indebtedness of the Issuer for U.S. federal income
tax purposes. The Issuer and the Holder will not take any position on a tax return inconsistent with such
treatment, unless required by applicable law.

Section 4.18     Non-Impairment of Security Interest.

                 Subject to the rights of the holders of Permitted Liens that are existing on the Issue Date
or incurred after the Issue Date, the Issuer will not, and will not permit any of its Restricted Subsidiaries
to, take or knowingly or negligently omit to take, any action which action or omission could reasonably
                                                     -79-

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 253 of 771


be expected to have the result of materially impairing the Lien with respect to the Collateral in favor of
the holders of Permitted Second Lien Obligations; provided that this Section 4.18 shall not prohibit the
release of Guarantors pursuant to Section 11.06 hereof or the release of Collateral pursuant to Section
4.12 or Article 10 hereof.

Section 4.19     [Reserved].



Section 4.20     After-Acquired Collateral; Further Assurances.

                  (a)     Subject to certain limitations and exceptions (including the exclusion of any se-
curities or other equity interests of any of the Issuer’s Subsidiaries), if the Issuer or any Guarantor creates
any additional security interest upon any property or asset to secure any First Lien Obligations (which
include Obligations in respect of the Credit Agreement and the First Lien Notes), it must concurrently
grant a second-priority security interest (subject to Permitted Liens) upon such property as security for the
Indebtedness and Obligations under the Notes. In addition, if granting a security interest in such property
requires the consent of a third party, the Issuer will use commercially reasonable efforts to obtain such
consent with respect to the second-priority security interest for the benefit of the Collateral Agent. If such
third party does not consent to the granting of the second-priority security interest after the use of such
commercially reasonable efforts, the applicable entity will not be required to provide such security inter-
est.

                 (b)      The Issuer and the Guarantors shall execute any and all further documents, fi-
nancing statements, agreements and instruments, and take all further action that may be required under
applicable law, or that the Collateral Agent may reasonably request, in order to grant, preserve, protect
and perfect the validity and priority of the security interests and Liens created or intended to be created by
the Security Documents in the Collateral. In addition, from time to time, the Issuer will reasonably
promptly secure the obligations under this Indenture, Security Documents and Intercreditor Agreement by
pledging or creating, or causing to be pledged or created, perfected security interests and Liens with re-
spect to the Collateral. Such security interests and Liens will be created under the Security Documents
and other security agreements, mortgages, deeds of trust and other instruments and documents as may be
reasonably required.

Section 4.21     Information Regarding Collateral.

                  (a)     The Issuer will furnish to the Collateral Agent, with respect to the Issuer or any
Guarantor, prompt written notice of any change in such Person’s (i) legal name, (ii) jurisdiction of organi-
zation or formation, (iii) identity or corporate structure or (iv) Organizational Identification Number. The
Issuer and the Guarantors will agree not to effect or permit any change referred to in the preceding sen-
tence unless all filings have been made under the Uniform Commercial Code or otherwise that are re-
quired in order for the Collateral Agent to continue at all times following such change to have a valid,
legal and perfected security interest in all the Collateral.

                 (b)       Each year, at the time of delivery of the annual financial statements with respect
to the preceding fiscal year pursuant to Section 4.03 hereof, the Issuer shall deliver to the Trustee a certif-
icate of a financial officer of the Issuer setting forth the information required pursuant to the schedules
required by the Security Documents or confirming that there has been no change in such information
since the date of the prior annual financial statements.


                                                     -80-

                                                                                                   100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 254 of 771


Section 4.22     Maintenance of Property; Insurance.

                  (a)     The Issuer shall cause all material properties owned by or leased by it or any of
its Restricted Subsidiaries used or useful to the conduct of its business or the business of any of its Re-
stricted Subsidiaries to be maintained and kept in normal condition, repair and working order and sup-
plied with all reasonably necessary equipment and shall cause to be made all repairs, renewals, replace-
ments, and betterments thereof, all as in its judgment may be reasonably necessary, so that the business
carried on in connection therewith may be properly conducted at all times; provided, however, that noth-
ing in this Section 4.22 shall prevent the Issuer or any of its Restricted Subsidiaries from discontinuing
the use, operation or maintenance of any of such properties, or disposing of any of them, if such disconti-
nuance or disposal is, in the judgment of the management of the Issuer or any such Restricted Subsidiary,
necessary or desirable in the conduct of the business of the Issuer or any such Restricted Subsidiary; pro-
vided further that nothing in this Section 4.22 shall prevent the Issuer or any of its Restricted Subsidiaries
from discontinuing or disposing of any properties to the extent otherwise permitted by this Indenture.

                  (b)     The Issuer shall maintain, and shall cause its Restricted Subsidiaries to maintain,
insurance with responsible carriers against such risks and in such amounts, and with such deductibles,
retentions, self-insured amounts and co-insurance provisions, as are customarily carried by similar busi-
nesses of similar size, including property and casualty loss, workers’ compensation and interruption of
business insurance.

                                                 ARTICLE 5

                                               SUCCESSORS

Section 5.01     Merger, Consolidation or Sale of All or Substantially All Assets.

                  (a)      The Issuer shall not consolidate or merge with or into or wind up into (whether or
not the Issuer is the surviving corporation), or sell, assign, transfer, lease, convey or otherwise dispose of
all or substantially all of its properties or assets, in one or more related transactions, to any Person unless:

                (1)      the Issuer is the surviving corporation or limited liability company or the Person
        formed by or surviving any such consolidation or merger (if other than the Issuer) or to which
        such sale, assignment, transfer, lease, conveyance or other disposition shall have been made is a
        corporation or limited liability company organized or existing under the laws of the jurisdiction of
        organization of the United States, any state thereof, the District of Columbia, or any territory the-
        reof (such Person, as the case may be, being herein called the “Successor Company”);

                 (2)      the Successor Company, if other than the Issuer, expressly assumes all the obli-
        gations of the Issuer under this Indenture and the Notes pursuant to supplemental indentures, sup-
        plements to the Security Documents and any other documents or instruments in form reasonably
        satisfactory to the Trustee;

                 (3)     immediately after such transaction, no Default exists;

                (4)      immediately after giving pro forma effect to such transaction and any related fi-
        nancing transactions, as if such transactions had occurred at the beginning of the applicable four-
        quarter period, either:

                          (a)     the Consolidated Secured Leverage Ratio for the Successor Company
                 and its Restricted Subsidiaries on a consolidated basis for the most recently ended four
                                                     -81-

                                                                                                   100432088 v3
10-16140-mg         Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                            Pg 255 of 771


                 fiscal quarters for which internal financial statements are available immediately preced-
                 ing the date of such transaction does not exceed 4.00 to 1.00, or

                         (b)       (i) the Consolidated Secured Leverage Ratio is equal to or less than such
                 ratio immediately prior to such transaction and (ii) the Consolidated Leverage Ratio is
                 equal to or less than such ratio immediately prior to such transaction; and

                (5)      the Issuer shall have delivered to the Trustee an Officers’ Certificate and an Opi-
        nion of Counsel, each stating that such consolidation, merger or transfer and such supplemental
        indentures, if any, and supplements to the Security Documents comply with this Indenture.

                  (b)     The Successor Company shall succeed to, and be substituted for the Issuer, as the
case may be, under this Indenture, the Guarantees and the Notes, as applicable. Notwithstanding clauses
(3), (4) and (5) of Section 5.01(a) hereof,

                 (1)      any Restricted Subsidiary may consolidate with or merge into or transfer all or
        part of its properties and assets to the Issuer, and

                (2)     the Issuer may merge with an Affiliate of the Issuer solely for the purpose of
        reincorporating the Issuer in a State of the United States of America, so long as the amount of In-
        debtedness of the Issuer and its Restricted Subsidiaries is not increased thereby.

                  (c)      Subject to certain limitations described in this Indenture governing release of a
Guarantee upon the sale, disposition or transfer of a Guarantor, no Guarantor shall, and the Issuer shall
not permit any Guarantor to, consolidate or merge with or into or wind up into (whether or not the Issuer
or Guarantor is the surviving corporation), or sell, assign, transfer, lease, convey or otherwise dispose of
all or substantially all of its properties or assets, in one or more related transactions, to any Person unless:

                (1)      (a) such Guarantor is the surviving corporation or the Person formed by or sur-
        viving any such consolidation or merger (if other than such Guarantor) or to which such sale, as-
        signment, transfer, lease, conveyance or other disposition shall have been made is a corporation,
        partnership, limited partnership, limited liability company or trust organized or existing under the
        laws of the jurisdiction of organization of such Guarantor, as the case may be, or the laws of the
        United States, any state thereof, the District of Columbia, or any territory thereof (such Guarantor
        or such Person, as the case may be, being herein called the “Successor Person”);

                         (b)     the Successor Person, if other than such Guarantor, expressly assumes all
        the obligations of such Guarantor under this Indenture and the Security Documents and such Gua-
        rantor’s related Guarantee pursuant to supplemental indentures, supplements to the Security Doc-
        uments or other documents or instruments in form reasonably satisfactory to the Trustee;

                          (c)     immediately after such transaction, no Default exists; and

                        (d)      the Issuer shall have delivered to the Trustee an Officers’ Certificate and
        an Opinion of Counsel, each stating that such consolidation, merger or transfer and such supple-
        mental indentures, if any, and supplements to the Security Documents comply with this Inden-
        ture; or

                 (2)      the transaction is made in compliance with Section 4.10 hereof.


                                                      -82-

                                                                                                    100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 256 of 771


                 (d)      Subject to certain limitations described in this Indenture, in the case of clause (1)
of Section 5.01(c) hereof, the Successor Person shall succeed to, and be substituted for, such Guarantor
under this Indenture and such Guarantor’s Guarantee. Notwithstanding the foregoing, any Guarantor may
merge into or transfer all or part of its properties and assets to another Guarantor or the Issuer.

Section 5.02     Successor Corporation Substituted.

                 Upon any consolidation or merger, or any sale, assignment, transfer, lease, conveyance or
other disposition of all or substantially all of the assets of the Issuer in accordance with Section 5.01 he-
reof, the successor corporation formed by such consolidation or into or with which the Issuer is merged or
to which such sale, assignment, transfer, lease, conveyance or other disposition is made shall succeed to,
and be substituted for (so that from and after the date of such consolidation, merger, sale, lease, con-
veyance or other disposition, the provisions of this Indenture referring to the Issuer shall refer instead to
the successor corporation and not to the Issuer), and may exercise every right and power of the Issuer un-
der this Indenture with the same effect as if such successor Person had been named as the Issuer herein;
provided that the predecessor Issuer shall not be relieved from the obligation to pay the principal of and
interest and Additional Interest, if any, on the Notes except in the case of a sale, assignment, transfer,
conveyance or other disposition of all of the Issuer’s assets that meets the requirements of Section 5.01
hereof.

                                                 ARTICLE 6

                                      DEFAULTS AND REMEDIES

Section 6.01     Events of Default.

                 (a)     An “Event of Default” wherever used herein, means any one of the following
events (whatever the reason for such Event of Default and whether it shall be voluntary or involuntary or
be effected by operation of law or pursuant to any judgment, decree or order of any court or any order,
rule or regulation of any administrative or governmental body):

                (1)      default in payment when due and payable, upon redemption, upon acceleration or
        otherwise, of principal of, or premium, if any, on the Notes;

                 (2)     default for 30 days or more in the payment when due of interest or Additional In-
        terest on or with respect to the Notes;

                 (3)      failure by the Issuer or any Guarantor for 60 days after receipt of written notice
        by the Trustee or the Holders of not less than 25% in principal amount of the Notes issued under
        this Indenture to comply with any of its obligations, covenants or agreements (other than a default
        referred to in clauses (1) and (2) above) in this Indenture or the Notes;

                 (4)     default under any mortgage, indenture or instrument under which there is issued
        or by which there is secured or evidenced any Indebtedness for money borrowed by the Issuer or
        any of its Restricted Subsidiaries or the payment of which is guaranteed by the Issuer or any of its
        Restricted Subsidiaries, other than Indebtedness owed to the Issuer or a Restricted Subsidiary,
        whether such Indebtedness or guarantee now exists or is created after the issuance of the Notes, if
        both:

                         (a)     such default either results from the failure to pay any principal of such
                 Indebtedness at its stated final maturity (after giving effect to any applicable grace pe-
                                                     -83-

                                                                                                  100432088 v3
10-16140-mg     Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                    Main Document
                                        Pg 257 of 771


              riods) or relates to an obligation other than the obligation to pay principal of any such In-
              debtedness at its stated final maturity and results in the holder or holders of such Indeb-
              tedness causing such Indebtedness to become due prior to its stated maturity; and

                      (b)      the principal amount of such Indebtedness, together with the principal
              amount of any other such Indebtedness in default for failure to pay principal at stated fi-
              nal maturity (after giving effect to any applicable grace periods), or the maturity of which
              has been so accelerated, aggregate $35.0 million or more at any one time outstanding;

              (5)      failure by the Issuer or any Significant Subsidiary (or group of Restricted Subsid-
     iaries that taken together would constitute a Significant Subsidiary) to pay final judgments aggre-
     gating in excess of $35.0 million, which final judgments remain unpaid, undischarged and un-
     stayed for a period of more than 60 days after such judgment becomes final, and in the event such
     judgment is covered by insurance, an enforcement proceeding has been commenced by any credi-
     tor upon such judgment or decree which is not promptly stayed;

            (6)    the Issuer or any Significant Subsidiary, pursuant to or within the meaning of any
     Bankruptcy Law:

                      (a)      commences proceedings to be adjudicated bankrupt or insolvent;

                       (b)      consents to the institution of bankruptcy or insolvency proceedings
              against it, or the filing by it of a petition or answer or consent seeking reorganization or
              relief under applicable Bankruptcy law;

                      (c)      consents to the appointment of a receiver, liquidator, assignee, trustee,
              sequestrator or other similar official of it or for all or substantially all of its property;

                      (d)      makes a general assignment for the benefit of its creditors; or

                      (e)      generally is not paying its debts as they become due;

            (7)       a court of competent jurisdiction enters an order or decree under any Bankruptcy
     Law that:

                      (a)     is for relief against the Issuer or any Significant Subsidiary in a proceed-
              ing in which the Issuer or any such Significant Subsidiary is to be adjudicated bankrupt
              or insolvent;

                      (b)       appoints a receiver, liquidator, assignee, trustee, sequestrator or other
              similar official of the Issuer or any Significant Subsidiary, for all or substantially all of
              the property of the Issuer or any Significant Subsidiary; or

                      (c)      orders the liquidation of the Issuer or any Significant Subsidiary;

     and the order or decree remains unstayed and in effect for 60 consecutive days;

             (8)      the Guarantee of any Significant Subsidiary (or group of Guarantors that taken
     together would constitute a Significant Subsidiary) shall for any reason cease to be in full force
     and effect or be declared null and void or any responsible officer of such Guarantor, as the case
     may be, denies that it has any further liability under its Guarantee or gives notice to such effect,
                                                   -84-

                                                                                                 100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 258 of 771


        other than by reason of the termination of this Indenture or the release of any such Guarantee in
        accordance with this Indenture; or

                 (9)      (a) with respect to any Collateral having a fair market value in excess of
        $20.0 million, individually or in the aggregate, (i) the security interest under any Security Docu-
        ment, at any time, ceases to be in full force and effect for any reason other than in accordance
        with the terms of this Indenture, the Security Documents and the Intercreditor Agreement or
        (ii) any security interest created thereunder or under this Indenture is declared invalid or unenfor-
        ceable by a court of competent jurisdiction or (b) the Issuer or any Guarantor asserts, in any
        pleading in any court of competent jurisdiction, that any security interest in any Collateral is
        invalid or unenforceable.

                  (b)     In the event of any Event of Default specified in clause (4) of Section 6.01(a) he-
reof, such Event of Default and all consequences thereof (excluding any resulting payment default, other
than as a result of acceleration of the Notes) shall be annulled, waived and rescinded automatically and
without any action by the Trustee or the Holders if, within 20 days after such Event of Default arose:

                (1)    the Indebtedness or guarantee that is the basis for such Event of Default has been
        discharged; or

                (2)     the holders thereof have rescinded or waived the acceleration, notice or action (as
        the case may be) giving rise to such Event of Default; or

                (3)      the default that is the basis for such Event of Default has been cured.

Section 6.02    Acceleration.

                 If any Event of Default (other than, with respect to the Issuer, an Event of Default speci-
fied in clause (6) or (7) of Section 6.01(a) hereof) occurs and is continuing under this Indenture, the Trus-
tee or the Holders of at least 25% in principal amount of the then total outstanding Notes may declare the
principal, premium, if any, (without duplication) interest and any other monetary obligations on all the
then outstanding Notes to be due and payable immediately.

                 Upon the effectiveness of such declaration, such principal and interest shall be due and
payable immediately. The Trustee may withhold from Holders notice of any continuing Default, except a
Default relating to the payment of principal, premium, if any, or interest on the Notes, if it determines that
withholding notice is in the interests of the Holders.

                 Notwithstanding the foregoing, in the case of an Event of Default arising under clause (6)
or (7) of Section 6.01(a) hereof, all outstanding Notes shall be due and payable without further action or
notice.

                  The Holders of a majority in aggregate principal amount of the then outstanding Notes by
written notice to the Trustee may, on behalf of all of the Holders, rescind an acceleration and its conse-
quences if the rescission would not conflict with any judgment or decree and if all existing Events of De-
fault (except nonpayment of principal, interest, Additional Interest, if any, or premium that has become
due solely because of the acceleration) have been cured or waived and all sums paid or advanced by the
Trustee hereunder and the reasonable compensation, expenses, disbursements and advances of the Trus-
tee, its agents and counsel and other amounts due the Trustee under Section 7.07 hereof have been paid.


                                                    -85-

                                                                                                   100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 259 of 771


                If an Event of Default occurs and is continuing that results in an acceleration, the Trustee
and Collateral Agent shall provide an Enforcement Notice pursuant to the terms of the First Lien Inter-
creditor Agreement.

Section 6.03     Other Remedies.

                If an Event of Default occurs and is continuing, the Trustee may pursue any available re-
medy to collect the payment of principal, premium, if any, and interest on the Notes or to enforce the per-
formance of any provision of the Notes or this Indenture.

                The Trustee may maintain a proceeding even if it does not possess any of the Notes or
does not produce any of them in the proceeding. A delay or omission by the Trustee or any Holder of a
Note in exercising any right or remedy accruing upon an Event of Default shall not impair the right or
remedy or constitute a waiver of or acquiescence in the Event of Default. All remedies are cumulative to
the extent permitted by law.

Section 6.04     Waiver of Past Defaults.

                  Holders of not less than a majority in aggregate principal amount of the then outstanding
Notes by notice to the Trustee may on behalf of the Holders of all of the Notes waive any existing Default
and its consequences under this Indenture and the Notes, except a continuing Default in the payment of
the principal of, premium, if any, Additional Interest, if any, or interest on, any Note held by a non-
consenting Holder (including in connection with an Asset Sale Offer or a Change of Control Offer); pro-
vided, subject to Section 6.02 hereof, that the Holders of a majority in aggregate principal amount of the
then outstanding Notes may rescind an acceleration and its consequences, including any related payment
default that resulted from such acceleration. Upon any such waiver, such Default shall cease to exist, and
any Event of Default arising therefrom shall be deemed to have been cured for every purpose of this In-
denture; but no such waiver shall extend to any subsequent or other Default or impair any right conse-
quent thereon.

Section 6.05     Control by Majority.

                 Subject to the terms of the Security Documents, Holders of a majority in principal
amount of the outstanding Notes issued hereunder shall have the right to direct the time, method and
place of conducting any proceeding for exercising any remedy available to the Trustee or of exercising
any trust or power conferred on the Trustee. The Trustee, however, may refuse to follow any direction
that conflicts with law or this Indenture or that the Trustee determines is unduly prejudicial to the rights
of any other Holder of a Note or that would involve the Trustee in personal liability.

Section 6.06     Limitation on Suits.

                 Subject to Section 6.07 hereof, no Holder of a Note may pursue any remedy with respect
to this Indenture or the Notes unless:

                (1)      such Holder has previously given the Trustee notice that an Event of Default is
        continuing;

                (2)     Holders of at least 25% in principal amount of the total outstanding Notes have
        requested the Trustee to pursue the remedy;


                                                     -86-

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 260 of 771


                 (3)       Holders of the Notes have offered the Trustee security or indemnity against any
        loss, liability or expense satisfactory to the Trustee;

                (4)      the Trustee has not complied with such request within 60 days after the receipt
        thereof and the offer of such satisfactory security or indemnity; and

                (5)     Holders of a majority in principal amount of the total outstanding Notes have not
        given the Trustee a direction inconsistent with such request within such 60-day period.

                 A Holder of a Note may not use this Indenture to prejudice the rights of another Holder
of a Note or to obtain a preference or priority over another Holder of a Note.

Section 6.07    Rights of Holders of Notes To Receive Payment.

                 Notwithstanding any other provision of this Indenture, the right of any Holder of a Note
to receive payment of principal, premium, if any, and Additional Interest, if any, interest on the Note, on
or after the respective due dates expressed in the Note (including in connection with an Asset Sale Offer
or a Change of Control Offer), or to bring suit for the enforcement of any such payment on or after such
respective dates, shall not be impaired or affected without the consent of such Holder.

Section 6.08    Collection Suit by Trustee.

                 If an Event of Default specified in Section 6.01(a)(1) or (2) hereof occurs and is continu-
ing, the Trustee is authorized to recover judgment in its own name and as trustee of an express trust
against the Issuer for the whole amount of principal of, premium, if any, and Additional Interest, if any,
and, without duplication, interest remaining unpaid on the Notes and interest on overdue principal and, to
the extent lawful, interest and, without duplication, such further amount as shall be sufficient to cover the
costs and expenses of collection, including the reasonable compensation, expenses, disbursements and
advances of the Trustee, its agents and counsel.

Section 6.09    Restoration of Rights and Remedies.

                 If the Trustee or any Holder has instituted any proceeding to enforce any right or remedy
under this Indenture and such proceeding has been discontinued or abandoned for any reason, or has been
determined adversely to the Trustee or to such Holder, then and in every such case, subject to any deter-
mination in such proceedings, the Issuer, the Trustee and the Holders shall be restored severally and re-
spectively to their former positions hereunder and thereafter all rights and remedies of the Trustee and the
Holders shall continue as though no such proceeding has been instituted.

Section 6.10    Rights and Remedies Cumulative.

                 Except as otherwise provided with respect to the replacement or payment of mutilated,
destroyed, lost or stolen Notes in Section 2.07 hereof, no right or remedy herein conferred upon or re-
served to the Trustee or to the Holders is intended to be exclusive of any other right or remedy, and every
right and remedy shall, to the extent permitted by law, be cumulative and in addition to every other right
and remedy given hereunder or now or hereafter existing at law or in equity or otherwise. The assertion
or employment of any right or remedy hereunder, or otherwise, shall not prevent the concurrent assertion
or employment of any other appropriate right or remedy.



                                                    -87-

                                                                                                 100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 261 of 771


Section 6.11     Delay or Omission Not Waiver.

                No delay or omission of the Trustee or of any Holder of any Note to exercise any right or
remedy accruing upon any Event of Default shall impair any such right or remedy or constitute a waiver
of any such Event of Default or an acquiescence therein. Every right and remedy given by this Article or
by law to the Trustee or to the Holders may be exercised from time to time, and as often as may be
deemed expedient, by the Trustee or by the Holders, as the case may be.

Section 6.12     Trustee May File Proofs of Claim.

                 The Trustee is authorized to file such proofs of claim and other papers or documents as
may be necessary or advisable in order to have the claims of the Trustee and the Collateral Agent (includ-
ing any claim for the reasonable compensation, expenses, disbursements and advances of the Trustee, the
Collateral Agent and their agents and counsel) and the Holders of the Notes allowed in any judicial pro-
ceedings relative to the Issuer (or any other obligor upon the Notes including the Guarantors), its creditors
or its property and shall be entitled and empowered to participate as a member in any official committee
of creditors appointed in such matter and to collect, receive and distribute any money or other property
payable or deliverable on any such claims and any custodian in any such judicial proceeding is hereby
authorized by each Holder to make such payments to the Trustee, and in the event that the Trustee shall
consent to the making of such payments directly to the Holders, to pay to the Trustee and the Collateral
Agent any amount due to them for the reasonable compensation, expenses, disbursements and advances
of the Trustee, the Collateral Agent and their agents and counsel, and any other amounts due the Trustee
under Section 7.07 hereof. To the extent that the payment of any such compensation, expenses, dis-
bursements and advances of the Trustee, its agents and counsel, and any other amounts due the Trustee
under Section 7.07 hereof out of the estate in any such proceeding, shall be denied for any reason, pay-
ment of the same shall be secured by a Lien on, and shall be paid out of, any and all distributions, divi-
dends, money, securities and other properties that the Holders may be entitled to receive in such proceed-
ing whether in liquidation or under any plan of reorganization or arrangement or otherwise. Nothing
herein contained shall be deemed to authorize the Trustee or the Collateral Agent to authorize or consent
to or accept or adopt on behalf of any Holder any plan of reorganization, arrangement, adjustment or
composition affecting the Notes or the rights of any Holder, or to authorize the Trustee to vote in respect
of the claim of any Holder in any such proceeding.

Section 6.13     Priorities.

                  Subject to the terms of the Security Documents and the Intercreditor Agreement with re-
spect to any proceeds of Collateral, if the Trustee collects any money or property pursuant to this Article
6, it shall pay out the money or property in the following order:

                 (a)    to the Trustee and the Collateral Agent and their agents and attorneys for
amounts due under Section 7.07 hereof, including payment of all compensation, expenses and liabilities
incurred, and all advances made, by the Trustee and the Collateral Agent and the costs and expenses of
collection;

                (b)      to Holders of Notes for amounts due and unpaid on the Notes for principal, pre-
mium, if any, and Additional Interest, if any, and interest, ratably, without preference or priority of any
kind, according to the amounts due and payable on the Notes for principal, premium, if any, and, without
duplication, Additional Interest, if any, and interest, respectively; and

               (c)       to the Issuer or to such party as a court of competent jurisdiction shall direct in-
cluding a Guarantor, if applicable.
                                                     -88-

                                                                                                   100432088 v3
10-16140-mg         Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                    Main Document
                                            Pg 262 of 771


                 The Trustee may fix a record date and payment date for any payment to Holders of Notes
pursuant to this Section 6.13.

Section 6.14     Undertaking for Costs.

                 In any suit for the enforcement of any right or remedy under this Indenture or in any suit
against the Trustee for any action taken or omitted by it as a Trustee, a court in its discretion may require
the filing by any party litigant in the suit of an undertaking to pay the costs of the suit, and the court in its
discretion may assess reasonable costs, including reasonable attorneys’ fees, against any party litigant in
the suit, having due regard to the merits and good faith of the claims or defenses made by the party liti-
gant. This Section 6.14 does not apply to a suit by the Trustee, a suit by a Holder of a Note pursuant to
Section 6.07 hereof, or a suit by Holders of more than 10% in principal amount of the then outstanding
Notes.

                                                  ARTICLE 7

                                                   TRUSTEE

Section 7.01     Duties of Trustee.

                 (a)     If an Event of Default has occurred and is continuing, the Trustee shall exercise
such of the rights and powers vested in it by this Indenture, and use the same degree of care and skill in its
exercise, as a prudent person would exercise or use under the circumstances in the conduct of such per-
son’s own affairs.

                 (b)      Except during the continuance of an Event of Default:

                 (i)     the duties of the Trustee shall be determined solely by the express provisions of
        this Indenture and the Trustee need perform only those duties that are specifically set forth in this
        Indenture, the Notes, the Security Documents and the Intercreditor Agreement and no others, and
        no implied covenants or obligations shall be read into this Indenture against the Trustee; and

                  (ii)    in the absence of bad faith on its part, the Trustee may conclusively rely, as to the
        truth of the statements and the correctness of the opinions expressed therein, upon certificates or
        opinions furnished to the Trustee and conforming to the requirements of this Indenture. Howev-
        er, in the case of any such certificates or opinions which by any provision hereof are specifically
        required to be furnished to the Trustee, the Trustee shall examine the certificates and opinions to
        determine whether or not they conform to the requirements of this Indenture.

                (c)      The Trustee may not be relieved from liabilities for its own negligent action, its
own negligent failure to act, or its own willful misconduct, except that:

                  (i)     this paragraph does not limit the effect of paragraph (b) of this Section 7.01;

                (ii)     the Trustee shall not be liable for any error of judgment made in good faith by a
        Responsible Officer, unless it is proved in a court of competent jurisdiction that the Trustee was
        negligent in ascertaining the pertinent facts; and

               (iii)     the Trustee shall not be liable with respect to any action it takes or omits to take
        in good faith in accordance with a direction received by it pursuant to Section 6.05 hereof.

                                                      -89-

                                                                                                     100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 263 of 771


                (d)       Whether or not therein expressly so provided, every provision of this Indenture
that in any way relates to the Trustee is subject to paragraphs (a), (b) and (c) of this Section 7.01.

                 (e)      The Trustee shall be under no obligation to exercise any of its rights or powers
under this Indenture at the request of any Holder of the Notes unless such Holder shall have offered to the
Trustee security and indemnity satisfactory to it against any loss, liability or expense.

                (f)     The Trustee shall not be liable for interest on any money received by it except as
the Trustee may agree in writing with the Issuer. Money held in trust by the Trustee need not be segre-
gated from other funds except to the extent required by law.

Section 7.02     Rights of Trustee.

                  (a)      The Trustee may conclusively rely upon any document believed by it to be ge-
nuine and to have been signed or presented by the proper Person. The Trustee need not investigate any
fact or matter stated in the document, but the Trustee, in its discretion, may make such further inquiry or
investigation into such facts or matters as it may see fit, and, if the Trustee shall determine to make such
further inquiry or investigation, it shall be entitled to examine the books, records and premises of the Is-
suer, personally or by agent or attorney at the sole cost of the Issuer and shall incur no liability or addi-
tional liability of any kind by reason of such inquiry or investigation.

                 (b)      Before the Trustee acts or refrains from acting, it may require an Officers’ Certif-
icate or an Opinion of Counsel or both. The Trustee shall not be liable for any action it takes or omits to
take in good faith in reliance on such Officers’ Certificate or Opinion of Counsel. The Trustee may con-
sult with counsel of its selection and the advice of such counsel or any Opinion of Counsel shall be full
and complete authorization and protection from liability in respect of any action taken, suffered or omit-
ted by it hereunder in good faith and in reliance thereon.

                (c)     The Trustee may act through its attorneys and agents and shall not be responsible
for the misconduct or negligence of any agent or attorney appointed with due care.

                   (d)     The Trustee shall not be liable for any action it takes or omits to take in good
faith that it believes to be authorized or within the rights or powers conferred upon it by this Indenture.

                 (e)     Unless otherwise specifically provided in this Indenture, any demand, request, di-
rection or notice from the Issuer shall be sufficient if signed by an Officer of the Issuer.

                 (f)      None of the provisions of this Indenture shall require the Trustee to expend or
risk its own funds or otherwise to incur any liability, financial or otherwise, in the performance of any of
its duties hereunder, or in the exercise of any of its rights or powers if it shall have reasonable grounds for
believing that repayment of such funds or indemnity satisfactory to it against such risk or liability is not
assured to it.

                 (g)     The Trustee shall not be deemed to have notice of any Default or Event of De-
fault unless a Responsible Officer of the Trustee has actual knowledge thereof or unless written notice of
any event which is in fact such a Default is received by the Trustee at the Corporate Trust Office of the
Trustee, and such notice references the Notes and this Indenture.

                 (h)    In no event shall the Trustee be responsible or liable for special, indirect, or con-
sequential loss or damage of any kind whatsoever (including, but not limited to, loss of profit) irrespec-

                                                     -90-

                                                                                                   100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 264 of 771


tive of whether the Trustee has been advised of the likelihood of such loss or damage and regardless of
the form of action.

                (i)       The rights, privileges, protections, immunities and benefits given to the Trustee,
including, without limitation, its right to be indemnified, are extended to, and shall be enforceable by, the
Trustee in each of its capacities hereunder, and each agent, custodian and other Person employed to act
hereunder.

                  (j)      In the event the Issuer is required to pay Additional Interest, the Issuer shall pro-
vide written notice to the Trustee of the Issuer’s obligation to pay Additional Interest no later than 15 days
prior to the next Interest Payment Date, which notice shall set forth the amount of the Additional Interest
to be paid by the Issuer. The Trustee shall not at any time be under any duty or responsibility to any
Holders to determine whether the Additional Interest is payable and the amount thereof.

                 (k)     The permissive rights of the Trustee enumerated herein shall not be construed as
duties.

                 (l)     The Trustee may request that the Issuer deliver an Officers’ Certificate setting
forth the names of individuals and/or titles of officers authorized at such time to take specified actions
pursuant to this Indenture.

                  (m)     The Issuer shall provide prompt written notice to the Trustee of any change to its
fiscal year (it being expressly understood that the failure to provide such notice to the Trustee shall not be
deemed a Default or Event of Default under this Indenture).

Section 7.03     Individual Rights of Trustee.

                 The Trustee in its individual or any other capacity may become the owner or pledgee of
Notes and may otherwise deal with the Issuer or any Affiliate of the Issuer with the same rights it would
have if it were not Trustee. However, in the event that the Trustee acquires any conflicting interest it
must eliminate such conflict within 90 days, apply to the SEC for permission to continue as trustee (if this
Indenture has been qualified under the Trust Indenture Act) or resign. Any Agent may do the same with
like rights and duties. The Trustee is also subject to Sections 7.10 and 7.11 hereof.

Section 7.04     Trustee’s Disclaimer.

                 The Trustee shall not be responsible for and makes no representation as to the validity or
adequacy of this Indenture or the Notes, it shall not be accountable for the Issuer’s use of the proceeds
from the Notes or any money paid to the Issuer or upon the Issuer’s direction under any provision of this
Indenture, it shall not be responsible for the use or application of any money received by any Paying
Agent other than the Trustee, and it shall not be responsible for any statement or recital herein or any
statement in the Notes or any other document in connection with the sale of the Notes or pursuant to this
Indenture other than its certificate of authentication.

Section 7.05     Notice of Defaults.

                 If a Default occurs and is continuing and if it is known to the Trustee, the Trustee shall
mail to Holders of Notes a notice of the Default within 90 days after it occurs or if known to the Trustee
later than 90 days after it occurs, as soon as practicable. Except in the case of a Default relating to the
payment of principal, premium, if any, or interest on any Note, the Trustee may withhold from the Hold-
ers notice of any continuing Default if and so long as a committee of its Responsible Officers in good
                                                      -91-

                                                                                                   100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 265 of 771


faith determines that withholding the notice is in the interests of the Holders of the Notes. The Trustee
shall not be deemed to know of any Default unless a Responsible Officer of the Trustee has actual know-
ledge thereof or unless written notice of any event which is such a Default is received by the Trustee at
the Corporate Trust Office of the Trustee.

Section 7.06    Reports by Trustee to Holders of the Notes.

                 Within 60 days after each May 15, beginning with the May 15 following the date of this
Indenture, and for so long as Notes remain outstanding, the Trustee shall mail to the Holders of the Notes
a brief report dated as of such reporting date that complies with Trust Indenture Act Section 313(a) (but if
no event described in Trust Indenture Act Section 313(a) has occurred within the twelve months preced-
ing the reporting date, no report need be transmitted). The Trustee also shall comply with Trust Indenture
Act Section 313(b)(2). The Trustee shall also transmit by mail all reports as required by Trust Indenture
Act Section 313(c).

                 A copy of each report at the time of its mailing to the Holders of Notes shall be mailed to
the Issuer and filed with the SEC (to the extent that the Issuer is subject to the reporting requirements of
Section 13 or Section 15(d) of the Exchange Act or otherwise voluntarily filing periodic reports with the
SEC) and each stock exchange on which the Notes are listed in accordance with Trust Indenture Act Sec-
tion 313(d). The Issuer shall promptly notify the Trustee, in writing, when the Notes are listed on any
stock exchange.

Section 7.07    Compensation and Indemnity.

                 The Issuer and the Guarantors, jointly and severally, shall pay to the Trustee from time to
time such compensation for its acceptance of this Indenture and services hereunder as the parties shall
agree in writing from time to time. The Trustee’s compensation shall not be limited by any law on com-
pensation of a trustee of an express trust. The Issuer and the Guarantors, jointly and severally, shall
reimburse the Trustee promptly upon request for all reasonable disbursements, advances and expenses
incurred or made by it in addition to the compensation for its services. Such expenses shall include the
reasonable compensation, disbursements and expenses of the Trustee’s agents, professional advisors and
counsel.

                 The Issuer and the Guarantors, jointly and severally, shall indemnify the Trustee for, and
hold the Trustee harmless against, any and all loss, damage, claims, liability or expense (including attor-
neys’ fees) incurred by it in connection with the acceptance or administration of this trust and the perfor-
mance of its duties hereunder (including the costs and expenses of enforcing this Indenture against the
Issuer or any of the Guarantors (including this Section 7.07) or defending itself against any claim whether
asserted by any Holder, the Issuer or any Guarantor, or liability in connection with the acceptance, exer-
cise or performance of any of its powers or duties hereunder). The Trustee shall notify the Issuer
promptly of any claim for which it may seek indemnity. Failure by the Trustee to so notify the Issuer
shall not relieve the Issuer of its obligations hereunder. The Issuer shall defend the claim and the Trustee
may have separate counsel and the Issuer shall pay the fees and expenses of such counsel. The Issuer
need not reimburse any expense or indemnify against any loss, liability or expense incurred by the Trus-
tee through the Trustee’s own willful misconduct, negligence or bad faith as determined by a court of
competent jurisdiction in a final and non-appealable decision.

                 The obligations of the Issuer under this Section 7.07 shall survive the satisfaction and
discharge of this Indenture or the earlier resignation or removal of the Trustee.


                                                    -92-

                                                                                                 100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 266 of 771


                 Notwithstanding anything to the contrary in Section 4.12 hereof, to secure the payment
obligations of the Issuer and the Guarantors in this Section 7.07, the Trustee shall have a Lien prior to the
Notes on all money or property held or collected by the Trustee, except that held in trust to pay principal
and interest on particular Notes. Such Lien shall survive the satisfaction and discharge of this Indenture.

                When the Trustee incurs expenses or renders services after an Event of Default specified
in Section 6.01(a)(6) or (7) hereof occurs, the expenses and the compensation for the services (including
the fees and expenses of its agents and counsel) are intended to constitute expenses of administration un-
der any Bankruptcy Law.

                 The Trustee shall comply with the provisions of Trust Indenture Act Section 313(b)(2) to
the extent applicable.

Section 7.08    Replacement of Trustee.

                 A resignation or removal of the Trustee and appointment of a successor Trustee shall be-
come effective only upon the successor Trustee’s acceptance of appointment as provided in this Section
7.08. The Trustee may resign in writing at any time and be discharged from the trust hereby created by so
notifying the Issuer. The Holders of a majority in principal amount of the then outstanding Notes may
remove the Trustee by so notifying the Trustee and the Issuer in writing. The Issuer may remove the
Trustee if:

                (a)      the Trustee fails to comply with Section 7.10 hereof;

                 (b)     the Trustee is adjudged a bankrupt or an insolvent or an order for relief is entered
with respect to the Trustee under any Bankruptcy Law;

                (c)      a custodian or public officer takes charge of the Trustee or its property; or

                (d)      the Trustee becomes incapable of acting.

                  If the Trustee resigns or is removed or if a vacancy exists in the office of Trustee for any
reason, the Issuer shall promptly appoint a successor Trustee. Within one year after the successor Trustee
takes office, the Holders of a majority in principal amount of the then outstanding Notes may appoint a
successor Trustee to replace the successor Trustee appointed by the Issuer.

                If a successor Trustee does not take office within 60 days after the retiring Trustee re-
signs or is removed, the retiring Trustee (at the Issuer’s expense), the Issuer or the Holders of at least 10%
in principal amount of the then outstanding Notes may petition any court of competent jurisdiction for the
appointment of a successor Trustee.

                  If the Trustee, after written request by any Holder who has been a Holder for at least six
months, fails to comply with Section 7.10 hereof, such Holder may petition any court of competent juris-
diction for the removal of the Trustee and the appointment of a successor Trustee.

                 A successor Trustee shall deliver a written acceptance of its appointment to the retiring
Trustee and to the Issuer. Thereupon, the resignation or removal of the retiring Trustee shall become ef-
fective, and the successor Trustee shall have all the rights, powers and duties of the Trustee under this
Indenture. The successor Trustee shall mail a notice of its succession to Holders. The retiring Trustee
shall promptly transfer all property held by it as Trustee to the successor Trustee; provided all sums ow-
ing to the Trustee hereunder have been paid and subject to the Lien provided for in Section 7.07 hereof.
                                                     -93-

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 267 of 771


Notwithstanding replacement of the Trustee pursuant to this Section 7.08, the Issuer’s obligations under
Section 7.07 hereof shall continue for the benefit of the retiring Trustee.

Section 7.09     Successor Trustee by Merger, etc.

                 If the Trustee consolidates, merges or converts into, or transfers all or substantially all of
its corporate trust business to, another corporation, the successor corporation without any further act shall
be the successor Trustee.

Section 7.10     Eligibility; Disqualification.

                  There shall at all times be a Trustee hereunder that is a corporation organized and doing
business under the laws of the United States of America or of any state thereof that is authorized under
such laws to exercise corporate trustee power, that is subject to supervision or examination by federal or
state authorities and that has a combined capital and surplus of at least $50,000,000 as set forth in its most
recent published annual report of condition.

                This Indenture shall always have a Trustee who satisfies the requirements of Trust Inden-
ture Act Sections 310(a)(1), (2) and (5). The Trustee is subject to Trust Indenture Act Section 310(b).

Section 7.11     Preferential Collection of Claims Against Issuer.

                  The Trustee is subject to Trust Indenture Act Section 311(a), excluding any creditor rela-
tionship listed in Trust Indenture Act Section 311(b). A Trustee who has resigned or been removed shall
be subject to Trust Indenture Act Section 311(a) to the extent indicated therein.

Section 7.12     [Reserved].

Section 7.13     Authorization of Security Documents; Intercreditor Agreement.

                  By their acceptance of the Notes, the Holders hereby authorize and direct the Trustee and
Collateral Agent, as the case may be, to execute and deliver the Security Documents, the Intercreditor
Agreement and any other document purporting to create a security interest in favor of the Trustee or the
Collateral Agent, as applicable, for the benefit of the Holders of the Notes, including any Security Docu-
ments executed after the Issue Date. It is hereby expressly acknowledged and agreed that, in doing so,
the Trustee and the Collateral Agent are not responsible for the terms or contents of such agreements, or
for the validity or enforceability thereof, or the sufficiency thereof for any purpose. Whether or not so
expressly stated therein, in entering into, or taking (or forbearing from) any action under pursuant to, the
Security Documents, the Intercreditor Agreement or any other document purporting to create a security
interest in favor of the Trustee and/or the Collateral Agent for their benefit and the benefit of the Holders
of the Notes, each shall have all of the rights, immunities, indemnities and other protections granted to it
under this Indenture (in addition to those that may be granted to it under the terms of such other agree-
ment or agreements).




                                                     -94-

                                                                                                   100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 268 of 771


                                                 ARTICLE 8

                       LEGAL DEFEASANCE AND COVENANT DEFEASANCE

Section 8.01     Option to Effect Legal Defeasance or Covenant Defeasance.

                 The Issuer may, at its option and at any time, elect to have either Section 8.02 or 8.03 he-
reof applied to all outstanding Notes upon compliance with the conditions set forth below in this Article
8.

Section 8.02     Legal Defeasance and Discharge.

                   Upon the Issuer’s exercise under Section 8.01 hereof of the option applicable to this Sec-
tion 8.02, the Issuer and the Guarantors shall, subject to the satisfaction of the conditions set forth in Sec-
tion 8.04 hereof, be deemed to have been discharged from their obligations with respect to all outstanding
Notes (including the Guarantees) and this Indenture on the date the conditions set forth below are satis-
fied (“Legal Defeasance”). For this purpose, Legal Defeasance means that the Issuer and the Guarantors
shall be deemed to have paid and discharged the entire Indebtedness represented by the outstanding Notes
(including the Guarantees), which shall thereafter be deemed to be “outstanding” only for the purposes of
Section 8.05 hereof and the other Sections of this Indenture referred to in (a) and (b) below, and to have
satisfied all its other obligations under such Notes, the Guarantees, this Indenture and the Security Docu-
ments (and the Trustee, on demand of and at the expense of the Issuer, shall execute proper instruments
acknowledging the same) and to have caused the release of all Liens on the Collateral granted under the
Security Documents, except for the following provisions which shall survive until otherwise terminated
or discharged hereunder:

                  (a)    the rights of Holders of Notes to receive payments in respect of the principal of,
premium, if any, and, without duplication, interest on the Notes when such payments are due solely out of
the trust created pursuant to this Indenture referred to in Section 8.04 hereof;

                 (b)      the Issuer’s obligations with respect to Notes concerning issuing temporary
Notes, registration of the transfer or exchange of Notes, replacement of mutilated, destroyed, lost or sto-
len Notes and the maintenance of an office or agency for payment and money for security payments held
in trust;

                 (c)    the rights, powers, trusts, duties and immunities of the Trustee, and the Issuer’s
obligations in connection therewith; and

                 (d)     this Section 8.02.

                Subject to compliance with this Article 8, the Issuer may exercise its option under this
Section 8.02 notwithstanding the prior exercise of its option under Section 8.03 hereof.

Section 8.03     Covenant Defeasance.

                  Upon the Issuer’s exercise under Section 8.01 hereof of the option applicable to this Sec-
tion 8.03, the Issuer and the Guarantors shall, subject to the satisfaction of the conditions set forth in Sec-
tion 8.04 hereof, be released from their obligations under the covenants contained in Sections 3.09, 4.03,
4.04, 4.05, 4.07, 4.08, 4.09, 4.10, 4.11, 4.12, 4.13, 4.14, 4.15, 4.18, 4.20, 4.21 and 4.22 hereof and clauses
(4) and (5) of Section 5.01(a), Sections 5.01(c) and 5.01(d) hereof with respect to the outstanding Notes
on and after the date the conditions set forth in Section 8.04 hereof are satisfied (“Covenant Defeas-
                                                      -95-

                                                                                                   100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 269 of 771


ance”), and the Notes shall thereafter be deemed not “outstanding” for the purposes of any direction,
waiver, consent or declaration or act of Holders (and the consequences of any thereof) in connection with
such covenants, but shall continue to be deemed “outstanding” for all other purposes hereunder (it being
understood that such Notes shall not be deemed outstanding for accounting purposes). For this purpose,
Covenant Defeasance means that, with respect to the outstanding Notes, the Issuer may omit to comply
with and shall have no liability in respect of any term, condition or limitation set forth in any such cove-
nant, whether directly or indirectly, by reason of any reference elsewhere herein to any such covenant or
by reason of any reference in any such covenant to any other provision herein or in any other document
and such omission to comply shall not constitute a Default or an Event of Default under Section 6.01 he-
reof, but, except as specified above, the remainder of this Indenture and such Notes shall be unaffected
thereby. In addition, upon the Issuer’s exercise under Section 8.01 hereof of the option applicable to this
Section 8.03, subject to the satisfaction of the conditions set forth in Section 8.04 hereof, (x) Sections
6.01(a)(3), 6.01(a)(4), 6.01(a)(5), 6.01(a)(8) and 6.01(a)(9) hereof shall not constitute Events of Default
with respect to the Notes and (y) Sections 6.01(a)(1), 6.01(a)(2), 6.01(a)(6) and 6.01(a)(7) shall continue
to constitute an Event of Default with respect to the Notes.

Section 8.04     Conditions to Legal or Covenant Defeasance.

                 The following shall be the conditions to the application of either Section 8.02 or 8.03 he-
reof to the outstanding Notes:

                 In order to exercise either Legal Defeasance or Covenant Defeasance with respect to the
Notes:

                  (1)     the Issuer must irrevocably deposit with the Trustee, in trust, for the benefit of
         the Holders of the Notes, cash in U.S. dollars, Government Securities, or a combination thereof,
         in such amounts as shall be sufficient, in the opinion of a nationally recognized firm of indepen-
         dent public accountants (or, if two or more nationally recognized firms of independent public ac-
         countants decline to issue such opinion as a matter of policy, in the opinion of the Issuer’s chief
         financial officer), to pay the principal amount of, premium, if any, and (without duplication), in-
         terest due on the Notes on the stated maturity date or on the Redemption Date, as the case may
         be, of such principal, premium, if any, or interest on such Notes, and the Issuer must specify
         whether such Notes are being defeased to maturity or to a particular Redemption Date;

                (2)     in the case of Legal Defeasance, the Issuer shall have delivered to the Trustee an
         Opinion of Counsel reasonably acceptable to the Trustee confirming that, subject to customary
         assumptions and exclusions,

                          (a)     the Issuer has received from, or there has been published by, the United
                 States Internal Revenue Service a ruling, or

                        (b)      since the issuance of the Notes, there has been a change in the applicable
                 U.S. Federal income tax law,

in either case to the effect that, and based thereon such Opinion of Counsel shall confirm that, subject to
customary assumptions and exclusions, the Holders of the Notes shall not recognize income, gain or loss
for U.S. Federal income tax purposes, as a result of such Legal Defeasance and shall be subject to U.S.
Federal income tax on the same amounts, in the same manner and at the same times as would have been
the case if such Legal Defeasance had not occurred;


                                                    -96-

                                                                                                 100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                          Pg 270 of 771


                 (3)     in the case of Covenant Defeasance, the Issuer shall have delivered to the Trustee
        an Opinion of Counsel reasonably acceptable to the Trustee confirming that, subject to customary
        assumptions and exclusions, the Holders of the Notes shall not recognize income, gain or loss for
        U.S. Federal income tax purposes as a result of such Covenant Defeasance and shall be subject to
        such tax on the same amounts, in the same manner and at the same times as would have been the
        case if such Covenant Defeasance had not occurred;

                (4)      no Default (other than that resulting from borrowing funds to be applied to make
        such deposit and the granting of Liens in connection therewith) shall have occurred and be con-
        tinuing on the date of such deposit;

                 (5)     such Legal Defeasance or Covenant Defeasance shall not result in a breach or vi-
        olation of, or constitute a default under any First Lien Obligations or any other material agree-
        ment or instrument (other than this Indenture) to which the Issuer or any Guarantor is a party or
        by which the Issuer or any Guarantor is bound (other than that resulting from any borrowing of
        funds to be applied to make such deposit required to effect such Legal Defeasance or Covenant
        Defeasance and any similar and simultaneous deposit relating to other Indebtedness and, in each
        case, the granting of Liens in connection therewith);

                 (6)      the Issuer shall have delivered to the Trustee an Opinion of Counsel to the effect
        that, as of the date of such opinion and subject to customary assumptions and exclusions follow-
        ing the deposit, the trust funds shall not be subject to the effect of Section 547 of the Bankruptcy
        Law;

                (7)     the Issuer shall have delivered to the Trustee an Officers’ Certificate stating that
        the deposit was not made by the Issuer with the intent of defeating, hindering, delaying or de-
        frauding any creditors of the Issuer or any Guarantor or others; and

                (8)      the Issuer shall have delivered to the Trustee an Officers’ Certificate and an Opi-
        nion of Counsel (which Opinion of Counsel may be subject to customary assumptions and exclu-
        sions) each stating that all conditions precedent provided for or relating to the Legal Defeasance
        or the Covenant Defeasance, as the case may be, have been complied with.

Section 8.05    Deposited Money and Government Securities to Be Held in Trust; Other
                Miscellaneous Provisions.

                  Subject to Section 8.06 hereof, all money and Government Securities (including the
proceeds thereof) deposited with the Trustee (or other qualifying trustee, collectively for purposes of this
Section 8.05, the “Trustee”) pursuant to Section 8.04 hereof in respect of the outstanding Notes shall be
held in trust and applied by the Trustee, in accordance with the provisions of such Notes and this Inden-
ture, to the payment, either directly or through any Paying Agent (including the Issuer or a Guarantor act-
ing as Paying Agent) as the Trustee may determine, to the Holders of such Notes of all sums due and to
become due thereon in respect of principal, premium and Additional Interest, if any, and, without duplica-
tion, interest, but such money need not be segregated from other funds except to the extent required by
law.

                 The Issuer shall pay and indemnify the Trustee against any tax, fee or other charge im-
posed on or assessed against the cash or Government Securities deposited pursuant to Section 8.04 hereof
or the principal and interest received in respect thereof other than any such tax, fee or other charge which
by law is for the account of the Holders of the outstanding Notes.

                                                    -97-

                                                                                                 100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 271 of 771


                 Anything in this Article 8 to the contrary notwithstanding, the Trustee shall deliver or pay
to the Issuer from time to time upon the request of the Issuer any money or Government Securities held
by it as provided in Section 8.04 hereof which, in the opinion of a nationally recognized firm of indepen-
dent public accountants expressed in a written certification thereof delivered to the Trustee (which may
be the opinion delivered under Section 8.04(a) hereof), are in excess of the amount thereof that would
then be required to be deposited to effect an equivalent Legal Defeasance or Covenant Defeasance.

Section 8.06    Repayment to Issuer.

                   Any money deposited with the Trustee or any Paying Agent, or then held by the Issuer, in
trust for the payment of the principal of, premium and Additional Interest, if any, or, without duplication,
interest on any Note and remaining unclaimed for two years after such principal, and premium and Addi-
tional Interest, if any, or interest has become due and payable shall be paid to the Issuer on its request or
(if then held by the Issuer) shall be discharged from such trust; and the Holder of such Note shall thereaf-
ter look only to the Issuer for payment thereof, and all liability of the Trustee or such Paying Agent with
respect to such trust money, and all liability of the Issuer as trustee thereof, shall thereupon cease.

Section 8.07    Reinstatement.

                 If the Trustee or Paying Agent is unable to apply any United States dollars or Govern-
ment Securities in accordance with Section 8.02 or 8.03 hereof, as the case may be, by reason of any or-
der or judgment of any court or governmental authority enjoining, restraining or otherwise prohibiting
such application, then the Issuer’s obligations under this Indenture and the Notes shall be revived and
reinstated as though no deposit had occurred pursuant to Section 8.02 or 8.03 hereof until such time as the
Trustee or Paying Agent is permitted to apply all such money in accordance with Section 8.02 or 8.03
hereof, as the case may be; provided that, if the Issuer makes any payment of principal of, premium and
Additional Interest, if any, or, without duplication, interest on any Note following the reinstatement of its
obligations, the Issuer shall be subrogated to the rights of the Holders of such Notes to receive such pay-
ment from the money held by the Trustee or Paying Agent.

                                                ARTICLE 9

                            AMENDMENT, SUPPLEMENT AND WAIVER

Section 9.01    Without Consent of Holders of Notes.

                 Notwithstanding Section 9.02 hereof, the Issuer, any Guarantor (with respect to its Guar-
antee or this Indenture), the Collateral Agent and the Trustee may amend or supplement this Indenture,
the Security Documents, the Intercreditor Agreement and any Guarantee or Notes without the consent of
any Holder:

                (1)      to cure any ambiguity, omission, mistake, defect or inconsistency;

                (2)      to provide for uncertificated Notes in addition to or in place of certificated Notes;

                (3)      to comply with Section 5.01 hereof;

               (4)       to provide the assumption of the Issuer’s or any Guarantor’s obligations to the
        Holders;


                                                    -98-

                                                                                                  100432088 v3
10-16140-mg       Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 272 of 771


               (5)       to make any change that would provide any additional rights or benefits to the
        Holders or that does not adversely affect the rights under this Indenture of any such Holder;

                (6)     to add covenants for the benefit of the Holders or to surrender any right or power
        conferred upon the Issuer or any Guarantor;

                (7)      to comply with requirements of the SEC in order to effect or maintain the qualifi-
        cation of this Indenture under the Trust Indenture Act;

                 (8)     to evidence and provide for the acceptance and appointment (x) under this Inden-
        ture of a successor Trustee hereunder pursuant to the requirements hereof or (y) under the Securi-
        ty Documents of a successor Collateral Agent thereunder pursuant to the requirements thereof;

                 (9)    to make changes related to the transfer and legending of the Notes as permitted
        by this Indenture or applicable law;

                (10)    to add a Guarantor under this Indenture;

                (11)    [reserved];

                 (12)     to make any amendment to the provisions of this Indenture relating to the transfer
        and legending of Notes as permitted by this Indenture, including, without limitation to facilitate
        the issuance and administration of the Notes; provided, however, that (i) compliance with this In-
        denture as so amended would not result in Notes being transferred in violation of the Securities
        Act or any applicable securities law and (ii) such amendment does not materially and adversely
        affect the rights of Holders to transfer Notes;

                (13)    [reserved];

                 (14)    to add security to or for the benefit of the Notes and, in the case of the Security
        Documents, to or for the benefit of the other secured parties named therein or to confirm and evi-
        dence the release, termination or discharge of any Guarantee of or Lien securing the Notes when
        such release, termination or discharge is permitted by this Indenture and the Security Documents
        or as required by the Intercreditor Agreement; or

                (15)    to modify the Security Documents and/or the Intercreditor Agreement to secure
        additional extensions of credit and additional secured creditors holding First Lien Obligations or
        other Permitted Second Lien Obligations, so long as such First Lien Obligations or other Permit-
        ted Second Lien Obligations are not prohibited by this Indenture, the First Lien Indenture or the
        Credit Agreement.

                 Upon the request of the Issuer accompanied by a Board Resolution authorizing the execu-
tion of any such amended or supplemental indenture, and upon receipt by the Trustee of the documents
described in Section 7.02 hereof, the Trustee and the Collateral Agent shall join with the Issuer and the
Guarantors in the execution of any amended or supplemental indenture authorized or permitted by the
terms of this Indenture and to make any further appropriate agreements and stipulations that may be
therein contained, but the Trustee and the Collateral Agent shall not be obligated to enter into such
amended or supplemental indenture that affects its own rights, duties or immunities under this Indenture
or otherwise. Notwithstanding the foregoing, no Opinion of Counsel shall be required in connection with
the addition of a Guarantor under this Indenture upon execution and delivery by such Guarantor, the Col-

                                                    -99-

                                                                                                100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 273 of 771


lateral Agent and the Trustee of a supplemental indenture to this Indenture, the form of which is attached
as Exhibit D hereto, and delivery of an Officers’ Certificate.

Section 9.02    With Consent of Holders of Notes.

                 Except as provided below in this Section 9.02, the Issuer, the Collateral Agent and the
Trustee may amend or supplement this Indenture, the Security Documents, the Intercreditor Agreement,
any related Guarantee and the Notes with the consent of the Holders of at least a majority in principal
amount of the Notes (including Additional Notes, if any) then outstanding voting as a single class includ-
ing, without limitation, so long as this Indenture has not been qualified under the TIA, any Notes benefi-
cially owned by the Issuer’s Affiliates (including, consents obtained in connection with a purchase of, or
tender offer or exchange offer for, Notes) and, subject to Sections 6.04 and 6.07 hereof, any existing De-
fault or compliance with any provision of this Indenture, the Security Documents, the Intercreditor
Agreement, the Guarantees or the Notes may be waived with the consent of the Holders of a majority in
principal amount of the then outstanding Notes (including Additional Notes, if any) voting as a single
class (including consents obtained in connection with a purchase of or tender offer or exchange offer for,
Notes. Subject to the preceding sentence, Section 2.08 hereof and Section 2.09 hereof shall determine
which Notes are considered to be “outstanding” for the purposes of this Section 9.02).

                  Upon the request of the Issuer accompanied by a resolution of its Board of Directors au-
thorizing the execution of any such amended or supplemental indenture, and upon the filing with the
Trustee of evidence satisfactory to the Trustee of the consent of the Holders of Notes as aforesaid, and
upon receipt by the Trustee of the documents described in Section 7.02 hereof, the Trustee shall join with
the Issuer in the execution of such amended or supplemental indenture unless such amended or supple-
mental indenture directly affects the Trustee’s own rights, duties or immunities under this Indenture or
otherwise, in which case the Trustee may in its discretion, but shall not be obligated to, enter into such
amended or supplemental indenture.

                It shall not be necessary for the consent of the Holders of Notes under this Section 9.02 to
approve the particular form of any proposed amendment or waiver, but it shall be sufficient if such con-
sent approves the substance thereof.

                 After an amendment, supplement or waiver under this Section 9.02 becomes effective,
the Issuer shall mail to the Holders of Notes affected thereby a notice briefly describing the amendment,
supplement or waiver. Any failure of the Issuer to mail such notice, or any defect therein, shall not, how-
ever, in any way impair or affect the validity of any such amended or supplemental indenture or waiver.

                 Without the consent of each affected Holder of Notes, an amendment or waiver under
this Section 9.02 may not (with respect to any Notes held by a non-consenting Holder):

              (1)     reduce the principal amount of such Notes whose Holders must consent to an
        amendment, supplement or waiver;

                 (2)     reduce the principal amount of or change the fixed final maturity of any such
        Note or alter or waive the provisions with respect to the redemption of such Notes (other than
        provisions relating to Section 3.09, Section 4.10 and Section 4.14 hereof to the extent that any
        such amendment or waiver does not have the effect of reducing the principal of or changing the
        fixed final maturity of any such Note or altering or waiving the provisions with respect to the re-
        demption of such Notes);

                (3)     reduce the rate of or change the time for payment of interest on any Note;
                                                  -100-

                                                                                                100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 274 of 771


                 (4)      waive a Default in the payment of principal of or premium, if any, or (without
        duplication) interest on the Notes, except a rescission of acceleration of the Notes by the Holders
        of at least a majority in aggregate principal amount of the Notes and a waiver of the payment de-
        fault that resulted from such acceleration, or in respect of a covenant or provision contained in
        this Indenture or any Guarantee which cannot be amended or modified without the consent of all
        Holders;

                 (5)     make any Note payable in a currency other than U.S. dollars;

                (6)     make any change in the provisions of this Indenture relating to the rights of
        Holders to receive payments of principal of or premium, if any, or (without duplication) interest
        on the Notes including in connection with a defeasance or discharge;

                 (7)     make any change in these amendment and waiver provisions;

               (8)     impair the right of any Holder to receive payment of principal of, or interest on
        such Holder’s Notes on or after the due dates therefor or to institute suit for the enforcement of
        any payment on or with respect to such Holder’s Notes;

                (9)      make any change to or otherwise modify the ranking of the Notes that would ad-
        versely affect the Holders; or

               (10)     except as expressly permitted by this Indenture, modify the Guarantee of any
        Guarantor in any manner adverse to the Holders of the Notes.

                 In addition, any amendment to, or waiver of, the provisions of this Indenture, any Securi-
ty Document or the Intercreditor Agreement that has the effect of releasing all or substantially all of the
Collateral or modifies such documents insofar as such documents relates to Collateral in a manner ad-
verse to the Holders of the Notes in any material respect will require consent of the Holders of at least
75% in aggregate principal amount of the Notes then outstanding (including consents obtained in connec-
tion with a tender offer or exchange offer for the Notes).

                 No amendment of, or supplement or waiver to, this Indenture, the Notes or the Security
Documents (other than the Intercreditor Agreement) shall be permitted to be effected which is in violation
of or inconsistent with the terms of the Intercreditor Agreement. No amendment of, or supplement to, the
Intercreditor Agreement shall be permitted to be effected without the consent of the Collateral Agent, the
First Lien Collateral Agent and the collateral agent under the Credit Agreement.

                 Until the Discharge of First Lien Obligations has occurred, the holders of the First Priori-
ty Liens (as defined in the Intercreditor Agreement) may change, waive, modify or vary the security doc-
uments of such holders and, pursuant to the Intercreditor Agreement, such changes will automatically
apply to the Security Documents; provided that any such change, waiver, modification or variance that is
prejudicial to the rights of the Holders of the Notes and does not affect the holders of the First Priority
Liens in a like or similar manner shall not apply to the Security Documents without the consent of the
Collateral Agent and the Trustee (acting at the direction of the Holders of a majority of the aggregate
principal amount of the Notes). Notice of such amendment, waiver or consent shall be given to the Trus-
tee by the Issuer, but any failure to provide such notice will not affect the validity or effectiveness of any
such amendment, waiver or consent.



                                                    -101-

                                                                                                  100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 275 of 771


Section 9.03    Compliance with Trust Indenture Act.

                After the qualification of this Indenture under the Trust Indenture Act, every amendment
or supplement to this Indenture or the Notes shall be set forth in an amended or supplemental indenture
that complies with the Trust Indenture Act as then in effect.

Section 9.04    Revocation and Effect of Consents.

                 Until an amendment, supplement or waiver becomes effective, a consent to it by a Holder
of a Note is a continuing consent by the Holder of a Note and every subsequent Holder of a Note or por-
tion of a Note that evidences the same debt as the consenting Holder’s Note, even if notation of the con-
sent is not made on any Note. However, any such Holder of a Note or subsequent Holder of a Note may
revoke the consent as to its Note if the Trustee receives written notice of revocation before the date the
waiver, supplement or amendment becomes effective. Subject to Section 9.02 hereof, an amendment,
supplement or waiver becomes effective in accordance with its terms and thereafter binds every Holder.

                 The Issuer may, but shall not be obligated to, fix a record date for the purpose of deter-
mining the Holders entitled to consent to any amendment, supplement, or waiver. If a record date is
fixed, then, notwithstanding the preceding paragraph, those Persons who were Holders at such record date
(or their duly designated proxies), and only such Persons, shall be entitled to consent to such amendment,
supplement, or waiver or to revoke any consent previously given, whether or not such Persons continue to
be Holders after such record date. No such consent shall be valid or effective for more than 120 days af-
ter such record date unless the consent of the requisite number of Holders has been obtained.

Section 9.05    Notation on or Exchange of Notes.

                 The Trustee may place an appropriate notation about an amendment, supplement or
waiver on any Note thereafter authenticated. The Issuer in exchange for all Notes may issue and the
Trustee shall, upon receipt of an Authentication Order, authenticate new Notes that reflect the amend-
ment, supplement or waiver.

                 Failure to make the appropriate notation or issue a new Note shall not affect the validity
and effect of such amendment, supplement or waiver.

Section 9.06    Trustee To Sign Amendments, etc.

                  The Trustee shall sign any amendment, supplement or waiver authorized pursuant to this
Article 9 if the amendment or supplement does not adversely affect the rights, duties, liabilities or im-
munities of the Trustee. The Issuer may not sign an amendment, supplement or waiver until the Board of
Directors approves it. In executing any amendment, supplement or waiver, the Trustee shall be entitled to
receive and (subject to Section 7.01 hereof) shall be fully protected in relying upon, in addition to the
documents required by Section 13.04 hereof, an Officers’ Certificate and an Opinion of Counsel stating
that the execution of such amended or supplemental indenture is authorized or permitted by this Indenture
and that such amendment, supplement or waiver is the legal, valid and binding obligation of the Issuer
and any Guarantors party thereto, enforceable against them in accordance with its terms, subject to cus-
tomary exceptions, and complies with the provisions hereof (including Section 9.03). Notwithstanding
the foregoing, no Opinion of Counsel shall be required for the Trustee to execute any amendment or sup-
plement adding a new Guarantor under this Indenture.



                                                   -102-

                                                                                                 100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 276 of 771


Section 9.07    Payment for Consent.

                  (a) Neither the Issuer nor any Restricted Subsidiary of the Issuer shall, directly or indi-
rectly, pay or cause to be paid, and (b) the Issuer shall use commercially reasonable efforts to prevent any
Affiliate of the Issuer from, directly or indirectly, paying or causing to be paid, any consideration, wheth-
er by way of interest, fee or otherwise, to any Holder for or as an inducement to any consent, waiver or
amendment of any of the terms or provisions of this Indenture or the Notes unless such consideration is
offered to all Holders and is paid to all Holders that so consent, waive or agree to amend in the time frame
set forth in solicitation documents relating to such consent, waiver or agreement.

                                                ARTICLE 10

                                    COLLATERAL AND SECURITY

Section 10.01   Collateral and Security Documents.

                  (a)     The Issuer, the Guarantors, the Trustee and the Collateral Agent shall enter into
one or more Security Documents. The due and punctual payment of the principal of and interest on the
Notes when and as the same shall be due and payable, whether on an Interest Payment Date, at maturity,
by acceleration, repurchase, redemption or otherwise, and interest on the overdue principal of and interest
on the Notes and performance of all other Obligations of the Issuer and the Guarantors to the secured par-
ties under this Indenture, the Notes, the Guarantees, the Intercreditor Agreement and the Security Docu-
ments, according to the terms hereunder or thereunder, shall be secured as provided in the Security Doc-
uments, which define the terms of the Liens that secure the Obligations, subject to the terms of the Inter-
creditor Agreement.

                (b)     The Trustee and the Issuer hereby acknowledge and agree that the Collateral
Agent holds the Collateral in trust for the benefit of the secured parties pursuant to the terms of the Secu-
rity Documents and the Intercreditor Agreement.

                  (c)     Each Holder, by accepting a Note, consents and agrees to the terms of the Securi-
ty Documents (including the provisions providing for the possession, use, release and foreclosure of Col-
lateral) and the Intercreditor Agreement as the same may be in effect or may be amended from time to
time in accordance with their terms and this Indenture and the Intercreditor Agreement, and authorizes
and directs the Collateral Agent to enter into the Security Documents and the Intercreditor Agreement and
to perform its obligations and exercise its rights thereunder in accordance therewith; provided, however,
that if any of the provisions of the Security Documents limit, qualify or conflict with the duties imposed
by the provisions of the TIA, the TIA shall control.

                  (d)     The Issuer shall deliver to the Collateral Agent copies of all documents required
to be filed pursuant to the Security Documents, and will do or cause to be done all such acts and things as
may be reasonably required by the next sentence of this Section 10.01, to assure and confirm to the Colla-
teral Agent the security interest in the Collateral contemplated hereby, by the Security Documents or any
part thereof, as from time to time constituted, so as to render the same available for the security and bene-
fit of this Indenture and of the Notes secured hereby, according to the intent and purposes herein ex-
pressed.

                 (e)     The Issuer shall, and shall cause the Guarantors to, take any and all actions and
make all filings (including the filing of UCC financing statements, continuation statements and amend-
ments thereto) reasonably required to cause the Security Documents to create and maintain, as security for
the Obligations of the Issuer and the Guarantors to the secured parties under this Indenture, the Notes, the
                                                    -103-

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 277 of 771


Guarantees, the Intercreditor Agreement and the Security Documents, a valid and enforceable perfected
Lien and security interest in and on all of the Collateral (subject to the terms of the Intercreditor Agree-
ment and the Security Documents), in favor of the Collateral Agent for the benefit of the secured parties
subject to no Liens other than Permitted Liens.

Section 10.02   Recordings and Opinions.

                 (a)      To the extent applicable, the Issuer will cause TIA § 313(b), relating to reports,
to be complied with. So long as the Indenture is not qualified under the TIA, the Issuer shall not be re-
quired to comply with TIA § 314. The Issuer shall deliver to the Trustee and Collateral Agent, within 30
calendar days following the end of each fiscal year, an Officers’ Certificate to the effect that all releases
and withdrawals during such fiscal year in respect of which the Issuer did not comply with TIA § 314(d)
in reliance on this Section 10.02(a) were made in the ordinary course of business and not prohibited by
this Indenture. Any certificate or opinion required by TIA § 314(d) may be made by an Officer of the
Issuer except in cases where TIA § 314(d) requires that such certificate or opinion be made by an inde-
pendent engineer, appraiser or other expert. Notwithstanding anything to the contrary in this paragraph,
the Issuer will not be required to comply with all or any portion of TIA § 314(d) if the Issuer determines,
in good faith based on advice of counsel, that under the terms of TIA § 314(d) and/or any interpretation or
guidance as to the meaning thereof of the Commission and its staff, including “no action” letters or ex-
emptive orders, all or any portion of TIA § 314(d) is inapplicable to the released Collateral.

                 (b)    Any release of Collateral permitted by Section 10.03 hereof will be deemed not
to impair the Liens under this Indenture and the Security Documents in contravention thereof.

                  (c)      Following the qualification of the Indenture under the TIA, to the extent the Issu-
er is required to furnish to the Trustee an Opinion of Counsel pursuant to TIA Section 314(b)(2), the Issu-
er will furnish such opinion not more than 60 but not less than 30 days prior to December 1st of each
year.

Section 10.03   Release of Collateral.

                  (a)     Subject to Section 10.03(b) hereof, Collateral may be released from the Lien and
security interest created by the Security Documents at any time or from time to time in accordance with
the provisions of the Security Documents, the Intercreditor Agreement and this Indenture. The Issuer and
the Guarantors will be entitled to a release of property and other assets included in the Collateral from the
Liens securing the Notes, and the Trustee (subject to its receipt of an Officers’ Certificate and Opinion of
Counsel as provided below) shall release, or instruct the Collateral Agent to release, as applicable, the
same from such Liens at the Issuer’s sole cost and expense, under one or more of the following circums-
tances:

                 (1)       upon the Discharge of First Lien Obligations and concurrent release of all other
        Liens on such property or assets securing First Lien Obligations (including all commitments and
        letters of credit thereunder); provided, however, that if the Issuer or any Guarantor subsequently
        incurs First Lien Obligations that are secured by Liens on property or assets of the Issuer or any
        Guarantor of the type constituting the Collateral and the related Liens are incurred in reliance on
        clauses 6(i) or 33(b) of the definition of “Permitted Liens,” then the Issuer and its Restricted Sub-
        sidiaries will be required to reinstitute the security arrangements with respect to the Collateral in
        favor of the Notes, which, in the case of any such subsequent First Lien Obligations, will be
        second priority Liens on the Collateral securing such First Lien Obligations to the same extent
        provided by the Security Documents and on the terms and conditions of the security documents
        relating to such First Lien Obligations, with the second priority Lien held either by the adminis-
                                                      -104-

                                                                                                  100432088 v3
10-16140-mg         Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                          Pg 278 of 771


        trative agent, collateral agent or other representative for such First Lien Obligations or by a colla-
        teral agent or other representative designated by the Issuer to hold the second priority Liens for
        the benefit of the Holders of the Notes and subject to an intercreditor agreement that provides the
        administrative agent or collateral agent substantially the same rights and powers as afforded un-
        der the Intercreditor Agreement;

                (2)     to enable the Issuer or any Guarantor to sell, exchange or otherwise dispose of
        any of the Collateral to the extent not prohibited under Section 4.10;

                 (3)     to release Excess Proceeds to the Issuer that remain unexpended after the conclu-
        sion of an Asset Sale Offer conducted in accordance with this Indenture and not required to be
        made part of the Collateral;

                (4)      in the case of a Guarantor that is released from its Guarantee with respect to the
        Notes, the release of the property and assets of such Guarantor;

                  (5)    pursuant to an amendment or waiver in accordance with Article 9 hereof; or

                  (6)    if the Notes have been discharged or defeased pursuant to Article 8 or Article 12
        hereof.

         If an Event of Default under the Indenture exists on the date of Discharge of First Lien Obliga-
tions, the second priority Liens on the Collateral securing the Notes will not be released, except to the
extent the Collateral or any portion thereof was disposed of in order to repay the First Lien Obligations
secured by the Collateral, and thereafter the Collateral Agent (or another designated representative acting
at the direction of the Holders of a majority of outstanding principal amount of the Notes and other Per-
mitted Second Lien Obligations) will have the right to direct the Collateral Agent to foreclose upon the
Collateral (but in such event, the Liens on the Collateral securing the Notes will be released when such
Event of Default and all other Events of Default under this Indenture cease to exist but will be reinstituted
upon any subsequent incurrence of First Lien Obligations to the extent provided in the proviso to clause
(a)(1) of this Section 10.03).

                  (b)     With respect to any release of Collateral, upon receipt of an Officers’ Certificate
and an Opinion of Counsel each stating that all conditions precedent under this Indenture and the Security
Documents and the Intercreditor Agreement to such release have been met and that it is proper for the
Trustee or Collateral Agent to execute and deliver the documents requested by the Issuer in connection
with such release, and any necessary or proper instruments of termination, satisfaction or release prepared
by the Issuer, the Trustee shall, or shall cause the Collateral Agent to, execute, deliver or acknowledge (at
the Issuer’s expense) such instruments or releases to evidence the release of any Collateral permitted to be
released pursuant to this Indenture or the Security Documents or the Intercreditor Agreement. Neither the
Trustee nor the Collateral Agent shall be liable for any such release undertaken in reliance upon any such
Officers’ Certificate or Opinion of Counsel, and the Trustee and the Collateral Agent shall not be under
any obligation to release any such Lien and security interest, or execute and deliver any such instrument
of release, satisfaction or termination, unless and until (i) it receives such Officers’ Certificate and Opi-
nion of Counsel or (ii) the Intercreditor Agreement expressly provides for automatic release of Collateral
under this Indenture with no further action required by the Trustee or the Collateral Agent.

                (c)       To the extent that Rule 3-16 of Regulation S-X under the Securities Act requires
or would require (or is replaced with another rule or regulation, or any other law, rule or regulation is
adopted, that would require) the filing with the SEC (or any other governmental agency) of separate fi-
nancial statements of any Subsidiary of the Issuer due to the fact that such Subsidiary’s Equity Interests
                                                    -105-

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 279 of 771


secure the Notes, then the Equity Interests of such Subsidiary will automatically be deemed not to be part
of the Collateral securing the Notes but only to the extent necessary to not be subject to such requirement
and only for so long as required to not be subject to such requirement. In such event, the Security Docu-
ments may be amended or modified, without the consent of any Holder of such Notes, to the extent ne-
cessary to release the security interests in favor of the Collateral Agent on the shares of Equity Interests of
such Subsidiary that are so deemed to no longer constitute part of the Collateral, all at the written request
and certification by the Issuer, upon which the Trustee may conclusively rely. In the event that Rule 3-16
of Regulation S-X under the Securities Act is amended, modified or interpreted by the SEC to permit (or
is replaced with another rule or regulation, or any other law, rule or regulation is adopted, that would
permit) such Subsidiary’s Equity Interests to secure the Notes in excess of the amount then pledged
without the filing with the SEC (or any other governmental agency) of separate financial statements of
such Subsidiary, then the Equity Interests of such Subsidiary will automatically be deemed to be a part of
the Collateral. In such event, the Security Documents may be amended or modified, without the consent
of any Holder of such Notes, to the extent necessary to subject such Equity Interests to the Liens under
the Security Documents.

Section 10.04    Suits To Protect the Collateral.

                Subject to the provisions of Article 7 hereof and the Security Documents and the Inter-
creditor Agreement, the Trustee, without the consent of the Holders, on behalf of the Holders, may or
may direct the Collateral Agent to take all actions it determines in order to:

                 (a)     enforce any of the terms of the Security Documents; and

                 (b)     collect and receive any and all amounts payable in respect of the Obligations he-
reunder.

                 Subject to the provisions of the Security Documents and the Intercreditor Agreement, the
Trustee and the Collateral Agent shall have power to institute and to maintain such suits and proceedings
as the Trustee may determine to prevent any impairment of the Collateral by any acts which may be un-
lawful or in violation of any of the Security Documents or this Indenture, and such suits and proceedings
as the Trustee may determine to preserve or protect its interests and the interests of the Holders in the
Collateral. Nothing in this Section 10.04 shall be considered to impose any such duty or obligation to act
on the part of the Trustee or the Collateral Agent.

Section 10.05    Authorization of Receipt of Funds by the Trustee Under the Security
                 Documents.

                 Subject to the provisions of the Intercreditor Agreement, the Trustee is authorized to re-
ceive any funds for the benefit of the Holders distributed under the Security Documents, and to make fur-
ther distributions of such funds to the Holders according to the provisions of this Indenture.

Section 10.06    Purchaser Protected.

                  In no event shall any purchaser in good faith of any property purported to be released he-
reunder be bound to ascertain the authority of the Collateral Agent or the Trustee to execute the release or
to inquire as to the satisfaction of any conditions required by the provisions hereof for the exercise of
such authority or to see to the application of any consideration given by such purchaser or other transfe-
ree; nor shall any purchaser or other transferee of any property or rights permitted by this Article 10 to be
sold be under any obligation to ascertain or inquire into the authority of the Issuer or the applicable Gua-
rantor to make any such sale or other transfer.
                                                     -106-

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 280 of 771


Section 10.07    Powers Exercisable by Receiver or Trustee.

                 In case the Collateral shall be in the possession of a receiver or trustee, lawfully ap-
pointed, the powers conferred in this Article 10 upon the Issuer or a Guarantor with respect to the release,
sale or other disposition of such property may be exercised by such receiver or trustee, and an instrument
signed by such receiver or trustee shall be deemed the equivalent of any similar instrument of the Issuer
or a Guarantor or of any Officer or Officers thereof required by the provisions of this Article 10; and if
the Trustee shall be in the possession of the Collateral under any provision of this Indenture, then such
powers may be exercised by the Trustee.

Section 10.08    Release Upon Termination of the Issuer’s Obligations.

                  In the event that the Issuer delivers to the Trustee (a) an Officers’ Certificate certifying
that (i) payment in full of the principal of, together with accrued and unpaid interest on, the Notes and all
other Obligations under this Indenture, the Notes, the Guarantees and the Security Documents that are
due and payable at or prior to the time such principal, together with accrued and unpaid interest, are paid
or (ii) the Issuer shall have exercised its Legal Defeasance option or its Covenant Defeasance option, in
each case in compliance with the provisions of Article 8 hereof, and (b) an Opinion of Counsel stating
that all conditions precedent to the execution and delivery of such notice by the Trustee have been satis-
fied, the Trustee shall deliver to the Issuer and the Collateral Agent a notice stating that the Trustee, on
behalf of the Holders, disclaims and gives up any and all rights it has in or to the Collateral (other than
with respect to funds held by the Trustee pursuant to Article 8 hereof) and upon receipt by the Collateral
Agent of such notice, the Collateral Agent shall be deemed not to hold a Lien in the Collateral on behalf
of the Trustee and shall do or cause to be done all acts reasonably necessary to release such Lien as soon
as is reasonably practicable.

Section 10.09    Collateral Agent.

                 (a)     The Trustee and each of the Holders by acceptance of the Notes hereby desig-
nates and appoints the Collateral Agent as its agent under this Indenture, the Security Documents and the
Intercreditor Agreement and the Trustee and each of the Holders by acceptance of the Notes hereby irre-
vocably authorizes the Collateral Agent to take such action on its behalf under the provisions of this In-
denture, the Security Documents and the Intercreditor Agreement and to exercise such powers and per-
form such duties as are expressly delegated to the Collateral Agent by the terms of this Indenture, the Se-
curity Documents and the Intercreditor Agreement, and consents and agrees to the terms of the Intercredi-
tor Agreement and each Security Document, as the same may be in effect or may be amended, restated,
supplemented or otherwise modified from time to time in accordance with their respective terms. The
Collateral Agent agrees to act as such on the express conditions contained in this Section 10.09. The pro-
visions of this Section 10.09 are solely for the benefit of the Collateral Agent and none of the Trustee, any
of the Holders nor any of the Grantors shall have any rights as a third party beneficiary of any of the pro-
visions contained herein other than as expressly provided in Section 10.03 hereof. Each Holder agrees
that any action taken by the Collateral Agent in accordance with the provision of this Indenture, the Inter-
creditor Agreement and the Security Documents, and the exercise by the Collateral Agent of any rights or
remedies set forth herein and therein shall be authorized and binding upon all Holders. Notwithstanding
any provision to the contrary contained elsewhere in this Indenture, the Security Documents and the In-
tercreditor Agreement, the duties of the Collateral Agent shall be ministerial and administrative in nature,
and the Collateral Agent shall not have any duties or responsibilities, except those expressly set forth
herein and in the other documents to which the Collateral Agent is a party, nor shall the Collateral Agent
have or be deemed to have any trust or other fiduciary relationship with the Trustee, any Holder or any
Grantor, and no implied covenants, functions, responsibilities, duties, obligations or liabilities shall be

                                                    -107-

                                                                                                   100432088 v3
10-16140-mg         Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                            Pg 281 of 771


read into this Indenture, the Security Documents and the Intercreditor Agreement or otherwise exist
against the Collateral Agent. Without limiting the generality of the foregoing sentence, the use of the
term “agent” in this Indenture with reference to the Collateral Agent is not intended to connote any fidu-
ciary or other implied (or express) obligations arising under agency doctrine of any applicable law. In-
stead, such term is used merely as a matter of market custom, and is intended to create or reflect only an
administrative relationship between independent contracting parties.

                  (b)      The Collateral Agent may perform any of its duties under this Indenture, the Se-
curity Documents or the Intercreditor Agreement by or through receivers, agents, employees, attorneys-
in-fact or through its Related Persons and shall be entitled to advice of counsel concerning all matters per-
taining to such duties, and shall be entitled to act upon, and shall be fully protected in taking action in re-
liance upon any advice or opinion given by legal counsel. The Collateral Agent shall not be responsible
for the negligence or willful misconduct of any receiver, agent, employee, attorney-in-fact or Related Per-
son that it selects as long as such selection was made in good faith.

                  (c)      None of the Collateral Agent or any of its respective Related Persons shall (i) be
liable for any action taken or omitted to be taken by any of them under or in connection with this Inden-
ture or the transactions contemplated hereby (except for its own gross negligence or willful misconduct as
determined by a court of competent jurisdiction in a final and non-appealable decision) or under or in
connection with any Security Document or the Intercreditor Agreement or the transactions contemplated
thereby (except for its own gross negligence or willful misconduct as determined by a court of competent
jurisdiction in a final and non-appealable decision), or (ii) be responsible in any manner to any of the
Trustee or any Holder for any recital, statement, representation, warranty, covenant or agreement made by
the Issuer or any Grantor or Affiliate of any Grantor, or any Officer or Related Person thereof, contained
in this Indenture, the Security Documents or the Intercreditor Agreement, or in any certificate, report,
statement or other document referred to or provided for in, or received by the Collateral Agent under or in
connection with, this Indenture, the Security Documents or the Intercreditor Agreement, or the validity,
effectiveness, genuineness, enforceability or sufficiency of this Indenture, the Security Documents or the
Intercreditor Agreement, or for any failure of any Grantor or any other party to this Indenture, the Securi-
ty Documents or the Intercreditor Agreement to perform its obligations hereunder or thereunder. None of
the Collateral Agent or any of its respective Related Persons shall be under any obligation to the Trustee
or any Holder to ascertain or to inquire as to the observance or performance of any of the agreements con-
tained in, or conditions of, this Indenture, the Security Documents or the Intercreditor Agreement or to
inspect the properties, books, or records of any Grantor or any Grantor’s Affiliates.

                  (d)       The Collateral Agent shall be entitled to rely, and shall be fully protected in rely-
ing, upon any writing, resolution, notice, consent, certificate, affidavit, letter, telegram, facsimile, certifi-
cation, telephone message, statement, or other communication, document or conversation (including those
by telephone or e-mail) believed by it to be genuine and correct and to have been signed, sent, or made by
the proper Person or Persons, and upon advice and statements of legal counsel (including, without limita-
tion, counsel to the Issuer or any Grantor), independent accountants and other experts and advisors se-
lected by the Collateral Agent. The Collateral Agent shall not be bound to make any investigation into
the facts or matters stated in any resolution, certificate, statement, instrument, opinion, report, notice, re-
quest, direction, consent, order, bond, debenture, or other paper or document. The Collateral Agent shall
be fully justified in failing or refusing to take any action under this Indenture, the Security Documents or
the Intercreditor Agreement unless it shall first receive such advice or concurrence of the Trustee or the
Holders of a majority in aggregate principal amount of the Notes as it determines and, if it so requests, it
shall first be indemnified to its satisfaction by the Holders against any and all liability and expense which
may be incurred by it by reason of taking or continuing to take any such action. The Collateral Agent
shall in all cases be fully protected in acting, or in refraining from acting, under this Indenture, the Securi-

                                                     -108-

                                                                                                    100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 282 of 771


ty Documents or the Intercreditor Agreement in accordance with a request, direction, instruction or con-
sent of the Trustee or the Holders of a majority in aggregate principal amount of the then outstanding
Notes and such request and any action taken or failure to act pursuant thereto shall be binding upon all of
the Holders.

                 (e)     The Collateral Agent shall not be deemed to have knowledge or notice of the oc-
currence of any Default or Event of Default, unless a Responsible Officer of the Collateral Agent shall
have received written notice from the Trustee or the Issuer referring to this Indenture, describing such
Default or Event of Default and stating that such notice is a “notice of default.” The Collateral Agent
shall take such action with respect to such Default or Event of Default as may be requested by the Trustee
in accordance with Article 6 hereof or the Holders of a majority in aggregate principal amount of the
Notes (subject to this Section 10.09).

                  (f)      Wilmington Trust FSB and its respective Affiliates may make loans to, issue let-
ters of credit for the account of, accept deposits from, acquire equity interests in and generally engage in
any kind of banking, trust, financial advisory, underwriting, or other business with any Grantor and its
Affiliates as though it was not the Collateral Agent hereunder and without notice to or consent of the
Trustee. The Trustee and the Holders acknowledge that, pursuant to such activities, Wilmington Trust
FSB or its respective Affiliates may receive information regarding any Grantor or its Affiliates (including
information that may be subject to confidentiality obligations in favor of any such Grantor or such Affili-
ate) and acknowledge that the Collateral Agent shall not be under any obligation to provide such informa-
tion to the Trustee or the Holders. Nothing herein shall impose or imply any obligation on the part of the
Wilmington Trust FSB to advance funds.

                 (g)      The Collateral Agent may resign at any time by notice to the Trustee and the Is-
suer, such resignation to be effective upon the acceptance of a successor agent to its appointment as Col-
lateral Agent. If the Collateral Agent resigns under this Indenture, the Issuer shall appoint a successor
collateral agent. If no successor collateral agent is appointed prior to the intended effective date of the
resignation of the Collateral Agent (as stated in the notice of resignation), the Collateral Agent may ap-
point, after consulting with the Trustee, subject to the consent of the Issuer (which shall not be unreason-
ably withheld and which shall not be required during a continuing Event of Default), a successor collater-
al agent. If no successor collateral agent is appointed and consented to by the Issuer pursuant to the pre-
ceding sentence within thirty (30) days after the intended effective date of resignation (as stated in the
notice of resignation) the Collateral Agent shall be entitled to petition a court of competent jurisdiction to
appoint a successor. Upon the acceptance of its appointment as successor collateral agent hereunder, such
successor collateral agent shall succeed to all the rights, powers and duties of the retiring Collateral
Agent, and the term “Collateral Agent” shall mean such successor collateral agent, and the retiring Colla-
teral Agent’s appointment, powers and duties as the Collateral Agent shall be terminated. After the retir-
ing Collateral Agent’s resignation hereunder, the provisions of this Section 10.09 (and Section 7.07 he-
reof) shall continue to inure to its benefit and the retiring Collateral Agent shall not by reason of such res-
ignation be deemed to be released from liability as to any actions taken or omitted to be taken by it while
it was the Collateral Agent under this Indenture.

                  (h)      The Trustee shall initially act as Collateral Agent and shall be authorized to ap-
point co- Collateral Agents as necessary in its sole discretion. Except as otherwise explicitly provided
herein or in the Security Documents or the Intercreditor Agreement, neither the Collateral Agent nor any
of its respective officers, directors, employees or agents or other Related Persons shall be liable for failure
to demand, collect or realize upon any of the Collateral or for any delay in doing so or shall be under any
obligation to sell or otherwise dispose of any Collateral upon the request of any other Person or to take
any other action whatsoever with regard to the Collateral or any part thereof. The Collateral Agent shall

                                                    -109-

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 283 of 771


be accountable only for amounts that it actually receives as a result of the exercise of such powers, and
neither the Collateral Agent nor any of its officers, directors, employees or agents shall be responsible for
any act or failure to act hereunder, except for its own gross negligence or willful misconduct as deter-
mined by a court of competent jurisdiction in a final and non-appealable decision.

                (i)      The Collateral Agent is authorized and directed to (i) enter into the Security
Documents to which it is party, whether executed on or after the Issue Date, (ii) enter into the Intercredi-
tor Agreement, (iii) bind the Holders on the terms as set forth in the Security Documents and the Intercre-
ditor Agreement and (iv) perform and observe its obligations under the Security Documents and the Inter-
creditor Agreement.

                  (j)     The Trustee agrees that it shall not (and shall not be obliged to), and shall not in-
struct the Collateral Agent to, unless specifically requested to do so by the Holders of a majority in aggre-
gate principal amount of the Notes, take or cause to be taken any action to enforce its rights under this
Indenture, the Security Documents or the Intercreditor Agreement or against any Grantor, including the
commencement of any legal or equitable proceedings, to foreclose any Lien on, or otherwise enforce any
security interest in, any of the Collateral.

                   If at any time or times the Trustee shall receive (i) by payment, foreclosure, set-off or
otherwise, any proceeds of Collateral or any payments with respect to the Obligations arising under, or
relating to, this Indenture, except for any such proceeds or payments received by the Trustee from the
Collateral Agent pursuant to the terms of this Indenture, or (ii) payments from the Collateral Agent in
excess of the amount required to be paid to the Trustee pursuant to Article 7 hereof, the Trustee shall
promptly turn the same over to the Collateral Agent, in kind, and with such endorsements as may be re-
quired to negotiate the same to the Collateral Agent such proceeds to be applied by the Collateral Agent
pursuant to the terms of this Indenture, the Security Documents and the Intercreditor Agreement.

                 (k)      The Collateral Agent is each Holder’s agent for the purpose of perfecting the
Holders’ security interest in assets which, in accordance with Article 9 of the Uniform Commercial Code
can be perfected only by possession. Should the Trustee obtain possession of any such Collateral, upon
request from the Issuer, the Trustee shall notify the Collateral Agent thereof and promptly shall deliver
such Collateral to the Collateral Agent or otherwise deal with such Collateral in accordance with the Col-
lateral Agent’s instructions.

                  (l)     The Collateral Agent shall have no obligation whatsoever to the Trustee or any of
the Holders to assure that the Collateral exists or is owned by any Grantor or is cared for, protected, or
insured or has been encumbered, or that the Collateral Agent’s Liens have been properly or sufficiently or
lawfully created, perfected, protected, maintained or enforced or are entitled to any particular priority, or
to determine whether all or the Grantor’s property constituting collateral intended to be subject to the Lien
and security interest of the Security Documents has been properly and completely listed or delivered, as
the case may be, or the genuineness, validity, marketability or sufficiency thereof or title thereto, or to
exercise at all or in any particular manner or under any duty of care, disclosure, or fidelity, or to continue
exercising, any of the rights, authorities, and powers granted or available to the Collateral Agent pursuant
to this Indenture, any Security Document or the Intercreditor Agreement other than pursuant to the in-
structions of the Trustee or the Holders of a majority in aggregate principal amount of the Notes or as
otherwise provided in the Security Documents, it being understood and agreed that in respect of the Col-
lateral, or any act, omission, or event related thereto, the Collateral Agent shall have no other duty or lia-
bility whatsoever to the Trustee or any Holder as to any of the foregoing.



                                                    -110-

                                                                                                   100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 284 of 771


                 (m)      If the Issuer (i) incurs any obligations in respect of Secured Indebtedness at any
time when no intercreditor agreement is in effect or at any time when Indebtedness constituting Secured
Indebtedness entitled to the benefit of an existing Intercreditor Agreement is concurrently retired, and (ii)
delivers to the Collateral Agent an Officers’ Certificate so stating and requesting the Collateral Agent to
enter into an intercreditor agreement (on substantially the same terms as the applicable Intercreditor
Agreement) in favor of a designated agent or representative for the holders of the Secured Indebtedness so
incurred, the Collateral Agent shall (and is hereby authorized and directed to) enter into such intercreditor
agreement (at the sole expense and cost of the Issuer, including legal fees and expenses of the Collateral
Agent), bind the Holders on the terms set forth therein and perform and observe its obligations thereund-
er.

                 (n)      No provision of this Indenture, the Intercreditor Agreement or any Security Doc-
ument shall require the Collateral Agent (or the Trustee) to expend or risk its own funds or otherwise in-
cur any financial liability in the performance of any of its duties hereunder or thereunder or to take or
omit to take any action hereunder or thereunder or take any action at the request or direction of Holders
(or the Trustee in the case of the Collateral Agent) if it shall have received indemnity satisfactory to the
Collateral Agent against potential costs and liabilities incurred by the Collateral Agent relating thereto.
Notwithstanding anything to the contrary contained in this Indenture, the Intercreditor Agreement or the
Security Documents, in the event the Collateral Agent is entitled or required to commence an action to
foreclose or otherwise exercise its remedies to acquire control or possession of the Collateral, the Colla-
teral Agent shall not be required to commence any such action or exercise any remedy or to inspect or
conduct any studies of any property under the mortgages or take any such other action if the Collateral
Agent has determined that the Collateral Agent may incur personal liability as a result of the presence at,
or release on or from, the Collateral or such property, of any hazardous substances unless the Collateral
Agent has received security or indemnity from the Holders in an amount and in a form all satisfactory to
the Collateral Agent in its sole discretion, protecting the Collateral Agent from all such liability. The Col-
lateral Agent shall at any time be entitled to cease taking any action described above if it no longer rea-
sonably deems any indemnity, security or undertaking from the Issuer or the Holders to be sufficient.

                  (o)     The Collateral Agent (i) shall not be liable for any action taken or omitted to be
taken by it in connection with this Indenture, the Intercreditor Agreement and the Security Documents or
instrument referred to herein or therein, except to the extent that any of the foregoing are found by a final,
non-appealable judgment of a court of competent jurisdiction to have resulted from its own gross negli-
gence or willful misconduct, (ii) shall not be liable for interest on any money received by it except as the
Collateral Agent may agree in writing with the Issuer (and money held in trust by the Collateral Agent
need not be segregated from other funds except to the extent required by law) and (iii) may consult with
counsel of its selection and the advice or opinion of such counsel as to matters of law shall be full and
complete authorization and protection from liability in respect of any action taken, omitted or suffered by
it in good faith and in accordance with the advice or opinion of such counsel. The grant of permissive
rights or powers to the Collateral Agent shall not be construed to impose duties to act.

                 (p)      Neither the Collateral Agent nor the Trustee shall be liable for delays or failures
in performance resulting from acts beyond its control. Such acts shall include but not be limited to acts of
God, strikes, lockouts, riots, acts of war, epidemics, governmental regulations superimposed after the fact,
fire, communication line failures, computer viruses, power failures, earthquakes or other disasters. Nei-
ther the Collateral Agent nor the Trustee shall be liable for any indirect, special, punitive, incidental or
consequential damages (included but not limited to lost profits) whatsoever, even if it has been informed
of the likelihood thereof and regardless of the form of action.



                                                    -111-

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 285 of 771


                  (q)      The Collateral Agent does not assume any responsibility for any failure or delay
in performance or any breach by the Issuer or any other Grantor under this Indenture, the Intercreditor
Agreement and the Security Documents. The Collateral Agent shall not be responsible to the Holders or
any other Person for any recitals, statements, information, representations or warranties contained in this
Indenture, the Intercreditor Agreement, the Security Documents or in any certificate, report, statement, or
other document referred to or provided for in, or received by the Collateral Agent under or in connection
with, this Indenture, the Intercreditor Agreement or any Security Document; the execution, validity, ge-
nuineness, effectiveness or enforceability of the Intercreditor Agreement and any Security Documents of
any other party thereto; the genuineness, enforceability, collectability, value, sufficiency, location or exis-
tence of any Collateral, or the validity, effectiveness, enforceability, sufficiency, extent, perfection or
priority of any Lien therein; the validity, enforceability or collectability of any Obligations; the assets,
liabilities, financial condition, results of operations, business, creditworthiness or legal status of any obli-
gor; or for any failure of any obligor to perform its Obligations under this Indenture, the Intercreditor
Agreement and the Security Documents. The Collateral Agent shall have no obligation to any Holder or
any other Person to ascertain or inquire into the existence of any Default or Event of Default, the obser-
vance or performance by any obligor of any terms of this Indenture, the Intercreditor Agreement and the
Security Documents, or the satisfaction of any conditions precedent contained in this Indenture, the Inter-
creditor Agreement and any Security Documents. The Collateral Agent shall not be required to initiate or
conduct any litigation or collection or other proceeding under this Indenture, the Intercreditor Agreement
and the Security Documents unless expressly set forth hereunder or thereunder. The Collateral Agent
shall have the right at any time to seek instructions from the Holders with respect to the administration of
this Indenture, the Intercreditor Agreement, the Security Documents or any certificate, report, statement,
or other document referred to or provided for therein.

                  (r)      The parties hereto and the Holders hereby agree and acknowledge that the Colla-
teral Agent shall not assume, be responsible for or otherwise be obligated for any liabilities, claims, caus-
es of action, suits, losses, allegations, requests, demands, penalties, fines, settlements, damages (including
foreseeable and unforeseeable), judgments, expenses and costs (including but not limited to, any remedia-
tion, corrective action, response, removal or remedial action, or investigation, operations and maintenance
or monitoring costs, for personal injury or property damages, real or personal) of any kind whatsoever,
pursuant to any environmental law as a result of this Indenture, the Intercreditor Agreement, the Security
Documents or any actions taken pursuant hereto or thereto. Further, the parties hereto and the Holders
hereby agree and acknowledge that in the exercise of its rights under this Indenture, the Intercreditor
Agreement and the Security Documents, the Collateral Agent may hold or obtain indicia of ownership
primarily to protect the security interest of the Collateral Agent in the Collateral and that any such actions
taken by the Collateral Agent shall not be construed as or otherwise constitute any participation in the
management of such Collateral.

                  (s)      Upon the receipt by the Collateral Agent of a written request of the Issuer signed
by two Officers (a “Security Document Order”), the Collateral Agent is hereby authorized to execute and
enter into, and shall execute and enter into, without the further consent of any Holder or the Trustee, any
Security Document to be executed after the Issue Date. Such Security Document Order shall (i) state that
it is being delivered to the Collateral Agent pursuant to, and is a Security Document Order referred to in,
this Section 10.09(s), and (ii) instruct the Collateral Agent to execute and enter into such Security Docu-
ment. Any such execution of a Security Document shall be at the direction and expense of the Issuer,
upon delivery to the Collateral Agent of an Officers’ Certificate and Opinion of Counsel stating that all
conditions precedent to the execution and delivery of the Security Document have been satisfied. The
Holders, by their acceptance of the Notes, hereby authorize and direct the Collateral Agent to execute
such Security Documents.


                                                     -112-

                                                                                                    100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 286 of 771


                 (t)       Subject to the provisions of the applicable Security Documents and the Inter-
creditor Agreement, each Holder, by acceptance of the Notes, agrees that the Collateral Agent shall ex-
ecute and deliver the Intercreditor Agreement and the Security Documents to which it is a party and all
agreements, documents and instruments incidental thereto, and act in accordance with the terms thereof.
For the avoidance of doubt, the Collateral Agent shall have no discretion under this Indenture, the Inter-
creditor Agreement or the Security Documents and shall not be required to make or give any determina-
tion, consent, approval, request or direction without the written direction of the Holders of a majority in
aggregate principal amount of the then outstanding Notes or the Trustee, as applicable.

                 (u)    After the occurrence of an Event of Default, the Trustee may direct the Collateral
Agent in connection with any action required or permitted by this Indenture, the Security Documents or
the Intercreditor Agreement.

                 (v)      The Collateral Agent is authorized to receive any funds for the benefit of itself,
the Trustee and the Holders distributed under the Security Documents or the Intercreditor Agreement and
to the extent not prohibited under the Intercreditor Agreement, for turnover to the Trustee to make further
distributions of such funds to itself, the Trustee and the Holders in accordance with the provisions of Sec-
tion 6.10 hereof and the other provisions of this Indenture.

                 (w)      In each case that Collateral Agent may or is required hereunder or under any oth-
er Security Document or the Intercreditor Agreement to take any action (an “Action”), including without
limitation to make any determination, to give consents, to exercise rights, powers or remedies, to release
or sell Collateral or otherwise to act hereunder or under the Security Documents or the Intercreditor
Agreement, the Collateral Agent may seek direction from the Holders of a majority in aggregate principal
amount of the then outstanding Notes. The Collateral Agent shall not be liable with respect to any Action
taken or omitted to be taken by it in accordance with the direction from the Holders of a majority in ag-
gregate principal amount of the then outstanding Notes. If the Collateral Agent shall request direction
from the Holders of a majority in aggregate principal amount of the then outstanding Notes with respect
to any Action, the Collateral Agent shall be entitled to refrain from such Action unless and until the Col-
lateral Agent shall have received direction from the Holders of a majority in aggregate principal amount
of the then outstanding Notes, and the Collateral Agent shall not incur liability to any Person by reason of
so refraining.

                  (x)     Notwithstanding anything to the contrary in this Indenture, the Security Docu-
ments or the Intercreditor Agreement, in no event shall the Collateral Agent be responsible for, or have
any duty or obligation with respect to, the recording, filing, registering, perfection, protection or mainten-
ance of the security interests or Liens intended to be created by this Indenture, the Security Documents or
the Intercreditor Agreement (including without limitation the filing or continuation of any UCC financing
or continuation statements or similar documents or instruments), nor shall the Collateral Agent be respon-
sible for, and the Collateral Agent makes no representation regarding, the validity, effectiveness or priori-
ty of any of the Security Documents or the security interests or Liens intended to be created thereby.

                 (y)      Before the Collateral Agent acts or refrains from acting in each case at the re-
quest or direction of the Issuer or the Guarantors, it may require an Officers’ Certificate and an Opinion
of Counsel, which shall conform to the provisions of Section 13.05 hereof. The Collateral Agent shall not
be liable for any action it takes or omits to take in good faith in reliance on such certificate or opinion.

                 (z)      Notwithstanding anything to the contrary contained herein, the Collateral Agent
shall act pursuant to the instructions of the secured parties solely with respect to the Security Documents
and the Collateral.

                                                    -113-

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 287 of 771


Section 10.10    Designations.

                 Except as provided in the next sentence, for purposes of the provisions hereof and the In-
tercreditor Agreement requiring the Issuer to designate Indebtedness for the purposes of the terms “First
Priority Obligations,” “Revolving Credit Obligations,” “First Lien Note Obligations”, “Second Priority
Obligations” or any other such designations hereunder or under the Intercreditor Agreement, any such
designation shall be sufficient if the relevant designation is set forth in writing, signed on behalf of the
Issuer by an Officer and delivered to the Trustee, the Collateral Agent, the First Lien Trustee, the colla-
teral agent under the First Lien Notes and the collateral agent under the Credit Agreement. For all pur-
poses of the Intercreditor Agreement, the Issuer hereby designates the Obligations pursuant to the Credit
Agreement and First Lien Notes as “First Priority Obligations.”

                                                 ARTICLE 11

                                               GUARANTEES

Section 11.01    Guarantee.

                  Subject to this Article 11, each of the Guarantors hereby, jointly and severally, fully and
unconditionally guarantees to each Holder of a Note authenticated and delivered by the Trustee and to the
Trustee and its successors and assigns, irrespective of the validity and enforceability of this Indenture, the
Notes or the obligations of the Issuer hereunder or thereunder, that: (a) the principal of, interest, premium
and Additional Interest, if any, on the Notes shall be promptly paid in full when due, whether, by accele-
ration, redemption or otherwise, and interest on the overdue principal of and interest on the Notes, if any,
if lawful, and all other obligations of the Issuer to the Holders or the Trustee or the Collateral Agent he-
reunder or thereunder shall be promptly paid in full or performed, all in accordance with the terms hereof
and thereof; and (b) in case of any extension of time of payment or renewal of any Notes or any of such
other obligations, that same shall be promptly paid in full when due or performed in accordance with the
terms of the extension or renewal, whether at stated maturity, by acceleration or otherwise. Failing pay-
ment when due of any amount so guaranteed or any performance so guaranteed for whatever reason, the
Guarantors shall be jointly and severally obligated to pay the same immediately. Each Guarantor agrees
that this is a guarantee of payment and not a guarantee of collection.

                 The Guarantors hereby agree that their obligations hereunder shall be unconditional, ir-
respective of the validity, regularity or enforceability of the Notes or this Indenture, the absence of any
action to enforce the same, any waiver or consent by any Holder of the Notes with respect to any provi-
sions hereof or thereof, the recovery of any judgment against the Issuer, any action to enforce the same or
any other circumstance which might otherwise constitute a legal or equitable discharge or defense of a
guarantor. Each Guarantor hereby waives diligence, presentment, demand of payment, filing of claims
with a court in the event of insolvency or bankruptcy of the Issuer, any right to require a proceeding first
against the Issuer, protest, notice and all demands whatsoever and covenants that this Guarantee shall not
be discharged except by complete performance of the obligations contained in the Notes and this Inden-
ture.

                 Each Guarantor also agrees to pay any and all costs and expenses (including reasonable
attorneys’ fees) incurred by the Trustee or any Holder in enforcing any rights under this Section 11.01.

                 If any Holder or the Trustee is required by any court or otherwise to return to the Issuer,
the Guarantors or any custodian, trustee, liquidator or other similar official acting in relation to either the
Issuer or the Guarantors, any amount paid either to the Trustee or such Holder, this Guarantee, to the ex-
tent theretofore discharged, shall be reinstated in full force and effect.
                                                     -114-

                                                                                                    100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 288 of 771


                 Each Guarantor agrees that it shall not be entitled to any right of subrogation in relation
to the Holders in respect of any obligations guaranteed hereby until payment in full of all obligations
guaranteed hereby. Each Guarantor further agrees that, as between the Guarantors, on the one hand, and
the Holders and the Trustee, on the other hand, (x) the maturity of the obligations guaranteed hereby may
be accelerated as provided in Article 6 hereof for the purposes of this Guarantee, notwithstanding any
stay, injunction or other prohibition preventing such acceleration in respect of the obligations guaranteed
hereby, and (y) in the event of any declaration of acceleration of such obligations as provided in Article 6
hereof, such obligations (whether or not due and payable) shall forthwith become due and payable by the
Guarantors for the purpose of this Guarantee. The Guarantors shall have the right to seek contribution
from any non-paying Guarantor so long as the exercise of such right does not impair the rights of the
Holders under the Guarantees.

                  Each Guarantee shall remain in full force and effect and continue to be effective should
any petition be filed by or against the Issuer for liquidation, reorganization, should the Issuer become in-
solvent or make an assignment for the benefit of creditors or should a receiver or trustee be appointed for
all or any significant part of the Issuer’s assets, and shall, to the fullest extent permitted by law, continue
to be effective or be reinstated, as the case may be, if at any time payment and performance of the Notes
are, pursuant to applicable law, rescinded or reduced in amount, or must otherwise be restored or returned
by any obligee on the Notes or Guarantees, whether as a “voidable preference,” “fraudulent transfer” or
otherwise, all as though such payment or performance had not been made. In the event that any payment
or any part thereof, is rescinded, reduced, restored or returned, the Notes shall, to the fullest extent per-
mitted by law, be reinstated and deemed reduced only by such amount paid and not so rescinded, reduced,
restored or returned.

                   In case any provision of any Guarantee shall be invalid, illegal or unenforceable, the va-
lidity, legality, and enforceability of the remaining provisions shall not in any way be affected or impaired
thereby.

               The Guarantee issued by any Guarantor shall be a general senior secured obligation of
such Guarantor and shall be pari passu in right of payment with all existing and future senior Indebted-
ness of such Guarantor, if any.

                 Each payment to be made by a Guarantor in respect of its Guarantee shall be made with-
out set-off, counterclaim, reduction or diminution of any kind or nature.

               Notwithstanding anything to the contrary, any direct or indirect parent company of the Is-
suer may guarantee the Notes and become a Guarantor hereunder.

Section 11.02    Limitation on Guarantor Liability.

                 Each Guarantor, and by its acceptance of Notes, each Holder, hereby confirms that it is
the intention of all such parties that the Guarantee of such Guarantor not constitute a fraudulent transfer
or conveyance for purposes of Bankruptcy Law, the Uniform Fraudulent Conveyance Act, the Uniform
Fraudulent Transfer Act or any similar federal or state law to the extent applicable to any Guarantee. To
effectuate the foregoing intention, the Trustee, the Holders and the Guarantors hereby irrevocably agree
that the obligations of each Guarantor shall be limited to the maximum amount as will, after giving effect
to such maximum amount and all other contingent and fixed liabilities of such Guarantor that are relevant
under such laws and after giving effect to any collections from, rights to receive contribution from or
payments made by or on behalf of any other Guarantor in respect of the obligations of such other Guaran-
tor under this Article 11, result in the obligations of such Guarantor under its Guarantee not constituting a
fraudulent conveyance or fraudulent transfer under applicable law. Each Guarantor that makes a payment
                                                      -115-

                                                                                                  100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 289 of 771


under its Guarantee shall be entitled upon payment in full of all guaranteed obligations under this Inden-
ture to a contribution from each other Guarantor in an amount equal to such other Guarantor’s pro rata
portion of such payment based on the respective net assets of all the Guarantors at the time of such pay-
ment determined in accordance with GAAP.

Section 11.03   Execution and Delivery.

                  To evidence its Guarantee set forth in Section 11.01 hereof, each Guarantor hereby
agrees that this Indenture or any supplemental indenture with respect hereto shall be executed on behalf
of such Guarantor by its President, one of its Vice Presidents or one of its Assistant Vice Presidents.

                 Each Guarantor hereby agrees that its Guarantee set forth in Section 11.01 hereof shall
remain in full force and effect notwithstanding the absence of the endorsement of any notation of such
Guarantee on the Notes.

                 If an Officer whose signature is on this Indenture or any supplemental indenture with re-
spect hereto no longer holds that office at the time the Trustee authenticates the Note, the Guarantee shall
be valid nevertheless.

                The delivery of any Note by the Trustee, after the authentication thereof hereunder, shall
constitute due delivery of the Guarantee set forth in this Indenture on behalf of the Guarantors.

                 If required by Section 4.15 hereof, the Issuer shall cause any newly created or acquired
Restricted Subsidiary to comply with the provisions of Section 4.15 hereof and this Article 11, to the ex-
tent applicable.

Section 11.04   Subrogation.

                  Each Guarantor shall be subrogated to all rights of Holders of Notes against the Issuer in
respect of any amounts paid by any Guarantor pursuant to the provisions of Section 11.01 hereof; pro-
vided that, if an Event of Default has occurred and is continuing, no Guarantor shall be entitled to enforce
or receive any payments arising out of, or based upon, such right of subrogation until all amounts then
due and payable by the Issuer under this Indenture or the Notes shall have been paid in full.

Section 11.05   Benefits Acknowledged.

                 Each Guarantor acknowledges that it shall receive direct and indirect benefits from the
financing arrangements contemplated by this Indenture and that the guarantee and waivers made by it
pursuant to its Guarantee are knowingly made in contemplation of such benefits.

Section 11.06   Release of Guarantees.

                A Guarantee by a Guarantor shall be automatically and unconditionally released and dis-
charged upon:

                 (a)     any sale, exchange or transfer (by merger or otherwise) of the Capital Stock of
such Guarantor (including any sale, exchange or transfer), after which the applicable Guarantor is no
longer a Restricted Subsidiary or all or substantially all the assets of such Guarantor which sale, exchange
or transfer is made in compliance with the applicable provisions of this Indenture;


                                                   -116-

                                                                                                100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                          Pg 290 of 771


                 (b)      the release or discharge of the guarantee by such Guarantor of all First Lien Ob-
ligations or such other guarantee that resulted in the creation of such Guarantee, except a discharge or
release by or as a result of payment under such guarantee;

                 (c)      the proper designation of any Restricted Subsidiary that is a Guarantor as an Un-
restricted Subsidiary in compliance with the applicable provisions of this Indenture; or

               (d)      the Issuer exercising its Legal Defeasance option or Covenant Defeasance option
in accordance with Article 8 hereof or the Issuer’s obligations under this Indenture being discharged in
accordance with Article 12 hereof.


                                               ARTICLE 12

                                  SATISFACTION AND DISCHARGE

Section 12.01   Satisfaction and Discharge.

                This Indenture shall be discharged and shall cease to be of further effect as to all Notes,
when either:

               (1)      all Notes theretofore authenticated and delivered, except lost, stolen or destroyed
        Notes which have been replaced or paid and Notes for whose payment money has theretofore
        been deposited in trust, have been delivered to the Trustee for cancellation; or

                 (2)      (A) all Notes not theretofore delivered to the Trustee for cancellation have be-
        come due and payable by reason of the making of a notice of redemption or otherwise, shall be-
        come due and payable within one year or are to be called for redemption and redeemed within
        one year under arrangements satisfactory to the Trustee for the giving of notice of redemption by
        the Trustee in the name, and at the expense, of the Issuer and the Issuer or any Guarantor shall ir-
        revocably deposited or caused to be deposited with the Trustee as trust funds in trust solely for
        the benefit of the Holders of the Notes, cash in U.S. dollars, Government Securities, or a combi-
        nation thereof, in such amounts as shall be sufficient without consideration of any reinvestment of
        interest to pay and discharge the entire indebtedness on the Notes not theretofore delivered to the
        Trustee for cancellation for principal amount, premium, if any, and (without duplication) accrued
        interest to the date of maturity or redemption, as the case may be;

                 (B)     no Default (other than that resulting from borrowing funds to be applied to make
        such deposit and any similar and simultaneous deposit relating to other Indebtedness and, in each
        case, the granting of Liens in connection therewith) with respect to this Indenture or the Notes
        shall have occurred and be continuing on the date of such deposit or shall occur as a result of such
        deposit and such deposit shall not result in a breach or violation of, or constitute a default under
        any First Lien Obligations or any other material agreement or instrument (other than this Inden-
        ture) to which the Issuer or any Guarantor is a party or by which the Issuer or any Guarantor is
        bound (other than that resulting from borrowing funds to be applied to make such deposit and any
        similar and simultaneous deposit relating to other Indebtedness and, in each case, the granting of
        Liens in connection therewith);

                (C)      the Issuer has paid or caused to be paid all sums payable by it under this Inden-
        ture; and

                                                   -117-

                                                                                                 100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 291 of 771


                (D)    the Issuer has delivered irrevocable instructions to the Trustee to apply the depo-
        sited money toward the payment of the Notes or the Redemption Date, as the case may be.

                 In addition, the Issuer must deliver an Officers’ Certificate and an Opinion of Counsel to
the Trustee stating that all conditions precedent to satisfaction and discharge have been satisfied.

                Notwithstanding the satisfaction and discharge of this Indenture, if money shall have
been deposited with the Trustee pursuant to subclause (A) of clause (2) of this Section 12.01, the provi-
sions of Section 12.02 and Section 8.06 hereof shall survive.

Section 12.02    Application of Trust Money.

                 Subject to the provisions of Section 8.06 hereof, all money deposited with the Trustee
pursuant to Section 12.01 hereof shall be held in trust and applied by it, in accordance with the provisions
of the Notes and this Indenture, to the payment, either directly or through any Paying Agent (including
the Issuer acting as its own Paying Agent) as the Trustee may determine, to the Persons entitled thereto,
of the principal (and premium and Additional Interest, if any) or interest for whose payment such money
has been deposited with the Trustee; but such money need not be segregated from other funds except to
the extent required by law.

                  If the Trustee or Paying Agent is unable to apply any money or Government Securities in
accordance with Section 12.01 hereof by reason of any legal proceeding or by reason of any order or
judgment of any court or governmental authority enjoining, restraining or otherwise prohibiting such ap-
plication, the Issuer’s and any Guarantor’s obligations under this Indenture and the Notes shall be revived
and reinstated as though no deposit had occurred pursuant to Section 12.01 hereof; provided that if the
Issuer has made any payment of principal of, premium and Additional Interest, if any, or interest on any
Notes because of the reinstatement of its obligations, the Issuer shall be subrogated to the rights of the
Holders of such Notes to receive such payment from the money or Government Securities held by the
Trustee or Paying Agent.

                                                 ARTICLE 13

                                            MISCELLANEOUS

Section 13.01    Trust Indenture Act Controls.

                Except as expressly provided for herein prior to the qualification of this Indenture under
the Trust Indenture Act, if any provision of this Indenture limits, qualifies or conflicts with the duties im-
posed by Trust Indenture Act Section 318(c), the imposed duties shall control.

Section 13.02    Notices.

                 Any notice or communication by the Issuer, any Guarantor or the Trustee to the others is
duly given if in writing and delivered in person or mailed by first-class mail (registered or certified, return
receipt requested), fax or overnight air courier guaranteeing next day delivery, to the others’ address:




                                                    -118-

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 292 of 771


                If to the Issuer and/or any Guarantor:

                c/o American Media, Inc.
                1000 American Media Way
                Boca Raton, FL 33464-1000
                Fax No.: (561) 989-1224
                Attention: General Counsel

                If to the Trustee or Collateral Agent:

                Wilmington Trust FSB, as Trustee and Collateral Agent:
                50 South Sixth Street, Suite 1290
                Drop code 7100
                Minneapolis, MN 55402-1544
                Fax No.: (612) 217-5651
                Attention: Corporate Client Services

                  The Issuer, any Guarantor or the Trustee, by notice to the others, may designate addition-
al or different addresses for subsequent notices or communications.

                All notices and communications (other than those sent to Holders) shall be deemed to
have been duly given: at the time delivered by hand, if personally delivered; five calendar days after be-
ing deposited in the mail, postage prepaid, if mailed by first-class mail; when receipt acknowledged, if
faxed; and the next Business Day after timely delivery to the courier, if sent by overnight air courier gua-
ranteeing next day delivery; provided that any notice or communication delivered to the Trustee shall be
deemed effective upon actual receipt thereof.

                 Any notice or communication to a Holder shall be mailed by first-class mail, certified or
registered, return receipt requested, or by overnight air courier guaranteeing next day delivery to its ad-
dress shown on the register kept by the Registrar. Any notice or communication shall also be so mailed
to any Person described in Trust Indenture Act Section 313(c), to the extent required by the Trust Inden-
ture Act. Failure to mail a notice or communication to a Holder or any defect in it shall not affect its suf-
ficiency with respect to other Holders.

                  If a notice or communication is mailed in the manner provided above within the time
prescribed, it is duly given, whether or not the addressee receives it.

                If the Issuer mails a notice or communication to Holders, it shall mail a copy to the Trus-
tee and each Paying Agent at the same time.

Section 13.03   Communication by Holders of Notes with Other Holders of Notes.

                Holders may communicate pursuant to Trust Indenture Act Section 312(b) with other
Holders with respect to their rights under this Indenture or the Notes. The Issuer, the Trustee, the Regi-
strar and anyone else shall have the protection of Trust Indenture Act Section 312(c).

Section 13.04   Certificate and Opinion as to Conditions Precedent.

                 Upon any request or application by the Issuer or any of the Guarantors to the Trustee to
take any action under this Indenture or the Notes, the Issuer or such Guarantor, as the case may be, shall
furnish to the Trustee:
                                                    -119-

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 293 of 771


                  (a)      An Officers’ Certificate in form and substance reasonably satisfactory to the
Trustee (which shall include the statements set forth in Section 13.05 hereof) stating that, in the opinion
of the signers, all conditions precedent and covenants, if any, provided for in this Indenture or the Notes,
relating to the proposed action have been satisfied; and

                (b)      An Opinion of Counsel in form and substance reasonably satisfactory to the
Trustee (which shall include the statements set forth in Section 13.05 hereof) stating that, in the opinion
of such counsel, all such conditions precedent and covenants have been satisfied.

Section 13.05   Statements Required in Certificate or Opinion.

                  Each certificate or opinion with respect to compliance with a condition or covenant pro-
vided for in this Indenture or the Notes (other than a certificate provided pursuant to Section 4.04 hereof
or Trust Indenture Act Section 314(a)(4)) shall comply with the provisions of Trust Indenture Act Section
314(e) and shall include:

                (a)      a statement that the Person making such certificate or opinion has read such co-
venant or condition;

               (b)     a brief statement as to the nature and scope of the examination or investigation
upon which the statements or opinions contained in such certificate or opinion are based;

                 (c)      a statement that, in the opinion of such Person, he or she has made such examina-
tion or investigation as is necessary to enable him to express an informed opinion as to whether or not
such covenant or condition has been complied with (and, in the case of an Opinion of Counsel, may be
limited to reliance on an Officers’ Certificate as to matters of fact); and

               (d)    a statement as to whether or not, in the opinion of such Person, such condition or
covenant has been complied with.

Section 13.06   Rules by Trustee and Agents.

                The Trustee may make reasonable rules for action by or at a meeting of Holders. The
Registrar or Paying Agent may make reasonable rules and set reasonable requirements for its functions.

Section 13.07   No Personal Liability of Directors, Officers, Employees and
                Stockholders.

                  No director, officer, employee, incorporator or stockholder, member or limited partner of
the Issuer or any Guarantor or any of their parent companies shall have any liability for any obligations of
the Issuer or the Guarantors under the Notes, the Guarantees, the Security Documents, the Intercreditor
Agreement or this Indenture or for any claim based on, in respect of, or by reason of such obligations or
their creation. Each Holder by accepting Notes waives and releases all such liability. The waiver and re-
lease are part of the consideration for issuance of the Notes.

Section 13.08   Governing Law.

           THIS INDENTURE, THE NOTES AND ANY GUARANTEE SHALL BE GO-
VERNED BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF NEW
YORK.

                                                    -120-

                                                                                                 100432088 v3
10-16140-mg        Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                            Pg 294 of 771


Section 13.09    Waiver of Jury Trial.

           EACH OF THE ISSUER, THE GUARANTORS AND THE TRUSTEE HEREBY IR-
REVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY
AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL PROCEEDING ARISING OUT OF OR
RELATING TO THIS INDENTURE, THE NOTES OR THE TRANSACTIONS CONTEMPLATED
HEREBY.

Section 13.10    Force Majeure.

                 In no event shall the Trustee be responsible or liable for any failure or delay in the per-
formance of its obligations under this Indenture arising out of or caused by, directly or indirectly, forces
beyond its reasonable control, including without limitation strikes, work stoppages, accidents, acts of war
or terrorism, civil or military disturbances, nuclear or natural catastrophes or acts of God, and interrup-
tions, loss or malfunctions of utilities, communications or computer (software or hardware) services.

Section 13.11    No Adverse Interpretation of Other Agreements.

                  This Indenture may not be used to interpret any other indenture, loan or debt agreement
of the Issuer or its Restricted Subsidiaries or of any other Person. Any such indenture, loan or debt
agreement may not be used to interpret this Indenture.

Section 13.12    Successors.

                 All agreements of the Issuer in this Indenture and the Notes shall bind its successors. All
agreements of the Trustee in this Indenture shall bind its successors. All agreements of each Guarantor in
this Indenture shall bind its successors, except as otherwise provided in Section 11.06 hereof.

Section 13.13    Severability.

                 In case any provision in this Indenture or in the Notes shall be invalid, illegal or unenfor-
ceable, the validity, legality and enforceability of the remaining provisions shall not in any way be af-
fected or impaired thereby.

Section 13.14    Counterpart Originals.

                 The parties may sign any number of copies of this Indenture. Each signed copy shall be
an original, but all of them together represent the same agreement.

Section 13.15    Table of Contents, Headings, etc.

                 The Table of Contents, Cross-Reference Table and headings of the Articles and Sections
of this Indenture have been inserted for convenience of reference only, are not to be considered a part of
this Indenture and shall in no way modify or restrict any of the terms or provisions hereof.

Section 13.16    Qualification of Indenture.

                The Issuer and the Guarantors shall qualify this Indenture under the Trust Indenture Act
in accordance with the terms and conditions of the Registration Rights Agreement and shall pay all rea-
sonable costs and expenses (including attorneys’ fees and expenses for the Issuer, the Guarantors and the
Trustee) incurred in connection therewith, including, but not limited to, costs and expenses of qualifica-
                                                     -121-

                                                                                                  100432088 v3
10-16140-mg       Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47               Main Document
                                          Pg 295 of 771


tion of this Indenture and the Notes and printing this Indenture and the Notes. The Trustee shall be en-
titled to receive from the Issuer and the Guarantors any such Officers’ Certificates, Opinions of Counsel
or other documentation as it may reasonably request in connection with any such qualification of this In-
denture under the Trust Indenture Act.

Section 13.17   Direction by Holders to Enter into Security Documents and the
                Intercreditor Agreement .

                By accepting a Note, each Holder is deemed to have authorized and directed the Trustee
and the Collateral Agent, as applicable, to enter into the Security Documents and the Intercreditor
Agreement.

                                     [Signatures on following page]




                                                  -122-

                                                                                              100432088 v3
10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                         Pg 296 of 771


                                           AMERICAN MEDIA, INC.


                                           By:
                                                   Name:
                                                   Title:




                                           AMERICAN MEDIA CONSUMER
                                           ENTERTAINMENT, INC.
                                           AMERICAN MEDIA CONSUMER MAGAZINE
                                           GROUP, INC.
                                           AMERICAN MEDIA DISTRIBUTION &
                                           MARKETING GROUP, INC.
                                           AMERICAN MEDIA MINI MAGS, INC.
                                           AMERICAN MEDIA NEWSPAPER GROUP, INC.
                                           AMERICAN MEDIA PROPERTY GROUP, INC.
                                                                       1
                                           AMI DIGITAL COMMERCE, INC.
                                           COUNTRY MUSIC MEDIA GROUP, INC.
                                           DISTRIBUTION SERVICES, INC.
                                           GLOBE COMMUNICATIONS CORP.
                                           GLOBE EDITORIAL, INC.
                                           MIRA! EDITORIAL, INC.
                                           NATIONAL ENQUIRER, INC.
                                           NATIONAL EXAMINER, INC.
                                           STAR EDITORIAL, INC.
                                           WEIDER PUBLICATIONS, LLC



                                           By:
                                                   Name:
                                                   Title:




1
    Newly formed subsidiary.



                                             S-1

                                                                              100432088 v3
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47        Main Document
                                  Pg 297 of 771


                                    WILMINGTON TRUST FSB,
                                      as Trustee and Collateral Agent


                                    By:
                                            Name:
                                            Title:




                                      S-2

                                                                            100432088 v3
10-16140-mg       Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                          Pg 298 of 771


                                                                                               EXHIBIT A


                                              [Face of Note]


                [Insert the Global Note Legend, if applicable pursuant to the provisions of the Indenture]

                [Insert the Private Placement Legend, if applicable pursuant to the provisions of the In-
denture]

                 [Insert the Regulation S Temporary Global Note Legend, if applicable pursuant to the
provisions of the Indenture]




                                                   A-1

                                                                                               100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                          Pg 299 of 771


                                                                                  CUSIP [               ]1
                                                                                    ISIN [               ]



                       [RULE 144A][REGULATION S] [IAI][GLOBAL] NOTE


                           13½% Second Lien Senior Secured Notes due 2018


No. ___                                                                               [$______________]


                                       AMERICAN MEDIA, INC.


promises to pay to [Cede & Co.] or registered assigns, the principal sum [set forth on the Schedule of Ex-
changes of Interests in the Global Note or Increase/Decrease in the Principal Amount of the Global Note
attached hereto] [of ________________________ United States Dollars] on June 15, 2018.


Interest Payment Dates: June 15 and December 15

Record Dates: June 1 and December 1




1
          Rule 144A Note CUSIP: 02744L AC4
          Rule 144A Note ISIN: US02744LAC46
          Regulation S Note CUSIP: U02703 AA1
          Regulation S Note ISIN: USU02703AA15
          IAI Note CUSIP: 02744L AD2
          IAI Note ISIN: US02744LAD29



                                                   A-2

                                                                                               100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 300 of 771


                IN WITNESS HEREOF, the Issuer has caused this instrument to be duly executed.


                                                 AMERICAN MEDIA, INC.


                                                 By:
                                                         Name:
                                                         Title:


This is one of the Notes referred to in the within-mentioned Indenture:

                Dated: [____________]

                                                 WILMINGTON TRUST FSB,
                                                   as Trustee


                                                 By:
                                                                  Authorized Signatory




                                                   A-3

                                                                                             100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 301 of 771


                                              [Back of Note]

                           13½% Second Lien Senior Secured Notes due 2018

                Capitalized terms used herein shall have the meanings assigned to them in the Indenture
referred to below unless otherwise indicated. References to “interest” shall also be deemed to be refer-
ences to “Additional Interest,” unless the context otherwise requires.

                 1.       INTEREST. The references in this Note to the “Issuer” refers only to American
Media, Inc., a Delaware corporation. The Issuer promises to pay interest on the principal amount of this
Note at the rate per annum shown above. The Issuer will pay interest semiannually on June 15 and De-
cember 15 of each year, commencing on June 15, 2011, or if any such day is not a Business Day, on the
next succeeding Business Day. Interest on the Notes shall accrue from the most recent date to which in-
terest has been paid or, if no interest has been paid, from the issue date of the Notes. Interest will be
computed on the basis of a 360-day year comprised of twelve 30-day months.

                   2.       METHOD OF PAYMENT. The Issuer shall pay interest on the Notes and Addi-
tional Interest, if any, to the Persons who are registered Holders of Notes at the close of business on the
June 1 and December 1 (whether or not a Business Day), as the case may be, next preceding the Interest
Payment Date, even if such Notes are canceled after such record date and on or before such Interest Pay-
ment Date, except as provided in Section 2.12 of the Indenture with respect to defaulted interest. Pay-
ment of interest and Additional Interest, if any, may be made by check mailed to the Holders at their ad-
dresses set forth in the Register of the Holders, provided that [all payments of principal, premium, if any,
and interest on this Notes will be made by wire transfer of immediately available funds to the accounts
specified by the Holder or Holders thereof]2 [all payments of principal, premium, if any, and interest on,
this Note will be made by wire transfer to a U.S. dollar account maintained by the payee with a bank in
the United States if such Holder elects payment by wire transfer by giving written notice to the Trustee or
the Paying Agent to such effect designating such account no later than 30 days immediately preceding the
relevant due date for payment (or such other date as the Trustee may accept in its discretion)]3. Such
payment shall be in such coin or currency of the United States of America as at the time of payment is
legal tender for payment of public and private debts.

                3.      PAYING AGENT AND REGISTRAR. Initially, Wilmington Trust FSB, the
Trustee under the Indenture, shall act as Paying Agent and Registrar. The Issuer may change any Paying
Agent or Registrar without notice to the Holders. The Issuer or any of its Subsidiaries may act in any
such capacity.

                4.      INDENTURE. The Issuer issued the Notes under an Indenture, dated as of De-
cember [ ], 2010 (as amended, modified or supplemented from time to time, the “Indenture”), among
American Media, Inc., the Guarantors named therein, the Trustee and the Collateral Agent. This Note is
one of a duly authorized issue of notes of the Issuer designated as its 13½% Second Lien Senior Secured
Notes due 2018. The Issuer shall be entitled to issue Additional Notes pursuant to Section 2.01 and 4.09

2
        Applicable if this Note is represented by a Global Note registered in the name of or held by DTC
        or its nominee on the relevant record date.
3
        Applicable if this Note is represented by a Definitive Note.



                                                    A-4

                                                                                                100432088 v3
10-16140-mg          Doc 116    Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 302 of 771


of the Indenture. The terms of the Notes include those stated in the Indenture and those made part of the
Indenture by reference to the Trust Indenture Act of 1939, as amended (the “Trust Indenture Act”). The
Notes are subject to all such terms, and Holders are referred to the Indenture and such Act for a statement
of such terms. To the extent any provision of this Note conflicts with the express provisions of the Inden-
ture, the provisions of the Indenture shall govern and be controlling.

                5.       OPTIONAL REDEMPTION.

                   (a)     At any time and from time to time prior to December 15, 2013, the Issuer may
redeem up to 35% of the original principal amount of the Notes (calculated after giving effect to any is-
suance of Additional Notes) with the net cash proceeds of one or more Equity Offerings at a redemption
price of 113.500% of the principal amount thereof plus accrued and unpaid interest and Additional Inter-
est, if any, to the applicable redemption date (subject to the right of Holders of record on the relevant
record date to receive interest due on the relevant interest payment date); provided that

                 (1)     at least 65% of the original principal amount of the Notes remains outstanding af-
        ter each such redemption; and

                (2)      the redemption occurs within 90 days after the closing of such Equity Offering.

                 (b)       At any time prior to December 15, 2013 the Issuer may redeem all or a part of
the Notes, upon not less than 30 nor more than 60 days’ prior notice mailed by first-class mail to the reg-
istered address of each Holder of Notes, at a redemption price equal to 100% of the principal amount of
the Notes redeemed plus the Applicable Premium as of, and accrued and unpaid interest and Additional
Interest thereon, if any, to the Redemption Date, subject to the rights of Holders of Notes on the relevant
record date to receive interest due on the relevant interest payment date.

                   (c)     On or after December 15, 2013, the Issuer may redeem the Notes, in whole or in
part, upon notice as described in Section 3.03 of the Indenture, at the redemption prices (expressed as
percentages of the principal amount of the Notes to be redeemed) set forth below plus accrued and unpaid
interest, if any, to the Redemption Date, subject to the right of Holders of Notes of record on the relevant
Record Date to receive interest due on the relevant Interest Payment Date, if redeemed during the twelve-
month period beginning on December 15 of each of the years indicated below:

             Year                                                                       Percentage
             2013                                                                        110.125%
             2014                                                                        106.750%
             2015                                                                        103.375%
             2016 and thereafter                                                         100.000%

                Any redemption pursuant to this paragraph 5 shall be made pursuant to the provisions of
Sections 3.01 through 3.06 of the Indenture.

                 6.      MANDATORY REDEMPTION. The Issuer shall not be required to make man-
datory redemption or sinking fund payments with respect to the Notes. However, the Issuer may be re-
quired to offer to purchase the Notes pursuant to Sections 4.10 and 4.14 of the Indenture. The Issuer may
at any time and from time to time purchase Notes in the open market or otherwise.

               7.       NOTICE OF REDEMPTION. Subject to Section 3.03 of the Indenture, notice of
redemption shall be mailed by first-class mail at least 30 days but not more than 60 days before the Re-
demption Date (except that redemption notices may be mailed more than 60 days prior to a Redemption
                                                    A-5

                                                                                                100432088 v3
10-16140-mg           Doc 116    Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 303 of 771


Date if the notice is issued in connection with Article 8 or Article 13 of the Indenture) to each Holder
whose Notes are to be redeemed at its registered address. Notes shall be redeemed in minimum denomi-
nations of $2,000 and integral multiples of $1,000 in excess thereof; no Notes of $2,000 or less may be
redeemed in part unless all of the Notes held by a Holder are to be redeemed. On and after the Redemp-
tion Date interest ceases to accrue on Notes or portions thereof called for redemption.

                 8.      OFFERS TO REPURCHASE.

                (a)      Upon the occurrence of a Change of Control, the Issuer shall make an offer (a
“Change of Control Offer”) to each Holder to repurchase all or any part of each Holder’s Notes at a pur-
chase price equal to 101% of the aggregate principal amount thereof plus accrued and unpaid interest and
Additional Interest thereon, if any, to the date of purchase (the “Change of Control Payment”). The
Change of Control Offer shall be made in accordance with Section 4.14 of the Indenture.

                  (b)     Upon the occurrence of Asset Sales, the Issuer may be obligated pursuant to Sec-
tion 4.10 of the Indenture to make offers to purchase Notes and redeem other Permitted Second Lien Ob-
ligations of the Issuer with a portion of the Net Proceeds of such Asset Sales at a redemption price of
100% of the principal amount, plus accrued and unpaid interest and Additional Interest, if any, to the date
of purchase.

                 9.      DENOMINATIONS, TRANSFER, EXCHANGE. The Notes are issued initially
in registered form without coupons in minimum denominations of $2,000 and integral multiples of $1,000
in excess thereof. The transfer of Notes may be registered and Notes may be exchanged as provided in
the Indenture. The Registrar and the Trustee may require a Holder, among other things, to furnish appro-
priate endorsements and transfer documents and the Issuer may require a Holder to pay any taxes and fees
required by law or permitted by the Indenture. The Issuer need not exchange or register the transfer of
any Note or portion of a Note selected for redemption, except for the unredeemed portion of any Note
being redeemed in part. Also, the Issuer need not exchange or register the transfer of any Notes for a pe-
riod of 15 days before a selection of Notes to be redeemed.

                 10.      PERSONS DEEMED OWNERS. The registered Holder of a Note may be
treated as its owner for all purposes.

                 11.     AMENDMENT, SUPPLEMENT AND WAIVER. The Indenture, the Security
Documents, the Intercreditor Agreement, the Guarantees or the Notes may be amended or supplemented
as provided in the Indenture.

                   12.      DEFAULTS AND REMEDIES. The Events of Default relating to the Notes are
defined in Section 6.01 of the Indenture. If any Event of Default occurs and is continuing, the Trustee or
the Holders of at least 25% in principal amount of the then outstanding Notes may declare the principal,
premium, if any, interest and any other monetary obligations on all the then outstanding Notes to be due
and payable immediately. Notwithstanding the foregoing, in the case of an Event of Default arising from
certain events of bankruptcy or insolvency, all outstanding Notes shall become due and payable imme-
diately without further action or notice. Holders may not enforce the Indenture, the Notes or the Guaran-
tees except as provided in the Indenture. Subject to certain limitations, Holders of a majority in aggregate
principal amount of the then outstanding Notes may direct the Trustee in its exercise of any trust or pow-
er. The Trustee may withhold from Holders of the Notes notice of any continuing Default (except a De-
fault relating to the payment of principal, premium, if any, Additional Interest, if any, or, without duplica-
tion, interest) if it determines that withholding notice is in their interest. The Holders of a majority in ag-
gregate principal amount of the Notes then outstanding by notice to the Trustee may on behalf of the
Holders of all of the Notes waive any existing Default or and its consequences under the Indenture except
                                                      A-6

                                                                                                   100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 304 of 771


a continuing Default in payment of the principal of, premium, if any, Additional Interest, if any, or inter-
est on, any of the Notes held by a non-consenting Holder. The Issuer is required to deliver to the Trustee
annually a statement regarding compliance with the Indenture, and the Issuer is required within five (5)
Business Days after becoming aware of any Default, to deliver to the Trustee a statement specifying such
Default and what action the Issuer is taking or proposes to take with respect thereto.

                13.      AUTHENTICATION. This Note shall not be entitled to any benefit under the
Indenture or be valid or obligatory for any purpose until authenticated by the manual signature of the
Trustee.

                  14.      ADDITIONAL RIGHTS OF HOLDERS OF RESTRICTED GLOBAL NOTES
AND RESTRICTED DEFINITIVE NOTES. In addition to the rights provided to Holders of Notes under
the Indenture, Holders of Restricted Global Notes and Restricted Definitive Notes shall have all the rights
set forth in the Registration Rights Agreement, dated as of December [ ], 2010, among the Issuer, the Gu-
arantors, the Backstop Parties and the other Holders named on the signature pages thereof (the “Registra-
tion Rights Agreement”), including the right to receive Additional Interest (as defined in the Registration
Rights Agreement).

           15.   GOVERNING LAW. THE INDENTURE, THIS NOTE AND ANY GUAR-
ANTEE SHALL BE GOVERNED BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF
THE STATE OF NEW YORK.

                 16.     CUSIP NUMBERS. Pursuant to a recommendation promulgated by the Com-
mittee on Uniform Security Identification Procedures, the Issuer has caused CUSIP numbers to be printed
on the Notes and the Trustee may use CUSIP numbers in notices of redemption as a convenience to
Holders. No representation is made as to the accuracy of such numbers either as printed on the Notes or
as contained in any notice of redemption and reliance may be placed only on the other identification
numbers placed thereon.

                The Issuer shall furnish to any Holder upon written request and without charge a copy of
the Indenture and/or the Registration Rights Agreement. Requests may be made to the Issuer at the fol-
lowing address:

                American Media, Inc.
                1000 American Media Way
                Boca Raton, FL 33464-1000
                Fax No.: (561) 989-1224
                Attention: General Counsel




                                                    A-7

                                                                                                 100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 305 of 771


                                          ASSIGNMENT FORM

                To assign this Note, fill in the form below:

(I) or (we) assign and transfer this Note to:
                 (Insert assignee’s legal name)


                                (Insert assignee’s Soc. Sec. or tax I.D. no.)




                            (Print or type assignee’s name, address and zip code)
and irrevocably appoint
to transfer this Note on the books of the Issuer. The agent may substitute another to act for him.

Date: _____________________

                                                  Your Signature:
                                                                    (Sign exactly as your name appears on
                                                                    the face of this Note)


Signature Guarantee*: __________________________________

* Participant in a recognized Signature Guarantee Medallion Program (or other
signature guarantor acceptable to the Trustee).




                                                    A-8

                                                                                                100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                          Pg 306 of 771


                            OPTION OF HOLDER TO ELECT PURCHASE

                If you want to elect to have this Note purchased by the Issuer pursuant to Section 4.10 or
4.14 of the Indenture, check the appropriate box below:

                                 [ ] Section 4.10          [ ] Section 4.14

                If you want to elect to have only part of this Note purchased by the Issuer pursuant to
Section 4.10 or Section 4.14 of the Indenture, state the amount you elect to have purchased:

                                           $_______________

Date: _____________________

                                                 Your Signature:
                                                                    (Sign exactly as your name appears on
                                                                    the face of this Note)

                                                    Tax Identification No.:

Signature Guarantee*: __________________________________

* Participant in a recognized Signature Guarantee Medallion Program (or other
signature guarantor acceptable to the Trustee).




                                                     A-9

                                                                                               100432088 v3
10-16140-mg         Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                          Pg 307 of 771


            SCHEDULE OF EXCHANGES OF INTERESTS IN THE GLOBAL NOTE OR
         INCREASE/DECREASE IN THE PRINCIPAL AMOUNT OF THE GLOBAL NOTE*

                The initial outstanding principal amount of this Global Note is $__________. The fol-
lowing exchanges of a part of this Global Note for an interest in another Global Note or for a Definitive
Note, or exchanges of a part of another Global or Definitive Note for an interest in this Global Note or
increase/decrease in the principal amount of this Global Note, have been made:

                                                                   Principal Amount
                                                                           of
                       Amount of          Amount of increase       this Global Note         Signature of
Date of Exchange         decrease           in Principal            following such       authorized officer
        or             in Principal        Amount of this             decrease or          of Trustee or
Increase/Decrease        Amount             Global Note                 increase             Custodian




__________________
*This schedule should be included only if the Note is issued in global form.




                                                   A-10

                                                                                               100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 308 of 771


                                                                                                 EXHIBIT B


                               FORM OF CERTIFICATE OF TRANSFER



American Media, Inc.
1000 American Media Way
Boca Raton, FL 33464-1000
Fax No.: (561) 989-1224
Attention: General Counsel

Wilmington Trust FSB, as Trustee and Registrar
50 South Sixth Street, Suite 1290
Drop code 7100
Minneapolis, MN 55402-1544
Fax No.: (612) 217-5651
Attention: Corporate Client Services

                Re: 13½% Second Lien Senior Secured Notes due 2018

                Reference is hereby made to the Indenture, dated as of December [ ], 2010 (the “Inden-
ture”), among American Media, Inc., the Guarantors named therein, the Collateral Agent and the Trustee.
Capitalized terms used but not defined herein shall have the meanings given to them in the Indenture.

                  _______________ (the “Transferor”) owns and proposes to transfer the Note[s] or inter-
est in such Note[s] specified in Annex A hereto, in the principal amount of $___________ in such Note[s]
or interests (the “Transfer”), to _______________ (the “Transferee”), as further specified in Annex A
hereto. In connection with the Transfer, the Transferor hereby certifies that:

                                      [CHECK ALL THAT APPLY]

                  1.       [ ] CHECK IF TRANSFEREE WILL TAKE DELIVERY OF A BENEFICIAL
INTEREST IN THE 144A GLOBAL NOTE OR A DEFINITIVE NOTE PURSUANT TO RULE 144A.
The Transfer is being effected pursuant to and in accordance with Rule 144A under the United States Se-
curities Act of 1933, as amended (the “Securities Act”), and, accordingly, the Transferor hereby further
certifies that the beneficial interest or Definitive Note is being transferred to a Person that the Transferor
reasonably believes is purchasing the beneficial interest or Definitive Note for its own account, or for one
or more accounts with respect to which such Person exercises sole investment discretion, and such Person
and each such account is a “qualified institutional buyer” within the meaning of Rule 144A in a transac-
tion meeting the requirements of Rule 144A and such Transfer is in compliance with any applicable blue
sky securities laws of any state of the United States.

                2.       [ ] CHECK IF TRANSFEREE WILL TAKE DELIVERY OF A BENEFICIAL
INTEREST IN THE REGULATION S GLOBAL NOTE OR A DEFINITIVE NOTE PURSUANT TO
REGULATION S. The Transfer is being effected pursuant to and in accordance with Rule 903 or Rule
904 under the Securities Act and, accordingly, the Transferor hereby further certifies that (i) the Transfer
is not being made to a person in the United States and (x) at the time the buy order was originated, the
Transferee was outside the United States or such Transferor and any Person acting on its behalf reasona-
bly believed and believes that the Transferee was outside the United States or (y) the transaction was ex-
                                                    B-1

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 309 of 771


ecuted in, on or through the facilities of a designated offshore securities market and neither such Transfe-
ror nor any Person acting on its behalf knows that the transaction was prearranged with a buyer in the
United States, (ii) no directed selling efforts have been made in contravention of the requirements of Rule
903(b) or Rule 904(b) of Regulation S under the Securities Act (iii) the transaction is not part of a plan or
scheme to evade the registration requirements of the Securities Act and (iv) if the proposed transfer is
being made prior to the expiration of the Restricted Period, the transfer is not being made to a U.S. Person
or for the account or benefit of a U.S. Person. Upon consummation of the proposed transfer in accor-
dance with the terms of the Indenture, the transferred beneficial interest or Definitive Note shall be sub-
ject to the restrictions on Transfer enumerated in the Indenture and the Securities Act.

                3.        [ ] CHECK AND COMPLETE IF TRANSFEREE WILL TAKE DELIVERY
OF A BENEFICIAL INTEREST IN A RESTRICTED GLOBAL NOTE OR A RESTRICTED DEFINI-
TIVE NOTE PURSUANT TO ANY PROVISION OF THE SECURITIES ACT OTHER THAN RULE
144A OR REGULATION S. The Transfer is being effected in compliance with the transfer restrictions
applicable to beneficial interests in Restricted Global Notes and Restricted Definitive Notes and pursuant
to and in accordance with the Securities Act and any applicable blue sky securities laws of any state of
the United States, and accordingly the Transferor hereby further certifies that (check one):

                (a)     [ ] such Transfer is being effected pursuant to and in accordance with Rule 144
        under the Securities Act;

                                                     or

                (b)      [ ] such Transfer is being effected to the Issuer or a subsidiary thereof;

                                                     or

                 (c)    [ ] such Transfer is being effected pursuant to an effective registration statement
        under the Securities Act and in compliance with the prospectus delivery requirements of the Se-
        curities Act;

                                                     or

                 (d)     [ ] such Transfer is being effect to an institutional “accredited investor” (as de-
        fined in Rule 501(a)(1),(2),(3) or (7) under the Securities Act of 1933) that has furnished to the
        Trustee a signed letter containing certain representations and agreements, in the form which is at-
        tached to the Indenture.

            4.    [ ] CHECK IF TRANSFEREE WILL TAKE DELIVERY OF A BENEFICIAL
INTEREST IN AN UNRESTRICTED GLOBAL NOTE OR OF AN UNRESTRICTED DEFINITIVE
NOTE.

                  (a)      [ ] CHECK IF TRANSFER IS PURSUANT TO RULE 144. (i) The Transfer is
being effected pursuant to and in accordance with Rule 144 under the Securities Act and in compliance
with the transfer restrictions contained in the Indenture and any applicable blue sky securities laws of any
state of the United States and (ii) the restrictions on transfer contained in the Indenture and the Private
Placement Legend are not required in order to maintain compliance with the Securities Act. Upon con-
summation of the proposed Transfer in accordance with the terms of the Indenture, the transferred benefi-
cial interest or Definitive Note shall no longer be subject to the restrictions on transfer enumerated in the
Private Placement Legend printed on the Restricted Global Notes, on Restricted Definitive Notes and in
the Indenture.
                                                       B-2

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 310 of 771


                  (b)     [ ] CHECK IF TRANSFER IS PURSUANT TO REGULATION S. (i) The
Transfer is being effected pursuant to and in accordance with Rule 903 or Rule 904 under the Securities
Act and in compliance with the transfer restrictions contained in the Indenture and any applicable blue
sky securities laws of any state of the United States and (ii) the restrictions on transfer contained in the
Indenture and the Private Placement Legend are not required in order to maintain compliance with the
Securities Act. Upon consummation of the proposed Transfer in accordance with the terms of the Inden-
ture, the transferred beneficial interest or Definitive Note shall no longer be subject to the restrictions on
transfer enumerated in the Private Placement Legend printed on the Restricted Global Notes, on Re-
stricted Definitive Notes and in the Indenture.

                  (c)     [ ] CHECK IF TRANSFER IS PURSUANT TO OTHER EXEMPTION. (i) The
Transfer is being effected pursuant to and in compliance with an exemption from the registration re-
quirements of the Securities Act other than Rule 144, Rule 903 or Rule 904 and in compliance with the
transfer restrictions contained in the Indenture and any applicable blue sky securities laws of any State of
the United States and (ii) the restrictions on transfer contained in the Indenture and the Private Placement
Legend are not required in order to maintain compliance with the Securities Act. Upon consummation of
the proposed Transfer in accordance with the terms of the Indenture, the transferred beneficial interest or
Definitive Note shall not be subject to the restrictions on transfer enumerated in the Private Placement
Legend printed on the Restricted Global Notes or Restricted Definitive Notes and in the Indenture.




                                                     B-3

                                                                                                   100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 311 of 771


                  This certificate and the statements contained herein are made for your benefit and the
benefit of the Issuer.

                                                  [Insert Name of Transferor]


                                                  By:
                                                          Name:
                                                          Title:


Dated: _______________________




                                                    B-4

                                                                                                100432088 v3
10-16140-mg        Doc 116    Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                        Pg 312 of 771


                                                          ANNEX A TO CERTIFICATE OF TRANSFER


              1.      The Transferor owns and proposes to transfer the following:

                                    [CHECK ONE OF (a) OR (b)]

              (a)     [ ] a beneficial interest in the:

                      (i)     [ ] 144A Global Note (CUSIP [ ]), or

                      (ii)    [ ] Regulation S Global Note (CUSIP [ ]), or

                      (iii)   [ ] IAI Global Note (CUSIP [ ])), or

              (b)     [ ] a Restricted Definitive Note.

              2.      After the Transfer the Transferee shall hold:

                                            [CHECK ONE]

              (a)     [ ] a beneficial interest in the:

                      (i)     [ ] 144A Global Note (CUSIP [ ]), or

                      (ii)    [ ] Regulation S Global Note (CUSIP [ ]), or

                      (iii)   [ ] IAI Global Note (CUSIP [ ]), or

                      (iv)    [ ] Unrestricted Global Note; or

              (b)     [ ] a Restricted Definitive Note; or

              (c)     [ ] an Unrestricted Definitive Note,
                      in accordance with the terms of the Indenture.




                                                   B-5

                                                                                        100432088 v3
10-16140-mg       Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47               Main Document
                                          Pg 313 of 771


                                                                                              EXHIBIT C


                              FORM OF CERTIFICATE OF EXCHANGE



American Media, Inc.
1000 American Media Way
Boca Raton, FL 33464-1000
Fax No.: (561) 989-1224
Attention: General Counsel

Wilmington Trust FSB, as Trustee and Registrar
50 South Sixth Street, Suite 1290
Drop code 7100
Minneapolis, MN 55402-1544
Fax No.: (612) 217-5651
Attention: Corporate Client Services


                Re: 13½% Second Lien Senior Secured Notes due 2018

                Reference is hereby made to the Indenture, dated as of December [ ], 2010 (the “Inden-
ture”), among American Media, Inc., the Guarantors named therein, the Collateral Agent and the Trustee.
Capitalized terms used but not defined herein shall have the meanings given to them in the Indenture.

                ___________ (the “Owner”) owns and proposes to exchange the Note[s] or interest in
such Note[s] specified herein, in the principal amount of $__________ in such Note[s] or interests (the
“Exchange”). In connection with the Exchange, the Owner hereby certifies that:

            1)    EXCHANGE OF RESTRICTED DEFINITIVE NOTES OR BENEFICIAL IN-
TERESTS IN A RESTRICTED GLOBAL NOTE FOR UNRESTRICTED DEFINITIVE NOTES OR
BENEFICIAL INTERESTS IN AN UNRESTRICTED GLOBAL NOTE

                 a)      [ ] CHECK IF EXCHANGE IS FROM BENEFICIAL INTEREST IN A RE-
        STRICTED GLOBAL NOTE TO BENEFICIAL INTEREST IN AN UNRESTRICTED GLOB-
        AL NOTE. In connection with the Exchange of the Owner’s beneficial interest in a Restricted
        Global Note for a beneficial interest in an Unrestricted Global Note in an equal principal amount,
        the Owner hereby certifies (i) the beneficial interest is being acquired for the Owner’s own ac-
        count without transfer, (ii) such Exchange has been effected in compliance with the transfer re-
        strictions applicable to the Global Notes and pursuant to and in accordance with the United States
        Securities Act of 1933, as amended (the “Securities Act”), (iii) the restrictions on transfer con-
        tained in the Indenture and the Private Placement Legend are not required in order to maintain
        compliance with the Securities Act and (iv) the beneficial interest in an Unrestricted Global Note
        is being acquired in compliance with any applicable blue sky securities laws of any state of the
        United States.

              b)   [ ] CHECK IF EXCHANGE IS FROM BENEFICIAL INTEREST IN A RE-
        STRICTED GLOBAL NOTE TO UNRESTRICTED DEFINITIVE NOTE. In connection with
                                      C-1


                                                                                              100432088 v3
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                       Pg 314 of 771


     the Exchange of the Owner’s beneficial interest in a Restricted Global Note for an Unrestricted
     Definitive Note, the Owner hereby certifies (i) the Definitive Note is being acquired for the Own-
     er’s own account without transfer, (ii) such Exchange has been effected in compliance with the
     transfer restrictions applicable to the Restricted Global Notes and pursuant to and in accordance
     with the Securities Act, (iii) the restrictions on transfer contained in the Indenture and the Private
     Placement Legend are not required in order to maintain compliance with the Securities Act and
     (iv) the Definitive Note is being acquired in compliance with any applicable blue sky securities
     laws of any state of the United States.

              c)       [ ] CHECK IF EXCHANGE IS FROM RESTRICTED DEFINITIVE NOTE TO
     BENEFICIAL INTEREST IN AN UNRESTRICTED GLOBAL NOTE. In connection with the
     Owner’s Exchange of a Restricted Definitive Note for a beneficial interest in an Unrestricted
     Global Note, the Owner hereby certifies (i) the beneficial interest is being acquired for the Own-
     er’s own account without transfer, (ii) such Exchange has been effected in compliance with the
     transfer restrictions applicable to Restricted Definitive Notes and pursuant to and in accordance
     with the Securities Act, (iii) the restrictions on transfer contained in the Indenture and the Private
     Placement Legend are not required in order to maintain compliance with the Securities Act and
     (iv) the beneficial interest is being acquired in compliance with any applicable blue sky securities
     laws of any state of the United States.

              d)       [ ] CHECK IF EXCHANGE IS FROM RESTRICTED DEFINITIVE NOTE TO
     UNRESTRICTED DEFINITIVE NOTE. In connection with the Owner’s Exchange of a Re-
     stricted Definitive Note for an Unrestricted Definitive Note, the Owner hereby certifies (i) the
     Unrestricted Definitive Note is being acquired for the Owner’s own account without transfer, (ii)
     such Exchange has been effected in compliance with the transfer restrictions applicable to Re-
     stricted Definitive Notes and pursuant to and in accordance with the Securities Act, (iii) the re-
     strictions on transfer contained in the Indenture and the Private Placement Legend are not re-
     quired in order to maintain compliance with the Securities Act and (iv) the Unrestricted Defini-
     tive Note is being acquired in compliance with any applicable blue sky securities laws of any
     state of the United States.

            2)    EXCHANGE OF RESTRICTED DEFINITIVE NOTES OR BENEFICIAL IN-
TERESTS IN RESTRICTED GLOBAL NOTES FOR RESTRICTED DEFINITIVE NOTES OR BE-
NEFICIAL INTERESTS IN RESTRICTED GLOBAL NOTES

              a)      [ ] CHECK IF EXCHANGE IS FROM BENEFICIAL INTEREST IN A RE-
     STRICTED GLOBAL NOTE TO RESTRICTED DEFINITIVE NOTE. In connection with the
     Exchange of the Owner’s beneficial interest in a Restricted Global Note for a Restricted Defini-
     tive Note with an equal principal amount, the Owner hereby certifies that the Restricted Defini-
     tive Note is being acquired for the Owner’s own account without transfer. Upon consummation
     of the proposed Exchange in accordance with the terms of the Indenture, the Restricted Definitive
     Note issued shall continue to be subject to the restrictions on transfer enumerated in the Private
     Placement Legend printed on the Restricted Definitive Note and in the Indenture and the Securi-
     ties Act.

            b)      [ ] CHECK IF EXCHANGE IS FROM RESTRICTED DEFINITIVE NOTE TO
     BENEFICIAL INTEREST IN A RESTRICTED GLOBAL NOTE. In connection with the Ex-
     change of the Owner’s Restricted Definitive Note for a beneficial interest in the [CHECK ONE]
     [ ] 144A Global Note [ ] Regulation S Global Note [ ] IAI Global Note, with an equal prin-

                                                  C-2


                                                                                               100432088 v3
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                          Pg 315 of 771


        cipal amount, the Owner hereby certifies (i) the beneficial interest is being acquired for the Own-
        er’s own account without transfer and (ii) such Exchange has been effected in compliance with
        the transfer restrictions applicable to the Restricted Global Notes and pursuant to and in accor-
        dance with the Securities Act, and in compliance with any applicable blue sky securities laws of
        any state of the United States. Upon consummation of the proposed Exchange in accordance with
        the terms of the Indenture, the beneficial interest issued shall be subject to the restrictions on
        transfer enumerated in the Private Placement Legend printed on the relevant Restricted Global
        Note and in the Indenture and the Securities Act.

                  This certificate and the statements contained herein are made for your benefit and the
benefit of the Issuer and are dated ______________________.

                                                  [Insert Name of Transferor]


                                                  By:
                                                          Name:
                                                          Title:


Dated: _______________________




                                                    C-3


                                                                                                100432088 v3
10-16140-mg       Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                          Pg 316 of 771


                                                                                               EXHIBIT D


                           [FORM OF SUPPLEMENTAL INDENTURE
                      TO BE DELIVERED BY SUBSEQUENT GUARANTORS]


                SUPPLEMENTAL INDENTURE (this “Supplemental Indenture”) dated as of
[         ], among [GUARANTOR] (the “Guaranteeing Subsidiary”), AMERICAN MEDIA, INC., a
Delaware corporation (the “Issuer”) and WILMINGTON TRUST FSB, as trustee and collateral agent
under the indenture referred to below (collectively in such capacities, the “Trustee”).

                                          W I T N E S S E T H:

                WHEREAS, the Issuer has heretofore executed and delivered to the Trustee an indenture
(the “Indenture”), dated as of December [ ], 2010, providing for the initial issuance of [up to
$140,000,000] aggregate principal amount of 13½% Second Lien Senior Secured Notes due 2018 (the
“Notes”);

                WHEREAS, the Indenture provides that under certain circumstances the Guaranteeing
Subsidiary shall execute and deliver to the Trustee a supplemental indenture pursuant to which the Gua-
ranteeing Subsidiary shall unconditionally guarantee all of the Issuer’s Obligations under the Notes and
the Indenture on the terms and conditions set forth herein and under the Indenture (the “Guarantee”); and

                WHEREAS, pursuant to Section 9.01 of the Indenture, the Trustee is authorized to ex-
ecute and deliver this Supplemental Indenture.

                 NOW THEREFORE, in consideration of the foregoing and for other good and valuable
consideration, the receipt of which is hereby acknowledged, the parties mutually covenant and agree for
the equal and ratable benefit of the Holders of the Notes as follows:

               (1)      Capitalized Terms. Capitalized terms used herein without definition shall have
the meanings assigned to them in the Indenture.

                (2)     Agreement to Guarantee. The Guaranteeing Subsidiary hereby agrees as fol-
lows:

                 (a)      The Guaranteeing Subsidiary hereby becomes a party to the Indenture as a Gua-
        rantor and as such will have all of the rights and be subject to all of the obligations and agree-
        ments of a Guarantor under the Indenture. The Guaranteeing Subsidiary agrees to be bound by
        all of the provisions of the Indenture applicable to a Guarantor and to perform all of the obliga-
        tions and agreements of a Guarantor under the Indenture.

                (b)     The Guaranteeing Subsidiary agrees, on a joint and several basis with all the ex-
        isting Guarantors, to fully, unconditionally and irrevocably Guarantee to each Holder of the Notes
        and the Trustee the Obligations pursuant to Article 11 of the Indenture on a senior basis.

                 (3)      Execution and Delivery. The Guaranteeing Subsidiary agrees that the Guarantee
shall remain in full force and effect notwithstanding the absence of the endorsement of any notation of
such Guarantee on the Notes.
                                                   D-1


                                                                                               100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 317 of 771


           (4)  Governing Law. THIS SUPPLEMENTAL INDENTURE SHALL BE GO-
VERNED BY AND CONSTRUED IN ACCORDANCE WITH THE LAWS OF THE STATE OF NEW
YORK

               (5)     Counterparts. The parties may sign any number of copies of this Supplemental
Indenture. Each signed copy shall be an original, but all of them together represent the same agreement.

                  (6)     Effect of Headings. The Section headings herein are for convenience only and
shall not affect the construction hereof.

                  (7)     The Trustee. The Trustee shall not be responsible in any manner whatsoever for
or in respect of the validity or sufficiency of this Supplemental Indenture or for or in respect of the recit-
als contained herein, all of which recitals are made solely by the Guaranteeing Subsidiary.




                                                     D-2


                                                                                                   100432088 v3
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                       Pg 318 of 771


               IN WITNESS WHEREOF, the parties hereto have caused this Supplemental Indenture to
be duly executed, all as of the date first above written.

                                            [GUARANTEEING SUBSIDIARY]


                                            By:
                                                    Name:
                                                    Title:


                                            WILMINGTON TRUST FSB, as Trustee and Collateral
                                              Agent


                                            By:
                                                    Name:
                                                    Title:


Acknowledged by:

AMERICAN MEDIA, INC.


By:
      Name:
      Title:




                                              D-3


                                                                                     100432088 v3
10-16140-mg          Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 319 of 771




                                                                                                 EXHIBIT E


                               FORM OF CERTIFICATE FROM
                             ACQUIRING ACCREDITED INVESTOR



American Media, Inc.
1000 American Media Way
Boca Raton, FL 33464-1000
Fax No.: (561) 989-1224
Attention: General Counsel

Wilmington Trust FSB, as Trustee and Registrar
50 South Sixth Street, Suite 1290
Drop code 7100
Minneapolis, MN 55402-1544
Fax No.: (612) 217-5651
Attention: Corporate Client Services

                         Re: 13½% Second Lien Senior Secured Notes due 2018

                Reference is hereby made to the Indenture, dated as of December [ ], 2010 (the “Inden-
ture”), among American Media, Inc., a Delaware corporation (the “Company”), the Guarantors named
therein and Wilmington Trust FSB, as trustee and collateral agent. Capitalized terms used but not defined
herein shall have the meanings given to them in the Indenture.

                In connection with our proposed purchase of $____________ aggregate principal amount
of:

                   (i)    a beneficial interest in a Global Note, or

                (ii)      a Definitive Note,

we confirm that:

                 1.        We understand that any subsequent transfer of the Notes or any interest therein is
subject to certain restrictions and conditions set forth in the Indenture, and the undersigned agrees to be
bound by, and not to resell, pledge or otherwise transfer the Notes or any interest therein except in com-
pliance with, such restrictions and conditions and the United States Securities Act of 1933, as amended
(the “Securities Act”).

                  2.      We understand that the offer and sale of the Notes have not been registered under
the Securities Act, and that the Notes and any interest therein may not be offered or sold except as permit-
ted in the following sentence. We agree, on our own behalf and on behalf of any accounts for which we
are acting as hereinafter stated, that if we should sell the Notes or any interest therein, we will do so only
(a) to the Company (b) so long as the Notes are eligible for resale pursuant to Rule 144A under the Secur-
ities Act to a person whom we reasonably believe is a qualified institutional buyer within the meaning of
Rule 144A purchasing for its own account or for the account of a qualified institutional buyer, in each
                                                      E-1

                                                                                                  100432088 v3
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 320 of 771


case, to whom notice is given that the offer, resale, pledge or other transfer is being made in reliance on
Rule 144A, (c) to non-U.S. persons in offshore transactions in accordance with Rule 904 of Regulation S
under the Securities Act, (d) pursuant to Rule 144 under the Securities Act, (e) pursuant to an effective
registration statement under the Securities Act or (f) in any other transaction that does not require regis-
tration under the Securities Act, and we further agree to provide to any person purchasing the Definitive
Note or beneficial interest in a Global Note from us in a transaction meeting the requirements of any of
clauses (a) through (f) of this paragraph a notice advising such purchaser that resales thereof are restricted
as stated herein.

                 3.      We understand that, on any proposed resale of the Notes or beneficial interest
therein, we will be required to furnish to you and the Company such certifications, legal opinions and
other information as you and the Company may reasonably require to confirm that the proposed sale
complies with the foregoing restrictions. We further understand that the Notes purchased by us will bear
a legend to the foregoing effect.

                 4.      We are an institutional “accredited investor” (as defined in Rule 501(a)(1), (2),
(3) or (7) of Regulation D under the Securities Act) and have such knowledge and experience in financial
and business matters as to be capable of evaluating the merits and risks of our investment in the Notes,
and we and any accounts for which we are acting are each able to bear the economic risk of our or its in-
vestment.

               5.       We are acquiring the Notes or beneficial interest therein purchased by us for our
own account or for one or more accounts (each of which is an institutional “accredited investor”) as to
each of which we exercise sole investment discretion.

                 6.      We are acquiring a minimum principal amount of $250,000 of the Notes for in-
vestment purposes and not with a view to or for offer or sale in connection with any distribution in viola-
tion of the Securities Act.

                 You and the Company are entitled to rely upon this letter and are irrevocably authorized
to produce this letter or a copy to any interested party in any administrative or legal proceedings or offi-
cial inquiry with respect to the matters covered hereby.


                                                      [Insert Name of Transferor]


                                                  By:
                                                           Name:
                                                           Title:


Dated: ___________________________




                                                     E-2

                                                                                                  100432088 v3
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 321 of 771



                                  EXHIBIT C

                   Purchase Agreement for New First Lien Notes
10-16140-mg        Doc 116         Filed 12/15/10 Entered 12/15/10 23:40:47                      Main Document
                                             Pg 322 of 771




                                       
                                           
                                  
                                                        
                         

                                               

                                                                                       


    
      
      
      
    
    
    


    

             
    
    
    
    
    
    
    
    
    
    

             
    
    
    
    
    
    
    

            
    
    
    
    
    
    
    
10-16140-mg       Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                         Main Document
                                           Pg 323 of 771




             
    
    
    
    
    
    
           
    
    

             
    
    
    
    
    
           
    
    

            
    
    
    
    

              
    
    
    
    
    
    
    
    
    
    
    
    
    

              
    
    
    
    
    
    
    


                                                        
10-16140-mg       Doc 116         Filed 12/15/10 Entered 12/15/10 23:40:47                        Main Document
                                            Pg 324 of 771




    
    

             
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    

             
    
    
    
    
    
    
    

             
    
    
    
    
    
    
    
    
    
    

             
    
    
    
    
    
    




                                                        
10-16140-mg        Doc 116         Filed 12/15/10 Entered 12/15/10 23:40:47                             Main Document
                                             Pg 325 of 771




             
    
    
    

            
    

                   

                  
    
    
    
    
    
    
    
    
    
    

                  
    
    

                          
            
            

                          
            
            
            
            

                         
            

                                  
                     
                     
                     
                     

                                   

                  
    
    
    

                                                           
10-16140-mg        Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                          Main Document
                                            Pg 326 of 771




    
    

                   
    
    

                   
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    

                   

                  
    
    
    
    
    

                 
    
    
    
    
    
    
    
    




                                                          
10-16140-mg       Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                          Main Document
                                           Pg 327 of 771




                  
    
    
    
    

                           
            
            
            
            
            
            
            
            
            

                           
            
            
            
            
            
            
            
            
            
            
            
            
            
            
            
            
            
            

                         

                          
            
            
            
            
            
            
            
            




                                                         
10-16140-mg    Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                          Main Document
                                        Pg 328 of 771




                       
         
         
         
         
         
         
                     
         
         
         
         
         
         
         

                       
         
         
         
         
         
         
         
         
         
         
         

                        
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         

                      
         
         
         


                                                      
10-16140-mg    Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                         Main Document
                                        Pg 329 of 771




         
         
         
         
         
         
         
                 

                        
         
         
         
         
         
         
         
                        
         
         

                        
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         



                                                     
10-16140-mg    Doc 116         Filed 12/15/10 Entered 12/15/10 23:40:47                           Main Document
                                         Pg 330 of 771




         
         

                       
         
         
         
         
         
         
         
         

                       
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         

                        
         
         
         
         
         
         
         
              

                       
         
         
         
         
         
         




                                                       
10-16140-mg    Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                          Main Document
                                        Pg 331 of 771




                      
         
         

                        
         
         
         
         
         
         
         

                       
         
         
         
         
         
         
         
         

                         
         
         
         
         
         
         
         
         
         
         
         

                              
         
         
         

                         
         
         
         
         
         
         
         
         


                                                     
10-16140-mg    Doc 116         Filed 12/15/10 Entered 12/15/10 23:40:47                          Main Document
                                         Pg 332 of 771




         
         
         

                         
         
         
         
         
         
         
         
         
         
         
         
         
                      
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         
         


                                                     
10-16140-mg    Doc 116         Filed 12/15/10 Entered 12/15/10 23:40:47                         Main Document
                                         Pg 333 of 771




         
         

                        
         
         
         
         
         
         
         
         
         

                       
         
         
         
         

                        
         
         
         
         
         
         
         
         
         
         

                       
         
         
         
                  
         
         
         
         
         
         

                       
         
         
         
         
         


                                                     
10-16140-mg    Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                         Main Document
                                        Pg 334 of 771




         
         
         

                      
         
         
         
         
         

                     
         
         
         
         
         
         

                      
         
         
         
         
         
         
         

                       
         
         
         
         
         
         
         
                   
         
         
         
         

                   
         
         
         

                      
         
         


                                                    
10-16140-mg    Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                         Main Document
                                        Pg 335 of 771




         
         
         
         
         
         
         
                  
         
         
         
         
         
         
         
         

                      
         
         
         
         
         
         
         
         
         
         
         
                       
         
         
         
         

                      
         
         
         
         
         
         
         
         
         
         
         

                     
         


                                                     
10-16140-mg    Doc 116         Filed 12/15/10 Entered 12/15/10 23:40:47                          Main Document
                                         Pg 336 of 771




         
         
         

                     
         
         
         
         
         
         
         
         
         

                       
         
         
         
         
         
         
         
         
         

                      
         
         
         
         
         
         
         
         
         

                   
         
         
         
         
         
         
         
         
         
         
         



                                                     
10-16140-mg    Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                          Main Document
                                        Pg 337 of 771




         
         

                      
         
         
         
         
         
         
         
         
         

                      
         
         
         
         

                      
         
         
         
         
         
         

                       
         
         
         
         

                       
         
         
         
         
         
         
         
         

                      
         
         
         
         



                                                     
10-16140-mg      Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                         Main Document
                                          Pg 338 of 771




           
           

                        
           
           
           

                        
           
           
           

                       
           
           
           

                  
    
    

                         
           
           
           

                        
           
           
           
           
           
           

                          
           
           
           
           

                                    
           
           
           
           
           
           
           
           
           

                                                       
10-16140-mg    Doc 116         Filed 12/15/10 Entered 12/15/10 23:40:47                           Main Document
                                         Pg 339 of 771




         
         
         
         
         
         
         
               

                        
         
         
         
         
         
         
         
                         
         
         
         

                        
         
         
         
         
         
         
         
         
         
         
         
         

                         
         
         
         
         
         
         
         

                       
         
         
         



                                                      
10-16140-mg    Doc 116         Filed 12/15/10 Entered 12/15/10 23:40:47                            Main Document
                                         Pg 340 of 771




         
         

                       
         
         
         
         
         
         

                       
         
         
         
         
         
         

                       
         

                       
         
         
         
         
         
         

                        
         
         
         
         

                        
         
         
         
         
         
         
         

                      
         
         

                     
         

                                                      
10-16140-mg        Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                          Main Document
                                            Pg 341 of 771




            
            
            
            

                          
            
            
            

                    
    
    
    
    
    
    
    
    
    
    

                  
    
    

                          
            
            
            
            
            

                          
                

                           
            
            
            
            
            
            

                         
            
            
            
            
            


                                                         
10-16140-mg    Doc 116         Filed 12/15/10 Entered 12/15/10 23:40:47                          Main Document
                                         Pg 342 of 771




         
         
         
         

                       
         
         
         
         
         
         
         
         

                      
         
         
         
         
         

                      
         
          
         
         

                        
         
         
         
         
         

                       
         
         
         
         

                      
         
         

                       
         
         
         
         


                                                      
10-16140-mg       Doc 116         Filed 12/15/10 Entered 12/15/10 23:40:47                           Main Document
                                            Pg 343 of 771




            
            
            

                          

                           
             
            

                          
            
            
            
            
            
            
            
            

                            
            
            
            
                           
            
            
            

                           
            

                          
            
            

             
    
    

                  

                   
    
    
    
    
    
    
    
    

                                                         
10-16140-mg        Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                         Main Document
                                            Pg 344 of 771




    
    
    
    
    
    
    

                   
    
    
    
    
    
    
    
    
    
    
    
    
    
    

                   
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    


                                                        
10-16140-mg        Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                          Main Document
                                            Pg 345 of 771




    
    
    
    
    
    
    
                  
    
    
    
    
    
    

                    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
    

                    
    
    
    
    
    
    
    
    


                                                         
10-16140-mg        Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                         Main Document
                                            Pg 346 of 771




    
    
    
    
    
    
    
          

                  
    
    

                    
    
    
    
    
    
    
    
    
    
    
    

                    
    
    
    
    
    
    
    
    
    
    
    
                  
    
    
    
    
    
    
    
    
    
    
    


                                                        
10-16140-mg        Doc 116         Filed 12/15/10 Entered 12/15/10 23:40:47                          Main Document
                                             Pg 347 of 771




                  
    
    
    
    
    
    

                  
    
    
    
    
    
    

                 
    
    
    
    
    

                  

                 
    
    

                  
    
    
    
    
                  
    

                  
    

                 
    
    

                   
    
    

                  
    


                                                          
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 348 of 771
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 349 of 771
10-16140-mg               Doc 116                Filed 12/15/10 Entered 12/15/10 23:40:47                                  Main Document
                                                           Pg 350 of 771




                                                                                                                           

    
                                                                            

                             

                              

                                                                 

               

    
    
    
    
    
    
    
    
10-16140-mg      Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                         Pg 351 of 771




                                                                          


                                               

    
    
    
    
    
    
    
    
    
    
    
    
    
    
    
10-16140-mg      Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                         Pg 352 of 771




                                                                                        


                                   

    
    
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 353 of 771




                                                                    


                            

                                 

    
10-16140-mg          Doc 116          Filed 12/15/10 Entered 12/15/10 23:40:47                           Main Document
                                                Pg 354 of 771




                                                                  

                                              
                                              
                                            
                                    
                                                          
                                                 
                                                               

    
    
    
    
    
    
    

    
    
    
    

                            

                                           
                                                   
                                                   
                              

                       

                              

                                      

                    
    

                                           

                                

                      

                                        

                                     

                           

                      


    
10-16140-mg          Doc 116    Filed 12/15/10 Entered 12/15/10 23:40:47                        Main Document
                                          Pg 355 of 771




                 
                                        

                   
                                        
                                        
                                        
                                        
                                        

                                                                        

                                                                        

                                                                        

                                                                        

                                                         

                                       
                                        
                                        
                                        
                                        

        
                              

                     

                      

                           
                                        
                                        
                            

                       

                          
                                        

                    

                                        

                                        

                                        

                         



                                                  
10-16140-mg         Doc 116          Filed 12/15/10 Entered 12/15/10 23:40:47                               Main Document
                                               Pg 356 of 771




    
    
    

    

     

     

     
     
     

    
    

    

    
    
    
    
    
    
    

    
    

     
     

     
     
     

     
     

     

     
     
     

     
     
     
     

     


                                                              
10-16140-mg         Doc 116          Filed 12/15/10 Entered 12/15/10 23:40:47                              Main Document
                                               Pg 357 of 771




    

    

    
    
    
    
    
    
    
    

    
    
    
    
    
    
    
    
    
    
    
    
    

    

    
    
    
    
    
    
    
    
    

    

    
    
    
    
    

    
    
    

    
    
    

                                                              
10-16140-mg         Doc 116         Filed 12/15/10 Entered 12/15/10 23:40:47                             Main Document
                                              Pg 358 of 771




    
    

    
    
    
    

    




                                                             
10-16140-mg       Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                          Main Document
                                          Pg 359 of 771




                                                                                                    


                           

         

                       
         
         
         

                       
         

                                
                   
                   
                   
                   

                               
                   
                   
                   

                             
                   
                   
                              
                   

                           
                           
                           
                           
                           
                           
                           
                                    
                           

                                
                   
                   

               
         
10-16140-mg       Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                         Main Document
                                         Pg 360 of 771




                       
         

                               
                   
                   
                   
                   
                   

                             
                   
                   

                     
         
         
         
         




                                                      
10-16140-mg    Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                        Main Document
                                        Pg 361 of 771




                                                                                             
                                                      

                 

                                                    
          
            
    
          
            
    
          
            
            
            
            
            

          
            
            
            
            
            
             

          
            
            

          
            
            
            
            
            
            
            
            

          
            
            
            
            
            
            
            
            
            
10-16140-mg     Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                        Main Document
                                        Pg 362 of 771




              
              
    
          
            
            
    
                      
             
             
             
         
          
             
             
             
             
             
             
             
    
          
             
             
             
             
             
             
             
    
          
             
             
             
             
             
             
             
             
    
          
             
             
             
             

          
             
             
             


                                                     
10-16140-mg     Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                          Main Document
                                         Pg 363 of 771




              
              
              

          
              
             
             
             
             

          
             
             
             

    
    




                                                       
10-16140-mg    Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                         Main Document
                                        Pg 364 of 771




                                                                                               

                    

          
            
            
            

          
            
            
            

          
            
            
            
            
            
            

          
            
            
            
            
            
            
            
            
            

          
            

          
            
            

          
                            
            
            
            
            
            
            
            
10-16140-mg    Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                        Main Document
                                        Pg 365 of 771




          
            
            
            
            
            



    
    




                                                     
10-16140-mg    Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                       Main Document
                                       Pg 366 of 771




                                                                                            

                

    
              
                

              
                

              
                
                

              
                
                

              
                
                
                
                

              
                
                

              
                
                
                
                
                
                
                

              
                
                

              
                
                
                

             
                
                
                
10-16140-mg    Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                           Main Document
                                       Pg 367 of 771




                
                
                
                
                

                  
                
                
                
                
                
                
                
                
                

                     
                
                
                
                
                
                
                
                
                

             
                
                
                
                
                
                
                

             
                
                
                
                
                
                
                
                
                
                




                                                     
10-16140-mg    Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                        Main Document
                                       Pg 368 of 771




             
                
                
                
                
                
                
                         
                
                
                
                
                
                
                
                 
                
                
                
                
                
                
                
                
                
                

             
                
                
                
                
                

             
                
                
                




                                                    
10-16140-mg        Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                          Main Document
                                            Pg 369 of 771




                                                                                                      
                                                 

           
    
    

            
    
    

             
    

             
    

                  
    
    
    
    
    
    
    

                  
    
    
    
    
    
    

                 
    
    

                 
    
    

                 
    

             
    
    
    



                                                          
10-16140-mg      Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                         Pg 370 of 771




                     
    

    
                                                 


                                                                                              
                                                             
                                                            


                                                 


                                                                                              
                                                             
                                                            


    
    




                                                   
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47        Main Document
                                  Pg 371 of 771



                                    EXHIBIT D

               Registration Rights Agreement for New First Lien Notes
10-16140-mg          Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                            Pg 372 of 771

                                                                                     EXECUTION VERSION
                                 REGISTRATION RIGHTS AGREEMENT

         This REGISTRATION RIGHTS AGREEMENT dated as of December 1, 2010 (this “Agree-
ment”) is entered into by and between AMO Escrow Corporation, a Delaware corporation (the “Escrow
Corporation”) and J.P. Morgan Securities LLC (“JPMorgan”), as representative of the several initial pur-
chasers listed on Schedule I to the Purchase Agreement (as defined below) (collectively, the “Initial Pur-
chasers”), each of whom has agreed to purchase a portion of the $385,000,000 aggregate principal amount
of the Escrow Corporation’s 11½% First Lien Senior Secured Notes due 2017 (the “Initial Notes”) to be
guaranteed by the Guarantors (the “Guarantees”) pursuant to the Purchase Agreement. The Initial Notes
and the Guarantees are herein collectively referred to as the “Securities.” On the Release Date (as defined
below), American Media Operations, Inc., a Delaware corporation (the “Company”) and the Subsidiary
Guarantors (as defined in the Purchase Agreement) will execute a registration rights agreement joinder in
the form of Exhibit A hereto (the “Joinder Agreement”) pursuant to which the Company and the Guaran-
tors will become a party to this Agreement.

         This Agreement is made pursuant to the Purchase Agreement dated November 16, 2010 (the
“Purchase Agreement”) by and between the Escrow Corporation and the Initial Purchasers (i) for the
benefit of the Initial Purchasers and (ii) for the benefit of the Holders from time to time of the Securities,
including the Initial Purchasers. In order to induce the Initial Purchasers to purchase the Securities, the
Escrow Corporation has agreed to provide to the Initial Purchasers and their direct and indirect transferees
the registration rights set forth in this Agreement. The execution and delivery of this Agreement is a con-
dition to the obligations of the Initial Purchasers set forth in Section 5(j) of the Purchase Agreement.

         For purposes of this Agreement only (x) prior to the Release Date, references to the “Company”
shall be deemed references to AMO Escrow Corporation and (y) on and after the Release Date, references
to the “Company” shall be deemed references to American Media Operations, Inc.

        In consideration of the foregoing, the parties hereto agree as follows:

       1.          Definitions. As used in this Agreement, the following terms shall have the following
meanings:

                “Additional Guarantor” shall mean any subsidiary of the Company that executes a Sub-
        sidiary Guarantee under the Indenture after the Release Date.

              “Business Day” shall mean any day that is not a Saturday, Sunday or other day on which
        commercial banks in New York City are authorized or required by law to remain closed.

              “Company” shall have the meaning set forth in the preamble and shall also include the
        Company’s successors.

                 “Escrow Corporation” shall have the meaning set forth in the preamble hereof and shall
        also include the Escrow Corporation’s successors.

                   “Exchange Act” shall mean the Securities Exchange Act of 1934, as amended from time
        to time.

                   “Exchange Dates” shall have the meaning set forth in Section 2(a)(ii) hereof.

               “Exchange Offer” shall mean the exchange offer by the Company and the Guarantors of
        Exchange Securities for Registrable Securities pursuant to Section 2(a) hereof.
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                       Pg 373 of 771


            “Exchange Offer Registration” shall mean a registration under the Securities Act effected
     pursuant to Section 2(a) hereof.

              “Exchange Offer Registration Statement” shall mean an exchange offer registration
     statement on Form S-4 (or, if applicable, on another appropriate form) and all amendments and
     supplements to such registration statement, in each case including the Prospectus contained
     therein or deemed a part thereof, all exhibits thereto and any document incorporated by reference
     therein.

             “Exchange Securities” shall mean first lien senior secured notes issued by the Company
     and guaranteed by the Guarantors under the Indenture containing terms identical to the Securities
     (except that the Exchange Securities will not be subject to restrictions on transfer or to any in-
     crease in annual interest rate for failure to comply with this Agreement) and to be offered to
     Holders of Securities in exchange for Securities pursuant to the Exchange Offer.

              “FINRA” shall mean the Financial Industry Regulatory Authority, Inc.

            “Free Writing Prospectus” shall mean each free writing prospectus (as defined in Rule
     405 under the Securities Act) prepared by or on behalf of the Company or used or referred to by
     the Company in connection with the sale of the Securities or the Exchange Securities.

             “Guarantors” shall mean, on the Release Date upon execution and delivery of the Joinder
     Agreement, the Subsidiary Guarantors, and shall thereafter include any Guarantor’s successors
     and any Additional Guarantors.

              “Holders” shall mean the Initial Purchasers, for so long as they own any Registrable Se-
     curities, and each of their successors, assigns and direct and indirect transferees who become
     owners of Registrable Securities under the Indenture; provided that for purposes of Sections 4 and
     5 of this Agreement, the term “Holders” shall include Participating Broker-Dealers.

              “Holders’ Inspector” shall have the meaning set forth in Section 3(a)(xiv) hereof.

              “Indemnified Person” shall have the meaning set forth in Section 5(c) hereof.

              “Indemnifying Person” shall have the meaning set forth in Section 5(c) hereof.

             “Indenture” shall mean the Indenture relating to the Securities dated as of December 1,
     2010 by and between Escrow Corporation and Wilmington Trust FSB, as trustee and collateral
     agent, and as the same may be amended from time to time in accordance with the terms thereof.

              “Information” shall have the meaning set forth in Section 3(a)(xiv) hereof.

              “Initial Purchasers” shall have the meaning set forth in the preamble.

              “Inspectors” shall have the meaning set forth in Section 3(a)(xiv) hereof.

              “Issue Date” shall mean December 1, 2010.

              “Issuer Information” shall have the meaning set forth in Section 5(a) hereof.

              “JPMorgan” shall have the meaning set forth in the preamble.

                                                 -2-
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                       Pg 374 of 771


             “Majority Holders” shall mean the Holders of a majority of the aggregate principal
     amount of the outstanding Registrable Securities; provided that whenever the consent or approval
     of Holders of a specified percentage of Registrable Securities is required hereunder, any Regis-
     trable Securities owned directly or indirectly by the Company or any of its affiliates shall not be
     counted in determining whether such consent or approval was given by the Holders of such re-
     quired percentage or amount; and provided, further, that if the Company shall issue any additional
     Securities under the Indenture prior to consummation of the Exchange Offer or, if applicable, the
     effectiveness of any Shelf Registration Statement, such additional Securities and the Registrable
     Securities to which this Agreement relates shall be treated together as one class for purposes of
     determining whether the consent or approval of Holders of a specified percentage of Registrable
     Securities has been obtained.

              “Participating Broker-Dealers” shall have the meaning set forth in Section 4(a) hereof.

              “Person” shall mean an individual, partnership, limited liability company, corporation,
     trust or unincorporated organization, or a government or agency or political subdivision thereof.

              “Prospectus” shall mean the prospectus included in, or, pursuant to the rules and regula-
     tions of the Securities Act, deemed a part of, a Registration Statement, including any preliminary
     prospectus, and any such prospectus as amended or supplemented by any prospectus supplement,
     including a prospectus supplement with respect to the terms of the offering of any portion of the
     Registrable Securities covered by a Shelf Registration Statement, and by all other amendments
     and supplements to such prospectus, and in each case including any document incorporated by
     reference therein.

              “Purchase Agreement” shall have the meaning set forth in the preamble.

              “Records” shall have the meaning set forth in Section 3(a)(xiv) hereof.

               “Registrable Securities” shall mean the Securities; provided that the Securities shall cease
     to be Registrable Securities on the earliest of (i) when an Exchange Offer is completed (except
     with respect to Securities held by Persons that were not eligible to participate in the Exchange Of-
     fer), (ii) when a Registration Statement with respect to such Securities has become effective un-
     der the Securities Act and such Securities have been exchanged or disposed of pursuant to such
     Registration Statement (iii) the second anniversary of the Issue Date or (iv) when such Securities
     cease to be outstanding.

              “Registration Actions” shall have the meaning set forth in Section 3(d)(i) hereof.

              “Registration Default” shall have the meaning set forth in Section 2(d) hereof.

              “Registration Expenses” shall mean any and all expenses incident to performance of or
     compliance by the Company and the Guarantors with this Agreement, including without limita-
     tion: (i) all SEC, stock exchange or FINRA registration and filing fees, (ii) all fees and expenses
     incurred in connection with compliance with state securities or blue sky laws (including reason-
     able fees and disbursements of one counsel for any Underwriters or Holders (which counsel shall
     be selected by the Majority Holders and which counsel may also be counsel for the Initial Pur-
     chasers) in connection with blue sky qualification of any Exchange Securities or Registrable Se-
     curities), (iii) all expenses of the Company and the Guarantors in preparing or assisting in prepar-
     ing, word processing, printing and distributing any Registration Statement, any Prospectus, any
     Free Writing Prospectus and any amendments or supplements thereto, any underwriting agree-

                                                  -3-
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                       Pg 375 of 771


     ments, securities sales agreements or other similar agreements and any other documents relating
     to the performance of and compliance with this Agreement, (iv) all rating agency fees, (v) all fees
     and disbursements relating to the qualification of the Indenture under applicable securities laws,
     (vi) the fees and disbursements of the Trustee and its counsel as may be agreed by the Company
     and the Trustee, (vii) the fees and disbursements of counsel for the Company and the Guarantors
     and, in the case of a Shelf Registration Statement, the reasonable fees and disbursements of one
     counsel for the Holders (which counsel shall be selected by the Majority Holders and which
     counsel may also be counsel for the Initial Purchasers) and (viii) the fees and disbursements of
     the independent public accounting firm of the Company and the Guarantors, including the ex-
     penses of any special audits or “comfort” letters required by or incident to the performance of and
     compliance with this Agreement, but excluding fees and expenses of counsel to the Underwriters
     (other than fees and expenses set forth in clause (ii) above) or the Holders and underwriting dis-
     counts and commissions, brokerage commissions and transfer taxes, if any, relating to the sale or
     disposition of Registrable Securities by a Holder.

             “Registration Statement” shall mean any registration statement filed under the Securities
     Act of the Company and the Guarantors that covers any of the Exchange Securities or Registrable
     Securities pursuant to the provisions of this Agreement and all amendments and supplements to
     any such registration statement, including post-effective amendments, in each case including the
     Prospectus contained therein or deemed a part thereof, all exhibits thereto and any document in-
     corporated by reference therein.

              “Release Date” shall have the meaning set forth in the Purchase Agreement.

              “SEC” shall mean the United States Securities and Exchange Commission.

              “Securities” shall have the meaning set forth in the preamble.

              “Securities Act” shall mean the Securities Act of 1933, as amended from time to time.

              “Shelf Effectiveness Period” shall have the meaning set forth in Section 2(b) hereof.

              “Shelf Registration” shall mean a registration effected pursuant to Section 2(b) hereof.

              “Shelf Registration Statement” shall mean a “shelf” registration statement of the Com-
     pany and the Guarantors that covers all or a portion of the Registrable Securities (but no other se-
     curities unless approved by a majority of the Holders whose Registrable Securities are to be cov-
     ered by such Shelf Registration Statement) on an appropriate form under Rule 415 under the Se-
     curities Act, or any similar rule that may be adopted by the SEC, and all amendments and sup-
     plements to such registration statement, including post-effective amendments, in each case in-
     cluding the Prospectus contained therein or deemed a part thereof, all exhibits thereto and any
     document incorporated by reference therein.

              “Shelf Request” shall have the meaning set forth in Section 2(b) hereof.

              “Staff” shall mean the staff of the SEC.

              “Subsidiary Guarantees” shall mean the guarantees of the Securities and Exchange Secu-
     rities by the Guarantors under the Indenture.

              “Suspension Notice” shall have the meaning set forth in Section 3(d)(i) hereof.

                                                 -4-
10-16140-mg          Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                            Pg 376 of 771


                   “Suspension Period” shall have the meaning set forth in Section 3(d)(i) hereof.

                   “Trust Indenture Act” shall mean the Trust Indenture Act of 1939, as amended from time
        to time.

                   “Trustee” shall mean the trustee with respect to the Securities under the Indenture.

                   “Underwriter” shall have the meaning set forth in Section 3(e) hereof.

                   “Underwriter Inspector” shall have the meaning set forth in Section 3(a)(xiv) hereof.

                “Underwritten Offering” shall mean an offering in which Registrable Securities are sold
        to an Underwriter for reoffering to the public.

        2.         Registration Under the Securities Act.

                 (a)      To the extent not prohibited by any applicable law or applicable interpretations of
the Staff, the Company and the Guarantors shall use their commercially reasonable efforts to (i) cause to
be filed an Exchange Offer Registration Statement covering an offer to the Holders to exchange all the
Registrable Securities for Exchange Securities with the SEC, (ii) as soon as reasonably practicable fol-
lowing the filing of the Exchange Offer Registration Statement referred to in clause (i), cause such Ex-
change Offer Registration Statement to become effective under the Securities Act and (iii) have such Reg-
istration Statement remain effective until 180 days after the last Exchange Date for use by one or more
Participating Broker Dealers. The Company and the Guarantors shall commence the Exchange Offer
promptly after the Exchange Offer Registration Statement is declared effective by the SEC and use their
commercially reasonable efforts to complete the Exchange Offer not later than 450 days after the Issue
Date.

         The Company and the Guarantors shall commence the Exchange Offer by mailing the related
Prospectus, appropriate letters of transmittal and other accompanying documents to each Holder stating,
in addition to such other disclosures as are required by applicable law, substantially the following:

                 (i)    that the Exchange Offer is being made pursuant to this Agreement and that all
        Registrable Securities validly tendered and not properly withdrawn will be accepted for ex-
        change.

               (ii)    the dates of acceptance for exchange (which shall be a period of at least 20 Busi-
        ness Days from the date such notice is mailed) (the “Exchange Dates”);

                (iii)    that any Registrable Security not tendered will remain outstanding and continue
        to accrue interest but will not retain any rights under this Agreement, except as otherwise speci-
        fied herein;

                 (iv)     that any Holder electing to have a Registrable Security exchanged pursuant to the
        Exchange Offer will be required to (A) surrender such Registrable Security, together with the ap-
        propriate letters of transmittal, to the institution and at the address (located in the Borough of
        Manhattan, The City of New York) and in the manner specified in the notice, or (B) effect such
        exchange otherwise in compliance with the applicable procedures of the depositary for such Reg-
        istrable Security, in each case prior to the close of business on the last Exchange Date; and



                                                      -5-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 377 of 771


                 (v)      that any Holder will be entitled to withdraw its election, not later than the close
        of business (New York City time) on the last Business Day of the Exchange Offer, by (A) send-
        ing to the institution and at the address (located in the Borough of Manhattan, The City of New
        York) specified in the notice, a telegram, telex, facsimile transmission or letter setting forth the
        name of such Holder, the principal amount of Registrable Securities delivered for exchange and a
        statement that such Holder is withdrawing its election to have such Registrable Securities ex-
        changed or (B) effecting such withdrawal in compliance with the applicable procedures of the de-
        positary for the Registrable Securities.

          As a condition to participating in the Exchange Offer, a Holder will be required to represent to the
Company and the Guarantors that (i) any Exchange Securities to be received by it will be acquired in the
ordinary course of its business, (ii) at the time of the commencement of the Exchange Offer it has no ar-
rangement or understanding with any Person to participate in the distribution (within the meaning of the
Securities Act) of the Exchange Securities in violation of the provisions of the Securities Act, (iii) it is not
an “affiliate” (within the meaning of Rule 405 under the Securities Act) of the Company or any Guaran-
tor, (iv) if such Holder is not a broker-dealer, that it is not engaged in, and does not intend to engage in,
the distribution of Exchange Notes and (v) if such Holder is a broker-dealer that will receive Exchange
Securities for its own account in exchange for Registrable Securities that were acquired as a result of mar-
ket-making or other trading activities, then such Holder will provide such information as may be reasona-
bly requested by the Company and deliver a Prospectus (or, to the extent permitted by law, make avail-
able a Prospectus to purchasers) in connection with any resale of such Exchange Securities.

        As soon as practicable after the last Exchange Date, the Company and the Guarantors shall:

                (i)     accept for exchange Registrable Securities or portions thereof validly tendered
        and not properly withdrawn pursuant to the Exchange Offer; and

                (ii)     deliver, or cause to be delivered, to the Trustee for cancellation all Registrable
        Securities or portions thereof so accepted for exchange by the Company; and

                 (iii)   issue, and cause the Trustee to promptly authenticate and deliver to each Holder,
        Exchange Securities equal in principal amount to the principal amount of the Registrable Securi-
        ties tendered by such Holder.

         The Company and the Guarantors shall use their commercially reasonable efforts to complete the
Exchange Offer as provided above and shall comply with the applicable requirements of the Securities
Act, the Exchange Act and other applicable laws and regulations in connection with the Exchange Offer.
The Exchange Offer shall not be subject to any conditions, other than that the Exchange Offer does not
violate any applicable law or applicable interpretations of the Staff.

                  (b)     In the event that (i) the Company and the Guarantors determine that the Ex-
change Offer Registration provided for in Section 2(a) above is not available or may not be completed as
soon as practicable after the last Exchange Date because it would violate any applicable law or applicable
interpretations of the Staff, (ii) the Exchange Offer is not for any other reason completed on or before the
450th day after the Issue Date, (iii) upon receipt of a Holder’s request with respect to any Holder of Reg-
istrable Securities that (A) is prohibited by applicable law or SEC policy from participating in the Ex-
change Offer or (B) may not resell the Exchange Securities acquired by it in the Exchange Offer to the
public without delivering a prospectus and that the Prospectus contained in the Exchange Offer Registra-
tion Statement is not appropriate or available for such resales by such Holder or (iv) upon receipt of a
written request (a “Shelf Request”) from any Initial Purchaser representing that it holds Registrable Secu-


                                                      -6-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                          Pg 378 of 771


rities that are or were ineligible to be exchanged in the Exchange Offer, the Company and the Guarantors
shall use their commercially reasonable efforts to cause to be filed after such determination date or Shelf
Request, as the case may be, and in any event no later than 450 days after the Issue Date, a Shelf Registra-
tion Statement providing for the sale of all the Registrable Securities by the Holders thereof and thereafter
to have such Shelf Registration Statement become effective.

        In the event that the Company and the Guarantors are required to file a Shelf Registration State-
ment pursuant to clause (iv) of the preceding sentence, the Company and the Guarantors shall file and use
their commercially reasonable efforts to have become effective both an Exchange Offer Registration
Statement pursuant to Section 2(a) with respect to all Registrable Securities and a Shelf Registration
Statement (which may be a combined Registration Statement with the Exchange Offer Registration
Statement) with respect to offers and sales of Registrable Securities held by the Initial Purchasers de-
scribed in clause (iv) after completion of the Exchange Offer.

         The Company and the Guarantors agree to use their commercially reasonable efforts to keep the
Shelf Registration Statement continuously effective until the earlier of (i) one year following the initial
effectiveness of such Registration Statement or (ii) the date when all of the Registrable Securities covered
by the Shelf Registration Statement have been sold or otherwise disposed of pursuant to the Shelf Regis-
tration Statement or cease to be Registrable Securities (the “Shelf Effectiveness Period”). The Company
and the Guarantors further agree to supplement or amend the Shelf Registration Statement, the related
Prospectus and any Free Writing Prospectus if required by the rules, regulations or instructions applicable
to the registration form used by the Company for such Shelf Registration Statement or by the Securities
Act or by any other rules and regulations thereunder or if reasonably requested by a Holder of Registrable
Securities with respect to information relating to such Holder, and to use their commercially reasonable
efforts to cause any such amendment to become effective, if required, and such Shelf Registration State-
ment, Prospectus or Free Writing Prospectus, as the case may be, to become usable as soon as thereafter
practicable. The Company and the Guarantors agree to furnish to the Holders of Registrable Securities
copies of any such supplement or amendment promptly after its being used or filed with the SEC.

                  (c)     The Company and the Guarantors shall pay all Registration Expenses in connec-
tion with any registration pursuant to Section 2(a) or Section 2(b) hereof. Each Holder shall pay all un-
derwriting discounts and commissions, brokerage commissions and transfer taxes, if any, relating to the
sale or disposition of such Holder’s Registrable Securities pursuant to the Shelf Registration Statement
and any fees and disbursements of counsel or experts retained by such Holder in connection with any reg-
istration pursuant hereto (other than any such fees and disbursements included within the definition of
Registration Expenses and paid for by the Company and the Guarantors in accordance with the terms of
this Agreement).

                (d)      An Exchange Offer Registration Statement pursuant to Section 2(a) hereof will
not be deemed to have become effective unless it has been declared effective by the SEC. A Shelf Regis-
tration Statement pursuant to Section 2(b) hereof will not be deemed to have become effective unless it
has been declared effective by the SEC or is automatically effective upon filing with the SEC as provided
by Rule 462 under the Securities Act.

         In the event that either (i) the Exchange Offer is not completed or the Shelf Registration State-
ment, if required pursuant to Section 2(b)(i) or 2(b)(ii) hereof, has not become effective on or prior to the
date that is 450 days following the Issue Date, (ii) the Company receives a Shelf Request pursuant to Sec-
tion 2(b)(iii) or 2(b)(iv), and the Shelf Registration Statement required to be filed thereby does not be-
come effective within 450 days following the Issue Date, or (iii) the Exchange Offer Registration State-
ment or the Shelf Registration Statement, if required hereby, has become effective and thereafter either


                                                     -7-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 379 of 771


ceases to be effective or the Prospectus contained therein ceases to be usable, in each case whether or not
permitted by this Agreement, at any time during the Shelf Effectiveness Period or, in the case of the Ex-
change Offer Registration Statement, as required by this Agreement, and such failure to remain effective
or usable exists for more than 60 days (whether or not consecutive) in any 12-month period (each such
event referred to in clauses (i) through (iii), a “Registration Default”), the interest rate on the applicable
Registrable Securities will be increased by (A) 0.25% per annum for the first 90-day period immediately
following the occurrence of such Registration Default and (B) an additional 0.25% per annum with re-
spect to each subsequent 90-day period until all Registration Defaults with respect to such Registrable
Securities have been cured, up to a maximum increase of 1.00% per annum; provided that the Company
and the Guarantors shall in no event be required to pay additional interest accrued for more than one Reg-
istration Default at any given time. Notwithstanding anything to the contrary set forth herein, (1) upon
completion of the Exchange Offer in the case of clause (i) above, (2) upon the effectiveness of the Shelf
Registration Statement in the case of clause (ii) above, or (3) upon the filing of a post-effective amend-
ment to the Registration Statement or an additional Registration Statement that causes the Exchange Offer
Registration Statement (and/or, if applicable, the Shelf Registration Statement) to again be declared effec-
tive or made usable in the case of clause (iii) above, additional interest with respect to the Registrable Se-
curities as a result of such clause (i), (ii) or (iii), as applicable, shall cease to accrue. Notwithstanding
anything to the contrary set forth in this Agreement, (x) the obligation of the Company and the Guarantors
to pay or accrue additional interest as set forth in this paragraph shall be the sole and exclusive monetary
remedy of the Initial Purchasers and the Holders in the event of a Registration Default, (y) a Holder of
Registrable Securities that is not entitled to the benefits of the Shelf Registration Statement pursuant to
the terms of this Agreement shall not be entitled to such additional interest with respect to a Registration
Default that pertains to the Shelf Registration Statement and (z) such additional interest shall be paid or
accrue only as to the Registrable Securities to which a Registration Default relates.

                  (e)     Without limiting the remedies available to the Initial Purchasers and the Holders,
the Company and the Guarantors acknowledge that any failure by the Company or the Guarantors to com-
ply with their obligations under Section 2(a) and Section 2(b) hereof may result in material irreparable
injury to the Initial Purchasers or the Holders for which there is no adequate remedy at law, that it will not
be possible to measure damages for such injuries precisely and that, in the event of any such failure, the
Initial Purchasers or any Holder may obtain such relief as may be required to specifically enforce the
Company’s and the Guarantors’ obligations under Section 2(a) and Section 2(b) hereof.

                (f)      The Company and the Guarantors, represent, warrant and covenant that, in con-
nection with the Exchange Offer, they (including their respective agents and representatives) will not pre-
pare, make, use, authorize, approve or refer to any Free Writing Prospectus other than any written com-
munication relating to or that contains solely the terms of the Exchange Offer and/or other information
that was included in the Registration Statement.

        3.      Registration Procedures.

               (a)    In connection with their obligations pursuant to Section 2(a) and Section 2(b)
hereof, the Company and the Guarantors shall as soon as reasonably practicable:

                  (i)      prepare and file with the SEC a Registration Statement on the appropriate form
        under the Securities Act, which form (x) shall be selected by the Company and the Guarantors,
        (y) shall, in the case of a Shelf Registration, be available for the sale of the Registrable Securities
        by the Holders thereof and (z) shall comply as to form in all material respects with the require-
        ments of the applicable form and include all financial statements required by the SEC to be filed
        therewith; and use their commercially reasonable efforts to cause such Registration Statement to


                                                      -8-
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                       Pg 380 of 771


     become effective and remain effective for the applicable period in accordance with Section 2
     hereof;

              (ii)    subject to Section 3(d) hereof, prepare and file with the SEC such amendments
     and post-effective amendments to each Registration Statement and file with the SEC any other
     required document as may be necessary to keep such Registration Statement effective for the ap-
     plicable period in accordance with Section 2 hereof and cause each Prospectus to be supple-
     mented by any required prospectus supplement and, as so supplemented, to be filed pursuant to
     Rule 424 under the Securities Act; and keep each Prospectus current during the period described
     in Section 4(3) of and Rule 174 under the Securities Act that is applicable to transactions by bro-
     kers or dealers with respect to the Registrable Securities or Exchange Securities;

            (iii)   to the extent any Free Writing Prospectus is used, file with the SEC any Free
     Writing Prospectus that is required to be filed by the Company or the Guarantors with the SEC in
     accordance with the Securities Act and to retain any Free Writing Prospectus not required to be
     filed;

              (iv)     in the case of a Shelf Registration, furnish to each Holder of Registrable Securi-
     ties, to counsel for the Initial Purchasers, to counsel for such Holders and to each Underwriter of
     an Underwritten Offering of Registrable Securities, if any, without charge, as many copies of
     each Prospectus, preliminary prospectus or Free Writing Prospectus, and any amendment or sup-
     plement thereto, as such Holder, counsel or Underwriter may reasonably request in order to facili-
     tate the sale or other disposition of the Registrable Securities thereunder; and the Company and
     the Guarantors consent to the use of such Prospectus, preliminary prospectus or such Free Writ-
     ing Prospectus and any amendment or supplement thereto in accordance with applicable law by
     each of the Holders of Registrable Securities and any such Underwriters in connection with the
     offering and sale of the Registrable Securities covered by and in the manner described in such
     Prospectus, preliminary prospectus or such Free Writing Prospectus or any amendment or sup-
     plement thereto in accordance with applicable law;

              (v)     use their commercially reasonable efforts to register or qualify the Registrable
     Securities under all applicable state securities or blue sky laws of such jurisdictions as any Holder
     of Registrable Securities covered by a Registration Statement shall reasonably request in writing
     by the time the applicable Registration Statement becomes effective; cooperate with such Holders
     in connection with any filings required to be made with FINRA; and do any and all other acts and
     things that may be reasonably necessary or advisable to enable each Holder to complete the dis-
     position in each such jurisdiction of the Registrable Securities owned by such Holder; provided
     that neither the Company nor any Guarantor shall be required to (1) qualify as a foreign corpora-
     tion or other entity or as a dealer in securities in any such jurisdiction where it would not other-
     wise be required to so qualify, (2) file any general consent to service of process in any such juris-
     diction or (3) subject itself to taxation in any such jurisdiction if it is not so subject;

              (vi)    notify counsel for the Initial Purchasers and, in the case of a Shelf Registration
     notify each Holder of Registrable Securities and counsel for such Holders promptly and, if re-
     quested by any such Holder or counsel, confirm such advice in writing (1) when a Registration
     Statement has become effective, when any post-effective amendment thereto has been filed and
     becomes effective, when any Free Writing Prospectus has been filed or any amendment or sup-
     plement to the Prospectus or any Free Writing Prospectus has been filed, (2) of any request by the
     SEC or any state securities authority for amendments to the Prospectus or for additional informa-
     tion after the Registration Statement has become effective, (3) of the issuance by the SEC or any


                                                 -9-
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                       Pg 381 of 771


     state securities authority of any stop order suspending the effectiveness of a Registration State-
     ment or the initiation of any proceedings for that purpose, including the receipt by the Company
     of any notice of objection of the SEC to the use of a Shelf Registration Statement or any post-
     effective amendment thereto pursuant to Rule 401(g)(2) under the Securities Act, (4) if, between
     the applicable effective date of a Shelf Registration Statement and the closing of any sale of Reg-
     istrable Securities covered thereby, the Company or any Guarantor receives any notification with
     respect to the suspension of the qualification of the Registrable Securities for sale in any jurisdic-
     tion or the initiation of any proceeding for such purpose, (5) of the happening of any event during
     the period a Registration Statement is effective that makes any statement made in such Registra-
     tion Statement or the related Prospectus or any Free Writing Prospectus untrue in any material re-
     spect or that requires the making of any changes in such Registration Statement or Prospectus or
     any Free Writing Prospectus in order to make the statements therein not misleading and (6) of any
     determination by the Company or any Guarantor that a post-effective amendment to a Registra-
     tion Statement or any amendment or supplement to the Prospectus or any Free Writing Prospectus
     would be appropriate;

             (vii)    use their reasonable best efforts to obtain the withdrawal of any order suspending
     the effectiveness of a Registration Statement or, in the case of a Shelf Registration, the resolution
     of any objection of the SEC pursuant to Rule 401(g)(2), including by filing an amendment to such
     Shelf Registration Statement on the proper form, as soon as reasonably practicable and provide
     prompt notice to each Holder of the withdrawal of any such order or such resolution;

            (viii)    in the case of a Shelf Registration, furnish to each Holder of Registrable Securi-
     ties, upon request and without charge, at least one conformed copy of each Registration Statement
     and any post-effective amendment thereto (without any documents incorporated therein by refer-
     ence or exhibits thereto, unless requested);

              (ix)      in the case of a Shelf Registration, cooperate with the Holders of Registrable Se-
     curities to facilitate the timely preparation and delivery of certificates (unless such Registrable
     Securities are in book entry form only, in which case the Company and the Guarantors shall co-
     operate to remove the restrictive legends from the existing global notes) representing Registrable
     Securities to be sold and not bearing any restrictive legends and enable such Registrable Securi-
     ties to be issued in such denominations and registered in such names (consistent with the provi-
     sions of the Indenture) as such Holders may reasonably request at least one Business Day prior to
     the closing of any sale of Registrable Securities;

               (x)     subject to Section 3(d) hereof, in the case of a Shelf Registration, upon the occur-
     rence of any event contemplated by Section 3(a)(vi)(5) hereof, use their reasonable best efforts to
     prepare and file with the SEC a supplement or post-effective amendment to such Shelf Registra-
     tion Statement or the related Prospectus or any Free Writing Prospectus or any document incorpo-
     rated therein by reference or file any other required document so that, as thereafter delivered (or,
     to the extent permitted by law, made available) to purchasers of the Registrable Securities, such
     Prospectus or Free Writing Prospectus, as the case may be, will not contain any untrue statement
     of a material fact or omit to state a material fact necessary to make the statements therein, in the
     light of the circumstances under which they were made, not misleading; and the Company and the
     Guarantors shall notify the Holders of Registrable Securities to suspend use of the Prospectus or
     any Free Writing Prospectus as promptly as practicable after the occurrence of such an event, and
     such Holders hereby agree to suspend use of the Prospectus or any Free Writing Prospectus, as
     the case may be, until the Company and the Guarantors have amended or supplemented the Pro-



                                                 -10-
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                       Pg 382 of 771


     spectus or the Free Writing Prospectus, as the case may be, to correct such misstatement or omis-
     sion;

               (xi)     a reasonable time prior to the filing of any Registration Statement, any Prospec-
     tus, any Free Writing Prospectus, any amendment to a Registration Statement or amendment or
     supplement to a Prospectus or a Free Writing Prospectus or of any document that is to be incorpo-
     rated by reference into a Registration Statement, a Prospectus or a Free Writing Prospectus after
     initial filing of a Registration Statement, provide copies of such document to the Initial Purchas-
     ers and their counsel (and, in the case of a Shelf Registration Statement, to the Holders of Regis-
     trable Securities and their counsel) and make such of the representatives of the Company and the
     Guarantors as shall be reasonably requested by the Initial Purchasers or their counsel (and, in the
     case of a Shelf Registration Statement, the Holders of Registrable Securities or their counsel)
     available for discussion of such document; and the Company and the Guarantors shall not, at any
     time after initial filing of a Registration Statement, use or file any Prospectus, any Free Writing
     Prospectus, any amendment of or supplement to a Registration Statement or a Prospectus or a
     Free Writing Prospectus, or any document that is to be incorporated by reference into a Registra-
     tion Statement, a Prospectus or a Free Writing Prospectus, of which the Initial Purchasers and
     their counsel (and, in the case of a Shelf Registration Statement, the Holders of Registrable Secu-
     rities and their counsel) shall not have previously been advised and furnished a copy or to which
     the Initial Purchasers or their counsel (and, in the case of a Shelf Registration Statement, the
     Holders of Registrable Securities or their counsel) shall reasonably object;

            (xii)    obtain a CUSIP number for all Exchange Securities or Registrable Securities, as
     the case may be, not later than the initial effective date of a Registration Statement;

            (xiii)    cause the Indenture to be qualified under the Trust Indenture Act in connection
     with the registration of the Exchange Securities or Registrable Securities, as the case may be; co-
     operate with the Trustee and the Holders to effect such changes to the Indenture as may be re-
     quired for the Indenture to be so qualified in accordance with the terms of the Trust Indenture
     Act; and execute, and use their reasonable best efforts to cause the Trustee to execute, all docu-
     ments as may be required to effect such changes and all other forms and documents required to be
     filed with the SEC to enable the Indenture to be so qualified in a timely manner;

             (xiv)     in the case of a Shelf Registration, make available for inspection by one represen-
     tative designated by a majority of the Holders of Registrable Securities to be included in such
     Shelf Registration (such representative, the “Holders’ Inspector”) and the Underwriters participat-
     ing in any disposition pursuant to such Shelf Registration Statement (or one counsel to such Un-
     derwriters) (such Underwriters or counsel, the “Underwriter Inspector” and, together with the
     Holders’ Inspector, the “Inspectors”), each upon a written request, at the offices where normally
     kept, during reasonable business hours, all pertinent financial and other records, pertinent corpo-
     rate documents and instruments of the Company and its subsidiaries (collectively, the “Records),
     as shall be reasonably necessary to enable the Inspectors to exercise any applicable due diligence
     responsibilities, and cause the officers, directors and employees of the Company and any of its
     subsidiaries to supply all information (“Information”) reasonably requested by the Inspectors in
     connection with such due diligence responsibilities. The Inspectors shall agree in writing that
     they will keep the Records and Information confidential and that they will not disclose any of the
     Records or Information that the Company determines, in good faith, to be confidential and noti-
     fies the Inspectors in writing are confidential unless (i) the disclosure of such Records or Informa-
     tion is necessary to avoid or correct a material misstatement or omission in such Registration
     Statement or Prospectus, (ii) the release of such Records or Information is ordered pursuant to a


                                                -11-
10-16140-mg     Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                       Pg 383 of 771


     subpoena or other order from a court claiming jurisdiction or any request or order from a regula-
     tory body, (iii) disclosure of such Records or Information is necessary or advisable, in the judg-
     ment of counsel for the Inspectors, in connection with any action, claim, suit or proceeding, di-
     rectly or indirectly, involving or potentially involving the Inspectors and arising out of, based
     upon, relating to or involving this Agreement, the applicable Indenture or the Purchase Agree-
     ment or any transactions contemplated hereby or thereby or arising hereunder or thereunder, (iv)
     the information in such Records or Information has been made generally available to the public
     other than by the Inspectors or any “affiliate” (as defined in Rule 405 under the Securities Act)
     thereof, (v) such information becomes available to any such person from a source other than the
     Company and such source is not known by such person to be bound by a confidentiality obliga-
     tion to the Company or (vi) such information is necessary to establish a due diligence defense;
     provided, however, that (if permitted) prior notice shall be provided as soon as practicable to the
     Company of the potential disclosure of any information by any Inspector pursuant to clauses (i),
     (ii) or (iii) of this sentence to permit the Company to obtain a protective order (or waive the pro-
     visions of this paragraph (xiv)) and that such Inspector shall take such actions as are reasonably
     necessary to protect the confidentiality of such information (if practicable) to the extent such ac-
     tion is otherwise not inconsistent with, an impairment of or in derogation of the rights and inter-
     ests of such Holder or Inspector;

             (xv)      in the case of a Shelf Registration, use their commercially reasonable efforts to
     cause all Registrable Securities to be listed on any securities exchange or any automated quota-
     tion system on which similar securities issued or guaranteed by the Company or any Guarantor
     are then listed if requested by the Majority Holders, to the extent such Registrable Securities sat-
     isfy applicable listing requirements;

            (xvi)     if reasonably requested by any Holder of Registrable Securities covered by a
     Shelf Registration Statement, promptly include in a Prospectus supplement or post-effective
     amendment such information with respect to such Holder as such Holder reasonably requests to
     be included therein and make all required filings of such Prospectus supplement or such post-
     effective amendment as soon as reasonably practicable after the Company has received notifica-
     tion of the matters to be so included in such filing;

            (xvii)    in the case of a Shelf Registration involving an Underwritten Offering, enter into
     such customary agreements and take all such other actions in connection therewith (including
     those requested by the Holders of a majority in principal amount of the Registrable Securities
     covered by the Shelf Registration Statement) in order to expedite or facilitate the disposition of
     such Registrable Securities and in such connection, (1) to the extent possible, make such repre-
     sentations and warranties to the Holders and any Underwriters of such Registrable Securities with
     respect to the business of the Company and its subsidiaries and the Registration Statement, Pro-
     spectus, any Free Writing Prospectus and documents incorporated by reference or deemed incor-
     porated by reference, if any, in each case, in form, substance and scope as are customarily made
     by issuers to underwriters in underwritten offerings of debt securities similar to the Securities and
     confirm the same if and when requested, (2) obtain opinions of counsel to the Company and the
     Guarantors (which opinions, in form, scope and substance, shall be reasonably satisfactory to
     such Underwriters and their counsel) addressed to each Underwriter of Registrable Securities,
     covering the matters customarily covered in opinions reasonably requested in underwritten offer-
     ings, (3) obtain “comfort” letters from the independent certified public accounting firm of the
     Company and the Guarantors (and, if necessary, any other certified public accountant of any sub-
     sidiary of the Company or any Guarantor, or of any business acquired by the Company or any
     Guarantor for which financial statements and financial data are or are required to be included in


                                                 -12-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                          Pg 384 of 771


        the Registration Statement) addressed to each selling Holder (to the extent permitted by applica-
        ble professional standards) and Underwriter of Registrable Securities, such letters to be in cus-
        tomary form and covering matters of the type customarily covered in “comfort” letters in connec-
        tion with underwritten offerings of debt securities similar to the Securities, including but not lim-
        ited to financial information contained in any preliminary prospectus, Prospectus or Free Writing
        Prospectus and (4) deliver such other documents and certificates as may be reasonably requested
        by the Holders of a majority in principal amount of the Registrable Securities being sold or the
        Underwriters, and which are customarily delivered in underwritten offerings of debt securities
        similar to the Securities, to evidence the continued validity of the representations and warranties
        of the Company and the Guarantors made pursuant to clause (1) above and to evidence compli-
        ance with any customary conditions contained in an underwriting agreement; and

             (xviii)     so long as any Registrable Securities remain outstanding, cause each Additional
        Guarantor upon the occurrence of the event resulting in such party becoming an Additional Guar-
        antor, to execute a counterpart to this Agreement in the form attached hereto as Exhibit B and to
        deliver such counterpart to the Initial Purchasers no later than five Business Days following the
        execution thereof.

                 (b)      In the case of a Shelf Registration Statement, the Company may require each
Holder of Registrable Securities to furnish to the Company such information regarding such Holder and
the proposed disposition by such Holder of such Registrable Securities as the Company and the Guaran-
tors may from time to time reasonably request in writing. To the extent such information is necessary to
include in such Shelf Registration Statement and any Holder fails or refuses to provide such information
within a reasonable period of time from the Company’s request (such time to be provided in the Com-
pany’s written request) such Holder shall not be entitled to include its Registrable Securities in such Shelf
Registration Statement until such information is provided to the Company and reflected in such Shelf
Registration Statement. Each Holder also agrees to notify the Company as promptly as reasonably practi-
cable of any inaccuracy or change in information previously furnished by such Holder to the Company or
of the occurrence of any event in either case as a result of which any Prospectus relating to the Shelf Reg-
istration Statement contains or would contain an untrue statement of a material fact regarding such Holder
or such Holder’s intended method of disposition of Registrable Securities or omits to state any material
fact regarding such Holder or such Holder’s intended method of disposition of such Registrable Securities
required to be stated therein or necessary to make the statements therein not misleading in light of the cir-
cumstances then existing, and promptly to furnish to the Company any additional information required to
correct and update any previously furnished information or required so that such Prospectus shall not con-
tain, with respect to such Holder or the disposition of such Registrable Securities, an untrue statement of a
material fact or omit to state a material fact required to be stated therein or necessary to make the state-
ments therein not misleading in the light of the circumstances then existing.

                 (c)      In the case of a Shelf Registration Statement, each Holder of Registrable Securi-
ties covered in such Shelf Registration Statement agrees that, upon receipt of any notice from the Com-
pany and the Guarantors of the happening of any event of the kind described in Section 3(a)(vi)(3) or
3(a)(vi)(5) hereof, such Holder will forthwith discontinue disposition of Registrable Securities pursuant to
the Shelf Registration Statement until such Holder’s receipt of the copies of the supplemented or amended
Prospectus and any Free Writing Prospectus contemplated by Section 3(a)(x) hereof and, if so directed by
the Company and the Guarantors, such Holder will deliver to the Company and the Guarantors all copies
in its possession, other than permanent file copies then in such Holder’s possession, of the Prospectus and
any Free Writing Prospectus covering such Registrable Securities that is current at the time of receipt of
such notice.



                                                    -13-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 385 of 771


                  (d)     (i) Subject to the limitation set forth in the next succeeding paragraph, the Com-
pany shall be entitled to delay the initial filing of any Registration Statement, suspend its obligation to file
any amendment to any Registration Statement, furnish any supplement or amendment to a Prospectus in-
cluded in any Registration Statement, make any other filing with the SEC that would be incorporated by
reference into any Registration Statement, cause any Registration Statement to remain effective or take
any similar action (collectively, “Registration Actions”) (A) if the board of directors of the Company de-
termines in good faith that taking any such Registration Actions (1) would reasonably be expected to ma-
terially impede, delay or interfere with, or require premature disclosure of, any material financing, offer-
ing, acquisition, merger, corporate reorganization or segment reclassification or discontinuance of opera-
tions, which is required to be reflected in pro forma or restated financial statements that amends a histori-
cal financial statement of the Company, or other significant transaction or any negotiations, discussions or
pending proposals with respect thereto, involving the Company or any of its subsidiaries or (2) would
require disclosure of non-public material information the disclosure of which would reasonably be ex-
pected to materially and adversely affect the Company, subject to the provisions of Section 3(d)(ii) or (B)
upon any event described in Section 3(a)(vi)(5) (the period resulting from any such delay, suspension or
other action, a “Suspension Period”). Upon the occurrence of any of the conditions described in the fore-
going sentence, the Company shall give prompt notice (a “Suspension Notice”) thereof to the Holders.
Upon the termination of such condition, the Company shall give prompt notice thereof to the Holders and
shall promptly proceed with all Registration Actions that were suspended pursuant to this paragraph.

                 (ii)    If the Company and the Guarantors shall give any Suspension Notice, the Com-
        pany and the Guarantors shall extend the period during which such Registration Statement shall
        be maintained effective pursuant to this Agreement by the number of days during the period from
        and including the date of the giving of such notice to and including the date when the Holders of
        such Registrable Securities shall have received copies of the supplemented or amended Prospec-
        tus or any Free Writing Prospectus necessary to resume such dispositions. The Company and the
        Guarantors may give any such notice only twice during any 365-day period and any such suspen-
        sions shall not exceed 30 days for each suspension and there shall not be more than two suspen-
        sions in effect during any 365-day period.

                (iii)   Each Holder agrees that upon receipt of any Suspension Notice from the Com-
        pany pursuant to this Section 3(d), it will discontinue use of the Prospectus contained in such
        Registration Statement and any Free Writing Prospectus until receipt of copies of the supple-
        mented or amended Prospectus or Free Writing Prospectus relating thereto or until advised in
        writing by the Company that the use of the Prospectus contained in such Registration Statement
        or Free Writing Prospectus may be resumed.

                 (e)      The Holders of Registrable Securities covered by a Shelf Registration Statement
who desire to do so may sell such Registrable Securities in an Underwritten Offering. In any such Un-
derwritten Offering, the investment bank or investment banks and manager or managers (each an “Un-
derwriter”) that will administer the offering will be selected by the Company, subject to the consent of the
Holders of a majority in principal amount of the Registrable Securities included in such offering (which
shall not be unreasonably withheld). No Holder may participate in any Underwritten Offering unless such
Holder (i) agrees to sell such Holder’s Securities on the basis provided in any underwriting arrangements
approved by the persons entitled hereunder to approve such arrangements and (ii) timely completes and
executes all reasonable questionnaires, powers of attorney, indemnities, underwriting agreements, lock-up
letters and other documents, under customary terms, as customarily required under the terms of such un-
derwriting arrangements.

        4.       Participation of Broker-Dealers in Exchange Offer.


                                                     -14-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                          Pg 386 of 771


                  (a)    The Staff has taken the position that any broker-dealer that receives Exchange
Securities for its own account in the Exchange Offer in exchange for Securities that were acquired by
such broker-dealer as a result of market-making or other trading activities (a “Participating Broker-
Dealer”) may be deemed to be an “underwriter” within the meaning of the Securities Act and must deliver
a prospectus meeting the requirements of the Securities Act in connection with any resale of such Ex-
change Securities.

         The Company and the Guarantors understand that it is the Staff’s position that if the Prospectus
contained in the Exchange Offer Registration Statement includes a plan of distribution containing a state-
ment to the above effect and the means by which Participating Broker-Dealers may resell the Exchange
Securities, without naming the Participating Broker-Dealers or specifying the amount of Exchange Secu-
rities owned by them (except to the extent required by Staff positions), such Prospectus may be delivered
by Participating Broker-Dealers (or, to the extent permitted by law, made available to purchasers) to sat-
isfy their prospectus delivery obligation under the Securities Act in connection with resales of Exchange
Securities for their own accounts, so long as the Prospectus otherwise meets the requirements of the Secu-
rities Act.

                 (b)      In light of the above, and notwithstanding the other provisions of this Agreement,
the Company and the Guarantors agree to amend or supplement the Prospectus contained in the Exchange
Offer Registration Statement for a period of up to 180 days after the last Exchange Date (as such period
may be extended pursuant to Section 3(d) of this Agreement), in order to expedite or facilitate the disposi-
tion of any Exchange Securities by Participating Broker-Dealers consistent with the positions of the Staff
recited in Section 4(a) above. The Company and the Guarantors further agree that Participating Broker-
Dealers shall be authorized to deliver such Prospectus (or, to the extent permitted by law, make available)
during such period in connection with the resales contemplated by this Section 4.

               (c)      The Initial Purchasers shall have no liability to the Company, any Guarantor or
any Holder with respect to any request that they may make pursuant to Section 4(b) above.

        5.      Indemnification and Contribution.

                  (a)      The Company and each Guarantor, jointly and severally, agree to indemnify and
hold harmless each Initial Purchaser and each Holder, their respective affiliates, directors and officers and
each Person, if any, who controls any Initial Purchaser or any Holder within the meaning of Section 15 of
the Securities Act or Section 20 of the Exchange Act, from and against any and all losses, claims, dam-
ages and liabilities (including, without limitation, reasonable legal fees and other expenses incurred in
connection with any suit, action or proceeding or any claim asserted, as such fees and expenses are in-
curred), joint or several, that arise out of, or are based upon, (1) any untrue statement or alleged untrue
statement of a material fact contained in any Registration Statement or any omission or alleged omission
to state therein a material fact required to be stated therein or necessary in order to make the statements
therein not misleading, or (2) any untrue statement or alleged untrue statement of a material fact con-
tained in any Prospectus, any Free Writing Prospectus or any “issuer information” (“Issuer Information”)
filed or required to be filed pursuant to Rule 433(d) under the Securities Act, or any omission or alleged
omission to state therein a material fact necessary in order to make the statements therein, in the light of
the circumstances under which they were made, not misleading, in each case except insofar as such
losses, claims, damages or liabilities arise out of, or are based upon, any untrue statement or omission or
alleged untrue statement or omission made in reliance upon and in conformity with any information relat-
ing to any Initial Purchaser or information relating to any Holder furnished to the Company in writing
through JPMorgan or any selling Holder, respectively, expressly for use therein. In connection with any
Underwritten Offering permitted by Section 3, the Company and the Guarantors, jointly and severally,


                                                    -15-
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                          Pg 387 of 771


will also indemnify the Underwriters, if any, selling brokers, dealers and similar securities industry pro-
fessionals participating in the distribution, their respective affiliates and each Person who controls such
Persons (within the meaning of the Securities Act and the Exchange Act) to the same extent as provided
above with respect to the indemnification of the Holders, if requested in connection with any Registration
Statement, any Prospectus, any Free Writing Prospectus or any Issuer Information.

                 (b)    Each Holder agrees, severally and not jointly, to indemnify and hold harmless the
Company, the Guarantors, the Initial Purchasers and the other selling Holders, the directors of the Com-
pany and the Guarantors, each officer of the Company and the Guarantors who signed the Registration
Statement and each Person, if any, who controls the Company, the Guarantors, any Initial Purchaser and
any other selling Holder within the meaning of Section 15 of the Securities Act or Section 20 of the Ex-
change Act to the same extent as the indemnity set forth in paragraph (a) above, but only with respect to
any losses, claims, damages or liabilities (including, without limitation, reasonable legal fees and other
expenses incurred in connection with any suit, action or proceeding or any claim asserted, as such fees
and expenses are incurred) that arise out of, or are based upon, any untrue statement or omission or al-
leged untrue statement or omission made in reliance upon and in conformity with any information relating
to such Holder furnished to the Company in writing by such Holder expressly for use in any Registration
Statement, any Prospectus and any Free Writing Prospectus.

                  (c)      If any suit, action, proceeding (including any governmental or regulatory investi-
gation), claim or demand shall be brought or asserted against any Person in respect of which indemnifica-
tion may be sought pursuant to either paragraph (a) or (b) above, such Person (the “Indemnified Person”)
shall promptly notify the Person against whom such indemnification may be sought (the “Indemnifying
Person”) in writing; provided that the failure to notify the Indemnifying Person shall not relieve it from
any liability that it may have under this Section 5 except to the extent that it has been materially preju-
diced (through the forfeiture of substantive rights or defenses) by such failure; and provided, further, that
the failure to notify the Indemnifying Person shall not relieve it from any liability that it may have to an
Indemnified Person otherwise than under this Section 5. If any such proceeding shall be brought or as-
serted against an Indemnified Person and it shall have notified the Indemnifying Person thereof, the In-
demnifying Person shall retain counsel reasonably satisfactory to the Indemnified Person to represent the
Indemnified Person and any others entitled to indemnification pursuant to this Section 5 that the Indemni-
fying Person may designate in such proceeding and shall pay the reasonable fees and expenses of such
proceeding and shall pay the reasonable fees and expenses of such counsel related to such proceeding, as
incurred. In any such proceeding, any Indemnified Person shall have the right to retain its own counsel,
but the fees and expenses of such counsel shall be at the expense of such Indemnified Person unless (i)
the Indemnifying Person and the Indemnified Person shall have mutually agreed to the contrary; (ii) the
Indemnifying Person has failed within a reasonable time to retain counsel reasonably satisfactory to the
Indemnified Person; (iii) the Indemnified Person shall have reasonably concluded that there may be legal
defenses available to it that are different from or in addition to those available to the Indemnifying Per-
son; or (iv) the named parties in any such proceeding (including any impleaded parties) include both the
Indemnifying Person and the Indemnified Person and representation of both parties by the same counsel
would be inappropriate due to actual or potential differing interests between them. It is understood and
agreed that the Indemnifying Person shall not, in connection with any proceeding or related proceeding in
the same jurisdiction, be liable for the fees and expenses of more than one separate firm (in addition to
any local counsel) for all Indemnified Persons, and that all such reasonable fees and expenses shall be
reimbursed as they are incurred. Any such separate firm (x) for any Initial Purchaser, its affiliates, direc-
tors and officers and any control Persons of such Initial Purchaser shall be designated in writing by
JPMorgan, (y) for any Holder, its directors and officers and any control Persons of such Holder shall be
designated in writing by the Majority Holders and (z) in all other cases shall be designated in writing by
the Company. The Indemnifying Person shall not be liable for any settlement of any proceeding effected


                                                    -16-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 388 of 771


without its written consent, but if settled with such consent or if there be a final judgment for the plaintiff,
the Indemnifying Person agrees to indemnify each Indemnified Person from and against any loss or liabil-
ity by reason of such settlement or judgment. No Indemnifying Person shall, without the written consent
of the Indemnified Person, effect any settlement of any pending or threatened proceeding in respect of
which any Indemnified Person is or could have been a party and indemnification could have been sought
hereunder by such Indemnified Person, unless such settlement (A) includes an unconditional release of
such Indemnified Person, in form and substance reasonably satisfactory to such Indemnified Person, from
all liability on claims that are the subject matter of such proceeding and (B) does not include any state-
ment as to any admission of fault, culpability or a failure to act by or on behalf of any Indemnified Per-
son.

                  (d)      If the indemnification provided for in paragraphs (a) and (b) above is unavailable
to an Indemnified Person or insufficient in respect of any losses, claims, damages or liabilities referred to
therein, then each Indemnifying Person under such paragraph, in lieu of indemnifying such Indemnified
Person thereunder, shall contribute to the amount paid or payable by such Indemnified Person as a result
of such losses, claims, damages or liabilities (i) in such proportion as is appropriate to reflect the relative
benefits received by the Company and the Guarantors from the offering of the Securities and the Ex-
change Securities, on the one hand, and by the Holders from receiving Securities or Exchange Securities
registered under the Securities Act, on the other hand, or (ii) if the allocation provided by clause (i) is not
permitted by applicable law, in such proportion as is appropriate to reflect not only the relative benefits
referred to in clause (i) but also the relative fault of the Company and the Guarantors on the one hand and
the Holders on the other in connection with the statements or omissions that resulted in such losses,
claims, damages or liabilities, as well as any other relevant equitable considerations. The relative fault of
the Company and the Guarantors on the one hand and the Holders on the other shall be determined by
reference to, among other things, whether the untrue or alleged untrue statement of a material fact or the
omission or alleged omission to state a material fact relates to information supplied by the Company and
the Guarantors or by the Holders and the parties’ relative intent, knowledge, access to information and
opportunity to correct or prevent such statement or omission.

                  (e)     The Company, the Guarantors and the Holders agree that it would not be just and
equitable if contribution pursuant to this Section 5 were determined by pro rata allocation (even if the
Holders were treated as one entity for such purpose) or by any other method of allocation that does not-
take account of the equitable considerations referred to in paragraph (d) above. The amount paid or pay-
able by an Indemnified Person as a result of the losses, claims, damages and liabilities referred to in para-
graph (d) above shall be deemed to include, subject to the limitations set forth above, any reasonable legal
or other expenses incurred by such Indemnified Person in connection with any such action or claim. Not-
withstanding the provisions of this Section 5, in no event shall a Holder be required to contribute any
amount in excess of the amount by which the total price at which the Securities or Exchange Securities
sold by such Holder exceeds the amount of any damages that such Holder has otherwise been required to
pay by reason of such untrue or alleged untrue statement or omission or alleged omission. No Person
guilty of fraudulent misrepresentation (within the meaning of Section 11(f) of the Securities Act) shall be
entitled to contribution from any Person who was not guilty of such fraudulent misrepresentation. The
Holders’ obligations to contribute pursuant to this Section 5 are several and not joint.

                 (f)     The remedies provided for in this Section 5 are not exclusive and shall not limit
any rights or remedies that may otherwise be available to any Indemnified Person at law or in equity.

                (g)     The indemnity and contribution provisions contained in this Section 5 shall re-
main operative and in full force and effect regardless of (i) any termination of this Agreement, (ii) any
investigation made by or on behalf of the Initial Purchasers or any Holder or any Person controlling any


                                                     -17-
10-16140-mg           Doc 116    Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                           Pg 389 of 771


Initial Purchaser or any Holder, or by or on behalf of the Company or the Guarantors or the officers or
directors of or any Person controlling the Company or the Guarantors, (iii) acceptance of any of the Ex-
change Securities and (iv) any sale of Registrable Securities pursuant to a Shelf Registration Statement.

                 6.      General.

                 (a)      Inconsistent Agreements. The Company and the Guarantors represent, warrant
and agree that (i) the rights granted to the Holders hereunder do not in any way conflict with and are not
inconsistent with the rights granted to the holders of any other outstanding securities issued or guaranteed
by the Company or any Guarantor under any other agreement and (ii) neither the Company nor any Guar-
antor has entered into, or on or after the date of this Agreement will enter into, any agreement that is in-
consistent with the rights granted to the Holders of Registrable Securities in this Agreement or otherwise
conflicts with the provisions hereof. For clarification, nothing herein is intended to prohibit the Company
and the Guarantors from (i) registering any Additional Notes (as defined in the Indenture) issued on the
same registration statement as the Registrable Securities or (ii) complying with their obligations for the
registration of any securities of pursuant to the terms of the Reorganization Plan (as defined in the Inden-
ture) or any agreement entered into as contemplated by the Reorganization Plan (as defined in the Inden-
ture).

                  (b)     Amendments and Waivers. The provisions of this Agreement, including the pro-
visions of this sentence, may not be amended, modified or supplemented, and waivers or consents to de-
partures from the provisions hereof may not be given unless the Company and the Guarantors have ob-
tained the written consent of Holders of at least a majority in aggregate principal amount of the out-
standing Registrable Securities affected by such amendment, modification, supplement, waiver or con-
sent; provided, that no amendment, modification, supplement, waiver or consent to any departure from
the provisions of Section 5 hereof shall be effective as against any Holder of Registrable Securities unless
consented to in writing by such Holder. Any amendments, modifications, supplements, waivers or con-
sents pursuant to this Section 6(b) shall be by a writing executed by each of the parties hereto.

                  (c)      Notices. All notices and other communications provided for or permitted here-
under shall be made in writing by hand-delivery, registered first-class mail, telex, telecopier, or any cou-
rier guaranteeing overnight delivery (i) if to a Holder, at the most current address given by such Holder to
the Company by means of a notice given in accordance with the provisions of this Section 6(c), which
address initially is, with respect to the Initial Purchasers, the address set forth in the Purchase Agreement;
(ii) if to the Company and the Guarantors, initially at the Company’s address set forth in the Purchase
Agreement and thereafter at such other address, notice of which is given in accordance with the provi-
sions of this Section 6(c); and (iii) to such other persons at their respective addresses as provided in the
Purchase Agreement and thereafter at such other address, notice of which is given in accordance with the
provisions of this Section 6(c). All such notices and communications shall be deemed to have been duly
given: at the time delivered by hand, if personally delivered; five Business Days after being deposited in
the mail, postage prepaid, if mailed; when answered back, if telexed; when receipt is acknowledged, if
telecopied; and on the next Business Day if timely delivered to an air courier guaranteeing overnight de-
livery. Copies of all such notices, demands or other communications shall be concurrently delivered by
the Person giving the same to the Trustee, at the address specified in the Indenture.

                 (d)    Successors and Assigns. This Agreement shall inure to the benefit of and be
binding upon the successors, assigns and transferees of each of the parties, including, without limitation
and without the need for an express assignment, subsequent Holders; provided that nothing herein shall
be deemed to permit any assignment, transfer or other disposition of Registrable Securities in violation of
the terms of the Purchase Agreement or the Indenture. If any transferee of any Holder shall acquire Reg-


                                                    -18-
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                           Pg 390 of 771


istrable Securities in any manner, whether by operation of law or otherwise, such Registrable Securities
shall be held subject to all the terms of this Agreement, and by taking and holding such Registrable Secu-
rities such Person shall be conclusively deemed to have agreed to be bound by and to perform all of the
terms and provisions of this Agreement and such Person shall be entitled to receive the benefits hereof.
The Initial Purchasers (in their capacity as Initial Purchasers) shall have no liability or obligation to the
Company or the Guarantors with respect to any failure by a Holder (other than such Initial Purchaser) to
comply with, or any breach by any Holder of, any of the obligations of such Holder (other than such Ini-
tial Purchaser) under this Agreement.

                (e)      Third Party Beneficiaries. Each Holder shall be a third party beneficiary to the
agreements made hereunder between the Company and the Guarantors, on the one hand, and the Initial
Purchasers, on the other hand, and shall have the right to enforce such agreements directly to the extent it
deems such enforcement necessary or advisable to protect its rights or the rights of other Holders here-
under.

                 (f)      Counterparts. This Agreement may be executed in any number of counterparts
and by the parties hereto in separate counterparts, each of which when so executed shall be deemed to be
an original and all of which taken together shall constitute one and the same agreement. Delivery of an
executed counterpart of a signature page to this Agreement by telecopier, facsimile, email or other elec-
tronic transmission (i.e., “pdf” or “tif”) shall be effective as delivery of a manually executed counterpart
of this Agreement.

                 (g)       Headings. The headings in this Agreement are for convenience of reference
only, are not a part of this Agreement and shall not limit or otherwise affect the meaning hereof.

                 (h)      Governing Law. This Agreement, and any claims, controversy or dispute arising
under or related to this Agreement, shall be governed by and construed in accordance with the laws of the
State of New York.

                 (i)      Entire Agreement; Severability. This Agreement contains the entire agreement
between the parties relating to the subject matter hereof and supersedes all oral statements and prior writ-
ings with respect thereto. If any term, provision, covenant or restriction contained in this Agreement is
held by a court of competent jurisdiction to be invalid, void or unenforceable or against public policy, the
remainder of the terms, provisions, covenants and restrictions contained herein shall remain in full force
and effect and shall in no way be affected, impaired or invalidated. The Company, the Guarantors and the
Initial Purchasers shall endeavor in good faith negotiations to replace the invalid, void or unenforceable
provisions with valid provisions the economic effect of which comes as close as possible to that of the
invalid, void or unenforceable provisions.




                                                    -19-
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 391 of 771
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 392 of 771
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 393 of 771

                                                                                       EXECUTION VERSION
                                                                                                      Exhibit A

                                   Registration Rights Agreement Joinder


         WHEREAS, AMO Escrow Corporation and J.P. Morgan Securities LLC, as representative of the
Initial Purchasers named on Schedule I of the Purchase Agreement (collectively, the “Initial Purchasers”),
heretofore executed and delivered a registration rights agreement (“Registration Rights Agreement”),
dated December 1, 2010, providing for the registration and exchange of the Securities (as defined
therein); and

        WHEREAS, American Media Operations, Inc., a Delaware corporation (the “Company”), and
each of the Guarantors, which was originally not a party thereto, has agreed to join in the Registration
Rights Agreement on the Release Date.

         Capitalized terms used herein and not otherwise defined herein shall have the meanings ascribed
to such terms in the Registration Rights Agreement.

         NOW, THEREFORE, the Company and each Guarantor hereby agrees for the benefit of the Ini-
tial Purchasers, as follows:

         1.       Joinder. Each of the undersigned signatory parties hereby acknowledges that it has re-
ceived and reviewed a copy of the Registration Rights Agreement and all other documents it deems fit to
enter into this registration rights agreement joinder (the “Joinder Agreement”), and acknowledges and
agrees to (i) join and become a party to the Registration Rights Agreement as indicated by its signature
below; (ii) be bound by all covenants, agreements, representations, warranties, indemnities and acknowl-
edgments attributable to the Guarantors and/or the Company, as applicable, to such signatory party in the
Registration Rights Agreement as if made by, and with respect to, such signatory party; and (iii) perform
all obligations and duties required and be entitled to all the benefits of the Guarantors or the Company, as
applicable, and of such signatory party pursuant to the Registration Rights Agreement.

         2.      Representations and Warranties and Agreements of the Company and the Guarantors.
Each of the undersigned hereby represents and warrants to and agrees with the Initial Purchasers that it
has all the requisite corporate or limited liability company power and authority, as the case may be, to
execute, deliver and perform its obligations under this Joinder Agreement and to consummate the transac-
tion contemplated hereby. This Joinder Agreement has been duly authorized, executed and delivered by
each of the undersigned, and constitutes a valid and legally binding agreement enforceable against each of
the undersigned in accordance with its terms.

         3.      Counterparts. This Joinder Agreement may be signed in one or more counterparts, each
of which shall constitute an original when so executed and all of which together shall constitute one and
the same agreement. Delivery of an executed counterpart of a signature page to this Agreement by tele-
copier, facsimile, email or other electronic transmission (i.e., “pdf” or “tif”) shall be effective as delivery
of a manually executed counterpart of this Joinder Agreement.

        4.      Amendments. No amendment or waiver of any provision of this Joinder Agreement, nor
any consent or approval to any departure therefrom, shall in any event be effective unless the same shall
be in writing and signed by all of the parties to the Registration Rights Agreement.

        5.      Headings. The section headings used herein are for convenience only and shall not affect
the construction hereof.
10-16140-mg       Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                         Pg 394 of 771


        6.       Applicable Law. This Joinder Agreement, and any claims, controversy or dispute arising
under or related to this Joinder Agreement, shall be governed by and construed in accordance with the
laws of the State of New York.




                                                  -2-
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                       Pg 395 of 771


        IN WITNESS WHEREOF, the undersigned has executed this agreement as of the date first writ-
ten above.

                                             AMERICAN MEDIA OPERATIONS, INC.


                                             By:
                                                      Name:
                                                      Title:


                                             [GUARANTORS]


                                             By:
                                                      Name:
                                                      Title:




                                                -3-
10-16140-mg       Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47               Main Document
                                         Pg 396 of 771

                                                                                  EXECUTION VERSION
                                                                                               Exhibit B


                             Counterpart to Registration Rights Agreement



         The undersigned hereby absolutely, unconditionally and irrevocably agrees as a Guarantor (as de-
fined in the Registration Rights Agreement, dated as of December 1, 2010 by and between AMO Escrow
Corporation, a Delaware corporation, and J.P. Morgan Securities LLC, on behalf of itself and the other
Initial Purchasers) to be bound by the terms and provisions of such Registration Rights Agreement.

        IN WITNESS WHEREOF, the undersigned has executed this counterpart as of ________, 20[ ].

                                                [ADDITIONAL GUARANTOR]


                                                By:
                                                      Name:
                                                      Title:
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47        Main Document
                                  Pg 397 of 771



                                   EXHIBIT E

              Registration Rights Agreement for New Second Lien Notes
10-16140-mg           Doc 116    Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                           Pg 398 of 771



                                REGISTRATION RIGHTS AGREEMENT

        This REGISTRATION RIGHTS AGREEMENT dated as of December [ ], 2010 (this
“Agreement”) is entered into by and between American Media, Inc., a Delaware corporation (the
“Company”), those certain Guarantors listed on the signature pages hereto and the parties identi-
fied as “Holders” (as defined below), each of whom beneficially owns a portion of the
[$140,000,000] aggregate principal amount of the Company’s 13.5% Second Lien Senior Se-
cured Notes due 2018 (the “Notes”) to be guaranteed by the Guarantors (the “Guarantees”) pur-
suant to the Indenture (as defined below). The Notes and the Guarantees are herein collectively
referred to as the “Securities.”

        Pursuant to the Plan, the Company issued Notes to certain holders of the Term Facility
Claims (as defined below), to the holders of the PIK Notes Claims (as defined below) and to the
Backstop Parties (as defined below), and each of such holders has been deemed, pursuant to the
Plan, to be a party to this Agreement as a result of the distribution it received under the Plan.
This Agreement is made pursuant to the Plan and the Backstop Agreement (as defined below) for
the benefit of the Holders from time to time of the Securities. In order to induce the holders of
the Term Facility Claims and the holders of the PIK Notes Claims to accept the Notes under the
Plan and the Backstop Parties to purchase their allocable share of any Notes that would other-
wise be distributed to the holders of the Term Facility Claims, the Company has agreed to pro-
vide to the Holders and their direct and indirect transferees the registration rights set forth in this
Agreement.

          In consideration of the foregoing, the parties hereto agree as follows:

       1.    Definitions. As used in this Agreement, the following terms shall have the fol-
lowing meanings:

                 “Additional Guarantor” shall mean any subsidiary of the Company that executes a
          Subsidiary Guarantee under the Indenture after the Issue Date.

                  “AMO” shall mean American Media Operations, Inc., a Delaware corporation,
          prior to its merger with and into the Company on the date of this Agreement.

                 “Backstop Agreement” shall mean the agreement, dated as of October 30, 2010,
          by and among AMO, the Company, Avenue Capital Management II, L.P. and its affili-
          ates and Angelo, Gordon & Co., L.P. and its affiliates.

                 “Backstop Parties” shall mean Avenue Capital Management II, L.P. and its affili-
          ates and Angelo, Gordon & Co., L.P. and its affiliates.

                 “Bankruptcy Code” shall mean title 11 of the United States Code, as amended
          from time to time.

                  “Business Day” shall mean any day that is not a Saturday, Sunday or other day on
          which commercial banks in New York City are authorized or required by law to remain
          closed.


Doc#: US1:6672203v9
10-16140-mg     Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                      Pg 399 of 771



              “Claim” has the meaning set forth in Bankruptcy Code section 101(5).

             “Company” shall have the meaning set forth in the preamble and shall also in-
     clude the Company’s successors.

            “Exchange Act” shall mean the Securities Exchange Act of 1934, as amended
     from time to time.

              “FINRA” shall mean the Financial Industry Regulatory Authority, Inc.

             “Free Writing Prospectus” shall mean each free writing prospectus (as defined in
     Rule 405 under the Securities Act) prepared by or on behalf of the Company or used or
     referred to by the Company in connection with the resale of the Securities by the Holders
     pursuant to a Registration Statement.

              “Guarantors” shall have the meaning set forth in the Indenture.

             “Holders” shall mean (i) the parties identified as “Holders” on the signature pages
     hereto who beneficially own Registrable Securities, (ii) the other parties deemed to be
     parties to this Agreement pursuant to the Plan who beneficially own Registrable Securi-
     ties, and (iii) each of their respective successors, assigns and direct and indirect transfe-
     rees who become owners of Registrable Securities under the Indenture; provided that (x)
     in the case of a Holder defined in clause (i) or (iii), such Holder is identified as such on
     the signature pages hereto or executes and delivers to the Company a counterpart to this
     Agreement in the form attached hereto as Exhibit A, and (y) in the case of a Holder de-
     fined in clause (ii), such Holder provides its contact information to the Company.

              “Holders’ Inspector” shall have the meaning set forth in Section 4(a)(xiv) hereof.

              “Indemnified Person” shall have the meaning set forth in Section 5(c) hereof.

              “Indemnifying Person” shall have the meaning set forth in Section 5(c) hereof.

             “Indenture” shall mean the Indenture relating to the Securities dated as of Decem-
     ber [ ], 2010 by and among Company, the Guarantors and Wilmington Trust FSB, as
     trustee and collateral agent, and as the same may be amended from time to time in accor-
     dance with the terms thereof.

              “Information” shall have the meaning set forth in Section 4(a)(xiv) hereof.

              “Inspectors” shall have the meaning set forth in Section 4(a)(xiv) hereof.

              “Issue Date” shall mean December [      ], 2010.

              “Issuer Information” shall have the meaning set forth in Section 5(a) hereof.

             “Majority Holders” shall mean the Holders of a majority of the aggregate prin-
     cipal amount of the outstanding Registrable Securities; provided that whenever the con-

                                              -2-
10-16140-mg     Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                      Pg 400 of 771



     sent or approval of Holders of a specified percentage of Registrable Securities is required
     hereunder, any Registrable Securities owned directly or indirectly by the Company or any
     of its subsidiaries shall not be counted in determining whether such consent or approval
     was given by the Holders of such required percentage or amount; and provided, further,
     that if the Company shall issue any additional Securities to the Holders under the Inden-
     ture prior to the effectiveness of any Shelf Registration Statement, such additional Securi-
     ties and the Registrable Securities to which this Agreement relates shall be treated to-
     gether as one class for purposes of determining whether the consent or approval of Hold-
     ers of a specified percentage of Registrable Securities has been obtained.

              “Other Holders” shall have the meaning set forth in Section 4(c) hereof.

              “Person” shall mean an individual, partnership, limited liability company, corpo-
     ration, trust or unincorporated organization, or a government or agency or political subdi-
     vision thereof.

             “PIK Notes Claims” shall mean any Claim arising under that certain Indenture
     dated as of January 20, 2009 among AMO, Wilmington Trust FSB and other parties the-
     reto, as may have been further amended heretofore.

            “Plan” shall mean AMO, Company and certain of its subsidiaries’ Amended Joint
     Prepackaged Plan of Reorganization under Chapter 11 of the Bankruptcy Code, dated
     October 30, 2010, as amended on December 15, 2010.

             “Prospectus” shall mean the prospectus included in, or, pursuant to the rules and
     regulations of the Securities Act, deemed a part of, a Shelf Registration Statement, in-
     cluding any preliminary prospectus, and any such prospectus as amended or supple-
     mented by any prospectus supplement, including a prospectus supplement with respect to
     the terms of the offering of any portion of the Registrable Securities covered by a Shelf
     Registration Statement, and by all other amendments and supplements to such prospec-
     tus, and in each case including any document incorporated by reference therein.

              “Records” shall have the meaning set forth in Section 4(a)(xiv) hereof.

              “Registrable Securities” shall mean the Securities; provided that the Securities
     shall cease to be Registrable Securities on the earliest of (i) when a Shelf Registration
     Statement with respect to all such Securities has become effective under the Securities
     Act and such Securities have been disposed of pursuant to such Shelf Registration State-
     ment, (ii) when such Securities have been disposed of pursuant to a Piggyback Takedown
     or (iii) when such Securities cease to be outstanding.

              “Registration Actions” shall have the meaning set forth in Section 4(d)(i) hereof.

              “Registration Default” shall have the meaning set forth in Section 2(c) hereof.

             “Registration Expenses” shall mean any and all expenses incident to performance
     of or compliance by the Company and the Guarantors with this Agreement, including

                                              -3-
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                       Pg 401 of 771



     without limitation: (i) all SEC, stock exchange or FINRA registration and filing fees, (ii)
     all fees and expenses incurred in connection with compliance with state securities or blue
     sky laws (including reasonable fees and disbursements of one counsel for any Underwri-
     ters or Holders (which counsel shall be selected by the Majority Holders and which coun-
     sel may also be counsel for the Backstop Parties) in connection with blue sky qualifica-
     tion of any Registrable Securities), (iii) all expenses of the Company and the Guarantors
     in preparing or assisting in preparing, word processing, printing and distributing any
     Shelf Registration Statement, any Prospectus, any Free Writing Prospectus and any
     amendments or supplements thereto, any underwriting agreements, securities sales
     agreements or other similar agreements and any other documents relating to the perfor-
     mance of and compliance with this Agreement, (iv) all rating agency fees, (v) all fees and
     disbursements relating to the qualification of the Indenture under applicable securities
     laws, (vi) the fees and disbursements of the Trustee and its counsel as may be agreed by
     the Company and the Trustee, (vii) the fees and disbursements of counsel for the Compa-
     ny and the Guarantors and the reasonable fees and disbursements of one counsel for the
     Holders (which counsel shall be selected by the Majority Holders and which counsel may
     also be counsel for the Backstop Parties) and (viii) the fees and disbursements of the in-
     dependent public accounting firm of the Company and the Guarantors, including the ex-
     penses of any special audits or “comfort” letters required by or incident to the perfor-
     mance of and compliance with this Agreement, but excluding fees and expenses of coun-
     sel to the Underwriters (other than fees and expenses set forth in clause (ii) above) or the
     Holders and underwriting discounts and commissions, brokerage commissions and trans-
     fer taxes, if any, relating to the sale or disposition of Registrable Securities by a Holder.

             “Registration Statement” shall mean any registration statement filed under the Se-
     curities Act of the Company and the Guarantors that covers any of the Registrable Securi-
     ties pursuant to the provisions of this Agreement and all amendments and supplements to
     any such registration statement, including post-effective amendments, in each case in-
     cluding the Prospectus contained therein or deemed a part thereof, all exhibits thereto and
     any document incorporated by reference therein.

               “SEC” shall mean the United States Securities and Exchange Commission.

               “Securities” shall have the meaning set forth in the preamble.

               “Securities Act” shall mean the Securities Act of 1933, as amended from time to
     time.

               “Shelf Effectiveness Period” shall have the meaning set forth in Section 2(a) he-
     reof.

               “Shelf Registration” shall mean a registration effected pursuant to Section 2(a)
     hereof.

            “Shelf Registration Statement” shall mean a “shelf” registration statement of the
     Company and the Guarantors that covers all or a portion of the Registrable Securities (but
     no other securities unless approved by a majority of the Holders whose Registrable Se-

                                               -4-
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                        Pg 402 of 771



       curities are to be covered by such Shelf Registration Statement) on an appropriate form
       under Rule 415 under the Securities Act, or any similar rule that may be adopted by the
       SEC, and all amendments and supplements to such registration statement, including post-
       effective amendments, in each case including the Prospectus contained therein or deemed
       a part thereof, all exhibits thereto and any document incorporated by reference therein.

               “Subsidiary Guarantees” shall mean the guarantees of the Securities by the Gua-
       rantors under the Indenture.

               “Suspension Notice” shall have the meaning set forth in Section 4(d)(i) hereof.

               “Suspension Period” shall have the meaning set forth in Section 4(d)(i) hereof.

              “Term Facility Claims” shall mean any Claim arising under the Amended and
       Restated Credit Agreement dated as of January 30, 2006, as amended and restated as of
       December 31, 2008 and as may have been further amended heretofore, among AMO, the
       Company, and the other parties thereto.

              “Trust Indenture Act” shall mean the Trust Indenture Act of 1939, as amended
       from time to time.

               “Trustee” shall mean the trustee with respect to the Securities under the Indenture.

               “Underwriter” shall have the meaning set forth in Section 4(e) hereof.

               “Underwriter Inspector” shall have the meaning set forth in Section 4(a)(xiv) he-
       reof.

               “Underwritten Offering” shall mean an offering in which Registrable Securities
       are sold to an Underwriter for reoffering to the public.

       2.      Registration Under the Securities Act.

                 (a)     The Company and the Guarantors shall use their commercially reasonable
efforts to (i) cause to be filed with the SEC a Shelf Registration Statement covering the sale of all
the Registrable Securities and (ii) as soon as reasonably practicable following the filing of such
Shelf Registration Statement, but in any case no later than 450 days after the Issue Date, cause
such Shelf Registration Statement to become effective. The Company and the Guarantors agree
to use their commercially reasonable efforts to keep the Shelf Registration Statement continuous-
ly effective until the date when all of the Registrable Securities covered by the Shelf Registration
Statement have been sold or otherwise disposed of pursuant to the Shelf Registration Statement
or cease to be Registrable Securities (the “Shelf Effectiveness Period”). The Company and the
Guarantors further agree to supplement or amend the Shelf Registration Statement, the related
Prospectus and any Free Writing Prospectus if required by the rules, regulations or instructions
applicable to the registration form used by the Company for such Shelf Registration Statement or
by the Securities Act or by any other rules and regulations thereunder or if reasonably requested
by a Holder of Registrable Securities with respect to information relating to such Holder, and to


                                                -5-
10-16140-mg       Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                        Pg 403 of 771



use their commercially reasonable efforts to cause any such amendment to become effective, if
required, and such Shelf Registration Statement, Prospectus or Free Writing Prospectus, as the
case may be, to become usable as soon as thereafter practicable. The Company and the Guaran-
tors agree to furnish to the Holders of Registrable Securities copies of any such supplement or
amendment promptly after its being used or filed with the SEC.

                (b)     The Company and the Guarantors shall pay all Registration Expenses in
connection with any registration pursuant to Section 2(a) hereof. Each Holder shall pay all un-
derwriting discounts and commissions, brokerage commissions and transfer taxes, if any, relating
to the sale or disposition of such Holder’s Registrable Securities pursuant to the Shelf Registra-
tion Statement and any fees and disbursements of counsel or experts retained by such Holder in
connection with any registration pursuant hereto (other than any such fees and disbursements
included within the definition of Registration Expenses and paid for by the Company and the
Guarantors in accordance with the terms of this Agreement).

                (c)     A Shelf Registration Statement pursuant to Section 2(a) hereof will not be
deemed to have become effective unless it has been declared effective by the SEC or is automat-
ically effective upon filing with the SEC as provided by Rule 462 under the Securities Act.

        In the event that (i) the Shelf Registration Statement has not become effective on or prior
to the date that is 450 days following the Issue Date, or (ii) the Shelf Registration Statement has
become effective and thereafter either ceases to be effective or the Prospectus contained therein
ceases to be usable, in each case whether or not permitted by this Agreement, at any time during
the Shelf Effectiveness Period and such failure to remain effective or usable exists for more than
60 days (whether or not consecutive) in any 12-month period (each such event referred to in
clauses (i) and (ii), a “Registration Default”), the interest rate on the applicable Registrable Se-
curities will be increased by (A) 0.25% per annum for the first 90-day period immediately fol-
lowing the occurrence of such Registration Default and (B) an additional 0.25% per annum with
respect to each subsequent 90-day period until all Registration Defaults with respect to such Re-
gistrable Securities have been cured, up to a maximum increase of 1.00% per annum; provided
that the Company and the Guarantors shall in no event be required to pay additional interest ac-
crued for more than one Registration Default at any given time. Notwithstanding anything to the
contrary set forth herein, (1) upon the effectiveness of the Shelf Registration Statement in the
case of clause (i) above, or (2) upon the filing of a post-effective amendment to the Shelf Regis-
tration Statement or an additional Registration Statement that causes the Shelf Registration
Statement to again be declared effective or made usable in the case of clause (ii) above, addition-
al interest with respect to the Registrable Securities as a result of such clause (i) and (ii), as ap-
plicable, shall cease to accrue. Notwithstanding anything to the contrary set forth in this Agree-
ment, (x) the obligation of the Company and the Guarantors to pay or accrue additional interest
as set forth in this paragraph shall be the sole and exclusive monetary remedy of the Holders in
the event of a Registration Default, (y) a Holder of Registrable Securities that is not entitled to
the benefits of the Shelf Registration Statement as a result of the failure of such Holder to comp-
ly with Section 4(b) or Section 4(e) shall not be entitled to such additional interest with respect to
a Registration Default that pertains to the Shelf Registration Statement and (z) such additional
interest shall be paid or accrue only as to the Registrable Securities to which a Registration De-
fault relates.


                                                 -6-
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                        Pg 404 of 771



                (d)     Without limiting the remedies available to the Holders, the Company and
the Guarantors acknowledge that any failure by the Company or the Guarantors to comply with
their obligations under Section 2(a) hereof may result in material irreparable injury to the Hold-
ers for which there is no adequate remedy at law, that it will not be possible to measure damages
for such injuries precisely and that, in the event of any such failure, any Holder may obtain such
relief as may be required to specifically enforce the Company’s and the Guarantors’ obligations
under Section 2(a) hereof.

       3.      Piggyback Takedowns.

                (a)     Right to Piggyback. If the Company proposes to file a Registration
Statement with respect to an offering of any of its securities for its own account (other than a
Registration Statement on Form S-4 or S-8) or for the account of any securityholder of the Com-
pany, other than Holders pursuant to Section 2 hereof (a “Piggyback Takedown”), the Company
shall give prompt written notice to all Holders of Registrable Securities of its intention to effect
such Piggyback Takedown. In the case of a Piggyback Takedown that is an offering under a
Registration Statement that is a “shelf” registration statement (excluding a Shelf Registration),
such notice shall be given not less than ten (10) Business Days prior to the expected date of
commencement of marketing efforts for such Piggyback Takedown. In the case of a Piggyback
Takedown that is an offering under a Registration Statement that is not a shelf registration state-
ment, such notice shall be given not less than ten (10) Business Days prior to the expected date
of filing of such Registration Statement. The Company shall, subject to the provisions of Sec-
tions 3(b) and (c) below, include in such Piggyback Takedown, as applicable, all Registrable Se-
curities with respect to which the Company has received written requests for inclusion therein
within five Business Days (5) days after sending the Company’s notice. Notwithstanding any-
thing to the contrary contained herein, the Company may determine not to proceed with any Pig-
gyback Takedown upon written notice to the Holders of Registrable Securities requesting to in-
clude their Registrable Securities in such Piggyback Takedown.

                (b)     Priority on Primary Piggyback Takedowns. If a Piggyback Takedown is
an underwritten primary registration on behalf of the Company, and the managing underwriters
for a Piggyback Takedown advise the Company in writing that in their reasonable opinion the
number of securities requested to be included in such Piggyback Takedown exceeds the number
which can be sold in an orderly manner in such offering within a price range acceptable to the
Company, the Company shall include in such Piggyback Takedown the number which can be so
sold in the following order of priority: (i) first, the securities the Company proposes to sell,
(ii) second, the Registrable Securities requested to be included in such Piggyback Takedown (pro
rata among the Holders of such Registrable Securities on the basis of the number of Registrable
Securities requested to be included therein by each such Holder), and (iii) third, other securities
requested to be included in such Piggyback Takedown.

               (c)     Priority on Secondary Piggyback Takedowns. If a Piggyback Takedown
is an underwritten secondary registration on behalf of holders of the Company’s securities
(“Other Holders”), and the managing underwriters advise the Company in writing that in their
opinion the number of securities requested to be included in such Piggyback Takedown exceeds
the number which can be sold in an orderly manner in such offering within a price range accept-

                                                -7-
10-16140-mg       Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                         Pg 405 of 771



able to the Other Holders, the Company shall include in such registration the number which can
be so sold in the following order of priority: (i) first, the securities requested to be included there-
in by the Other Holders requesting such registration and the Registrable Securities requested to
be included in such registration, pro rata among the holders of any such securities and Registra-
ble Securities on the basis of the number of securities and Registrable Securities so requested to
be included therein by each such holder, and (ii) second, other securities requested to be included
in such registration.

                 (d)    Selection of Underwriters. If any Piggyback Takedown is an Underwrit-
ten Offering, the Company will have the sole right to select the investment banker(s) and manag-
er(s) for the offering.

        4.      Registration Procedures.

             (a)   In connection with their obligations pursuant to Section 2(a) hereof, the
Company and the Guarantors shall as soon as reasonably practicable:

                (i)    prepare and file with the SEC a Registration Statement on the appropriate
        form under the Securities Act, which form (x) shall be selected by the Company and the
        Guarantors, (y) shall be available for the sale of the Registrable Securities by the Holders
        thereof and (z) shall comply as to form in all material respects with the requirements of
        the applicable form and include all financial statements required by the SEC to be filed
        therewith; and use their commercially reasonable efforts to cause such Registration
        Statement to become effective and remain effective for the applicable period in accor-
        dance with Section 2 hereof;

               (ii)    subject to Section 4(d) hereof, prepare and file with the SEC such amend-
        ments and post-effective amendments to each Registration Statement and file with the
        SEC any other required document as may be necessary to keep such Registration State-
        ment effective for the applicable period in accordance with Section 2 hereof and cause
        each Prospectus to be supplemented by any required prospectus supplement and, as so
        supplemented, to be filed pursuant to Rule 424 under the Securities Act; and keep each
        Prospectus current during the period described in Section 4(3) of and Rule 174 under the
        Securities Act that is applicable to transactions by brokers or dealers with respect to the
        Registrable Securities;

               (iii)   to the extent any Free Writing Prospectus is used, file with the SEC any
        Free Writing Prospectus that is required to be filed by the Company or the Guarantors
        with the SEC in accordance with the Securities Act and to retain any Free Writing Pros-
        pectus not required to be filed;

               (iv)    furnish to each Holder of Registrable Securities, to counsel for such Hold-
        ers and to each Underwriter of an Underwritten Offering of Registrable Securities, if any,
        without charge, as many copies of each Prospectus, preliminary prospectus or Free Writ-
        ing Prospectus, and any amendment or supplement thereto, as such Holder, counsel or
        Underwriter may reasonably request in order to facilitate the sale or other disposition of
        the Registrable Securities thereunder; and the Company and the Guarantors consent to the

                                                  -8-
10-16140-mg    Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                     Pg 406 of 771



     use of such Prospectus, preliminary prospectus or such Free Writing Prospectus and any
     amendment or supplement thereto in accordance with applicable law by each of the
     Holders of Registrable Securities and any such Underwriters in connection with the offer-
     ing and sale of the Registrable Securities covered by and in the manner described in such
     Prospectus, preliminary prospectus or such Free Writing Prospectus or any amendment or
     supplement thereto in accordance with applicable law;

             (v)     use their commercially reasonable efforts to register or qualify the Regi-
     strable Securities under all applicable state securities or blue sky laws of such jurisdic-
     tions as any Holder of Registrable Securities covered by a Registration Statement shall
     reasonably request in writing by the time the applicable Registration Statement becomes
     effective; cooperate with such Holders in connection with any filings required to be made
     with FINRA; and do any and all other acts and things that may be reasonably necessary
     or advisable to enable each Holder to complete the disposition in each such jurisdiction of
     the Registrable Securities owned by such Holder; provided that neither the Company nor
     any Guarantor shall be required to (1) qualify as a foreign corporation or other entity or
     as a dealer in securities in any such jurisdiction where it would not otherwise be required
     to so qualify, (2) file any general consent to service of process in any such jurisdiction or
     (3) subject itself to taxation in any such jurisdiction if it is not so subject;

             (vi)    notify each Holder of Registrable Securities and counsel for such Holders
     promptly and, if requested by any such Holder or counsel, confirm such advice in writing
     (1) when a Registration Statement has become effective, when any post-effective
     amendment thereto has been filed and becomes effective, when any Free Writing Pros-
     pectus has been filed or any amendment or supplement to the Prospectus or any Free
     Writing Prospectus has been filed, (2) of any request by the SEC or any state securities
     authority for amendments to the Prospectus or for additional information after the Regis-
     tration Statement has become effective, (3) of the issuance by the SEC or any state se-
     curities authority of any stop order suspending the effectiveness of a Registration State-
     ment or the initiation of any proceedings for that purpose, including the receipt by the
     Company of any notice of objection of the SEC to the use of a Shelf Registration State-
     ment or any post-effective amendment thereto pursuant to Rule 401(g)(2) under the Se-
     curities Act, (4) if, between the applicable effective date of a Shelf Registration State-
     ment and the closing of any sale of Registrable Securities covered thereby, the Company
     or any Guarantor receives any notification with respect to the suspension of the qualifica-
     tion of the Registrable Securities for sale in any jurisdiction or the initiation of any pro-
     ceeding for such purpose, (5) of the happening of any event during the period a Registra-
     tion Statement is effective that makes any statement made in such Registration Statement
     or the related Prospectus or any Free Writing Prospectus untrue in any material respect or
     that requires the making of any changes in such Registration Statement or Prospectus or
     any Free Writing Prospectus in order to make the statements therein not misleading and
     (6) of any determination by the Company or any Guarantor that a post-effective amend-
     ment to a Registration Statement or any amendment or supplement to the Prospectus or
     any Free Writing Prospectus would be appropriate;




                                              -9-
10-16140-mg    Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                     Pg 407 of 771



            (vii)    use their reasonable best efforts to obtain the withdrawal of any order sus-
     pending the effectiveness of a Registration Statement or the resolution of any objection of
     the SEC pursuant to Rule 401(g)(2), including by filing an amendment to the Shelf Reg-
     istration Statement on the proper form, as soon as reasonably practicable and provide
     prompt notice to each Holder of the withdrawal of any such order or such resolution;

           (viii)    furnish to each Holder of Registrable Securities, upon request and without
     charge, at least one conformed copy of each Registration Statement and any post-
     effective amendment thereto (without any documents incorporated therein by reference or
     exhibits thereto, unless requested);

             (ix)     cooperate with the Holders of Registrable Securities to facilitate the timely
     preparation and delivery of certificates (unless such Registrable Securities are in book en-
     try form only, in which case the Company and the Guarantors shall cooperate to remove
     the restrictive legends from the existing global notes) representing Registrable Securities
     to be sold and not bearing any restrictive legends and enable such Registrable Securities
     to be issued in such denominations and registered in such names (consistent with the pro-
     visions of the Indenture) as such Holders may reasonably request at least one Business
     Day prior to the closing of any sale of Registrable Securities;

             (x)     subject to Section 4(d) hereof, upon the occurrence of any event contem-
     plated by Section 4(a)(vi)(5) hereof, use their reasonable best efforts to prepare and file
     with the SEC a supplement or post-effective amendment to such Shelf Registration
     Statement or the related Prospectus or any Free Writing Prospectus or any document in-
     corporated therein by reference or file any other required document so that, as thereafter
     delivered (or, to the extent permitted by law, made available) to purchasers of the Regi-
     strable Securities, such Prospectus or Free Writing Prospectus, as the case may be, will
     not contain any untrue statement of a material fact or omit to state a material fact neces-
     sary to make the statements therein, in the light of the circumstances under which they
     were made, not misleading; and the Company and the Guarantors shall notify the Holders
     of Registrable Securities to suspend use of the Prospectus or any Free Writing Prospectus
     as promptly as practicable after the occurrence of such an event, and such Holders hereby
     agree to suspend use of the Prospectus or any Free Writing Prospectus, as the case may
     be, until the Company and the Guarantors have amended or supplemented the Prospectus
     or the Free Writing Prospectus, as the case may be, to correct such misstatement or omis-
     sion;

             (xi)    a reasonable time prior to the filing of the Shelf Registration Statement,
     any Prospectus, any Free Writing Prospectus, any amendment to the Shelf Registration
     Statement or amendment or supplement to a Prospectus or a Free Writing Prospectus or
     of any document that is to be incorporated by reference into the Shelf Registration State-
     ment, a Prospectus or a Free Writing Prospectus after initial filing of the Shelf Registra-
     tion Statement, provide copies of such document to the Holders of Registrable Securities
     and their counsel and make such of the representatives of the Company and the Guaran-
     tors as shall be reasonably requested by the Holders of Registrable Securities or their
     counsel available for discussion of such document; and the Company and the Guarantors


                                             -10-
10-16140-mg    Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                     Pg 408 of 771



     shall not, at any time after initial filing of the Shelf Registration Statement, use or file
     any Prospectus, any Free Writing Prospectus, any amendment of or supplement to the
     Shelf Registration Statement or a Prospectus or a Free Writing Prospectus, or any docu-
     ment that is to be incorporated by reference into the Shelf Registration Statement, a Pros-
     pectus or a Free Writing Prospectus, of which the Holders of Registrable Securities and
     their counsel shall not have previously been advised and furnished a copy or to which the
     Holders of Registrable Securities or their counsel shall reasonably object;

          (xii)     obtain a CUSIP number for all Registrable Securities that are resold by the
     Holders no later than the initial effective date of a Shelf Registration Statement;

           (xiii)    cause the Indenture to be qualified under the Trust Indenture Act in con-
     nection with the registration of the resale of the Registrable Securities; cooperate with the
     Trustee and the Holders to effect such changes to the Indenture as may be required for the
     Indenture to be so qualified in accordance with the terms of the Trust Indenture Act; and
     execute, and use their reasonable best efforts to cause the Trustee to execute, all docu-
     ments as may be required to effect such changes and all other forms and documents re-
     quired to be filed with the SEC to enable the Indenture to be so qualified in a timely
     manner;

           (xiv)     make available for inspection by one representative designated by a major-
     ity of the Holders of Registrable Securities to be included in such Shelf Registration
     (such representative, the “Holders’ Inspector”) and the Underwriters participating in any
     disposition pursuant to such Shelf Registration Statement (or one counsel to such Under-
     writers) (such Underwriters or counsel, the “Underwriter Inspector” and, together with
     the Holders’ Inspector, the “Inspectors”), each upon a written request, at the offices
     where normally kept, during reasonable business hours, all pertinent financial and other
     records, pertinent corporate documents and instruments of the Company and its subsidiar-
     ies (collectively, the “Records), as shall be reasonably necessary to enable the Inspectors
     to exercise any applicable due diligence responsibilities, and cause the officers, directors
     and employees of the Company and any of its subsidiaries to supply all information (“In-
     formation”) reasonably requested by the Inspectors in connection with such due diligence
     responsibilities. The Inspectors shall agree in writing that they will keep the Records and
     Information confidential and that they will not disclose any of the Records or Information
     that the Company determines, in good faith, to be confidential and notifies the Inspectors
     in writing are confidential unless (i) the disclosure of such Records or Information is ne-
     cessary to avoid or correct a material misstatement or omission in such Registration
     Statement or Prospectus, (ii) the release of such Records or Information is ordered pur-
     suant to a subpoena or other order from a court claiming jurisdiction or any request or or-
     der from a regulatory body, (iii) disclosure of such Records or Information is necessary
     or advisable, in the judgment of counsel for the Inspectors, in connection with any action,
     claim, suit or proceeding, directly or indirectly, involving or potentially involving the In-
     spectors and arising out of, based upon, relating to or involving this Agreement, the In-
     denture or any transactions contemplated hereby or thereby or arising hereunder or the-
     reunder, (iv) the information in such Records or Information has been made generally
     available to the public other than by the Inspectors or any “affiliate” (as defined in Rule


                                             -11-
10-16140-mg    Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                      Pg 409 of 771



     405 under the Securities Act) thereof, (v) such information becomes available to any such
     person from a source other than the Company and such source is not known by such per-
     son to be bound by a confidentiality obligation to the Company or (vi) such information
     is necessary to establish a due diligence defense; provided, however, that (if permitted)
     prior notice shall be provided as soon as practicable to the Company of the potential dis-
     closure of any information by any Inspector pursuant to clauses (i), (ii) or (iii) of this sen-
     tence to permit the Company to obtain a protective order (or waive the provisions of this
     paragraph (xiv)) and that such Inspector shall take such actions as are reasonably neces-
     sary to protect the confidentiality of such information (if practicable) to the extent such
     action is otherwise not inconsistent with, an impairment of or in derogation of the rights
     and interests of such Holder or Inspector;

            (xv)      use their commercially reasonable efforts to cause all Registrable Securi-
     ties to be listed on any securities exchange or any automated quotation system on which
     similar securities issued or guaranteed by the Company or any Guarantor are then listed if
     requested by the Majority Holders, to the extent such Registrable Securities satisfy appli-
     cable listing requirements;

           (xvi)    if reasonably requested by any Holder of Registrable Securities covered by
     a Shelf Registration Statement, promptly include in a Prospectus supplement or post-
     effective amendment such information with respect to such Holder as such Holder rea-
     sonably requests to be included therein and make all required filings of such Prospectus
     supplement or such post-effective amendment as soon as reasonably practicable after the
     Company has received notification of the matters to be so included in such filing;

           (xvii)     in the case of a Shelf Registration involving an Underwritten Offering, en-
     ter into such customary agreements and take all such other actions in connection there-
     with (including those requested by the Holders of a majority in principal amount of the
     Registrable Securities covered by the Shelf Registration Statement) in order to expedite
     or facilitate the disposition of such Registrable Securities and in such connection, (1) to
     the extent possible, make such representations and warranties to the Holders and any Un-
     derwriters of such Registrable Securities with respect to the business of the Company and
     its subsidiaries and the Registration Statement, Prospectus, any Free Writing Prospectus
     and documents incorporated by reference or deemed incorporated by reference, if any, in
     each case, in form, substance and scope as are customarily made by issuers to underwri-
     ters in underwritten offerings of debt securities similar to the Securities and confirm the
     same if and when requested, (2) obtain opinions of counsel to the Company and the Gua-
     rantors (which opinions, in form, scope and substance, shall be reasonably satisfactory to
     such Underwriters and their counsel) addressed to each Underwriter of Registrable Secur-
     ities, covering the matters customarily covered in opinions reasonably requested in un-
     derwritten offerings, (3) obtain “comfort” letters from the independent certified public
     accounting firm of the Company and the Guarantors (and, if necessary, any other certi-
     fied public accountant of any subsidiary of the Company or any Guarantor, or of any
     business acquired by the Company or any Guarantor for which financial statements and
     financial data are or are required to be included in the Registration Statement) addressed
     to each selling Holder (to the extent permitted by applicable professional standards) and


                                              -12-
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                        Pg 410 of 771



       Underwriter of Registrable Securities, such letters to be in customary form and covering
       matters of the type customarily covered in “comfort” letters in connection with under-
       written offerings of debt securities similar to the Securities, including but not limited to
       financial information contained in any preliminary prospectus, Prospectus or Free Writ-
       ing Prospectus and (4) deliver such other documents and certificates as may be reasona-
       bly requested by the Holders of a majority in principal amount of the Registrable Securi-
       ties being sold or the Underwriters, and which are customarily delivered in underwritten
       offerings of debt securities similar to the Securities, to evidence the continued validity of
       the representations and warranties of the Company and the Guarantors made pursuant to
       clause (1) above and to evidence compliance with any customary conditions contained in
       an underwriting agreement; and

            (xviii)    so long as any Registrable Securities remain outstanding, cause each Ad-
       ditional Guarantor upon the occurrence of the event resulting in such party becoming an
       Additional Guarantor, to execute a counterpart to this Agreement in the form attached he-
       reto as Exhibit B and to deliver such counterpart to the Backstop Parties no later than five
       Business Days following the execution thereof.

                (b)    the Company may require each Holder of Registrable Securities to furnish
to the Company such information regarding such Holder and the proposed disposition by such
Holder of such Registrable Securities as the Company and the Guarantors may from time to time
reasonably request in writing. To the extent such information is necessary to include in such
Shelf Registration Statement and any Holder fails or refuses to provide such information within a
reasonable period of time from the Company’s request (such time to be provided in the Compa-
ny’s written request) such Holder shall not be entitled to include its Registrable Securities in
such Shelf Registration Statement until such information is provided to the Company and re-
flected in such Shelf Registration Statement. Each Holder also agrees to notify the Company as
promptly as reasonably practicable of any inaccuracy or change in information previously fur-
nished by such Holder to the Company or of the occurrence of any event in either case as a result
of which any Prospectus relating to the Shelf Registration Statement contains or would contain
an untrue statement of a material fact regarding such Holder or such Holder’s intended method
of disposition of Registrable Securities or omits to state any material fact regarding such Holder
or such Holder’s intended method of disposition of such Registrable Securities required to be
stated therein or necessary to make the statements therein not misleading in light of the circums-
tances then existing, and promptly to furnish to the Company any additional information required
to correct and update any previously furnished information or required so that such Prospectus
shall not contain, with respect to such Holder or the disposition of such Registrable Securities, an
untrue statement of a material fact or omit to state a material fact required to be stated therein or
necessary to make the statements therein not misleading in the light of the circumstances then
existing.

                (c)    each Holder of Registrable Securities covered in such Shelf Registration
Statement agrees that, upon receipt of any notice from the Company and the Guarantors of the
happening of any event of the kind described in Section 4(a)(vi)(3) or 4(a)(vi)(5) hereof, such
Holder will forthwith discontinue disposition of Registrable Securities pursuant to the Shelf Reg-
istration Statement until such Holder’s receipt of the copies of the supplemented or amended


                                                -13-
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                        Pg 411 of 771



Prospectus and any Free Writing Prospectus contemplated by Section 3(a)(x) hereof and, if so
directed by the Company and the Guarantors, such Holder will deliver to the Company and the
Guarantors all copies in its possession, other than permanent file copies then in such Holder’s
possession, of the Prospectus and any Free Writing Prospectus covering such Registrable Securi-
ties that is current at the time of receipt of such notice.

                (d)     (i) Subject to the limitation set forth in the next succeeding paragraph, the
Company shall be entitled to delay the initial filing of any Registration Statement, suspend its
obligation to file any amendment to any Registration Statement, furnish any supplement or
amendment to a Prospectus included in any Registration Statement, make any other filing with
the SEC that would be incorporated by reference into any Registration Statement, cause any
Registration Statement to remain effective or take any similar action (collectively, “Registration
Actions”) (A) if the board of directors of the Company determines in good faith that taking any
such Registration Actions (1) would reasonably be expected to materially impede, delay or inter-
fere with, or require premature disclosure of, any material financing, offering, acquisition, mer-
ger, corporate reorganization or segment reclassification or discontinuance of operations, which
is required to be reflected in pro forma or restated financial statements that amends a historical
financial statement of the Company, or other significant transaction or any negotiations, discus-
sions or pending proposals with respect thereto, involving the Company or any of its subsidiaries
or (2) would require disclosure of non-public material information the disclosure of which would
reasonably be expected to materially and adversely affect the Company, subject to the provisions
of Section 4(d)(ii) or (B) upon any event described in Section 4(a)(vi)(5) (the period resulting
from any such delay, suspension or other action, a “Suspension Period”). Upon the occurrence
of any of the conditions described in the foregoing sentence, the Company shall give prompt no-
tice (a “Suspension Notice”) thereof to the Holders. Upon the termination of such condition, the
Company shall give prompt notice thereof to the Holders and shall promptly proceed with all
Registration Actions that were suspended pursuant to this paragraph.

                (ii)   If the Company and the Guarantors shall give any Suspension Notice, the
       Company and the Guarantors shall extend the period during which such Registration
       Statement shall be maintained effective pursuant to this Agreement by the number of
       days during the period from and including the date of the giving of such notice to and in-
       cluding the date when the Holders of such Registrable Securities shall have received cop-
       ies of the supplemented or amended Prospectus or any Free Writing Prospectus necessary
       to resume such dispositions. The Company and the Guarantors may give any such notice
       only twice during any 365-day period and any such suspensions shall not exceed 30 days
       for each suspension and there shall not be more than two suspensions in effect during any
       365-day period.

              (iii)    Each Holder agrees that upon receipt of any Suspension Notice from the
       Company pursuant to this Section 4(d), it will discontinue use of the Prospectus con-
       tained in such Registration Statement and any Free Writing Prospectus until receipt of
       copies of the supplemented or amended Prospectus or Free Writing Prospectus relating
       thereto or until advised in writing by the Company that the use of the Prospectus con-
       tained in such Registration Statement or Free Writing Prospectus may be resumed.



                                                -14-
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                        Pg 412 of 771



                (e)     If requested in writing by the Majority Holders, the Holders of Registrable
Securities covered by a Shelf Registration Statement who desire to do so may sell such Registra-
ble Securities in an Underwritten Offering. In any such Underwritten Offering, the investment
bank or investment banks and manager or managers (each an “Underwriter”) that will administer
the offering will be selected by the Company, subject to the consent of the Holders of a majority
in principal amount of the Registrable Securities included in such offering (which shall not be
unreasonably withheld). No Holder may participate in any Underwritten Offering unless such
Holder (i) agrees to sell such Holder’s Securities on the basis provided in any underwriting ar-
rangements approved by the persons entitled hereunder to approve such arrangements and (ii)
timely completes and executes all reasonable questionnaires, powers of attorney, indemnities,
underwriting agreements, lock-up letters and other documents, under customary terms, as custo-
marily required under the terms of such underwriting arrangements.

       5.      Indemnification and Contribution.

                  (a)     The Company and each Guarantor, jointly and severally, agree to indemni-
fy and hold harmless each Holder, their respective affiliates, directors and officers and each Per-
son, if any, who controls any Holder within the meaning of Section 15 of the Securities Act or
Section 20 of the Exchange Act, from and against any and all losses, claims, damages and liabili-
ties (including, without limitation, reasonable legal fees and other expenses incurred in connec-
tion with any suit, action or proceeding or any claim asserted, as such fees and expenses are in-
curred), joint or several, that arise out of, or are based upon, (1) any untrue statement or alleged
untrue statement of a material fact contained in any Shelf Registration Statement or any omission
or alleged omission to state therein a material fact required to be stated therein or necessary in
order to make the statements therein not misleading, or (2) any untrue statement or alleged un-
true statement of a material fact contained in any Prospectus, any Free Writing Prospectus or any
“issuer information” (“Issuer Information”) filed or required to be filed pursuant to Rule 433(d)
under the Securities Act, or any omission or alleged omission to state therein a material fact ne-
cessary in order to make the statements therein, in the light of the circumstances under which
they were made, not misleading, in each case except insofar as such losses, claims, damages or
liabilities arise out of, or are based upon, any untrue statement or omission or alleged untrue
statement or omission made in reliance upon and in conformity with any information relating to
any Holder furnished to the Company in writing by any selling Holder expressly for use therein.
In connection with any Underwritten Offering permitted by Section 4, the Company and the Gu-
arantors, jointly and severally, will also indemnify the Underwriters, if any, selling brokers, deal-
ers and similar securities industry professionals participating in the distribution, their respective
affiliates and each Person who controls such Persons (within the meaning of the Securities Act
and the Exchange Act) to the same extent as provided above with respect to the indemnification
of the Holders, if requested in connection with any Shelf Registration Statement, any Prospectus,
any Free Writing Prospectus or any Issuer Information.

                (b)   Each Holder agrees, severally and not jointly, to indemnify and hold
harmless the Company, the Guarantors and the other selling Holders, the directors of the Com-
pany and the Guarantors, each officer of the Company and the Guarantors who signed the Shelf
Registration Statement and each Person, if any, who controls the Company, the Guarantors and
any other selling Holder within the meaning of Section 15 of the Securities Act or Section 20 of


                                                -15-
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                        Pg 413 of 771



the Exchange Act to the same extent as the indemnity set forth in paragraph (a) above, but only
with respect to any losses, claims, damages or liabilities (including, without limitation, reasona-
ble legal fees and other expenses incurred in connection with any suit, action or proceeding or
any claim asserted, as such fees and expenses are incurred) that arise out of, or are based upon,
any untrue statement or omission or alleged untrue statement or omission made in reliance upon
and in conformity with any information relating to such Holder furnished to the Company in
writing by such Holder expressly for use in any Shelf Registration Statement, any Prospectus and
any Free Writing Prospectus.

                (c)      If any suit, action, proceeding (including any governmental or regulatory
investigation), claim or demand shall be brought or asserted against any Person in respect of
which indemnification may be sought pursuant to either paragraph (a) or (b) above, such Person
(the “Indemnified Person”) shall promptly notify the Person against whom such indemnification
may be sought (the “Indemnifying Person”) in writing; provided that the failure to notify the In-
demnifying Person shall not relieve it from any liability that it may have under this Section 5 ex-
cept to the extent that it has been materially prejudiced (through the forfeiture of substantive
rights or defenses) by such failure; and provided, further, that the failure to notify the Indemnify-
ing Person shall not relieve it from any liability that it may have to an Indemnified Person other-
wise than under this Section 5. If any such proceeding shall be brought or asserted against an
Indemnified Person and it shall have notified the Indemnifying Person thereof, the Indemnifying
Person shall retain counsel reasonably satisfactory to the Indemnified Person to represent the In-
demnified Person and any others entitled to indemnification pursuant to this Section 5 that the
Indemnifying Person may designate in such proceeding and shall pay the reasonable fees and
expenses of such proceeding and shall pay the reasonable fees and expenses of such counsel re-
lated to such proceeding, as incurred. In any such proceeding, any Indemnified Person shall
have the right to retain its own counsel, but the fees and expenses of such counsel shall be at the
expense of such Indemnified Person unless (i) the Indemnifying Person and the Indemnified Per-
son shall have mutually agreed to the contrary; (ii) the Indemnifying Person has failed within a
reasonable time to retain counsel reasonably satisfactory to the Indemnified Person; (iii) the In-
demnified Person shall have reasonably concluded that there may be legal defenses available to it
that are different from or in addition to those available to the Indemnifying Person; or (iv) the
named parties in any such proceeding (including any impleaded parties) include both the Indem-
nifying Person and the Indemnified Person and representation of both parties by the same coun-
sel would be inappropriate due to actual or potential differing interests between them. It is un-
derstood and agreed that the Indemnifying Person shall not, in connection with any proceeding
or related proceeding in the same jurisdiction, be liable for the fees and expenses of more than
one separate firm (in addition to any local counsel) for all Indemnified Persons, and that all such
reasonable fees and expenses shall be reimbursed as they are incurred. Any such separate firm
(x) for any Holder, its directors and officers and any control Persons of such Holder shall be des-
ignated in writing by the Majority Holders and (y) in all other cases shall be designated in writ-
ing by the Company. The Indemnifying Person shall not be liable for any settlement of any pro-
ceeding effected without its written consent, but if settled with such consent or if there be a final
judgment for the plaintiff, the Indemnifying Person agrees to indemnify each Indemnified Person
from and against any loss or liability by reason of such settlement or judgment. No Indemnify-
ing Person shall, without the written consent of the Indemnified Person, effect any settlement of
any pending or threatened proceeding in respect of which any Indemnified Person is or could

                                                -16-
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                        Pg 414 of 771



have been a party and indemnification could have been sought hereunder by such Indemnified
Person, unless such settlement (A) includes an unconditional release of such Indemnified Person,
in form and substance reasonably satisfactory to such Indemnified Person, from all liability on
claims that are the subject matter of such proceeding and (B) does not include any statement as
to any admission of fault, culpability or a failure to act by or on behalf of any Indemnified Per-
son.

                 (d)      If the indemnification provided for in paragraphs (a) and (b) above is un-
available to an Indemnified Person or insufficient in respect of any losses, claims, damages or
liabilities referred to therein, then each Indemnifying Person under such paragraph, in lieu of in-
demnifying such Indemnified Person thereunder, shall contribute to the amount paid or payable
by such Indemnified Person as a result of such losses, claims, damages or liabilities (i) in such
proportion as is appropriate to reflect the relative benefits received by the Company and the Gua-
rantors from the offering of the Securities, on the one hand, and by the Holders from receiving
Securities registered under the Securities Act, on the other hand, or (ii) if the allocation provided
by clause (i) is not permitted by applicable law, in such proportion as is appropriate to reflect not
only the relative benefits referred to in clause (i) but also the relative fault of the Company and
the Guarantors on the one hand and the Holders on the other in connection with the statements or
omissions that resulted in such losses, claims, damages or liabilities, as well as any other relevant
equitable considerations. The relative fault of the Company and the Guarantors on the one hand
and the Holders on the other shall be determined by reference to, among other things, whether
the untrue or alleged untrue statement of a material fact or the omission or alleged omission to
state a material fact relates to information supplied by the Company and the Guarantors or by the
Holders and the parties’ relative intent, knowledge, access to information and opportunity to cor-
rect or prevent such statement or omission.

                (e)     The Company, the Guarantors and the Holders agree that it would not be
just and equitable if contribution pursuant to this Section 5 were determined by pro rata alloca-
tion (even if the Holders were treated as one entity for such purpose) or by any other method of
allocation that does not-take account of the equitable considerations referred to in paragraph (d)
above. The amount paid or payable by an Indemnified Person as a result of the losses, claims,
damages and liabilities referred to in paragraph (d) above shall be deemed to include, subject to
the limitations set forth above, any reasonable legal or other expenses incurred by such Indemni-
fied Person in connection with any such action or claim. Notwithstanding the provisions of this
Section 5, in no event shall a Holder be required to contribute any amount in excess of the
amount by which the total price at which the Securities sold by such Holder exceeds the amount
of any damages that such Holder has otherwise been required to pay by reason of such untrue or
alleged untrue statement or omission or alleged omission. No Person guilty of fraudulent misre-
presentation (within the meaning of Section 11(f) of the Securities Act) shall be entitled to con-
tribution from any Person who was not guilty of such fraudulent misrepresentation. The Hold-
ers’ obligations to contribute pursuant to this Section 5 are several and not joint.

                (f)    The remedies provided for in this Section 5 are not exclusive and shall not
limit any rights or remedies that may otherwise be available to any Indemnified Person at law or
in equity.



                                                -17-
10-16140-mg         Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                        Pg 415 of 771



               (g)    The indemnity and contribution provisions contained in this Section 5
shall remain operative and in full force and effect regardless of (i) any termination of this
Agreement, (ii) any investigation made by or on behalf of any Holder or any Person controlling
any Holder, or by or on behalf of the Company or the Guarantors or the officers or directors of or
any Person controlling the Company or the Guarantors, (iii) any sale of Registrable Securities
pursuant to a Shelf Registration Statement.

               6.      General.

                 (a)    Inconsistent Agreements. The Company and the Guarantors represent,
warrant and agree that (i) the rights granted to the Holders hereunder do not in any way conflict
with and are not inconsistent with the rights granted to the holders of any other outstanding se-
curities issued or guaranteed by the Company or any Guarantor under any other agreement and
(ii) neither the Company nor any Guarantor has entered into, or on or after the date of this
Agreement will enter into, any agreement that is inconsistent with the rights granted to the Hold-
ers of Registrable Securities in this Agreement or otherwise conflicts with the provisions hereof.
For clarification, nothing herein is intended to prohibit the Company and the Guarantors from (i)
registering any Additional Notes (as defined in the Indenture) issued on the same registration
statement as the Registrable Securities or (ii) complying with their obligations for the registration
of any securities pursuant to the terms of the Plan or any agreement entered into as contemplated
by the Plan.

               (b)      Amendments and Waivers. The provisions of this Agreement, including
the provisions of this sentence, may not be amended, modified or supplemented, and waivers or
consents to departures from the provisions hereof may not be given unless the Company and the
Guarantors have obtained the written consent of Holders of at least a majority in aggregate prin-
cipal amount of the outstanding Registrable Securities affected by such amendment, modifica-
tion, supplement, waiver or consent; provided, that no amendment, modification, supplement,
waiver or consent to any departure from the provisions of Section 5 hereof shall be effective as
against any Holder of Registrable Securities unless consented to in writing by such Holder. Any
amendments, modifications, supplements, waivers or consents pursuant to this Section 6(b) shall
be by a writing executed by each of the parties hereto.

                (c)     Notices. All notices and other communications provided for or permitted
hereunder shall be made in writing by hand-delivery, registered first-class mail, telex, telecopier,
or any courier guaranteeing overnight delivery (i) if to a Holder, at the Holder’s address set forth
on the signature pages hereto, if any, or at such other address given by the Holder to the Compa-
ny by means of a notice given in accordance with the provisions of this Section 6(c); (ii) if to the
Company and the Guarantors, initially at the Company’s address set forth on the signature pages
hereto and thereafter at such other address, notice of which is given in accordance with the pro-
visions of this Section 6(c); and (iii) if to other persons, at the most current address given by such
person to the Company by means of a notice given in accordance with the provisions of this Sec-
tion 6(c). All such notices and communications shall be deemed to have been duly given: at the
time delivered by hand, if personally delivered; five Business Days after being deposited in the
mail, postage prepaid, if mailed; when answered back, if telexed; when receipt is acknowledged,
if telecopied; and on the next Business Day if timely delivered to an air courier guaranteeing


                                                -18-
10-16140-mg       Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                         Pg 416 of 771



overnight delivery. Copies of all such notices, demands or other communications shall be con-
currently delivered by the Person giving the same to the Trustee, at the address specified in the
Indenture.

               (d)    Successors and Assigns. This Agreement shall inure to the benefit of and
be binding upon the successors, assigns and transferees of each of the parties, including, without
limitation and without the need for an express assignment, subsequent Holders; provided that in
order for a subsequent Holder to be included in a Registration Statement, such subsequent Hold-
er must provide the Company with its contact information.

               (e)     Counterparts. This Agreement may be executed in any number of coun-
terparts and by the parties hereto in separate counterparts, each of which when so executed shall
be deemed to be an original and all of which taken together shall constitute one and the same
agreement. Delivery of an executed counterpart of a signature page to this Agreement by tele-
copier, facsimile, email or other electronic transmission (i.e., “pdf” or “tif”) shall be effective as
delivery of a manually executed counterpart of this Agreement.

               (f)     Headings. The headings in this Agreement are for convenience of refer-
ence only, are not a part of this Agreement and shall not limit or otherwise affect the meaning
hereof.

               (g)     Governing Law. This Agreement, and any claims, controversy or dispute
arising under or related to this Agreement, shall be governed by and construed in accordance
with the laws of the State of New York.

                (h)     Entire Agreement; Severability. This Agreement contains the entire
agreement between the parties relating to the subject matter hereof and supersedes all oral state-
ments and prior writings with respect thereto. If any term, provision, covenant or restriction con-
tained in this Agreement is held by a court of competent jurisdiction to be invalid, void or unen-
forceable or against public policy, the remainder of the terms, provisions, covenants and restric-
tions contained herein shall remain in full force and effect and shall in no way be affected, im-
paired or invalidated. The Company, the Guarantors and the Holders shall endeavor in good
faith negotiations to replace the invalid, void or unenforceable provisions with valid provisions
the economic effect of which comes as close as possible to that of the invalid, void or unenforce-
able provisions.




                                                 -19-
10-16140-mg     Doc 116    Filed 12/15/10 Entered 12/15/10 23:40:47        Main Document
                                     Pg 417 of 771



        IN WITNESS WHEREOF, the parties have executed this Agreement as of the date first
written above.

                                          AMERICAN MEDIA, INC.


                                          By: ___________________________
                                              Name:
                                              Title:


                                          AMERICAN MEDIA CONSUMER
                                          ENTERTAINMENT, INC.
                                          AMERICAN MEDIA CONSUMER MAGAZINE
                                          GROUP, INC.
                                          AMERICAN MEDIA DISTRIBUTION &
                                          MARKETING GROUP, INC.
                                          AMERICAN MEDIA MINI MAGS, INC.
                                          AMERICAN MEDIA NEWSPAPER GROUP,
                                          INC.
                                          AMERICAN MEDIA PROPERTY GROUP, INC.
                                          [AMI DIGITAL COMMERCE, INC.]
                                          COUNTRY MUSIC MEDIA GROUP, INC.
                                          DISTRIBUTION SERVICES, INC.
                                          GLOBE COMMUNICATIONS CORP.
                                          GLOBE EDITORIAL, INC.
                                          MIRA! EDITORIAL, INC.
                                          NATIONAL ENQUIRER, INC.
                                          NATIONAL EXAMINER, INC.
                                          STAR EDITORIAL, INC.
                                          WEIDER PUBLICATIONS, LLC


                                          By:
                                                  Name:
                                                  Title:


                                          Address: American Media Operations, Inc.
                                                   1000 American Media Way
                                                   Boca Raton, FL 33464-1000
                                                   Fax No.: (561) 989-1224
                                                   Attention: General Counsel




                                           -20-
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47        Main Document
                                       Pg 418 of 771



Confirmed and accepted as of the date first above written




                                            ANGELO GORDON & CO., L.P., on behalf of
                                            certain funds and managed accounts


                                            By: ___________________________
                                                Name:
                                                Title:


                                            Address: Angelo, Gordon & Co., L.P.
                                                     245 Park Avenue, 26th Floor
                                                     New York, New York 10167
                                                    Attention: Gavin Baiera




                                              -21-
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 419 of 771



                                    AVENUE CAPITAL MANAGEMENT II, L.P., on
                                         behalf of :

                                    AVENUE INVESTMENTS, L.P.

                                    AVENUE INTERNATIONAL MASTER L.P.

                                    AVENUE-CDP GLOBAL OPPORTUNITIES
                                    FUND, L.P.

                                    AVENUE SPECIAL SITUATIONS FUND IV, L.P.

                                    AVENUE SPECIAL SITUATIONS FUND V, L.P.

                                    By: AVENUE CAPITAL MANAGEMENT II.
                                         GENPAR LLC, its general partner




                                    [By: __________________________
                                       Name:
                                       Title:


                                    Address: ]




                                      -22-
10-16140-mg     Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                      Pg 420 of 771



                                                                                     Exhibit A
                     Holder Counterpart to Registration Rights Agreement



        The undersigned hereby absolutely, unconditionally and irrevocably agrees as a Holder
(as defined in the Registration Rights Agreement, dated as of December [ ], 2010 by and be-
tween American Media, Inc., a Delaware corporation, the Guarantors and the other Holders) to
be bound by the terms and provisions of such Registration Rights Agreement.

      IN WITNESS WHEREOF, the undersigned has executed this counterpart as of
________, 20[ ].

                                            [ADDITIONAL HOLDER]


                                            By:
                                                  Name:
                                                  Title:


                                            Address: [                     ]
                                                    Attention: [           ]
10-16140-mg     Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                      Pg 421 of 771



                                                                                      Exhibit B
                   Guarantor Counterpart to Registration Rights Agreement



        The undersigned hereby absolutely, unconditionally and irrevocably agrees as a Guaran-
tor (as defined in the Registration Rights Agreement, dated as of December [ ], 2010 by and
between American Media, Inc., a Delaware corporation, the Guarantors and the Holders) to be
bound by the terms and provisions of such Registration Rights Agreement.

      IN WITNESS WHEREOF, the undersigned has executed this counterpart as of
________, 20[ ].

                                            [ADDITIONAL GUARANTOR]


                                            By:
                                                  Name:
                                                  Title:




                                              -2-
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 422 of 771



                                  EXHIBIT F

                   Escrow Agreement for New First Lien Notes
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                       Main Document
                                          Pg 423 of 771



                                                                                       EXECUTION VERSION
                                        ESCROW AGREEMENT

                   ESCROW AGREEMENT , dated as of December 1 , 2010 (the     Agreement ), by
  and among AMO ESCROW CORPORATION ,                      a Delaware            Escrow Com-
                                                                         corporation (the

  1lli!1Y ), AMERICAN MEDIA OPERATIONS INC. , a Delaware corporation (the         Company
  WILMINGTON TRUST FSB , a federal savings bank , as trustee (together with its successors and
  assigns , in such capacity, the "Trustee ) under the Indenture (as defined below), and
  WILMINGTON TRUST FSB , a federal savings bank , as escrow agent (together with its succes-
  sors and assigns , in such capacity, the "Escrow Agent"

                        This Agreement is being entered into in connection with (i) the Purchase Agree-
  ment (the        Purchase Agreement ), dated November 16 , 2010 , between the Escrow Company and
    P. Morgan Securities LLC , as representative of the several initial purchasers named on Sched-
  ule I thereto (collectively, the     Initial Purchasers ), and (ii) the Indenture , dated as of the date
  hereof (as may be amended , supplemented or otherwise modified from time to time, the             Inden-
  ture ), between the Escrow Company and the Trustee , governing the Escrow Company
  $385 000, 000 in aggregate principal amount of 111/2% First Lien Senior Secured Notes due 2017
  (the " Notes


                   For good and valuable consideration ,      the receipt and adequacy of which are
  hereby acknowledged by each of the parties hereto ,        the parties hereto ,      intending to be legally
  bound , do hereby agree as follows:

                   Section 1.     Definitions .   Capitalized terms ,   used but not defined herein , shall
  have the      respective meanings specified      in the Indenture or the      Purchase Agreement , as
  applicable.

                   Section 2.     Appointment and Jurisdiction of Escrow Agent.

                   (a) The Escrow Company, the Company and the                       Trustee hereby appoint
  Wilmington Trust FSB as escrow agent in accordance with the terms and conditions set forth
  herein , and the Escrow Agent hereby accepts such appointment.

                   (b) The Escrow Company, the Company, the Trustee and the Escrow Agent
  hereby agree that the " securities intermediary s jurisdiction " of the Escrow Agent is the State of
  New York for purposes of the New York UCC (as defined                 below), including Section 8- 110
  thereof.

                   (c)  The Escrow Company, the Company, the Trustee and the Escrow Agent
  hereby agree that the "bank' s jurisdiction " of the Escrow Agent is the State of New York for
  purposes of the New York DCC , including Section 9- 304 thereof.

                   Section 3.    The Escrow Property

                  (a) On the date hereof (the " Closing Date ), the Escrow Company shall cause
  the Initial Purchasers to deposit with the Escrow Agent:
10-16140-mg       Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                         Pg 424 of 771




                          (i) $383 075 000 , representing (A) the gross proceeds from the offer-
          ing of the Notes of $385 000 000 , less (B) $1 925, 000 , which is one- third of the discount
          payable to the Initial Purchasers with respect to the offering of the Notes which amount is
          payable on the Closing Date pursuant to the Purchase Agreement (the "Paid Discount
          Amount " and the difference of (A) and (B) referred to herein as the " Proceeds

                  (b)    On the Closing Date, the Company shall deposit with the Escrow Agent:

                         (i)     the amount equal to the Paid Discount Amount;

                         (ii) $3, 850 000 , representing two- thirds of the discount payable to the
          Initial Purchasers with respect to the offering of the Notes on either the Release Date or
          the Special Redemption Date pursuant to the Purchase Agreement (the " Unpaid Discount
          Amount" ); and

                         (iii) $7, 256 181 , representing the amount of interest that would accrue
          on the Notes from the Closing Date up to but not including January 30 , 2011 (the   Initial
          Escrow End Date ) (the foregoing interest amount being the " Interest Deposit" and to-
          gether with the Proceeds, the Paid Discount Amount , the Unpaid Discount Amount and
          the Additional Interest Deposit (as defined below), plus all interest, dividends and other
          distributions and payments thereon , collectively referred to herein as the "Escrow Prop-
          erty

                 (c)      If prior to the date of the Initial Escrow End Date , the Escrow Company
  elects to extend the Initial Escrow End Date to March 6 2011 (such date , the "Escrow Extension
  Date ), no later than five (5) Business Days prior to the Initial Escrow End Date , the Company
  shall deposit with the Escrow Agent $4,427 500 (the       Additional Interest Deposit ), representing
  the amount equal to the additional interest that would accrue on the Notes from the Initial
  Escrow End Date up to , but not including, the Escrow Extension Date.

                  In no event shall the Company have any liability, obligation or responsibility for
  any of the amounts required to be deposited by the Escrow Company nor shall the Escrow Com-
  pany have any liability, obligation or responsibility for any of the amounts required to be depos-
  ited by the Company. The Escrow Company and the Company agree that all amounts deposited
  pursuant to this Agreement shall be satisfactory for such purpose pursuant to the Indenture.

                  The Escrow Agent shall have no duty to solicit deposits of the Escrow Property.
  The Escrow Company and the Company, as applicable , certify that all amounts deposited pursu-
  ant to this Agreement shall be satisfactory for such purposes pursuant to the Indenture , and shall
  notify the Escrow Agent in writing at or prior to the time when any Escrow Property is sent to
  the Escrow Agent pursuant to this Agreement and certify at such time that all amounts deposited
  pursuant to this Agreement are satisfactory for such purposes pursuant to the Indenture. The Es-
  crow Agent shall have no liability for Escrow Property, or interest thereon , sent to it that remains
  unclaimed and/or are returned if such written notification is not given.

                 (d)    (i) Subject to and in accordance with the provisions hereof, the Escrow
  Agent agrees to hold the Escrow Property in either a " securities account" (as defined in Section 8
  50 I of the Uniform Commercial Code in effect in the State of New York on the date hereof (the
10-16140-mg             Doc 116            Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                                     Pg 425 of 771




    New York UCC ) or in a " deposit account "              (as defined in Section 9- 102(a)(29)   of the New
   York UCC), as applicable. Escrow Property will be held in the following account:

                         Wire Instructions:


                                    ABA#               031100092
                                    Bank Name          Wilmington Trust
                                    Account # .        098286- 00 I
                                    Reference          AMO Escrow Corporation/AMO Escrow
                                    Contact Person     Corporate Capital Markets - Jane Schweiger

                    The above referenced account will be established with the Escrow Agent or an af-
   filiate in the name of the Escrow Agent , as escrow agent on behalf of the Escrow Company, (to-
   gether with any successor account or accounts the              Escrow Account ) and the Escrow Agent
   shall administer the Escrow Account in accordance with the provisions of this Agreement , in-
   cluding, without limitation , holding in escrow , investing and reinvesting, and releasing or dis-
   tributing the Escrow Property.

                              (ii) As security for the due and punctual payment when due and punc-
             tual performance of all amounts that may be payable from time to time under the Inden-
             ture and the Notes , now or hereafter arising, the Escrow Company and the Company
             hereby pledge , assign and grant to the Trustee , for its benefit , the benefit of the Collateral
             Agent and the benefit of the holders of the Nqtes , a continuing security interest in , and a
             lien on , (i) the Escrow Account and the Escrow Property; (ii) all claims and rights of
             whatever nature which the Escrow Company may now have or hereafter acquire against
             any third party(ies) in respect of any of the Escrow Account or Escrow Property (includ-
             ing any claims or rights in respect of any Security Entitlements credited to an account of
             the Escrow Agent maintained at The Depository Trust Company or any other clearing
             corporation) or any other Securities Intermediary; (iii) all rights which the Escrow Com-
             pany or the Company may now have or hereafter acquire against the Escrow Agent in re-
             spect of its holding and managing all or any part of the Escrow Account or Escrow Prop-
             erty; and (iv) all proceeds (as such term is defined in Section 9- 1O2(a) of the UCC) of any
             of the foregoing. The Escrow Agent hereby acknowledges the Trustee s security interest
             as set forth in this Section 3(d)(ii). The security interest of the Trustee shall at all times
             be valid , perfected and enforceable as a first priority security interest by the Trustee
             against Escrow Company, the Company and all third parties in accordance with the terms
             of this Agreement. The Escrow Company shall cause the Unpaid Discount Amount to be
             paid from the Escrow Property to the Initial Purchasers pursuant to the Purchase Agree-
             ment at the same time Escrow Property is released from escrow pursuant to either Section
             5(a) or 5(b) hereof).


                                    (iii) The Escrow Agent    hereby agrees that each item of property (in-
             cluding, without limitation , all Escrow Investments (as defined in the Indenture) (collec-
             tively, the "Escrow Agreement Permitted Investments )), and any investment property,
             financial asset , security, instrument or cash or cash balances (irrespective of the currency
             in which such cash or cash balances are denominated) credited to a securities account
10-16140-mg      Doc 116           Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                             Pg 426 of 771




          shall be treated as a "financial asset" within the meaning of Section 8- 1O2(a)(9)   of the
         New York UCc.

                              (iv)
                                 If at any time the Escrow Agent receives from the Trustee (i) any
         entitlement order (as such term is defined in Section 8- 1O2(a)(8) of the New York UCC)
         with respect to any financial asset credited to the Escrow Account or (ii) any instruction
         (within the meaning of Section 9- 1O4(b) of the New York UCC) concerning the disposi-
         tion of funds held in the Escrow Account , the Escrow Agent shall comply with such enti-
         tlement order or instruction, as applicable , without further consent of the Escrow Com-
         pany or any other person. Notwithstanding the foregoing, the Trustee hereby agrees with
         the Escrow Company that it shall not give any entitlement orders or instructions , as ap-
         plicable , unless the Notes become subject to a Special Mandatory Redemption pursuant
         to Section 3. 10 of the Indenture or as otherwise permitted pursuant to Section 5 hereof.

                              (v) Upon the release of any Escrow Property     pursuant to Section 5
         hereof, the security interest of the Trustee for the benefit of itself, the Collateral Agent
         and the holders of the Notes shall automatically terminate with respect to such Escrow
         Property without any further action and such Escrow Property shall be delivered to the
         recipient free and clear of any and all liens , claims or encumbrances of any person , in-
         cluding, without limitation , the Escrow Agent , the Trustee and the holders of the Notes.

                          (vi) The Escrow Company agrees to take all steps reasonably necessary
         to maintain the security interest created by this Agreement as a perfected first-priority se-
         curity interest and shall cause UCC financing statements describing the Escrow Property
         and Escrow Account to be promptly filed in the State of Delaware. Without limiting the
         foregoing, the Escrow Company agrees to take all steps reasonably requested by the
         Trustee in connection with the perfection of the Trustee s security interest in the Escrow
         Property and Escrow Account pursuant to this Agreement and , without limiting the gen-
         erality of the foregoing, the Escrow Company hereby authorizes the Trustee and the Ini-
         tial Purchasers on behalf of the Trustee to file one or more UCC financing statements that
         reasonably describe the collateral in such jurisdictions and filing offices and containing
         such description of collateral as the Trustee , or the Initial Purchasers on behalf of the
         Trustee , may determine is reasonably necessary in order to perfect the security interest
         granted herein.

                              (vii) The Escrow Company represents and warrants that as of the date
         hereof it is duly formed and validly existing as a corporation under the laws of the state
         of Delaware and is not organized under the laws of any other jurisdiction , and the Escrow
         Company hereby agrees that, prior to the termination of this Agreement , it will not
         change its name or jurisdiction of organization without giving the Trustee and the Initial
         Purchasers not less than 10 days ' prior written notice thereof.

                 Section 4.          Investment of the Escrow Property    During the term of this
  Agreement ,
           the Escrow Agent shall invest and reinvest the Escrow Property in the Escrow
  Agreement Permitted Investments at the written direction of one of the authorized
  representatives of the         Escrow Company identified on Schedule        I hereto (each such
  representative , an " Authorized Person
10-16140-mg        Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                     Main Document
                                            Pg 427 of 771




                   The Escrow Agent shall have no obligation to invest or reinvest the Escrow Prop-
  erty if deposited with the Escrow Agent after 12:01 p. m. local time in the City of New York on
  such day of deposit until the next Business Day. Instructions received after 12:01 p. m. local time
  in the City of New York will be treated as if received on the following Business Day. The Es-
  crow Agent shall have no responsibility for any investment losses resulting from the investment
  reinvestment or liquidation of the Escrow Property. Any interest or other income received on
  such investment and reinvestment of the Escrow Property shall become part of the Escrow Prop-
  erty and any losses incurred on such investment and reinvestment of the Escrow Property shall
  be debited against the Escrow Property. In the absence of any other written instruction , the Es-
  crow Property shall be invested in the Federated Government Obligations Fund Institutional Ser-
  vice Shares and Invesco Government & Agency Portfolio Private Class of the Wilmington fam-
  ily of mutual funds or such other mutual funds for which the Escrow Agent or any affiliate of the
  Escrow Agent may serve as investment advisor or other service provider. The parties acknowl-
  edge that shares in such mutual funds are not obligations of Wilmington Trust Company or Wil-
  mington Trust Corporation , are not deposits and are not insured by the Federal Deposit Insurance
  Corporation. It is agreed and understood that the entity serving as Escrow Agent may earn fees
  associated with the investments outlined above in accordance with the terms of such investments.
  Notwithstanding the foregoing, the Escrow Agent shall have the power to sell or liquidate the
  foregoing investments whenever the Escrow Agent shall be required to release all or any portion
  of the Escrow Property pursuant to Section 5 hereof. In no event shall the Escrow Agent be
  deemed an investment manager or adviser in respect of any selection of investments hereunder.
  The Escrow Agent shall not be responsible for the investment performance of any investment
  selected pursuant to this Agreement. It is understood and agreed that the Escrow Agent or its
  affiliates are permitted to receive additional compensation that could be deemed to be in the Es-
  crow Agent' s economic self- interest for (1) serving as investment adviser , administrator , share-
  holder servicing agent , custodian or sub custodian with respect to certain of the investments , (2)
  using affiliates to effect transactions in certain investments and (3) effecting transactions in in-
  vestments.

                  Section 5.    Distribution of Escrow Property .          The Escrow Agent      is directed to
  distribute the Escrow Property in the following manner:

                   (a)              if at any time prior to the Initial Escrow End Date , as may be extended to
  the Escrow Extension Date , the Escrow Agent receives an Officer s Certificate from the
  Company substantially in the form of               Exhibit A , dated as of the date the Escrow Property is
  be released pursuant to the Release Notice (as defined below), executed by an Authorized Person
  of the Company and certifying to the Escrow Agent as to the matters set forth therein (an
    Officer s Certificate ), a written notice substantially in the form of            Exhibit B , executed by an
  Authorized Person of the Escrow Company (a                        Release Notice ) and written instructions to
  liquidate any investments of the Escrow Property in accordance with Section 4 hereof (the
    Liquidation Notice ), the Escrow Agent shall on the same Business Day that the Release Notice
  is received , provided that (x) the Release Notice is received by 12:01 p. m. local time in the City
  of New York on that same Business Day and (y) the Liquidation Notice is received by 12:01
     m. local time in the City of New York at least one (1) Business Day prior to that same Business
  Day, release the Escrow Property as directed and in the manner set forth in the Release Notice
  from the Escrow Company; or
10-16140-mg       Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                     Main Document
                                           Pg 428 of 771




                  (b)               if at any time prior to the Escrow End Date , the Escrow Agent receives a
  written notice from the Escrow Company (or an entitlement order or instructions, as applicable
  from the Trustee pursuant to Section 3(e)(iv) hereof) setting forth the date on which a Special
  Mandatory Redemption will occur in the form of                 Exhibit C hereto (a " Redemption Notice ), and
  a Release Notice , substantially in the form of            Exhibit B, executed by an Authorized Person of the
  Escrow Company, the Escrow Agent shall liquidate the Escrow Property no later than one (1)
  Business Day prior to the date specified for the Special Mandatory Redemption , and shall release
  the Escrow Property as directed and in the manner set forth in the Release Notice from the
  Escrow Company.

                 Section 6.     Termination . This Agreement shall terminate upon the distribution
  of all Escrow Property from the account established hereunder. The provisions of Sections 7 , 8
  9 and 10 shall survive the termination ofthis Agreement and the earlier resignation or removal of
  the Escrow Agent.

                  Section 7.       Compensation of Escrow Agent.             The Escrow Agent shall be
  entitled to payment from either the Escrow Company or the Company (without duplication) for
  customary fees and expenses for all services rendered by it hereunder as separately agreed in
  writing between the Company, the Escrow Company and the Escrow Agent (as such fees may be
  adjusted from time to time). The Escrow Company and the Company, jointly and severally, shall
  reimburse the Escrow Agent on demand for all loss , liability, damage , disbursements , advances
  or reasonable and documented out-of- pocket expenses paid or incurred by it in the administration
  of its duties hereunder , including, but not limited to , all counsel , advisors ' and agents ' reasonable
  and documented out-of- pocket fees and disbursements and all taxes or other governmental
  charges , except , in each case , as was caused by the Escrow Agent's bad faith , gross negligence
  or willful misconduct , as determined by a court of competent jurisdiction in a final and non-
  appealable decision. At all times , the Escrow Agent will have a right of set off and first lien on
  the funds in the Escrow Property for payment of customary fees and reasonable and documented
  out-of- pocket expenses and all such loss, liability, damage or expenses. Such compensation and
  expenses shall be paid from the Escrow Property to the extent not otherwise paid within ten (10)
  Business Days after an invoice has been rendered. Except as expressly provided in this Section
    , the Escrow Agent subordinates any lien or right of set off it may have with respect to the
  Escrow Property to the Trustee s and the Secured Parties ' security interests granted hereunder
  other than in connection with fees pursuant to this Section 7 or the indemnification obligations in
  Section 9.

                Section 8.     Resignation of Escrow Agent. The Escrow Agent may resign and
  be discharged from its duties hereunder at any time by giving thirty (30) calendar days ' prior
  written notice of such resignation to the Escrow Company, the Company and the Trustee. Upon
  such notice , a successor escrow agent shall be appointed by the Escrow Company, the Company
  and the Trustee , who shall provide written notice of such to the resigning Escrow Agent. Such
  successor escrow agent shall become the escrow agent hereunder upon the resignation specified
  in such notice. If the Escrow Company, the Company and the Trustee are unable to agree upon a
  successor escrow agent within thirty (30) days after such notice , the Escrow Agent may, in its
  sole discretion , deliver the Escrow Property to the Trustee at the address provided herein or may
  apply to a court of competent jurisdiction for the appointment of a successor escrow agent or for
  other appropriate relief. The       costs and reasonable and documented out-of- pocket            expenses
10-16140-mg       Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                    Main Document
                                          Pg 429 of 771




  (including its attorneys ' fees and expenses) incurred by the Escrow Agent in connection with
  such proceeding shall be paid by the Escrow Company and the Company. Upon receipt of the
  identity of the successor escrow agent , the Escrow Agent shall either deliver the Escrow Property
  then held hereunder to the successor Escrow Agent , less the Escrow Agent's fees, costs and
  expenses or other obligations owed to the Escrow Agent to be paid from any interest earned in
  respect of the Escrow Property, or hold any interest earned in respect of the Escrow Property (or
  any portion thereof), pending distribution , until all such fees , costs and expenses or other
  obligations are paid. Upon its resignation and delivery of the Escrow Property as set forth in this
  Section 4 , the Escrow Agent shall be discharged of and from any and all further obligations
  arising in connection with the Escrow Property or this Agreement.

                    Section 9.    Indemnification of Escrow Agent. The Escrow Company and the
  Company shall jointly and severally indemnify, defend and hold harmless the Escrow Agent and
  its officers , directors, employees and agents , from and against and reimburse the Escrow Agent
  for any and all claims , obligations, liabilities , losses, damages, injuries (to person , property, or
  natural resources), penalties , stamp or      other similar taxes,       actions , suits , judgments and
  reasonable and documented out-of- pocket costs and expenses (including reasonable and
  documented attorney s fees and expenses) demanded , asserted or claimed against the Escrow
  Agent directly or indirectly relating to , or arising from , claims against the Escrow Agent by
  reason of its participation in the transactions contemplated hereby, including without limitation
  all reasonable and documented out-of- pocket costs required to be associated with claims for
  damages to persons or property, and reasonable and documented out-of- pocket attorneys ' and
  consultants ' fees and reasonable and documented out-of- pocket expenses and court costs except
  to the extent caused by the Escrow Agent's bad faith , gross negligence or willful misconduct , as
  determined by a court of competent jurisdiction in a final and non-appealable decision. The
  provisions of this Section 9 shall survive the termination of this Agreement or the earlier
  resignation or removal of the Escrow Agent.

                  Section 10.     The Escrow Agent.     (a) The duties ,   responsibilities and obligations
  of Escrow Agent         shall be limited   to those   expressly set forth herein and no duties
  responsibilities or obligations shall be inferred or implied against the Escrow Agent. The
  Escrow Agent shall not be subject to , nor required to comply with , any other agreement to which
  the Escrow Company or the Trustee is a party, even though reference thereto may be made
  herein , or to comply with any direction or instruction (other than those contained herein or
  delivered in accordance with this Agreement) from the Escrow Company or the Trustee or an
  entity acting on its behalf. The Escrow Agent shall not be required to expend or risk any of its
  own funds or otherwise incur any liability, financial or otherwise , in the performance of any of
  its duties hereunder.

                  (b)       If at any time the Escrow Agent is             served with any judicial or
  administrative order , judgment , decree , writ or other form of judicial or administrative process
  which in any way affects the Escrow Property (including but not limited to orders of attachment
  or garnishment or other forms of levies      or injunctions or stays relating to the transfer of the
  Escrow Property), the Escrow Agent is authorized to comply therewith in any manner it or legal
  counsel of its own choosing deems appropriate; and if the Escrow Agent complies with any such
  judicial or administrative order , judgment , decree , writ or other form of judicial or administrative
  process , Escrow Agent shall not be liable to any of the parties hereto or to any other person or
                 (g)
10-16140-mg      Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                         Pg 430 of 771




  entity even though such order , judgment , decree , writ or process may be subsequently modified
  or vacated or otherwise determined to have been without legal force or effect.

                 (c) The Escrow Agent shall not be liable for any action taken or omitted or for
  any loss or injury resulting from its actions or its performance or lack of performance of its
  duties hereunder in the absence of bad faith , gross negligence or willful misconduct on its part
  as determined by a court of competent jurisdiction in a final and non-appealable decision. In no
  event shall the Escrow Agent be liable (i) for acting in accordance with or conclusively relying
  upon any instruction , notice , demand , certificate or document from the Escrow Company or
  Trustee or any entity acting on behalf of the Escrow Company and the Trustee , (ii) for any
  indirect , consequential , punitive or special damages, regardless of the form of action and whether
  or not any such damages were foreseeable or contemplated , (iii) for the acts or omissions of its
  nominees, correspondents, designees , agents , subagents or subcustodians, (iv) for the investment
  or reinvestment of any cash held by it hereunder , in each case in good faith , and without gross
  negligence or willful misconduct , as determined by a court of competent jurisdiction in a final
  and non-appealable decision , in accordance with the terms hereof, including without limitation
  any liability for any delays (not resulting from its bad faith , gross negligence or willful
  misconduct , as determined by a court of competent jurisdiction in a final and non-appealable
  decision) in the investment or .reinvestment of the Escrow Property, or any loss of interest or
  income incident to any such delays , or (v) for an amount in excess of the value of the Escrow
  Property, valued as of the date of deposit , but only to the extent of direct money damages.

                 (d) If any fees , reasonable out-of- pocket expenses or costs incurred by, or any
  obligations owed to, the Escrow Agent or its counsel hereunder are not paid within ten (10)
  Business Days after such expenses or costs are due , the Escrow Agent may reimburse itself
  therefor from the Escrow Property and may sell , liquidate , conveyor otherwise dispose of any
  investment in respect of the Escrow Property for such purpose. The Escrow Agent may in its
  sole discretion withhold from any distribution of any interest earned in respect of the Escrow
  Property an amount it believes would , upon sale or liquidation , produce proceeds equal to any
  unpaid amounts to which the Escrow Agent is entitled to hereunder.

                 (e) The Escrow Agent may consult with legal counsel of its own choosing, at
  the expense of the Company, as to any matter relating to this Agreement, and the Escrow Agent
  shall not incur any liability in acting in good faith in accordance with any advice from such
  counsel.

                 (f)      The Escrow Agent shall not incur any liability for not performing any act
  or fulfilling any duty, obligation or responsibility hereunder by reason of any occurrence beyond
  the control of the Escrow Agent (including but not limited to any act or provision of any present
  or future law or regulation or governmental authority, any act of God or war , civil unrest , local or
  national disturbance or disaster , any act of terrorism , or the unavailability of the Federal Reserve
  Bank wire or facsimile or other wire or communication facility).

                         The Escrow Agent shall be entitled to conclusively rely upon any order
  judgment , certification , demand , notice , instrument or other writing delivered to it hereunder
  without being required to determine the authenticity or the correctness of any fact stated therein
  or the propriety or validity or the service thereof. The Escrow Agent may act in conclusive
                  (j)
10-16140-mg       Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                           Pg 431 of 771




  reliance upon any instrument or signature believed by it to be genuine and may assume that any
  person purporting to give receipt or advice to make any statement or execute any document in
  connection with the provisions hereof has been duly authorized to do so.

                  (h)     The Escrow Agent shall not be responsible in any respect for the form
  execution , validity, value or genuineness of documents or securities deposited hereunder , or for
  any description therein , or for the identity, authority or rights of persons executing or delivering
  or purporting to execute or deliver any such document , security or endorsement. The Escrow
  Agent shall not be called upon to advise any party as to the wisdom in selling or retaining or
  taking or refraining from any action with respect to any securities or other property deposited
  hereunder.

                  (i)   The Escrow Agent shall not be under any duty to give the Escrow
  Property held by it hereunder any greater degree of care than it gives its own similar property
  and shall not be required to invest any funds held hereunder except as directed in this
  Agreement. Uninvested funds held hereunder shall not earn or accrue interest.

                          When the       Escrow Agent acts on any information                . instructions
  communications, (including, but not limited to , communications with respect to the delivery of
  securities or the wire transfer of funds) sent by telex , facsimile , email or other form of electronic
  or data transmission , the Escrow Agent , absent bad faith , gross negligence or willful misconduct
  as determined by a court of competent jurisdiction in a final and non-appealable decision , shall
  not be responsible or liable in the event such communication is not an authorized or authentic
  communication of the Escrow Company or the Trustee or is not in the form the Escrow
  Company and the Trustee sent or intended to send (whether due to fraud , distortion or
  otherwise). The Escrow Company shall indemnify the Escrow Agent against any loss , liability,
  claim or reasonable and documented out-of- pocket expense (including reasonable out-of- pocket
  legal fees and expenses) it may incur with its acting in accordance with any such communication
  by the Escrow Company.

                  (k)    In the event of any ambiguity or uncertainty hereunder or in any notice
  instruction or other communication received by the Escrow Agent hereunder, the Escrow Agent
  may, in its sole discretion , refrain from taking any action other than to retain possession of the
  Escrow Property, unless the Escrow Agent receives written instructions , signed by the Escrow
  Company or the Trustee , which eliminates such ambiguity or uncertainty and upon which the
  Escrow Agent may conclusively rely.

                  (1)In the event of any dispute between or conflicting claims among the
  Escrow Company, the Company and the Trustee and any other person or entity with respect to
  any Escrow Property, the Escrow Agent shall be entitled , in its sole discretion , to refuse to
  comply with any and all claims , demands or instructions with respect to such Escrow Property so
  long as such dispute or conflict shall continue , and the Escrow Agent shall not be or become
  liable in any way to the Escrow Company, the Company or the Trustee for failure or refusal to
  comply with such conflicting claims , demands or instructions. The Escrow Agent shall be
  entitled to refuse to act until , in its sole discretion , either (i) such conflicting or adverse claims or
  demands shall have been determined by a final order , judgment or decree of a court of competent
  jurisdiction , which order , judgment or decree is not subject to appeal , or settled by agreement
10-16140-mg         Doc 116    Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                         Pg 432 of 771




  between the conflicting parties as evidenced in a writing satisfactory to the Escrow Agent or (ii)
  the Escrow Agent shall have received security or an indemnity satisfactory to it sufficient to hold
  it harmless from and against any and all losses which it may incur by reason of so acting. Any
  court order ,   judgment or decree shall be accompanied by a legal opinion by counsel for         the
  presenting party, satisfactory to the Escrow Agent ,     to the effect that said order ,
                                                                                       judgment or
  decree represents a final adjudication of the rights of the       parties by a court of competent
  jurisdiction , and that the time for appeal from such order , judgment or decree has expired
  without an appeal having been filed with such court. The Escrow Agent shall act on such court
  order and legal opinions without further question. The Escrow Agent may, in addition , elect , in
  its sole discretion , to commence an interpleader action or seek other judicial relief or orders as it
  may deem , in its sole discretion , necessary. The reasonable and documented costs and out-of-
  pocket expenses (including attorneys ' fees and expenses) incurred in connection with such
  proceeding shall be paid by, and shall be deemed a joint and several obligation of, the Escrow
  Company and the Company.

                    (m)  The Escrow Agent shall have no responsibility for the contents of any
  writing of the arbitrators or any third party contemplated herein as a means to resolve disputes
  and may conclusively rely without any liability upon the contents thereof.

                    (n)  Except as set forth in Section 7 hereof, the Escrow Agent does not have
  any interest in the Escrow Property deposited hereunder but is serving as escrow holder only and
  having only possession thereof. The Escrow Company and the Company shall payor reimburse
  the Escrow Agent upon request for any transfer taxes or other taxes relating to the Escrow
  Property incurred in connection herewith and shall indemnify and hold harmless the Escrow
  Agent from any amounts that it is obligated to pay in the way of such taxes. The Escrow
  Company shall be treated as the owner of the Escrow Property for u.S. federal income tax
  purposes. Any payments of income from this Escrow Account shall be subject to withholding
  regulations then in force with respect to United States taxes. The Escrow Company will provide
  the Escrow Agent with appropriate W - 9 forms for tax identification number certifications. It is
  understood that the Escrow Agent shall only be responsible for income reporting with respect to
  income earned on the Escrow Property and will not be responsible for any other reporting. This
  paragraph shall survive notwithstanding any termination of this Agreement or the resignation or
  removal of the Escrow Agent.

                    (0) The Escrow Agent         shall provide to the     Escrow Company and the
  Company monthly electronic statements identifying transactions , transfers or holdings of Escrow
  Property and each such statement shall be deemed to be correct and final upon receipt thereof by
  the Escrow Company, the Company and the Trustee unless the Escrow Agent is notified in
  writing, by the Escrow Company, the Company and the Trustee, to the contrary within thirty (30)
  Business Days of the date of such statement. The Escrow Company and Company acknowledge
  that regulations of the Comptroller of the Currency grant the parties the right to receive
  brokerage confirmations of the security transactions as they occur. The Escrow Company and
  the Company specifically waive such notification to the extent permitted by law and will receive
  periodic cash transaction statements which will detail all investment transactions. Except as
  otherwise provided hereunder or agreed in writing among the parties hereto , Escrow Company
  shall retain the authority to institute , participate and join in any plan of reorganization
  readjustment , merger or consolidation with respect to the issuer of any securities held hereunder
                                                    10-
10-16140-mg      Doc 116         Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                           Pg 433 of 771




  and , in general , to exercise each and every other power or right with respect to each such asset or
  investment as individuals generally have and enjoy with respect to their own assets and
  investment , including power to vote upon any securities.

                 Section 11.        Miscellaneous.

                 (a)       This Agreement embodies the entire agreement and understanding among
  the parties relating to the subject matter hereof.

                 (b)    This Agreement and any claim , controversy or dispute arising under or
  related to this Agreement shall be governed by and construed in accordance with the laws of the
  State of New York without reference to the principles of conflict of laws (other than Section 5-
  1401 of the General Obligations Law).

                 (c) Each of the parties hereto hereby irrevocably consents to the jurisdiction
  of the courts of the State of New York and of any Federal Court located in the Borough of
  Manhattan in such State in connection with any action , suit or other proceeding arising out of or
  relating to this Agreement or any action taken or omitted hereunder , and waives any claim of
  forum non conveniens and any objections as to laying of venue. Each party further waives
  personal service of any summons , complaint or other process and agrees that service thereof may
  be made by certified or registered mail directed to such person at such person s address for
  purposes of notices hereunder.

                 (d) All notices and other communications under this Agreement shall be in
  writing in English and shall be deemed given when delivered personally, on the next Business
  Day after delivery to a recognized overnight courier on the fifth Business Day when mailed first
  class (postage prepaid) or on the same Business Day when sent by facsimile to the applicable
  parties before 5:00 p. m. Eastern time on the same Business Day (which facsimile copy shall be
  followed , in the case of notices or other communications sent to the Escrow Agent , by delivery
  of the original) at the following addresses (or to such other address as a party may have specified
  by notice given to the other parties pursuant to this provision):

                 If to the Escrow Company:

                         AMO Escrow Corporation
                         1000 American Media Way
                         Boca Raton , FL 33464- 1000
                         Facsimile: (877) 569- 5998
                         Attention: Christopher Polimeni

                 with a copy to (which copy shall not be deemed notice):

                         Akin Gump Strauss Hauer & Feld         LLP
                         One Bryant Park
                         New York , NY 10036
                         Facsimile: (212) 872- 1002
                         Attention: Rosa A. Testani



                                                          11-
                     (g)
10-16140-mg          Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                              Pg 434 of 771




                     If to the Company:

                            American Media Operations , Inc.
                            1000 American Media Way
                            Boca Raton , FL 33464- 1000
                            Facsimile: (877) 569- 5998
                            Attention: Christopher Polimeni

                     with a copy to (which copy shall not be deemed notice):

                            Akin Gump Strauss Hauer & Feld          LLP
                            One Bryant Park
                            New York , NY 10036
                            Facsimile: (212) 872- 1002
                            Attention: Rosa A. Testani


                     If to the Escrow Agent or the Trustee:

                            Wilmington Trust FSB
                            Corporate Client Services
                            50 South Sixth Street , Suite 1290
                            Drop Code 7100
                            Minneapolis , MN 55402- 1544
                            Tel: (612) 217- 5632
                            Fax: (612) 217- 5651
                            Attn: Jane Y. Schweiger

                     (e)
                     The headings of the Sections of this Agreement have been inserted for
  convenience and shall not modify, define , limit or expand the express provisions of this
  Agreement.

               (f)   This Agreement and the rights and obligations hereunder of parties hereto
  may not be assigned except with the prior written consent of the other parties              hereto. This
  Agreement shall be binding upon and inure to the benefit of each party s respective successors
  and permitted assigns. Except as expressly provided herein , no other person shall acquire or
  have any rights under or by virtue of this Agreement. This Agreement is intended to be for the
  sole benefit of the parties hereto , and (subject to the provisions of this Section 11(f)) their
  respective successors and assigns , and none of the provisions of this Agreement are intended to
    , nor shall they be construed to be, for the benefit of any third person.

                            This Agreement may not be amended , supplemented or otherwise
  modified without the prior written consent of the parties hereto.

                     (h) The Escrow Agent makes no                 representation as to the validity, value
  genuineness or the collectability of any security or other document or instrument held by or
  delivered to it.



                                                             12-
                 (j)                                      ,"
10-16140-mg      Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                         Pg 435 of 771




                 (i)      The parties hereto acknowledge that in accordance with Section 326 of the
  USA Patriot Act the Escrow Agent , like all financial institutions and in order to help fight the
  funding of terrorism and money laundering, is required to obtain , verify, and record information
  that identifies each person or legal entity that establishes a relationship or opens an account with
  Wilmington Trust FSB. The parties to this Agreement agree that they will provide the Escrow
  Agent with such information as it may request in order for the Escrow Agent to satisfy the
  requirements of the USA Patriot Act.

                         This Agreement may be executed in two or more counterparts, each of
  which shall be an original , but all of which together shall constitute one and the same instrument.

                 (k) The rights and        remedies conferred upon the parties hereto shall be
  cumulative, and the exercise or waiver of any such right or remedy shall not preclude or inhibit
  the exercise of any additional rights or remedies. The waiver of any right or remedy hereunder
  shall not preclude the subsequent exercise of such right or remedy.

                 (1) The Escrow Company, the Company, the Trustee and the Escrow Agent
  each hereby represents and warrants as to itself (i) that this Agreement has been duly authorized
  executed and delivered on its behalf and constitutes its legal, valid and binding obligation and (ii)
  that the execution , delivery and performance of this Agreement by it does not and will not
  violate any applicable law or regulation.

                 (m)     The invalidity, illegality or unenforceability of any provision of this
  Agreement shall in no way affect the validity, legality or enforceability of any other provision;
  and if any provision is held to be unenforceable as a matter of law , the other provisions shall not
  be affected thereby and shall remain in full force and effect.

                 (n) For purposes of this Agreement            Business Day" shall mean any day that
  is not a Saturday or Sunday or a day on which banks           are required or permitted by law or
  executive order to be closed in the City of New York.

                 (0)     For purposes of sending and receiving instructions or directions hereunder
  all such instructions or directions shall be , and the Escrow Agent may conclusively rely upon
  such instructions or directions, delivered , and executed by an Authorized Person of the Escrow
  Company or the Company designated on Schedule I attached hereto and made a part hereof
  which such designation shall include specimen signatures of such representatives , as such
  Schedule I may be updated from time to time.

                                            (SIGNATURE PAGE FOLLOWS)




                                                   13-
                                                        "'-. .
                                                       ~~!~-     , )( '-. -,--,-              -'-


10-16140-mg      Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                         Main Document
                                         Pg 436 of 771




                   IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of
    the day and year first abovc writtcn.




                                                   By:
                                                  AM              fJlV1Ep                     ~~ IN C.
                                                                            '1';
                                                                                       Y ~N

                                                  Name: Christ er Polimeni
                                                  Title: Executive Vice President ,      Chief Financial
                                                               Officer and Treasurer




                                      Signature Page to Escrow Agreement
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 437 of 771




                                   WILMINGTON TRUST FSB , as
                                      Escrow Agent

                                   BY:
                                         Na e:   . ane Sch eiger
                                         Title: Vice President




                            Signature Page to Escrow Agreement
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 438 of 771




                                   WILMINGTON TRUST FSB , as
                                      Trustee




                           Signature Page to Escrow Agreement
10-16140-mg         Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47               Main Document
                                            Pg 439 of 771




                                                  EXHIBIT A

                                               Officer s Certificate

                                AMERICAN MEDIA OPERATIONS , INC.

                                                         L 20( )

                 This certificate is being delivered pursuant to Section 5 of the Escrow Agreement,
  dated as of December 1 , 2010 (the    Escrow Agreement ), by and among AMO Escrow Corpora-
  tion , a Delaware corporation (the " Escrow Company ), American Media Operations , Inc" a
  Delaware corporation (the " Company ), Wilmington Trust FSB , a federal savings bank , as trus-
  tee (together with its successors and assigns , in such capacity, the " Trustee ), and Wilmington
  Trust FSB , a federal savings bank , as escrow agent (together with its successors and assigns , in
  such capacity, the " Escrow Agent ). Capitalized terms used but not defined herein have the re-
  spective meanings specified in the Indenture , dated as of December 1 2010 (the     Indenture ), or
  the Purchase Agreement , dated November 16 , 2010 (the " Purchase Agreement ), in each case,
  between the Escrow Company and the Trustee.

                    The Company hereby certifies to the Escrow Agent through the undersigned offi-
  cer as follows:


  ing appeal ,
                    I.    The Bankruptcy Court has issued an order , that has not been stayed pend-
                 confirming the Reorganization Plan and, other than the release of the Escrow Pro-
  ceeds (as defined in the Indenture) and other conditions to be satisfied substantially simultane-
  ously with the release of the Escrow Proceeds , the satisfaction of all conditions precedent to the
  effectiveness of such Reorganization Plan has occurred.

                    2,     The Escrow Assumption has been consummated and the Company, as ob-
  ligor in respect of the obligations under the Notes , has assumed all of the obligations of the Es-
  crow Company under the Notes and the Indenture and the Guarantees of the Notes by the Guar-
  antors are in full force and effect.

                          No Default or Event of Default has occurred and is continuing under the
  Indenture.

                    4.    Prior to or substantially     simultaneously with the release of Escrow Prop-
  erty (as defined in the Escrow Agreement), the Company and the Guarantors have executed and
  delivered documents relating to the Revolving Facility, including the Credit Agreement , and the
  conditions to effectiveness thereunder have been satisfied or waived by the parties thereto , and
  funds have been borrowed or received or are available to be borrowed pursuant to (as necessary
  to consummate the Reorganization Plan) the Credit Agreement , which provides for commitments
  in an aggregate principal amount of not less than $40. 0 million; provided that no more than $10.
  million shall be borrowed thereunder on the date hereof.


                    5.                   Annex I hereto , the Company s pro forma ratio of
                          As demonstrated by

  Debt Covenant EBITDA (as defined in the Offering Memorandum dated as of November 16
                                                   Exhibit A-
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                        Pg 440 of 771




  2010 relating to the offering of the Notes) for the four quarters most recently ended for which
  financial statements have been delivered, to first lien Indebtedness (exclusive of certain revolver
  borrowings) is less than or equal to 3. 5 to 1,

                 6.      The Company and its Subsidiaries have no debt for borrowed money other
  than (a) the Notes , (b) up to $140, 0 million of second lien notes issued pursuant to the Reorgani-
  zation Plan or otherwise (or any new unsecured pay- in- kind notes that are scheduled to mature
  after the maturity date of the Notes that are issued in lieu of such second lien notes), (c) the
  Credit Agreement and (d) up to $2 million of general debt for borrowed money.


  Hauer & Feld
                 7.        The Company and Escrow Company have caused (i) Akin , Gump, Strauss,
                 LLP to deliver to the Initial Purchasers on the Release Date their opinion , dated
  the Release Date , substantially to the effect set forth in Exhibit C- to the Purchase Agreement;
  and (ii) David Olson , Corporate Counsel of the Company, to deliver to the Initial Purchasers on
  the Release Date his opinion , dated the Release Date , substantially to the effect set forth in Ex-
  hibit C- to the Purchase Agreement.

                   (REMAINDER OF PAGE INTENTIONALLY LEFT BLANK)




                                             Exhibit A-
10-16140-mg    Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47         Main Document
                                     Pg 441 of 771




                  IN WITNESS WHEREOF , the Company, through the undersigned officer , has
  signed this officer s certificate as of the date first written above,

                                      AMERICAN MEDIA OPERATIONS ,         INC.



                                      By:
                                            Name:
                                            Title:




                                        Exhibit A-
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47      Main Document
                                  Pg 442 of 771




                                                                        ANNEX I

                    (Set forth calculation of Debt Covenant EBITDA)




                                     Exhibit A-
10-16140-mg         Doc 116
                               $(      Filed 12/15/10 Entered 12/15/10 23:40:47
                                                 Pg 443 of 771
                                                                                                Main Document




                                                            EXHIBIT B

                                                           Release Notice

                                                                     L 20( )

                    Reference is hereby made to the Escrow Agreement , dated as of December 1
  2010 (the "Escrow Agreement" ), by and among AMO Escrow Corporation , a Delaware corpora-
  tion (the " Escrow Company ), American Media Operations , Inc" a Delaware corporation (the
   Company ), Wilmington Trust FSB , a federal savings bank , as trustee (together with its succes-
  sors and assigns , in such capacity, the " Trustee ), and Wilmington Trust FSB , a federal savings
  bank , as escrow agent (together with its successors and assigns, in such capacity, the    Escrow
  Agent ). Capitalized terms used herein and not defined shall have the respective meanings as-
  cribed to such terms in the Escrow Agreement.

                    Pursuant to the Escrow Agreement , the Escrow Company hereby authorizes the
  release by the Escrow Agent of the Escrow Property in the aggregate amount of:

  (Choose one of the following as applicable)

  ((Choose if a release pursuant to Section 5(a))

                 (a) $3 850, 000 representing the Unpaid Discount Amount payable to the Ini-
         tial Purchasers pursuant to the wire instructions on Schedule attached hereto , which
         Unpaid Discount Amount is two- thirds of the fee payable pursuant to the Purchase
         Agreement; and

                    (b)              ) representing the excess Escrow Property in the Escrow
         Account payable to the Company pursuant to the wire instructions on Schedule     at-
         tached hereto.

  ((Choose if a Special Mandatory Redemption is triggered and Escrow Property is to be dis-
  tributed pursuant to Section 5(b))

                    (a) $3 850 000 representing the Unpaid Discount Amount payable to the Ini-
                                                        Schedule
         tial Purchasers pursuant to the wire instructions on       ) attached hereto , which
         Unpaid Discount Amount is two- thirds of the fee payable pursuant to the Purchase
         Agreement;

                    (b)                                 ) representing the gross proceeds of the Notes and the
         amount of Interest Deposit and any Additional Interest Deposit , if applicable , calculated
         based on the number of days from the Closing Date up to , but not including, the date of
         the Special Mandatory Redemption (the amounts collectively, the " Special Mandatory
         Redemption Price ) to the Paying Agent (as defined in the Indenture) pursuant to the wire
         instructions on Schedule    attached hereto; and




                                                                Exhibit B-
10-16140-mg       Doc 116            Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                               Pg 444 of 771




                  (c)                                 ) representing the excess Escrow Property in the Escrow
       Account payable to the Escrow Company pursuant to the wire instructions on                    Schedule
             ) attached hereto.




                                                            Exhibit B-
10-16140-mg    Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47         Main Document
                                     Pg 445 of 771




                 IN WITNESS WHEREOF , the undersigned has caused this Release Notice to be
  duly executed and delivered as of the first date written above.

                                      AMO ESCROW CORPORATION


                                      By:
                                            Name:
                                            Title:




                                        Exhibit B-
10-16140-mg        Doc 116          Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                              Pg 446 of 771




                                                EXHIBIT C

                                          REDEMPTION NOTICE

                                      AMO ESCROW CORPORATION
                       11   Y2   FIRST LIEN SENIOR SECURED NOTES DUE 2017
                                    CUSIPS : (001 75KAA2 & U03193AA4)

                        NOTICE IS HEREBY GIVEN THAT , pursuant to Section 3. 10 of the Indenture
  dated as of December I , 2010 (the " Indenture ), by and between AMO Escrow Corporation , a
  Delaware corporation (the " Escrow Company ), and Wilmington Trust FSB , a federal savings
  bank , as trustee (together with its successors and assigns , in such capacity, the Trustee ), all of
  the outstanding Notes are hereby called for redemption on ( J, 20( ) (the " Special Manda-
  tory Redemption Date ) at a redemption price equal to 100% of the issue price of the Notes, to-
  gether with accrued and unpaid interest on the Notes from the Issue Date up to but not including
  the Special Mandatory Redemption Date (the        Special Mandatory Redemption Price ). Capital-
  ized terms used herein without definition shall have the meanings ascribed to such terms in the
  Indenture.

                  If payment is requested to be made to any person other than the registered holder
  a written instrument of  transfer duly executed by the registered holder must accompany the
  Notes.

                  The Notes should be surrendered to the Paying Agent for payment of the Special
  Mandatory Redemption Price at the office of the Paying Agent as follows:

  (B Y Mail)       (By Hand)         (By Courier)

                  The method chosen for the delivery of the Notes is at the option and risk of the
  holder. If delivery is by mail , use of registered or certified mail, properly insured is suggested.
  Notes held through The Depository Trust Company ( DTC ) or Euroclear/Clearstream should be
  surrendered for redemption in accordance with DTC or Euroclear/Clearstream as applicable.



                                              AMO ESCROW CORPORATION


                                              By:
                                                      Name:
                                                      Title:


           No representation is made as to the accuracy of such CUSIP numbers either as provided on the
           Notes or as contained herein.




                                                    Exhibit C-
     ------...
    '--'           -,.--...
         ---."-,,---.,-------..,,,.-..,--,-,--
      .--...-.-...--.-.
      -..-... -.. -.-.-. "'...-
   ,...-..--.-----....-......            ...-..
                                              -...-.-
                                 ... --...-....         ------..----.
                                                  .-.-,--...-.        ---.
                                                                --- ----.".--'--.-----.-
                                                             -----    --------,..-.....-..-.
                                                                      .-.. ....--.-..
                                                                 ,.._..-..-.....---.
                                                            ....-.......             ..- --_.
                                                                                          ---.--
                                                                                          ---..-
                                                                                         .-.-         -.. ...-.-. ---.---.......--.-..-..--......---.........--------.-.--.-......-..--..--
                                                                                              ..... ...-
                            .... .-.-..-.-...-........-.-...-..-.---.-.-.-.....--..--.....---.......--            ---.....-.-....--.... .-... -.---... ...-.--.   -..                            ///!'//
                                                                                                                                                                                                  // -.. .---
                                                                                                                                                                                                :/--.     "'"
                                                                                                                                                                                              .-"""-"-'---'           ;'     /)::
                                                                                                                                                                                                                                / '"-------
                                                                                                                                                                                                                                ----------..----.-
                                                                                                                                                                                                                           .., '_&:"  /'-.. .... ...-
                                                                                                                                                                                                                                                  .--.



10-16140-mg                                Doc 116                              Filed 12/15/10 Entered 12/15/10 23:40:47                                                                                                         Main Document
                                                                                          Pg 447 of 771




                                                                                                                         SCHEDULE I


                                                               Authorized Representatives of AMO Escrow Corporation

                                                  ~le :                                                                                       Title                                                        Snccimen Silmatul"c

   ~~:iL                                                                                            President                                                                                 7/Z- r(
                                                                                                                                                                                                    H'
                                                                                                                                                                                                                f t




         Christopher Polimeni

   L____._.----..-.--...-.---.-..-..---
                                                                                                   Executive Vice President,
                                                                                                    Chief Financial
                                                                                                    Treasurer
                                                                                                                                                Officer and                                    C~Vk
                                                                                                                                                                                               C ~..
                                                     Authorized Representatives of American Media Operations, Inc.

   1-.
                                                 Name                                                                                        Title                                                         Soccimen Shmature

         David                  Peckel'                                                             Chairman Chief Executive
                                                                                                    Officer and President                                                                                       f/)
                                                                                                                                                                                                                             1././4

   r--
         Christopher Polimeni                                                                       Executive Vice President
                                                                                                    Chief Financial Officer and

     .....",..._m                     m..._.....-...--.....
                                                         ......-..._..._m...--..__...--..
                                                                                                    Treasurer




                                                                                                                                     Sch, 1-
10-16140-mg    Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47       Main Document
                                     Pg 448 of 771



                                      EXHIBIT G

   Intercreditor Agreement Among Reorganized Debtors, Collateral Agent for the New
 Revolver Facility Lenders, Trustee and Collateral Agent for New First Lien Note Holders,
           and Trustee and Collateral Agent for New Second Lien Note Holders
    10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                             Pg 449 of 771


1




2                                   INTERCREDITOR AGREEMENT




    CG&R DRAFT: 12/15/10 6:02 PM                                     #1121161 v8 (126S908_.DOC)
     10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                Pg 450 of 771


 3            Junior Lien Intercreditor Agreement (this “Agreement”), dated as of December 22, 2010 among
 4   JPMorgan Chase Bank, N.A., as administrative agent (in such capacity, with its successors and assigns,
 5   the “Agent”) and collateral agent (in such capacity, with its successors and assigns, the “Revolving Credit
 6   Collateral Agent”) under the Revolving Facility (such term, and other capitalized terms used herein but
 7   not otherwise defined, having the meaning set forth in Section 1.1 below), Wilmington Trust FSB, as
 8   trustee (in such capacity, with its successors and assigns, and as more specifically defined below, the
 9   “First Lien Trustee”) and collateral agent for the First Lien Note Secured Parties (in such capacity, with
10   its successors and assigns, the “First Lien Collateral Agent”), Wilmington Trust FSB, as trustee (in such
11   capacity, with its successors and assigns, the “Second Lien Trustee”) and collateral agent for the Second
12   Lien Note Secured Parties (in such capacity, with its successors and assigns, the “Second Lien Collateral
13   Agent”), American Media, Inc. (f/k/a American Media Operations, Inc.), a Delaware corporation (the
14   “Company”) and each of the other Grantors (as defined below) party hereto from time to time.

15            WHEREAS, the Company, the Agent, the Revolving Credit Collateral Agent and certain finan-
16   cial institutions and other entities are parties to the Revolving Facility dated as of December 22, 2010 (as
17   amended, supplemented, amended and restated or otherwise modified from time to time, the “Revolving
18   Facility”), pursuant to which such financial institutions and other entities have agreed to make loans and
19   extend other financial accommodations to the Company;

20            WHEREAS, the Company (as successor to AMO Escrow Corporation), the guarantors party the-
21   reto, the First Lien Collateral Agent and the First Lien Trustee are parties to the Indenture dated as of De-
22   cember 1, 2010 (the “First Lien Indenture”), pursuant to which the Company has issued $385.0 million
23   11-1/2% First Lien Senior Secured Notes due 2017 (the “First Lien Notes”) guaranteed by the guarantors
24   party thereto;

25           WHEREAS, the Company, the guarantors party thereto, the Second Lien Collateral Agent and the
26   Second Lien Trustee are parties to the Indenture dated as of December [22], 2010 (the “Second Lien In-
27   denture”), pursuant to which the Company has issued $[ ] million 13½ % Second Lien Senior Secured
28   Notes due 2018 (the “Second Lien Notes”) guaranteed by the guarantors party thereto;

29            WHEREAS, the Company and the other Grantors have granted to the First Priority Representa-
30   tive (as defined below) security interests in the Common Collateral (as defined below) as security for
31   payment and performance of the First Priority Obligations (as defined below);

32           WHEREAS, the Company and the other Grantors propose to grant to the Second Priority Repre-
33   sentative (as defined below) junior security interests in the Common Collateral as security for payment
34   and performance of the Second Priority Obligations (as defined below); and

35            WHEREAS, it is a condition to the grant of such junior security interests that this Agreement be
36   executed and delivered by the parties hereto to set forth the respective rights of the First Priority Secured
37   Parties, on the one hand, and the Second Priority Secured Parties, on the other hand, and the application
38   of any proceeds and certain other matters;

39           NOW THEREFORE, in consideration of the foregoing and the mutual covenants herein con-
40   tained and other good and valuable consideration, the existence and sufficiency of which is expressly rec-
41   ognized by all of the parties hereto, the parties agree as follows:

42           Section 1. Definitions.

43           1.1.     Defined Terms. The following terms, as used herein, have the following meanings:




     CG&R DRAFT: 12/15/10 6:02 PM                                                     #1121161 v8 (126S908_.DOC)
     10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                Pg 451 of 771


44

45           “Additional Collateral Agent” has the meaning set forth in Section 9.3.

46            “Additional First Priority Agreement” means any agreement designated as such in writing (in-
47   cluding by addendum to this Agreement substantially in the form set forth as Exhibit A hereto) by the
48   Company; provided that the Company shall have delivered to each Secured Party (or the respective colla-
49   teral agents on behalf of such Secured Parties) (i) true and complete copies of such agreement and securi-
50   ty documents relating to such agreement, certified as being true and correct by an authorized officer of the
51   Company and (ii) a certificate of an authorized officer describing the obligations incurred pursuant to
52   such agreement to be designated as First Priority Obligations and the initial aggregate principal amount or
53   face amount thereof, together with the aggregate commitments thereunder, and certifying that such obli-
54   gations are permitted to be incurred and secured on a pari passu basis with the then extant First Priority
55   Obligations by the terms of each then extant First Priority Agreement and Second Priority Agreement.

56            “Additional Second Priority Agreement” means any agreement designated as such in writing (in-
57   cluding by addendum to this Agreement substantially in the form set forth as Exhibit A hereto) by the
58   Company; provided that the Company shall have delivered to each Secured Party (or the respective colla-
59   teral agents on behalf of such Secured Parties) (i) true and complete copies of such agreement and securi-
60   ty documents relating to such agreement, certified as being true and correct by an authorized officer of
61   the Company and (ii) a certificate of an authorized officer describing the obligations incurred pursuant to
62   such agreement to be designated as Second-Priority Obligations and the initial aggregate principal amount
63   or face amount thereof, together with the aggregate commitments thereunder, and certifying that such ob-
64   ligations are permitted to be incurred and secured on a pari passu basis with the then extant Second-
65   Priority Obligations by the terms of each then extant First-Priority Agreement and Second Priority
66   Agreement.

67            “Affiliate” means, with respect to a specified Person, another Person that directly, or indirectly
68   through one or more intermediaries, Controls or is Controlled by or is under common Control with the
69   Person specified. For purposes of this definition, “Control” means the possession, directly or indirectly,
70   of the power to direct or cause the direction of the management or policies of a Person, whether through
71   the ability to exercise voting power, by contract or otherwise. “Controlling” and “Controlled” have
72   meanings correlative thereto.

73            “Agent” has the meaning assigned to such term in the preamble hereto.

74            “Agreement” has the meaning assigned to such term in the preamble hereto.

75           “Authorized Officer” means, with respect to any Person, the chief executive officer, the chief fi-
76   nancial officer, principal accounting officer, any vice president, treasurer, general counsel or another ex-
77   ecutive officer of such Person.

78         “Bankruptcy Code” means the United States Bankruptcy Code (11 U.S.C. §101 et seq.), as
79   amended from time to time.

80          “Bankruptcy Law” means each of the Bankruptcy Code and any similar federal, state or foreign
81   bankruptcy, insolvency, reorganization, receivership or similar law.

82           “Cash Management Bank” means any Revolving Credit Creditor or an Affiliate of a Revolving
83   Credit Creditor (together with its successors and assigns) providing Cash Management Services to the
84   Company or any other Grantor.

                                                          -2-

     CG&R DRAFT: 12/15/10 6:02 PM                                                    #1121161 v8 (126S908_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 452 of 771


 85            “Cash Management Obligations” means all obligations owing by the Company or any other
 86   Grantor to any Cash Management Bank in respect of any Cash Management Services (including, without
 87   limitation, indemnities, fees and interest thereon and Post-Petition Interest at the rate provided for in the
 88   respective documents governing the Cash Management Services), now existing or hereafter incurred un-
 89   der, arising out of or in connection with such Cash Management Services, and the due performance and
 90   compliance by the Company or other Grantor with the terms, conditions and agreements of such Cash
 91   Management Services.

 92           “Cash Management Services” means treasury, depository, bank product and/or cash management
 93   services or any automated clearing house transfer services.

 94           “Collateral Agent Joinder Agreement” means a supplement to this Agreement substantially in the
 95   form of Exhibit A, appropriately completed.

 96           “Collateral Agents” means the Revolving Credit Collateral Agent, the First Lien Collateral Agent,
 97   the Second Lien Collateral Agent and each Additional Collateral Agent.

 98           “Common Collateral” means all assets that are both First Priority Collateral and Second Priority
 99   Collateral.

100            “Company” has the meaning assigned to such term in the preamble hereto.

101            “Comparable Second Priority Security Document” means, in relation to any Common Collateral
102   subject to any First Priority Security Document, that Second Priority Security Document that creates a
103   security interest in the same Common Collateral, granted by the same Grantor, as applicable.

104           “DIP Financing” has the meaning assigned to such term in Section 5.2.

105            “Enforcement Action” means, with respect to the First Priority Obligations or the Second Priority
106   Obligations, any demand for acceleration or payment thereof, the exercise of any rights and remedies with
107   respect to any Common Collateral securing such obligations or the commencement or prosecution of en-
108   forcement of any of the rights and remedies as a secured creditor under, as applicable, the First Priority
109   Documents or the Second Priority Documents, or applicable law, including, without limitation, the exer-
110   cise of any rights of set-off or recoupment and rights to credit bid debt, and the exercise of any rights or
111   remedies of a secured creditor under the Uniform Commercial Code of any applicable jurisdiction or un-
112   der the Bankruptcy Code.

113           “First Lien Collateral Agent” has the meaning assigned to such term in the preamble.

114           “First Lien Indenture” has the meaning assigned to such term in the recitals.

115           “First Lien Note Documents” means the First Lien Indenture and each Note Security Document.

116           “First Lien Note Obligations” means all “Obligations” (as defined in the First Lien Indenture) un-
117   der the First Lien Indenture and the First Lien Notes.

118          “First Lien Note Secured Party” means the First Lien Trustee, the First Lien Collateral Agent and
119   each Holder (as defined in the First Lien Indenture).

120           “First Lien Note Security Documents” means the “Security Documents” as defined in the First
121   Lien Indenture.

                                                           -3-

      CG&R DRAFT: 12/15/10 6:02 PM                                                    #1121161 v8 (126S908_.DOC)
      10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                Pg 453 of 771


122           “First Lien Notes” has the meaning assigned to such term in the recitals.

123           “First Lien Trustee” has the meaning assigned to such term in the preamble.

124            “First Priority Agreement” means the collective reference to (a) the Revolving Facility, (b) the
125   First Lien Indenture, (c) any Additional First Priority Agreement and (d) any other credit agreement, loan
126   agreement, note agreement, promissory note, indenture or other similar agreement or instrument evidenc-
127   ing or governing the terms of any indebtedness or other financial accommodation that has been incurred
128   to extend, replace or refinance in whole or in part the indebtedness and other obligations outstanding un-
129   der the Revolving Facility, the First Lien Indenture, any Additional First Priority Agreement or any other
130   agreement or instrument referred to in this clause (d) unless such agreement or instrument expressly pro-
131   vides that it is not intended to be and is not a First Priority Agreement hereunder (a “Replacement First
132   Priority Agreement”). Except as otherwise expressly provided herein, any reference to the First Priority
133   Agreement hereunder shall be deemed a reference to any First Priority Agreement then extant.

134           “First Priority Collateral” means all assets, whether now owned or hereafter acquired by the
135   Company or any other Grantor, in which a Lien is granted or purported to be granted to any First Priority
136   Secured Party as security for any First Priority Obligation (including any Lien assigned to the First Priori-
137   ty Representative pursuant to Section 2.4).

138            “First Priority Documents” means the First Priority Intercreditor Agreement, the First Lien Inden-
139   ture, the Revolving Facility, each First Priority Security Document, each First Priority Guarantee, the Se-
140   cured Hedge Agreements, any and all documents governing the Cash Management Obligations and each
141   of the other agreements, documents, and instruments providing for or evidencing any other First Priority
142   Obligation and any other document or instrument executed or delivered at any time in connection with
143   any First Priority Obligation (including any intercreditor or joinder agreement among holders of First
144   Priority Obligations but excluding Secured Hedge Agreements and the documents governing the Cash
145   Management Obligations), to the extent such are effective at the relevant time, as each may be amended,
146   modified, restated, supplemented, replaced or refinanced from time to time.

147           “First Priority Guarantee” means any guarantee by any Grantor of any or all of the First Priority
148   Obligations.

149           “First Priority Intercreditor Agreement” has the meaning set forth in Section 9.1 hereof.

150            “First Priority Lien” means any Lien created by the First Priority Security Documents.

151            “First Priority Obligations” means (i) the Revolving Credit Obligations, (ii) all First Lien Note
152   Obligations, (iii) all Secured Hedging Obligations and (iv) all Cash Management Obligations; provided
153   that the aggregate principal amount of, without duplication, revolving credit loans, letters of credit, term
154   loans, other loans, notes or similar instruments (excluding, in any event, Cash Management Obligations
155   and Secured Hedging Obligations) provided for under the Revolving Facility or any other document relat-
156   ing to the Revolving Facility (or any refinancing thereof) in excess of the amount permitted under Section
157   4.09(b)(1) of the First Lien Indenture and any interest or fees relating to such excess amount, shall not
158   constitute First Priority Obligations for purposes of this Agreement. “First Priority Obligations” shall,
159   subject to the proviso in the immediately preceding sentence, include (a) all interest accrued or accruing,
160   or which would accrue, absent commencement of an Insolvency or Liquidation Proceeding (and the effect
161   of provisions such as Section 502(b)(2) of the Bankruptcy Code), on or after the commencement of an
162   Insolvency or Liquidation Proceeding in accordance with the rate specified in the relevant First Priority
163   Document, whether or not the claim for such interest is allowed or allowable as a claim in such Insolven-
164   cy or Liquidation Proceeding, (b) any and all fees and expenses (including attorneys’ and/or financial

                                                           -4-

      CG&R DRAFT: 12/15/10 6:02 PM                                                    #1121161 v8 (126S908_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                                 Pg 454 of 771


165   consultants’ fees and expenses) incurred by the First Priority Representative and the First Priority Secured
166   Parties on or after the commencement of an Insolvency or Liquidation Proceeding, whether or not the
167   claim for fees and expenses is allowed or allowable under Section 502 or 506(b) of the Bankruptcy Code
168   or any other provision of the Bankruptcy Code or any similar federal, state or foreign law for the relief of
169   debtors as a claim in such Insolvency or Liquidation Proceeding, and (c) all obligations and liabilities of
170   the Company and each other Grantor under each First Priority Document to which it is a party which, but
171   for the automatic stay under Section 362(a) of the Bankruptcy Code, would become due and payable.

172            “First Priority Obligations Payment Date” means the first date on which (a) payment in full in
173   cash of the principal of and interest (including interest accruing on or after the commencement of any In-
174   solvency or Liquidation Proceeding at the rate provided for in the respective First Priority Document,
175   whether or not such interest would be allowed in any such Insolvency or Liquidation Proceeding) and
176   premium, if any that is due and payable, on all Indebtedness (as defined in the First Lien Indenture) under
177   the First Priority Documents and termination of all commitments of the Lenders (as defined in the Re-
178   volving Facility) to lend or otherwise extend credit under the First Priority Documents, (b) payment in
179   full in cash of all other First Priority Obligations (including letter of credit reimbursement obligations)
180   that are due and payable or otherwise accrued and owing at or prior to the time such principal, interest,
181   and premium are paid (other than Cash Management Obligations and Secured Hedge Obligations so long
182   as arrangements satisfactory to the applicable Cash Management Bank or Hedge Bank shall have been
183   made), and (c) termination or cash collateralization (in an amount and manner, and on terms, reasonably
184   satisfactory to the First Priority Representative) of all letters of credit issued under the First Priority Doc-
185   uments.

186             “First Priority Representative” means, as between collateral agents representing different series
187   of First Priority Obligations and subject to any agreements between such collateral agents, the collateral
188   agent representing the series of First Priority Obligations with the greatest outstanding principal amount.

189          “First Priority Secured Party” means the First Lien Note Secured Parties, the Revolving Credit
190   Secured Parties and any other holder of First Priority Obligations.

191             “First Priority Security Documents” means the First Lien Note Security Documents, the Revolv-
192   ing Credit Security Documents, and any other documents that are designated under the First Priority
193   Agreement as “First Priority Security Documents,” “First Lien Note Security Documents” or “Revolving
194   Credit Security Documents” for purposes of this Agreement; provided that unless entered into pursuant to
195   the Revolving Facility or the First Lien Indenture, no document will constitute a First Priority Security
196   Document unless the treatment of such document as a First Priority Security Document is permitted under
197   each First Priority Agreement then extant, including, as of the date hereof and any other date if then ex-
198   tant, the Revolving Facility and the First Lien Indenture.

199            “Governmental Authority” means any federal, state, local or foreign court or governmental agen-
200   cy, authority, instrumentality or regulatory body.

201            “Grantor” means (a) the Company, (b) each direct or indirect subsidiary of the Company and (c)
202   any other Person in which the Company or any of its subsidiaries holds an ownership interest, in each
203   case (a) through (c), that is, at any time of determination, a party to any First Priority Security Document
204   or Second Priority Security Document. All references in this Agreement to any Grantor shall include
205   such Grantor as a debtor-in-possession and any receiver or trustee for such Grantor in any Insolvency or
206   Liquidation Proceeding.




                                                            -5-

      CG&R DRAFT: 12/15/10 6:02 PM                                                      #1121161 v8 (126S908_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 455 of 771


207           “Hedge Bank” means any Person that is a Revolving Credit Creditor or an Affiliate of a Revolv-
208   ing Credit Creditor at the time it enters into a Swap Agreement, in its capacity as a party thereto, and such
209   Person’s successors and assigns.

210            “Insolvency or Liquidation Proceeding” means (a) any voluntary or involuntary case or proceed-
211   ing under the Bankruptcy Code with respect to the Company or any Grantor, (b) any other voluntary or
212   involuntary insolvency, reorganization or bankruptcy case or proceeding, or any receivership, liquidation,
213   reorganization or other similar case or proceeding with respect to the Company or any Grantor or with
214   respect to a material portion of its respective assets, (c) any liquidation, dissolution, reorganization or
215   winding up of the Company or any Grantor, whether voluntary or involuntary and whether or not involv-
216   ing insolvency or bankruptcy, or (d) any assignment for the benefit of creditors or any other marshalling
217   of assets and liabilities of the Company or any Grantor.

218             “Lien” means, with respect to any asset, (a) any mortgage, deed of trust, lien (statutory or other-
219   wise), pledge, hypothecation, encumbrance, charge, preference, priority or security interest in, on or of
220   such asset, whether or not filed, recorded or otherwise perfected under applicable law, including any con-
221   ditional sale or other title retention agreement, any lease in the nature thereof, any option or other agree-
222   ment to sell or give a security interest in and any filing of or agreement to give any financing statement
223   under the Uniform Commercial Code (or equivalent statutes) of any jurisdiction (other than a filing for
224   informational purposes) (b) the interest of a vendor or a lessor under any conditional sale agreement, capi-
225   tal lease or title retention agreement (or any financing lease having substantially the same economic effect
226   as any of the foregoing) relating to such asset and (c) in the case of securities, any purchase option, call or
227   similar right of a third party with respect to such securities (other than arising from entry into an agree-
228   ment for the sale, transfer or disposition of Equity Interests (as defined in the Revolving Facility) as per-
229   mitted pursuant to the Revolving Facility).
230
231            “Person” means any natural person, corporation, business trust, joint venture, association, unin-
232   corporated organization, association, estate, company, partnership, individual or family trust, limited lia-
233   bility company or Governmental Authority or any agency or political subdivision thereof.

234           “Post-Petition Interest” means any interest or entitlement to fees or expenses or other charges due
235   under the First Priority Documents or Second Priority Documents, as applicable, that accrues after the
236   commencement of any Insolvency or Liquidation Proceeding, whether or not allowed or allowable as a
237   claim in any such Insolvency or Liquidation Proceeding.

238           “Recovery” has the meaning assigned to such term in Section 5.5.

239           “Reorganization Securities” has the meaning set forth in Section 5.12.

240            “Replacement First Priority Agreement” has the meaning set forth in the definition of “First
241   Priority Agreement”.

242            “Replacement Second Priority Agreement” has the meaning set forth in the definition of “Second
243   Priority Agreement.”

244           “Revolving Credit Collateral Agent” has the meaning set forth in the preamble.

245           “Revolving Credit Creditors” means the “Lenders” as defined in the Revolving Facility.

246            “Revolving Credit Documents” means the Revolving Facility and the other “Loan Documents”
247   (as defined in the Revolving Facility).

                                                            -6-

      CG&R DRAFT: 12/15/10 6:02 PM                                                     #1121161 v8 (126S908_.DOC)
      10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                Pg 456 of 771


248           “Revolving Credit Obligations” means “Obligations” as defined in the Revolving Facility.

249            “Revolving Credit Secured Party” means (a) each Revolving Credit Creditor (and any Cash
250   Management Bank), (b) each “Issuing Bank” (as defined in the Revolving Facility), (c) the Revolving
251   Credit Collateral Agent, (d) each Hedge Bank, (e) the beneficiaries of each indemnification obligation
252   undertaken by any Grantor under any Revolving Credit Document and (f) the successors and assigns of
253   each of the foregoing.

254           “Revolving Credit Security Documents” means the “Security Documents” as defined in the Re-
255   volving Facility.

256           “Revolving Facility” has the meaning set forth in the recitals.

257           “Second Lien Collateral Agent” has the meaning ascribed to such term in the preamble.

258           “Second Lien Indenture” has the meaning assigned to such term in the recitals.

259           “Second Lien Note Documents” means the Second Lien Indenture and each Second Lien Note
260   Security Document.

261           “Second Lien Note Obligations” means all “Obligations” as defined in the Second Lien Indenture
262   under the Second Lien Indenture and the Second Lien Notes.

263           “Second Lien Notes” has the meaning assigned to such term in the recitals.

264          “Second Lien Note Secured Party” means the Second Lien Trustee, the Second Lien Collateral
265   Agent and each Holder (as defined in the Second Lien Indenture).

266          “Second Lien Note Security Documents” means the “Security Documents” as defined in the
267   Second Lien Indenture.

268           “Second Lien Trustee” has the meaning ascribed to such term in the preamble.

269            “Second Priority Agreement” means the collective reference to (a) the Second Lien Indenture, (b)
270   any Additional Second Priority Agreement and (c) any other credit agreement, loan agreement, note
271   agreement, promissory note, indenture, or other similar agreement or instrument evidencing or governing
272   the terms of any indebtedness or other financial accommodation that has been incurred to extend, replace
273   or refinance in whole or in part the indebtedness and other obligations outstanding under the Second Lien
274   Indenture, any Additional Second Priority Agreement or any other agreement or instrument referred to in
275   this clause (c) (a “Replacement Second Priority Agreement”). Except as otherwise expressly provided
276   herein, any reference to the Second Priority Agreement hereunder shall be deemed a reference to any
277   Second Priority Agreement then extant.

278           “Second Priority Collateral” means all assets, whether now owned or hereafter acquired by the
279   Company or any other Grantor, in which a Lien is granted or purported to be granted to any Second Prior-
280   ity Secured Party as security for any Second Priority Obligation.

281           “Second Priority Documents” means each Second Priority Agreement, each Second Priority Se-
282   curity Document and each Second Priority Guarantee and each of the other agreements, documents, and
283   instruments providing for or evidencing any other Second Priority Obligation (including any intercreditor
284   or joinder agreement among holders of Second Priority Obligations), to the extent such are effective at the

                                                          -7-

      CG&R DRAFT: 12/15/10 6:02 PM                                                  #1121161 v8 (126S908_.DOC)
      10-16140-mg          Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 457 of 771


285   relevant time, as each may be amended, modified, restated, supplemented, replaced or refinanced from
286   time to time.

287            “Second Priority Guarantee” means any guarantee by any Grantor of any or all of the Second
288   Priority Obligations.

289              “Second Priority Lien” means any Lien created by the Second Priority Security Documents.

290            “Second Priority Obligations” means the due and punctual payment of (a) all principal of and in-
291   terest (including any Post-Petition Interest) and premium (if any) on all indebtedness under the Second
292   Priority Agreement, and (b) all other monetary obligations, including fees, costs, expenses and indemni-
293   ties, whether primary, secondary, direct, contingent, fixed or otherwise (including Post-Petition Interest),
294   of the Company, the other Grantors or any of their Subsidiaries to the Second Priority Secured Parties
295   under the Second Priority Documents, and other amounts payable from time to time pursuant to the
296   Second Priority Documents, in each case whether or not allowed or allowable in an Insolvency or Liqui-
297   dation Proceeding. To the extent any payment with respect to any Second Priority Obligation (whether
298   by or on behalf of any Grantor, as proceeds of security, enforcement of any right of setoff or otherwise) is
299   declared to be a fraudulent conveyance or a preference in whole or in part, or is otherwise set aside or re-
300   quired to be returned or paid to a debtor in possession, any First Priority Secured Party, any receiver or
301   any similar Person, then the obligation or part thereof originally intended to be satisfied shall, for the pur-
302   poses of this Agreement and the rights and obligations of the First Priority Secured Parties and the Second
303   Priority Secured Parties, be deemed to be reinstated and outstanding as if such payment had not occurred.

304            “Second Priority Representative” means, as between collateral agents representing different series
305   of Second Priority Obligations and subject to any agreements between such collateral agents, the collater-
306   al agent representing the series of Second Priority Obligations with the greatest outstanding principal
307   amount.

308           “Second Priority Secured Party” means the Second Lien Notes Secured Parties and any other
309   holders of the Second Priority Obligations.

310            “Second Priority Security Documents” means the “Security Documents” as defined in the Second
311   Lien Indenture and any documents that are designated under the Second Priority Agreement as “Second
312   Priority Security Documents” for purposes of this Agreement.

313              “Secured Credit Documents” means First Priority Documents and Second Priority Documents.

314              “Secured Hedge Agreements” means each Swap Agreement that governs Secured Hedging Obli-
315   gations.

316             “Secured Hedging Obligations” means (i) obligations (including obligations which, but for the
317   automatic stay under Section 362(a) of the Bankruptcy Code, would become due) and liabilities, whether
318   now existing or hereafter arising (including, without limitation, indemnities, fees and interest thereon and
319   all Post-Petition Interest at the rate provided for in the respective Secured Hedge Agreement), of the
320   Company or any Grantor owing to any Hedge Bank, now existing or hereafter incurred under, or arising
321   out of or in connection with, any Swap Agreement (including all such obligations and indebtedness under
322   any guarantee of any such Swap Agreement to which the Company or any other Grantor is a party) and
323   (ii) all performance and compliance obligations by the Company or any other Grantor under any Swap
324   Agreement.



                                                            -8-

      CG&R DRAFT: 12/15/10 6:02 PM                                                     #1121161 v8 (126S908_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 458 of 771


325            “Secured Parties” means the First Priority Secured Parties and the Second Priority Secured Par-
326   ties.

327           “subsidiary” has the meaning specified in the Revolving Facility.

328            “Swap Agreement” means any agreement with respect to any swap, forward, future, derivative or
329   foreign exchange spot transaction or option or similar agreement involving, or settled by reference to, one
330   or more rates, currencies, commodities, equity or debt instruments or securities, or economic, financial or
331   pricing indices or measures of economic, financial or pricing risk or value or any similar transaction or
332   any combination of these transactions, in each case to the extent obligations under such agreement or in-
333   strument are permitted under the First Priority Documents and Second Priority Documents; provided that
334   no phantom stock or similar plan providing for payments only on account of services provided by current
335   or former directors, officers, employees or consultants of the Company or any of the Subsidiaries shall be
336   a Swap Agreement.

337            “Uniform Commercial Code” means the Uniform Commercial Code as in effect from time to
338   time in the applicable jurisdiction.

339           1.2.     Amended Agreements. All references in this Agreement to agreements or other
340   contractual obligations shall, unless otherwise specified, be deemed to refer to such agreements or
341   contractual obligations as amended, amended and restated, supplemented, restated or otherwise modified
342   from time to time in accordance with the terms of this Agreement, if applicable.

343            1.3.   Terms Generally. The definitions in this Section shall apply equally to both the singular
344   and plural forms of the terms defined. Whenever the context may require, any pronoun shall include the
345   corresponding masculine, feminine and neuter forms. The words “include,” “includes” and “including”
346   shall be deemed to be followed by the phrase “without limitation”. All references herein to Sections shall
347   be deemed references to Sections of this Agreement unless the context shall otherwise require.

348           Section 2. Lien Priorities.

349           2.1.     Subordination of Liens.

350            (a)     Any and all Liens in or on the Common Collateral now existing or hereafter created or
351   arising in favor of any Second Priority Secured Party securing the Second Priority Obligations, regardless
352   of how acquired, whether by grant, statute, operation of law, judgment rendered in any judicial proceed-
353   ing, subrogation or otherwise, are expressly junior in priority, operation and effect to any and all Liens
354   now existing or hereafter created or arising in favor of the First Priority Secured Parties securing the First
355   Priority Obligations, notwithstanding (i) anything to the contrary contained in any agreement or filing to
356   which any Second Priority Secured Party may now or hereafter be a party, and regardless of the time, or-
357   der or method of grant, attachment, recording or perfection of any financing statements or other security
358   interests, assignments, pledges, deeds, mortgages and other Liens, charges or encumbrances or any defect
359   or deficiency or alleged defect or deficiency in any of the foregoing, (ii) any provision of the Uniform
360   Commercial Code or any other applicable law or any First Priority Document or Second Priority Docu-
361   ment or any other circumstance whatsoever and (iii) the fact that any such Liens in favor of any First
362   Priority Secured Party securing any of the First Priority Obligations are (x) subordinated to any Lien se-
363   curing any obligation of any Grantor other than the Second Priority Obligations or (y) otherwise subordi-
364   nated, voided, avoided, invalidated or lapsed.

365           (b)      No Second Priority Secured Party shall object to or contest, or support any other Person
366   in objecting to or contesting, in any proceeding (including, without limitation, any Insolvency or Liquida-

                                                           -9-

      CG&R DRAFT: 12/15/10 6:02 PM                                                     #1121161 v8 (126S908_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                                 Pg 459 of 771


367   tion Proceeding), the validity, extent, perfection, priority or enforceability of any Lien on the First Priority
368   Collateral granted to any First Priority Secured Party. Notwithstanding any failure by any First Priority
369   Secured Party to perfect its Lien on the First Priority Collateral granted to such First Priority Secured Par-
370   ty or any avoidance, invalidation or subordination by any third party or court of competent jurisdiction of
371   the Lien on the First Priority Collateral granted to the First Priority Secured Parties, the priority and rights
372   as between the First Priority Secured Parties, on the one hand, and the Second Priority Secured Parties, on
373   the other hand, with respect to the Common Collateral shall be as set forth herein.

374            2.2.     Nature of First Priority Obligations. The Second Priority Representative on behalf of
375   itself and the other Second Priority Secured Parties acknowledges that a portion of the First Priority
376   Obligations represents debt that is revolving in nature and that the amount thereof that may be outstanding
377   at any time or from time to time may be increased or reduced and subsequently reborrowed, and that the
378   terms of the First Priority Obligations may be modified, extended or amended from time to time, and that
379   the aggregate amount of the First Priority Obligations may be increased, replaced or refinanced, in each
380   event, without notice to or consent by the Second Priority Secured Parties and without affecting the
381   provisions hereof. The lien priorities provided in Section 2.1 shall not be altered or otherwise affected by
382   any such amendment, modification, supplement, extension, repayment, reborrowing, increase,
383   replacement, renewal, restatement or refinancing of the First Priority Obligations, or any portion thereof,
384   or by any amendment, modification, supplement, extension, repayment, reborrowing, increase,
385   replacement, renewal, restatement or refinancing of the Second Priority Obligations, or any portion
386   thereof.

387           2.3.     Agreements Regarding Actions to Perfect Liens.

388           (a)      [Reserved].

389            (b)      The Second Priority Representative agrees on behalf of itself and the other Second Priori-
390   ty Secured Parties that all Second Priority Security Documents entered into on or about the date hereof
391   shall contain the following notation: “The lien and security interest created by [this Agreement] on the
392   property described herein is junior and subordinate, in accordance with the provisions of the Intercreditor
393   Agreement dated as of December [22], 2010, among JPMorgan Chase Bank, N.A., in its capacity as
394   Agent and Revolving Credit Collateral Agent, Wilmington Trust FSB, in its capacity as First Lien Colla-
395   teral Agent and First Lien Trustee and Wilmington Trust FSB in its capacity as Second Lien Collateral
396   Agent and Second Lien Trustee, American Media, Inc. (f/k/a American Media Operations, Inc.), and the
397   other Grantors referred to therein, as amended from time to time, to the lien and security interest on such
398   property created by any similar instrument now or hereafter granted to JPMorgan Chase Bank, N.A., as
399   collateral agent under the Revolving Credit Documents and Wilmington Trust FSB as First Lien Collater-
400   al Agent and First Lien Trustee under the First Lien Note Documents, and each of their successors and
401   assigns, in such property.” The Second Priority Representative agrees on behalf of itself and the other
402   Second Priority Secured Parties to use commercially reasonable efforts to ensure that all other Second
403   Priority Security Documents shall bear substantially identical or, in the event that the Revolving Facility
404   and the First Lien Indenture are no longer extant or JPMorgan Chase Bank, N.A. or Wilmington Trust
405   FSB, in its capacity as First Lien Collateral Agent or First Lien Trustee, as applicable, shall cease to be
406   the First Priority Representative, a substantially similar notation.

407            (c)      The First Priority Representative and each other First Priority Secured Party hereby
408   agrees that, to the extent that it holds, or a third party holds on its behalf, physical possession of or “con-
409   trol” (as defined in the Uniform Commercial Code) (or any similar concept under foreign law) over
410   Common Collateral pursuant to the First Priority Security Documents, such possession or control is also
411   for the benefit of the Second Priority Representative and the other Second Priority Secured Parties solely
412   to the extent required to perfect their security interest in such Common Collateral (such bailment being

                                                            -10-

      CG&R DRAFT: 12/15/10 6:02 PM                                                      #1121161 v8 (126S908_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 460 of 771


413   intended, among other things, to satisfy the requirements of Sections 8-106(d)(3), 8-301(a)(2) and 9-
414   313(c) of the Uniform Commercial Code). Nothing in the preceding sentence shall be construed to im-
415   pose any duty on the First Priority Representative or any other First Priority Secured Party (or any third
416   party acting on its behalf) with respect to such Common Collateral or provide the Second Priority Repre-
417   sentative or any other Second Priority Secured Party with any rights with respect to such Common Colla-
418   teral beyond those specified in this Agreement and the Second Priority Security Documents; provided that
419   subsequent to the occurrence of the First Priority Obligations Payment Date, the First Priority Representa-
420   tive or such other First Priority Secured Party shall (i) deliver to the Second Priority Representative, at the
421   Company’s sole cost and expense, the Common Collateral in its possession or control together with any
422   necessary endorsements to the extent required by the Second Priority Documents, (ii) direct and deliver
423   such Common Collateral as a court of competent jurisdiction otherwise directs; and (iii) upon the reason-
424   able request of the Second Priority Representative, any other Second Priority Secured Party or the Com-
425   pany (and at the Company’s sole expense), provide notice of the First Priority Obligations Payment Date
426   to such Persons as the Second Priority Representative shall request; provided, however, that the provi-
427   sions of this Agreement are intended solely to govern the respective Lien priorities as between the First
428   Priority Secured Parties and the Second Priority Secured Parties and shall not impose on the First Priority
429   Secured Parties any obligations in respect of the disposition of any Common Collateral (or any proceeds
430   thereof) that would conflict with prior perfected Liens.

431            2.4.     No New Liens. So long as the First Priority Obligations Payment Date has not occurred,
432   the parties hereto agree that (a) there shall be no Lien, and no Grantor shall have any right to create any
433   Lien, on any assets of any Grantor securing any Second Priority Obligation if those same assets are not
434   subject to, and do not become subject to, a Lien securing the First Priority Obligations provided that the
435   foregoing shall not prohibit any Secured Party under any series of First Priority Obligations or Second
436   Priority Obligations from being secured by Equity Interests that do not secure any other series of First
437   Priority Obligations or Second Priority Obligations, as applicable, due to the Rule 3-16 Exception (as
438   defined in the First Lien Note Documents) and (b) if any Second Priority Secured Party shall acquire or
439   hold any Lien on any assets of any Grantor securing any Second Priority Obligation which assets are not
440   also subject to the first-priority Lien of the First Priority Representative under the First Priority
441   Documents, then the Second Priority Representative, shall be deemed to also hold and have held such
442   Lien for the benefit of the First Priority Secured Parties and shall promptly notify the First Priority
443   Representative of the existence of such Lien and, upon written request by the First Priority
444   Representative, will without the need for any further consent of any other Second Priority Secured Party,
445   notwithstanding anything to the contrary in any other Second Priority Document, either (i) release such
446   Lien or (ii) assign it to the First Priority Representative as security for the First Priority Obligations (in
447   which case the Second Priority Representative may retain a junior lien on such assets subject to the terms
448   hereof), in accordance with such written request of the First Priority Representative. To the extent that
449   the foregoing provisions are not complied with for any reason, without limiting any other rights and
450   remedies available to the First Priority Secured Parties, the Second Priority Representative and the other
451   Second Priority Secured Parties agree that any amounts received by or distributed to any of them pursuant
452   to or as a result of Liens granted in contravention of this Section 2.4 shall be subject to Section 4.1.

453            2.5.    Further Assurances. Each of the First Priority Representative, for itself and on behalf of
454   the other First Priority Secured Parties, and the Second Priority Representative, for itself and on behalf of
455   the other Second Priority Secured Parties, and each Grantor party hereto, for itself and on behalf of its
456   subsidiaries, agrees that it will execute, or will cause to be executed, any and all further documents,
457   agreements and instruments, and take all such further actions, as may be required under any applicable
458   law, or which the First Priority Representative or the Second Priority Representative may reasonably
459   request, to effectuate the terms of this Agreement, including the relative Lien priorities provided for
460   herein.


                                                           -11-

      CG&R DRAFT: 12/15/10 6:02 PM                                                     #1121161 v8 (126S908_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 461 of 771


461           Section 3. Enforcement Rights.

462            3.1.     Exclusive Enforcement. Until the First Priority Obligations Payment Date has occurred,
463   whether or not an Insolvency or Liquidation Proceeding has been commenced by or against any Grantor,
464   the First Priority Representative on behalf of the First Priority Secured Parties shall have the exclusive
465   right to take and continue any Enforcement Action, including making determinations regarding the
466   release, dispositions or restrictions with respect to the Common Collateral, without any consultation with
467   or consent of any Second Priority Secured Party, but subject to the proviso set forth in Section 5.1. In
468   exercising rights and remedies with respect to the Common Collateral, the First Priority Representative
469   may enforce the provisions of the First Priority Documents and exercise remedies thereunder, all in such
470   order and in such manner as it may determine in the exercise of its sole discretion. Such exercise and
471   enforcement shall include the rights of an agent appointed by any of them to sell or otherwise dispose of
472   the Common Collateral upon foreclosure, to incur expenses in connection with such sale or disposition,
473   and to exercise all rights and remedies of a secured creditor under the Uniform Commercial Code and of a
474   secured creditor under the Bankruptcy Law of any applicable jurisdiction.

475           3.2.    Standstill and Waivers. The Second Priority Representative, on behalf of itself and the
476   other Second Priority Secured Parties, agrees that, until the First Priority Obligations Payment Date has
477   occurred, subject to the proviso set forth in Section 5.1:

478                    (a)      they will not take or cause to be taken any Enforcement Action or any action, the
479           purpose or effect of which is to make any Lien in respect of any Second Priority Obligation pari
480           passu with or senior to, or to give any Second Priority Secured Party any preference or priority
481           relative to, the Liens with respect to the First Priority Obligations or the First Priority Secured
482           Parties with respect to any of the Common Collateral;

483                   (b)     they will not contest, oppose, object to, interfere with, hinder or delay, in any
484           manner, whether by judicial proceedings (including the filing of an Insolvency or Liquidation
485           Proceeding) or otherwise, any foreclosure, sale, lease, exchange, transfer or other disposition of
486           the Common Collateral or any other First Priority Collateral by any First Priority Secured Party
487           or any other Enforcement Action taken (or any forbearance from taking any Enforcement Action)
488           by or on behalf of any First Priority Secured Party;

489                    (c)     they have no right to (i) direct either the First Priority Representative or any other
490           First Priority Secured Party to exercise any right, remedy or power with respect to the Common
491           Collateral or pursuant to the First Priority Security Documents or (ii) consent or object to the ex-
492           ercise by the First Priority Representative or any other First Priority Secured Party of any right,
493           remedy or power with respect to the Common Collateral or pursuant to the First Priority Security
494           Documents or to the timing or manner in which any such right is exercised or not exercised (or, to
495           the extent they may have any such right described in this clause (c), as a junior lien creditor, they
496           hereby irrevocably waive such right);

497                   (d)      they will not institute any suit or other proceeding or assert in any suit, Insolven-
498           cy or Liquidation Proceeding or other proceeding any claim against any First Priority Secured
499           Party seeking damages from or other relief by way of specific performance, instructions or oth-
500           erwise, with respect to, and no First Priority Secured Party shall be liable for, any action taken or
501           omitted to be taken by any First Priority Secured Party with respect to the Common Collateral or
502           pursuant to the First Priority Documents;

503                    (e)     they will not make any judicial or nonjudicial claim or demand or commence any
504           judicial or non-judicial proceedings against any Grantor or any of its subsidiaries or affiliates un-

                                                           -12-

      CG&R DRAFT: 12/15/10 6:02 PM                                                     #1121161 v8 (126S908_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                                 Pg 462 of 771


505           der or with respect to any Second Priority Security Document seeking payment or damages from
506           or other relief by way of specific performance, instructions or otherwise under or with respect to
507           any Second Priority Security Document or exercise any right, remedy or power under or with re-
508           spect to, or otherwise take any action to enforce, any Second Priority Security Document;

509                    (f)      they will not commence judicial or nonjudicial foreclosure proceedings with re-
510           spect to, seek to have a trustee, receiver, liquidator or similar official appointed for or over, or at-
511           tempt any action to take possession of any Common Collateral, or exercise any right, remedy or
512           power with respect to, or otherwise take any action to enforce their interest in or realize upon, the
513           Common Collateral or pursuant to the Second Priority Security Documents;

514                    (g)     they will not seek, and hereby waive any right, to have the Common Collateral or
515           any part thereof marshaled upon any foreclosure or other disposition of the Common Collateral
516           and hereby waive, to the fullest extent permitted by law, any right to demand, request, plead or
517           otherwise assert or claim the benefit of, any marshalling, appraisal, valuation or other similar
518           right that may otherwise be available under applicable law with respect to the Common Collateral
519           or any other similar rights a junior secured creditor may have under applicable law; and

520                   (h)     they will not object to the forbearance by the First Priority Secured Parties from
521           bringing or pursuing any foreclosure proceeding or action or any other exercise of any rights or
522           remedies relating to the Common Collateral or any other First Priority Collateral.

523            3.3.    Judgment Creditors. In the event that any Second Priority Secured Party becomes a
524   judgment lien creditor as a result of its enforcement of its rights as an unsecured creditor, such judgment
525   lien shall be subject to the terms of this Agreement for all purposes (including in relation to the First
526   Priority Liens and the First Priority Obligations) to the same extent as all other Liens securing the Second
527   Priority Obligations are subject to the terms of this Agreement.

528           3.4.    [Reserved].

529            3.5.     No Additional Rights For the Grantors Hereunder. Except as provided in Section 3.6, if
530   any First Priority Secured Party or Second Priority Secured Party shall enforce its rights or remedies in
531   violation of the terms of this Agreement, no Grantor shall be entitled to use such violation as a defense to
532   any action by any First Priority Secured Party or Second Priority Secured Party, or to assert such violation
533   as a counterclaim or basis for set off or recoupment against any First Priority Secured Party or Second
534   Priority Secured Party.

535           3.6.    Actions Upon Breach.

536            (a)     If any Second Priority Secured Party, contrary to this Agreement, commences or partici-
537   pates in any Enforcement Action or other action or proceeding against the Common Collateral in contra-
538   vention of this Agreement, the related Grantor, with the prior written consent of the First Priority Repre-
539   sentative, may interpose as a defense or dilatory plea the making of this Agreement, and any First Priority
540   Secured Party may intervene and interpose such defense or plea in its or their name or in the name of such
541   Grantor.

542           (b)      Should any Second Priority Secured Party, contrary to this Agreement, in any way take,
543   attempt to take or threaten to take any Enforcement Action with respect to the Common Collateral (in-
544   cluding any attempt to realize upon or enforce any remedy with respect to this Agreement), or take any
545   other action in violation of this Agreement, or fail to take any action required by this Agreement, this
546   Agreement shall create an irrebuttable presumption and admission by such Second Priority Secured Party

                                                           -13-

      CG&R DRAFT: 12/15/10 6:02 PM                                                      #1121161 v8 (126S908_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 463 of 771


547   that any First Priority Secured Party (in its own name or in the name of the relevant Grantor) or the rele-
548   vant Grantor may obtain relief against such Second Priority Secured Party by injunction, specific perfor-
549   mance and/or other appropriate equitable relief, it being understood and agreed by the Second Priority
550   Representative on behalf of each Second Priority Secured Party that (i) the First Priority Secured Parties’
551   damages from such actions of any Second Priority Secured Party may at that time be difficult to ascertain
552   and may be irreparable and the harm to the First Priority Secured Parties may not be adequately compen-
553   sated in damages and (ii) each Second Priority Secured Party waives any defense that the Company, the
554   other Grantors and/or the First Priority Secured Parties cannot demonstrate damage and/or be made whole
555   by the awarding of damages.

556        Section 4. Application Of Proceeds Of Common Collateral; Dispositions And Releases Of
557   Common Collateral; Inspection and Insurance.

558            4.1.     Application of Proceeds; Turnover Provisions. All proceeds of Common Collateral
559   (including any interest earned thereon) resulting from the sale, collection or other disposition of Common
560   Collateral resulting from any Enforcement Action or that occurs after any Event of Default (as defined in
561   the First Priority Documents), whether or not pursuant to an Insolvency or Liquidation Proceeding, or
562   during the pendency of any Insolvency or Liquidation Proceeding shall be distributed as follows: first to
563   the First Priority Representative for application to the First Priority Obligations in accordance with the
564   terms of the First Priority Intercreditor Agreement, until the First Priority Obligations Payment Date has
565   occurred and thereafter, to the Second Priority Representative for application in accordance with the
566   terms of the Second Priority Documents and thereafter, after payment in full of all the First Priority
567   Obligations and Second Priority Obligations, to the Company and the other Grantors or their successors
568   and assigns, as their interest may appear, or as a court of competent jurisdiction may direct. Until the
569   occurrence of the First Priority Obligations Payment Date, any Common Collateral, including any
570   Common Collateral constituting proceeds, that may be received by any Second Priority Secured Party in
571   violation of this Agreement shall be segregated and held in trust and promptly paid over to the First
572   Priority Representative, for the benefit of the First Priority Secured Parties, in the same form as received,
573   with any necessary endorsements, and each Second Priority Secured Party hereby authorizes the First
574   Priority Representative to make any such endorsements as agent for the Second Priority Representative
575   (which authorization, being coupled with an interest, is irrevocable).

576           4.2.    Releases of Second Priority Lien.

577            (a)     Upon (i) any sale or other disposition of Common Collateral permitted pursuant to the
578   terms of the First Priority Documents that results in the release of the First Priority Lien on any Common
579   Collateral (including any sale or other disposition pursuant to any Enforcement Action) or (ii) any other
580   release of Common Collateral from the Lien under the First Priority Security Documents that is permitted
581   pursuant to the terms of the First Priority Documents, the Second Priority Lien on such Common Colla-
582   teral (excluding any portion of the proceeds of such Common Collateral remaining after the First Priority
583   Obligations Payment Date occurs) shall be automatically and unconditionally released with no further
584   consent or action of any Person, in each case, other than with respect to an Enforcement Action, so long
585   as such sale or other disposition or resulting release does not, or would not after the passage of time, con-
586   stitute an “Event of Default” under and as defined in the Second Lien Indenture.

587            (b)       The Second Priority Representative shall promptly execute and deliver such release doc-
588   uments and instruments and shall take such further actions as the First Priority Representative shall rea-
589   sonably request in writing to evidence any release of the Second Priority Lien described in paragraph (a)
590   of this Section 4.2. The Second Priority Representative hereby appoints the First Priority Representative
591   and any officer or duly authorized person of the First Priority Representative, with full power of substitu-
592   tion, as its true and lawful attorney-in-fact with full irrevocable power of attorney in the place and stead

                                                          -14-

      CG&R DRAFT: 12/15/10 6:02 PM                                                    #1121161 v8 (126S908_.DOC)
      10-16140-mg         Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                                  Pg 464 of 771


593   of the Second Priority Representative and in the name of the Second Priority Representative or in the First
594   Priority Representative’s own name, from time to time, in the First Priority Representative’s sole discre-
595   tion, for the purposes of carrying out the terms of this Section 4.2, to take any and all appropriate action
596   and to execute and deliver any and all documents and instruments as may be necessary or desirable to
597   accomplish the purposes of this Section 4.2, including any financing statements, endorsements, assign-
598   ments, releases or other documents or instruments of transfer (which appointment, being coupled with an
599   interest, is irrevocable).

600           4.3.     Inspection Rights and Insurance.

601            (a)     Any First Priority Secured Party and its representatives and invitees may at any time in-
602   spect, repossess, remove and otherwise deal with the Common Collateral, and the First Priority Repre-
603   sentative may advertise and conduct public auctions or private sales of the Common Collateral, in each
604   case without notice to, the involvement of or interference by any Second Priority Secured Party or liabili-
605   ty to any Second Priority Secured Party.

606            (b)      Until the First Priority Obligations Payment Date has occurred, the First Priority Repre-
607   sentative will have the sole and exclusive right (i) to be named as additional insured and loss payee under
608   any insurance policies maintained from time to time by any Grantor (except that the Second Priority Rep-
609   resentative shall have the right to be named as additional insured and loss payee so long as its second lien
610   status is identified in a manner satisfactory to the First Priority Representative), (ii) to adjust or settle any
611   insurance policy or claim covering the Common Collateral in the event of any loss thereunder and (iii) to
612   approve any award granted in any condemnation or similar proceeding affecting the Common Collateral.

613            4.4.    Rights as Unsecured Creditors. Notwithstanding anything to the contrary in this
614   Agreement, the Second Priority Representative and the other Second Priority Secured Parties may
615   exercise rights and remedies as unsecured creditors against the Company or any other Grantor that has
616   guaranteed the Second Priority Obligations in accordance with the terms of the Second Priority
617   Documents, including the acceleration of any Indebtedness or other obligations owing under the Second
618   Priority Documents or the demand for payment under the guarantee in respect thereof, in each case in
619   accordance with the terms of the applicable Second Priority Documents and applicable law and not
620   otherwise inconsistent with the terms of this Agreement. Nothing in this Agreement shall prohibit the
621   receipt by any Second Priority Representative or any other Second Priority Secured Party of the required
622   payments of interest, principal and fees so long as such receipt is not the direct or indirect result of (a) the
623   exercise by any Second Priority Representative or any other Second Priority Secured Party of rights or
624   remedies as a secured creditor in respect of Common Collateral or (b) the enforcement in contravention of
625   this Agreement of any Second Priority Liens held by any of them. Nothing in this Agreement impairs or
626   otherwise adversely affects any rights or remedies the First Priority Representative or the other First
627   Priority Secured Parties may have with respect to the First Priority Collateral.

628           Section 5. Insolvency or Liquidation Proceedings.

629            5.1.    Filing of Motions. Until the First Priority Obligations Payment Date has occurred, the
630   Second Priority Representative agrees on behalf of itself and the other Second Priority Secured Parties
631   that no Second Priority Secured Party shall, in or in connection with any Insolvency or Liquidation
632   Proceeding, file any pleading or motion, take any position at any hearing or proceeding of any nature, or
633   otherwise take any action whatsoever that is adverse to the First Priority Secured Parties, with respect to
634   the Common Collateral, including with respect to the determination of any Liens or claims (including the
635   validity and enforceability thereof) held by the First Priority Representative or any other First Priority
636   Secured Party or the value of any claims of such parties under Section 506(a) of the Bankruptcy Code or
637   otherwise; provided that (a) in any Insolvency or Liquidation Proceeding, the Second Priority

                                                            -15-

      CG&R DRAFT: 12/15/10 6:02 PM                                                       #1121161 v8 (126S908_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 465 of 771


638   Representative may file a proof of claim or statement of interest with respect to the applicable Second
639   Priority Liens and (b) the Second Priority Representative or any Second Priority Secured Party may (i)
640   take any such action (not adverse to the First Priority Liens on the Common Collateral securing the First
641   Priority Obligations, or the rights of either the First Priority Representative or the other First Priority
642   Secured Parties to exercise remedies in respect thereof) to the extent required to create, prove, perfect,
643   preserve or protect (but not enforce) its rights in, and perfection and priority of its Liens on, the Common
644   Collateral, (ii) otherwise file any necessary responsive or defensive pleadings in opposition to any motion,
645   claim, adversary proceeding, or other pleading made by any person objecting to or otherwise seeking the
646   disallowance of its claims, in each case of (a) and (b) above, to the extent such action is not inconsistent
647   with, and could not result in a resolution inconsistent with, the terms of this Agreement or (iii) exercise
648   any rights or remedies permitted under Section 4.4 of this Agreement.

649            5.2.     Financing Matters. If any Grantor becomes subject to any Insolvency or Liquidation
650   Proceeding, and if the First Priority Representative (acting at the direction of the applicable requisite First
651   Priority Secured Parties) desires to consent (or not object) to the use of cash collateral under the
652   Bankruptcy Code or any other Bankruptcy Law or to provide financing to any Grantor under Section 363
653   or Section 364 of the Bankruptcy Code or any other similar provision in any Bankruptcy Law or to
654   consent (or not object) to the provision of such financing (including financing that primes or takes priority
655   over existing Liens) to any Grantor by any third party (any such financing, “DIP Financing”), then the
656   Second Priority Representative agrees, on behalf of itself and the other Second Priority Secured Parties,
657   that each Second Priority Secured Party (a) will be deemed to have consented to, will raise no objection
658   to, and will not support any other Person objecting to, the use of such cash collateral or to such DIP
659   Financing, provided that such parties receive adequate protection in a manner otherwise consistent with
660   this Agreement, (b) will not request adequate protection or any other relief in connection with the use of
661   such cash collateral or such DIP Financing except as set forth in Section 5.4, (c) will subordinate (and will
662   be deemed hereunder to have subordinated) the Second Priority Liens or claims (i) to any additional or
663   replacement Liens, cash payments, or claims provided as adequate protection to the First Priority Secured
664   Parties on the same terms as the Second Priority Liens, right to cash payments, or claims are subordinated
665   to the First Priority Liens, right to cash payments, or claims under this Agreement and (ii)(x) to the Liens,
666   right to cash payments, or claims securing such DIP Financing (and the Liens securing such Second
667   Priority Obligations shall have the same priority with respect to Common Collateral relative to the Liens
668   securing the First Priority Obligations as if such DIP Financing had not occurred) , (y) to any “carve-out”
669   agreed to by the First Priority Representative or the other First Priority Secured Parties and (z) in the case
670   of any Insolvency or Liquidation Proceeding outside the United States, to any administrative or other
671   charges granted in such Insolvency or Liquidation Proceeding that are similar in nature to a “carve-out”
672   and agreed to by the First Priority Representative or the other First Priority Secured Parties, in the case of
673   each of clauses (ii) (x), (y) and (z), with such subordination to be on the same terms as the First Priority
674   Liens, rights of cash payments, or claims are subordinated thereto (and such subordination will not alter in
675   any manner the terms of this Agreement), and (d) will be deemed to have consented to, and will raise no
676   objection to, and will not support any other Person objecting to (i) any motion for relief from the
677   automatic stay or from any injunction against foreclosure or enforcement in respect of the First Priority
678   Obligations made by the First Priority Representative or any First Priority Secured Party, (ii) any lawful
679   exercise by the First Priority Representative or any other First Priority Secured Party of the right to credit
680   bid any First Priority Obligations at any sale in foreclosure of First Priority Collateral or (iii) any other
681   request for judicial relief made in any court by the First Priority Representative or any other First Priority
682   Secured Party relating to the lawful enforcement of any First Priority Lien.

683           5.3.    Relief From the Automatic Stay. Until the First Priority Obligations Payment Date, the
684   Second Priority Representative agrees, on behalf of itself and the other Second Priority Secured Parties,
685   that none of them will seek relief from the automatic stay or from any other stay in any Insolvency or


                                                           -16-

      CG&R DRAFT: 12/15/10 6:02 PM                                                     #1121161 v8 (126S908_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 466 of 771


686   Liquidation Proceeding or take any action in derogation thereof, in each case in respect of any Common
687   Collateral, without the prior written consent of the First Priority Representative.

688            5.4.      Adequate Protection. The Second Priority Representative, on behalf of itself and the
689   other Second Priority Secured Parties, agrees that none of them shall object to, contest, or support any
690   other Person objecting to or contesting (a) any request by the First Priority Representative or the other
691   First Priority Secured Parties for adequate protection or any adequate protection provided to the First
692   Priority Representative or the other First Priority Secured Parties or (b) any objection by the First Priority
693   Representative or any other First Priority Secured Parties to any motion, relief, action or proceeding based
694   on a claim of a lack of adequate protection or (c) the payment of interest, fees, expenses, costs, charges or
695   other amounts to the First Priority Representative or any other First Priority Secured Party under Section
696   506(b) or 506(c) of the Bankruptcy Code or otherwise. Notwithstanding anything contained in this
697   Section and in Section 5.2(b) (but subject to all other provisions of this Agreement, including Sections
698   5.2(a) and 5.3), in any Insolvency or Liquidation Proceeding, (i) if the First Priority Secured Parties (or
699   any subset thereof) are granted adequate protection that includes additional or replacement collateral
700   (with replacement Liens on such additional or replacement collateral), cash payments, or claims in
701   connection with any DIP Financing or use of cash collateral, then in connection with any such DIP
702   Financing or use of cash collateral the Second Priority Representative, on behalf of itself and any of the
703   other Second Priority Secured Parties, may seek adequate protection consisting of an additional or a
704   replacement Lien on the same collateral, cash payment or claim (as applicable), subordinated to the Liens,
705   cash payments or claims (as applicable) securing (1) such DIP Financing on the same terms as the First
706   Priority Liens or claims are subordinated thereto (and such subordination will not alter in any manner the
707   terms of this Agreement), and (2) the First Priority Obligations on the same basis as the other Liens, cash
708   payments or claims (as applicable) securing the Second Priority Obligations are so subordinated to the
709   First Priority Obligations under this Agreement and (ii) in the event the Second Priority Representative,
710   on behalf of itself and the other Second Priority Secured Parties, seeks or accepts adequate protection in
711   accordance with clause (i) above in the form of additional or replacement collateral, cash payments or
712   claims, then the Second Priority Representative, on behalf of itself or any of the other Second Priority
713   Secured Parties, agrees that the First Priority Representative shall also be granted a senior Lien on such
714   collateral, right to cash payments, or claims (as applicable) as security for the First Priority Obligations
715   and any such DIP Financing and that any Lien, right to cash payment, or claim (as applicable) on such
716   collateral securing the Second Priority Obligations shall be subordinated to (A) the Liens on such
717   collateral securing the First Priority Obligations and any other Liens, right to cash payment, or claims
718   granted to the First Priority Secured Parties as adequate protection on the same terms that the Liens, right
719   to cash payment, or claims securing the Second Priority Obligations are subordinated to such First
720   Priority Obligations under this Agreement and (B) (x) the Liens or claims on such collateral securing such
721   DIP Financing (and all obligations relating thereto), (y) any “carve-out” agreed to by the First Priority
722   Representative or the other First Priority Secured Parties and (z) in the case of any Insolvency or
723   Liquidation Proceeding outside the United States, any administrative or other charges granted in any
724   Insolvency or Liquidation Proceeding that are similar in nature to a “carve-out” and agreed to by the First
725   Priority Representative or the other First Priority Secured Parties, in the case of each of clauses (B) (x),
726   (y) and (z), with such subordination to be on the same terms as the Liens or claims securing the First
727   Priority Obligations are subordinated thereto (and such subordination will not alter in any manner the
728   terms of this Agreement). The Second Priority Representative, on behalf of itself and the other Second
729   Priority Secured Parties, agrees that except as expressly set forth in this Section 5.4, and except for
730   adequate protection in the form of access to information or other protection to the extent such access or
731   other protection is also made available to the First Priority Representative on behalf of itself and the other
732   First Priority Secured Parties, none of them shall seek additional adequate protection without the prior
733   written consent of the First Priority Representative.



                                                          -17-

      CG&R DRAFT: 12/15/10 6:02 PM                                                    #1121161 v8 (126S908_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 467 of 771


734            5.5.     Avoidance Issues. If any First Priority Secured Party is required in any Insolvency or
735   Liquidation Proceeding or otherwise to disgorge, turn over or otherwise pay to the bankruptcy trustee or
736   the estate of any Grantor, because such amount was avoided or ordered to be paid or disgorged for any
737   reason, including because it was found to be a fraudulent or preferential transfer, any amount (a
738   “Recovery”), whether received as proceeds of security, enforcement of any right of set-off or otherwise,
739   then the First Priority Obligations shall be reinstated to the extent of such Recovery and deemed to be
740   outstanding as if such payment had not occurred and the First Priority Obligations Payment Date, if it
741   shall otherwise have occurred, shall be deemed not to have occurred. If this Agreement shall have been
742   terminated prior to such Recovery, this Agreement shall be reinstated in full force and effect, and such
743   prior termination shall not diminish, release, discharge, impair or otherwise affect the obligations of the
744   parties hereto. The Second Priority Secured Parties agree that none of them shall be entitled to benefit
745   from any avoidance action affecting or otherwise relating to any distribution or allocation made on behalf
746   of the First Priority Obligations in accordance with this Agreement, whether by preference or otherwise, it
747   being understood and agreed that the benefit of such avoidance action otherwise allocable to them shall
748   instead be allocated and turned over for application in accordance with the priorities set forth in this
749   Agreement.

750            5.6.     Asset Dispositions in an Insolvency or Liquidation Proceeding. Neither the Second
751   Priority Representative nor any other Second Priority Secured Party shall, in an Insolvency or Liquidation
752   Proceeding or otherwise, oppose any sale or other disposition of any assets of any Grantor that is
753   supported by the First Priority Secured Parties, and the Second Priority Representative and each other
754   Second Priority Secured Party will be deemed to have consented under Section 363 of the Bankruptcy
755   Code (and otherwise) to any such sale or other disposition of assets supported by the First Priority
756   Secured Parties and to have released their Liens on such assets; provided, to the extent such sale is to be
757   free and clear of Liens, that the Liens securing the First Priority Obligations and the Second Priority
758   Obligations will attach to the proceeds of the sale on the same basis of priority as the Liens released on
759   the assets sold; provided, further, that they may assert any such objection that could be asserted by an
760   unsecured creditor (without limiting the foregoing, neither the Second Priority Representative nor any
761   other Second Priority Secured Party may raise any objections based on rights afforded by Sections 363(e)
762   and (f) of the Bankruptcy Code to secured creditors (or any comparable provisions of any other
763   Bankruptcy Law) with respect to the Liens granted to such person in respect of such assets).

764             5.7.    Separate Grants of Security and Separate Classification. Each Second Priority Secured
765   Party acknowledges and agrees that (a) the grants of Liens pursuant to the First Priority Security
766   Documents and the Second Priority Security Documents constitute two separate and distinct grants of
767   Liens and (b) because of, among other things, their differing rights in the Common Collateral, the Second
768   Priority Obligations are fundamentally different from the First Priority Obligations and must be separately
769   classified in any plan of reorganization proposed or adopted in an Insolvency or Liquidation Proceeding.
770   To further effectuate the intent of the parties as provided in the immediately preceding sentence, if it is
771   held that the claims of the First Priority Secured Parties and Second Priority Secured Parties in respect of
772   the Common Collateral constitute only one class of secured claims (rather than separate classes of senior
773   and junior secured claims), then the Second Priority Secured Parties hereby acknowledge and agree that
774   all distributions shall be made as if there were separate classes of senior and junior secured claims against
775   the Grantors in respect of the Common Collateral (with the effect being that, to the extent that the
776   aggregate value of the Common Collateral is sufficient (for this purpose ignoring all claims held by the
777   Second Priority Secured Parties), the First Priority Secured Parties shall be entitled to receive, in addition
778   to amounts distributed to them in respect of principal, pre-petition interest, fees and expenses and any
779   other claims, all amounts owing in respect of Post-Petition Interest before any distribution is made in
780   respect of the Second Priority Obligations held by the Second Priority Secured Parties, with the Second
781   Priority Secured Parties hereby acknowledging and agreeing to turn over to the First Priority Secured
782   Parties amounts otherwise received or receivable by them to the extent necessary to effectuate the intent

                                                          -18-

      CG&R DRAFT: 12/15/10 6:02 PM                                                    #1121161 v8 (126S908_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 468 of 771


783   of this sentence, even if such turnover has the effect of reducing the claim or recovery of the Second
784   Priority Secured Parties), and that, until turned over to the First Priority Secured Parties, such amounts
785   will be held in trust for the First Priority Secured Parties, in all cases subject to Section 5.12 hereof.

786            5.8.    No Waivers of Rights of First Priority Secured Parties. Nothing contained herein shall
787   prohibit or in any way limit the First Priority Representative or any other First Priority Secured Party
788   from objecting in any Insolvency or Liquidation Proceeding or otherwise to any action taken by any
789   Second Priority Secured Party not expressly prohibited hereunder, including the seeking by any Second
790   Priority Secured Party of adequate protection (except as provided in Section 5.4) or the asserting by any
791   Second Priority Secured Party of any of its rights and remedies under the Second Priority Documents or
792   otherwise.

793           5.9.     [Reserved].

794           5.10.    [Reserved].

795            5.11. Effectiveness in Insolvency or Liquidation Proceedings. This Agreement, which the
796   parties hereto expressly acknowledge is a “subordination agreement” under section 510(a) of the
797   Bankruptcy Code, shall be effective before, during and after the commencement of an Insolvency or
798   Liquidation Proceeding. All references to any of the Company or any Grantor herein shall apply to any
799   trustee for such Person and such Person as debtor in possession. The relative rights as to the Common
800   Collateral and other collateral and proceeds thereof shall continue after the filing thereof on the same
801   basis as prior to the date of the petition, subject to any court order approving the financing of, or use of
802   cash collateral by, any such Person.

803            5.12. Reorganization Securities. If, in any Insolvency or Liquidation Proceeding, debt
804   obligations of the reorganized debtor secured by Liens upon any property of the reorganized debtor
805   (“Reorganization Securities”) are distributed, pursuant to a plan of reorganization or similar dispositive
806   restructuring plan, on account of the Second Priority Obligations, then the provisions of this Agreement
807   will survive the distribution of such debt obligations pursuant to such plan and will apply with like effect
808   to the Liens securing such debt obligations. In no event shall the Second Priority Secured Parties be
809   required to turn over to the First Priority Representative or any other First Priority Secured Party any
810   Reorganization Securities to the extent the same are subject to this Section 5.12.

811            5.13. Post-Petition Claims. None of the Second Priority Representative, the Trustee or any
812   Second Priority Secured Party shall oppose or seek to challenge any claim by the First Priority
813   Representative or any other First Priority Secured Party for allowance in any Insolvency or Liquidation
814   Proceeding of First Priority Obligations consisting of Post-Petition Interest or indemnities to the extent of
815   the value of the Liens in favor of the First Priority Representative and the other First Priority Secured
816   Parties, without regard to the existence of the Liens of the Second Priority Representative on behalf of the
817   Second Priority Secured Parties on the Common Collateral.

818           5.14. Waivers. Until the First Priority Obligations Payment Date, the Second Priority
819   Representative, on behalf of itself and each Second Priority Secured Party, agrees that (a) it will not assert
820   or enforce any claim under Section 506(c) of the Bankruptcy Code senior to or on a parity with the Liens
821   securing the First Priority Obligations for costs or expenses of preserving or disposing of any Common
822   Collateral or other collateral and (b) waives any claim it may now or hereafter have arising out of the
823   election by any First Priority Secured Party of the application of Section 1111(b)(2) of the Bankruptcy
824   Code.



                                                           -19-

      CG&R DRAFT: 12/15/10 6:02 PM                                                     #1121161 v8 (126S908_.DOC)
      10-16140-mg         Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                                 Pg 469 of 771


825           Section 6. Second Priority Documents and First Priority Documents.

826          (a)      Each Grantor and the Second Priority Representative, on behalf of itself and the other
827   Second Priority Secured Parties, agrees that it shall not at any time execute or deliver any amendment or
828   other modification to any of the Second Priority Documents inconsistent with or in violation of this
829   Agreement.

830            (b)    Each Grantor and the First Priority Representative, on behalf of itself and the other First
831   Priority Secured Parties, agrees that it shall not at any time execute or deliver any amendment or other
832   modification to any of the First Priority Documents inconsistent with or in violation of this Agreement.

833            (c)      In the event the First Priority Representative enters into any amendment, waiver or con-
834   sent in respect of any of the First Priority Security Documents for the purpose of adding to, or deleting
835   from, or waiving or consenting to any departures from any provisions of, any First Priority Security Doc-
836   ument or changing in any manner the rights of any parties thereunder, then such amendment, waiver or
837   consent shall apply automatically to any comparable provision of the Comparable Second Priority Securi-
838   ty Document without the consent of or action by any Second Priority Secured Party (with all such
839   amendments, waivers and modifications subject to the terms hereof); provided that (no such amendments,
840   modifications or waivers shall provide for the security of any additional extensions of credit or add addi-
841   tional secured creditors in violation of the express provisions of the Second Priority Agreements), (i) no
842   such amendment, waiver or consent shall have the effect of removing assets subject to the Lien of any
843   Second Priority Security Document, except to the extent that a release of such Lien is permitted by Sec-
844   tion 4.2, (ii) any such amendment, waiver or consent that materially and adversely affects the rights of the
845   Second Priority Secured Parties and does not affect the First Priority Secured Parties in a like or similar
846   manner shall not apply to the Second Priority Security Documents without the consent of the Second
847   Priority Representative and (iii) notice of such amendment, waiver or consent shall be given to the
848   Second Priority Representative no later than 15 days after its effectiveness; provided that the failure to
849   give such notice shall not affect the effectiveness and validity thereof.

850           Section 7. Reliance; Waivers; etc.

851            7.1.    Reliance. The First Priority Documents are deemed to have been executed and delivered,
852   and all extensions of credit thereunder are deemed to have been made or incurred, in reliance upon this
853   Agreement. The Second Priority Representative, on behalf of it itself and the other Second Priority
854   Secured Parties, expressly waives all notice of the acceptance of and reliance on this Agreement by the
855   First Priority Secured Parties. The Second Priority Documents are deemed to have been executed and
856   delivered and all issuances of debt and other extensions of credit thereunder are deemed to have been
857   made or incurred, in reliance upon this Agreement. The First Priority Representative expressly waives,
858   on behalf of itself and all the other First Priority Secured Parties, all notices of the acceptance of and
859   reliance by the Second Priority Representative and the other Second Priority Secured Parties.

860            7.2.    No Warranties or Liability. The Second Priority Representative and the First Priority
861   Representative acknowledge and agree that neither has made any representation or warranty with respect
862   to the execution, validity, legality, completeness, collectibility or enforceability of any other First Priority
863   Document or any Second Priority Document. Except as otherwise provided in this Agreement, the
864   Second Priority Representative and the First Priority Representative will be entitled to manage and
865   supervise their respective extensions of credit to any Grantor in accordance with law and their usual
866   practices, modified from time to time as they deem appropriate.

867           7.3.    No Waivers. No right or benefit of any party hereunder shall at any time in any way be
868   prejudiced or impaired by any act or failure to act on the part of such party or any other party hereto or by

                                                            -20-

      CG&R DRAFT: 12/15/10 6:02 PM                                                      #1121161 v8 (126S908_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 470 of 771


869   any noncompliance by any Grantor with the terms and conditions of any of the First Priority Documents
870   or the Second Priority Documents.

871           Section 8. Obligations Unconditional.

872            8.1.    First Priority Obligations Unconditional. All rights and interests of the First Priority
873   Secured Parties hereunder, and all agreements and obligations of the Second Priority Secured Parties
874   (and, to the extent applicable, the Grantors) hereunder, shall remain in full force and effect irrespective of:

875                    (a)     any lack of validity or enforceability of any First Priority Document;

876                    (b)     any change in the time, place or manner of payment of, or in any other term of,
877           all or any portion of the First Priority Obligations, or any amendment, waiver or other modifica-
878           tion, whether by course of conduct or otherwise, or any refinancing, replacement, refunding or
879           restatement of any First Priority Document;

880                    (c)      prior to the First Priority Obligations Payment Date, any exchange, release, void-
881           ing, avoidance or non-perfection of any security interest in any Common Collateral or any other
882           collateral, or any release, amendment, waiver or other modification, whether by course of conduct
883           or otherwise, or any refinancing, replacement, refunding or restatement of all or any portion of
884           the First Priority Obligations or any guarantee or guaranty thereof; or

885                   (d)      any other circumstances that otherwise might constitute a defense available to, or
886           a discharge of, any Grantor in respect of the First Priority Obligations, or of any Second Priority
887           Secured Party, or any Grantor, to the extent applicable, in respect of this Agreement.

888            8.2.    Second Priority Obligations Unconditional. All rights and interests of the Second
889   Priority Secured Parties hereunder, and all agreements and obligations of the First Priority Secured Parties
890   (and, to the extent applicable, the Grantors) hereunder, shall remain in full force and effect irrespective of:

891                    (a)     any lack of validity or enforceability of any Second Priority Document;

892                    (b)     any change in the time, place or manner of payment of, or in any other term of,
893           all or any portion of the Second Priority Obligations, or any amendment, waiver or other modifi-
894           cation, whether by course of conduct or otherwise, or any refinancing, replacement, refunding or
895           restatement of any Second Priority Document;

896                    (c)     any exchange, release, voiding, avoidance or non-perfection of any security in-
897           terest in any Common Collateral or any other collateral, or any release, amendment, waiver or
898           other modification, whether by course of conduct or otherwise, or any refinancing, replacement,
899           refunding or restatement of all or any portion of the Second Priority Obligations or any guarantee
900           or guaranty thereof; or

901                   (d)      any other circumstances that otherwise might constitute a defense available to, or
902           a discharge of, any Grantor in respect of the Second Priority Obligations, or of any First Priority
903           Secured Party, or any Grantor, to the extent applicable, in respect of this Agreement.

904           Section 9. Miscellaneous.

905           9.1.    Conflicts. In the event of any conflict between the provisions of this Agreement and the
906   provisions of any First Priority Document or any Second Priority Document, the provisions of this

                                                           -21-

      CG&R DRAFT: 12/15/10 6:02 PM                                                     #1121161 v8 (126S908_.DOC)
      10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                Pg 471 of 771


907   Agreement shall govern; provided that, in the event of any conflict between the provisions of this
908   Agreement and the intercreditor agreement dated as of the date hereof (the “First Lien Intercreditor
909   Agreement”) among the Agent, the Revolving Credit Collateral Agent, the First Lien Collateral Agent,
910   the First Lien Trustee, the Company and the other Grantors party thereto and each other First Priority
911   Secured Party party thereto from time to time in accordance with the terms thereof, the terms and
912   conditions of the First Lien Intercreditor Agreement shall control as to the relative rights of the First
913   Priority Secured Parties.

914            9.2.    Continuing Nature of Provisions. This Agreement shall continue to be effective, and
915   shall not be revocable by any party hereto, until the First Priority Obligations Payment Date shall have
916   occurred, subject to Section 5.5. This is a continuing agreement and the First Priority Secured Parties and
917   the Second Priority Secured Parties may continue, at any time and without notice to the other parties
918   hereto, to extend credit and other financial accommodations, lend monies and provide indebtedness to, or
919   for the benefit of, any Company or any other Grantor on the faith hereof.

920            9.3.    Amendments; Waivers. (a) No amendment or modification of any of the provisions of
921   this Agreement shall be effective unless the same shall be in writing and signed by the First Priority
922   Representative and the Second Priority Representative provided that no such agreement shall by its terms
923   amend, modify or otherwise affect the rights or obligations of any Grantor without the Company’s or such
924   Grantor’s prior written consent; provided further that (i) without the consent of any party hereto, (A) this
925   Agreement may be supplemented by a Collateral Agent Joinder Agreement, and an additional Collateral
926   Agent (an “Additional Collateral Agent”) on behalf of the Secured Parties under any Additional First
927   Priority Agreement or Additional Second Priority Agreement, as applicable, may become a party hereto,
928   in accordance with Section 9.3(b) and (B) this Agreement may be supplemented by a Grantor Joinder
929   Agreement, and a Subsidiary may become a party hereto, in accordance with Section 9.13, and (ii) in
930   connection with the entering into of any Replacement First Priority Agreement or Replacement Second
931   Priority Agreement, as applicable, each collateral agent party hereto shall enter (and are hereby authorized
932   to enter without the consent of any other Secured Party), at the request of any Collateral Agent with
933   respect to such Replacement First Priority Agreement or Replacement Second Priority Agreement, as
934   applicable, or the Borrower, into such amendments or modifications of this Agreement as are reasonably
935   necessary to reflect such Replacement First Priority Agreement or Replacement Second Priority
936   Agreement, as applicable, and are reasonably satisfactory to each such collateral agent.

937            (b)     The Borrower may from time to time, subject to any limitations contained in any Secured
938   Credit Documents in effect at such time, designate documents governing additional indebtedness and re-
939   lated obligations that are, or are to be, secured by Liens on any assets of the Borrower or any of the Gran-
940   tors that would, if such Liens were granted, constitute Common Collateral as an Additional First Priority
941   Agreement or Additional Second Priority Agreement, as applicable, by delivering to each party hereto at
942   such time a certificate of an Authorized Officer of the Borrower:

943                       1. describing the agreement governing the indebtedness and other obligations being
944           designated as an Additional First Priority Agreement or Additional Second Priority Agreement,
945           as applicable, and including a statement of the maximum aggregate outstanding principal amount
946           of such indebtedness as of the date of such certificate;

947                        2. setting forth the Additional First Priority Agreement or Additional Second Priori-
948           ty Agreement, as applicable, as each Grantor has executed and delivered to the Person that serves
949           as the collateral agent, collateral trustee or a similar representative for the holders of obligations
950           under such Additional First Priority Agreement or Additional Second Priority Agreement, as ap-
951           plicable, on the closing date of under such Additional First Priority Agreement or Additional


                                                          -22-

      CG&R DRAFT: 12/15/10 6:02 PM                                                    #1121161 v8 (126S908_.DOC)
      10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                Pg 472 of 771


952           Second Priority Agreement, as applicable, certified as being true and complete by an Authorized
953           Officer of the Borrower;

954                       3. identifying the Person that serves as collateral agent on behalf of the Secured
955           Parties under such Additional First Priority Agreement or Additional Second Priority Agreement,
956           as applicable;

957                       4. certifying that the incurrence of obligations and the creation of the Liens securing
958           obligations under such Additional First Priority Agreement or Additional Second Priority Agree-
959           ment, as applicable, do not violate or result in a default under any provision of any Secured Credit
960           Document in effect at such time;

961                       5. identifying obligations under such Additional First Priority Agreement or Addi-
962           tional Second Priority Agreement, as applicable, as First Priority Obligations or Second Priority
963           Obligations, as applicable, and, certifying that the designation of such obligations as First Priority
964           Obligations or Second Priority Obligations, as applicable, does not violate or result in a default
965           under any provision of any Secured Credit Document in effect at such time;

966                         6. certifying that the Additional First Priority Agreement or Additional Second
967           Priority Agreement, as applicable, (A) meet the requirements of Section 2.3(b) and (B) authorize
968           the Person that serves as collateral agent on behalf of the Secured Parties under such Additional
969           First Priority Agreement or Additional Second Priority Agreement, as applicable, to become a
970           Collateral Agent hereunder by executing and delivering a Collateral Agent Joinder Agreement
971           and provide that, upon such execution and delivery, the holders of obligations under such the Per-
972           son that serves as collateral agent on behalf of the Secured Parties under such Additional First
973           Priority Agreement or Additional Second Priority Agreement, as applicable, shall become subject
974           to and bound by the provisions of this Agreement; and

975                        7. attaching a fully completed Collateral Agent Joinder Agreement executed and de-
976           livered by the Person that serves as collateral agent on behalf of the Secured Parties under such
977           Additional First Priority Agreement or Additional Second Priority Agreement, as applicable.

978   Upon the delivery of such certificate and the related attachments as provided above and as so long as the
979   statements made therein are true and correct as of the date of such certificate, the obligations designated
980   in such notice shall become First Priority Obligations or Second Priority Obligations, as applicable, for all
981   purposes of this Agreement.

982            9.4.     Information Concerning Financial Condition of the Company and the other Grantors.
983   Each of the Second Priority Representative, on behalf of the other Second Priority Secured Parties, and
984   the First Priority Representative, on behalf of the First Priority Secured Parties, hereby agree that each
985   Secured Party assumes responsibility for keeping itself informed of the financial condition of the
986   Company and each of the other Grantors and all other circumstances bearing upon the risk of nonpayment
987   of the First Priority Obligations or the Second Priority Obligations. The Second Priority Representative,
988   on behalf of itself and the other Second Priority Secured Parties, and the First Priority Representative, on
989   behalf of itself and the other First Priority Secured Parties, hereby agree that no party shall have any duty
990   to advise any other Secured Party of information known to it regarding such condition or any such
991   circumstances. In the event that any Secured Party, in its sole discretion, undertakes at any time or from
992   time to time to provide any information to any other party to this Agreement, it shall be under no
993   obligation (a) to provide any such information to such other party or any other party on any subsequent
994   occasion, (b) to undertake any investigation, or (c) to disclose any other information.


                                                          -23-

      CG&R DRAFT: 12/15/10 6:02 PM                                                    #1121161 v8 (126S908_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                  Pg 473 of 771


 995           9.5.     Governing Law. This Agreement shall be construed in accordance with and governed by
 996   the law of the State of New York, except as otherwise required by mandatory provisions of law and
 997   except to the extent that remedies provided by the laws of any jurisdiction other than the State of New
 998   York are governed by the laws of such jurisdiction.

 999           9.6.     Submission to Jurisdiction.

1000            (a)      Each First Priority Secured Party, each Second Priority Secured Party and each Grantor
1001   hereby irrevocably and unconditionally submits, for itself and its property, to the exclusive jurisdiction of
1002   the Supreme Court of the State of New York sitting in New York County and of the United States District
1003   Court of the Southern District of New York, and any appellate court from any thereof, in any action or
1004   proceeding arising out of or relating to this Agreement, or for recognition or enforcement of any judgment
1005   pursuant to any such action or proceeding, and each such party hereby irrevocably and unconditionally
1006   agrees that all claims in respect of any such action or proceeding may be heard and determined in such
1007   New York State or, to the extent permitted by law, in such Federal court. Each such party agrees that a
1008   final judgment in any such action or proceeding shall be conclusive and may be enforced in other jurisdic-
1009   tions by suit on the judgment or in any other manner provided by law. Nothing in this Agreement shall
1010   affect any right that any First Priority Secured Party or Second Priority Secured Party may otherwise have
1011   to bring any action or proceeding against any Grantor or its properties in the courts of any jurisdiction.

1012            (b)      Each First Priority Secured Party, each Second Priority Secured Party and each Grantor
1013   hereby irrevocably and unconditionally waives, to the fullest extent it may legally and effectively do so,
1014   (i) any objection it may now or hereafter have to the laying of venue of any suit, action or proceeding
1015   arising out of or relating to this Agreement in any court referred to in paragraph (a) of this Section and (ii)
1016   the defense of an inconvenient forum to the maintenance of such action or proceeding.

1017          (c)      Each party to this Agreement irrevocably consents to service of process in the manner
1018   provided for notices in Section 9.7. Nothing in this Agreement will affect the right of any party to this
1019   Agreement to serve process in any other manner permitted by law.

1020            9.7.    Notices. Unless otherwise specifically provided herein, any notice or other
1021   communication herein required or permitted to be given shall be in writing and may be personally served,
1022   telecopied, or sent by overnight express courier service or United States mail and shall be deemed to have
1023   been given when delivered in person or by courier service, upon receipt of a telecopy or five days after
1024   deposit in the United States mail (certified, with postage prepaid and properly addressed). For the
1025   purposes hereof, the address of (a) each of the Company, the Agent, Revolving Credit Collateral Agent,
1026   the First Lien Trustee, the First Lien Collateral Agent and the Second Priority Representative (until notice
1027   of a change thereof is delivered as provided in this Section) shall be as set forth in the First Priority
1028   Agreement or the Second Priority Agreement, as applicable, and (b) any other party shall be in care of the
1029   Company as so set forth in clause (a), or, as to each party, at such other address as may be designated by
1030   such party in a written notice to all of the other parties.

1031            9.8.    Successors and Assigns. This Agreement shall be binding upon and inure to the benefit
1032   of each of the parties hereto and each of the First Priority Secured Parties and Second Priority Secured
1033   Parties and their respective successors and permitted assigns, and nothing herein is intended, or shall be
1034   construed, to give any other Person any right, remedy or claim under, to or in respect of this Agreement or
1035   any Common Collateral.

1036            9.9.     Headings. Section headings used herein are for convenience of reference only, are not
1037   part of this Agreement and shall not affect the construction of, or be taken into consideration in
1038   interpreting, this Agreement.

                                                            -24-

       CG&R DRAFT: 12/15/10 6:02 PM                                                     #1121161 v8 (126S908_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                                  Pg 474 of 771


1039            9.10. Severability. Any provision of this Agreement held to be invalid, illegal or
1040   unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such
1041   invalidity, illegality or unenforceability without affecting the validity, legality and enforceability of the
1042   remaining provisions hereof; and the invalidity of a particular provision in a particular jurisdiction shall
1043   not invalidate such provision in any other jurisdiction.

1044            9.11. Counterparts; Integration; Effectiveness. This Agreement may be executed in
1045   counterparts (and by different parties hereto on different counterparts), each of which shall constitute an
1046   original, but all of which when taken together shall constitute a single contract. Delivery of an executed
1047   counterpart of a signature page of this Agreement by facsimile or other electronic transmission shall be
1048   effective as delivery of a manually executed counterpart of this Agreement. This Agreement shall
1049   become effective when it shall have been executed by each party hereto.

1050        9.12. WAIVER OF JURY TRIAL. EACH PARTY HERETO HEREBY
1051   IRREVOCABLY AND UNCONDITIONALLY WAIVES TRIAL BY JURY IN ANY LEGAL
1052   ACTION OR PROCEEDING RELATING TO THIS AGREEMENT AND FOR ANY
1053   COUNTERCLAIM THEREIN.

1054            9.13. Additional Grantors. The Company shall cause each Person that becomes a Grantor after
1055   the date hereof (other than any such Grantor that does not grant any Liens to secure any of the First
1056   Priority Obligations or any of the Second Priority Obligations, until such time as such Grantor does grant
1057   any such Liens) to become a party to this Agreement by executing and delivering a supplement to this
1058   Agreement in substantially the form set forth in Exhibit B hereto (each a “Grantor Joinder Agreement”)
1059   and otherwise reasonably satisfactory to the First Priority Representative and the Second Priority
1060   Representative.

1061           9.14.    Representatives.

1062           (a)     It is understood and agreed that the Revolving Credit Collateral Agent is entering into
1063   this Agreement in its capacity as administrative and collateral agent under the Revolving Facility and the
1064   provisions of Article VIII of the Revolving Facility applicable to the Revolving Credit Collateral Agent as
1065   administrative and collateral agent thereunder shall also apply to the Revolving Credit Collateral Agent if
1066   the Revolving Credit Collateral Agent serves as First Priority Representative hereunder.

1067           (b)      It is understood and agreed that the First Lien Trustee and First Lien Collateral Agent are
1068   entering into this Agreement in their capacities as trustee and collateral agent under the First Lien Inden-
1069   ture and the provisions of Articles 7 and 10 of the First Lien Indenture applicable to the First Lien Trustee
1070   and First lien Collateral Agent as trustee and collateral agent thereunder shall also apply to the First Lien
1071   Trustee and First Lien Collateral Agent if either of them serves as First Priority Representative hereunder.

1072            (c)    It is understood and agreed that the Second Lien Trustee and Second Lien Collateral
1073   Agent are entering into this Agreement in their capacities as trustee and collateral agent under the Second
1074   Lien Indenture and the provisions of Articles 7 and 10 of the Second Lien Indenture applicable to the
1075   Second Lien Trustee and Second lien Collateral Agent as trustee and collateral agent thereunder shall also
1076   apply to the Second Lien Trustee and Second Lien Collateral Agent if either of them serves as First
1077   Priority Representative hereunder.

1078            (d)      In connection with its execution of this Agreement and its actions hereunder, each of the
1079   First Priority Representative and the Second Priority Representative shall be entitled to all rights, privi-
1080   leges, benefits, protections, immunities and indemnities provided to it as administrative agent, trustee and


                                                            -25-

       CG&R DRAFT: 12/15/10 6:02 PM                                                      #1121161 v8 (126S908_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 475 of 771


1081   collateral agent under the First Priority Documents and as administrative agent, trustee and collateral
1082   agent under the Second Priority Documents, respectively.

1083            9.15. Subrogation. The Second Priority Representative, for itself and on behalf of the other
1084   Second Priority Secured Parties, hereby waives any rights of subrogation it or they may acquire as a result
1085   of any payment hereunder until the First Priority Obligations Payment Date has occurred; provided,
1086   however, that, as between the Company and the other Grantors, on the one hand, and the Second Priority
1087   Secured Parties, on the other hand, any such payment that is paid over to the First Priority Representative
1088   pursuant to this Agreement shall be deemed not to reduce any of the Second Priority Obligations unless
1089   and until (and then only to the extent that) the First Priority Obligations Payment Date has occurred and
1090   the First Priority Representative delivers any such payment to the Second Priority Representative.

1091

1092                                  [Remainder of page intentionally left blank]

1093
1094




                                                           -26-

       CG&R DRAFT: 12/15/10 6:02 PM                                                   #1121161 v8 (126S908_.DOC)
       10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                                Pg 476 of 771


1095           IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date first
1096   written above.

1097                                                    JPMORGAN CHASE BANK, N.A., as Agent and
1098                                                    Revolving Credit Collateral Agent for and on behalf
1099                                                    of the Revolving Credit Secured Parties
1100

1101                                                    By: ______________________________________
1102                                                        Name:
1103                                                        Title:




       CG&R DRAFT: 12/15/10 6:02 PM                                             #1121161 v8 (126S908_.DOC)
       10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                                Pg 477 of 771


1104

1105                                                  WILMINGTON TRUST FSB, as First Lien Trustee
1106                                                  and First Lien Collateral Agent for and on behalf of
1107                                                  the First Lien Note Secured Parties
1108

1109                                                  By: ______________________________________
1110                                                      Name:
1111                                                      Title:
1112




       CG&R DRAFT: 12/15/10 6:02 PM                                           #1121161 v8 (126S908_.DOC)
       10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47         Main Document
                                                Pg 478 of 771



1113                                                  WILMINGTON TRUST FSB, as Second Lien Trus-
1114                                                  tee and Second Lien Collateral Agent for and on be-
1115                                                  half of the Second Lien Note Secured Parties
1116

1117                                                  By: ______________________________________
1118                                                      Name:
1119                                                      Title:
1120
1121




       CG&R DRAFT: 12/15/10 6:02 PM                                           #1121161 v8 (126S908_.DOC)
       10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47    Main Document
                                                Pg 479 of 771



1122                                                  AMERICAN MEDIA, INC.

1123

1124                                                  By: ______________________________________
1125                                                      Name:
1126                                                      Title:
1127

1128                                                  [OTHER GRANTORS]

1129

1130                                                  By: ______________________________________
1131                                                      Name:
1132                                                      Title:
1133
1134




       CG&R DRAFT: 12/15/10 6:02 PM                                      #1121161 v8 (126S908_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                  Pg 480 of 771


1135                                                                                                    EXHIBIT A


1136                    [FORM OF] COLLATERAL AGENT JOINDER AGREEMENT NO. [ ] dated as of
1137   [            ], 20[ ] (the “Joinder Agreement”) to the JUNIOR LIEN INTERCREDITOR
1138   AGREEMENT dated as of [                 ], 2010 (the “Intercreditor Agreement”), among AMERICAN
1139   MEDIA, INC. (F/K/A AMERICAN MEDIA OPERATIONS, INC.), a Delaware corporation (the “Bor-
1140   rower”), the GRANTORS party thereto, JPMORGAN CHASE BANK, N.A., as the Agent and Revolving
1141   Credit Collateral Agent, WILMINGTON TRUST FSB, as the First Lien Trustee and First Lien Collateral
1142   Agent, WILMINGTON TRUST FSB, as the Second Lien Trustee and Second Lien Collateral Agent, and
1143   each ADDITIONAL COLLATERAL AGENT from time to time party thereto.

1144                  A.      Capitalized terms used herein but not otherwise defined herein shall have the
1145   meanings assigned to such terms in the Intercreditor Agreement.

1146                     B.      The Borrower proposes to issue or incur additional [First][Second] Priority Obli-
1147   gations (the “Additional [First][Second] Priority Obligations”) and the Person identified in the signature
1148   pages hereto as the “Additional Collateral Agent” (the “Additional Collateral Agent”) will serve as the
1149   collateral agent, collateral trustee or a similar representative for the [First Priority][Second Priority] Se-
1150   cured Parties under such Additional [First][Second] Priority Obligations (the “Additional [First][Second]
1151   Priority Secured Parties”). The Additional [First][Second] Priority Obligations are being designated as
1152   [First][Second] Priority Obligations by the Borrower in accordance with Section 9.3(b) of the Intercredi-
1153   tor Agreement.

1154                   C.        The Additional Collateral Agent wishes to become a party to the Intercreditor
1155   Agreement and to acquire and undertake, for itself and on behalf of the Additional [First][Second] Priori-
1156   ty Secured Parties, the rights and obligations of a Collateral Agent thereunder. The Additional Collateral
1157   Agent is entering into this Joinder Agreement in accordance with the provisions of the Intercreditor
1158   Agreement in order to become a Collateral Agent thereunder.

1159                   Accordingly, the Additional Collateral Agent and the Borrower agree as follows, for the
1160   benefit of the Additional Collateral Agent, the Borrower and each other Collateral Agent:

1161                      SECTION 1. Accession to the Intercreditor Agreement. The Additional Collateral Agent
1162   (a) hereby accedes and becomes a party to the First Lien Intercreditor Agreement as a collateral agent for
1163   the Additional [First][Second] Priority Secured Parties from time to time in respect of the Additional
1164   [First][Second] Priority Obligations, (b) agrees, for itself and on behalf of the Additional [First][Second]
1165   Priority Secured Parties from time to time in respect of the Additional [First][Second] Priority Obliga-
1166   tions, to all the terms and provisions of the Intercreditor Agreement and (c) shall have all the rights and
1167   obligations of a Collateral Agent under the Intercreditor Agreement.

1168                     SECTION 2. Representations, Warranties and Acknowledgement of the Additional Col-
1169   lateral Agent. The Additional Collateral Agent represents and warrants to the Collateral Agents and the
1170   Secured Parties, in each case party to the Intercreditor Agreement that (a) it has full power and authority
1171   to enter into this Joinder Agreement, in its capacity as the Additional Collateral Agent, (b) this Joinder
1172   Agreement has been duly authorized, executed and delivered by it and constitutes its legal, valid and
1173   binding obligation, enforceable against it in accordance with the terms of this Joinder Agreement and
1174   (c) the [Additional First Priority Agreement][Additional Second Priority Agreement] relating to such Ad-
1175   ditional [First][Second] Priority Obligations provide that, upon the Additional Collateral Agent’s entry
1176   into this Joinder Agreement, the secured parties in respect of such Additional [First][Second] Priority Ob-
1177   ligations will be subject to and bound by the provisions of the Intercreditor Agreement as Secured Parties.

                                                          Ex. I-1

       CG&R DRAFT: 12/15/10 6:02 PM                                                     #1121161 v8 (126S908_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                  Pg 481 of 771


1178                    SECTION 3. Counterparts. This Joinder Agreement may be executed in multiple coun-
1179   terparts, each of which shall constitute an original, but all of which when taken together shall constitute a
1180   single contract. This Joinder Agreement shall become effective when each collateral agent shall have
1181   received a counterpart of this Joinder Agreement that bears the signature of the Additional Collateral
1182   Agent. Delivery of an executed signature page to this Joinder Agreement by facsimile or other electronic
1183   transmission shall be effective as delivery of a manually signed counterpart of this Joinder Agreement.

1184                 SECTION 4. Benefit of Agreement. The agreements set forth herein or undertaken
1185   pursuant hereto are for the benefit of, and may be enforced by, any party to the Intercreditor
1186   Agreement.

1187             SECTION 5. Governing Law. THIS JOINDER AGREEMENT SHALL BE
1188   GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE STATE
1189   OF NEW YORK.

1190                    SECTION 6. Severability. In case any one or more of the provisions contained in this
1191   Joinder Agreement should be held invalid, illegal or unenforceable in any respect, none of the parties he-
1192   reto shall be required to comply with such provision for so long as such provision is held to be invalid,
1193   illegal or unenforceable, but the validity, legality and enforceability of the remaining provisions contained
1194   herein and in the Intercreditor Agreement shall not in any way be affected or impaired. The parties hereto
1195   shall endeavor in good-faith negotiations to replace the invalid, illegal or unenforceable provisions with
1196   valid provisions the economic effect of which comes as close as possible to that of the invalid, illegal or
1197   unenforceable provisions.

1198                   SECTION 7. Notices. All communications and notices hereunder shall be in writing and
1199   given as provided in Section 9.7 of the Intercreditor Agreement. All communications and notices he-
1200   reunder to the Additional Collateral Agent shall be given to it at the address set forth under its signature
1201   hereto, which information supplements Section 9.7 of the Intercreditor Agreement.

1202                    SECTION 8. Expense Reimbursement. The Borrower agrees to reimburse each Colla-
1203   teral Agent for its reasonable out-of-pocket expenses in connection with this Joinder Agreement, includ-
1204   ing the reasonable fees, other charges and disbursements of counsel for each Collateral Agent.

1205




                                                          Ex. I-2

       CG&R DRAFT: 12/15/10 6:02 PM                                                    #1121161 v8 (126S908_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47               Main Document
                                                 Pg 482 of 771


1206                    IN WITNESS WHEREOF, the Additional Collateral Agent and the Borrower have duly
1207   executed this Joinder Agreement to the Intercreditor Agreement as of the day and year first above written.

1208                                                    [NAME OF ADDITIONAL COLLATERAL AGENT],
1209                                                    as ADDITIONAL COLLATERAL AGENT for the
1210                                                    ADDITIONAL [FIRST][SECOND] PRIORITY
1211                                                    SECURED PARTIES


1212                                                    By:
1213                                                          Name:
1214                                                          Title:


1215                                                    Address for notices:

1216

1217

1218                                                    attention of:

1219                                                    Telecopy:


1220                                                    AMERICAN MEDIA, INC.


1221                                                    By:
1222                                                          Name:
1223                                                          Title:


1224




                                                        Ex. I-3

       CG&R DRAFT: 12/15/10 6:02 PM                                                  #1121161 v8 (126S908_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                                 Pg 483 of 771


1225   Acknowledged by:

1226   JPMORGAN CHASE BANK, N.A., as Agent and
1227   Revolving Credit Collateral Agent

1228   By:
1229         Name:
1230         Title:


1231   WILMINGTON TRUST FSB,
1232   as First Lien Trustee and First Lien Collateral Agent

1233   By:
1234         Name:
1235         Title:


1236   WILMINGTON TRUST FSB,
1237   as Second Lien Trustee and Second Lien Collateral Agent

1238   By:
1239         Name:
1240         Title:


1241   [EACH OTHER ADDITIONAL
1242   COLLATERAL AGENT], as Additional
1243   Collateral Agent

1244   By:
1245         Name:
1246         Title:




                                                         Ex. I-4

       CG&R DRAFT: 12/15/10 6:02 PM                                      #1121161 v8 (126S908_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                  Pg 484 of 771


1247                                                                                                    EXHIBIT B


1248                     [FORM OF] GRANTOR JOINDER AGREEMENT NO. [ ] dated as of [                 ],
1249   20[ ] (the “Joinder Agreement”) to the JUNIOR LIEN INTERCREDITOR AGREEMENT dated as of
1250   [             ], 2010 (the “Intercreditor Agreement”), among AMERICAN MEDIA, INC. (F/K/A
1251   AMERICAN MEDIA OPERATIONS, INC.), a Delaware corporation (the “Borrower”), the GRANTORS
1252   party thereto, JPMORGAN CHASE BANK, N.A., as the Agent and Revolving Credit Collateral Agent,
1253   WILMINGTON TRUST FSB, as the First Lien Trustee and First Lien Collateral Agent, WILMINGTON
1254   TRUST FSB, as the Second Lien Trustee and Second Lien Collateral Agent, each ADDITIONAL
1255   COLLATERAL AGENT from time to time party thereto and [               ], a [          ], as an ad-
1256   ditional GRANTOR.

1257                  A.      Capitalized terms used herein but not otherwise defined herein shall have the
1258   meanings assigned to such terms in the Intercreditor Agreement.

1259                    B.      [              ], a Subsidiary of the Borrower (the “Additional Grantor”), has
1260   granted a Lien on all or a portion of its assets to secure First Priority Obligations and Second Priority Ob-
1261   ligations and such Additional Grantor is not a party to the Intercreditor Agreement.

1262                     C.      The Additional Grantor wishes to become a party to the Intercreditor Agreement
1263   and to acquire and undertake the rights and obligations of a Grantor thereunder. The Additional Grantor
1264   is entering into this Joinder Agreement in accordance with the provisions of the Intercreditor Agreement
1265   in order to become a Grantor thereunder.

1266                   Accordingly, the Additional Grantor agrees as follows, for the benefit of the Borrower
1267   and each other party to the Intercreditor Agreement:

1268                    SECTION 1. Accession to the Intercreditor Agreement. In accordance with Section
1269   9.13 of the Intercreditor Agreement, the Additional Grantor (a) hereby accedes and becomes a party to the
1270   Intercreditor Agreement as a Grantor with the same force and effect as if originally named therein as a
1271   Grantor, (b) agrees to all the terms and provisions of the Intercreditor Agreement and (c) shall have all the
1272   rights and obligations of a Grantor under the Intercreditor Agreement.

1273                     SECTION 2. Representations, Warranties and Acknowledgement of the Additional
1274   Grantor. The Additional Grantor represents and warrants to each Collateral Agent and each Secured Par-
1275   ty that this Joinder Agreement has been duly authorized, executed and delivered by such Additional Gran-
1276   tor and constitutes the legal, valid and binding obligation, enforceable against it in accordance with its
1277   terms, subject to applicable bankruptcy, insolvency, reorganization, moratorium or other laws affecting
1278   creditors’ rights generally and subject to general principles of equity, regardless of whether considered in
1279   a proceeding in equity or at law.

1280                    SECTION 3. Counterparts. This Joinder Agreement may be executed in multiple coun-
1281   terparts, each of which shall constitute an original, but all of which when taken together shall constitute a
1282   single contract. This Joinder Agreement shall become effective when each collateral agent shall have
1283   received a counterpart of this Joinder Agreement that bears the signature of the Additional Grantor. Deli-
1284   very of an executed signature page to this Joinder Agreement by facsimile or other electronic transmis-
1285   sion shall be effective as delivery of a manually signed counterpart of this Joinder Agreement.




                                                          Ex. I-1

       CG&R DRAFT: 12/15/10 6:02 PM                                                    #1121161 v8 (126S908_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 485 of 771


1286                 SECTION 4. Benefit of Agreement. The agreements set forth herein or undertaken
1287   pursuant hereto are for the benefit of, and may be enforced by, any party to the Intercreditor
1288   Agreement.

1289             SECTION 5. Governing Law. THIS JOINDER AGREEMENT SHALL BE
1290   GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE STATE
1291   OF NEW YORK.

1292                    SECTION 6. Severability. In case any one or more of the provisions contained in this
1293   Joinder Agreement should be held invalid, illegal or unenforceable in any respect, none of the parties he-
1294   reto shall be required to comply with such provision for so long as such provision is held to be invalid,
1295   illegal or unenforceable, but the validity, legality and enforceability of the remaining provisions contained
1296   herein and in the Intercreditor Agreement shall not in any way be affected or impaired. The parties hereto
1297   shall endeavor in good-faith negotiations to replace the invalid, illegal or unenforceable provisions with
1298   valid provisions the economic effect of which comes as close as possible to that of the invalid, illegal or
1299   unenforceable provisions.

1300                   SECTION 7. Notices. All communications and notices hereunder shall be in writing and
1301   given as provided in Section 9.7 of the Intercreditor Agreement.

1302                   SECTION 8. Expense Reimbursement. The Additional Grantor agrees to reimburse
1303   each Collateral Agent for its reasonable out-of-pocket expenses in connection with this Joinder Agree-
1304   ment, including the reasonable fees, other charges and disbursements of counsel for each Collateral
1305   Agent.

1306




                                                          Ex. I-2

       CG&R DRAFT: 12/15/10 6:02 PM                                                    #1121161 v8 (126S908_.DOC)
       10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47        Main Document
                                                Pg 486 of 771


1307                  IN WITNESS WHEREOF, the Additional Grantor has duly executed this Joinder
1308   Agreement to the Intercreditor Agreement as of the day and year first above written.

1309                                               [NAME OF SUBSIDIARY]


1310                                               By:
1311                                                     Name:
1312                                                     Title:


1313




                                                   Ex. I-3

       CG&R DRAFT: 12/15/10 6:02 PM                                          #1121161 v8 (126S908_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                                 Pg 487 of 771


1314   Acknowledged by:

1315   JPMORGAN CHASE BANK, N.A., as Agent and
1316   Revolving Credit Collateral Agent

1317   By:
1318         Name:
1319         Title:


1320   WILMINGTON TRUST FSB,
1321   as First Lien Trustee and First Lien Collateral Agent

1322   By:
1323         Name:
1324         Title


1325   WILMINGTON TRUST FSB,
1326   as Second Lien Trustee and Second Lien Collateral Agent

1327   By:
1328         Name:
1329         Title:


1330   [EACH OTHER ADDITIONAL
1331   COLLATERAL AGENT], as Additional
1332   Collateral Agent

1333   By:
1334         Name:
1335         Title:


1336




                                                         Ex. I-4

       CG&R DRAFT: 12/15/10 6:02 PM                                      #1121161 v8 (126S908_.DOC)
10-16140-mg   Doc 116    Filed 12/15/10 Entered 12/15/10 23:40:47     Main Document
                                   Pg 488 of 771



                                    EXHIBIT H

Intercreditor Agreement Among Reorganized Debtors, Collateral Agent for New Revolver
   Facility Lenders, and Trustee and Collateral Agent for New First Lien Note Holders
     10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                               Pg 489 of 771




 1                             FIRST LIEN INTERCREDITOR AGREEMENT
 2
 3                                       dated as of December 22, 2010,
 4
 5                                                   among
 6
 7                                         AMERICAN MEDIA, INC.
 8                                  (f/k/a American Media Operations, Inc.),
 9
10                                    the other GRANTORS party hereto,
11
12                                    JPMORGAN CHASE BANK, N.A.,
13                                            as Agent,
14
15                                    JPMORGAN CHASE BANK, N.A.,
16                                   as Credit Agreement Collateral Agent,


17                                       WILMINGTON TRUST FSB,
18                                      as Senior Secured Notes Trustee,


19                                       WILMINGTON TRUST FSB,
20                                  as Senior Secured Notes Collateral Agent,
21
22                                                    and
23
24             each ADDITIONAL COLLATERAL AGENT from time to time party hereto




     CG&R DRAFT: 12/15/10 4:00 PM                                               #1097705 v7 (11FV907_.DOC)
     10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                              Pg 490 of 771



25                   FIRST LIEN INTERCREDITOR AGREEMENT dated as of December 22, 2010,
26   2010 (as amended, supplemented or otherwise modified from time to time, this “Agreement”),
27   among AMERICAN MEDIA, INC. (f/k/a AMERICAN MEDIA OPERATIONS, INC.), a Dela-
28   ware corporation (the “Borrower”), the other GRANTORS (as defined below) party hereto,
29   JPMORGAN CHASE BANK, N.A., as administrative agent under the Credit Agreement (in
30   such capacity, the “Agent”) and as collateral agent for the Credit Agreement Secured Parties (as
31   defined below) (in such capacity, the “Credit Agreement Collateral Agent”), WILMINGTON
32   TRUST FSB, as Trustee under the Senior Secured Notes Indenture (as defined below) (together
33   with its successors and assigns, in such capacity, the “Senior Secured Notes Trustee”) and as col-
34   lateral agent for the Senior Secured Notes Secured Parties (as defined below) (together with its
35   successors and assigns, in such capacity, the “Senior Secured Notes Collateral Agent”), and each
36   ADDITIONAL COLLATERAL AGENT from time to time party hereto as collateral agent for
37   any First Lien Obligations (as defined below) of any other Class (as defined below).

38                   The parties hereto agree as follows:

39                                               ARTICLE I
40
41                                               Definitions

42                 SECTION 1.01. Certain Defined Terms. As used in this Agreement, the follow-
43   ing terms have the meanings specified below:

44                   “Additional Collateral Agent” has the meaning assigned to the term in Article
45   VII.

46                  “Additional First Lien Obligations” means all obligations of the Borrower and the
47   other Grantors that shall have been designated as such pursuant to Article VII.

48                   “Additional First Lien Obligations Documents” means the indentures or other
49   agreements under which Additional First Lien Obligations of any Series are issued or incurred
50   and all other instruments, agreements and other documents evidencing or governing Additional
51   First Lien Obligations of such Series or providing any guarantee, Lien or other right in respect
52   thereof.

53                   “Additional Pari Passu Lien Indebtedness” means Indebtedness permitted to be
54   incurred under the Senior Secured Notes Indenture and under the Credit Agreement which is by
55   its terms intended to be secured on a pari passu basis with the Liens securing the Senior Secured
56   Notes and the Credit Agreement Obligations; provided such Lien is permitted to be incurred un-
57   der the Senior Secured Notes Indenture and the Credit Agreement and such Indebtedness has a
58   stated maturity that is no earlier than the stated maturity of the Senior Secured Notes.

59                    “Additional Secured Parties” means the holders of any Additional First Lien Ob-
60   ligations.

61                   “Affiliate” means, with respect to a specified Person, another Person that directly,
62   or indirectly through one or more intermediaries, Controls or is Controlled by or is under com-
63   mon Control with the Person specified. For purposes of this definition, “Control” means the



     CG&R DRAFT: 12/15/10 4:00 PM                                             #1097705 v7 (11FV907_.DOC)
     10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                              Pg 491 of 771



64   possession, directly or indirectly, of the power to direct or cause the direction of the management
65   or policies of a Person, whether through the ability to exercise voting power, by contract or oth-
66   erwise. “Controlling” and “Controlled” have meanings correlative thereto.

67                    “Agent” has the meaning assigned to such term in the preamble hereto.

68                   “Agreement” has the meaning assigned to such term in the preamble hereto.

69                 “Amend” means, in respect of any agreement, to amend, restate, supplement,
70   waive or otherwise modify such agreement, in whole or in part. The terms “Amended” and
71   “Amendment” shall have correlative meanings.

72                    “Authorized Officer” means, with respect to any Person, the chief executive of-
73   ficer, the chief financial officer, principal accounting officer, any vice president, treasurer, gen-
74   eral counsel or another executive officer of such Person.

75                   “Bailee Collateral Agent” has the meaning assigned to such term in Section
76   4.01(a).

77                   “Bankruptcy Code” means Title 11 of the United States Code, as amended.

78                  “Bankruptcy Law” means the Bankruptcy Code and any similar Federal, state or
79   foreign law for the relief of debtors.

80                   “Borrower” has the meaning assigned to such term in the preamble hereto.

81               “Business Day” means any day that is not a Saturday, Sunday or other day on
82   which commercial banks in New York City are authorized or required by law to remain closed.

83                    “Cash Management Bank” means any lender under the Credit Agreement or an
84   Affiliate of a lender under the Credit Agreement (together with its successors and assigns) pro-
85   viding Cash Management Services to the Borrower or any other Grantor.

86                   “Cash Management Obligations” means all obligations owing by the Borrower or
87   any other Grantor to any Cash Management Bank in respect of any Cash Management Services
88   (including, without limitation, indemnities, fees and interest thereon and all interest and fees that
89   accrue on or after the commencement of any Insolvency or Liquidation Proceeding at the rate
90   provided for in the respective documents governing the Cash Management Services, whether or
91   not a claim for post-petition interest or fees is allowed or allowable in any such Insolvency or
92   Liquidation Proceeding), now existing or hereafter incurred under, arising out of or in connection
93   with such Cash Management Services, and the due performance and compliance by the Borrower
94   or any other Grantor with the terms, conditions and agreements of such Cash Management Ser-
95   vices.

96               “Cash Management Services” means treasury, depository, bank product and/or
97   cash management services or any automated clearing house transfer services.



                                                       -2-

     CG&R DRAFT: 12/15/10 4:00 PM                                               #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                               Pg 492 of 771



 98                   “Class”, when used in reference to (a) any First Lien Obligations, refers to wheth-
 99   er such First Lien Obligations are the Credit Agreement Obligations, the Senior Secured Notes
100   Obligations or the Additional First Lien Obligations of any Series, (b) any Collateral Agent, re-
101   fers to whether such Collateral Agent is the Credit Agreement Collateral Agent, the Senior Se-
102   cured Notes Collateral Agent or the Additional Collateral Agent with respect to the Additional
103   First Lien Obligations of any Series, (c) any Bailee Collateral Agent, refers to whether such Bai-
104   lee Collateral Agent is the Credit Agreement Collateral Agent, the Senior Secured Notes Colla-
105   teral Agent or the Additional Collateral Agent with respect to the Additional First Lien Obliga-
106   tions of any Series, (d) any Secured Parties, refers to whether such Secured Parties are the Credit
107   Agreement Secured Parties, the Senior Secured Notes Secured Parties or the holders of the Addi-
108   tional First Lien Obligations of any Series, (e) any Secured Credit Documents, refers to whether
109   such Secured Credit Documents are the Credit Agreement Documents, the Senior Secured Notes
110   Documents or the Additional First Lien Obligations Documents with respect to Additional First
111   Lien Obligations of any Series, and (f) any Security Documents, refers to whether such Security
112   Documents are part of the Credit Agreement Documents, the Senior Secured Notes Documents
113   or the Additional First Lien Obligations Documents with respect to Additional First Lien Obliga-
114   tions of any Series.

115                  “Collateral” means all assets of the Borrower or any of the Subsidiaries now or
116   hereafter subject to a Lien securing any First Lien Obligation.

117                   “Collateral Agent Joinder Agreement” means a supplement to this Agreement
118   substantially in the form of Exhibit I, appropriately completed.

119                 “Collateral Agents” means the Credit Agreement Collateral Agent, the Senior Se-
120   cured Notes Collateral Agent and each Additional Collateral Agent.

121                   “Controlled Shared Collateral” has the meaning assigned to such term in Section
122   4.01(a).

123                   “Credit Agreement” means the Revolving Credit Agreement dated as of Decem-
124   ber [ ], 2010 by and among the Borrower, the lenders party thereto in their capacities as lenders
125   thereunder and JPMorgan Chase Bank, N.A., as administrative agent, and one or more other fi-
126   nancing arrangements (including, without limitation, any guarantee agreements and security
127   documents), in each case as such agreements may be amended (including any amendment and
128   restatement thereof), supplemented or otherwise modified from time to time, including any
129   agreement extending the maturity of, refinancing, replacing, consolidating or otherwise restruc-
130   turing all or any portion of the Indebtedness under any such agreement or any successor or re-
131   placement agreement and whether by the same or any other agent, lender or group of lenders and
132   whether or not increasing the amount of Indebtedness that may be incurred thereunder; provided
133   that any such amendment, supplement, modification, refinancing, consolidating or restructuring
134   of Indebtedness under such agreement may only provide for the making of revolving loans
135   and/or issuance of letters of credit; provided further that the collateral agent for any such other
136   financing arrangement or agreement becomes a party hereto by executing and delivering a Colla-
137   teral Agent Joinder Agreement.



                                                      -3-

      CG&R DRAFT: 12/15/10 4:00 PM                                            #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                               Pg 493 of 771



138                 “Credit Agreement Collateral Agent” has the meaning assigned to such term in
139   the preamble hereto.

140                 “Credit Agreement Collateral Agreement” has the meaning assigned to the term
141   “Guarantee and Collateral Agreement” in the Credit Agreement.

142                “Credit Agreement Documents” has the meaning assigned to the term “Loan
143   Documents” in the Credit Agreement.

144                   “Credit Agreement Obligations” has the meaning assigned to the term “Obliga-
145   tions” in the Credit Agreement.

146                  “Credit Agreement Secured Parties” has the meaning assigned to the term “Se-
147   cured Parties” in the Credit Agreement.

148                   “Discharge” means, with respect to First Lien Obligations of any Class,
149   (a) payment in full in cash of the principal of and interest (including interest accruing on or after
150   the commencement of any Insolvency or Liquidation Proceeding at the rate provided for in the
151   Related Secured Credit Document, whether or not such interest would be allowed in any such
152   Insolvency or Liquidation Proceeding) and premium, if any, on all Indebtedness under the Re-
153   lated Secured Credit Document and termination of all commitments of the lenders under the
154   Credit Agreement to lend or otherwise extend credit under the Related Secured Credit Docu-
155   ment, (b) payment in full in cash of all other First Lien Obligations (including letter of credit
156   reimbursement obligations) that are due and payable or otherwise accrued and owing at or prior
157   to the time such principal, interest, and premium are paid (other than Cash Management Obliga-
158   tions and Secured Hedge Obligations so long as arrangements satisfactory to the applicable Cash
159   Management Bank or Hedge Bank shall have been made), and (c) termination or cash collatera-
160   lization (in an amount and manner, and on terms, reasonably satisfactory to the Agent, the Credit
161   Agreement Collateral Agent, or, if the Discharge of Credit Agreement Obligations has occurred,
162   the Collateral Agent determined in accordance with Section 4.01(d)) of all letters of credit issued
163   under the Secured Credit Documents.

164                  “Domestic Subsidiary” means each Subsidiary that is organized under the laws of
165   the United States of America or any State thereof or the District of Columbia.

166                 “Event of Default” means an “Event of Default” (or similar event, however de-
167   nominated) as defined in any Secured Credit Document.

168                 “First Lien Obligations” means (a) all the Credit Agreement Obligations, (b) all
169   the Senior Secured Notes Obligations and (c) all the Additional First Lien Obligations.

170                  “Grantor Joinder Agreement” means a supplement to this Agreement substantially
171   in the form of Exhibit II, appropriately completed.

172                   “Grantors” means, at any time, the Borrower and each Domestic Subsidiary that,
173   at such time, (a) pursuant to Security Documents of any Class have granted a Lien on any of its
174   assets to secure any First Lien Obligations of such Class and (b) pursuant to Security Documents

                                                       -4-

      CG&R DRAFT: 12/15/10 4:00 PM                                              #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                               Pg 494 of 771



175   of any other Class has granted a Lien on any of its assets to secure any First Lien Obligations of
176   such other Class.

177                   “Hedge Bank” means any Person that is a lender under the Credit Agreement or
178   an Affiliate of a lender under the Credit Agreement at the time it enters into a Secured Hedge
179   Agreement, in its capacity as a party thereto, and such Person’s successors and assigns.

180                   “Hedging Obligations” means, with respect to any Person, the obligations of such
181   Person under any interest rate swap agreement, interest rate cap agreement, interest rate collar
182   agreement, commodity swap agreement, commodity cap agreement, commodity collar agree-
183   ment, foreign exchange contract, currency swap agreement or similar agreement providing for
184   the transfer or mitigation of interest rate or currency risks either generally or under specific con-
185   tingencies.

186                 “Indebtedness” has the meaning assigned to such term in the Senior Secured
187   Notes Indenture or in the Credit Agreement.

188                   “Impairment” has the meaning assigned to such term in Section 2.02.

189                   “Insolvency or Liquidation Proceeding” means:

190                 (a)     any voluntary or involuntary case or proceeding under the Bankruptcy
191           Code with respect to the Borrower or any other Grantor;

192                   (b)    any other voluntary or involuntary insolvency, reorganization or bankrupt-
193           cy case or proceeding, or any receivership, liquidation, reorganization or other similar
194           case or proceeding with respect to the Borrower or any other Grantor or with respect to a
195           material portion of its respective assets;

196                  (c)     any liquidation, dissolution, reorganization or winding up of the Borrower
197           or any other Grantor, whether voluntary or involuntary and whether or not involving in-
198           solvency or bankruptcy; or

199                   (d)      any assignment for the benefit of creditors or any other marshalling of as-
200           sets and liabilities of the Borrower or any other Grantor.

201                   “Intervening Creditor” has the meaning assigned to such term in Section 2.02.

202                   “Intervening Lien” has the meaning assigned to such term in Section 2.02.

203                   “Lien” means, with respect to any asset, (a) any mortgage, deed of trust,
204   lien(statutory or otherwise), pledge, hypothecation, encumbrance, charge, preference, priority or
205   security interest in, on or of such asset, whether or not filed, recorded or otherwise perfected un-
206   der applicable law, including any conditional sale or other title retention agreement, any lease in
207   the nature thereof, any option or other agreement to sell or give a security interest in and any fil-
208   ing of or agreement to give any financing statement under the Uniform Commercial Code (or
209   equivalent statutes) of any jurisdiction (other than a filing for informational purposes), (b) the
210   interest of a vendor or a lessor under any conditional sale agreement, capital lease or title reten-

                                                       -5-

      CG&R DRAFT: 12/15/10 4:00 PM                                              #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                               Pg 495 of 771



211   tion agreement (or any financing lease having substantially the same economic effect as any of
212   the foregoing) relating to such asset and (c) in the case of securities, any purchase option, call or
213   similar right of a third party with respect to such securities (other than arising from entry into an
214   agreement for the sale, transfer or disposition of Equity Interests (as defined in the Credit
215   Agreement) as permitted pursuant to the Credit Agreement.

216                 “Pari Passu Lien Indebtedness” shall have the meaning assigned to such term in
217   the Senior Secured Notes Indenture.

218                   “Person” means any natural person, corporation, limited liability company, trust,
219   joint venture, association, company, partnership, governmental authority or other entity.

220                  “Priority Payment Lien Obligations” shall have the meaning assigned to such
221   term in the Senior Secured Notes Indenture (as the same is in effect on the date hereof).

222                   “Proceeds” has the meaning assigned to such term in Section 2.01(b).

223                  “Refinance” means, in respect of any Indebtedness, to refinance, extend, renew,
224   refund, repay, prepay, redeem, purchase, defease, retire, restructure or replace, or to issue other
225   Indebtedness in exchange or replacement for, such Indebtedness, in whole or in part. “Refi-
226   nanced” and “Refinancing” shall have correlative meanings.

227                 “Related Secured Credit Documents” means, with respect to the Collateral Agent
228   or Secured Parties of any Class, the Secured Credit Documents of such Class.

229                  “Related Secured Parties” means, with respect to the Collateral Agent of any
230   Class, the Secured Parties of such Class.

231                  “Secured Credit Documents” means, collectively, (a) the Credit Agreement Doc-
232   uments, (b) the Senior Secured Notes Documents and (c) the Additional First Lien Obligations
233   Documents.

234                  “Secured Hedge Agreements” means each agreement that governs Hedging Obli-
235   gations by and between the Borrower or any other Grantor, on the one hand, and any Hedge
236   Bank from time to time, but only to the extent such agreement is permitted under the Credit
237   Agreement and constitutes Credit Agreement Obligations; provided, however, that such Hedging
238   Obligations shall not, solely by virtue of constituting a Credit Agreement Obligation, also consti-
239   tute Indebtedness (as defined in the Senior Secured Notes Indenture) under the Credit Agree-
240   ment.

241                   “Secured Hedging Obligations” means (i) obligations (including obligations
242   which, but for the automatic stay under Section 362(a) of the Bankruptcy Code, would become
243   due) and liabilities, whether now existing or hereafter arising (including, without limitation, in-
244   demnities, fees and interest thereon and all interest and fees that accrue on or after the com-
245   mencement of any Insolvency or Liquidation Proceeding at the rate provided for in the respective
246   Secured Hedge Agreement, whether or not a claim for post-petition interest or fees is allowed in
247   any such Insolvency or Liquidation Proceeding), of the Borrower or any other Grantor owing to
248   any Hedge Bank, now existing or hereafter incurred under, or arising out of or in connection
                                                       -6-

      CG&R DRAFT: 12/15/10 4:00 PM                                              #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                               Pg 496 of 771



249   with, any Secured Hedge Agreement (including all such obligations and indebtedness under any
250   guarantee of any such Secured Hedge Agreement to which the Borrower or any other Grantor is
251   a party) and (ii) all performance and compliance obligations by the Borrower or any other Gran-
252   tor under any Secured Hedge Agreement.

253                 “Secured Parties” means (a) the Credit Agreement Secured Parties, (b) the Senior
254   Secured Notes Secured Parties and (c) the Additional Secured Parties.

255                   “Security Documents” means (a) the Credit Agreement Collateral Agreement and
256   the other Security Documents (as defined in the Credit Agreement), (b) each of the Senior Se-
257   cured Notes Security Documents entered into in favor of the Senior Secured Notes Collateral
258   Agent for the purpose of securing the Senior Secured Notes Obligations and (c) any other
259   agreement entered into in favor of the Collateral Agent of any other Class for the purpose of se-
260   curing the First Lien Obligations of such Class.

261                  “Senior Secured Notes” has the meaning assigned to such term in the definition
262   of “Senior Secured Notes Indenture.”

263                 “Senior Secured Notes Collateral Agent” has the meaning assigned to such term
264   in the preamble hereto.

265                   “Senior Secured Notes Documents” means the Senior Secured Notes Indenture,
266   the Senior Secured Notes Security Documents and all other instruments, agreements and other
267   documents evidencing or governing the Senior Secured Notes Obligations or providing any
268   Guarantee (as defined in the Senior Secured Notes Indenture), Lien (including any mortgage) or
269   other right in respect thereof.

270                  “Senior Secured Notes Indenture” means that certain Indenture, dated as of De-
271   cember 1, 2010, among the Borrower (as successor to AMO Escrow Corporation), the other
272   Grantors party thereto, as guarantors, the Senior Secured Notes Trustee and the Senior Secured
273   Notes Collateral Agent, governing the Borrower’s 11.50% Senior Secured Notes due 2017 (the
274   “Senior Secured Notes”).

275                 “Senior Secured Notes Obligations” means all “Obligations” (as defined in the
276   Senior Secured Notes Indenture) under the Senior Secured Notes Indenture and the Senior Se-
277   cured Notes.

278                 “Senior Secured Notes Secured Parties” means the Senior Secured Notes Trustee,
279   the Senior Secured Notes Collateral Agent and the holders of the Senior Secured Notes Obliga-
280   tions.

281                 “Senior Secured Notes Security Documents” has the meaning assigned to the term
282   “Security Documents” in the Senior Secured Notes Indenture.

283                   “Series”, when used in reference to Additional First Lien Obligations, refers to
284   such Additional First Lien Obligations as shall have been issued or incurred pursuant to the same
285   indentures or other agreements and with respect to which the same Person acts as the Additional
286   Collateral Agent.
                                                     -7-

      CG&R DRAFT: 12/15/10 4:00 PM                                           #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                               Pg 497 of 771



287                   “Shared Collateral” means, at any time, Collateral on which Collateral Agents or
288   Secured Parties of any two or more Classes have at such time a valid and perfected Lien (includ-
289   ing as a result of the agreements set forth in Section 4.01). If First Lien Obligations of more than
290   two Classes are outstanding at any time, then any Collateral shall constitute Shared Collateral
291   with respect to First Lien Obligations of any Class only if the Collateral Agent or Secured Parties
292   of such Class have at such time a valid and perfected Lien on such Collateral.

293                    “Subsidiary” means, with respect to any Person (the “parent”) at any date, any
294   corporation, limited liability company, partnership, association or other entity of which securities
295   or other ownership interests representing more than 50% of the equity or more than 50% of the
296   ordinary voting power or, in the case of a partnership, more than 50% of the general partnership
297   interests are, as of such date, owned, controlled or held by the parent or one or more subsidiaries
298   of the parent or by the parent and one or more subsidiaries of the parent.. Unless otherwise spe-
299   cified, all references herein to a “Subsidiary” or to “Subsidiaries” shall refer to a Subsidiary or
300   Subsidiaries of the Borrower.

301                  “Uniform Commercial Code” means the Uniform Commercial Code as in effect
302   from time to time in the applicable jurisdiction.

303                    SECTION 1.02. Terms Generally. The definitions of terms herein shall apply
304   equally to the singular and plural forms of the terms defined. Whenever the context may require,
305   any pronoun shall include the corresponding masculine, feminine and neuter forms. The words
306   “include”, “includes” and “including” shall be deemed to be followed by the phrase “without li-
307   mitation”. The word “will” shall be construed to have the same meaning and effect as the word
308   “shall”. Unless the context requires otherwise, (a) any definition of or reference to any agree-
309   ment, instrument, other document, statute or regulation herein shall be construed as referring to
310   such agreement, instrument, other document, statute or regulation as from time to time amended,
311   supplemented or otherwise modified, (b) any reference herein to any Person shall be construed to
312   include such Person’s successors and assigns, but shall not be deemed to include the subsidiaries
313   of such Person unless express reference is made to such subsidiaries, (c) the words “herein”, “he-
314   reof and “hereunder”, and words of similar import, shall be construed to refer to this Agreement
315   in its entirety and not to any particular provision hereof, (d) all references herein to Articles, Sec-
316   tions and Exhibits shall be construed to refer to Articles, and Sections of, and Exhibits to, this
317   Agreement and (e) the words “asset” and “property” shall be construed to have the same mean-
318   ing and effect and to refer to any and all tangible and intangible assets and properties, including
319   cash, securities, accounts and contract rights.

320                 SECTION 1.03. Concerning the Credit Agreement Collateral Agent, the Senior
321   Secured Notes Collateral Agent and Each Additional Collateral Agent.

322                    (a)     Each acknowledgement, agreement, consent and waiver (whether express
323   or implied) in this Agreement made by the Credit Agreement Collateral Agent, whether on be-
324   half of itself or any of its Related Secured Parties, is made in reliance on the authority granted to
325   the Credit Agreement Collateral Agent pursuant to the authorization thereof under the Credit
326   Agreement. It is understood and agreed that the Credit Agreement Collateral Agent shall not be
327   responsible for or have any duty to ascertain or inquire into whether any of its Related Secured
328   Parties is in compliance with the terms of this Agreement, and no party hereto or any other Se-

                                                        -8-

      CG&R DRAFT: 12/15/10 4:00 PM                                               #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                               Pg 498 of 771



329   cured Party shall have any right of action whatsoever against the Credit Agreement Collateral
330   Agent for any failure of any of its Related Secured Parties to comply with the terms hereof or for
331   any of its Related Secured Parties taking any action contrary to the terms hereof.

332                   (b)    Each acknowledgement, agreement, consent and waiver (whether express
333   or implied) in this Agreement made by either the Senior Secured Notes Trustee or the Senior Se-
334   cured Notes Collateral Agent, as applicable, whether on behalf of itself or any of its Related Se-
335   cured Parties, is made in reliance on the authority granted to the Senior Secured Notes Trustee or
336   the Senior Secured Notes Collateral Agent, as applicable, pursuant to the authorization thereof
337   under the Senior Secured Notes Indenture. It is understood and agreed that neither the Senior
338   Secured Notes Trustee nor the Senior Secured Notes Collateral Agent shall be responsible for or
339   have any duty to ascertain or inquire into whether any of its Related Secured Parties is in com-
340   pliance with the terms of this Agreement, and no party hereto or any other Secured Party shall
341   have any right of action whatsoever against the Senior Secured Notes Collateral Agent or the Se-
342   nior Secured Notes Trustee for any failure of any of its Related Secured Parties to comply with
343   the terms hereof or for any of its Related Secured Parties taking any action contrary to the terms
344   hereof.

345                    (c)     Each acknowledgement, agreement, consent and waiver (whether express
346   or implied) in this Agreement made by any Additional Collateral Agent, whether on behalf of
347   itself or any of its Related Secured Parties, is made in reliance on the authority granted to such
348   Additional Collateral Agent pursuant to the authorization thereof under the Additional First Lien
349   Obligations Documents relating to such Class of First Lien Obligations. It is understood and
350   agreed that no Additional Collateral Agent shall be responsible for or have any duty to ascertain
351   or inquire into whether any of its Related Secured Parties is in compliance with the terms of this
352   Agreement, and no party hereto or any other Secured Party shall have any right of action what-
353   soever against the Additional Collateral Agent for any failure of any of its Related Secured Par-
354   ties to comply with the terms hereof or for any of its Related Secured Parties taking any action
355   contrary to the terms hereof.

356                                             ARTICLE II
357
358                                       Lien Priorities; Proceeds

359                   SECTION 2.01. Relative Priorities.

360                    (a)     Notwithstanding the date, time, method, manner or order of grant, attach-
361   ment or perfection of any Lien on any Shared Collateral securing any First Lien Obligation, and
362   notwithstanding any provision of the Uniform Commercial Code of any jurisdiction, any other
363   applicable law or any Secured Credit Document, or any other circumstance whatsoever (but, in
364   each case, subject to Section 2.01(b) and Section 2.02), the Agent, the Senior Secured Notes
365   Trustee and each Collateral Agent, for itself and on behalf of its Related Secured Parties, agree
366   that valid and perfected Liens on any Shared Collateral securing First Lien Obligations of any
367   Class shall be of equal priority; provided that the Priority Payment Lien Obligations will have
368   priority as set forth below to the Proceeds of or other payments or distributions on Shared Colla-
369   teral upon a foreclosure or in an Insolvency or Liquidation Proceeding including without limita-
370   tion all adequate protection payments made in any Insolvency or Liquidation Proceeding in re-

                                                      -9-

      CG&R DRAFT: 12/15/10 4:00 PM                                            #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                               Pg 499 of 771



371   spect of the Shared Collateral and will be repaid in full prior to the repayment of the Senior Se-
372   cured Notes and any Additional Pari Passu Lien Indebtedness.

373                   (b)     The Agent, the Senior Secured Notes Trustee and each Collateral Agent,
374   for itself and on behalf of its Related Secured Parties, agree that, notwithstanding (x) any provi-
375   sion of any Secured Credit Document to the contrary (but subject to Section 2.02) and (y) the
376   date, time, method, manner or order of grant, attachment or perfection of any Lien on any Shared
377   Collateral securing any First Lien Obligation, and notwithstanding any provision of the Uniform
378   Commercial Code of any jurisdiction, any other applicable law or any Secured Credit Document,
379   or any other circumstance whatsoever (but, in each case, subject to Section 2.02), if (i) an Event
380   of Default shall have occurred and is continuing and the Agent, the Senior Secured Notes Trustee
381   or such Collateral Agent or any of its Related Secured Parties is taking any action to enforce
382   rights or exercise remedies in respect of any Shared Collateral (including any such action re-
383   ferred to in Section 3.01(a)), (ii) any distribution, payment, compromise or settlement of any
384   kind (under a confirmed plan of reorganization or otherwise) is made in respect of any Shared
385   Collateral in any Insolvency or Liquidation Proceeding of the Borrower or any other Grantor or
386   (iii) the Agent, the Senior Secured Notes Trustee or such Collateral Agent or any of its Related
387   Secured Parties receives any payment with respect to any Shared Collateral pursuant to any in-
388   tercreditor agreement (other than this Agreement), then the cash and non-cash payments distribu-
389   tions or the proceeds of any sale, collection or other liquidation of any Shared Collateral obtained
390   by the Agent, the Senior Secured Notes Trustee or such Collateral Agent or any of its Related
391   Secured Parties on account of such enforcement of rights or exercise of remedies, and any such
392   cash or non-cash distributions or payments received by the Agent, the Senior Secured Notes
393   Trustee or such Collateral Agent or any of its Related Secured Parties (all such cash or non-cash
394   proceeds, distributions and payments being collectively referred to as “Proceeds”), shall be ap-
395   plied as follows:

396                  (i)     FIRST, to (A) to the payment of all amounts owing to the Credit Agree-
397           ment Collateral Agent or the Agent for the Priority Payment Lien Obligations (in their re-
398           spective capacities as such) pursuant to the terms of any Credit Agreement Documents,

399                   (B)    in the case of any such enforcement of rights or exercise of remedies, to
400           the payment of all costs and expenses incurred by the Credit Agreement Collateral Agent
401           or the Agent in connection therewith, and

402                  (C)      in the case of any such payment pursuant to this Agreement, to the pay-
403           ment of all costs and expenses incurred by the Credit Agreement Collateral Agent or the
404           Agent for the Priority Payment Lien Obligations or any of its Related Secured Parties in
405           enforcing its rights hereunder to obtain such payment;

406                    (ii)   SECOND, to the payment in full of any Priority Payment Lien Obligations
407           (including, for the avoidance of doubt, an amount equal to the post-petition interest, fees,
408           costs, and charges that would otherwise have accrued thereon under the terms of, and at
409           the rates specified in, the Credit Agreement either (i) had the Borrower not been the sub-
410           ject of an Insolvency or Liquidation Proceeding or (ii) had the claims under the Credit
411           Agreement been separately classified from those under the Senior Secured Notes Obliga-
412           tions in any Insolvency or Liquidation Proceeding (regardless of whether any such claims

                                                      -10-

      CG&R DRAFT: 12/15/10 4:00 PM                                             #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                               Pg 500 of 771



413           may not be allowed in whole or in part as against the Borrower or the other Grantors or
414           the Shared Collateral in the respective Insolvency or Liquidation Proceeding pursuant to
415           Section 506(b) of the Bankruptcy Code or otherwise) and the termination of any com-
416           mitments under the Credit Agreement;

417                    (iii) THIRD (A) to the payment of all amounts owing to such Collateral Agent
418           (in its capacity as such) or any trustee for such First Lien Obligations pursuant to the
419           terms of any Related Secured Credit Document in respect of the Senior Secured Notes
420           Obligations or any Additional First Lien Obligations,

421                  (B)     in the case of any such enforcement of rights or exercise of remedies, to
422           the payment of all costs and expenses incurred by such Collateral Agent, any trustee for
423           such First Lien Obligations or any of their Related Secured Parties in respect of the Se-
424           nior Secured Notes Obligations or any Additional First Lien Obligations in connection
425           therewith, and

426                   (C)    in the case of any such payment pursuant to this Agreement, to the pay-
427           ment of all costs and expenses incurred by such Collateral Agent, any trustee for such
428           First Lien Obligations or any their Related Secured Parties in enforcing its rights the-
429           reunder to obtain such payment.

430                    (iv)   FOURTH, to the payment in full of all other First Lien Obligations of each
431           Class secured by a valid and perfected Lien on such Shared Collateral at the time due and
432           payable (the amounts so applied to be distributed, as among such Classes of First Lien
433           Obligations, ratably in accordance with the amounts of the First Lien Obligations of each
434           such Class on the date of such application); provided that amounts applied under this
435           clause FOURTH during any period when the First Lien Obligations of any such Class
436           shall not be due and payable in full shall be allocated to the First Lien Obligations of such
437           Class as if such First Lien Obligations were at the time due and payable in full, and any
438           amounts allocated to the payment of the First Lien Obligations of such Class that are not
439           yet due and payable shall be transferred to, and held by, the Collateral Agent of such
440           Class solely as collateral for the First Lien Obligations of such Class (and shall not con-
441           stitute Shared Collateral for purposes hereof) until the date on which the First Lien Obli-
442           gations of such Class shall have become due and payable in full (at which time such
443           amounts shall be applied to the payment thereof); and

444                   (v)    FIFTH, after payment in full of all the First Lien Obligations, to the hold-
445           ers of any junior Liens on the Shared Collateral and thereafter to the Borrower and the
446           other Grantors or their successors or assigns, as their interests may appear, or as a court
447           of competent jurisdiction may direct.

448                    (c)    The parties to this Agreement (including the Borrower and the Grantors)
449   shall irrevocably agree that this Agreement (including the provisions described in Sec-
450   tion 2.01(b)) constitutes a “subordination agreement” within the meaning of both New York law
451   and Section 510(a) of the Bankruptcy Code, and that the terms hereof will survive, and will con-
452   tinue in full force and effect and be binding upon each of the parties hereto, in any Insolvency or
453   Liquidation Proceeding.

                                                      -11-

      CG&R DRAFT: 12/15/10 4:00 PM                                              #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                               Pg 501 of 771



454                    (d)     To further effectuate the intent, understanding, and agreement of the
455   Agent on the one hand, and the Senior Secured Notes Trustee and its Related Secured Parties, on
456   the other, if, as is contemplated, it is held (in the context of a confirmed plan of reorganization or
457   otherwise) that the claims against the Borrower or any Grantor under the Credit Agreement, the
458   Senior Secured Notes Obligation or any Additional Pari Passu Lien Indebtedness in respect of
459   the Shared Collateral constitute only one secured claim (rather than separate classes of senior and
460   junior claims), then the Senior Secured Notes Trustee, the Senior Secured Notes Collateral Agent
461   and, by virtue of accepting the Senior Secured Notes, their Related Secured Parties, expressly
462   acknowledge and agree that all distributions, payments, compromises, or settlements of any kind
463   (under a confirmed plan of reorganization or otherwise) made in respect of any Shared Collateral
464   in any Insolvency or Liquidation Proceeding of the Borrower or otherwise shall be deemed for
465   all purposes with respect to this Agreement and such Insolvency or Liquidation Proceedings to
466   have been made as if there were separate classes of senior and junior secured claims against the
467   Borrower in respect of the Shared Collateral, with the effect being that (and the Senior Secured
468   Notes Trustee and its Related Secured Parties expressly acknowledge and agree) the Agent for
469   the Priority Payment Lien Obligations (on behalf of itself and holders of Priority Payment Lien
470   Obligations) shall be entitled to and shall receive from the Shared Collateral, in addition to
471   amounts distributed to them in respect of principal, pre-petition interest, and other claims, the
472   amount of interest, fees, costs, and charges that would otherwise have accrued post-petition un-
473   der the terms of, and at the rates specified in, the Credit Agreement as against the Borrower or
474   with respect to the Shared Collateral either (i) had the Borrower not been the subject of an Insol-
475   vency or Liquidation Proceeding or (ii) had the claims under the Credit Agreement been sepa-
476   rately classified from the Senior Secured Notes Obligations in any Insolvency or Liquidation
477   Proceeding (regardless of whether any such claims may or may not be allowed or allowable in
478   whole or in part as against the Borrower or the Shared Collateral in the respective Insolvency or
479   Liquidation Proceeding pursuant to Section 506(b) of the Bankruptcy Code or otherwise), before
480   any distribution is or may be made in respect of the claims relating to the Shared Collateral or the
481   Liens thereon securing the Senior Secured Notes held by the Senior Secured Notes Collateral
482   Agent, on behalf of its Related Secured Parties, with the Senior Secured Notes Trustee, the Se-
483   nior Secured Notes Collateral Agent and, by virtue of accepting the Senior Secured Notes, its
484   Related Secured Parties, further expressly acknowledging and agreeing to either turn over to, or
485   direct the Borrower and the Grantors to pay directly to, the holders of the Priority Payment Lien
486   Obligations all amounts otherwise received or receivable by them from the Shared Collateral or
487   in respect of the Liens thereon securing the Senior Secured Notes to the extent needed to effec-
488   tuate the intent of this provision to ensure that the Priority Payment Lien Obligations (including,
489   for the avoidance of doubt, those related to the post-petition interest, fees, costs, and charges that
490   would otherwise have accrued thereon under the terms of, and at the rates specified in, the Credit
491   Agreement either (i) had the Borrower not been the subject of an Insolvency or Liquidation Pro-
492   ceeding or (ii) had the claims under the Credit Agreement been separately classified from the
493   Senior Secured Notes Obligations in any Insolvency or Liquidation Proceeding (regardless of
494   whether such claims may or may not be allowed or allowable in whole or in part as against the
495   Borrower or the Shared Collateral in the respective Insolvency or Liquidation Proceeding pur-
496   suant to Section 506(b) of the Bankruptcy Code or otherwise) are paid in full, even if such turno-
497   ver of amounts has the effect of reducing the amount of the recovery and/or claims of the Senior
498   Secured Notes Secured Parties.


                                                      -12-

      CG&R DRAFT: 12/15/10 4:00 PM                                              #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                               Pg 502 of 771



499                   SECTION 2.02. Impairments. It is the intention of the parties hereto that the Se-
500   cured Parties of any given Class of Pari Passu Lien Indebtedness (other than the Senior Secured
501   Notes Trustee, the Senior Secured Notes Collateral Agent or any Collateral Agent with respect to
502   Additional First Lien Obligations, in each case solely with respect to any amount owed to them
503   in their respective capacity as such, and not the Secured Parties of any other Class of Pari Passu
504   Lien Indebtedness) bear the risk of any determination by a court of competent jurisdiction that (i)
505   any First Lien Obligations of such Class of Pari Passu Lien Indebtedness are unenforceable un-
506   der applicable law or are subordinated to any other obligations (other than to any Pari Passu Lien
507   Indebtedness), (ii) the Secured Parties of such Class of Pari Passu Lien Indebtedness do not have
508   a valid and perfected Lien on any of the Collateral securing any First Lien Obligations of any
509   other Class of Pari Passu Lien Indebtedness and/or (iii) any Person (other than any Collateral
510   Agent or Secured Party) has a Lien on any Shared Collateral that is senior in priority to the Lien
511   on such Shared Collateral securing First Lien Obligations of such Class of Pari Passu Lien In-
512   debtedness, but junior to the Lien on such Shared Collateral securing any other class of Priority
513   Payment Lien Obligations or Pari Passu Lien Indebtedness (any such Lien being referred to as an
514   “Intervening Lien”, and any such Person being referred to as an “Intervening Creditor”) (any
515   condition with respect to First Lien Obligations of such Class of Pari Passu Lien Indebtedness
516   being referred to as an “Impairment” of such Class). In the event an Impairment exists with re-
517   spect to First Lien Obligations of any Class of Pari Passu Lien Indebtedness, the results of such
518   Impairment shall be borne solely by the Secured Parties of such Class of Pari Passu Lien Indeb-
519   tedness (other than the Senior Secured Notes Trustee, the Senior Secured Notes Collateral Agent
520   or any Collateral Agent with respect to Additional First Lien Obligations, in each case solely
521   with respect to any amount owed to them in their respective capacity as such, and not the Se-
522   cured Parties of any other Class of Pari Passu Lien Indebtedness), and the rights of the Secured
523   Parties of such Class of Pari Passu Lien Indebtedness (including the right to receive distributions
524   in respect of First Lien Obligations of such Class of Pari Passu Lien Indebtedness pursuant to
525   Section 2.01(b)) (except for the rights of the Senior Secured Notes Trustee, the Senior Secured
526   Notes Collateral Agent or any Collateral Agent with respect to Additional First Lien Obligations,
527   in each case solely with respect to any amount owed to them in their respective capacity as such,
528   and not the Secured Parties of any other Class of Pari Passu Lien Indebtedness) set forth herein
529   shall be modified to the extent necessary so that the results of such Impairment are borne solely
530   by the Secured Parties of such Class (other than the Senior Secured Notes Trustee, the Senior
531   Secured Notes Collateral Agent or any Collateral Agent with respect to Additional First Lien Ob-
532   ligations, in each case solely with respect to any amount owed to them in their respective capaci-
533   ty as such). In furtherance of the foregoing, in the event First Lien Obligations of any Class of
534   Pari Passu Lien Indebtedness shall be subject to an Impairment in the form of an Intervening
535   Lien of any Intervening Creditor, the value of any Shared Collateral or Proceeds that are allo-
536   cated to such Intervening Creditor shall be deducted solely from the Shared Collateral or
537   Proceeds to be distributed in respect of First Lien Obligations of such Class.

538                    SECTION 2.03. Payment Over. The Agent, the Senior Secured Notes Trustee
539   and each Collateral Agent, on behalf of itself and its Related Secured Parties, agrees that if the
540   Agent, the Senior Secured Notes Trustee or such Collateral Agent or any of its Related Secured
541   Parties shall at any time obtain possession of any Shared Collateral or receive any Proceeds (oth-
542   er than as a result of any application of Proceeds pursuant to Section 2.01(b)), (i) the Agent, the
543   Senior Secured Notes Trustee or such Collateral Agent or its Related Secured Party, as the case
544   may be, shall promptly inform each other Collateral Agent thereof, (ii) the Agent, the Senior Se-
                                                     -13-

      CG&R DRAFT: 12/15/10 4:00 PM                                            #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                               Pg 503 of 771



545   cured Notes Trustee or such Collateral Agent or its Related Secured Party shall hold such Shared
546   Collateral or Proceeds in trust for the benefit of the Secured Parties of any Class entitled thereto
547   pursuant to Section 2.01(b) and, with respect to any Shared Collateral constituting Controlled
548   Shared Collateral, such Collateral Agent shall comply with the provisions of Section 4.01 and
549   (iii) in the case of any such Proceeds, such Proceeds shall be applied in accordance with Section
550   2.01(b) as promptly as practicable.

551                   SECTION 2.04. Determinations with Respect to Amounts of Obligations and
552   Liens. Whenever the Agent, the Senior Secured Notes Trustee or the Collateral Agent of any
553   Class shall be required, in connection with the exercise of its rights or the performance of its ob-
554   ligations hereunder, to determine the existence or amount of any First Lien Obligations of any
555   other Class, or the Shared Collateral subject to any Lien securing the First Lien Obligations of
556   any other Class (and whether such Lien constitutes a valid and perfected Lien), it may request
557   that such information be furnished to it in writing by the Agent, the Senior Secured Notes Trus-
558   tee or the Collateral Agent of such other Class and shall be entitled to make such determination
559   on the basis of the information so furnished; provided that if, notwithstanding the request of the
560   Collateral Agent of such Class, the Agent, the Senior Secured Notes Trustee or the Collateral
561   Agent of such other Class shall fail or refuse reasonably promptly to provide the requested in-
562   formation, the Collateral Agent of such Class shall be entitled to conclusively rely upon a certifi-
563   cate of an Authorized Officer of the Borrower. The Agent, the Senior Secured Notes Trustee and
564   each Collateral Agent may rely conclusively, and shall be fully protected in so relying, on any
565   determination made by it in accordance with the provisions of the preceding sentence (or as oth-
566   erwise directed by a court of competent jurisdiction) and shall have no liability to any Grantor,
567   any Secured Party or any other Person as a result of such determination or any action taken or
568   not taken pursuant thereto.

569                                              ARTICLE III
570
571                       Rights and Remedies; Matters Relating to Shared Collateral

572                   SECTION 3.01. Exercise of Rights and Remedies.

573                   (a)     Subject to paragraph (b) of this Section and Section 4.01(a), nothing in
574   this Agreement shall affect the ability of the Agent, the Senior Secured Notes Trustee and any
575   Collateral Agent or any of its Related Secured Parties (i) to enforce any rights and exercise any
576   remedies with respect to any Shared Collateral available under any Related Secured Credit Doc-
577   uments or applicable law, including any right of set-off and any determinations regarding the re-
578   lease of Liens on, or any sale, transfer or other disposition of, any Shared Collateral, or any other
579   rights or remedies available to a secured creditor under the Uniform Commercial Code of any
580   jurisdiction, the Bankruptcy Code or any other Bankruptcy Law, or (ii) to commence any action
581   or proceeding with respect to such rights or remedies (including any foreclosure action or pro-
582   ceeding or any Insolvency or Liquidation Proceeding). Subject to paragraph (b) of this Section
583   and Section 4.01(a), any such exercise of rights and remedies by the Agent, the Senior Secured
584   Notes Trustee and any Collateral Agent or any of its Related Secured Parties may be made in
585   such order and in such manner as the Agent, the Senior Secured Notes Trustee and such Colla-
586   teral Agent or its Related Secured Parties may, subject to the provisions of their Related Secured
587   Credit Documents, determine in their sole discretion.

                                                      -14-

      CG&R DRAFT: 12/15/10 4:00 PM                                              #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                               Pg 504 of 771



588                   (b)     Notwithstanding paragraph (a) of this Section:

589                   (i)    the Agent, the Senior Secured Notes Trustee and each Collateral Agent
590           and its Related Secured Parties shall remain subject to, and bound by, all covenants or
591           agreements made herein by or on behalf of the Agent, the Senior Secured Notes Trustee
592           or such Collateral Agent or its Related Secured Parties;

593                   (ii)    the Agent, the Senior Secured Notes Trustee and each Collateral Agent
594           agrees, on behalf of itself and its Related Secured Parties, that, prior to the commence-
595           ment of any enforcement of rights or any exercise of remedies with respect to any Shared
596           Collateral by the Agent, the Senior Secured Notes Trustee or such Collateral Agent or
597           any of its Related Secured Parties, the Agent, the Senior Secured Notes Trustee and such
598           Collateral Agent or its Related Secured Party, as the case may be, shall provide prior
599           written notice thereof to each other Collateral Agent, such notice to be provided as far in
600           advance of such commencement as reasonably practicable, and shall consult with each
601           other Collateral Agent on a regular basis in connection with such enforcement or exer-
602           cise; and

603                   (iii) the Agent, the Senior Secured Notes Trustee and each Collateral Agent
604           agrees, on behalf of itself and its Related Secured Parties, that such Collateral Agent and
605           its Related Secured Parties shall cooperate in a commercially reasonable manner with
606           each other Collateral Agent and its Related Secured Parties in any enforcement of rights
607           or any exercise of remedies with respect to any Shared Collateral.

608                   SECTION 3.02. Prohibition on Contesting Liens. Each of the Agent, the Senior
609   Secured Notes Trustee and each Collateral Agent agrees, on behalf of itself and its Related Se-
610   cured Parties, that neither such Collateral Agent nor any of its Related Secured Parties will, and
611   each hereby waives any right to, contest or support any other Person in contesting, in any pro-
612   ceeding (including any Insolvency or Liquidation Proceeding), the perfection, priority, validity,
613   attachment or enforceability of a Lien held by or on behalf of any other Collateral Agent or any
614   of its Related Secured Parties in all or any part of the Shared Collateral; provided that nothing in
615   this Agreement shall be construed to prevent or impair the rights of any Collateral Agent or any
616   of its Related Secured Parties to enforce this Agreement.

617                   SECTION 3.03. Prohibition on Challenging this Agreement. Each of the Agent,
618   the Senior Secured Notes Trustee and each Collateral Agent agrees, on behalf of itself and its
619   Related Secured Parties, that neither such Collateral Agent nor any of its Related Secured Parties
620   will attempt, directly or indirectly, whether by judicial proceedings or otherwise, to challenge the
621   enforceability of any provision of this Agreement; provided that nothing in this Agreement shall
622   be construed to prevent or impair the rights of any Collateral Agent or any of its Related Secured
623   Parties to enforce this Agreement.

624                   SECTION 3.04. Release of Liens. The parties hereto agree and acknowledge
625   that the release of Liens on any Shared Collateral securing First Lien Obligations of any Class,
626   whether in connection with a sale, transfer or other disposition of such Shared Collateral or oth-
627   erwise, shall be governed by and subject to the Secured Credit Documents of such Class, and that


                                                      -15-

      CG&R DRAFT: 12/15/10 4:00 PM                                              #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                               Pg 505 of 771



628   nothing in this Agreement shall be deemed to amend or affect the terms of the Secured Credit
629   Documents of such Class with respect thereto.

630                  SECTION 3.05. Insurance and Condemnation Awards. So long as the Discharge
631   of the Credit Agreement Obligations has not occurred, the Credit Agreement Collateral Agent
632   and its Related Secured Parties shall have the exclusive right, subject to the rights of the Grantors
633   under and solely to the extent provided in the Credit Agreement Documents, to settle and adjust
634   claims in respect of Shared Collateral under policies of insurance covering Shared Collateral and
635   to approve any award granted in any condemnation or similar proceeding, or any deed in lieu of
636   condemnation, in respect of the Shared Collateral; provided that any Proceeds arising therefrom
637   shall be subject to Article II.

638                                              ARTICLE IV
639
640                                                Collateral

641                   SECTION 4.01. Bailment for Perfection of Security Interests.

642                   (a)     Each Collateral Agent agrees that if it shall at any time hold a Lien on any
643   Shared Collateral that can be perfected by the possession or control of such Shared Collateral or
644   of any deposit, securities or other account in which such Shared Collateral is held, and if such
645   Shared Collateral or any such account is in fact in the possession or under the control of such
646   Collateral Agent, or of agents or bailees of such Collateral Agent (such Shared Collateral being
647   referred to herein as the “Controlled Shared Collateral”), such Collateral Agent shall, solely for
648   the purpose of perfecting the Liens of any other Collateral Agent granted on such Shared Colla-
649   teral under its Related Secured Credit Documents and subject to the terms and conditions of this
650   Article, also hold such Controlled Shared Collateral as gratuitous bailee and sub-agent for each
651   such other Collateral Agent (any Collateral Agent that shall be holding any Controlled Shared
652   Collateral as gratuitous bailee and sub-agent being referred to herein as the “Bailee Collateral
653   Agent”). In furtherance of the foregoing, each Collateral Agent appoints each Bailee Collateral
654   Agent as such Collateral Agent’s gratuitous bailee and sub-agent hereunder with respect to any
655   Controlled Shared Collateral that such Bailee Collateral Agent possesses or controls at any time
656   solely for the purpose of perfecting a Lien on such Controlled Shared Collateral. Notwithstand-
657   ing anything herein to the contrary, it is understood and agreed that as of the date hereof and so
658   long as the Discharge of Credit Agreement Obligations has not occurred, the Credit Agreement
659   Collateral Agent shall have the sole right to give any instructions, directions and entitlement or-
660   ders (including any blockage or withdrawal instructions) with respect to any deposit, securities or
661   other accounts, or any funds contained thereinto and to exercise any other remedies under any
662   control agreement entered into with respect to a deposit account, a securities account or any other
663   account (whether or not the Senior Secured Notes Collateral Agent is also a party thereto); pro-
664   vided that, any amounts withdrawn therefrom shall be subject to Article II. It is further unders-
665   tood and agreed that as of the date hereof and until such time as the Credit Agreement Obliga-
666   tions are Discharged, the Credit Agreement Collateral Agent shall be granted possession of all
667   possessory Controlled Shared Collateral and, thereafter, possession shall be determined by Sec-
668   tion 4.01(d).



                                                      -16-

      CG&R DRAFT: 12/15/10 4:00 PM                                              #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                               Pg 506 of 771



669                   (b)     In furtherance of the foregoing, each Grantor hereby grants a security in-
670   terest in the Controlled Shared Collateral to each Collateral Agent that possesses or controls
671   Controlled Shared Collateral as permitted in Section 4.01(a) for the benefit of the Secured Parties
672   under any other Class of First Lien Obligations which have been granted a Lien on the Con-
673   trolled Shared Collateral possessed or controlled by such Collateral Agent.

674                    (c)    Subject to Section 4.01(a), for purposes of this Section, the Bailee Colla-
675   teral Agent shall be entitled to deal with the applicable Controlled Shared Collateral in accor-
676   dance with the terms of its Related Secured Credit Documents as if the Liens thereon of the Col-
677   lateral Agent or Secured Parties of any other Class (and the agreements set forth in paragraph (a)
678   of this Section) did not exist; provided that any Proceeds arising from any such Controlled
679   Shared Collateral shall be subject to Article II. The obligations and responsibilities of any Bailee
680   Collateral Agent to any other Collateral Agent or any of its Related Secured Parties under this
681   Article shall be limited solely to holding or controlling the applicable Controlled Shared Colla-
682   teral as gratuitous bailee and sub-agent in accordance with this Article. Without limiting the
683   foregoing, (i) no Bailee Collateral Agent shall have any obligation or responsibility to ensure that
684   any Controlled Shared Collateral is genuine or owned by any of the Grantors, (ii) no Bailee Col-
685   lateral Agent shall, by reason of this Agreement, any other Security Document or any other doc-
686   ument, have a fiduciary relationship or other implied duties in respect of any other Collateral
687   Agent or any other Secured Party and (iii) without affecting the agreement of any Bailee Colla-
688   teral Agent to act as a gratuitous bailee and sub-agent solely for the purpose set forth in para-
689   graph (a) of this Section or the right of any other Collateral Agent to enforce the rights and exer-
690   cise the remedies (in each case other than through such Bailee Collateral Agent) as set forth in
691   Section 3.01 and subject to the proviso in Section 4.01(a), each Collateral Agent agrees that such
692   Collateral Agent shall not issue any instructions to any Bailee Collateral Agent, in its capacity as
693   a gratuitous bailee and sub-agent of such Collateral Agent, with respect to the Controlled Shared
694   Collateral or otherwise seek to exercise control over any Bailee Collateral Agent.

695                     (d)    The Bailee Collateral Agent of any Class shall, upon the Discharge of the
696   First Lien Obligations of such Class, transfer the possession and control of the applicable Con-
697   trolled Shared Collateral, together with any necessary endorsements but without recourse or war-
698   ranty, (i) if First Lien Obligations of any other Class are outstanding at such time, to the Colla-
699   teral Agent of such other Class (or, if First Lien Obligations of more than one other Class are
700   outstanding at such time, to the Collateral Agent of the same Class as the Class of the First Lien
701   Obligations the aggregate principal amount of which outstanding at such time exceeds the aggre-
702   gate principal amount of the First Lien Obligations of any other Class outstanding at such time)
703   and (ii) if no First Lien Obligations are outstanding at such time, to the applicable Grantor or as
704   directed by a court of competent jurisdiction, in each case so as to allow such Person to obtain
705   possession and control of such Controlled Shared Collateral. In connection with any transfer un-
706   der clause (i) above by any Bailee Collateral Agent, such Bailee Collateral Agent agrees to take
707   all actions in its power as shall be reasonably requested by the transferee Collateral Agent to
708   permit the transferee Collateral Agent to obtain, for the benefit of its Related Secured Parties, a
709   first priority security interest in the applicable Controlled Shared Collateral.

710                 SECTION 4.02. Delivery of Documents. Promptly after the execution and deli-
711   very to any Collateral Agent by any Grantor of any Security Document (other than (a) any Secu-
712   rity Document in effect on the date hereof and (b) any Additional First Lien Obligations Docu-
                                                     -17-

      CG&R DRAFT: 12/15/10 4:00 PM                                             #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                               Pg 507 of 771



713   ment referred to in paragraph (b) of Article VII, but including any amendment, amendment and
714   restatement, waiver or other modification of any such Security Document or Additional First
715   Lien Obligations Document), the Borrower shall deliver to each Collateral Agent party hereto at
716   such time a copy of such Security Document.

717                                               ARTICLE V
718
719                                            Other Agreements

720                   SECTION 5.01. Concerning Secured Credit Documents and Collateral.

721                    (a)   The Secured Credit Documents of any Class may be Amended, in whole
722   or in part, in accordance with their terms, in each case without notice to or the consent of the
723   Collateral Agent or any Secured Parties of any other Class; provided that nothing in this para-
724   graph shall affect any limitation on any such Amendment that is set forth in the Secured Credit
725   Documents of any such other Class.

726                   (b)    The Grantors agree that each Security Document (other than any Credit
727   Agreement Document executed and delivered prior to the date hereof, without limitation of the
728   applicability of this Agreement thereto) creating a Lien on any Shared Collateral securing any
729   First Lien Obligations (i) shall contain a legend substantially in the form of Annex I, or, prior to
730   the Discharge of Credit Agreement Obligations, similar provisions approved by the Credit
731   Agreement Collateral Agent, which approval shall not be unreasonably withheld, and (ii) shall
732   provide that all powers, rights and remedies under such Security Document with respect to
733   Shared Collateral may be exercised solely by the Collateral Agent of the applicable Class on be-
734   half of the Secured Parties of such Class in accordance with the terms thereof, and that no other
735   Secured Party of the applicable Class shall have any right individually to realize upon any of the
736   Liens on Shared Collateral granted thereunder to secure First Lien Obligations of such Class.

737                   SECTION 5.02. Refinancings. The First Lien Obligations of any Class may be
738   Refinanced, in whole or in part, in each case, without notice to, or the consent of the Collateral
739   Agent or Secured Party of any other Class, all without affecting the priorities provided for herein
740   (including, without limitation, the priority in right of payment of the Priority Payment Lien Obli-
741   gations) or the other provisions hereof; provided that nothing in this paragraph shall affect any
742   limitation on any such Refinancing that is set forth in the Secured Credit Documents of any such
743   other Class; and provided further that, if any obligations of the Grantors in respect of such Refi-
744   nancing indebtedness shall be secured by Liens on any Shared Collateral, such obligations and
745   the holders thereof shall be subject to and bound by the provisions of this Agreement and, if not
746   already, the collateral agent under such obligations shall become a party hereto by executing and
747   delivering a Collateral Agent Joinder Agreement.

748                  SECTION 5.03. Reinstatement. If, in any Insolvency or Liquidation Proceeding
749   or otherwise, all or part of any payment with respect to the First Lien Obligations of any Class
750   previously made shall be rescinded for any reason whatsoever (including an order or judgment
751   for disgorgement of a preference under the Bankruptcy Code, or any similar law), then the terms
752   and conditions of Article II shall be fully applicable thereto until all the First Lien Obligations of
753   such Class shall again have been paid in full in cash.

                                                       -18-

      CG&R DRAFT: 12/15/10 4:00 PM                                               #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                               Pg 508 of 771



754                  SECTION 5.04. Reorganization Modifications. In the event the First Lien Obli-
755   gations of any Class are modified pursuant to applicable law, including Section 1129 of the
756   Bankruptcy Code, any reference to the First Lien Obligations of such Class or the Secured Credit
757   Documents of such Class shall refer to such obligations or such documents as so modified.

758                  SECTION 5.05. Further Assurances. Each of the Collateral Agents and the
759   Grantors agrees that it will execute, or will cause to be executed, any and all further documents,
760   agreements and instruments, and take all such further actions, as may be required under any ap-
761   plicable law, or which any Collateral Agent may reasonably request in writing, to effectuate the
762   terms of this Agreement.

763                                              ARTICLE VI
764
765                                       No Reliance; No Liability

766                    SECTION 6.01. No Reliance; Information. Each Collateral Agent, for itself and
767   on behalf of its Related Secured Parties, acknowledges that (a) such Collateral Agent and its Re-
768   lated Secured Parties have, independently and without reliance upon any other Collateral Agent
769   or any of its Related Secured Parties, and based on such documents and information as they have
770   deemed appropriate, made their own decision to enter into the Secured Credit Documents to
771   which they are party and (b) such Collateral Agent and its Related Secured Parties will, indepen-
772   dently and without reliance upon any other Collateral Agent or any of its Related Secured Par-
773   ties, and based on such documents and information as they shall from time to time deem appro-
774   priate, continue to make their own decision in taking or not taking any action under this Agree-
775   ment or any other Secured Credit Document to which they are party. The Collateral Agent or
776   Secured Parties of any Class shall have no duty to disclose to any Collateral Agent or any Se-
777   cured Party of any other Class any information relating to the Borrower or any of the Subsidiar-
778   ies, or any other circumstance bearing upon the risk of nonpayment of any of the First Lien Obli-
779   gations, that is known or becomes known to any of them or any of their Affiliates. If the Colla-
780   teral Agent or any Secured Party of any Class, in its sole discretion, undertakes at any time or
781   from time to time to provide any such information to, as the case may be, the Collateral Agent or
782   any Secured Party of any other Class, it shall be under no obligation (i) to make, and shall not be
783   deemed to have made, any express or implied representation or warranty, including with respect
784   to the accuracy, completeness, truthfulness or validity of the information so provided, (ii) to pro-
785   vide any additional information or to provide any such information on any subsequent occasion
786   or (iii) to undertake any investigation.

787                   SECTION 6.02. No Warranties or Liability.

788                    (a)   Each Collateral Agent, for itself and on behalf of its Related Secured Par-
789   ties, acknowledges and agrees that no Collateral Agent or Secured Party of any other Class has
790   made any express or implied representation or warranty, including with respect to the execution,
791   validity, legality, completeness, collectability or enforceability of any of the Secured Credit
792   Documents, the ownership of any Shared Collateral or the perfection or priority of any Liens
793   thereon. The Collateral Agent and the Secured Parties of any Class will be entitled to manage
794   and supervise their loans and other extensions of credit in the manner determined by them. No
795   Collateral Agent shall, by reason of this Agreement, any other Security Document or any other

                                                      -19-

      CG&R DRAFT: 12/15/10 4:00 PM                                             #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                               Pg 509 of 771



796   document, have a fiduciary relationship or other implied duties in respect of any other Collateral
797   Agent or any other Secured Party.

798                  (b)     No Collateral Agent or Secured Parties of any Class shall have any ex-
799   press or implied duty to the Collateral Agent or any Secured Party of any other Class to act or
800   refrain from acting in a manner that allows, or results in, the occurrence or continuance of a de-
801   fault or an Event of Default under any Secured Credit Document (other than, in each case, this
802   Agreement), regardless of any knowledge thereof that they may have or be charged with.

803                                              ARTICLE VII
804
805                                    Additional First Lien Obligations

806                  The Borrower may from time to time, subject to any limitations contained in any
807   Secured Credit Documents in effect at such time, designate additional indebtedness and related
808   obligations that are, or are to be, secured by Liens on any assets of the Borrower or any of the
809   Grantors that would, if such Liens were granted, constitute Shared Collateral as Additional First
810   Lien Obligations by delivering to each Collateral Agent party hereto at such time a certificate of
811   an Authorized Officer of the Borrower:

812                   (a)     describing the indebtedness and other obligations being designated as Ad-
813           ditional First Lien Obligations, and including a statement of the maximum aggregate out-
814           standing principal amount of such indebtedness as of the date of such certificate;

815                   (b)      setting forth the Additional First Lien Obligations Documents under which
816           such Additional First Lien Obligations are issued or incurred or the Guarantees of or
817           Liens securing such Additional First Lien Obligations are, or are to be, granted or
818           created, and attaching copies of such Additional First Lien Obligations Documents as
819           each Grantor has executed and delivered to the Person that serves as the collateral agent,
820           collateral trustee or a similar representative for the holders of such Additional First Lien
821           Obligations (such Person being referred to as the “Additional Collateral Agent”) with re-
822           spect to such Additional First Lien Obligations on the closing date of such Additional
823           First Lien Obligations, certified as being true and complete by an Authorized Officer of
824           the Borrower;

825                   (c)     identifying the Person that serves as the Additional Collateral Agent;

826                   (d)     certifying that the incurrence of such Additional First Lien Obligations,
827           the creation of the Liens securing such Additional First Lien Obligations and the designa-
828           tion of such Additional First Lien Obligations as “Additional First Lien Obligations” he-
829           reunder do not violate or result in a default under any provision of any Secured Credit
830           Document of any Class in effect at such time;

831                  (e)     identifying such Additional First Lien Obligations as either Priority Pay-
832           ment Lien Obligations or Pari Passu Lien Indebtedness, and if identified as Priority Pay-
833           ment Lien Obligations, certifying that the designation of such Additional First Lien Obli-
834           gations as Priority Payment Lien Obligations does not violate or result in a default under
835           any provision of any Secured Credit Document of any Class in effect at such time;
                                                      -20-

      CG&R DRAFT: 12/15/10 4:00 PM                                             #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                               Pg 510 of 771



836                   (f)    certifying that the Additional First Lien Obligations Documents (A) meet
837           the requirements of Section 5.01(b) and (B) authorize the Additional Collateral Agent to
838           become a party hereto by executing and delivering a Collateral Agent Joinder Agreement
839           and provide that, upon such execution and delivery, such Additional First Lien Obliga-
840           tions and the holders thereof shall become subject to and bound by the provisions of this
841           Agreement; and

842                  (g)     attaching a fully completed Collateral Agent Joinder Agreement executed
843           and delivered by the Additional Collateral Agent.

844   Upon the delivery of such certificate and the related attachments as provided above and as so
845   long as the statements made therein are true and correct as of the date of such certificate, the ob-
846   ligations designated in such notice shall become Additional First Lien Obligations for all purpos-
847   es of this Agreement.

848                                              ARTICLE VIII
849
850                                              Miscellaneous

851                   SECTION 8.01. Notices. All notices and other communications provided for
852   herein shall be in writing and shall be delivered by hand or overnight courier service, mailed by
853   certified or registered mail or sent by facsimile, as follows:

854                   (a)      if to any Grantor, to it (or, in the case of any Grantor other than the Bor-
855           rower, to it in care of the Borrower) at American Media, Inc., 1000 American Media
856           Way, Boca Raton, Florida 22464-1000, Attention of Chief Financial Officer and General
857           Counsel (fax: (561) 989-1396) and [                  ] (fax: (561) 998-7470);

858                  (b)     if to the Credit Agreement Collateral Agent, to it at JPMorgan Chase
859           Bank, N.A., Loan and Agency Services Group, 1111 Fannin Street, Houston, Texas
860           77002, Attention of Gloria Javier (Telecopy No. (713) 750-2878), with a copy to JPMor-
861           gan Chase Bank, N.A., 270 Park Avenue, New York, New York 10017, Attention of Pe-
862           ter Thauer (Telecopy No. (212) 270-5127).

863                   (c)    if to the Senior Secured Notes Collateral Agent, to it at Wilmington Trust
864           FSB, 50 South Sixth Street, Suite 1290, Dropcode 7100, Minneapolis, MN 55402-1544,
865           (fax: (612) 217-5651; Attention: Corporate Client Services; and

866                  (d)     if to any Additional Collateral Agent, to it at the address set forth in the
867           applicable Collateral Agent Joinder Agreement.

868   Any party hereto may change its address or facsimile number for notices and other communica-
869   tions hereunder by notice to the other parties hereto. All notices and other communications giv-
870   en to any party hereto in accordance with the provisions of this Agreement shall be deemed to
871   have been given on the date of receipt (if a Business Day) and on the next Business Day thereaf-
872   ter (in all other cases) if delivered by hand or overnight courier service or sent by facsimile or on
873   the date five Business Days after dispatch by certified or registered mail if mailed, in each case
874   delivered, sent or mailed (properly addressed) to such party as provided in this Section or in ac-
                                                       -21-

      CG&R DRAFT: 12/15/10 4:00 PM                                               #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                               Pg 511 of 771



875   cordance with the latest unrevoked direction from such party given in accordance with this Sec-
876   tion. As agreed to in writing by any party hereto from time to time, notices and other communi-
877   cations to such party may also be delivered by e-mail to the e-mail address of a representative of
878   such party provided from time to time by such party.

879                   SECTION 8.02. Waivers; Amendment; Joinder Agreements.

880                   (a)     No failure or delay on the part of any party hereto in exercising any right
881   or power hereunder shall operate as a waiver thereof, nor shall any single or partial exercise of
882   any such right or power, or any abandonment or discontinuance of steps to enforce such a right
883   or power, preclude any other or further exercise thereof or the exercise of any other right or pow-
884   er. The rights and remedies of the parties hereto are cumulative and are not exclusive of any
885   rights or remedies that they would otherwise have. No waiver of any provision of this Agree-
886   ment or consent to any departure by any party therefrom shall in any event be effective unless
887   the same shall be permitted by paragraph (b) of this Section, and then such waiver or consent
888   shall be effective only in the specific instance and for the purpose for which given. No notice or
889   demand on any party hereto in any case shall entitle such party to any other or further notice or
890   demand in similar or other circumstances.

891                    (b)    Neither this Agreement nor any provision hereof may be waived, amended
892   or otherwise modified except as contemplated by the Secured Credit Documents and then pur-
893   suant to an agreement or agreements in writing entered into by each Collateral Agent then party
894   hereto; provided that no such agreement shall by its terms amend, modify or otherwise affect the
895   rights or obligations of any Grantor without the Borrower’s prior written consent; provided fur-
896   ther that (i) without the consent of any party hereto, (A) this Agreement may be supplemented by
897   a Collateral Agent Joinder Agreement, and an Additional Collateral Agent may become a party
898   hereto, in accordance with Article VII and (B) this Agreement may be supplemented by a Gran-
899   tor Joinder Agreement, and a Subsidiary may become a party hereto, in accordance with Section
900   8.12, and (ii) in connection with any Refinancing of First Lien Obligations of any Class, the Col-
901   lateral Agents then party hereto shall enter (and are hereby authorized to enter without the con-
902   sent of any other Secured Party), at the request of any Collateral Agent or the Borrower, into
903   such amendments or modifications of this Agreement as are reasonably necessary to reflect such
904   Refinancing and are reasonably satisfactory to each such Collateral Agent.

905                    SECTION 8.03. Parties in Interest. This Agreement shall be binding upon and
906   inure to the benefit of the parties hereto and their respective successors and assigns, as well as
907   the other Secured Parties, all of whom are intended to be bound by, and to be third party benefi-
908   ciaries of, this Agreement. No other Person shall have or be entitled to assert rights or benefits
909   hereunder.

910                  SECTION 8.04. Effectiveness; Survival. This Agreement shall become effective
911   when executed and delivered by the parties hereto. All covenants, agreements, representations
912   and warranties made by any party in this Agreement shall be considered to have been relied upon
913   by the other parties hereto and shall survive the execution and delivery of this Agreement. This
914   Agreement shall continue in full force and effect notwithstanding the commencement of any In-
915   solvency or Liquidation Proceeding against the Borrower or any of the Subsidiaries.


                                                     -22-

      CG&R DRAFT: 12/15/10 4:00 PM                                            #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                               Pg 512 of 771



916                   SECTION 8.05. Counterparts. This Agreement may be executed in counter-
917   parts, each of which shall constitute an original but all of which when taken together shall consti-
918   tute a single contract. Delivery of an executed signature page to this Agreement by facsimile or
919   other electronic transmission shall be as effective as delivery of a manually signed counterpart of
920   this Agreement.

921                    SECTION 8.06. Severability. Any provision of this Agreement held to be
922   invalid, illegal or unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to
923   the extent of such invalidity, illegality or unenforceability without affecting the validity, legality
924   and enforceability of the remaining provisions hereof; and the invalidity of a particular provision
925   in a particular jurisdiction shall not invalidate such provision in any other jurisdiction. The par-
926   ties shall endeavor in good-faith negotiations to replace the invalid, illegal or unenforceable pro-
927   visions with valid provisions the economic effect of which comes as close as possible to that of
928   the invalid, illegal or unenforceable provisions.

929                   SECTION 8.07. Governing Law; Jurisdiction; Consent to Service of Process.

930                   (a)     This Agreement shall be construed in accordance with and governed by
931   the law of the State of New York.

932                    (b)    Each party hereto irrevocably and unconditionally submits, for itself and
933   its property, to the non-exclusive jurisdiction of the Supreme Court of the State of New York sit-
934   ting in the Borough of Manhattan, New York County and of the United States District Court of
935   the Southern District of New York sitting in the Borough of Manhattan, and any appellate court
936   from any thereof, in any action or proceeding arising out of or relating to this Agreement, or for
937   recognition or enforcement of any judgment, and each of the parties hereto hereby irrevocably
938   and unconditionally agrees that all claims in respect of any such action or proceeding may be
939   heard and determined in such New York State or, to the extent permitted by law, in such Federal
940   court. Each party hereto agrees that a final judgment in any such action or proceeding shall be
941   conclusive and may be enforced in other jurisdictions by suit on the judgment or in any other
942   manner provided by law. Nothing in this Agreement shall affect any right that any party hereto
943   or any Secured Party may otherwise have to bring any action or proceeding relating to this
944   Agreement against any party hereto or its properties in the courts of any jurisdiction.

945                   (c)     Each party hereto irrevocably and unconditionally waives, to the fullest
946   extent it may legally and effectively do so, any objection which it may now or hereafter have to
947   the laying of venue of any suit, action or proceeding arising out of or relating to this Agreement
948   in any court referred to in paragraph (b) of this Section. Each party hereto irrevocably waives, to
949   the fullest extent permitted by law, the defense of an inconvenient forum to the maintenance of
950   such action or proceeding in any such court.

951                  (d)     Each party hereto irrevocably consents to service of process in the manner
952   provided for notices in Section 8.01, such service to be effective upon receipt. Nothing in this
953   Agreement will affect the right of any party hereto or any Secured Party to serve process in any
954   other manner permitted by law.



                                                       -23-

      CG&R DRAFT: 12/15/10 4:00 PM                                               #1097705 v7 (11FV907_.DOC)
      10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                               Pg 513 of 771



955               SECTION 8.08. WAIVER OF JURY TRIAL. EACH PARTY HERETO
956   WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT
957   IT MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING DIRECTLY OR
958   INDIRECTLY ARISING OUT OF OR RELATING TO THIS AGREEMENT (WHETHER
959   BASED ON CONTRACT, TORT OR ANY OTHER THEORY). EACH PARTY HERETO
960   (A) CERTIFIES THAT NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER
961   PARTY HERETO HAS REPRESENTED, EXPRESSLY OR OTHERWISE, THAT SUCH
962   OTHER PARTY WOULD NOT, IN THE EVENT OF LITIGATION, SEEK TO ENFORCE
963   THE FOREGOING WAIVER AND (B) ACKNOWLEDGES THAT IT AND THE OTHER
964   PARTIES HERETO HAVE BEEN INDUCED TO ENTER INTO THIS AGREEMENT BY,
965   AMONG OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS IN THIS
966   SECTION.

967                    SECTION 8.09. Headings. Article and Section headings used herein are for
968   convenience of reference only, are not part of this Agreement and are not to affect the construc-
969   tion of, or to be taken into consideration in interpreting, this Agreement.

970                  SECTION 8.10. Conflicts. In the event of any conflict or inconsistency between
971   the provisions of this Agreement and the provisions of any other Secured Credit Documents, the
972   provisions of this Agreement shall control.

973                  SECTION 8.11. Provisions Solely to Define Relative Rights. The provisions of
974   this Agreement are and are intended solely for the purpose of defining the relative rights of the
975   Secured Parties in relation to one another. Except as expressly provided in this Agreement, none
976   of the Borrower, any other Grantor, any other Subsidiary or any other creditor of any of the fore-
977   going shall have any rights or obligations hereunder, and none of the Borrower, any other Gran-
978   tor or any other Subsidiary may rely on the terms hereof. Nothing in this Agreement is intended
979   to or shall impair the obligations of the Borrower or any other Grantor, which are absolute and
980   unconditional, to pay the First Lien Obligations as and when the same shall become due and
981   payable in accordance with their terms. For the avoidance of doubt, nothing contained herein
982   shall be construed to constitute a waiver or an amendment of any covenant of the Borrower or
983   any other Grantor contained in any Secured Credit Document, which restricts the incurrence of
984   any Indebtedness or the grant of any Lien.

985                   SECTION 8.12. Additional Grantors. In the event any Subsidiary shall have
986   granted a Lien on any of its assets to secure any First Lien Obligations, the Borrower shall cause
987   such Subsidiary, if not already a party hereto, to become a party hereto as a “Grantor”. Upon the
988   execution and delivery by any Subsidiary of a Grantor Joinder Agreement, any such Subsidiary
989   shall become a party hereto and a Grantor hereunder with the same force and effect as if original-
990   ly named as such herein. The execution and delivery of any such instrument shall not require the
991   consent of any other party hereto. The rights and obligations of each party hereto shall remain in
992   full force and effect notwithstanding the addition of any new Grantor as a party to this Agree-
993   ment.

994                   SECTION 8.13. Specific Performance. Each Collateral Agent, on behalf of it-
995   self and its Related Secured Parties, may demand specific performance of this Agreement. Each
996   Collateral Agent, on behalf of itself and its Related Secured Parties, hereby irrevocably waives

                                                     -24-

      CG&R DRAFT: 12/15/10 4:00 PM                                            #1097705 v7 (11FV907_.DOC)
       10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                                Pg 514 of 771



 997   any defense based on the adequacy of a remedy at law and any other defense that might be as-
 998   serted to bar the remedy of specific performance in any action which may be brought by the Se-
 999   cured Parties.

1000                   SECTION 8.14. Integration. This Agreement, together with the other Secured
1001   Credit Documents, represents the agreement of each of the Grantors and the Secured Parties with
1002   respect to the subject matter hereof and there are no promises, undertakings, representations or
1003   warranties by any Grantor, any Collateral Agent or any other Secured Party relative to the sub-
1004   ject matter hereof not expressly set forth or referred to herein or in the other Secured Credit Doc-
1005   uments.

1006

1007                                          [signature page follows]




                                                       -25-

       CG&R DRAFT: 12/15/10 4:00 PM                                             #1097705 v7 (11FV907_.DOC)
       10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                                Pg 515 of 771



1008                 IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
1009   duly executed by their respective authorized officers as of the day and year first above written.

1010                                                 JPMORGAN CHASE BANK, N.A., as
1011                                                 Credit Agreement Collateral Agent


1012                                                 By:
1013                                                       Name:
1014                                                       Title:


1015                                                 WILMINGTON TRUST FSB,
1016                                                 as Senior Secured Notes Trustee and Senior Se-
1017                                                 cured Notes Collateral Agent


1018                                                 By:
1019                                                       Name:
1020                                                       Title:


1021                                                 AMERICAN MEDIA, INC.


1022                                                 By:
1023                                                       Name:
1024                                                       Title:


1025




                                                      -26-

       CG&R DRAFT: 12/15/10 4:00 PM                                             #1097705 v7 (11FV907_.DOC)
       10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47    Main Document
                                                Pg 516 of 771

                                                                                         ANNEX I


1026                                  SECURITY DOCUMENTS LEGEND

1027              THIS [NAME OF SECURITY DOCUMENT] IS SUBJECT TO THE
1028   PROVISIONS OF THE FIRST LIEN INTERCREDITOR AGREEMENT DATED AS OF
1029   [        ], 2010 (AS AMENDED, SUPPLEMENTED OR OTHERWISE MODIFIED
1030   FROM TIME TO TIME), AMONG AMERICAN MEDIA, INC. (F/K/A AMERICAN
1031   MEDIA OPERATIONS, INC.), THE GRANTORS PARTY THERETO, J.P. MORGAN
1032   CHASE BANK, N.A., AS CREDIT AGREEMENT COLLATERAL AGENT,
1033   WILMINGTON TRUST FSB, AS SENIOR SECURED NOTES COLLATERAL AGENT
1034   AND SENIOR SECURED NOTES TRUSTEE, AND EACH ADDITIONAL
1035   COLLATERAL AGENT FROM TIME TO TIME PARTY THERETO.




                                                 Annex I-1

       CG&R DRAFT: 12/15/10 4:00 PM                                     #1097705 v7 (11FV907_.DOC)
       10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                                Pg 517 of 771



1036                                                                                             EXHIBIT I


1037                 [FORM OF] COLLATERAL AGENT JOINDER AGREEMENT NO. [ ] dated
1038   as of [           ], 20[ ] (the “Joinder Agreement”) to the FIRST LIEN INTERCREDITOR
1039   AGREEMENT dated as of [                  ], 2010 (the “First Lien Intercreditor Agreement”),
1040   among AMERICAN MEDIA, INC. (F/K/A AMERICAN MEDIA OPERATIONS, INC.), a De-
1041   laware corporation (the “Borrower”), the GRANTORS party thereto, JPMORGAN CHASE
1042   BANK, N.A., as the Credit Agreement Collateral Agent, WILMINGTON TRUST FSB, as the
1043   Senior Secured Notes Trustee and Senior Secured Notes Collateral Agent, and each
1044   ADDITIONAL COLLATERAL AGENT from time to time party thereto.

1045                 A.     Capitalized terms used herein but not otherwise defined herein shall have
1046   the meanings assigned to such terms in the Intercreditor Agreement.

1047                  B.      The Borrower proposes to issue or incur Additional First Lien Obligations
1048   and the Person identified in the signature pages hereto as the “Additional Collateral Agent” (the
1049   “Additional Collateral Agent”) will serve as the collateral agent, collateral trustee or a similar
1050   representative for the Additional Secured Parties. The Additional First Lien Obligations are be-
1051   ing designated as such by the Borrower in accordance with Article VII of the First Lien Intercre-
1052   ditor Agreement.

1053                   C.      The Additional Collateral Agent wishes to become a party to the First Lien
1054   Intercreditor Agreement and to acquire and undertake, for itself and on behalf of the Additional
1055   Secured Parties, the rights and obligations of an “Additional Collateral Agent” thereunder. The
1056   Additional Collateral Agent is entering into this Joinder Agreement in accordance with the pro-
1057   visions of the First Lien Intercreditor Agreement in order to become an Additional Collateral
1058   Agent thereunder.

1059                   Accordingly, the Additional Collateral Agent and the Borrower agree as follows,
1060   for the benefit of the Additional Collateral Agent, the Borrower and each other party to the First
1061   Lien Intercreditor Agreement:

1062                   SECTION 1. Accession to the Intercreditor Agreement. The Additional Colla-
1063   teral Agent (a) hereby accedes and becomes a party to the First Lien Intercreditor Agreement as
1064   an Additional Collateral Agent for the Additional Secured Parties from time to time in respect of
1065   the Additional First Lien Obligations, (b) agrees, for itself and on behalf of the Additional Se-
1066   cured Parties from time to time in respect of the Additional First Lien Obligations, to all the
1067   terms and provisions of the First Lien Intercreditor Agreement and (c) shall have all the rights
1068   and obligations of an Additional Collateral Agent under the First Lien Intercreditor Agreement.

1069                   SECTION 2. Representations, Warranties and Acknowledgement of the Addi-
1070   tional Collateral Agent. The Additional Collateral Agent represents and warrants to the Collater-
1071   al Agents and the Secured Parties that (a) it has full power and authority to enter into this Joinder
1072   Agreement, in its capacity as the Additional Collateral Agent, (b) this Joinder Agreement has
1073   been duly authorized, executed and delivered by it and constitutes its legal, valid and binding
1074   obligation, enforceable against it in accordance with the terms of this Joinder Agreement and
1075   (c) the Additional First Lien Obligations Documents relating to such Additional First Lien Obli-
                                                      Ex. I-1

       CG&R DRAFT: 12/15/10 4:00 PM                                              #1097705 v7 (11FV907_.DOC)
       10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                                Pg 518 of 771



1076   gations provide that, upon the Additional Collateral Agent’s entry into this Joinder Agreement,
1077   the secured parties in respect of such Additional First Lien Obligations will be subject to and
1078   bound by the provisions of the First Lien Intercreditor Agreement as Additional Secured Parties.

1079                   SECTION 3. Counterparts. This Joinder Agreement may be executed in multiple
1080   counterparts, each of which shall constitute an original, but all of which when taken together
1081   shall constitute a single contract. This Joinder Agreement shall become effective when each
1082   Collateral Agent shall have received a counterpart of this Joinder Agreement that bears the signa-
1083   ture of the Additional Collateral Agent. Delivery of an executed signature page to this Joinder
1084   Agreement by facsimile or other electronic transmission shall be effective as delivery of a ma-
1085   nually signed counterpart of this Joinder Agreement.

1086                 SECTION 4. Benefit of Agreement. The agreements set forth herein or un-
1087   dertaken pursuant hereto are for the benefit of, and may be enforced by, any party to the
1088   First Lien Intercreditor Agreement.

1089             SECTION 5. Governing Law. THIS JOINDER AGREEMENT SHALL BE
1090   GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE
1091   STATE OF NEW YORK.

1092                   SECTION 6. Severability. In case any one or more of the provisions contained
1093   in this Joinder Agreement should be held invalid, illegal or unenforceable in any respect, none of
1094   the parties hereto shall be required to comply with such provision for so long as such provision is
1095   held to be invalid, illegal or unenforceable, but the validity, legality and enforceability of the re-
1096   maining provisions contained herein and in the First Lien Intercreditor Agreement shall not in
1097   any way be affected or impaired. The parties hereto shall endeavor in good-faith negotiations to
1098   replace the invalid, illegal or unenforceable provisions with valid provisions the economic effect
1099   of which comes as close as possible to that of the invalid, illegal or unenforceable provisions.

1100                   SECTION 7. Notices. All communications and notices hereunder shall be in
1101   writing and given as provided in Section 8.01 of the First Lien Intercreditor Agreement. All
1102   communications and notices hereunder to the Additional Collateral Agent shall be given to it at
1103   the address set forth under its signature hereto, which information supplements Section 8.01 of
1104   the First Lien Intercreditor Agreement.

1105                 SECTION 8. Expense Reimbursement. The Borrower agrees to reimburse each
1106   Collateral Agent for its reasonable out-of-pocket expenses in connection with this Joinder
1107   Agreement, including the reasonable fees, other charges and disbursements of counsel for each
1108   Collateral Agent.

1109




                                                      Ex. I-2

       CG&R DRAFT: 12/15/10 4:00 PM                                              #1097705 v7 (11FV907_.DOC)
       10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47         Main Document
                                                Pg 519 of 771



1110                  IN WITNESS WHEREOF, the Additional Collateral Agent and the Borrower
1111   have duly executed this Joinder Agreement to the First Lien Intercreditor Agreement as of the
1112   day and year first above written.

1113                                               [NAME OF ADDITIONAL COLLATERAL
1114                                               AGENT], as ADDITIONAL COLLATERAL
1115                                               AGENT for the ADDITIONAL SECURED
1116                                               PARTIES


1117                                               By:
1118                                                     Name:
1119                                                     Title:


1120                                               Address for notices:

1121

1122

1123                                               attention of:

1124                                               Telecopy:


1125                                               AMERICAN MEDIA, INC.


1126                                               By:
1127                                                     Name:
1128                                                     Title:


1129




                                                   Ex. I-3

       CG&R DRAFT: 12/15/10 4:00 PM                                          #1097705 v7 (11FV907_.DOC)
       10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47       Main Document
                                                Pg 520 of 771



1130   Acknowledged by:

1131   JPMORGAN CHASE BANK, N.A., as
1132   Credit Agreement Collateral Agent

1133   By:
1134         Name:
1135         Title:


1136   WILMINGTON TRUST FSB,
1137   as Senior Secured Notes Trustee and Senior Secured Notes Collateral Agent

1138   By:
1139         Name:
1140         Title:


1141   [EACH OTHER ADDITIONAL
1142   COLLATERAL AGENT], as Additional
1143   Collateral Agent

1144   By:
1145         Name:
1146         Title:




                                                   Ex. I-4

       CG&R DRAFT: 12/15/10 4:00 PM                                        #1097705 v7 (11FV907_.DOC)
       10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                                Pg 521 of 771



1147                                                                                           EXHIBIT II


1148                  [FORM OF] GRANTOR JOINDER AGREEMENT NO. [ ] dated as of
1149   [         ], 20[ ] (the “Joinder Agreement”) to the FIRST LIEN INTERCREDITOR
1150   AGREEMENT dated as of [                 ], 2010 (the “First Lien Intercreditor Agreement”),
1151   among AMERICAN MEDIA, INC. (F/K/A AMERICAN MEDIA OPERATIONS, INC.), a De-
1152   laware corporation (the “Borrower”), the GRANTORS party thereto, JPMORGAN CHASE
1153   BANK, N.A., as Credit Agreement Collateral Agent, WILMINGTON TRUST FSB, as Senior
1154   Secured Notes Trustee and Senior Secured Notes Collateral Agent, each ADDITIONAL
1155   COLLATERAL AGENT from time to time party thereto and [                     ], a [           ],
1156   as an additional GRANTOR.

1157                 A.     Capitalized terms used herein but not otherwise defined herein shall have
1158   the meanings assigned to such terms in the First Lien Intercreditor Agreement.

1159                  B.       [             ], a Subsidiary of the Borrower (the “Additional Grantor”),
1160   has granted a Lien on all or a portion of its assets to secure First Lien Obligations and such Addi-
1161   tional Grantor is not a party to the First Lien Intercreditor Agreement.

1162                  C.       The Additional Grantor wishes to become a party to the First Lien Inter-
1163   creditor Agreement and to acquire and undertake the rights and obligations of a Grantor the-
1164   reunder. The Additional Grantor is entering into this Joinder Agreement in accordance with the
1165   provisions of the First Lien Intercreditor Agreement in order to become a Grantor thereunder.

1166                   Accordingly, the Additional Grantor agrees as follows, for the benefit of the Col-
1167   lateral Agents, the Borrower and each other party to the First Lien Intercreditor Agreement:

1168                   SECTION 1. Accession to the Intercreditor Agreement. In accordance with Sec-
1169   tion 8.12 of the First Lien Intercreditor Agreement, the Additional Grantor (a) hereby accedes
1170   and becomes a party to the First Lien Intercreditor Agreement as a Grantor with the same force
1171   and effect as if originally named therein as a Grantor, (b) agrees to all the terms and provisions
1172   of the First Lien Intercreditor Agreement and (c) shall have all the rights and obligations of a
1173   Grantor under the First Lien Intercreditor Agreement.

1174                   SECTION 2. Representations, Warranties and Acknowledgement of the Addi-
1175   tional Grantor. The Additional Grantor represents and warrants to each Collateral Agent and
1176   each Secured Party that this Joinder Agreement has been duly authorized, executed and delivered
1177   by such Additional Grantor and constitutes the legal, valid and binding obligation, enforceable
1178   against it in accordance with its terms, subject to applicable bankruptcy, insolvency, reorganiza-
1179   tion, moratorium or other laws affecting creditors’ rights generally and subject to general prin-
1180   ciples of equity, regardless of whether considered in a proceeding in equity or at law.

1181                   SECTION 3. Counterparts. This Joinder Agreement may be executed in multiple
1182   counterparts, each of which shall constitute an original, but all of which when taken together
1183   shall constitute a single contract. This Joinder Agreement shall become effective when each
1184   Collateral Agent shall have received a counterpart of this Joinder Agreement that bears the signa-
1185   ture of the Additional Grantor. Delivery of an executed signature page to this Joinder Agreement
                                                     Ex. II-1

       CG&R DRAFT: 12/15/10 4:00 PM                                             #1097705 v7 (11FV907_.DOC)
       10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                                Pg 522 of 771



1186   by facsimile or other electronic transmission shall be effective as delivery of a manually signed
1187   counterpart of this Joinder Agreement.

1188                 SECTION 4. Benefit of Agreement. The agreements set forth herein or un-
1189   dertaken pursuant hereto are for the benefit of, and may be enforced by, any party to the
1190   First Lien Intercreditor Agreement.

1191             SECTION 5. Governing Law. THIS JOINDER AGREEMENT SHALL BE
1192   GOVERNED BY, AND CONSTRUED IN ACCORDANCE WITH, THE LAWS OF THE
1193   STATE OF NEW YORK.

1194                   SECTION 6. Severability. In case any one or more of the provisions contained
1195   in this Joinder Agreement should be held invalid, illegal or unenforceable in any respect, none of
1196   the parties hereto shall be required to comply with such provision for so long as such provision is
1197   held to be invalid, illegal or unenforceable, but the validity, legality and enforceability of the re-
1198   maining provisions contained herein and in the First Lien Intercreditor Agreement shall not in
1199   any way be affected or impaired. The parties hereto shall endeavor in good-faith negotiations to
1200   replace the invalid, illegal or unenforceable provisions with valid provisions the economic effect
1201   of which comes as close as possible to that of the invalid, illegal or unenforceable provisions.

1202                  SECTION 7. Notices. All communications and notices hereunder shall be in
1203   writing and given as provided in Section 8.01 of the First Lien Intercreditor Agreement.

1204                  SECTION 8. Expense Reimbursement. The Additional Grantor agrees to reim-
1205   burse each Collateral Agent for its reasonable out-of-pocket expenses in connection with this
1206   Joinder Agreement, including the reasonable fees, other charges and disbursements of counsel
1207   for each Collateral Agent.

1208




                                                      Ex. II-2

       CG&R DRAFT: 12/15/10 4:00 PM                                              #1097705 v7 (11FV907_.DOC)
       10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47         Main Document
                                                Pg 523 of 771



1209                 IN WITNESS WHEREOF, the Additional Grantor has duly executed this Joinder
1210   Agreement to the First Lien Intercreditor Agreement as of the day and year first above written.

1211                                               [NAME OF SUBSIDIARY]


1212                                               By:
1213                                                     Name:
1214                                                     Title:


1215




                                                   Ex. II-3

       CG&R DRAFT: 12/15/10 4:00 PM                                          #1097705 v7 (11FV907_.DOC)
       10-16140-mg        Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47       Main Document
                                                Pg 524 of 771



1216   Acknowledged by:

1217   JPMORGAN CHASE BANK, as
1218   Credit Agreement Collateral Agent

1219   By:
1220         Name:
1221         Title:


1222   WILMINGTON TRUST FSB,
1223   as Senior Secured Notes Trustee and Senior Secured Notes Collateral Agent

1224   By:
1225         Name:
1226         Title:


1227   [EACH OTHER ADDITIONAL
1228   COLLATERAL AGENT], as Additional
1229   Collateral Agent

1230   By:
1231         Name:
1232         Title:


1233




                                                  Ex. II-4

       CG&R DRAFT: 12/15/10 4:00 PM                                        #1097705 v7 (11FV907_.DOC)
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 525 of 771



                                  EXHIBIT I

                            Stockholders’ Agreement
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 526 of 771




                           AMERICAN MEDIA, INC.




                        STOCKHOLDERS’ AGREEMENT




                    DATED AS OF ______________ ___, 2010




                                       1
10-16140-mg          Doc 116           Filed 12/15/10 Entered 12/15/10 23:40:47                                     Main Document
                                                 Pg 527 of 771



                                                TABLE OF CONTENTS

ARTICLE I DEFINITIONS; RULES OF CONSTRUCTION ......................................................1

         1.1      Definitions................................................................................................................1

         1.2      Rules of Construction ............................................................................................ 11

ARTICLE II ISSUANCES AND TRANSFERS OF SECURITIES ............................................12

         2.1      Issuances and Transfers of Securities ....................................................................12

         2.2      Right of First Offer ................................................................................................13

         2.3      [RESERVED.] .......................................................................................................14

         2.4      Co-Sale Rights .......................................................................................................15

         2.5      Drag Along Right ...................................................................................................16

         2.6      Minority Transfer Restrictions ...............................................................................17

         2.7      Certain Affiliate Transactions. ...............................................................................18

ARTICLE III APPROVAL RIGHTS ...........................................................................................19

         3.1      Rights Offering ......................................................................................................19

         3.2      Mandatory Redemption of Common Stock. ..........................................................20

         3.3      Redemption Procedures. ........................................................................................20

         3.4      Reduction of Directors. ..........................................................................................21

         3.5      Rights Offering Voting. ..........................................................................................22

ARTICLE IV BOARD OF DIRECTORS ....................................................................................22

         4.1      Election of Directors; Voting .................................................................................22

ARTICLE V D&O INSURANCE ................................................................................................25

         5.1      D&O Insurance ......................................................................................................25

ARTICLE VI REGISTRATION RIGHTS ...................................................................................25

         6.1      Required Registration. ...........................................................................................25

         6.2      Piggyback Registration. .........................................................................................27



                                                                    i
10-16140-mg           Doc 116           Filed 12/15/10 Entered 12/15/10 23:40:47                                     Main Document
                                                  Pg 528 of 771



         6.3       Registrations on Form S-3. ....................................................................................28

         6.4       Holdback Agreement. ............................................................................................29

         6.5       Preparation and Filing. ...........................................................................................29

         6.6       Expenses. ...............................................................................................................31

         6.7       Indemnification. .....................................................................................................32

         6.8       Underwriting Agreement. ......................................................................................34

         6.9       Information by Holder; Use of Prospectus. ...........................................................35

         6.10      Exchange Act Compliance. ....................................................................................35

ARTICLE VII CONFIDENTIALITY; INFORMATION RIGHTS; ACCESS TO
          INFORMATION ....................................................................................................35

         7.1       Confidentiality........................................................................................................35

         7.2       Information Rights. ................................................................................................36

ARTICLE VIII LEGENDS AND COMPLIANCE WITH SECURITIES LAWS ......................36

         8.1       Restrictions on Transfer. ........................................................................................36

         8.2       Restrictive Legends. ...............................................................................................37

         8.3       Additional Legend. ................................................................................................39

         8.4       Limit on Number of Stockholders. ........................................................................39

ARTICLE IX AMENDMENT AND WAIVER ...........................................................................40

         9.1       Amendment. ...........................................................................................................40

         9.2       Waiver. ...................................................................................................................41

ARTICLE X TERMINATION .....................................................................................................41

ARTICLE XI MISCELLANEOUS ..............................................................................................41

         11.1      Severability. ...........................................................................................................41

         11.2      Entire Agreement. ..................................................................................................42

         11.3      Independence of Agreements and Covenants ........................................................42

         11.4      Successors and Assigns. .........................................................................................42


                                                                     ii
10-16140-mg       Doc 116           Filed 12/15/10 Entered 12/15/10 23:40:47                                     Main Document
                                              Pg 529 of 771



     11.5      Counterparts; Facsimile Signatures; Validity. ........................................................42

     11.6      Remedies. ...............................................................................................................42

     11.7      Notices. ..................................................................................................................43

     11.8      Governing Law; Jurisdiction..................................................................................44

     11.9      Waiver of Jury Trial. ..............................................................................................44

     11.10 Further Assurances. ................................................................................................44

     11.11 Third Party Reliance. .............................................................................................45

     11.12 Termination of Prior Stockholders Agreement. .....................................................45




                                                                iii
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47         Main Document
                                           Pg 530 of 771



               STOCKHOLDERS’ AGREEMENT dated as of ________ ___, 2010 (as
amended, modified, supplemented or restated from time to time, this “Agreement”), among
American Media, Inc., a Delaware corporation (the “Company”) and the stockholders of the
Company receiving Common Stock (as defined below) pursuant to the Plan (as defined below)
and any other Persons that become a party to this Agreement in accordance with its terms.

               WHEREAS, in connection with the financial restructuring of the Company and
American Media Operations, Inc. (“AMOI”), AMOI has merged with and into the Company on
the Effective Date (as defined below) and has issued common stock, par value $0.0001 per share
(the “Common Stock”), to all of the holders of the Existing Notes and the Backstop Parties (each
as defined below), pursuant to the Plan;

              WHEREAS, the Company desires to enter into this Agreement to set forth the
terms and conditions of ownership of its equity securities and the rights of certain holders thereof;
and

                WHEREAS, pursuant to the terms of the Plan, all of the Stockholders are bound
by the transfer restrictions and other obligations set forth in this Agreement;

              NOW, THEREFORE, in consideration of the mutual covenants contained herein
and other good and valuable consideration, the receipt and sufficiency of which are hereby
acknowledged, the parties hereto hereby agree as set forth herein.

                                           ARTICLE I

                           DEFINITIONS; RULES OF CONSTRUCTION

1.1       Definitions.

As used in this Agreement, the following terms shall have the meanings set forth below.

       “2011 Notes” means the 8 7/8% notes issued by AMOI pursuant to the 2011 Notes
Indenture.

        “2011 Notes Indenture” means that certain Indenture, dated as of January 23, 2003
among AMOI, HSBC Bank USA, National Association and other parties thereto, as well as any
guarantees and other documents entered in connection therewith, and any amendments,
supplements, modifications, extensions, renewals, restatements, or refinancings thereof.

      “2013 Notes” means 14% Senior Subordinated Notes issued by AMOI pursuant to the
2013 Notes Indenture.

      “2013 Notes Indenture” means the Indenture, dated as of January 30, 2009, among
American Media Operations, Inc., the note guarantors listed on the signature pages thereto, and
Wilmington Trust FSB, as trustee, providing for the issuance of the Company’s 14% Senior
Subordinated Notes due 2013, and any amendments, supplements, modifications, extensions,
renewals, restatements, or refinancings thereof.



Doc#: US1:6626551v15                             1
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                           Pg 531 of 771



        “Adjusted Percentage Ownership” means, with respect to any Stockholder, the fraction,
expressed as a percentage, the numerator of which is the total number of shares of Common
Stock held by such Stockholder together with its Affiliates and the denominator of which is the
total number of shares of Common Stock issued and outstanding at the time of determination
held by all Stockholders (excluding, from each of the numerator and the denominator above, any
options, warrants, convertible debt obligations or similar Securities, and all Equity Incentive
Shares).

        “Affiliate” means, with respect to any Person, any other Person that directly, or indirectly
through one or more intermediaries, Controls, or is Controlled by, or is under common Control
with, such Person and/or one or more Affiliates thereof.

          “Agreement” has the meaning ascribed to it in the preamble.

           “AMOI” has the meaning ascribed to it in the recitals.

        “Alternative Majority Consent” means the consent of (i) any two (A) the Angelo Gordon
Stockholders, (B) the Avenue Stockholders and (C) the Capital Research Stockholders and (ii)
Holders of at least 67% of the Total Ownership Percentage; provided that if the Total Ownership
Percentage of any of the Angelo Gordon Stockholders, the Avenue Stockholders or the Capital
Research Stockholders is less than ten percent (10%), then Alternative Majority Consent shall
mean the approval of Holders of at least 67% of the Total Ownership Percentage regardless of
whether the Angelo Gordon Stockholders, the Avenue Stockholders or the Capital Research
Stockholders are among the Holders that have consented; and provided further that if the Total
Ownership Percentage of any of the Angelo Gordon Stockholders, the Avenue Stockholders or
the Capital Research Stockholders is less than ten percent (10%), but the Total Ownership
Percentage of the Credit Suisse Stockholders is more than ten percent (10%), then the Credit
Suisse Stockholders shall be substituted in this definition in lieu of the first of the Angelo
Gordon Stockholders, Avenue Stockholders or Capital Research Stockholders, to hold less than
ten percent (10%) of the Total Ownership Percentage.

        “Angelo Gordon Stockholders” means, collectively, AG CNG Fund, L.P., AG MM, L.P.,
PHS Bay Colony Fund, L.P., AGCR V Master Account LP, AG Capital Recovery Partners VI,
L.P., AG Eleven Partners, L.P., GAM Arbitrage Investments Inc., AG Garden Partners, L.P., AG
Super Fund International Partners, L.P., Nutmeg Partners, L.P., PHS Patriot Fund, L.P., AG
Princess, L.P., AG Super Fund, L.P. and their respective Affiliates, in each case, only with respect
to each such Person for so long as such Person owns or holds a beneficial interest in Stockholder
Shares and has not received such Stockholder Shares in violation of the terms of this Agreement.

       “Approved Sale” means a Transfer which would result in the Sale of the Company
pursuant to which the Dragging Stockholders compel the other Stockholders to Transfer
Stockholder Shares in accordance with Section 2.5.

          “Approved Sale Notice” has the meaning ascribed to it in Section 2.5(b).

       “Avenue Stockholders” means, collectively, Avenue Investments, L.P., Avenue – CDP
Global Opportunities Fund, L.P., Avenue International Master, L.P., Avenue Special Situations
Fund IV, L.P., Avenue Special Situations Fund V, L.P. and their respective Affiliates, in each case,
Doc#: US1:6626551v15
                                                  2
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                           Pg 532 of 771



only with respect to each such Person for so long as such Person owns or holds a beneficial
interest in Stockholder Shares and has not received such Stockholder Shares in violation of the
terms of this Agreement.

          “Backstop Parties” means Angelo Gordon Stockholders and Avenue Stockholders.

     “Business Day” means any day except a Saturday, a Sunday or any other day on which
commercial banks are not required by law to be open in New York, New York.

        “By-laws” means the by-laws of the Company, as amended, modified, supplemented or
restated and in effect from time to time.

        “Capital Research Stockholders” means, collectively, American High-Income Trust, The
Bond Fund of America, Inc., The Income Fund of America, Inc., American Funds Insurance
Series – Asset Allocation, American Funds Insurance Series – Bond Fund, American Funds
Insurance Series – Global Bond Fund, American Funds Insurance Series – High-Income Bond
Fund, Capital World Bond Fund, Inc., Qualcom Incorporated, Capital Guardian US High Yield
Fixed Income Master Fund, CIF Global High Income Opportunities, Capital Guardian Global
High Income Opportunities Fund and their respective Affiliates, in each case, only with respect
to each such Person for so long as such Person owns or holds a beneficial interest in Stockholder
Shares and has not received such Stockholder Shares in violation of the terms of this Agreement.

        “Certificate” means the amended and restated certificate of incorporation of the Company,
as amended, modified, supplemented or restated and in effect from time to time, including any
certificates of designation, correction or amendment filed with the Secretary of State of the State
of Delaware pursuant to the terms thereof.

      “Commission” means the Securities and Exchange Commission and any other
Governmental Authority at the time administering the Securities Act.

      “Committee Holder” means each of the Avenue Stockholders, the Angelo Gordon
Stockholders, the Credit Suisse Stockholders, and the Capital Research Stockholders.

          “Common Stock” has the meaning ascribed to it in the recitals.

          “Company” has the meaning ascribed to it in the preamble.

          “Company Board” means the board of directors of the Company.

        “Control” means, (including, with correlative meaning, the terms “controlling,”
“controlled by” and “under common control with”) with respect to any Person, the possession,
directly or indirectly, of the power to direct or cause the direction of the management, policies or
investment decisions of such Person, whether through the ownership of voting Securities, by
contract or otherwise.

          “Control Transaction” has the meaning ascribed to it in Section 2.6(a).

          “Control Transaction Notice” has the meaning ascribed to it in Section 2.6(a).

Doc#: US1:6626551v15
                                                  3
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                           Pg 533 of 771



          “Counterparty” has the meaning ascribed to it in Section 2.2 (f).

          “Counterparty Excluded Information” has the meaning ascribed to it in Section 2.2 (f).

        “Co-Sale/Drag Sale Percentage” means, with respect to any Stockholder, the fraction,
expressed as a percentage, the numerator of which is the total number of shares of Common
Stock proposed to be sold by Stockholders initiating a Transfer with respect to which co-sale
rights under Section 2.4 or a requirement to sell under Section 2.5 apply and the denominator or
which is the total number of shares of Common Stock held by such initiating Stockholders
(excluding, from each of the numerator and the denominator above, any options, warrants,
convertible debt obligations or similar Securities, and all Equity Incentive Shares).

          “Co-Sale Notice” has the meaning ascribed to it in Section 2.4(a).

        “Co-Sale Participant” means, as determined from time to time, (a) each Stockholder
(other than a Transferring Stockholder) who is a Committee Holder as of the time of
determination and (b) if such Transfer would result in a Sale of the Company, then all
Stockholders.

        “Credit Suisse Stockholders” means, collectively, Credit Suisse Securities (USA) LLC
and its Affiliates, in each case, only with respect to each such Person for so long as such Person
owns or holds a beneficial interest in Stockholder Shares and has not received such Stockholder
Shares in violation of the terms of this Agreement.

          “Cumulative Free Cash Flow” has the meaning ascribed to it in Section 3.2(a).

          “Demand Registration Request” has the meaning ascribed to it in Section 6.1(a).

          “Dragged Stockholder” has the meaning ascribed to it in Section 2.5(a).

          “Dragging Stockholders” has the meaning ascribed to it in Section 2.5(a).

          “EBITDA” has the meaning ascribed to it in Section 3.2(c)(ii).

          “Effective Date” means [ ], 2010.

          “Eligible Information Recipient” has the meaning ascribed to it in Section 7.2(a).

       “Eligible Stockholder” means, as determined from time to time, a Stockholder who is an
“accredited investor” as such term is defined in Rule 501 of the Securities Act and who is a
Committee Holder.

       “Equity Incentive Plan” means, collectively, any plan or agreement established, or
entered into, by the Company for the purposes of issuing Securities to any employee, officer,
consultant or director of the Company or its Subsidiaries as compensation.

       “Equity Incentive Shares” means Stockholder Shares issued pursuant to, or acquired in
connection with, the terms of any Equity Incentive Plan.

Doc#: US1:6626551v15
                                                   4
10-16140-mg              Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                             Pg 534 of 771



       “Exchange Act” means the Securities Exchange Act of 1934, as amended, or any
successor Federal statute then in force, and the rules and regulations of the Commission
promulgated thereunder, all as the same shall be in effect from time to time.

           “Excluded Securities” means the following Securities issued by the Company at any
time:

                       (a)   Securities issued pursuant to any Equity Incentive Plan;

                  (b)     Securities issued in connection with a debt financing by the Company or
          its Subsidiaries;

                  (c)    Securities issued as a stock dividend or distribution or upon any stock split,
          reclassification, recapitalization or other subdivision or combination of Securities;

                 (d)    Securities issued upon the exercise, conversion or exchange of any options,
          warrants or any other derivative Securities of the Company issued in compliance with (or
          not otherwise in violation of) Section 3.1;

                 (e)      Securities issued in connection with (i) the funding of an acquisition
          (whether by stock sale, merger, recapitalization, asset purchase or otherwise) of another
          Person (or portion thereof), or (ii) an Approved Sale; and

                       (f)   Securities issued by the Company in an Initial Public Offering.

          “Existing Notes” means each of the 2013 and 2011 Notes.

        “Fair Market Value” means, with respect to the Stockholder Shares, the price that would
be negotiated, in an arms length, free market transaction, for cash between a willing seller and a
willing and able buyer, neither of whom is under undue pressure or compulsion to complete the
transaction and without giving effect to any minority or liquidity discounts. For the purposes of
Section 2.6, “Fair Market Value” shall be determined by an independent investment bank
mutually selected by the Company Board and a majority of those Stockholders not participating
directly or indirectly in the Control Transaction. The independent investment bank shall deliver
its calculation of Fair Market Value to the Company and the participating Stockholders within
30 days of its appointment and its fees and expenses shall be paid by the Company.

          “First Threshold Date” has the meaning ascribed to it in Section 4.1(c)(ii).

       “Form S-1”, “Form S-3” “Form S-4” or “Form S-8” means a Registration Statement on
Form S-1, a Registration Statement on Form S-4, a Registration Statement on Form S-4 or a
Registration Statement on Form S-8, as appropriate, under the Securities Act or any successor
forms thereto.

          “Free Cash Flow” has the meaning ascribed to it in Section 3.2(c)(i).

       “Governmental Authority” means any domestic or foreign government or political
subdivision thereof, whether on a Federal, state or local level and whether executive, legislative

Doc#: US1:6626551v15
                                                      5
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                           Pg 535 of 771



or judicial in nature, including any agency, authority, board, bureau, commission, court,
department or other instrumentality thereof.

           “Information” has the meaning ascribed to it in Section 6.5(i).

          “Information Restrictions” has the meaning ascribed to it in Section 7.2(a).

          “Initial Public Offering” means the first underwritten Public Offering.

          “Inspectors” has the meaning ascribed to it in Section 6.5(i).

          “Insurance Amount” has the meaning ascribed to it in Section 5.1.

          “Joinder Agreement” has the meaning ascribed to it in Section 2.1(b).

       “Majority Committee Holder Designated Director” has the meaning ascribed to it in
Section 4.1(c).

        “Majority Requisite Consent” means, at the time of determination, the approval of the
Angelo Gordon Stockholders, the Avenue Stockholders and the Capital Research Stockholders;
provided that if the Total Ownership Percentage of any of the Angelo Gordon Stockholders, the
Avenue Stockholders and the Capital Research Stockholders is less than ten percent (10%), then
Majority Requisite Consent shall mean the consent of the two remaining holders; provided
further that if the Total Ownership Percentage of any two of (A) the Angelo Gordon
Stockholders, (B) the Avenue Stockholders and (C) the Capital Research Stockholders is less
than ten percent (10%), then Majority Requisite Consent shall mean the approval of holders of at
least 67% of the Total Ownership Percentage regardless of whether the Angelo Gordon
Stockholders, the Avenue Stockholders or the Capital Research Stockholders are among the
Holders that have consented; provided, however, that if the Total Ownership Percentage of any
of the Angelo Gordon Stockholders, the Avenue Stockholders and or the Capital Research
Stockholders is less than ten percent (10%), but the Total Ownership Percentage of the Credit
Suisse Stockholders is more than ten percent (10%), then the Credit Suisse Stockholders shall be
substituted in this definition in lieu of the first of Angelo Gordon Stockholders, Avenue
Stockholders or Capital Research Stockholders, to hold less than ten percent (10%) of the Total
Ownership Percentage.

          “Management Director” has the meaning ascribed to it in Section 4.1(b)(i).

        “Management Stockholders” means each employee or officer of the Company or its
Subsidiaries and any respective Permitted Family Transferee who owns or holds a beneficial
interest in Stockholder Shares and is a signatory hereto from time to time (including any other
employee or officer of the Company or its Subsidiaries who hereafter becomes a party to this
Agreement pursuant to a Joinder Agreement entered into in accordance with Section 2.1(b)),
whether acquired through the Equity Incentive Plan or otherwise, in each case, only for so long
as such Person owns or holds a beneficial interest in Stockholder Shares and has not received
such Stockholder Shares in violation of the terms of this Agreement. Any Person who is a
“Management Stockholder” shall continue to be a Management Stockholder following such


Doc#: US1:6626551v15
                                                   6
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                           Pg 536 of 771



Person’s termination of employment with the Company or its Subsidiaries if such Person
continues to own Stockholder Shares following such termination of employment.

        “New First Lien Indenture” means the Indenture, dated as of December 1, 2010, by and
between AMO Escrow Corporation and Wilmington Trust FSB, as trustee and collateral agent,
as well as any guarantees and other documents entered in connection therewith and any
amendments, supplements, modifications, extensions, renewals, restatements, or refinancings
thereof.

          “Offer Final Notice” has the meaning ascribed to in Section 2.2(b).

          “Offer Period” has the meaning ascribed to in Section 2.2(b).

          “Offer to Purchase” has the meaning ascribed to it in Section 2.2(b).

          “Offered Shares” has the meaning ascribed to it in Section 2.2(a).

        “Other Shares” means, at any time, those shares of Common Stock which do not
constitute Registrable Shares or Primary Shares.

          “Participating Stockholder” has the meaning ascribed to it in Section 2.6(a).

        “Permitted Family Transferee” means, with respect to a Stockholder who is a natural
Person, (a) the spouse or any lineal descendant (including any descendant by adoption) of such
Stockholder, (b) any trust solely for the benefit of such Stockholder or the spouse or any lineal
descendant (including any descendant by adoption) of such Stockholder, or (c) a family trust or
partnership established solely for the benefit of such Stockholder or such Stockholder’s spouse or
any lineal descendant (including any descendant by adoption) for estate planning purposes,
provided such trust, family trust or partnership remains under the Control of such Stockholder
prior to such Stockholder’s death or disability, but, in each case, only to the extent that such
Transferee agrees to execute a Joinder Agreement and be bound by this Agreement.

         “Permitted Holders” means (i) Angelo, Gordon & Co., L.P., (ii) Avenue Capital
Management II, L.P., (iii) Capital Research and Management Company, Capital Guardian Trust
Company and Capital International, Inc., (iv) Credit Suisse Securities (USA) LLC, (v) any
Permitted Parent, (vi) any group (within the meaning of Section 13(d)(3) or 14(d)(2) of the
Exchange Act or any successor provision) of which any of the Permitted Holders specified in
clauses (i)-(iv) are members, and (vii) the respective Affiliates of each of the foregoing; provided
that in the case of any group specified in clause (vi) above, without giving effect to such group,
Permitted Holders specified in clauses (i)-(iv) and their respective Affiliates must collectively
beneficially own a greater amount of the total voting power of the Voting Stock of AMI than the
amount of the total voting power of the Voting Stock of AMI beneficially owned by any other
member of such group.

        “Permitted Parent” means any direct or indirect parent of the Company formed not in
connection with, or in contemplation of, a transaction that, assuming such parent was not formed,
after giving effect thereto would constitute a Sale of the Company.


Doc#: US1:6626551v15
                                                   7
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                           Pg 537 of 771



         “Permitted Transfer” means any Transfer of Stockholder Shares (a) to any Person (subject
to the right of first offer set forth in Section 2.2 and the tag along rights set forth in Section 2.4),
(b) pursuant to the exercise of tag along rights set forth in Section 2.4 or as required in
connection with the exercise of drag-along rights as set forth in Section 2.5 or the exercise of put
rights set forth in Section 2.6 or pursuant to a Transfer in connection with the exercise of
registration rights set forth in Article VI, (c) if by a Stockholder who is not a natural Person, to an
Affiliate of such Stockholder, or (d) if by a Stockholder who is a natural Person, to a Permitted
Family Transferee of such Stockholder; provided that, in each case, such Transfer (taking into
account any series of related transfers) (i) does not result in a violation of Article Fourth of the
Certificate, (ii) does not result in a “Change of Control” as such term is defined in the Indenture
and (iii) is otherwise completed in compliance with this Agreement.

        “Person” shall be construed as broadly as possible and shall include an individual person,
a partnership (including a limited liability partnership), a corporation, an association, a joint
stock company, a limited liability company, a trust, a joint venture, an unincorporated
organization and a Governmental Authority.

       “Plan” means Company, AMOI and certain of its subsidiaries’ Amended Joint
Prepackaged Plan of Reorganization under Chapter 11 of the Bankruptcy Code, dated December
15, 2010.

          “Potential Majority Owner” has the meaning ascribed to it in Section 2.6(a).

       “Primary Shares” means, at any time, the authorized but unissued shares of Common
Stock or shares of Common Stock held in the treasury of the Company.

          “Prospective Seller” has the meaning ascribed to it in Section 2.6(a).

       “Prospectus” means the prospectus included in any Registration Statement, including any
amendment or prospectus subject to completion, and any such prospectus as amended or
supplemented by any prospectus supplement with respect to the terms of the offering of any
portion of the Registrable Shares and, in each case, by all other amendments and supplements to
such prospectus, including post-effective amendments, and in each case including all material
incorporated by reference therein.

        “Public Offering” means the closing of a public offering of Common Stock pursuant to a
Registration Statement declared effective under the Securities Act (excluding any offering
pursuant to Form S-8 or Form S-4 under the Securities Act or other publicly registered offering
pursuant to the Securities Act pertaining to the issuance of equity securities or equity linked
securities exercisable therefor under any Equity Incentive Plan).

          “Put Notice” has the meaning ascribed to it in Section 2.6(a).

          “Records” has the meaning ascribed to it in Section 6.5(i).

          “Redemption” has the meaning ascribed to it in Section 3.2(b).



Doc#: US1:6626551v15
                                                   8
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                           Pg 538 of 771



        “Registrable Shares” means at any time, and with respect to any Stockholder, the shares
of Common Stock held by, or issuable to, such Stockholder. As to any particular Registrable
Shares, once issued, such Registrable Shares shall cease to be Registrable Shares (a) when an
offering of such Registrable Shares has been registered under the Securities Act, the Registration
Statement in connection therewith has been declared effective and such Registrable Shares have
been disposed of pursuant to and in the manner described in such effective Registration
Statement, (b) if eligible for sale without restriction under Rule 144 by the Holder of such
Registrable Shares, (c) when such Registrable Shares shall be represented by certificates
properly not bearing a legend restricting further Transfer under the Securities Act or (d) when
such Registrable Shares have ceased to be outstanding.

     “Registration Date” means the date upon which the Registration Statement filed by the
Company to effect its Initial Public Offering shall have been declared effective by the
Commission.

          “Registration Expenses” has the meaning ascribed to it in Section 6.6.

        “Registration Statement” means any registration statement of the Company that covers an
offering of any of the Registrable Shares, and all amendments and supplements to any such
Registration Statement, including post-effective amendments, in each case including the
Prospectus contained therein, all exhibits thereto and all material incorporated by reference
therein.

        “Representative” means with respect to a particular Person, its Affiliates and its and their
respective directors, officers, employees, agents, consultants, advisors or other representative of
such Person, including legal counsel, accountants and financial advisors.

         “Restricted Securities” has the meaning ascribed to such term under “restricted
securities” as defined in Rule 144(a)(3) under the Securities Act (or any successor rule).

        “ROFO Offeree” means, as determined from time to time, each Stockholder and its
Affiliates (other than a Transferring Stockholder) who is a Committee Holder.

        “Rule 144” means Rule 144 promulgated under the Securities Act or any successor rule
thereto.

          “Sale Offer” has the meaning ascribed to it in Section 2.2(a).

          “Sale of the Company” means the occurrence of any of the following:

                  (a)     the sale, lease or transfer, in one or a series of related transactions, of all or
          substantially all of the assets of the Company and its Subsidiaries, taken as a whole, other
          than to a Permitted Holder or to a Person with respect to which the Permitted Holders
          have the right or ability, by voting power, contract or otherwise, to elect or designate for
          election a majority of the board of directors of such Person or any direct or indirect
          holding company of such Person;



Doc#: US1:6626551v15
                                                      9
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                           Pg 539 of 771



                  (b) (i) the Company becomes aware of (by way of a report or any other filing
          pursuant to Section 13(d) of the Exchange Act, proxy, vote, written notice or otherwise)
          that any “person” or “group” (within the meaning of Section 13(d)(3) or Section 14(d)(2)
          of the Exchange Act or any successor provision), other than the Permitted Holders, has
          become the “beneficial owner” (as defined in Rules 13d-3 of the Exchange Act, or any
          successor provision), by way of merger, consolidation or other business combination or
          purchase, of 50% or more of the total voting power of the Voting Stock of the Company
          or any direct or indirect parent company holding directly or indirectly 100% of the total
          voting power of the Voting Stock of the Company and (ii) the Permitted Holders do not
          have the right or ability, by voting power, contract or otherwise, to elect or designate for
          election a majority of the board of directors of the Company or such parent company; or

                  (c)     the adoption by the stockholders of the Company of a plan or proposal for
          the liquidation or dissolution of the Company.

          “Sale Price” has the meaning ascribed to it in Section 2.2(a).

          “Second Threshold Date” has the meaning ascribed to it in Section 4.1(c)(iii).

       “Securities” means “securities” as defined in Section 2(a)(1) of the Securities Act and
includes, with respect to any Person, such Person’s capital stock or other equity interests or any
options, warrants or other securities that are directly or indirectly convertible into, or exercisable
or exchangeable for, such Person’s capital stock.

         “Securities Act” means the Securities Act of 1933, as amended, or any successor Federal
statute, and the rules and regulations of the Commission promulgated thereunder, all as the same
shall be in effect from time to time.

          “Significant Committee Holder” has the meaning ascribed to it in Section 4.1(d).

       “Significant Committee Holder Designated Director” has the meaning ascribed to it in
Section 4.1(d).

        “Stockholders” means Persons (other than the Company), who are parties hereto, and
shall include any other Person who hereafter becomes a party to this Agreement pursuant to a
Joinder Agreement, in each case, only for so long as such Person owns or holds a beneficial
interest in Stockholder Shares and has not received such Stockholder Shares in violation of the
terms of this Agreement.

          “Stockholders’ Counsel” has the meaning ascribed to it in Section 6.5(b).

        “Stockholder Shares” means (a) any equity Securities of the Company (including the
Common Stock) purchased or otherwise acquired by any Stockholder prior to, on or after the
Effective Date and (b) any equity Securities issued or issuable directly or indirectly with respect
to the Securities referred to in clause (a) above by way of conversion, exercise or exchange,
stock dividend or stock split or in connection with a combination of shares, recapitalization,
reclassification, merger, consolidation or other reorganization.


Doc#: US1:6626551v15
                                                   10
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                           Pg 540 of 771



        “Subsidiary” means, at any time, with respect to any Person (the “Subject Person”), any
other Person of which either (a) fifty percent (50.0%) or more of the Securities or other interests
entitled to vote in the election of directors or comparable governance bodies performing similar
functions or (b) fifty percent (50.0%) or more of an interest in the profits or capital of such
Person, in each case, are at the time owned or Controlled directly or indirectly by the Subject
Person or through one or more Subsidiaries of the Subject Person.

          “Tag-Along Notice” has the meaning ascribed to it in Section 2.4(b).

          “Third Party Sale” has the meaning ascribed to it in Section 2.2(d).

        “Total Ownership Percentage” means, with respect to any Stockholder, or group of
Stockholders, the fraction, expressed as a percentage, the numerator of which is the total number
of shares of Common Stock held by such Stockholder, or group of Stockholders, and the
denominator of which is the total number of shares of Common Stock issued and outstanding at
the time of determination (excluding, from each of the numerator and the denominator above,
any options, warrants, convertible debt obligations or similar Securities and all Equity Incentive
Shares).

        “Transfer” of Securities shall be construed broadly and shall include any direct or indirect
issuance (other than an issuance of Securities by the Company), sale, assignment, transfer,
participation, gift, bequest, distribution, or other disposition thereof, or any pledge or
hypothecation thereof, placement of a lien thereon or grant of a security interest therein or other
encumbrance thereon, in each case whether voluntary or involuntary or by operation of law or
otherwise. Notwithstanding anything to the contrary contained herein, Transfer shall not include
the sale or transfer of Stockholder Shares by any Stockholder to the Company or pursuant to any
employment, option, subscription or restricted stock purchase agreement between the Company
and such Stockholder or any plan relating to the foregoing.

       “Transferee” means a Person acquiring or intending to acquire Stockholder Shares
through a Transfer.

          “Transferor” means a Stockholder Transferring or intending to Transfer Stockholder
Shares.

          “Transferring Stockholder” has the meaning ascribed to it in Section 2.2(a).

       “Trust” means in an irrevocable trust with a bank or trust company organized and in good
standing under the laws of the United States of America or any State thereof, doing business in
the Borough of Manhattan, The City of New York and having capital and surplus of not less than
$50,000,000 according to its last published statement of condition for the pro rata benefit of the
holders thereof.

1.2       Rules of Construction

      The use in this Agreement of the term “including” means “including, without limitation.”
The words “herein,” “hereof,” “hereunder” and other words of similar import refer to this
Agreement as a whole, including the schedules and exhibits, as the same may from time to time

Doc#: US1:6626551v15
                                                  11
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47        Main Document
                                           Pg 541 of 771



be amended, modified, supplemented or restated, and not to any particular section, subsection,
paragraph, subparagraph or clause contained in this Agreement. All references to sections,
schedules and exhibits mean the sections of this Agreement and the schedules and exhibits
attached to this Agreement, except where otherwise stated. The title of and the section and
paragraph headings in this Agreement are for convenience of reference only and shall not govern
or affect the interpretation of any of the terms or provisions of this Agreement. The use herein of
the masculine, feminine or neuter forms shall also denote the other forms, as in each case the
context may require. Where specific language is used to clarify by example a general statement
contained herein, such specific language shall not be deemed to modify, limit or restrict in any
manner the construction of the general statement to which it relates. The language used in this
Agreement has been chosen by the parties to express their mutual intent, and no rule of strict
construction shall be applied against any party. In determining the number of Stockholder Shares
held by any Stockholder as of the Effective Date, such Stockholder will be deemed to have then
held the Stockholder Shares listed in stock register of the Company for such Stockholder as of
the Effective Date. In determining whether any percentage thresholds hereunder are satisfied by
a Stockholder, the holdings of each of the individual members of the groups comprising each of
the Avenue Stockholders, the Angelo Gordon Stockholders, the Credit Suisse Stockholders and
the Capital Research Stockholders shall be aggregated with the other members of such group.

                                           ARTICLE II

                         ISSUANCES AND TRANSFERS OF SECURITIES

2.1       Issuances and Transfers of Securities

        (a)    The provisions in this Article II shall apply to all Stockholder Shares now owned
by any Stockholder or hereafter acquired by any Person, including Stockholder Shares acquired
by reason of original issuance, dividend, distribution, exchange, conversion and acquisition of
outstanding Stockholder Shares from another Person, and such provisions shall apply to any
Stockholder Shares obtained by a Stockholder upon the exercise, exchange or conversion of any
option, warrant or other derivative Security (including Equity Incentive Shares).

        (b)     The Company shall not issue to any Person, nor register or permit to be registered
in the stock books of the Company any Transfer of Stockholder Shares unless, as a condition to
the issuance or Transfer of such Stockholder Shares, such Person, if not already a Stockholder,
agrees to be bound by the terms of this Agreement as if such Person had executed this
Agreement, upon which time such Person will become a party to, and be bound by and obligated
to comply with the terms and provisions of, this Agreement as a “Stockholder”. In furtherance of
the foregoing, the Company may require any Person that is not already a Stockholder to execute
and deliver a joinder agreement substantially in the form attached hereto as Exhibit A (a “Joinder
Agreement”).

       (c)    No Stockholder shall Transfer any Stockholder Shares unless such Transfer is a
Permitted Transfer.

       (d)     Any attempt not in compliance with this Agreement to make any Transfer of all or
any portion of Stockholder Shares shall be null and void and of no force and effect, the purported

Doc#: US1:6626551v15
                                                  12
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47        Main Document
                                           Pg 542 of 771



Transferee shall have no rights or privileges in or with respect to the Company, and the Company
shall not give any effect in the Company’s records to such attempted Transfer. In the case of a
Transfer or attempted Transfer of any Stockholder Shares or other interest in the Company
contrary to the provisions of the Agreement, the parties engaging or attempting to engage in such
Transfer shall indemnify and hold harmless the Company and each of the Stockholders from all
Losses that such indemnified Persons may incur (including legal fees and expenses) in enforcing
the provisions of this Agreement.

2.2       Right of First Offer

         (a)    No Stockholder shall Transfer any of its Stockholder Shares, unless such
Stockholder proposing to Transfer such Stockholder Shares (the “Transferring Stockholder”)
shall first have delivered a written offer (a “Sale Offer”) to the ROFO Offerees offering to
Transfer to the ROFO Offerees the Transferring Stockholder’s Stockholder Shares identified in
the Sale Offer (the “Offered Shares”) on the terms set forth therein. The Sale Offer shall specify
(i) that such Transferring Stockholder desires to Transfer all or a portion of its Stockholder
Shares (and the amount of such portion), (ii) the proposed sale price of the Offered Shares (the
“Sale Price”) and (iii) any other material terms and conditions of the proposed Transfer. Upon
delivery of a Sale Offer, such Sale Offer shall be irrevocable unless and until the right of first
offer provided for herein shall have been waived by the each ROFO Offeree or shall have
expired in accordance with the terms hereof.

        (b)      Within ten (10) Business Days following its receipt of a Sale Offer (the “Offer
Period”), each ROFO Offeree shall have the right to deliver a written notice (the “Offer to
Purchase”) to the Transferring Stockholder agreeing (i) to purchase the number of Offered Shares
up to its Adjusted Percentage Ownership (excluding for the purposes of this calculation
Stockholder Shares held by Stockholders who are not ROFO Offerees) of the total number or
amount of Offered Shares and (ii) to offer to purchase up to its Adjusted Percentage Ownership
(excluding for the purposes of this calculation Stockholder Shares held by Stockholders who are
not ROFO Offerees) of the Offered Shares not subscribed for by ROFO Offerees (as further
described below). Any Offered Shares not purchased by a ROFO Offeree shall be deemed to be
re-offered to and accepted by the ROFO Offerees exercising their options specified in
clause (ii) of the immediately preceding sentence with respect to the lesser of (x) the amount
specified in their respective Offer to Purchase and (y) an amount equal to their respective
Adjusted Percentage Ownership (excluding for the purposes of this calculation Stockholder
Shares held by Stockholders who are not ROFO Offerees and those held by ROFO Offerees who
have not exercised their option specified in clause (ii) of the immediately preceding sentence)
with respect to such deemed re-offer. Such deemed re-offer and acceptance procedures described
in the immediately preceding sentence shall be deemed to be repeated until either (i) all of the
Offered Shares are accepted by the ROFO Offerees or (ii) no ROFO Offeree desires to subscribe
for more of the Offered Shares. The Transferring Stockholder shall notify (the “Offer Final
Notice”) each ROFO Offeree within five (5) Business Days following the expiration of the Offer
Period of the number of Offered Shares which such ROFO Offeree has agreed to purchase
pursuant to the foregoing.

       (c)     Following receipt of an Offer to Purchase, the ROFO Offerees and the
Transferring Stockholder shall consummate the transaction contemplated by the Sale Offer

Doc#: US1:6626551v15
                                                13
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                           Pg 543 of 771



within thirty (30) days after receipt of the Offer Final Notice. At the closing of such Transfer, the
ROFO Offerees and the Transferring Stockholder shall execute such documents as are otherwise
necessary or appropriate to effectuate the Transfer.

        (d)     If no Offer to Purchase has been timely delivered under Section 2.2(b) or the
ROFO Offerees have agreed to purchase less than all of the Offered Shares, the Transferring
Stockholder shall be permitted to Transfer all, but not less than all, of the Offered Shares not
subject to an Offer to Purchase on the terms and conditions set forth in the Sale Offer (a “Third
Party Sale”), subject to compliance with Section 2.1(c) hereof; provided, that such Third Party
Sale is consummated within sixty (60) days after the earlier to occur of (x) the waiver by all of
ROFO Offerees of their option to purchase Offered Shares and (y) the expiration of the ten (10)
Business Day period permitted for delivery of the Offer to Purchase; provided further that such
sixty (60) day period shall be extended to the extent required to allow compliance with the time
periods set forth in Section 2.4. If such Third Party Sale is not consummated within such sixty
(60) day period (including any permitted extensions thereof) for any reason, then the restrictions
provided for in this Section 2.2 shall again become effective, and no Transfer of Offered Shares
may be made thereafter by the Transferring Stockholder without again offering the same to the
ROFO Offerees in accordance with this Section 2.2.

       (e)     The restrictions set forth in this Section 2.2 shall not apply to any Transfer of
Stockholder Shares (i) by a Stockholder (A) that is a natural person, to a Permitted Family
Transferee of such Stockholder, or (B) that is not a natural Person, to an Affiliate of such
Stockholder, or (ii) pursuant to Sections 2.4(c), 2.5 and 2.6.

        (f)     Each Stockholder acknowledges with respect to any purchase or sale of Offered
Shares with any Committee Holder (or any of its Affiliates) that is entitled to designate one or
more members of the Board of Directors (the “Counterparty”) that (i) no Counterparty has made
any representation or warranty, express or implied, regarding the Company; and (ii) a
Counterparty may have, or may come into possession of, information with respect to the Offered
Shares, the Company or the Company’s Affiliates that may constitute material non-public
information or information that is not known to such Stockholder and that may be material to a
decision to the purchase or sale of Offered Shares (collectively, “Counterparty Excluded
Information”), and that such Counterparty is not at liberty to disclose such information. A
Counterparty shall have no liability to any Stockholder with respect to the nondisclosure of
Counterparty Excluded Information. Such Stockholder irrevocably and unconditionally waives
and releases the Counterparty and its Affiliates from all claims (whether for damages, rescission
or any other relief), that it might have against the Counterparty whether under applicable
securities laws or otherwise, with respect to the nondisclosure of Counterparty Excluded
Information in connection with such purchase or sale transaction, and such Stockholder has
agreed not to solicit or encourage, directly or indirectly, any other person to assert such a claim.
Such Stockholder further confirms that it understands the significance of the foregoing waiver.

2.3       [RESERVED.]




Doc#: US1:6626551v15
                                                 14
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47        Main Document
                                           Pg 544 of 771



2.4       Co-Sale Rights

        (a)     If at any time any Stockholder or group of Stockholders acting in concert propose
to Transfer Stockholder Shares representing 5.0% or more of the then outstanding Common
Stock in a transaction or series of related transactions to any Person (or group of Persons acting
in concert) other than to their respective Affiliates or Permitted Family Transferees, as
applicable, then at least ten (10) Business Days prior to the closing of such Transfer, the selling
Stockholder(s) shall deliver a written notice (the “Co-Sale Notice”) to each Co-Sale Participant
offering such Co-Sale Participant the option to participate in such proposed Transfer by
Transferring the Co-Sale/Drag Sale Percentage of Stockholder Shares (excluding, other than in
connection with the Sale of the Company, Equity Incentive Shares) held by each such Co-Sale
Participant. Such Co-Sale Notice shall specify in reasonable detail the identity of the prospective
Transferee, the terms and conditions of the Transfer and the class and amount of Stockholder
Shares proposed to be Transferred.

        (b)    Any Co-Sale Participant shall, within five (5) Business Days of the receipt of a
Co-Sale Notice, have the right to deliver written notice (each, a “Tag-Along Notice”) to the
selling Stockholder(s) stating that such Co-Sale Participant wishes to participate in such
proposed Transfer by Transferring a number of Stockholder Shares (excluding, other than in
connection with the Sale of the Company, Equity Incentive Shares) up to the Co-Sale/Drag Sale
Percentage of Stockholder Shares (excluding, other than in connection with the Sale of the
Company, Equity Incentive Shares) held by each such Co-Sale Participant. Such Co-Sale
Participant shall propose to include only Stockholder Shares (excluding, other than in connection
with the Sale of the Company, Equity Incentive Shares) of the same class of Stockholder Shares
being transferred by the selling Stockholder(s).

        (c)     If no Co-Sale Participant gives the selling Stockholder(s) a timely Tag-Along
Notice with respect to the Transfer proposed in the Co-Sale Notice, the selling Stockholder(s)
may thereafter Transfer the Stockholder Shares specified in the Co-Sale Notice on the terms and
conditions set forth therein, subject to compliance with Section 2.1(c) hereof. If one or more Co-
Sale Participants give the selling Stockholder(s) timely Tag-Along Notices, then the selling
Stockholders shall use commercially reasonable efforts to cause the prospective Transferee(s) to
agree to acquire all Stockholder Shares identified in all Tag-Along Notices that are given to the
selling Stockholder(s) in accordance with the terms of this Section 2.4, upon the same terms and
conditions as applicable to the selling Stockholder(s’) Stockholder Shares, subject to compliance
with Section 2.1(c) hereof. If the prospective Transferee(s) are unwilling or unable to acquire all
Stockholder Shares proposed to be included in such sale upon such terms, then the selling
Stockholders may elect either to cancel such proposed Transfer or to allocate the maximum
number of Stockholder Shares that each prospective Transferee is willing to purchase among the
selling Stockholder(s) and the Co-Sale Participants giving timely Tag-Along Notices in
proportion to each such Stockholders’ applicable Adjusted Percentage Ownership (excluding for
the purposes of such calculation the Stockholder Shares held by Co-Sale Participants who have
not timely delivered a valid Tag-Along Notice).

       (d)     This Section 2.4 shall not apply to any sale of Stockholder Shares pursuant to a
Public Offering, or pursuant to Sections 2.2(c), 2.5, and 2.6.


Doc#: US1:6626551v15
                                                15
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                           Pg 545 of 771



2.5       Drag Along Right

        (a)     If Stockholders acting by Majority Requisite Consent propose to consummate a
transaction or series of related transactions constituting a Sale of the Company (the “Dragging
Stockholders”) pursuant to an Approved Sale, such Dragging Stockholders shall have the right, at
their option to require the other Stockholders (each a “Dragged Stockholder”) to join in such
Approved Sale by Transferring the Co-Sale/Drag Sale Percentage of Stockholder Shares
proposed to be sold by the Dragging Stockholders, subject to the obligations in Section 2.5(c);
provided that Alternative Majority Consent may be obtained if Majority Requisite Consent is not
obtained. Each Stockholder shall consent to and raise no objections against (and, in any
stockholder vote required with the respect to such Approved Sale, shall affirmatively vote all of
its Stockholder Shares (if any) the Approved Sale, and if the Approved Sale is structured as a sale
of the issued and outstanding equity Securities of the Company (whether by merger,
recapitalization, consolidation or Transfer of Stockholder Shares or other Securities or
otherwise), then each Dragged Stockholder shall waive any dissenters rights, appraisal rights or
similar rights in connection with such Approved Sale (if applicable), each Dragged Stockholder
shall agree to sell his, her or its Stockholder Shares, subject to Section 2.5(c) below, on the terms
and conditions as may be approved by the Dragging Stockholders. Each Dragged Stockholder
and the Company (subject to applicable law and compliance by the Company Board with any
fiduciary duties) shall take all necessary and desirable actions in connection with the
consummation of the Approved Sale, including, but not limited to, the execution of such
agreements and instruments and other actions necessary to provide the representations,
warranties, indemnities, covenants, conditions, escrows and other provisions and agreements
relating to such Approved Sale. Notwithstanding anything to the contrary contained herein,
Sections 2.1, 2.2, 2.4, 2.6 and 2.7 and Articles III and VIII shall not apply in connection with an
Approved Sale.

        (b)     The Dragging Stockholders shall deliver written notice to each Dragged
Stockholder setting forth in reasonable detail the material terms (including price, time and form
of payment and the identity of the Dragging Stockholders) of any Approved Sale (the “Approved
Sale Notice”) at least ten (10) Business Days prior to the consummation of such Approved Sale.
Within five (5) Business Days following receipt of the Approved Sale Notice, each Dragged
Stockholder shall deliver to the Dragging Stockholders written notice (in form and substance
reasonably satisfactory to the Dragging Stockholders) setting forth such Dragged Stockholder’s
agreement to consent to and raise no objections against, or impediments to, the Approved Sale
(including, waiving all dissenter’s and similar rights, if applicable) and if the Approved Sale is
structured as a sale of stock, to sell its Stockholder Shares on the terms and conditions set forth
in the Approved Sale Notice; provided, however, that the failure by any Dragged Stockholder to
deliver such written notice and/or consent to the Dragging Stockholders shall not in any manner
relieve or otherwise affect the obligations of each Dragged Stockholder pursuant to this
Section 2.5.

       (c)      The obligations of the Dragged Stockholders to participate in any Approved Sale
pursuant to this Section 2.5 are subject to the satisfaction of the following conditions:

                 (i)    subject to clause (ii) below, upon the consummation of the Approved Sale,
          each Stockholder shall receive the same proportion of the aggregate consideration from

Doc#: US1:6626551v15
                                                 16
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                           Pg 546 of 771



          such Approved Sale that such holder would have received if such aggregate consideration
          had been distributed by the Company in complete liquidation pursuant to the rights and
          preferences set forth in the Certificate as in effect immediately prior to such Approved
          Sale;

                 (ii)     if any Stockholder is given an option as to the form and amount of
          consideration to be received with respect to Securities in a class, all Stockholders of such
          class will be given the same option;

                (iii) no Stockholder shall be obligated to pay more than his, her or its pro-rata
          amount (based on the amount of aggregate consideration received) of all reasonable
          expenses incurred by the Company in connection with a consummated Approved Sale;

                 (iv)    any indemnification obligations for breaches of representations, warranties
          and covenants made by the Company and its Subsidiaries shall be pro-rata among the
          Stockholders based on the aggregate consideration received with respect to the
          Stockholder Shares and capped at such Stockholders’ pro rata share of the aggregate
          consideration received; and

                 (v)     no Stockholder other than a Management Stockholder shall be required to
          sign on to any agreement restricting its ability to compete with the Company and its
          Subsidiaries.

        (d)     To the extent the Approved Sale is structured as a sale of all or substantially all of
the assets of the Company on a consolidated basis, each Dragged Stockholder shall consent to
and raise no objections against (and, in any stockholder vote required with respect to such
Approved Sale, shall affirmatively vote all of its Stockholder Shares in favor of) such transaction
and shall waive any dissenters rights, appraisal rights or similar rights in connection with such
transaction.

2.6       Minority Transfer Restrictions

        (a)     If upon consummation of a proposed Transfer of Stockholder Shares the
Transferee and its Affiliates (a “Potential Majority Owner”) will Control 50.0% or more of the
combined voting power of the outstanding voting Securities of the Company (a “Control
Transaction”), the prospective Transferor(s) (the “Prospective Seller”) and the Potential Majority
Owner shall each immediately notify the Company and other Stockholders of such transaction
upon becoming aware that such Transaction is a Control Transaction by delivering a written
notice (a “Control Transaction Notice”) specifying (i) that such Prospective Seller desires to
Transfer all or a portion of its Stockholder Shares (and the amount of such portion) in a Control
Transaction, (ii) the proposed sale price and (iii) any other material terms and conditions of the
proposed Control Transaction. Each of the other Stockholders (a “Participating Stockholder”)
shall then be entitled, upon written notice (a “Put Notice”) delivered to the Prospective Seller and
the Potential Majority Owner within ten (10) Business Days of receipt of the Control Transaction
Notice, to require the Potential Majority Owner to purchase all, but not less than all, of their
Stockholder Shares upon the terms and conditions set forth in this Section 2.6. Such purchase



Doc#: US1:6626551v15
                                                   17
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                           Pg 547 of 771



shall be completed within 30 days following receipt of the Put Notice delivered by such
Participating Stockholders to the Prospective Seller and the Potential Majority Owner.

        (b)     The purchase of Stockholder Shares pursuant to this Section 2.6 shall be at a price
per Stockholder Share equal to the greater of (x) the price per Stockholder Share received by the
Potential Seller in the Control Transaction and (y) the Fair Market Value of such Stockholder
Shares.

        (c)     The Prospective Seller shall not complete the proposed Transfer of its Stockholder
Shares unless and until the Potential Majority Owner has purchased all the Stockholder Shares of
the other Participating Stockholders specified in each such Participating Stockholder’s Put
Notice on terms set forth in Section 2.6(b).

        (d)    Notwithstanding anything to the contrary contained herein, Sections 2.2 and 2.4
shall not apply in connection with a sale by the Participating Stockholders to the Potential
Majority Owner pursuant to this Section 2.6.

2.7       Certain Affiliate Transactions.

        (a)     No Stockholder shall intentionally avoid its obligation under this Agreement by
making one or more Transfers of Stockholder Shares to its respective Affiliates and then
Transferring all or any portion of such Stockholders’ interest in any such Affiliate (or a direct or
indirect parent thereof).

        (b)     Any contract, commitment, arrangement or transaction between the Company or
any of its Subsidiaries, on the one hand, and any Affiliate of the Company and any Affiliate
thereof, on the other hand, shall be:

                  (i)    approved by at least a majority of the disinterested directors of the
          Company Board (it being understood and agreed that the Company Board shall determine
          whether or not a director is a disinterested director for the purposes of this Section
          2.7(b)(i) and any such determination by the Company Board shall be conclusive);
          [and/or]

                  (ii)    approved by Majority Requisite Consent; provided that Alternative
          Majority Consent may be obtained if Majority Requisite Consent is not obtained; and
          provided, further however, for the purposes of this Section 2.7(b)(ii) only, to the extent a
          Committee Holder or an Affiliate of a Committee Holder is an interested party in such
          transaction, the shares of Common Stock held by such Committee Holder shall be
          disregarded in the calculation contemplated by clause (ii) of the definition of Alternative
          Majority Consent.

       Notwithstanding the foregoing, the approvals set forth in this Section 2.7(b) shall not be
required for:

        1) transactions between or among the Company and its Subsidiaries not involving any
           other Affiliate;


Doc#: US1:6626551v15
                                                   18
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47         Main Document
                                           Pg 548 of 771



        2) payment of dividends approved by the Company Board;

        3) payment or prepayment of indebtedness, premiums, principal payments, fees, interest
           or similar payments when due for such indebtedness to the extent the incurrence of
           such indebtedness was not in violation of this Agreement;

        4) any agreement or arrangement as in effect as of the Effective Date, or any amendment
           thereto (so long as any such amendment is not materially less favorable to the
           Company or any of its Subsidiaries when taken as a whole as compared to the
           applicable agreement or arrangement as in effect on the Effective Date);

        5) the payment of reasonable and customary fees paid to, and indemnities provided on
           behalf of, officers, directors, employees or consultants of the Company or any of its
           Subsidiaries;

        6) issuances or acquisitions of any Securities, or payments, pursuant to any Equity
           Incentive Plan;

        7) the existence of, or the performance by the Company or any of its Subsidiaries of its
           obligations under the terms of this Agreement;

        8) a rights offering approved pursuant to Section 3.1; and

        9) transactions involving annual payments or annual consideration of less than
           $5,000,000; provided, however, this clause (9) shall not apply to any agreements with
           any Committee Holder or any investment fund affiliated with such Committee Holder
           that provides for the payment by the Company or any of its subsidiaries of
           management, advisory, monitoring or similar fees to such Committee Holder or any
           such investment fund.

                                           ARTICLE III

                                       APPROVAL RIGHTS

3.1     Rights Offering. In the event that the Company proposes to issue any equity Securities
to any existing equity holder (or its affiliates) of the Company, other than Excluded Securities,
the Company must first obtain the consent of each of the Angelo Gordon Stockholders, the
Avenue Stockholders and the Capital Research Stockholders, provided that (i) the consent of any
of the Angelo Gordon Stockholders, the Avenue Stockholders or the Capital Research
Stockholders shall not be required if such Stockholder does not have Total Ownership Percentage
of at least ten percent (10.0%) and (ii) such consent shall not be required if the Board of
Directors determines (as evidenced, subject to sections 3.4 and 3.5, by a resolution approved by
not less than 8 out of 9 of the then current members of the Board of Directors) in the exercise of
its business judgment, that the failure to make such issuance will have a material adverse effect
on the Company; provided further, however, that the issuance of equity to fund an acquisition or
investment shall not be considered a material adverse effect.



Doc#: US1:6626551v15
                                                 19
10-16140-mg              Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47      Main Document
                                               Pg 549 of 771



3.2     Mandatory Redemption of Common Stock.Within 45 days of the last day of each fiscal
quarter (75 days after the year end quarter), the Company shall provide (through posting of such
information on the Company’s website) to each Stockholder a calculation of the Company’s Free
Cash Flow for (i) such fiscal quarter and (ii) all cumulative Free Cash Flow since September 30,
2010 (the “Cumulative Free Cash Flow”).

        (b)     If the calculation of Free Cash Flow for the then current fiscal quarter provided
pursuant to Section 3.2(a)(i) above indicates that the Company had positive Free Cash Flow, and
only if the Company determines not to issue a dividend of at least 75% of the Cumulative Free
Cash Flow, then the Company shall, to the extent permitted by applicable law and not prohibited
by the terms of indebtedness of the Company or any of its subsidiaries, redeem (the
“Redemption”), on a pro rata basis, a portion of the then outstanding Common Stock utilizing at
least 75% of the Cumulative Free Cash Flow, unless the Board of Directors determines (as
evidenced, subject to section 3.4, by a resolution approved by not less than 66% of the then
current members of the Board of Directors), in the exercise of its business judgment, that the
making and/or consummation of the Redemption would have a material and adverse effect on the
Company; provided that, if the Company is, as of the date of such calculation referred in to
Section 3.2(a), prohibited pursuant to the terms of its then existing indebtedness from making
such dividend or Redemption, then the Company may use such Free Cash Flow to repay the
Company’s then outstanding indebtedness; provided, further, that the Company will not be
required to use amounts available to the Company pursuant to Section 4.07 of the New First
Lien Indenture or similar provisions of the successor financing to make such dividends or
redemptions.

          (c)          For purposes of this Section 3.2:

                 (i)     “Free Cash Flow” shall mean, with regard to any fiscal period, the
          Company’s EBITDA for such period less working capital requirements, principal
          payments on indebtedness and capital leases, cash interest, cash taxes, and capital
          expenditures for such period, in each case calculated in accordance with generally
          acceptable accounting principles in the United States of America.

                  (ii)    “EBITDA” shall have the meaning assigned to such term under the
          company’s outstanding debt documents at the time of calculation, and consistent with
          historical calculations.

3.3     Redemption Procedures.The Company shall give notice of any Redemption by mail,
postage prepaid, not less than 30 days nor more than 60 days prior to the date fixed for such
redemption, to each holder of record of the Common Stock to be redeemed appearing on the
stock books of the Company as of the date of such notice at the address of said holder shown
therein. Such notice to any holder shall state the redemption date; the number of shares to be
redeemed and the number (and the identification) of shares to be redeemed from such holder; the
redemption price (which shall be determined by the Company Board and such determination
shall be final), and the place where the shares to be redeemed shall be presented and surrendered
for payment of the redemption price therefor. Any notice which is mailed in the manner herein
provided shall be conclusively presumed to have been duly given, whether or not the stockholder
receives such notice, and failure duly to give such notice by mail, or any defect in such notice, to

Doc#: US1:6626551v15
                                                       20
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                           Pg 550 of 771



any holder of shares of the Common Stock to be redeemed shall not affect the validity of the
proceedings for the redemption of any other shares of the Common Stock.

         (b)    If notice of redemption of shares of Common Stock to be redeemed on a
redemption date shall have been duly given, and if the Company deposits in cash the aggregate
redemption price of such shares in a Trust for the pro rata benefit of the holders of such shares
prior to such redemption date, then from and after the time of such deposit, or, if no such deposit
is made, then upon such redemption date (if on or before such redemption date all funds in cash
necessary for redemption of such shares shall have been set aside by the Company, separate and
apart from its other funds, in trust for the pro rata benefit of the holders of such shares, so as to
be and continue to be available therefor), and notwithstanding that any certificate representing
any such shares shall not have been surrendered for cancellation, (i) the holders of such shares
shall cease to be stockholders with respect to such shares, (ii) such shares shall no longer be
deemed to be outstanding and shall no longer be transferable on the books of the Company and
(iii) such holders shall have no interest in or claim against the Company with respect to such
shares except only the right to receive from the Company the amount payable on redemption
thereof, without interest (or, in the case of such deposit, from such bank or trust company the
funds so deposited, without interest), upon surrender of the certificates representing such shares
on or after the redemption date (or, in the case of such deposit, at any time after such deposit).
Any funds so deposited in a Trust and unclaimed at the end of two years from the date fixed for
redemption shall, to the extent permitted by law, be repaid to the Company upon its request, after
which the holders of such shares shall look only to the Company for payment thereof.

        (c)     Any Redemption shall be effected only out of funds legally available for such
purpose. If on any date the Company is required to redeem any shares of Common Stock
pursuant to a Redemption and does not have sufficient funds legally available to redeem all such
shares on such date, the Company shall use any funds which are legally available to redeem such
portion of all such shares pro rata (as nearly as may be) on such redemption date as such funds
are sufficient therefor and shall redeem the remaining shares of Common Stock on the earliest
practicable date next following the day on which the Company shall first have funds legally
available for the redemption of such shares.

        (d)     The shares of Common Stock to be redeemed shall be determined pro rata among
all holders of Common Stock, according to the respective number of shares of Common Stock
held by such holders. In the event that less than all of the shares represented by any certificate
evidencing shares of Common Stock are redeemed, the Company shall forthwith (or cause a
transfer agent for the Common Stock to) issue a new certificate representing the unredeemed
shares, in accordance with the provisions of this Article III, subject to the applicable escheat
laws.

        (e)    Upon any redemption of shares of Common Stock, the shares of Common Stock
so redeemed shall be cancelled and shall revert to authorized but unissued Common Stock, and
the number of shares of Common Stock which the Company shall have authority to issue shall
not be decreased by such redemption.

3.4  Reduction of Directors. For purposes of Sections 3.1 hereof, to the extent that (a) the
Company has less than nine (9) current members of the Board of Directors, and (b) a Board of

Doc#: US1:6626551v15
                                                 21
10-16140-mg               Doc 116    Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                               Pg 551 of 771



Directors resolution is required, then the eight (8) out of nine (9) requirement will be adjusted to
mean not less than 88% of the then current members of the Board of Directors.

3.5       Rights Offering Voting.

       For purposes of Section 3.1 hereof, no member of the Board of Directors shall be
precluded from voting on a resolution because the Stockholder that designated such member may
purchase equity securities in connection with an issuance under Section 3.1.

                                                 ARTICLE IV

                                          BOARD OF DIRECTORS

4.1       Election of Directors; Voting

        (a)     The Stockholders and the Company acknowledge that the initial Company Board
as of the Effective Date shall be composed of nine (9) directors who shall be the individuals set
forth in Schedule I and for purpose of this Section 4.1, such directors (other than the Chief
Executive Officer of the Company) shall be deemed to have been designated by the holder(s) set
forth opposite such directors name on Schedule I.

        (b)     Following the Effective Date and subject to Section 4.1(a), each Stockholder
hereby covenants and agrees to use commercially reasonable efforts to take all action within their
power, including voting (or delivering written consents with respect to) their Stockholder Shares,
to cause the number of directors constituting the Company Board to be nine (9) and at each
annual meeting of the holders of any class of Stockholder Shares, and at each special meeting of
the holders of any class of Stockholder Shares called for the purpose of electing directors of the
Company, and at any time at which holders of any class of Stockholder Shares shall have the
right to vote for or consent in writing to the election of directors of the Company, then, and in
each such event, each Stockholder shall vote all of the Stockholder Shares owned by them for, or
consent in writing with respect to such Stockholder Shares in favor of, the election of the
Company Board constituted as follows:

               (i)    the individual holding the office of Chief Executive Officer of the
          Company from time to time (the “Management Director”);

                  (ii)   four (4) individuals designated by the Avenue Stockholders; provided that
          one (1) such individual shall (x) not be affiliated with the Avenue Stockholders and (y) be
          acceptable to the Capital Research Stockholders and the Angelo Gordon Stockholders so
          long as each such Stockholder is a holder of at least ten percent (10%) of the Total
          Ownership Percentage;

                       (iii)   two (2) individuals designated by the Angelo Gordon Stockholders; and

                       (iv)    two (2) individuals designated by the Capital Research Stockholders;

          provided, that (i) if the Avenue Stockholders have a Total Ownership Percentage of less
          then twenty percent (20%), but more than ten percent (10%), then the number of

Doc#: US1:6626551v15
                                                       22
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                           Pg 552 of 771



          designees to which the Avenue Stockholders are entitled pursuant to Section 4.1(b)(ii)
          shall be reduced to two (2); (ii) if the Total Ownership Percentage of any of the Avenue
          Stockholders, the Angelo Gordon Stockholders or the Capital Research Stockholders is
          less than ten percent (10%), but more than five percent (5%), then such Stockholder shall
          be entitled to designate one director; and (iii) if the Total Ownership Percentage of any of
          the Avenue Stockholders, the Angelo Gordon Stockholders or the Capital Research
          Stockholders is less than five percent (5%), then such Stockholder shall no longer be
          entitled to designate individuals pursuant to this Section 4.1(b).

        (c)     If a Significant Committee Holder loses the right to designate one or more
directors of the Company Board or the individual then holding the office of Chief Executive
Officer of the Company ceases to hold such office, any director vacancy (if any) created by such
event shall be filled by Significant Committee Holders acting by Majority Requisite Consent
(such directors, the “Majority Committee Holder Designated Directors”); provided that if:

                   (i)     the Total Ownership Percentage of the Avenue Stockholders is less than
          twenty percent (20%), but more than ten percent (10%) (the first date on which such
          Total Ownership Percentage is reached is the “Avenue First Threshold Date”) and a
          Significant Committee Holder (the “Avenue Acquiring Significant Committee Holder”)
          has acquired from the Avenue Stockholders a number of shares of Common Stock equal
          to at least the product of (A) 50.1% and (B) the number of shares of Common Stock
          owned by the Avenue Stockholders on the Effective Date minus the of shares of Common
          Stock owned by the Avenue Stockholders on the Avenue First Threshold Date, then such
          Acquiring Significant Committee Holder shall be entitled to designate two (2) directors in
          addition to what it would otherwise be entitled to designate pursuant to Section 4.1(b);

                  (ii)   the Total Ownership Percentage of a Significant Committee Holder is less
          than ten percent (10%), but more than five percent (5%) (the first date on which such
          Total Ownership Percentage is reached is the “First Threshold Date”) and a Significant
          Committee Holder (which may be the Avenue Acquiring Significant Committee Holder)
          (the “Acquiring Significant Committee Holder”) has acquired from such Significant
          Committee Holder a number of shares of Common Stock equal to at least the product of
          (A) 50.1% and (B) the number of shares of Common Stock owned by (1) such Significant
          Committee Holder on the Effective Date if such Significant Committee Holder is the
          Angelo Gordon Stockholders or the Capital Research Stockholders or (2) such Significant
          Committee Holder on the Avenue First Threshold Date if such Significant Committee
          Holder is the Avenue Stockholders, in each case minus the of shares of Common Stock
          owned by such Significant Committee Holder on the First Threshold Date, then such
          Acquiring Significant Committee Holder shall be entitled to designate one (1) director in
          addition to what it would otherwise be entitled to designate pursuant to Section 4.1(b);

                  (iii) the Total Ownership Percentage of a Significant Committee Holder is less
          than five percent (5%) (the first date on which such Total Ownership Percentage is
          reached is the “Second Threshold Date”) and a Significant Committee Holder (which
          may be the Avenue Acquiring Significant Committee Holder) (the “Acquiring Significant
          Committee Holder”) has acquired from such Significant Committee Holder a number of
          shares of Common Stock equal to at least the product of (A) 50.1% and (B) the number

Doc#: US1:6626551v15
                                                   23
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                           Pg 553 of 771



          of shares of Common Stock owned by (1) such Significant Committee Holder on the
          Effective Date if such Significant Committee Holder is the Angelo Gordon Stockholders
          or the Capital Research Stockholders or (2) such Significant Committee Holder on the
          Avenue First Threshold Date if such Significant Committee Holder is the Avenue
          Stockholders, in each minus the of shares of Common Stock owned by such Significant
          Committee Holder on the Second Threshold Date, then such Acquiring Significant
          Committee Holder case shall be entitled to designate one (1) director in addition to what
          it would otherwise be entitled to designate pursuant to Section 4.1(b);

                 (iv)    neither clause (i), (ii) or (iii) is applicable and the Credit Suisse
          Stockholders are a holder of at least ten percent (10%) of the Total Ownership
          Percentage, then the Credit Suisse Stockholders shall be considered a Significant
          Committee Holder and entitled to designate one director of the Company;

                  (v)     Majority Requisite Consent is required but cannot be obtained then such
          director vacancy shall be filled by the Significant Committee Holders acting by the
          Majority of the Total Ownership Percentage held by the Significant Committee Holders
          except that in such case the Majority Committee Holder Designated Director so
          nominated may not be affiliated with any Significant Committee Holder or the Company;
          and

                  (vi)   any of the Avenue Stockholders, Angelo Gordon Stockholders or Capital
          Research Stockholders reduce their Total Ownership Percentage in a single transfer to an
          Acquiring Significant Committee Holder and in an amount such that any of the Avenue
          First Threshold Date, First Threshold Date or Second Threshold Date is the same date,
          then the Acquiring Significant Committee Holder shall be entitled to designate the same
          number of directors as it would have been able to designate had it purchased the
          Common Stock in multiple transactions in which the Avenue First Threshold Date, First
          Threshold Date and/or Second Threshold Date had occurred on separate dates.

        (d)      Each Significant Committee Holder (as defined below) shall have the exclusive
right to cause the removal and appointment of their respective designees to the Company Board
as well as the exclusive right to cause the filling of vacancies created by reason of death,
disability, removal or resignation of their respective designees to the Company Board, subject to
the limitation set forth in the proviso to Section 4.1(b) hereof. In order to effect the rights
granted by this Section 4.1(d), the directors (subject to their fiduciary duties) and the Company
shall, or, in the case the directors fail to so act, the Stockholders shall use commercially
reasonable efforts to take all action within their power, including voting (or delivering written
consents with respect to) their Stockholder Shares, (i) to remove any Significant Committee
Holder Designated Director (as defined below) or Majority Committee Holder Designated
Director whose removal is requested by the applicable Significant Committee Holder who
designated such Significant Committee Holder Designated Director or Committee Holders
sufficient to constitute a Majority Requisite Consent, respectively, and (ii) to promptly fill any
vacancy created by the death, disability, removal, or resignation of a director, in each case for the
election of a new Significant Committee Holder Designated Director or Majority Committee
Holder Designated Director designated by such Person or group of Persons who has the right to
cause the filling of such vacancy. The Company (subject to the fiduciary duties of the directors)

Doc#: US1:6626551v15
                                                   24
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47        Main Document
                                           Pg 554 of 771



and the Stockholders shall, if the Company Board fails to act, fill any vacancies of the Company
Board, in accordance with this Section 4.1, as soon as practicable following the date such
vacancy is created. For the purposes of this Section 4.1(d), a “Significant Committee Holder”
means each of the Avenue Stockholders, the Angelo Gordon Stockholders and the Capital
Research Stockholders so long as it is a holder of at least five percent (5%) of the Total
Ownership Percentage or if applicable pursuant to Section 4.1(b)(iv), the Credit Suisse
Stockholders, and each director designated by each of the foregoing pursuant to Section 4.1(b)
hereof is referred to herein as a “Significant Committee Holder Designated Director”.

        (e)    The Company shall pay all fees, charges and expenses (including travel and
related expenses) reasonably incurred by each of the members of the Company Board in
connection with (i) attending the meetings of the Company Board and (ii) conducting any other
Company business requested by the Company.

                                           ARTICLE V

                                        D&O INSURANCE

5.1       D&O Insurance

         Until the sixth anniversary of the Effective Date, the Company shall, and shall cause
AMOI, to cause the individuals serving as directors of the Company, AMOI or any of their
respective Subsidiaries to be covered following the Effective Time by the directors’ and officers’
liability insurance policies maintained by the Company immediately prior to the Effective Time
(provided that the Company and/or AMOI may substitute therefor policies of at least the same
coverage and amounts containing terms and conditions that are not less advantageous in any
material respect than such policy); provided that in no event shall the Company or AMOI be
required to expend annually in the aggregate an amount in excess of one hundred fifty percent
(150%) of the annual premiums currently paid by Company for such insurance (the “Insurance
Amount”), and provided further that if the Company is unable to maintain such policy (or such
substitute policy) as a result of the preceding proviso, the Company shall obtain as much
comparable insurance as is available for the Insurance Amount.

                                          ARTICLE VI

                                    REGISTRATION RIGHTS

6.1       Required Registration.

         (a)     Except as limited by Section 6.1(b), if at any time and from time to time, the
Company shall be requested in writing by Committee Holders constituting a Majority Requisite
Consent (or, if Majority Requisite Consent is not obtained, by Alternative Majority Consent) to
effect the registration under the Securities Act of an offering of Registrable Shares held by such
Stockholders specifying the number of Registrable Shares to be so registered by each requesting
Committee Holder and whether such offering shall be an underwritten offering (a “Demand
Registration Request”), then the Company shall promptly give written notice to all Stockholders
of its intention to register the Registrable Shares subject to the Demand Registration Request

Doc#: US1:6626551v15
                                                25
10-16140-mg               Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47     Main Document
                                                Pg 555 of 771



and, upon the written request of any Stockholder (given within ten (10) Business Days after
delivery of any such notice to each Stockholder by the Company) to include in such registration
any of its Registrable Shares (which request shall specify the number of Registrable Shares
proposed to be included in such registration), and the Company shall, promptly use its
commercially reasonable efforts to effect a registration under the Securities Act of an offering of
all the Registrable Shares that the Company has been so requested to register for sale in
accordance with this Section 6.1(a).

        (b)      Anything contained in Section 6.1(a) to the contrary notwithstanding, the
Company shall not be obligated to use its commercially reasonable efforts to file and cause to
become effective (i) more than five (5) registration statements pursuant to a Demand Registration
Request made on the Company pursuant to Section 6.1(a), (ii) any Registration Statement during
any period in which any other registration statement (other than on Form S-4 or Form S-8)
pursuant to which Primary Shares are to be or were offered and sold has been filed and not
withdrawn or has been declared effective within the prior ninety (90) days (180 days in the case
of the Initial Public Offering) and Section 6.2 is applicable. Any registration initiated pursuant to
a Demand Registration Request shall not count as a registration for purposes of this Section
6.1(b) unless and until such registration shall have become effective.

        (c)     With respect to any registration pursuant to Section 6.1(a), the Company shall
give notice of such registration to the holders of Registrable Shares hereunder who do not
request registration hereunder and the Company may include in such registration any Primary
Shares or Other Shares; provided, however, that if the managing underwriter advises the
Company that the inclusion of all Registrable Shares, Primary Shares and Other Shares proposed
to be included in such registration would materially adversely affect the offering and sale
(including pricing) of all such Securities, then the number of Registrable Shares, Primary Shares
and Other Shares proposed to be included in such registration shall be included in the following
order:

                 (i)     first, Registrable Shares (excluding Equity Incentive Shares) owned by the
          Stockholders, pro rata based upon the number of Registrable Shares (excluding Equity
          Incentive Shares) owned by each such Stockholder at the time of such registration;

                       (ii)    second, the Primary Shares; and

                       (iii)   third, the Other Shares.

       (d)     If any offering pursuant to a Demand Registration Request involves an
underwritten offering, the Committee Holders acting by Majority Requisite Consent shall select
the managing underwriter or underwriters to administer the offering, which managing
underwriters shall be a firm of nationally recognized standing reasonably acceptable to the
Company.

      (e)     A registration undertaken by the Company pursuant to a Demand Registration
Request will not count as a Demand Registration Request for purposes of Section 6.1(b)(i) if the
Committee Holders constituting Majority Requisite Consent withdraw the Demand Registration



Doc#: US1:6626551v15
                                                          26
10-16140-mg               Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47    Main Document
                                                Pg 556 of 771



Request and promptly reimburses the Company for all fees, costs and expenses incurred by the
Company in connection with such withdrawn Demand Registration Request.

        (f)     Notwithstanding the foregoing, the Company may delay the filing or effectiveness
of any registration of Registrable Shares on Form S-3 pursuant to Section 6.1(a) if at the time of
such request (i) the Company is engaged, or has fixed plans to engage within 15 days following
receipt of such request, in a firm commitment underwritten public offering of Primary Shares in
which the holders of Registrable Shares have been or will be permitted to include all the
Registrable Shares so requested to be registered pursuant to Section 6.2(a) or (ii) the Company
Board reasonably determines that such registration and offering would interfere with any
material transaction involving the Company; provided, however, that the Company may not
exercise its rights in Sections 6.1(f) and 6.3(b), in the aggregate, more than once in any 12 month
period.

6.2       Piggyback Registration.

        (a)      If the Company at any time proposes for any reason to register Registrable Shares,
Primary Shares or Other Shares under the Securities Act (other than on Form S-4 or Form S-8)
other than pursuant to a registration initiated in accordance with Sections 6.1 or 6.3, it shall
promptly give written notice to each Stockholder of its intention to register such Registrable
Shares, the Primary Shares or Other Shares and, upon the written request of any Stockholder
(given within ten (10) Business Days after delivery of any such notice to each Stockholder by the
Company) to include in such registration Registrable Shares (which request shall specify the
number of Registrable Shares proposed to be included in such registration), the Company shall
use its best efforts to cause all such Registrable Shares requested to be included in such
registration to be included on the same terms and conditions as the Securities otherwise being
sold in such registration; provided, however, that if the managing underwriter advises the
Company that the inclusion of all Registrable Shares, Primary Shares or Other Shares proposed
to be included in such registration would interfere with the successful offering and sale
(including pricing) of all such Securities, then the number of Primary Shares, Registrable Shares
and Other Shares proposed to be included in such registration shall be included in the following
order:

                       (i)     first, the Primary Shares;

                   (ii)   second, the Registrable Shares (excluding Equity Incentive Shares) owned
          by the Stockholders requesting that their Registrable Shares be included in such
          registration pursuant to the terms of this Section 6.2, pro rata based upon the number of
          Registrable Shares (excluding Equity Incentive Shares) owned by each such Stockholder
          at the time of such registration; and

                       (iii)   third, the Other Shares.

        (b)     The Company shall have the right to terminate any registration initiated pursuant
to this Section 6.2 by the Company.

       (c)      Each Stockholder agrees to keep any information it receives from the Company
pursuant to this Article VI, including any written notice pursuant to Section 6.1(a) or 6.2(a),
Doc#: US1:6626551v15
                                                          27
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                           Pg 557 of 771



confidential until it is publicly disclosed. Each Stockholder acknowledges that trading on
material non-public information is a violation of the United States securities laws, and each
Stockholder agrees not to do so in respect of its Registrable Shares.

6.3       Registrations on Form S-3.

        (a)     At such time as the Company shall have qualified for the use of Form S-3 under
the Securities Act or any successor form thereto, Stockholders collectively holding at least 1.0%
of the outstanding Registrable Shares shall have the right to request an unlimited number of
registrations of Registrable Shares on Form S-3 (which may, at such holders’ request, be shelf
registrations pursuant to Rule 415 promulgated under the Securities Act) or its successor form,
which request or requests shall (i) specify the number of Registrable Shares intended to be
Transferred and the holders thereof, (ii) state whether the intended method of Transfer of such
Registrable Shares is an underwritten offering or a shelf registration and (iii) relate to Registrable
Shares having an aggregate gross offering price (not taking into account underwriters discounts
and commissions) of at least $10,000,000, and upon receipt of such request, the Company shall
use its commercially reasonable efforts to promptly effect the registration under the Securities
Act of the Registrable Shares so requested to be registered. A requested registration on Form S-3
in compliance with this Section 6.3(a) shall not count as a registration statement initiated
pursuant to Section 6.1(b)(i).

        (b)     Notwithstanding the foregoing, the Company may delay the filing or effectiveness
of any registration of Registrable Shares on Form S-3 pursuant to Section 6.3(a) if at the time of
such request (i) the Company is engaged, or has fixed plans to engage within 15 days following
receipt of such request, in a firm commitment underwritten public offering of Primary Shares in
which the holders of Registrable Shares have been or will be permitted to include all the
Registrable Shares so requested to be registered pursuant to Section 6.2(a) or (ii) the Company
Board reasonably determines that such registration and offering would interfere with any
material transaction involving the Company; provided, however, that the Company may not
exercise its rights in Sections 6.1(f) and 6.3(b), in the aggregate, more than once in any 12 month
period.




Doc#: US1:6626551v15
                                                 28
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                           Pg 558 of 771



6.4       Holdback Agreement.

        If the Company at any time shall register an offering and sale of shares of Common Stock
under the Securities Act in an underwritten offering pursuant to an Initial Public Offering, no
Stockholder who sells in such offering and no Management Stockholder shall sell, make any
short sale of, grant any option for the purchase of, or otherwise Transfer any Securities of the
Company (other than (i) those Registrable Shares included in such registration pursuant to
Section 6.1 or 6.2, (ii) a Transfer to an Affiliate or (iii) subject to the consent of the underwriters,
a Permitted Transfer) without the prior written consent of the Company for a period as shall be
determined by the managing underwriters, which period cannot begin more than seven (7) days
prior to the effectiveness of such Registration Statement and cannot last more than one-hundred
eighty days after the effective date of such Registration Statement (subject to customary
extensions if the Company issues an earnings release or material news or a material event occurs,
in each case, during the last 17 days of the 180-day period).

6.5       Preparation and Filing.

      If and whenever the Company is under an obligation pursuant to the provisions of this
Agreement to effect the registration of an offering and sale of any Registrable Shares, the
Company shall, as expeditiously as practicable:

        (a)     use its commercially reasonable efforts to cause a Registration Statement that
registers such offering of Registrable Shares to become and remain effective for a period of
180 days or until all of such Registrable Shares have been disposed of (if earlier);

         (b)     furnish, at least five (5) Business Days before filing a Registration Statement that
registers such Registrable Shares, a Prospectus relating thereto and any amendments or
supplements relating to such Registration Statement or Prospectus, to one counsel (the
“Stockholders’ Counsel”) selected by the majority in number of the Committee Holders, copies
of all such documents proposed to be filed (it being understood that such five (5) Business Day
period need not apply to successive drafts of the same document proposed to be filed so long as
such successive drafts are supplied to such counsel in advance of the proposed filing by a period
of time that is customary and reasonable under the circumstances), and shall use its reasonable
best efforts to reflect in each such document, when so filed with the Commission, such
comments as the Stockholders whose Registrable Shares are to be covered by such Registration
Statement may reasonably propose;

        (c)    prepare and file with the Commission such amendments and supplements to such
Registration Statement and the Prospectus used in connection therewith as may be necessary to
keep such Registration Statement effective for a period of at least 180 days or until all of such
Registrable Shares have been disposed of (if earlier) and to comply with the provisions of the
Securities Act with respect to the offering and sale or other disposition of such Registrable
Shares;

     (d)     notify the Stockholders’ Counsel promptly in writing of (i) any comments by the
Commission with respect to such Registration Statement or Prospectus, or any request by the
Commission for the amending or supplementing thereof or for additional information with

Doc#: US1:6626551v15
                                                  29
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                           Pg 559 of 771



respect thereto; (ii) the issuance by the Commission of any stop order suspending the
effectiveness of such Registration Statement or Prospectus or any amendment or supplement
thereto or the initiation of any proceedings for that purpose; and (iii) the receipt by the Company
of any notification with respect to the suspension of the qualification of such Registrable Shares
for sale in any jurisdiction or the initiation or threatening of any proceeding for such purposes;

        (e)     use its commercially reasonable efforts to register or qualify such Registrable
Shares under such other securities or “blue sky” laws of such jurisdictions as any seller of
Registrable Shares reasonably requests and do any and all other acts and things that may
reasonably be necessary or advisable to enable such seller of Registrable Shares to consummate
the disposition in such jurisdictions of the Registrable Shares owned by such seller; provided,
however, that the Company will not be required to qualify generally to do business, subject itself
to general taxation or consent to general service of process in any jurisdiction where it would not
otherwise be required to do so but for this Section 6.5(e);

        (f)     furnish to each seller of such Registrable Shares such number of copies of a
summary Prospectus or other Prospectus, including a preliminary Prospectus, in conformity with
the requirements of the Securities Act, and such other documents as such seller of Registrable
Shares may reasonably request in order to facilitate the public offering and sale or other
disposition of such Registrable Shares;

         (g)    use its commercially reasonable efforts to cause such offering and sale of
Registrable Shares to be registered with or approved by such other Governmental Authority as
may be necessary by virtue of the business and operations of the Company to enable the seller or
sellers thereof to consummate the disposition of such Registrable Shares;

        (h)     notify on a timely basis each seller of such Registrable Shares at any time when a
Prospectus relating to such Registrable Shares is required to be delivered under the Securities Act
within the appropriate period mentioned in Section 6.5(b) of the happening of any event as a
result of which the Prospectus included in such Registration Statement, as then in effect, includes
an untrue statement of a material fact or omits to state a material fact required to be stated therein
or necessary to make the statements therein not misleading in light of the circumstances then
existing and, at the request of such seller, prepare and furnish to such seller a reasonable number
of copies of a supplement to or an amendment of such Prospectus as may be necessary so that, as
thereafter delivered to the offerees of such shares, such Prospectus shall not include an untrue
statement of a material fact or omit to state a material fact required to be stated therein or
necessary to make the statements therein not misleading in light of the circumstances then
existing;

        (i)    make available for inspection by any seller of such Registrable Shares, any
underwriter participating in any disposition pursuant to such Registration Statement and any
attorney, accountant or other agent retained by any such seller or underwriter (collectively, the
“Inspectors”), all pertinent financial, business and other records, pertinent corporate documents
and properties of the Company (collectively, the “Records”), as shall reasonably be necessary to
enable them to exercise their due diligence responsibility, and cause the Company’s officers,
directors and employees to supply all information (together with the Records, the “Information”)
reasonably requested by any such Inspector in connection with such Registration Statement (and

Doc#: US1:6626551v15
                                                 30
10-16140-mg              Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                               Pg 560 of 771



any of the Information that the Company determines in good faith to be confidential, and of
which determination the Inspectors are so notified, shall not be disclosed by the Inspectors unless
(i) the disclosure of such Information is necessary to avoid or correct a misstatement or omission
in the Registration Statement; (ii) the release of such Information is ordered pursuant to a
subpoena or other order from a court of competent jurisdiction; (iii) such Information has been
made generally available to the public; or (iv) the seller of Registrable Shares agrees that it will,
upon learning that disclosure of such Information is sought in a court of competent jurisdiction,
give notice to the Company and allow the Company, at the Company’s expense, to undertake
appropriate action to prevent disclosure of the Information deemed confidential);

       (j)    use its best efforts to obtain from its independent certified public accountants a
“cold comfort” letter in customary form and covering such matters of the type customarily
covered by cold comfort letters;

          (k)          use its best efforts to obtain, from its counsel, an opinion or opinions in customary
form;

      (l)    provide a transfer agent and registrar (which may be the same entity and which
may be the Company) for such Registrable Shares;

        (m)    issue to any underwriter to which any seller of Registrable Shares may sell shares
in such offering certificates evidencing such Registrable Shares;

        (n)    list such Registrable Shares on any national securities exchange on which any
shares of the Common Stock are listed or, if the Common Stock is not listed on a national
securities exchange, use its commercially reasonable efforts to qualify such Registrable Shares
for quotation on such national securities exchange as the holders of a majority of such
Registrable Shares included in such registration shall request;

        (o)    otherwise use its commercially reasonable efforts to comply with all applicable
rules and regulations of the Commission, and make available to its security holders, as soon as
reasonably practicable but not later than eighteen (18) months after the effective date, earnings
statements (which need not be audited) covering a period of twelve (12) months beginning
within three (3) months after the effective date of the Registration Statement, which earnings
statements shall satisfy the provisions of Section 11(a) of the Securities Act and Rule 158
thereunder; and

        (p)     use its commercially reasonable efforts to take all other steps necessary to effect
the registration of such Registrable Shares contemplated hereby.

6.6       Expenses.

        Except as set forth in Section 6.1(e), all expenses incident to the Company’s performance
of or compliance with Sections 6.1, 6.2, 6.3, 6.5 and 6.10, including without limitation (a) all
registration and filing fees, and any other fees and expenses associated with filings required to be
made with any stock exchange and the Commission; (b) all fees and expenses of compliance
with state securities or “blue sky” laws (including fees and disbursements of counsel for the
underwriters or Stockholders in connection with “blue sky” qualifications of the Registrable

Doc#: US1:6626551v15
                                                        31
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47        Main Document
                                           Pg 561 of 771



Shares and determination of their eligibility for investment under the laws of such jurisdictions
as the managing underwriters may designate); (c) all printing and related messenger and delivery
expenses (including expenses of printing certificates for the Registrable Shares in a form eligible
for deposit with The Depository Trust Company) and of printing prospectuses, (d) all fees and
disbursements of counsel for the Company and of all independent certified public accountants of
the issuer (including the expenses of any special audit and “cold comfort” letters required by or
incident to such performance); (e) Securities Act liability insurance if the Company so desires;
(f) all fees and expenses incurred in connection with the listing of the Registrable Shares on any
securities exchange and all rating agency fees; (g) all reasonable fees and disbursements of the
Stockholders’ Counsel to represent such Persons in connection with such registration; (h) all fees
and disbursements of underwriters customarily paid by the issuer or sellers of Securities,
excluding underwriting discounts and commissions and transfer taxes, if any, and fees and
disbursements of counsel to underwriters (other than such fees and disbursements incurred in
connection with any registration or qualification of Registrable Shares under the securities or
“blue sky” laws of any state); and (i) fees and expenses of other Persons retained by the
Company (all such expenses being herein called “Registration Expenses”), will be borne by the
Company, regardless of whether the Registration Statement becomes effective. In addition, the
Company will, in any event, pay its internal expenses (including, without limitation, all salaries
and expenses of its officers and employees performing legal or accounting duties), the expense of
any audit and the fees and expenses of any Person, including special experts, retained by the
Company.

6.7       Indemnification.

         (a)    In connection with any registration of any offering and sale of Registrable Shares
under the Securities Act pursuant to this Agreement, the Company shall indemnify and hold
harmless the seller of such Registrable Shares, each underwriter, broker or any other Person
acting on behalf of such seller, each other Person, if any, who controls any of the foregoing
Persons within the meaning of the Securities Act and each Representative of any of the foregoing
Persons, against any losses, claims, damages or liabilities, joint or several, to which any of the
foregoing Persons may become subject, whether commenced or threatened, under the Securities
Act or otherwise, insofar as such losses, claims, damages or liabilities (or actions in respect
thereof) arise out of or are based upon an untrue statement or alleged untrue statement of a
material fact contained in the Registration Statement under which such Registrable Shares were
registered, any preliminary Prospectus or final Prospectus contained therein, any amendment or
supplement thereto or any document incident to registration or qualification of any offering and
sale of any Registrable Shares, or arise out of or are based upon the omission or alleged omission
to state therein a material fact required to be stated therein or necessary to make the statements
therein not misleading or, with respect to any Prospectus, necessary to make the statements
therein in light of the circumstances under which they were made not misleading, or any
violation by the Company of the Securities Act or state securities or “blue sky” laws applicable
to the Company and the Company shall promptly reimburse such seller, underwriter, broker,
controlling Person or Representative for any legal or other expenses incurred by any of them in
connection with investigating or defending any such loss, claim, damage, liability or action;
provided, however, that the Company shall not be liable to any such Person to the extent that any
such loss, claim, damage or liability arises out of or is based upon an untrue statement or alleged
untrue statement or omission or alleged omission made in said Registration Statement,

Doc#: US1:6626551v15
                                                32
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                           Pg 562 of 771



preliminary Prospectus, amendment thereto, or any document incident to registration or
qualification of any Registrable Shares in reliance upon and in conformity with written
information furnished to the Company through an instrument duly executed by such Person, or a
Person duly acting on their behalf, specifically for use in the preparation thereof.

        (b)     In connection with any registration of an offering and sale of Registrable Shares
under the Securities Act pursuant to this Agreement, each seller of Registrable Shares shall
indemnify and hold harmless (in the same manner and to the same extent as set forth in
Section 6.7(a)) the Company, each underwriter or broker involved in such offering, each other
seller of Registrable Shares under such Registration Statement, each Person who controls any of
the foregoing Persons within the meaning of the Securities Act and any Representative of the
foregoing Persons with respect to any untrue statement or allegedly untrue statement in or
omission or alleged omission from such Registration Statement, any preliminary Prospectus or
final Prospectus contained therein, any amendment or supplement thereto or any document
incident to registration or qualification of any such offering and sale of Registrable Shares, if
such statement or omission was made in reliance upon and in conformity with written
information furnished to the Company or such underwriter through an instrument duly executed
by such seller or a Person duly acting on such Seller’s behalf specifically for use in connection
with the preparation of such Registration Statement, preliminary Prospectus, final Prospectus,
amendment or supplement; provided, however, that the maximum amount of liability in respect
of such indemnification shall be limited, in the case of each seller of Registrable Shares, to an
amount equal to the net proceeds actually received by such seller from the sale of Registrable
Shares effected pursuant to such registration.

        (c)     Promptly after receipt by an indemnified party of notice of the commencement of
any action involving a claim referred to in the preceding paragraphs of this Section 6.7, such
indemnified party will, if a claim in respect thereof is made against an indemnifying party, give
written notice to the latter of the commencement of such action (provided, however, that an
indemnified party’s failure to give such notice in a timely manner shall only relieve the
indemnification obligations of an indemnifying party to the extent such indemnifying party is
materially prejudiced by such failure). In case any such action is brought against an indemnified
party, the indemnifying party will be entitled to participate in and to assume the defense thereof,
jointly with any other indemnifying party similarly notified to the extent that it may wish, with
counsel reasonably satisfactory to such indemnified party, and after notice from the indemnifying
party to such indemnified party of its election to assume the defense thereof, the indemnifying
party shall not be responsible for any legal or other expenses subsequently incurred by the
indemnified party in connection with the defense thereof; provided, however, that if counsel to
any indemnified party shall have reasonably concluded in writing that there may be one or more
legal or equitable defenses available to such indemnified party which are in addition to or in
conflict with those available to the indemnifying party, or that such claim or litigation involves or
could have an effect upon matters beyond the scope of the indemnity agreement provided in this
Section 6.7, the indemnifying party shall not have the right to assume the defense of such action
on behalf of such indemnified party and such indemnifying party shall reimburse such
indemnified party and any Person controlling such indemnified party for that portion of the fees
and expenses of any one lead counsel (plus appropriate special and local counsel) retained by the
indemnified party that are reasonably related to the matters covered by the indemnity agreement
provided in this Section 6.7. In the event any indemnified party is conducting the defense of any

Doc#: US1:6626551v15
                                                 33
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47        Main Document
                                           Pg 563 of 771



action pursuant to this Section 6.7(c), no such action may be settled without the prior written
consent of the indemnifying party (which shall not be unreasonably withheld). Furthermore, in
the event that an indemnifying party assumes the defense of any action pursuant to this Section
6.7(c), no such action may be settled without the prior written consent of each indemnified party
(which shall not be unreasonably withheld).

        (d)     If the indemnification provided for in this Section 6.7 is held by a court of
competent jurisdiction to be unavailable to an indemnified party with respect to any loss, claim,
damage or liability referred to herein, then the indemnifying party, in lieu of indemnifying such
indemnified party hereunder, shall contribute to the amounts paid or payable by such
indemnified party as a result of such loss, claim, damage or liability in such proportion as is
appropriate to reflect the relative fault of the indemnifying party on the one hand and of the
indemnified party on the other hand in connection with the statements or omissions that resulted
in such loss, claim, damage or liability as well as any other relevant equitable considerations;
provided, however, that the maximum amount of liability in respect of such contribution shall be
limited, in the case of each seller of Registrable Shares, to an amount equal to the net proceeds
actually received by such seller from the sale of Registrable Shares effected pursuant to such
registration. The relative fault of the indemnifying party and of the indemnified party shall be
determined by reference to, among other things, whether the untrue or alleged untrue statement
of a material fact or the omission to state a material fact relates to information supplied by the
indemnifying party or by the indemnified party and the parties’ relative intent, knowledge, access
to information and opportunity to correct or prevent such statement or omission.
Notwithstanding the foregoing, no Person guilty of fraudulent misrepresentation shall be entitled
to contribution from any Person who was not guilty of such fraudulent misrepresentation.

       (e)      The indemnification and contribution provided for under this Agreement will
remain in full force and effect regardless of any investigation made by or on behalf of the
indemnified party and will survive the transfer of Registrable Shares.

6.8       Underwriting Agreement.

        (a)     If any registration pursuant to Sections 6.1, 6.2, or 6.3 is requested to be an
underwritten offering, the Company shall negotiate in good faith to enter into a reasonable and
customary underwriting agreement with the underwriters thereof. The Company shall be entitled
to receive indemnities from lead institutions, underwriters, selling brokers, dealer managers and
similar securities industry professionals participating in the distribution, to the same extent as
provided above with respect to information so furnished in writing by such Persons specifically
for inclusion in any Prospectus or Registration Statement and to the extent customarily given
their role in such distribution.

        (b)    No Stockholder may participate in any registration hereunder that is underwritten
unless such Stockholder agrees (i) to sell such Stockholder’s Registrable Shares proposed to be
included therein on the basis provided in any underwriting arrangements acceptable to the
Company in the case of an offering of Primary Shares, or, in the case of a Demand Registration
offering pursuant to Section 6.1 hereof, the Stockholders requesting Demand Registration
pursuant to Section 6.1, (ii) as expeditiously as possible, to notify the Company of the occurrence
of any event concerning such Stockholder as a result of which the Prospectus relating to such

Doc#: US1:6626551v15
                                                34
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47         Main Document
                                           Pg 564 of 771



registration contains an untrue statement of a material fact or omits to state a material fact
required to be stated therein or necessary to make the statements therein, in light of the
circumstances under which they were made, not misleading and (iii) completes and executes all
questionnaires, powers of attorney, indemnities, underwriting agreements and other documents
required under the terms of such underwriting arrangements.

6.9       Information by Holder; Use of Prospectus.

        Each holder of Registrable Shares to be included in any registration shall furnish to the
Company and the managing underwriter such written information regarding such holder and the
distribution proposed by such holder as the Company or the managing underwriter may
reasonably request in writing and as shall be reasonably required in connection with any
registration, qualification or compliance referred to in this Agreement. Each holder of
Registrable Shares agrees that upon actual receipt of any notice from the Company of the
happening of any event of the kind described in Section 6.6(h), such holder will forthwith
discontinue disposition of such Registrable Shares covered by the applicable Registration
Statement or Prospectus until such holder receives the copies of the supplemented or amended
Prospectus contemplated by Section 6.6(h), or until it is advised in writing by the Company that
the use of the applicable Prospectus may be resumed, and has received copies of any
amendments or supplements thereto.

6.10      Exchange Act Compliance.

        From and after the Registration Date or such earlier date as a registration statement filed
by the Company pursuant to the Exchange Act relating to any class of the Company’s Securities
shall have become effective, the Company shall comply with all of the reporting requirements of
the Exchange Act (whether or not it shall be required to do so) and shall comply with all other
public information reporting requirements of the Commission but, in each case, only to the
extent that such reporting requirements are conditions to the availability of Rule 144 for the sale
of the Common Stock. The Company shall cooperate with each Stockholder in supplying such
information as may be necessary for such Stockholder to complete and file any information
reporting forms presently or hereafter required by the Commission as a condition to the
availability of Rule 144.

                                          ARTICLE VII

      CONFIDENTIALITY; INFORMATION RIGHTS; ACCESS TO INFORMATION

7.1       Confidentiality.

        Except as otherwise required by law, each Stockholder shall, and shall use commercially
reasonable efforts to cause its Representatives to, hold in confidence all confidential information
of the Company provided or made available to such Stockholder and its Representatives until
such time as such information has become publicly available other than as a consequence of any
breach by such Stockholder or Representative of its confidentiality obligations hereunder;
provided that the Company shall not provide any such confidential information to any



Doc#: US1:6626551v15
                                                35
10-16140-mg             Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47       Main Document
                                            Pg 565 of 771



Stockholder who notifies the Company in writing that it desires not to receive any confidential
information until such time as such notice is revoked in writing by such Stockholder.

7.2       Information Rights.

        (a)     At the request of any Committee Holder so long as it holds 1.0% of the
outstanding Common Stock or Stockholder Shares in an amount representing at least 50.0% of
the Stockholder Shares held by such Committee Holder as of the Effective Date, (each an
“Eligible Information Recipient”), the Company shall, and shall cause its Subsidiaries to, afford
such Stockholder and its Representatives with reasonable access during normal business hours to
books, properties and records of the Company and its Subsidiaries; provided that no Eligible
Information Recipient shall be entitled, subject to any other rights such Stockholder may
otherwise possess, to make such request more than four (4) times per year and the Company
shall not be obligated to provide any Person with such access or information to the extent that (i)
any Law applicable to the Company or any Subsidiary requires such party to restrict or prohibit
access to any such properties or information, (ii) such access would be in breach of any
confidentiality obligation, commitment or provision by which the Company or any Subsidiary is
bound or affected, which confidentiality obligation, commitment or provision shall be disclosed
to the requesting Stockholder, provided that disclosure of such obligation, commitment or
provision would not itself be the breach of an obligation or commitment to a third Person, (iii)
such information is subject in the reasonable determination of the Company to an applicable
attorney-client privilege or (iv) the Company reasonably determines, in good faith, that such
Person is a competitor of the Company and promptly thereafter notifies such Stockholder of such
determination (collectively, the “Information Restrictions”).

        (b)    Furthermore, the Company shall make available to the Eligible Information
Recipients for so long as they hold Stockholder Shares, as soon as it is available the same
financial information and access as the information and access required to be provided to
noteholders under Section 4.03 of the Indenture, as such section is in effect as of the Effective
Date and whether or not notes remain outstanding under such Indenture, or equivalent
information, including regular quarterly and annual financial statements of the Company (or any
successor entity, if applicable) prepared and made available in the ordinary course of business, if
at a time when such financial information is not required to be provided to noteholders under the
Indenture unless and to the extent that such information is covered by an Information Restriction.

                                           ARTICLE VIII

                       LEGENDS AND COMPLIANCE WITH SECURITIES LAWS

8.1       Restrictions on Transfer.

       In addition to any other restrictions on the Transfer of Stockholder Shares contained in
this Agreement, the Stockholders shall not transfer any Restricted Securities except in
compliance with this Article VIII. Each Stockholder agrees that it shall not offer, sell or
otherwise Transfer any of its Stockholder Shares other than (a) to the Company; (b) outside the
United States in accordance with Rule 904 of Regulation S under the Securities Act; (c) within
the United States in accordance with (i) Rule 144A under the Securities Act to a person who the

Doc#: US1:6626551v15
                                                 36
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47         Main Document
                                           Pg 566 of 771



seller reasonably believes is a Qualified Institutional Buyer (as defined therein) that is
purchasing for its own account or for the account of another Qualified Institutional Buyer to
whom notice is given that the offer, sale, or transfer is being made in reliance on Rule 144A, if
available, or (ii) the exemption from registration under the Securities Act provided by Rule 144
thereunder, if applicable; (d) in a transaction that does not require registration under the
Securities Act or any applicable United States state laws and regulations governing the offer and
sale of securities; or (e) pursuant to an effective registration statement under the U.S. Securities
Act, provided that with respect to sales or Transfers under (x) clauses (b) and (c)(i), only if the
Stockholder has furnished to the Company a customary certificate confirming compliance with
such exemptions, reasonably satisfactory to the Company, prior to such sale or Transfer to the
extent requested by the Company, or (y) clauses (c)(ii) or (d), only if the Stockholder has
furnished to the Company an opinion of counsel, reasonably satisfactory to the Company, prior
to such sale or Transfer to the extent requested by the Company, and in each case in accordance
with any applicable state securities laws in the United States or securities laws of any other
applicable jurisdiction. Each Stockholder consents to the Company making a notation on its
records and giving instructions to any registrar and transfer agent not to record any Transfer of
Stockholder Shares without first being notified by the Company that it is reasonably satisfied that
such Transfer is exempt from, or not subject to, the registration requirements of the Securities
Act and is a Permitted Transfer. The Company shall promptly notify its registrar and transfer
agent upon reasonably determining that a proposed Transfer is exempt from, or not subject to,
the registration requirements of the Securities Act and is a Permitted Transfer.

8.2       Restrictive Legends.

        (a)     All Stockholder Shares shall be issued and held in certificated form and each such
certificate evidencing such Stockholders’ ownership of Stockholder Shares shall be stamped or
otherwise imprinted with legends in substantially the following form

          (i) so long as Article FOURTH, Section 3 of the Charter is in effect:

          “THE CORPORATION’S AMENDED AND RESTATED CERTIFICATE OF
          INCORPORATION (THE “CHARTER”) INCLUDES, AMONG OTHER
          THINGS, TRANSFER RESTRICTIONS ON, AND OBLIGATIONS WITH
          RESPECT TO, THE COMMON STOCK AND THE PREFERRED STOCK OF
          THE CORPORATION. SO LONG AS IT IS IN EFFECT, THE CHARTER
          RESTRICTS TRANSFERS THAT WOULD RESULT IN THE NUMBER OF
          RECORD HOLDERS OF ANY CLASS OF CAPITAL STOCK OF THE
          CORPORATION EXCEEDING 450 HOLDERS. THE CORPORATION WILL
          FURNISH WITHOUT CHARGE TO THE HOLDER OF RECORD OF THIS
          CERTIFICATE A COPY OF THE CHARTER, CONTAINING THE ABOVE-
          REFERENCED TRANSFER RESTRICTIONS AND OBLIGATIONS, UPON
          WRITTEN REQUEST TO THE CORPORATION AT ITS PRINCIPAL PLACE
          OF BUSINESS.”

          (ii)



Doc#: US1:6626551v15
                                                  37
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47         Main Document
                                           Pg 567 of 771



          “THE CORPORATION’S AMENDED AND RESTATED CERTIFICATE OF
          INCORPORATION (THE “CHARTER”) INCLUDES, AMONG OTHER
          THINGS, RESTRICTIONS ON TRANSFERS. A COPY OF THE CHARTER
          WILL BE FURNISHED WITHOUT CHARGE BY THE CORPORATION TO
          THE HOLDER HEREOF UPON WRITTEN REQUEST.”

          (iii)

          “THE CORPORATION’S AMENDED AND RESTATED CERTIFICATE OF
          INCORPORATION (THE “CHARTER”) INCLUDES, AMONG OTHER
          THINGS, TRANSFER RESTRICTIONS ON, AND OBLIGATIONS WITH
          RESPECT TO, THE COMMON STOCK AND THE PREFERRED STOCK OF
          THE CORPORATION.     UNDER CERTAIN CIRCUMSTANCES, THE
          HOLDER OF THE SHARES REPRESENTED BY THIS CERTIFICATE MAY
          BE OBLIGATED TO TRANSFER SUCH HOLDER’S SHARES IN
          ACCORDANCE WITH THE CHARTER.       THE CORPORATION WILL
          FURNISH WITHOUT CHARGE TO THE HOLDER OF RECORD OF THIS
          CERTIFICATE A COPY OF THE CHARTER, CONTAINING THE ABOVE-
          REFERENCED TRANSFER RESTRICTIONS AND OBLIGATIONS, UPON
          WRITTEN REQUEST TO THE CORPORATION AT ITS PRINCIPAL PLACE
          OF BUSINESS.”

          and (iv):

          “THIS SECURITY HAS NOT BEEN REGISTERED UNDER THE
          SECURITIES ACT OF 1933, AS AMENDED (THE “SECURITIES ACT”), OR
          THE SECURITIES LAWS OF ANY STATE OR OTHER JURISDICTION.
          NEITHER THIS SECURITY NOR ANY INTEREST OR PARTICIPATION
          HEREIN MAY BE REOFFERED, SOLD, ASSIGNED, TRANSFERRED,
          PLEDGED, ENCUMBERED OR OTHERWISE DISPOSED OF IN THE
          ABSENCE OF SUCH REGISTRATION OR AN EXEMPTION THEREFROM
          PURSUANT TO APPLICABLE LAW. ANY OFFER, SALE, ASSIGNMENT,
          TRANSFER OR OTHER DISPOSITION OF THIS SECURITY IN A
          TRANSACTION THAT IS NOT REGISTERED UNDER THE SECURITIES
          ACT IS SUBJECT TO THE CORPORATION’S RIGHT TO REQUIRE
          DELIVERY OF AN OPINION OF COUNSEL, CERTIFICATION AND/OR
          OTHER INFORMATION SATISFACTORY TO THE CORPORATION.”

        (b)      The Company shall, at the request of a Stockholder, remove from each certificate
representing Stockholder Shares the legend described in Section 8.2(a)(iv), if at the request of the
Company, the requesting holder provides, at its expense, an opinion of counsel satisfactory to the
Company that the that such legend is no longer required under applicable requirements of the
Securities Act or state securities laws. The Company shall, at the request of a Stockholder,
remove from each certificate representing Stockholder Shares (i) the legend described in Section
8.2(a)(i) if the limitation on the number of holders Article IV, Section 3 of the Charter has been
terminated in accordance with it terms and the legend and (ii) the legend described in Section
8.2(a)(ii) and (iii) upon the termination of this Agreement.

Doc#: US1:6626551v15
                                                38
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47        Main Document
                                           Pg 568 of 771



8.3       Additional Legend.

       (a)    Each certificate evidencing Stockholder Shares and each certificate issued in
exchange for or upon Transfer of any Stockholder Shares shall be stamped or otherwise
imprinted with a legend in substantially the following form:

          “THE SECURITIES REPRESENTED BY THIS CERTIFICATE ARE SUBJECT
          TO A STOCKHOLDERS’ AGREEMENT DATED AS OF DECEMBER ___,
          2010 (AS AMENDED, MODIFIED, SUPPLEMENTED OR RESTATED FROM
          TIME TO TIME, THE “AGREEMENT”), AMONG THE ISSUER OF SUCH
          SECURITIES   (THE    “COMPANY”)    AND    THE    COMPANY’S
          STOCKHOLDERS. THE TERMS OF SUCH AGREEMENT INCLUDE,
          AMONG OTHER THINGS, RESTRICTIONS ON TRANSFERS. A COPY OF
          THE AGREEMENT WILL BE FURNISHED WITHOUT CHARGE BY THE
          COMPANY TO THE HOLDER HEREOF UPON WRITTEN REQUEST.”

      (b)     The legend set forth above shall be removed from certificates evidencing any
Stockholder Shares which cease to be Stockholder Shares in accordance with the terms of this
Agreement.

8.4       Limit on Number of Stockholders.

        (a)     Notwithstanding anything set forth in this Agreement or in the Certificate, or the
compliance with any of the terms hereof or thereof, no direct or indirect Transfer, however
accomplished, of shares of Common Stock or any other class of capital stock of the Company
shall be effective, and any such Transfer of Stockholder Shares shall be deemed null and void, if,
as a result of any such Transfer, the record number of stockholders of the Company of the
applicable class of capital stock (as determined in accordance with Rule 12g5-1 under the
Exchange Act or any successor rule or interpretation) would exceed four hundred fifty (450).

       (b)     The restrictions contained in this Section 8.4 are for the purpose of ensuring that
the Company is not required to become a registrant under the Exchange Act due to the number of
stockholders of the Company.

        (c)     Any Transfer attempted to be made in violation of this Section 8.4 will be null and
void. The proposed Transferee shall not be entitled to any rights of stockholders of the Company
or as a Stockholder, including, but not limited to, the rights to vote or to receive dividends and
liquidating distributions, with respect to the shares of Common Stock and/or any other class of
capital stock of the Company that were the subject of such attempted Transfer.

        (d)      In addition to any remedies available to the Company under applicable law or in
equity, after learning of a Transfer not in compliance with this Section 8.4, the Company may
demand the immediate surrender, or cause to be immediately surrendered, to the Company, all
certificates representing the shares of Common Stock and/or any other class of capital stock of
the Company that were the subject of such attempted Transfer, or any proceeds received upon a
sale of such shares, and any dividends or other distributions made after such noncompliant
Transfer with respect to such shares, if any. Any such surrendered certificates may be destroyed.
If any such certificates are not immediately surrendered, the Company shall cancel such
Doc#: US1:6626551v15
                                                39
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                           Pg 569 of 771



certificates, or cause such certificates to be cancelled, on the stock transfer records and other
records of the Company. Any shares of Common Stock and/or any other class of capital stock of
the Company attempted to be Transferred pursuant to a destroyed or cancelled certificate shall
continue to be registered in the name of the purported transferor. Nothing in this subparagraph
(d) shall be deemed inconsistent with the Transfer of such securities being deemed null and void
pursuant to subparagraph (c) hereof.

        (e)     The Company may require, as a condition precedent to the registration of the
Transfer of any shares of Common Stock and/or any other class of capital stock of the Company
or the payment of any distribution on any such shares, that the proposed Transferor and
Transferee or payee furnish to the Company all information reasonably requested by the
Company with respect to all the direct or indirect ownership interests in such shares. The
Company may make such arrangements or issue such instructions to its stock transfer agent as
may be determined by the Chief Executive Officer under the direction of the Board of Directors
to be necessary or advisable to implement this Section 8.4, including, without limitation,
instructing the transfer agent not to register any Transfer of shares of Common Stock on the
Company’s stock transfer records if it has knowledge that such Transfer is prohibited by this
Section 8.4, and/or authorizing such transfer agent to require an affidavit from a transferee or
transferor regarding such Person’s ownership of shares of Common Stock and other evidence
that a Transfer will not be prohibited by this Section 8.4, as a condition to registering any
Transfer.

        (f)    Nothing contained in this Section 8.4 shall limit the authority of the Company, its
executive officers or the Board of Directors to take such other action to the extent permitted by
law as it deems necessary or advisable to ensure that the Company is not required to become a
registrant under the Exchange Act due to the number of stockholders.

        (g)       The provisions of this Section 8.4 shall terminate upon the earliest of (i) any firm
commitment underwritten public offering of Common Stock pursuant to a registration statement
filed with the Securities and Exchange Commission and declared effective under the Securities
Act (ii), the filing by the Corporation of a registration statement pursuant to Section 12(g) of the
Exchange Act, and (iii) such time as the Company Board determines that the provisions of
Article FOURTH, Section 3 of the Certificate are no longer necessary for the preservation of the
Corporation’s status as a non-reporting company under the Exchange Act.

                                           ARTICLE IX

                                  AMENDMENT AND WAIVER

9.1       Amendment.

       Except as otherwise set forth herein, the terms and provisions of this Agreement may not
be amended, modified, restated, supplemented or waived except pursuant to a writing signed by
Stockholders acting by Majority Requisite Consent (or if Majority Requisite Consent cannot be
obtained, by Alternative Majority Consent); provided that the provisions of Article III,
Section 9.1 and Article X may only be amended, modified, restated, supplemented or waived
with Majority Requisite Consent; and provided, further that no such amendment, modification,

Doc#: US1:6626551v15
                                                  40
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47         Main Document
                                           Pg 570 of 771



restatement, supplement or waiver shall materially and adversely affect any Stockholder
disproportionately to the other Stockholders.

9.2       Waiver.

        No course of dealing between the Company and the Stockholders (or any of them) or any
delay in exercising any rights hereunder will operate as a waiver of any rights of any party to this
Agreement. The failure of any party to enforce any of the provisions of this Agreement will in
no way be construed as a waiver of such provisions and will not affect the right of such party
thereafter to enforce each and every provision of this Agreement in accordance with its terms.

                                           ARTICLE X

                                         TERMINATION

        The provisions of this Agreement, except as otherwise expressly provided herein, shall
terminate upon the first to occur of (a) the dissolution, liquidation or winding-up of the Company;
(b) a Sale of the Company pursuant to an Approved Sale; (c) the consummation of an Initial
Public Offering; or (d) the written approval of such termination by Stockholders constituting
Majority Requisite Consent; provided, however, that (i) if the Agreement is terminated prior to
the consummation of a Sale of the Company in which Stockholders exercise rights under
Section 2.5 to compel an Approved Sale or an Initial Public Offering, the rights and obligations
set forth in Article VII (other than Section 7.2(b)) shall continue without interruption until the
earlier of the consummation of a Sale of the Company in which Stockholders exercise rights
under Section 2.5 to compel an Approved Sale or an Initial Public Offering, and (ii) in the case of
clause (c), all the provisions set forth in Article VI relating to registration rights (and all
definitions and “Miscellaneous” provisions related thereto) shall continue without interruption
until less than ten percent (10%) of the Stockholder Shares are Registrable Shares. Anything
contained herein to the contrary notwithstanding, as to any particular Stockholder, this
Agreement shall no longer be binding or of further force or effect as to such Stockholder, except
as otherwise expressly provided herein, as of the date such Stockholder has Transferred all of
such Stockholder’s Stockholder Shares in accordance with the terms hereof.

                                          ARTICLE XI

                                       MISCELLANEOUS

11.1      Severability.

        It is the desire and intent of the parties hereto that the provisions of this Agreement be
enforced to the fullest extent permissible under the laws and public policies applied in each
jurisdiction in which enforcement is sought. Accordingly, if any particular provision of this
Agreement shall be adjudicated by a court of competent jurisdiction to be invalid, prohibited or
unenforceable for any reason, such provision, as to such jurisdiction, shall be ineffective, without
invalidating the remaining provisions of this Agreement or affecting the validity or enforceability
of this Agreement or affecting the validity or enforceability of such provision in any other
jurisdiction. Notwithstanding the foregoing, if such provision could be more narrowly drawn so

Doc#: US1:6626551v15
                                                41
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                           Pg 571 of 771



as not to be invalid, prohibited or unenforceable in such jurisdiction, it shall, as to such
jurisdiction, be so narrowly drawn, without invalidating the remaining provisions of this
Agreement or affecting the validity or enforceability of such provision in any other jurisdiction.

11.2      Entire Agreement.

        This Agreement and the other agreements referred to herein and to be executed and
delivered in connection herewith embody the entire agreement and understanding among the
parties hereto with respect to the subject matter hereof and thereof and supersede and preempt
any and all prior and contemporaneous understandings, agreements, arrangements or
representations by or among the parties, written or oral, which may relate to the subject matter
hereof or thereof in any way. The Company and the Committee Holders specifically agree that
notwithstanding any contrary provision in the Certificate they will not exercise any right under
Article Fourth, Section 4 of the Certificate (or any other section of the Certificate that relates to
the same subject matter thereof) to compel Stockholders to participate in any drag-along sale in a
manner inconsistent with the provisions of Section 2.5 of this Agreement; provided, however,
that nothing herein shall limit the rights of the Company or the Committee Members in Article
Fourth, Section 4 of the Certificate against any Person not a party to this Agreement.

11.3      Independence of Agreements and Covenants

        All agreements and covenants hereunder shall be given independent effect so that if a
certain action or condition constitutes a default under a certain agreement or covenant, the fact
that such action or condition is permitted by another agreement or covenant shall not affect the
occurrence of such default.

11.4      Successors and Assigns.

       Except as otherwise provided herein, this Agreement will bind and inure to the benefit of
and be enforceable by the Company and its successors and permitted assigns and the
Stockholders and any subsequent holders of Stockholder Shares and the respective successors
and permitted assigns of each of them, so long as they own Stockholder Shares. No Stockholder
may assign its rights hereunder in violation of this Agreement and any such attempted
assignment shall be void ab initio.

11.5      Counterparts; Facsimile Signatures; Validity.

        This Agreement may be executed in two or more counterparts, all of which shall be
considered one and the same agreement and shall become effective when one or more
counterparts have been signed by each of the parties and delivered (by facsimile or otherwise) to
the other party, it being understood that all parties need not sign the same counterpart. Any
counterpart or other signature hereupon delivered by facsimile shall be deemed for all purposes
as constituting good and valid execution and delivery of this Agreement by such party.

11.6      Remedies.

      (a)     Each Stockholder shall have (i) all rights and remedies reserved for such
Stockholder pursuant to this Agreement, (ii) all rights and remedies which such holder has been

Doc#: US1:6626551v15
                                                 42
10-16140-mg              Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47     Main Document
                                               Pg 572 of 771



granted at any time under any other agreement or contract and (iii) all of the rights which such
holder has under any law or equity. Any Person having any rights under any provision of this
Agreement will be entitled to enforce such rights specifically, to recover damages by reason of
any breach of any provision of this Agreement and to exercise all other rights granted by law or
equity.

        (b)     It is acknowledged that it will be impossible to measure in money the damages
that would be suffered by any party hereto if any other Person party hereto fails to comply with
any of the obligations imposed on it upon them in this Agreement and that in the event of any
such failure, the aggrieved party will be irreparably damaged and will not have an adequate
remedy at law. Any such aggrieved party shall, therefore, be entitled to equitable relief,
including specific performance, to enforce such obligations, and if any action should be brought
in equity to enforce any of the provisions of this Agreement, none of the parties hereto shall raise
the defense that there is an adequate remedy at law.

11.7      Notices.

        All notices, amendments, waivers or other communications pursuant to this Agreement
shall be in writing and shall be deemed to have been duly given if personally delivered,
telecopied, sent by nationally recognized overnight courier or mailed by registered or certified
mail with postage prepaid, return receipt requested, to the parties hereto at the following
addresses (or at such other address for a party as shall be specified by like notice):

          (a)          if to the Company, to:

                       American, Media Inc.
                       1000 American Media Way
                       Boca Raton, FL 33464
                       Attention: Chief Financial Officer
                       Telephone: (561) 997-7733
                       Facsimile: (561) 272-8127

                       with a copy to:

                       Akin Gump Strauss Hauer & Feld LLP
                       One Bryant Park
                       New York, NY 10036
                       Attention: Ira Dizengoff
                       Facsimile: (212) 872-1002
                       Telephone: (212) 872-1000

       (b)      if to any Stockholder to the most current address given by such Stockholder to the
Company, or if no such address is provided to the Company, such notice to be delivered to the
address set forth in the stock register of the Company.

               Any such notice or communication shall be deemed to have been given and
received (a) when delivered, if personally delivered; (b) when sent, if sent by telecopy on a
Business Day (or, if not sent on a Business Day, on the next Business Day after the date sent by

Doc#: US1:6626551v15
                                                      43
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47       Main Document
                                           Pg 573 of 771



telecopy); (c) on the next Business Day after dispatch, if sent by nationally recognized overnight
courier guaranteeing next Business Day delivery; and (d) on the fifth Business Day following the
date on which the piece of mail containing such communication is posted, if sent by mail.

11.8      Governing Law; Jurisdiction.

       EXCEPT AS SET FORTH BELOW, THIS AGREEMENT SHALL BE GOVERNED BY
AND CONSTRUED IN ACCORDANCE WITH THE DOMESTIC LAWS OF THE STATE OF
DELAWARE WITHOUT REGARD TO THE CONFLICTS OF LAWS OR PRINCIPLES
THEREOF THAT WOULD CAUSE THE APPLICATION OF THE LAWS OF ANY
JURISDICTION OTHER THAN THE STATE OF DELAWARE. WITH RESPECT TO ANY
LAWSUIT OR PROCEEDING ARISING OUT OF OR BROUGHT WITH RESPECT TO THIS
AGREEMENT OR ANY TRANSACTION CONTEMPLATED HEREBY, EACH OF THE
PARTIES HERETO IRREVOCABLY (a) SUBMITS TO THE EXCLUSIVE JURISDICTION
OF THE UNITED STATES FEDERAL AND NEW YORK STATE COURTS LOCATED IN
THE COUNTY OF NEW YORK IN THE STATE OF NEW YORK; (b) WAIVES ANY
OBJECTION IT MAY HAVE AT ANY TIME TO THE LAYING OF VENUE OF ANY
PROCEEDING BROUGHT IN ANY SUCH COURT; (c) WAIVES ANY CLAIM THAT SUCH
PROCEEDING HAS BEEN BROUGHT IN AN INCONVENIENT FORUM; AND
(d) FURTHER WAIVES THE RIGHT TO OBJECT, WITH RESPECT TO SUCH
PROCEEDINGS, THAT SUCH COURT DOES NOT HAVE JURISDICTION OVER SUCH
PARTY.

11.9      Waiver of Jury Trial.

      EACH OF THE PARTIES HERETO HEREBY IRREVOCABLY WAIVES ALL RIGHT
TO TRIAL BY JURY OF ANY ACTION, PROCEEDING OR COUNTERCLAIM BASED
UPON OR ARISING OUT OF THIS AGREEMENT OR ANY DEALINGS BETWEEN THE
PARTIES HERETO RELATING TO THE SUBJECT MATTER HEREOF. EACH OF THE
PARTIES HERETO ALSO WAIVES ANY BOND OR SURETY OR SECURITY UPON SUCH
BOND THAT MIGHT, BUT FOR THIS WAIVER, BE REQUIRED OF THE OTHER PARTY.
THE SCOPE OF THIS WAIVER IS INTENDED TO BE ALL ENCOMPASSING OF ANY
AND ALL DISPUTES THAT MAY BE FILED IN ANY COURT AND THAT RELATE TO
THE SUBJECT MATTER OF THIS AGREEMENT, INCLUDING, WITHOUT LIMITATION,
CONTRACT CLAIMS, TORT CLAIMS, BREACH OF DUTY CLAIMS, AND ALL OTHER
COMMON LAW AND STATUTORY CLAIMS. EACH OF THE PARTIES HERETO
ACKNOWLEDGES THAT THIS WAIVER IS A MATERIAL INDUCEMENT TO ENTER
INTO THIS AGREEMENT. EACH OF THE PARTIES HERETO FURTHER WARRANTS
AND REPRESENTS THAT IT HAS REVIEWED OR HAD THE OPPORTUNITY TO
REVIEW THIS WAIVER WITH ITS RESPECTIVE LEGAL COUNSEL, AND THAT IT
KNOWINGLY AND VOLUNTARILY WAIVES ITS JURY TRIAL RIGHTS FOLLOWING
CONSULTATION WITH SUCH LEGAL COUNSEL. IN THE EVENT OF LITIGATION,
THIS AGREEMENT MAY BE FILED AS A WRITTEN CONSENT TO A TRIAL BY THE
COURT.

11.10 Further Assurances.


Doc#: US1:6626551v15
                                                44
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47         Main Document
                                           Pg 574 of 771



       Each party hereto shall do and perform or cause to be done and performed all such further
acts and things and shall execute and deliver all such other agreements, certificates, instruments,
and documents as any other party hereto reasonably may request in order to carry out the
provisions of this Agreement and the consummation of the transactions contemplated hereby.

11.11 Third Party Reliance.

        Anything contained herein to the contrary notwithstanding, the covenants of the
Company contained in this Agreement (a) are being given by the Company as an inducement to
the Stockholders to enter into this Agreement (and the Company acknowledges that the
Stockholders have expressly relied thereon) and (b) are solely for the benefit of the Stockholders.
Accordingly, no third party (including, without limitation, any holder of equity Securities who is
not a Stockholder and any holder of any other Securities of the Company who is not a
Stockholder) or anyone acting on behalf of any thereof other than the Stockholders, shall be a
third party or other beneficiary of such covenants and no such third party shall have any rights of
contribution against the Stockholders or the Company with respect to such covenants or any
matter subject to or resulting in indemnification under this Agreement or otherwise. None of the
provisions hereof shall create, or be construed or deemed to create, any right to employment in
favor of any Person by the Company or any of its Subsidiaries.

11.12 Termination of Prior Stockholders Agreement.

        The Stockholders Agreement dated as of January 30, 2009 among the Company, the
stockholders signatory thereto and the EMP Group Representative (the “Prior Agreement”) is
hereby terminated and is of no further force and effect, and other than as set expressly forth in
the Prior Agreement, no party thereto shall have any surviving obligations, rights, or duties
thereunder.



                                             *******




Doc#: US1:6626551v15
                                                 45
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47      Main Document
                                           Pg 575 of 771



                                            Schedule I

                                            Directors

Name of Director                                  Means of Designation

David J. Pecker                                   Management Director

Philip L. Maslowe                                 Designated by the Angelo Gordon
                                                  Stockholders

Gavin Baiera                                      Designated by the Angelo Gordon
                                                  Stockholders

Susan Tolson                                      Designated by the Capital Research
                                                  Stockholders

Cathryn C. Cranston                               Designated by the Capital Research
                                                  Stockholders

Michael Elkins                                    Designated by the Avenue Stockholders

Daniel Flores                                     Designated by the Avenue Stockholders

David Licht                                       Designated by the Avenue Stockholders

Lawrence S. Kramer                                Designated by the Avenue Stockholders with
                                                  consent of Angelo Gordon Stockholders and
                                                  Capital Research Stockholders




                                            Schedule I
Doc#: US1:6626551v15
10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47     Main Document
                                           Pg 576 of 771
                                                                                     Exhibit A


                                     JOINDER AGREEMENT

       The undersigned is executing and delivering this Joinder Agreement pursuant to the
Stockholders’ Agreement dated as of __________, 2010 (as amended, modified, restated or
supplemented from time to time, the “Stockholders’ Agreement”), among American Media, Inc.,
a Delaware corporation (the “Company”), and its stockholders named therein.

       By executing and delivering this Joinder Agreement to the Company, the undersigned
hereby agrees to become a party to, to be bound by, and to comply with the provisions of the
Stockholders’ Agreement in the same manner as if the undersigned were an original signatory to
such agreement.

       The undersigned acknowledges and agrees that the undersigned shall be a “Stockholder”,
as such term is defined in the Stockholders’ Agreement.

      Accordingly, the undersigned has executed and delivered this Joinder Agreement as of
__________________________________.

                                                     ____________________________________
                                                     Signature of Stockholder


                                                     ____________________________________
                                                     Print Name of Stockholder

                                                     ____________________________________


                                                     ____________________________________


                                                     ____________________________________
                                                     Address


                                                     ____________________________________
                                                     Facsimile


                                                     ____________________________________
                                                     Telephone




                                            Exhibit A -1
Doc#: US1:6626551v15
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 577 of 771



                                  EXHIBIT J

                                Restated Bylaws
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 578 of 771
                                                                    AG Draft of 12/14/2010




                        SECOND AMENDED AND RESTATED BY-LAWS



                                               OF



                                    AMERICAN MEDIA, INC.



                                      a Delaware corporation



                                       (the “Corporation”)



                                (Adopted as of December ___, 2010)




688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47         Main Document
                                          Pg 579 of 771



                       SECOND AMENDED AND RESTATED BY-LAWS

                                               OF

                                   AMERICAN MEDIA, INC.

                                          ARTICLE I.
                                           OFFICES

        Section 1.1. Registered Office. The registered office of the Corporation within the
State of Delaware shall be located at either (a) the principal place of business of the Corporation
in the State of Delaware or (b) the office of the corporation or individual acting as the
Corporation’s registered agent in Delaware.

        Section 1.2. Additional Offices. The Corporation may, in addition to its registered
office in the State of Delaware, have such other offices and places of business, both within and
outside the State of Delaware, as the Board of Directors of the Corporation (the “Board”) may
from time to time determine or as the business and affairs of the Corporation may require.

                                       ARTICLE II.
                                 STOCKHOLDERS MEETINGS

        Section 2.1. Annual Meetings. Unless directors are elected by written consent in lieu
of an annual meeting as permitted by applicable law or an annual meeting is otherwise not
required by applicable law, an annual meeting of stockholders shall be held at such place and
time and on such date as shall be determined by the Board and stated in the notice of the
meeting, provided that the Board may in its sole discretion determine that the meeting shall not
be held at any place, but may instead be held solely by means of remote communication pursuant
to Section 9.5(a). At each annual meeting, the stockholders shall elect directors of the
Corporation and may transact any other business as may properly be brought before the meeting.
Stockholders may, unless the Corporation’s Second Amended and Restated Certificate of
Incorporation, as the same may be amended or restated from time to time (the “Certificate of
Incorporation”), provides otherwise, act by written consent to elect directors; provided,
however, that if such consent is less than unanimous, such action by written consent may be in
lieu of holding an annual meeting only if all of the directorships to which directors could be
elected at an annual meeting held at the effective time of such action are vacant and are filled by
such action.

        Section 2.2. Special Meetings. Except as otherwise required by applicable law or
provided in the Certificate of Incorporation, special meetings of stockholders, for any purpose or
purposes, may be called only by the Chairman of the Board, Chief Executive Officer or the
President, by the Board, or by the Secretary at the request in writing of stockholders holding
shares representing at least ten percent (10%) of the voting power of the outstanding shares
entitled to vote on the matter for which such meeting is to be called. The Secretary shall call
such a meeting upon receiving such a request. Special meetings of stockholders shall be held at
such place and time and on such date as shall be determined by the Board and stated in the
Corporation’s notice of the meeting, provided that the Board may in its sole discretion determine



688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 580 of 771
                                                                    AG Draft of 12/14/2010


that the meeting shall not be held at any place, but may instead be held solely by means of
remote communication pursuant to Section 9.5(a).

        Section 2.3. Notices. Notice of each stockholders meeting stating the place, if any,
date and time of the meeting, the means of remote communication, if any, by which stockholders
and proxyholders may be deemed to be present in person and vote at such meeting, and the
record date for determining the stockholders entitled to vote at the meeting if such date is
different from the record date for determining stockholders entitled to notice of the meeting shall
be given in the manner permitted by Section 9.3 to each stockholder entitled to vote thereat as of
the record date for determining the stockholders entitled to notice of the meeting. Such notice
shall be given by the Corporation not less than 10 nor more than 60 days before the date of the
meeting. If said notice is for a stockholders meeting other than an annual meeting, it shall in
addition state the purpose or purposes for which the meeting is called, and the business
transacted at such meeting shall be limited to the matters so stated in the Corporation’s notice of
meeting (or any supplement thereto).

        Section 2.4. Quorum. Except as otherwise provided by applicable law, the Certificate
of Incorporation or these Second Amended and Restated By-Laws, as the same may be amended
or restated from time to time (the “By-Laws”), the presence, in person or by proxy, at a
stockholders meeting of the holders of shares of outstanding capital stock of the Corporation
representing a majority of the voting power of all outstanding shares of capital stock of the
Corporation entitled to vote at such meeting shall constitute a quorum for the transaction of
business at such meeting, except that when specified business is to be voted on by a class or
series of stock voting as a class, the holders of shares representing a majority of the voting power
of the outstanding shares of such class or series shall constitute a quorum of such class or series
for the transaction of such business. If a quorum shall not be present at any meeting of the
stockholders, the chairman of the meeting or the stockholders entitled to vote thereat so present,
by a majority in voting power thereof, may adjourn the meeting from time to time in the manner
provided in Section 2.6 until a quorum shall attend. The stockholders present at a duly convened
meeting may continue to transact business until adjournment, notwithstanding the withdrawal of
enough stockholders to leave less than a quorum. Shares of its own stock belonging to the
Corporation or to another corporation, if a majority of the voting power of the shares entitled to
vote in the election of directors of such other corporation is held, directly or indirectly, by the
Corporation, shall neither be entitled to vote nor be counted for quorum purposes; provided,
however, that the foregoing shall not limit the right of the Corporation or any such other
corporation to vote shares held by it in a fiduciary capacity.

        Section 2.5.    Voting of Shares.

                (a)    Voting Lists. The Secretary shall prepare, or shall cause the officer or
agent who has charge of the stock ledger of the Corporation to prepare, at least 10 days before
each meeting of stockholders, a complete list of the stockholders of record entitled to vote at the
meeting (provided, however, if the record date for determining the stockholders entitled to vote
is less than 10 days before the meeting date, the list shall reflect the stockholders entitled to vote
as of the tenth day before the meeting date), arranged in alphabetical order for each class of stock
and showing the address and the number of shares registered in the name of each stockholder.
Nothing contained in this Section 2.5(a) shall require the Corporation to include electronic mail

                                                  2
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 581 of 771
                                                                    AG Draft of 12/14/2010


addresses or other electronic contact information on such list. Such list shall be open to the
examination of any stockholder, for any purpose germane to the meeting, during ordinary
business hours for a period of at least 10 days prior to the meeting: (i) on a reasonably accessible
electronic network, provided that the information required to gain access to such list is provided
with the notice of the meeting, or (ii) during ordinary business hours, at the principal place of
business of the Corporation. If the Corporation determines to make the list available on an
electronic network, the Corporation may take reasonable steps to ensure that such information is
available only to stockholders of the Corporation. If the meeting is to be held at a place, then the
list of stockholders entitled to vote at the meeting shall be produced and kept at the time and
place of the meeting during the whole time thereof, and may be examined by any stockholder
who is present. If a meeting of stockholders is to be held solely by means of remote
communication as permitted by Section 9.5(a), then such list shall be open to the examination of
any stockholder during the whole time of the meeting on a reasonably accessible electronic
network, and the information required to access such list shall be provided with the notice of
meeting. The stock ledger shall be the only evidence as to who are the stockholders entitled to
examine the list required by this Section 2.5(a) or to vote in person or by proxy at any meeting of
stockholders.

               (b)     Manner of Voting. At any stockholders meeting, every stockholder
entitled to vote may vote in person or by proxy. If authorized by the Board, the voting by
stockholders or proxyholders at any meeting conducted by remote communication may be
effected by a ballot submitted by electronic transmission (as defined in Section 9.3(c)), provided
that any such electronic transmission must either set forth or be submitted with information from
which the Corporation can determine that the electronic transmission was authorized by the
stockholder or proxyholder. The Board, in its discretion, or the chairman of the meeting of
stockholders, in such person’s discretion, may require that any votes cast at such meeting shall
be cast by written ballot.

                (c)     Proxies. Each stockholder entitled to vote at a meeting of stockholders or
to express consent or dissent to corporate action in writing without a meeting may authorize
another person or persons to act for such stockholder by proxy, but no such proxy shall be voted
or acted upon after three years from its date, unless the proxy provides for a longer period.
Proxies need not be filed with the Secretary until the meeting is called to order, but shall be filed
with the Secretary before being voted. Without limiting the manner in which a stockholder may
authorize another person or persons to act for such stockholder as proxy, either of the following
shall constitute a valid means by which a stockholder may grant such authority:

                       (i)    A stockholder may execute a writing authorizing another person or
        persons to act for such stockholder as proxy. Execution may be accomplished by the
        stockholder or such stockholder’s authorized officer, director, employee or agent signing
        such writing or causing such person’s signature to be affixed to such writing by any
        reasonable means, including, but not limited to, by facsimile signature.

                       (ii)   A stockholder may authorize another person or persons to act for
        such stockholder as proxy by transmitting or authorizing the transmission of an electronic
        transmission to the person who will be the holder of the proxy, provided that any such


                                                 3
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 582 of 771
                                                                    AG Draft of 12/14/2010


        electronic transmission must either set forth or be submitted with information from which
        it can be determined that the electronic transmission was authorized by the stockholder.

Any copy, facsimile telecommunication or other reliable reproduction of the writing or
transmission authorizing another person or persons to act as proxy for a stockholder may be
substituted or used in lieu of the original writing or transmission for any and all purposes for
which the original writing or transmission could be used; provided that such copy, facsimile
telecommunication or other reproduction shall be a complete reproduction of the entire original
writing or transmission.

                (d)     Required Vote. Subject to the rights of the holders of one or more series
of preferred stock of the Corporation (“Preferred Stock”), voting separately by class or series, to
elect directors pursuant to the terms of one or more series of Preferred Stock, the election of
directors shall be determined by a plurality of the votes cast by the stockholders present in person
or represented by proxy at the meeting and entitled to vote thereon. All other matters shall be
determined by the vote of a majority of the votes cast by the stockholders present in person or
represented by proxy at the meeting and entitled to vote thereon, unless the matter is one upon
which, by applicable law, the Certificate of Incorporation or these By-Laws, a different vote is
required, in which case such provision shall govern and control the decision of such matter.

                (e)    Inspectors of Election. The Board may, and shall if required by law, in
advance of any meeting of stockholders, appoint one or more persons as inspectors of election,
who may be employees of the Corporation or otherwise serve the Corporation in other capacities,
to act at such meeting of stockholders or any adjournment thereof and to make a written report
thereof. The Board may appoint one or more persons as alternate inspectors to replace any
inspector who fails to act. If no inspectors of election or alternates are appointed by the Board,
the chairman of the meeting shall appoint one or more inspectors to act at the meeting. Each
inspector, before discharging his or her duties, shall take and sign an oath faithfully to execute
the duties of inspector with strict impartiality and according to the best of his or her ability. The
inspectors shall ascertain and report the number of outstanding shares and the voting power of
each; determine the number of shares present in person or represented by proxy at the meeting
and the validity of proxies and ballots; count all votes and ballots and report the results;
determine and retain for a reasonable period a record of the disposition of any challenges made
to any determination by the inspectors; and certify their determination of the number of shares
represented at the meeting and their count of all votes and ballots. No person who is a candidate
for an office at an election may serve as an inspector at such election. Each report of an
inspector shall be in writing and signed by the inspector or by a majority of them if there is more
than one inspector acting at such meeting. If there is more than one inspector, the report of a
majority shall be the report of the inspectors.

        Section 2.6. Adjournments. Any meeting of stockholders, annual or special, may be
adjourned by the chairman of the meeting or by the stockholders present and entitled to vote
thereat, by a majority in voting power thereof, from time to time, whether or not there is a
quorum, to reconvene at the same or some other place. Notice need not be given of any such
adjourned meeting if the date, time, place, if any, thereof, and the means of remote
communication, if any, by which stockholders and proxyholders may be deemed to be present in
person and vote at such adjourned meeting are announced at the meeting at which the

                                                 4
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 583 of 771
                                                                    AG Draft of 12/14/2010


adjournment is taken. At the adjourned meeting the stockholders, or the holders of any class or
series of stock entitled to vote separately as a class, as the case may be, may transact any
business that might have been transacted at the original meeting. If the adjournment is for more
than 30 days, notice of the adjourned meeting shall be given to each stockholder of record
entitled to vote at the meeting. If after the adjournment a new record date for stockholders
entitled to vote is fixed for the adjourned meeting, the Board shall fix a new record date for
notice of such adjourned meeting in accordance with Section 2.3 and shall give notice of the
adjourned meeting to each stockholder of record entitled to vote at such adjourned meeting as of
the record date fixed for notice of such adjourned meeting.

        Section 2.7.    Advance Notice for Business.

               (a)    Annual Meetings of Stockholders. No business may be transacted at an
annual meeting of stockholders, other than business that is either (i) specified in the
Corporation’s notice of meeting (or any supplement thereto) given by or at the direction of the
Board, (ii) otherwise properly brought before the annual meeting by or at the direction of the
Board or (iii) otherwise properly brought before the annual meeting by any stockholder of the
Corporation (x) who is a stockholder of record on the date of the giving of the notice provided
for in this Section 2.7(a) and who is entitled to vote at such annual meeting and (y) who
complies with the notice procedures set forth in this Section 2.7(a). This Section 2.7 shall not be
applicable to nominations of person for election to the Board.

                         (i)     In addition to any other applicable requirements, for business
        (other than nominations) to be properly brought before an annual meeting by a
        stockholder, such stockholder must have given timely notice thereof in proper written
        form to the Secretary of the Corporation and such business must otherwise be a proper
        matter for stockholder action. Subject to Section 2.7(a)(iv), a stockholder’s notice to the
        Secretary with respect to such business, to be timely, must comply with the provisions of
        this Section 2.7(a)(i). A stockholder’s notice must be received by the Secretary at the
        principal executive offices of the Corporation not later than the close of business on the
        30th day nor earlier than the opening of business on the 60th day before the date of the
        annual meeting of stockholders; provided, however, that if the annual meeting is called
        for a date that is less than 40 days prior to the date of the annual meeting of stockholders,
        notice by the stockholder to be timely must be so received not later than the close of
        business on the 10th day following the day on which public announcement of the date of
        the annual meeting is first made by the Corporation. The public announcement of an
        adjournment or postponement of an annual meeting shall not commence a new time
        period for the giving of a stockholder’s notice as described in this Section 2.7(a).

                       (ii)    To be in proper written form, a stockholder’s notice to the
        Secretary with respect to any business (other than nominations) must set forth (A) as to
        each such matter such stockholder proposes to bring before the annual meeting (1) a brief
        description of the business desired to be brought before the annual meeting and any
        material interest in such business of such stockholder and any Stockholder Associated
        Person (as defined below), individually or in the aggregate, (2) the text of the proposal or
        business (including the text of any resolutions proposed for consideration and if such
        business includes a proposal to amend these By-Laws, the text of the proposed

                                                 5
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 584 of 771
                                                                    AG Draft of 12/14/2010


        amendment) and (3) the reasons for conducting such business at the annual meeting, (B)
        the name and address of the stockholder proposing such business, as they appear on the
        Corporation’s books, and the name and address of any Stockholder Associated Person,
        (C) the class or series and number of shares of capital stock of the Corporation that are
        owned of record or are directly or indirectly owned beneficially by such stockholder and
        by any Stockholder Associated Person, (D) any proxy, contract, arrangement,
        understanding or relationship pursuant to which such stockholder or any Stockholder
        Associated Person has a right to vote any shares of the Corporation, (E) a description of
        all agreements, arrangements or understandings (written or oral) between or among such
        stockholder, any Stockholder Associated Person or any other person or persons
        (including their names) in connection with the proposal of such business by such
        stockholder, (F) any other information relating to such stockholder and any Stockholder
        Associated Person that would be required to be disclosed in a proxy statement or other
        filings required to be made in connection with solicitation of proxies for election of
        directors (even if an election contest is not involved), (G) a representation that such
        stockholder intends to appear in person or by proxy at the annual meeting to bring such
        business before the meeting, and (H) a statement of whether such stockholder or any
        Stockholder Associated Person intends, or is part of a group that intends, to solicit
        proxies in connection with the proposal.

                         (iii) No business shall be conducted at the annual meeting of
        stockholders except business brought before the annual meeting in accordance with the
        procedures set forth in this Section 2.7(a), provided, however, that once business has
        been properly brought before the annual meeting in accordance with such procedures,
        nothing in this Section 2.7(a) shall be deemed to preclude discussion by any stockholder
        of any such business. If the Board or the chairman of the annual meeting determines that
        any stockholder proposal was not made in accordance with the provisions of this Section
        2.7(a) or that the information provided in a stockholder’s notice does not satisfy the
        information requirements of this Section 2.7(a), such proposal shall not be presented for
        action at the annual meeting. Notwithstanding the foregoing provisions of this Section
        2.7(a), if the stockholder (or a qualified representative of the stockholder) does not appear
        at the annual meeting of stockholders of the Corporation to present the proposed
        business, such proposed business shall not be transacted, notwithstanding that proxies in
        respect of such matter may have been received by the Corporation.

               (b)    Special Meetings of Stockholders. Only such business shall be conducted
at a special meeting of stockholders as shall have been brought before the meeting pursuant to
the Corporation’s notice of meeting.

               (c)    Definitions. For purposes of these By-Laws, “Stockholder Associated
Person” shall mean for any stockholder (i) any person controlling, directly or indirectly, or
acting in concert with, such stockholder, (ii) any beneficial owner of shares of stock of the
Corporation owned of record or beneficially by such stockholder, or (iii) any person controlling,
controlled by or under common control with such person referred to in the preceding clauses (i)
and (ii).



                                                 6
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 585 of 771
                                                                    AG Draft of 12/14/2010


        Section 2.8. Conduct of Meetings. The chairman of each annual and special meeting
of stockholders shall be the Chairman of the Board or, in the absence (or inability or refusal to
act) of the Chairman of the Board, the Chief Executive Officer (if he or she shall be a director)
or, in the absence (or inability or refusal to act) of the Chief Executive Officer, or if the Chief
Executive Officer is not a director, the President (if he or she shall be a director) or, in the
absence (or inability or refusal to act) of the President or if the President is not a director, such
other person as shall be appointed by the Board, or in the absence of such appointment, a
chairman chosen at the meeting. The date and time of the opening and the closing of the polls
for each matter upon which the stockholders will vote at a meeting shall be announced at the
meeting by the chairman of the meeting. The Board may adopt such rules and regulations for the
conduct of the meeting of stockholders as it shall deem appropriate. Except to the extent
inconsistent with these By-Laws or such rules and regulations as adopted by the Board, the
chairman of any meeting of stockholders shall have the right and authority to convene and to
adjourn the meeting, to prescribe such rules, regulations and procedures and to do all such acts
as, in the judgment of such chairman, are appropriate for the proper conduct of the meeting.
Unless and to the extent determined by the Board or the chairman of the meeting, meetings of
stockholders shall not be required to be held in accordance with the rules of parliamentary
procedure. The secretary of each annual and special meeting of stockholders shall be the
Secretary or, in the absence (or inability or refusal to act) of the Secretary, an Assistant Secretary
so appointed to act by the chairman of the meeting. In the absence (or inability or refusal to act)
of the Secretary and all Assistant Secretaries, the chairman of the meeting may appoint any
person to act as secretary of the meeting.

        Section 2.9. Consents in Lieu of Meeting. Unless otherwise provided by the
Certificate of Incorporation, any action required or permitted to be taken at any annual or special
meeting of stockholders may be taken without a meeting, without prior notice and without a
vote, if a consent or consents in writing, setting forth the action so taken, shall be signed by the
holders of outstanding stock having not less than the minimum voting power that would be
necessary to authorize or take such action at a meeting at which all shares entitled to vote thereon
were present and voted and shall be delivered to the Corporation to its registered office in the
State of Delaware, the Corporation’s principal place of business, or the Secretary. Every written
consent shall bear the date of signature of each stockholder who signs the consent and no written
consent shall be effective to take the corporate action referred to therein unless, within 60 days of
the date the earliest dated consent is delivered to the Corporation, a written consent or consents
signed by a sufficient number of holders to take such action are delivered to the Corporation by
delivery to the Corporation’s registered office in the State of Delaware, the Corporation’s
principal place of business, or the Secretary. Delivery made to the Corporation’s registered
office shall be by hand or by certified or registered mail, return receipt requested. An electronic
transmission consenting to the action to be taken and transmitted by a stockholder, proxyholder
or a person or persons authorized to act for a stockholder or proxyholder shall be deemed to be
written, signed and dated for purposes hereof if such electronic transmission sets forth or is
delivered with information from which the Corporation can determine that such transmission was
transmitted by a stockholder or proxyholder (or by a person authorized to act for a stockholder or
proxyholder) and the date on which such stockholder, proxyholder or authorized person
transmitted such transmission. The date on which such electronic transmission is transmitted
shall be deemed to be the date on which such consent was signed. No consent given by
electronic transmission shall be deemed to have been delivered until such consent is reproduced

                                                  7
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 586 of 771
                                                                    AG Draft of 12/14/2010


in paper form and delivered to the Corporation by delivery either to the Corporation’s registered
office in the State of Delaware, the Corporation’s principal place of business, or the Secretary.
Delivery made to the Corporation’s registered office shall be made by hand or by certified or
registered mail, return receipt requested. Notwithstanding the limitations on delivery in the
previous sentence, consents given by electronic transmission may be otherwise delivered to the
Corporation’s principal place of business or to the Secretary if, to the extent, and in the manner
provided by resolution of the Board. Any copy, facsimile or other reliable reproduction of a
consent in writing may be substituted or used in lieu of the original writing for any and all
purposes for which the original writing could be used; provided that such copy, facsimile or other
reproduction shall be a complete reproduction of the entire original writing. Prompt notice of the
taking of the corporate action without a meeting by less than unanimous written consent shall be
given to those stockholders who have not consented in writing and who, if the action had been
taken at a meeting, would have been entitled to notice of the meeting if the record date for notice
of such meeting had been the date that written consents signed by a sufficient number of holders
were delivered to the Corporation as provided in this Section 2.9.

                                          ARTICLE III.
                                          DIRECTORS

        Section 3.1. Powers. The business and affairs of the Corporation shall be managed by
or under the direction of the Board, which may exercise all such powers of the Corporation and
do all such lawful acts and things as are not by statute or by the Certificate of Incorporation or by
these By-Laws required to be exercised or done by the stockholders. Directors need not be
stockholders or residents of the State of Delaware.

        Section 3.2. Number; Term. The number of directors of the Corporation initially
shall be nine. Thereafter, the number of directors, other than those who may be elected by the
holders of one or more series of Preferred Stock voting separately by class or series, may be
determined from time to time by the Board, but no decrease in such number shall have the effect
of shortening the term of any incumbent director. Except as otherwise provided in the Certificate
of Incorporation, the directors shall be elected at the annual meeting of stockholders to hold
office until the next succeeding annual meeting of stockholders. Each director shall hold office
for the term for which such director is elected and until his or her successor shall have been
elected and qualified, subject to such director’s earlier death, resignation, retirement,
disqualification or removal.

        Section 3.3. Newly Created Directorships and Vacancies. Except as otherwise
provided in the Certificate of Incorporation, vacancies resulting from death, resignation,
retirement, disqualification, removal or other cause and newly created directorships resulting
from an increase in the number of directors elected by all of the stockholders having the right to
vote as a single class may be filled by a majority vote of the directors then in office, even if less
than a quorum, by a sole remaining director, or by the stockholders. Except as otherwise
provided in the Certificate of Incorporation, if the holders of any class or classes of stock or
series thereof are entitled to elect one or more directors by the Certificate of Incorporation,
vacancies and newly created directorships of such class or classes or series may be filled only by
a majority of the directors elected by such class or classes or series thereof then in office, by a
sole remaining director so elected, or by the stockholders of such class or classes or series

                                                 8
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 587 of 771
                                                                    AG Draft of 12/14/2010


thereof. Except as otherwise provided in the Certificate of Incorporation, any director elected or
chosen in accordance with this Section 3.3 shall hold office until the next annual election of
directors and until his or her successor shall have been elected and qualified, subject to such
director’s earlier death, resignation, retirement, disqualification or removal.

        Section 3.4. Compensation. Unless otherwise restricted by the Certificate of
Incorporation or these By-Laws, the Board shall have the authority to fix the compensation of
directors. The directors may be reimbursed their expenses, if any, of attendance at each meeting
of the Board and may be paid either a fixed sum for attendance at each meeting of the Board or
other compensation as director. No such payment shall preclude any director from serving the
Corporation in any other capacity and receiving compensation therefor. Members of committees
of the Board may be allowed like compensation and reimbursement of expenses for attending
committee meetings.

                                        ARTICLE IV.
                                      BOARD MEETINGS

        Section 4.1. Annual Meetings. The Board shall meet as soon as practicable after the
adjournment of each annual stockholders meeting at the place of the annual stockholders meeting
unless the Board shall fix another time and place and give notice thereof in the manner required
herein for special meetings of the Board. No notice to the directors shall be necessary to legally
convene this meeting, except as provided in this Section 4.1.

       Section 4.2. Regular Meetings. Regularly scheduled, periodic meetings of the Board
may be held without notice at such times, dates and places as shall from time to time be
determined by the Board.

        Section 4.3. Special Meetings. Special meetings of the Board (a) may be called by the
Chairman of the Board or Chief Executive Officer and (b) shall be called by the Chairman of the
Board, Chief Executive Officer or Secretary on the written request of a majority of directors then
in office, or the sole director, as the case may be, and shall be held at such time, date and place as
may be determined by the person calling the meeting or, if called upon the request of directors or
the sole director, as specified in such written request. Notice of each special meeting of the
Board shall be given, as provided in Section 9.3, to each director (i) at least 24 hours before the
meeting if such notice is oral notice given personally or by telephone or written notice given by
hand delivery or by means of a form of electronic transmission and delivery; (ii) at least two
days before the meeting if such notice is sent by a nationally recognized overnight delivery
service; and (iii) at least five days before the meeting if such notice is sent through the United
States mail. If the Secretary shall fail or refuse to give such notice, then the notice may be given
by the officer who called the meeting or the directors who requested the meeting. Any and all
business that may be transacted at a regular meeting of the Board may be transacted at a special
meeting. Except as may be otherwise expressly provided by applicable law, the Certificate of
Incorporation, or these By-Laws, neither the business to be transacted at, nor the purpose of, any
special meeting need be specified in the notice or waiver of notice of such meeting. A special
meeting may be held at any time without notice if all the directors are present or if those not
present waive notice of the meeting in accordance with Section 9.4.


                                                  9
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 588 of 771
                                                                    AG Draft of 12/14/2010


        Section 4.4. Quorum; Required Vote. A majority of the Board, but in any event not
less than one-third of the Whole Board (as defined below), shall constitute a quorum for the
transaction of business at any meeting of the Board, and the act of a majority of the directors
present at any meeting at which there is a quorum shall be the act of the Board, except as may be
otherwise specifically provided by applicable law, the Certificate of Incorporation or these By-
Laws. If a quorum shall not be present at any meeting, a majority of the directors present may
adjourn the meeting from time to time, without notice other than announcement at the meeting,
until a quorum is present. “Whole Board” shall mean the total number of directors that the
Corporation would have if there were no vacancies.

        Section 4.5. Consent In Lieu of Meeting. Unless otherwise restricted by the
Certificate of Incorporation or these By-Laws, any action required or permitted to be taken at any
meeting of the Board or any committee thereof may be taken without a meeting if all members of
the Board or committee, as the case may be, consent thereto in writing or by electronic
transmission, and the writing or writings or electronic transmission or transmissions (or paper
reproductions thereof) are filed with the minutes of proceedings of the Board or committee.
Such filing shall be in paper form if the minutes are maintained in paper form and shall be in
electronic form if the minutes are maintained in electronic form.

        Section 4.6. Organization. The chairman of each meeting of the Board shall be the
Chairman of the Board or, in the absence (or inability or refusal to act) of the Chairman of the
Board, the Chief Executive Officer (if he or she shall be a director) or, in the absence (or inability
or refusal to act) of the Chief Executive Officer or if the Chief Executive Officer is not a director,
the President (if he or she shall be a director) or in the absence (or inability or refusal to act) of
the President or if the President is not a director, a chairman elected from the directors present.
The Secretary shall act as secretary of all meetings of the Board. In the absence (or inability or
refusal to act) of the Secretary, an Assistant Secretary shall perform the duties of the Secretary at
such meeting. In the absence (or inability or refusal to act) of the Secretary and all Assistant
Secretaries, the chairman of the meeting may appoint any person to act as secretary of the
meeting.

                                      ARTICLE V.
                                COMMITTEES OF DIRECTORS

        Section 5.1. Establishment. The Board may designate one or more committees, each
committee to consist of one or more of the directors of the Corporation. Each committee shall
keep regular minutes of its meetings and report the same to the Board when required. The Board
shall have the power at any time to fill vacancies in, to change the membership of, or to dissolve
any such committee.

        Section 5.2. Available Powers. Any committee established pursuant to Section 5.1
hereof, to the extent permitted by applicable law and by resolution of the Board, shall have and
may exercise all of the powers and authority of the Board in the management of the business and
affairs of the Corporation, and may authorize the seal of the Corporation to be affixed to all
papers that may require it.




                                                 10
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 589 of 771
                                                                    AG Draft of 12/14/2010


        Section 5.3. Alternate Members. The Board may designate one or more directors as
alternate members of any committee, who may replace any absent or disqualified member at any
meeting of such committee.

         Section 5.4. Procedures. Unless the Board otherwise provides, the time, date, place, if
any, and notice of meetings of a committee shall be determined by such committee. At meetings
of a committee, a majority of the number of members of the committee (but not including any
alternate member, unless such alternate member has replaced any absent or disqualified member
at the time of, or in connection with, such meeting) shall constitute a quorum for the transaction
of business. The act of a majority of the members present at any meeting at which a quorum is
present shall be the act of the committee, except as otherwise specifically provided by applicable
law, the Certificate of Incorporation, these By-Laws or the Board. If a quorum is not present at a
meeting of a committee, the members present may adjourn the meeting from time to time,
without notice other than an announcement at the meeting, until a quorum is present. Unless the
Board otherwise provides and except as provided in these By-Laws, each committee designated
by the Board may make, alter, amend and repeal rules for the conduct of its business. In the
absence of such rules each committee shall conduct its business in the same manner as the Board
is authorized to conduct its business pursuant to Article III and Article IV of these By-Laws.

                                         ARTICLE VI.
                                          OFFICERS

        Section 6.1. Officers. The officers of the Corporation elected by the Board shall be a
Chairman of the Board, a Chief Executive Officer, a President, a Treasurer, a Secretary and such
other officers (including without limitation a Chief Financial Officer, Vice Presidents, Assistant
Secretaries and Assistant Treasurers) as the Board from time to time may determine. Officers
elected by the Board shall each have such powers and duties as generally pertain to their
respective offices, subject to the specific provisions of this Article VI. Such officers shall also
have such powers and duties as from time to time may be conferred by the Board. The Chairman
of the Board, Chief Executive Officer or President may also appoint such other officers
(including without limitation one or more Vice Presidents and Controllers) as may be necessary
or desirable for the conduct of the business of the Corporation. Such other officers shall have
such powers and duties and shall hold their offices for such terms as may be provided in these
By-Laws or as may be prescribed by the Board or, if such officer has been appointed by the
Chairman of the Board, Chief Executive Officer or President, as may be prescribed by the
appointing officer.

               (a)    Chairman of the Board. The Chairman of the Board shall preside when
present at all meetings of the stockholders and the Board. The Chairman of the Board shall
advise and counsel the Chief Executive Officer and other officers and shall exercise such powers
and perform such duties as shall be assigned to or required of the Chairman of the Board from
time to time by the Board or these By-Laws.

              (b)     Chief Executive Officer. The Chief Executive Officer shall be the chief
executive officer of the Corporation, shall have general supervision of the affairs of the
Corporation and general control of all of its business subject to the ultimate authority of the
Board, and shall be responsible for the execution of the policies of the Board. In the absence (or

                                                11
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 590 of 771
                                                                    AG Draft of 12/14/2010


inability or refusal to act) of the Chairman of the Board, the Chief Executive Officer (if he or she
shall be a director) shall preside when present at all meetings of the stockholders and the Board.

               (c)    President. The President shall be the chief operating officer of the
Corporation and shall, subject to the authority of the Chief Executive Officer and the Board,
have general management and control of the day-to-day business operations of the Corporation
and shall consult with and report to the Chief Executive Officer. The President shall put into
operation the business policies of the Corporation as determined by the Chief Executive Officer
and the Board and as communicated to the President by the Chief Executive Officer and the
Board. The President shall make recommendations to the Chief Executive Officer on all
operational matters that would normally be reserved for the final executive responsibility of the
Chief Executive Officer. In the absence (or inability or refusal to act) of the Chairman of the
Board and Chief Executive Officer, the President (if he or she shall be a director) shall preside
when present at all meetings of the stockholders and the Board.

                (d)    Vice Presidents. In the absence (or inability or refusal to act) of the
President, the Vice President (or in the event there be more than one Vice President, the Vice
Presidents in the order designated by the Board) shall perform the duties and have the powers of
the President. Any one or more of the Vice Presidents may be given an additional designation of
rank or function.

                (e)     Secretary.

                        (i)      The Secretary shall attend all meetings of the stockholders, the
        Board and (as required) committees of the Board and shall record the proceedings of such
        meetings in books to be kept for that purpose. The Secretary shall give, or cause to be
        given, notice of all meetings of the stockholders and special meetings of the Board and
        shall perform such other duties as may be prescribed by the Board, the Chairman of the
        Board, Chief Executive Officer or President. The Secretary shall have custody of the
        corporate seal of the Corporation and the Secretary, or any Assistant Secretary, shall have
        authority to affix the same to any instrument requiring it, and when so affixed, it may be
        attested by his or her signature or by the signature of such Assistant Secretary. The
        Board may give general authority to any other officer to affix the seal of the Corporation
        and to attest the affixing thereof by his or her signature.

                         (ii)   The Secretary shall keep, or cause to be kept, at the principal
        executive office of the Corporation or at the office of the Corporation’s transfer agent or
        registrar, if one has been appointed, a stock ledger, or duplicate stock ledger, showing the
        names of the stockholders and their addresses, the number and classes of shares held by
        each and, with respect to certificated shares, the number and date of certificates issued for
        the same and the number and date of certificates cancelled.

               (f)     Assistant Secretaries. The Assistant Secretary or, if there be more than
one, the Assistant Secretaries in the order determined by the Board shall, in the absence (or
inability or refusal to act) of the Secretary, perform the duties and have the powers of the
Secretary.



                                                 12
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 591 of 771
                                                                    AG Draft of 12/14/2010


                (g)     Treasurer. The Treasurer shall perform all duties commonly incident to
that office (including, without limitation, the care and custody of the funds and securities of the
Corporation which from time to time may come into the Treasurer’s hands and the deposit of the
funds of the Corporation in such banks or trust companies as the Board, the Chief Executive
Officer or the President may authorize).

                (h)     Assistant Treasurers. The Assistant Treasurer or, if there shall be more
than one, the Assistant Treasurers in the order determined by the Board shall, in the absence (or
inability or refusal to act) of the Treasurer, perform the duties and exercise the powers of the
Treasurer.

        Section 6.2. Term of Office; Removal; Vacancies. The elected officers of the
Corporation shall be elected annually by the Board at its first meeting held after each annual
meeting of stockholders. All officers elected by the Board shall hold office until the next annual
meeting of the Board and until their successors are duly elected and qualified or until their earlier
death, resignation, retirement, disqualification, or removal from office. Any officer may be
removed, with or without cause, at any time by the Board. Any officer appointed by the
Chairman of the Board , Chief Executive Officer or President may also be removed, with or
without cause, by the Chairman of the Board, Chief Executive Officer or President, as the case
may be, unless the Board otherwise provides. Any vacancy occurring in any elected office of the
Corporation may be filled by the Board. Any vacancy occurring in any office appointed by the
Chairman of the Board, Chief Executive Officer or President may be filled by the Chairman of
the Board, Chief Executive Officer or President, as the case may be, unless the Board then
determines that such office shall thereupon be elected by the Board, in which case the Board
shall elect such officer.

        Section 6.3. Other Officers. The Board may delegate the power to appoint such other
officers and agents, and may also remove such officers and agents or delegate the power to
remove same, as it shall from time to time deem necessary or desirable.

       Section 6.4. Multiple Officeholders; Stockholder and Director Officers. Any
number of offices may be held by the same person unless the Certificate of Incorporation or
these By-Laws otherwise provide. Officers need not be stockholders or residents of the State of
Delaware.

                                       ARTICLE VII.
                                    SHARE CERTIFICATES

        Section 7.1. Entitlement to Certificates. The shares of the Corporation shall be
represented by certificates, provided that the Board may provide by resolution or resolutions that
some or all of any or all classes or series of its stock shall be uncertificated shares. Any such
resolution shall not apply to shares represented by a certificate until such certificate is
surrendered to the Corporation. Notwithstanding the adoption of such a resolution by the Board,
every holder of stock represented by certificates and upon request every holder of uncertificated
shares shall be entitled to have a certificate signed in accordance with Section 7.3 representing
the number of shares registered in certificate form. The Corporation shall not have power to
issue a certificate representing shares in bearer form.

                                                 13
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 592 of 771
                                                                    AG Draft of 12/14/2010


        Section 7.2. Multiple Classes of Stock. If the Corporation shall be authorized to issue
more than one class of stock or more than one series of any class, the Corporation shall (a) cause
the powers, designations, preferences and relative, participating, optional or other special rights
of each class of stock or series thereof and the qualifications, limitations or restrictions of such
preferences or rights to be set forth in full or summarized on the face or back of any certificate
that the Corporation issues to represent shares of such class or series of stock or (b) in the case of
uncertificated shares, within a reasonable time after the issuance or transfer of such shares, send
to the registered owner thereof a written notice containing the information required to be set
forth on certificates as specified in clause (a) above; provided, however, that, except as otherwise
provided by applicable law, in lieu of the foregoing requirements, there may be set forth on the
face or back of such certificate or, in the case of uncertificated shares, on such written notice a
statement that the Corporation will furnish without charge to each stockholder who so requests
the powers, designations, preferences and relative, participating, optional or other special rights
of each class of stock or series thereof and the qualifications, limitations or restrictions of such
preferences or rights.

        Section 7.3. Signatures. Each certificate representing capital stock of the Corporation
shall be signed by or in the name of the Corporation by (a) the Chairman of the Board, the Chief
Executive Officer, the President or a Vice President and (b) the Treasurer, an Assistant Treasurer,
the Secretary or an Assistant Secretary of the Corporation. Any or all the signatures on the
certificate may be a facsimile. In case any officer, transfer agent or registrar who has signed or
whose facsimile signature has been placed upon a certificate shall have ceased to be such officer,
transfer agent or registrar before such certificate is issued, such certificate may be issued by the
Corporation with the same effect as if such person were such officer, transfer agent or registrar
on the date of issue.

        Section 7.4.    Lost, Destroyed or Wrongfully Taken Certificates.

                 (a)    If an owner of a certificate representing shares claims that such certificate
has been lost, destroyed or wrongfully taken, the Corporation shall issue a new certificate
representing such shares or such shares in uncertificated form if the owner: (i) requests such a
new certificate before the Corporation has notice that the certificate representing such shares has
been acquired by a protected purchaser; (ii) if requested by the Corporation, delivers to the
Corporation a bond sufficient to indemnify the Corporation against any claim that may be made
against the Corporation on account of the alleged loss, wrongful taking or destruction of such
certificate or the issuance of such new certificate or uncertificated shares; and (iii) satisfies other
reasonable requirements imposed by the Corporation.

               (b)     If a certificate representing shares has been lost, apparently destroyed or
wrongfully taken, and the owner fails to notify the Corporation of that fact within a reasonable
time after the owner has notice of such loss, apparent destruction or wrongful taking and the
Corporation registers a transfer of such shares before receiving notification, the owner shall be
precluded from asserting against the Corporation any claim for registering such transfer or a
claim to a new certificate representing such shares or such shares in uncertificated form.

       Section 7.5. Transfer of Stock. If a certificate representing shares of the Corporation
is presented to the Corporation with a stock power or other indorsement requesting the

                                                  14
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 593 of 771
                                                                    AG Draft of 12/14/2010


registration of transfer of such shares or an instruction is presented to the Corporation requesting
the registration of transfer of uncertificated shares, the Corporation shall register the transfer as
requested if:

               (a)    in the case of certificated shares, the certificate representing such shares
has been surrendered;

                (b)     (A) with respect to certificated shares, the indorsement is made by the
person specified by the certificate as entitled to such shares; (B) with respect to uncertificated
shares, an instruction is made by the registered owner of such uncertificated shares; or (C) with
respect to certificated shares or uncertificated shares, the indorsement or instruction is made by
any other appropriate person or by an agent who has actual authority to act on behalf of the
appropriate person;

                (c)     the Corporation has received a guarantee of signature of the person
signing such indorsement or instruction or such other reasonable assurance that the indorsement
or instruction is genuine and authorized as the Corporation may request;

              (d)      the transfer does not violate any restriction on transfer imposed by the
Corporation that is enforceable in accordance with Section 7.7(a); and

               (e)     such other conditions for such transfer as shall be provided for under
applicable law and the Stockholders’ Agreement of the Company dated as of December __,
2010, as such agreement may be amended, altered, restated, modified or supplemented from time
to time, have been satisfied.

        Section 7.6. Registered Stockholders. Before due presentment for registration of
transfer of a certificate representing shares of the Corporation or of an instruction requesting
registration of transfer of uncertificated shares, the Corporation may treat the registered owner as
the person exclusively entitled to inspect for any proper purpose the stock ledger and the other
books and records of the Corporation, vote such shares, receive dividends or notifications with
respect to such shares and otherwise exercise all the rights and powers of the owner of such
shares, except that a person who is the beneficial owner of such shares (if held in a voting trust or
by a nominee on behalf of such person) may, upon providing documentary evidence of beneficial
ownership of such shares and satisfying such other conditions as are provided under applicable
law, may also so inspect the books and records of the Corporation.

        Section 7.7.    Effect of the Corporation’s Restriction on Transfer.

                (a)    A written restriction on the transfer or registration of transfer of shares of
the Corporation or on the amount of shares of the Corporation that may be owned by any person
or group of persons, if permitted by the DGCL and noted conspicuously on the certificate
representing such shares or, in the case of uncertificated shares, contained in a notice sent by the
Corporation to the registered owner of such shares within a reasonable time after the issuance or
transfer of such shares, may be enforced against the holder of such shares or any successor or
transferee of the holder including an executor, administrator, trustee, guardian or other fiduciary
entrusted with like responsibility for the person or estate of the holder.


                                                 15
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 594 of 771
                                                                    AG Draft of 12/14/2010


                (b)    A restriction imposed by the Corporation on the transfer or the registration
of shares of the Corporation or on the amount of shares of the Corporation that may be owned by
any person or group of persons, even if otherwise lawful, is ineffective against a person without
actual knowledge of such restriction unless: (i) the shares are certificated and such restriction is
noted conspicuously on the certificate; or (ii) the shares are uncertificated and such restriction
was contained in a notice sent by the Corporation to the registered owner of such shares within a
reasonable time after the issuance or transfer of such shares.

        Section 7.8. Regulations. The Board shall have power and authority to make such
additional rules and regulations, subject to any applicable requirement of law, as the Board may
deem necessary and appropriate with respect to the issue, transfer or registration of transfer of
shares of stock or certificates representing shares. The Board may appoint one or more transfer
agents or registrars and may require for the validity thereof that certificates representing shares
bear the signature of any transfer agent or registrar so appointed.

                                        ARTICLE VIII.
                                      INDEMNIFICATION

        Section 8.1. Right to Indemnification. Each person who was or is made a party or is
threatened to be made a party to or is otherwise involved in any threatened, pending or
completed action, suit or proceeding, whether civil, criminal, administrative or investigative
(hereinafter a “proceeding”), by reason of the fact that he or she is or was a director or officer of
the Corporation or, while a director or officer of the Corporation, is or was serving at the request
of the Corporation as a director, officer, employee or agent of another corporation or of a
partnership, joint venture, trust, other enterprise or nonprofit entity, including service with
respect to an employee benefit plan (hereinafter a “Covered Person”), whether the basis of such
proceeding is alleged action in an official capacity as a director, officer, employee or agent, or in
any other capacity while serving as a director, officer, employee or agent, shall be indemnified
and held harmless by the Corporation to the fullest extent authorized or permitted by applicable
law, as the same exists or may hereafter be amended, against all expenses, liability and loss
(including, without limitation, attorneys’ fees, judgments, fines, ERISA excise taxes and
penalties and amounts paid in settlement) reasonably incurred or suffered by such Covered
Person in connection with such proceeding; provided, however, that, except as provided in
Section 8.3 with respect to proceedings to enforce rights to indemnification and advancement of
expenses, the Corporation shall indemnify a Covered Person in connection with a proceeding (or
part thereof) initiated by such Covered Person only if such proceeding (or part thereof) was
authorized by the Board.

        Section 8.2. Right to Advancement of Expenses. In addition to the right to
indemnification conferred in Section 8.1, a Covered Person shall also have the right to be paid by
the Corporation the expenses (including, without limitation, attorneys’ fees) incurred in
defending, testifying, or otherwise participating in any such proceeding in advance of its final
disposition (hereinafter an “advancement of expenses”); provided, however, that, if the
Delaware General Corporation Law (“DGCL”) requires, an advancement of expenses incurred
by a Covered Person in his or her capacity as a director or officer of the Corporation (and not in
any other capacity in which service was or is rendered by such Covered Person, including,
without limitation, service to an employee benefit plan) shall be made only upon delivery to the

                                                 16
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 595 of 771
                                                                    AG Draft of 12/14/2010


Corporation of an undertaking (hereinafter an “undertaking”), by or on behalf of such Covered
Person, to repay all amounts so advanced if it shall ultimately be determined by final judicial
decision from which there is no further right to appeal (hereinafter a “final adjudication”) that
such Covered Person is not entitled to be indemnified for such expenses under this Article VIII
or otherwise.

        Section 8.3. Right of Indemnitee to Bring Suit. If a claim under Section 8.1 or
Section 8.2 is not paid in full by the Corporation within 60 days after a written claim therefor has
been received by the Corporation, except in the case of a claim for an advancement of expenses,
in which case the applicable period shall be 20 days, the Covered Person may at any time
thereafter bring suit against the Corporation to recover the unpaid amount of the claim. If
successful in whole or in part in any such suit, or in a suit brought by the Corporation to recover
an advancement of expenses pursuant to the terms of an undertaking, the Covered Person shall
also be entitled to be paid the expense of prosecuting or defending such suit. In any suit brought
by (a) the Covered Person to enforce a right to indemnification hereunder (but not in a suit
brought by a Covered Person to enforce a right to an advancement of expenses) it shall be a
defense that, and (b) the Corporation to recover an advancement of expenses pursuant to the
terms of an undertaking, the Corporation shall be entitled to recover such expenses upon a final
adjudication that, the Covered Person has not met any applicable standard for indemnification set
forth in the DGCL. Neither the failure of the Corporation (including its directors who are not
parties to such action, a committee of such directors, independent legal counsel, or its
stockholders) to have made a determination prior to the commencement of such suit that
indemnification of the Covered Person is proper in the circumstances because the Covered
Person has met the applicable standard of conduct set forth in the DGCL, nor an actual
determination by the Corporation (including a determination by its directors who are not parties
to such action, a committee of such directors, independent legal counsel, or its stockholders) that
the Covered Person has not met such applicable standard of conduct, shall create a presumption
that the Covered Person has not met the applicable standard of conduct or, in the case of such a
suit brought by the Covered Person, shall be a defense to such suit. In any suit brought by the
Covered Person to enforce a right to indemnification or to an advancement of expenses
hereunder, or by the Corporation to recover an advancement of expenses pursuant to the terms of
an undertaking, the burden of proving that the Covered Person is not entitled to be indemnified,
or to such advancement of expenses, under this Article VIII or otherwise shall be on the
Corporation.

       Section 8.4. Non-Exclusivity of Rights. The rights provided to Covered Persons
pursuant to this Article VIII shall not be exclusive of any other right that any Covered Person
may have or hereafter acquire under applicable law, the Certificate of Incorporation, these By-
Laws, an agreement, a vote of stockholders or disinterested directors, or otherwise.

       Section 8.5. Insurance. The Corporation may maintain insurance, at its expense, to
protect itself and/or any director, officer, employee or agent of the Corporation or another
corporation, partnership, joint venture, trust or other enterprise against any expense, liability or
loss, whether or not the Corporation would have the power to indemnify such person against
such expense, liability or loss under the DGCL.



                                                17
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 596 of 771
                                                                    AG Draft of 12/14/2010


        Section 8.6. Indemnification of Other Persons. This Article VIII shall not limit the
right of the Corporation to the extent and in the manner authorized or permitted by law to
indemnify and to advance expenses to persons other than Covered Persons. Without limiting the
foregoing, the Corporation may, to the extent authorized from time to time by the Board, grant
rights to indemnification and to the advancement of expenses to any employee or agent of the
Corporation and to any other person who is or was serving at the request of the Corporation as a
director, officer, employee or agent of another corporation or of a partnership, joint venture, trust
or other enterprise, including service with respect to an employee benefit plan, to the fullest
extent of the provisions of this Article VIII with respect to the indemnification and advancement
of expenses of Covered Persons under this Article VIII.

        Section 8.7. Amendments. Any repeal or amendment of this Article VIII by the Board
or the stockholders of the Corporation or by changes in applicable law, or the adoption of any
other provision of these By-Laws inconsistent with this Article VIII, shall, to the extent
permitted by applicable law, be prospective only (except to the extent such amendment or change
in applicable law permits the Corporation to provide broader indemnification rights to Covered
Persons on a retroactive basis than permitted prior thereto), and will not in any way diminish or
adversely affect any right or protection existing hereunder in respect of any act or omission
occurring prior to such repeal or amendment or adoption of such inconsistent provision.

        Section 8.8. Certain Definitions. For purposes of this Article VIII, (a) references to
“other enterprise” shall include any employee benefit plan; (b) references to “fines” shall include
any excise taxes assessed on a person with respect to an employee benefit plan; (c) references to
“serving at the request of the Corporation” shall include any service that imposes duties on, or
involves services by, a person with respect to any employee benefit plan, its participants, or
beneficiaries; and (d) a person who acted in good faith and in a manner such person reasonably
believed to be in the interest of the participants and beneficiaries of an employee benefit plan
shall be deemed to have acted in a manner “not opposed to the best interest of the Corporation”
for purposes of Section 145 of the DGCL.

        Section 8.9. Contract Rights. The rights provided to Covered Persons pursuant to this
Article VIII (a) shall be contract rights based upon good and valuable consideration, pursuant to
which a Covered Person may bring suit as if the provisions of this Article VIII were set forth in a
separate written contract between the Covered Person and the Corporation, (b) shall fully vest at
the time the Covered Person first assumes his or her position as a director or officer of the
Corporation, (c) are intended to be retroactive and shall be available with respect to any act or
omission occurring prior to the adoption of this Article VIII, (d) shall continue as to a Covered
Person who has ceased to be a director or officer of the Corporation, and (e) shall inure to the
benefit of the Covered Person’s heirs, executors and administrators.

        Section 8.10. Severability. If any provision or provisions of this Article VIII shall be
held to be invalid, illegal or unenforceable for any reason whatsoever: (a) the validity, legality
and enforceability of the remaining provisions of this Article VIII shall not in any way be
affected or impaired thereby; and (b) to the fullest extent possible, the provisions of this
Article VIII (including, without limitation, each such portion of this Article VIII containing any
such provision held to be invalid, illegal or unenforceable) shall be construed so as to give effect
to the intent manifested by the provision held invalid, illegal or unenforceable.

                                                 18
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 597 of 771
                                                                    AG Draft of 12/14/2010


                                         ARTICLE IX.
                                       MISCELLANEOUS

       Section 9.1. Place of Meetings. If the place of any meeting of stockholders, the Board
or committee of the Board for which notice is required under these By-Laws is not designated in
the notice of such meeting, such meeting shall be held at the principal business office of the
Corporation; provided, however, if the Board has, in its sole discretion, determined that a
meeting shall not be held at any place, but instead shall be held by means of remote
communication pursuant to Section 9.5 hereof, then such meeting shall not be held at any place.

        Section 9.2.    Fixing Record Dates.

                (a)     In order that the Corporation may determine the stockholders entitled to
notice of any meeting of stockholders or any adjournment thereof, the Board may fix a record
date, which record date shall not precede the date upon which the resolution fixing the record
date is adopted by the Board, and which record date shall not be more than 60 nor less than 10
days before the date of such meeting. If the Board so fixes a record date, such date shall also be
the record date for determining the stockholders entitled to vote at such meeting unless the Board
determines, at the time it fixes such record date, that a later date on or before the date of the
meeting shall be the date for making such determination. If no record date is fixed by the Board,
the record date for determining stockholders entitled to notice of or to vote at a meeting of
stockholders shall be at the close of business on the business day next preceding the day on
which notice is given, or, if notice is waived, at the close of business on the business day next
preceding the day on which the meeting is held. A determination of stockholders of record
entitled to notice of or to vote at a meeting of stockholders shall apply to any adjournment of the
meeting; provided, however, that the Board may fix a new record date for determination of
stockholders entitled to vote at the adjourned meeting, and in such case shall also fix as the
record date for stockholders entitled to notice of such adjourned meeting the same or an earlier
date as that fixed for determination of stockholders entitled to vote in accordance with the
foregoing provisions of this Section 9.21(a) at the adjourned meeting.

               (b)     In order that the Corporation may determine the stockholders entitled to
receive payment of any dividend or other distribution or allotment of any rights or the
stockholders entitled to exercise any rights in respect of any change, conversion or exchange of
stock, or for the purpose of any other lawful action, the Board may fix a record date, which
record date shall not precede the date upon which the resolution fixing the record date is adopted,
and which record date shall be not more than 60 days prior to such action. If no record date is
fixed, the record date for determining stockholders for any such purpose shall be at the close of
business on the day on which the Board adopts the resolution relating thereto.

                (c)     In order that the Corporation may determine the stockholders entitled to
consent to corporate action in writing without a meeting, the Board may fix a record date, which
record date shall not precede the date upon which the resolution fixing the record date is adopted
by the Board, and which date shall not be more than 10 days after the date upon which the
resolution fixing the record date is adopted by the Board. If no record date has been fixed by the
Board, the record date for determining stockholders entitled to consent to corporate action in
writing without a meeting, when no prior action by the Board is otherwise required, shall be the

                                                19
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 598 of 771
                                                                    AG Draft of 12/14/2010


first date on which a signed written consent setting forth the action taken or proposed to be taken
is delivered to the Corporation by delivery to its registered office in the State of Delaware, its
principal place of business, or the Secretary. Delivery made to the Corporation’s registered
office shall be by hand or by certified or registered mail, return receipt requested. If no record
date has been fixed by the Board and prior action by the Board is otherwise required, the record
date for determining stockholders entitled to consent to corporate action in writing without a
meeting shall be at the close of business on the day on which the Board adopts the resolution
taking such prior action.

        Section 9.3.    Means of Giving Notice.

               (a)      Notice to Directors. Whenever under applicable law, the Certificate of
Incorporation or these By-Laws notice is required to be given to any director, such notice shall
be given either (i) in writing and sent by hand delivery, through the United States mail, or by a
nationally recognized overnight delivery service for next day delivery, (ii) by means of facsimile
telecommunication or other form of electronic transmission, or (iii) by oral notice given
personally or by telephone. A notice to a director will be deemed given as follows: (i) if given
by hand delivery, orally, or by telephone, when actually received by the director, (ii) if sent
through the United States mail, when deposited in the United States mail, with postage and fees
thereon prepaid, addressed to the director at the director’s address appearing on the records of the
Corporation, (iii) if sent for next day delivery by a nationally recognized overnight delivery
service, when deposited with such service, with fees thereon prepaid, addressed to the director at
the director’s address appearing on the records of the Corporation, (iv) if sent by facsimile
telecommunication, when sent to the facsimile transmission number for such director appearing
on the records of the Corporation, (v) if sent by electronic mail, when sent to the electronic mail
address for such director appearing on the records of the Corporation, or (vi) if sent by any other
form of electronic transmission, when sent to the address, location or number (as applicable) for
such director appearing on the records of the Corporation.

                (b)     Notice to Stockholders. Whenever under applicable law, the Certificate of
Incorporation or these By-Laws notice is required to be given to any stockholder, such notice
may be given (i) in writing and sent either by hand delivery, through the United States mail, or
by a nationally recognized overnight delivery service for next day delivery, or (ii) by means of a
form of electronic transmission consented to by the stockholder, to the extent permitted by, and
subject to the conditions set forth in, Section 232 of the DGCL. A notice to a stockholder shall
be deemed given as follows: (i) if given by hand delivery, when actually received by the
stockholder, (ii) if sent through the United States mail, when deposited in the United States mail,
with postage and fees thereon prepaid, addressed to the stockholder at the stockholder’s address
appearing on the stock ledger of the Corporation, (iii) if sent for next day delivery by a nationally
recognized overnight delivery service, when deposited with such service, with fees thereon
prepaid, addressed to the stockholder at the stockholder’s address appearing on the stock ledger
of the Corporation, and (iv) if given by a form of electronic transmission consented to by the
stockholder to whom the notice is given and otherwise meeting the requirements set forth above,
(A) if by facsimile transmission, when directed to a number at which the stockholder has
consented to receive notice, (B) if by electronic mail, when directed to an electronic mail address
at which the stockholder has consented to receive notice, (C) if by a posting on an electronic
network together with separate notice to the stockholder of such specified posting, upon the later

                                                 20
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 599 of 771
                                                                    AG Draft of 12/14/2010


of (1) such posting and (2) the giving of such separate notice, and (D) if by any other form of
electronic transmission, when directed to the stockholder. A stockholder may revoke such
stockholder’s consent to receiving notice by means of electronic communication by giving
written notice of such revocation to the Corporation. Any such consent shall be deemed revoked
if (1) the Corporation is unable to deliver by electronic transmission two consecutive notices
given by the Corporation in accordance with such consent and (2) such inability becomes known
to the Secretary or an Assistant Secretary or to the Corporation’s transfer agent, or other person
responsible for the giving of notice; provided, however, the inadvertent failure to treat such
inability as a revocation shall not invalidate any meeting or other action.

               (c)    Electronic Transmission. “Electronic transmission” means any form of
communication, not directly involving the physical transmission of paper, that creates a record
that may be retained, retrieved and reviewed by a recipient thereof, and that may be directly
reproduced in paper form by such a recipient through an automated process, including but not
limited to transmission by telex, facsimile telecommunication, electronic mail, telegram and
cablegram.

               (d)     Notice to Stockholders Sharing Same Address. Without limiting the
manner by which notice otherwise may be given effectively by the Corporation to stockholders,
any notice to stockholders given by the Corporation under any provision of the DGCL, the
Certificate of Incorporation or these By-Laws shall be effective if given by a single written
notice to stockholders who share an address if consented to by the stockholders at that address to
whom such notice is given. A stockholder may revoke such stockholder’s consent by delivering
written notice of such revocation to the Corporation. Any stockholder who fails to object in
writing to the Corporation within 60 days of having been given written notice by the Corporation
of its intention to send such a single written notice shall be deemed to have consented to
receiving such single written notice.

                 (e)      Exceptions to Notice Requirements. Whenever notice is required to be
given, under the DGCL, the Certificate of Incorporation or these By-Laws, to any person with
whom communication is unlawful, the giving of such notice to such person shall not be required
and there shall be no duty to apply to any governmental authority or agency for a license or
permit to give such notice to such person. Any action or meeting that shall be taken or held
without notice to any such person with whom communication is unlawful shall have the same
force and effect as if such notice had been duly given. If the action taken by the Corporation is
such as to require the filing of a certificate with the Secretary of State of Delaware, the certificate
shall state, if such is the fact and if notice is required, that notice was given to all persons entitled
to receive notice except such persons with whom communication is unlawful.

               Whenever notice is required to be given by the Corporation, under any provision
of the DGCL, the Certificate of Incorporation or these By-Laws, to any stockholder to whom
(1) notice of two consecutive annual meetings of stockholders and all notices of stockholder
meetings or of the taking of action by written consent of stockholders without a meeting to such
stockholder during the period between such two consecutive annual meetings, or (2) all, and at
least two payments (if sent by first-class mail) of dividends or interest on securities during a 12-
month period, have been mailed addressed to such stockholder at such stockholder’s address as
shown on the records of the Corporation and have been returned undeliverable, the giving of

                                                   21
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 600 of 771
                                                                    AG Draft of 12/14/2010


such notice to such stockholder shall not be required. Any action or meeting that shall be taken
or held without notice to such stockholder shall have the same force and effect as if such notice
had been duly given. If any such stockholder shall deliver to the Corporation a written notice
setting forth such stockholder’s then current address, the requirement that notice be given to such
stockholder shall be reinstated. If the action taken by the Corporation is such as to require the
filing of a certificate with the Secretary of State of Delaware, the certificate need not state that
notice was not given to persons to whom notice was not required to be given pursuant to
Section 230(b) of the DGCL. The exception in subsection (1) of the first sentence of this
paragraph to the requirement that notice be given shall not be applicable to any notice returned as
undeliverable if the notice was given by electronic transmission.

        Section 9.4. Waiver of Notice. Whenever any notice is required to be given under
applicable law, the Certificate of Incorporation, or these By-Laws, a written waiver of such
notice, signed before or after the date of such meeting by the person or persons entitled to said
notice, or a waiver by electronic transmission by the person entitled to said notice, shall be
deemed equivalent to such required notice. All such waivers shall be kept with the books of the
Corporation. Attendance at a meeting shall constitute a waiver of notice of such meeting, except
where a person attends for the express purpose of objecting to the transaction of any business on
the ground that the meeting was not lawfully called or convened.

        Section 9.5.    Meeting Attendance via Remote Communication Equipment.

              (a)   Stockholder Meetings. If authorized by the Board in its sole discretion,
and subject to such guidelines and procedures as the Board may adopt, stockholders and
proxyholders not physically present at a meeting of stockholders may, by means of remote
communication:

                        (i)     participate in a meeting of stockholders; and

                        (ii)   be deemed present in person and vote at a meeting of stockholders,
        whether such meeting is to be held at a designated place or solely by means of remote
        communication, provided that (A) the Corporation shall implement reasonable measures
        to verify that each person deemed present and permitted to vote at the meeting by means
        of remote communication is a stockholder or proxyholder, (B) the Corporation shall
        implement reasonable measures to provide such stockholders and proxyholders a
        reasonable opportunity to participate in the meeting and to vote on matters submitted to
        the stockholders, including an opportunity to read or hear the proceedings of the meeting
        substantially concurrently with such proceedings, and (C) if any stockholder or
        proxyholder votes or takes other action at the meeting by means of remote
        communication, a record of such votes or other action shall be maintained by the
        Corporation.

                (b)    Board Meetings. Unless otherwise restricted by applicable law, the
Certificate of Incorporation, or these By-Laws, members of the Board or any committee thereof
may participate in a meeting of the Board or any committee thereof by means of conference
telephone or other communications equipment by means of which all persons participating in the
meeting can hear each other. Such participation in a meeting shall constitute presence in person

                                                 22
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 601 of 771
                                                                    AG Draft of 12/14/2010


at the meeting, except where a person participates in the meeting for the express purpose of
objecting to the transaction of any business on the ground that the meeting was not lawfully
called or convened.

        Section 9.6. Dividends. The Board may from time to time declare, and the
Corporation may pay, dividends (payable in cash, property or shares of the Corporation’s capital
stock) on the Corporation’s outstanding shares of capital stock, subject to applicable law and the
Certificate of Incorporation.

       Section 9.7. Reserves. The Board may set apart out of the funds of the Corporation
available for dividends a reserve or reserves for any proper purpose and may abolish any such
reserve.

         Section 9.8. Contracts and Negotiable Instruments. Except as otherwise provided
by applicable law, the Certificate of Incorporation or these By-Laws, any contract, bond, deed,
lease, mortgage or other instrument may be executed and delivered in the name and on behalf of
the Corporation by such officer or officers or other employee or employees of the Corporation as
the Board may from time to time authorize. Such authority may be general or confined to
specific instances as the Board may determine. The Chairman of the Board, the Chief Executive
Officer, the President or any Vice President may execute and deliver any contract, bond, deed,
lease, mortgage or other instrument in the name and on behalf of the Corporation. Subject to any
restrictions imposed by the Board, the Chairman of the Board, Chief Executive Officer, President
or any Vice President may delegate powers to execute and deliver any contract, bond, deed,
lease, mortgage or other instrument in the name and on behalf of the Corporation to other
officers or employees of the Corporation under such person’s supervision and authority, it being
understood, however, that any such delegation of power shall not relieve such officer of
responsibility with respect to the exercise of such delegated power.

         Section 9.9.   Fiscal Year. The fiscal year of the Corporation shall be fixed by the
Board.

       Section 9.10. Seal. The Board may adopt a corporate seal which shall be in such form
as the Board determines. The seal may be used by causing it or a facsimile thereof to be
impressed, affixed or otherwise reproduced.

       Section 9.11. Books and Records. The books and records of the Corporation may be
kept within or outside the State of Delaware at such place or places as may from time to time be
designated by the Board.

        Section 9.12. Resignation. Any director, committee member or officer may resign by
giving notice thereof in writing or by electronic transmission to the Chairman of the Board, the
Chief Executive Officer, the President or the Secretary. The resignation shall take effect at the
time specified therein, or at the time of receipt of such notice if no time is specified or the
specified time is earlier than the time of such receipt. Unless otherwise specified therein, the
acceptance of such resignation shall not be necessary to make it effective.

       Section 9.13. Surety Bonds. Such officers, employees and agents of the Corporation (if
any) as the Chairman of the Board, Chief Executive Officer, President or the Board may direct,

                                               23
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47 Main Document
                                          Pg 602 of 771
                                                                    AG Draft of 12/14/2010


from time to time, shall be bonded for the faithful performance of their duties and for the
restoration to the Corporation, in case of their death, resignation, retirement, disqualification or
removal from office, of all books, papers, vouchers, money and other property of whatever kind
in their possession or under their control belonging to the Corporation, in such amounts and by
such surety companies as the Chairman of the Board, Chief Executive Officer, President or the
Board may determine. The premiums on such bonds shall be paid by the Corporation and the
bonds so furnished shall be in the custody of the Secretary.

        Section 9.14. Securities of Other Corporations. Powers of attorney, proxies, waivers
of notice of meeting, consents in writing and other instruments relating to securities owned by
the Corporation may be executed in the name of and on behalf of the Corporation by the
Chairman of the Board, Chief Executive Officer, President or any Vice President. Any such
officer may, in the name of and on behalf of the Corporation, take all such action as any such
officer may deem advisable to vote in person or by proxy at any meeting of security holders of
any corporation in which the Corporation may own securities, or to consent in writing, in the
name of the Corporation as such holder, to any action by such corporation, and at any such
meeting or with respect to any such consent shall possess and may exercise any and all rights and
power incident to the ownership of such securities and which, as the owner thereof, the
Corporation might have exercised and possessed. The Board may from time to time confer like
powers upon any other person or persons.

       Section 9.15. Forum for Adjudication of Disputes. Unless the Corporation consents
in writing to the selection of an alternative forum, the Court of Chancery of the State of
Delaware shall be the sole and exclusive forum for (i) any derivative action or proceeding
brought on behalf of the Corporation, (ii) any action asserting a claim of breach of a fiduciary
duty owed by any director, officer or other employee of the Corporation to the Corporation or the
Corporation’s stockholders, (iii) any action asserting a claim arising pursuant to any provision of
the DGCL, or (iv) any action asserting a claim governed by the internal affairs doctrine. Any
person or entity purchasing or otherwise acquiring any interest in shares of capital stock of the
Corporation shall be deemed to have notice of and consented to the provisions of this Section
9.15.

        Section 9.16. Amendments. The Board shall have the power to adopt, amend, alter or
repeal the By-Laws. The By-Laws also may be adopted, amended, altered or repealed by the
stockholders.




                                                24
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                           Pg 603 of 771




                                AMENDED AND RESTATED BY-LAWS



                                                 OF



                                __________________________________



                                        a Delaware corporation



                                         (the “Corporation”)



                                  (Adopted as of December ___, 2010)




688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47         Main Document
                                          Pg 604 of 771



                                           BY-LAWS

                                               OF

                                 _____________________________

                                          ARTICLE I.
                                           OFFICES

        Section 1.1. Registered Office. The registered office of the Corporation within the
State of Delaware shall be located at either (a) the principal place of business of the Corporation
in the State of Delaware or (b) the office of the corporation or individual acting as the
Corporation’s registered agent in Delaware.

        Section 1.2. Additional Offices. The Corporation may, in addition to its registered
office in the State of Delaware, have such other offices and places of business, both within and
outside the State of Delaware, as the Board of Directors of the Corporation (the “Board”) may
from time to time determine or as the business and affairs of the Corporation may require.

                                       ARTICLE II.
                                 STOCKHOLDERS MEETINGS

        Section 2.1. Annual Meetings. Unless directors are elected by written consent in lieu
of an annual meeting as permitted by applicable law or an annual meeting is otherwise not
required by applicable law, an annual meeting of stockholders shall be held at such place and
time and on such date as shall be determined by the Board and stated in the notice of the
meeting, provided that the Board may in its sole discretion determine that the meeting shall not
be held at any place, but may instead be held solely by means of remote communication pursuant
to Section 9.5(a). At each annual meeting, the stockholders shall elect directors of the
Corporation and may transact any other business as may properly be brought before the meeting.
Stockholders may, unless the Corporation’s Certificate of Incorporation, as the same may be
amended or restated from time to time (the “Certificate of Incorporation”), provides otherwise,
act by written consent to elect directors; provided, however, that if such consent is less than
unanimous, such action by written consent may be in lieu of holding an annual meeting only if
all of the directorships to which directors could be elected at an annual meeting held at the
effective time of such action are vacant and are filled by such action.

        Section 2.2. Special Meetings. Except as otherwise required by applicable law or
provided in the Certificate of Incorporation, special meetings of stockholders, for any purpose or
purposes, may be called only by the Chairman of the Board, Chief Executive Officer or the
President, by the Board, or by the Secretary at the request in writing of stockholders holding
shares representing at least ten percent (10%) of the voting power of the outstanding shares
entitled to vote on the matter for which such meeting is to be called. The Secretary shall call
such a meeting upon receiving such a request. Special meetings of stockholders shall be held at
such place and time and on such date as shall be determined by the Board and stated in the
Corporation’s notice of the meeting, provided that the Board may in its sole discretion determine
that the meeting shall not be held at any place, but may instead be held solely by means of
remote communication pursuant to Section 9.5(a).


688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                          Pg 605 of 771



        Section 2.3. Notices. Notice of each stockholders meeting stating the place, if any,
date and time of the meeting, the means of remote communication, if any, by which stockholders
and proxyholders may be deemed to be present in person and vote at such meeting, and the
record date for determining the stockholders entitled to vote at the meeting if such date is
different from the record date for determining stockholders entitled to notice of the meeting shall
be given in the manner permitted by Section 9.3 to each stockholder entitled to vote thereat as of
the record date for determining the stockholders entitled to notice of the meeting. Such notice
shall be given by the Corporation not less than 10 nor more than 60 days before the date of the
meeting. If said notice is for a stockholders meeting other than an annual meeting, it shall in
addition state the purpose or purposes for which the meeting is called, and the business
transacted at such meeting shall be limited to the matters so stated in the Corporation’s notice of
meeting (or any supplement thereto).

        Section 2.4. Quorum. Except as otherwise provided by applicable law, the Certificate
of Incorporation or these By-Laws, the presence, in person or by proxy, at a stockholders
meeting of the holders of shares of outstanding capital stock of the Corporation representing a
majority of the voting power of all outstanding shares of capital stock of the Corporation entitled
to vote at such meeting shall constitute a quorum for the transaction of business at such meeting,
except that when specified business is to be voted on by a class or series of stock voting as a
class, the holders of shares representing a majority of the voting power of the outstanding shares
of such class or series shall constitute a quorum of such class or series for the transaction of such
business. If a quorum shall not be present at any meeting of the stockholders, the chairman of
the meeting or the stockholders entitled to vote thereat so present, by a majority in voting power
thereof, may adjourn the meeting from time to time in the manner provided in Section 2.6 until a
quorum shall attend. The stockholders present at a duly convened meeting may continue to
transact business until adjournment, notwithstanding the withdrawal of enough stockholders to
leave less than a quorum. Shares of its own stock belonging to the Corporation or to another
corporation, if a majority of the voting power of the shares entitled to vote in the election of
directors of such other corporation is held, directly or indirectly, by the Corporation, shall neither
be entitled to vote nor be counted for quorum purposes; provided, however, that the foregoing
shall not limit the right of the Corporation or any such other corporation to vote shares held by it
in a fiduciary capacity.

        Section 2.5.    Voting of Shares.

                (a)    Voting Lists. The Secretary shall prepare, or shall cause the officer or
agent who has charge of the stock ledger of the Corporation to prepare, at least 10 days before
each meeting of stockholders, a complete list of the stockholders of record entitled to vote at the
meeting (provided, however, if the record date for determining the stockholders entitled to vote
is less than 10 days before the meeting date, the list shall reflect the stockholders entitled to vote
as of the tenth day before the meeting date), arranged in alphabetical order for each class of stock
and showing the address and the number of shares registered in the name of each stockholder.
Nothing contained in this Section 2.5(a) shall require the Corporation to include electronic mail
addresses or other electronic contact information on such list. Such list shall be open to the
examination of any stockholder, for any purpose germane to the meeting, during ordinary
business hours for a period of at least 10 days prior to the meeting: (i) on a reasonably accessible
electronic network, provided that the information required to gain access to such list is provided

                                                  2
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                          Pg 606 of 771



with the notice of the meeting, or (ii) during ordinary business hours, at the principal place of
business of the Corporation. If the Corporation determines to make the list available on an
electronic network, the Corporation may take reasonable steps to ensure that such information is
available only to stockholders of the Corporation. If the meeting is to be held at a place, then the
list of stockholders entitled to vote at the meeting shall be produced and kept at the time and
place of the meeting during the whole time thereof, and may be examined by any stockholder
who is present. If a meeting of stockholders is to be held solely by means of remote
communication as permitted by Section 9.5(a), then such list shall be open to the examination of
any stockholder during the whole time of the meeting on a reasonably accessible electronic
network, and the information required to access such list shall be provided with the notice of
meeting. The stock ledger shall be the only evidence as to who are the stockholders entitled to
examine the list required by this Section 2.5(a) or to vote in person or by proxy at any meeting of
stockholders.

               (b)     Manner of Voting. At any stockholders meeting, every stockholder
entitled to vote may vote in person or by proxy. If authorized by the Board, the voting by
stockholders or proxyholders at any meeting conducted by remote communication may be
effected by a ballot submitted by electronic transmission (as defined in Section 9.3(c)), provided
that any such electronic transmission must either set forth or be submitted with information from
which the Corporation can determine that the electronic transmission was authorized by the
stockholder or proxyholder. The Board, in its discretion, or the chairman of the meeting of
stockholders, in such person’s discretion, may require that any votes cast at such meeting shall
be cast by written ballot.

                (c)     Proxies. Each stockholder entitled to vote at a meeting of stockholders or
to express consent or dissent to corporate action in writing without a meeting may authorize
another person or persons to act for such stockholder by proxy, but no such proxy shall be voted
or acted upon after three years from its date, unless the proxy provides for a longer period.
Proxies need not be filed with the Secretary until the meeting is called to order, but shall be filed
with the Secretary before being voted. Without limiting the manner in which a stockholder may
authorize another person or persons to act for such stockholder as proxy, either of the following
shall constitute a valid means by which a stockholder may grant such authority:

                       (i)    A stockholder may execute a writing authorizing another person or
        persons to act for such stockholder as proxy. Execution may be accomplished by the
        stockholder or such stockholder’s authorized officer, director, employee or agent signing
        such writing or causing such person’s signature to be affixed to such writing by any
        reasonable means, including, but not limited to, by facsimile signature.

                        (ii)   A stockholder may authorize another person or persons to act for
        such stockholder as proxy by transmitting or authorizing the transmission of an electronic
        transmission to the person who will be the holder of the proxy, provided that any such
        electronic transmission must either set forth or be submitted with information from which
        it can be determined that the electronic transmission was authorized by the stockholder.

Any copy, facsimile telecommunication or other reliable reproduction of the writing or
transmission authorizing another person or persons to act as proxy for a stockholder may be

                                                 3
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                          Pg 607 of 771



substituted or used in lieu of the original writing or transmission for any and all purposes for
which the original writing or transmission could be used; provided that such copy, facsimile
telecommunication or other reproduction shall be a complete reproduction of the entire original
writing or transmission.

                (d)     Required Vote. Subject to the rights of the holders of one or more series
of preferred stock of the Corporation (“Preferred Stock”), voting separately by class or series, to
elect directors pursuant to the terms of one or more series of Preferred Stock, the election of
directors shall be determined by a plurality of the votes cast by the stockholders present in person
or represented by proxy at the meeting and entitled to vote thereon. All other matters shall be
determined by the vote of a majority of the votes cast by the stockholders present in person or
represented by proxy at the meeting and entitled to vote thereon, unless the matter is one upon
which, by applicable law, the Certificate of Incorporation or these By-Laws, a different vote is
required, in which case such provision shall govern and control the decision of such matter.

                (e)    Inspectors of Election. The Board may, and shall if required by law, in
advance of any meeting of stockholders, appoint one or more persons as inspectors of election,
who may be employees of the Corporation or otherwise serve the Corporation in other capacities,
to act at such meeting of stockholders or any adjournment thereof and to make a written report
thereof. The Board may appoint one or more persons as alternate inspectors to replace any
inspector who fails to act. If no inspectors of election or alternates are appointed by the Board,
the chairman of the meeting shall appoint one or more inspectors to act at the meeting. Each
inspector, before discharging his or her duties, shall take and sign an oath faithfully to execute
the duties of inspector with strict impartiality and according to the best of his or her ability. The
inspectors shall ascertain and report the number of outstanding shares and the voting power of
each; determine the number of shares present in person or represented by proxy at the meeting
and the validity of proxies and ballots; count all votes and ballots and report the results;
determine and retain for a reasonable period a record of the disposition of any challenges made
to any determination by the inspectors; and certify their determination of the number of shares
represented at the meeting and their count of all votes and ballots. No person who is a candidate
for an office at an election may serve as an inspector at such election. Each report of an
inspector shall be in writing and signed by the inspector or by a majority of them if there is more
than one inspector acting at such meeting. If there is more than one inspector, the report of a
majority shall be the report of the inspectors.

        Section 2.6. Adjournments. Any meeting of stockholders, annual or special, may be
adjourned by the chairman of the meeting or by the stockholders present and entitled to vote
thereat, by a majority in voting power thereof, from time to time, whether or not there is a
quorum, to reconvene at the same or some other place. Notice need not be given of any such
adjourned meeting if the date, time, place, if any, thereof, and the means of remote
communication, if any, by which stockholders and proxyholders may be deemed to be present in
person and vote at such adjourned meeting are announced at the meeting at which the
adjournment is taken. At the adjourned meeting the stockholders, or the holders of any class or
series of stock entitled to vote separately as a class, as the case may be, may transact any
business that might have been transacted at the original meeting. If the adjournment is for more
than 30 days, notice of the adjourned meeting shall be given to each stockholder of record
entitled to vote at the meeting. If after the adjournment a new record date for stockholders

                                                 4
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                          Pg 608 of 771



entitled to vote is fixed for the adjourned meeting, the Board shall fix a new record date for
notice of such adjourned meeting in accordance with Section 2.3 and shall give notice of the
adjourned meeting to each stockholder of record entitled to vote at such adjourned meeting as of
the record date fixed for notice of such adjourned meeting.

        Section 2.7. Conduct of Meetings. The chairman of each annual and special meeting
of stockholders shall be the Chairman of the Board or, in the absence (or inability or refusal to
act) of the Chairman of the Board, the Chief Executive Officer (if he or she shall be a director)
or, in the absence (or inability or refusal to act) of the Chief Executive Officer, or if the Chief
Executive Officer is not a director, the President (if he or she shall be a director) or, in the
absence (or inability or refusal to act) of the President or if the President is not a director, such
other person as shall be appointed by the Board, or in the absence of such appointment, a
chairman chosen at the meeting. The date and time of the opening and the closing of the polls
for each matter upon which the stockholders will vote at a meeting shall be announced at the
meeting by the chairman of the meeting. The Board may adopt such rules and regulations for the
conduct of the meeting of stockholders as it shall deem appropriate. Except to the extent
inconsistent with these By-Laws or such rules and regulations as adopted by the Board, the
chairman of any meeting of stockholders shall have the right and authority to convene and to
adjourn the meeting, to prescribe such rules, regulations and procedures and to do all such acts
as, in the judgment of such chairman, are appropriate for the proper conduct of the meeting.
Unless and to the extent determined by the Board or the chairman of the meeting, meetings of
stockholders shall not be required to be held in accordance with the rules of parliamentary
procedure. The secretary of each annual and special meeting of stockholders shall be the
Secretary or, in the absence (or inability or refusal to act) of the Secretary, an Assistant Secretary
so appointed to act by the chairman of the meeting. In the absence (or inability or refusal to act)
of the Secretary and all Assistant Secretaries, the chairman of the meeting may appoint any
person to act as secretary of the meeting.

        Section 2.8. Consents in Lieu of Meeting. Unless otherwise provided by the
Certificate of Incorporation, any action required or permitted to be taken at any annual or special
meeting of stockholders may be taken without a meeting, without prior notice and without a
vote, if a consent or consents in writing, setting forth the action so taken, shall be signed by the
holders of outstanding stock having not less than the minimum voting power that would be
necessary to authorize or take such action at a meeting at which all shares entitled to vote thereon
were present and voted and shall be delivered to the Corporation to its registered office in the
State of Delaware, the Corporation’s principal place of business, or the Secretary. Every written
consent shall bear the date of signature of each stockholder who signs the consent and no written
consent shall be effective to take the corporate action referred to therein unless, within 60 days of
the date the earliest dated consent is delivered to the Corporation, a written consent or consents
signed by a sufficient number of holders to take such action are delivered to the Corporation by
delivery to the Corporation’s registered office in the State of Delaware, the Corporation’s
principal place of business, or the Secretary. Delivery made to the Corporation’s registered
office shall be by hand or by certified or registered mail, return receipt requested. An electronic
transmission consenting to the action to be taken and transmitted by a stockholder, proxyholder
or a person or persons authorized to act for a stockholder or proxyholder shall be deemed to be
written, signed and dated for purposes hereof if such electronic transmission sets forth or is
delivered with information from which the Corporation can determine that such transmission was

                                                  5
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                          Pg 609 of 771



transmitted by a stockholder or proxyholder (or by a person authorized to act for a stockholder or
proxyholder) and the date on which such stockholder, proxyholder or authorized person
transmitted such transmission. The date on which such electronic transmission is transmitted
shall be deemed to be the date on which such consent was signed. No consent given by
electronic transmission shall be deemed to have been delivered until such consent is reproduced
in paper form and delivered to the Corporation by delivery either to the Corporation’s registered
office in the State of Delaware, the Corporation’s principal place of business, or the Secretary.
Delivery made to the Corporation’s registered office shall be made by hand or by certified or
registered mail, return receipt requested. Notwithstanding the limitations on delivery in the
previous sentence, consents given by electronic transmission may be otherwise delivered to the
Corporation’s principal place of business or to the Secretary if, to the extent, and in the manner
provided by resolution of the Board. Any copy, facsimile or other reliable reproduction of a
consent in writing may be substituted or used in lieu of the original writing for any and all
purposes for which the original writing could be used; provided that such copy, facsimile or other
reproduction shall be a complete reproduction of the entire original writing. Prompt notice of the
taking of the corporate action without a meeting by less than unanimous written consent shall be
given to those stockholders who have not consented in writing and who, if the action had been
taken at a meeting, would have been entitled to notice of the meeting if the record date for notice
of such meeting had been the date that written consents signed by a sufficient number of holders
were delivered to the Corporation as provided in this Section 2.8.

                                          ARTICLE III.
                                          DIRECTORS

        Section 3.1. Powers. The business and affairs of the Corporation shall be managed by
or under the direction of the Board, which may exercise all such powers of the Corporation and
do all such lawful acts and things as are not by statute or by the Certificate of Incorporation or by
these By-Laws required to be exercised or done by the stockholders. Directors need not be
stockholders or residents of the State of Delaware.

        Section 3.2. Number; Term. The number of directors of the Corporation initially
shall be nine. Thereafter, the number of directors, other than those who may be elected by the
holders of one or more series of Preferred Stock voting separately by class or series, may be
determined from time to time by the Board, but no decrease in such number shall have the effect
of shortening the term of any incumbent director. Except as otherwise provided in the Certificate
of Incorporation, the directors shall be elected at the annual meeting of stockholders to hold
office until the next succeeding annual meeting of stockholders. Each director shall hold office
for the term for which such director is elected and until his or her successor shall have been
elected and qualified, subject to such director’s earlier death, resignation, retirement,
disqualification or removal.

        Section 3.3. Newly Created Directorships and Vacancies. Except as otherwise
provided in the Certificate of Incorporation, vacancies resulting from death, resignation,
retirement, disqualification, removal or other cause and newly created directorships resulting
from an increase in the number of directors elected by all of the stockholders having the right to
vote as a single class may be filled by a majority vote of the directors then in office, even if less
than a quorum, by a sole remaining director, or by the stockholders. Except as otherwise

                                                 6
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                          Pg 610 of 771



provided in the Certificate of Incorporation, if the holders of any class or classes of stock or
series thereof are entitled to elect one or more directors by the Certificate of Incorporation,
vacancies and newly created directorships of such class or classes or series may be filled only by
a majority of the directors elected by such class or classes or series thereof then in office, by a
sole remaining director so elected, or by the stockholders of such class or classes or series
thereof. Except as otherwise provided in the Certificate of Incorporation, any director elected or
chosen in accordance with this Section 3.3 shall hold office until the next annual election of
directors and until his or her successor shall have been elected and qualified, subject to such
director’s earlier death, resignation, retirement, disqualification or removal.

        Section 3.4. Compensation. Unless otherwise restricted by the Certificate of
Incorporation or these By-Laws, the Board shall have the authority to fix the compensation of
directors. The directors may be reimbursed their expenses, if any, of attendance at each meeting
of the Board and may be paid either a fixed sum for attendance at each meeting of the Board or
other compensation as director. No such payment shall preclude any director from serving the
Corporation in any other capacity and receiving compensation therefor. Members of committees
of the Board may be allowed like compensation and reimbursement of expenses for attending
committee meetings.

                                        ARTICLE IV.
                                      BOARD MEETINGS

        Section 4.1. Annual Meetings. The Board shall meet as soon as practicable after the
adjournment of each annual stockholders meeting at the place of the annual stockholders meeting
unless the Board shall fix another time and place and give notice thereof in the manner required
herein for special meetings of the Board. No notice to the directors shall be necessary to legally
convene this meeting, except as provided in this Section 4.1.

       Section 4.2. Regular Meetings. Regularly scheduled, periodic meetings of the Board
may be held without notice at such times, dates and places as shall from time to time be
determined by the Board.

        Section 4.3. Special Meetings. Special meetings of the Board (a) may be called by the
Chairman of the Board or Chief Executive Officer and (b) shall be called by the Chairman of the
Board, Chief Executive Officer or Secretary on the written request of a majority of directors then
in office, or the sole director, as the case may be, and shall be held at such time, date and place as
may be determined by the person calling the meeting or, if called upon the request of directors or
the sole director, as specified in such written request. Notice of each special meeting of the
Board shall be given, as provided in Section 9.3, to each director (i) at least 24 hours before the
meeting if such notice is oral notice given personally or by telephone or written notice given by
hand delivery or by means of a form of electronic transmission and delivery; (ii) at least two
days before the meeting if such notice is sent by a nationally recognized overnight delivery
service; and (iii) at least five days before the meeting if such notice is sent through the United
States mail. If the Secretary shall fail or refuse to give such notice, then the notice may be given
by the officer who called the meeting or the directors who requested the meeting. Any and all
business that may be transacted at a regular meeting of the Board may be transacted at a special
meeting. Except as may be otherwise expressly provided by applicable law, the Certificate of

                                                  7
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                          Pg 611 of 771



Incorporation, or these By-Laws, neither the business to be transacted at, nor the purpose of, any
special meeting need be specified in the notice or waiver of notice of such meeting. A special
meeting may be held at any time without notice if all the directors are present or if those not
present waive notice of the meeting in accordance with Section 9.4.

        Section 4.4. Quorum; Required Vote. A majority of the Board, but in any event not
less than one-third of the Whole Board (as defined below), shall constitute a quorum for the
transaction of business at any meeting of the Board, and the act of a majority of the directors
present at any meeting at which there is a quorum shall be the act of the Board, except as may be
otherwise specifically provided by applicable law, the Certificate of Incorporation or these By-
Laws. If a quorum shall not be present at any meeting, a majority of the directors present may
adjourn the meeting from time to time, without notice other than announcement at the meeting,
until a quorum is present. “Whole Board” shall mean the total number of directors that the
Corporation would have if there were no vacancies.

        Section 4.5. Consent In Lieu of Meeting. Unless otherwise restricted by the
Certificate of Incorporation or these By-Laws, any action required or permitted to be taken at any
meeting of the Board or any committee thereof may be taken without a meeting if all members of
the Board or committee, as the case may be, consent thereto in writing or by electronic
transmission, and the writing or writings or electronic transmission or transmissions (or paper
reproductions thereof) are filed with the minutes of proceedings of the Board or committee.
Such filing shall be in paper form if the minutes are maintained in paper form and shall be in
electronic form if the minutes are maintained in electronic form.

        Section 4.6. Organization. The chairman of each meeting of the Board shall be the
Chairman of the Board or, in the absence (or inability or refusal to act) of the Chairman of the
Board, the Chief Executive Officer (if he or she shall be a director) or, in the absence (or inability
or refusal to act) of the Chief Executive Officer or if the Chief Executive Officer is not a director,
the President (if he or she shall be a director) or in the absence (or inability or refusal to act) of
the President or if the President is not a director, a chairman elected from the directors present.
The Secretary shall act as secretary of all meetings of the Board. In the absence (or inability or
refusal to act) of the Secretary, an Assistant Secretary shall perform the duties of the Secretary at
such meeting. In the absence (or inability or refusal to act) of the Secretary and all Assistant
Secretaries, the chairman of the meeting may appoint any person to act as secretary of the
meeting.

                                      ARTICLE V.
                                COMMITTEES OF DIRECTORS

        Section 5.1. Establishment. The Board may designate one or more committees, each
committee to consist of one or more of the directors of the Corporation. Each committee shall
keep regular minutes of its meetings and report the same to the Board when required. The Board
shall have the power at any time to fill vacancies in, to change the membership of, or to dissolve
any such committee.

        Section 5.2. Available Powers. Any committee established pursuant to Section 5.1
hereof, to the extent permitted by applicable law and by resolution of the Board, shall have and

                                                  8
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47         Main Document
                                          Pg 612 of 771



may exercise all of the powers and authority of the Board in the management of the business and
affairs of the Corporation, and may authorize the seal of the Corporation to be affixed to all
papers that may require it.

        Section 5.3. Alternate Members. The Board may designate one or more directors as
alternate members of any committee, who may replace any absent or disqualified member at any
meeting of such committee.

         Section 5.4. Procedures. Unless the Board otherwise provides, the time, date, place, if
any, and notice of meetings of a committee shall be determined by such committee. At meetings
of a committee, a majority of the number of members of the committee (but not including any
alternate member, unless such alternate member has replaced any absent or disqualified member
at the time of, or in connection with, such meeting) shall constitute a quorum for the transaction
of business. The act of a majority of the members present at any meeting at which a quorum is
present shall be the act of the committee, except as otherwise specifically provided by applicable
law, the Certificate of Incorporation, these By-Laws or the Board. If a quorum is not present at a
meeting of a committee, the members present may adjourn the meeting from time to time,
without notice other than an announcement at the meeting, until a quorum is present. Unless the
Board otherwise provides and except as provided in these By-Laws, each committee designated
by the Board may make, alter, amend and repeal rules for the conduct of its business. In the
absence of such rules each committee shall conduct its business in the same manner as the Board
is authorized to conduct its business pursuant to Article III and Article IV of these By-Laws.

                                         ARTICLE VI.
                                          OFFICERS

        Section 6.1. Officers. The officers of the Corporation elected by the Board shall be a
Chairman of the Board, a Chief Executive Officer, a President, a Treasurer, a Secretary and such
other officers (including without limitation a Chief Financial Officer, Vice Presidents, Assistant
Secretaries and Assistant Treasurers) as the Board from time to time may determine. Officers
elected by the Board shall each have such powers and duties as generally pertain to their
respective offices, subject to the specific provisions of this Article VI. Such officers shall also
have such powers and duties as from time to time may be conferred by the Board. The Chairman
of the Board, Chief Executive Officer or President may also appoint such other officers
(including without limitation one or more Vice Presidents and Controllers) as may be necessary
or desirable for the conduct of the business of the Corporation. Such other officers shall have
such powers and duties and shall hold their offices for such terms as may be provided in these
By-Laws or as may be prescribed by the Board or, if such officer has been appointed by the
Chairman of the Board, Chief Executive Officer or President, as may be prescribed by the
appointing officer.

               (a)    Chairman of the Board. The Chairman of the Board shall preside when
present at all meetings of the stockholders and the Board. The Chairman of the Board shall
advise and counsel the Chief Executive Officer and other officers and shall exercise such powers
and perform such duties as shall be assigned to or required of the Chairman of the Board from
time to time by the Board or these By-Laws.


                                                9
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                          Pg 613 of 771



                (b)      Chief Executive Officer. The Chief Executive Officer shall be the chief
executive officer of the Corporation, shall have general supervision of the affairs of the
Corporation and general control of all of its business subject to the ultimate authority of the
Board, and shall be responsible for the execution of the policies of the Board. In the absence (or
inability or refusal to act) of the Chairman of the Board, the Chief Executive Officer (if he or she
shall be a director) shall preside when present at all meetings of the stockholders and the Board.

               (c)    President. The President shall be the chief operating officer of the
Corporation and shall, subject to the authority of the Chief Executive Officer and the Board,
have general management and control of the day-to-day business operations of the Corporation
and shall consult with and report to the Chief Executive Officer. The President shall put into
operation the business policies of the Corporation as determined by the Chief Executive Officer
and the Board and as communicated to the President by the Chief Executive Officer and the
Board. The President shall make recommendations to the Chief Executive Officer on all
operational matters that would normally be reserved for the final executive responsibility of the
Chief Executive Officer. In the absence (or inability or refusal to act) of the Chairman of the
Board and Chief Executive Officer, the President (if he or she shall be a director) shall preside
when present at all meetings of the stockholders and the Board.

                (d)    Vice Presidents. In the absence (or inability or refusal to act) of the
President, the Vice President (or in the event there be more than one Vice President, the Vice
Presidents in the order designated by the Board) shall perform the duties and have the powers of
the President. Any one or more of the Vice Presidents may be given an additional designation of
rank or function.

                (e)     Secretary.

                        (i)      The Secretary shall attend all meetings of the stockholders, the
        Board and (as required) committees of the Board and shall record the proceedings of such
        meetings in books to be kept for that purpose. The Secretary shall give, or cause to be
        given, notice of all meetings of the stockholders and special meetings of the Board and
        shall perform such other duties as may be prescribed by the Board, the Chairman of the
        Board, Chief Executive Officer or President. The Secretary shall have custody of the
        corporate seal of the Corporation and the Secretary, or any Assistant Secretary, shall have
        authority to affix the same to any instrument requiring it, and when so affixed, it may be
        attested by his or her signature or by the signature of such Assistant Secretary. The
        Board may give general authority to any other officer to affix the seal of the Corporation
        and to attest the affixing thereof by his or her signature.

                         (ii)   The Secretary shall keep, or cause to be kept, at the principal
        executive office of the Corporation or at the office of the Corporation’s transfer agent or
        registrar, if one has been appointed, a stock ledger, or duplicate stock ledger, showing the
        names of the stockholders and their addresses, the number and classes of shares held by
        each and, with respect to certificated shares, the number and date of certificates issued for
        the same and the number and date of certificates cancelled.




                                                 10
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                          Pg 614 of 771



               (f)     Assistant Secretaries. The Assistant Secretary or, if there be more than
one, the Assistant Secretaries in the order determined by the Board shall, in the absence (or
inability or refusal to act) of the Secretary, perform the duties and have the powers of the
Secretary.

                (g)     Treasurer. The Treasurer shall perform all duties commonly incident to
that office (including, without limitation, the care and custody of the funds and securities of the
Corporation which from time to time may come into the Treasurer’s hands and the deposit of the
funds of the Corporation in such banks or trust companies as the Board, the Chief Executive
Officer or the President may authorize).

                (h)     Assistant Treasurers. The Assistant Treasurer or, if there shall be more
than one, the Assistant Treasurers in the order determined by the Board shall, in the absence (or
inability or refusal to act) of the Treasurer, perform the duties and exercise the powers of the
Treasurer.

        Section 6.2. Term of Office; Removal; Vacancies. The elected officers of the
Corporation shall be elected annually by the Board at its first meeting held after each annual
meeting of stockholders. All officers elected by the Board shall hold office until the next annual
meeting of the Board and until their successors are duly elected and qualified or until their earlier
death, resignation, retirement, disqualification, or removal from office. Any officer may be
removed, with or without cause, at any time by the Board. Any officer appointed by the
Chairman of the Board , Chief Executive Officer or President may also be removed, with or
without cause, by the Chairman of the Board, Chief Executive Officer or President, as the case
may be, unless the Board otherwise provides. Any vacancy occurring in any elected office of the
Corporation may be filled by the Board. Any vacancy occurring in any office appointed by the
Chairman of the Board, Chief Executive Officer or President may be filled by the Chairman of
the Board, Chief Executive Officer or President, as the case may be, unless the Board then
determines that such office shall thereupon be elected by the Board, in which case the Board
shall elect such officer.

        Section 6.3. Other Officers. The Board may delegate the power to appoint such other
officers and agents, and may also remove such officers and agents or delegate the power to
remove same, as it shall from time to time deem necessary or desirable.

       Section 6.4. Multiple Officeholders; Stockholder and Director Officers. Any
number of offices may be held by the same person unless the Certificate of Incorporation or
these By-Laws otherwise provide. Officers need not be stockholders or residents of the State of
Delaware.

                                       ARTICLE VII.
                                    SHARE CERTIFICATES

        Section 7.1. Entitlement to Certificates. The shares of the Corporation shall be
represented by certificates, provided that the Board may provide by resolution or resolutions that
some or all of any or all classes or series of its stock shall be uncertificated shares. Any such
resolution shall not apply to shares represented by a certificate until such certificate is


                                                 11
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                          Pg 615 of 771



surrendered to the Corporation. Notwithstanding the adoption of such a resolution by the Board,
every holder of stock represented by certificates and upon request every holder of uncertificated
shares shall be entitled to have a certificate signed in accordance with Section 7.3 representing
the number of shares registered in certificate form. The Corporation shall not have power to
issue a certificate representing shares in bearer form.

        Section 7.2. Multiple Classes of Stock. If the Corporation shall be authorized to issue
more than one class of stock or more than one series of any class, the Corporation shall (a) cause
the powers, designations, preferences and relative, participating, optional or other special rights
of each class of stock or series thereof and the qualifications, limitations or restrictions of such
preferences or rights to be set forth in full or summarized on the face or back of any certificate
that the Corporation issues to represent shares of such class or series of stock or (b) in the case of
uncertificated shares, within a reasonable time after the issuance or transfer of such shares, send
to the registered owner thereof a written notice containing the information required to be set
forth on certificates as specified in clause (a) above; provided, however, that, except as otherwise
provided by applicable law, in lieu of the foregoing requirements, there may be set forth on the
face or back of such certificate or, in the case of uncertificated shares, on such written notice a
statement that the Corporation will furnish without charge to each stockholder who so requests
the powers, designations, preferences and relative, participating, optional or other special rights
of each class of stock or series thereof and the qualifications, limitations or restrictions of such
preferences or rights.

        Section 7.3. Signatures. Each certificate representing capital stock of the Corporation
shall be signed by or in the name of the Corporation by (a) the Chairman of the Board, the Chief
Executive Officer, the President or a Vice President and (b) the Treasurer, an Assistant Treasurer,
the Secretary or an Assistant Secretary of the Corporation. Any or all the signatures on the
certificate may be a facsimile. In case any officer, transfer agent or registrar who has signed or
whose facsimile signature has been placed upon a certificate shall have ceased to be such officer,
transfer agent or registrar before such certificate is issued, such certificate may be issued by the
Corporation with the same effect as if such person were such officer, transfer agent or registrar
on the date of issue.

        Section 7.4.    Lost, Destroyed or Wrongfully Taken Certificates.

                 (a)    If an owner of a certificate representing shares claims that such certificate
has been lost, destroyed or wrongfully taken, the Corporation shall issue a new certificate
representing such shares or such shares in uncertificated form if the owner: (i) requests such a
new certificate before the Corporation has notice that the certificate representing such shares has
been acquired by a protected purchaser; (ii) if requested by the Corporation, delivers to the
Corporation a bond sufficient to indemnify the Corporation against any claim that may be made
against the Corporation on account of the alleged loss, wrongful taking or destruction of such
certificate or the issuance of such new certificate or uncertificated shares; and (iii) satisfies other
reasonable requirements imposed by the Corporation.

               (b)   If a certificate representing shares has been lost, apparently destroyed or
wrongfully taken, and the owner fails to notify the Corporation of that fact within a reasonable
time after the owner has notice of such loss, apparent destruction or wrongful taking and the

                                                  12
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                          Pg 616 of 771



Corporation registers a transfer of such shares before receiving notification, the owner shall be
precluded from asserting against the Corporation any claim for registering such transfer or a
claim to a new certificate representing such shares or such shares in uncertificated form.

        Section 7.5. Transfer of Stock. If a certificate representing shares of the Corporation
is presented to the Corporation with a stock power or other indorsement requesting the
registration of transfer of such shares or an instruction is presented to the Corporation requesting
the registration of transfer of uncertificated shares, the Corporation shall register the transfer as
requested if:

               (a)    in the case of certificated shares, the certificate representing such shares
has been surrendered;

                (b)     (A) with respect to certificated shares, the indorsement is made by the
person specified by the certificate as entitled to such shares; (B) with respect to uncertificated
shares, an instruction is made by the registered owner of such uncertificated shares; or (C) with
respect to certificated shares or uncertificated shares, the indorsement or instruction is made by
any other appropriate person or by an agent who has actual authority to act on behalf of the
appropriate person;

                (c)     the Corporation has received a guarantee of signature of the person
signing such indorsement or instruction or such other reasonable assurance that the indorsement
or instruction is genuine and authorized as the Corporation may request;

              (d)      the transfer does not violate any restriction on transfer imposed by the
Corporation that is enforceable in accordance with Section 7.7(a); and

               (e)    such other conditions for such transfer as shall be provided for under
applicable law as such agreement may be amended, altered, restated, modified or supplemented
from time to time, have been satisfied.

        Section 7.6. Registered Stockholders. Before due presentment for registration of
transfer of a certificate representing shares of the Corporation or of an instruction requesting
registration of transfer of uncertificated shares, the Corporation may treat the registered owner as
the person exclusively entitled to inspect for any proper purpose the stock ledger and the other
books and records of the Corporation, vote such shares, receive dividends or notifications with
respect to such shares and otherwise exercise all the rights and powers of the owner of such
shares, except that a person who is the beneficial owner of such shares (if held in a voting trust or
by a nominee on behalf of such person) may, upon providing documentary evidence of beneficial
ownership of such shares and satisfying such other conditions as are provided under applicable
law, may also so inspect the books and records of the Corporation.

        Section 7.7.    Effect of the Corporation’s Restriction on Transfer.

               (a)    A written restriction on the transfer or registration of transfer of shares of
the Corporation or on the amount of shares of the Corporation that may be owned by any person
or group of persons, if permitted by the DGCL and noted conspicuously on the certificate
representing such shares or, in the case of uncertificated shares, contained in a notice sent by the

                                                 13
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                          Pg 617 of 771



Corporation to the registered owner of such shares within a reasonable time after the issuance or
transfer of such shares, may be enforced against the holder of such shares or any successor or
transferee of the holder including an executor, administrator, trustee, guardian or other fiduciary
entrusted with like responsibility for the person or estate of the holder.

                (b)    A restriction imposed by the Corporation on the transfer or the registration
of shares of the Corporation or on the amount of shares of the Corporation that may be owned by
any person or group of persons, even if otherwise lawful, is ineffective against a person without
actual knowledge of such restriction unless: (i) the shares are certificated and such restriction is
noted conspicuously on the certificate; or (ii) the shares are uncertificated and such restriction
was contained in a notice sent by the Corporation to the registered owner of such shares within a
reasonable time after the issuance or transfer of such shares.

        Section 7.8. Regulations. The Board shall have power and authority to make such
additional rules and regulations, subject to any applicable requirement of law, as the Board may
deem necessary and appropriate with respect to the issue, transfer or registration of transfer of
shares of stock or certificates representing shares. The Board may appoint one or more transfer
agents or registrars and may require for the validity thereof that certificates representing shares
bear the signature of any transfer agent or registrar so appointed.

                                        ARTICLE VIII.
                                      INDEMNIFICATION

        Section 8.1. Right to Indemnification. Each person who was or is made a party or is
threatened to be made a party to or is otherwise involved in any threatened, pending or
completed action, suit or proceeding, whether civil, criminal, administrative or investigative
(hereinafter a “proceeding”), by reason of the fact that he or she is or was a director or officer of
the Corporation or, while a director or officer of the Corporation, is or was serving at the request
of the Corporation as a director, officer, employee or agent of another corporation or of a
partnership, joint venture, trust, other enterprise or nonprofit entity, including service with
respect to an employee benefit plan (hereinafter a “Covered Person”), whether the basis of such
proceeding is alleged action in an official capacity as a director, officer, employee or agent, or in
any other capacity while serving as a director, officer, employee or agent, shall be indemnified
and held harmless by the Corporation to the fullest extent authorized or permitted by applicable
law, as the same exists or may hereafter be amended, against all expenses, liability and loss
(including, without limitation, attorneys’ fees, judgments, fines, ERISA excise taxes and
penalties and amounts paid in settlement) reasonably incurred or suffered by such Covered
Person in connection with such proceeding; provided, however, that, except as provided in
Section 8.3 with respect to proceedings to enforce rights to indemnification and advancement of
expenses, the Corporation shall indemnify a Covered Person in connection with a proceeding (or
part thereof) initiated by such Covered Person only if such proceeding (or part thereof) was
authorized by the Board.

       Section 8.2. Right to Advancement of Expenses. In addition to the right to
indemnification conferred in Section 8.1, a Covered Person shall also have the right to be paid by
the Corporation the expenses (including, without limitation, attorneys’ fees) incurred in
defending, testifying, or otherwise participating in any such proceeding in advance of its final

                                                 14
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                          Pg 618 of 771



disposition (hereinafter an “advancement of expenses”); provided, however, that, if the
Delaware General Corporation Law (“DGCL”) requires, an advancement of expenses incurred
by a Covered Person in his or her capacity as a director or officer of the Corporation (and not in
any other capacity in which service was or is rendered by such Covered Person, including,
without limitation, service to an employee benefit plan) shall be made only upon delivery to the
Corporation of an undertaking (hereinafter an “undertaking”), by or on behalf of such Covered
Person, to repay all amounts so advanced if it shall ultimately be determined by final judicial
decision from which there is no further right to appeal (hereinafter a “final adjudication”) that
such Covered Person is not entitled to be indemnified for such expenses under this Article VIII
or otherwise.

        Section 8.3. Right of Indemnitee to Bring Suit. If a claim under Section 8.1 or
Section 8.2 is not paid in full by the Corporation within 60 days after a written claim therefor has
been received by the Corporation, except in the case of a claim for an advancement of expenses,
in which case the applicable period shall be 20 days, the Covered Person may at any time
thereafter bring suit against the Corporation to recover the unpaid amount of the claim. If
successful in whole or in part in any such suit, or in a suit brought by the Corporation to recover
an advancement of expenses pursuant to the terms of an undertaking, the Covered Person shall
also be entitled to be paid the expense of prosecuting or defending such suit. In any suit brought
by (a) the Covered Person to enforce a right to indemnification hereunder (but not in a suit
brought by a Covered Person to enforce a right to an advancement of expenses) it shall be a
defense that, and (b) the Corporation to recover an advancement of expenses pursuant to the
terms of an undertaking, the Corporation shall be entitled to recover such expenses upon a final
adjudication that, the Covered Person has not met any applicable standard for indemnification set
forth in the DGCL. Neither the failure of the Corporation (including its directors who are not
parties to such action, a committee of such directors, independent legal counsel, or its
stockholders) to have made a determination prior to the commencement of such suit that
indemnification of the Covered Person is proper in the circumstances because the Covered
Person has met the applicable standard of conduct set forth in the DGCL, nor an actual
determination by the Corporation (including a determination by its directors who are not parties
to such action, a committee of such directors, independent legal counsel, or its stockholders) that
the Covered Person has not met such applicable standard of conduct, shall create a presumption
that the Covered Person has not met the applicable standard of conduct or, in the case of such a
suit brought by the Covered Person, shall be a defense to such suit. In any suit brought by the
Covered Person to enforce a right to indemnification or to an advancement of expenses
hereunder, or by the Corporation to recover an advancement of expenses pursuant to the terms of
an undertaking, the burden of proving that the Covered Person is not entitled to be indemnified,
or to such advancement of expenses, under this Article VIII or otherwise shall be on the
Corporation.

       Section 8.4. Non-Exclusivity of Rights. The rights provided to Covered Persons
pursuant to this Article VIII shall not be exclusive of any other right that any Covered Person
may have or hereafter acquire under applicable law, the Certificate of Incorporation, these By-
Laws, an agreement, a vote of stockholders or disinterested directors, or otherwise.

       Section 8.5. Insurance. The Corporation may maintain insurance, at its expense, to
protect itself and/or any director, officer, employee or agent of the Corporation or another

                                                15
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                          Pg 619 of 771



corporation, partnership, joint venture, trust or other enterprise against any expense, liability or
loss, whether or not the Corporation would have the power to indemnify such person against
such expense, liability or loss under the DGCL.

        Section 8.6. Indemnification of Other Persons. This Article VIII shall not limit the
right of the Corporation to the extent and in the manner authorized or permitted by law to
indemnify and to advance expenses to persons other than Covered Persons. Without limiting the
foregoing, the Corporation may, to the extent authorized from time to time by the Board, grant
rights to indemnification and to the advancement of expenses to any employee or agent of the
Corporation and to any other person who is or was serving at the request of the Corporation as a
director, officer, employee or agent of another corporation or of a partnership, joint venture, trust
or other enterprise, including service with respect to an employee benefit plan, to the fullest
extent of the provisions of this Article VIII with respect to the indemnification and advancement
of expenses of Covered Persons under this Article VIII.

        Section 8.7. Amendments. Any repeal or amendment of this Article VIII by the Board
or the stockholders of the Corporation or by changes in applicable law, or the adoption of any
other provision of these By-Laws inconsistent with this Article VIII, shall, to the extent
permitted by applicable law, be prospective only (except to the extent such amendment or change
in applicable law permits the Corporation to provide broader indemnification rights to Covered
Persons on a retroactive basis than permitted prior thereto), and will not in any way diminish or
adversely affect any right or protection existing hereunder in respect of any act or omission
occurring prior to such repeal or amendment or adoption of such inconsistent provision.

        Section 8.8. Certain Definitions. For purposes of this Article VIII, (a) references to
“other enterprise” shall include any employee benefit plan; (b) references to “fines” shall include
any excise taxes assessed on a person with respect to an employee benefit plan; (c) references to
“serving at the request of the Corporation” shall include any service that imposes duties on, or
involves services by, a person with respect to any employee benefit plan, its participants, or
beneficiaries; and (d) a person who acted in good faith and in a manner such person reasonably
believed to be in the interest of the participants and beneficiaries of an employee benefit plan
shall be deemed to have acted in a manner “not opposed to the best interest of the Corporation”
for purposes of Section 145 of the DGCL.

        Section 8.9. Contract Rights. The rights provided to Covered Persons pursuant to this
Article VIII (a) shall be contract rights based upon good and valuable consideration, pursuant to
which a Covered Person may bring suit as if the provisions of this Article VIII were set forth in a
separate written contract between the Covered Person and the Corporation, (b) shall fully vest at
the time the Covered Person first assumes his or her position as a director or officer of the
Corporation, (c) are intended to be retroactive and shall be available with respect to any act or
omission occurring prior to the adoption of this Article VIII, (d) shall continue as to a Covered
Person who has ceased to be a director or officer of the Corporation, and (e) shall inure to the
benefit of the Covered Person’s heirs, executors and administrators.

       Section 8.10. Severability. If any provision or provisions of this Article VIII shall be
held to be invalid, illegal or unenforceable for any reason whatsoever: (a) the validity, legality
and enforceability of the remaining provisions of this Article VIII shall not in any way be

                                                 16
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                          Pg 620 of 771



affected or impaired thereby; and (b) to the fullest extent possible, the provisions of this
Article VIII (including, without limitation, each such portion of this Article VIII containing any
such provision held to be invalid, illegal or unenforceable) shall be construed so as to give effect
to the intent manifested by the provision held invalid, illegal or unenforceable.

                                        ARTICLE IX.
                                      MISCELLANEOUS

       Section 9.1. Place of Meetings. If the place of any meeting of stockholders, the Board
or committee of the Board for which notice is required under these By-Laws is not designated in
the notice of such meeting, such meeting shall be held at the principal business office of the
Corporation; provided, however, if the Board has, in its sole discretion, determined that a
meeting shall not be held at any place, but instead shall be held by means of remote
communication pursuant to Section 9.5 hereof, then such meeting shall not be held at any place.

        Section 9.2.    Fixing Record Dates.

                (a)     In order that the Corporation may determine the stockholders entitled to
notice of any meeting of stockholders or any adjournment thereof, the Board may fix a record
date, which record date shall not precede the date upon which the resolution fixing the record
date is adopted by the Board, and which record date shall not be more than 60 nor less than 10
days before the date of such meeting. If the Board so fixes a record date, such date shall also be
the record date for determining the stockholders entitled to vote at such meeting unless the Board
determines, at the time it fixes such record date, that a later date on or before the date of the
meeting shall be the date for making such determination. If no record date is fixed by the Board,
the record date for determining stockholders entitled to notice of or to vote at a meeting of
stockholders shall be at the close of business on the business day next preceding the day on
which notice is given, or, if notice is waived, at the close of business on the business day next
preceding the day on which the meeting is held. A determination of stockholders of record
entitled to notice of or to vote at a meeting of stockholders shall apply to any adjournment of the
meeting; provided, however, that the Board may fix a new record date for determination of
stockholders entitled to vote at the adjourned meeting, and in such case shall also fix as the
record date for stockholders entitled to notice of such adjourned meeting the same or an earlier
date as that fixed for determination of stockholders entitled to vote in accordance with the
foregoing provisions of this Section 9.21(a) at the adjourned meeting.

               (b)     In order that the Corporation may determine the stockholders entitled to
receive payment of any dividend or other distribution or allotment of any rights or the
stockholders entitled to exercise any rights in respect of any change, conversion or exchange of
stock, or for the purpose of any other lawful action, the Board may fix a record date, which
record date shall not precede the date upon which the resolution fixing the record date is adopted,
and which record date shall be not more than 60 days prior to such action. If no record date is
fixed, the record date for determining stockholders for any such purpose shall be at the close of
business on the day on which the Board adopts the resolution relating thereto.

               (c)    In order that the Corporation may determine the stockholders entitled to
consent to corporate action in writing without a meeting, the Board may fix a record date, which

                                                17
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                          Pg 621 of 771



record date shall not precede the date upon which the resolution fixing the record date is adopted
by the Board, and which date shall not be more than 10 days after the date upon which the
resolution fixing the record date is adopted by the Board. If no record date has been fixed by the
Board, the record date for determining stockholders entitled to consent to corporate action in
writing without a meeting, when no prior action by the Board is otherwise required, shall be the
first date on which a signed written consent setting forth the action taken or proposed to be taken
is delivered to the Corporation by delivery to its registered office in the State of Delaware, its
principal place of business, or the Secretary. Delivery made to the Corporation’s registered
office shall be by hand or by certified or registered mail, return receipt requested. If no record
date has been fixed by the Board and prior action by the Board is otherwise required, the record
date for determining stockholders entitled to consent to corporate action in writing without a
meeting shall be at the close of business on the day on which the Board adopts the resolution
taking such prior action.

        Section 9.3.    Means of Giving Notice.

               (a)      Notice to Directors. Whenever under applicable law, the Certificate of
Incorporation or these By-Laws notice is required to be given to any director, such notice shall
be given either (i) in writing and sent by hand delivery, through the United States mail, or by a
nationally recognized overnight delivery service for next day delivery, (ii) by means of facsimile
telecommunication or other form of electronic transmission, or (iii) by oral notice given
personally or by telephone. A notice to a director will be deemed given as follows: (i) if given
by hand delivery, orally, or by telephone, when actually received by the director, (ii) if sent
through the United States mail, when deposited in the United States mail, with postage and fees
thereon prepaid, addressed to the director at the director’s address appearing on the records of the
Corporation, (iii) if sent for next day delivery by a nationally recognized overnight delivery
service, when deposited with such service, with fees thereon prepaid, addressed to the director at
the director’s address appearing on the records of the Corporation, (iv) if sent by facsimile
telecommunication, when sent to the facsimile transmission number for such director appearing
on the records of the Corporation, (v) if sent by electronic mail, when sent to the electronic mail
address for such director appearing on the records of the Corporation, or (vi) if sent by any other
form of electronic transmission, when sent to the address, location or number (as applicable) for
such director appearing on the records of the Corporation.

                (b)     Notice to Stockholders. Whenever under applicable law, the Certificate of
Incorporation or these By-Laws notice is required to be given to any stockholder, such notice
may be given (i) in writing and sent either by hand delivery, through the United States mail, or
by a nationally recognized overnight delivery service for next day delivery, or (ii) by means of a
form of electronic transmission consented to by the stockholder, to the extent permitted by, and
subject to the conditions set forth in, Section 232 of the DGCL. A notice to a stockholder shall
be deemed given as follows: (i) if given by hand delivery, when actually received by the
stockholder, (ii) if sent through the United States mail, when deposited in the United States mail,
with postage and fees thereon prepaid, addressed to the stockholder at the stockholder’s address
appearing on the stock ledger of the Corporation, (iii) if sent for next day delivery by a nationally
recognized overnight delivery service, when deposited with such service, with fees thereon
prepaid, addressed to the stockholder at the stockholder’s address appearing on the stock ledger
of the Corporation, and (iv) if given by a form of electronic transmission consented to by the

                                                 18
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                          Pg 622 of 771



stockholder to whom the notice is given and otherwise meeting the requirements set forth above,
(A) if by facsimile transmission, when directed to a number at which the stockholder has
consented to receive notice, (B) if by electronic mail, when directed to an electronic mail address
at which the stockholder has consented to receive notice, (C) if by a posting on an electronic
network together with separate notice to the stockholder of such specified posting, upon the later
of (1) such posting and (2) the giving of such separate notice, and (D) if by any other form of
electronic transmission, when directed to the stockholder. A stockholder may revoke such
stockholder’s consent to receiving notice by means of electronic communication by giving
written notice of such revocation to the Corporation. Any such consent shall be deemed revoked
if (1) the Corporation is unable to deliver by electronic transmission two consecutive notices
given by the Corporation in accordance with such consent and (2) such inability becomes known
to the Secretary or an Assistant Secretary or to the Corporation’s transfer agent, or other person
responsible for the giving of notice; provided, however, the inadvertent failure to treat such
inability as a revocation shall not invalidate any meeting or other action.

               (c)    Electronic Transmission. “Electronic transmission” means any form of
communication, not directly involving the physical transmission of paper, that creates a record
that may be retained, retrieved and reviewed by a recipient thereof, and that may be directly
reproduced in paper form by such a recipient through an automated process, including but not
limited to transmission by telex, facsimile telecommunication, electronic mail, telegram and
cablegram.

               (d)     Notice to Stockholders Sharing Same Address. Without limiting the
manner by which notice otherwise may be given effectively by the Corporation to stockholders,
any notice to stockholders given by the Corporation under any provision of the DGCL, the
Certificate of Incorporation or these By-Laws shall be effective if given by a single written
notice to stockholders who share an address if consented to by the stockholders at that address to
whom such notice is given. A stockholder may revoke such stockholder’s consent by delivering
written notice of such revocation to the Corporation. Any stockholder who fails to object in
writing to the Corporation within 60 days of having been given written notice by the Corporation
of its intention to send such a single written notice shall be deemed to have consented to
receiving such single written notice.

                 (e)      Exceptions to Notice Requirements. Whenever notice is required to be
given, under the DGCL, the Certificate of Incorporation or these By-Laws, to any person with
whom communication is unlawful, the giving of such notice to such person shall not be required
and there shall be no duty to apply to any governmental authority or agency for a license or
permit to give such notice to such person. Any action or meeting that shall be taken or held
without notice to any such person with whom communication is unlawful shall have the same
force and effect as if such notice had been duly given. If the action taken by the Corporation is
such as to require the filing of a certificate with the Secretary of State of Delaware, the certificate
shall state, if such is the fact and if notice is required, that notice was given to all persons entitled
to receive notice except such persons with whom communication is unlawful.

               Whenever notice is required to be given by the Corporation, under any provision
of the DGCL, the Certificate of Incorporation or these By-Laws, to any stockholder to whom
(1) notice of two consecutive annual meetings of stockholders and all notices of stockholder

                                                   19
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                          Pg 623 of 771



meetings or of the taking of action by written consent of stockholders without a meeting to such
stockholder during the period between such two consecutive annual meetings, or (2) all, and at
least two payments (if sent by first-class mail) of dividends or interest on securities during a 12-
month period, have been mailed addressed to such stockholder at such stockholder’s address as
shown on the records of the Corporation and have been returned undeliverable, the giving of
such notice to such stockholder shall not be required. Any action or meeting that shall be taken
or held without notice to such stockholder shall have the same force and effect as if such notice
had been duly given. If any such stockholder shall deliver to the Corporation a written notice
setting forth such stockholder’s then current address, the requirement that notice be given to such
stockholder shall be reinstated. If the action taken by the Corporation is such as to require the
filing of a certificate with the Secretary of State of Delaware, the certificate need not state that
notice was not given to persons to whom notice was not required to be given pursuant to
Section 230(b) of the DGCL. The exception in subsection (1) of the first sentence of this
paragraph to the requirement that notice be given shall not be applicable to any notice returned as
undeliverable if the notice was given by electronic transmission.

        Section 9.4. Waiver of Notice. Whenever any notice is required to be given under
applicable law, the Certificate of Incorporation, or these By-Laws, a written waiver of such
notice, signed before or after the date of such meeting by the person or persons entitled to said
notice, or a waiver by electronic transmission by the person entitled to said notice, shall be
deemed equivalent to such required notice. All such waivers shall be kept with the books of the
Corporation. Attendance at a meeting shall constitute a waiver of notice of such meeting, except
where a person attends for the express purpose of objecting to the transaction of any business on
the ground that the meeting was not lawfully called or convened.

        Section 9.5.    Meeting Attendance via Remote Communication Equipment.

              (a)   Stockholder Meetings. If authorized by the Board in its sole discretion,
and subject to such guidelines and procedures as the Board may adopt, stockholders and
proxyholders not physically present at a meeting of stockholders may, by means of remote
communication:

                        (i)     participate in a meeting of stockholders; and

                        (ii)   be deemed present in person and vote at a meeting of stockholders,
        whether such meeting is to be held at a designated place or solely by means of remote
        communication, provided that (A) the Corporation shall implement reasonable measures
        to verify that each person deemed present and permitted to vote at the meeting by means
        of remote communication is a stockholder or proxyholder, (B) the Corporation shall
        implement reasonable measures to provide such stockholders and proxyholders a
        reasonable opportunity to participate in the meeting and to vote on matters submitted to
        the stockholders, including an opportunity to read or hear the proceedings of the meeting
        substantially concurrently with such proceedings, and (C) if any stockholder or
        proxyholder votes or takes other action at the meeting by means of remote
        communication, a record of such votes or other action shall be maintained by the
        Corporation.


                                                 20
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47        Main Document
                                          Pg 624 of 771



                (b)    Board Meetings. Unless otherwise restricted by applicable law, the
Certificate of Incorporation, or these By-Laws, members of the Board or any committee thereof
may participate in a meeting of the Board or any committee thereof by means of conference
telephone or other communications equipment by means of which all persons participating in the
meeting can hear each other. Such participation in a meeting shall constitute presence in person
at the meeting, except where a person participates in the meeting for the express purpose of
objecting to the transaction of any business on the ground that the meeting was not lawfully
called or convened.

        Section 9.6. Dividends. The Board may from time to time declare, and the
Corporation may pay, dividends (payable in cash, property or shares of the Corporation’s capital
stock) on the Corporation’s outstanding shares of capital stock, subject to applicable law and the
Certificate of Incorporation.

       Section 9.7. Reserves. The Board may set apart out of the funds of the Corporation
available for dividends a reserve or reserves for any proper purpose and may abolish any such
reserve.

         Section 9.8. Contracts and Negotiable Instruments. Except as otherwise provided
by applicable law, the Certificate of Incorporation or these By-Laws, any contract, bond, deed,
lease, mortgage or other instrument may be executed and delivered in the name and on behalf of
the Corporation by such officer or officers or other employee or employees of the Corporation as
the Board may from time to time authorize. Such authority may be general or confined to
specific instances as the Board may determine. The Chairman of the Board, the Chief Executive
Officer, the President or any Vice President may execute and deliver any contract, bond, deed,
lease, mortgage or other instrument in the name and on behalf of the Corporation. Subject to any
restrictions imposed by the Board, the Chairman of the Board, Chief Executive Officer, President
or any Vice President may delegate powers to execute and deliver any contract, bond, deed,
lease, mortgage or other instrument in the name and on behalf of the Corporation to other
officers or employees of the Corporation under such person’s supervision and authority, it being
understood, however, that any such delegation of power shall not relieve such officer of
responsibility with respect to the exercise of such delegated power.

         Section 9.9.   Fiscal Year. The fiscal year of the Corporation shall be fixed by the
Board.

       Section 9.10. Seal. The Board may adopt a corporate seal which shall be in such form
as the Board determines. The seal may be used by causing it or a facsimile thereof to be
impressed, affixed or otherwise reproduced.

       Section 9.11. Books and Records. The books and records of the Corporation may be
kept within or outside the State of Delaware at such place or places as may from time to time be
designated by the Board.

       Section 9.12. Resignation. Any director, committee member or officer may resign by
giving notice thereof in writing or by electronic transmission to the Chairman of the Board, the
Chief Executive Officer, the President or the Secretary. The resignation shall take effect at the


                                               21
688913.0001 EAST 100432330 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                          Pg 625 of 771



time specified therein, or at the time of receipt of such notice if no time is specified or the
specified time is earlier than the time of such receipt. Unless otherwise specified therein, the
acceptance of such resignation shall not be necessary to make it effective.

        Section 9.13. Surety Bonds. Such officers, employees and agents of the Corporation (if
any) as the Chairman of the Board, Chief Executive Officer, President or the Board may direct,
from time to time, shall be bonded for the faithful performance of their duties and for the
restoration to the Corporation, in case of their death, resignation, retirement, disqualification or
removal from office, of all books, papers, vouchers, money and other property of whatever kind
in their possession or under their control belonging to the Corporation, in such amounts and by
such surety companies as the Chairman of the Board, Chief Executive Officer, President or the
Board may determine. The premiums on such bonds shall be paid by the Corporation and the
bonds so furnished shall be in the custody of the Secretary.

        Section 9.14. Securities of Other Corporations. Powers of attorney, proxies, waivers
of notice of meeting, consents in writing and other instruments relating to securities owned by
the Corporation may be executed in the name of and on behalf of the Corporation by the
Chairman of the Board, Chief Executive Officer, President or any Vice President. Any such
officer may, in the name of and on behalf of the Corporation, take all such action as any such
officer may deem advisable to vote in person or by proxy at any meeting of security holders of
any corporation in which the Corporation may own securities, or to consent in writing, in the
name of the Corporation as such holder, to any action by such corporation, and at any such
meeting or with respect to any such consent shall possess and may exercise any and all rights and
power incident to the ownership of such securities and which, as the owner thereof, the
Corporation might have exercised and possessed. The Board may from time to time confer like
powers upon any other person or persons.

       Section 9.15. Forum for Adjudication of Disputes. Unless the Corporation consents
in writing to the selection of an alternative forum, the Court of Chancery of the State of
Delaware shall be the sole and exclusive forum for (i) any derivative action or proceeding
brought on behalf of the Corporation, (ii) any action asserting a claim of breach of a fiduciary
duty owed by any director, officer or other employee of the Corporation to the Corporation or the
Corporation’s stockholders, (iii) any action asserting a claim arising pursuant to any provision of
the DGCL, or (iv) any action asserting a claim governed by the internal affairs doctrine. Any
person or entity purchasing or otherwise acquiring any interest in shares of capital stock of the
Corporation shall be deemed to have notice of and consented to the provisions of this Section
9.15.

        Section 9.16. Amendments. The Board shall have the power to adopt, amend, alter or
repeal the By-Laws. The By-Laws also may be adopted, amended, altered or repealed by the
stockholders.




                                                22
688913.0001 EAST 100432330 v1
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 626 of 771



                                    EXHIBIT K

                        Restated Certificates of Incorporation
10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47        Main Document
                                           Pg 627 of 771



                                SECOND AMENDED AND RESTATED

                                CERTIFICATE OF INCORPORATION

                                               OF

                                    AMERICAN MEDIA, INC.

      American Media, Inc. (the “Corporation”), a corporation organized and existing under
and by virtue of the General Corporation Law of the State of Delaware, as from time to time
amended, (the “DGCL”), hereby certifies as follows:

        1.    The Corporation filed an amended joint pre-packaged plan of reorganization
 under chapter 11 of title 11 of the United States Code on December 15, 2010 (the “Plan”).

        2.    The date of filing of the original Certificate of Incorporation with the Secretary of
 State was June 19, 1990, under the name GP Group Holdings, Inc. The Corporation
 subsequently changed its name to American Media, Inc. Pursuant to the Plan, American Media
 Operations, Inc., a wholly-owned subsidiary of the Corporation, merged with and into the
 Corporation. The Corporation was the surviving corporation in the merger.

         3.    This Second Amended and Restated Certificate of Incorporation (“Certificate”)
 has been deemed approved without the need for Board of Directors (“Board”) or stockholder
 approval pursuant to Section 303 of the DGCL because it is adopted pursuant to the Plan, as
 confirmed on December 20, 2010 by the United States Bankruptcy Court for the Southern
 District of New York.

        4.     Pursuant to the provisions of Sections 242(a) and 303 of the DGCL, the
 undersigned Corporation does hereby certify that the text of the Certificate is hereby amended
 and restated to read as follows:

                                             FIRST
                                             NAME

        The name of the Corporation is “American Media, Inc.”

                                           SECOND
                                      REGISTERED AGENT

        The registered office of the Corporation within the State of Delaware is Corporation
Trust Center, 1209 Orange Street, City of Wilmington 19808, County of New Castle. The
registered agent of the Corporation within the State of Delaware is The Corporation Trust
Company, the business office of which is identical to the registered office of the Corporation.




                                                1
688913.0001 EAST 100429940 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47         Main Document
                                          Pg 628 of 771



                                            THIRD
                                           PURPOSE

       The purpose of the Corporation is to engage in any lawful act or activity for which a
corporation may be organized under the DGCL.

                                          FOURTH
                                      CAPITALIZATION

        The total number of shares of all classes of capital stock which the Corporation shall have
authority to issue is ___________ shares of capital stock, consisting of (i) [________________]
shares of common stock, par value $0.0001 per share (“Common Stock”), and (ii) 1,000,000
shares of preferred stock, par value $0.0001 per share (“Preferred Stock”). To the extent
prohibited by Section 1123(a)(6) of Chapter 11 of Title 11 of the United States Code (the
“Bankruptcy Code”), the Corporation will not issue non-voting equity securities; provided,
however, the foregoing restriction will (a) have no further force and effect beyond that required
under Section 1123 of the Bankruptcy Code, (b) only have such force and effect for so long as
Section 1123 of the Bankruptcy Code is in effect and applicable to the Corporation and (c) in all
events may be amended or eliminated in accordance with applicable law as from time to time
may be in effect.

        The number of authorized shares of either of the Common Stock or Preferred Stock may
be increased or decreased (but not below the number of shares thereof then outstanding) by the
affirmative vote of the holders of a majority in voting power of the stock of the Corporation
entitled to vote thereon irrespective of the provisions of Section 242(b)(2) of the DGCL (or any
successor provision thereto), and no vote of the holders of either of the Common Stock or
Preferred Stock voting separately as a class shall be required therefor.

         The statement of the powers, preferences and rights and the qualifications, limitations or
restrictions of the shares of each class is as follows:

        1.      Terms of the Common Stock.

                (a)    Equal Rights. Each share of Common Stock of the Corporation shall have
the same powers, rights, and preferences and shall be subject to the same limitations,
qualifications and restrictions as every other share of Common Stock of the Corporation.

               (b)     Voting. At each annual or special meeting of stockholders, each holder of
Common Stock shall be entitled to one (1) vote in person or by proxy for each share of Common
Stock held of record standing in such holder’s name on the stock transfer records of the
Corporation in connection with the election of directors and all other actions submitted to a vote
of holders of Common Stock. Notwithstanding the foregoing, except as otherwise required by
law or this Second Amended and Restated Certificate of Incorporation (including a Preferred
Stock Designation), holders of Common Stock shall not be entitled to vote on any amendment to
this Second Amended and Restated Certificate of Incorporation (including any amendment to
any Preferred Stock Designation) that relates solely to the terms of one or more outstanding
series of Preferred Stock if the holders of such affected series are entitled, either separately or
together with the holders of one or more other such series, to vote thereon pursuant to this

                                                2
688913.0001 EAST 100429940 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                          Pg 629 of 771



Second Amended and Restated Certificate of Incorporation (including any Preferred Stock
Designation) or pursuant to the DGCL.

                (c)    Dividends and Other Distributions. Subject to the rights of the holders of
the Preferred Stock, if any, the record holders of Common Stock shall be entitled to receive such
dividends and other distributions in cash, stock, evidences of indebtedness or property of the
Corporation as may be declared thereon by the Corporation’s Board of Directors (the “Board of
Directors”) out of assets and funds legally available therefor and shall share equally on a per
share basis in such dividends and other distributions.

                  (d)    Liquidation. In the event of any voluntary or involuntary liquidation,
dissolution or winding up of the Corporation, after payment or provision for payment of the
debts and other liabilities of the Corporation, and subject to the rights of the holders of the
Preferred Stock, if any, the record holders of Common Stock shall be entitled to participate pro
rata in all distributions to holders of Common Stock in any liquidation, dissolution or winding up
of the Corporation.

         2.      Terms of the Preferred Stock. The Preferred Stock may be issued from time to
time in one or more series. The Board of Directors is hereby expressly authorized, by resolution
or resolutions thereof, to provide for the issuance of shares of Preferred Stock in one or more
series and to establish from time to time the number of shares to be included in each such series
and to fix the number of shares constituting such series and the designation of such series, the
voting powers (if any) of the shares of such series, and the powers, preferences and relative,
participating, optional or other special rights, if any, and any qualifications, limitations or
restrictions thereof, of the shares of such series and to cause to be filed with the Secretary of
State of the State of Delaware a certificate of designation (the “Preferred Stock Designation”)
with respect thereto. The powers, preferences and relative, participating, optional and other
special rights of each series of Preferred Stock, and the qualifications, limitations or restrictions
thereof, if any, may differ from those of any and all other series at any time outstanding.

        3.      Limitation on Number of Record Holders.

                (a)    Notwithstanding anything set forth in this Second Amended and Restated
Certificate of Incorporation, or the compliance with any of the terms hereof, no direct or indirect
Transfer, however accomplished, of shares of Common Stock or Preferred Stock shall be
effective, and any such Transfer of shares of Common Stock or Preferred Stock shall be deemed
null and void, if, as a result of any such Transfer, the record number of stockholders of the
Corporation of the applicable class of capital stock (as determined in accordance with Rule 12g5-
1 under the Securities Exchange Act of 1934, as amended from time to time (the “Exchange
Act”), or any successor rule or interpretation) would exceed 450.

             (b)     The restrictions contained in this Article FOURTH, Section 3 are for the
purpose of ensuring that the Corporation is not required to become a registrant under the
Exchange Act due to the number of stockholders of the Corporation.

               (c)    Any Transfer attempted to be made in violation of this Article FOURTH,
Section 3 will be null and void. The proposed transferee shall not be entitled to any rights of


                                                 3
688913.0001 EAST 100429940 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47        Main Document
                                          Pg 630 of 771



stockholders of the Corporation, including, but not limited to, the rights to vote or to receive
dividends and liquidating distributions, with respect to the shares of Common Stock and/or
Preferred Stock that were the subject of such attempted Transfer.

                (d)     In addition to any remedies available to the Corporation under applicable
law or in equity, after learning of a Transfer not in compliance with this Article FOURTH,
Section 3, the Corporation may demand the immediate surrender, or cause to be immediately
surrendered, to the Corporation, all certificates representing the shares of Common Stock and/or
Preferred Stock that were the subject of such attempted Transfer, or any proceeds received upon
a sale of such shares, and any dividends or other distributions made after such noncompliant
Transfer with respect to such shares, if any. Any such surrendered certificates may be destroyed.
If any such certificates are not immediately surrendered, the Corporation shall cancel such
certificates, or cause such certificates to be cancelled, on the stock transfer records and other
records of the Corporation. Any shares of Common Stock and/or Preferred Stock attempted to
be Transferred pursuant to a destroyed or cancelled certificate, or attempted to be Transferred in
violation of this Article FOURTH, shall continue to be registered in the name of the purported
transferor. Nothing in this subparagraph (d) shall be deemed inconsistent with the Transfer of
such securities being deemed null and void pursuant to subparagraph (c) hereof.

               (e)     The Corporation may require, as a condition precedent to the registration
of the Transfer of any shares of Common Stock and/or Preferred Stock or the payment of any
distribution on any such shares, that the proposed transferor and transferee or payee furnish to
the Corporation all information reasonably requested by the Corporation with respect to all the
direct or indirect ownership interests in such shares. The Corporation may make such
arrangements or issue such instructions to its stock transfer agent as may be determined by the
Chief Executive Officer under the direction of the Board of Directors to be necessary or
advisable to implement this Article FOURTH, Section 3, including, without limitation,
instructing the transfer agent not to register any Transfer of shares of Common Stock and/or
Preferred Stock on the Corporation’s stock transfer records if it has knowledge that such Transfer
is prohibited by this Article FOURTH, Section 3, and/or authorizing such transfer agent to
require an affidavit from a transferee or transferor regarding such Person’s ownership of shares
of Common Stock and/or Preferred Stock and other evidence that a Transfer will not be
prohibited by this Article FOURTH, Section 3, as a condition to registering any Transfer.

               (f)    Nothing contained in this Article FOURTH, Section 3 shall limit the
authority of the Corporation, its executive officers or the Board of Directors to take such other
action to the extent permitted by law as it deems necessary or advisable to ensure that the
Corporation is not required to become a registrant under the Exchange Act due to the number of
stockholders of the Corporation.

              (g)     So long as this Article FOURTH, Section 3 is in effect, each certificate
evidencing Common Stock and/or Preferred Stock and each certificate issued in exchange for, or
upon Transfer of, any Common Stock and/or Preferred Stock shall be stamped or otherwise
imprinted with a legend in substantially the following form:

                “THE CORPORATION’S SECOND AMENDED AND RESTATED
                CERTIFICATE OF   INCORPORATION (THE  “CHARTER”)

                                                4
688913.0001 EAST 100429940 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47         Main Document
                                          Pg 631 of 771



                INCLUDES, AMONG OTHER THINGS, TRANSFER RESTRICTIONS
                ON, AND OBLIGATIONS WITH RESPECT TO, THE COMMON
                STOCK AND THE PREFERRED STOCK OF THE CORPORATION.
                SO LONG AS IT IS IN EFFECT, THE CHARTER RESTRICTS
                TRANSFERS THAT WOULD RESULT IN THE NUMBER OF
                RECORD HOLDERS OF ANY CLASS OF CAPITAL STOCK OF THE
                CORPORATION EXCEEDING 450 HOLDERS. THE CORPORATION
                WILL FURNISH WITHOUT CHARGE TO THE HOLDER OF
                RECORD OF THIS CERTIFICATE A COPY OF THE CHARTER,
                CONTAINING    THE    ABOVE-REFERENCED     TRANSFER
                RESTRICTIONS AND OBLIGATIONS, UPON WRITTEN REQUEST
                TO THE CORPORATION AT ITS PRINCIPAL PLACE OF
                BUSINESS.”;

provided that such legend may be combined with the legend set forth in Article Fourth, Section
4(f).

                 (h)     The provisions of this Article FOURTH, Section 3 shall terminate upon
the earliest of (i) any firm commitment underwritten public offering of Common Stock pursuant
to a registration statement filed with the Securities and Exchange Commission and declared
effective under the Securities Act, (ii) the filing by the Corporation of a registration statement
pursuant to Section 12(g) of the Exchange Act, and (iii) such time as the Board of Directors
determines that the provisions of this Article FOURTH, Section 3 are no longer necessary for the
preservation of the Corporation’s status as a non-reporting company under the Exchange Act.
Any determination by the Board of Directors pursuant to clause (iii) above shall be publicly
announced and a record of such determination shall be kept at the offices of the Corporation.

        4.      Drag Along Rights.

                (a)     If stockholders that are a party to the Stockholders Agreement, acting by
Majority Requisite Consent, propose to consummate a transaction or series of related
transactions constituting a Sale of the Company (the “Dragging Stockholders”) pursuant to an
Approved Sale, such Dragging Stockholders shall have the right, at their option to require the
other holders of Stockholder Shares (each a “Dragged Stockholder”) to join in such Approved
Sale by Transferring the Co-Sale/Drag Sale Percentage of Stockholder Shares proposed to be
sold by the Dragging Stockholders, subject to the obligations in Article FOURTH, Section 4(c);
provided that Alternative Majority Consent may be obtained if Majority Requisite Consent is not
obtained. Each stockholder shall consent to and raise no objections against (and, in any
stockholder vote required with the respect to such Approved Sale, shall affirmatively vote all of
its Stockholder Shares (if any) the Approved Sale, and if the Approved Sale is structured as a sale
of the issued and outstanding equity Securities of the Corporation (whether by merger,
recapitalization, consolidation or Transfer of Stockholder Shares or other Securities or
otherwise), then each Dragged Stockholder shall waive any dissenters rights, appraisal rights or
similar rights in connection with such Approved Sale (if applicable), each Dragged Stockholder
shall agree to sell his, her or its Stockholder Shares, subject to Article FOURTH, Section 4(c)
below, on the terms and conditions as may be approved by the Dragging Stockholders. Each
Dragged Stockholder and the Corporation (subject to applicable law and compliance by the

                                                5
688913.0001 EAST 100429940 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                          Pg 632 of 771



Corporation with any fiduciary duties) shall take all necessary and desirable actions in
connection with the consummation of the Approved Sale, including, but not limited to, the
execution of such agreements and instruments and other actions necessary to provide the
representations, warranties, indemnities, covenants, conditions, escrows and other provisions and
agreements relating to such Approved Sale.

               (b)     The Dragging Stockholders shall deliver written notice to each Dragged
Stockholder setting forth in reasonable detail the material terms (including price, time and form
of payment and the identity of the Dragging Stockholders) of any Approved Sale (the “Approved
Sale Notice”) at least ten (10) Business Days prior to the consummation of such Approved Sale.
Within five (5) Business Days following receipt of the Approved Sale Notice, each Dragged
Stockholder shall deliver to the Dragging Stockholders written notice (in form and substance
reasonably satisfactory to the Dragging Stockholders) setting forth such Dragged Stockholder’s
agreement to consent to and raise no objections against, or impediments to, the Approved Sale
(including, waiving all dissenter’s and similar rights, if applicable) and if the Approved Sale is
structured as a sale of stock, to sell its Stockholder Shares on the terms and conditions set forth
in the Approved Sale Notice; provided, however, that the failure by any Dragged Stockholder to
deliver such written notice and/or consent to the Dragging Stockholders shall not in any manner
relieve or otherwise affect the obligations of each Dragged Stockholder pursuant to this Article
FOURTH, Section 4.

              (c)     The obligations of the Dragged Stockholders to participate in any
Approved Sale pursuant to this Article FOURTH, Section 4 are subject to the satisfaction of the
following conditions:

                        (i)    subject to clause (ii) below, upon the consummation of the
        Approved Sale, each stockholder shall receive the same proportion of the aggregate
        consideration from such Approved Sale that such holder would have received if such
        aggregate consideration had been distributed by the Corporation in complete liquidation
        pursuant to the rights and preferences set forth in this Second Amended and Restated
        Certificate of Incorporation as in effect immediately prior to such Approved Sale;

                        (ii)   if any stockholder is given an option as to the form and amount of
        consideration to be received with respect to Securities in a class, all stockholders of such
        class will be given the same option;

                      (iii) no stockholder shall be obligated to pay more than his, her or its
        pro-rata amount (based on the amount of aggregate consideration received) of all
        reasonable expenses incurred by the Corporation in connection with a consummated
        Approved Sale;

                       (iv)   any indemnification obligations for breaches of representations,
        warranties and covenants made by the Corporation and its Subsidiaries shall be pro-rata
        among the stockholders based on the aggregate consideration received with respect to the
        Stockholder Shares and capped at such stockholders’ pro rata share of the aggregate
        consideration received; and



                                                 6
688913.0001 EAST 100429940 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47       Main Document
                                          Pg 633 of 771



                      (v)     no stockholder who is not an employee of the Corporation shall be
        required to sign on to any agreement restricting its ability to compete with the
        Corporation and its Subsidiaries.

                (d)    To the extent the Approved Sale is structured as a sale of all or
substantially all of the assets of the Corporation on a consolidated basis, each Dragged
Stockholder shall consent to and raise no objections against (and, in any stockholder vote
required with respect to such Approved Sale, shall affirmatively vote all of its Stockholder
Shares in favor of) such transaction and shall waive any dissenters rights, appraisal rights or
similar rights in connection with such transaction.

               (e)     The provisions of this Article FOURTH, Section 4 shall terminate upon
the termination of the Stockholders’ Agreement in accordance with its terms. The termination of
the Stockholders’ Agreement shall be publicly announced and a record thereof kept at the offices
of the Corporation.

                (f)    So long as this Article FOURTH, Section 4 is in effect, each certificate
evidencing Common Stock and each certificate issued in exchange for or upon Transfer of any
Common Stock and Preferred Stock shall be stamped or otherwise imprinted with a legend in
substantially the following form:

                “THE CORPORATION’S SECOND AMENDED AND RESTATED
                CERTIFICATE    OF   INCORPORATION    (THE   “CHARTER”)
                INCLUDES, AMONG OTHER THINGS, TRANSFER RESTRICTIONS
                ON, AND OBLIGATIONS WITH RESPECT TO, THE COMMON
                STOCK AND THE PREFERRED STOCK OF THE CORPORATION.
                UNDER CERTAIN CIRCUMSTANCES, THE HOLDER OF THE
                SHARES REPRESENTED BY THIS CERTIFICATE MAY BE
                OBLIGATED TO TRANSFER SUCH HOLDER’S SHARES IN
                ACCORDANCE WITH THE CHARTER. THE CORPORATION WILL
                FURNISH WITHOUT CHARGE TO THE HOLDER OF RECORD OF
                THIS CERTIFICATE A COPY OF THE CHARTER, CONTAINING THE
                ABOVE-REFERENCED      TRANSFER     RESTRICTIONS   AND
                OBLIGATIONS,    UPON    WRITTEN    REQUEST    TO   THE
                CORPORATION AT ITS PRINCIPAL PLACE OF BUSINESS.”

provided that such legend may be combined with the legend set forth in Article Fourth, Section
3(g).

                                            FIFTH
                                          DIRECTORS

       1.      General. The business and affairs of the Corporation shall be managed by or
under the direction of the Board of Directors. Unless and except to the extent that the
Corporation’s By-Laws, as the same may be amended or restated from time to time (the “By-
Laws”), shall so require, the election of directors need not be by written ballot.



                                               7
688913.0001 EAST 100429940 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47         Main Document
                                          Pg 634 of 771



        2.      Election of Directors; Voting.

              (a)    The number of directors constituting the Board of Directors shall initially
be nine (9). Thereafter, the number of directors constituting the Board of Directors may be
determined from time to time by resolution of the Board of Directors.

               (b)     A director shall hold office until the next annual meeting and until his or
her successor has been elected and qualified, subject, however, to such director’s earlier death,
resignation, retirement, disqualification or removal from office. A director may resign at any
time upon notice to the Corporation.

         3.      Exculpation. To the fullest extent that the DGCL or any other law of the State of
Delaware as the same exists or is hereafter amended permits the limitation or elimination of the
liability of directors, no person who is or was a director of the Corporation shall be personally
liable to the Corporation or any of its stockholders for monetary damages for breach of fiduciary
duty as a director.

                                  SIXTH
                 AMENDMENT OF CERTIFICATE OF INCORPORATION

       The Corporation reserves the right at any time, and from time to time to amend, alter,
change or repeal any provision contained in this Second Amended and Restated Certificate of
Incorporation, and other provisions authorized by the laws of the State of Delaware at the time in
force may be added or inserted, in the manner now or hereafter prescribed by law; and all rights,
preferences and privileges of any nature conferred upon stockholders, directors or any other
persons by and pursuant to this Second Amended and Restated Certificate of Incorporation in its
present form or as hereafter amended are granted subject to the rights reserved in this Article
SIXTH.

                                       SEVENTH
                                CORPORATE OPPORTUNITIES

        1.      In recognition and anticipation that (i) stockholders (other than stockholders who
are employees of the Corporation or any of its Subsidiaries), their Affiliates and their respective
directors, principals, officers, employees and/or other representatives may now engage, may
continue to engage, or may, in the future, decide to engage, in the same or similar activities or
related lines of business as those in which the Corporation, directly or indirectly, may engage
and/or other business activities that overlap with or compete with those in which the
Corporation, directly or indirectly, may engage, and (ii) members of the Board of Directors who
are not employees of the Corporation (“Non-Employee Directors”) and their respective Affiliates
may now engage, may continue to engage, or may, in the future, decide to engage, in the same or
similar activities or related lines of business as those in which the Corporation, directly or
indirectly, may engage and/or other business activities that overlap with or compete with those in
which the Corporation, directly or indirectly, may engage, the provisions of this Article
SEVENTH are set forth to regulate and define the conduct of certain affairs of the Corporation
with respect to certain classes or categories of business opportunities as they may involve the
stockholders, the Non-Employee Directors or their respective Affiliates and the powers, rights,


                                                 8
688913.0001 EAST 100429940 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                          Pg 635 of 771



duties and liabilities of the Corporation and its directors, officers and stockholders in connection
therewith. Solely for the purposes of this Article SEVENTH, “Affiliate” shall mean (A) in
respect of any specified person (other than the Corporation), any other person that, directly or
indirectly, is controlled by, controls or us under common control with such specified person and
shall include any principal, member, director, partner, stockholder, officer, employee or other
representative of any of the foregoing, (B) in respect of a Non-Employee Director, such Non-
Employee Director’s employer and its Affiliates and any person that, directly or indirectly, is
controlled by such Non-Employee Director (other than the Corporation and any entity that is
controlled by the Corporation) and (C) in respect of the Corporation, any person that, directly or
indirectly, is controlled by the Corporation.

        2.      Except as specifically provided in Section 4 to this Article SEVENTH none of (i)
the stockholders (other than stockholders who are employees of the Corporation or any of its
Subsidiaries) or any of their Affiliates or (ii) any Non-Employee Director or any of his or her
Affiliates (the persons identified in (i) and (ii) above being referred to, collectively, as “Identified
Person” and, individually, as an “Identified Person”) shall have any duty to refrain, directly or
indirectly, from (A) engaging in a corporate opportunity in the same or similar business activities
or lines of business in which the Corporation or any of its Affiliates now engages or proposes to
engage or (B) otherwise competing with the Corporation, and, to the fullest extent permitted by
the DGCL, no Identified Person shall be liable to the Corporation or its stockholders for breach
of any fiduciary duty solely by reason of the fact that such Identified Person engages in any such
activities. The Corporation hereby renounces any interest or expectancy in, or in being offered
an opportunity to participate in, any business opportunity which may be a corporate opportunity
for both an Identified Person and the Corporation or any of its Affiliates, expect as specifically
provided in Section 4 to this Article SEVENTH.

         3.     Except as specifically provided in Section 4 to this Article SEVENTH, in the
event that any Identified Person acquires knowledge of a potential transaction or other business
opportunity which may be a corporate opportunity both for itself or himself and the Corporation
or any of its Affiliates, such Identified Person shall have no duty to communicate or offer such
transaction or other business opportunity to the Corporation or any of its Affiliates and, to the
fullest extent permitted by the DGCL, shall not be liable to the Corporation or its stockholders
for breach of any fiduciary duty as a stockholder, director or officer of the Corporation solely by
reason of the fact that such Identified Person pursues or acquires such corporate opportunity for
itself or himself, or offers or directors such corporate opportunity to another person.

        4.      The Corporation does not renounce its interest in any corporate opportunity
offered to any Non-Employee Director if such opportunity is expressly offered to such person
solely in his or her capacity as a director of the Corporation and the provisions of Sections 1, 2
and 3 of this Article SEVENTH shall not apply to any such opportunity.

                                             EIGHTH
                                           SECTION 203

        The Corporation elects not to be governed by Section 203 of the DGCL.




                                                   9
688913.0001 EAST 100429940 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                          Pg 636 of 771



                                             NINTH
                                          SEVERABILITY

        If any provision or provisions of this Second Amended and Restated Certificate of
Incorporation shall be held to be invalid, illegal or unenforceable for any reason whatsoever: (i)
the validity, legality and enforceability of the remaining provisions of this Second Amended and
Restated Certificate of Incorporation (including, without limitation, each portion of any
paragraph of this Second Amended and Restated Certificate of Incorporation containing any such
provision held to be invalid, illegal or unenforceable, that is not itself held to be invalid, illegal or
unenforceable) shall not in any way be affected or impaired thereby; and (ii) to the fullest extent
possible, the provisions of this Second Amended and Restated Certificate of Incorporation
(including, without limitation, each such portion of any paragraph of this Second Amended and
Restated Certificate of Incorporation containing any such provision held to be invalid, illegal or
unenforceable) shall be construed so as to give effect to the intent manifested by the provision
held invalid, illegal or unenforceable.

                                               TENTH
                                              BY-LAWS

        In furtherance and not in limitation of the powers conferred upon it by law, the Board
shall have the power to adopt, amend, alter or repeal the By-Laws of the Corporation. The By-
Laws also may be adopted, amended, altered or repealed by the stockholders.

                                            ELEVENTH
                                           DEFINITIONS

        As used herein, the following terms shall have the meanings set forth below:

        1.      “Affiliate” means, with respect to any Person, any other Person that directly, or
indirectly through one or more intermediaries, Controls, or is Controlled by, or is under common
Control with, such Person and/or one or more Affiliates thereof.

      2.      “Alternative Majority Consent” shall have the meaning ascribed to it in the
Stockholders’ Agreement.

       3.     “Approved Sale” means a Transfer which would result in the Sale of the
Company pursuant to which the Dragging Stockholders compel the other stockholders to
Transfer Stockholder Shares in accordance with Article FOURTH, Section 4.

       4.   “Business Day” means any day except a Saturday, a Sunday or any other day on
which commercial banks are not required by law to be open in New York, New York.

      5.        “Committee Holders” shall have the meaning ascribed to it in the Stockholders’
Agreement.

        6.      “Control” means, (including, with correlative meaning, the terms “controlling,”
“controlled by” and “under common control with”) with respect to any Person, the possession,
directly or indirectly, of the power to direct or cause the direction of the management, policies or

                                                   10
688913.0001 EAST 100429940 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                          Pg 637 of 771



investment decisions of such Person, whether through the ownership of voting Securities, by
contract or otherwise.

        7.      “Co-Sale/Drag Sale Percentage” means, with respect to any stockholder, the
fraction, expressed as a percentage, the numerator of which is the total number of shares of
Common Stock proposed to be sold by stockholders initiating a Transfer and the denominator or
which is the total number of shares of Common Stock held by such initiating stockholders
(excluding, from each of the numerator and the denominator above, any options, warrants,
convertible debt obligations or similar Securities, and all equity Securities issues pursuant to, or
acquired in connection with, the terms of any plan or agreement established or entered into by
the Corporation for the purpose of issuing Securities to any employee, officer, consultant or
director of the Corporation or its Subsidiaries as compensation).

      8.      “Majority Requisite Consent” shall have the meaning ascribed to it in the
Stockholders’ Agreement.

        9.      “Person” shall be construed as broadly as possible and shall include an individual
person, a partnership (including a limited liability partnership), a corporation, an association, a
joint stock company, a limited liability company, a trust, a joint venture, an unincorporated
organization and any domestic or foreign government or political subdivision thereof, whether on
a Federal, state or local level and whether executive, legislative or judicial in nature, including
any agency, authority, board, bureau, commission, court, department or other instrumentality
thereof.

        10.     “Sale of the Company” means (a) any sale or other Transfer, in one or a series of
related transactions, of Stockholder Shares (including any such Transfer effected by merger,
reorganization, recapitalization, consolidation or similar transaction) following which either (x)
any Person (or group of Persons acting in concert), individually or together with its Affiliates,
beneficially owns, directly or indirectly, fifty percent (50%) or more of the combined voting
power or economic interest (in capital or profits) of the outstanding equity Securities of the
Corporation or (y) those Persons that are a party to the Stockholders’ Agreement as of December
___, 2010 and their respective Affiliates, beneficially own, directly or indirectly, less than fifty
percent (50%) of the combined voting power or economic interests (in capital and profits)
represented by the outstanding equity Securities of the Corporation, (b) any sale or other Transfer
(other than a pledge or hypothecation of, or any placement of a lien thereon or grant of a security
interest in or other encumbrance on, property or assets), in one or a series of related transactions,
of all or substantially all of the property and assets of the Corporation and its Subsidiaries on a
consolidated basis, or (c) any merger, reorganization, recapitalization or consolidation to which
the Corporation is a party and following which those Persons that are a party to the Stockholders’
Agreement as of December ___, 2010 and their respective Affiliates, beneficially own, directly
or indirectly, less than fifty percent (50%) of the combined voting power or economic interests
(in capital and profits) represented by the outstanding equity Securities of the surviving entity
immediately following such transaction.

       11.    “Securities” means “securities” as defined in Section 2(1) of the Securities Act
and includes, with respect to any Person, such Person’s capital stock or other equity interests or


                                                 11
688913.0001 EAST 100429940 v1
10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                          Pg 638 of 771



any options, warrants or other securities that are directly or indirectly convertible into, or
exercisable or exchangeable for, such Person’s capital stock.

       12.     “Securities Act” means the Securities Act of 1933, as amended, or any successor
Federal statute, and the rules and regulations of the Securities and Exchange Commission
promulgated thereunder, all as the same shall be in effect from time to time.

        13.   “Stockholders’ Agreement” means the Stockholders’ Agreement dated as of
December ___, 2010, among the Corporation and the stockholders signatory thereto from time to
time, as amended, modified, supplemented or restated from time to time.

        14.     “Stockholder Shares” means (a) any equity Securities of the Corporation
(including the Common Stock) purchased or otherwise acquired by any stockholder prior to, on
or after the date hereof and (b) any equity Securities issued or issuable directly or indirectly with
respect to the Securities referred to in clause (a) above by way of conversion, exercise or
exchange, stock dividend or stock split or in connection with a combination of shares,
recapitalization, reclassification, merger, consolidation or other reorganization.

        15.    “Subsidiaries” means, at any time, with respect to any Person (the “Subject
Person”), any other Person of which either (a) fifty percent (50.0%) or more of the Securities or
other interests entitled to vote in the election of directors or comparable governance bodies
performing similar functions or (b) fifty percent (50.0%) or more of an interest in the profits or
capital of such Person, in each case, are at the time owned or Controlled directly or indirectly by
the Subject Person or through one or more Subsidiaries of the Subject Person.

        16.     “Transfer” of Securities shall be construed broadly and shall include any direct or
indirect issuance (other than issuance of Securities by the Corporation), sale, assignment,
transfer, participation, gift, bequest, distribution, or other disposition thereof, or any pledge or
hypothecation thereof, placement of a lien thereon or grant of a security interest therein or other
encumbrance thereon, in each case whether voluntary or involuntary or by operation of law or
otherwise.




                                                 12
688913.0001 EAST 100429940 v1
10-16140-mg      Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                         Pg 639 of 771



       IN WITNESS WHEREOF, American Media, Inc. has caused this Second Amended and
Restated Certificate of Incorporation to be signed by a duly authorized officer, on the __ day of
December, 2010.




                                             AMERICAN MEDIA, INC.


                                             By:     ____________________________________
                                                     Name:
                                                     Title:




       688913.0001 EAST 100429940 v1
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                       Pg 640 of 771




                           CERTIFICATE OF INCORPORATION
                                               OF
                         ______________________________________

       _______________________ (the “Corporation”), a corporation organized and existing
under and by virtue of the General Corporation Law of the State of Delaware, as from time to
time amended, (the “DGCL”), hereby certifies as follows:

       1.      The Corporation filed an amended joint pre-packaged plan of reorganization
under chapter 11 of title 11 of the United States Code on December ___, 2010 (the “Plan”).

       2.     The date of filing of the original Certificate of Incorporation with the Secretary of
State was ________________, under the name ______________________.

       3.      This Amended and Restated Certificate of Incorporation (“Certificate”) has been
deemed approved without the need for Board of Directors (“Board”) or stockholder approval
pursuant to Section 303 of the DGCL because it is adopted pursuant to the Plan, as confirmed on
December ___, 2010 by the United States Bankruptcy Court for the Southern District of New
York.

       4.       Pursuant to the provisions of Sections 242(a) and 303 of the DGCL, the
undersigned Corporation does hereby certify that the text of the Certificate is hereby amended
and restated to read as follows:

                                           ARTICLE I
                                            NAME

       The name of the corporation is _______________________ (the “Corporation”).

                                          ARTICLE II
                                           PURPOSE

        The purpose for which the Corporation is organized is to engage in any lawful act or
activity for which corporations may be organized under the DGCL.

                                        ARTICLE III
                                     REGISTERED AGENT

      The street address of the initial registered office of the Corporation in the State of
Delaware is Corporation Trust Center, 1209 Orange Street, in the City of Wilmington, County of
New Castle, and the name of the Corporation’s initial registered agent at such address is The
Corporation Trust Company.




                                                1
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                       Pg 641 of 771



                                        ARTICLE IV
                                      CAPITALIZATION

        The total number of shares of capital stock that the Corporation is authorized to issue is
1,000 shares of common stock, par value $0.0001 per share (the “Common Stock”). To the
extent prohibited by Section 1123(a)(6) of Chapter 11 of Title 11 of the United States Code (the
“Bankruptcy Code”), the Corporation will not issue non-voting equity securities; provided,
however, the foregoing restriction will (a) have no further force and effect beyond that required
under Section 1123 of the Bankruptcy Code, (b) only have such force and effect for so long as
Section 1123 of the Bankruptcy Code is in effect and applicable to the Corporation and (c) in all
events may be amended or eliminated in accordance with applicable law as from time to time
may be in effect.

                                          ARTICLE V
                                          DIRECTORS

      Section 5.1 General. The business and affairs of the Corporation shall be managed by
or under the direction of the Board of Directors. Unless and except to the extent that the
By-Laws shall so require, the election of directors need not be by written ballot.

       Section 5.2    Election of Directors; Voting.

       (a)     The number of directors constituting the Board of Directors shall be determined
from time to time by resolution of the Board of Directors.

       (b)      A director shall hold office until the next annual meeting and until his or her
successor has been elected and qualified, subject, however, to such director’s earlier death,
resignation, retirement, disqualification or removal from office. A director may resign at any
time upon notice to the Corporation.

        Section 5.3 Vacancies. Newly created directorships resulting from any increase in the
authorized number of directors or any vacancies in the Board of Directors resulting from death,
resignation, retirement, disqualification, removal from office or other cause may be filled by the
affirmative vote of a majority of the remaining directors then in office (even though less than a
quorum of the Board of Directors) or by the stockholders. Any director so chosen shall hold
office until the next annual meeting of stockholders and until his successor shall be elected and
qualified.

                                 ARTICLE VI
                      LIMITATION OF DIRECTOR LIABILITY;
                INDEMNIFICATION AND ADVANCEMENT OF EXPENSES

        Section 6.1 Limitation of Director Liability. To the fullest extent that the DGCL or
any other law of the State of Delaware as the same exists or is hereafter amended permits the
limitation or elimination of the liability of directors, no person who is or was a director of the
Corporation shall be personally liable to the Corporation or any of its stockholders for monetary
damages for breach of fiduciary duty as a director. Any repeal or amendment of this Section 6.1
by the stockholders of the Corporation or by changes in law, or the adoption of any other


                                                2
10-16140-mg       Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                        Pg 642 of 771



provision of this Certificate inconsistent with this Section 6.1 will, unless otherwise required by
law, be prospective only (except to the extent such amendment or change in law permits the
Corporation to further limit or eliminate the liability of directors) and shall not adversely affect
any right or protection of a director of the Corporation existing at the time of such repeal or
amendment or adoption of such inconsistent provision with respect to acts or omissions
occurring prior to such repeal or amendment or adoption of such inconsistent provision.

       Section 6.2     Indemnification and Advancement of Expenses.

         (a)    To the fullest extent permitted by applicable law, as the same exists or may
hereafter be amended, the Corporation shall indemnify and hold harmless each person who is or
was made a party or is threatened to be made a party to or is otherwise involved in any
threatened, pending or completed action, suit or proceeding, whether civil, criminal,
administrative or investigative (a “Proceeding”) by reason of the fact that he or she is or was a
director or officer of the Corporation or, while a director or officer of the Corporation, is or was
serving at the request of the Corporation as a director, officer, employee or agent of another
corporation or of a partnership, joint venture, trust, other enterprise or nonprofit entity, including
service with respect to an employee benefit plan (an “Indemnitee”), whether the basis of such
Proceeding is alleged action in an official capacity as a director, officer, employee or agent, or in
any other capacity while serving as a director, officer, employee or agent, against all expenses,
liability and loss (including, without limitation, attorneys’ fees, judgments, fines, ERISA excise
taxes and penalties and amounts paid in settlement) reasonably incurred or suffered by such
Indemnitee in connection with such Proceeding. The right to indemnification conferred by this
Section 7.2 shall include the right to be paid by the Corporation the expenses incurred in
defending or otherwise participating in any such Proceeding in advance of its final disposition;
provided, however, that, if the DGCL requires, an advancement of expenses shall be made only
upon delivery to the Corporation of an undertaking, by or on behalf of the Indemnitee, to repay
all amounts so advanced if it shall ultimately be determined by final judicial decision from which
there is no further right to appeal that the Indemnitee is not entitled to be indemnified for the
expenses under this Section 6.2 or otherwise. The rights to indemnification and advancement of
expenses conferred by this Section 6.2 shall be contract rights and such rights shall continue as to
an Indemnitee who has ceased to be a director, officer, employee or agent and shall inure to the
benefit of his or her heirs, executors and administrators. Notwithstanding the foregoing
provisions of this Section 6.2, except for Proceedings to enforce rights to indemnification and
advancement of expenses, the Corporation shall indemnify and advance expenses to an
Indemnitee in connection with a Proceeding (or part thereof) initiated by such Indemnitee only if
such Proceeding (or part thereof) was authorized by the Board.

       (b)     The rights to indemnification and advancement of expenses conferred on any
Indemnitee by this Section 6.2 shall not be exclusive of any other rights that any Indemnitee may
have or hereafter acquire under law, this Certificate, the By-Laws, an agreement, vote of
stockholders or disinterested directors, or otherwise.

       (c)    Any repeal or amendment of this Section 6.2 by the stockholders of the
Corporation or by changes in law, or the adoption of any other provision of this Certificate
inconsistent with this Section 6.2, shall, unless otherwise required by law, be prospective only
(except to the extent such amendment or change in law permits the Corporation to provide


                                                  3
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                       Pg 643 of 771



broader indemnification rights on a retroactive basis than permitted prior thereto), and shall not
in any way diminish or adversely affect any right or protection existing at the time of such repeal
or amendment or adoption of such inconsistent provision in respect of any act or omission
occurring prior to such repeal or amendment or adoption of such inconsistent provision.

        (d)    This Section 6.2 shall not limit the right of the Corporation, to the extent and in
the manner authorized or permitted by law, to indemnify and to advance expenses to persons
other than Indemnitees.

                                     ARTICLE VII
                               CORPORATE OPPORTUNITIES

         Section 7.1 In recognition and anticipation that (i) stockholders (other than
stockholders who are employees of the Corporation or any of its Subsidiaries), their Affiliates
and their respective directors, principals, officers, employees and/or other representatives may
now engage, may continue to engage, or may, in the future, decide to engage, in the same or
similar activities or related lines of business as those in which the Corporation, directly or
indirectly, may engage and/or other business activities that overlap with or compete with those in
which the Corporation, directly or indirectly, may engage, and (ii)members of the Board of
Directors who are not employees of the Corporation (“Non-Employee Directors”) and their
respective Affiliates may now engage, may continue to engage, or may, in the future, decide to
engage, in the same or similar activities or related lines of business as those in which the
Corporation, directly or indirectly, may engage and/or other business activities that overlap with
or compete with those in which the Corporation, directly or indirectly, may engage, the
provisions of this ARTICLE VII are set forth to regulate and define the conduct of certain affairs
of the Corporation with respect to certain classes or categories of business opportunities as they
may involve the stockholders, the Non-Employee Directors or their respective Affiliates and the
powers, rights, duties and liabilities of the Corporation and its directors, officers and
stockholders in connection therewith. Solely for purposes of this ARTICLE VII, “Affiliate”
shall mean (A) in respect of any specified person (other than the Corporation), any other person
that, directly or indirectly, is controlled by, controls or us under common control with such
specified person and shall include any principal, member, director, partner, stockholder, officer,
employee or other representative of any of the foregoing, (B) in respect of a Non-Employee
Director, such Non-Employee Director’s employer and its Affiliates and any person that, directly
or indirectly, is controlled by such Non-Employee Director (other than the Corporation and any
entity that is controlled by the Corporation) and (C) in respect of the Corporation, any person
that, directly or indirectly, is controlled by the Corporation.

         Section 7.2 Except as specifically provided in Section 7.4 to this ARTICLE VII none
of (i) the stockholders (other than stockholders who are employees of the Corporation or any of
its Subsidiaries) or any of their Affiliates or (ii) any Non-Employee Director or any of his or her
Affiliates (the persons identified in (i) and (ii) above being referred to, collectively, as
“Identified Person” and, individually, as an “Identified Person”) shall have any duty to refrain,
directly or indirectly, from (A) engaging in a corporate opportunity in the same or similar
business activities or lines of business in which the Corporation or any of its Affiliates now
engages or proposes to engage or (B) otherwise competing with the Corporation, and, to the
fullest extent permitted by the DGCL, no Identified Person shall be liable to the Corporation or


                                                4
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                        Pg 644 of 771



its stockholders for breach of any fiduciary duty solely by reason of the fact that such Identified
Person engages in any such activities. The Corporation hereby renounces any interest or
expectancy in, or in being offered an opportunity to participate in, any business opportunity
which may be a corporate opportunity for both an Identified Person and the Corporation or any
of its Affiliates, expect as specifically provided in Section 7.4 to this ARTICLE VII.

         Section 7.3 Except as specifically provided in Section 7.4 to this ARTICLE VII, in the
event that any Identified Person acquires knowledge of a potential transaction or other business
opportunity which may be a corporate opportunity both for itself or himself and the Corporation
or any of its Affiliates, such Identified Person shall have no duty to communicate or offer such
transaction or other business opportunity to the Corporation or any of its Affiliates and, to the
fullest extent permitted by the DGCL, shall not be liable to the Corporation or its stockholders
for breach of any fiduciary duty as a stockholder, director or officer of the Corporation solely by
reason of the fact that such Identified Person pursues or acquires such corporate opportunity for
itself or himself, or offers or directors such corporate opportunity to another person.

       Section 7.4 The Corporation does not renounce its interest in any corporate
opportunity offered to any Non-Employee Director if such opportunity is expressly offered to
such person solely in his or her capacity as a director of the Corporation and the provisions of
Sections 7.1, 7.2 and 7.3 of this ARTICLE VII shall not apply to any such opportunity.

                                          ARTICLE VIII
                                           BY-LAWS

       In furtherance and not in limitation of the powers conferred upon it by law, the Board
shall have the power to adopt, amend, alter or repeal the By-Laws of the Corporation. The
By-Laws also may be adopted, amended, altered or repealed by the stockholders.

                                 ARTICLE IX
                  AMENDMENT OF CERTIFICATE OF INCORPORATION

        The Corporation reserves the right to amend, alter, change or repeal any provision
contained in this Certificate, in the manner now or hereafter prescribed by this Certificate and the
DGCL; and except as set forth in ARTICLE VI, all rights, preferences and privileges herein
conferred upon stockholders, directors or any other persons by and pursuant to this Certificate in
its present form or as hereafter amended are granted subject to the right reserved in this Article.

        IN WITNESS WHEREOF, the incorporator of the Corporation hereto has caused this
Certificate of Incorporation to be duly executed as of December ____, 2010.




                                              _________________, ___________________




                                                 5
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 645 of 771



                                  EXHIBIT L

                              Equity Incentive Plan
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                       Pg 646 of 771



                                 AMERICAN MEDIA, INC.
                                EQUITY INCENTIVE PLAN

        1.      Purpose. The purpose of the American Media, Inc. Equity Incentive Plan is to
provide a means through which the Company and its Affiliates may attract and retain key
personnel and to provide a means whereby directors, officers, employees, consultants and
advisors (and prospective directors, officers, employees, consultants and advisors) of the
Company and its Affiliates can acquire and maintain an equity interest in the Company, or be
paid incentive compensation, which may (but need not) be measured by reference to the value of
Common Shares, thereby strengthening their commitment to the welfare of the Company and its
Affiliates and aligning their interests with those of the Company’s shareholders.

       2.     Definitions. The following definitions shall be applicable throughout the Plan:

                (a)     “Affiliate” means (i) any Person that directly or indirectly controls, is
controlled by or is under common control with the Company and/or (ii) to the extent provided by
the Committee, any Person in which the Company has a significant interest. The term “control”
(including, with correlative meaning, the terms “controlled by” and “under common control
with”), as applied to any Person, means the possession, directly or indirectly, of the power to
direct or cause the direction of the management and policies of such Person, whether through the
ownership of voting or other securities, by contract or otherwise.

                (b)   “Angelo Gordon Stockholders” means, collectively, AG CNG Fund, L.P.,
AG MM, L.P., PHS Bay Colony Fund, L.P., AGCR V Master Account LP, AG Capital Recovery
Partners VI, L.P., AG Eleven Partners, L.P., GAM Arbitrage Investments Inc., AG Garden
Partners, L.P., AG Super Fund International Partners, L.P., Nutmeg Partners, L.P., PHS Patriot
Fund, L.P., AG Princess, L.P., AG Super Fund, L.P. and their respective Affiliates.

               (c)    “Avenue Stockholders” means, collectively, Avenue Investments, L.P.,
Avenue – CDP Global Opportunities Fund, L.P., Avenue International Master, L.P., Avenue
Special Situations Fund IV, L.P., Avenue Special Situations Fund V, L.P. and their respective
Affiliates.

              (d)   “Award” means, individually or collectively, any Incentive Stock Option,
Nonqualified Stock Option, Stock Appreciation Right, Restricted Stock, Restricted Stock Unit,
Stock Bonus Award, and Performance Compensation Award granted under the Plan.

              (e)     “Board” means the Board of Directors of the Company.

              (f)    “Capital Research Stockholders” means, collectively, American High-
Income Trust, The Bond Fund of America, Inc., The Income Fund of America, Inc., American
Funds Insurance Series – Asset Allocation, American Funds Insurance Series – Bond Fund,
American Funds Insurance Series – Global Bond Fund, American Funds Insurance Series –
High-Income Bond Fund, Capital World Bond Fund, Inc., Qualcom Incorporated, Capital
Guardian US High Yield Fixed Income Master Fund, CIF Global High Income Opportunities,
Capital Guardian Global High Income Opportunities Fund and their respective Affiliates.
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                       Pg 647 of 771



                (g)   “Change in Control” shall mean a “Sale of the Company,” as defined in
the Stockholders’ Agreement. Notwithstanding the foregoing, a “Change in Control” (A) with
respect to any Award which constitutes deferred compensation subject to Section 409A of the
Code, shall be deemed to have occurred only if a change in the ownership or effective control of
the Company or a change in the ownership of a substantial portion of the assets of the Company
shall also be deemed to have occurred under Section 409A of the Code and (B) shall not be
deemed to occur as a result of an increase in ownership of Common Shares by any of the Angelo
Gordon Stockholders, the Avenue Stockholders, the Capital Research Stockholders, or the Credit
Suisse Stockholders.

               (h)     “Code” means the Internal Revenue Code of 1986, as amended, and any
successor thereto. Reference in the Plan to any section of the Code shall be deemed to include
any regulations or other interpretative guidance under such section, and any amendments or
successor provisions to such section, regulations or guidance.

             (i)     “Committee” means a the Compensation Committee of the Board or
another committee of at least two people as the Board may appoint to administer the Plan or, if
no such committee has been appointed by the Board, the Board.

               (j)    “Common Shares” means the common shares, par value $0.0001 per
share, of the Company (and any stock or other securities into which such common shares may be
converted or into which they may be exchanged).

               (k)    “Company” means American Media, Inc., a Delaware corporation.

                (l)    “Confidential Information” means any and all confidential and/or
proprietary trade secrets, knowledge, data, or information of the Company including, without
limitation, any: (A) drawings, inventions, methodologies, mask works, ideas, processes,
formulas, source and object codes, data, programs, software source documents, works of
authorship, know-how, improvements, discoveries, developments, designs and techniques, and
all other work product of the Company, whether or not patentable or registrable under trademark,
copyright, patent or similar laws; (B) information regarding plans for research, development,
new service offerings and/or products, marketing, advertising and selling, distribution, business
plans and strategies, business forecasts, budgets and unpublished financial statements, licenses,
prices and costs, suppliers, customers, customer history, customer preferences, or distribution
arrangements; (C) any information regarding the skills or compensation of employees, suppliers,
agents, and/or independent contractors of the Company; (D) concepts and ideas relating to the
development and distribution of content in any medium or to the current, future and proposed
products or services of the Company; (E) information about the Company’s investment program,
trading methodology, or portfolio holdings; or (F) any other information, data or the like that is
labeled confidential or described as confidential.

            (m)     “Credit Suisse Stockholders” means, collectively, Credit Suisse Securities
(USA) LLC and its Affiliates.

               (n)     “Date of Grant” means the date on which the granting of an Award is
authorized, or such other date as may be specified in such authorization.



                                                2
10-16140-mg        Doc 116    Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                        Pg 648 of 771



                 (o)   “Effective Date” means December ___, 2010.

              (p)     “Eligible Director” means a person who is (i) a “non-employee director”
within the meaning of Rule 16b-3 under the Exchange Act, and (ii) an “outside director” within
the meaning of Section 162(m) of the Code.

                (q)      “Eligible Person” means any (i) individual employed by the Company or
an Affiliate; provided, however, that no such employee covered by a collective bargaining
agreement shall be an Eligible Person unless and to the extent that such eligibility is set forth in
such collective bargaining agreement or in an agreement or instrument relating thereto;
(ii) consultant or advisor to the Company or an Affiliate, provided that if the Securities Act
applies such persons must be eligible to be offered securities registrable on Form S-8 under the
Securities Act; (iii) prospective employees, officers, consultants or advisors who have accepted
offers of employment or consultancy from the Company or its Affiliates (and would satisfy the
provisions of clause (i) or (ii) above once he or she begins employment with or begins providing
services to the Company or its Affiliates); or (iv) any director of the Company.

                (r)    “Exchange Act” means the Securities Exchange Act of 1934, as amended,
and any reference in the Plan to any section of (or rule promulgated under) the Exchange Act
shall be deemed to include any rules, regulations or other interpretative guidance under such
section or rule, and any amendments or successor provisions to such section, rules, regulations or
guidance.

                 (s)   “Exercise Price” has the meaning given such term in Section 7(b) of the
Plan.

               (t)    “Fair Market Value” means, as of any date, the value of Common Shares
determined as follows:

                       (i)    If the Common Shares are listed on any established stock exchange
or a national market system, including without limitation the Nasdaq Global Select Market, the
Nasdaq Global Market or the Nasdaq Capital Market of The Nasdaq Stock Market, the Fair
Market Value will be the closing sales price for such shares (or the closing bid, if no sales were
reported) as quoted on such exchange or system on the day of determination, as reported in The
Wall Street Journal or such other source as the Committee deems reliable;

                        (ii)    If the Common Shares are regularly quoted by a recognized
securities dealer but selling prices are not reported, the Fair Market Value of a Common Share
will be the mean between the high bid and low asked prices for the Common Shares on the day
of determination, as reported in The Wall Street Journal or such other source as the Committee
deems reliable; or

                      (iii) In the absence of an established market for the Common Shares,
the Fair Market Value will be determined in good faith by the Committee.

                 (u)   “Immediate Family Members” shall have the meaning set forth in
Section 16(b).



                                                 3
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                       Pg 649 of 771



               (v)   “Incentive Stock Option” means an Option that is designated by the
Committee as an incentive stock option as described in Section 422 of the Code and otherwise
meets the requirements set forth in the Plan.

                (w)   “Indemnifiable Person,” shall have the meaning set forth in Section
4(e) of the Plan.

                (x)    “Initial Public Offering” means the first underwritten public offering and
sale of Common Shares after the date of this Agreement pursuant to an effective registration
statement under the Securities Act (other than on Form S-4, Form S-8 or a comparable form)
resulting in net proceeds to the Company (after deduction of underwriting discount, commission
and expenses of sale) of at least $75,000,000.

               (y)     “Intellectual Property-Products” shall have the meaning set forth in
Section 15(c) of the Plan.

                (z)     “Liquidity Event” means the earlier to occur of a Change in Control and
an Initial Public Offering.

                (aa) “Mature Shares” means Common Shares owned by a Participant that are
not subject to any pledge or security interest and that have been either previously acquired by the
Participant on the open market or meet such other requirements, if any, as the Committee may
determine are necessary in order to avoid an accounting earnings charge on account of the use of
such shares to pay the Exercise Price or satisfy a withholding obligation of the Participant.

               (bb) “Negative Discretion” shall mean the discretion authorized by the Plan to
be applied by the Committee to eliminate or reduce the size of a Performance Compensation
Award consistent with Section 162(m) of the Code.

             (cc) “Nonqualified Stock Option” means an Option that is not designated by
the Committee as an Incentive Stock Option.

               (dd)   “Option” means an Award granted under Section 7 of the Plan.

               (ee)   “Option Period” has the meaning given such term in Section 7(c) of the
Plan.

              (ff)    “Participant” means an Eligible Person who has been selected by the
Committee to participate in the Plan and to receive an Award pursuant to Section 6 of the Plan.

             (gg) “Performance Compensation Award” shall mean any Award designated
by the Committee as a Performance Compensation Award pursuant to Section 11 of the Plan.

               (hh) “Performance Criteria” shall mean the criterion or criteria that the
Committee shall select for purposes of establishing the Performance Goal(s) for a Performance
Period with respect to any Performance Compensation Award under the Plan.




                                                 4
10-16140-mg       Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                        Pg 650 of 771



                (ii)    “Performance Formula” shall mean, for a Performance Period, the one or
more objective formulae applied against the relevant Performance Goal to determine, with regard
to the Performance Compensation Award of a particular Participant, whether all, some portion
but less than all, or none of the Performance Compensation Award has been earned for the
Performance Period.

              (jj)    “Performance Goals” shall mean, for a Performance Period, the one or
more goals established by the Committee for the Performance Period based upon the
Performance Criteria.

              (kk) “Performance Period” shall mean the one or more periods of time, as the
Committee may select, over which the attainment of one or more Performance Goals will be
measured for the purpose of determining a Participant’s right to, and the payment of, a
Performance Compensation Award.

               (ll)   “Permitted Transferee” shall have the meaning set forth in Section 16(b)
of the Plan.

                (mm) “Person” means an individual person, a partnership (including a limited
liability partnership), a corporation, an association, a joint stock company, a limited liability
company, a trust, a joint venture and an unincorporated organization.

               (nn)   “Plan” means this American Media, Inc. Equity Incentive Plan.

              (oo) “Restricted Period” means the period of time determined by the
Committee during which an Award is subject to restrictions or, as applicable, the period of time
within which performance is measured for purposes of determining whether an Award has been
earned.

                (pp) “Restricted Stock” means Common Shares, subject to certain specified
restrictions (including, without limitation, a requirement that the Participant remain continuously
employed or provide continuous services for a specified period of time), granted under Section 9
of the Plan.

               (qq) “Restricted Stock Unit” means an unfunded and unsecured promise to
deliver Common Shares, cash, other securities or other property, subject to certain restrictions
(including, without limitation, a requirement that the Participant remain continuously employed
or provide continuous services for a specified period of time), granted under Section 9 of the
Plan.

               (rr)   “SAR Period” has the meaning given such term in Section 8(b) of the
Plan.

               (ss)    “Securities Act” means the Securities Act of 1933, as amended, and any
successor thereto. Reference in the Plan to any section of the Securities Act shall be deemed to
include any rules, regulations or other interpretative guidance under such section, and any
amendments or successor provisions to such section, rules, regulations or guidance.



                                                 5
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                       Pg 651 of 771



               (tt)    “Stock Appreciation Right” or “SAR” means an Award granted under
Section 8 of the Plan.

               (uu)   “Stock Bonus Award” means an Award granted under Section 10 of the
Plan.

              (vv) “Stockholders’ Agreement” means the Stockholders’ Agreement, dated as
of December ___, 2010, among the Company and its stockholders signatory thereto, as amended,
modified, supplemented or restated from time to time.

               (ww) “Strike Price” means, except as otherwise provided by the Committee in
the case of Substitute Awards, (i) in the case of a SAR granted in tandem with an Option, the
Exercise Price of the related Option, or (ii) in the case of a SAR granted independent of an
Option, the Fair Market Value on the Date of Grant.

               (xx)   “Subsidiary” means, with respect to any specified Person:

                               (1)    any corporation, association or other business entity of
which more than 50% of the total voting power of shares of Outstanding Company Voting
Securities (without regard to the occurrence of any contingency and after giving effect to any
voting agreement or shareholders’ agreement that effectively transfers voting power) is at the
time owned or controlled, directly or indirectly, by that Person or one or more of the other
Subsidiaries of that Person (or a combination thereof); and

                               (2)    any partnership (or any comparable foreign entity) (a) the
sole general partner (or functional equivalent thereof) or the managing general partner of which
is such Person or Subsidiary of such Person or (b) the only general partners (or functional
equivalents thereof) of which are that Person or one or more Subsidiaries of that Person (or any
combination thereof).

               (yy)   “Substitute Award” has the meaning given such term in Section 5(e).

        3.      Effective Date; Duration. The Plan shall be effective as of the Effective Date.
The expiration date of the Plan, on and after which date no Awards may be granted hereunder,
shall be the tenth anniversary of the Effective Date; provided, however, that such expiration shall
not affect Awards then outstanding, and the terms and conditions of the Plan shall continue to
apply to such Awards.

        4.       Administration. (a) The Committee shall administer the Plan. To the extent
required to comply with the provisions of Rule 16b-3 promulgated under the Exchange Act (if
the Board is not acting as the Committee under the Plan) or necessary to obtain the exception for
performance-based compensation under Section 162(m) of the Code, as applicable, it is intended
that each member of the Committee shall, at the time he takes any action with respect to an
Award under the Plan, be an Eligible Director. However, the fact that a Committee member
shall fail to qualify as an Eligible Director shall not invalidate any Award granted by the
Committee that is otherwise validly granted under the Plan. The acts of a majority of the
members present at any meeting at which a quorum is present or acts approved in writing by a



                                                 6
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                        Pg 652 of 771



majority of the Committee shall be deemed the acts of the Committee. A majority of the
members of the Committee shall constitute a quorum for this purpose.

                (b)     Subject to the provisions of the Plan and applicable law, the Committee
shall have the sole and plenary authority, in addition to other express powers and authorizations
conferred on the Committee by the Plan, to; (i) designate Participants; (ii) determine the type or
types of Awards to be granted to a Participant; (iii) determine the number of Common Shares to
be covered by, or with respect to which payments, rights, or other matters are to be calculated in
connection with, Awards; (iv) determine the terms and conditions of any Award; (v) determine
whether, to what extent, and under what circumstances Awards may be settled or exercised in
cash, Common Shares, other securities, other Awards or other property, or canceled, forfeited, or
suspended and the method or methods by which Awards may be settled, exercised, canceled,
forfeited, or suspended; (vi) determine whether, to what extent, and under what circumstances
the delivery of cash, Common Shares, other securities, other Awards or other property and other
amounts payable with respect to an Award shall be deferred either automatically or at the
election of the Participant or of the Committee; (vii) interpret, administer, reconcile any
inconsistency in, correct any defect in and/or supply any omission in the Plan and any instrument
or agreement relating to, or Award granted under, the Plan; (viii) establish, amend, suspend, or
waive any rules and regulations and appoint such agents as the Committee shall deem
appropriate for the proper administration of the Plan; (ix) accelerate the vesting or exercisability
of, payment for or lapse of restrictions on, Awards; and (x) make any other determination and
take any other action that the Committee deems necessary or desirable for the administration of
the Plan.

                (c)     The Committee may delegate to one or more officers of the Company or
any Affiliate the authority to act on behalf of the Committee with respect to any matter, right,
obligation, or election that is the responsibility of or that is allocated to the Committee herein,
and that may be so delegated as a matter of law, except for grants of Awards to persons
(i) subject to Section 16 of the Exchange Act or (ii) who are, or who are reasonably expected to
be, “covered employees” for purposes of Section 162(m) of the Code.

                (d)     Unless otherwise expressly provided in the Plan, all designations,
determinations, interpretations, and other decisions under or with respect to the Plan or any
Award or any documents evidencing Awards granted pursuant to the Plan shall be within the
sole discretion of the Committee, may be made at any time and shall be final, conclusive and
binding upon all persons or entities, including, without limitation, the Company, any Affiliate,
any Participant, any holder or beneficiary of any Award, and any shareholder of the Company.

                (e)     No member of the Board, the Committee, delegate of the Committee or
any employee or agent of the Company (each such person, an “Indemnifiable Person”) shall be
liable for any action taken or omitted to be taken or any determination made in good faith with
respect to the Plan or any Award hereunder. Each Indemnifiable Person shall be indemnified
and held harmless by the Company against and from any loss, cost, liability, or expense
(including attorneys’ fees) that may be imposed upon or incurred by such Indemnifiable Person
in connection with or resulting from any action, suit or proceeding to which such Indemnifiable
Person may be a party or in which such Indemnifiable Person may be involved by reason of any
action taken or omitted to be taken under the Plan or any Award agreement and against and from


                                                 7
10-16140-mg          Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47         Main Document
                                            Pg 653 of 771



any and all amounts paid by such Indemnifiable Person with the Company’s approval, in
settlement thereof, or paid by such Indemnifiable Person in satisfaction of any judgment in any
such action, suit or proceeding against such Indemnifiable Person, provided, that the Company
shall have the right, at its own expense, to assume and defend any such action, suit or proceeding
and once the Company gives notice of its intent to assume the defense, the Company shall have
sole control over such defense with counsel of the Company’s choice. The foregoing right of
indemnification shall not be available to an Indemnifiable Person to the extent that a final
judgment or other final adjudication (in either case not subject to further appeal) binding upon
such Indemnifiable Person determines that the acts or omissions of such Indemnifiable Person
giving rise to the indemnification claim resulted from such Indemnifiable Person’s bad faith,
fraud or willful criminal act or omission or that such right of indemnification is otherwise
prohibited by law or by the Company’s Certificate of Incorporation or By-Laws. The foregoing
right of indemnification shall not be exclusive of any other rights of indemnification to which
such Indemnifiable Persons may be entitled under the Company’s Certificate of Incorporation or
By-Laws, as a matter of law, or otherwise, or any other power that the Company may have to
indemnify such Indemnifiable Persons or hold them harmless.

                (f)     Notwithstanding anything to the contrary contained in the Plan, the Board
may, in its sole discretion, at any time and from time to time, grant Awards and administer the
Plan with respect to such Awards. In any such case, the Board shall have all the authority
granted to the Committee under the Plan.

        5.     Grant of Awards; Shares Subject to the Plan; Limitations. (a) The Committee
may, from time to time, grant Options, Stock Appreciation Rights, Restricted Stock, Restricted
Stock Units, Stock Bonus Awards and/or Performance Compensation Awards to one or more
Eligible Persons.

               (b)   Subject to Section 12 of the Plan, the Committee is authorized to deliver
                   1
under the Plan [ ] Common Shares.

                (c)     Use of Common Shares to pay the required Exercise Price or tax
obligations, or shares not issued in connection with settlement of an Option or SAR or that are
used or withheld to satisfy tax obligations of the Participant shall, notwithstanding anything
herein to the contrary, not be available again for other Awards under the Plan. Shares underlying
Awards under this Plan that are forfeited, cancelled, expire unexercised, or are settled in cash are
available again for Awards under the Plan.

               (d)    Common Shares delivered by the Company in settlement of Awards may
be authorized and unissued shares, shares held in the treasury of the Company, shares purchased
on the open market or by private purchase, or a combination of the foregoing.

               (e)    Awards may, in the sole discretion of the Committee, be granted under the
Plan in assumption of, or in substitution for, outstanding awards previously granted by an entity
acquired by the Company or with which the Company combines (“Substitute Awards”). The


1
    NTD: 10% of the number of Common Shares outstanding upon the Effective Date.


                                                       8
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                       Pg 654 of 771



number of Common Shares underlying any Substitute Awards shall be counted against the
aggregate number of Common Shares available for Awards under the Plan.

        6.      Eligibility. Participation shall be limited to Eligible Persons who have entered
into an Award agreement or who have received written notification from the Committee, or from
a person designated by the Committee, that they have been selected to participate in the Plan. As
a condition to receipt of any Award, a Participant, if not already a party to the Stockholders’
Agreement, shall execute and deliver to the Company a joinder agreement substantially in the
form attached hereto as Attachment 1, pursuant to which the Participant shall agree to become a
party to, to be bound by and to comply with the provisions of the Stockholders’ Agreement in the
same manner as if the Participant were an original signatory to such agreement.

        7.      Options. (a) Generally. Each Option granted under the Plan shall be evidenced
by an Award agreement (whether in paper or electronic medium (including email or the posting
on a web site maintained by the Company or a third party under contract with the Company)).
Each Option so granted shall be subject to the conditions set forth in this Section 7, and to such
other conditions not inconsistent with the Plan as may be reflected in the applicable Award
agreement. All Options granted under the Plan shall be Nonqualified Stock Options unless the
applicable Award agreement expressly states that the Option is intended to be an Incentive Stock
Option. Incentive Stock Options shall be granted only to Eligible Persons who are employees of
the Company and its Affiliates, and no Incentive Stock Option shall be granted to any Eligible
Person who is ineligible to receive an Incentive Stock Option under the Code. No Option shall
be treated as an Incentive Stock Option unless the Plan has been approved by the shareholders of
the Company in a manner intended to comply with the stockholder approval requirements of
Section 422(b)(1) of the Code, provided that any Option intended to be an Incentive Stock
Option shall not fail to be effective solely on account of a failure to obtain such approval, but
rather such Option shall be treated as a Nonqualified Stock Option unless and until such approval
is obtained. In the case of an Incentive Stock Option, the terms and conditions of such grant
shall be subject to and comply with such rules as may be prescribed by Section 422 of the Code.
If for any reason an Option intended to be an Incentive Stock Option (or any portion thereof)
shall not qualify as an Incentive Stock Option, then, to the extent of such nonqualification, such
Option or portion thereof shall be regarded as a Nonqualified Stock Option appropriately granted
under the Plan.

               (b)     Exercise Price. The exercise price (“Exercise Price”) per Common Share
for each Option shall not be less than 100% of the Fair Market Value of such share determined as
of the Date of Grant; provided, however, that in the case of an Incentive Stock Option granted to
an employee who, at the time of the grant of such Option, owns shares representing more than
10% of the voting power of all classes of shares of the Company or any Affiliate, the Exercise
Price per share shall not be less than 110% of the Fair Market Value per share on the Date of
Grant and provided, further that, notwithstanding any provision herein to the contrary, the
Exercise Price shall not be less than the par value per Common Share.

              (c)     Vesting and Expiration. Options shall vest and become exercisable in
such manner and on such date or dates determined by the Committee and set forth in the
applicable Award agreement, and shall expire after such period, not to exceed ten years, as may
be determined by the Committee (the “Option Period”); provided, however, that the Option


                                                9
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                        Pg 655 of 771



Period shall not exceed five years from the Date of Grant in the case of an Incentive Stock
Option granted to a Participant who on the Date of Grant owns shares representing more than
10% of the voting power of all classes of shares of the Company or any Affiliate; provided,
further, that notwithstanding any vesting dates set by the Committee, the Committee may, in its
sole discretion, accelerate the exercisability of any Option, which acceleration shall not affect the
terms and conditions of such Option other than with respect to exercisability.

                 (d)     Method of Exercise and Form of Payment. No Common Shares shall be
delivered pursuant to any exercise of an Option until payment in full of the Exercise Price
therefor is received by the Company and the Participant has paid to the Company an amount
equal to any federal, state, local and non-U.S. income and employment taxes required to be
withheld. Options that have become exercisable may be exercised by delivery of written or
electronic notice of exercise to the Company in accordance with the terms of the Option
accompanied by payment of the Exercise Price. The Exercise Price shall be payable (i) in cash,
check, cash equivalent and/or Common Shares valued at the Fair Market Value at the time the
Option is exercised (including, pursuant to procedures approved by the Committee, by means of
attestation of ownership of a sufficient number of Common Shares in lieu of actual delivery of
such shares to the Company); provided, that such Common Shares are not subject to any pledge
or other security interest and are Mature Shares; and (ii) by such other method as the Committee
may permit in accordance with applicable law, in its sole discretion, including without limitation:
(A) in other property having a Fair Market Value on the date of exercise equal to the Exercise
Price or (B) if there is a public market for the Common Shares at such time, by means of a
broker-assisted “cashless exercise” pursuant to which the Company is delivered a copy of
irrevocable instructions to a stockbroker to sell the Common Shares otherwise deliverable upon
the exercise of the Option and to deliver promptly to the Company an amount equal to the
Exercise Price or (C) by a “net exercise” method whereby the Company withholds from the
delivery of the Common Shares for which the Option was exercised that number of Common
Shares having a Fair Market Value equal to the aggregate Exercise Price for the Common Shares
for which the Option was exercised. Any fractional Common Shares shall be settled in cash.

               (e)      Notification upon Disqualifying Disposition of an Incentive Stock Option.
Each Participant awarded an Incentive Stock Option under the Plan shall notify the Company in
writing immediately after the date he makes a disqualifying disposition of any Common Shares
acquired pursuant to the exercise of such Incentive Stock Option. A disqualifying disposition is
any disposition (including, without limitation, any sale) of such Common Shares before the later
of (A) two years after the Date of Grant of the Incentive Stock Option or (B) one year after the
date of exercise of the Incentive Stock Option, The Company may, if determined by the
Committee and in accordance with procedures established by the Committee, retain possession
of any Common Shares acquired pursuant to the exercise of an Incentive Stock Option as agent
for the applicable Participant until the end of the period described in the preceding sentence.

                (f)     Compliance With Laws, etc. Notwithstanding the foregoing, in no event
shall a Participant be permitted to exercise an Option in a manner that the Committee determines
would violate the Sarbanes-Oxley Act of 2002, if applicable, or any other applicable law or the
applicable rules and regulations of the Securities and Exchange Commission or the applicable
rules and regulations of any securities exchange or inter-dealer quotation system on which the
securities of the Company are listed or traded.


                                                 10
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                       Pg 656 of 771



        8.     Stock Appreciation Rights. (a) Generally. Each SAR granted under the Plan shall
be evidenced by an Award agreement (whether in paper or electronic medium (including email
or the posting on a web site maintained by the Company or a third party under contract with the
Company)). Each SAR so granted shall be subject to the conditions set forth in this Section 8,
and to such other conditions not inconsistent with the Plan as may be reflected in the applicable
Award agreement. Any Option granted under the Plan may include tandem SARs. The
Committee also may award SARs to Eligible Persons independent of any Option.

                (b)     Exercise Price. The Exercise Price per Common Share for each Option
shall not be less than 100% of the Fair Market Value of such share determined as of the Date of
Grant.

                (c)     Vesting and Expiration. A SAR granted in connection with an Option
shall become exercisable and shall expire according to the same vesting schedule and expiration
provisions as the corresponding Option. A SAR granted independent of an Option shall vest and
become exercisable and shall expire in such manner and on such date or dates determined by the
Committee and set forth in the applicable Award agreement, and shall expire after such period,
not to exceed ten years, as may be determined by the Committee (the “SAR Period”); provided,
however, that notwithstanding any vesting dates set by the Committee, the Committee may, in its
sole discretion, accelerate the exercisability of any SAR, which acceleration shall not affect the
terms and conditions of such SAR other than with respect to exercisability.

                (d)     Method of Exercise. SARs that have become exercisable may be
exercised by delivery of written or electronic notice of exercise to the Company in accordance
with the terms of the Award, specifying the number of SARs to be exercised and the date on
which such SARs were awarded. Notwithstanding the foregoing, if on the last day of the Option
Period (or in the case of a SAR independent of an option, the SAR Period), the Fair Market
Value exceeds the Strike Price, the Participant has not exercised the SAR or the corresponding
Option (if applicable), and neither the SAR nor the corresponding Option (if applicable) has
expired, such SAR shall be deemed to have been exercised by the Participant on such last day
and the Company shall make the appropriate payment therefor.

               (e)     Payment. Upon the exercise of a SAR, the Company shall pay to the
Participant an amount equal to the number of shares subject to the SAR that are being exercised
multiplied by the excess, if any, of the Fair Market Value of one Common Share on the exercise
date over the Strike Price, less an amount equal to any federal, state, local and non-U.S. income
and employment taxes required to be withheld. The Company shall pay such amount in cash, in
Common Shares valued at Fair Market Value, or any combination thereof, as determined by the
Committee. Any fractional Common Share shall be settled in cash.

        9.      Restricted Stock and Restricted Stock Units. (a) Generally. Each grant of
Restricted Stock and Restricted Stock Units shall be evidenced by an Award agreement (whether
in paper or electronic medium (including email or the posting on a web site maintained by the
Company or a third party under contract with the Company)). Each such grant shall be subject to
the conditions set forth in this Section 9, and to such other conditions not inconsistent with the
Plan as may be reflected in the applicable Award agreement.



                                               11
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                        Pg 657 of 771



                (b)     Restricted Accounts; Escrow or Similar Arrangement. Upon the grant of
Restricted Stock, a book entry in a restricted account shall be established in the Participant’s
name at the Company’s transfer agent and, if the Committee determines that the Restricted Stock
shall be held by the Company or in escrow rather than held in such restricted account pending
the release of the applicable restrictions, the Committee may require the Participant to
additionally execute and deliver to the Company (i) an escrow agreement satisfactory to the
Committee, if applicable, and (ii) the appropriate share power (endorsed in blank) with respect to
the Restricted Stock covered by such agreement. If a Participant shall fail to execute an
agreement evidencing an Award of Restricted Stock and, if applicable, an escrow agreement and
blank share power within the amount of time specified by the Committee, the Award shall be
null and void. Subject to the restrictions set forth in this Section 9 and the applicable Award
agreement, the Participant generally shall have the rights and privileges of a shareholder as to
such Restricted Stock, including without limitation the right to vote such Restricted Stock and
the right to receive dividends, if applicable. To the extent shares of Restricted Stock are
forfeited, any share certificates issued to the Participant evidencing such shares shall be returned
to the Company, and all rights of the Participant to such shares and as a shareholder with respect
thereto shall terminate without further obligation on the part of the Company.

               (c)    Lapse of Restrictions. The Restricted Period applicable to awards of
Restricted Stock and Restricted Stock Units shall lapse on such date or dates determined by the
Committee and set forth in the applicable Award agreement.

                (d)      Delivery of Restricted Stock and Settlement of Restricted Stock Units.
(i) Upon the expiration of the Restricted Period with respect to any shares of Restricted Stock,
the restrictions set forth in the applicable Award agreement shall be of no further force or effect
with respect to such shares, except as set forth in the applicable Award agreement. If an escrow
arrangement is used, upon such expiration, the Company shall deliver to the Participant, or his
beneficiary, without charge, the share certificate evidencing the shares of Restricted Stock that
have not then been forfeited and with respect to which the Restricted Period has expired
(rounded down to the nearest full share). Dividends, if any, that may have been withheld by the
Committee and attributable to any particular share of Restricted Stock shall be distributed to the
Participant in cash or, at the sole discretion of the Committee, in shares of Common Stock
having a Fair Market Value equal to the amount of such dividends, upon the release of
restrictions on such share and, if such share is forfeited, the Participant shall have no right to
such dividends (except as otherwise set forth by the Committee in the applicable Award
agreement).

                        (ii)   Unless otherwise provided by the Committee in an Award
agreement, upon the expiration of the Restricted Period with respect to any outstanding
Restricted Stock Units, the Company shall deliver to the Participant, or his beneficiary, without
charge, one Common Share for each such outstanding Restricted Stock Unit; provided, however,
that the Committee may, in its sole discretion, elect to (i) pay cash or part cash and part Common
Share in lieu of delivering only Common Shares in respect of such Restricted Stock Units or
(ii) defer the delivery of Common Shares (or cash or part Common Shares and part cash, as the
case may be) beyond the expiration of the Restricted Period if such delivery would result in a
violation of applicable law until such time as is no longer the case, if a cash payment is made in
lieu of delivering Common Shares, the amount of such payment shall be equal to the Fair Market


                                                12
10-16140-mg       Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                        Pg 658 of 771



Value of the Common Shares as of the date on which the Restricted Period lapsed with respect to
such Restricted Stock Units, less an amount equal to any federal, state, local and non-U.S.
income and employment taxes required to be withheld.

        10.     Stock Bonus Awards. The Committee may issue unrestricted Common Shares, or
other Awards denominated in Common Shares, under the Plan to Eligible Persons, either alone
or in tandem with other awards, in such amounts as the Committee shall from time to time in its
sole discretion determine. Each Stock Bonus Award granted under the Plan shall be evidenced
by an Award agreement (whether in paper or electronic medium (including email or the posting
on a web site maintained by the Company or a third party under contract with the Company)).
Each Stock Bonus Award so granted shall be subject to such conditions not inconsistent with the
Plan as may be reflected in the applicable Award agreement.

        11.     Performance Compensation Awards. (a) Generally. The Committee shall have
the authority, at the time of grant of any Award described in Sections 7 through 10 of the Plan, to
designate such Award as a Performance Compensation Award intended to qualify as
“performance-based compensation” under Section 162(m) of the Code. The Committee shall
have the authority to make an award of a cash bonus to any Participant and designate such
Award as a Performance Compensation Award intended to qualify as “performance-based
compensation” under Section 162(m) of the Code.

                (b)     Discretion of Committee with Respect to Performance Compensation
Awards. With regard to a particular Performance Period, the Committee shall have sole
discretion to select the length of such Performance Period, the type(s) of Performance
Compensation Awards to be issued, the Performance Criteria that will be used to establish the
Performance Goal(s), the kind(s) and/or level(s) of the Performance Goals(s) that is (are) to
apply and the Performance Formula. Within the first 90 days of a Performance Period (or, if
longer or shorter, within the maximum period allowed under Section 162(m) of the Code, if
applicable), the Committee shall, with regard to the Performance Compensation Awards to be
issued for such Performance Period, exercise its discretion with respect to each of the matters
enumerated in the immediately preceding sentence and record the same in writing.

                 (c)     Performance Criteria. The Performance Criteria that will be used to
establish the Performance Goal(s) shall be based on the attainment of specific levels of
performance of the Company (and/or one or more Affiliates, divisions or operational units, or
any combination of the foregoing) and shall include the following: (i) net earnings or net income
(before or after taxes); (ii) basic or diluted earnings per share (before or after taxes); (iii) net
revenue or revenue growth; (iv) gross profit or gross profit growth; (v) operating profit (before or
after taxes); (vi) return measures (including, but not limited to, return on assets, capital, invested
capital, equity, or sales); (vii) cash flow (including, but not limited to, operating cash flow, free
cash flow, and cash flow return on capital); (viii) earnings before or after taxes, interest,
depreciation and/or amortization; (ix) gross or operating margins; (x) productivity ratios; (xi)
share price (including, but not limited to, growth measures and total shareholder return); (xii)
expense targets; (xiii) margins; (xiv) operating efficiency; (xv) objective measures of customer
satisfaction; (xvi) working capital targets; (xvii) measures of economic value added; (xviii)
inventory control; (xix) enterprise value; (xx) sales; (xxi) debt levels and net debt; (xxii)
combined ratio; (xxiii) timely launch of new facilities; (xxiv) client retention; (xxv) employee


                                                 13
10-16140-mg       Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                        Pg 659 of 771



retention; (xxvi) timely completion of new product rollouts; and (xxvii) objective measures of
personal targets, goals or completion of projects, Any one or more of the Performance Criteria
may be used on an absolute or relative basis to measure the performance of the Company and/or
one or more Affiliates as a whole or any business unit(s) of the Company and/or one or more
Affiliates or any combination thereof, as the Committee may deem appropriate, or any of the
above Performance Criteria may be compared to the performance of a selected group of
comparison companies, or a published or special index that the Committee, in its sole discretion,
deems appropriate, or as compared to various stock market indices. The Committee also has the
authority to provide for accelerated vesting of any Award based on the achievement of
Performance Goals pursuant to the Performance Criteria specified in this paragraph. To the
extent required under Section 162(m) of the Code, the Committee shall, within the first 90 days
of a Performance Period (or, if longer or shorter, within the maximum period allowed under
Section 162(m) of the Code), define in an objective fashion the manner of calculating the
Performance Criteria it selects to use for such Performance Period and thereafter promptly
communicate such Performance Criteria to the Participant.

                 (d)     Modification of Performance Goal(s). In the event that applicable tax
and/or securities laws change to permit Committee discretion to alter the governing Performance
Criteria without obtaining shareholder approval of such alterations, the Committee shall have
sole discretion to make such alterations without obtaining shareholder approval. The Committee
is authorized at any time during the first 90 days of a Performance Period (or, if longer or
shorter, within the maximum period allowed under Section 162(m) of the Code, if applicable), or
at any time thereafter to the extent the exercise of such authority at such time would not cause
the Performance Compensation Awards granted to any Participant for such Performance Period
to fail to qualify as “performance-based compensation” under Section 162(m) of the Code, in its
sole discretion, to adjust or modify the calculation of a Performance Goal for such Performance
Period, based on and in order to appropriately reflect the following events: (i) asset write-downs;
(ii) litigation or claim judgments or settlements; (iii) the effect of changes in tax laws, accounting
principles, or other laws or regulatory rules affecting reported results; (iv) any reorganization and
restructuring programs; (v) extraordinary nonrecurring items as described in Accounting
Principles Board Opinion No. 30 (or any successor pronouncement thereto) and/or in
management’s discussion and analysis of financial condition and results of operations appearing
in the Company’s annual report to shareholders for the applicable year; (vi) acquisitions or
divestitures; (vii) any other specific unusual or nonrecurring events, or objectively determinable
category thereof; (viii) foreign exchange gains and losses; and (ix) a change in the Company’s
fiscal year.

                (e)    Payment of Performance Compensation Awards. (i) Condition to Receipt
of Payment. Unless otherwise provided in the applicable Award agreement, a Participant must
be employed by the Company on the last day of a Performance Period to be eligible for payment
in respect of a Performance Compensation Award for such Performance Period.

                       (ii)   Limitation. A Participant shall be eligible to receive payment in
respect of a Performance Compensation Award only to the extent that: (A) the Performance
Goals for such period are achieved; and (B) all or some of the portion of such Participant’s
Performance Compensation Award has been earned for the Performance Period based on the
application of the Performance Formula to such achieved Performance Goals.


                                                 14
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                        Pg 660 of 771



                      (iii) Certification. Following the completion of a Performance Period,
the Committee shall review and certify in writing whether, and to what extent, the Performance
Goals for the Performance Period have been achieved and, if so, calculate and certify in writing
that amount of the Performance Compensation Awards earned for the period based upon the
Performance Formula. The Committee shall then determine the amount of each Participant’s
Performance Compensation Award actually payable for the Performance Period and, in so doing,
may apply Negative Discretion.

                         (iv)   Use of Negative Discretion. In determining the actual amount of
an individual Participant’s Performance Compensation Award for a Performance Period, the
Committee may reduce or eliminate the amount of the Performance Compensation Award earned
under the Performance Formula in the Performance Period through the use of Negative
Discretion if, in its sole judgment, such reduction or elimination is appropriate. The Committee
shall not have the discretion, except as is otherwise provided in the Plan, to grant or provide
payment in respect of Performance Compensation Awards for a Performance Period if the
Performance Goals for such Performance Period have not been attained.

              (f)     Timing of Award Payments. Performance Compensation Awards granted
for a Performance Period shall be paid to Participants as soon as administratively practicable
following completion of the certifications required by this Section 11, but in no event later than
two-and-one-half months following the end of the fiscal year during which the Performance
Period is completed.

        12.     Changes in Capital Structure and Similar Events. In the event of (a) any dividend
or other distribution (whether in the form of cash, Common Shares, other securities or other
property), recapitalization, stock split, reverse stock split, reorganization, merger, amalgamation,
consolidation, split-up, split-off, combination, repurchase or exchange of Common Shares or
other securities of the Company, issuance of warrants or other rights to acquire Common Shares
or other securities of the Company, or other similar corporate transaction or event (including,
without limitation, a Change in Control) that affects the Common Shares, or (b) unusual or
nonrecurring events (including, without limitation, a Change in Control) affecting the Company,
any Affiliate, or the financial statements of the Company or any Affiliate, or changes in
applicable rules, rulings, regulations or other requirements of any governmental body or
securities exchange or inter-dealer quotation system, accounting principles or law, such that in
either case an adjustment is determined by the Committee in its sole discretion to be necessary or
appropriate, then the Committee shall make any such adjustments in such manner as it may deem
equitable, including without limitation any or all of the following:

                        (i)    adjusting any or all of (A) the number of Common Shares or other
securities of the Company (or number and kind of other securities or other property) that may be
delivered in respect of Awards or with respect to which Awards may be granted under the Plan
(including, without limitation, the limitation under Section 5 of the Plan) and (B) the terms of
any outstanding Award, including, without limitation, (1) the number of Common Shares or
other securities of the Company (or number and kind of other securities or other property)
subject to outstanding Awards or to which outstanding Awards relate, (2) the Exercise Price or
Strike Price with respect to any Award or (3) any applicable performance measures (including,
without limitation, Performance Criteria and Performance Goals);


                                                15
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                        Pg 661 of 771



                         (ii)    providing for a substitution or assumption of Awards, accelerating
the exercisability of, lapse of restrictions on, or termination of, Awards or providing for a period
of time for exercise prior to the occurrence of such event; and

                        (iii) canceling any one or more outstanding Awards and causing to be
paid to the holders thereof, in cash, Common Shares, other securities or other property, or any
combination thereof, the value of such Awards, if any, as determined by the Committee (which if
applicable may be based upon the price per Common Share received or to be received by other
shareholders of the Company in such event), including without limitation, in the case of an
outstanding Option or SAR, a cash payment in an amount equal to the excess, if any, of the Fair
Market Value (as of a date specified by the Committee) of the Common Shares subject to such
Option or SAR over the aggregate Exercise Price or Strike Price of such Option or SAR,
respectively (it being understood that, in such event, any Option or SAR having a per share
Exercise Price or Strike Price equal to, or in excess of, the Fair Market Value of a Common
Share subject thereto may be canceled and terminated without any payment or consideration
therefor);

provided, however, that in the case of any “equity restructuring” (within the meaning of the
Financial Accounting Standards Board Statement of Financial Accounting Standards No. 123
(revised 2004)), the Committee shall make an equitable or proportionate adjustment to
outstanding Awards to reflect such equity restructuring. Any adjustment in Incentive Stock
Options under this Section 12 (other than any cancellation of Incentive Stock Options) shall be
made only to the extent not constituting a “modification” within the meaning of Section
424(h)(3) of the Code, and any adjustments under this Section 12 shall be made in a manner that
does not adversely affect the exemption provided pursuant to Rule 16b-3 under the Exchange
Act. The Company shall give each Participant notice of an adjustment hereunder and, upon
notice, such adjustment shall be conclusive and binding for all purposes.

       13.    Effect of Change in Control or Initial Public Offering. The treatment of an
outstanding Award upon the occurrence of a Change in Control or Initial Public Offering shall be
determined by the Committee and set forth in the applicable Award agreement issued in respect
of such Award.

        14.     Amendments and Termination. (a) Amendment and Termination of the Plan. The
Board may amend, alter, suspend, discontinue, or terminate the Plan or any portion thereof at any
time; provided, that no such amendment, alteration, suspension, discontinuation or termination
shall be made without shareholder approval if such approval is necessary to comply with any tax
or regulatory requirement applicable to the Plan (including, without limitation, as necessary to
comply with any rules or requirements of any securities exchange or inter-dealer quotation
system on which the Common Shares may be listed or quoted or to prevent the Company from
being denied a tax deduction under Section 162(m) of the Code); provided, further, that any such
amendment, alteration, suspension, discontinuance or termination that would materially and
adversely affect the rights of any Participant or any holder or beneficiary of any Award
theretofore granted shall not to that extent be effective without the consent of the affected
Participant, holder or beneficiary.




                                                 16
10-16140-mg       Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                        Pg 662 of 771



                (b)     Amendment of Award Agreements. The Committee may, to the extent
consistent with the terms of any applicable Award agreement, waive any conditions or rights
under, amend any terms of, or alter, suspend, discontinue, cancel or terminate, any Award
theretofore granted or the associated Award agreement, prospectively or retroactively; provided
that any such waiver, amendment, alteration, suspension, discontinuance, cancellation or
termination that would materially and adversely affect the rights of any Participant with respect
to any Award theretofore granted, including the taxation thereof, shall not to that extent be
effective without the consent of the affected Participant; provided, further, that without
shareholder approval, except as otherwise permitted under Section 12 of the Plan, (i) no
amendment or modification may reduce the Exercise Price of any Option or the Strike Price of
any SAR, (ii) the Committee may not cancel any outstanding Option or SAR and replace it with
a new Option or SAR, another Award or cash and (iii) the Committee may not take any other
action that is considered a “repricing” for purposes of the shareholder approval rules of the
applicable securities exchange or inter-dealer quotation system on which the Common Shares are
listed or quoted.

        15.     Restrictive Covenants. (a) Confidentiality. By accepting an Award under the
Plan, and as a condition thereof, each Participant agrees not to, at any time, either during their
employment or thereafter, divulge, use, publish or in any other manner reveal, directly or
indirectly, to any person, firm, corporation or any other form of business organization or
arrangement, and to keep in the strictest confidence any Confidential Information, except (i) as
may be necessary to the performance of the Participant’s duties to the Company, (ii) with the
Company’s express written consent, (iii) to the extent that any such information is in or becomes
in the public domain other than as a result of the Participant’s breach of any of his or her
obligations under this Section 15(a), or (iv) where required to be disclosed by court order,
subpoena or other government process and in such event, the Participant shall cooperate with the
Company in attempting to keep such information confidential to the maximum extent possible.
Upon the request of the Company or an Affiliate, the Participant agrees to promptly deliver to
the Company the originals and all copies, in whatever medium, of all such Confidential
Information.

                (b)     Non-Disparagement. By accepting an Award under the Plan, and as a
condition thereof, the Participant acknowledges and agrees that he or she will not defame or
publicly criticize the services, business, integrity, veracity or personal or professional reputation
of the Company, including its officers, directors, partners, executives or agents, in either a
professional or personal manner at any time during or following his or her employment.

                (c)    Post-Employment Property. By accepting an Award under the Plan, and
as a condition thereof, the Participant agrees that any work of authorship, invention, design,
discovery, development, technique, improvement, source code, hardware, device, data,
apparatus, practice, process, method or other work product whatever (whether patentable or
subject to copyright, or not, and hereinafter collectively called “discovery”) related to the
business of the Company that the Participant, either solely or in collaboration with others, has
made or may make, discover, invent, develop, perfect, or reduce to practice during his or her
employment, whether or not during regular business hours and created, conceived or prepared on
the Company’s premises or otherwise shall be the sole and complete property of the Company.
More particularly, and without limiting the foregoing, the Participant agrees that all of the


                                                 17
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                        Pg 663 of 771



foregoing and any (i) inventions (whether patentable or not, and without regard to whether any
patent therefor is ever sought), (ii) marks, names, or logos (whether or not registrable as trade or
service marks, and without regard to whether registration therefor is ever sought), (iii) works of
authorship (without regard to whether any claim of copyright therein is ever registered), and
(iv) trade secrets, ideas, and concepts ((i) — (iv) collectively, “Intellectual Property
Products”) created, conceived, or prepared on the Company’s premises or otherwise, whether or
not during normal business hours, shall perpetually and throughout the world be the exclusive
property of the Company, as shall all tangible media (including, but not limited to, papers,
computer media of all types, and models) in which such Intellectual Property Products shall be
recorded or otherwise fixed. The Participant further agrees promptly to disclose in writing and
deliver to the Company all Intellectual Property Products created during his or her engagement
by the Company, whether or not during normal business hours. The Participant agrees that all
works of authorship created by the Participant during his or her engagement by the Company
shall be works made for hire of which the Company is the author and owner of copyright. To the
extent that any competent decision-making authority should ever determine that any work of
authorship created by the Participant during his or her engagement by the Company is not a work
made for hire, by accepting an Award, the Participant assigns all right, title and interest in the
copyright therein, in perpetuity and throughout the world, to the Company. To the extent that
this Plan does not otherwise serve to grant or otherwise vest in the Company all rights in any
Intellectual Property Product created by the Participant during his or her engagement by the
Company, by accepting an Award, the Participant assigns all right, title and interest therein, in
perpetuity and throughout the world, to the Company. The Participant agrees to execute,
immediately upon the Company’s reasonable request and without charge, any further
assignments, applications, conveyances or other instruments, at any time, whether or not the
Participant is engaged by the Company at the time such request is made, in order to permit the
Company and/or its respective assigns to protect, perfect, register, record, maintain, or enhance
their rights in any Intellectual Property Product; provided, that, the Company shall bear the cost
of any such assignments, applications or consequences. Upon termination of the Participant’s
employment by the Company for any reason whatsoever, and at any earlier time the Company so
requests, the Participant will immediately deliver to the custody of the person designated by the
Company all originals and copies of any documents and other property of the Company in the
Participant’s possession, under the Participant’s control or to which he or she may have access.

For purposes of this Section 15, the term “Company” shall include the Company and its
Affiliates.

        16.     General. (a) Award Agreements. Each Award under the Plan shall be evidenced
by an Award agreement, which shall be delivered to the Participant (whether in paper or
electronic medium (including email or the posting on a web site maintained by the Company or a
third party under contract with the Company)) and shall specify the terms and conditions of the
Award and any rules applicable thereto, including without limitation, the effect on such Award
of the death, disability or termination of employment or service of a Participant, or of such other
events as may be determined by the Committee.

                (b)    Nontransferability. (i) Each Award shall be exercisable only by a
Participant during the Participant’s lifetime, or, if permissible under applicable law, by the
Participant’s legal guardian or representative. No Award (other than a Stock Bonus Award or a


                                                18
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                       Pg 664 of 771



Restricted Stock Award, to the extent any applicable restrictions on such Award have lapsed and
subject to the Stockholders’ Agreement) may be assigned, alienated, pledged, attached, sold or
otherwise transferred or encumbered by a Participant other than by will or by the laws of descent
and distribution and any such purported assignment, alienation, pledge, attachment, sale, transfer
or encumbrance shall be void and unenforceable against the Company or an Affiliate; provided
that the designation of a beneficiary shall not constitute an assignment, alienation, pledge,
attachment, sale, transfer or encumbrance.

                        (ii)    Notwithstanding the foregoing, the Committee may, in its sole
discretion, permit Awards (other than Incentive Stock Options) to be transferred by a Participant,
without consideration, subject to such rules as the Committee may adopt consistent with any
applicable Award agreement to preserve the purposes of the Plan, to: (A) any person who is a
“family member” of the Participant, as such term is used in the instructions to Form S-8 under
the Securities Act (collectively, the “Immediate Family Members”); (B) a trust solely for the
benefit of the Participant and his or her Immediate Family Members; or (C) a partnership or
limited liability company whose only partners or stockholders are the Participant and his or her
Immediate Family Members; or (D) any other transferee as may be approved either (I) by the
Board or the Committee in its sole discretion, or (II) as provided in the applicable Award
agreement (each transferee described in clauses (A), (B) (C) and (D) above is hereinafter referred
to as a “Permitted Transferee”); provided, that the Participant gives the Committee advance
written notice describing the terms and conditions of the proposed transfer and the Committee
notifies the Participant in writing that such a transfer would comply with the requirements of the
Plan.

                        (iii) The terms of any Award transferred in accordance with the
immediately preceding sentence shall apply to the Permitted Transferee and any reference in the
Plan, or in any applicable Award agreement, to a Participant shall be deemed to refer to the
Permitted Transferee, except that (A) Permitted Transferees shall not be entitled to transfer any
Award, other than by will or the laws of descent and distribution; (B) Permitted Transferees shall
not be entitled to exercise any transferred Option unless there shall be in effect a registration
statement on an appropriate form covering the Common Shares to be acquired pursuant to the
exercise of such Option if the Committee determines, consistent with any applicable Award
agreement, that such a registration statement is necessary or appropriate; (C) the Committee or
the Company shall not be required to provide any notice to a Permitted Transferee, whether or
not such notice is or would otherwise have been required to be given to the Participant under the
Plan or otherwise; and (D) the consequences of the termination of the Participant’s employment
by, or services to, the Company or an Affiliate under the terms of the Plan and the applicable
Award agreement shall continue to be applied with respect to the Participant, including, without
limitation, that an Option shall be exercisable by the Permitted Transferee only to the extent, and
for the periods, specified in the Plan and the applicable Award agreement.

               (c)     Tax Withholding. (i) A Participant shall be required to pay to the
Company or any Affiliate, and the Company or any Affiliate shall have the right and is hereby
authorized to withhold, from any cash, Common Shares, other securities or other property
deliverable under any Award or from any compensation or other amounts owing to a Participant,
the amount (in cash, Common Shares, other securities or other property) of any required
withholding taxes in respect of an Award, its exercise, or any payment or transfer under an


                                                19
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                        Pg 665 of 771



Award or under the Plan and to take such other action as may be necessary in the opinion of the
Committee or the Company to satisfy all obligations for the payment of such withholding and
taxes.

                        (ii)    Without limiting the generality of clause (i) above, the Committee
may, in its sole discretion, permit a Participant to satisfy, in whole or in part, the foregoing
withholding liability by (A) the delivery of Common Shares (which are not subject to any pledge
or other security interest and are Mature Shares) owned by the Participant having a Fair Market
Value equal to such withholding liability or (B) having the Company withhold from the number
of Common Shares otherwise issuable or deliverable pursuant to the exercise or settlement of the
Award a number of shares with a Fair Market Value equal to such withholding liability (but no
more than the minimum required statutory withholding liability).

                (d)     No Claim to Awards; No Rights to Continued Employment; Waiver. No
employee of the Company or an Affiliate, or other person, shall have any claim or right to be
granted an Award under the Plan or, having been selected for the grant of an Award, to be
selected for a grant of any other Award. There is no obligation for uniformity of treatment of
Participants or holders or beneficiaries of Awards. The terms and conditions of Awards and the
Committee’s determinations and interpretations with respect thereto need not be the same with
respect to each Participant and may be made selectively among Participants, whether or not such
Participants are similarly situated. Neither the Plan nor any action taken hereunder shall be
construed as giving any Participant any right to be retained in the employ or service of the
Company or an Affiliate. The Company or any of its Affiliates may at any time dismiss a
Participant from employment or discontinue any consulting relationship, free from any liability
or any claim under the Plan, unless otherwise expressly provided in the Plan or any Award
agreement. By accepting an Award under the Plan, a Participant shall thereby be deemed to have
waived any claim to continued exercise or vesting of an Award or to damages or severance
entitlement related to non-continuation of the Award beyond the period provided under the Plan
or any Award agreement, notwithstanding any provision to the contrary in any written
employment contract or other agreement between the Company and its Affiliates and the
Participant, whether any such agreement is executed before, on or after the Date of Grant.

                 (e)    International Participants. With respect to Participants who reside or
work outside of the United States of America and who are not (and who are not expected to be)
“covered employees” within the meaning of Section 162(m) of the Code, the Committee may in
its sole discretion amend the terms of the Plan or outstanding Awards with respect to such
Participants in order to conform such terms with the requirements of local law or to obtain more
favorable tax or other treatment for a Participant, the Company or its Affiliates.

                (f)     Designation and Change of Beneficiary. Each Participant may file with
the Committee a written designation of one or more persons as the beneficiary(ies) who shall be
entitled to receive the amounts payable with respect to an Award, if any, due under the Plan upon
his death. A Participant may, from time to time, revoke or change his beneficiary designation
without the consent of any prior beneficiary by filing a new designation with the Committee.
The last such designation received by the Committee shall be controlling; provided, however,
that no designation, or change or revocation thereof, shall be effective unless received by the
Committee prior to the Participant’s death, and in no event shall it be effective as of a date prior


                                                20
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                        Pg 666 of 771



to such receipt. If no beneficiary designation is filed by a Participant, the beneficiary shall be
deemed to be his or her spouse or, if the Participant is unmarried at the time of death, his or her
estate.

                (g)     Termination of Employment/Service. Unless determined otherwise by the
Committee at any point following such event: (i) neither a temporary absence from employment
or service due to illness, vacation or leave of absence nor a transfer from employment or service
with the Company to employment or service with an Affiliate (or vice-versa) shall be considered
a termination of employment or service with the Company or an Affiliate; and (ii) if a
Participant’s employment with the Company and its Affiliates terminates, but such Participant
continues to provide services to the Company and its Affiliates in a non-employee capacity (or
vice-versa), such change in status shall not be considered a termination of employment with the
Company or an Affiliate.

               (h)      No Rights as a Stockholder. Except as otherwise specifically provided in
the Plan or any Award agreement, no person shall be entitled to the privileges of ownership in
respect of Common Shares that are subject to Awards hereunder until such shares have been
issued or delivered to that person.

                (i)     Government and Other Regulations. (i) The obligation of the Company to
settle Awards in Common Shares or other consideration shall be subject to all applicable laws,
rules, and regulations, and to such approvals by governmental agencies as may be required.
Notwithstanding any terms or conditions of any Award to the contrary, the Company shall be
under no obligation to offer to sell or to sell, and shall be prohibited from offering to sell or
selling, any Common Shares pursuant to an Award unless such shares have been properly
registered for sale pursuant to the Securities Act with the Securities and Exchange Commission
or unless the Committee has determined that such shares may be offered or sold without such
registration pursuant to an available exemption therefrom and the terms and conditions of such
exemption have been fully complied with. The Company shall be under no obligation to register
for sale under the Securities Act any of the Common Shares to be offered or sold under the Plan.
The Committee shall have the authority to provide that all certificates for Common Shares or
other securities of the Company or any Affiliate delivered under the Plan shall be subject to such
stop transfer orders and other restrictions as the Committee may deem advisable under the Plan,
the applicable Award agreement, the federal securities laws, or the rules, regulations and other
requirements of the Securities and Exchange Commission, any securities exchange or
inter-dealer quotation system upon which such shares or other securities are then listed or quoted
and any other applicable federal, state, local or non-U.S. laws, and, without limiting the
generality of Section 9 of the Plan, the Committee may cause a legend or legends to be put on
any such certificates to make appropriate reference to such restrictions. Notwithstanding any
provision in the Plan to the contrary, the Committee reserves the right to add any additional
terms or provisions to any Award granted under the Plan that it in its sole discretion deems
necessary or advisable in order that such Award complies with the legal requirements of any
governmental entity to whose jurisdiction the Award is subject.

                        (ii)    The Committee may cancel an Award or any portion thereof if it
determines, in its sole discretion, that legal or contractual restrictions and/or blockage and/or
other market considerations would make the Company’s acquisition of Common Shares from the


                                                 21
10-16140-mg       Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                         Pg 667 of 771



public markets, the Company’s issuance of Common Shares to the Participant, the Participant’s
acquisition of Common Shares from the Company and/or the Participant’s sale of Common
Shares to the public markets, illegal, impracticable or inadvisable. If the Committee determines
to cancel all or any portion of an Award in accordance with the foregoing, the Company shall
pay to the Participant an amount equal to the excess of (A) the aggregate Fair Market Value of
the Common Shares subject to such Award or portion thereof canceled (determined as of the
applicable exercise date, or the date that the shares would have been vested or delivered, as
applicable), over (B) the aggregate Exercise Price or Strike Price (in the case of an Option or
SAR, respectively) or any amount payable as a condition of delivery of Common Shares (in the
case of any other Award). Such amount shall be delivered to the Participant as soon as
practicable following the cancellation of such Award or portion thereof.

                (j)      Payments to Persons Other Than Participants. If the Committee shall
find that any person to whom any amount is payable under the Plan is unable to care for his
affairs because of illness or accident, or is a minor, or has died, then any payment due to such
person or his estate (unless a prior claim therefor has been made by a duly appointed legal
representative) may, if the Committee so directs the Company, be paid to his spouse, child,
relative, an institution maintaining or having custody of such person, or any other person deemed
by the Committee to be a proper recipient on behalf of such person otherwise entitled to
payment. Any such payment shall be a complete discharge of the liability of the Committee and
the Company therefor.

                (k)    Nonexclusivity of the Plan. Neither the adoption of this Plan by the Board
nor the submission of this Plan to the shareholders of the Company for approval shall be
construed as creating any limitations on the power of the Board to adopt such other incentive
arrangements as it may deem desirable, including, without limitation, the granting of stock
options or other equity-based awards otherwise than under this Plan, and such arrangements may
be either applicable generally or only in specific cases.

                (l)    No Trust or Fund Created. Neither the Plan nor any Award shall create or
be construed to create a trust or separate fund of any kind or a fiduciary relationship between the
Company or any Affiliate, on the one hand, and a Participant or other person or entity, on the
other hand. No provision of the Plan or any Award shall require the Company, for the purpose
of satisfying any obligations under the Plan, to purchase assets or place any assets in a trust or
other entity to which contributions are made or otherwise to segregate any assets, nor shall the
Company maintain separate bank accounts, books, records or other evidence of the existence of a
segregated or separately maintained or administered fund for such purposes. Participants shall
have no rights under the Plan other than as unsecured general creditors of the Company, except
that insofar as they may have become entitled to payment of additional compensation by
performance of services, they shall have the same rights as other employees under general law.

                (m)    Reliance on Reports. Each member of the Committee and each member
of the Board shall be fully justified in acting or failing to act, as the case may be, and shall not be
liable for having so acted or failed to act in good faith, in reliance upon any report made by the
independent public accountant of the Company and its Affiliates and/or any other information
furnished in connection with the Plan by any agent of the Company or the Committee or the
Board, other than himself.


                                                  22
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                        Pg 668 of 771



               (n)    Relationship to Other Benefits. No payment under the Plan shall be taken
into account in determining any benefits under any pension, retirement, profit sharing, group
insurance or other benefit plan of the Company except as otherwise specifically provided in such
other plan.

              (o)     Governing Law. The Plan shall be governed by and construed in
accordance with the internal laws of the State of New York applicable to contracts made and
performed wholly within the State of New York, including, without limitation, Section 5-1401 of
the New York General Obligations Law.

               (p)     Severability. If any provision of the Plan or any Award or Award
agreement is or becomes or is deemed to be invalid, illegal, or unenforceable in any jurisdiction
or as to any person or entity or Award, or would disqualify the Plan or any Award under any law
deemed applicable by the Committee, such provision shall be construed or deemed amended to
conform to the applicable laws, or if it cannot be construed or deemed amended without, in the
determination of the Committee, materially altering the intent of the Plan or the Award, such
provision shall be construed or deemed stricken as to such jurisdiction, person or entity or Award
and the remainder of the Plan and any such Award shall remain in full force and effect.

               (q)     Obligations Binding on Successors. The obligations of the Company
under the Plan shall be binding upon any successor corporation or organization resulting from
the merger, amalgamation, consolidation or other reorganization of the Company, or upon any
successor corporation or organization succeeding to substantially all of the assets and business of
the Company.

                (r)    Code Section 162(m) Approval. If so determined by the Committee, the
provisions of the Plan regarding Performance Compensation Awards shall be disclosed and
reapproved by shareholders no later than the first shareholder meeting that occurs in the fifth
year following the year in which shareholders previously approved such provisions, in each case
in order for certain Awards granted after such time to be exempt from the deduction limitations
of Section 162(m) of the Code. Nothing in this clause, however, shall affect the validity of
Awards granted after such time if such shareholder approval has not been obtained.

                (s)    Expenses; Gender; Titles and Headings. The expenses of administering
the Plan shall be borne by the Company and its Affiliates. Masculine pronouns and other words
of masculine gender shall refer to both men and women. The titles and headings of the sections
in the Plan are for convenience of reference only, and in the event of any conflict, the text of the
Plan, rather than such titles or headings shall control.

                (t)    Other Agreements. Notwithstanding the above, the Committee may
require, as a condition to the grant of and/or the receipt of Common Shares under an Award, that
the Participant execute lock-up, shareholder or other agreements, as it may determine in its sole
and absolute discretion.

               (u)    Payments. Participants shall be required to pay, to the extent required by
applicable law, any amounts required to receive Common Shares under any Award made under
the Plan.



                                                 23
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                        Pg 669 of 771



                (v)     Section 409A. The intent of the Company is that payments and benefits
under the Plan comply with Section 409A of the Code to the extent subject thereto, and,
accordingly, to the maximum extent permitted, the Plan shall be interpreted and be administered
to be in compliance therewith. Notwithstanding anything contained herein to the contrary, a
Participant shall not be considered to have terminated employment with the Company and its
Affiliates for purposes of any payments hereunder which are subject to Section 409A of the
Code until the Participant has incurred a “separation from service” from the Company and its
Affiliates within the meaning of Section 409A of the Code. Any payments described in the Plan
that are due within the “short-term deferral period” as defined in Section 409A of the Code shall
not be treated as deferred compensation unless applicable law requires otherwise.
Notwithstanding anything to the contrary in the Plan, to the extent required in order to avoid
accelerated taxation and/or tax penalties under Section 409A of the Code, amounts that would
otherwise be payable and benefits that would otherwise be provided pursuant to the Plan during
the six (6) month period immediately following the Participant’s termination of employment
shall instead be paid on the first business day after the date that is six (6) months following the
Participant’s separation from service (or upon the Participant’s death, if earlier). In addition, for
purposes of the Plan, each amount to be paid or benefit to be provided to the Participant pursuant
to the Plan, which constitute deferred compensation subject to Section 409A of the Code, shall
be construed as a separate identified payment for purposes of Section 409A of the Code.

                                             *    *   *

As adopted by the Board of Directors of American Media, Inc. on [ ], 2010.

As adopted by the Stockholders of American Media, Inc. on [ ], 2010.




                                                 24
10-16140-mg     Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                      Pg 670 of 771



                                        Attachment 1



                                  JOINDER AGREEMENT



       The undersigned is executing and delivering this Joinder Agreement pursuant to the
Stockholders’ Agreement, dated as of December ___, 2010, among American Media, Inc., a
Delaware corporation (the “Company”) and its stockholders signatory thereto, as amended (the
“Stockholders’ Agreement”).

       By executing and delivering this Joinder Agreement to the Company, the undersigned
hereby agrees to become a party to, to be bound by, and to comply with the provisions of the
Stockholders’ Agreement in the same manner as if the undersigned were an original signatory to
such agreement.

      The undersigned acknowledges and agrees that the undersigned shall be a “Management
Stockholder”, as such term is defined in the Stockholders’ Agreement.

      Accordingly, the undersigned has executed and delivered this Joinder Agreement as of
_______________________________________.




                                           Signature of Stockholder


                                           Print Name of Stockholder




                                           Address



                                           Facsimile



                                           Telephone
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 671 of 771



                                  EXHIBIT M

                             Director Severance Plan
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                        Pg 672 of 771



                          AMERICAN MEDIA, INC.
                NON-EMPLOYEE DIRECTOR SEPARATION PAY PLAN

         1.     Purpose. The purpose of the American Media, Inc. Non-Employee Director
Separation Pay Plan (the “Plan”) is to provide severance benefits to Eligible Directors (as
defined below) of American Media, Inc. (the “Company”) upon certain terminations of their
service as members of the Company’s board of directors (the “Board”). Any capitalized term
that is used but not otherwise defined herein shall have the meaning assigned to such term in the
American Media, Inc. Equity Incentive Plan.

        2.      Eligibility. Each member of the Board who is not an employee of the Company
and who is selected by the Board to participate in the Plan shall become a participant in the Plan
on the date of such selection, or such later date specified by the Board (each person, an “Eligible
Director”).

       3.      Severance Benefits.

                (a)     Upon the termination of an Eligible Director’s service as a member of the
Board prior to the occurrence of a Liquidity Event for any reason, the Eligible Director shall be
entitled to receive a lump sum cash payment in an amount equal to $35,000 for each year and
partial year during which the Eligible Director served on the Board, payable within thirty (30)
days following the date of termination.

        4.      Duration of the Plan. The Plan shall continue in effect until the earlier to occur of
(i) a Liquidity Event and (ii) the date on which the Plan is terminated pursuant to Section 5
hereof.

        5.      Amendment and Termination. The Board may amend, alter, suspend, discontinue,
or terminate the Plan or any portion thereof at any time; provided, that no such amendment,
alteration, suspension, discontinuance or termination may, without the Eligible Directors’
consent, materially and adversely affect the rights of any Eligible Director who became entitled
to participate in the Plan prior to the later of (i) the date of adoption of such amendment,
alteration, suspension, discontinuance or termination or (ii) the effective date of such
amendment, alteration, suspension, discontinuance or termination.

        6.      Confidentiality. By becoming a participant in the Plan, and as a condition hereof,
each Eligible Director agrees not to, at any time, either during his or her period of service on the
Board or thereafter, divulge, use, publish or in any other manner reveal, directly or indirectly, to
any person, firm, corporation or any other form of business organization or arrangement, and to
keep in the strictest confidence any Confidential Information, except (i) as may be necessary to
the performance of the Eligible Director’s duties to the Company, (ii) with the Company’s
express written consent, (iii) to the extent that any such information is in or becomes in the
public domain other than as a result of the breach of any of the Eligible Director’s obligations
under this Section 6, or (iv) where required to be disclosed by court order, subpoena or other
government process, and in such event, the Eligible Director agrees to cooperate with the
Company in attempting to keep such information confidential to the maximum extent possible.
Upon the request of the Company or an Affiliate, the Eligible Director agrees to promptly deliver



                                                 1
10-16140-mg       Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                        Pg 673 of 771



to the Company the originals and all copies, in whatever medium, of all such Confidential
Information of the Company.

        7.      Non-Disparagement. By becoming a participant in the Plan, and as a condition
hereof, each Eligible Director acknowledges and agrees that he or she will not defame or
publicly criticize the services, business, integrity, veracity or personal or professional reputation
of the Company, including its officers, other directors, partners, executives or agents, in either a
professional or personal manner at any time during or following the Eligible Director’s service
on the Board.

        8.      Withholding of Taxes. No withholding or deduction from any amounts payable
under the Plan shall be made by the Company, and each Eligible Director shall be solely
responsible for the payment of any federal, state, local or other income, payroll and/or other
taxes that result from any amounts payable under the Plan.

        9.     Non-exclusivity of the Plan. The adoption of this Plan shall not be construed as
creating any limitations on the power of the Board to adopt such other arrangements as it may
deem desirable.

        10.     Notice. Any notice required or permitted under the Plan will be given in writing
and will be deemed to be effectively given upon the earliest of personal delivery, receipt or the
third full day following deposit in the United States Post Office with postage and fees prepaid,
addressed to the other party hereto at the address last known or at such other address as such
party may designate by ten (10) days’ advance written notice to the other party hereto.

        11.     Section 409A. The intent of the Company is that payments under the Plan comply
with Section 409A of the Code to the extent subject thereto, and, accordingly, to the maximum
extent permitted, the Plan shall be interpreted and be administered to be in compliance therewith.
Notwithstanding anything contained herein to the contrary, an Eligible Director shall not be
considered to have terminated service on the Board with the Company for purposes of any
payments hereunder which are subject to Section 409A of the Code until the Eligible Director
has incurred a “separation from service” from the Company and its Affiliates within the meaning
of Section 409A of the Code. Any payments described in the Plan that are due within the “short-
term deferral period” as defined in Section 409A of the Code shall not be treated as deferred
compensation unless applicable law requires otherwise. Notwithstanding anything to the
contrary in the Plan, to the extent required in order to avoid accelerated taxation and/or tax
penalties under Section 409A of the Code, amounts that would otherwise be payable and benefits
that would otherwise be provided pursuant to the Plan during the six (6) month period
immediately following the Eligible Director’s termination of service on the Board shall instead
be paid on the first business day after the date that is six (6) months following the Eligible
Director’s separation from service (or upon the Eligible Director’s death, if earlier).

        12.     Governing Law. The Plan shall be governed by and construed in accordance with
the internal laws of the State of New York applicable to contracts made and performed wholly
within the State of New York, including, without limitation, Section 5-1401 of the New York
General Obligations Law.




                                                  2
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47           Main Document
                                       Pg 674 of 771



        13.      Severability. If any provision of the Plan is or becomes or is deemed to be
invalid, illegal, or unenforceable in any jurisdiction or as to any person or entity, or would
disqualify the Plan under any law deemed applicable by the Board, such provision shall be
construed or deemed amended to conform to the applicable laws, or if it cannot be construed or
deemed amended without, in the determination of the Board, materially altering the intent of the
Plan, such provision shall be construed or deemed stricken as to such jurisdiction, person or
entity and the remainder of the Plan shall remain in full force and effect.

       14.     General. This Plan is intended to be an unfunded "top-hat" plan for purposes of
the Employee Retirement Income Security Act of 1974, as amended. Eligible Directors shall not
have any interest in any particular property or assets of the Company and payments under the
Plan shall be made from the general funds of the Company.

       15.     Obligations Binding on Successors. The obligations of the Company under the
Plan shall be binding upon any successor corporation or organization resulting from the merger,
amalgamation, consolidation or other reorganization of the Company, or upon any successor
corporation or organization succeeding to substantially all of the assets and business of the
Company.

As adopted by the Board of Directors of American Media, Inc. on [ ], 2010.




                                                3
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 675 of 771



                                  EXHIBIT N

                            Emergence Incentive Plan
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47             Main Document
                                        Pg 676 of 771



                         American Media, Inc. Emergence Bonus Plan

Purpose: The American Media Inc. Emergence Bonus Plan is intended to motivate certain key
employees of the Company who have been critical to the restructuring efforts of the Company to
continue with their diligent efforts to maximize the value of the Company’s assets and business
operation for the benefit of the Company and its stakeholders.

Eligibility and Bonus Payment Date: Upon the occurrence of a Reorganization Event, certain
employees, who are either still employed by the Company or whose employment with the
Company was terminated by the Company (i) without Cause (as determined by the Board of
Directors or its designee) or (ii) due to the participant’s death or disability (as determined by the
Board of Directors or its designee) following the approval of the plan of reorganization, shall be
entitled to receive a bonus payment. Payment of the bonus will be made as soon as practicable
following the occurrence of the Reorganization Event, but in any event no later than March 15,
2011. “Reorganization Event” means the business day on or after entry of a final order of the
Court confirming a plan of reorganization (the “Confirmation Order”) specified by the Company
on which (a) no stay of the Confirmation Order is in effect and (b) the conditions to effectiveness
of the plan of reorganization have been satisfied or waived.

Maximum Payments under the Bonus Plan: The maximum aggregate bonus payments to all
plan participants shall not exceed $2,255,000 and will be allocable by the Chief Executive
Officer of the Company post-emergence from chapter 11. The bonus allocations for the Chief
Executive Officer and the Chief Financial Officer have been determined by the Committee.

Administration of Plan: The plan shall be administered by the Chief Executive Officer or his
designee and the administrator is given full authority and discretion within the limits of this Plan
to establish such administrative measures as may be necessary to administer and attain the
objectives of this Plan. The Administrator shall have full power and authority to construe and
interpret this Plan and any interpretation by the Administrator shall be accorded the maximum
deference permitted by law.
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47     Main Document
                                  Pg 677 of 771



                                    EXHIBIT O

                    Identity of Members of the New Boards and
                   the Initial Officers of the Reorganized Debtors
10-16140-mg         Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                    Main Document
                                            Pg 678 of 771



                  New Board and Officers of Reorganized American Media, Inc.

       Set forth below are the directors and executive officers of American Media, Inc. effective
upon the Effective Date of the Plan.1 All officers serve at the pleasure of the New Board.

        David J. Pecker became Chairman, Chief Executive Officer, President and a Director on
May 7, 1999. Mr. Pecker also serves Chief Executive Officer, President and a Director of the
Debtor Subsidiaries. Prior to serving in these roles, Mr. Pecker had been the Chief Executive
Officer since 1992, and President since 1991, of Hachette. Prior to 1991, he was Executive Vice
President/Publishing and Chief Operating and Chief Financial Officer of Hachette. Mr. Pecker
has 29 years of publishing industry experience having worked as the Director of Financial
Reporting at CBS, Inc. Magazine Group and as the Vice President and Controller of Diamandis
Communications Inc. Mr. Pecker currently serves as a director of the Magazine Publishers’
Association of America, as a director of the Madison Square Boys and Girls Club of New York,
and was appointed to the Board of Trustees of Pace University in February 2009. Mr. Pecker
holds a B.B.A. from Pace University, received an honorary doctorate degree in Commercial
Science from Pace University in 1998, and is Founder, past President and a current director of
the Federal Drug Enforcement Foundation.

        Philip L. Maslowe became a Director in January 2009. Mr. Maslowe has served on the
board of directors for NextMedia Group, Inc., an out-of-home media company that owns and
operates radio and outdoor advertising properties throughout the United States since May 2010.
Mr. Maslowe has served on the board of directors and as chairman of the audit committee for
United Site Services, Inc., a leading national provider of portable restrooms, temporary fence,
storage, erosion control and power sweeping, since January 2010. Mr. Maslowe has served on
the board of directors and as the chairman of the audit committee for Delek US Holdings, Inc., a
diversified energy business, since May 2006, and has served on the board of directors and audit
committee, as well as chairman of the human resources committee, of NorthWestern Corporation,
a publicly traded provider of electricity and natural gas, since December 2004. From 2008 to
2009, Mr. Maslowe served as a member of the board of directors and audit committee, as well as
a member of the special committee to oversee the company, of Hilex Poly, Co., LLC, a leading
manufacturer of plastic bag and film products. From March 2006 to February 2007,
Mr. Maslowe served on the board of managers of Gate Gourmet Group Holding, LLC, a private
company providing catering services to airlines. From 2002 to 2004, Mr. Maslowe served as a
member of the board of directors and audit committee, as well as chairman of the corporate
governance committee, of Mariner Health Care, Inc., a publicly-traded provider of post-acute
health care services, and as chairman of the board of directors, chairman of the audit committee,
and chairman or member of the compensation committee of AMF Bowling Worldwide, Inc., a
company that operates bowling centers and holds an interest in a business that manufactures and
sells bowling equipment. From 2000 to 2001, Mr. Maslowe, served as a member of the board of
directors and audit committee of Bruno’s Supermarkets, Inc., a supermarket chain in Alabama,
Georgia, Florida and Mississippi. From 1997 to 2002, Mr. Maslowe served as executive vice
president and chief financial officer of The Wackenhut Corporation, a provider of diversified


        1
           Pursuant to Section 5.2 of the Plan, the Debtors will be assuming the prepetition employment agreements
with existing members of management.
10-16140-mg      Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                        Pg 679 of 771



outsourcing services for security, staffing and privatized prisons. Mr. Maslowe holds a B.B.A.
from Loyola University of Chicago and received a Master of Management degree from
Northwestern University and is a CPA.

        Susan Tolson is a director nominee of Reorganized AMI. From 1990 to 2010, Ms. Tolson
worked as an Analyst and Portfolio Manager at Capital Research Company, a division of The
Capital Group, one of the world’s largest investment management organizations. At Capital
Research, she served as a Senior Vice President, specializing in High Yield Bonds. Prior to
joining Capital Research, Ms. Tolson spent two years with Aetna Investment Management
Company making private investments in media and entertainment companies. Ms. Tolson serves
as Board member and Audit Committee member of the American Cinémathèque, Board member
and member of the Business Affairs Committee of The American University of Paris, and Board
member of the Fulbright Foundation. Ms. Tolson also serves on the Investment Committee of
the American School of Paris. Presently, she resides in Paris with her husband, the U.S.
Ambassador to France. Ms. Tolson holds a BA cum laude in economics from Smith College and
an MBA from Harvard University Graduate School of Business Administration.

        Michael Elkins is a director nominee of Reorganized AMI. Mr. Elkins joined Avenue
Capital Group in 2004 and is currently a Portfolio Manager of the Avenue U.S. Funds. In such
capacity, Mr. Elkins is responsible for assisting with the direction of the investment activities of
the Avenue U.S. strategy. Prior to joining Avenue, Mr. Elkins was a Portfolio Manager and
Trader with ABP Investments US, Inc. While at ABP, he was responsible for actively managing
the firm’s US high yield and distressed investment strategy. Prior to ABP, Mr. Elkins served as a
Portfolio Manager and Trader for UBK Asset Management, after joining the company as a High
Yield Credit Analyst. Previously, Mr. Elkins was a Credit Analyst for both Oppenheimer & Co.,
Inc. and Smith Barney, Inc. Mr. Elkins has served on the board of directors of Vertis
Communication since October 2008, Milacron LLC since April 2009, and Magnachip
Semiconductor LLC since November 2009. Mr. Elkins serves on the board of directors of each
of these private companies in connection with a reorganization or refinancing involving affiliates
of Avenue and serves as a result of his position with Avenue.

        David Licht is a director nominee of Reorganized AMI. Mr. Licht joined Avenue
CapitalGroup in 2007 and is currently a Senior Vice President of the Avenue U.S. Funds. In such
capacity, Mr. Licht focuses on distressed debt and undervalued securities of U.S. companies.
Prior to joining Avenue, Mr. Licht was a Senior Portfolio Manager at ABP Investments US, Inc.
While at ABP, he was responsible for managing and overseeing the firms high yield, distressed
debt and bank debt portfolios. Prior to ABP, Mr. Licht was an Associate at Donaldson, Lufkin &
Jenrette Securities Corporation in its Leveraged Finance Division. Previously, Mr. Licht worked
for Arthur Andersen LLP where he received his CPA. Mr. Licht holds a B.B.A. from the
University of Michigan Business School. Mr. Licht currently serves on the board of directors of
Trump Entertainment Resorts, Inc. and was appointed to this board pursuant to Trump
Entertainment Resorts, Inc.’s July 16, 2010 plan of reorganization.

       Daniel Flores is a director nominee of Reorganized AMI. Mr. Flores joined Avenue in
2008 and is currently a Senior Vice President. In such capacity, Mr. Flores focuses on distressed
debt opportunities and restructuring transactions for Avenue’s U.S. Strategy. Prior to joining
Avenue, Mr. Flores was a Vice President in the Restructuring and Finance Group at Lehman

                                                 2
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                       Pg 680 of 771



Brothers. Prior to joining Lehman Brothers in 2002, he was a Co-Founder and Director of
MENU Pte Ltd, and an Analyst in Merrill Lynch’s Global Power Group in New York and
Singapore. Mr. Flores has served on the board of directors of Vertis, Inc. since December 2009
and Milacron LLC since August 2009. Mr. Flores serves on the board of directors of each of
these private companies in connection with a reorganization or refinancing involving affiliates of
Avenue.

        Gavin Baiera is a director nominee of Reorganized AMI. Mr. Baiera joined Angelo
Gordon in 2008 and is a Managing Director at Angelo Gordon. In such capacity, Mr. Baiera is
responsible for investing in distressed securities. Prior to joining Angelo Gordon, Mr. Baiera
was the Co-head of the Strategic Finance Group at Morgan Stanley where he was responsible for
all origination, underwriting, and distribution of restructuring transactions. Prior to joining
Morgan Stanley in 2005, Mr. Baiera was at General Electric Capital Corporation concentrating
underwriting and investing in restructuring transactions. Mr. Baiera began his career at General
Electric Capital Corporation as a part of their financial management program, and holds a B.A.
degree from Fairfield University and an M.B.A. degree from the University of Southern
California.

        Cathryn C. Cranston became a Director in March 2009. Ms. Cranston is the publisher of
the Columbia Journalism Review. She began her career in publishing at The New York Times.
She also served as publisher of the Harvard Business Review, and subsequently as executive vice
president of Mansueto Ventures, the owner of the Inc. and Fast Company media brands. Ms.
Cranston has also consulted for leading scientific, legal, and business publishers. Ms. Cranston
is the immediate past chair of the Governing Board of the Chicago-based Bulletin of the Atomic
Scientists and serves on the Visiting Committee of the Division of Physical Sciences at the
University of Chicago. Ms. Cranston is a member of the Economic Club of New York and the
New York Women’s Forum. She graduated from Harvard College (Fine Arts).

        Lawrence S. Kramer became a Director in March 2009. Mr. Kramer is a media
consultant and an adjunct professor of Media Management at Syracuse University. He was
Senior Adviser at Polaris Venture Partners, a national venture capital firm, from January 2008
until January 2010. From March 2005 to November 2006, he was President of CBS Digital
Media and continued to act as an adviser to CBS until April 2008. From 1997 until its sale to
Dow Jones in January 2005, he was Chairman, Chief Executive Officer and Founder of
MarketWatch, Inc. He currently sits on the Board of Directors of Discovery Communications,
Answers.com, BlackArrow, Inc. and Harvard Business School Publishing, and serves on the
Advisory Boards to the Newhouse School of Communications at Syracuse University,
Minyanville, Crossboarders.tv, Newser.com and Jib Jab Media Inc. Previously, he served as a
member of the Board of Directors of Xinhua Finance Media. He was a founding Board member
and former Chairman of The Online Publishers Association. Mr. Kramer received his B.S. from
Syracuse University and his M.B.A. from Harvard University.

        Christopher Polimeni is Executive Vice President for Finance and Planning, Chief
Financial Officer and Treasurer of Reorganized AMI and its Debtor Subsidiaries and also serves
as a Director on the boards of the Debtor Subsidiaries. Prior to being appointed Chief Financial
Officer in March 2010, Mr. Polimeni served as Executive Vice President, Chief Accounting
Officer and Treasurer from July 2009 and Senior Vice President of Finance and Treasurer from

                                                3
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                       Pg 681 of 771



September 2008 and as Senior Vice President of Process Improvement from February 2007 until
September 2008. Prior to joining AMO, he formed his own consulting firm in 2003 and
provided services in areas such as SEC reporting, mergers and acquisitions, internal control
evaluations, chapter 11 reorganizations, and technology strategic planning and implementation.
From 1994 to 2003 Mr. Polimeni served as Vice President of Finance and Corporate Controller
of GE Supply Logistics, LLC (formerly Questron Technology, Inc.), the leading provider of
inventory logistics management services. He practiced as a certified public accountant between
1987 and 1994. Mr. Polimeni has a B.B.A. in Accounting and Business Computer Information
Systems from Hofstra University.

       Kevin Hyson is Executive Vice President and Chief Marketing Officer of Reorganized
AMI and its Debtor Subsidiaries. Mr. Hyson joined AMO as a Senior Vice President and was
promoted to Executive Vice President in 2001. Prior to joining AMO, Mr. Hyson was President
of Hylen Sharp Inc., a Greenwich, Connecticut based marketing firm whose clients included
Hachette, JVC and Sony.

        David Leckey became Executive Vice President, Consumer Marketing of Reorganized
AMI in February 2006. From 2001 to 2006, Mr. Leckey was Senior Vice President, Consumer
Marketing at Hachette, where he spent 28 years. Prior to that, he was at Hearst Publications. Mr.
Leckey was elected to the Board of MPA in 2010. Mr. Leckey has served on the Board of
Directors of the Audit Bureau of Circulations since 1988, where he is Chairman of the Magazine
Committee, which addresses issues confronting the media industry, especially those concerning
circulation reporting and measurement standards. He was the 2002 recipient of the Lee C.
Williams Lifetime Achievement Award by the Fulfillment Management Association.

        John Swider is the President and Chief Executive Officer of Distribution Services, Inc.
(“DSI”). Prior to being appointed President and Chief Executive Officer of DSI, Mr. Swider
served as Executive Vice President, Operations of AMO from November 1999 to October 2010.
Prior to joining AMO in November 1999, Mr. Swider was an Executive Vice President for Globe
Communications Corp. His current responsibilities include production, manufacturing,
newsstand circulation, corporate library/archives, customer service and the Mini Mag division.
Mr. Swider holds a B.A. in Education from Wake Forest University.

        Jeffrey Laymon is Senior Vice President, Controller and Chief Accounting Officer of
Reorganized AMI and its Debtor Subsidiaries. Prior to being appointed Chief Accounting
Officer in March 2010, Mr. Laymon served as Vice President, Internal Audit from May 2007,
when he joined AMO, to January 2009 and was Vice President, Controller from January 2009.
Prior to joining AMO, Mr. Laymon served as Vice President – Accounting at First Data
Corporation, a provider of electronic payment processing solutions, from 1995 to 2006, and from
1984 to 1993, Mr. Laymon was Director of International Finance at Gulf + Western Corporation,
a conglomerate corporation with a diversified business. Mr. Laymon has a B.A. in Accounting
from Wake Forest University.

David Olson is Corporate Counsel and Secretary of Reorganized AMI and its Debtor
Subsidiaries and also serves as a Director of the Debtor Subsidiaries. Mr. Olson joined AMI in
January 2003, and he became Secretary of AMI in September 2008. Prior to that, Mr. Olson was
an associate at the law firm of Hughes Hubbard & Reed LLP from 1999 to 2002. Mr. Olson

                                               4
10-16140-mg      Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47          Main Document
                                       Pg 682 of 771



holds a B.A. in Spanish and Portuguese Literature from the University of California at Berkeley,
an M.A. in Latin American Studies from the University of California at Los Angeles and a J.D.
from the University of Texas School of Law.




                                               5
10-16140-mg   Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47   Main Document
                                  Pg 683 of 771



                                  EXHIBIT P

                  New Revolver Credit Facility Credit Agreement
     10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47            Main Document
                                                Pg 684 of 771




 1
 2
 3                                     REVOLVING CREDIT AGREEMENT
 4
 5
 6                                                  dated as of
 7
 8
 9                                              December 22, 2010
10
11
12                                                    among
13
14
15                                          AMERICAN MEDIA, INC.,
16
17
18                                           The Lenders Party Hereto,
19
20
21                                      JPMORGAN CHASE BANK, N.A.,
22                                          as Administrative Agent
23
24                                                     and
25
26                                    DEUTSCHE BANK SECURITIES INC.,
27                                           as Syndication Agent
28                                      ___________________________
29
30                                       J.P. MORGAN SECURITIES LLC.
31                                    as Co-Lead Arranger and Sole Bookrunner
32
33                                                     and
34                                   DEUTSCHE BANK SECURITIES INC., and
35                                   CREDIT SUISSE SECURITIES (USA) LLC,
36                                            as Co-Lead Arrangers
37                                                   and
38                                   CREDIT SUISSE SECURITIES (USA) LLC,
39                                           as Documentation Agent
40




     CG&R DRAFT: 12/15/10 11:13 PM                                              #1052964 v14 (1049414_.DOC)
     10-16140-mg        Doc 116            Filed 12/15/10 Entered 12/15/10 23:40:47                                              Main Document
                                                     Pg 685 of 771


41                                                      TABLE OF CONTENTS

42                                                                                                                                                    Page

43                                                                ARTICLE I
44
45                                                             DEFINITIONS

46   SECTION 1.01.      Defined Terms ............................................................................................................... 1
47   SECTION 1.02.      Classification of Loans and Borrowings...................................................................... 22
48   SECTION 1.03.      Terms Generally .......................................................................................................... 22
49   SECTION 1.04.      Accounting Terms; GAAP; Treatment of Unrestricted Subsidiaries;
50                         Reclassification of Capital Leases .......................................................................... 22

51                                                               ARTICLE II
52
53                                                             THE CREDITS

54   SECTION 2.01.      Revolving Commitments ............................................................................................. 23
55   SECTION 2.02.      Loans and Borrowings. ................................................................................................ 23
56   SECTION 2.03.      Requests for Borrowings ............................................................................................. 23
57   SECTION 2.04.      Swingline Loans .......................................................................................................... 24
58   SECTION 2.05.      Letters of Credit ........................................................................................................... 26
59   SECTION 2.06.      Funding of Borrowings ................................................................................................ 30
60   SECTION 2.07.      Interest Elections ......................................................................................................... 30
61   SECTION 2.08.      Termination and Reduction of Revolving Commitments ............................................ 31
62   SECTION 2.09.      Repayment of Loans; Evidence of Debt ...................................................................... 32
63   SECTION 2.10.      [Reserved] .................................................................................................................... 32
64   SECTION 2.11.      Prepayment of Loans ................................................................................................... 32
65   SECTION 2.12.      Fees .............................................................................................................................. 33
66   SECTION 2.13.      Interest ......................................................................................................................... 35
67   SECTION 2.14.      Alternate Rate of Interest ............................................................................................. 35
68   SECTION 2.15.      Increased Costs ............................................................................................................ 36
69   SECTION 2.16.      Break Funding Payments ............................................................................................. 37
70   SECTION 2.17.      Taxes............................................................................................................................ 37
71   SECTION 2.18.      Payments Generally; Pro Rata Treatment; Sharing of Setoffs..................................... 39
72   SECTION 2.19.      Mitigation Obligations; Replacement of Lenders ........................................................ 40
73   SECTION 2.20.      [Reserved] .................................................................................................................... 41
74   SECTION 2.21.      Defaulting Lenders ...................................................................................................... 41

75                                                               ARTICLE III
76
77                                      REPRESENTATIONS AND WARRANTIES

78   SECTION 3.01.      Organization; Powers .................................................................................................. 42
79   SECTION 3.02.      Authorization; Enforceability ...................................................................................... 42
80   SECTION 3.03.      Governmental Approvals; No Conflicts ...................................................................... 42
81   SECTION 3.04.      Financial Condition; No Material Adverse Change .................................................... 42
82   SECTION 3.05.      Properties ..................................................................................................................... 43
83   SECTION 3.06.      Litigation and Environmental Matters ......................................................................... 43
84   SECTION 3.07.      Compliance with Laws and Agreements ..................................................................... 44


                                                                         -i-
     CG&R DRAFT: 12/15/10 11:13 PM                                                                              #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116            Filed 12/15/10 Entered 12/15/10 23:40:47                                             Main Document
                                                      Pg 686 of 771

                                                                                                                                                      Page

 85   SECTION 3.08.      Investment Company Status ........................................................................................ 44
 86   SECTION 3.09.      Taxes............................................................................................................................ 44
 87   SECTION 3.10.      ERISA.......................................................................................................................... 44
 88   SECTION 3.11.      Disclosure .................................................................................................................... 44
 89   SECTION 3.12.      Subsidiaries .................................................................................................................. 44
 90   SECTION 3.13.      Insurance...................................................................................................................... 44
 91   SECTION 3.14.      Labor Matters .............................................................................................................. 45
 92   SECTION 3.15.      Solvency ...................................................................................................................... 45
 93   SECTION 3.16.      Senior Indebtedness ..................................................................................................... 45
 94   SECTION 3.17.      Security Documents ..................................................................................................... 45
 95   SECTION 3.18.      Margin Stock ............................................................................................................... 46
 96   SECTION 3.19.      Anti-Terrorism Laws ................................................................................................... 46

 97                                                              ARTICLE IV
 98
 99                                                             CONDITIONS

100   SECTION 4.01.      Effective Date .............................................................................................................. 47
101   SECTION 4.02.      Each Credit Event ........................................................................................................ 50

102                                                               ARTICLE V
103
104                                                AFFIRMATIVE COVENANTS

105   SECTION 5.01.      Financial Statements and Other Information ............................................................... 50
106   SECTION 5.02.      Notices of Material Events .......................................................................................... 51
107   SECTION 5.03.      Information Regarding Collateral ................................................................................ 52
108   SECTION 5.04.      Existence; Conduct of Business................................................................................... 52
109   SECTION 5.05.      Payment of Obligations ............................................................................................... 52
110   SECTION 5.06.      Maintenance of Properties ........................................................................................... 53
111   SECTION 5.07.      Insurance...................................................................................................................... 53
112   SECTION 5.08.      Casualty and Condemnation ........................................................................................ 53
113   SECTION 5.09.      Books and Records; Inspection and Audit Rights ....................................................... 53
114   SECTION 5.10.      Compliance with Laws ................................................................................................ 53
115   SECTION 5.11.      Use of Proceeds and Letters of Credit ......................................................................... 53
116   SECTION 5.12.      Additional Subsidiaries................................................................................................ 53
117   SECTION 5.13.      Further Assurances ...................................................................................................... 54
118   SECTION 5.14.      Perfection of Certain Liens. ......................................................................................... 54

119                                                              ARTICLE VI
120
121                                                   NEGATIVE COVENANTS

122   SECTION 6.01.      Indebtedness; Certain Equity Securities ...................................................................... 55
123   SECTION 6.02.      Liens ............................................................................................................................ 57
124   SECTION 6.03.      Fundamental Changes.................................................................................................. 59
125   SECTION 6.04.      Investments, Loans, Advances, Guarantees and Acquisitions..................................... 60
126   SECTION 6.05.      Asset Sales ................................................................................................................... 62
127   SECTION 6.06.      Sale and Leaseback Transactions ................................................................................ 62
128   SECTION 6.07.      [Reserved] .................................................................................................................... 62
129   SECTION 6.08.      Restricted Payments; Certain Payments of Indebtedness ............................................ 62

                                                                          -ii-
      CG&R DRAFT: 12/15/10 11:13 PM                                                                              #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116           Filed 12/15/10 Entered 12/15/10 23:40:47                                             Main Document
                                                     Pg 687 of 771

                                                                                                                                                     Page

130   SECTION 6.09.      Transactions with Affiliates......................................................................................... 64
131   SECTION 6.10.      Restrictive Agreements................................................................................................ 65
132   SECTION 6.11.      Amendment of Material Documents ........................................................................... 65
133   SECTION 6.12.      First Lien Leverage Ratio ............................................................................................ 65
134   SECTION 6.13.      Fiscal Year ................................................................................................................... 66

135                                                             ARTICLE VII
136
137                                                     EVENTS OF DEFAULT

138   SECTION 7.01.      Events of Default ......................................................................................................... 66
139   SECTION 7.02.      Specified Equity Contribution ..................................................................................... 68

140                                                             ARTICLE VIII
141
142                                                              THE AGENT

143                                                              ARTICLE IX
144
145                                                         MISCELLANEOUS

146   SECTION 9.01.      Notices ......................................................................................................................... 71
147   SECTION 9.02.      Waivers; Amendments ................................................................................................ 72
148   SECTION 9.03.      Expenses; Indemnity; Damage Waiver ....................................................................... 73
149   SECTION 9.04.      Successors and Assigns ............................................................................................... 74
150   SECTION 9.05.      Survival........................................................................................................................ 77
151   SECTION 9.06.      Counterparts; Integration; Effectiveness ..................................................................... 77
152   SECTION 9.07.      Severability .................................................................................................................. 78
153   SECTION 9.08.      Right of Setoff ............................................................................................................. 78
154   SECTION 9.09.      Governing Law; Jurisdiction; Consent to Service of Process...................................... 78
155   SECTION 9.10.      WAIVER OF JURY TRIAL ....................................................................................... 79
156   SECTION 9.11.      Headings ...................................................................................................................... 79
157   SECTION 9.12.      Confidentiality ............................................................................................................. 79
158   SECTION 9.13.      Interest Rate Limitation ............................................................................................... 79
159   SECTION 9.14.      USA Patriot Act ........................................................................................................... 80
160   SECTION 9.15.      Determination of Fiscal Periods .................................................................................. 80
161
162   SCHEDULES:

163   Schedule 2.01       -- Revolving Commitments
164   Schedule 3.05(b)    -- Intellectual Property
165   Schedule 3.05(c)    -- Real Property
166   Schedule 3.05(d)    -- Real Property Purchase Rights
167   Schedule 3.06       -- Disclosed Matters
168   Schedule 3.12       -- Subsidiaries
169   Schedule 3.13       -- Insurance
170   Schedule 6.01       -- Existing Indebtedness
171   Schedule 6.02       -- Existing Liens
172   Schedule 6.04       -- Existing Investments
173   Schedule 6.10       -- Existing Restrictions


                                                                         -iii-
      CG&R DRAFT: 12/15/10 11:13 PM                                                                             #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47    Main Document
                                                Pg 688 of 771


174   EXHIBITS:

175   Exhibit A — Form of Assignment and Acceptance
176   Exhibit B — Form of Guarantee and Collateral Agreement
177   Exhibit C — Form of Solvency Certificate




                                                    -iv-
      CG&R DRAFT: 12/15/10 11:13 PM                                     #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                Pg 689 of 771


178                                  REVOLVING CREDIT AGREEMENT dated as of December 22, 2010
179                            among AMERICAN MEDIA, INC., the LENDERS party hereto, and JPMOR-
180                            GAN CHASE BANK, N.A., as Administrative Agent.

181                                                R E C I T A L S:

182                    A.       On November 17, 2010, American Media, Inc. and the then-existing Loan Parties
183   filed voluntary petitions for reorganization under Chapter 11 of the United States Bankruptcy Code (11
184   U.S.C. §§ 101-1532, as amended, the “Bankruptcy Code”) in the United States Bankruptcy Court for the
185   Southern District of New York (the “Bankruptcy Court”), jointly administered as Case No. 10-16140 and
186   continued in the possession of their property and in the management of their businesses pursuant to Sec-
187   tions 1107 and 1108 of the Bankruptcy Code (the “Bankruptcy Cases”).

188                  B.      On December [15], 2010, the then-existing Loan Parties filed their Amended
189   Joint Prepackaged Plan of Reorganization under Chapter 11 of the Bankruptcy Code (the “Reorganization
190   Plan”).

191                    C.      The Reorganization Plan proposes, among other things and the Borrower has du-
192   ly authorized, the issuance of $[140.0] million aggregate principal amount of the Borrower’s second lien
193   senior secured notes due 2018 (the “Second Lien Notes”).

194                   D.       On November 17, 2010, American Media, Inc. and the backstop purchasers party
195   thereto (the “Backstop Parties”) entered into an agreement pursuant to which, among other things, the
196   Backstop Parties, in order to facilitate the Reorganization Plan, agreed to purchase certain amounts of
197   Second Lien Notes.

198                  E.       On December [20], 2010, the Bankruptcy Court entered the order confirming the
199   Reorganization Plan (the “Confirmation Order”) pursuant to which, among other things, the Bankruptcy
200   Court approved the Emergence Transactions.

201                  F.      On the date hereof, concurrently with the effectiveness of this Agreement, the
202   Reorganization Plan shall become effective in accordance with its terms.

203                      G.     In connection with the Emergence Transactions contemplated by the Confirma-
204   tion Order and the Reorganization Plan, the Borrower has requested that Lenders provide a revolving cre-
205   dit facility to the Borrower, and Lenders are willing to provide such credit facility on the terms and condi-
206   tions set forth in this Agreement.

207                   NOW, THERFORE, for the valuable consideration hereby acknowledged, the parties
208   agree as follows:

209                                                   ARTICLE I
210
211                                                   Definitions

212                  SECTION 1.01.        Defined Terms. As used in this Agreement, the following terms have
213   the meanings specified below:

214                   “ABR”, when used in reference to any Loan or Borrowing, refers to whether such Loan,
215   or the Loans comprising such Borrowing, are bearing interest at a rate determined by reference to the Al-
216   ternate Base Rate.




      CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 690 of 771


217                     “Adjusted LIBO Rate” means, with respect to any Eurodollar Borrowing for any Interest
218   Period, an interest rate per annum (rounded upwards, if necessary, to the next 1/100 of 1%) equal to the
219   greater of (a) the LIBO Rate for such Interest Period multiplied by the Statutory Reserve Rate or
220   (b) 2.00%.

221                     “Administrative Agent” means JPMorgan Chase Bank, N.A., in its capacity as adminis-
222   trative agent for the Lenders hereunder, and any successor in such capacity.

223                  “Administrative Questionnaire” means an Administrative Questionnaire in a form sup-
224   plied by the Administrative Agent.

225                   “Affiliate” means, with respect to a specified Person, another Person that directly, or indi-
226   rectly through one or more intermediaries, Controls or is Controlled by or is under common Control with
227   the Person specified.

228                    “Aggregate Revolving Commitments” means the Revolving Commitments of all the
229   Lenders.

230                    “Alternate Base Rate” means, for any day, a rate per annum equal to the greatest of
231   (a) the Prime Rate in effect on such day, (b) the Federal Funds Effective Rate in effect on such day plus ½
232   of 1% and (c) the Adjusted LIBO Rate (giving effect to clause (b) of the definition thereof, if applicable)
233   for a one month Interest Period on such day (or if such day is not a Business Day, the immediately pre-
234   ceding Business Day) plus 1%, provided that, for the avoidance of doubt, the LIBO Rate for any day shall
235   be based on the rate appearing on the Reuters Screen LIBOR 01 Page (or on any successor or substitute
236   page of such page) at approximately 11:00 a.m. London time on such day. Any change in the Alternate
237   Base Rate due to a change in the Prime Rate, the Federal Funds Effective Rate or such LIBO Rate shall
238   be effective from and including the effective date of such change in the Prime Rate, the Federal Funds
239   Effective Rate or such LIBO Rate, respectively.

240                   “Anti-Terrorism Laws” means any Applicable Law related to terrorism financing or
241   money laundering, including the USA Patriot Act, the Currency and Foreign Transaction Reporting Act
242   (also known as the “Bank Secrecy Act”, 31 U.S.C. §§ 5311-5330 and 12 U.S.C. §§ 1818(s), 1820(b) and
243   1951-1959), the Trading With the Enemy Act (50 U.S.C. § 1 et seq., as amended) and Executive Order
244   13224 (effective September 24, 2001).

245                     “Applicable Law” means all applicable provisions of constitutions, laws, statutes, ordin-
246   ances, rules, treaties, regulations, permits, licenses, approvals, interpretations and order of courts or Go-
247   vernmental Authorities and all orders and decrees of all courts and arbitrators.

248                    “Applicable Percentage” means, with respect to any Revolving Lender, the percentage of
249   the total Revolving Commitments represented by such Lender’s Revolving Commitment. If the Revolv-
250   ing Commitments have terminated or expired, the Applicable Percentages shall be determined based upon
251   the Revolving Commitments most recently in effect, giving effect to any assignments.

252                    “Applicable Period” has the meaning ascribed to such term in the definition of Applica-
253   ble Rate.

254                   “Applicable Rate” means with respect to any ABR Loan or Eurodollar Loan that is a Re-
255   volving Loan or any ABR Loan that is a Swingline Loan, or with respect to the commitment fees payable
256   hereunder, as the case may be, (A) until the first Business Day following the delivery of financial state-
257   ments pursuant to Section 5.01(a) for the fiscal quarter ended [March 31], 2011, the rate per annum set


                                                           -2-
      CG&R DRAFT: 12/15/10 11:13 PM                                                   #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116        Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                  Pg 691 of 771


258   forth below by reference to Category 1, and (B) thereafter, the rate per annum set forth below under the
259   caption “ABR Spread” or “Eurodollar Spread” or “Revolving Commitment Fee Rate”, as the case may
260   be, based upon the First Lien Leverage Ratio as of the most recent determination date:

                                                        ABR           Eurodollar        Revolving
                    First Lien Leverage Ratio:         Spread          Spread       Commitment Fee Rate
                            Category 1                 5.00%            6.00%               0.75%
                     Greater than or equal to
                            2.50 to 1.00
                            Category 2                 4.75%            5.75%               0.625%
                 Less than 2.50 to 1.00 but greater
                   than or equal to 1.50 to 1.00
                            Category 3                 4.50%            5.50%               0.50%
                       Less than 1.50 to 1.00
261
262   Any increase or decrease in the Applicable Rate resulting from a change in the First Lien Leverage Ratio
263   shall become effective as of the first Business Day immediately following the date a certificate of a Fi-
264   nancial Officer of the Borrower is delivered pursuant to Section 5.01(c); provided that, at the option of the
265   Administrative Agent or the Required Lenders, the higher pricing level shall apply (x) as of the first Busi-
266   ness Day after the date on which a certificate of a Financial Officer of the Borrower was required to have
267   been delivered but was not delivered, and shall continue to so apply to and including the date on which
268   such certificate of a Financial Officer of the Borrower is so delivered (and thereafter the pricing level oth-
269   erwise determined in accordance with this definition shall apply) and (y) as of the first Business Day after
270   an Event of Default under Section 7.01 shall have occurred and be continuing, and shall continue to so
271   apply to but excluding the date on which such Event of Default is cured or waived (and thereafter the
272   pricing level otherwise determined in accordance with this definition shall apply).

273                     In the event that any financial statements under Section 5.01 or a certificate of a Financial
274   Officer of the Borrower delivered pursuant to Section 5.01(c) is shown to be inaccurate at any time that
275   this Agreement is in effect and any Loans or Revolving Commitments are outstanding hereunder when
276   such inaccuracy is discovered or within 91 days after the date on which all Loans have been repaid and all
277   Revolving Commitments have been terminated, and such inaccuracy, if corrected, would have led to a
278   higher Applicable Rate for any period (an “Applicable Period”) than the Applicable Rate applied for such
279   Applicable Period, then (i) the Borrower shall promptly (and in no event later than five (5) Business Days
280   thereafter) deliver to the Administrative Agent a correct certificate of a Financial Officer of the Borrower
281   for such Applicable Period, (ii) the Applicable Rate shall be determined by reference to the corrected cer-
282   tificate of a Financial Officer of the Borrower (but in no event shall the Lenders owe any amounts to the
283   Borrower), and (iii) the Borrower shall pay to the Administrative Agent promptly upon demand (and in
284   no event later than five (5) Business Days after demand) any additional interest owing as a result of such
285   increased Applicable Rate for such Applicable Period, which payment shall be promptly applied by the
286   Administrative Agent in accordance with the terms hereof. Notwithstanding anything to the contrary in
287   this Agreement, any additional interest hereunder shall not be due and payable until demand is made for
288   such payment pursuant to clause (iii) above and accordingly, any nonpayment of such interest as result of
289   any such inaccuracy shall not constitute a Default (whether retroactively or otherwise), and no such
290   amounts shall be deemed overdue (and no amounts shall accrue interest at the Default Rate), at any time
291   prior to the date that is five (5) Business Days following such demand.

292                    “Approved Fund” has the meaning set forth in Section 9.04.

293                    “Arrangers” means J.P. Morgan Securities LLC, Deutsche Bank Securities Inc. and Cre-
294   dit Suisse Securities (USA) LLC.

                                                            -3-
      CG&R DRAFT: 12/15/10 11:13 PM                                                   #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 692 of 771


295                   “Assignment and Acceptance” means an assignment and acceptance entered into by a
296   Lender and an assignee (with the consent of any party whose consent is required by Section 9.04), and
297   accepted by the Administrative Agent, in the form of Exhibit A or any other form approved by the Ad-
298   ministrative Agent.

299                   “Bankruptcy Cases” has the meaning set forth in Recital A hereto.

300                   “Bankruptcy Code” has the meaning set forth in Recital A hereto.

301                   “Bankruptcy Court” has the meaning set forth in Recital A hereto

302                   “Board” means the Board of Governors of the Federal Reserve System of the United
303   States of America.

304                   “Borrower” means American Media Operations, Inc., a Delaware corporation.

305                   “Borrowing” means (a) Revolving Loans of the same Type, made, converted or contin-
306   ued on the same date and, in the case of Eurodollar Loans, as to which a single Interest Period is in effect,
307   or (b) a Swingline Loan.

308                   “Borrowing Request” means a request by the Borrower for a Borrowing in accordance
309   with Section 2.03.

310                  “Business Day” means any day that is not a Saturday, Sunday or other day on which
311   commercial banks in New York City are authorized or required by law to remain closed; provided that,
312   when used in connection with a Eurodollar Loan, the term “Business Day” shall also exclude any day on
313   which banks are not open for dealings in dollar deposits in the London interbank market.

314                    “Capital Lease Obligations” of any Person means the obligations of such Person to pay
315   rent or other amounts under any lease of (or other arrangement conveying the right to use) real or personal
316   property, or a combination thereof, which obligations are required to be classified and accounted for as
317   capital leases on a balance sheet of such Person under GAAP, and the amount of such obligations shall be
318   the capitalized amount thereof determined in accordance with GAAP.

319                   “Cash Collateral” has the meaning set forth in Section 2.05(j).

320                   “Change in Control” means:

321                    (a)     at any time prior to the consummation of a Qualified IPO, any combination of
322           Permitted Holders shall fail to own beneficially (within the meaning of Rules 13d-3 and 13d-5
323           under the Exchange Act), directly or indirectly, in the aggregate Equity Interests representing at
324           least a majority of the aggregate ordinary voting power represented by the issued and outstanding
325           Equity Interests of the Borrower;

326                    (b)     at any time after the consummation of a Qualified IPO, (i) (A) any “person” (as
327           such term is used in Sections 13(d) and 14(d) of the Exchange Act), other than one or more Per-
328           mitted Holders, being or becoming the “beneficial owner” (as defined in Rules 13d-3 and 13d-5
329           under the Exchange Act except that for purposes of this paragraph (c)(i)(A) a person shall be
330           deemed to have “beneficial ownership” of all shares that such person has the right to acquire,
331           whether such right is exercisable immediately or only after the passage of time), directly or indi-
332           rectly, of more than 35% of the total voting power of the voting Equity Interests of the Borrower


                                                           -4-
      CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                                 Pg 693 of 771


333           and (B) the Permitted Holders “beneficially own” (as defined in clause (A) above), directly or in-
334           directly, in the aggregate a lesser percentage of the total voting power of the voting Equity Inter-
335           ests of the Borrower than such other person or, (ii) during any period of two consecutive years,
336           individuals who at the beginning of such period constituted the board of directors of the Borrower
337           (together with any new directors whose election by such board of directors of the Borrower or
338           whose nomination for election by the stockholders of the Borrower was approved by a vote of at
339           least 66-2/3% of the directors of the Borrower then still in office who were either directors at the
340           beginning of such period or whose nomination for election was previously so approved) ceasing
341           for any reason to constitute a majority of the board of directors of the Borrower, or

342                   (c)      the occurrence of a “Change in Control” (or any similar event as defined therein),
343           as defined in the Senior Secured Note Indenture, the Second Lien Indenture and any Permitted
344           Refinancing Indebtedness with respect thereto.

345                   “Change in Law” means (a) the adoption of any law, rule or regulation after the Effective
346   Date, (b) any change in any law, rule or regulation or in the interpretation or application thereof by any
347   Governmental Authority after the Effective Date or (c) compliance by any Lender or the Issuing Bank (or,
348   for purposes of Section 2.15(b), by any lending office of such Lender or by such Lender’s or the Issuing
349   Bank’s holding company, if any) with any request, guideline or directive (whether or not having the force
350   of law) of any Governmental Authority made or issued after the Effective Date.

351                    “Charges” has the meaning set forth in Section 9.13.

352                  “Class”, when used in reference to any Loan or Borrowing, refers to whether such Loan,
353   or the Loans comprising such Borrowing, are Revolving Loans or Swingline Loans.

354                     “Closing Date Material Adverse Effect” means any fact, event, change, effect, develop-
355   ment, condition or occurrence that has had or would reasonably be expected to have a material adverse
356   effect on or with respect to the business, assets, liabilities, financial conditions or results of operations of
357   the Borrower, taken as whole; provided that none of the following (or the effects or results thereof) in and
358   of itself shall constitute or shall be considered in determining whether there shall have occurred a Closing
359   Date Material Adverse Effect: (i) the commencement of the Bankruptcy Cases, (ii) any change in law or
360   accounting standards or interpretations thereof applicable to the Borrower; (iii) general changes in eco-
361   nomic, business or political conditions; (iv) general changes in the securities, credit or financial markets
362   or in the banking industry; (v) general changes in the business in which the Borrower operates and (vi)
363   any acts of god, natural disasters or acts or war, terrorism, insurrection or civil disobedience.

364                    “Code” means the Internal Revenue Code of 1986, as amended.

365                    “Collateral” means any and all “Collateral”, as defined in any applicable Security Docu-
366   ment.

367                     “Consolidated EBITDA” means, for any period, Consolidated Net Income for such pe-
368   riod (adjusted to exclude any extraordinary losses, charges or gains and to exclude any gain or loss recog-
369   nized in connection with the sale of any assets outside the ordinary course of business), plus, without dup-
370   lication and to the extent deducted in determining Consolidated Net Income, the sum of (a) the aggregate
371   amount of interest expense for such period, (b) the aggregate amount of income tax expense for such pe-
372   riod, (c) all amounts attributable to depreciation, amortization (including such amortization associated
373   with capitalized or short term display rack costs) and other noncash charges (excluding any such charge
374   that (i) consists of or requires an accrual of, or cash reserve for, any anticipated cash charges for any prior
375   or in any future period or (ii) consists of a writedown or writeoff of any current assets) for such period,


                                                            -5-
      CG&R DRAFT: 12/15/10 11:13 PM                                                    #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                                 Pg 694 of 771


376   including the amortization of debt discounts and deferred financing charges, (d) restructuring charges,
377   reserves or expenses (which, for the avoidance of doubt, shall include, without limitation, the effect of
378   inventory optimization programs, facility consolidations, retention, headcount reductions, systems estab-
379   lishment costs, contract termination costs, future lease commitments, excess pension charges and ex-
380   penses and charges relating to severance, relocation and the discontinuation of titles), in each case, not
381   exceeding (i) $10,000,000 in the aggregate under this clause (d) for any four consecutive fiscal quarter
382   period for which Consolidated EBITDA is calculated ending on or prior to March 31, 2012 and (ii)
383   $5,000,000 in the aggregate under this clause (d) for any four consecutive fiscal quarter period for which
384   Consolidated EBITDA is calculated ending after March 31, 2012, (e) cash expenses in connection with
385   the Emergence Transactions, and (f) any charges or credits relating to the adoption of fresh start account
386   principles. For purposes of calculating Consolidated EBITDA for any period (each, a “Reference Pe-
387   riod”) in connection with a determination of the First Lien Leverage Ratio for such period, if during such
388   Reference Period (or, in the case of pro forma calculations, during the period from the last day of such
389   Reference Period to and including the date as of which such calculation is made) the Borrower or any Re-
390   stricted Subsidiary shall have made a Permitted Acquisition, an investment permitted under Section 6.04
391   or a disposition of assets (collectively, “Subject Transactions”), Consolidated EBITDA for such Refer-
392   ence Period shall be calculated after giving pro forma effect thereto as if such Subject Transaction oc-
393   curred on the first day of such Reference Period (with the Reference Period for the purposes of pro forma
394   calculations being the most recent period of four consecutive fiscal quarters for which the relevant finan-
395   cial information is available); provided that such pro forma calculations shall give effect to operating ex-
396   pense reductions and other cost savings only to the extent that such reductions and savings are either in
397   accordance with Article 11 of Regulation S-X or, in the good faith determination of a Financial Officer of
398   the Borrower, are expected to be realized within 12 months of the Subject Transaction and otherwise
399   would be in accordance with Article 11 of Regulation S-X.

400                    Notwithstanding the foregoing, for purposes of determining Consolidated EBITDA for
401   any period that includes any fiscal quarter ended on a date set forth below (including, without limitation,
402   for the purposes of Section 6.12), Consolidated EBITDA for such fiscal quarter shall mean the amount set
403   forth below corresponding to such fiscal quarter:

                  Fiscal Quarter End                  Consolidated EBITDA

                  December 31, 2009                        $23,400,000
                  March 31, 2010                           $34,300,000
                  June 30, 2010                            $27,200,000
                  September 30, 2010                       $29,200,000
404
405                     “Consolidated Leverage Ratio” means, on any date, the ratio of (a) Total Debt as of such
406   date to (b) Consolidated EBITDA for the period of four consecutive fiscal quarters ended on such date
407   (or, if such date is not the last day of a fiscal quarter, then for the period of four consecutive fiscal quar-
408   ters most recently ended prior to that date for which internal financial statements are available), all deter-
409   mined on a consolidated basis in accordance with GAAP.

410                    “Consolidated Net Income” means, for any period, net income or loss of the Borrower
411   and the Restricted Subsidiaries for such period determined on a consolidated basis in accordance with
412   GAAP; provided that there shall be excluded (a) the income of any Person in which any other Person
413   (other than the Borrower or any of the Restricted Subsidiaries or any director holding qualifying shares in
414   compliance with applicable law) has an ownership interest, except to the extent of the amount of divi-
415   dends or other distributions actually paid to the Borrower or any of the Restricted Subsidiaries by such
416   Person during such period, (b) except as otherwise provided in the definition of Consolidated EBITDA,
417   the income (or loss) of any Person accrued prior to the date it becomes a Restricted Subsidiary or is


                                                            -6-
      CG&R DRAFT: 12/15/10 11:13 PM                                                    #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                Pg 695 of 771


418   merged into or consolidated with the Borrower or any of the Restricted Subsidiaries or the date that Per-
419   son’s assets are acquired by the Borrower or any of the Restricted Subsidiaries, (c) the cumulative effect
420   of a change in accounting principles, (d) any net after-tax income (loss) from the early extinguishment of
421   Indebtedness, Hedging Agreements or other derivative instruments, and (e) any fees and expenses in-
422   curred during such period, or any amortization thereof for such period, in connection with any acquisition,
423   disposition, recapitalization, investment, asset sale, issuance or repayment of Indebtedness, issuance of
424   Equity Interests, refinancing transaction or amendment or modification of any debt instrument (in each
425   case, including any such transaction undertaken but not completed) and any charges or non-recurring
426   merger costs incurred during such period as a result of any such transaction.

427                    “Control” means the possession, directly or indirectly, of the power to direct or cause the
428   direction of the management or policies of a Person, whether through the ability to exercise voting power,
429   by contract or otherwise. “Controlling” and “Controlled” have meanings correlative thereto.

430                   “Default” means any event or condition which constitutes an Event of Default or which
431   upon notice, lapse of time or both would, unless cured or waived, become an Event of Default.

432                    “Defaulting Lender” means, subject to Section 2.21(c), any Lender, as determined by the
433   Administrative Agent, that has (a) failed to fund any portion of its Loans or participations in Letters of
434   Credit or Swingline Loans within three Business Days of the date required to be funded by it hereunder,
435   (b) notified the Borrower, the Administrative Agent, the Issuing Bank, the Swingline Lender or any
436   Lender in writing that it does not intend to comply with any of its funding obligations under this Agree-
437   ment or has made a public statement to the effect that it does not intend to comply with its funding obliga-
438   tions under this Agreement or under other agreements in which it commits to extend credit, (c) failed,
439   within three Business Days after request by the Administrative Agent, to confirm that it will comply with
440   the terms of this Agreement relating to its obligations to fund prospective Loans and participations in then
441   outstanding Letters of Credit and Swingline Loans, (d) otherwise failed to pay over to the Administrative
442   Agent or any other Lender any other amount required to be paid by it hereunder within three Business
443   Days of the date when due, unless the subject of a good faith dispute, or (e)(i) become or is insolvent or
444   has a parent company that has become or is insolvent or (ii) become the subject of a bankruptcy or insol-
445   vency proceeding, or has had a receiver, conservator, trustee or custodian appointed for it, or has taken
446   any action in furtherance of, or indicating its consent to, approval of or acquiescence in any such proceed-
447   ing or appointment or has a parent company that has become the subject of a bankruptcy or insolvency
448   proceeding, or has had a receiver, conservator, trustee or custodian appointed for it, or has taken any ac-
449   tion in furtherance of, or indicating its consent to, approval of or acquiescence in any such proceeding or
450   appointment.

451                    “Disclosed Matters” means the actions, suits and proceedings and the environmental mat-
452   ters disclosed in Schedule 3.06.

453                    “Disqualified Stock” means, with respect to any Person, any Equity Interest which by its
454   terms (or by the terms of any security into which it is convertible or for which it is exchangeable or exer-
455   cisable) or upon the happening of any event:

456                   (a)      matures or is mandatorily redeemable pursuant to a sinking fund obligation or
457           otherwise;

458                   (b)      is convertible or exchangeable for Indebtedness or Disqualified Stock (excluding
459           Equity Interests convertible or exchangeable solely at the option of the Borrower or a Restricted
460           Subsidiary; provided that any such conversion or exchange shall be deemed an issuance of Dis-
461           qualified Stock, as applicable); or


                                                           -7-
      CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 696 of 771


462                    (c)      is redeemable, or subject to mandatory purchase by the Borrower or any Subsidi-
463           ary, at the option of the holder thereof, in whole or in part;

464   in each case, on or prior to the date that is 91 days after the Maturity Date.

465                    “dollars” or “$” refers to lawful money of the United States of America.

466                    “Effective Date” means the date on which the conditions specified in Section 4.01 are sa-
467   tisfied (or waived in accordance with Section 9.02).

468                     “Embargoed Person” means any party that (i) is publicly identified on the most current
469   list of “Specially Designated Nationals and Blocked Persons” published by the U.S. Treasury Depart-
470   ment’s Office of Foreign Control (“OFAC”) or resides, is organized or chartered, or has a place of busi-
471   ness in a country or territory subject to OFAC sanctions or embargo programs or (ii) is publicly identified
472   as prohibited from doing business with the United States under the International Emergency Economic
473   Powers Act, the Trading With the Enemy Act, or any other Applicable Law.

474                     “Emergence Transactions” means, collectively, (a) the consummation of the Reorganiza-
475   tion Plan and the other transactions contemplated by the Confirmation Order to be consummated on the
476   Effective Date, (b) the entering into by the Loan Parties of the documents related to the Exit Financing to
477   which they are or are intended to be a party, and the borrowings hereunder and thereunder on the Effec-
478   tive Date and application of the proceeds as contemplated hereby and thereby, (c) the repayment or satis-
479   faction in full and termination of all Indebtedness required by the Reorganization Plan to be repaid or sa-
480   tisfied and canceled on the Effective Date and (d) the payment of the fees and expenses incurred in con-
481   nection with the consummation of the foregoing that are required to be paid on the Effective Date.

482                    “Environmental Laws” means all laws, rules, regulations, codes, ordinances, orders, de-
483   crees, judgments, injunctions, notices or binding agreements issued, promulgated or entered into by any
484   Governmental Authority, relating in any way to the environment, preservation or reclamation of natural
485   resources or the management, release or threatened release of any Hazardous Material.

486                      “Environmental Liability” means any liability, loss, cost or damage, contingent or other-
487   wise (including any liability, loss, cost or damage for environmental remediation, fines, penalties or in-
488   demnities), of the Borrower or any Subsidiary directly or indirectly resulting from or based upon
489   (a) violation of any Environmental Law, (b) the generation, use, handling, transportation, storage, treat-
490   ment or disposal of any Hazardous Materials, (c) exposure to any Hazardous Materials, (d) the release or
491   threatened release of any Hazardous Materials into the environment or within or upon any building, struc-
492   ture, facility or fixture or (e) any contract, agreement or other consensual arrangement pursuant to which
493   liability is assumed or imposed with respect to any of the foregoing.

494                     “Equity Interests” means shares of capital stock, partnership interests, membership inter-
495   ests in a limited liability company, beneficial interests in a trust or other equity ownership interests in a
496   Person.

497                   “ERISA” means the Employee Retirement Income Security Act of 1974, as amended
498   from time to time.

499                    “ERISA Affiliate” means any trade or business (whether or not incorporated) that, to-
500   gether with the Borrower, is treated as a single employer under Section 414(b) or (c) of the Code or, sole-
501   ly for purposes of Section 302 of ERISA and Section 412 of the Code, is treated as a single employer un-
502   der Section 414 of the Code.


                                                            -8-
      CG&R DRAFT: 12/15/10 11:13 PM                                                    #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 697 of 771


503                    “ERISA Event” means (a) any “reportable event”, as defined in Section 4043 of ERISA
504   or the regulations issued thereunder with respect to a Plan (other than an event for which the 30-day no-
505   tice period is waived); (b) the failure to satisfy the minimum funding standard under Section 430 of the
506   Code or Section 303 of ERISA or a failure to make a required contribution to a Multiemployer Plan
507   whether or not waived; (c) the filing pursuant to Section 412(c) of the Code or Section 302(c) of ERISA
508   of an application for a waiver of the minimum funding standard with respect to any Plan; (d) the incur-
509   rence by the Borrower, any Subsidiary or any of their ERISA Affiliates of any liability under Title IV of
510   ERISA with respect to the termination of any Plan; (e) the receipt by the Borrower, any Subsidiary or any
511   ERISA Affiliate from the PBGC or a plan administrator of any notice relating to an intention to terminate
512   any Plan or Plans or to appoint a trustee to administer any Plan; (f) the incurrence by the Borrower, any
513   Subsidiary or any of their ERISA Affiliates of any liability with respect to the withdrawal or partial with-
514   drawal from any Plan or Multiemployer Plan; or (g) the receipt by the Borrower, any Subsidiary or any
515   ERISA Affiliate of any notice, or the receipt by any Multiemployer Plan from the Borrower, any Subsidi-
516   ary or any ERISA Affiliate of any notice, concerning the imposition of Withdrawal Liability or a deter-
517   mination that a Multiemployer Plan is, or is expected to be, insolvent or in reorganization, within the
518   meaning of Title IV of ERISA; (h) a withdrawal by Borrower, any Subsidiary or any ERISA Affiliate
519   from a Pension Plan subject to Section 4063 of ERISA during a plan year in which it was a substantial
520   employer (as defined in Section 4001(a)(2) of ERISA) or a cessation of operations that is treated as such a
521   withdrawal under Section 4062(e) of ERISA; (i) the occurrence of a nonexempt prohibited transaction
522   with respect to an employee benefit plan maintained or contributed to by a Borrower, any Subsidiary or
523   any ERISA Affiliate (within the meaning of Section 4975 of the Code or Section 406 of ERISA) which
524   could result in material liability to Borrower, any Subsidiary or any ERISA Affiliate; or (j) an event or
525   condition which constitutes grounds under Section 4042 of ERISA for the termination of, or the appoint-
526   ment of a trustee to administer, any Plan or Multiemployer Plan.

527                   “Eurodollar”, when used in reference to any Loan or Borrowing, refers to whether such
528   Loan, or the Loans comprising such Borrowing, are bearing interest at a rate determined by reference to
529   the Adjusted LIBO Rate.

530                    “Event of Default” has the meaning assigned to such term in Article VII.

531                    “Exchange Act” means the Securities Exchange Act of 1934, as amended.

532                      “Excluded Taxes” means, with respect to the Administrative Agent, any Lender, the Is-
533   suing Bank or any other recipient of any payment to be made by or on account of any obligation of the
534   Borrower hereunder, (a) income or franchise taxes imposed on (or measured by) its net income by the
535   United States of America, or by the jurisdiction under the laws of which such recipient is organized or in
536   which its principal office is located or, in the case of any Lender, in which its applicable lending office is
537   located, (b) any branch profits taxes imposed by the United States of America or any similar tax imposed
538   by any other jurisdiction described in clause (a) above and (c) in the case of a Foreign Lender (other than
539   an assignee pursuant to a request by the Borrower under Section 2.19(b)), any U.S. federal withholding
540   tax that (i) is in effect and would apply to amounts payable to such Foreign Lender at the time such For-
541   eign Lender becomes a party to this Agreement (or designates a new lending office), except to the extent
542   that such Foreign Lender (or its assignor, if any) was entitled, at the time of designation of a new lending
543   office (or assignment), to receive additional amounts from the Borrower with respect to any withholding
544   tax pursuant to Section 2.17(a), or (ii) is attributable to such Foreign Lender’s failure to comply with Sec-
545   tion 2.17(e).

546                    “Exit Financing” means that certain financing to finance the Reorganization Plan com-
547   prised of this Agreement, the Senior Secured Notes and the Second Lien Notes.



                                                           -9-
      CG&R DRAFT: 12/15/10 11:13 PM                                                   #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 698 of 771


548                    “Federal Funds Effective Rate” means, for any day, the weighted average (rounded up-
549   wards, if necessary, to the next 1/100 of 1%) of the rates on overnight Federal funds transactions with
550   members of the Federal Reserve System arranged by Federal funds brokers, as published on the next suc-
551   ceeding Business Day by the Federal Reserve Bank of New York, or, if such rate is not so published for
552   any day that is a Business Day, the average (rounded upwards, if necessary, to the next 1/100 of 1%) of
553   the quotations for such day for such transactions received by the Administrative Agent from three Federal
554   funds brokers of recognized standing selected by it.

555                    “Financial Officer” means the chief financial officer, principal accounting officer, trea-
556   surer or controller of the Borrower.

557                   “First Lien Intercreditor Agreement” means the First Lien Intercreditor Agreement dated
558   on or about the Effective Date among the Administrative Agent, the Senior Secured Notes Collateral
559   Agent, the Borrower and each other Guarantor named therein, as such agreement may be amended, res-
560   tated, supplemented or otherwise modified from time to time.

561                     “First Lien Leverage Ratio” means, on any date, the ratio of (a) Total First Lien Debt as
562   of such date to (b) Consolidated EBITDA for the period of four consecutive fiscal quarters ended on such
563   date (or, if such date is not the last day of a fiscal quarter, then for the period of four consecutive fiscal
564   quarters most recently ended prior to that date), all determined on a consolidated basis in accordance with
565   GAAP.

566                    “Foreign Lender” means any Lender that is organized under the laws of a jurisdiction
567   other than that in which the Borrower is located. For purposes of this definition, the United States of
568   America, each State thereof and the District of Columbia shall be deemed to constitute a single jurisdic-
569   tion.

570                    “Foreign Subsidiary” means any Subsidiary that is organized under the laws of a jurisdic-
571   tion other than the United States of America or any State thereof or the District of Columbia.

572                     “GAAP” means generally accepted accounting principles in the United States which are
573   in effect on the Effective Date. At any time after the Effective Date, the Borrower may elect to apply
574   IFRS accounting principles in lieu of GAAP and, upon any such election, references herein to GAAP
575   shall thereafter be construed to mean IFRS (except as otherwise provided in this Agreement); provided
576   that any such election, once made, shall be irrevocable; provided, further, any calculation or determina-
577   tion in this Agreement that requires the application of GAAP for periods that include fiscal quarters ended
578   prior to the Borrower’s election to apply IFRS shall remain as previously calculated or determined in ac-
579   cordance with GAAP. The Borrower shall give written notice of any such election made in accordance
580   with this definition to the Administrative Agent.

581                    “Governmental Authority” means the government of the United States of America, any
582   other nation or any political subdivision thereof, whether state or local, and any agency, authority, instru-
583   mentality, regulatory body, court, central bank or other entity exercising executive, legislative, judicial,
584   taxing, regulatory or administrative powers or functions of or pertaining to government.

585                    “Guarantee” of or by any Person (the “guarantor”) means any obligation, contingent or
586   otherwise, of the guarantor guaranteeing or having the economic effect of guaranteeing any Indebtedness
587   or other obligation of any other Person (the “primary obligor”) in any manner, whether directly or indi-
588   rectly, and including any obligation of the guarantor, direct or indirect, (a) to purchase or pay (or advance
589   or supply funds for the purchase or payment of) such Indebtedness or other obligation or to purchase (or
590   to advance or supply funds for the purchase of) any security for the payment thereof, (b) to purchase or


                                                           -10-
      CG&R DRAFT: 12/15/10 11:13 PM                                                   #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 699 of 771


591   lease property, securities or services for the purpose of assuring the owner of such Indebtedness or other
592   obligation of the payment thereof, (c) to maintain working capital, equity capital or any other financial
593   statement condition or liquidity of the primary obligor so as to enable the primary obligor to pay such In-
594   debtedness or other obligation or (d) as an account party in respect of any letter of credit or letter of gua-
595   ranty issued to support such Indebtedness or obligation; provided that the term Guarantee shall not in-
596   clude endorsements for collection or deposit in the ordinary course of business.

597                     “Guarantee and Collateral Agreement” means the Guarantee and Collateral Agreement,
598   substantially in the form of Exhibit B, among the Loan Parties and the Administrative Agent for the bene-
599   fit of the Secured Parties, as such agreement may be amended, modified, restated or supplemented from
600   time to time in accordance with its terms.

601                    “Hazardous Materials” means all explosive or radioactive substances or wastes and all
602   hazardous or toxic substances, wastes or other pollutants, including petroleum or petroleum distillates,
603   asbestos or asbestos containing materials, polychlorinated biphenyls, radon gas, anthrax and anthrax-
604   causing agents, infectious or medical wastes and all other substances or wastes of any nature regulated
605   pursuant to any Environmental Law.

606                 “Hedging Agreement” means any interest rate protection agreement, foreign currency ex-
607   change agreement, commodity price protection agreement or other interest or currency exchange rate or
608   commodity price hedging arrangement.

609                     “Indebtedness” of any Person means, without duplication, (a) all obligations of such Per-
610   son for borrowed money or with respect to deposits or advances of any kind, (b) all obligations of such
611   Person evidenced by bonds, debentures, notes or similar instruments, (c) all obligations of such Person
612   under conditional sale or other title retention agreements relating to property acquired by such Person,
613   (d) all obligations of such Person in respect of the deferred purchase price of property or services (exclud-
614   ing current accounts payable incurred in the ordinary course of business), (e) all Indebtedness of others
615   secured by (or for which the holder of such Indebtedness has an existing right, contingent or otherwise, to
616   be secured by) any Lien on property owned or acquired by such Person, whether or not the Indebtedness
617   secured thereby has been assumed (it being understood that, unless such Person shall have assumed such
618   Indebtedness, the amount of such Indebtedness shall be the lesser of (x) the fair market value of the prop-
619   erty securing such Indebtedness and (y) the outstanding principal of such Indebtedness), (f) all Guarantees
620   by such Person of Indebtedness of others, (g) all Capital Lease Obligations of such Person, (h) all obliga-
621   tions, contingent or otherwise, of such Person as an account party in respect of letters of credit and letters
622   of guaranty, (i) all obligations under Hedging Agreements, and (j) all obligations, contingent or otherwise,
623   of such Person in respect of bankers’ acceptances. The Indebtedness of any Person shall include the In-
624   debtedness of any other entity (including any partnership in which such Person is a general partner) to the
625   extent such Person is liable therefor as a result of such Person’s ownership interest in or other relationship
626   with such entity, except to the extent the terms of such Indebtedness provide that such Person is not liable
627   therefor.

628                    “Indemnified Taxes” means Taxes other than Excluded Taxes.

629                    “Indemnitee” has the meaning set forth in Section 9.03.

630                    “Intercreditor Agreements” means the First Lien Intercreditor Agreement and the Second
631   Lien Intercreditor Agreement, unless the context otherwise requires.

632                  “Interest Election Request” means a request by the Borrower to convert or continue a Re-
633   volving Borrowing in accordance with Section 2.07.


                                                           -11-
      CG&R DRAFT: 12/15/10 11:13 PM                                                   #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 700 of 771


634                    “Interest Payment Date” means (a) with respect to any ABR Loan (other than a Swingline
635   Loan), the last day of each March, June, September and December and the Maturity Date, (b) with respect
636   to any Eurodollar Loan, the last day of the Interest Period applicable to the Borrowing of which such
637   Loan is a part and the Maturity Date, and, in the case of a Eurodollar Borrowing with an Interest Period of
638   more than three months’ duration, each day prior to the last day of such Interest Period that occurs at in-
639   tervals of three months’ duration after the first day of such Interest Period, and (c) with respect to any
640   Swingline Loan, the day that such Loan is required to be repaid.

641                     “Interest Period” means, with respect to any Eurodollar Borrowing, the period commenc-
642   ing on the date of such Borrowing and ending on the numerically corresponding day in the calendar
643   month that is one, two, three or six months thereafter (or nine or twelve months thereafter if, at the time of
644   the relevant Borrowing, all Lenders participating therein agree to make interest periods of such duration
645   available), as the Borrower may elect; provided that (a) if any Interest Period would end on a day other
646   than a Business Day, such Interest Period shall be extended to the next succeeding Business Day unless
647   such next succeeding Business Day would fall in the next calendar month, in which case such Interest
648   Period shall end on the next preceding Business Day, (b) any Interest Period that commences on the last
649   Business Day of a calendar month (or on a day for which there is no numerically corresponding day in the
650   last calendar month of such Interest Period) shall end on the last Business Day of the last calendar month
651   of such Interest Period and (c) no Interest Period shall extend beyond the Maturity Date. For purposes
652   hereof, the date of a Borrowing initially shall be the date on which such Borrowing is made and thereafter
653   shall be the effective date of the most recent conversion or continuation of such Borrowing.

654                    “Issuing Bank” means JPMorgan Chase Bank, N.A., in its capacity as the issuer of Let-
655   ters of Credit hereunder, and its successors in such capacity as provided in Section 2.05(i). The Issuing
656   Bank may, in its discretion, arrange for one or more Letters of Credit to be issued by Affiliates of the Is-
657   suing Bank, in which case the term “Issuing Bank” shall include any such Affiliate with respect to Letters
658   of Credit issued by such Affiliate.

659                    “Joint Venture” means a joint venture, partnership, or other similar arrangement, whether
660   in corporate, partnership, or other legal form; provided in no event shall any Subsidiary of any Person be
661   considered to be a Joint Venture to which such Person is a party.

662                   “LC Disbursement” means a payment made by the Issuing Bank pursuant to a Letter of
663   Credit.

664                   “LC Exposure” means, at any time, the sum of (a) the aggregate undrawn amount of all
665   outstanding Letters of Credit at such time plus (b) the aggregate amount of all LC Disbursements that
666   have not yet been reimbursed by or on behalf of the Borrower at such time. The LC Exposure of any Re-
667   volving Lender at any time shall be its Applicable Percentage of the total LC Exposure at such time.

668                    “Lenders” means the Persons listed on Schedule 2.01 and any other Person that shall
669   have become a party hereto pursuant to an Assignment and Acceptance, other than any such Person that
670   ceases to be a party hereto pursuant to an Assignment and Acceptance. Unless the context otherwise re-
671   quires, the term “Lenders” includes the Swingline Lender.

672                   “Letter of Credit” means any letter of credit issued pursuant to this Agreement.

673                    “LIBO Rate” means, with respect to any Eurodollar Borrowing for any Interest Period,
674   the rate appearing on Reuters Screen LIBOR 01 Page (or on any successor or substitute page of such ser-
675   vice, or any successor to or substitute for such service, providing rate quotations comparable to those cur-
676   rently provided on such page of such service, as determined by the Administrative Agent from time to


                                                          -12-
      CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 701 of 771


677   time for purposes of providing quotations of interest rates applicable to dollar deposits in the London in-
678   terbank market) at approximately 11:00 a.m., London time, two Business Days prior to the commence-
679   ment of such Interest Period, as the rate for dollar deposits with a maturity comparable to such Interest
680   Period. In the event that such rate is not available at such time for any reason, then the “LIBO Rate” with
681   respect to such Eurodollar Borrowing for such Interest Period shall be the rate at which dollar deposits of
682   $5,000,000 and for a maturity comparable to such Interest Period are offered by the principal London of-
683   fice of the Administrative Agent in immediately available funds in the London interbank market at ap-
684   proximately 11:00 a.m., London time, two Business Days prior to the commencement of such Interest
685   Period.

686                     “Lien” means, with respect to any asset, (a) any mortgage, deed of trust, lien (statutory or
687   otherwise), pledge, hypothecation, encumbrance, charge, preference, priority or security interest in, on or
688   of such asset, whether or not filed, recorded or otherwise perfected under applicable law, including any
689   conditional sale or other title retention agreement, any lease in the nature thereof, any option or other
690   agreement to sell or give a security interest in and any filing of or agreement to give any financing state-
691   ment under the Uniform Commercial Code (or equivalent statutes) of any jurisdiction (other than a filing
692   for informational purposes), (b) the interest of a vendor or a lessor under any conditional sale agreement,
693   capital lease or title retention agreement (or any financing lease having substantially the same economic
694   effect as any of the foregoing) relating to such asset and (c) in the case of securities, any purchase option,
695   call or similar right of a third party with respect to such securities (other than arising from entry into an
696   agreement for the sale, transfer or disposition of Equity Interests as permitted pursuant to Section
697   6.05(d)).

698                    “Loan Documents” means this Agreement, the Guarantee and Collateral Agreement, the
699   First Lien Intercreditor Agreement, the Second Lien Intercreditor Agreement and the other Security Doc-
700   uments.

701                    “Loan Parties” means the Borrower and the Subsidiary Loan Parties.

702                    “Loans” means the loans made by the Lenders to the Borrower pursuant to this Agree-
703   ment..

704                     “Material Adverse Effect” means a material adverse effect on (a) the business, assets, op-
705   erations or condition, financial or otherwise, of the Borrower and the Restricted Subsidiaries taken as a
706   whole, (b) the ability of the Loan Parties to perform any of their obligations under the Loan Documents,
707   or (c) the rights of or benefits available to the Lenders under the Loan Documents; provided that, no Ma-
708   terial Adverse Effect shall be deemed to occur as a result of the Bankruptcy Cases and any effects that
709   may occur as a result thereof.

710                    “Material Indebtedness” means Indebtedness (other than the Loans and Letters of Credit),
711   or obligations in respect of one or more Hedging Agreements, of any one or more of the Borrower and its
712   Restricted Subsidiaries in an aggregate principal amount exceeding $35,000,000. For purposes of deter-
713   mining Material Indebtedness, the “principal amount” of the obligations of the Borrower or any Re-
714   stricted Subsidiary in respect of any Hedging Agreement at any time shall be the maximum aggregate
715   amount (giving effect to any netting agreements) that the Borrower or such Restricted Subsidiary would
716   be required to pay if such Hedging Agreement were terminated at such time.

717                    “Maturity Date” means December 22, 2015.

718                    “Maximum Rate” has the meaning set forth in Section 9.14.



                                                           -13-
      CG&R DRAFT: 12/15/10 11:13 PM                                                   #1052964 v14 (1049414_.DOC)
      10-16140-mg         Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                    Main Document
                                                  Pg 702 of 771


719                    “Moody’s” means Moody’s Investors Service, Inc.

720                  “Mortgage” means a mortgage, deed of trust, assignment of leases and rents, leasehold
721   mortgage or other security document granting a Lien on any Mortgaged Property to secure the Obliga-
722   tions. Each Mortgage shall be satisfactory in form and substance to the Administrative Agent.

723                   “Mortgaged Property” means each parcel of real property and improvements thereto with
724   respect to which a Mortgage is granted pursuant to Section 5.12 or 5.13.

725                    “Multiemployer Plan” means a multiemployer plan as defined in Section 4001(a)(3) of
726   ERISA.

727                      “Net Proceeds” means, with respect to any event (a) the cash proceeds received in respect
728   of such event including (i) any cash received in respect of any non-cash proceeds, but only as and when
729   received, (ii) in the case of a casualty, insurance proceeds, and (iii) in the case of a condemnation or simi-
730   lar event, condemnation awards and similar payments, net of (b) the sum of (i) all reasonable fees and
731   out-of-pocket expenses paid by the Borrower and the Restricted Subsidiaries to third parties (other than
732   Affiliates) in connection with such event, (ii) in the case of a sale, transfer or other disposition of an asset
733   (including pursuant to a sale and leaseback transaction or a casualty or a condemnation or similar pro-
734   ceeding), the amount of all payments required to be made by the Borrower and the Restricted Subsidiaries
735   as a result of such event to repay Indebtedness (other than Loans) secured by such asset or otherwise sub-
736   ject to mandatory prepayment as a result of such event, and (iii) the amount of all taxes paid (or reasona-
737   bly estimated to be payable) by the Borrower and the Restricted Subsidiaries, and the amount of any re-
738   serves established by the Borrower and the Restricted Subsidiaries to fund contingent liabilities reasona-
739   bly estimated to be payable, in each case during the year that such event occurred or the next succeeding
740   year and that are directly attributable to such event (as determined reasonably and in good faith by the
741   Financial Officer of the Borrower).

742                    “Obligations” has the meaning assigned to such term in the Guarantee and Collateral
743   Agreement.

744                     “Offering Memorandum” means the offering memorandum, dated November 16, 2010,
745   relating to the sale of the Senior Secured Notes.

746                     “Other Taxes” means any and all present or future recording, stamp, documentary,
747   excise, transfer, sales, property or similar taxes, charges or levies arising from any payment made under
748   any Loan Document or from the execution, delivery or enforcement of, or otherwise with respect to, any
749   Loan Document.

750                    “Participant” has the meaning set forth in Section 9.04.

751                 “PBGC” means the Pension Benefit Guaranty Corporation referred to and defined in
752   ERISA and any successor entity performing similar functions.

753                   “Perfection Certificate” means a certificate in the form of Exhibit II to the Guarantee and
754   Collateral Agreement or any other form approved by the Administrative Agent.

755                     “Permitted Acquisition” means any acquisition by the Borrower or any Restricted Sub-
756   sidiary of all or substantially all the assets of, or all or substantially all of the outstanding Equity Interests
757   in, a Person or division or line of business of a Person if, (a) immediately prior to, and after giving effect
758   thereto, no Default has occurred and is continuing or would result therefrom, (b) after giving effect there-


                                                             -14-
      CG&R DRAFT: 12/15/10 11:13 PM                                                      #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 703 of 771


759   to, the principal business of such Person shall be reasonably related, ancillary or complementary, to a
760   business in which the Borrower and its Restricted Subsidiaries were engaged on the Effective Date,
761   (c) immediately after giving effect thereto, each Subsidiary formed for the purpose of or resulting from
762   such acquisition shall be a Restricted Subsidiary and all of the Equity Interests of each such Subsidiary
763   shall be owned directly by the Borrower or a Restricted Subsidiary of the Borrower and all actions re-
764   quired to be taken with respect to such acquired or newly formed Subsidiary and its assets under Sec-
765   tions 5.12 and 5.13 have been taken concurrently with such acquisition (notwithstanding any additional
766   time periods permitted by Sections 5.12 and 5.13), other than with regard to the granting of any Mortgag-
767   es required thereunder, which shall be granted within 45 days after such acquisition (or such longer period
768   as may be agreed to by the Administrative Agent), (d) immediately after giving effect thereto, the Bor-
769   rower and its Restricted Subsidiaries are in compliance, on a pro forma basis after giving effect to such
770   acquisition, with the First Lien Leverage Ratio recomputed as at the last day of the most recently ended
771   fiscal quarter of the Borrower for which financial statements are available, as if such acquisition had oc-
772   curred on the first day of each relevant period for testing such compliance, (e) the Borrower shall have
773   delivered to the Administrative Agent an officer’s certificate certifying as to satisfaction of the require-
774   ments set forth in clauses (a), (b), (c), (d) and (e), including reasonably detailed calculations demonstrat-
775   ing satisfaction of the requirement set forth in clause (d) above, together with all relevant financial infor-
776   mation for the Person or assets to be acquired and (e) the acquisition shall have been approved by the
777   board of directors or other governing body or controlling Person of the Person being acquired.

778                   “Permitted Encumbrances” means:

779                    (a)      pledges or deposits by such Person under workmen’s compensation laws, unem-
780           ployment insurance laws or similar legislation, or good faith deposits in connection with bids,
781           tenders, contracts (other than for the payment of Indebtedness) or leases to which such Person is a
782           party, or deposits to secure public or statutory obligations of such Person or deposits of cash or
783           U.S. government bonds to secure surety or appeal bonds to which such Person is a party, or depo-
784           sits as security for contested taxes or import duties or for the payment of rent, in each case in-
785           curred in the ordinary course of business;

786                   (b)      Liens imposed by law, such as carriers’, warehousemen’s and mechanics’ Liens,
787           in each case for sums not yet overdue for a period of more than 30 days or being contested in
788           good faith by appropriate proceedings or other Liens arising out of judgments or awards against
789           such Person with respect to which such Person shall then be proceeding with an appeal or other
790           proceedings for review if adequate reserves with respect thereto are maintained on the books of
791           such Person in accordance with GAAP;

792                    (c)     Liens for taxes, assessments or other governmental charges not yet overdue for a
793           period of more than 30 days or payable or subject to penalties for nonpayment or which are being
794           contested in good faith by appropriate proceedings diligently conducted, if adequate reserves with
795           respect thereto are maintained on the books of such Person in accordance with GAAP;

796                    (d)     Liens in favor of issuers of performance and surety bonds or bid bonds or with
797           respect to other regulatory requirements or letters of credit issued pursuant to the request of and
798           for the account of such Person in the ordinary course of its business;

799                    (e)      minor survey exceptions, minor encumbrances, easements or reservations of, or
800           rights of others for, licenses, rights-of-way, sewers, electric lines, telegraph and telephone lines
801           and other similar purposes, or zoning or other restrictions as to the use of real properties or Liens
802           incidental to the conduct of the business of such Person or to the ownership of its properties
803           which were not incurred in connection with Indebtedness and which do not in the aggregate mate-


                                                          -15-
      CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                                Pg 704 of 771


804           rially adversely affect the value of said properties or materially impair their use in the operation
805           of the business of such Person; and

806                  (f)      judgment liens in respect of judgments that do not constitute an Event of Default
807           under Section 7.01(k);

808   provided that the term “Permitted Encumbrances” shall not include any Lien securing Indebtedness.

809                     “Permitted Holder” means (i) Angelo, Gordon & Co., L.P., (ii) Avenue Capital Manage-
810   ment II, L.P., (iii) Capital Research and Management Company, Capital Guardian Trust Company and
811   Capital International, Inc., (iv) Credit Suisse Securities (USA) LLC, (v) Regiment Capital Management,
812   LLC, (vi) any group (within the meaning of Section 13(d)(3) or 14(d)(2) of the Exchange Act or any suc-
813   cessor provision) of which any of the Permitted Holders specified in clauses (i)-(v) are members, and (vii)
814   the respective Affiliates of each of the foregoing; provided that in the case of any group specified in
815   clause (vi) above, without giving effect to such group, Permitted Holders specified in clauses (i)-(v) and
816   their respective Affiliates must collectively beneficially own a greater amount of the total voting power of
817   the voting stock of the Borrower than the amount of the total voting power of the voting stock of the Bor-
818   rower beneficially owned by any other member of such group.

819                   “Permitted Investments” means:

820                   (1)      United States dollars;

821                   (2)      (a) euro, or any national currency of any particular member of the EMU; or (b) in
822           the case of any Foreign Subsidiary that is a Restricted Subsidiary, such local currencies held by
823           them from time to time in the ordinary course of business;

824                    (3)     securities issued or directly and fully and unconditionally guaranteed or insured
825           by the U.S. government or issued by any agency or instrumentality thereof the securities of which
826           are unconditionally guaranteed as a full faith and credit obligation of such government with ma-
827           turities of 24 months or less from the date of acquisition;

828                   (4)      certificates of deposit, time deposits and eurodollar time deposits with maturities
829           of one year or less from the date of acquisition, bankers’ acceptances with maturities not exceed-
830           ing one year and overnight bank deposits, in each case with any commercial bank having capital
831           and surplus of not less than $500.0 million in the case of U.S. banks and $100.0 million (or the
832           U.S. dollar equivalent as of the date of determination) in the case of non-U.S. banks;

833                   (5)      repurchase obligations for underlying securities of the types described in clauses
834           (3) and (4) entered into with any financial institution meeting the qualifications specified in
835           clause (4) above;

836                   (6)     commercial paper rated at least P-1 by Moody’s or at least A-1 by S&P and in
837           each case maturing within 24 months after the date of creation thereof;

838                    (7)     marketable short-term money market and similar securities having a rating of at
839           least P-2 or A-2 from either Moody’s or S&P, respectively (or, if at any time neither Moody’s nor
840           S&P shall be rating such obligations, an equivalent rating from another Rating Agency) and in
841           each case maturing within 24 months after the date of creation thereof;




                                                          -16-
      CG&R DRAFT: 12/15/10 11:13 PM                                                   #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                Pg 705 of 771


842                   (8)       investment funds investing 95% of their assets in securities of the types described
843           in clauses (1) through (7) above;

844                    (9)     readily marketable direct obligations issued by any state, commonwealth or terri-
845           tory of the United States or any political subdivision or taxing authority thereof having an in-
846           vestment grade rating from either Moody’s or S&P with maturities of 24 months or less from the
847           date of acquisition;

848                    (10)    Indebtedness or preferred stock issued by Persons with a rating of “A” or higher
849           from S&P or “A2” or higher from Moody’s with maturities of 24 months or less from the date of
850           acquisition; and

851                    (11)    Investments with average maturities of 12 months or less from the date of acqui-
852           sition in money market funds rated AAA- (or the equivalent thereof) or better by S&P or Aaa3
853           (or the equivalent thereof) or better by Moody’s.

854                    “Permitted Refinancing Indebtedness” means Indebtedness incurred to refinance any In-
855   debtedness as permitted in Section 6.01; provided that (a) such Indebtedness is issued by the Borrower
856   and is not Guaranteed by any Person that is not a Subsidiary Loan Party, (b) the aggregate principal
857   amount thereof does not exceed the sum of the aggregate principal amount (or accreted value if applica-
858   ble) of Indebtedness being refinanced thereby, accrued interest thereon at the time and the amount of rea-
859   sonable expenses, fees and premiums incurred in connection with such refinancing (in each case, other
860   than any original issue discount) and (c) such modification, refinancing, refunding, renewal, replacement
861   or extension has a final maturity date equal to or later than the final maturity date of, and has a Weighted
862   Average Life to Maturity equal to or greater than the Weighted Average Life to Maturity of, the Indeb-
863   tedness being modified, refinanced, refunded, renewed, replaced or extended, (d) at the time thereof, no
864   Event of Default shall have occurred and be continuing, (e) to the extent such Indebtedness being mod-
865   ified, refinanced, refunded, renewed, replaced or extended is subordinated in right of payment to the Ob-
866   ligations, such modification, refinancing, refunding, renewal, replacement or extension is subordinated in
867   right of payment to the Obligations on terms at least as favorable to the Lenders as those contained in the
868   documentation governing the Indebtedness being modified, refinanced, refunded, renewed, replaced or
869   extended; provided that a certificate of a Responsible Officer delivered to the Administrative Agent stat-
870   ing that the Borrower has determined in good faith that such terms and conditions satisfy the foregoing
871   requirement shall be conclusive evidence that such terms and conditions satisfy the foregoing requirement
872   and (f) such modification, refinancing, refunding, renewal, replacement or extension is incurred by the
873   Person who is the obligor or guarantor of the Indebtedness being modified, refinanced, refunded, re-
874   newed, replaced or extended.

875                    “Person” means any natural person, corporation, limited liability company, trust, joint
876   venture, association, company, partnership, Governmental Authority or other entity.

877                     “Plan” means any employee pension benefit plan (other than a Multiemployer Plan) sub-
878   ject to the provisions of Title IV of ERISA or Section 412 of the Code or Section 302 of ERISA, and in
879   respect of which the Borrower, any Subsidiary or any ERISA Affiliate is (or, if such plan were termi-
880   nated, would under Section 4069 of ERISA be deemed to be) an “employer” as defined in Section 3(5) of
881   ERISA.

882                   “Prime Rate” means the rate of interest per annum publicly announced from time to time
883   by JPMorgan Chase Bank, N.A. as its prime rate in effect at its principal office in New York City; each
884   change in the Prime Rate shall be effective from and including the date such change is publicly an-
885   nounced as being effective.


                                                          -17-
      CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                Pg 706 of 771


886                    “Pro Rata Share” means, with respect to each Lender at any time a fraction (expressed as
887   a percentage, carried out to the ninth decimal place), the numerator of which is the amount of the Revolv-
888   ing Commitments of such Lender under the Revolving Loans at such time and the denominator of which
889   is the amount of the Aggregate Revolving Commitments under the Revolving Loans at such time; pro-
890   vided that if such Revolving Commitments have been terminated, then the Pro Rata Share of each Lender
891   shall be determined based on the Pro Rata Share of such Lender immediately prior to such termination
892   and after giving effect to any subsequent assignments made pursuant to the terms hereof.

893                   “Qualified IPO” means the issuance by the Borrower of its common Equity Interests in
894   an underwritten primary public offering (other than a public offering pursuant to a registration statement
895   on Form S-8) (i) pursuant to an effective registration statement filed with the SEC in accordance with the
896   Securities Act (whether alone or in connection with a secondary public offering).

897                   “Register” has the meaning set forth in Section 9.04.

898                   “Regulation S-X” means Regulation S-X promulgated under the Securities Act.

899                    “Related Parties” means, with respect to any specified Person, such Person’s Affiliates
900   and the respective directors, officers, employees, trustees, agents and advisors of such Person and such
901   Person’s Affiliates.

902                   “Reorganization Plan” has the meaning provided in Recital B hereto.

903                  “Required Lenders” means, at any time, Lenders having Revolving Exposures and un-
904   used Revolving Commitments representing more than 50% of the sum of the total Revolving Exposures
905   and unused Revolving Commitments at such time.

906                     “Responsible Officer” means the chief executive officer, president, vice president, chief
907   financial officer, treasurer or assistant treasurer or other similar officer of a Loan Party.

908                    “Restricted Payment” means any dividend or other distribution (whether in cash, securi-
909   ties or other property) with respect to any Equity Interests in the Borrower or any Restricted Subsidiary,
910   or any payment (whether in cash, securities or other property), including any sinking fund or similar de-
911   posit, on account of the purchase, redemption, retirement, acquisition, cancellation or termination of any
912   Equity Interests in the Borrower or any Restricted Subsidiary or any option, warrant or other right to ac-
913   quire any such Equity Interests in the Borrower or any Restricted Subsidiary.

914                   “Restricted Subsidiary” means any Subsidiary that is not an Unrestricted Subsidiary.

915                   “Revolving Availability Period” means the period from and including the Effective Date
916   to but excluding the earlier of the Maturity Date and the date of termination of the Revolving Commit-
917   ments.

918                   “Revolving Commitment” means, with respect to each Lender, the commitment, if any,
919   of such Lender to make Revolving Loans and to acquire participations in Letters of Credit and Swingline
920   Loans hereunder, expressed as an amount representing the maximum aggregate amount of such Lender’s
921   Revolving Exposure hereunder, as such commitment may be (a) reduced from time to time pursuant to
922   Section 2.08 and (b) reduced or increased from time to time pursuant to assignments by or to such Lender
923   pursuant to Section 9.04. The initial amount of each Lender’s Revolving Commitment is set forth on
924   Schedule 2.01, or in the Assignment and Acceptance pursuant to which such Lender shall have assumed



                                                          -18-
      CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47              Main Document
                                                Pg 707 of 771


925   its Revolving Commitment, as applicable. The initial aggregate amount of the Lenders’ Revolving
926   Commitments is $40,000,000.

927                    “Revolving Exposure” means, with respect to any Lender at any time, the sum of the out-
928   standing principal amount of such Lender’s Revolving Loans and its LC Exposure and Swingline Expo-
929   sure at such time.

930                “Revolving Lender” means a Lender with a Revolving Commitment or, if the Revolving
931   Commitments have terminated or expired, a Lender with Revolving Exposure.

932                   “Revolving Loan” means a Loan made pursuant to Section 2.01.

933                   “S&P” means Standard & Poor’s Ratings Services.

934                   “SEC” means the Securities and Exchange Commission, or any Governmental Authority
935   succeeding to any of its principal functions.

936                  “Second Lien Collateral Agent” means Wilmington Trust FSB, as collateral agent under
937   the Second Lien Indenture.

938                    “Second Lien Indenture” means the indenture in respect of the Second Lien Notes dated
939   as of a date on or before the Effective Date among the Issuer and the Second Lien Trustee, as amended or
940   supplemented from time to time.

941                   “Second Lien Intercreditor Agreement” means an intercreditor agreement dated as of the
942   Effective Date among the Administrative Agent, the Senior Secured Notes Collateral Agent, the Borrower
943   and each other Guarantor and the Second Lien Collateral Agent.

944                   “Second Lien Notes” has the meaning provided in Recital C hereto.

945                 “Second Lien Trustee” means Wilmington Trust FSB, as trustee for the holders of
946   Second Lien Notes.

947                   “Secured Indebtedness” means any Indebtedness secured by a Lien.

948                   “Secured Parties” has the meaning assigned to such term in the Guarantee and Collateral
949   Agreement.

950                   “Securities Act” means the Securities Act of 1933, as amended, and the rules and regula-
951   tions of the SEC promulgated thereunder.

952                    “Security Documents” means the Guarantee and Collateral Agreement, the First Lien In-
953   tercreditor Agreement, the Second Lien Intercreditor Agreement, the Mortgages and each other security
954   agreement or other instrument or document executed and delivered pursuant to Section 5.12, 5.13 or the
955   definition of “Permitted Acquisition” to secure any of the Obligations.

956                   “Senior Secured Notes” means the 11-1/2% Senior Secured Notes due 2017 issued under
957   the Senior Secured Notes Indenture, as in effect on the Effective Date and as the same may be amended,
958   amended and restated, modified, supplemented and/or extended from time to time in accordance with the
959   terms hereof and thereof.



                                                        -19-
      CG&R DRAFT: 12/15/10 11:13 PM                                               #1052964 v14 (1049414_.DOC)
      10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 708 of 771


960                   “Senior Secured Notes Collateral Agent” means Wilmington Trust FSB, as collateral
961   agent under the Senior Secured Notes Indenture.

962                     “Senior Secured Notes Indenture” means the indenture dated as of December 1, 2010, re-
963   lated to the Senior Secured Notes, among AMO Escrow Corporation and the Senior Secured Notes Trus-
964   tee, as in effect on the Effective Date and as thereafter amended, amended and restated, modified, sup-
965   plemented and/or extended from time to time in accordance with the terms hereof and thereof.

966                   “Senior Secured Notes Trustee” means Wilmington Trust FSB, as trustee for the holders
967   of Senior Secured Notes.

968                   “Specified Equity Contribution” has the meaning set forth in Section 7.02.

969                      “Statutory Reserve Rate” means a fraction (expressed as a decimal), the numerator of
970   which is the number one and the denominator of which is the number one minus the aggregate of the
971   maximum reserve percentages (including any marginal, special, emergency or supplemental reserves)
972   expressed as a decimal established by the Board to which the Administrative Agent is subject for eurocur-
973   rency funding (currently referred to as “Eurocurrency Liabilities” in Regulation D of the Board). Such
974   reserve percentages shall include those imposed pursuant to such Regulation D. Eurodollar Loans shall
975   be deemed to constitute eurocurrency funding and to be subject to such reserve requirements without ben-
976   efit of or credit for proration, exemptions or offsets that may be available from time to time to any Lender
977   under such Regulation D or any comparable regulation. The Statutory Reserve Rate shall be adjusted au-
978   tomatically on and as of the effective date of any change in any reserve percentage.

979                   “Subject Transactions” has the meaning set forth in the definition of “Consolidated
980   EBITDA”.

981                     “subsidiary” means, with respect to any Person (the “parent”) at any date, any corpora-
982   tion, limited liability company, partnership, association or other entity of which securities or other owner-
983   ship interests representing more than 50% of the equity or more than 50% of the ordinary voting power
984   or, in the case of a partnership, more than 50% of the general partnership interests are, as of such date,
985   owned, controlled or held by the parent or one or more subsidiaries of the parent or by the parent and one
986   or more subsidiaries of the parent.

987                   “Subsidiary” means any subsidiary of the Borrower.

988                   “Subsidiary Loan Party” means any Restricted Subsidiary that is not a Foreign Subsidi-
989   ary.

990                   “Swingline Exposure” means, at any time, the aggregate principal amount of all Swin-
991   gline Loans outstanding at such time. The Swingline Exposure of any Lender at any time shall be its Ap-
992   plicable Percentage of the total Swingline Exposure at such time.

993                 “Swingline Lender” means JPMorgan Chase Bank, N.A., in its capacity as lender of
994   Swingline Loans hereunder.

995                   “Swingline Loan” means a Loan made pursuant to Section 2.04.

996                    “Taxes” means any and all present or future taxes, levies, imposts, duties, deductions,
997   charges or withholdings imposed by any Governmental Authority including any interest, additions to tax
998   or penalties applicable thereto.


                                                          -20-
      CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg         Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                    Main Document
                                                   Pg 709 of 771


 999                    “Total Assets” means the total consolidated assets of the Borrower and its Restricted
1000   Subsidiaries, as shown on the most recent balance sheet of the Borrower.

1001                    “Total Debt” means, as of any date of determination, the aggregate principal amount of
1002   Indebtedness (excluding Indebtedness consisting of contingent liabilities in respect of undrawn letters of
1003   credit, Hedging Agreements and Indebtedness issued in payment of interest obligations) of the Borrower
1004   and the Restricted Subsidiaries outstanding as of such date, determined on a consolidated basis in accor-
1005   dance with GAAP.

1006                     “Total First Lien Debt” means, as of any date of determination, Total Debt as of such
1007   date that is secured by a first-priority lien on Collateral, including, without limitation, all Obligations and
1008   the Senior Secured Notes.

1009                    “Type”, when used in reference to any Loan or Borrowing, refers to whether the rate of
1010   interest on such Loan, or on the Loans comprising such Borrowing, is determined by reference to the Ad-
1011   justed LIBO Rate or the Alternate Base Rate.

1012                     “Unrestricted Subsidiary” means (a) any Subsidiary of the Borrower that shall have been
1013   designated an Unrestricted Subsidiary by the Borrower in the manner provided below and (b) any Subsid-
1014   iary of an Unrestricted Subsidiary. The Borrower may designate any Subsidiary (including any newly
1015   acquired or newly formed Subsidiary) to be an Unrestricted Subsidiary if (i) neither such Subsidiary nor
1016   any of its Subsidiaries owns any Equity Interests or Indebtedness of, or holds any Lien on any property
1017   of, the Borrower or any other Restricted Subsidiary, or owns or holds any asset that is Collateral, (ii) after
1018   giving effect to such designation, the Borrower shall be in compliance with clause (c) of Section 6.04 (it
1019   being understood that, for purposes of determining such compliance, all investments made by Loan Par-
1020   ties in, loans or advances made by Loan Parties to and Guarantees made by Loan Parties of Indebtedness
1021   of any Subsidiary so designated, shall be deemed to be investments, loans, advances and Guarantees in, to
1022   or on behalf of an Unrestricted Subsidiary), (iii) after giving effect to such designation, the Borrower and
1023   the Restricted Subsidiaries shall be in compliance on a pro forma basis with the covenant contained in
1024   Section 6.12 recomputed as at the last day of the most recently completed fiscal quarter of the Borrower
1025   for which financial statements are available, as if such designation had occurred on the first day of each
1026   relevant period for testing such compliance and (iv) no Default shall have occurred and be continuing or
1027   would result therefrom. The Borrower may designate any Unrestricted Subsidiary to be a Restricted Sub-
1028   sidiary if (i) no Default shall have occurred and be continuing or would result therefrom and (ii) after giv-
1029   ing effect to such designation, the Borrower and the Restricted Subsidiaries are in compliance on a pro
1030   forma basis with the covenant contained in Section 6.12 recomputed as at the last day of the most recently
1031   completed fiscal quarter of the Borrower for which financial statements are available, as if such designa-
1032   tion had occurred on the first day of each relevant period for testing such compliance. The Borrower shall
1033   promptly notify the Administrative Agent in writing of any such designation (and the Administrative
1034   Agent shall notify the Lenders) and shall deliver to the Administrative Agent a certificate signed by a Fi-
1035   nancial Officer of the Borrower certifying that such designation complied with the foregoing provisions
1036   together with reasonably detailed calculations demonstrating satisfaction of the requirement set forth in
1037   clause (iii) of the second sentence of this definition or in clause (ii) of the third sentence of this definition,
1038   as applicable. For the avoidance of doubt, the designation of any Unrestricted Subsidiary as a Restricted
1039   Subsidiary shall constitute the incurrence at the time of designation of any Indebtedness or Liens of such
1040   Subsidiary existing at such time.

1041                    “Unsecured Debt” means Indebtedness that is not Secured Indebtedness.

1042                   “Weighted Average Life to Maturity” means, when applied to any Indebtedness at any
1043   date, the number of years obtained by dividing: (i) the sum of the products obtained by multiplying (a)


                                                             -21-
       CG&R DRAFT: 12/15/10 11:13 PM                                                     #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 710 of 771


1044   the amount of each then remaining installment, sinking fund, serial maturity or other required payments
1045   of principal, including payment at final maturity, in respect thereof, by (b) the number of years (calculated
1046   to the nearest one-twelfth) that will elapse between such date and the making of such payment; by (ii) the
1047   then outstanding principal amount of such Indebtedness.

1048                    “Withdrawal Liability” means liability to a Multiemployer Plan as a result of a complete
1049   or partial withdrawal from such Multiemployer Plan, as such terms are defined in Part I of Subtitle E of
1050   Title IV of ERISA.

1051                    SECTION 1.02. Classification of Loans and Borrowings. For purposes of this Agree-
1052   ment, Loans may be classified and referred to by Class (e.g., a “Revolving Loan”) or by Type (e.g., a
1053   “Eurodollar Loan”) or by Class and Type (e.g., a “Eurodollar Revolving Loan”). Borrowings also may be
1054   classified and referred to by Class (e.g., a “Revolving Borrowing”) or by Type (e.g., a “Eurodollar Bor-
1055   rowing”) or by Class and Type (e.g., a “Eurodollar Revolving Borrowing”).

1056                      SECTION 1.03. Terms Generally. The definitions of terms herein shall apply equally
1057   to the singular and plural forms of the terms defined. Whenever the context may require, any pronoun
1058   shall include the corresponding masculine, feminine and neuter forms. The words “include”, “includes”
1059   and “including” shall be deemed to be followed by the phrase “without limitation”. The word “will” shall
1060   be construed to have the same meaning and effect as the word “shall”. Unless the context requires other-
1061   wise (a) any definition of or reference to any agreement, instrument or other document herein shall be
1062   construed as referring to such agreement, instrument or other document as from time to time amended,
1063   supplemented or otherwise modified (subject to any restrictions on such amendments, supplements or
1064   modifications set forth herein), (b) any reference herein to any Person shall be construed to include such
1065   Person’s successors and assigns, (c) the words “herein”, “hereof” and “hereunder”, and words of similar
1066   import, shall be construed to refer to this Agreement in its entirety and not to any particular provision he-
1067   reof, (d) all references herein to Articles, Sections, Exhibits and Schedules shall be construed to refer to
1068   Articles and Sections of, and Exhibits and Schedules to, this Agreement and (e) the words “asset” and
1069   “property” shall be construed to have the same meaning and effect and to refer to any and all tangible and
1070   intangible assets and properties, including cash, securities, accounts and contract rights.

1071                   SECTION 1.04.       Accounting Terms; GAAP; Treatment of Unrestricted Subsidiaries.

1072                    (a)     Except as otherwise expressly provided herein or the context otherwise requires,
1073   all terms of an accounting or financial nature shall be construed in accordance with GAAP.

1074                    (b)     Except as otherwise expressly provided herein, all accounting and financial cal-
1075   culations and determinations hereunder shall be made without consolidating the accounts of Unrestricted
1076   Subsidiaries with those of the Borrower or any Restricted Subsidiary, notwithstanding that such treatment
1077   is inconsistent with GAAP.

1078                   (c)      Notwithstanding anything to the contrary, for purposes of determining com-
1079   pliance with any covenant (including the computation of any financial covenant) contained herein, the
1080   effects of FASB ASC 825 (Financial Instruments) and ASC 470-20 (Debt with Conversion and Other
1081   Options) on financial liabilities shall be disregarded.




                                                           -22-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 711 of 771


1082                                                  ARTICLE II
1083
1084                                                   The Credits

1085                   SECTION 2.01. Revolving Commitments. Subject to the terms and conditions set forth
1086   herein, each Lender agrees to make Revolving Loans to the Borrower from time to time during the Re-
1087   volving Availability Period in an aggregate principal amount that will not result in such Lender’s Revolv-
1088   ing Exposure exceeding such Lender’s Revolving Commitment. Within the foregoing limits and subject
1089   to the terms and conditions set forth herein, the Borrower may borrow, prepay and reborrow Revolving
1090   Loans.

1091                   SECTION 2.02.      Loans and Borrowings.

1092                    (a)     Each Revolving Loan shall be made as part of a Borrowing consisting of Loans
1093   of the same Type made by the Lenders ratably in accordance with their respective Revolving Commit-
1094   ments. The failure of any Lender to make any Loan required to be made by it shall not relieve any other
1095   Lender of its obligations hereunder; provided that the Revolving Commitments of the Lenders are several
1096   and no Lender shall be responsible for any other Lender’s failure to make Loans as required.

1097                   (b)      Subject to Section 2.14, each Revolving Borrowing shall be comprised entirely
1098   of ABR Loans or Eurodollar Loans as the Borrower may request in accordance herewith; provided that all
1099   Borrowings made on the Effective Date must be made as ABR Borrowings. Each Swingline Loan shall
1100   be an ABR Loan. Each Lender at its option may make any Eurodollar Loan by causing any domestic or
1101   foreign branch or Affiliate of such Lender to make such Loan so long as no increased costs are incurred
1102   as contemplated by Section 2.15; provided that any exercise of such option shall not affect the obligation
1103   of the Borrower to repay such Loan in accordance with the terms of this Agreement.

1104                     (c)     At the commencement of each Interest Period for any Eurodollar Borrowing,
1105   such Borrowing shall be in an aggregate amount that is an integral multiple of $100,000 and not less than
1106   $1,000,000. At the time that each ABR Revolving Borrowing is made, such Borrowing shall be in an
1107   aggregate amount that is an integral multiple of $100,000 and not less than $1,000,000; provided that an
1108   ABR Revolving Borrowing may be in an aggregate amount that is equal to the entire unused balance of
1109   the total Revolving Commitments or that is required to finance the reimbursement of an LC Disbursement
1110   as contemplated by Section 2.05(e). Each Swingline Loan shall be in an amount that is not less than
1111   $100,000. Borrowings of more than one Type and Class may be outstanding at the same time; provided
1112   that there shall not at any time be more than a total of [ten] Eurodollar Borrowings of any Class outstand-
1113   ing.

1114                     (d)     Notwithstanding any other provision of this Agreement, the Borrower shall not
1115   be entitled to request, or to elect to convert or continue, any Borrowing if the Interest Period requested
1116   with respect thereto would end after the Maturity Date.

1117                    SECTION 2.03. Requests for Borrowings. To request a Borrowing, the Borrower shall
1118   notify the Administrative Agent of such request by telephone (a) in the case of a Eurodollar Borrowing,
1119   not later than 11:00 a.m., New York City time, three Business Days before the date of the proposed Bor-
1120   rowing or (b) in the case of an ABR Borrowing, not later than 11:00 a.m., New York City time, one Busi-
1121   ness Day before the date of the proposed Borrowing; provided that any such notice of an ABR Revolving
1122   Borrowing to finance the reimbursement of an LC Disbursement as contemplated by Section 2.05(e) may
1123   be given not later than 10:00 a.m., New York City time, on the date of the proposed Borrowing. Each
1124   such telephonic Borrowing Request shall be irrevocable and shall be confirmed promptly by hand deli-
1125   very or telecopy to the Administrative Agent of a written Borrowing Request in a form approved by the


                                                           -23-
       CG&R DRAFT: 12/15/10 11:13 PM                                                 #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 712 of 771


1126   Administrative Agent and signed by the Borrower. Each such telephonic and written Borrowing Request
1127   shall specify the following information in compliance with Section 2.02:

1128                    (i)    the Class and aggregate amount of such Borrowing;

1129                   (ii)    the date of such Borrowing, which shall be a Business Day;

1130                   (iii)   whether such Borrowing is to be an ABR Borrowing or a Eurodollar Borrowing;

1131                   (iv)    in the case of a Eurodollar Borrowing, the initial Interest Period to be applicable
1132           thereto, which shall be a period contemplated by the definition of the term “Interest Period”; and

1133                   (v)     the location and number of the Borrower’s account to which funds are to be dis-
1134           bursed, which shall comply with the requirements of Section 2.06.

1135   If no election as to the Type of Borrowing is specified, then the requested Borrowing shall be an ABR
1136   Borrowing. If no Interest Period is specified with respect to any requested Eurodollar Borrowing, then
1137   the Borrower shall be deemed to have selected an Interest Period of one month’s duration. Promptly fol-
1138   lowing receipt of a Borrowing Request in accordance with this Section, the Administrative Agent shall
1139   advise each Lender of the details thereof and of the amount of such Lender’s Loan to be made as part of
1140   the requested Borrowing.

1141                   SECTION 2.04.      Swingline Loans.

1142                   (a)       Subject to the terms and conditions set forth herein, the Swingline Lender agrees
1143   to make Swingline Loans to the Borrower from time to time during the Revolving Availability Period, in
1144   an aggregate principal amount at any time outstanding that will not result in (i) the aggregate principal
1145   amount of outstanding Swingline Loans exceeding $5,000,000 or (ii) the sum of the total Revolving Ex-
1146   posures exceeding the total Revolving Commitments; provided that the Swingline Lender shall not be
1147   required to make a Swingline Loan to refinance an outstanding Swingline Loan. Within the foregoing
1148   limits and subject to the terms and conditions set forth herein, the Borrower may borrow, prepay and re-
1149   borrow Swingline Loans.

1150                    Notwithstanding the foregoing, if at any time any Revolving Lender is a Defaulting
1151   Lender, such Defaulting Lender’s Pro Rata Share of the Swingline Loans will be reallocated among all
1152   Revolving Lenders that are not Defaulting Lenders (pro rata in accordance with their respective Pro Rata
1153   Shares) but only to the extent (x) that no non-Defaulting Lender’s share of the Revolving Exposure shall
1154   exceed such non-Defaulting Lender’s Revolving Commitment and (y) the conditions set forth in Section
1155   4.02 are satisfied at such time (in which case the Revolving Commitments of all Defaulting Lenders shall
1156   be deemed to be zero (except to the extent Cash Collateral has been posted by such Defaulting Lender in
1157   respect of any portion of such Defaulting Lender’s participations in Swingline Loans or LC Exposures)
1158   for purposes of any determination of the Revolving Lenders’ respective Pro Rata Shares of the Swingline
1159   Loans (including for purposes of all fee calculations hereunder)); provided that if such reallocation cannot
1160   be made, the Borrower and such Defaulting Lender, on a joint and several basis, hereby agree, within two
1161   Business Days following notice by the Administrative Agent, to cause to be deposited with the Adminis-
1162   trative Agent for the benefit of the Swingline Lender Cash Collateral or similar security reasonably satis-
1163   factory to such Swingline Lender (in its sole discretion) in the full amount of such Defaulting Lender’s
1164   Pro Rata Share of outstanding Swingline Loans. The Borrower and/or such Defaulting Lender hereby
1165   grants to the Administrative Agent, for the benefit of the Swingline Lender, a security interest in all such
1166   Cash Collateral and all proceeds of the foregoing. Such Cash Collateral shall be maintained as provided
1167   in Section 2.05(j). If at any time the Administrative Agent determines that any funds held as Cash Colla-


                                                           -24-
       CG&R DRAFT: 12/15/10 11:13 PM                                                 #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                  Pg 713 of 771


1168   teral under this paragraph are subject to any right or claim of any Person other than the Administrative
1169   Agent for the benefit of the Swingline Lender or that the total amount of such funds is less than the ag-
1170   gregate risk participation of such Defaulting Lender in the applicable Swingline Loan, the Borrower
1171   and/or such Defaulting Lender will, promptly upon demand by the Administrative Agent, pay to the Ad-
1172   ministrative Agent, as additional funds to be deposited as Cash Collateral, an amount equal to the excess
1173   of (x) such aggregate risk participation over (y) the total amount of funds, if any, then held as Cash Colla-
1174   teral under this paragraph that the Administrative Agent determines to be free and clear of any such right
1175   and claim. If the Revolving Lender that triggers the Cash Collateral requirement under this paragraph
1176   ceases to be a Defaulting Lender (as determined by the Swingline Lender in good faith), or if the Swin-
1177   gline Exposures have been permanently reduced to zero, the funds held as Cash Collateral shall thereafter
1178   be returned to the Borrower or the Defaulting Lender, whichever provided the funds for the Cash Colla-
1179   teral.

1180                    (b)     To request a Swingline Loan, the Borrower shall notify the Administrative Agent
1181   of such request by telephone (confirmed by telecopy), not later than 12:00 noon, New York City time, on
1182   the day of a proposed Swingline Loan. Each such notice shall be irrevocable and shall specify the re-
1183   quested date (which shall be a Business Day) and amount of the requested Swingline Loan. The Admin-
1184   istrative Agent will promptly advise the Swingline Lender of any such notice received from the Borrower.
1185   The Swingline Lender shall make each Swingline Loan available to the Borrower by means of a credit to
1186   the general deposit account of the Borrower with the Swingline Lender (or, in the case of a Swingline
1187   Loan made to finance the reimbursement of an LC Disbursement as provided in Section 2.05(e), by remit-
1188   tance to the Issuing Bank) by 3:00 p.m., New York City time, on the requested date of such Swingline
1189   Loan.

1190                     (c)     The Swingline Lender may by written notice given to the Administrative Agent
1191   not later than 12:00 noon, New York City time, on any Business Day require the Revolving Lenders to
1192   acquire participations on such Business Day in all or a portion of the Swingline Loans outstanding. Such
1193   notice shall specify the aggregate amount of Swingline Loans in which Revolving Lenders will partici-
1194   pate. Promptly upon receipt of such notice, the Administrative Agent will give notice thereof to each Re-
1195   volving Lender, specifying in such notice such Lender’s Applicable Percentage of such Swingline Loan
1196   or Loans. Each Revolving Lender hereby absolutely and unconditionally agrees, upon receipt of notice as
1197   provided above, to pay to the Administrative Agent, for the account of the Swingline Lender, such Lend-
1198   er’s Applicable Percentage of such Swingline Loan or Loans. Each Revolving Lender acknowledges and
1199   agrees that its obligation to acquire participations in Swingline Loans pursuant to this paragraph is abso-
1200   lute and unconditional and shall not be affected by any circumstance whatsoever, including the occur-
1201   rence and continuance of a Default or reduction or termination of the Revolving Commitments, and that
1202   each such payment shall be made without any offset, abatement, withholding or reduction whatsoever.
1203   Each Revolving Lender shall comply with its obligation under this paragraph by wire transfer of imme-
1204   diately available funds, in the same manner as provided in Section 2.06 with respect to Loans made by
1205   such Lender (and Section 2.06 shall apply, mutatis mutandis, to the payment obligations of the Revolving
1206   Lenders), and the Administrative Agent shall promptly pay to the Swingline Lender the amounts so re-
1207   ceived by it from the Revolving Lenders. The Administrative Agent shall notify the Borrower of any par-
1208   ticipations in any Swingline Loan acquired pursuant to this paragraph, and thereafter payments in respect
1209   of such Swingline Loan shall be made to the Administrative Agent and not to the Swingline Lender. Any
1210   amounts received by the Swingline Lender from the Borrower (or other party on behalf of the Borrower)
1211   in respect of a Swingline Loan after receipt by the Swingline Lender of the proceeds of a sale of participa-
1212   tions therein shall be promptly remitted to the Administrative Agent; any such amounts received by the
1213   Administrative Agent shall be promptly remitted by the Administrative Agent to the Revolving Lenders
1214   that shall have made their payments pursuant to this paragraph and to the Swingline Lender, as their inter-
1215   ests may appear. The purchase of participations in a Swingline Loan pursuant to this paragraph shall not
1216   relieve the Borrower of any default in the payment thereof. Notwithstanding the foregoing, a Revolving


                                                           -25-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                  Pg 714 of 771


1217   Lender shall not have any obligation to acquire a participation in a Swingline Loan pursuant to this para-
1218   graph if an Event of Default shall have occurred and be continuing at the time such Swingline Loan was
1219   made and such Lender shall have notified the Swingline Lender in writing, at least one Business Day
1220   prior to the time such Swingline Loan was made, that such Event of Default has occurred and that such
1221   Lender will not acquire participations in Swingline Loans made while such Event of Default is continu-
1222   ing.

1223                   SECTION 2.05.       Letters of Credit.

1224                    (a)     General. Subject to the terms and conditions set forth herein, the Borrower may
1225   request the issuance of Letters of Credit for its own account, in a form reasonably acceptable to the Ad-
1226   ministrative Agent and the Issuing Bank, at any time and from time to time during the Revolving Availa-
1227   bility Period. In the event of any inconsistency between the terms and conditions of this Agreement and
1228   the terms and conditions of any form of letter of credit application or other agreement submitted by the
1229   Borrower to, or entered into by the Borrower with, the Issuing Bank relating to any Letter of Credit, the
1230   terms and conditions of this Agreement shall control.

1231                    In the case where any Revolving Lender is at any time a Defaulting Lender, the Default-
1232   ing Lender’s Pro Rata Share of the LC Exposures will be reallocated among all Revolving Lenders that
1233   are not Defaulting Lenders (pro rata in accordance with their respective Pro Rata Shares) but only to the
1234   extent (x) that no non-Defaulting Lender’s share of the Revolving Exposure shall exceed such non-
1235   Defaulting Lender’s Revolving Commitment and (y) the conditions set forth in Section 4.02 are satisfied
1236   at such time (in which case the Revolving Commitments of all Defaulting Lenders shall be deemed to be
1237   zero (except to the extent Cash Collateral has been posted by such Defaulting Lender in respect of any
1238   portion of such Defaulting Lender’s LC Exposures or participations in Swingline Loans) for purposes of
1239   any determination of the Revolving Lenders’ respective Pro Rata Shares of LC Exposures (including for
1240   purposes of all fee calculations hereunder)); provided, that if such reallocation cannot be made as pro-
1241   vided above, the Borrower and such Defaulting Lender, on a joint and several basis, hereby agree, within
1242   two Business Days following written notice by the Administrative Agent, to cause to be deposited with
1243   the Administrative Agent for the benefit of the Issuing Bank, Cash Collateral in the full amount of such
1244   Defaulting Lender’s Pro Rata Share of the outstanding LC Exposures. The Borrower and/or such De-
1245   faulting Lender hereby grant to the Administrative Agent, for the benefit of such Issuing Bank, a security
1246   interest in any Cash Collateral and all proceeds of the foregoing with respect to such Defaulting Lender’s
1247   participations in Letters of Credit deposited hereunder. Such Cash Collateral shall be maintained as pro-
1248   vided in Section 2.05(j). If at any time the Administrative Agent determines that any funds held as Cash
1249   Collateral under this paragraph are subject to any right or claim of any Person other than the Administra-
1250   tive Agent for the benefit of such Issuing Bank or that the total amount of such funds is less than such
1251   Defaulting Lender’s Pro Rata Share of all LC Exposures that has not been reallocated as provided above,
1252   the Borrower and/or such Defaulting Lender will, promptly upon demand by the Administrative Agent,
1253   pay to the Administrative Agent, as additional funds to be deposited as Cash Collateral, an amount equal
1254   to the excess of (I) such Defaulting Lender’s Pro Rata Share of all LC Exposures that have not been so
1255   reallocated over (II) the total amount of funds, if any, then held as Cash Collateral in respect thereof under
1256   this paragraph that the Administrative Agent determines to be free and clear of any such right and claim.
1257   Upon the drawing of any Letter of Credit for which funds are on deposit as Cash Collateral, such funds
1258   shall be applied, to the extent permitted under applicable Laws, to reimburse such Issuing Bank. If the
1259   Lender that triggers the Cash Collateral requirement under this paragraph ceases to be a Defaulting Lend-
1260   er (as determined by such Issuing Bank in good faith), or if there are no LC Exposures outstanding, any
1261   funds held as Cash Collateral pursuant to the foregoing provisions shall thereafter be returned to the Bor-
1262   rower or the Defaulting Lender, whichever provided the funds for the Cash Collateral, and the Pro Rata
1263   Share of the LC Exposures of each Revolving Lender shall thereafter take into account such Revolving
1264   Lender’s Revolving Commitment.


                                                           -26-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                  Pg 715 of 771


1265                     (b)     Notice of Issuance, Amendment, Renewal, Extension; Certain Conditions. To
1266   request the issuance of a Letter of Credit (or the amendment, renewal or extension of an outstanding Let-
1267   ter of Credit), the Borrower shall hand deliver or telecopy (or transmit by electronic communication, if
1268   arrangements for doing so have been approved by the Issuing Bank) to the Issuing Bank and the Adminis-
1269   trative Agent (reasonably in advance of the requested date of issuance, amendment, renewal or extension)
1270   a notice requesting the issuance of a Letter of Credit, or identifying the Letter of Credit to be amended,
1271   renewed or extended, and specifying the date of issuance, amendment, renewal or extension (which shall
1272   be a Business Day), the date on which such Letter of Credit is to expire (which shall comply with para-
1273   graph (c) of this Section), the amount of such Letter of Credit, the name and address of the beneficiary
1274   thereof and such other information as shall be necessary to prepare, amend, renew or extend such Letter
1275   of Credit. If requested by the Issuing Bank, the Borrower also shall submit a letter of credit application
1276   on the Issuing Bank’s standard form in connection with any request for a Letter of Credit. A Letter of
1277   Credit shall be issued, amended, renewed or extended only if (and upon issuance, amendment, renewal or
1278   extension of each Letter of Credit the Borrower shall be deemed to represent and warrant that), after giv-
1279   ing effect to such issuance, amendment, renewal or extension (i) the LC Exposure shall not exceed
1280   $10,000,000 and (ii) the total Revolving Exposures shall not exceed the total Revolving Commitments.

1281                      (c)      Expiration Date. Each Letter of Credit shall expire at or prior to the close of
1282   business on the earlier of (i) (A) in the case of any Letter of Credit that is a standby Letter of Credit, the
1283   date one year after the date of the issuance of such Letter of Credit (or, in the case of any renewal or ex-
1284   tension thereof, one year after such renewal or extension) and (B) in the case of any Letter of Credit that
1285   is a commercial Letter of Credit, 180 days after the date of the issuance of such Letter of Credit and
1286   (ii) the date that is five Business Days prior to the Maturity Date; provided, however, that any Letter of
1287   Credit that is a standby Letter of Credit with term of one year may provide for renewal thereof for addi-
1288   tional periods of up to one year (which in no event shall extend beyond the date referred to in clause (ii)).

1289                    (d)     Participations. By the issuance of a Letter of Credit (or an amendment to a Letter
1290   of Credit increasing the amount thereof) and without any further action on the part of the Issuing Bank or
1291   the Lenders, the Issuing Bank hereby grants to each Revolving Lender, and each Revolving Lender here-
1292   by acquires from the Issuing Bank, a participation in such Letter of Credit equal to such Lender’s Appli-
1293   cable Percentage of the aggregate amount available to be drawn under such Letter of Credit. In consid-
1294   eration and in furtherance of the foregoing, each Revolving Lender hereby absolutely and unconditionally
1295   agrees to pay to the Administrative Agent, for the account of the Issuing Bank, such Lender’s Applicable
1296   Percentage of each LC Disbursement made by the Issuing Bank and not reimbursed by the Borrower on
1297   the date due as provided in paragraph (e) of this Section, or of any reimbursement payment required to be
1298   refunded to the Borrower for any reason. Each Lender acknowledges and agrees that its obligation to ac-
1299   quire participations pursuant to this paragraph in respect of Letters of Credit is absolute and unconditional
1300   and shall not be affected by any circumstance whatsoever, including any amendment, renewal or exten-
1301   sion of any Letter of Credit or the occurrence and continuance of a Default or reduction or termination of
1302   the Revolving Commitments, and that each such payment shall be made without any offset, abatement,
1303   withholding or reduction whatsoever.

1304                    (e)      Reimbursement. If the Issuing Bank shall make any LC Disbursement in respect
1305   of a Letter of Credit, the Borrower shall reimburse such LC Disbursement by paying to the Administra-
1306   tive Agent an amount equal to such LC Disbursement not later than 12:00 noon, New York City time, on
1307   the Business Day immediately following the date the Borrower has received notice of such LC Disburse-
1308   ment; provided that the Borrower may, subject to the conditions to borrowing set forth herein, request in
1309   accordance with Section 2.03 or 2.04 that such payment be financed with an ABR Revolving Borrowing
1310   or Swingline Loan in an equivalent amount and, to the extent so financed, the Borrower’s obligation to
1311   make such payment shall be discharged and replaced by the resulting ABR Revolving Borrowing or
1312   Swingline Loan. If the Borrower fails to make such payment when due, the Administrative Agent shall


                                                            -27-
       CG&R DRAFT: 12/15/10 11:13 PM                                                   #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 716 of 771


1313   notify each Revolving Lender of the applicable LC Disbursement, the payment then due from the Bor-
1314   rower in respect thereof and such Lender’s Applicable Percentage thereof. Promptly following receipt of
1315   such notice, each Revolving Lender shall pay to the Administrative Agent its Applicable Percentage of
1316   the payment then due from the Borrower, in the same manner as provided in Section 2.06 with respect to
1317   Loans made by such Lender (and Section 2.06 shall apply, mutatis mutandis, to the payment obligations
1318   of the Revolving Lenders), and the Administrative Agent shall promptly pay to the Issuing Bank the
1319   amounts so received by it from the Revolving Lenders. Promptly following receipt by the Administrative
1320   Agent of any payment from the Borrower pursuant to this paragraph, the Administrative Agent shall dis-
1321   tribute such payment to the Issuing Bank or, to the extent that Revolving Lenders have made payments
1322   pursuant to this paragraph to reimburse the Issuing Bank, then to such Lenders and the Issuing Bank as
1323   their interests may appear. Any payment made by a Revolving Lender pursuant to this paragraph to
1324   reimburse the Issuing Bank for any LC Disbursement (other than the funding of ABR Revolving Loans or
1325   a Swingline Loan as contemplated above) shall not constitute a Loan and shall not relieve the Borrower of
1326   its obligation to reimburse such LC Disbursement.

1327                     (f)     Obligations Absolute. The Borrower’s obligation to reimburse LC Disburse-
1328   ments as provided in paragraph (e) of this Section shall be absolute, unconditional and irrevocable, and
1329   shall be performed strictly in accordance with the terms of this Agreement under any and all circums-
1330   tances whatsoever and irrespective of (i) any lack of validity or enforceability of any Letter of Credit or
1331   this Agreement, or any term or provision therein, (ii) any draft or other document presented under a Letter
1332   of Credit proving to be forged, fraudulent or invalid in any respect or any statement therein being untrue
1333   or inaccurate in any respect, (iii) payment by the Issuing Bank under a Letter of Credit against presenta-
1334   tion of a draft or other document that does not comply with the terms of such Letter of Credit, or (iv) any
1335   other event or circumstance whatsoever, whether or not similar to any of the foregoing, that might, but for
1336   the provisions of this Section, constitute a legal or equitable discharge of, or provide a right of setoff
1337   against, the Borrower’s obligations hereunder. Neither the Administrative Agent, the Lenders nor the
1338   Issuing Bank, nor any of their Related Parties, shall have any liability or responsibility by reason of or in
1339   connection with the issuance or transfer of any Letter of Credit or any payment or failure to make any
1340   payment thereunder (irrespective of any of the circumstances referred to in the preceding sentence), or
1341   any error, omission, interruption, loss or delay in transmission or delivery of any draft, notice or other
1342   communication under or relating to any Letter of Credit (including any document required to make a
1343   drawing thereunder), any error in interpretation of technical terms or any consequence arising from causes
1344   beyond the control of the Issuing Bank; provided that the foregoing shall not be construed to excuse the
1345   Issuing Bank from liability to the Borrower to the extent of any direct damages (as opposed to consequen-
1346   tial damages, claims in respect of which are hereby waived by the Borrower to the extent permitted by
1347   applicable law) suffered by the Borrower that are caused by the Issuing Bank’s failure to exercise care
1348   when determining whether drafts and other documents presented under a Letter of Credit comply with the
1349   terms thereof. The parties hereto expressly agree that, in the absence of gross negligence or willful mis-
1350   conduct on the part of the Issuing Bank (as finally determined by a court of competent jurisdiction), the
1351   Issuing Bank shall be deemed to have exercised care in each such determination. In furtherance of the
1352   foregoing and without limiting the generality thereof, the parties agree that, with respect to documents
1353   presented which appear on their face to be in substantial compliance with the terms of a Letter of Credit,
1354   the Issuing Bank may, in its sole discretion, either accept and make payment upon such documents with-
1355   out responsibility for further investigation, regardless of any notice or information to the contrary, or
1356   refuse to accept and make payment upon such documents if such documents are not in strict compliance
1357   with the terms of such Letter of Credit.

1358                   (g)     Disbursement Procedures. The Issuing Bank shall, promptly following its receipt
1359   thereof, examine all documents purporting to represent a demand for payment under a Letter of Credit.
1360   The Issuing Bank shall promptly notify the Administrative Agent and the Borrower by telephone (con-
1361   firmed by telecopy) of such demand for payment and whether the Issuing Bank has made or will make an


                                                           -28-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 717 of 771


1362   LC Disbursement thereunder; provided that any failure to give or delay in giving such notice shall not
1363   relieve the Borrower of its obligation to reimburse the Issuing Bank and the Revolving Lenders with re-
1364   spect to any such LC Disbursement.

1365                     (h)     Interim Interest. If the Issuing Bank shall make any LC Disbursement, then, un-
1366   less the Borrower shall reimburse such LC Disbursement in full on the date such LC Disbursement is
1367   made, the unpaid amount thereof shall bear interest, for each day from and including the date such LC
1368   Disbursement is made to but excluding the date that the Borrower reimburses such LC Disbursement, at
1369   the rate per annum then applicable to ABR Revolving Loans; provided that, if the Borrower fails to reim-
1370   burse such LC Disbursement when due pursuant to paragraph (e) of this Section, then Section 2.13(c)
1371   shall apply. Interest accrued pursuant to this paragraph shall be for the account of the Issuing Bank, ex-
1372   cept that interest accrued on and after the date of payment by any Revolving Lender pursuant to para-
1373   graph (e) of this Section to reimburse the Issuing Bank shall be for the account of such Lender to the ex-
1374   tent of such payment.

1375                     (i)     Replacement of the Issuing Bank. The Issuing Bank may be replaced at any time
1376   by written agreement among the Borrower, the Administrative Agent, the replaced Issuing Bank and the
1377   successor Issuing Bank. The Administrative Agent shall notify the Lenders of any such replacement of
1378   the Issuing Bank. At the time any such replacement shall become effective, the Borrower shall pay all
1379   unpaid fees accrued for the account of the replaced Issuing Bank pursuant to Section 2.12(b). From and
1380   after the effective date of any such replacement, (i) the successor Issuing Bank shall have all the rights
1381   and obligations of the Issuing Bank under this Agreement with respect to Letters of Credit to be issued
1382   thereafter and (ii) references herein to the term “Issuing Bank” shall be deemed to refer to such successor
1383   or to any previous Issuing Bank, or to such successor and all previous Issuing Banks, as the context shall
1384   require. After the replacement of an Issuing Bank hereunder, the replaced Issuing Bank shall remain a
1385   party hereto and shall continue to have all the rights and obligations of an Issuing Bank under this
1386   Agreement with respect to Letters of Credit issued by it prior to such replacement, but shall not be re-
1387   quired to issue additional Letters of Credit.

1388                     (j)      Cash Collateralization. If any Event of Default shall occur and be continuing, on
1389   the Business Day that the Borrower receives notice from the Administrative Agent or the Required Lend-
1390   ers (or, if the maturity of the Loans has been accelerated, Revolving Lenders with LC Exposure
1391   representing greater than 50% of the total LC Exposure) demanding the deposit of cash collateral pur-
1392   suant to this paragraph, the Borrower shall deposit in an account with the Administrative Agent, in the
1393   name of the Administrative Agent and for the benefit of the Lenders, an amount in cash equal to the LC
1394   Exposure as of such date plus any accrued and unpaid interest thereon (“Cash Collateral”); provided that
1395   the obligation to deposit such cash collateral shall become effective immediately, and such deposit shall
1396   become immediately due and payable, without demand or other notice of any kind, upon the occurrence
1397   of any Event of Default with respect to the Borrower described in Section 7.01(h) or (i). Each such depo-
1398   sit shall be held by the Administrative Agent as collateral for the payment and performance of the obliga-
1399   tions of the Borrower under this Agreement. The Administrative Agent shall have exclusive dominion
1400   and control, including the exclusive right of withdrawal, over such account. Other than any interest
1401   earned on the investment of such deposits, which investments shall be made at the option and sole discre-
1402   tion of the Administrative Agent and at the Borrower’s risk and expense, such deposits shall not bear in-
1403   terest. Interest or profits, if any, on such investments shall accumulate in such account. Moneys in such
1404   account shall be applied by the Administrative Agent to reimburse the Issuing Bank for LC Disburse-
1405   ments for which it has not been reimbursed and, to the extent not so applied, shall be held for the satisfac-
1406   tion of the reimbursement obligations of the Borrower for the LC Exposure at such time or, if the maturity
1407   of the Loans has been accelerated (but subject to the consent of Revolving Lenders with LC Exposure
1408   representing greater than 50% of the total LC Exposure), be applied to satisfy other obligations of the
1409   Borrower under this Agreement. If the Borrower is required to provide an amount of cash collateral he-


                                                           -29-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 718 of 771


1410   reunder as a result of the occurrence of an Event of Default, such amount (to the extent not applied as afo-
1411   resaid) shall be returned to the Borrower within three Business Days after all Events of Default have been
1412   cured or waived.

1413                   SECTION 2.06.       Funding of Borrowings.

1414                    (a)     Each Lender shall make each Loan to be made by it hereunder on the proposed
1415   date thereof by wire transfer of immediately available funds by 1:00 p.m., New York City time, to the
1416   account of the Administrative Agent most recently designated by it for such purpose by notice to the
1417   Lenders; provided that Swingline Loans shall be made as provided in Section 2.04. The Administrative
1418   Agent will make such Loans available to the Borrower by promptly crediting the amounts so received, in
1419   like funds, to an account of the Borrower maintained with the Administrative Agent in New York City
1420   and designated by the Borrower in the applicable Borrowing Request; provided that ABR Revolving
1421   Loans made to finance the reimbursement of an LC Disbursement as provided in Section 2.05(e) shall be
1422   remitted by the Administrative Agent to the Issuing Bank.

1423                     (b)      Unless the Administrative Agent shall have received notice from a Lender prior
1424   to the proposed date of any Borrowing that such Lender will not make available to the Administrative
1425   Agent such Lender’s share of such Borrowing, the Administrative Agent may assume that such Lender
1426   has made such share available on such date in accordance with paragraph (a) of this Section and may, in
1427   reliance upon such assumption, make available to the Borrower a corresponding amount. In such event, if
1428   a Lender has not in fact made its share of the applicable Borrowing available to the Administrative Agent,
1429   then the applicable Lender and the Borrower severally agree to pay to the Administrative Agent forthwith
1430   on demand such corresponding amount with interest thereon, for each day from and including the date
1431   such amount is made available to the Borrower to but excluding the date of payment to the Administrative
1432   Agent, at (i) in the case of such Lender, the greater of the Federal Funds Effective Rate and a rate deter-
1433   mined by the Administrative Agent in accordance with banking industry rules on interbank compensation
1434   or (ii) in the case of the Borrower, the interest rate applicable to ABR Loans. If such Lender pays such
1435   amount to the Administrative Agent, then such amount shall constitute such Lender’s Loan included in
1436   such Borrowing.

1437                   SECTION 2.07.       Interest Elections.

1438                    (a)      Each Revolving Borrowing initially shall be of the Type specified in the Borrow-
1439   ing Request and, in the case of a Eurodollar Borrowing, shall have an initial Interest Period as specified in
1440   such Borrowing Request. Subject to Section 2.13, thereafter, the Borrower may elect to convert such
1441   Borrowing to a different Type or to continue such Borrowing and, in the case of a Eurodollar Borrowing,
1442   may elect Interest Periods therefor, all as provided in this Section. The Borrower may elect different op-
1443   tions with respect to different portions of the affected Borrowing, in which case each such portion shall be
1444   allocated ratably among the Lenders holding the Loans comprising such Borrowing, and the Loans com-
1445   prising each such portion shall be considered a separate Borrowing. This Section shall not apply to
1446   Swingline Borrowings, which may not be converted or continued.

1447                    (b)      To make an election pursuant to this Section, the Borrower shall notify the Ad-
1448   ministrative Agent of such election by telephone by the time that a Borrowing Request would be required
1449   under Section 2.03 if the Borrower were requesting a Revolving Borrowing of the Type resulting from
1450   such election to be made on the effective date of such election. Each such telephonic Interest Election
1451   Request shall be irrevocable and shall be confirmed promptly by hand delivery or telecopy to the Admin-
1452   istrative Agent of a written Interest Election Request in a form approved by the Administrative Agent and
1453   signed by the Borrower.



                                                           -30-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                  Pg 719 of 771


1454                   (c)    Each telephonic and written Interest Election Request shall specify the following
1455   information in compliance with Section 2.02:

1456                     (i)     the Borrowing to which such Interest Election Request applies and, if different
1457           options are being elected with respect to different portions thereof, the portions thereof to be allo-
1458           cated to each resulting Borrowing (in which case the information to be specified pursuant to
1459           clauses (iii) and (iv) below shall be specified for each resulting Borrowing);

1460                   (ii)    the effective date of the election made pursuant to such Interest Election Request,
1461           which shall be a Business Day;

1462                  (iii)     whether the resulting Borrowing is to be an ABR Borrowing or a Eurodollar Bor-
1463           rowing; and

1464                   (iv)     if the resulting Borrowing is a Eurodollar Borrowing, the Interest Period to be
1465           applicable thereto after giving effect to such election, which shall be a period contemplated by the
1466           definition of the term “Interest Period”.

1467   If any such Interest Election Request requests a Eurodollar Borrowing but does not specify an Interest
1468   Period, then the Borrower shall be deemed to have selected an Interest Period of one month’s duration.

1469                   (d)     Promptly following receipt of an Interest Election Request, the Administrative
1470   Agent shall advise each Lender of the details thereof and of such Lender’s portion of each resulting Bor-
1471   rowing.

1472                   (e)      If the Borrower fails to deliver a timely Interest Election Request with respect to
1473   a Eurodollar Borrowing prior to the end of the Interest Period applicable thereto, then, unless such Bor-
1474   rowing is repaid as provided herein, at the end of such Interest Period such Borrowing shall be converted
1475   to an ABR Borrowing. Notwithstanding any contrary provision hereof, if an Event of Default has oc-
1476   curred and is continuing, then, so long as an Event of Default is continuing (i) no outstanding Borrowing
1477   may be converted to or continued as a Eurodollar Borrowing and (ii) unless repaid, each Eurodollar Bor-
1478   rowing shall automatically be converted to an ABR Borrowing (and the Borrower shall pay any costs as-
1479   sociated therewith).

1480                    SECTION 2.08.      Termination and Reduction of Revolving Commitments.

1481                    (a)     Unless previously terminated, the Revolving Commitments shall terminate on the
1482   Maturity Date.

1483                    (b)     The Borrower may at any time terminate, or from time to time reduce, the Re-
1484   volving Commitments; provided that (i) each reduction of the Revolving Commitments shall be in an
1485   amount that is an integral multiple of $1,000,000 and not less than $5,000,000 and (ii) the Borrower shall
1486   not terminate or reduce the Revolving Commitments if, after giving effect to any concurrent prepayment
1487   of the Revolving Loans in accordance with Section 2.11, the sum of the Revolving Exposures would ex-
1488   ceed the total Revolving Commitments.

1489                     (c)     The Borrower shall notify the Administrative Agent of any election to terminate
1490   or reduce the Revolving Commitments under paragraph (b) of this Section at least three Business Days
1491   prior to the effective date of such termination or reduction, specifying such election and the effective date
1492   thereof. Promptly following receipt of any notice, the Administrative Agent shall advise the Lenders of
1493   the contents thereof. Each notice delivered by the Borrower pursuant to this Section shall be irrevocable;


                                                           -31-
       CG&R DRAFT: 12/15/10 11:13 PM                                                   #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                  Pg 720 of 771


1494   provided that a notice of termination of the Revolving Commitments delivered by the Borrower may state
1495   that such notice is conditioned upon the effectiveness of other credit facilities or other financing, in which
1496   case such notice may be revoked by the Borrower (by notice to the Administrative Agent on or prior to
1497   the specified effective date) if such condition is not satisfied. Any termination or reduction of the Revolv-
1498   ing Commitments shall be permanent. Each reduction of the Revolving Commitments shall be made rat-
1499   ably among the Lenders in accordance with their respective Revolving Commitments.

1500                   SECTION 2.09.       Repayment of Loans; Evidence of Debt.

1501                   (a)     The Borrower hereby unconditionally promises to pay (i) to the Administrative
1502   Agent for the account of each Lender the then unpaid principal amount of each Revolving Loan of such
1503   Lender on the Maturity Date and (ii) to the Swingline Lender the then unpaid principal amount of each
1504   Swingline Loan on the Maturity Date; provided that on each date that a Revolving Borrowing is made, the
1505   Borrower shall repay all Swingline Loans that were outstanding on the date such Borrowing was re-
1506   quested.

1507                   (b)     Each Lender shall maintain in accordance with its usual practice an account or
1508   accounts evidencing the indebtedness of the Borrower to such Lender resulting from each Loan made by
1509   such Lender, including the amounts of principal and interest payable and paid to such Lender from time to
1510   time hereunder.

1511                     (c)     The Administrative Agent shall maintain accounts in which it shall record (i) the
1512   amount of each Loan made hereunder, the Class and Type thereof and the Interest Period applicable the-
1513   reto, (ii) the amount of any principal or interest due and payable or to become due and payable from the
1514   Borrower to each Lender hereunder and (iii) the amount of any sum received by the Administrative Agent
1515   hereunder for the account of the Lenders and each Lender’s share thereof.

1516                    (d)       The entries made in the accounts maintained pursuant to paragraph (b) or (c) of
1517   this Section shall be prima facie evidence of the existence and amounts of the obligations recorded there-
1518   in; provided that the failure of any Lender or the Administrative Agent to maintain such accounts or any
1519   error therein shall not in any manner affect the obligation of the Borrower to repay the Loans in accor-
1520   dance with the terms of this Agreement.

1521                    (e)      Any Lender may request that Loans of any Class made by it be evidenced by a
1522   promissory note. In such event, the Borrower shall prepare, execute and deliver to such Lender a promis-
1523   sory note payable to the order of such Lender (or, if requested by such Lender, to such Lender and its reg-
1524   istered assigns) and in a form approved by the Administrative Agent. Thereafter, the Loans evidenced by
1525   such promissory note and interest thereon shall at all times (including after assignment pursuant to Sec-
1526   tion 9.04) be represented by one or more promissory notes in such form payable to the order of the payee
1527   named therein (or, if such promissory note is a registered note, to such payee and its registered assigns).

1528                   SECTION 2.10.       [Reserved].

1529                   SECTION 2.11.       Prepayment of Loans.

1530                  (a)    The Borrower shall have the right at any time and from time to time to prepay
1531   any Borrowing in whole or in part, subject to the requirements of this Section.

1532                    (b)    In the event and on such occasion that the sum of the Revolving Exposures ex-
1533   ceeds the total Revolving Commitments, the Borrower shall prepay Revolving Borrowings or Swingline



                                                           -32-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                                 Pg 721 of 771


1534   Borrowings (or, if no such Borrowings are outstanding, deposit cash collateral in an account with the
1535   Administrative Agent pursuant to Section 2.05(j)) in an aggregate amount equal to such excess.

1536                   (c)     [Reserved].

1537                   (d)     [Reserved].

1538                   (e)      Prior to any prepayment of Borrowings hereunder, the Borrower shall select the
1539   Borrowing or Borrowings to be prepaid and shall specify such selection in the notice of such prepayment
1540   pursuant to paragraph (f) of this Section.

1541                    (f)      The Borrower shall notify the Administrative Agent (and, in the case of prepay-
1542   ment of a Swingline Loan, the Swingline Lender) by telephone (confirmed by telecopy) of any prepay-
1543   ment hereunder (i) in the case of prepayment of any Borrowing (other than a Swingline Loan or an op-
1544   tional prepayment of an ABR Borrowing), not later than 11:00 a.m., New York City time, three Business
1545   Days before the date of prepayment, (ii) in the case of an optional prepayment of an ABR Borrowing, not
1546   later than 11:00 a.m., New York City time, one Business Day before the date of prepayment or (iii) in the
1547   case of prepayment of a Swingline Loan, not later than 12:00 noon, New York City time, on the date of
1548   prepayment. Each such notice shall be irrevocable and shall specify the prepayment date, the principal
1549   amount of each Borrowing or portion thereof to be prepaid and, in the case of a mandatory prepayment, a
1550   reasonably detailed calculation of the amount of such prepayment; provided that, if a notice of optional
1551   prepayment is given in connection with a conditional notice of termination of the Revolving Commit-
1552   ments as contemplated by Section 2.08, then such notice of prepayment may be revoked if such notice of
1553   termination is revoked in accordance with Section 2.08. Promptly following receipt of any such notice
1554   (other than a notice relating solely to Swingline Loans), the Administrative Agent shall advise the Lend-
1555   ers of the contents thereof. Each partial prepayment of any Borrowing shall be in an amount that would
1556   be permitted in the case of an advance of a Borrowing of the same Type as provided in Section 2.02, ex-
1557   cept as necessary to apply fully the required amount of a mandatory prepayment. Each prepayment of a
1558   Borrowing shall be applied ratably to the Loans included in the prepaid Borrowing. Prepayments shall be
1559   accompanied by accrued interest to the extent required by Section 2.13.

1560                    (g)      All prepayments of Eurodollar Borrowings (other than on the last day of the rele-
1561   vant interest period) shall be accompanied by any amounts payable under Section 2.15 or 2.16.

1562                   SECTION 2.12.      Fees.

1563                    (a)      The Borrower agrees to pay to the Administrative Agent for the account of each
1564   Revolving Lender a commitment fee, which shall accrue at a rate per annum on the average daily unused
1565   amount of the Revolving Commitment of such Lender equal to the Applicable Rate in effect from time to
1566   time as set forth under the caption “Revolving Commitment Fee Rate” in the definition thereof during the
1567   period from and including the Effective Date to but excluding the date on which such Revolving Com-
1568   mitment terminates. Accrued commitment fees shall be payable in arrears on the last day of March, June,
1569   September and December of each year and on the date on which the Revolving Commitments terminate,
1570   commencing on the first such date to occur after the Effective Date, provided that (x) any commitment fee
1571   accrued with respect to Revolving Commitments of a Defaulting Lender during the period prior to the
1572   time such Revolving Lender became a Defaulting Lender and unpaid at such time shall not be payable by
1573   the Borrower to such Defaulting Lender so long as such Revolving Lender shall be a Defaulting Lender
1574   except to the extent that such commitment fee shall otherwise have been due and payable by the Borrower
1575   prior to such time and (y) no commitment fee shall accrue on any of the Revolving Commitments of a
1576   Defaulting Lender so long as such Revolving Lender shall be a Defaulting Lender. All commitment fees
1577   shall be computed on the basis of a year of 360 days and shall be payable for the actual number of days


                                                          -33-
       CG&R DRAFT: 12/15/10 11:13 PM                                                 #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                  Pg 722 of 771


1578   elapsed (including the first day but excluding the last day). For purposes of computing commitment fees
1579   with respect to Revolving Commitments, a Revolving Commitment of a Lender shall be deemed to be
1580   used to the extent of the outstanding Revolving Loans and LC Exposure of such Lender (and the Swin-
1581   gline Exposure of such Lender shall be disregarded for such purpose).

1582                    (b)      The Borrower agrees to pay (i) to the Administrative Agent for the account of
1583   each Revolving Lender a participation fee with respect to its participations in Letters of Credit (including,
1584   for the avoidance of doubt, any participations reallocated to such Revolving Lender from a Defaulting
1585   Lender pursuant to Section 2.5), which shall accrue at the same Applicable Rate as interest on Eurodollar
1586   Revolving Loans on the average daily amount of such Lender’s LC Exposure (excluding any portion the-
1587   reof attributable to unreimbursed LC Disbursements) during the period from and including the Effective
1588   Date to but excluding the later of the date on which such Lender’s Revolving Commitment terminates and
1589   the date on which such Lender ceases to have any LC Exposure; provided that (x) any participation fee
1590   paid to the Administrative Agent for the account of a Defaulting Lender during the period prior to the
1591   time such Revolving Lender became a Defaulting Lender and unpaid at such time shall not be payable by
1592   the Borrower so long as such Revolving Lender shall be a Defaulting Lender except to the extent that
1593   such participating fee shall otherwise have been due and payable by the Borrower prior to such time and
1594   (y) no participation fee shall accrue on any of the participations in Letters of Credit of a Defaulting Lend-
1595   er so long as such Revolving Lender shall be a Defaulting Lender, and (ii) to the Issuing Bank a fronting
1596   fee, which shall accrue at the rate per annum of 0.25% on the average daily amount of the LC Exposure
1597   (excluding any portion thereof attributable to unreimbursed LC Disbursements) during the period from
1598   and including the Effective Date to but excluding the later of the date of termination of the Revolving
1599   Commitments and the date on which there ceases to be any LC Exposure, as well as the Issuing Bank’s
1600   standard fees with respect to the issuance, amendment, renewal or extension of any Letter of Credit or
1601   processing of drawings thereunder. Participation fees and fronting fees accrued through and including the
1602   last day of March, June, September and December of each year shall be payable on the third Business
1603   Day following such last day, commencing on the first such date to occur after the Effective Date; pro-
1604   vided that all such fees shall be payable on the date on which the Revolving Commitments terminate and
1605   any such fees accruing after the date on which the Revolving Commitments terminate shall be payable on
1606   demand. Any other fees payable to the Issuing Bank pursuant to this paragraph shall be payable within
1607   10 days after demand. All participation fees and fronting fees shall be computed on the basis of a year of
1608   360 days and shall be payable for the actual number of days elapsed (including the first day but excluding
1609   the last day).

1610                    (c)    The Borrower agrees to pay to the Administrative Agent, for its own account,
1611   fees payable in the amounts and at the times separately agreed upon between the Borrower and the Ad-
1612   ministrative Agent.

1613                    (d)     All fees payable hereunder shall be paid on the dates due, in immediately availa-
1614   ble funds, to the Administrative Agent (or to the Issuing Bank, in the case of fees payable to it) for distri-
1615   bution, in the case of commitment fees and participation fees, to the Lenders entitled thereto. Fees paid
1616   shall not be refundable under any circumstances.

1617                    (e)      The Borrower agrees to pay on the Effective Date to each Revolving Lender par-
1618   ty to this Agreement on the Effective Date, as fee compensation for the making of such Revolving Lend-
1619   er’s Revolving Commitment, a closing fee (the “Closing Fee”) in an amount equal to 2.00% of the stated
1620   principal amount of such Revolving Lender’s Revolving Commitment on the Effective Date. Such Clos-
1621   ing Fee will be in all respects fully earned, due and payable on the Effective Date and non-refundable and
1622   non-creditable thereafter.




                                                            -34-
       CG&R DRAFT: 12/15/10 11:13 PM                                                   #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 723 of 771


1623                   SECTION 2.13.       Interest.

1624                    (a)       The Loans comprising each ABR Borrowing (including each Swingline Loan)
1625   shall bear interest at the Alternate Base Rate plus the Applicable Rate.

1626                  (b)      The Loans comprising each Eurodollar Borrowing shall bear interest at the Ad-
1627   justed LIBO Rate for the Interest Period in effect for such Borrowing plus the Applicable Rate.

1628                    (c)     Notwithstanding the foregoing, upon the occurrence and continuance of any
1629   Event of Default under Section 7.01(a), (b), (h), (i) or (j) (or any other Event of Default under Section
1630   7.01 if requested by the Required Lenders), (x) any principal of or interest on any Loan or any fee or other
1631   amount payable by the Borrower hereunder shall bear interest, after as well as before judgment, at a rate
1632   per annum equal to (i) in the case of principal of any Loan, 2.00% plus the rate otherwise applicable to
1633   such Loan as provided in the preceding paragraphs of this Section or (ii) in the case of any other amount,
1634   2.00% plus the rate applicable to ABR Revolving Loans as provided in paragraph (a) of this Section; and
1635   (y) all Loans comprising Eurodollar Borrowings shall automatically convert to ABR Borrowings (and the
1636   Borrower shall pay any costs associated therewith), and the Lenders shall no longer have an obligation to
1637   fund Eurodollar Borrowings until such Event of Default is cured or waived in accordance herewith.

1638                    (d)     Accrued interest on each Loan shall be payable in arrears on each Interest Pay-
1639   ment Date for such Loan and, in the case of Revolving Loans, upon termination of the Revolving Com-
1640   mitments; provided that (i) interest accrued pursuant to paragraph (c) of this Section shall be payable on
1641   demand, (ii) in the event of any repayment or prepayment of any Loan (other than a prepayment of an
1642   ABR Revolving Loan prior to the end of the Revolving Availability Period), accrued interest on the prin-
1643   cipal amount repaid or prepaid shall be payable on the date of such repayment or prepayment and (iii) in
1644   the event of any conversion of any Eurodollar Loan prior to the end of the current Interest Period therefor,
1645   accrued interest on such Loan shall be payable on the effective date of such conversion.

1646                     (e)    All interest hereunder shall be computed on the basis of a year of 360 days, ex-
1647   cept that interest computed by reference to the Alternate Base Rate at times when the Alternate Base Rate
1648   is based on the Prime Rate shall be computed on the basis of a year of 365 days (or 366 days in a leap
1649   year), and in each case shall be payable for the actual number of days elapsed (including the first day but
1650   excluding the last day). The applicable Alternate Base Rate or Adjusted LIBO Rate shall be determined
1651   by the Administrative Agent, and such determination shall be conclusive absent manifest error.

1652                    SECTION 2.14. Alternate Rate of Interest. If prior to the commencement of any Inter-
1653   est Period for a Eurodollar Borrowing:

1654                   (a)     the Administrative Agent determines (which determination shall be conclusive
1655           absent manifest error) that adequate and reasonable means do not exist for ascertaining the Ad-
1656           justed LIBO Rate for such Interest Period; or

1657                   (b)      the Administrative Agent is advised by the Required Lenders that the Adjusted
1658           LIBO Rate for such Interest Period will not adequately and fairly reflect the cost to such Lenders
1659           (or Lender) of making or maintaining their Loans (or its Loan) included in such Borrowing for
1660           such Interest Period;

1661   then the Administrative Agent shall give notice thereof to the Borrower and the Lenders by telephone or
1662   telecopy as promptly as practicable thereafter and, until the Administrative Agent notifies the Borrower
1663   and the Lenders that the circumstances giving rise to such notice no longer exist, (i) any Interest Election
1664   Request that requests the conversion of any Borrowing to, or continuation of any Borrowing as, a Euro-


                                                           -35-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                  Pg 724 of 771


1665   dollar Borrowing shall be ineffective and (ii) if any Borrowing Request requests a Eurodollar Borrowing,
1666   such Borrowing shall be made as an ABR Borrowing.

1667                   SECTION 2.15.       Increased Costs.

1668                   (a)      If any Change in Law shall:

1669                    (i)    impose, modify or deem applicable any reserve, special deposit or similar re-
1670           quirement against assets of, deposits with or for the account of, or credit extended by, any Lender
1671           (except any such reserve requirement reflected in the Adjusted LIBO Rate) or the Issuing Bank;
1672           or

1673                   (ii)     impose on any Lender or the Issuing Bank or the London interbank market any
1674           other condition affecting this Agreement or Eurodollar Loans made by such Lender or any Letter
1675           of Credit or participation therein;

1676   and the result of any of the foregoing shall be to increase the cost to such Lender of making or maintain-
1677   ing any Eurodollar Loan (or of maintaining its obligation to make any such Loan) or to increase the cost
1678   to such Lender or the Issuing Bank of participating in, issuing or maintaining any Letter of Credit or to
1679   reduce the amount of any sum received or receivable by such Lender or the Issuing Bank hereunder
1680   (whether of principal, interest or otherwise), then the Borrower will pay to such Lender or the Issuing
1681   Bank, as the case may be, such additional amount or amounts as will compensate such Lender or the Is-
1682   suing Bank, as the case may be, for such additional costs incurred or reduction suffered.

1683                    (b)     If any Lender or the Issuing Bank determines that any Change in Law regarding
1684   capital requirements has or would have the effect of reducing the rate of return on such Lender’s or the
1685   Issuing Bank’s capital or on the capital of such Lender’s or the Issuing Bank’s holding company, if any,
1686   as a consequence of this Agreement or the Loans made by, or participations in Letters of Credit held by,
1687   such Lender, or the Letters of Credit issued by the Issuing Bank, to a level below that which such Lender
1688   or the Issuing Bank or such Lender’s or the Issuing Bank’s holding company could have achieved but for
1689   such Change in Law (taking into consideration such Lender’s or the Issuing Bank’s policies and the poli-
1690   cies of such Lender’s or the Issuing Bank’s holding company with respect to capital adequacy), then from
1691   time to time the Borrower will pay to such Lender or the Issuing Bank, as the case may be, such addition-
1692   al amount or amounts as will compensate such Lender or the Issuing Bank or such Lender’s or the Issuing
1693   Bank’s holding company for any such reduction suffered.

1694                    (c)     A certificate of a Lender or the Issuing Bank setting forth the amount or amounts
1695   necessary to compensate such Lender or the Issuing Bank or its holding company, as the case may be, as
1696   specified in paragraph (a) or (b) of this Section shall be delivered to the Borrower and shall be conclusive
1697   absent manifest error. The Borrower shall pay such Lender or the Issuing Bank, as the case may be, the
1698   amount shown as due on any such certificate within 10 days after receipt thereof.

1699                     (d)    Failure or delay on the part of any Lender or the Issuing Bank to demand com-
1700   pensation pursuant to this Section shall not constitute a waiver of such Lender’s or the Issuing Bank’s
1701   right to demand such compensation; provided that the Borrower shall not be required to compensate a
1702   Lender or the Issuing Bank pursuant to this Section for any increased costs or reductions incurred more
1703   than 180 days prior to the date that such Lender or the Issuing Bank, as the case may be, notifies the Bor-
1704   rower of the Change in Law giving rise to such increased costs or reductions and of such Lender’s or the
1705   Issuing Bank’s intention to claim compensation therefor; provided further that, if the Change in Law giv-
1706   ing rise to such increased costs or reductions is retroactive, then the 180-day period referred to above shall
1707   be extended to include the period of retroactive effect thereof.


                                                           -36-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 725 of 771


1708                     SECTION 2.16. Break Funding Payments. In the event of (a) the payment of any prin-
1709   cipal of any Eurodollar Loan other than on the last day of an Interest Period applicable thereto (including
1710   as a result of an Event of Default), (b) the conversion of any Eurodollar Loan other than on the last day of
1711   the Interest Period applicable thereto, (c) the failure to borrow, convert, continue or prepay any Revolving
1712   Loan on the date specified in any notice delivered pursuant hereto (regardless of whether such notice may
1713   be revoked under Section 2.11(f) and is revoked in accordance therewith), or (d) the assignment of any
1714   Eurodollar Loan other than on the last day of the Interest Period applicable thereto as a result of a request
1715   by the Borrower pursuant to Section 2.19, then, in any such event, the Borrower shall compensate each
1716   Lender for the loss, cost and expense attributable to such event. In the case of a Eurodollar Loan, such
1717   loss, cost or expense to any Lender shall be deemed to include an amount determined by such Lender to
1718   be the excess, if any, of (i) the amount of interest which would have accrued on the principal amount of
1719   such Loan had such event not occurred, at the Adjusted LIBO Rate that would have been applicable to
1720   such Loan, for the period from the date of such event to the last day of the then current Interest Period
1721   therefor (or, in the case of a failure to borrow, convert or continue, for the period that would have been
1722   the Interest Period for such Loan), over (ii) the amount of interest which would accrue on such principal
1723   amount for such period at the interest rate which such Lender would bid were it to bid, at the commence-
1724   ment of such period, for dollar deposits of a comparable amount and period from other banks in the euro-
1725   dollar market. A certificate of any Lender setting forth any amount or amounts that such Lender is en-
1726   titled to receive pursuant to this Section shall be delivered to the Borrower and shall be conclusive absent
1727   manifest error. The Borrower shall pay such Lender the amount shown as due on any such certificate
1728   within 10 days after receipt thereof.

1729                   SECTION 2.17.       Taxes.

1730                    (a)      Any and all payments by or on account of any obligation of the Borrower he-
1731   reunder or under any other Loan Document shall be made free and clear of and without deduction for any
1732   Indemnified Taxes or Other Taxes; provided that if the Borrower shall be required to deduct any Indemni-
1733   fied Taxes or Other Taxes from such payments, then (i) the sum payable shall be increased as necessary
1734   so that after making all required deductions (including deductions applicable to additional sums payable
1735   under this Section) the Administrative Agent, Lender or Issuing Bank (as the case may be) receives an
1736   amount equal to the sum it would have received had no such deductions been made, (ii) the Borrower
1737   shall make such deductions and (iii) the Borrower shall pay the full amount deducted to the relevant Go-
1738   vernmental Authority in accordance with applicable law.

1739                    (b)     In addition, the Borrower shall pay any Other Taxes to the relevant Governmen-
1740   tal Authority in accordance with applicable law.

1741                    (c)     The Borrower shall indemnify the Administrative Agent, each Lender and the Is-
1742   suing Bank, within 30 days after written demand therefor, for the full amount of any Indemnified Taxes
1743   or Other Taxes paid by the Administrative Agent, such Lender or the Issuing Bank, as the case may be, on
1744   or with respect to any payment by or on account of any obligation of the Borrower hereunder or under
1745   any other Loan Document (including Indemnified Taxes or Other Taxes imposed or asserted on or attri-
1746   butable to amounts payable under this Section) and any penalties, interest and reasonable expenses arising
1747   therefrom or with respect thereto, whether or not such Indemnified Taxes or Other Taxes were correctly
1748   or legally imposed or asserted by the relevant Governmental Authority. A certificate as to the amount of
1749   such payment or liability delivered to the Borrower by a Lender or the Issuing Bank, or by the Adminis-
1750   trative Agent on its own behalf or on behalf of a Lender or the Issuing Bank, shall be conclusive absent
1751   manifest error.

1752                  (d)     As soon as practicable after any payment of Indemnified Taxes or Other Taxes
1753   by the Borrower to a Governmental Authority, the Borrower shall deliver to the Administrative Agent the


                                                           -37-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                                 Pg 726 of 771


1754   original or a certified copy of a receipt issued by such Governmental Authority evidencing such payment,
1755   a copy of the return reporting such payment or other evidence of such payment reasonably satisfactory to
1756   the Administrative Agent.

1757                     (e)      Any Foreign Lender that is entitled to an exemption from or reduction of with-
1758   holding tax under the law of the jurisdiction in which the Borrower is located, or any treaty to which such
1759   jurisdiction is a party, with respect to payments under this Agreement shall deliver to the Borrower (with
1760   a copy to the Administrative Agent), at the time or times prescribed by applicable law and at such other
1761   times as may be necessary in the determination of Borrower or Administrative Agent (each in the reason-
1762   able exercise of its discretion), (a) two original copies of Internal Revenue Service Form W---8BEN, W-
1763   --8IMY, or W---8ECI (or any successor forms), properly completed and duly executed by such Foreign
1764   Lender, and such other documentation required under the Code and reasonably requested by Borrower to
1765   establish that such Foreign Lender is not subject to deduction or withholding of United States federal in-
1766   come Tax with respect to any payments to such Foreign Lender of principal, interest, fees, or other
1767   amounts payable under this Agreement or any of the Loan Documents or is subject to deduction or with-
1768   holding at a reduced rate, or (b) if such Foreign Lender is not a “bank” or other Person described in Sec-
1769   tion 881(c)(3) of the Code and is claiming exemption from United States federal withholding tax under
1770   871(h) or 881(c) of the Code with respect to payments of “portfolio interest”, a Certificate Regarding
1771   Non-Bank Status together with two original copies of Internal Revenue Service Form W-8BEN (or any
1772   successor form), properly completed and duly executed by such Foreign Lender, and such other documen-
1773   tation required under the Code and reasonably requested by Borrower to establish that such Foreign
1774   Lender is not subject to deduction or withholding of United States federal income Tax with respect to any
1775   payments to such Foreign Lender of interest payable under this Agreement or any of the Loan Docu-
1776   ments. Each Foreign Lender required to deliver any forms, certificates, or other evidence with respect to
1777   United States federal income Tax-withholding matters pursuant to this Section 2.17(e) hereby agrees,
1778   from time to time after the initial delivery by such Foreign Lender of such forms, certificates, or other
1779   evidence, whenever a lapse in time or change in circumstances renders such forms, certificates, or other
1780   evidence obsolete or inaccurate in any material respect, that such Foreign Lender shall promptly deliver to
1781   Administrative Agent for transmission to Borrower two new original copies of Internal Revenue Service
1782   Form W-8BEN, W-8IMY, or W-8ECI, or a Certificate Regarding Non-Bank Status and two original cop-
1783   ies of Internal Revenue Service Form W-8BEN (or any successor form), as the case may be, properly
1784   completed and duly executed by such Foreign Lender, and such other documentation required under the
1785   Code and reasonably requested by Borrower to confirm or establish that such Foreign Lender is not sub-
1786   ject to deduction or withholding of United States federal income Tax with respect to payments to such
1787   Foreign Lender under this Agreement or the Loan Documents or is subject to deduction or withholding at
1788   a reduced rate, or notify Administrative Agent and Borrower of its inability to deliver any such forms,
1789   certificates, or other evidence. Nothing in this Section 2.17 shall be construed to require a Lender, Ad-
1790   ministrative Agent, or Issuing Bank to provide any forms or documentation that it is not legally entitled to
1791   provide.

1792                      (f)      Each Lender that is a United States Person (as such term is defined in Section
1793   7701(a)(30) of the Code) for United States federal income Tax purposes (a “United States Lender”) shall
1794   deliver to Administrative Agent for transmission to the Borrower, on or prior to the Effective Date (in the
1795   case of each Lender listed on the signature pages hereof on the Effective Date, and at such other times as
1796   may be necessary in the determination of the Borrower or Administrative Agent (each in the reasonable
1797   exercise of its discretion), two original copies of Internal Revenue Service Form W-9 (or any successor
1798   forms), properly completed and duly executed by such Lender, and such other documentation required
1799   under the Code and reasonably requested by the Borrower to establish that such Lender is not subject to
1800   backup withholding under Section 3406 of the Code with respect to any payments to such Lender of prin-
1801   cipal, interest, fees, or other amounts payable under this Agreement or any of the Loan Documents.



                                                          -38-
       CG&R DRAFT: 12/15/10 11:13 PM                                                 #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                  Pg 727 of 771


1802                    (g)      If the Administrative Agent or a Lender determines, in its sole discretion, that it
1803   has received a refund of any Taxes or Other Taxes as to which it has been indemnified by the Borrower or
1804   with respect to which the Borrower has paid additional amounts pursuant to this Section 2.17, it shall pay
1805   over such refund to the Borrower (but only to the extent of indemnity payments made, or additional
1806   amounts paid, by the Borrower under this Section 2.17 with respect to the Taxes or Other Taxes giving
1807   rise to such refund), net of all out-of-pocket expenses of the Administrative Agent or such Lender and
1808   without interest (other than any interest paid by the relevant Governmental Authority with respect to such
1809   refund); provided, that the Borrower, upon the request of the Administrative Agent or such Lender, agrees
1810   to repay the amount refunded to the Borrower (plus any penalties, interest or other charges imposed by
1811   the relevant Governmental Authority) to the Administrative Agent or such Lender in the event the Ad-
1812   ministrative Agent or such Lender is required to repay such refund to such Governmental Authority. This
1813   Section shall not be construed to require the Administrative Agent or any Lender (i) to make available its
1814   Tax returns (or any other information relating to its taxes which it deems confidential) to the Borrower or
1815   any other Person or (ii) to determine whether it is entitled to apply for a refund of any Taxes or Other
1816   Taxes.

1817                   SECTION 2.18.       Payments Generally; Pro Rata Treatment; Sharing of Setoffs.

1818                     (a)     The Borrower shall make each payment required to be made by it hereunder or
1819   under any other Loan Document (whether of principal, interest, fees or reimbursement of LC Disburse-
1820   ments, or of amounts payable under Sections 2.15, 2.16 or 2.17, or otherwise) prior to the time expressly
1821   required hereunder or under such other Loan Document for such payment (or, if no such time is expressly
1822   required, prior to 12:00 noon, New York City time), on the date when due, in immediately available
1823   funds, without setoff or counterclaim. Any amounts received after such time on any date may, in the dis-
1824   cretion of the Administrative Agent, be deemed to have been received on the next succeeding Business
1825   Day for purposes of calculating interest thereon. All such payments shall be made to the Administrative
1826   Agent at its offices at 270 Park Avenue, New York, New York, except payments to be made directly to
1827   the Issuing Bank or Swingline Lender as expressly provided herein and except that payments pursuant to
1828   Sections 2.15, 2.16, 2.17 and 9.03 shall be made directly to the Persons entitled thereto and payments pur-
1829   suant to other Loan Documents shall be made to the Persons specified therein. The Administrative Agent
1830   shall distribute any such payments received by it for the account of any other Person to the appropriate
1831   recipient promptly following receipt thereof. If any payment under any Loan Document shall be due on a
1832   day that is not a Business Day, the date for payment shall be extended to the next succeeding Business
1833   Day, and, in the case of any payment accruing interest, interest thereon shall be payable for the period of
1834   such extension. All payments under each Loan Document shall be made in dollars.

1835                    (b)      If at any time insufficient funds are received by and available to the Administra-
1836   tive Agent to pay fully all amounts of principal, unreimbursed LC Disbursements, interest and fees then
1837   due hereunder, such funds shall be applied (i) first, towards payment of interest and fees then due he-
1838   reunder, ratably among the parties entitled thereto in accordance with the amounts of interest and fees
1839   then due to such parties, and (ii) second, towards payment of principal and unreimbursed LC Disburse-
1840   ments then due hereunder, ratably among the parties entitled thereto in accordance with the amounts of
1841   principal and unreimbursed LC Disbursements then due to such parties.

1842                   (c)     If any Lender shall, by exercising any right of setoff or counterclaim or other-
1843   wise, obtain payment in respect of any principal of or interest on any of its Revolving Loans or participa-
1844   tions in LC Disbursements or Swingline Loans resulting in such Lender receiving payment of a greater
1845   proportion of the aggregate amount of its Revolving Loans and participations in LC Disbursements and
1846   Swingline Loans and accrued interest thereon than the proportion received by any other Lender, then the
1847   Lender receiving such greater proportion shall purchase (for cash at face value) participations in the Re-
1848   volving Loans and participations in LC Disbursements and Swingline Loans of other Lenders to the ex-


                                                           -39-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                                  Pg 728 of 771


1849   tent necessary so that the benefit of all such payments shall be shared by the Lenders ratably in accor-
1850   dance with the aggregate amount of principal of and accrued interest on their respective Revolving Loans
1851   and participations in LC Disbursements and Swingline Loans; provided that (i) if any such participations
1852   are purchased and all or any portion of the payment giving rise thereto is recovered, such participations
1853   shall be rescinded and the purchase price restored to the extent of such recovery, without interest, and
1854   (ii) the provisions of this paragraph shall not be construed to apply to any payment made by the Borrower
1855   pursuant to and in accordance with the express terms of this Agreement or any payment obtained by a
1856   Lender as consideration for the assignment of or sale of a participation in any of its Loans or participa-
1857   tions in LC Disbursements to any assignee or participant, other than to the Borrower or any Subsidiary or
1858   Affiliate thereof (as to which the provisions of this paragraph shall apply). The Borrower consents to the
1859   foregoing and agrees, to the extent it may effectively do so under applicable law, that any Lender acquir-
1860   ing a participation pursuant to the foregoing arrangements may exercise against the Borrower rights of
1861   set-off and counterclaim with respect to such participation as fully as if such Lender were a direct creditor
1862   of the Borrower in the amount of such participation.

1863                     (d)    Unless the Administrative Agent shall have received notice from the Borrower
1864   prior to the date on which any payment is due to the Administrative Agent for the account of the Lenders
1865   or the Issuing Bank hereunder that the Borrower will not make such payment, the Administrative Agent
1866   may assume that the Borrower has made such payment on such date in accordance herewith and may, in
1867   reliance upon such assumption, distribute to the Lenders or the Issuing Bank, as the case may be, the
1868   amount due. In such event, if the Borrower has not in fact made such payment, then each of the Lenders
1869   or the Issuing Bank, as the case may be, severally agrees to repay to the Administrative Agent forthwith
1870   on demand the amount so distributed to such Lender or Issuing Bank with interest thereon, for each day
1871   from and including the date such amount is distributed to it to but excluding the date of payment to the
1872   Administrative Agent, at the greater of the Federal Funds Effective Rate and a rate determined by the
1873   Administrative Agent in accordance with banking industry rules on interbank compensation.

1874                   (e)      Prior to an Event of Default, if any Lender shall fail to make any payment re-
1875   quired to be made by it pursuant to Sections 2.04(c), 2.05(d) or (e), 2.06(b), 2.18(d) or 9.03(c), then the
1876   Administrative Agent may, in its discretion (notwithstanding any contrary provision hereof), apply any
1877   amounts thereafter received by the Administrative Agent for the account of such Lender to satisfy such
1878   Lender’s obligations under such Sections until all such unsatisfied obligations are fully paid.

1879                    SECTION 2.19.       Mitigation Obligations; Replacement of Lenders.

1880                     (a)      If any Lender requests compensation under Section 2.15, or if the Borrower is
1881   required to pay any additional amount to any Lender or any Governmental Authority for the account of
1882   any Lender pursuant to Section 2.17, then such Lender shall use reasonable efforts to designate a different
1883   lending office for funding or booking its Loans hereunder or to assign its rights and obligations hereunder
1884   to another of its offices, branches or affiliates, if, in the judgment of such Lender, such designation or as-
1885   signment (i) would eliminate or reduce amounts payable pursuant to Section 2.15 or 2.17, as the case may
1886   be, in the future and (ii) would not subject such Lender to any unreimbursed cost or expense and would
1887   not otherwise be disadvantageous to such Lender. The Borrower hereby agrees to pay all reasonable
1888   costs and expenses incurred by any Lender in connection with any such designation or assignment.

1889                     (b)    If any Lender requests compensation under Section 2.15, or if the Borrower is
1890   required to pay any additional amount to any Lender or any Governmental Authority for the account of
1891   any Lender pursuant to Section 2.17, or if any Lender becomes a Defaulting Lender, then the Borrower
1892   may, at its sole expense (including any processing and recordation fee) and effort, upon notice to such
1893   Lender and the Administrative Agent, require such Lender to assign and delegate, without recourse (in
1894   accordance with and subject to the restrictions contained in Section 9.04), all its interests, rights and obli-


                                                            -40-
       CG&R DRAFT: 12/15/10 11:13 PM                                                    #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 729 of 771


1895   gations under this Agreement to an assignee that shall assume such obligations (which assignee may be
1896   another Lender, if a Lender accepts such assignment); provided that (i) the Borrower shall have received
1897   the prior written consent of the Administrative Agent (and, if a Revolving Commitment is being assigned,
1898   the Issuing Bank and Swingline Lender), which consent shall not unreasonably be withheld, (ii) such
1899   Lender shall have received payment of an amount equal to the outstanding principal of its Loans and par-
1900   ticipations in LC Disbursements and Swingline Loans, accrued interest thereon, accrued fees (including
1901   any applicable prepayment fee) and all other amounts payable to it hereunder, from the assignee (to the
1902   extent of such outstanding principal and accrued interest and fees) or the Borrower (in the case of all other
1903   amounts) and (iii) in the case of any such assignment resulting from a claim for compensation under Sec-
1904   tion 2.15 or payments required to be made pursuant to Section 2.17, such assignment will result in a ma-
1905   terial reduction in such compensation or payments. A Lender shall not be required to make any such as-
1906   signment and delegation if, prior thereto, as a result of a waiver by such Lender or otherwise, the circums-
1907   tances entitling the Borrower to require such assignment and delegation cease to apply.

1908                   SECTION 2.20.       [Reserved].

1909                     SECTION 2.21. Defaulting Lenders. Notwithstanding any provision of this Agreement
1910   to the contrary, if any Revolving Lender becomes a Defaulting Lender, then the following provisions
1911   shall apply for so long as such Lender is a Defaulting Lender:

1912                    (a)      if any Swingline Exposure or LC Exposure exists at the time a Revolving Lender
1913           is a Defaulting Lender, the Borrower shall (i) within five Business Days following notice by the
1914           Administrative Agent prepay such Swingline Exposure or, if agreed by the Swingline Lender,
1915           within one Business Day following notice by the Administrative Agent, cash collateralize the
1916           Swingline Exposure of the Defaulting Lender on terms satisfactory to the Swingline Lender and
1917           (ii) within one Business Day following notice by the Administrative Agent, cash collateralize
1918           such Defaulting Lender’s LC Exposure in accordance with the procedures set forth in Section
1919           2.05(j) for so long as such LC Exposure is outstanding; and

1920                    (b)      the Swingline Lender shall not be required to fund any Swingline Loan and the
1921           Issuing Bank shall not be required to issue, amend or increase any Letter of Credit unless it is sa-
1922           tisfied that cash collateral will be provided by the Borrower or the applicable Lender in accor-
1923           dance with Section 2.04 and 2.05, as applicable; and

1924                     (c)     If the Borrower, the Administrative Agent, Swingline Lender and the Issuing
1925   Bank agree in writing in their sole discretion that a Defaulting Lender should no longer be deemed to be a
1926   Defaulting Lender, the Administrative Agent will so notify the parties hereto, whereupon as of the effec-
1927   tive date specified in such notice and subject to any conditions set forth therein (which may include ar-
1928   rangements with respect to Cash Collateral) that Lender will, to the extent applicable, purchase that por-
1929   tion of outstanding Loans of the other Lenders or take such other actions as the Administrative Agent may
1930   reasonably determine to be necessary to cause the Revolving Commitments and funded and unfunded
1931   Letters of Credit and Swingline Loans to be held on a pro rata basis by the Lenders in accordance with
1932   their Pro Rata Shares, whereupon that Lender will cease to be a Defaulting Lender; provided that no ad-
1933   justments will be made retroactively with respect to fees accrued or payments made by or on behalf of the
1934   Borrower while that Lender was a Defaulting Lender; and provided, further, that except to the extent oth-
1935   erwise expressly agreed by the affected parties, no change hereunder from Defaulting Lender to Lender
1936   will constitute a waiver or release of any claim of any party hereunder arising from that Lender’s having
1937   been a Defaulting Lender.




                                                           -41-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                  Pg 730 of 771


1938                                                  ARTICLE III
1939
1940                                         Representations and Warranties

1941                   The Borrower represents and warrants to the Lenders that:

1942                   SECTION 3.01. Organization; Powers. Each of the Borrower and its Subsidiaries is
1943   duly organized and validly existing and, except, in each case, where the failure to do so, individually or in
1944   the aggregate, could not reasonably be expected to result in a Material Adverse Effect, is in good standing
1945   under the laws of the jurisdiction of its organization, has all requisite power and authority to carry on its
1946   business as now conducted and is qualified to do business in, and is in good standing in, every jurisdiction
1947   where such qualification is required.

1948                    SECTION 3.02. Authorization; Enforceability. The Emergence Transactions entered
1949   into and to be entered into by each Loan Party are within such Loan Party’s corporate powers and have
1950   been duly authorized by all necessary corporate and, if required, stockholder action. This Agreement has
1951   been duly executed and delivered by the Borrower and constitutes, and each other Loan Document to
1952   which any Loan Party is to be a party, when executed and delivered by such Loan Party, will constitute, a
1953   legal, valid and binding obligation of the Borrower or such Loan Party (as the case may be), enforceable
1954   in accordance with its terms, subject to applicable bankruptcy, insolvency, reorganization, moratorium or
1955   other laws affecting creditors’ rights generally and subject to general principles of equity, regardless of
1956   whether considered in a proceeding in equity or at law.

1957                    SECTION 3.03. Governmental Approvals; No Conflicts. The Emergence Transactions
1958   (a) do not require any consent or approval of, registration or filing with, or any other action by, any Go-
1959   vernmental Authority, except such as have been obtained or made and are in full force and effect and ex-
1960   cept filings necessary to perfect Liens created under the Loan Documents, (b) will not violate any appli-
1961   cable law or regulation or the charter, by-laws or other organizational documents of the Borrower or any
1962   of its Subsidiaries or any order of any Governmental Authority, (c) will not violate or result in a default
1963   under any material indenture, agreement or other instrument binding upon the Borrower or any of its Re-
1964   stricted Subsidiaries or its assets, or give rise to a right thereunder to require any payment to be made by
1965   the Borrower or any of its Restricted Subsidiaries, and (d) will not result in the creation or imposition of
1966   any Lien on any asset of the Borrower or any of its Restricted Subsidiaries, except Liens created under the
1967   Loan Documents, the Security Documents (as defined in the Senior Secured Notes Indenture) and the Se-
1968   curity Documents (as defined in the Second Lien Indenture).

1969                   SECTION 3.04.       Financial Condition; No Material Adverse Change.

1970                     (a)     The Borrower has heretofore furnished to the Lenders its consolidated balance
1971   sheet and statements of income, stockholders’ equity and cash flows (i) as of and for the fiscal year ended
1972   March 31, 2010, reported on by Deloitte & Touche LLP, independent public accountants, and (ii) as of
1973   and for the fiscal quarter and the portion of the fiscal year ended September 30, 2010, certified by its chief
1974   financial officer. Such financial statements present fairly, in all material respects, the financial position
1975   and results of operations and cash flows of the Borrower and its consolidated Subsidiaries as of such dates
1976   and for such periods in accordance with GAAP, subject to normal year-end audit adjustments and the ab-
1977   sence of footnotes in the case of the statements referred to in clause (ii) above.

1978                    (b)     Except as disclosed in the financial statements referred to above or the notes the-
1979   reto and except for the Disclosed Matters, none of the Borrower or any of its Subsidiaries has, as of the
1980   Effective Date, any material contingent liabilities, unusual long-term commitments or unrealized losses.



                                                           -42-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                                  Pg 731 of 771


1981                    (c)     Since March 31, 2010, there has been no material adverse change in the business,
1982   assets, operations or condition, financial or otherwise, of the Borrower and its Subsidiaries, taken as a
1983   whole (other than as a result of the Bankruptcy Cases and any effects that may occur as a result thereof).

1984                    SECTION 3.05.      Properties.

1985                    (a)       Each of the Borrower and its Restricted Subsidiaries has good title to, or valid
1986   leasehold interests in, all its real and personal property material to their business (including its Mortgaged
1987   Properties), taken as a whole, except for minor defects in title that do not interfere with its ability to con-
1988   duct its business as currently conducted or to utilize such properties for their intended purposes.

1989                     (b)      Each of the Borrower and its Restricted Subsidiaries owns, or is licensed to use,
1990   all trademarks, trade names, copyrights, patents and other intellectual property material to their business,
1991   taken as a whole, and the use thereof by the Borrower and its Restricted Subsidiaries does not infringe
1992   upon the rights of any other Person, except for any such infringements that, individually or in the aggre-
1993   gate, could not reasonably be expected to result in a Material Adverse Effect. Schedule 3.05(b) sets forth
1994   a complete list of all trademarks, trade names, copyrights, patents and other intellectual property owned
1995   by the Borrower and its Restricted Subsidiaries as of the Effective Date that has been duly registered in,
1996   filed in or issued by the United States Patent and Trademark Office or the United States Copyright Office
1997   or any other appropriate office.

1998                   (c)     Schedule 3.05(c) sets forth the address of each real property that is owned or
1999   leased by the Borrower or any of its Subsidiaries as of the Effective Date.

2000                    (d)      As of the Effective Date, neither the Borrower nor any of its Subsidiaries has re-
2001   ceived notice of, or has knowledge of, any pending or contemplated condemnation proceeding affecting
2002   any Mortgaged Property or any sale or disposition thereof in lieu of condemnation. Except as set forth on
2003   Schedule 3.05(d), none of the Mortgaged Properties or any interest therein is subject to any right of first
2004   refusal, option or other contractual right to purchase any such Mortgaged Property or interest therein.

2005                    SECTION 3.06.      Litigation and Environmental Matters.

2006                     (a)     There are no actions, suits or proceedings by or before any arbitrator or Govern-
2007   mental Authority pending against or, to the knowledge of the Borrower, threatened against or affecting
2008   the Borrower or any of its Subsidiaries (i) that could reasonably be expected, individually or in the aggre-
2009   gate, to result in a Material Adverse Effect (other than the Disclosed Matters) or (ii) that involve any of
2010   the Loan Documents or the Emergence Transactions.

2011                     (b)      Except for the Disclosed Matters and except with respect to any other matters
2012   that, individually or in the aggregate, could not reasonably be expected to result in a Material Adverse
2013   Effect, neither the Borrower nor any of its Subsidiaries (i) has failed to comply with any Environmental
2014   Law or to obtain, maintain or comply with any permit, license or other approval required under any Envi-
2015   ronmental Law, (ii) has become subject to any Environmental Liability, (iii) has received notice of any
2016   claim asserting that the Borrower or any of its Subsidiaries is obligated to redress any Environmental Lia-
2017   bility or (iv) knows of any basis for any Environmental Liability that the Borrower or any of its Subsidiar-
2018   ies is reasonably likely to become obligated to redress.

2019                    (c)     Since the Effective Date, there has been no change in the status of the Disclosed
2020   Matters that, individually or in the aggregate, has resulted in, or materially increased the likelihood of, a
2021   Material Adverse Effect.



                                                            -43-
       CG&R DRAFT: 12/15/10 11:13 PM                                                    #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 732 of 771


2022                      SECTION 3.07. Compliance with Laws and Agreements. Each of the Borrower and its
2023   Subsidiaries is in compliance with all laws, regulations and orders of any Governmental Authority appli-
2024   cable to it or its property and all indentures, agreements and other instruments binding upon it or its prop-
2025   erty, except where the failure to do so, individually or in the aggregate, could not reasonably be expected
2026   to result in a Material Adverse Effect. No Default has occurred and is continuing.

2027                     SECTION 3.08. Investment Company Status. Neither the Borrower nor any of its Sub-
2028   sidiaries is an “investment company” as defined in, or subject to regulation under, the Investment Com-
2029   pany Act of 1940, as amended.

2030                    SECTION 3.09. Taxes. Each of the Borrower and its Subsidiaries has timely filed or
2031   caused to be filed all Tax returns and reports required to have been filed and has paid or caused to be paid
2032   all Taxes required to have been paid by it, except (a) any Taxes that are being contested in good faith by
2033   appropriate proceedings and for which the Borrower or such Subsidiary, as applicable, has set aside on its
2034   books adequate reserves or (b) to the extent that the failure to do so could not reasonably be expected to
2035   result in a Material Adverse Effect.

2036                     SECTION 3.10. ERISA. No ERISA Event has occurred or is reasonably expected to
2037   occur that, when taken together with all other such ERISA Events for which liability is reasonably ex-
2038   pected to occur, could reasonably be expected to result in a Material Adverse Effect. The present value of
2039   all accumulated benefit obligations under each Plan (based on the assumptions to fund such Plan) did not,
2040   as of the date of the most recent financial statements reflecting such amounts, exceed the fair market val-
2041   ue of the assets of such Plan by an amount which, if required to be paid, could reasonably be expected to
2042   have a Material Adverse Effect, and the present value of all accumulated benefit obligations of all under-
2043   funded Plans (based on the assumptions to fund such Plan) did not, as of the date of the most recent fi-
2044   nancial statements reflecting such amounts, exceed the fair market value of the assets of all such under-
2045   funded Plans by an amount which, if required to be paid, could reasonably be expected to have a Material
2046   Adverse Effect.

2047                     SECTION 3.11. Disclosure. The Borrower has disclosed to the Lenders all agree-
2048   ments, instruments and corporate or other restrictions to which the Borrower or any of its Subsidiaries is
2049   subject, and all other matters known to any of them, that, individually or in the aggregate, could reasona-
2050   bly be expected to result in a Material Adverse Effect. None of the reports, financial statements, certifi-
2051   cates or other information furnished by or on behalf of any Loan Party to the Administrative Agent or any
2052   Lender in connection with the negotiation of this Agreement, any other Loan Document, or delivered he-
2053   reunder or thereunder (as modified or supplemented by other information so furnished, taken as a whole)
2054   contains any material misstatement of fact or omits to state any material fact necessary to make the state-
2055   ments therein, in the light of the circumstances under which they were made, not misleading; provided
2056   that, with respect to projected financial information, the Borrower represents only that such information
2057   was prepared in good faith based upon assumptions believed to be reasonable at the time.

2058                    SECTION 3.12. Subsidiaries. Schedule 3.12 sets forth the name of, and the ownership
2059   interest of the Borrower in, each Subsidiary of the Borrower and identifies each Subsidiary that is a Sub-
2060   sidiary Loan Party, in each case as of the Effective Date. As of the Effective Date, all Subsidiaries are
2061   Restricted Subsidiaries.

2062                     SECTION 3.13. Insurance. Schedule 3.13 sets forth a description of all insurance
2063   maintained by or on behalf of the Borrower and its Subsidiaries as of the Effective Date. As of the Effec-
2064   tive Date, all premiums in respect of such insurance have been paid in accordance with the applicable pol-
2065   icy. The Borrower believes that the insurance maintained by or on behalf of the Borrower and its Subsid-
2066   iaries is adequate.


                                                           -44-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg         Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                    Main Document
                                                   Pg 733 of 771


2067                     SECTION 3.14. Labor Matters. As of the Effective Date, there are no strikes, lockouts
2068   or slowdowns against the Borrower or any Subsidiary pending or, to the knowledge of the Borrower,
2069   threatened. The hours worked by and payments made to employees of the Borrower and the Restricted
2070   Subsidiaries have not been in violation of the Fair Labor Standards Act or any other applicable Federal,
2071   state, local or foreign law dealing with such matters, except for such violations that, individually or in the
2072   aggregate, could not reasonably be expected to result in a Material Adverse Effect. All payments due
2073   from the Borrower or any Restricted Subsidiary, or for which any claim may be made against the Bor-
2074   rower or any Restricted Subsidiary, on account of wages and employee health and welfare insurance and
2075   other benefits, have been paid or accrued as a liability on the books of the Borrower or such Restricted
2076   Subsidiary, except for such payments which, if not paid or accrued, individually or in the aggregate, could
2077   not reasonably be expected to result in a Material Adverse Effect. The consummation of the Emergence
2078   Transactions will not give rise to any right of termination or right of renegotiation on the part of any un-
2079   ion under any collective bargaining agreement to which the Borrower or any Subsidiary is bound, except
2080   for such rights of termination or renegotiation, which, individually or in the aggregate, could not reasona-
2081   bly be expected to result in a Material Adverse Effect.

2082                     SECTION 3.15. Solvency. Immediately following the making of any Loan made on
2083   the Effective Date and after giving effect to the application of the proceeds of such Loans, (a) the fair val-
2084   ue of the assets of the Borrower and its Subsidiaries, taken as a whole, at a fair valuation, will exceed
2085   their debts and liabilities, subordinated, contingent or otherwise; (b) the present fair saleable value of the
2086   property of the Borrower and its Subsidiaries, taken as a whole, will be greater than the amount that will
2087   be required to pay the probable liability of their debts and other liabilities, subordinated, contingent or
2088   otherwise, as such debts and other liabilities become absolute and matured; (c) the Borrower and its Sub-
2089   sidiaries, taken as a whole, will be able to pay their respective debts and liabilities, subordinated, contin-
2090   gent or otherwise, as such debts and liabilities become absolute and matured; and (d) the Borrower and its
2091   Subsidiaries, taken as a whole, will not have unreasonably small capital with which to conduct the busi-
2092   ness in which they are engaged as such business is now conducted and is proposed to be conducted fol-
2093   lowing the Effective Date.

2094                   SECTION 3.16. Senior Indebtedness. The Obligations constitute “Senior Indebted-
2095   ness” under and as defined in any indenture under which any subordinated Indebtedness was or is issued.

2096                    SECTION 3.17.       Security Documents.

2097                    (a)       The Guarantee and Collateral Agreement is effective to create in favor of the
2098   Administrative Agent, for the ratable benefit of the Secured Parties, a legal, valid and enforceable security
2099   interest in the Collateral (as defined in the Guarantee and Collateral Agreement).

2100                      (b)       When the portion of the Collateral constituting certificated securities (as defined
2101   in the Uniform Commercial Code) is delivered to the Administrative Agent, the Guarantee and Collateral
2102   Agreement shall constitute a fully perfected first priority Lien on, and security interest in, all right, title
2103   and interest of the pledgor thereunder in such Collateral, in each case prior and superior in right to any
2104   other Person other than with respect to the Liens on Collateral securing the Senior Secured Notes. When
2105   financing statements in appropriate form are filed in the offices specified on Schedule 6 to the Perfection
2106   Certificate, the Guarantee and Collateral Agreement shall constitute a fully perfected Lien on, and securi-
2107   ty interest in, all right, title and interest of the grantors thereunder in such Collateral (other than the Intel-
2108   lectual Property (as defined in the Guarantee and Collateral Agreement)), to the extent such security in-
2109   terests can be perfected by the filing of financing statements, in each case prior and superior in right to
2110   any other Person, other than with respect to Liens expressly permitted by this Agreement or the Guarantee
2111   and Collateral Agreement. When control agreements are entered into with the financial institutions speci-
2112   fied on Schedule 13 to the Perfection Certificate, the Guarantee and Collateral Agreement shall constitute


                                                             -45-
       CG&R DRAFT: 12/15/10 11:13 PM                                                     #1052964 v14 (1049414_.DOC)
       10-16140-mg         Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                                   Pg 734 of 771


2113   a fully perfected Lien on, and security interest in, all right, title and interest of the grantors thereunder in
2114   all deposit accounts, securities accounts, and Collateral contained in such accounts, and any other Colla-
2115   teral as set forth in such control agreement, to the extent such security interests can be perfected by the
2116   entering into of such control agreements, in each case prior and superior in right to any other Person, oth-
2117   er than with respect to Liens expressly permitted by this Agreement or the Guarantee and Collateral
2118   Agreement.

2119                      (c)       When the Guarantee and Collateral Agreement, a supplement thereto or other ap-
2120   propriate notice is filed in the United States Patent and Trademark Office and the United States Copyright
2121   Office, the security interest created thereunder shall constitute a fully perfected Lien on, and security in-
2122   terest in, all right, title and interest of the Loan Parties in the domestic Intellectual Property (as defined in
2123   the Guarantee and Collateral Agreement) in which a security interest may be perfected by filing, record-
2124   ing or registering a security agreement, financing statement or analogous document in the United States
2125   Patent and Trademark Office or the United States Copyright Office, as applicable, in each case prior and
2126   superior in right to any other Person, other than with respect to the rights of Persons pursuant to Liens
2127   expressly permitted by the Guarantee and Collateral Agreement (it being understood that subsequent re-
2128   cordings in the United States Patent and Trademark Office and the United States Copyright Office may be
2129   necessary to perfect a lien on registered trademarks, trademark applications and copyrights acquired by
2130   the Loan Parties after the Effective Date.

2131                   (d)      Each of the Intercreditor Agreements is effective and has established the relation-
2132   ship (including with respect to priorities) of the Liens created by the Senior Secured Notes, the Liens
2133   created by the Second Lien Notes and the Liens securing the Obligations.

2134                    SECTION 3.18. Margin Stock. No Loan Party nor any Subsidiary thereof is engaged
2135   principally or as one of its activities in the business of extending credit for the purpose of “purchasing” or
2136   “carrying” any “margin stock” (as each such term is defined or used, directly or indirectly, in Regulation
2137   U of the Board). No part of the proceeds of any of the Loans or Letters of Credit will be used for pur-
2138   chasing or carrying margin stock or for any purpose which violates, or which would be inconsistent with,
2139   the provisions of Regulation T, U or X of the Board. If requested by any Lender (through the Administra-
2140   tive Agent) or the Administrative Agent, the Borrower will furnish to the Administrative Agent and each
2141   Lender a statement to the foregoing effect in conformity with the requirements of FR Form G-3 or FR
2142   Form U-1 referred to in Regulation U.

2143                    SECTION 3.19.       Anti-Terrorism Laws.

2144                    (a)       No Loan Party, none of its Subsidiaries and, to the knowledge of each Loan Par-
2145   ty, none of its Affiliates and none of the respective officers, directors, brokers or agents of such Loan Par-
2146   ty, such Subsidiary or Affiliate (i) has violated or is in violation of Anti-Terrorism Laws or (ii) has en-
2147   gaged or engages in any transaction, investment, undertaking or activity that conceals the identity, source
2148   or destination of the proceeds from any category of offenses designated in the “Forty Recommendations”
2149   and “Nine Special Recommendations” published by the Organisation for Economic Co-operation and De-
2150   velopment’s Financial Action Task Force on Money Laundering.

2151                   (b)      No Loan Party, none of its Subsidiaries and, to the knowledge of each Loan Par-
2152           ty, none of its Affiliates and none of the respective officers, directors, brokers or agents of such
2153           Loan Party, such Subsidiary or such Affiliate that is acting or benefiting in any capacity in con-
2154           nection with the Loans is an Embargoed Person.

2155                    (c)       No Loan Party, none of its Subsidiaries and, to the knowledge of each Loan Par-
2156   ty, none of its Affiliates and none of the respective officers, directors, brokers or agents of such Loan Par-


                                                             -46-
       CG&R DRAFT: 12/15/10 11:13 PM                                                     #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 735 of 771


2157   ty, such Subsidiary or such Affiliate acting or benefiting in any capacity in connection with the Loans (i)
2158   conducts any business or engages in making or receiving any contribution of funds, goods or services to
2159   or for the benefit of any Embargoed Person, (ii) deals in, or otherwise engages in any transaction related
2160   to, any property or interests in property blocked pursuant to any Anti-Terrorism Law or (iii) engages in or
2161   conspires to engage in any transaction that evades or avoids, or has the purpose of evading or avoiding, or
2162   attempts to violate, any of the prohibitions set forth in any Anti-Terrorism Law.

2163                                                  ARTICLE IV
2164
2165                                                   Conditions

2166                    SECTION 4.01. Effective Date. The obligations of the Lenders to make Loans and of
2167   the Issuing Bank to issue Letters of Credit hereunder shall not become effective until the date on which
2168   each of the following conditions is satisfied (or waived in accordance with Section 9.02):

2169                    (a)      The Administrative Agent (or its counsel) shall have received from each party
2170           hereto either (i) a counterpart of this Agreement signed on behalf of such party or (ii) written evi-
2171           dence reasonably satisfactory to the Administrative Agent (which may include telecopy transmis-
2172           sion of a signed signature page of this Agreement) that such party has signed a counterpart of this
2173           Agreement.

2174                   (b)      The Administrative Agent shall have received a favorable written opinion (ad-
2175           dressed to the Administrative Agent and the Lenders and dated the Effective Date) of each of (i)
2176           Akin, Gump, Strauss, Hauer & Feld LLP, counsel for the Borrower and (ii) David Olson, Esq.,
2177           Corporate Counsel for the Borrower, in the case of each such opinion required by this paragraph,
2178           covering such matters relating to the Loan Parties, the Loan Documents and the Emergence
2179           Transactions as the Administrative Agent or the Required Lenders shall reasonably request and
2180           reasonably satisfactory in form and substance to the Administrative Agent. The Borrower hereby
2181           requests such counsel to deliver such opinions.

2182                   (c)      The Administrative Agent shall have received such documents and certificates as
2183           the Administrative Agent or its counsel may reasonably request relating to the organization, exis-
2184           tence and good standing of each Loan Party, the authorization of the Emergence Transactions and
2185           any other legal matters relating to the Loan Parties, the Loan Documents or the Emergence
2186           Transactions, all in form and substance reasonably satisfactory to the Administrative Agent and
2187           its counsel.

2188                    (d)     The Administrative Agent shall have received (i) a certificate, dated the Effective
2189           Date and signed by the President or a Vice President of the Borrower or a Financial Officer, con-
2190           firming compliance with the conditions set forth in paragraphs (a) and (b) of Section 4.02 and (ii)
2191           a solvency certificate in the form of Exhibit C hereto dated the Effective Date and signed by the
2192           chief financial officer of the Borrower.

2193                   (e)     The Administrative Agent shall have received all fees and other amounts due and
2194           payable on or prior to the Effective Date, including, to the extent invoiced, reimbursement or
2195           payment of all reasonable out-of-pocket expenses (including reasonable fees, charges and dis-
2196           bursements of counsel) required to be reimbursed or paid by any Loan Party hereunder or under
2197           any other Loan Document.

2198                    (f)     The Administrative Agent shall have received executed counterparts of each of
2199           the Intercreditor Agreement duly executed by each party thereto.


                                                           -47-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 736 of 771


2200                    (g)    The Administrative Agent shall have received from each Loan Party a counter-
2201           part of the Guarantee and Collateral Agreement duly executed and delivered on behalf of such
2202           Loan Party, together with the following:

2203                             (i)   certificates representing all the outstanding Equity Interests of the Bor-
2204                   rower and each Subsidiary owned by or on behalf of any Loan Party as of the Effective
2205                   Date (except that certificates representing shares of voting stock of a Foreign Subsidiary
2206                   may be limited to 65% of the outstanding shares of voting stock of such Foreign Subsidi-
2207                   ary), promissory notes evidencing all intercompany Indebtedness owed to any Loan Party
2208                   by the Borrower or any Subsidiary as of the Effective Date and stock powers and instru-
2209                   ments of transfer, endorsed in blank, with respect to such stock certificates and promisso-
2210                   ry notes;

2211                            (ii)    all documents and instruments, including Uniform Commercial Code fi-
2212                   nancing statements and filings with the United States Patent and Trademark Office and
2213                   United States Copyright Office, required by law or reasonably requested by the Adminis-
2214                   trative Agent to be filed, registered or recorded to create or perfect the Liens intended to
2215                   be created under the Guarantee and Collateral Agreement;

2216                           (iii)    certified copies of UCC, United States Patent and Trademark Office and
2217                   United States Copyright Office, tax and judgment lien searches, bankruptcy and pending
2218                   lawsuit searches or equivalent reports or searches, each of a recent date listing all effec-
2219                   tive financing statements, lien notices or comparable documents that name any Loan Par-
2220                   ty as debtor and that are filed in those state and county jurisdictions in which any Loan
2221                   Party is organized or maintains its principal place of business and such other searches that
2222                   are required by the Perfection Certificate or that the Administrative Agent deems neces-
2223                   sary or appropriate, none of which encumber the Lien intended to be created under the
2224                   Guarantee and Collateral Agreement;

2225                           (iv)    all other certificates, agreements, including Control Agreements, or in-
2226                   struments necessary to perfect the Liens intended to be created under the Guarantee and
2227                   Collateral Agreement in all Chattel Paper, all Instruments, all Deposit Accounts and all
2228                   Investment Property of each Loan Party (as each such term is defined in and to the extent
2229                   required by the Guarantee and Collateral Agreement); and

2230                             (v)    a completed Perfection Certificate dated the Effective Date and signed by
2231                   an executive officer or Financial Officer of the Borrower, together with all attachments
2232                   contemplated thereby, including the results of a search of the Uniform Commercial Code
2233                   (or equivalent) filings made with respect to the Loan Parties in the jurisdictions contem-
2234                   plated by the Perfection Certificate and copies of the financing statements (or similar
2235                   documents) disclosed by such search and evidence reasonably satisfactory to the Admin-
2236                   istrative Agent that the Liens indicated by such financing statements (or similar docu-
2237                   ments) are permitted by this Agreement and the Guarantee and Collateral Agreement or
2238                   have been released.

2239                   (h)      The Administrative Agent shall have received copies of insurance certificates
2240           evidencing the insurance required by Section 5.07 and the Security Documents is in effect, each
2241           of which will be endorsed or otherwise amended to include a “standard” or “New York” lender’s
2242           loss payable or mortgagee endorsement (as applicable) and shall name the Administrative Agent,
2243           on behalf of the Lenders, as additional insured, in form and substance reasonably satisfactory to
2244           the Administrative Agent, provided that if such endorsement or amendment cannot be delivered


                                                          -48-
       CG&R DRAFT: 12/15/10 11:13 PM                                                 #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 737 of 771


2245           by the Effective Date, the Administrative Agent may consent to such endorsement or amendment
2246           being delivered at such later date as it reasonably deems appropriate in the circumstances.

2247                     (i)    The Bankruptcy Court shall have entered the Confirmation Order, which shall be
2248           (i) in form and substance reasonably satisfactory to the Arrangers and (ii) in full force and effect
2249           and shall not have been reversed or modified and shall not be stayed.

2250                     (j)      The Borrower and its Subsidiaries have no outstanding indebtedness or preferred
2251           stock other than (a) Loans under this Agreement in an aggregate principal amount not to exceed
2252           $10,000,000, (b) the Senior Secured Notes, (c) up to $140,000,000 of Second Lien Notes issued
2253           pursuant to the Reorganization Plan or otherwise (or any new unsecured pay-in-kind notes that
2254           are scheduled to mature after the maturity date of the Senior Secured Notes that are issued in lieu
2255           of such Second Lien Notes) and (d) up to $2 million of general debt for borrowed money. Ac-
2256           cordingly, the Administrative Agent shall have received releases, satisfactions and payoff letters
2257           terminating all other Liens on the Collateral (including all such releases, satisfactions and payoff
2258           letters relating to the Indebtedness to be repaid in accordance with the Reorganization Plan), other
2259           than Permitted Liens.

2260                   (k)      Since March 31, 2010, there has been no Closing Date Material Adverse Effect
2261           and no event, circumstance or condition exists which has had or would reasonably be expected to
2262           have, individually or in the aggregate, a Closing Date Material Adverse Effect.

2263                    (l)     Each Lender shall have received all documentation and other information re-
2264           quested by it to satisfy the requirements of the bank regulatory authorities under applicable
2265           “know your customer” and anti-money laundering rules and regulations, including the USA Pa-
2266           triot Act.

2267                   (m)      The Arrangers shall be satisfied that the pro forma ratio of first lien indebtedness
2268           (calculated on a gross basis and exclusive of Revolving Loans on the Effective Date to finance
2269           upfront fees or original issue discount) to Debt Covenant EBITDA (as defined in the Offering
2270           Memorandum) of the Borrower and its Subsidiaries for the four quarters ended September 30,
2271           2010 of the Borrower and its Subsidiaries on a consolidated basis is less than or equal to 3.5 to
2272           1.0.

2273                  (n)     Prior to or concurrently with the Effective Date, AMO Escrow Corporation shall
2274           have completed the issuance and sale of the Senior Secured Notes and shall have received the Es-
2275           crow Proceeds (as defined in the Senior Secured Notes Indenture) in an amount not less than
2276           $385,000,000 and the Borrower shall have issued the Second Lien Notes in an aggregate principal
2277           amount not more than $140,000,000.

2278                    (o)      All actions by or on behalf of the Loan Parties, which are necessary or appropri-
2279           ate to implement the Reorganization Plan and all other transactions contemplated to be taken on
2280           or prior to the Effective Date by the Reorganization Plan and the Confirmation Order (other than
2281           the closing of the credit facility provided hereby) shall have been effected in accordance in all re-
2282           spects with the terms thereof. All conditions precedent to the confirmation, consummation and
2283           effectiveness of the Reorganization Plan (other than the closing of the credit facility provided he-
2284           reby) shall have been satisfied in the reasonable judgment of the Administrative Agent. Concur-
2285           rently with the closing of the credit facility provided hereby, the Reorganization Plan shall have
2286           become effective in accordance with the terms of the Reorganization Plan and the Confirmation
2287           Order.



                                                           -49-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 738 of 771


2288   The Administrative Agent shall notify the Borrower and the Lenders of the Effective Date, and such no-
2289   tice shall be conclusive and binding. Notwithstanding the foregoing, the obligations of the Lenders to
2290   make Loans and of the Issuing Bank to issue Letters of Credit hereunder shall not become effective unless
2291   each of the foregoing conditions is satisfied (or waived pursuant to Section 9.02) at or prior to 5:00 p.m.,
2292   New York City time, on [         ], 2010, and in the event such conditions are not so satisfied or waived,
2293   the Revolving Commitments shall terminate at such time.

2294                    SECTION 4.02. Each Credit Event. The obligation of each Lender to make a Loan on
2295   the occasion of any Borrowing, and of the Issuing Bank to issue, amend, renew or extend any Letter of
2296   Credit, is subject to receipt of the request therefor in accordance herewith and to the satisfaction of the
2297   following conditions:

2298                    (a)     The representations and warranties of each Loan Party set forth in the Loan Doc-
2299           uments shall be true and correct (or, in the case of such representations and warranties that are not
2300           qualified as to materiality, true and correct in all material respects) on and as of the date of such
2301           Borrowing or the date of issuance, amendment, renewal or extension of such Letter of Credit, as
2302           applicable, except for representations and warranties that expressly relate to a specific earlier
2303           date, in which case such representations and warranties were true and correct (or in the case of
2304           such representations and warranties that are not qualified as to materiality, true and correct in all
2305           material respects) as of such earlier date.

2306                   (b)    At the time of and immediately after giving effect to such Borrowing or the is-
2307           suance, amendment, renewal or extension of such Letter of Credit, as applicable, no Default shall
2308           have occurred and be continuing.

2309   Each Borrowing and each issuance, amendment, renewal or extension of a Letter of Credit shall be
2310   deemed to constitute a representation and warranty by the Borrower on the date thereof as to the matters
2311   specified in paragraphs (a) and (b) of this Section.

2312                                                   ARTICLE V
2313
2314                                             Affirmative Covenants

2315                    Until the Revolving Commitments have expired or been terminated and the principal of
2316   and interest on each Loan and all fees payable hereunder shall have been paid in full and all Letters of
2317   Credit shall have expired or terminated and all LC Disbursements shall have been reimbursed, the Bor-
2318   rower covenants and agrees with the Lenders that:

2319                   SECTION 5.01. Financial Statements and Other Information. The Borrower will fur-
2320   nish to the Administrative Agent (which shall furnish a copy thereof to each Lender):

2321                    (a)      within 90 days after the end of each fiscal year of the Borrower, the audited con-
2322           solidated balance sheet and related statements of operations, stockholders’ equity and cash flows
2323           of the Borrower and its Restricted Subsidiaries as of the end of and for such year, setting forth in
2324           each case in comparative form the figures for the previous fiscal year, all reported on by De-
2325           loitte & Touche LLP or other independent public accountants of recognized national standing
2326           (without a “going concern” or like qualification or exception and without any qualification or ex-
2327           ception as to the scope of such audit) to the effect that such consolidated financial statements
2328           present fairly in all material respects the financial condition and results of operations of the Bor-
2329           rower and its Restricted Subsidiaries on a consolidated basis in accordance with GAAP consis-
2330           tently applied, together with a customary management discussion and analysis;


                                                           -50-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                  Pg 739 of 771


2331                    (b)     within 45 days after the end of each of the first three fiscal quarters of each fiscal
2332           year of the Borrower, the consolidated balance sheet and related statements of operations, stock-
2333           holders’ equity and cash flows of the Borrower and its Restricted Subsidiaries, in each case as of
2334           the end of and for such fiscal quarter and the then elapsed portion of the fiscal year, setting forth
2335           in each case in comparative form the figures for the corresponding period or periods of (or, in the
2336           case of the balance sheet, as of the end of) the previous fiscal year, all certified by one of its Fi-
2337           nancial Officers as presenting fairly in all material respects the financial condition and results of
2338           operations of the Borrower and its Restricted Subsidiaries, in each case on a consolidated basis in
2339           accordance with GAAP consistently applied, subject to normal year end audit adjustments and the
2340           absence of footnotes, together with a customary management discussion and analysis;

2341                     (c)     concurrently with any delivery of financial statements under clause (a) or (b)
2342           above, a certificate of a Financial Officer of the Borrower (i) certifying as to whether a Default
2343           has occurred and, if a Default has occurred, specifying the details thereof and any action taken or
2344           proposed to be taken with respect thereto, (ii) setting forth reasonably detailed calculations de-
2345           monstrating compliance with Sections 6.01, 6.04, 6.05, 6.08 and 6.12, (iii) stating whether any
2346           change in GAAP or in the application thereof has occurred since the date of the Borrower’s au-
2347           dited financial statements referred to in Section 3.04 and, if any such change has occurred, speci-
2348           fying the effect of such change on the financial statements accompanying such certificate and
2349           (iv) listing all Unrestricted Subsidiaries (if any);

2350                   (d)      [reserved];

2351                   (e)      prior to the commencement of each fiscal year of the Borrower, a detailed con-
2352           solidated quarterly budget for such fiscal year (including a projected consolidated balance sheet
2353           and related statements of projected operations and cash flow as of the end of and for such fiscal
2354           year and setting forth the assumptions used for purposes of preparing such budget) and, promptly
2355           when available, any significant revisions of such budget;

2356                   (f)      promptly after the same become publicly available, copies of all periodic and
2357           other reports, proxy statements and other materials filed by the Borrower or any Subsidiary with
2358           the SEC, or any Governmental Authority succeeding to any or all of the functions of said Com-
2359           mission, or with any national securities exchange, or distributed by the Borrower to its sharehold-
2360           ers generally, as the case may be; provided that any such materials posted on the website of the
2361           Borrower or the SEC shall be deemed furnished when so posted; and

2362                   (g)      promptly following any request therefor, such other information regarding the
2363           operations, business affairs and financial condition of the Borrower or any Subsidiary, or com-
2364           pliance with the terms of any Loan Document, as the Administrative Agent or any Lender may
2365           reasonably request.

2366                    SECTION 5.02. Notices of Material Events. The Borrower will furnish to the Admin-
2367           istrative Agent and each Lender prompt written notice of the following:

2368                   (a)      the occurrence of any Default;

2369                     (b)     the filing or commencement of any action, suit or proceeding by or before any
2370           arbitrator or Governmental Authority against or affecting the Borrower or any Affiliate thereof
2371           that, if adversely determined, could reasonably be expected to result in a Material Adverse Effect;




                                                            -51-
       CG&R DRAFT: 12/15/10 11:13 PM                                                   #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                                  Pg 740 of 771


2372                   (c)       the occurrence of any ERISA Event that, alone or together with any other ERISA
2373           Events that have occurred, could reasonably be expected to result in liability of the Borrower and
2374           its Subsidiaries in an aggregate amount exceeding $10,000,000; and

2375                   (d)     any other development that results in, or could reasonably be expected to result
2376           in, a Material Adverse Effect.

2377   Each notice delivered under this Section shall be accompanied by a statement of a Financial Officer or
2378   other executive officer of the Borrower setting forth the details of the event or development requiring
2379   such notice and any action taken or proposed to be taken with respect thereto.

2380                    SECTION 5.03.      Information Regarding Collateral.

2381                      (a)     The Borrower will furnish to the Administrative Agent prompt written notice of
2382   any change (i) in any Loan Party’s name, (ii) in the jurisdiction of incorporation or organization of any
2383   Loan Party, (iii) in the location of the chief executive office of any Loan Party, (iv) in any Loan Party’s
2384   identity or type of organization or corporate structure or (v) in any Loan Party’s Organizational Identifica-
2385   tion Number. The Borrower agrees to promptly provide the Administrative Agent with certified organi-
2386   zational documents reflecting any of the changes described in the first sentence of this paragraph. The
2387   Borrower agrees not to effect or permit any change referred to in the first sentence of this paragraph un-
2388   less all filings have been made under the Uniform Commercial Code or otherwise that are required in or-
2389   der for the Administrative Agent to continue at all times following such change to have a valid, legal and
2390   perfected security interest in all the Collateral. The Borrower also agrees promptly to notify the Adminis-
2391   trative Agent if any material portion of the Collateral is damaged or destroyed.

2392                     (b)     Each year, at the time of delivery of annual financial statements with respect to
2393   the preceding fiscal year pursuant to clause (a) of Section 5.01, the Borrower shall deliver to the Adminis-
2394   trative Agent a certificate of a Financial Officer and the chief legal officer of the Borrower setting forth
2395   the information required pursuant to Section 2 of the Perfection Certificate or confirming that there has
2396   been no change in such information since the date of the Perfection Certificate delivered on the Effective
2397   Date or the date of the most recent certificate delivered pursuant to this Section. Each certificate deli-
2398   vered pursuant to this Section 5.03(b) shall identify in the format of Schedule III of the Guarantee and
2399   Collateral Agreement all Intellectual Property (as defined in the Guarantee and Collateral Agreement) of
2400   any Loan Party in existence on the date thereof and not then listed on such Schedules as previously so
2401   identified to the Administrative Agent.

2402                    SECTION 5.04. Existence; Conduct of Business. The Borrower will, and will cause
2403   each of the Subsidiary Loan Parties to, do or cause to be done all things necessary to preserve, renew and
2404   keep in full force and effect its legal existence and, except to the extent the failure to do so could not rea-
2405   sonably be expected to have a Material Adverse Effect, its rights, licenses, permits, privileges, franchises,
2406   patents, copyrights, trademarks and trade names; provided that the foregoing shall not prohibit any mer-
2407   ger, consolidation, liquidation or dissolution permitted under Section 6.03.

2408                    SECTION 5.05. Payment of Obligations. The Borrower will, and will cause each of
2409   the Restricted Subsidiaries to, pay its Indebtedness and other obligations, including Tax liabilities, before
2410   the same shall become delinquent or in default, except where (a) the validity or amount thereof is being
2411   contested in good faith by appropriate proceedings, (b) the Borrower or such Restricted Subsidiary has set
2412   aside on its books adequate reserves with respect thereto in accordance with GAAP, (c) such contest ef-
2413   fectively suspends collection of the contested obligation and the enforcement of any Lien securing such
2414   obligation and (d) the failure to make payment pending such contest could not reasonably be expected to
2415   result in a Material Adverse Effect.


                                                            -52-
       CG&R DRAFT: 12/15/10 11:13 PM                                                    #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 741 of 771


2416                   SECTION 5.06. Maintenance of Properties. The Borrower will, and will cause each of
2417   the Restricted Subsidiaries to, keep and maintain all property material to the conduct of their business,
2418   taken as a whole, in good working order and condition, ordinary wear and tear excepted.

2419                    SECTION 5.07. Insurance. The Borrower will, and will cause each of its Restricted
2420   Subsidiaries to, maintain, with financially sound and reputable insurance companies (a) insurance in such
2421   amounts (with no greater risk retention) and against such risks as are customarily maintained by compa-
2422   nies of established repute engaged in the same or similar businesses operating in the same or similar loca-
2423   tions, including insurance against libel actions, and (b) all insurance required to be maintained pursuant to
2424   the Security Documents. The Borrower will furnish to the Lenders, upon request of the Administrative
2425   Agent, information in reasonable detail as to the insurance so maintained.

2426                     SECTION 5.08. Casualty and Condemnation. The Borrower will furnish to the Admin-
2427   istrative Agent and the Lenders prompt written notice of any casualty or other insured damage to any ma-
2428   terial portion of any Collateral or the commencement of any action or proceeding for the taking of any
2429   Collateral or any part thereof or interest therein under power of eminent domain or by condemnation or
2430   similar proceeding.

2431                      SECTION 5.09. Books and Records; Inspection and Audit Rights. The Borrower will,
2432   and will cause each of its Subsidiaries to, keep proper books of record and account in which full, true and
2433   correct entries are made in accordance with GAAP, consistently applied, of all dealings and transactions
2434   in relation to its business and activities. The Borrower will, and will cause each of its Subsidiaries to,
2435   permit any representatives designated by the Administrative Agent or any Lender (coordinated through
2436   the Administrative Agent), upon reasonable prior notice, to visit and inspect its properties, to examine and
2437   make extracts from its books and records, and to discuss its affairs, finances and condition with its offic-
2438   ers and independent accountants, all at such reasonable times and as often as reasonably requested.

2439                      SECTION 5.10. Compliance with Laws. The Borrower will, and will cause each of its
2440   Subsidiaries to, comply with all laws, rules, regulations and orders of any Governmental Authority appli-
2441   cable to it or its property, except where the failure to do so, individually or in the aggregate, could not
2442   reasonably be expected to result in a Material Adverse Effect.

2443                    SECTION 5.11. Use of Proceeds and Letters of Credit. The proceeds of the Revolving
2444   Loans on the Effective Date will be used to pay upfront fees and original issue discount incurred in con-
2445   nection with the Emergence Transactions in an amount not to exceed $10.0 million. After the Effective
2446   Date, the proceeds of the Revolving Loans and Swingline Loans will be used only for general corporate
2447   purposes (including, without limitation, for Permitted Acquisitions). No part of the proceeds of any Loan
2448   will be used, whether directly or indirectly, for any purpose that entails a violation of any of the Regula-
2449   tions of the Board, including Regulations T, U and X. Letters of Credit will be issued only for general
2450   corporate purposes.

2451                    SECTION 5.12. Additional Subsidiaries. If any additional Subsidiary is formed or ac-
2452   quired after the Effective Date or if any Unrestricted Subsidiary is designated as a Restricted Subsidiary,
2453   the Borrower will notify the Administrative Agent and the Lenders thereof and (a) if such Subsidiary is a
2454   Subsidiary Loan Party, the Borrower will cause such Subsidiary to become a party to the Guarantee and
2455   Collateral Agreement within five Business Days after such Subsidiary is formed or acquired and promptly
2456   take such actions to create and perfect Liens on such Subsidiary’s assets to secure the Obligations as the
2457   Administrative Agent or the Required Lenders shall reasonably request and (b) if any Equity Interest in or
2458   Indebtedness of such Subsidiary is owned by or on behalf of any Loan Party, the Borrower will cause
2459   such Equity Interests and promissory notes evidencing such Indebtedness to be pledged pursuant to the
2460   Guarantee and Collateral Agreement within five Business Days after such Subsidiary is formed or ac-


                                                           -53-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                  Pg 742 of 771


2461   quired (except that, if such Subsidiary is a Foreign Subsidiary, shares of voting stock of such Subsidiary
2462   to be pledged pursuant to the Guarantee and Collateral Agreement shall be limited to 65% of the out-
2463   standing shares of voting stock of such Subsidiary).

2464                    SECTION 5.13.      Further Assurances.

2465                    (a)      The Borrower will, and will cause each Subsidiary Loan Party to, execute any
2466   and all further documents, financing statements, agreements, account control agreements, and instru-
2467   ments, and take all such further actions (including the filing and recording of financing statements, fixture
2468   filings, mortgages, deeds of trust and other documents), which may be required under any applicable law,
2469   or which the Administrative Agent or the Required Lenders may reasonably request, to effectuate the
2470   transactions contemplated by the Loan Documents or to grant, preserve, protect or perfect the Liens
2471   created or intended to be created by the Security Documents or the validity or priority of any such Lien,
2472   all at the expense of the Loan Parties. The Borrower also agree to provide to the Administrative Agent,
2473   from time to time upon request, evidence reasonably satisfactory to the Administrative Agent as to (x) the
2474   perfection and priority of the Liens created or intended to be created by the Security Documents, and (y)
2475   the compliance of any Unrestricted Subsidiaries with the definition thereof.

2476                    (b)      If any material assets (including any owned real property or improvements there-
2477   to or any interest therein, but excluding any leasehold interests in real property) are acquired by the Bor-
2478   rower or any Subsidiary Loan Party after the Effective Date (other than assets constituting Collateral un-
2479   der the Guarantee and Collateral Agreement that become subject to the Lien of the Guarantee and Colla-
2480   teral Agreement upon acquisition thereof), the Borrower will promptly (and in no event later than ten (10)
2481   Business Days after such acquisition) notify the Administrative Agent and the Lenders thereof, and, if
2482   requested by the Administrative Agent or the Required Lenders, the Borrower will promptly (and in no
2483   event later than (x) ten (10) Business Days after the later of (i) such acquisition or (ii) such request in re-
2484   spect of an acquisition of assets other than owned real property, and (y) 45 days after the later of (x) such
2485   acquisition or (y) such request in respect of an acquisition of any owned real property, which period in the
2486   case of this clause (y), may be extended by the Administrative Agent in its discretion) cause such assets to
2487   be subjected to a Lien securing the Obligations and will take, and cause the Subsidiary Loan Parties to
2488   take, such actions as shall be necessary or reasonably requested by the Administrative Agent to grant and
2489   perfect such Liens, including actions described in paragraph (a) of this Section, all at the expense of the
2490   Loan Parties.

2491                     SECTION 5.14. Perfection of Certain Liens. Within thirty (30) Business Days after the
2492   Effective Date (subject to extension by the Administrative Agent in its discretion), the Loan Parties shall
2493   comply with the requirements of the Guarantee and Collateral Agreement relating to the perfection of se-
2494   curity interests in Collateral consisting of Deposit Accounts and Investment Property (as such terms are
2495   defined in the Guarantee and Collateral Agreement).

2496                                                   ARTICLE VI
2497
2498                                               Negative Covenants

2499                   Until the Revolving Commitments have expired or terminated and the principal of and in-
2500   terest on each Loan and all fees payable hereunder have been paid in full and all Letters of Credit have
2501   expired or terminated and all LC Disbursements shall have been reimbursed, the Borrower covenants and
2502   agrees with the Lenders that:




                                                            -54-
       CG&R DRAFT: 12/15/10 11:13 PM                                                   #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 743 of 771


2503                   SECTION 6.01.      Indebtedness; Certain Equity Securities.

2504                   (a)     The Borrower will not, and will not permit any Restricted Subsidiary to, create,
2505   incur, assume or permit to exist any Indebtedness, except:

2506                    (i)    Indebtedness created under the Loan Documents;

2507                    (ii)    Indebtedness existing on the Effective Date permitted to be outstanding under the
2508           Reorganization Plan and set forth in Schedule 6.01 and extensions, renewals and replacements of
2509           any such Indebtedness that do not increase the outstanding principal amount thereof or result in
2510           an earlier maturity date or decreased weighted average life thereof;

2511                  (iii)    subject to Section 6.04, Indebtedness of the Borrower to any Restricted Subsidi-
2512           ary and of any Restricted Subsidiary to the Borrower or any other Restricted Subsidiary;

2513                    (iv)    Guarantees by the Borrower of Indebtedness of any Subsidiary and by any Re-
2514           stricted Subsidiary of Indebtedness of the Borrower or any other Subsidiary; provided that
2515           (A) Guarantees by the Borrower or any Restricted Subsidiary of Indebtedness of any Subsidiary
2516           that is not a Loan Party shall be subject to Section 6.04 and (B) a Restricted Subsidiary that is not
2517           a Loan Party shall not Guarantee any Indebtedness of any Loan Party;

2518                    (v)     Indebtedness of the Borrower or any Restricted Subsidiary incurred to finance
2519           the acquisition, construction or improvement of any fixed or capital assets, including Capital
2520           Lease Obligations and any Indebtedness assumed in connection with the acquisition of any such
2521           assets or secured by a Lien on any such assets in each case, prior to or within 180 days after the
2522           acquisition, construction or improvement of such assets, and extensions, renewals and replace-
2523           ments of any such Indebtedness that do not increase the outstanding principal amount thereof;
2524           provided that the aggregate principal amount of Indebtedness permitted by this clause (v) at any
2525           time outstanding shall not exceed $15,000,000;

2526                   (vi)     Indebtedness of any Person that becomes a Restricted Subsidiary after the Effec-
2527           tive Date and extensions, renewals and replacements of any such Indebtedness that do not in-
2528           crease the outstanding principal amount thereof; provided that such Indebtedness exists at the
2529           time such Person becomes a Restricted Subsidiary and is not created in contemplation of or in
2530           connection with such Person becoming a Restricted Subsidiary;

2531                 (vii)    the Senior Secured Notes and the Second Lien Notes and any Permitted Refi-
2532           nancing Indebtedness incurred to refinance any Indebtedness permitted under this clause (vii);

2533                  (viii)   obligations in respect of performance, bid, appeal and surety bonds and comple-
2534           tion guarantees provided by the Borrower or any of its Restricted Subsidiaries in the ordinary
2535           course of business;

2536                    (ix)   Indebtedness in respect of earn-outs relating to Permitted Acquisitions that are
2537           based on the income of the assets acquired in such Permitted Acquisition after the consummation
2538           thereof;

2539                   (x)     Indebtedness to the seller in respect of any Permitted Acquisition; provided such
2540           Indebtedness is subordinated to the Obligations on terms satisfactory to the Administrative Agent;




                                                           -55-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 744 of 771


2541                   (xi)    Indebtedness under Hedging Agreements, other than those entered into for spe-
2542           culative purposes;

2543                   (xii)    other Indebtedness in an aggregate principal amount not exceeding $25,000,000
2544           at any time outstanding;

2545                   (xiii)   Indebtedness incurred by the Borrower or any of its Restricted Subsidiaries con-
2546           stituting reimbursement obligations with respect to letters of credit issued in the ordinary course
2547           of business, including letters of credit in respect of workers’ compensation claims, or other Indeb-
2548           tedness with respect to reimbursement type obligations regarding workers’ compensation claims;
2549           provided, however, that such letters of credit are not drawn;

2550                  (xiv)     Indebtedness arising from agreements of the Borrower or its Restricted Subsidi-
2551           aries providing for indemnification, adjustment of purchase price or similar obligations, in each
2552           case, incurred or assumed in connection with the disposition of any business, assets or a Subsidi-
2553           ary , other than guarantees of Indebtedness incurred by any Person acquiring all or any portion of
2554           such business, assets, or a Subsidiary for the purpose of financing such acquisition; provided,
2555           however, that the maximum assumable liability in respect of all such Indebtedness shall at no
2556           time exceed the gross proceeds including non-cash proceeds (the fair market value of such non-
2557           cash proceeds being measured at the time received and without giving effect to any subsequent
2558           changes in value) actually received by the Borrower and its Restricted Subsidiaries in connection
2559           with such disposition;

2560                  (xv)      Indebtedness arising from the honoring by a bank or other financial institution of
2561           a check, draft or similar instrument drawn against insufficient funds in the ordinary course of
2562           business; provided that such Indebtedness is extinguished within two Business Days of its incur-
2563           rence;

2564                  (xvi)     Indebtedness of the Borrower or any of its Restricted Subsidiaries consisting of
2565           (x) the financing of insurance premiums or (y) take-or-pay obligations contained in supply ar-
2566           rangements, in each case incurred in the ordinary course of business;

2567                  (xvii)     Indebtedness consisting of Indebtedness issued by the Borrower or any of the Re-
2568           stricted Subsidiaries to current or former officers, directors and employees thereof, their respec-
2569           tive estates, spouses or former spouses, in each case to finance the purchase or redemption of Eq-
2570           uity Interests of the Borrower or a Restricted Subsidiary;

2571                (xviii)   customer deposits and advance payments received in the ordinary course of busi-
2572           ness from customers for goods purchased in the ordinary course of business;

2573                   (xix)    Indebtedness owed on a short term basis of no longer than 30 days to banks and
2574           other financial institutions incurred in the ordinary course of business of the Borrower and the
2575           Restricted Subsidiaries with such banks or financial institutions that arises in connection with or-
2576           dinary banking arrangements to manage cash balances of the Borrower and the Restricted Subsid-
2577           iaries;

2578                  (xx)    all premiums (if any), interest (including post-petition interest), fees, expenses,
2579           charges and additional or contingent interest on obligations described in clauses (i) through (xix)
2580           above; and




                                                          -56-
       CG&R DRAFT: 12/15/10 11:13 PM                                                 #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 745 of 771


2581                  (xxi)     additional unsecured Indebtedness of the Borrower or any Restricted Subsidiary,
2582           if the Consolidated Leverage Ratio on a consolidated basis for the Borrower and its Restricted
2583           Subsidiaries’ most recently ended four fiscal quarters for which internal financial statements are
2584           available immediately preceding the date on which such additional Indebtedness is incurred
2585           would have been less than 4.50 to 1.00; provided that, (x) the amount of Indebtedness that may be
2586           incurred by Restricted Subsidiaries that are not Subsidiary Loan Parties under this clause (xxi)
2587           shall not exceed $10,000,000 at any one time outstanding and (y) such Indebtedness (i) has a final
2588           maturity date 91 days after the Maturity Date and (ii) has a Weighted Average Life to Maturity
2589           equal to or greater than the Weighted Average Life to Maturity of the Loans.

2590                    (b)      The Borrower will not, nor will it permit any Restricted Subsidiary to, issue any
2591   preferred stock or other preferred Equity Interests (other than preferred stock that is issued by any Re-
2592   stricted Subsidiary to the Borrower or a Subsidiary Loan Party that is not Disqualified Stock).

2593                   SECTION 6.02.      Liens.

2594                     (a)     The Borrower will not, and will not permit any Restricted Subsidiary to, create,
2595   incur, assume or permit to exist any Lien on any property or asset now owned or hereafter acquired by it,
2596   or assign or sell any income or revenues (including accounts receivable) or rights in respect of any the-
2597   reof, except:

2598                    (i)     Liens created under the Loan Documents;

2599                   (ii)     Permitted Encumbrances;

2600                   (iii)    any Lien on any property or asset of the Borrower or any Restricted Subsidiary
2601           existing on the Effective Date permitted to be outstanding on the Effective Date by the Reorgani-
2602           zation Plan and set forth in Schedule 6.02; provided that (A) such Lien shall not apply to any oth-
2603           er property or asset of the Borrower or any Restricted Subsidiary beyond such property subject to
2604           a Lien on the Effective Date and (B) such Lien shall secure only those obligations which it se-
2605           cures on the Effective Date and extensions, renewals and replacements thereof that do not in-
2606           crease the outstanding principal amount thereof;

2607                   (iv)     any Lien existing on any property or asset prior to the acquisition thereof by the
2608           Borrower or any Subsidiary after the Effective Date or existing on any property or asset of any
2609           Person that becomes a Restricted Subsidiary after the Effective Date prior to the time such Person
2610           becomes a Restricted Subsidiary; provided that (A) such Lien is not created in contemplation of
2611           or in connection with such acquisition or such Person becoming a Restricted Subsidiary, as the
2612           case may be, (B) such Lien shall not apply to any other property or assets of the Borrower or any
2613           Restricted Subsidiary and (C) such Lien shall secure only those obligations which it secures on
2614           the date of such acquisition or the date such Person becomes a Subsidiary, as the case may be,
2615           and extensions, renewals and replacements thereof that do not increase the outstanding principal
2616           amount thereof;

2617                    (v)     Liens on fixed or capital assets acquired, constructed or improved by the Bor-
2618           rower or any Restricted Subsidiary; provided that (A) such security interests secure Indebtedness
2619           permitted by clause (v) of Section 6.01(a), (B) such security interests and the Indebtedness se-
2620           cured thereby are incurred prior to or within 180 days after such acquisition or the completion of
2621           such construction or improvement, (C) the Indebtedness secured thereby does not exceed 100%
2622           of the cost of acquiring, constructing or improving such fixed or capital assets and (D) such secu-



                                                           -57-
       CG&R DRAFT: 12/15/10 11:13 PM                                                 #1052964 v14 (1049414_.DOC)
       10-16140-mg         Doc 116     Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 746 of 771


2623           rity interests shall not apply to any other property or assets of the Borrower or any Restricted
2624           Subsidiary;

2625                   (vi)    Liens arising by operation of law that secure obligations in an aggregate amount
2626           not to exceed $5,000,000 at any time outstanding, including Liens imposed pursuant to Environ-
2627           mental Laws securing obligations not reasonably expected to exceed such amount;

2628                   (vii)   any sale or assignment of accounts receivable permitted by clause (c) of Sec-
2629           tion 6.05;

2630                  (viii)    other Liens on assets that do not constitute Collateral; provided, that the aggre-
2631           gate amount of all obligations secured by such Liens does not exceed $15,000,000 in the aggre-
2632           gate at any time outstanding;

2633                   (ix)    Liens on Collateral securing the Senior Secured Notes, the Second Lien Notes or
2634           Permitted Refinancing Indebtedness in respect thereof incurred pursuant to this Agreement so
2635           long as such Liens are subject to the First Lien Intercreditor Agreement and the Second Lien In-
2636           tercreditor Agreement, as applicable;

2637                   (x)     Liens on specific items of inventory or other goods and proceeds of any Person
2638           securing such Person’s obligations in respect of bankers’ acceptances issued or created for the ac-
2639           count of such Person to facilitate the purchase, shipment or storage of such inventory or other
2640           goods;

2641                   (xi)    leases, subleases, licenses or sublicenses granted to others in the ordinary course
2642           of business which do not materially interfere with the ordinary conduct of the business of the Bor-
2643           rower or any of its Restricted Subsidiaries and do not secure any Indebtedness;

2644                  (xii)     Liens arising from Uniform Commercial Code financing statement filings regard-
2645           ing operating leases entered into by the Borrower and its Restricted Subsidiaries in the ordinary
2646           course of business;

2647                  (xiii)   Liens in favor of the Borrower or any Subsidiary Loan Party;

2648                  (xiv)     Liens on equipment of the Borrower or any of its Restricted Subsidiaries granted
2649           in the ordinary course of business to the Borrower’s clients not related to Indebtedness;

2650                   (xv)    deposits made in the ordinary course of business to secure liability to insurance
2651           carriers;

2652                 (xvi)     Liens in favor of customs and revenue authorities arising as a matter of law to se-
2653           cure payment of customs duties in connection with the importation of goods in the ordinary
2654           course of business;

2655                 (xvii)    Liens (x) of a collection bank arising under Section 4-210 of the Uniform Com-
2656           mercial Code (or any comparable or successor provision) on items in the course of collection, (y)
2657           attaching to commodity trading accounts or other commodity brokerage accounts incurred in the
2658           ordinary course of business and (z) in favor of banking institutions arising as a matter of law en-
2659           cumbering deposits (including the right of set-off) and which are within the general parameters
2660           customary in the banking industry;



                                                           -58-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                  Pg 747 of 771


2661                 (xviii)    Liens encumbering reasonable customary initial deposits and margin deposits
2662           and similar Liens attaching to commodity trading accounts or other brokerage accounts incurred
2663           in the ordinary course of business and not for speculative purposes;

2664                  (xix)     Liens that are contractual rights of set-off (x) relating to the establishment of de-
2665           pository relations with banks not given in connection with the issuance of Indebtedness, (y) relat-
2666           ing to pooled deposit or sweep accounts of the Borrower or any of its Restricted Subsidiaries to
2667           permit satisfaction of overdraft or similar obligations incurred in the ordinary course of business
2668           of the Borrower and its Restricted Subsidiaries or (z) relating to purchase orders and other agree-
2669           ments entered into with customers of the Borrower or any of its Restricted Subsidiaries in the or-
2670           dinary course of business;

2671                   (xx)     any encumbrance or restriction (including put and call arrangements) with re-
2672           spect to Capital Stock of any joint venture or similar arrangement pursuant to any joint venture or
2673           similar agreement;

2674                 (xxi)      Liens arising out of conditional sale, title retention, consignment or similar ar-
2675           rangements for the sale or purchase of goods entered into by the Borrower or any of its Restricted
2676           Subsidiaries in the ordinary course of business; and

2677                 (xxii)     Liens on the Equity Interests of Unrestricted Subsidiaries.

2678                (xxiii)     Liens securing obligations under the Hedging Agreements, other than those en-
2679           tered into for speculative purposes;

2680                (xxiv)      Liens deemed to exist in connection with investments in repurchase agreements
2681           permitted under Section 6.01; provided that such Liens do not extend to any assets other than
2682           those that are the subject of such repurchase agreements; and

2683                 (xxv)     Liens arising from the deposit of funds or securities in trust for the purpose of
2684           decreasing or defeasing Indebtedness so long as such deposit of funds or securities and such de-
2685           creasing or defeasing of Indebtedness are permitted under Section 6.08.

2686            In addition, Borrower agrees that it shall not, and shall not permit any Restricted Subsidiary to,
2687   grant or permit or suffer to exist any Liens on any asset or property to secure the Senior Secured Notes
2688   unless is has granted a Lien on such asset or property to secure the Obligations.

2689                   SECTION 6.03.       Fundamental Changes.

2690                     (a)      The Borrower will not, nor will it permit any Restricted Subsidiary to, merge into
2691   or consolidate with any other Person, or permit any other Person to merge into or consolidate with it, or
2692   liquidate or dissolve, except that, if at the time thereof and immediately after giving effect thereto no De-
2693   fault shall have occurred and be continuing (i) any Person may merge into the Borrower in a transaction
2694   in which the Borrower is the surviving corporation, (ii) any Person may merge into any Restricted Subsid-
2695   iary in a transaction in which the surviving entity is a Restricted Subsidiary and (if any party to such mer-
2696   ger is a Subsidiary Loan Party) is a Subsidiary Loan Party, (iii) any Restricted Subsidiary may liquidate
2697   or dissolve if the Borrower determines in good faith that such liquidation or dissolution is in the best in-
2698   terests of the Borrower and is not materially disadvantageous to the Lenders and (iv) any Restricted Sub-
2699   sidiary that is part of an asset sale permitted under this Agreement may merge with another entity in order
2700   to effect a sale of such Subsidiary; provided that such merger is treated as a sale of assets and otherwise
2701   complies with, and is permitted by, this Agreement; provided that any such merger involving a Person


                                                           -59-
       CG&R DRAFT: 12/15/10 11:13 PM                                                   #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                  Pg 748 of 771


2702   that is not a wholly owned Restricted Subsidiary immediately prior to such merger shall not be permitted
2703   unless also permitted by Section 6.04.

2704                     (b)    The Borrower will not, and will not permit any of its Restricted Subsidiaries to,
2705   engage to any material extent in any business other than businesses of the type conducted by the Borrow-
2706   er and its Restricted Subsidiaries on the Effective Date and businesses reasonably related thereto.

2707                    SECTION 6.04. Investments, Loans, Advances, Guarantees and Acquisitions. The
2708   Borrower will not, and will not permit any of its Restricted Subsidiaries to, purchase, hold or acquire (in-
2709   cluding pursuant to any merger with any Person that was not a wholly owned Restricted Subsidiary prior
2710   to such merger) any Equity Interests in or evidences of indebtedness or other securities (including any
2711   option, warrant or other right to acquire any of the foregoing) of, make or permit to exist any loans or ad-
2712   vances to, Guarantee any obligations of, or make or permit to exist any investment or any other interest
2713   in, any other Person, or purchase or otherwise acquire (in one transaction or a series of transactions) any
2714   assets of any other Person constituting a business unit, except:

2715                   (a)      Permitted Investments;

2716                   (b)      investments existing on the Effective Date and set forth on Schedule 6.04;

2717                     (c)     investments by the Borrower and its Restricted Subsidiaries in Equity Interests in
2718           their respective Restricted Subsidiaries; provided that (i) any such Equity Interests in a Subsidiary
2719           held by a Loan Party shall be pledged pursuant to the Guarantee and Collateral Agreement (sub-
2720           ject to the limitations applicable to the pledge of Equity Interests in Foreign Subsidiaries set forth
2721           in Section 5.12), and (ii) the aggregate amount of investments by Loan Parties in, and loans and
2722           advances by Loan Parties to, and Guarantees by Loan Parties of Indebtedness of, Restricted Sub-
2723           sidiaries that are Foreign Subsidiaries (including all such investments, loans, advances and Guar-
2724           antees existing on the Effective Date) shall not exceed the greater of (x) $10,000,000 and (y)
2725           1.0% of Total Assets, at any time outstanding, when combined with any Investments in Foreign
2726           Subsidiaries under clauses (g) and (i) of this Section 6.04 (it being understood that, for purposes
2727           of determining outstanding investments in Restricted Subsidiaries that are Foreign Subsidiaries,
2728           the sale or disposition by a Loan Party of an investment in a Restricted Subsidiary that is a For-
2729           eign Subsidiary shall be deemed to reduce investments in Restricted Subsidiaries that are Foreign
2730           Subsidiaries by an amount equal to the Net Proceeds of such sale or disposition);

2731                    (d)     loans or advances made by the Borrower to any Subsidiary and made by any Re-
2732           stricted Subsidiary to the Borrower or any other Subsidiary; provided that the amount of such
2733           loans and advances made by Loan Parties to Unrestricted Subsidiaries, or to Restricted Subsidiar-
2734           ies that are Foreign Subsidiaries, shall be subject to the limitations set forth in clauses (c) and (i)
2735           of this Section 6.04;

2736                    (e)      Guarantees constituting Indebtedness permitted by Section 6.01; provided that
2737           (i) a Restricted Subsidiary shall not Guarantee any Indebtedness of the Borrower or any Subsidi-
2738           ary Loan Party unless (A) such Restricted Subsidiary also has Guaranteed the Obligations pur-
2739           suant to the Guarantee and Collateral Agreement, (B) in the case of any Guarantee of Subordi-
2740           nated Debt, such Guarantee is subordinated to such Guarantee of the Obligations on terms no less
2741           favorable to the Lenders than the subordination provisions of the applicable Subordinated Debt
2742           and (C) such Guarantee provides for the release and termination thereof, without action by any
2743           party, upon the sale or transfer of the Equity Interests of such Restricted Subsidiary as a result of
2744           a foreclosure of the Lien on such Equity Interests that secures the Obligations, where (1) after
2745           such sale or transfer, such Restricted Subsidiary is no longer a Subsidiary and (2) the Net


                                                            -60-
       CG&R DRAFT: 12/15/10 11:13 PM                                                   #1052964 v14 (1049414_.DOC)
       10-16140-mg           Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 749 of 771


2746           Proceeds resulting from such sale or transfer are applied in accordance with the terms of the ap-
2747           plicable Guaranteed Indebtedness that would apply to a sale of such Equity Interests by the Bor-
2748           rower, and (ii) the aggregate principal amount of Indebtedness of Unrestricted Subsidiaries, or of
2749           Restricted Subsidiaries that are Foreign Subsidiaries, that is Guaranteed by any Loan Party shall
2750           be subject to the limitations set forth in clauses (c), (d), and (i) of this Section 6.04;

2751                  (f)     loans and advances to, or guarantees of Indebtedness of, officers, directors and
2752           employees in an amount not to exceed $5.0 million at any time outstanding;

2753                   (g)      investments received in connection with the bankruptcy or reorganization of, or
2754           settlement of delinquent accounts and disputes with, customers and suppliers, in each case in the
2755           ordinary course of business;

2756                    (h)     Permitted Acquisitions; provided that the amount of such Investments in respect
2757           of Permitted Acquisitions of Restricted Subsidiaries that are Foreign Subsidiaries shall be subject
2758           to the limitations set forth in clause (c) of this Section 6.04;

2759                    (i)       any investments in or loans to any other Person received as noncash considera-
2760           tion for sales, transfers, leases and other dispositions permitted by Section 6.05;

2761                    (j)     any other investments in, advances or loans to or Guarantees of Indebtedness of,
2762           any Person in an aggregate amount not to exceed, when combined with any amounts permitted to
2763           be invested, loaned, guaranteed, or advanced under Section 6.04(c)(ii), the greater of (x)
2764           $50,000,000 and (y) 5.0% of Total Assets, at any time outstanding; provided, however, that (x)
2765           no more than an amount equal to the greater of (x) $10,000,000 and (y) 1.0% of Total Assets,
2766           may be used for the purposes permitted under Section 6.04(c)(ii); (y) to the extent any invest-
2767           ments, advances, loans, or Guarantees of Indebtedness permitted under this Section 6.04(i) are
2768           used for Joint Ventures, the Equity Interests (or similar interests) held by the Borrower or any Re-
2769           stricted Subsidiary in such Joint Venture shall be pledged pursuant to the Guarantee and Collater-
2770           al Agreement (subject to the limitations applicable to the pledge of Equity Interests in Foreign
2771           Subsidiaries set forth in Section 5.12); and (z) the aggregate amount of investments in, advances
2772           or loans to or Guarantees of Indebtedness of, Unrestricted Subsidiaries shall not exceed (x)
2773           $10,000,000 and (y) 1.0% of Total Assets, at any time outstanding (it being understood that, for
2774           purposes of determining under this Agreement the amount of outstanding investments in Unre-
2775           stricted Subsidiaries, the sale or disposition by a Loan Party of an investment in an Unrestricted
2776           Subsidiary shall be deemed to reduce investments in Unrestricted Subsidiaries by an amount
2777           equal to the Net Proceeds of such sale or disposition;

2778                   (k)      Guarantees by the Borrower of obligations (other than Indebtedness) of a Subsid-
2779           iary Loan Party;

2780                   (l)      Investments in Hedge Agreements permitted under Section 6.01;

2781                   (m)     Loans and advances to officers, directors and employees for business related tra-
2782           vel expenses, moving expenses and other similar expenses, in each case incurred in the ordinary
2783           course of business; and

2784                   (n)     prepaid expenses, deposits, advances, loans or extensions of trade credit in the
2785           ordinary course of business by the Borrower or any Restricted Subsidiary.




                                                          -61-
       CG&R DRAFT: 12/15/10 11:13 PM                                                 #1052964 v14 (1049414_.DOC)
       10-16140-mg            Doc 116   Filed 12/15/10 Entered 12/15/10 23:40:47                    Main Document
                                                  Pg 750 of 771


2786                    SECTION 6.05. Asset Sales. The Borrower will not, and will not permit any of its Re-
2787   stricted Subsidiaries to, sell, transfer, lease or otherwise dispose of any asset, including any Equity Inter-
2788   est owned by it, nor will the Borrower permit any of its Restricted Subsidiaries to issue any additional
2789   Equity Interest in such Restricted Subsidiary, except:

2790                  (a)      sales or dispositions of cash, inventory, used or surplus equipment and Permitted
2791           Investments in the ordinary course of business;

2792                    (b)     (i) sales, transfers and dispositions to the Borrower or a Restricted Subsidiary and
2793           (ii) the making of an investment permitted by Section 6.04;

2794                    (c)     sales of accounts receivable (i) that are delinquent or the amount of which is in
2795           dispute, in each case in connection with the compromise or collection thereof in the ordinary
2796           course of business, or (ii) of any account debtor in connection with the termination, wind-down or
2797           restructuring of the relationship with such account debtor in the ordinary course of business;

2798                    (d)      sales, transfers and other dispositions of assets (other than the sale of less than all
2799           of the Equity Interests in a Subsidiary owned by the Borrower and its Subsidiaries) that are not
2800           permitted by any other clause of this Section; provided that the aggregate fair market value of all
2801           assets sold, transferred or otherwise disposed of in reliance upon this clause (d) shall not exceed
2802           $100,000,000 in the aggregate prior to the Maturity Date and no more than $25,000,000 in any
2803           four quarter period;

2804                   (e)     the lease, assignment or sublease of any real or personal property in the ordinary
2805           course of business;

2806                    (f)      the granting of Liens not prohibited hereby; and

2807                    (g)     the licensing or sublicensing of intellectual property or other general intangibles
2808           in the ordinary course of business;

2809   provided that all sales, transfers, leases and other dispositions permitted hereby (other than those permit-
2810   ted by clause (b) above) shall be made for fair value and for at least 80% cash consideration and provided
2811   further, that the aggregate noncash consideration received for all sales, transfers, leases and other disposi-
2812   tions permitted hereby shall not exceed $20,000,000.

2813                     SECTION 6.06. Sale and Leaseback Transactions. The Borrower will not, and will not
2814   permit any of its Restricted Subsidiaries to, enter into any arrangement, directly or indirectly, whereby it
2815   shall sell or transfer any property, real or personal, used or useful in its business, whether now owned or
2816   hereinafter acquired, and thereafter rent or lease such property or other property that it intends to use for
2817   substantially the same purpose or purposes as the property sold or transferred, except for any such sale of
2818   any fixed or capital assets that is made for cash consideration in an amount not less than the cost of such
2819   fixed or capital asset and is consummated within 180 days after the Borrower or such Subsidiary acquires
2820   or completes the construction of such fixed or capital asset.

2821                    SECTION 6.07.       [Reserved].

2822                    SECTION 6.08.       Restricted Payments; Certain Payments of Indebtedness.

2823                   (a)     Borrower will, nor will it permit any Restricted Subsidiary to, declare or make, or
2824   agree to pay or make, directly or indirectly, any Restricted Payment, or incur any obligation (contingent


                                                             -62-
       CG&R DRAFT: 12/15/10 11:13 PM                                                     #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 751 of 771


2825   or otherwise) to do so, except (i) Borrower may declare and pay dividends with respect to its capital stock
2826   payable solely in additional shares of its common stock, (ii) Subsidiaries may declare and pay dividends
2827   ratably with respect to their capital stock, (iii) Borrower may make Restricted Payments not exceeding
2828   $4,000,000 during any fiscal year, pursuant to and in accordance with stock option plans or other benefit
2829   plans for management or employees of the Borrower and its Subsidiaries, (iv) the Borrower may pay div-
2830   idends to a direct or indirect parent company at such times and in such amounts, not exceeding
2831   $2,000,000 during any fiscal year, as shall be necessary to permit such direct or indirect parent company
2832   to pay reasonable administrative expenses incurred in the ordinary course of its business, (v) Borrower
2833   may make Restricted Payments not exceeding $5,000,000 in any fiscal year or $20,000,000 in the aggre-
2834   gate from the Effective Date, to repurchase Equity Interests in the Borrower owned by employees or for-
2835   mer employees of the Borrower or the Subsidiaries pursuant to the terms of agreements (including em-
2836   ployment agreements) with such employees, (vi) any Restricted Subsidiary may make Restricted Pay-
2837   ments to any Restricted Subsidiary or the Borrower, to pay any Tax with respect to income attributable to
2838   the party making such Restricted Payments as the result of such party being a member of a consolidated,
2839   affiliated or unitary group (for tax purposes) that includes the Borrower as its parent, (vii) the Borrower
2840   may pay, prepay, redeem or acquire the Second Lien Notes or Permitted Refinancing Indebtedness the-
2841   reof incurred pursuant to Section 6.01(a)(vii) with the Net Proceeds of (or, in the case of Permitted Refi-
2842   nancing Indebtedness, in exchange for) Permitted Refinancing Indebtedness, (provided, in the case of
2843   each payment, prepayment, redemption or acquisition permitted by this clause (vii), that any Indebtedness
2844   so paid, prepaid, redeemed or acquired is cancelled and retired), (viii) payments made by the Borrower or
2845   any Restricted Subsidiary in respect of withholding or similar Taxes payable by any employee, director,
2846   manager or consultant and any repurchases of Equity Interests in consideration of such payments includ-
2847   ing deemed repurchases in connection with the exercise of stock options not exceeding $1,000,000 in any
2848   fiscal year of the Borrower, and (ix) other Restricted Payments in an aggregate amount taken together
2849   with all other Restricted Payments made pursuant to this clause (ix) and any prepayments of Indebtedness
2850   made pursuant to Section 6.08(b)(vii) not to exceed $[2,500,000]; provided that any Restricted Payment
2851   otherwise permitted by clause (iii) and clauses (v) through (ix) above shall not be permitted if at the time
2852   thereof and after giving effect thereto a Default shall have occurred and be continuing.

2853                     (b)      The Borrower will not, nor will it permit any Restricted Subsidiary to, make or
2854   agree to pay or make, directly or indirectly, any payment or other distribution (whether in cash, securities
2855   or other property) of or in respect of principal of or interest or premium on any Indebtedness (other than
2856   Indebtedness secured on a first lien basis), or any payment or other distribution (whether in cash, securi-
2857   ties or other property), including any sinking fund or similar deposit, on account of the purchase, redemp-
2858   tion, retirement, acquisition, cancellation or termination of any Indebtedness, except:

2859                    (i)     payment of Indebtedness created under the Loan Documents;

2860                   (ii)    payment of regularly scheduled interest and principal payments and any manda-
2861           tory prepayments and mandatory offers to purchase (including any premiums required under the
2862           documents governing such Indebtedness), in each case as and when due (or thereafter) in respect
2863           of any Indebtedness (including, without limitation, any regularly scheduled interest payments
2864           which the Borrower or such Restricted Subsidiary may elect to pay in cash or by the issuance of
2865           additional Indebtedness), other than (x) payments in respect of the Subordinated Debt prohibited
2866           by the subordination provisions thereof;

2867                  (iii)    refinancings of Indebtedness to the extent that the Indebtedness incurred to refin-
2868           ance such other Indebtedness is permitted under Section 6.01;

2869                    (iv)    refinancings of Indebtedness with the Net Proceeds of any issuance of Equity In-
2870           terests by the Borrower to any Person other than the Borrower or any Restricted Subsidiary;


                                                           -63-
       CG&R DRAFT: 12/15/10 11:13 PM                                                 #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                  Pg 752 of 771


2871                     (v)     payment of Secured Indebtedness that becomes due as a result of the voluntary
2872           sale or transfer of the property or assets securing such Indebtedness;

2873                   (vi)   payments made to pay, prepay, redeem or acquire Indebtedness pursuant to and
2874           in compliance with clause (vii) of paragraph (a) of this Section; provided that any Indebtedness so
2875           prepaid, redeemed or acquired is cancelled and retired; and

2876                  (vii)     other payments in an aggregate amount taken together with all other payments
2877           made pursuant to this clause (vii) and any Restricted Payments made pursuant to Section
2878           6.08(a)(ix) not to exceed $2,500,000.

2879                      SECTION 6.09. Transactions with Affiliates. The Borrower will not, nor will not they
2880   permit any Restricted Subsidiary to, sell, lease or otherwise transfer any property or assets to, or purchase,
2881   lease or otherwise acquire any property or assets from, or otherwise engage in any other transactions with,
2882   any of its Affiliates (which, for purposes of this Section 6.09, shall include each Permitted Holder (indivi-
2883   dually, without giving effect to the stockholders’ agreement entered into by certain of the Permitted Hold-
2884   ers) (x) that has designated or Controls a majority of the members of the Board of Directors of the Bor-
2885   rower, (y) whose representatives or Affiliates comprise a majority of the members of the Board of Direc-
2886   tors of the Borrower, or (z) that holds, directly or indirectly, at least 20% of the total voting power of the
2887   voting Equity Interests of the Borrower), except (a) transactions that do not involve the Borrower and are
2888   at prices and on terms and conditions not less favorable to the Borrower or such Restricted Subsidiary
2889   than could be obtained on an arm’s-length basis from unrelated third parties, (b) transactions between or
2890   among the Borrower and the Subsidiary Loan Parties not involving any other Affiliate, (c) any payment
2891   permitted by the exceptions to Section 6.08, (d) the payment of reasonable and customary fees paid to,
2892   and indemnities provided on behalf of, officers, directors, employees or consultants of the Borrower, any
2893   of its direct or indirect parent companies or any of its Restricted Subsidiaries, (e) any agreement or ar-
2894   rangement as in effect as of the Effective Date, or any amendment thereto (so long as any such amend-
2895   ment is not materially disadvantageous to the Lenders when taken as a whole as compared to the applica-
2896   ble agreements or arrangement as in effect on the Effective Date), (f) the existence of, or the performance
2897   by the Borrower or any of its Restricted Subsidiaries of its obligations under the terms of, any stockhold-
2898   ers agreement (including any registration rights agreement or purchase agreement related thereto) to
2899   which the Borrower or any such Restricted Subsidiary is a party as of the Effective Date and any similar
2900   agreements which it may enter into thereafter; provided, however, that the existence of or the perfor-
2901   mance by the Borrower or any of its Restricted Subsidiaries of obligations under any future amendment to
2902   any such existing agreement or under any similar agreement entered into after the Effective Date shall
2903   only be permitted by this clause (f) to the extent that the terms of any such amendment or new agreement
2904   are not otherwise materially disadvantageous to the Lenders when taken as a whole, (g) transactions with
2905   customers, clients, suppliers or purchasers or sellers of goods or services, in each case in the ordinary
2906   course of business and otherwise in compliance with the terms of this Agreement that are fair to the Bor-
2907   rower and its Restricted Subsidiaries, in the reasonable determination of the board of directors of the Bor-
2908   rower or the senior management thereof, or are on terms at least as favorable as might reasonably have
2909   been obtained at such time from an unaffiliated party, (h) the issuance of Equity Interests (other than Dis-
2910   qualified Stock) of the Borrower to any Person and any contribution to the capital of the Borrower, (i)
2911   payments to the Borrower or any of its Restricted Subsidiaries to any of the Permitted Holders made for
2912   any financial advisory, financing, underwriting or placement services or in respect of other investment
2913   banking activities, including, without limitation, in connection with acquisitions or divestitures, which
2914   payments are approved by a majority of the board of directors of the Borrower in good faith, (j) the
2915   Emergence Transactions, including the payment of fees and expenses in connection therewith, (k) pay-
2916   ments or loans (or cancellation of loans) to employees or consultants of the Borrower, any of its direct or
2917   indirect parent companies or any of its Restricted Subsidiaries and employment agreements, stock option
2918   plans and other similar arrangements with such employees or consultants which, in each case, are ap-


                                                           -64-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 753 of 771


2919   proved by the Borrower in good faith, (l) transactions between the Borrower or any of its Restricted Sub-
2920   sidiaries and any Person a director of which is also a director of the Borrower or any direct or indirect
2921   parent of the Borrower; provided, however, that such director abstains from voting as a director of the
2922   Borrower or such direct or indirect parent, as the case may be, on any matter involving such other Person,
2923   (m) transactions permitted by, and complying with, Section 6.03 hereof, (n) the pledge of Equity Interests
2924   of an Unrestricted Subsidiary to lenders of such Unrestricted Subsidiary to support the Indebtedness of
2925   such Unrestricted Subsidiary owed to such lenders and (o) any transaction with (or for the benefit of) a
2926   Person that would constitute an Affiliate Transaction solely because the Borrower or a Restricted Subsidi-
2927   ary owns an equity interest in or otherwise controls such Person.

2928                     SECTION 6.10. Restrictive Agreements. The Borrower will not, nor will not they
2929   permit any Restricted Subsidiary to, directly or indirectly, enter into, incur or permit to exist any agree-
2930   ment or other arrangement that prohibits, restricts or imposes any condition upon (a) the ability of the
2931   Borrower or any Restricted Subsidiary to create, incur or permit to exist any Lien upon any of its property
2932   or assets, or (b) the ability of any Restricted Subsidiary to pay dividends or other distributions with re-
2933   spect to any shares of its capital stock or to make or repay loans or advances to the Borrower or any other
2934   Restricted Subsidiary or to Guarantee Indebtedness of the Borrower or any other Restricted Subsidiary;
2935   provided that (i) the foregoing shall not apply to restrictions and conditions imposed by law or applicable
2936   rule, regulation or order or by any Loan Document, the Senior Secured Notes Indenture or the Second
2937   Lien Indenture, (ii) the foregoing shall not apply to restrictions and conditions existing on the Effective
2938   Date identified on Schedule 6.10 (but shall apply to any amendment or modification expanding the scope
2939   of any such restriction or condition), (iii) the foregoing shall not apply to customary restrictions and con-
2940   ditions contained in agreements relating to the sale of a Subsidiary or asset pending such sale, provided
2941   such restrictions and conditions apply only to the Subsidiary or asset that is to be sold and such sale is
2942   permitted hereunder, (iv) clause (a) of the foregoing shall not apply to restrictions or conditions imposed
2943   by any agreement relating to Indebtedness permitted by this Agreement if and to the extent that such
2944   agreement relating to such Indebtedness shall permit any and all Liens, whether entered into, incurred or
2945   permitted to exist prior to, on or after the date of such agreement, securing any Obligations, whether such
2946   Obligations arise prior to, on or after the date of such agreement, and any Indebtedness incurred to refin-
2947   ance any such Obligations, (v) clause (a) of the foregoing shall not apply to restrictions or conditions im-
2948   posed by any agreement relating to Indebtedness of a Foreign Subsidiary permitted by this Agreement if
2949   such restrictions or conditions apply only to the property or assets of such Foreign Subsidiary,
2950   (vi) clause (a) of the foregoing shall not apply to customary provisions in leases restricting the assignment
2951   thereof, (vii) the foregoing will not apply to restrictions on cash or other deposits or net worth imposed by
2952   customers under contracts entered into in the ordinary course of business, (viii) the foregoing will not ap-
2953   ply to customary provisions in joint venture agreements and other similar agreements or arrangements
2954   relating solely to such joint venture and (ix) the foregoing will not apply to customary provisions con-
2955   tained in leases or licenses of intellectual property and other agreements, in each case, entered into in the
2956   ordinary course of business.

2957                      SECTION 6.11. Amendment of Material Documents. The Borrower will, nor will they
2958   permit any Subsidiary to, amend, modify or waive any of its rights under (a) the Second Lien Indenture,
2959   (b) its certificate of incorporation, by-laws or other organizational documents, (c) the Confirmation Order
2960   or (d) the Reorganization Plan, in each case in any manner that is adverse in any material respect to the
2961   interests of the Lenders or the Loan Parties (determined as though any Indebtedness that is the subject of
2962   any such amendment, modification or waiver is not in default).

2963                  SECTION 6.12. First Lien Leverage Ratio. The Borrower will not permit the First
2964   Lien Leverage Ratio as of the last day of any fiscal quarter ending on any date during any period set forth
2965   below to exceed the ratio set forth below opposite such period:



                                                           -65-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                                  Pg 754 of 771


                        Period                                                   Ratio

                        Effective Date to and including June 30, 2013            4.75 to 1.00

                        July 1, 2013 and thereafter                              4.50 to 1.00
2966
2967                   SECTION 6.13.       Fiscal Year. The Borrower shall not change its fiscal year-end to a
2968   date other than March 31.

2969                                                   ARTICLE VII
2970
2971                                                  Events of Default

2972                    SECTION 7.01.      Events of Default. If any of the following events (“Events of De-
2973   fault”) shall occur:

2974                   (a)      the Borrower shall fail to pay any principal of any Loan or any reimbursement
2975           obligation in respect of any LC Disbursement, when and as the same shall become due and paya-
2976           ble, whether at the due date thereof or at a date fixed for prepayment thereof or otherwise, when
2977           and as the same shall become due and payable, and such failure shall continue unremedied for a
2978           period of one day;

2979                   (b)      the Borrower shall fail to pay any interest on any Loan or any fee or any other
2980           amount (other than as referred to in clause (a) of this Section 7.01) payable under this Agreement
2981           or any other Loan Document, when and as the same shall become due and payable, and such fail-
2982           ure shall continue unremedied for a period of three Business Days;

2983                    (c)      any representation or warranty made or deemed made by or on behalf of the Bor-
2984           rower or any Subsidiary in or in connection with any Loan Document or any amendment or mod-
2985           ification thereof or waiver thereunder, or in any certificate furnished pursuant to or in connection
2986           with any Loan Document or any amendment or modification thereof or waiver thereunder, shall
2987           prove to have been incorrect (or, in the case of any such representation or warranty that is not
2988           qualified as to materiality, incorrect in any material respect) when made or deemed made;

2989                   (d)     the Borrower shall fail to observe or perform any covenant, condition or agree-
2990           ment contained in Section 5.02, 5.04 (with respect to the existence of the Borrower) or 5.11, or in
2991           Article VI;

2992                    (e)     (x) the Borrower shall fail to observe or perform any covenant, condition or
2993           agreement contained in Section 5.01, 5.12, 5.13, or 5.14 and such failure shall continue unreme-
2994           died for a period of 5 Business Days after notice thereof from the Administrative Agent to the
2995           Borrower (which notice will be given at the request of any Lender) or (y) any Loan Party shall
2996           fail to observe or perform any covenant, condition or agreement contained in any Loan Document
2997           (other than those specified in clause (a), (b), (d), or (e)(x) of this Section), and such failure shall
2998           continue unremedied for a period of 30 days after notice thereof from the Administrative Agent to
2999           the Borrower (which notice will be given at the request of any Lender);

3000                   (f)      the Borrower or any Restricted Subsidiary shall fail to make any payment of
3001           principal or interest (regardless of amount) in respect of any Material Indebtedness, when and as
3002           the same shall become due and payable (after giving effect to any applicable period of grace, in
3003           the case of interest);


                                                            -66-
       CG&R DRAFT: 12/15/10 11:13 PM                                                     #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 755 of 771


3004                    (g)      any event or condition occurs that results in any Material Indebtedness becoming
3005           due prior to its scheduled maturity or that enables or permits the holder or holders of any Material
3006           Indebtedness or any trustee or agent on its or their behalf to cause any Material Indebtedness to
3007           become due, or to require the prepayment, repurchase, redemption or defeasance thereof, prior to
3008           its scheduled maturity; provided that this clause (g) shall not apply to secured Indebtedness that
3009           becomes due as a result of the voluntary sale or transfer of the property or assets securing such
3010           Indebtedness;

3011                    (h)      an involuntary proceeding shall be commenced or an involuntary petition shall be
3012           filed seeking (i) liquidation, reorganization or other relief in respect of the Borrower or any Re-
3013           stricted Subsidiary or its debts, or of a substantial part of its assets, under any Federal, state or
3014           foreign bankruptcy, insolvency, receivership or similar law now or hereafter in effect or (ii) the
3015           appointment of a receiver, trustee, custodian, sequestrator, conservator or similar official for the
3016           Borrower or any Restricted Subsidiary or for a substantial part of its assets, and, in any such case,
3017           such proceeding or petition shall continue undismissed for 60 days or an order or decree approv-
3018           ing or ordering any of the foregoing shall be entered;

3019                     (i)      the Borrower or any Restricted Subsidiary shall (i) voluntarily commence any
3020           proceeding or file any petition seeking liquidation, reorganization or other relief under any Feder-
3021           al, state or foreign bankruptcy, insolvency, receivership or similar law now or hereafter in effect,
3022           (ii) consent to the institution of, or fail to contest in a timely and appropriate manner, any pro-
3023           ceeding or petition described in clause (h) of this Article, (iii) apply for or consent to the ap-
3024           pointment of a receiver, trustee, custodian, sequestrator, conservator or similar official for the
3025           Borrower or any Restricted Subsidiary or for a substantial part of its assets, (iv) file an answer
3026           admitting the material allegations of a petition filed against it in any such proceeding, (v) make a
3027           general assignment for the benefit of creditors or (vi) take any action for the purpose of effecting
3028           any of the foregoing;

3029                    (j)       the Borrower or any Restricted Subsidiary shall become unable, admit in writing
3030           its inability or fail generally to pay its debts as they become due;

3031                   (k)     one or more judgments for the payment of money in an aggregate amount in
3032           excess of $35,000,000 shall be rendered against the Borrower, any Restricted Subsidiary or any
3033           combination thereof and the same shall remain undischarged for a period of 60 consecutive days
3034           during which execution shall not be effectively stayed, or any action shall be legally taken by a
3035           judgment creditor to attach or levy upon any assets of the Borrower or any Restricted Subsidiary
3036           to enforce any such judgment;

3037                   (l)   an ERISA Event shall have occurred that, when taken together with all other
3038           ERISA Events that have occurred, could reasonably be expected to result in a Material Adverse
3039           Effect;

3040                    (m)      (i) any Security Document or any Guarantee of the Loan Document Obligations
3041           (as defined in the Guarantee and Collateral Agreement) shall for any reason be asserted by any
3042           Loan Party not to be a legal, valid and binding obligation of any Loan Party party thereto or (ii)
3043           any Lien purported to be created under any Security Document shall cease to be, or shall be as-
3044           serted by any Loan Party not to be, a valid and perfected Lien on any material portion of the Col-
3045           lateral, with the priority required by the applicable Security Document, except (x) as a result of
3046           the sale or other disposition of the applicable Collateral in a transaction permitted under the Loan
3047           Documents or (y) as a result of the Administrative Agent’s failure to maintain possession of any



                                                           -67-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                                  Pg 756 of 771


3048           stock certificates, promissory notes or other instruments delivered to it under the Guarantee and
3049           Collateral Agreement;

3050                    (n)     a Change in Control shall occur; or

3051                    (o)     each of the Intercreditor Agreements or any of the respective provisions thereof
3052           shall cease to be in full force and effect other than in accordance with its respective terms;

3053   then, and in every such event (other than an event with respect to the Borrower described in clause (h) or
3054   (i) of this Article), and at any time thereafter during the continuance of such event, the Administrative
3055   Agent may, and at the request of the Required Lenders shall, by notice to the Borrower, take either or
3056   both of the following actions, at the same or different times: (i) terminate the Revolving Commitments,
3057   and thereupon the Revolving Commitments shall terminate immediately, and (ii) declare the Loans then
3058   outstanding to be due and payable in whole (or in part, in which case any principal not so declared to be
3059   due and payable may thereafter be declared to be due and payable), and thereupon the principal of the
3060   Loans so declared to be due and payable, together with accrued interest thereon and all fees and other ob-
3061   ligations of the Borrower accrued hereunder, shall become due and payable immediately, without pre-
3062   sentment, demand, protest or other notice of any kind, all of which are hereby waived by the Borrower;
3063   and in case of any event with respect to the Borrower described in clause (h) or (i) of this Article, the Re-
3064   volving Commitments shall automatically terminate and the principal of the Loans then outstanding, to-
3065   gether with accrued interest thereon and all fees and other obligations of the Borrower accrued hereunder,
3066   shall automatically become due and payable, without presentment, demand, protest or other notice of any
3067   kind, all of which are hereby waived by the Borrower.

3068                    SECTION 7.02. Specified Equity Contribution. Notwithstanding anything to the con-
3069   trary contained in Section 7.01, in the event that the Borrower fails to comply with the requirements of the
3070   covenant set forth in Section 6.12, then (A) from the first Business Day after the period for which the re-
3071   levant financial statement are required to be delivered pursuant to Sections 5.01(a) and (b) until the expi-
3072   ration of the 10th Business Day subsequent to the date the relevant financial statements are required to be
3073   delivered pursuant to Sections 5.01(a) and (b), the Borrower shall have the right to issue common equity
3074   for cash or receive a contribution to its common equity, and upon the receipt by the Borrower of such
3075   cash (each, a “Specified Equity Contribution”) pursuant to the exercise by the Borrower of such right, the
3076   calculation of Consolidated EBITDA as used in the covenant set forth in Section 6.12 shall be recalcu-
3077   lated giving effect to the following pro forma adjustments:

3078                     (i)    Consolidated EBITDA shall be increased, solely for the purpose of measuring the
3079           covenant set forth in Section 6.12 and not for any other purpose under this Agreement (including
3080           but not limited to determining the availability or amount of any covenant baskets or carve-outs or
3081           determining the Applicable Rate), by an amount equal to the Specified Equity Contribution; pro-
3082           vided that no Specified Equity Contribution shall reduce Indebtedness on a pro forma basis for
3083           the applicable period for purposes of calculating the covenant set forth in Section 6.12; and

3084                    (ii)    if, after giving effect to the foregoing recalculations, the Borrower shall then be
3085           in compliance with the requirements of the covenant set forth in Section 6.12, the Borrower shall
3086           be deemed to have satisfied the requirements of the covenant set forth in Section 6.12 as of the re-
3087           levant date of determination with the same effect as though there had been no failure to comply
3088           therewith at such date, and the applicable breach or default of the covenants set forth in Sec-
3089           tions 6.12 that had occurred shall be deemed cured for the purposes of this Agreement.

3090           Notwithstanding anything herein to the contrary, (i) in each four consecutive fiscal-quarter period
3091   there shall be at least two fiscal quarters in respect of which the right to cure set forth in this Section 7.02


                                                             -68-
       CG&R DRAFT: 12/15/10 11:13 PM                                                    #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                  Pg 757 of 771


3092   is not exercised, (ii) there can be no more than four fiscal quarters in respect of which such right is exer-
3093   cised during the term of this Agreement, and (iii) for purposes of this Section 7.02, the Specified Equity
3094   Contribution utilized shall be no greater than the amount required for purposes of complying with the co-
3095   venant set forth in Section 6.12.

3096                                                  ARTICLE VIII
3097
3098                                                    The Agent

3099                   Each of the Lenders and the Issuing Bank hereby irrevocably appoints JPMorgan Chase
3100   Bank, N.A. as Administrative Agent and authorizes the Administrative Agent to take such actions on its
3101   behalf and to exercise such powers as are delegated to the Administrative Agent by the terms of the Loan
3102   Documents, together with such actions and powers as are reasonably incidental thereto.

3103                     The bank serving as the Administrative Agent hereunder shall have the same rights and
3104   powers in its capacity as a Lender as any other Lender and may exercise the same as though it were not
3105   the Administrative Agent, and such bank and its Affiliates may accept deposits from, lend money to and
3106   generally engage in any kind of business with the Borrower or any Subsidiary or other Affiliate thereof as
3107   if it were not the Administrative Agent hereunder.

3108                     The Administrative Agent shall not have any duties or obligations except those expressly
3109   set forth in the Loan Documents. Without limiting the generality of the foregoing, (a) the Administrative
3110   Agent shall not be subject to any fiduciary or other implied duties, regardless of whether a Default has
3111   occurred and is continuing, (b) the Administrative Agent shall not have any duty to take any discretionary
3112   action or exercise any discretionary powers, except discretionary rights and powers expressly contem-
3113   plated by the Loan Documents that the Administrative Agent is required to exercise in writing by the Re-
3114   quired Lenders (or such other number or percentage of the Lenders as shall be necessary under the cir-
3115   cumstances as provided in Section 9.02), and (c) except as expressly set forth in the Loan Documents, the
3116   Administrative Agent shall not have any duty to disclose, and shall not be liable for the failure to disclose,
3117   any information relating to the Borrower or any of its Subsidiaries that is communicated to or obtained by
3118   the bank serving as Administrative Agent or any of its Affiliates in any capacity. The Administrative
3119   Agent shall not be liable for any action taken or not taken by it with the consent or at the request of the
3120   Required Lenders (or such other number or percentage of the Lenders as shall be necessary under the cir-
3121   cumstances as provided in Section 9.02) or in the absence of its own gross negligence or willful miscon-
3122   duct. The Administrative Agent shall be deemed not to have knowledge of any Default unless and until
3123   written notice thereof is given to the Administrative Agent by the Borrower or a Lender, and the Adminis-
3124   trative Agent shall not be responsible for or have any duty to ascertain or inquire into (i) any statement,
3125   warranty or representation made in or in connection with any Loan Document, (ii) the contents of any
3126   certificate, report or other document delivered thereunder or in connection therewith, (iii) the performance
3127   or observance of any of the covenants, agreements or other terms or conditions set forth in any Loan
3128   Document, (iv) the validity, enforceability, effectiveness or genuineness of any Loan Document or any
3129   other agreement, instrument or document, or (v) the satisfaction of any condition set forth in Article IV or
3130   elsewhere in any Loan Document, other than to confirm receipt of items expressly required to be deli-
3131   vered to the Administrative Agent.

3132                   The Administrative Agent shall be entitled to rely upon, and shall not incur any liability
3133   for relying upon, any notice, request, certificate, consent, statement, instrument, document or other writ-
3134   ing believed by it to be genuine and to have been signed or sent by the proper Person. The Administrative
3135   Agent also may rely upon any statement made to it orally or by telephone and believed by it to be made
3136   by the proper Person, and shall not incur any liability for relying thereon. The Administrative Agent may
3137   consult with legal counsel (who may be counsel for the Borrower), independent accountants and other


                                                           -69-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                  Pg 758 of 771


3138   experts selected by it, and shall not be liable for any action taken or not taken by it in accordance with the
3139   advice of any such counsel, accountants or experts.

3140                    The Administrative Agent may perform any and all its duties and exercise its rights and
3141   powers by or through any one or more sub-agents appointed by the Administrative Agent. The Adminis-
3142   trative Agent and any such sub-agent may perform any and all its duties and exercise its rights and powers
3143   through their respective Related Parties. The exculpatory provisions of the preceding paragraphs shall
3144   apply to any such sub-agent and to the Related Parties of each Administrative Agent and any such sub-
3145   agent, and shall apply to their respective activities in connection with the syndication of the credit facili-
3146   ties provided for herein as well as activities as Administrative Agent.

3147                     Subject to the appointment and acceptance of a successor Administrative Agent as pro-
3148   vided in this paragraph, the Administrative Agent may resign at any time by notifying the Lenders, the
3149   Issuing Bank and the Borrower. Upon any such resignation, the Required Lenders shall have the right, in
3150   consultation with the Borrower, to appoint a successor. If no successor shall have been so appointed by
3151   the Required Lenders and shall have accepted such appointment within 30 days after the retiring Admin-
3152   istrative Agent gives notice of its resignation, then the retiring Administrative Agent may, on behalf of the
3153   Lenders and the Issuing Bank, appoint a successor Administrative Agent which shall be a bank with an
3154   office in New York, New York, or an Affiliate of any such bank. Upon the acceptance of its appointment
3155   as Administrative Agent hereunder by a successor, such successor shall succeed to and become vested
3156   with all the rights, powers, privileges and duties of the retiring Administrative Agent, and the retiring
3157   Administrative Agent shall be discharged from its duties and obligations hereunder. The fees payable by
3158   the Borrower to a successor Administrative Agent shall be the same as those payable to its predecessor
3159   unless otherwise agreed between the Borrower and such successor. After the Administrative Agent’s res-
3160   ignation hereunder, the provisions of this Article and Section 9.03 shall continue in effect for the benefit
3161   of such retiring Administrative Agent, its sub-agents and their respective Related Parties in respect of any
3162   actions taken or omitted to be taken by any of them while it was acting as Administrative Agent.

3163                    Each Lender acknowledges that it has, independently and without reliance upon the Ad-
3164   ministrative Agent or any other Lender and based on such documents and information as it has deemed
3165   appropriate, made its own credit analysis and decision to enter into this Agreement. Each Lender also
3166   acknowledges that it will, independently and without reliance upon the Administrative Agent or any other
3167   Lender and based on such documents and information as it shall from time to time deem appropriate, con-
3168   tinue to make its own decisions in taking or not taking action under or based upon this Agreement, any
3169   other Loan Document or related agreement or any document furnished hereunder or thereunder.

3170                    Notwithstanding anything herein to the contrary, each Lender acknowledges that the Lien
3171   and security interest granted to the Administrative Agent pursuant to the Security Documents and the ex-
3172   ercise of any right or remedy by the Administrative Agent thereunder are subject to the provisions of the
3173   Intercreditor Agreements.

3174                    To the extent required by any applicable law, the Administrative Agent shall withhold
3175   from any payment to any Lender an amount equal to any applicable withholding Tax. If the IRS or any
3176   Governmental Authority asserts a claim that the Administrative Agent did not properly withhold Tax
3177   from any amount paid to or for the account of any Lender for any reason (including because the appropri-
3178   ate form was not delivered or was not properly executed, or because such Lender failed to notify the Ad-
3179   ministrative Agent of a change in circumstances that rendered the exemption from, or reduction of, with-
3180   holding Tax ineffective), such Lender shall indemnify and hold harmless the Administrative Agent (to the
3181   extent that the Administrative Agent has not already been reimbursed by the Company and without limit-
3182   ing or expanding the obligation of the Company to do so) for all amounts paid, directly or indirectly, by
3183   the Administrative Agent as tax or otherwise, including any penalties, additions to Tax or interest thereon,


                                                            -70-
       CG&R DRAFT: 12/15/10 11:13 PM                                                   #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                Main Document
                                                 Pg 759 of 771


3184   together with all expenses incurred, including legal expenses and any out-of-pocket expenses, whether or
3185   not such Tax was correctly or legally imposed or asserted by the relevant Government Authority. A cer-
3186   tificate as to the amount of such payment or liability delivered to any Lender by the Administrative Agent
3187   shall be conclusive absent manifest error. Each Lender hereby authorizes the Administrative Agent to set
3188   off and apply any and all amounts at any time owing to such Lender under this Agreement or any other
3189   Loan Document against any amount due to the Administrative Agent under this Article VIII. The agree-
3190   ments in this Article VIII shall survive the resignation and/or replacement of the Administrative Agent,
3191   any assignment of rights by, or the replacement of, a Lender, the termination of the Loans and the repay-
3192   ment, satisfaction or discharge of all obligations under this Agreement. Unless required by applicable
3193   laws, at no time shall the Administrative Agent have any obligation to file for or otherwise pursue on be-
3194   half of a Lender any refund of Taxes withheld or deducted from funds paid for the account of such Lend-
3195   er.

3196                                                 ARTICLE IX
3197
3198                                                 Miscellaneous

3199                    SECTION 9.01. Notices. Except in the case of notices and other communications ex-
3200   pressly permitted to be given by telephone, all notices and other communications provided for herein shall
3201   be in writing and shall be delivered by hand or overnight courier service, mailed by certified or registered
3202   mail or sent by telecopy, as follows:

3203                   (a)    if to the Borrower, to it at American Media Operations, Inc., 1000 American Me-
3204           dia Way, Boca Raton, Florida 22464-1000, Attention of Chief Financial Officer and General
3205           Counsel (Telecopy No. (561) 989-1396) and [             ] (Telecopy No. (561) 998-7470), with a
3206           copy to Akin, Gump, Strauss, Hauer & Feld LLP, Attention of [       ] (Telecopy No. [      ]),
3207           [      ], [    ], [      ];

3208                   (b)    [if to the Administrative Agent, to JPMorgan Chase Bank, N.A., Loan and Agen-
3209           cy Services Group, 1111 Fannin Street, Houston, Texas 77002, Attention of Gloria Javier (Tele-
3210           copy No. (713) 750-2878), with a copy to JPMorgan Chase Bank, N.A., 270 Park Avenue, New
3211           York, New York 10017, Attention of Peter Thauer (Telecopy No. (212) 270-5127);]1

3212                   (c)    [if to the Issuing Bank, to it at JPMorgan Chase Bank, N.A., Loan and Agency
3213           Services Group, 1111 Fannin Street, Houston, Texas 77002, Attention of Gloria Javier (Telecopy
3214           No. (713) 750-2878);]2

3215                  (d)     [if to the Swingline Lender, to it at JPMorgan Chase Bank, N.A., Loan and
3216           Agency Services Group, 1111 Fannin Street, Houston, Texas 77002, Attention of Gloria Javier
3217           (Telecopy No. (713) 750-2878);]3 and




       1
               To be confirmed.
       2
               To be confirmed.
       3
               To be confirmed.




                                                          -71-
       CG&R DRAFT: 12/15/10 11:13 PM                                                 #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                  Main Document
                                                 Pg 760 of 771


3218                  (e)     if to any other Lender, to it at its address (or telecopy number) set forth in its
3219           Administrative Questionnaire.

3220   Any party hereto may change its address or telecopy number for notices and other communications he-
3221   reunder by notice to the other parties hereto. Notices and other communications to the Lenders and the
3222   Issuing Bank hereunder may also be delivered or furnished by electronic communication (including e-
3223   mail and Internet or intranet websites) pursuant to procedures approved by the Administrative Agent;
3224   provided that the foregoing shall not apply to notices to any Lender or the Issuing Bank pursuant to Ar-
3225   ticle II if such Lender or the Issuing Bank, as applicable, has notified the Administrative Agent that it is
3226   incapable of receiving notices under such Article by electronic communication. The Administrative
3227   Agent or the Borrower may, in its discretion, agree to accept notices and other communications to it he-
3228   reunder by electronic communications pursuant to procedures approved by it; provided that approval of
3229   such procedures may be limited to particular notices or communications. All notices and other communi-
3230   cations given to any party hereto in accordance with the provisions of this Agreement shall be deemed to
3231   have been given on the date of receipt.

3232                   SECTION 9.02.       Waivers; Amendments.

3233                    (a)      No failure or delay by the Administrative Agent, the Issuing Bank or any Lender
3234   in exercising any right or power hereunder or under any other Loan Document shall operate as a waiver
3235   thereof, nor shall any single or partial exercise of any such right or power, or any abandonment or discon-
3236   tinuance of steps to enforce such a right or power, preclude any other or further exercise thereof or the
3237   exercise of any other right or power. The rights and remedies of the Administrative Agent, the Issuing
3238   Bank and the Lenders hereunder and under the other Loan Documents are cumulative and are not exclu-
3239   sive of any rights or remedies that they would otherwise have. No waiver of any provision of any Loan
3240   Document or consent to any departure by any Loan Party therefrom shall in any event be effective unless
3241   the same shall be permitted by paragraph (b) of this Section, and then such waiver or consent shall be ef-
3242   fective only in the specific instance and for the purpose for which given. Without limiting the generality
3243   of the foregoing, the making of a Loan or issuance of a Letter of Credit shall not be construed as a waiver
3244   of any Default, regardless of whether the Administrative Agent, any Lender or the Issuing Bank may have
3245   had notice or knowledge of such Default at the time.

3246                     (b)     Neither this Agreement nor any other Loan Document nor any provision hereof
3247   or thereof may be waived, amended or modified except, in the case of this Agreement, pursuant to an
3248   agreement or agreements in writing entered into by the Borrower and the Required Lenders or, in the case
3249   of any other Loan Document, pursuant to an agreement or agreements in writing entered into by the Ad-
3250   ministrative Agent and the Loan Party or Loan Parties that are parties thereto, in each case with the con-
3251   sent of the Required Lenders; provided that no such agreement shall (i) increase the Revolving Commit-
3252   ment of any Lender without the written consent of such Lender, (ii) reduce or forgive the principal
3253   amount of any Loan or LC Disbursement or reduce the rate of interest thereon, or reduce any fees payable
3254   hereunder, without the written consent of each Lender affected thereby, (iii) postpone the maturity of any
3255   Loan or the required date of reimbursement of any LC Disbursement, or any date for the payment of any
3256   interest or fees payable hereunder, or reduce the amount of, waive or excuse any such payment, or post-
3257   pone the scheduled date of expiration of any Revolving Commitment, without the written consent of each
3258   Lender affected thereby, (iv) change Section 2.18(b) or (c) in a manner that would alter the ratable provi-
3259   sions or pro rata sharing of payments required thereby, without the written consent of each Lender,
3260   (v) change any of the provisions of this Section or the percentage set forth in the definition of “Required
3261   Lenders” or any other provision of any Loan Document specifying the number or percentage of Lenders
3262   required to waive, amend or modify any rights thereunder or make any determination or grant any consent
3263   thereunder, without the written consent of each Lender, (vi) release all or substantially all of the Guaran-
3264   tees made by the Borrower and the Subsidiary Loan Parties under the Guarantee and Collateral Agree-


                                                           -72-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                  Pg 761 of 771


3265   ment (except as expressly provided in the Guarantee and Collateral Agreement), or limit their liability in
3266   respect of all or substantially all of such Guarantees, without the written consent of each Lender or
3267   (vii) release all or substantially all of the Collateral from the Liens of the Security Documents, without the
3268   written consent of each Lender; provided further that no such agreement shall amend, modify or other-
3269   wise affect the rights or duties of the Administrative Agent, the Issuing Bank or the Swingline Lender
3270   without the prior written consent of the Administrative Agent, the Issuing Bank or the Swingline Lender,
3271   as the case may be. Notwithstanding the foregoing, any provision of this Agreement may be amended by
3272   an agreement in writing entered into by the Borrower, the Required Lenders and the Administrative Agent
3273   (and, if their rights or obligations are affected thereby, the Issuing Bank and the Swingline Lender) if
3274   (i) by the terms of such agreement the Revolving Commitment of each Lender not consenting to the
3275   amendment provided for therein shall terminate upon the effectiveness of such amendment and (ii) at the
3276   time such amendment becomes effective, each Lender not consenting thereto receives payment in full of
3277   the principal of and interest accrued on each Loan made by it and all other amounts owing to it or accrued
3278   for its account under this Agreement.

3279                   (c)     Each of the Intercreditor Agreements may be amended, modified or waived by
3280   the Administrative Agent at the direction of the Required Lenders, and the consent of the Borrower or any
3281   other Loan Party shall be required only to the extent required in such Intercreditor Agreement.

3282                    (d)     Anything herein to the contrary notwithstanding, during such period as a Lender
3283   is a Defaulting Lender, to the fullest extent permitted by applicable law, such Lender will not be entitled
3284   to vote in respect of amendments, waivers and consents hereunder and the Revolving Commitment and
3285   the outstanding Loans or other extensions of credit of such Lender hereunder will not be taken into ac-
3286   count in determining whether the Required Lenders or all of the Lenders, as required, have approved any
3287   such amendment, waiver or consent (and the definition of “Required Lenders” will automatically be
3288   deemed modified accordingly for the duration of such period); provided that any such amendment or
3289   waiver that would increase or extend the term of the Revolving Commitment of such Defaulting Lender,
3290   extend the date fixed for the payment of principal or interest owing to such Defaulting Lender hereunder,
3291   reduce the principal amount of any obligation owing to such Defaulting Lender, reduce the amount of or
3292   the rate or amount of interest on any amount owing to such Defaulting Lender or of any fee payable to
3293   such Defaulting Lender hereunder, or alter the terms of this proviso, will require the consent of such De-
3294   faulting Lender.

3295                   SECTION 9.03.       Expenses; Indemnity; Damage Waiver.

3296                    (a)     The Borrower shall pay (i) all reasonable out-of-pocket expenses incurred by the
3297   Administrative Agent, the Arrangers and their respective Affiliates, including the reasonable fees, charges
3298   and disbursements of counsel for the Administrative Agent, in connection with the preparation and ad-
3299   ministration of the Loan Documents or any amendments, modifications or waivers of the provisions the-
3300   reof (whether or not the transactions contemplated hereby or thereby shall be consummated), (ii) all rea-
3301   sonable out-of-pocket expenses incurred by the Issuing Bank in connection with the issuance, amend-
3302   ment, renewal or extension of any Letter of Credit or any demand for payment thereunder and (iii) all out-
3303   of-pocket expenses incurred by the Administrative Agent, the Issuing Bank or any Lender, including the
3304   fees, charges and disbursements of any counsel for the Administrative Agent (and, if requested by the
3305   Required Lenders, one counsel (and if appropriate, one local counsel) and one financial advisor for such
3306   Lenders), the Issuing Bank or any Lender, in connection with the enforcement or protection of its rights in
3307   connection with the Loan Documents, including its rights under this Section, or in connection with the
3308   Loans made or Letters of Credit issued hereunder, including all such out-of-pocket expenses incurred dur-
3309   ing any workout, restructuring or negotiations in respect of such Loans or Letters of Credit.




                                                           -73-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 762 of 771


3310                     (b)     The Borrower shall indemnify the Administrative Agent, the Issuing Bank and
3311   each Lender, and each Related Party of any of the foregoing Persons (each such Person being called an
3312   “Indemnitee”) against, and hold each Indemnitee harmless from, any and all losses, claims, damages, lia-
3313   bilities and related expenses, including the fees, charges and disbursements of any counsel for any In-
3314   demnitee, incurred by or asserted against any Indemnitee arising out of, in connection with, or as a result
3315   of (i) the execution or delivery of any Loan Document or any other agreement or instrument contemplated
3316   hereby, the performance by the parties to the Loan Documents of their respective obligations thereunder
3317   or the consummation of the Emergence Transactions or any other transactions contemplated hereby,
3318   (ii) any Loan or Letter of Credit or the use of the proceeds therefrom (including any refusal by the Issuing
3319   Bank to honor a demand for payment under a Letter of Credit if the documents presented in connection
3320   with such demand do not strictly comply with the terms of such Letter of Credit), (iii) any actual or al-
3321   leged presence or release of Hazardous Materials on or from any Mortgaged Property or any other proper-
3322   ty currently or formerly owned or operated by the Borrower or any of its Subsidiaries, or any Environ-
3323   mental Liability related in any way to the Borrower or any of its Subsidiaries, or (iv) any actual or pros-
3324   pective claim, litigation, investigation or proceeding relating to any of the foregoing, whether based on
3325   contract, tort or any other theory and regardless of whether any Indemnitee is a party thereto; provided
3326   that such indemnity shall not, as to any Indemnitee, be available to the extent that such losses, claims,
3327   damages, liabilities or related expenses resulted from the gross negligence or willful misconduct of such
3328   Indemnitee.

3329                     (c)     To the extent that the Borrower fails to pay any amount required to be paid by it
3330   to the Administrative Agent, the Issuing Bank or the Swingline Lender under paragraph (a) or (b) of this
3331   Section, each Lender severally agrees to pay to the Administrative Agent, the Issuing Bank or the Swin-
3332   gline Lender, as the case may be, such Lender’s pro rata share (determined as of the time that the applica-
3333   ble unreimbursed expense or indemnity payment is sought) of such unpaid amount; provided that the un-
3334   reimbursed expense or indemnified loss, claim, damage, liability or related expense, as the case may be,
3335   was incurred by or asserted against the Administrative Agent, the Issuing Bank or the Swingline Lender
3336   in its capacity as such; provided further that any indemnification of the Issuing Bank or Swingline Lender
3337   shall be limited to Revolving Lenders only. For purposes hereof, a Lender’s “pro rata share” shall be de-
3338   termined based upon its share of the sum of the total Revolving Exposures and unused Revolving Com-
3339   mitments at the time.

3340                     (d)    To the extent permitted by applicable law, the Borrower shall not assert, and he-
3341   reby waives, any claim against any Indemnitee, on any theory of liability, for special, indirect, consequen-
3342   tial or punitive damages (as opposed to direct or actual damages) arising out of, in connection with, or as
3343   a result of, this Agreement or any agreement or instrument contemplated hereby, the Emergence Transac-
3344   tions, any Loan or Letter of Credit or the use of the proceeds thereof.

3345                    (e)    All amounts due under this Section shall be payable promptly after written de-
3346   mand therefor.

3347                    SECTION 9.04.     Successors and Assigns.

3348                    (a)      The provisions of this Agreement shall be binding upon and inure to the benefit
3349   of the parties hereto and their respective successors and assigns permitted hereby (including any Affiliate
3350   of the Issuing Bank that issues any Letter of Credit), except that (i) the Borrower may not assign or oth-
3351   erwise transfer any of its rights or obligations hereunder without the prior written consent of each Lender
3352   (and any attempted assignment or transfer by the Borrower without such consent shall be null and void)
3353   and (ii) no Lender may assign or otherwise transfer its rights or obligations hereunder except in accor-
3354   dance with this Section. Nothing in this Agreement, expressed or implied, shall be construed to confer
3355   upon any Person (other than the parties hereto, their respective successors and assigns permitted hereby


                                                          -74-
       CG&R DRAFT: 12/15/10 11:13 PM                                                 #1052964 v14 (1049414_.DOC)
       10-16140-mg         Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                  Pg 763 of 771


3356   (including any Affiliate of the Issuing Bank that issues any Letter of Credit), Participants (to the extent
3357   provided in paragraph (c) of this Section) and, to the extent expressly contemplated hereby, the Related
3358   Parties of each of the Administrative Agent, the Issuing Bank and the Lenders) any legal or equitable
3359   right, remedy or claim under or by reason of this Agreement.

3360                     (b)      (i) Subject to the conditions set forth in paragraph (b)(ii) below, any Lender may
3361   assign to one or more assignees all or a portion of its rights and obligations under this Agreement (includ-
3362   ing all or a portion of its Revolving Commitment and the Loans at the time owing to it) with the prior
3363   written consent (such consent not to be unreasonably withheld or delayed) of:

3364                   (A)     the Borrower; provided that no consent of the Borrower shall be required for an
3365           assignment to a Lender, an Affiliate of a Lender, an Approved Fund or, if an Event of Default has
3366           occurred and is continuing, any other assignee;

3367                    (B)     the Administrative Agent; provided that no consent of the Administrative Agent
3368           shall be required for an assignment of all or any portion of a Revolving Loan or a Revolving
3369           Commitment to an assignee that is a Revolving Lender immediately prior to giving effect to such
3370           assignment; and

3371                   (C)      the Issuing Bank.

3372                    (ii)    Assignments shall be subject to the following additional conditions:

3373                    (A)      except in the case of an assignment to a Lender or an Affiliate of a Lender or
3374           Approved Fund or an assignment of the entire remaining amount of the assigning Lender’s Re-
3375           volving Commitment or Loans, the amount of the Revolving Commitment or Loans of the assign-
3376           ing Lender subject to each such assignment (determined as of the effective date specified in the
3377           Assignment and Acceptance with respect to such assignment or, if no effective date is so speci-
3378           fied, as of the date the Assignment and Acceptance with respect to such assignment is delivered
3379           to the Administrative Agent) shall not be less than $2,500,000, unless each of the Borrower and
3380           the Administrative Agent otherwise consent (such consent not to be unreasonably withheld or de-
3381           layed); provided that no such consent of the Borrower shall be required if an Event of Default has
3382           occurred and is continuing;

3383                    (B)     each partial assignment shall be made as an assignment of a proportionate part of
3384           all the assigning Lender’s rights and obligations under this Agreement;

3385                  (C)     the parties to each assignment shall execute and deliver to the Administrative
3386           Agent an Assignment and Acceptance, together with a processing and recordation fee of $3,500;
3387           and

3388                 (D)       the assignee, if it shall not be a Lender, shall deliver to the Administrative Agent
3389           an Administrative Questionnaire.

3390                    Notwithstanding anything else to the contrary in this Section 9.04 to the contrary, if the
3391   Borrower's consent is required by this paragraph with respect to any assignment and the Borrower has not
3392   given the Administrative Agent written notice of its objection to such assignment within five (5) Business
3393   Days after written notice to the Borrower, the Borrower shall be deemed to have consented to such as-
3394   signment.




                                                           -75-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 764 of 771


3395                   For the purposes of this Section 9.04(b), the term “Approved Fund” has the following
3396   meaning:

3397                    “Approved Fund” means any Person (other than a natural person) that is engaged in mak-
3398           ing, purchasing, holding or investing in bank loans and similar extensions of credit in the ordinary
3399           course and that is administered or managed by (a) a Lender, (b) an Affiliate of a Lender or (c) an
3400           entity or an Affiliate of an entity that administers or manages a Lender.

3401                    (iii)    Subject to acceptance and recording thereof pursuant to paragraph (b)(iv) of this
3402   Section, from and after the effective date specified in each Assignment and Acceptance the assignee the-
3403   reunder shall be a party hereto and, to the extent of the interest assigned by such Assignment and Accep-
3404   tance, have the rights and obligations of a Lender under this Agreement, and the assigning Lender the-
3405   reunder shall, to the extent of the interest assigned by such Assignment and Acceptance, be released from
3406   its obligations under this Agreement (and, in the case of an Assignment and Acceptance covering all of
3407   the assigning Lender’s rights and obligations under this Agreement, such Lender shall cease to be a party
3408   hereto but shall continue to be entitled to the benefits of Sections 2.15, 2.16, 2.17 and 9.03). Any assign-
3409   ment or transfer by a Lender of rights or obligations under this Agreement that does not comply with this
3410   Section 9.04 shall be treated for purposes of this Agreement as a sale by such Lender of a participation in
3411   such rights and obligations in accordance with paragraph (c) of this Section.

3412                    (iv)     The Administrative Agent, acting for this purpose as an agent of the Borrower,
3413   shall maintain at one of its offices a copy of each Assignment and Acceptance delivered to it and a regis-
3414   ter for the recordation of the names and addresses of the Lenders, and the Revolving Commitment of, and
3415   principal amount of the Loans (and related interest) and LC Disbursements owing to, each Lender pur-
3416   suant to the terms hereof from time to time (the “Register”). The entries in the Register shall be conclu-
3417   sive, and the Borrower, the Administrative Agent, the Issuing Bank and the Lenders shall treat each Per-
3418   son whose name is recorded in the Register pursuant to the terms hereof as a Lender hereunder for all
3419   purposes of this Agreement, notwithstanding notice to the contrary. The Register shall be available for
3420   inspection by the Borrower, the Issuing Bank and any Lender, at any reasonable time and from time to
3421   time upon reasonable prior notice.

3422                     (v)     Upon its receipt of a duly completed Assignment and Acceptance executed by an
3423   assigning Lender and an assignee, the assignee’s completed Administrative Questionnaire (unless the as-
3424   signee shall already be a Lender hereunder), the processing and recordation fee referred to in para-
3425   graph (b)(ii)(C) of this Section and any written consent to such assignment required by paragraph (b) of
3426   this Section, the Administrative Agent shall accept such Assignment and Acceptance and record the in-
3427   formation contained therein in the Register. No assignment shall be effective for purposes of this Agree-
3428   ment unless it has been recorded in the Register as provided in this paragraph.

3429                     (c)      (i) Any Lender may, without the consent of the Borrower, the Administrative
3430   Agent, the Issuing Bank or the Swingline Lender, sell participations to one or more banks or other entities
3431   (a “Participant”) in all or a portion of such Lender’s rights and obligations under this Agreement (includ-
3432   ing all or a portion of its Revolving Commitment and the Loans owing to it); provided that (A) such
3433   Lender’s obligations under this Agreement shall remain unchanged, (B) such Lender shall remain solely
3434   responsible to the other parties hereto for the performance of such obligations and (C) the Borrower, the
3435   Administrative Agent, the Issuing Bank and the other Lenders shall continue to deal solely and directly
3436   with such Lender in connection with such Lender’s rights and obligations under this Agreement. Any
3437   agreement or instrument pursuant to which a Lender sells such a participation shall provide that such
3438   Lender shall retain the sole right to enforce this Agreement and to approve any amendment, modification
3439   or waiver of any provision of the Loan Documents; provided that such agreement or instrument may pro-
3440   vide that such Lender will not, without the consent of the Participant, agree to any amendment, modifica-


                                                           -76-
       CG&R DRAFT: 12/15/10 11:13 PM                                                  #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                  Pg 765 of 771


3441   tion or waiver described in the first proviso to Section 9.02(b) that affects such Participant. Subject to
3442   paragraph (c)(ii) of this Section, the Borrower agrees that each Participant shall be entitled to the benefits
3443   of Sections 2.15, 2.16 and 2.17 (subject to the requirement and limitations in those Sections, including the
3444   Documentation requirements in Section 2.17(e)) to the same extent as if it were a Lender and had ac-
3445   quired its interest by assignment pursuant to paragraph (b) of this Section. To the extent permitted by
3446   law, each Participant also shall be entitled to the benefits of Section 9.08 as though it were a Lender, pro-
3447   vided such Participant agrees to be subject to Section 2.18(c) as though it were a Lender.

3448                    Each Lender that sells a participation shall, acting solely for this purpose as a non-
3449   fiduciary agent of the Borrower, maintain a register on which it enters the name and address of each Par-
3450   ticipant and the principal amounts (and stated interest) of each Participant’s interest in the Loans or other
3451   obligations under this Agreement (the “Participant Register”). The entries in the Participant Register
3452   shall be conclusive and such Lender shall treat each Person whose name is recorded in the Participant
3453   Register as the owner of such participation for all purposes of this Agreement notwithstanding any notice
3454   to the contrary.

3455                     (ii)    A Participant shall not be entitled to receive any greater payment under Sec-
3456   tion 2.15 or 2.17 than the applicable Lender would have been entitled to receive with respect to the partic-
3457   ipation sold to such Participant, unless the sale of the participation to such Participant is made with the
3458   Borrower’s prior written consent or the entitlement to a greater payment results from a Change in Law
3459   occurring after the Participant became a Participant.

3460                      (d)     Any Lender may at any time pledge or assign a security interest in all or any por-
3461   tion of its rights under this Agreement to secure obligations of such Lender, including any pledge or as-
3462   signment to secure obligations to a Federal Reserve Bank, and this Section shall not apply to any such
3463   pledge or assignment of a security interest; provided that no such pledge or assignment of a security inter-
3464   est shall release a Lender from any of its obligations hereunder or substitute any such pledgee or assignee
3465   for such Lender as a party hereto.

3466                    SECTION 9.05. Survival. All covenants, agreements, representations and warranties
3467   made by the Loan Parties in the Loan Documents and in the certificates or other instruments delivered in
3468   connection with or pursuant to this Agreement or any other Loan Document shall be considered to have
3469   been relied upon by the other parties hereto and shall survive the execution and delivery of the Loan Doc-
3470   uments and the making of any Loans and issuance of any Letters of Credit, regardless of any investigation
3471   made by any such other party or on its behalf and notwithstanding that the Administrative Agent, the Is-
3472   suing Bank or any Lender may have had notice or knowledge of any Default or incorrect representation or
3473   warranty at the time any credit is extended hereunder, and shall continue in full force and effect as long as
3474   the principal of or any accrued interest on any Loan or any fee or any other amount payable under this
3475   Agreement is outstanding and unpaid or any Letter of Credit is outstanding and so long as the Revolving
3476   Commitments have not expired or terminated. The provisions of Sections 2.15, 2.16, 2.17 and 9.03 and
3477   Article VIII shall survive and remain in full force and effect regardless of the consummation of the trans-
3478   actions contemplated hereby, the repayment of the Loans, the expiration or termination of the Letters of
3479   Credit and the Revolving Commitments or the termination of this Agreement or any provision hereof.

3480                     SECTION 9.06. Counterparts; Integration; Effectiveness. This Agreement may be ex-
3481   ecuted in counterparts (and by different parties hereto on different counterparts), each of which shall con-
3482   stitute an original, but all of which when taken together shall constitute a single contract. This Agree-
3483   ment, the other Loan Documents and any separate letter agreements with respect to fees payable to the
3484   Administrative Agent and the Issuing Bank constitute the entire contract among the parties relating to the
3485   subject matter hereof and supersede any and all previous agreements and understandings, oral or written,
3486   relating to the subject matter hereof. Except as provided in Section 4.01, this Agreement shall become


                                                            -77-
       CG&R DRAFT: 12/15/10 11:13 PM                                                   #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116       Filed 12/15/10 Entered 12/15/10 23:40:47                   Main Document
                                                  Pg 766 of 771


3487   effective when it shall have been executed by the Administrative Agent and when the Administrative
3488   Agent shall have received counterparts hereof which, when taken together, bear the signatures of each of
3489   the other parties hereto, and thereafter shall be binding upon and inure to the benefit of the parties hereto
3490   and their respective successors and assigns. Delivery of an executed counterpart of a signature page of
3491   this Agreement by telecopy (or any other means of electronic transmission) shall be effective as delivery
3492   of a manually executed counterpart of this Agreement.

3493                     SECTION 9.07. Severability. Any provision of this Agreement held to be invalid, il-
3494   legal or unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent of such
3495   invalidity, illegality or unenforceability without affecting the validity, legality and enforceability of the
3496   remaining provisions hereof; and the invalidity of a particular provision in a particular jurisdiction shall
3497   not invalidate such provision in any other jurisdiction.

3498                     SECTION 9.08. Right of Setoff. If an Event of Default shall have occurred and be con-
3499   tinuing, each Lender and each of its Affiliates is hereby authorized at any time and from time to time, to
3500   the fullest extent permitted by law, to set off and apply any and all deposits (general or special, time or
3501   demand, provisional or final) at any time held and other obligations at any time owing by such Lender or
3502   Affiliate to or for the credit or the account of the Borrower against any of and all the obligations of the
3503   Borrower now or hereafter existing under this Agreement held by such Lender, irrespective of whether or
3504   not such Lender shall have made any demand under this Agreement and although such obligations may be
3505   unmatured. The rights of each Lender under this Section are in addition to other rights and remedies (in-
3506   cluding other rights of setoff) which such Lender may have.

3507                    SECTION 9.09.       Governing Law; Jurisdiction; Consent to Service of Process.

3508                    (a)   This Agreement shall be construed in accordance with and governed by the law
3509   of the State of New York.

3510                    (b)     The Borrower hereby irrevocably and unconditionally submits, for itself and its
3511   property, to the nonexclusive jurisdiction of the Supreme Court of the State of New York sitting in New
3512   York County and of the United States District Court of the Southern District of New York, and any appel-
3513   late court from any thereof, in any action or proceeding arising out of or relating to any Loan Document,
3514   or for recognition or enforcement of any judgment, and each of the parties hereto hereby irrevocably and
3515   unconditionally agrees that all claims in respect of any such action or proceeding may be heard and de-
3516   termined in such New York State or, to the extent permitted by law, in such Federal court. Each of the
3517   parties hereto agrees that a final judgment in any such action or proceeding shall be conclusive and may
3518   be enforced in other jurisdictions by suit on the judgment or in any other manner provided by law. Noth-
3519   ing in this Agreement or any other Loan Document shall affect any right that the Administrative Agent,
3520   the Issuing Bank or any Lender may otherwise have to bring any action or proceeding relating to this
3521   Agreement or any other Loan Document against the Borrower or its properties in the courts of any juris-
3522   diction.

3523                    (c)      The Borrower hereby irrevocably and unconditionally waives, to the fullest ex-
3524   tent it may legally and effectively do so, any objection which it may now or hereafter have to the laying
3525   of venue of any suit, action or proceeding arising out of or relating to this Agreement or any other Loan
3526   Document in any court referred to in paragraph (b) of this Section. Each of the parties hereto hereby irre-
3527   vocably waives, to the fullest extent permitted by law, the defense of an inconvenient forum to the main-
3528   tenance of such action or proceeding in any such court.




                                                            -78-
       CG&R DRAFT: 12/15/10 11:13 PM                                                    #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 767 of 771


3529                     (d)      Each party to this Agreement irrevocably consents to service of process in the
3530   manner provided for notices in Section 9.01. Nothing in this Agreement or any other Loan Document
3531   will affect the right of any party to this Agreement to serve process in any other manner permitted by law.

3532                SECTION 9.10. WAIVER OF JURY TRIAL. EACH PARTY HERETO HEREBY
3533   WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT
3534   MAY HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING DIRECTLY OR INDIRECT-
3535   LY ARISING OUT OF OR RELATING TO THIS AGREEMENT, ANY OTHER LOAN DOCUMENT
3536   OR THE TRANSACTIONS CONTEMPLATED HEREBY (WHETHER BASED ON CONTRACT,
3537   TORT OR ANY OTHER THEORY). EACH PARTY HERETO (A) CERTIFIES THAT NO REPRE-
3538   SENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PARTY HAS REPRESENTED, EX-
3539   PRESSLY OR OTHERWISE, THAT SUCH OTHER PARTY WOULD NOT, IN THE EVENT OF LIT-
3540   IGATION, SEEK TO ENFORCE THE FOREGOING WAIVER AND (B) ACKNOWLEDGES THAT
3541   IT AND THE OTHER PARTIES HERETO HAVE BEEN INDUCED TO ENTER INTO THIS
3542   AGREEMENT BY, AMONG OTHER THINGS, THE MUTUAL WAIVERS AND CERTIFICATIONS
3543   IN THIS SECTION.

3544                    SECTION 9.11. Headings. Article and Section headings and the Table of Contents
3545   used herein are for convenience of reference only, are not part of this Agreement and shall not affect the
3546   construction of, or be taken into consideration in interpreting, this Agreement.

3547                     SECTION 9.12. Confidentiality. Each of the Administrative Agent, the Issuing Bank
3548   and the Lenders agrees to maintain the confidentiality of the Information (as defined below), except that
3549   Information may be disclosed (a) to its and its Affiliates’ and its Approved Funds’ directors, officers, em-
3550   ployees and agents, including accountants, legal counsel and other advisors (it being understood that the
3551   Persons to whom such disclosure is made will be informed of the confidential nature of such Information
3552   and instructed to keep such Information confidential), or to any direct or indirect contractual counterparty
3553   in swap agreements or such contractual counterparty’s professional advisor (so long as such contractual
3554   counterparty or professional advisor agrees to be bound by the provisions of this Section 9.12), (b) to the
3555   extent requested by any regulatory authority, (c) to the extent required by applicable laws or regulations
3556   or by any subpoena or similar legal process, (d) to any other party to this Agreement, (e) in connection
3557   with the exercise of any remedies hereunder or any suit, action or proceeding relating to this Agreement
3558   or any other Loan Document or the enforcement of rights hereunder or thereunder, (f) subject to an
3559   agreement containing provisions substantially the same as those of this Section, to any assignee of or Par-
3560   ticipant in, or any prospective assignee of or Participant in, any of its rights or obligations under this
3561   Agreement, (g) with the consent of the Borrower or (h) to the extent such Information (i) becomes public-
3562   ly available other than as a result of a breach of this Section or (ii) becomes available to the Administra-
3563   tive Agent, the Issuing Bank or any Lender on a nonconfidential basis from a source other than the Bor-
3564   rower. For the purposes of this Section, “Information” means all information received from the Borrower
3565   relating to the Borrower or its business, other than any such information that is available to the Adminis-
3566   trative Agent, the Issuing Bank or any Lender on a nonconfidential basis prior to disclosure by the Bor-
3567   rower. Any Person required to maintain the confidentiality of Information as provided in this Section
3568   shall be considered to have complied with its obligation to do so if such Person has exercised the same
3569   degree of care to maintain the confidentiality of such Information as such Person would accord to its own
3570   confidential information.

3571                      SECTION 9.13. Interest Rate Limitation. Notwithstanding anything herein to the con-
3572   trary, if at any time the interest rate applicable to any Loan, together with all fees, charges and other
3573   amounts which are treated as interest on such Loan under applicable law (collectively the “Charges”),
3574   shall exceed the maximum lawful rate (the “Maximum Rate”) which may be contracted for, charged, tak-
3575   en, received or reserved by the Lender holding such Loan in accordance with applicable law, the rate of


                                                           -79-
       CG&R DRAFT: 12/15/10 11:13 PM                                                 #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47                 Main Document
                                                 Pg 768 of 771


3576   interest payable in respect of such Loan hereunder, together with all Charges payable in respect thereof,
3577   shall be limited to the Maximum Rate and, to the extent lawful, the interest and Charges that would have
3578   been payable in respect of such Loan but were not payable as a result of the operation of this Section shall
3579   be cumulated and the interest and Charges payable to such Lender in respect of other Loans or periods
3580   shall be increased (but not above the Maximum Rate therefor) until such cumulated amount, together with
3581   interest thereon at the Federal Funds Effective Rate to the date of repayment, shall have been received by
3582   such Lender.

3583                    SECTION 9.14. USA Patriot Act. Each Lender hereby notifies the Borrower that pur-
3584   suant to the requirements of the USA Patriot Act (Title III of Pub. L. 107-56 (signed into law October 26,
3585   2001)) (the “Act”), it is required to obtain, verify and record information that identifies the Borrower,
3586   which information includes the name and address of the Borrower and other information that will allow
3587   such Lender to identify the Borrower in accordance with the Act.

3588                     SECTION 9.15. Determination of Fiscal Periods. Any references in this Agreement to
3589   any fiscal period ending March 31, June 30, September 30 or December 31 of any year shall be deemed to
3590   refer to the fiscal period ending on or about such date. Any references in this Agreement to any fiscal
3591   period commencing April 1, July 1, October 1 or January 1 of any year shall be deemed to refer to the
3592   first day of the fiscal period immediately following the fiscal period ending on or about March 31, June
3593   30, September 30 or December 31 of any such year.

3594                                   [SIGNATURES ON FOLLOWING PAGE]




                                                          -80-
       CG&R DRAFT: 12/15/10 11:13 PM                                                 #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47       Main Document
                                                 Pg 769 of 771


3595                  IN WITNESS WHEREOF, the parties hereto have caused this Credit Agreement to be
3596   duly executed by their respective authorized officers as of the date first above written.

3597                                               AMERICAN MEDIA, INC.,


3598                                               By:
3599                                                       Name:
3600                                                       Title:


3601




                                                     S-1
       CG&R DRAFT: 12/15/10 11:13 PM                                        #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47        Main Document
                                                 Pg 770 of 771


3602                                               JPMORGAN CHASE BANK, N.A., in its
3603                                               capacity as Lender and as Administrative
3604                                               Agent,


3605                                               By:
3606                                                       Name:
3607                                                       Title:


3608




                                                     S-2
       CG&R DRAFT: 12/15/10 11:13 PM                                         #1052964 v14 (1049414_.DOC)
       10-16140-mg        Doc 116      Filed 12/15/10 Entered 12/15/10 23:40:47    Main Document
                                                 Pg 771 of 771


3609                                               SIGNATURE PAGE TO CREDIT AGREEMENT
3610                                               DATED AS OF ___________________, 2010,
3611                                               AMONG AMERICAN MEDIA, INC., THE LENDERS
3612                                               PARTY HERETO, AND JPMORGAN CHASE BANK,
3613                                               N.A., AS ADMINISTRATIVE AGENT

3614                                               Lender Name:
3615
3616


3617                                               By:
3618                                                       Name:
3619                                                       Title:
3620




                                                     S-3
       CG&R DRAFT: 12/15/10 11:13 PM                                     #1052964 v14 (1049414_.DOC)
